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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                     §
In re:                                               §        Chapter 11
                                                     §
ORG GC MIDCO, LLC                                    §        Case No. 21-90015 (MI)
                                                     §
                 Debtor. 1                           §        (Emergency Hearing Requested)
                                                     §

               DECLARATION OF ROBERT WAGSTAFF IN SUPPORT OF
               DEBTOR’S CHAPTER 11 PETITION AND FIRST DAY RELIEF

                 I, Robert Wagstaff, pursuant to section 1746 of title 28 of the United States Code,

hereby declare that the following is true and correct to the best of my knowledge, information, and

belief:

                 1.       I am the Chief Restructuring Officer (“CRO”) of ORG GC Midco, LLC

(the “Debtor” or “Midco” and, collectively, with its direct and indirect subsidiaries,

the “Company” or the “GCS Parties”) and a Managing Director at Riveron Management Services

LLC, f/k/a Conway MacKenzie Management Services, LLC (“Riveron”). I have more than 30

years of financial and operational experience, spanning a wide range of industries, including

business services. I specialize in assisting distressed and underperforming companies in all areas

of operational and financial restructuring, and have advised debtors, creditors, investors, and court-

appointed officers in multiple chapter 11 bankruptcy cases and out-of-court matters. I have

previously held senior positions with Berkeley Research Group LLC, Frontera Capital Advisors,

FTI Consulting and Sitel Group. I began my career with PricewaterhouseCoopers LLP. I have a

Bachelor of Commerce degree in Accounting from Concordia University.



1
    The last four digits of the Debtor’s federal tax identification number are 1740. The Debtor’s mailing address is
    6330 Gulfton Street, Houston, Texas 77081.
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                2.      I have overseen the Debtor’s operations and preparations for chapter 11

since November 2019, when the Company engaged Riveron and I was appointed as CRO. As

CRO, I am familiar and knowledgeable with the Company’s day-to-day operations, business and

financial affairs, books and records, and the circumstances leading to the Debtor’s filing of a

voluntary petition for relief under chapter 11 of title 11 of the United States Code (the “Chapter

11 Case”). I submit this declaration (the “Declaration”) to assist the Court and other parties in

interest in understanding the circumstances and events that led to the commencement of the

Debtor’s Chapter 11 Case and in support of certain motions and applications that the Debtor has

filed with the Court, including the “first day” pleadings filed concurrently herewith (the “First

Day Motions”). I am authorized to submit this Declaration on behalf of the Debtor.

                3.      Except as otherwise indicated herein, the facts set forth in this Declaration

are based upon my personal knowledge, my review of relevant documents, information provided

to me by the Debtor’s employees, my opinion based upon my experience, knowledge, and

information concerning the Debtor’s operations and financial condition, or from my discussions

with the Debtor’s advisors. If called upon to testify, I would and could testify competently to the

facts set forth in this Declaration on that basis.

                                      I. Preliminary Overview

                4.      GC Services Limited Partnership (“GC Services” or “GCS LP”), an

indirect subsidiary of the Debtor, is one of North America’s oldest and largest privately held

providers of Accounts Receivable Management (“ARM”) and Business Process Outsourcing

(“BPO”) solutions, providing a full scope of solution offerings, including 24x7x365 programs,

multi-channel and multi-lingual customer service programs (e.g. voice, email, chat, social media




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and more), from numerous locations in the continental United States and the Philippines, to

Fortune 500 companies, premier global financial institutions, and large governmental entities.

                 5.      GC Services’ intermediate holding company, Midco, has commenced this

Chapter 11 Case to implement a pre-packaged, comprehensive consensual restructuring

(the “Restructuring”) of the Company’s funded indebtedness through a prepackaged plan of

reorganization that will substantially de-lever the Company by reducing its funded indebtedness

from approximately $210.3 2 million to approximately $130.0 3 million upon emergence.

                 6.      A corporate structure chart of the Debtor and Non-Debtor GCS Parties (as

defined below) is as follows:




2
    Amount excludes accrued interest of approximately $32 million as of the Petition Date and is based on notional
    size $25 million Existing ABL Facility.
3
    Amount includes notional size $30 million Exit ABL Facility, which may be increased to $40 million subject to
    ongoing negotiations.

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                 7.       As noted above, Midco—the only debtor in the Chapter 11 Case—is the

intermediate holding company of GC Services and the direct or indirect parent of five non-Debtor

subsidiaries (the “Non-Debtor GCS Parties”). None of Midco’s subsidiaries, including the

Company’s primary operating entity, GC Services, are expected to file for chapter 11 protection.

After careful and extensive evaluation, the Company, in consultation with, and with the support of

the Consenting Lenders (as defined herein), determined not to file the Non-Debtor GCS Parties

for chapter 11 along with the Debtor because they determined doing so may deplete the value of

the Company to the detriment of all parties in interest. Moreover, due to the fully consensual

nature of the Restructuring, a chapter 11 filing by the Non-Debtor GCS Parties is not necessary to

effectuate the Restructuring. 4 Business at the Non-Debtor GCS Parties is expected to continue as

usual and GC Services anticipates no impact on its operations.

                 8.       As set forth in greater detail in the Prepackaged Chapter 11 Plan of ORG

GC Midco, LLC (as amended, restated, amended and restated, modified, or supplemented from

time to time in accordance with the terms thereof and the Restructuring Support Agreement,

the “Plan”), 5 dated October 16, 2021 and filed contemporaneously herewith, the Restructuring

provides that:

      i.     the Existing Term Loans of approximately $185.3 million will be cancelled and
             discharged in exchange for (a) takeback first lien term loans in an aggregate amount of
             approximately $71 million, (b) takeback second lien term loans in an aggregate amount
             of approximately $29 million, and (c) preferred and common equity of the Reorganized
             Company. More specifically:

                 a. each holder of an Allowed Existing Term Loan Claim affiliated with BSP will
                    receive its (i) pro rata share of (A) Initial New 1L Loans, (B) New 2L Loans,
                    and (C) New Holdco Junior Preferred Equity, and (ii) 100% of the New
                    Holdco Common Equity; and


4
    The Consenting Lenders will enter into contractual agreements with the Non-Debtor GCS Parties to implement
    the Restructuring contemplated by the Plan.
5
    Capitalized terms used but not otherwise defined herein shall have the same meaning ascribed to them in the Plan.

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                  b. each holder of an Allowed Existing Term Loan Claim affiliated with GS will
                     receive its (i) pro rata share of Initial New 1L Loans (less the amount of Term
                     DIP Claims outstanding immediately prior to the Effective Date rolled into
                     Initial New 1L Loans), (ii) pro rata share of New 2L Loans, (iii) 100% of the
                     New Midco Equity, and (iv) as a result of receiving 100% of the New Midco
                     Equity, GS will acquire an indirect interest in (A) 100% of the New Holdco
                     Senior Preferred Equity and (B) its pro rata share of New Holdco Junior
                     Preferred Equity, both of which shall be issued to the Reorganized Debtor;
                     provided that prior to the Effective Date, GS may elect to have its pro rata share
                     of the Initial 1L Loans (less the amount of Term DIP Claims outstanding
                     immediately prior to the Effective Date rolled into Initial New 1L Loans) and/or
                     its pro rata share of the New 2L Loans issued to the Reorganized Debtor.

      ii.     holders of Existing ABL Facility Claims are unimpaired and, on the Effective Date,
              will be either (a) paid in full and refinanced out with a third party lender or (b) provided
              such other treatment so as to render the Existing ABL Claims unimpaired;

     iii.     General Unsecured Claims are unimpaired and will receive payment of their claims in
              full in cash in the ordinary course of business; and

     iv.      existing equity interests (i.e., Midco Equity Interests) in the Debtor will be cancelled
              on the Effective Date.

                  9.      One of the Company’s Existing Term Lenders, GS, has agreed to provide

up to $6 million in senior secured debtor-in-possession financing (the “Term DIP Facility”) to

fund the costs of implementing the Restructuring. The Company’s Existing ABL Lenders have

also agreed to allow GC Services to continue to access the Existing ABL Facility during the

pendency of the Debtor’s Chapter 11 Case. 6

                  10.     The effects of the Restructuring can be summarized as follows:




6
    The Debtor has agreed (i) not to borrow under the Existing ABL Facility and (ii) that no borrowings by GC
    Services under the facility will be made available for the Debtor’s use during the Chapter 11 Case.



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Reorganized Funded Comparison ($ in millions)
Current Funded Debt (Principal Only)                           Reorganized Funded Debt (Principal Only)
Existing Term Loan Facility                 $           185.3 New 1L Facility                           $ 71.0
Existing ABL Facility                                   25.0 7 New 2L Facility                             29.0
                                                               Exit ABL Facility                          30.0 8
Total Funded Debt                                    $ 210.3 9 Total Reorganized Debt                   $ 130.0

                      11.      The resulting corporate and capital structure following the Restructuring are

     as follows:




     7
         Amount outstanding under Existing ABL Facility fluctuates monthly. Amount herein is based on a notional size
         $25 million facility. As of the Petition Date, the amount outstanding under the Existing ABL Facility is
         approximately $13.1 million (including approximately $5.2 million in drawn letters of credit).
     8
         Amount reflects $30.0 million notional Exit ABL Facility, inclusive of $10 million L/C sublimit size of the Exit
         ABL. Facility contemplated to be upsized to $40.0 million, inclusive of $15 million L/C sublimit, at exit, subject
         to ongoing negotiations.
     9
         Total current funded indebtedness consists of principal amount outstanding as of the Petition Date.
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               12.    The Restructuring is supported by the Debtor’s entire capital structure.

Pursuant to that certain Restructuring Support Agreement, dated as of October 16, 2021, annexed

hereto as Exhibit A (as amended, restated, amended and restated, supplemented or otherwise

modified from time to time, and including all exhibits thereto, the “Restructuring Support

Agreement”), 100% of the holders of Existing Term Loan Claims have already voted in

accordance with the terms and conditions of the Restructuring Support Agreement, to accept the

Plan (such lenders, the “Consenting Lenders”). All other claims of third parties against the

Debtor, including holders of General Unsecured Claims, are unimpaired under the Plan, and third-

party creditors, if any, are accordingly presumed to accept the Plan.

               13.    Furthermore, the GCS Parties and the Consenting Lenders entered into that

certain Settlement and Release Agreement, dated as of November 8, 2021, annexed hereto as

Exhibit B (the “Settlement and Release Agreement”), with the Company’s Sponsor (as defined

herein) and minority equity holder – the Katz Parties (as defined in the Settlement and Release

Agreement) – pursuant to which the Sponsor and the Katz Parties have agreed to support and not

object to the Plan. Under the Settlement and Release Agreement, the Sponsor and the Katz Parties

have agreed to take all actions reasonably requested by the GCS Parties to support and facilitate

implementation and consummation of the Plan and Restructuring, and to not take any action that

is inconsistent with the Restructuring, the Restructuring Support Agreement, the Plan, or the

Chapter 11 Case. In exchange, the GCS Parties have agreed to pay the Sponsors’ professional fees

up to $100,000. GCS LP and ORG (as defined below) have also agreed to terminate that certain

Consulting Agreement, dated July 31, 2017, by and between ORG and GCS LP, whereby GCS LP

retained ORG to provide certain management consulting services, and ORG has agreed to waive

any claims thereunder.




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               14.     Finally, as noted above, pursuant to that certain Amended and Restated

Forbearance Agreement and Ninth Amendment to Credit Agreement, dated as of November 7,

2021 (as may be further amended, restated, amended and restated, supplemented, or otherwise

modified from time to time, the “ABL Forbearance Agreement”), the Company’s Existing ABL

Facility Lenders have agreed to support the Company’s Restructuring process by continuing to

provide the Debtor’s operating subsidiary, GC Services, with access to the Existing ABL Facility

during the Debtor’s Chapter 11 Case. Pursuant to the ABL Forbearance Agreement, the Debtor

has agreed (i) not to borrow under the Existing ABL Facility and (ii) that no funds made available

to GC Services under the facility will be made available to, or otherwise used by, the Debtor during

the Chapter 11 Case.

               15.     The Company, the Consenting Lenders, and the Existing ABL Facility

Lenders have agreed to implement the Restructuring with as little disruption to the business as

possible. In accordance with this goal, and to reap the full benefits of the Restructuring, the Debtor

must exit chapter 11 quickly.

               16.     Accordingly, pursuant to the Restructuring Support Agreement and the

Term DIP Facility Agreement, the Debtor has agreed to use commercially reasonable efforts to

meet certain milestones (the “RSA Milestones”) for the Restructuring process, including

(i) confirmation of the Plan by no later than 24 days after the Petition Date (i.e., December 2,

2021), and (ii) the Plan becoming effective no later than 38 days after the Petition Date (i.e.,

December 16, 2021). Furthermore, the ABL Forbearance Agreement also provides for certain




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milestones (the “ABL Milestones”) for the Debtor’s Chapter 11 Case. The full list of RSA

Milestones and ABL Milestones are set forth in the table below:

                     Milestone                          RSA Deadline          ABL Deadline
 Commence Solicitation of Votes on the Plan          October 20, 2021
 Petition Date (“T”)                                 November 8, 2021      November 15, 2021
 Filing of First Day Motions, the Plan, the          T (i.e. November 8,
 Disclosure Statement, Scheduling Motion, and        2021)
 DIP Motion
 Execution of Settlement and Release Agreement       T (i.e. November 8,
                                                     2021)
 Completion of Solicitation of Votes on the Plan     November 9, 2021
 Entry of Cash Management Order (as defined                                T + 5 days (i.e.,
 herein)                                                                   November 20,
                                                                           2021)
 Hearing to Consider Approval of the Disclosure      T + 21 days (i.e.,
 Statement and Confirmation of the Plan              November 29, 2021)
 Obtain Entry of Final DIP Order                     T + 24 days (i.e.,
                                                     December 2, 2021)
 Obtain Entry of an Order Approving the              T + 24 days (i.e.,    T + 30 days (i.e.,
 Disclosure Statement and Confirming the Plan        December 2, 2021)     December 15,
                                                                           2021)
 Occurrence of Effective Date                        T + 38 days (i.e.,    December 23, 2021
                                                     December 16, 2021)

               17.    Failure to meet an RSA Milestone or an ABL Milestone could lead to

termination of the Restructuring Support Agreement and/or the ABL Forbearance Agreement.

Thus, in accordance with the RSA Milestones and the ABL Milestones, the Debtor has requested

that the Court schedule a combined hearing to approve the Disclosure Statement and confirm the

Plan (the “Combined Hearing”) on November 22, 2021 at 2:00 p.m. (Prevailing Central Time),

or as soon thereafter as the Court’s schedule permits.

               18.    The below table highlights the Debtor’s proposed key dates for this Chapter

11 Case:




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                                 Event                                                   Date
Voting Record Date                                                          October 15, 2021
Mailing of Combined Notice (as defined in the Scheduling Motion)            October 16, 2021
Plan Voting Deadline                                                        November 1, 2021 at 4:00 p.m.
Petition Date                                                               November 8, 2021
First Day Hearing (subject to Court availability)                           November 9, 2021
Plan/Disclosure Statement Objection Deadline                                November 16, 2021 at 4:00 p.m.
Combined Hearing (subject to Court availability)                            November 22, 2021 at 2:00 p.m.

                    19.     On October 16, 2021, immediately following the execution of the

     Restructuring Support Agreement, the Debtor began soliciting votes on the Plan. On October 16,

     2021, the Debtor served the Disclosure Statement for Prepackaged Chapter 11 Plan of ORG GC

     Midco, LLC (the “Disclosure Statement”) on all holders of Class 3 (Existing Term Loan Claims),

     the only class entitled to vote, and requested such holders return their ballots with respect to the

     Plan no later than 4:00 p.m. (Prevailing Central Time) on November 1, 2021 (the “Voting

     Deadline”).

                    20.     As of the Voting Deadline, and consistent with the commitments set forth

     in the Restructuring Support Agreement, 100% of holders of Existing Term Loan Claims have

     voted to accept the Plan.

                                       II. The Company’s Business

                    21.     Founded by Jerold B. Katz, GC Services opened its doors for business in

     October 1957 as a small, one-man BPO agency with one client and one employee (the founder)

     providing third party accounts receivable management services.          It was during these early

     formative years that GC Services pioneered the use of automated systems that maximize the

     efficiency, productivity, and cost-effectiveness of the accounts receivable management process.




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Through a dedicated approach to providing quality service and excellent results, GC Services

moved into the forefront of the BPO industry.

                  22.      As client needs changed, GC Services evolved and expanded in the 1980s

to offer first party accounts receivable collection services. GC Services later expanded its service

offerings by creating a separate teleservices division that could meet a full range of customer care

needs, eventually becoming the nation’s oldest and one of the largest privately owned business

process outsourcing providers with approximately 6,000 employees and numerous call centers

located across the United States and in Manila, Philippines.

                  23.      In late 2015, investment funds managed by the Austin-based private equity

firm, Owner Resource Group, LLC (“ORG” and collectively with its affiliates that own Interests,

directly or indirectly, in the Debtor, including Holdings (as defined below) the “Sponsor”),

acquired a controlling interest in the Company from the Katz family.

                                  III. Corporate and Capital Structure

                  24.      As depicted on the comprehensive corporate organizational chart above, the

Company is indirectly owned by the Sponsor through ORG GC Holdings, LLC (“Holdings”),

which owns 100% of the equity interests of Midco. Midco, in turn, directly or indirectly owns

each of the Non-Debtor GCS Parties.

                  25.      As of the Petition Date, the Company’s capital structure consists of

approximately $210.3 10 million in funded debt, with respect to which the Debtor is obligated as a

borrower. The Debtor’s obligations are summarized below:




10
     Amount excludes accrued interest of approximately $32 million as of the Petition Date and is based on notional
     size $25 million Existing ABL Facility.



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                                                                                Principal Funded Debt
     Debt Instrument                                                                       ($ millions)
     Existing Term Loan Facility                                               $                185.3

     Existing ABL Facility 11                                                  $                      25.0

     Total Funded Debt                                                         $                     210.3

                A.        Existing Term Loan Facility

                 26.      The Debtor has outstanding senior secured debt obligations under that

certain Financing Agreement, dated July 31, 2017, by and among Midco and certain of its

affiliates, as borrowers, each of the guarantors party thereto, BSP Agency, LLC, as administrative

agent and collateral agent (the “Existing Term Loan Facility Agent”), and the lenders party

thereto (the “Existing Term Lenders”) (as amended, restated, amended and restated,

supplemented or otherwise modified from time to time, the “Existing Term Loan Credit

Agreement” and the facility provided thereunder, the “Existing Term Loan Facility”).

                 27.      As of the Petition Date, the aggregate principal amount outstanding under

the Existing Term Loan Facility was approximately $185.3 million. Obligations under the Existing

Term Loan Facility are secured by a first priority lien on the Term Priority Collateral and a second

priority lien on the ABL Priority Collateral (each, as defined in the Existing Intercreditor

Agreement (defined below)).

                B.        Existing ABL Facility

                 28.      GC Services maintains a revolving line of credit under that certain Credit

Agreement dated July 31, 2017, by and among the Debtor and certain of its affiliates, as borrowers,

each of the guarantors party thereto, JPMorgan Chase Bank N.A. (“JPMorgan”), as administrative



11
     Amount outstanding under Existing ABL Facility fluctuates monthly. Amount herein is based on a notional size
     $25 million facility. As of the Petition Date, the amount outstanding under the Existing ABL Facility is
     approximately $13.1 million (including approximately $5.2 million in drawn letters of credit).


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agent (in such capacity, the “Existing ABL Facility Agent”), and the lenders party thereto

(the “Existing ABL Lenders”) (as amended, restated, amended and restated, supplemented, or

otherwise modified from time to time, the “Existing ABL Facility Agreement” and the facility

provided thereunder, the “Existing ABL Facility”).

                  29.      As of the Petition Date, the aggregate amount outstanding under the

Existing ABL Facility is approximately $13.1 million, 12 which, as described in further detail in the

Plan, will be converted into outstanding principal amounts under the Exit ABL Facility with the

Existing ABL Lenders or paid in full in connection with refinancing the Existing ABL Facility

with a new lender upon consummation of the Restructuring. The Company’s obligations under

the Existing ABL Facility are secured by a first priority lien on the ABL Priority Collateral and a

second priority lien on the Term Priority Collateral.

                     C.       Existing Intercreditor Agreement

                  30.      The relative contractual rights of the Existing Term Lenders and the

Existing ABL Lenders are governed by that certain Intercreditor Agreement, dated as of July 31,

2017 (as amended, restated, supplemented, amended and restated or otherwise modified from time

to time, the “Existing Intercreditor Agreement”). The Existing Intercreditor Agreement governs

the rights and obligations of the Existing Term Lenders and the Existing ABL Lenders with respect

to, among other things, collateral priority, matters of debtor-in-possession financing, the use of

cash collateral, and adequate protection.

                                IV. Events Leading to the Restructuring

                  31.      Although the business is operationally sound, the Company is significantly

over-levered. For Fiscal 2020, the Company reported approximately $15 million of adjusted



12
     Amount includes approximately $5.2 million in drawn letters of credit.


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EBITDA (on a consolidated 52-week basis) versus approximately $217 million of total funded

debt, including accrued and unpaid interest—implying leverage of approximately 14.5x

EBITDA. 13 The Company’s precarious financial position compared to its competitors, many of

which have already undergone their own balance sheet restructurings in the past 12-18 months,

has begun to negatively impact the Company’s ability to attract and retain customers.

                  32.      In the fall of 2019, the Company began struggling to comply with certain

of its financial covenants under the Existing Term Loan Credit Agreement. In November 2019,

the Company retained Riveron and appointed me as Chief Restructuring Officer (“CRO”) to assist

the Company in evaluating strategic options to right-size its balance sheet and provide financial

and operational leadership to the Company as it embarked on a potential restructuring process.

                  33.      In January 2020, the Company failed to make a regularly scheduled interest

payment due under the Existing Term Loan Credit Agreement, triggering an event of default with

respect to the Existing Term Loan Credit Agreement and a cross-default with respect to the

Existing ABL Facility Agreement. On April 24, 2020, the Debtor, certain of the Non-Debtor GCS

Parties, and Holdings, entered into forbearance agreements with the Existing Term Loan Facility

Agent, each of the Existing Term Lenders, and the Existing ABL Facility Agent, which

forbearance agreements expired on July 14, 2020.

                  34.      On September 16, 2020, the Existing Term Loan Facility Agent delivered

to the Debtor, among others, a Notice of Exercise of Rights and Remedies After Default, which,

among other things, notified the Debtor, among other parties, of the Existing Term Loan Facility




13
     As of December 31, 2020, there was approximately $13.9 million drawn on the Existing ABL Facility and
     approximately $203.3 million in par plus accrued interest outstanding on the Existing Term Loan Facility.
     Calculation does not include $5.5 million in letters of credit outstanding as of December 31, 2020.




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Agent’s decision to exercise rights under the Proxy and Power of Attorney (as defined in the Pledge

and Security Agreement). 14

                 35.      On September 18, 2020, the Existing Term Loan Facility Agent executed

and delivered a written consent (the “September 18 Written Consent”), in the name of and on

behalf of Holdings, pursuant to the Proxy and Power of Attorney and the Existing Term Loan

Facility Agent’s exercise of rights thereunder, pursuant to which, in accordance with Section 3.9

of the former Limited Liability Company Agreement of Midco (the “Former ORG GC Midco

Operating Agreement”), and Section 18-302(d) of the Delaware Limited Liability Company Act,

each person that was formerly serving as a manager of Midco was removed as a manager and the

current three person Board of independent Managers was appointed. Pursuant to the September

18 Written Consent, the Former ORG GC Midco Operating Agreement was also amended and

restated in its entirety and the Amended and Restated Limited Liability Company Agreement of

ORG GC Midco, LLC, effective as of September 18, 2020 (the “A&R ORG GC Midco

Operating Agreement”), was adopted.

                 36.      In October 2020, the Company retained Weil, Gotshal & Manges LLP as

counsel (“Weil”) to assist the Company in negotiating and implementing a deleveraging

transaction. With Weil and Riveron’s assistance, the Company began to engage with its Existing

Term Lenders, the Existing ABL Lenders, and the Sponsor regarding the terms of a potential

restructuring transaction.




14
     Pursuant to that certain Pledge and Security Agreement (the “Pledge and Security Agreement”) entered into in
     connection with the Existing Term Loan Credit Agreement, 100% of the equity in the Debtor and certain of the
     other GCS Parties (each a “Pledged Company” and, collectively, the “Pledged Companies” and such equity,
     the “Pledged Equity”) was pledged by the holders of such Pledged Equity (the “Pledgors”) in favor of the
     Existing Term Loan Facility Agent, in its capacity as agent for the Existing Term Lenders, to secure the
     obligations under the Existing Term Loan Credit Agreement.


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                  37.      After several months of good faith, arm’s length negotiations with the

Consenting Lenders, on October 16, 2021, the Debtor, the Non-Debtor GCS Parties, and the

Consenting Lenders entered into the Restructuring Support Agreement.

                  38.      The terms of the Restructuring are reflected in the Plan. Upon its full

implementation, the Plan will effectuate a significant de-leveraging of the Company’s capital

structure by eliminating approximately $117 million 15 in principal amount of funded debt and

accrued interest and reducing the Company’s ongoing cash debt service requirements. The

reduced debt burden and cash debt service requirements will provide the Company with sufficient

liquidity to continue funding the Company’s operations and to make the necessary capital

expenditures and investments to ensure that GC Services remains an industry leader in the ARM

and BPO sector.

                                                  V. Term DIP Facility

                  39.      As an intermediate holding company, the Debtor does not generate its own

revenue. Accordingly, the Debtor requires financing to help fund the costs of implementing the

Restructuring.

                  40.      One of the Consenting Lenders, GS, has agreed to provide incremental

liquidity to help fund the costs of implementing the Restructuring in the form of a superpriority

senior secured term loan facility in an aggregate principal amount up to $6 million. Pursuant to

the Emergency Motion of Debtor for Entry of Final Order (I) Authorizing the Debtor to Obtain

Senior Secured Postpetition Financing; (II) Granting Liens and Superpriority Administrative

Expense Status; (III) Authorizing the Use of Cash Collateral; (IV) Granting Adequate Protection

to Prepetition Secured Parties; and (V) Granting Related Relief (the “Term DIP Financing


15
     Inclusive of $32 million of accrued interest on the Existing Term Loan Facility.



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Motion”), the Debtor is requesting authority to enter into the Term DIP Facility. The Term DIP

Financing Motion will be scheduled to be heard at the Combined Hearing to consider approval of

the Disclosure Statement and confirmation of the Plan, and the Term DIP Facility will be funded

and closed immediately prior to the Debtor’s emergence from this Chapter 11 Case. Upon

consummation of the Restructuring, the Term DIP Facility will be converted on a dollar-for-dollar

basis into Initial New 1L Loans.

               41.     Incurrence of the Term DIP Facility is fully consensual as the Existing Term

Lenders would not consent to being primed by a third party lender. Riveron contacted multiple

third party lenders to inquire whether any would be interested in an opportunity to provide the

Debtor with unsecured financing. All parties contacted declined the opportunity. The Company

has no unencumbered collateral, and in light of the Debtor’s precarious financial position as well

as my inquiries with potential third party lenders, I do not believe the Debtor would be able to

obtain financing on an unsecured basis. The Debtor negotiated the terms of the Term DIP Facility

at arm’s length, in good faith, and I believe the terms are the best available to the Debtor in light

of the circumstances. Accordingly, it is my business judgement that incurrence of the Term DIP

Facility is necessary and in the best interests of the Debtor’s estate.

                                           VI. First Day Motions

               42.     As discussed above, the Company and the Consenting Lenders have agreed

to implement the Restructuring to minimize any disruption to the business. Accordingly, Midco

is the only Debtor in this Chapter 11 Case. As a holding company, Midco has no operations or

employees. Accordingly, the Debtor does not require extensive “first day” relief; however, in

addition to the Term DIP Financing Motion, the Debtor has filed the “first day” pleadings

described below to minimize the adverse effects of the commencement of this Chapter 11 Case




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and ensure the Debtor’s swift exit from chapter 11. Copies of the First Day Motions were shared

with the Office of the United States Trustee for the Southern District of Texas (the “ U.S. Trustee”)

prior to the Petition Date and the U.S. Trustee’s comments have been incorporated. Notably, all

of the Company’s employees are employed and paid by the Debtor’s non-Debtor operating

subsidiary, GCS LP, which will continue to pay such employees their wages and benefits in the

ordinary course. Similarly, virtually all of the Company’s vendors and customers have legal and

contractual relationships with non-Debtor GCS Parties. The Company will continue to honor its

obligations to all such parties in the ordinary course. I am familiar with the contents of each First

Day Motion, and believe that the relief requested in the First Day Motions will preserve and

maximize the value of the Debtor’s estate.

A.        Administrative Motions and Applications

     1.   Claims Agent Retention Application

                43.    Pursuant to the Emergency Ex Parte Application of Debtor for Entry of an

Order (I) Authorizing Retention and Appointment of Stretto as Claims, Noticing, and Solicitation

Agent; and (II) Granting Related Relief (the “Claims Agent Retention Application”), the Debtor

requests entry of an order appointing Bankruptcy Management Solutions, Inc. d/b/a Stretto

(“Stretto”) as claims, noticing, and solicitation agent for the Debtor and its Chapter 11 Case.

Stretto’s responsibilities will include, among other things: (i) serving as the noticing agent to mail

notices to the estate’s creditors and other parties in interest; (ii) providing computerized claims,

objection, solicitation, and balloting related services; and (iii) providing expertise, consultation,

and assistance in claim and ballot processing and other administrative services with respect to this

Chapter 11 Case. The terms of Stretto’s retention are set forth in that certain engagement

agreement by and between the Debtor and Stretto.




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               44.     I understand that Stretto is a chapter 11 administrator comprised of leading

industry professionals with significant experience in the administrative aspects of large, complex

chapter 11 cases and that Stretto’s professionals have experience in noticing, claims

administration, solicitation, balloting, and facilitation of other administrative aspects of chapter 11

cases and experience in matters of this size and complexity. I have been made aware that Stretto

has served as an official claims, noticing, and solicitation agent in many large bankruptcy cases in

this district and other districts nationwide. I have been further advised that the appointment of a

claims, noticing, and solicitation agent will relieve the Debtor and/or the Office of the Clerk of the

Bankruptcy Court of the administrative burden of, noticing, administering claims, and soliciting

and tabulating votes and is in the best interests of both the Debtor’s estate and its creditors. Based

on the foregoing, I believe that the relief requested in the Claims Agent Retention Application

should be approved.

  2.   Scheduling Motion

               45.     Pursuant to the Emergency Motion of Debtor for Entry of an Order

(I) Scheduling Combined Hearing to Consider (A) Adequacy of Disclosure Statement and

(B) Confirmation of Plan; (II) Approving Solicitation Procedures and Form and Manner of Notice

of Anticipated Commencement of Chapter 11 Case, Combined Hearing, and Objection Deadline;

(III) Fixing Deadline to Object to Disclosure Statement and Plan; (IV) Conditionally

(A) Directing the United States Trustee Not to Convene Section 341 Meeting and (B) Waiving

Requirement of Filing Statement of Financial Affairs and Schedule of Assets and Liabilities; and

(V) Granting Related Relief (the “Scheduling Motion”), the Debtor requests entry of an order:

               i.      scheduling a combined hearing (the “Combined Hearing”) on
                       November 22, 2021 at 2:00 p.m. (Prevailing Central Time) to consider
                       (i) approval of the Disclosure Statement and (ii) confirmation of the Plan;




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               ii.    establishing November 16, 2021 at 4:00 p.m. (Prevailing Central Time) as
                      the deadline to object to the adequacy of the Disclosure Statement and/or
                      confirmation of the Plan (the “Objection Deadline”);

               iii.   approving the Solicitation Procedures (as defined in the Scheduling Motion)
                      with respect to the Plan, including the form of Ballot and Notice of
                      Non-Voting Status (each as defined in the Scheduling Motion);

               iv.    approving the form and manner of the notice of anticipated commencement
                      of the Debtor’s Chapter 11 Case, the Combined Hearing, and the Objection
                      Deadline;

               v.     approving the form of Supplemental Notice (as defined herein);

               vi.    so long as the Plan is confirmed on or before January 7, 2022
                      (the “SOFA/Schedule Deadline”), (a) directing the Office of the United
                      States Trustee for the Southern District of Texas (the “U.S. Trustee”) not
                      to convene an initial meeting of creditors under section 341(a) of the
                      Bankruptcy Code (the “341 Meeting”), and (b) waiving the requirement
                      that the Debtor file its statement of financial affairs (“SOFA”) and
                      schedules of assets and liabilities (“Schedules”); and

               vii.   granting related relief.

               46.    As set forth in more detail in the Scheduling Motion, the holders of Class 3

(Existing Term Loan Claims) are the only class of claims entitled to vote on the Plan. Accordingly,

on October 16, 2021, following execution of the Restructuring Support Agreement, Stretto

transmitted a Solicitation Package (defined below) to the holders of Class 3 (Existing Term Loan

Claims). The Solicitation Package included: (i) a cover e-mail from the Debtor; (ii) the Combined

Notice; (iii) the Disclosure Statement and all exhibits thereto, including the Plan; and (iv) a

customized Ballot containing instructions on how to vote on the Plan (the “Solicitation Package”).

Stretto transmitted the Solicitation Package to the holders of holders of Class 3 (Existing Term

Loan Claims) electronically.     The Solicitation Packages established a voting deadline of

November 1, 2021 at 4:00 p.m. (Prevailing Central Time).

               47.    I understand from counsel that the Debtor’s prepetition solicitation of the

Plan was in compliance with the Bankruptcy Code and the Bankruptcy Rules.               Based on


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discussions with the Debtor’s counsel, the Combined Notice and the proposed service of the

Supplemental Notice was or will be provided to all parties in interest of the commencement of the

Chapter 11 Case, including the holders of Claims and Interests in Class 1 (Priority Non-Tax

Claims), Class 2 (Other Secured Claims), Class 3 (Existing Term Loan Claims), Class 4 (Existing

ABL Claims), Class 5 (General Unsecured Claims), Class 6 (Intercompany Claims), and Class 7

(Midco Equity Interests), as well as the Debtor’s insurers, taxing authorities, and other interested

governmental parties.

               48.      The Combined Notice notified parties that, among other things, the Debtor

expected to commence this Chapter 11 Case on or shortly after November 8, 2021, included the

date, time, and place of the Combined Hearing, and the procedures for objecting to the adequacy

of the Disclosure Statement and/or confirmation of the Plan (including the releases contained

therein). In addition to distributing the Combined Notice to all known parties in interest on

October 16, 2021, out of abundance of caution, the Debtor also caused a copy of the Combined

Notice to be published in the Wall Street Journal (national) and the Houston Chronicle on October

21, 2021. In addition, on October 16, 2021, holders of Claims in the non-voting Classes were

served with Opt-Out Forms (as defined in the Scheduling Motion) detailing how they could elect

to opt out of the Plan’s third party release provisions.

               49.      Finally, I believe that setting a combined hearing on the Plan and Disclosure

Statement, in combination with the aforementioned noticing and solicitation procedures, is

necessary to allow the Debtor to prosecute the Chapter 11 Case in an expeditious manner, thereby

minimizing administrative costs and delays and avoiding operational disruption to the Company’s

business for the benefit of all parties in interest, including the Debtor and its stakeholders.




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B.        Operational Motions

     1.   Cash Management Motion

                50.    Pursuant to the Emergency Motion of Debtor for Interim and Final Orders

(I) Authorizing Debtor to (A) Continue Participating in Existing Cash Management System and

Using Bank Account and Business Forms, and (B) Continue Intercompany Transactions,

(II) Providing Administrative Expense Priority for Postpetition Intercompany Claims, (III) To the

Extent Applicable, Extending Time for Debtor to Comply with Section 345(b) of the Bankruptcy

Code, (IV) Authorizing Debtor to Continue Serving as Obligor on Existing ABL Facility, and

(V) Granting Related Relief (the “Cash Management Motion”), the Debtor requests entry of an

order (the “Cash Management Order”) authorizing the Debtor to:

                i.     continue participating in the Company’s existing cash management system
                       (the “Cash Management System”), including, without limitation, to
                       continue to maintain the Debtor’s existing bank account and business forms;

                ii.    implement changes to the Cash Management System in the ordinary course
                       of business insofar as such changes relate to the Debtor’s participation in or
                       control of the Cash Management System, including, without limitation,
                       opening a new or closing the existing bank account owned by the Debtor;

                iii.   continue to perform under and honor Intercompany Transactions (as
                       defined in the Cash Management Motion) in the ordinary course of
                       business;

                iv.    continue to serve as an obligor under the Existing ABL Facility;

                v.     provide administrative expense priority for postpetition Intercompany
                       Claims (as defined in the Cash Management Motion) against the Debtor;
                       and

                vi.    honor and pay all prepetition and postpetition Bank Fees (as defined in the
                       Cash Management Motion) payable by the Debtor.

                51.    To facilitate the efficient operation of its business, the Company utilizes an

integrated, centralized cash management system used to collect, transfer, and disburse funds

generated by their operations (the “Cash Management System”). The Cash Management System



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is an ordinary course, customary, and essential business system which allows for the flow of cash

between bank accounts and between Company affiliates, including the Debtor, as required or

needed, in accordance with the Company’s historical cash management practices. The Company

relies on the Cash Management System in the course of its day-to-day business operations. The

Cash Management System provides for seamless banking and accounting functions across and

among all of the Company’s entities in a single location, thereby reducing banking expenses,

permitting prompt and accurate liquidity tracking, and allowing simple and accurate intercompany

allocations and transfers.

                  52.     The Company’s Cash Management System is comprised of approximately

56 bank accounts at multiple banks, of which approximately (i) 26 are operating accounts, (ii) 28

are custodial accounts maintained in the name of GCS LP, whereby GCS LP merely holds the

account (and the funds in it) in trust or as custodian for a third party, (iii) one account relates to

the Company’s ABL credit facility; and (iv) one account relates to a securities portfolio containing

certain foreign regulatory investments.

                  53.      Of these 56 bank accounts, only one is owned by the Debtor: the

Debtor’s operating account (the “Debtor Operating Account”). The Debtor Operating Account

is subject to a Blocked Account Control Agreement, dated September 29, 2017. The Debtor

Operating Account is held at JPMorgan, 16 which is designated as an authorized depository by the

U.S. Trustee pursuant to the U.S. Trustee’s Guidelines for Debtors-In-Possession. The Debtor

does not maintain any other bank accounts. The Debtor Operating Account typically maintains a

small balance and most funds—generally in the form of equity distributions or intercompany




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     The last four digits of the Debtor Operating Account at JPMorgan are x2599.


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loans—that come into the Debtor Operating Account are transferred from the GP Operating

Account and the LP Operating Account on an as-needed basis.

               54.     Although the Debtor Operating Account is used less frequently than other

accounts in the Company’s Cash Management System, it is periodically used to make certain

external disbursements relating to, among other things, debt service payments, Texas state

franchise, other federal and state tax payments, and certain professional fee payments.

               55.     In my view, the Cash Management System constitutes an ordinary course

and essential business practice of the Debtor. The Cash Management System provides significant

benefits to the Company and, in turn, the Debtor, including the ability to (i) control corporate

funds, (ii) ensure the optimal availability of funds when and where necessary, (iii) reduce costs

and administrative expenses by facilitating the movement of funds and the development of more

timely and accurate account information, and (iv) allow the Company to operate at maximum

efficiency. Therefore, the Debtor’s continued participation in the Cash Management System

without interruption is vital to the Debtor’s business operations and the success of this Chapter 11

Case.

               56.     Pursuant to the Cash Management Motion, the Debtor also seeks authority

to continue to serve as an obligor with respect to the Existing ABL Facility, although the Debtor

has agreed not to make borrowing requests under the facility. It is critical the Debtor be permitted

to continue to serve as an obligor to ensure the Debtor’s operating subsidiary, GC Services,

continues to benefit from access to the Existing ABL Facility and the funding thereunder. Such

funding is critical to the Company’s business operations and the Existing ABL Facility Lender has

only agreed to continue to provide GC Services with access to the facility subject to the Debtor

continuing to serve as an obligor.




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  2.   NOL Motion

               57.     Pursuant to the Emergency Motion of Debtor for Interim and Final Orders

(I) Establishing Notification Procedures and Approving Restrictions on Certain Transfers of

Interests in ORG GC Midco, LLC; and (II) Granting Related Relief (the “NOL Motion”), the

Debtor requests entry of interim and final orders (i) authorizing the Debtor to establish certain

procedures (the “Procedures”) to protect the potential value of the Debtor’s consolidated net

operating loss carryforwards (“NOLs”) for use in connection with the Debtor’s Chapter 11 Case

and any post-emergence business and transactions of the Debtor; and (ii) granting related relief.

               58.     The Debtor is taxed as a corporation for federal income tax purposes. The

Debtor directly and indirectly owns limited liability company subsidiaries, most of which are

disregarded for income tax purposes. The Debtor has certain tax attributes which include, as of

the Petition Date, estimated NOLs in excess of $69 million, deferred interest under section 163(j)

of approximately $16 million, and certain other tax attributes. Additionally, the Debtor currently

has adjusted tax basis in its assets well in excess of the value of such assets, reflecting a “built-in”

loss for federal income tax purposes. It is my belief that the NOLs (and the built-in tax losses, if

and as ultimately realized, in which case the realized loss generally would add to Debtor’s NOL

assuming it is not applied to offset current year income of Debtor) are valuable assets of the

Debtor’s estate.

               59.     I understand that the title 26 of the United States Code (the “Tax Code”)

generally permits a corporation to carry forward its NOLs and disallowed business interest to

reduce future taxable income, thereby reducing, along with available tax credits, such

corporation’s tax liability in future periods. Accordingly, absent any intervening limitations, and

depending on future operating results, I understand and am advised that the NOLs would be




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available to offset the income realized through the taxable year that includes the effective date of

a chapter 11 plan, and potentially thereafter.

               60.     I believe and am advised that the Debtor’s NOLs would be adversely

affected (and could be effectively eliminated) by an Ownership Change (as defined in the NOL

Motion) during the pendency of this Chapter 11 Case. Accordingly, I believe that it is in the best

interests of the Debtor and its stakeholders to restrict trading that could result in an Ownership

Change before the effective date of a chapter 11 plan or other applicable bankruptcy court order,

in order to protect the Debtor’s ability to use the NOLs during the pendency of this Chapter 11

Case and post-emergence.




                           [Remainder of Page Intentionally Left Blank]




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               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information and belief.

Dated: November 8, 2021
       Houston, Texas

                                               /s/ Robert Wagstaff
                                             Name: Robert Wagstaff
                                             Title: Chief Restructuring Officer
                                             ORG GC Midco, LLC




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                                      Certificate of Service

I hereby certify that on November 8, 2021, a true and correct copy of the foregoing document
was served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas, and will be served as set forth in the Affidavit of Service to be filed
by the Debtor’s proposed claims, noticing, and solicitation agent.



                                                         /s/ Alfredo R. Pérez
                                                        Alfredo R. Pérez
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                           EXHIBIT A

              RESTRUCTURING SUPPORT AGREEMENT
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                                                                         EXECUTION VERSION


THIS RESTRUCTURING SUPPORT AGREEMENT IS NOT AN OFFER OR ACCEPTANCE
WITH RESPECT TO ANY SECURITIES OR A SOLICITATION OF ACCEPTANCES OR
REJECTIONS OF A CHAPTER 11 PLAN WITHIN THE MEANING OF SECTIONS 1125 AND
1126 OF THE BANKRUPTCY CODE. ANY SUCH OFFER, ACCEPTANCE OR SOLICITATION
WILL COMPLY WITH ALL APPLICABLE SECURITIES LAWS AND/OR PROVISIONS OF
THE BANKRUPTCY CODE. NOTHING CONTAINED IN THIS RESTRUCTURING SUPPORT
AGREEMENT SHALL BE AN ADMISSION OF FACT OR LIABILITY OR, UNTIL THE
OCCURRENCE OF THE SUPPORT EFFECTIVE DATE ON THE TERMS DESCRIBED
HEREIN AND IN THE DEFINITIVE DOCUMENTS, DEEMED BINDING ON ANY OF THE
PARTIES HERETO.
                        RESTRUCTURING SUPPORT AGREEMENT
       This RESTRUCTURING SUPPORT AGREEMENT (including all annexes, exhibits and
schedules attached hereto, in each case, as may be amended, restated, amended and restated,
supplemented or otherwise modified from time to time, this “Agreement”), dated as of
October 16, 2021, is entered into by and among:

       (i)    ORG GC Midco, LLC (“Midco”), ORG GC GP Buyer, LLC, ORG GC LP Buyer,
              LLC, GC Services International, LLC, GC Services Limited Partnership
              (“GCS LP”), and GC Services (Barbados) SRL (the foregoing, collectively,
              the “Company” or the “GCS Parties”), each of which are signatories hereto;

       (ii)   the undersigned Existing Term Lenders (as defined herein) that as of the date hereof
              beneficially own (or otherwise have voting discretion with respect to) 100% of the
              Existing Term Loans (as defined herein) outstanding as of the date hereof, and/or, as
              the case may be, any of the nominees, investment managers, advisors or subadvisors
              for such Existing Term Lenders (as applicable), in each case, that have executed and
              delivered counterpart signature pages to this Agreement on the date hereof
              (collectively, the “Initial Consenting Lenders”, and, each individually, an “Initial
              Consenting Lender);

       (iii) any Person (if any) that, at any time after the Support Effective Date and in
             accordance with Section 4(c) of this Agreement, executes and delivers a Joinder
             Agreement (as defined below) and becomes a party to this Agreement as a
             Consenting Lender in accordance with the terms hereof (the foregoing, together with
             the Initial Consenting Lenders, as of any date of determination the “Consenting
             Lenders”); and

       (iv) solely with respect to Section 6 of this Agreement and following the Subordination
            Period Start Date (as defined herein), the Existing Term Loan Facility Agent, the
            Term DIP Agent and the Term DIP Lenders (each as defined herein).

       The Consenting Lenders, each of the GCS Parties, and any subsequent person or entity that
becomes a party hereto in accordance with the terms hereof are referred to herein as the “Parties”
and each individually as a “Party.” Capitalized terms used but not otherwise defined herein shall
have the meanings ascribed to them in the Definitive Documents (defined below), as applicable.
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                                            RECITALS

        WHEREAS the Company has outstanding obligations under that certain Financing
Agreement, dated July 31, 2017, by and among certain of the GCS Parties, variously, as a borrower
and/or as a guarantor thereunder (collectively in such capacities, the “Existing Term Loan
Obligors”), BSP Agency, LLC, as administrative agent and collateral agent (the “Existing Term
Loan Facility Agent”), and the lenders party thereto (the “Existing Term Lenders”; together
with the Existing Term Loan Facility Agent, the “Existing Term Secured Parties”) (as amended,
restated, amended and restated, supplemented or otherwise modified from time to time, the
“Existing Term Loan Credit Agreement”; the other “Loan Documents” (as such term is defined
in the Existing Term Loan Credit Agreement) thereunder, the “Existing Term Loan Documents”;
the “Obligations” (as such term is defined in the Existing Term Loan Credit Agreement)
thereunder (the “Existing Term Obligations”); the Liens on the “Collateral” (as such term is
defined in the Existing Term Loan Credit Agreement) (the “Existing Term Collateral”) securing
the Existing Term Obligations thereunder, the “Existing Term Liens”; and the principal amount
of “Loans” (as such term is defined in the Existing Term Loan Credit Agreement) outstanding
thereunder, the “Existing Term Loans”);

        WHEREAS, as of the date hereof, the Initial Consenting Lenders collectively hold 100%
of the aggregate principal amount of the Existing Term Loans outstanding as of the date hereof;
and

        WHEREAS, the Parties have negotiated in good faith at arm’s length and agreed to enter
into certain transactions in furtherance of a restructuring of the Company’s capital structure and
financial obligations (the “Restructuring”) on the terms and conditions set forth in this Agreement
and the Definitive Documents attached hereto, which is anticipated to be implemented pursuant to
the terms of the plan of reorganization attached hereto as Exhibit A (as amended, restated,
amended and restated, supplemented, or otherwise modified from time to time in accordance with
Section 12, the “Plan”) and any supplement(s) thereto as the same may be amended, restated,
amended and restated, supplemented, or otherwise modified from time to time, in accordance with
Section 12, the “Plan Supplement”), a corresponding disclosure statement in respect of the Plan
attached hereto as Exhibit B (as may be amended, restated, amended and restated, supplemented,
or modified from time to time, in accordance with Section 12, the “Disclosure Statement”), a
solicitation of votes thereon (the “Solicitation” and the materials with respect thereto, in each case,
to the extent that the same comply with applicable Law and are consistent with the terms and
conditions of this Agreement, collectively, the “Solicitation Materials”), and the commencement
by Midco of a voluntary case (the “Chapter 11 Case”) under chapter 11 of title 11 of the United
States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern
District of Texas (the “Bankruptcy Court”).

      NOW, THEREFORE, in consideration of the promises and the mutual covenants and
agreements set forth herein, and for other good and valuable consideration, the receipt and

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sufficiency of which are hereby acknowledged, the Parties, intending to be legally bound, agree as
follows:

               1.      Certain Definitions.

       As used in this Agreement, the following terms have the following meanings:

                (a)      “Affiliate” means, with respect to any Person, any other Person that (either
directly or indirectly) controls, is controlled by, or is under common control with the specified
Person and shall also include (i) any related fund of such Person and (ii) in the case of a specified
Person who is an individual, any family member or personal representative of such Person. The
term “control” (including, with its correlative meanings, “controlling,” “controlled by” and
“under common control with”) means the possession, directly or indirectly, of the power to direct
or cause the direction of management or policies of a Person (whether through ownership of
securities, by contract or otherwise).

               (b)     “Agreement” shall have the meaning ascribed to such term in the Preamble.

                (c)     “Alternative Transaction” means any plan, dissolution, winding up,
liquidation, sale or disposition of a material portion of assets, reorganization, merger,
consolidation, financing (including any DIP or exit financing), tender offer, exchange offer,
business combination, acquisition, amalgamation, debt or equity investment, joint venture,
partnership, recapitalization, restructuring or similar transaction involving any of the GCS Parties,
a material portion of their assets or the debt, equity or other interests of any of the GCS Parties,
other than the Restructuring contemplated by this Agreement and the Definitive Documents.

               (d)     “Bankruptcy Code” shall have the meaning ascribed to such term in the
Recitals.

               (e)     “Bankruptcy Court” shall have the meaning ascribed to such term in the
Recitals.

                (f)    “Bankruptcy Laws” shall mean the Bankruptcy Code and any similar
federal or state or non-U.S. law or statute providing for the supervision, administration, or relief
of debtors, including bankruptcy or insolvency laws.

               (g)    “BSP” means Benefit Street Partners LLC, together with its Affiliates and
related and/or managed funds, accounts and/or entities directly or indirectly owned by such
Affiliates, managed funds or accounts.




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                (h)    “Cash Proceeds” shall mean all Proceeds of any DIP Existing Term
Collateral received by any Grantor, Existing Term Secured Party, or DIP Secured Party consisting
of cash, cash equivalents and checks.

                  (i)    “Causes of Action” means any action, claim, cross-claim, third-party
claim, cause of action, controversy, demand, right, lien, indemnity, guaranty, suit, obligation,
liability, loss, debt, damage, judgment, account, defense, remedies, offset, power, privilege, license
and franchise of any kind or character whatsoever, known, unknown, foreseen or unforeseen,
existing or hereafter arising, contingent or non-contingent, matured or unmatured, suspected or
unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable
directly or derivatively, whether arising before, on, or after the Petition Date, in contract or in tort,
in law or in equity or pursuant to any other theory of law (including, without limitation, under any
state or federal securities laws). Causes of Action also includes: (a) any right of setoff,
counterclaim or recoupment and any claim for breach of contract or for breach of duties imposed
by law or in equity; (b) the right to object to Claims or Interests; (c) any claim pursuant to section
362 or chapter 5 of the Bankruptcy Code; (d) any claim or defense including fraud, mistake, duress
and usury and any other defenses set forth in section 558 of the Bankruptcy Code; and (e) any state
law fraudulent transfer claim.

                (j)     “Chapter 11 Case” shall have the meaning ascribed to such term in the
Recitals.

             (k)    “Claims” means any and all claims (as defined in section 101(5) of the
Bankruptcy Code) against any of the GCS Parties, including the Existing Term Loan Claims.

                (l)     “Company” shall have the meaning ascribed to such term in the Preamble.

              (m)    “Confirmation Order” means an order of the Bankruptcy Court approving
the Disclosure Statement and confirming the Plan pursuant to section 1129 of the Bankruptcy
Code, which order shall be in form and substance reasonably acceptable to the Company and the
Consenting Lenders.

                (n)     “Consenting Lenders” shall have the meaning ascribed to such term in the
Preamble.

                (o)     “Debtor” means Midco.

              (p)    “Definitive Documents” means any document effectuating, implementing
or otherwise relating to the Restructuring, including this Agreement, the Plan, the Plan
Supplement, the Disclosure Statement, the Solicitation Materials, the Term DIP Facility
Agreement, the Exit Term Loan Facility Agreements, the Exit ABL Facility Agreement, the New
Organizational Documents, the Settlement and Release Agreement, and all other agreements,


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instruments, pleadings, orders (including the DIP Order), forms, questionnaires and other
documents (including all related orders, agreements, instruments, exhibits, schedules,
supplements, appendices, annexes, instructions and attachments thereto), which shall be consistent
in all material respects with this Agreement and in form and substance reasonably acceptable to
the Company and the Consenting Lenders.

             (q)     “DIP Collateral” means the “Collateral” (as such term is defined in the
Term DIP Facility Agreement) thereunder.

              (r)     “DIP Commitments” means the “Commitments” (as such term is defined
in the Term DIP Facility Agreement) thereunder.

              (s)     “DIP Documents” means the “Loan Documents” (as such term is defined
in the Term DIP Facility Agreement) thereunder.

               (t)    “DIP Existing Term Collateral” has the meaning set forth in Section 6(a).

               (u)     “DIP Loans” means the “Loans” (as such term is defined in the Term DIP
Facility Agreement) made under the Term DIP Facility Agreement in accordance with the terms
thereof, and subject to prior approval by the Bankruptcy Court of the DIP Order in accordance
herewith.

               (v)    “DIP Obligations” means, as of any time, the “Obligations” (as such term
is defined in the Term DIP Facility Agreement) outstanding at such time under the Term DIP
Facility Agreement.

              (w)     “DIP Order” means the order of the Bankruptcy Court approving the terms
of the Term DIP Facility and the use of cash collateral, which shall be in a form and substance
reasonably acceptable to the Consenting Lenders.

               (x)    “DIP Secured Parties” means the Term DIP Agent and the Term DIP
Lenders.

               (y)     “Discharge of DIP Obligations”, with respect to the DIP Obligations, shall
be deemed to occur immediately and automatically upon the earlier of (such earlier time, the “DIP
Discharge Time”) (x) the payment in full in cash of all DIP Obligations, and the termination,
cancellation or expiry of all DIP Commitments, on or before the Effective Date, in each case, in
accordance with the Term DIP Facility Agreement or as otherwise consented to by the Company,
the DIP Secured Parties, and the Consenting Lenders, or (y) the satisfaction of all DIP Obligations
in accordance with the Plan or as otherwise consented to by the Company, the DIP Secured Parties
and the Consenting Lenders in accordance with Section 12.



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                (z)    “Disclosure Statement” shall have the meaning ascribed to such term in
the Recitals.

                (aa) “Effective Date” means the date upon which (i) all conditions to the
effectiveness of the Restructuring set forth in Section 9 of this Agreement and (ii) all conditions
to the effectiveness of the Plan have been satisfied or waived in accordance with the terms of this
Agreement and the Plan and the Plan becomes effective.

                (bb)   “Exchange Act” means the Securities Exchange Act of 1934, as amended.

               (cc) “Existing ABL Facility” means that asset-based lending facility provided
pursuant to the Existing ABL Facility Agreement.

               (dd) “Existing ABL Facility Agent” means JPMorgan Chase Bank, N.A. in its
capacity as administrative agent under the Existing ABL Facility Agreement.

               (ee) “Existing ABL Facility Agreement” means that certain Credit Agreement,
dated July 31, 2017, by and among GCS LP, Midco, and certain of the Non-Debtor GCS Parties,
as borrower, each of the guarantors party thereto, the Existing ABL Lenders, and the Existing ABL
Facility Agent (as amended, restated, amended and restated, supplemented, or otherwise modified
from time to time in accordance with the terms thereof).

              (ff)   “Existing ABL Facility Loan Documents” means, collectively, the
Existing ABL Facility Agreement and the other “Loan Documents” (as defined in the Existing
ABL Facility Agreement)

               (gg) “Existing ABL Forbearance Agreement” means that certain Forbearance
Agreement and Sixth Amendment to Credit Agreement, dated as of November 30, 2020, among
certain of the GCS Parties, the Existing ABL Lenders, and the Existing ABL Facility Agent, as
amended, restated, amended and restated, supplemented or otherwise modified as of the date
hereof and any additional amendment, restatement, amendment and restatement, supplement or
other modification on terms and conditions reasonably acceptable to the GCS Parties and the
Consenting Lenders.

              (hh) “Existing ABL Lenders” means the Persons party to the Existing ABL
Facility Agreement as “Lenders” from time to time thereunder, and each of their respective
successors and permitted assigns.

               (ii)    “Existing ABL Obligations” means the ABL Obligations (as defined in the
Existing Intercreditor Agreement).




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               (jj)    “Existing ABL Secured Parties” means the ABL Secured Parties (as
defined in the Existing Intercreditor Agreement).

              (kk) “Existing Intercreditor Agreement” means that certain Intercreditor
Agreement, dated as of July 31, 2017, by and among the Existing ABL Facility Agent and the
Existing Term Loan Facility Agent, as amended, restated, amended and restated, supplemented or
otherwise modified from time to time in accordance with the terms thereof.

                   (ll)   “Existing Term Collateral” shall have the meaning ascribed to such term
in the Recitals.

                   (mm) “Existing Term Lenders” shall have the meaning ascribed to such term in
the Recitals.

                   (nn)   “Existing Term Liens” shall have the meaning ascribed to such term in the
Recitals.

                   (oo)   “Existing Term Loans” shall have the meaning ascribed to such term in
the Recitals.

               (pp) “Existing Term Loan Claims” means all Claims arising under, in
connection with, or related to the Existing Term Loan Credit Agreement, including any accrued
and unpaid interest, fees, and/or deficiency Claims.

               (qq) “Existing Term Loan Credit Agreement” shall have the meaning ascribed
to such term in the Recitals.

               (rr)    “Existing Term Loan Documents” shall have the meaning ascribed to
such term in the Recitals.

               (ss)    “Existing Term Loan Facility Agent” shall have the meaning ascribed to
such term in the Recitals.

                   (tt)   “Existing Term Obligations” shall have the meaning ascribed to such term
in the Recitals.

               (uu) “Existing Term Loan Obligors” shall have the meaning ascribed to such
term in the Recitals.

               (vv) “Existing Term Secured Parties” shall have the meaning ascribed to such
term in the Recitals.



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               (ww) “Exit ABL Facility” means that asset-based lending facility provided
pursuant to the Exit ABL Facility Agreement.

               (xx) “Exit ABL Facility Agreement” means (i) the Existing ABL Facility
Agreement, as amended on terms and conditions reasonably acceptable to the GCS Parties and the
Consenting Lenders or (ii) a credit agreement evidencing an asset-based lending facility on terms
and conditions reasonably acceptable to the GCS Parties and the Consenting Lenders.

               (yy) “Exit ABL Facility Lenders” means any Person that becomes a lender
under the Exit ABL Facility Agreement.

             (zz) “Exit Term Loan Facilities” means, collectively, the New 1L Facility and
the New 2L Facility.

              (aaa) “Exit Term Loan Facility Agreements” means, collectively, the New 1L
Facility Agreement and the New 2L Facility Agreement.

              (bbb) “First Day Motions” means those motions and related orders filed by the
Debtor on the Petition Date and which are to be heard by the Bankruptcy Court at the “first day”
hearing.

              (ccc)   “GCS LP” shall have the meaning ascribed to such term in the Preamble.

              (ddd) “GCS Parties” shall have the meaning ascribed to such term in the
Preamble.

                (eee) “Governmental Entity” means any applicable federal, state, local or
foreign government or any agency, bureau, board, commission, court or arbitral body, department,
political subdivision, regulatory or administrative authority, tribunal or other instrumentality
thereof, or any self-regulatory organization.

             (fff) “Grantors” means the GCS Parties party to the Term DIP Facility
Agreement and the other DIP Documents.

               (ggg) “GS” means Goldman Sachs Bank USA, together with its Affiliates and
related and/or managed funds, accounts and/or entities directly or indirectly owned by such
Affiliates, managed funds or accounts.

              (hhh) “Initial Consenting Lenders” shall have the meaning ascribed to such term
in the Preamble.

               (iii) “Initial Consenting Lenders’ Advisors” means, collectively, (i) Stroock,
as counsel to certain of the Consenting Lenders affiliated with BSP and the Existing Term Loan

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Facility Agent, (ii) K&S, as counsel to certain of the Initial Consenting Lenders affiliated with GS,
the Term DIP Agent and the Term DIP Facility Lenders, (iii) Vinson & Elkins LLP, as corporate
counsel to certain of the Initial Consenting Lenders affiliated with GS, (iv) Ernst & Young Global
Limited, as tax consultant to certain of the Initial Consenting Lenders affiliated with GS, (v) Mayer
Brown LLP, as regulatory counsel to the Initial Consenting Lenders, (vi) Jim Eckstaedt, as
consultant to the Initial Consenting Lenders, (vii) David Zwick and Garry Herdler, as consultants
to the Existing Term Loan Facility Agent, and (viii) Haynes & Boone LLP, as local Texas counsel
to the Existing Term Loan Facility Agent and the Term DIP Agent.

                (jjj) “Interests” means with respect to any GCS Party, (i) any capital stock
(including common stock and preferred stock), limited liability company interests, partnership
interests or other equity, ownership, beneficial or profits interests of such GCS Party, and (ii) any
options, warrants, securities, stock appreciation rights, phantom units, incentives, commitments,
calls, redemption rights, repurchase rights or other agreements, arrangements or rights of any kind
that are convertible into, exercisable or exchangeable for, or otherwise permit any Person to
acquire, any capital stock (including common stock and preferred stock), limited liability company
interests, partnership interests or other equity, ownership, beneficial or profits interests of such
GCS Party.

                (kkk) “Insolvency or Liquidation Proceeding” means any of the following:
(a) the filing by any Grantor of a voluntary petition in bankruptcy under any provision of any
Bankruptcy Law or a petition to take advantage of any receivership or insolvency laws,
including any petition seeking the dissolution, winding up, total or partial liquidation,
reorganization, composition, arrangement, adjustment or readjustment, or other relief of such
Grantor, such Grantor’s debts, or such Grantor’s assets or the appointment of a trustee, receiver,
liquidator, custodian, or similar official for such Grantor or a material part of such Grantor’s
property; (b) the admission in writing by such Grantor of its inability to pay its debts generally
as they become due; (c) the appointment of a receiver, liquidator, trustee, custodian, or other
similar official for such Grantor or all or a material part of such Grantor’s assets; (d) the filing
of any petition against such Grantor under any Bankruptcy Law or other receivership or
insolvency law, including any petition seeking the dissolution, winding up, total or partial
liquidation, reorganization, composition, arrangement, adjustment, or readjustment or other relief
of such Grantor, such Grantor’s debts, or such Grantor’s assets or the appointment of a trustee,
receiver, liquidator, custodian, or similar official for such Grantor or a material part of such
Grantor’s property; (e) the general assignment by such Grantor for the benefit of creditors or
any other marshalling of the assets and liabilities of such Grantor; or (f) a corporate (or similar)
action taken by such Grantor to authorize any of the foregoing. For the avoidance of doubt, any
Chapter 11 Case shall constitute an Insolvency or Liquidation Proceeding.

               (lll)   “K&S” means King & Spalding LLP.



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                 (mmm) “Law” means any federal, state, local or foreign law (including common
law), statute, code, ordinance, rule, regulation, treaty, decree, injunction, order, ruling, assessment,
writ or other legal requirement or judgment, in each case, that is validly adopted, promulgated,
issued or entered by a Governmental Entity of competent jurisdiction (including the Bankruptcy
Court).

                (nnn) “Lien” means any mortgage, pledge, hypothecation, assignment, deposit
arrangement, security interest, encumbrance, charge, lien (statutory or other), preference, priority
or other security agreement of any kind or nature whatsoever (including any agreement to give any
of the foregoing, any conditional sale or other title retention agreement).

             (ooo) “LLC Agreement” means the limited liability company agreement for New
Holdco to be entered into on the Effective Date substantially in the form attached hereto as
Exhibit C.

                 (ppp) “Material Adverse Effect” means, other than the filing of the
Chapter 11 Case, any event, change, effect, occurrence, development, circumstance, condition,
result, state of fact or change of fact, or the worsening of any of the foregoing (each, an “Event”),
that, individually or together with all other Events, has had, or would reasonably be expected to
have, a material adverse effect on either (a) the business, operations, finances, properties, interests,
reserves, condition (financial or otherwise), assets or liabilities of the GCS Parties, taken as a whole
or (b) the ability of the GCS Parties, taken as a whole, to perform their respective obligations
under, or to consummate the transactions contemplated by, this Agreement.

                (qqq) “Material Contract” means any of the following contracts or agreements
(or group of related contracts or agreements) to which any of the GCS Parties is a party or by
which any of the GCS Parties or any of their respective assets or properties are bound: (a) any
contract or agreement that is a “material contract,” or “plans of acquisition, reorganization,
arrangement, liquidation or succession” (as each such term is defined in Item 601(b)(2) or Item
601(b)(10) of Regulation S-K under the Exchange Act), (b) any contract or agreement that may
reasonably be expected to result in (i) aggregate payments from the applicable contracting GCS
Party to a third party are reasonably expected to exceed $250,000 or (ii) aggregate payments from
a third party to the applicable GCS Party contract party are reasonably expected to exceed
$500,000, in each case during the current or any subsequent calendar year or (c) any contract or
agreement that is related to the GCS Parties’ third party business.

               (rrr)   “Midco” shall have the meaning ascribed to such term in the Preamble.

                 (sss) “New 1L Facility” means that certain first lien senior secured term loan
facility to be provided to New Holdco Sub on the Effective Date pursuant to the New 1L Facility
Agreement.


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               (ttt) “New 1L Facility Agreement” means that certain Financing Agreement,
dated as of the Effective Date, governing the New 1L Facility (as may be amended, restated,
amended and restated, supplemented, or modified from time to time, solely in accordance with the
terms thereof) in form and substance reasonably acceptable to BSP, GS, New Holdco Sub, and
each of the Non-Debtor GCS Parties party thereto, substantially in the form attached hereto as
Exhibit D.

              (uuu) “New 2L Facility” means that certain second lien secured term loan facility
to be provided to New Holdco Sub on the Effective Date pursuant to the New 2L Facility
Agreement.

               (vvv) “New 2L Facility Agreement” means that certain Financing Agreement,
dated as of the Effective Date, governing the New 2L Facility (as may be amended, restated,
amended and restated, supplemented, or modified from time to time, solely in accordance with the
terms thereof) in form and substance reasonably acceptable to BSP, GS, New Holdco Sub and
each of the Non-Debtor GCS Parties, substantially in the form attached hereto as Exhibit E.

             (www) “New Holdco” means a new entity formed on the Effective Date, which
will own 100% of the equity interests in New Holdco Sub.

             (xxx) “New Holdco Sub” means a new entity formed on the Effective Date,
which will own 100% of the equity interests in each of ORG GC GP Buyer, LLC and ORG GC
LP Buyer, LLC.

                (yyy) “New Organizational Documents” means the Company’s (excluding
Midco) new organizational documents after giving effect to the Restructuring, including, but not
limited to, the LLC Agreement and the documents necessary to be executed and/or filed for the
formation of New Holdco and New Holdco Sub, each of which shall be in form and substance
reasonably acceptable to BSP, GS, and the Company.

                (zzz) “Non-Debtor GCS Parties” means the GCS Parties excluding Midco.

                (aaaa) “ORG” means Owner Resource Group, LLC.

                (bbbb) “Outside Petition Date” shall have the meaning set forth in Section 3(b)
hereto.

                (cccc) “Party” shall have the meaning ascribed to such term in the Preamble.

                (dddd) “Person” means an individual, a partnership, a joint venture, a limited
liability company, a corporation, a trust, an unincorporated organization, a group, a Governmental
Entity, or any legal entity or association.


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                (eeee) “Petition Date” shall have the meaning set forth in Section 3(b) hereto.

                (ffff)   “Plan” shall have the meaning ascribed to such term in the Recitals.

                (gggg) “Plan Supplement” shall have the meaning ascribed to such term in the
Recitals.

                (hhhh) “Proceeds” shall mean, with respect to any DIP Existing Term Collateral,
(x) all “proceeds” thereof, as such term is defined in Article 9 of the UCC as in effect in the state
of New York on the date hereof, and (y) without duplication, (a) any and all proceeds of any
insurance, indemnity, warranty or guaranty payable to either the Term DIP Agent or the Existing
Term Loan Facility Agent or any Grantor from time to time with respect to any of the DIP Existing
Term Collateral, (b) any and all payments (in any form whatsoever) made or due and payable to
any Grantor from time to time in connection with any requisition, confiscation, condemnation,
seizure or forfeiture of all or any part of the DIP Existing Term Collateral by any governmental
authority, and (c) any and all other amounts from time to time paid or payable to either the Term
DIP Agent or the Existing Term Loan Facility Agent or any Grantor from time to time with respect
to any of the DIP Existing Term Collateral under or in connection with any of the DIP Existing
Term Collateral.

                (iiii)   “Releases” shall have the meaning set forth in the Plan.

                (jjjj)   “Restructuring” shall have the meaning ascribed to such term in the
Recitals.

                (kkkk) “SEC” means the United States Securities and Exchange Commission.

                (llll) “Settlement and Release Agreement” means an agreement by and
between the (i) Debtor; (ii) the Non-Debtor GCS Parties; (iii) ORG GC Holdings, LLC; (iv) ORG
and certain of its affiliates; (v) the Existing Term Loan Facility Agent; and (vi) the Consenting
Lenders setting forth a settlement among the parties thereto in form and substance reasonably
acceptable to the Consenting Lenders, the Existing Term Loan Facility Agent, the Debtor and each
of the Non-Debtor GCS Parties.

                (mmmm)          “Solicitation” shall have the meaning ascribed to such term in the
Recitals.

                (nnnn) “Solicitation Materials” shall have the meaning ascribed to such term in
the Recitals.

                (oooo) “Stroock” means Stroock & Stroock & Lavan LLP.



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               (pppp) “Subordination Period” means and refers to the time period
(a) commencing as of the date (the “Subordination Period Start Date”) when the DIP Loans are
first borrowed in accordance with the Term DIP Facility Agreement and the DIP Order, so long as
such borrowing occurs after approval of the Term DIP Facility by the Bankruptcy Court pursuant
to the DIP Order, and (b) ending at, and expiring as of, the DIP Discharge Time (the date on which
such end or expiry occurs, the “Subordination Period Expiry Date”).

                (qqqq) “Support Period” means, with reference to any Party, the period
commencing on the Support Effective Date (or, in the case of any Person that becomes a party
hereto after the Support Effective Date, the date such Person becomes a party hereto) and ending
on the earlier of (i) the Effective Date and (ii) the Termination Date.

                (rrrr) “Term DIP Agent” means Goldman Sachs Specialty Lending Group, L.P.,
solely in its capacity as administrative agent and collateral agent under the Term DIP Facility, or
its successors, permitted assigns, or any replacement agent appointed pursuant to the terms of the
Term DIP Facility Agreement.

               (ssss) “Term DIP Facility” means that debtor-in-possession financing facility to
be provided to the Debtor pursuant to the Term DIP Facility Agreement and the DIP Order.

               (tttt) “Term DIP Facility Agreement” means that certain Superpriority Secured
Debtor-in-Possession Financing Agreement, to be dated after the Petition Date, by and among the
Debtor, as borrower, certain Non-Debtor GCS Parties, as guarantors, the Term DIP Lenders, and
the Term DIP Agent (as the same may be amended, restated, amended and restated, supplemented,
or otherwise modified from time to time in accordance with the terms thereof), on terms and
conditions satisfactory to the Debtor, the Non-Debtor GCS Parties thereto, the Term DIP Lenders
and the Consenting Lenders, substantially in the form attached hereto as Exhibit F.

              (uuuu) “Term DIP Lenders” means the Persons party to the Term DIP Facility
Agreement as “Lender” from time to time thereunder.

             (vvvv) “Termination Event” means a Lender Termination Event, a Company
Termination Event, or an Other Termination Event.

                (wwww)        “Transaction Expenses” means all reasonable fees, costs and
expenses of each of the Consenting Lenders’ Advisors, in each case, (i) in connection with the
negotiation, formulation, preparation, execution, delivery, implementation, consummation and/or
enforcement of this Agreement and/or any of the other Definitive Documents, and/or the
transactions contemplated hereby or thereby, and/or any amendments, waivers, consents,
supplements or other modifications to any of the foregoing and, to the extent applicable,
(ii)(A) consistent with any engagement letters or fee reimbursement letters entered into between
the applicable GCS Parties, on the one hand, and the applicable Consenting Lenders’ Advisors, on

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the other hand, (as supplemented and/or modified by this Agreement) or (B) as provided in the
DIP Order and/or the Confirmation Order.

                (xxxx) “UCC” means the Uniform Commercial Code as in effect from time to time
in the State of New York.

               2.     Exhibits. The Definitive Documents attached as exhibits hereto are
expressly incorporated herein by reference and made a part of this Agreement as if fully set forth
herein. The terms and conditions of the Restructuring are set forth in the Definitive Documents;
provided, however, that the Definitive Documents are supplemented by the terms and conditions
of this Agreement. In the event of any inconsistencies between the terms of this Agreement and
the Definitive Documents, the relevant Definitive Document shall govern.

               3.     Bankruptcy Process; Plan of Reorganization.

               (a)    Solicitation of the Plan. As soon as reasonably practicable after the Support
Effective Date has occurred, Midco will commence solicitation of the Plan through the Disclosure
Statement and other Solicitation Materials and take all reasonably practicable steps to secure
acceptance of the Plan prior to the Petition Date (as defined below).

                (b)   Commencement of the Chapter 11 Case. Provided that the Support
Effective Date has occurred and Midco has received sufficient votes to accept the Plan from the
class of Existing Term Loan Claims, as soon as reasonably practicable, but in any event no later
than 11:59 p.m. prevailing Central Time on November 8, 2021 (the “Outside Petition Date”) (the
date on which such filing actually occurs, the “Petition Date”), Midco shall file with the
Bankruptcy Court a voluntary petition for relief under chapter 11 of the Bankruptcy Code and any
and all other documents necessary to commence the Chapter 11 Case.

               (c)   Filing of the Plan. On the Petition Date, Midco shall file the Plan and the
Disclosure Statement with the Bankruptcy Court.

                (d)    Confirmation of the Plan. Midco shall use commercially reasonable efforts
to obtain confirmation of the Plan as soon as reasonably practicable following the Petition Date in
accordance with the Bankruptcy Code and on terms consistent with this Agreement, and each of
the other GCS Parties and each Consenting Lender shall use commercially reasonable efforts to
cooperate fully in connection therewith.

               4.     Agreements of the Consenting Lenders.

                (a)     Agreement to Support. During the Support Period, each Consenting Lender
agrees that, subject to the receipt by such Consenting Lender of a Disclosure Statement and other



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Solicitation Materials in respect of the Plan that comply with applicable Law and are consistent
with the terms and conditions of this Agreement, it shall:

                      (i)     (A) consent to Midco’s use of cash collateral, to the extent there is
       any cash collateral, and incurrence of the Term DIP Facility to support the
       Chapter 11 Case, including deeming the Existing Term Loan Credit Agreement to be
       amended as necessary to permit the incurrence of the Term DIP Facility, and (B) to the
       extent applicable, fund the loans under the Term DIP Facility;

                      (ii)   vote, or cause to be voted, all of its Claims and Interests against
       Midco to accept the Plan and issue the releases of its Claims against each other Released
       Party (as defined in the Plan) by delivering its duly executed and completed ballots
       accepting the Plan on a timely basis following the commencement of the Solicitation, and
       not withdraw, opt-out, or object to the Releases in the Plan;

                       (iii) give any notice, order, instruction, or direction to the Existing Term
       Loan Facility Agent necessary to give effect to the Restructuring in accordance with this
       Agreement and as otherwise determined by the Consenting Lenders in their reasonable
       discretion and in consultation with the GCS Parties; provided that such Consenting Lender
       shall not be required to provide the Existing Term Loan Facility Agent or any other person
       or entity with any indemnities or similar undertakings in connection with taking any such
       action;

                      (iv)   not change, revoke or withdraw (or cause to be changed, revoked or
       withdrawn) any such vote or release in clause (ii) above; provided that such vote shall be
       immediately revoked and deemed void ab initio upon termination of this Agreement prior
       to the confirmation of the Plan pursuant to the terms hereof (it being understood that any
       termination of the Support Period with respect to a Consenting Lender shall entitle such
       Consenting Lender to change its vote in accordance with section 1127(d) of the Bankruptcy
       Code, and the Solicitation Materials with respect to the Plan shall be consistent with this
       proviso);

                      (v)    not (A) object to, delay, impede or take any other action to interfere
       with acceptance or implementation of the Plan, (B) directly or indirectly solicit, encourage,
       propose, file, support, participate in the formulation of or vote for any Alternative
       Transaction or (C) otherwise take any action that could in any material respect interfere
       with, delay or postpone the consummation of the Restructuring;

                      (vi)     not direct the Existing Term Loan Facility Agent or any other Person
       acting as agent for, or otherwise on behalf of, such Consenting Lender under the Existing
       Term Loan Documents to take any action inconsistent with, or that would constitute a
       violation of, such Consenting Lender’s obligations under this Agreement, and, if,

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       notwithstanding the foregoing, any such Person takes any such action, such Consenting
       Lender shall direct such Person to cease and refrain from taking any such action; provided,
       however, that nothing in this clause (vi) shall require the Consenting Lenders to (A) waive
       any Default or Event of Default (each as defined in the Existing Term Loan Credit
       Agreement) or any of the Existing Term Loan Claims or release or terminate any liens on
       any of the collateral securing the Existing Term Loan Claims or (B) forbear with respect
       to any Event of Default (as defined in the Existing Term Loan Credit Agreement) other
       than as set forth in Section 4(e);

                      (vii) support and take all actions necessary or reasonably requested in
       writing by the GCS Parties to facilitate the consummation of the Restructuring in a timely
       manner as contemplated by this Agreement and the Definitive Documents; provided that
       no Consenting Lender shall be obligated to waive or consent to any modification of any
       condition to the consummation of any part of the Restructuring set forth in any Definitive
       Document;

                       (viii) negotiate in good faith, execute, perform its obligations under, and
       consummate the transactions contemplated by, and effectuated in accordance with the
       terms of, the applicable Definitive Documents to which it is (or will be) a party; provided,
       however, that no Consenting Lender shall be obligated to waive or consent to any
       modification of any condition to the consummation of any part of the Restructuring set
       forth in any applicable Definitive Document;

                       (ix)    other than in respect of any such rights preserved under Section 4(b)
       below, not, directly or indirectly, through any person or entity, take any action, including
       initiating (or encouraging any other person or entity to initiate) any legal proceeding, that
       is inconsistent with this Agreement or that would reasonably be expected to prevent,
       interfere with, delay, or impede the consummation of the Restructuring; and

                       (x)     to the extent any legal or structural impediments arise that are
       reasonably expected to prevent, hinder, or delay the consummation of, the Restructuring,
       negotiate in good faith with the other Consenting Lenders and the GCS Parties appropriate
       additional or alternative provisions to address any such impediment;

Notwithstanding anything in this Agreement to the contrary, (a) no Consenting Lender shall be
required to incur, assume, become liable in respect of or suffer to exist any expenses, liabilities or
other obligations, or agree to or become bound by any commitments, undertakings, concessions,
indemnities or other arrangements that could result in expenses, liabilities or other obligations to
such Consenting Lender (other than, in the case of any Consenting Lender that is also a Term DIP
Lender, any commitments in respect of the Term DIP Facility) and (b) nothing in this Agreement
shall limit any of the rights or remedies of the Term DIP Agent or the Term DIP Lenders under or
with respect to the Term DIP Facility Agreement and related loan documents and the DIP Order.

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                 (b)     Rights of Consenting Lenders Unaffected. Nothing contained herein shall:
(i) limit (A) the rights of a Consenting Lender under any applicable bankruptcy, insolvency,
foreclosure or similar proceeding, including appearing as a party in interest in any matter to be
adjudicated in order to be heard concerning any matter arising in the Chapter 11 Case so long as
the exercise of any such right is not inconsistent with such Consenting Lender’s obligations under
this Agreement, (B) the ability of a Consenting Lender to purchase, sell or enter into any
transactions regarding any Claims or Interests, subject to the terms hereof, (C) except as set forth
in this Agreement, any right or remedy of any Consenting Lender under, as applicable, (x) the
Existing Term Loan Credit Agreement or any related loan documents and (y) any other applicable
agreement, instrument or document that gives rise to a Consenting Lender’s Claims or Interests,
(D) the ability of a Consenting Lender to consult with any of the other Parties or any other party
in interest in the Chapter 11 Case (including any official committee and the United States Trustee),
(E) the rights of any Consenting Lender to engage in any discussions, enter into any agreements
or take any other action regarding matters to be effectuated after the expiration or termination of
the Support Period, (F) the ability of a Consenting Lender to enforce any right, remedy, condition,
consent or approval requirement under this Agreement or any of the Definitive Documents, (G)
the ability of a Consenting Lender to file a proof of claim, if required, or (H) the rights of any
Consenting Lender to assert or raise any objection permitted under this Agreement in connection
with the Restructuring, (ii) constitute a waiver or amendment of any term or provision of (A) the
Existing Term Loan Credit Agreement or any of the other related loan documents or (B) any other
agreement, instrument or document that gives rise to a Consenting Lender’s Claims or Interests,
or (iii) constitute a termination or release of any liens on the collateral securing the Existing Term
Loan Claims. Without limiting the foregoing in any way, if this Agreement is terminated (by one
or all of the Parties hereto) in accordance with its terms for any reason, each Consenting Lender
fully reserves any and all of its respective rights, remedies and interests.

                (c)     Transfers. Each Consenting Lender agrees that, for the duration of the
Support Period, such Consenting Lender shall not sell, transfer, loan, issue, pledge, hypothecate,
assign or otherwise dispose of (each, a “Transfer”), directly or indirectly, in whole or in part, any
of its Claims or any option thereon or any right or interest therein or Interests (including grant any
proxies, deposit any Claims into a voting trust or entry into a voting agreement with respect to any
such Claims), unless the transferee thereof (each, a “Transferee”) (i) is, at the time of the Transfer,
a Consenting Lender or (ii) is, at the time of the Transfer, an Affiliate of a Consenting Lender, and,
prior to such Transfer, agrees in writing for the benefit of the Parties to become a Consenting
Lender and to be bound by all of the terms of this Agreement applicable to Consenting Lenders
(including with respect to any and all Claims or Interests it already may hold against or in the
Company or any other of the GCS Parties prior to such Transfer and funding of the Term DIP
Facility unless the transferor Consenting Lender agrees to remain obligated to fund its portion of
the Term DIP Facility) by executing a joinder agreement substantially in the form attached hereto
as Exhibit G (a “Joinder Agreement”), and delivering an executed copy thereof within two (2)
business days following such execution, to (i) Weil, Gotshal & Manges LLP (“Weil”), counsel to


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the GCS Parties, (ii) Stroock, and (iii) K&S, in which event (A) the Transferee shall be deemed to
be a Consenting Lender hereunder to the extent of such transferred rights and obligations (and all
Claims and Interests it already may own or hold prior to such Transfer) and (B) the transferor
Consenting Lender shall be deemed to relinquish its rights (and be released from its obligations)
under this Agreement solely to the extent of such transferred rights and obligations.
Notwithstanding the foregoing or any other provision in this Agreement, each transferor
Consenting Lender and each Transferee agrees that if the Transferee ceases to be an Affiliate of
the transferor Consenting Lender, then, promptly (but in any event within three (3) business days)
after such cessation, such Transferee shall Transfer back to such transferor Consenting Lender any
Claims (or any options thereon or any right or interest therein) or Interests transferred to it by such
transferor Consenting Lender. Notwithstanding the foregoing, the restrictions on Transfer set forth
in this Section 4(c) shall not apply to the grant of any liens or encumbrances on any Claims or
Interests in favor of a bank or broker-dealer holding custody of such Claims or Interests in the
ordinary course of business and which lien or encumbrance is released upon the Transfer of such
Claims or Interests. Each Consenting Lender agrees that any Transfer of any Claims that does not
comply with the terms and procedures set forth herein shall be deemed void ab initio, and the
applicable GCS Parties and each other Consenting Lender shall have the right to enforce the
voiding of such Transfer.

              (d)    Additional Claims and Interests. This Agreement shall in no way be
construed to preclude the Consenting Lenders from acquiring additional Claims or Interests;
provided, however, that any such additional Claims or Interests shall automatically and
immediately upon acquisition by a Consenting Lender be deemed subject to the terms of this
Agreement.

                (e)   Forbearance. During the Support Period, the Consenting Lenders each
hereby agree to forbear from the exercise of any rights or remedies they may have under the
Existing Term Loan Credit Agreement or any other Loan Documents (as defined in the Existing
Term Loan Credit Agreement) and under applicable United States or foreign Law or otherwise, in
each case, with respect to any Defaults or Events of Default (in each case, as such term is defined
in the Existing Term Loan Credit Agreement) listed on Schedule A attached hereto (the “Specified
Defaults”). For the avoidance of doubt, the forbearance set forth in this Section 4(e) shall not
constitute a waiver with respect to any of the Specified Defaults, or any other Defaults or Events
of Default under the Existing Term Loan Credit Agreement or any other Loan Document and shall
not bar any Consenting Lender from filing a proof of claim or taking action to establish the amount
of its Claims. Except as expressly provided in this Agreement, nothing herein is intended to, or
does, in any manner waive, limit, impair, or restrict any right of any Consenting Lender or the
Existing Term Loan Facility Agent or the ability of each of the Consenting Lenders or the Existing
Term Loan Facility Agent to protect and preserve its rights, remedies and interests, including any
Claims it may have against the GCS Parties. If the transactions contemplated hereby are not



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consummated, or if this Agreement is terminated for any reason, the Parties fully reserve any and
all of their rights.

               (f)     The covenants and agreements of the Consenting Lenders in this Section 4
are several and not joint.

               5.      Agreements of the GCS Parties.

                 (a)     Good Faith and Commercially Reasonable Efforts. The GCS Parties agree
to (i) act in good faith, support and use commercially reasonable efforts to complete successfully
the Restructuring and (ii) do all things reasonably necessary and appropriate, or reasonably
requested by the Consenting Lenders, in furtherance of implementing and consummating the
Restructuring in accordance with, and within the time frames contemplated by, this Agreement,
including, without limitation, (1) complete and file, within the timeframes contemplated herein
and set forth in Section 7, the Plan, the Disclosure Statement, and the other Definitive Documents,
(2) use commercially reasonable efforts to obtain orders of the Bankruptcy Court approving the
DIP Order, the Disclosure Statement, and confirming the Plan, and any other Definitive Document
requiring the approval of the Bankruptcy Court within the timeframes contemplated by this
Agreement and set forth in Section 7 (or, if this Agreement is silent, as soon as reasonably
practicable); (3) prosecute and defend any objections or appeals relating to the DIP Order, any
orders approving the Disclosure Statement, the Plan, and/or the Restructuring or any Definitive
Document filed or entered into by the Company in connection therewith; and (4) not take any
action that is inconsistent with, or to alter, delay, impede, or interfere with, approval of the motions
for approval of the Term DIP Facility, the Disclosure Statement, confirmation of the Plan, or
consummation of the Plan and the Restructuring or any Definitive Document filed or entered into
by the Company, in each case to the extent consistent with, upon the advice of counsel, the
fiduciary duties of the boards of managers, members or partners, as applicable, of each of the GCS
Parties; provided that none of the GCS Parties shall be obligated to agree to any modification of
any document that is inconsistent with the Restructuring. To the extent any legal or structural
impediments arise that would prevent, hinder or delay the consummation of the Restructuring, the
GCS Parties agree to negotiate in good faith with the Consenting Lenders appropriate additional
or alternative provisions to address any such impediment.

                (b)    Definitive Documents. Each of the GCS Parties agrees to (i) provide the
applicable Definitive Documents to, and afford reasonable opportunity for comment and review
of such Definitive Documents by, each of the Consenting Lenders’ Advisors no less than three (3)
business days in advance of any filing, execution, distribution or use (as applicable) thereof, except
(in the case of any applicable Definitive Document other than the Plan, the Disclosure Statement,
the motion to approve the Disclosure Statement and Solicitation, the Plan Supplement and any
other material Definitive Document) if the applicable Definitive Document cannot be so provided
to the Consenting Lenders’ Advisors due to exigent circumstances, in which case such documents
will be provided as soon as reasonably practicable prior to filing, execution, distribution or use (as

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applicable) thereof, (ii) consult in good faith with each of the Consenting Lenders’ Advisors
regarding the form and substance of the applicable Definitive Documents in advance of the filing,
execution, distribution or use (as applicable) thereof, (iii) not modify the Definitive Documents,
in whole or in part, in a manner that is not consistent with this Agreement in all material respects,
(iv) not amend, supplement or otherwise modify any of the Existing ABL Facility Loan Documents
in any material respect, and not enter into any new agreement with any of the Existing ABL
Secured Parties, in each case, without the prior written consent of the Consenting Lenders (not to
be unreasonably withheld, conditioned, or delayed) or as expressly permitted in accordance
herewith and (v) negotiate in good faith, execute, perform its obligations under, and consummate
the transactions contemplated by, the applicable Definitive Documents to which it is (or will be) a
party; provided, however, that the obligations under this Section 5(b) shall in no way alter or
diminish any right expressly provided to any applicable Consenting Lender under this Agreement
to review, comment on, and/or consent to the form and/or substance of any document.

                 (c)    Continued Business Operations. The GCS Parties agree, subject to
applicable Laws, to use commercially reasonable efforts, consistent with the pursuit and
consummation of the Restructuring, to preserve intact in all material respects the current business
operations of the GCS Parties (other than as consistent with applicable fiduciary duties), keep
available the services of its current officers and material employees (in each case, other than as
contemplated by the GCS Parties’ current business plan provided to the Consenting Lenders,
voluntary resignations, terminations for cause, or terminations consistent with applicable fiduciary
duties) and preserve in all material respects its relationships with customers, sales representatives,
suppliers, distributors, and others, in each case, having material business dealings with the GCS
Parties (other than terminations for cause or consistent with applicable fiduciary duties). Each of
the GCS Parties further agrees to (i) conduct, and cause its respective subsidiaries to conduct, its
businesses and operations only in the ordinary course in a manner that is consistent with past
practices and in compliance with applicable Law, (ii) maintain its physical assets, properties and
facilities in their proper working order, condition and repair as of the Support Effective Date,
ordinary wear and tear excepted, (iii) maintain its respective books and records on a basis
consistent with prior practice, (iv) maintain all insurance policies, or suitable replacements therefor
reasonably acceptable to the Consenting Lenders, in full force and effect, (v) maintain its good
standing and legal existence under the laws of the state in which it is incorporated, organized or
formed, except to the extent that any failure to maintain its good standing arises solely as a result
of the filing of the Chapter 11 Case, (vi) maintain all of its material permits in full force and effect
(including by filing all reports, notifications and filings with, and paying all fees to, the applicable
Governmental Entities necessary to maintain all such permits in full force and effect), (vii) use
commercially reasonable efforts to comply in all material respects with, perform all of its
obligations under, and maintain in full force and effect, each Material Contract (other than any
Material Contract that has expired after the Support Effective Date in accordance with its terms)
and (viii) not, without first obtaining the consent (email being sufficient) of the Consenting
Lenders, directly or indirectly, through any Person (A) enter into any contract which, if existing as


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of the Support Effective Date, would constitute a Material Contract had it been entered into prior
to the Support Effective Date, (B) amend, supplement or modify or terminate any Material
Contract (other than any Material Contract that has terminated after the Support Effective Date in
accordance with its terms), (C) incur or commit to incur any capital expenditures, other than capital
expenditures that are included in any applicable budget approved pursuant to the DIP Order or (D)
amend or propose to amend any of its organizational documents.

                (d)     Employee Matters. Each GCS Party agrees that it shall (i) maintain all
existing compensation and benefit plans and other employee arrangements in the ordinary course
of business unless otherwise required by Law or the terms of the benefit plans or arrangements
and (ii) without first obtaining the consent of the Consenting Lenders, not, directly or indirectly,
through any Person, (A) grant or agree to grant any additional or any increase in the wages, salary,
bonus, commissions, retirement benefits, pension, severance or other compensation or benefits
(including in the form of any vested or unvested equity interests of any kind or nature), or enter
into, adopt or establish any new plan or arrangement that provides for the foregoing, (1) to any
insider (as defined in section 101(a)(31) of the Bankruptcy Code) or executive-level employee of
any of the GCS Parties or (2) pursuant to any plan, practice, program or arrangement applicable to
more than one person, (B) amend or terminate any existing compensation or benefit plans or
arrangements (including employment agreements), except as required by Law or the terms of the
benefit plan or arrangement or (C) enter into, adopt or establish any key employee retention or
incentive plan or other similar agreement or arrangement.

                (e)     Legal Challenges. The GCS Parties agree not to, directly or indirectly,
through any person or entity, commence or support or encourage any other person or entity to
(i) seek discovery in connection with, prepare or commence any proceeding or other action that
challenges (A) the amount, validity, allowance, character, enforceability or priority of any Claims
or Interests held by any of the Consenting Lenders, or (B) the validity, enforceability or perfection
of any lien or other encumbrance securing any Claims or Interests held by any of the Consenting
Lenders or (ii) otherwise seek to restrict any rights of any of the Consenting Lenders. The GCS
Parties further agree to timely object to or oppose any motion or objection filed by any Person or
Entity that would in any respect prevent, hinder or delay the consummation of the Restructuring.

               (f)      Inconsistent Actions. The GCS Parties agree that, for the duration of this
Agreement, the GCS Parties shall not, directly or indirectly, through any person or entity, take, or
encourage any other person or entity to take, any action inconsistent with, or omit to take any
action required by, this Agreement or take any action that would reasonably be expected to prevent,
interfere with, frustrate, delay or impede implementation, solicitation, confirmation or the
consummation of the Restructuring. For the avoidance of doubt, none of the GCS Parties shall,
directly or indirectly, through any Person, (i) seek, solicit, support, encourage, propose, assist,
consent to, vote for, enter or participate in any discussions or any agreement with any person or
entity regarding, pursue or consummate any Alternative Transaction; provided, however, that the


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GCS Parties may participate in discussions with any third party that has made (and not withdrawn)
a bona fide, unsolicited proposal in writing as to which the boards of directors or similar governing
bodies of the GCS Parties determine, in good faith and based upon advice of legal counsel, that
the failure to participate in such discussions would be inconsistent with such board’s or governing
body’s fiduciary duties under applicable Law; provided, that the GCS Parties may solicit proposals
from, provide diligence to, engage in discussions with, encourage, or otherwise negotiate with
third party lenders in connection with refinancing the Existing ABL Facility; provided, further,
that the GCS Parties shall (A) comply with their obligations under Section 5(f) hereunder and
(B) provide such information to the Consenting Lenders’ Advisors regarding (x) any discussions
and/or negotiations relating to any such proposal and/or (y) any amendments, modifications or
other changes to, or any further developments of, any such proposal, in any such case as is
necessary to keep the Consenting Lenders’ Advisors contemporaneously informed as to the status
and substance of such discussions, negotiations, amendments, modifications, changes and/or
developments, (ii) announce publicly, or announce to any of the Parties or other holders of Claims
or Equity Interests, its intention not to support the Restructuring or (iii) execute, deliver and/or file
any applicable Definitive Document (including any amendment, supplement or modification of,
or any waiver to, any Definitive Document) that, in whole or in part, is not consistent in all material
respects with this Agreement or is not otherwise reasonably acceptable to the Consenting Lenders
or file any pleading seeking authorization to accomplish or effect any of the foregoing.

                 (g)     Notifications. Subject to prohibition under applicable Law, each GCS Party
agrees that it shall promptly notify the Consenting Lenders’ Advisors (and in any event within two
(2) business days after obtaining actual knowledge thereof) of (i) any pending, existing, instituted
or threatened direct or derivative Proceeding by (A) any person or entity (other than a
Governmental Entity) involving any of the GCS Parties or any of their respective current or former
officers, employees or directors (in their capacities as such) that is material to the GCS Parties, or
(B) any Governmental Entity (or any person or entity on behalf of a Governmental Entity)
involving any of the GCS Parties or any of their respective current or former officers, employees
or directors (in their capacities as such), except (in any such case) to the extent any of the same are
disclosed on the docket maintained in the Chapter 11 Case, (ii) any breach by any GCS Party in
any respect of any of its obligations, representations, warranties or covenants set forth in this
Agreement, the Term DIP Facility or the DIP Order, (iii) any Material Adverse Effect, (iv) the
happening or existence of any event that shall have made any of the conditions precedent set forth
in (or to be set forth in) any of the Definitive Documents incapable of being satisfied prior to the
Outside Date, (v) the occurrence of any Termination Event (as defined below), (vi) the receipt of
notice from any Governmental Entity or other third party alleging that the consent of such person
or entity is or may be required in connection with the consummation of any part of the
Restructuring, unless such notice is disclosed on the docket maintained in the Chapter 11 Case,
and (vii) any unsolicited proposal or expression of interest with respect to an Alternative
Transaction received by it, with such notice to include the material terms thereof. Each GCS Party
also agrees that if such GCS Party receives an unsolicited proposal or expression of interest with


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respect to an Alternative Transaction, it shall promptly notify the Consenting Lenders’ Advisors
of the receipt thereof, with such notice to include the material terms thereof.

                (h)     Other. Each GCS Party agrees that it shall (i) unless it obtains the prior
written consent of a Consenting Lender otherwise, use the information regarding any Claims held
at any time by such Consenting Lender solely in furtherance of this Agreement and the
Restructuring and keep such information (as well as the names and identities of the Consenting
Lenders) strictly confidential and not disclose it to any other person or entity, except where
disclosure is required by Law, subject to Section 11 hereof, (ii) use reasonable best efforts to
obtain, file, submit or register any and all required Governmental Entity and/or third party
approvals, filings, registrations or notices that are necessary or advisable for the implementation
or consummation of the Restructuring or the approval by the Bankruptcy Court of the applicable
Definitive Documents, (iii) use commercially reasonable efforts to seek additional support for the
Restructuring from their other material stakeholders to the extent reasonably prudent, and (iv) not,
directly or indirectly, through any Person, (A) move for an order from the Bankruptcy Court
authorizing or directing the assumption or rejection of any executory contract (including any
employment agreement or employee benefit plan) or unexpired lease, other than any assumption
or rejection that is expressly contemplated by the Restructuring, (B) unless it obtains the prior
written consent of each of the Consenting Lenders, enter into any contract with respect to debtor-
in-possession financing, cash collateral usage, exit financing and/or other financing arrangements,
other than the Term DIP Facility, the Exit ABL Facility, and the Exit Term Loan Facilities or as
contemplated by the DIP Order, (C) assert, or support any assertion by any Person, that, in order
to act on the provisions of Section 7, the Consenting Lenders shall be required to obtain relief from
the automatic stay from the Bankruptcy Court (and each of the GCS Parties hereby waives, to the
greatest extent possible, the applicability of the automatic stay to the giving of any notice of
termination in accordance with Section 7), (D) authorize, create or issue any additional equity
interests in any of the GCS Parties, or redeem, purchase, acquire, declare any distribution on or
make any distribution on any equity interests in any of the GCS Parties or (E) solely with respect
to Midco, pay, or agree to pay, any indebtedness, liabilities or other obligations (including any
accounts payable or trade payable) that existed prior to the Petition Date or that arose from any
matter, occurrence, action, omission or circumstance that occurred prior to the Petition Date, unless
the Bankruptcy Court authorizes Midco to pay such indebtedness, liabilities or other obligations
(including any accounts payable or trade payable) pursuant to the relief granted in connection with
the First Day Motions.

               6.      Subordination of Existing Term Loan Facility to Term DIP Facility.

Each of the Consenting Lenders, in their collective capacity as all Consenting Lenders and all
Existing Term Lenders on the date hereof (in each case, for and on behalf of themselves and the
Consenting Lenders who are their respective assignees in accordance herewith), hereby agree (and
hereby direct the Existing Term Loan Facility Agent, in accordance with the Existing Term Loan


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Credit Agreement, to agree), in accordance with Section 12.02 of the Existing Term Loan Credit
Agreement, but solely subject to, and effective only as of the Subordination Period Start Date, and
only until the Subordination Period Expiry Date, that:

                (a)     Payment Priority: The Existing Term Obligations shall become subordinate
in right of payment to the DIP Obligations in all respects as of the Subordination Period Start Date,
and shall remain so subordinate until the Subordination Period Expiry Date; provided, that,
notwithstanding anything herein or elsewhere to the contrary, in no event shall any Existing Term
Obligations become, or at any time be (or be deemed to be), subordinate to any Existing ABL
Obligations (except if, but solely to the extent, and only in the limited manner and circumstances
as, expressly provided in the Existing Intercreditor Agreement). Any Existing Term Collateral,
and any Cash Proceeds or non-Cash Proceeds thereof, as the case may be, received during the
Subordination Period by the Existing Term Loan Facility Agent or any other Existing Term
Secured Party, whether received as a voluntary payment, received under any plan of reorganization
or liquidation or otherwise in any Insolvency or Liquidation Proceeding, or in connection with the
exercise of any right or remedy (including set-off) relating to DIP Collateral constituting Existing
Term Collateral (the “DIP Existing Term Collateral”) in contravention of this Section 6, in each
case, shall be segregated by the Existing Term Secured Party that is the recipient thereof, and held
in trust, and shall as soon as is practicable be paid by such recipient over to the Term DIP Agent
for the benefit of the DIP Secured Parties in accordance with the Term DIP Facility Agreement, in
each case, in the same form as received, with any necessary endorsements in form and substance
reasonably satisfactory to the Term DIP Agent and the Existing Term Loan Facility Agent (but
without recourse or warranty as to the Exiting Term Agent or any other Existing Term Secured
Party) or as a court of competent jurisdiction may otherwise direct, in each case, to the extent that
the Liens of the Existing Term Loan Facility Agent in the DIP Existing Term Collateral are valid,
enforceable and perfected. The Term DIP Agent is hereby authorized to make any such
endorsements that comply with the terms hereof as agent for the Existing Term Loan Facility
Agent or any other Existing Term Secured Party, as applicable, and such authorization is coupled
with an interest, and is irrevocable during the Subordination Period; provided, that the same shall
be deemed revoked for all purposes immediately and automatically upon occurrence of, and as of,
the Subordination Period Expiry Date.

               (b)      Lien Priorities: Subject to the terms of this Agreement, but otherwise
notwithstanding (i) the time, manner, order or method of grant, creation, attachment, validity,
enforceability or perfection of any Liens securing the DIP Obligations granted on the DIP Existing
Term Collateral, (ii) the date on which any DIP Loans are extended, (iii) any provision of the UCC
or any other applicable law, including any rule for determining priority thereunder or under any
other law or rule governing the relative priorities of secured creditors, including with respect to
real property or fixtures, (iv) any provision set forth in any DIP Document or any Existing Term
Loan Document (other than this Section 6), or (v) the possession or control by the Existing Term
Loan Facility Agent or any Existing Term Secured Party or any bailee of all or any part of any


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Existing Term Collateral as of the date hereof or otherwise, the Existing Term Secured Parties
shall hereby be deemed to agree that, during the Subordination Period, (I) any Lien on the DIP
Existing Term Collateral securing any Existing Term Obligations now or hereafter held by or on
behalf of the Existing Term Loan Facility Agent or any other Existing Term Secured Party or any
agent or trustee therefor, regardless of how acquired, whether by grant, possession, statute,
operation of law, subrogation or otherwise, shall be junior and subordinate in all respects to all
Liens thereon hereafter held by or on behalf of the Term DIP Agent or any other DIP Secured
Parties or any agent or trustee therefor on the DIP Existing Term Collateral securing any DIP
Obligations and (II) any Lien on the DIP Existing Term Collateral securing any DIP Obligations
held by or on behalf of the Term DIP Agent or any other DIP Secured Party or any agent or trustee
therefor after approval of the Term DIP Facility by the Bankruptcy Court pursuant to the DIP
Order, regardless of how acquired, whether by grant, possession, statute, operation of law,
subrogation or otherwise, shall be senior in all respects to all Liens thereon hereafter held by or on
behalf of the Existing Term Loan Facility Agent or any other Existing Term Secured Party or any
agent or trustee therefor on the DIP Existing Term Collateral securing any Existing Term
Obligations. For the avoidance of doubt, notwithstanding anything herein or elsewhere to the
contrary, in no event shall any Lien on any DIP Existing Term Collateral securing any Existing
Term Obligations now or hereafter held by or on behalf of the Existing Term Loan Facility Agent
or any other Existing Term Secured Party (or any agent or trustee therefor), regardless of how
acquired, become, or at any time be (or be deemed to be), subordinate to any Lien securing any
Existing ABL Obligations now or hereafter held by or on behalf of the Existing ABL Facility
Agent or any other Existing ABL Secured Party (or any agent or trustee therefor), regardless of
how acquired (except if, but solely to the extent, and only in the limited manner and circumstances
as, expressly provided in the Existing Intercreditor Agreement).

                 (c)      Bailee for Perfection. The Existing Term Loan Facility Agent shall at all
times hold the DIP Existing Term Collateral as collateral agent for the Existing Term Secured
Parties in accordance with the Existing Term Loan Documents (including to the extent that
possession or control thereof is taken to perfect a Lien thereon under the UCC or any other
applicable law); provided, that, without limiting the foregoing, and solely during the Subordination
Period, the Existing Term Loan Facility Agent shall hold that part of the DIP Existing Term
Collateral that is in its possession or control (or in the possession or control of its agents or bailees),
including, without limitation, any accounts subject to a Control Agreement (as defined in the
Existing Term Loan Credit Agreement), in each case, to the extent that possession or control
thereof is taken to perfect a Lien thereon under the UCC or any other applicable law (i) as collateral
agent for the Existing Term Secured Parties, and (ii) as gratuitous bailee for, and, solely with
respect to any collateral that cannot be perfected under the UCC in such manner, as agent for, the
Term DIP Agent (on behalf of the DIP Secured Parties) and any assignee thereof, in each case,
solely for the purpose of perfecting the security interest granted under DIP Documents under the
UCC (such bailment and agency as provided herein being intended to satisfy the requirements of
Sections 8-106(d)(3), 8-301(a)(2), 9-104 and 9-313(c) of the UCC). Notwithstanding the


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foregoing or anything else in this Agreement or otherwise, the Existing Term Loan Facility Agent
shall not (and shall not be deemed to), whether by reason of this Section 6 or any other provision
of this Agreement or any other document, or otherwise, as the case may be, at any time (including
during the Subordination Period) (A) have any fiduciary or other relationship, duty or obligation
(as applicable), in respect of, or owing to, the Term DIP Agent or any other DIP Secured Parties,
or (B) have any obligation whatsoever to the Term DIP Agent or any other DIP Secured Parties to
(x) ensure that any DIP Existing Term Collateral is genuine or owned by any of the Grantors or
(y) except as expressly set forth in this Section 6(c), preserve rights or benefits of any such Person;
provided, further, that, for the avoidance of doubt, the duties or responsibilities of the Existing
Term Loan Facility Agent expressly set forth in this Section 6(c) shall be limited to solely holding
the DIP Existing Term Collateral as gratuitous bailee or agent (as applicable hereunder) in
accordance with this Section 6(c).

               (d)     Exercise of Remedies. Upon the occurrence of an Event of Default under
and as defined in the Term DIP Facility Agreement, remedies may be exercised by Term DIP
Agent (acting at the direction of the “Required Lenders” under (and as defined in) the Term DIP
Facility Agreement) with the consent of the Consenting Lenders and in accordance with the DIP
Order.

                 (e)     Prohibition on Contesting DIP Claims and DIP Liens. During the
Subordination Period, the Consenting Lenders and the Existing Term Loan Facility Agent, for
itself and on behalf of each Existing Term Secured Party, shall not (and hereby waives any right
to) contest, or support any other Person in contesting, in any proceeding (including, the Chapter
11 Case or any other Insolvency or Liquidation Proceeding), (i) the priority, validity, perfection or
enforceability of a Lien held by or on behalf of any of the DIP Secured Parties in the DIP Collateral
or (ii) the validity or enforceability of any DIP Document (or any DIP Obligations thereunder).

                (f)     Post-Petition Interest Fees and Expenses; Adequate Protection Payments:
No Existing Term Secured Party may retain payment of post-petition interest, fees, and expenses,
or any cash payments on account of adequate protection in any Insolvency or Liquidation
Proceeding, pursuant to Sections 361, 362, 363 or 364 of the Bankruptcy Code during the
Subordination Period except as provided herein or as otherwise consented to by the Existing Term
Loan Facility Agent and the Term DIP Agent. If any Existing Term Secured Party receives any
payment of post-petition interest, fees, and expenses, or any cash payments on account of adequate
protection in any Insolvency or Liquidation Proceeding pursuant to Sections 361, 362, 363 or 364
of the Bankruptcy Code during the Subordination Period in contravention of this Agreement, such
Existing Term Secured Party shall hold the same in trust for the Term DIP Agent, and shall as
soon as is practicable pay (or cause the same to be paid) over to the Term DIP Agent for the benefit
of the DIP Secured Parties in the same form as received, in each case, consistent with the manner
provided in clause (a) of this Section 6.



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                (g)     Plan of Reorganization. During the Subordination Period, no Existing Term
Secured Party may vote in favor of, or otherwise support or enter into, a plan of reorganization or
liquidation, or other agreement governing the distribution of a Grantor’s assets, in any Insolvency
or Liquidation Proceeding (an “Insolvency or Liquidation Plan”) that provides for the
distribution of Cash Proceeds or non-Cash Proceeds or any other property of a Grantor to the
Existing Term Secured Party unless (i) such Insolvency or Liquidation Plan provides for the
Discharge of the DIP Obligations or (ii) the Term DIP Agent (acting at the direction of the
“Required Lenders” under (and as defined in) the Term DIP Facility Agreement) has consented in
writing to such Insolvency or Liquidation Plan. Notwithstanding the foregoing, the Existing Term
Secured Parties may vote in favor of the Plan at any time (including during the Subordination
Period), and the provisions hereof shall cease to be in effect (including as applicable to any
Insolvency or Liquidation Plan) immediately and automatically upon expiry of the Subordination
Period.

                (h)     Other Chapter 11 Issues. During the Subordination Period, if any Grantor
shall become subject to any Insolvency or Liquidation Proceeding, no Existing Term Secured Party
shall (A) offer to provide, or support a third-party in providing, debtor-in-possession financing to
any Grantor, (B) consent to any Grantor’s use of cash collateral constituting DIP Existing Term
Collateral, or (C) participate in any sale of substantially all of the assets of any Grantor pursuant
to Section 363 of the Bankruptcy Code or under an Insolvency or Liquidation Plan, in each case
unless the Term DIP Agent (acting at the direction of the “Required Lenders” under the Term DIP
Facility Agreement) has consented in writing to such action.

               (i)       Purchase Option. The Existing Term Secured Parties shall have the right to
purchase by way of assignment (and shall thereby also assume all commitments and duties of the
Term DIP Agent and DIP Lenders), all, but not less than all, of the DIP Obligations at any time
during the DIP Purchase Option Period (as defined below); provided that the purchase price shall
be equal to the sum of (A) 100% of the principal amount of all outstanding DIP Loans, and all
accrued unpaid interest thereon (including, without limitation, default interest), (B) all accrued and
unpaid costs, premiums, fees and expenses payable under the DIP Documents (including
reasonable and documented out-of-pocket attorneys’ fees and legal expenses subject to
reimbursement under the DIP Documents, and (C) the amount required to be paid by any Grantors
to Term DIP Agent or any other DIP Secured Party as of the date of the proposed purchase pursuant
to any indemnity provision contained in the DIP Documents. The right to purchase the DIP
Obligations may be exercised by giving irrevocable notice to the Term DIP Agent at any time
during the period that begins on the date of the occurrence of any of the following (such date, the
“DIP Purchase Option Period”): (1) an Event of Default has occurred under the DIP Documents
and has not been cured by the Grantors or waived by the DIP Lenders within thirty (30) days of
the occurrence thereof, (2) the maturity of the DIP Obligations has been accelerated, (3) the Term
DIP Agent or any other DIP Secured Party has commenced, or has notified the Existing Term Loan
Facility Agent that it intends to commence, the exercise of any rights and remedies with respect to


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any Collateral, (4) a payment Event of Default has occurred and is continuing under the DIP
Documents, or (5) any Grantor (other than Midco) has commenced a Chapter 11 Case.
Notwithstanding anything in Section 13 to the contrary, only the consent of the Consenting
Lenders, the Existing Term Loan Facility Agent, the Term DIP Agent and Term DIP Lenders shall
be required for any amendment, supplement or other modification of, or any waiver or consent or
other agreement under, this Section 6(i).

               (j)   Acknowledgment and Agreement of the GCS Parties and the Existing Term
Loan Facility Agent.

                       (i)     The Existing Term Loan Facility Agent hereby acknowledges the
       direction given to it above by the Consenting Lenders in their capacity as Existing Term
       Lenders, and, in reliance thereon, hereby provides, effective as of the start of the
       Subordination Period, each of the agreements required to be provided by it pursuant to the
       express terms of clauses (a) through (i) of this Section 6, and agrees to comply, during (but
       only until expiry of) the Subordination Period, with its express obligations thereunder, in
       each case, to the extent required hereby.

                        (ii)    The GCS Parties hereby acknowledge, consent to and confirm the
       terms and provisions of this Section 6, and hereby covenant and agree to, at all times during
       the Subordination Period, (x) comply with each of their respective obligations hereunder
       to the fullest extent required hereunder, and (y) not take any action that is inconsistent with,
       contrary to, or could reasonably be expected to result in any default or breach by any Person
       of, any provision of this Agreement.

                (k)     Enforceability and Continuing Priority. This Section 6 (including the
relative rights of the DIP Secured Parties and the Existing Term Secured Parties in respect of any
DIP Existing Term Collateral or Proceeds of DIP Existing Term Collateral) shall become effective
solely as of the start of the Subordination Period, and shall only be in effect during the
Subordination Period, and shall cease to be in effect immediately and automatically upon expiry
of Subordination Period, without requirement for any action or consent by any Party hereto or any
other Person. The provisions of this Section 6 are intended to be and shall be enforceable during
the Subordination Period as a subordination agreement within the meaning of Section 510 of the
Bankruptcy Code (or similar Bankruptcy Law).

               7.     Termination of Agreement.

               This Agreement shall automatically terminate three (3) business days following the
delivery of written notice from the Consenting Lenders to the other Parties (in accordance with
Section 22) at any time after and during the continuance of any Lender Termination Event. In
addition, this Agreement shall automatically terminate three (3) business days following the
delivery of written notice from the GCS Parties to the Consenting Lenders (in accordance with

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Section 22) at any time after the occurrence and during the continuance of any GCS Party
Termination Event. This Agreement shall terminate automatically on the Effective Date without
any further required action or notice.

              (a)     A “Lender Termination Event” shall mean any of the following:

                      (i)     The breach in any material respect (without giving effect to any
       “materiality” qualifiers set forth therein) by any GCS Party of any of the undertakings,
       representations, warranties or covenants of the GCS Parties set forth herein which remains
       uncured for a period of three (3) business days after the receipt of written notice of such
       breach from the Consenting Lenders pursuant to this Section 7 and in accordance with
       Section 22 (as applicable); provided that the GCS Parties reserve all rights they may have
       to challenge the exercise by the Consenting Lenders of their ability to terminate this
       Agreement pursuant to this Section 7(a)(i);

                     (ii)    On October 20, 2021, unless Midco has commenced the Solicitation
       (the “Outside Solicitation Date”).

                     (iii)    On the Outside Petition Date, unless Midco has commenced the
       Chapter 11 Case.

                      (iv)     On November 9, 2021, unless Midco has completed the Solicitation
       on such date or commenced the Chapter 11 Case and requested authority to complete the
       Solicitation postpetition.

                      (v)     On the Petition Date, unless Midco has filed the First Day Motions,
       the Plan, the Disclosure Statement, a motion to schedule a joint hearing for approval of the
       Plan and the Disclosure Statement, and a motion for approval of the Term DIP Facility in
       form and substance satisfactory to the Consenting Lenders.

                    (vi)   On the Petition Date, unless the parties to the Settlement and Release
       Agreement have executed and exchanged signature pages thereto.

                     (vii) On the date that is 21 days after the Petition Date, if the Bankruptcy
       Court shall not have held a joint hearing for approval of the Plan and the Disclosure
       Statement.

                      (viii) On the date that is 24 days after the Petition Date, if the Bankruptcy
       Court shall not have entered the DIP Order in form and substance reasonably satisfactory
       to the Consenting Lenders.




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                (ix)  On the date that is 24 days after the Petition Date, if the Bankruptcy
Court shall not have entered the Confirmation Order in form and substance reasonably
satisfactory to the GCS Parties and the Consenting Lenders.

                 (x)    Midco (A) withdraws the Plan or Disclosure Statement or files any
motion or pleading with the Bankruptcy Court that is not consistent with this Agreement
or the Definitive Documents in all material respects and such motion or pleading has not
been withdrawn prior to the earlier of (i) two (2) business days after the Midco receives
written notice from the Consenting Lenders (in accordance with Section 22) that such
motion or pleading is materially inconsistent with this Agreement or the Definitive
Documents and (ii) entry of an order of the Bankruptcy Court approving such motion or
pleading, (B) publicly announces, or announces in writing to any other Party, its intention
to withdraw the Plan or not support the Plan, (C) agrees to pursue (including, for the
avoidance of doubt, as may be evidenced by a term sheet, letter of intent, or similar
document) or publicly announces its intent to pursue an Alternative Transaction, (D) moves
to voluntarily dismiss the Chapter 11 Case, (E) moves for conversion of the Chapter 11
Case to a case under chapter 7 under the Bankruptcy Code, (F) moves for court authority
to sell any material asset or assets without the written consent of the Consenting Lenders,
or (G) moves for the appointment of an examiner with expanded powers or a chapter 11
trustee and, in any such case, such withdrawal, announcement or motion, as applicable, has
not been withdrawn or retracted by the Debtor within three (3) business days after the date
such withdrawal, announcement or motion was made.

              (xi)    A chapter 11 trustee or examiner with expanded powers shall have
been appointed in the Chapter 11 Case.

               (xii) If either (A) any GCS Party (or any person or entity on behalf of any
GCS Party or its bankruptcy estate with proper standing) files a motion, application or
adversary proceeding (or supports or fails to timely object to such a filing) challenging the
validity, enforceability, perfection or priority of, or seeking invalidation, avoidance,
disallowance, recharacterization or subordination of any of the obligations or Existing
Term Loan Claims under the Existing Term Loan Credit Agreement, or (B) an order is
entered by the Bankruptcy Court invalidating, subordinating, recharacterizing, limiting or
disallowing, as applicable, the enforceability, priority or validity of the liens securing the
obligations owed under the Existing Term Loan Credit Agreement or the claims in respect
thereof.

              (xiii) The Bankruptcy Court grants relief that is inconsistent with this
Agreement or the Definitive Documents in any respect or would, or would reasonably be
expected to, materially frustrate the purposes of this Agreement, including by preventing
the consummation of the Restructuring, which event remains uncured for three (3) business


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days after such terminating Consenting Lenders transmit a written notice in accordance
with Section 22 hereof detailing any such event.

               (xiv) The Bankruptcy Court enters an order terminating Midco’s
exclusive right to file and/or solicit acceptances of a plan of reorganization.

              (xv) After entry by the Bankruptcy Court of the DIP Order or the
Confirmation Order, any such order is reversed, stayed, dismissed, vacated, reconsidered,
modified or amended without the written consent of the Consenting Lenders.

               (xvi)   Midco files, propounds or otherwise supports any chapter 11 plan
other than the Plan.

               (xvii) The occurrence of any Event of Default under (and as defined in)
the Definitive Documents relating to the Term DIP Facility or the DIP Order.

               (xviii) The occurrence of a Material Adverse Effect.

               (xix)   The occurrence of an Other Termination Event (as defined below).

       (b)     A “GCS Party Termination Event” shall mean any of the following:

                (i)   The breach in any material respect (without giving effect to any
“materiality” qualifiers set forth therein) by a Consenting Lender of any of the
undertakings, representations, warranties or covenants of the Consenting Lenders set forth
herein, which remains uncured for a period of three (3) business days after the receipt of
written notice of such breach from the GCS Parties pursuant to this Section 7 and in
accordance with Section 22 (as applicable); provided that the Consenting Lenders reserve
all rights they may have to challenge the exercise by the GCS Parties of their ability to
terminate this Agreement pursuant to this Section 7(b)(i).

                 (ii)    The board of managers, members, or partners, as applicable, of any
GCS Party reasonably determines in good faith based upon the advice of outside counsel
that continued performance under this Agreement would be inconsistent with the exercise
of its fiduciary duties under applicable Law; provided that in the event that the GCS Parties
desire to terminate this Agreement pursuant to this Section 7(b)(ii), the GCS Parties shall
provide written notice to counsel to the Consenting Lenders three (3) business days prior
to delivering a notice of termination advising such counsel that the GCS Parties intend to
terminate this Agreement pursuant to this Section 7(b)(ii); provided further that the
Consenting Lenders reserve all rights they may have to challenge the exercise by the GCS
Parties of their ability to terminate this Agreement pursuant to this Section 7(b)(ii);



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                      (iii) One or more of the Consenting Lenders seeks approval of or
      supports (or fails to object in a timely manner to) another party in filing or seeking approval
      of an Alternative Transaction.

                     (iv)    The occurrence of an Other Termination Event.

                (c)   Other Termination Events. An “Other Termination Event” shall mean
any of the following:

                      (i)     The issuance by any governmental authority, including any
      regulatory authority or court of competent jurisdiction, of any final, non-appealable ruling,
      judgment or order declaring this Agreement to be unenforceable, enjoining the
      consummation of, rendering illegal or otherwise preventing or prohibiting the
      consummation of a material portion of the Restructuring, and either (A) such ruling,
      judgment or order has been issued at the request of or with the acquiescence of a GCS
      Party, or (B) in all other circumstances, such ruling, judgment or order has not been not
      stayed, reversed or vacated within twenty (20) business days after such issuance; provided
      that this termination right may not be exercised by any Party that sought or requested such
      ruling, judgment or order in contravention of any obligation set out in this Agreement.

                     (ii)    On the date that the Chapter 11 Case shall have been converted to a
      case under chapter 7 of the Bankruptcy Code, or such case shall have been dismissed by
      order of the Bankruptcy Court (unless caused by a default by any Consenting Lender of its
      obligations hereunder, in which event the Consenting Lenders shall not have the right to
      terminate under this clause (ii)).

                     (iii) Upon the entry of an order by the Bankruptcy Court (without the
      prior written consent of the Consenting Lenders) (A) appointing an examiner with
      expanded powers beyond those set forth in sections 1106(a)(3) and (4) of the Bankruptcy
      Code or a trustee in the Chapter 11 Case or (B) rejecting this Agreement.

                      (iv)   Upon entry of any order by the Bankruptcy Court or a Court of
      competent jurisdiction denying confirmation of the Plan, denying consummation of the
      Restructuring (unless caused by a default by any Consenting Lender of its obligations
      hereunder, in which event the Consenting Lenders shall not have the right to terminate
      under this subsection) or refusing to approve the Disclosure Statement; provided that
      neither the GCS Parties nor the Consenting Lenders shall have the right to terminate this
      Agreement pursuant to this clause (c)(iv) if the Bankruptcy Court declines to approve the
      Disclosure Statement or denies confirmation of the Plan subject only to modifications to
      the Plan or the Disclosure Statement that would not have an adverse effect on the recovery
      or treatment that the Consenting Lenders would receive as compared to the recovery they
      would have otherwise received pursuant to the Plan;

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                        (v)    The Existing ABL Forbearance Agreement is terminated prior to the
       Petition Date;

                      (vi)    38 days after the Petition Date (the “Outside Date”), if the Effective
       Date has not occurred.

Notwithstanding the foregoing, any of the dates set forth in this Section 7(c) may be extended by
agreement among the GCS Parties and the Consenting Lenders.

               (d)   Mutual Termination. This Agreement may be terminated by mutual
agreement of the Company and the Consenting Lenders upon the receipt of written notice delivered
in accordance with Section 22.

                (e)     Effect of Termination. Subject to the provisions contained in Section 16,
upon the termination of this Agreement in accordance with this Section 7 (the date of such
termination, the “Termination Date”), this Agreement shall become void and of no further force
or effect and each Party shall, except as otherwise provided in this Agreement, be immediately
released from its respective liabilities, obligations, commitments, undertakings and agreements
under or related to this Agreement, shall have no further rights, benefits or privileges hereunder,
and shall have all the rights and remedies that it would have had and shall be entitled to take all
actions, whether with respect to the Restructuring or otherwise, that it would have been entitled to
take had it not entered into this Agreement and no such rights or remedies shall be deemed waived
pursuant to a claim of laches or estoppel; provided that in no event shall any such termination
relieve a Party from (i) liability for its breach or non-performance of its obligations hereunder prior
to the date of such termination or (ii) obligations under this Agreement which by their terms
expressly survive termination of this Agreement. Upon the termination of this Agreement prior to
the Confirmation Order being entered by the Bankruptcy Court, any and all consents or ballots
tendered by the Parties subject to such termination before such Termination Date shall be deemed,
for all purposes, to be null and void from the first instance and shall not be considered or otherwise
used in any manner by the Parties in connection with the Restructuring, this Agreement or
otherwise. Nothing in this Agreement shall be construed as prohibiting a GCS Party or any of the
Consenting Lenders from contesting whether any such termination is in accordance with its terms
or to seek enforcement of any rights under this Agreement that arose or existed before a
Termination Date. Notwithstanding any provision to the contrary in this Section 7, no Party may
exercise any of its respective termination rights as set forth herein if such Party has failed to
perform or comply in all material respects with the terms and conditions of this Agreement (unless
such failure to perform or comply arises as a result of another Party’s actions or inactions), with
such failure to perform or comply causing, or resulting in, the occurrence of a Lender Termination
Event or Company Termination Event specified herein, except a termination pursuant to
Section 7(b)(b)(ii). If this Agreement has been terminated in accordance with this Section 7 with
respect to any Consenting Lender at a time when permission of the Bankruptcy Court shall be
required for such Consenting Lender to change or withdraw (or cause to change or withdraw) its

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vote to accept the Plan, the GCS Parties shall consent to any attempt by such Consenting Lender
to change or withdraw (or cause to change or withdraw) such vote at such time.

               8.     Definitive Documents; Good Faith Cooperation; Further Assurances.

               (a)      Each Party hereby covenants and agrees to cooperate with each other in
good faith in connection with, and shall exercise commercially reasonable efforts with respect to,
the pursuit, approval, implementation and consummation of the Restructuring, as well as the
negotiation, drafting, execution and delivery of the Definitive Documents. Furthermore, subject
to the terms hereof, each of the Parties shall take such action as may be reasonably necessary or
reasonably requested by the other Parties to carry out the purposes and intent of this Agreement,
and shall refrain from taking any action that would frustrate the purposes and intent of this
Agreement.

               (b)     Each of the Parties agrees to negotiate in good faith any amendments and
modifications to the Definitive Documents as reasonably necessary and appropriate to effectuate
the Restructuring and obtain confirmation of the Plan pursuant to an order of the Bankruptcy Court;
provided that each Party shall have no obligation to agree to any modification that (i) is
inconsistent with this Agreement, (ii) creates any new obligations on any Party, or (iii) adversely
changes or otherwise adversely affects the economic treatment of such Party whether such change
is made directly to the treatment of the Consenting Lenders or otherwise.

               9.     Certain Conditions Precedent to Effective Date.

               The following shall be conditions precedent to the Effective Date:

               (a)    The GCS Parties shall have committed to implementing any items necessary
to satisfy all matters requiring attention received by the Company in connection with the
Company’s 2020-2021 examination by the Consumer Financial Protection Bureau (“CFPB”), in
each case in accordance with any deadlines established by the CFPB.

             (b)     The GCS Parties shall have shared the CFPB examination report with the
Consenting Lenders or shall have requested approval from the CFPB to do so.

                (c)   The GCS Parties shall have provided evidence to the Consenting Lenders
of the relevant GCS Parties’ collection agency registration in Louisiana.

               (d)     The GCS Parties shall have provided the Consenting Lenders with an
update on the status of any material litigation against any of the GCS Parties, including the GCS
Parties’ assessment of the likelihood of success of such litigation.




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               (e)   The GCS Parties shall have delivered an action plan (the “Action Plan”) to
the Consenting Lenders regarding implementation of the following (collectively,
the “Action Items”):

                       (i)    in consultation with the GCS Parties’ customers, potential revisions
       to the GCS Parties’ settlement offer letters, scripts, and communications to include clear
       disclosure that accepting a settlement offer may have tax implications;

                       (ii)    in consultation with the GCS Parties customers, potential revisions
       to the GCS Parties’ settlement offer letters, scripts, and communications to disclose an
       exact dollar figure that a debtor must tender to accept a settlement offer;

                       (iii) revisions to the GCS Parties’ form of collection letter to debtors with
       respect to out-of-statute debt to include clear and conspicuous disclosures that making a
       voluntary payment on an out-of-statute debt could have the effect of restarting the statute
       of limitations;

                       (iv)    revisions to validation of debt letters sent by the GCS Parties to
       include (a) disclosures that the consumer’s balance may increase after the date of the letter
       due to fees, interest, and other charges (if the underlying obligation is interest bearing,
       carries fees or other charges, or the balance will otherwise increase over time), (b) if
       available based on information provided by the GCS Parties’ clients, itemized amounts of
       the debt that the debtor owes, including fees, charges, or other items, and (c) validation of
       debt information and disclosures on the front side of the letter;

                   (v)    upon the effective date of the CFPB’s Regulation F, use of the
       CFPB’s model form validation of debt letter;

                      (vi)   within thirty (30) days of the Effective Date, remediation of any
       open items identified as “high priority” on the GCS Parties’ “issues log” related to credit
       reporting and do-not-call numbers;

                        (vii) revisions to the GCS Parties’ skip tracing training materials to
       reflect the Fair Debt Collection Practices Act definition of “location information” as (a) the
       consumer’s residence, (b) the consumer’s residential telephone number, and (c) the
       consumer’s place of employment;

                       (viii) adoption of a credit reporting policy and procedure incorporating the
       guidelines contained in CFPB’s Regulation V (“Furnisher Rule”) applicable to the GCS
       Parties’ credit reporting activities, specifically addressing the GCS Parties’ controls to
       ensure accuracy and integrity of reported information;



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                      (ix)    revisions to the GCS Parties’ credit reporting policies and
       procedures to clarify the GCS Parties’ obligation to report the results of all direct credit
       reporting dispute investigations to the debtor within thirty (30) days of receipt; and

                      (x)    system controls to prevent the GCS Parties’ representatives from
       leaving voicemail messages for debtors who reside in jurisdictions where applicable laws
       prohibit leaving voicemail messages for a debtor.

The Action Plan shall provide an anticipated timeline for completion of each of the Action Items.
Except for those Action Items where a deadline is explicitly contemplated by this Agreement, the
GCS Parties shall use commercially reasonable efforts to complete each Action Item within sixty
(60) days of the Effective Date. For any Action Item not completed within sixty (60) days after
the Effective Date, the GCS Parties shall provide regular updates to the Consenting Lenders
regarding the status of completion of such Action Item.

               10.     Representations and Warranties.

                (a)     Each Party, severally (and not jointly), represents and warrants to the other
Parties that the following statements are true, correct and complete as of the date hereof (or, with
respect to a Consenting Lender that becomes a party hereto after the date hereof, as of the date
such Consenting Lender becomes a party hereto):

                       (i)     Such Party is validly existing and in good standing under the laws
       of its jurisdiction of incorporation or organization, and has all requisite corporate,
       partnership, limited liability company or similar authority to enter into this Agreement and
       carry out the transactions contemplated hereby and perform its obligations contemplated
       hereunder. The execution and delivery of this Agreement and the performance of such
       Party’s obligations hereunder have been duly authorized by all necessary corporate, limited
       liability company, partnership or other similar action on its part.

                       (ii)    The execution, delivery and performance by such Party of this
       Agreement does not and will not (A) violate any material provision of Law, rule or
       regulation applicable to it or its charter or bylaws (or other similar governing documents),
       or (B) conflict with, result in a breach of or constitute (with due notice or lapse of time or
       both) a default under any material contractual obligation to which it is a party, except, in
       the case of Midco, the filing of the Chapter 11 Case.

                       (iii) This Agreement is the legally valid and binding obligation of such
       Party, enforceable against it in accordance with its terms, except as enforcement may be
       limited by bankruptcy, insolvency, reorganization, moratorium or other similar Laws
       relating to or limiting creditors’ rights generally or by equitable principles relating to
       enforceability.

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                      (iv)    Except as expressly provided in this Agreement, the Plan, and the
       Bankruptcy Code, no consent or approval is required by such Party in order for it to
       effectuate the Restructuring and perform its respective obligations under this Agreement;
       provided that certain of the GCS Parties may be required to seek regulatory or licensing
       approvals in certain jurisdictions in which the GCS Parties conduct business in order to
       implement the Restructuring.

                      (v)     Such Party (A) is a sophisticated party with respect to the subject
       matter of this Agreement and the transactions contemplated hereby, (B) has adequate
       information concerning the matters that are the subject of this Agreement and the
       transactions contemplated hereby, (C) has such knowledge and experience in financial and
       business matters of this type that it is capable of evaluating the merits and risks of entering
       into this Agreement and of making an informed investment decision, and has independently
       and without reliance upon any warranty or representation by, or information from, any
       other Party or any officer, employee, agent or representative thereof, of any sort, oral or
       written, except the warranties and representations expressly set forth in this Agreement,
       and based on such information as such Party has deemed appropriate, made its own analysis
       and decision to enter into this Agreement and the transactions contemplated hereby, and
       (D) acknowledges that it has entered into this Agreement voluntarily and of its own choice
       and not under coercion or duress.

                       (vi)    Such Party is not aware of the occurrence of any event that, due to
       any fiduciary or similar duty to any other Person, would prevent it from taking any action
       required of it under this Agreement.

                      (vii) Such Party is not currently engaged in any discussions, negotiations
       or other arrangements with respect to any Alternative Transaction.

                (b)    Each Consenting Lender severally (and not jointly) represents and warrants
to the GCS Parties that, as of the date hereof (or as of the date such Consenting Lender becomes a
party hereto), such Consenting Lender (i) is the sole beneficial owner, or is the nominee,
investment manager or advisor for beneficial owner(s), of the aggregate principal amount of loans
under the Existing Term Loan Credit Agreement (the “Loans”) set forth below its name on the
signature page hereto (or below its name on the signature page of a Joinder Agreement for any
Consenting Lender that becomes a party hereto after the date hereof), and/or (ii) has, with respect
to the beneficial owner(s) of such Loans, (A) sole investment or voting discretion with respect to
such Loans, (B) full power and authority to vote on and consent to matters concerning such Loans
or to exchange, assign and Transfer such Loans, and (C) full power and authority to bind or act on
the behalf of, such beneficial owner(s).

             It is understood and agreed that the representations and warranties made by a
Consenting Lender that is an investment manager, advisor or subadvisor of a beneficial owner of

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Claims are made with respect to, and on behalf of, such beneficial owner and not such investment
manager, advisor or subadvisor, and, if applicable, are made severally (and not jointly) with respect
to the investment funds, accounts and other investment vehicles managed by such investment
manager, advisor or subadvisor.

                11.     Disclosure; Publicity. The Company shall submit drafts to the Consenting
Lenders’ Advisors of any press releases, public documents and any and all filings with the SEC or
any other applicable regulatory or licensing authority with jurisdiction over the GCS Parties’
operations that constitute disclosure of the existence or terms of this Agreement or any amendment
to the terms of this Agreement at least three (3) business days prior to making any such disclosure,
and shall afford them a reasonable opportunity under the circumstances to comment on such
documents and disclosures and shall incorporate any such reasonable comments in good faith.
Except as required by applicable Law or otherwise permitted under the terms of any other
agreement between the Company and any Consenting Lender, no Party or its advisors shall (a) use
the name of any Consenting Lender in any public manner (including in any press release) with
respect to this Agreement, the Restructuring or any of the Definitive Documents or (b) disclose to
any person or entity (including, for the avoidance of doubt, any other Consenting Lender), other
than advisors to the Company, the principal amount or percentage of Loans held by any Consenting
Lender, in each case, without such Consenting Lender’s prior written consent; provided that (x) if
such disclosure is required by Law, subpoena, or other legal process or regulation, the disclosing
Party shall afford the relevant Consenting Lender a reasonable opportunity to review and comment
in advance of such disclosure and shall take all reasonable measures to limit such disclosure, (y)
the foregoing shall not prohibit the disclosure of the aggregate percentage or aggregate principal
amount of Loans held by all the Consenting Lenders collectively and (z) any Party may disclose
information requested by a regulatory or licensing authority with jurisdiction over its operations
to such authority without limitation or notice to any Party or other person. Notwithstanding the
provisions in this Section 11, (a) any Party may disclose the identities of the other Parties in any
action to enforce this Agreement or in any action for damages as a result of any breaches hereof
and (b) except as permitted by clause (a) immediately above, any Party may disclose, to the extent
expressly consented to in writing by a Consenting Lender, such Consenting Lender’s identity and
individual holdings. Any public filing of this Agreement, with the Bankruptcy Court or otherwise,
which includes executed signature pages to this Agreement shall include such signature pages only
in redacted form with respect to the holdings of each Consenting Lender (provided that the
holdings disclosed in such signature pages may be filed in unredacted form with the Bankruptcy
Court under seal).

               12.    Amendments and Waivers. Except as otherwise expressly set forth
herein, this Agreement, including any exhibits or schedules hereto, may not be waived, modified,
amended or supplemented except in a writing signed by each of the GCS Parties and each of the
Consenting Lenders. Any proposed modification, amendment, waiver or supplement that does not
comply with this Section 12 shall be ineffective and void ab initio. The waiver by any Party of a


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breach of any provision of this Agreement shall not operate or be construed as a further or
continuing waiver of such breach or as a waiver of any other or subsequent breach. No failure on
the part of any Party to exercise, and no delay in exercising, any right, power or remedy under this
Agreement shall operate as a waiver of any such right, power or remedy or any provision of this
Agreement, nor shall any single or partial exercise of such right, power or remedy by such Party
preclude any other or further exercise of such right, power or remedy or the exercise of any other
right, power or remedy. All remedies under this Agreement are cumulative and are not exclusive
of any other remedies provided by Law.

               13.     Effectiveness. This Agreement shall become effective and binding upon
and enforceable against, the Parties as of the date first written above, subject to, and only upon and
as of the date when, Midco, the Initial Consenting Lenders and the Existing Term Loan Facility
Agent shall have received counterpart signature pages to this Agreement, duly executed and
delivered by the GCS Parties, the Initial Consenting Lenders and the Existing Term Loan Facility
Agent (such date, the “Support Effective Date”); provided that Section 6 shall not be binding on,
or enforceable against, any of the Parties until each of the Term DIP Lenders and the Term DIP
Agent have delivered to each of the other Parties a duly executed joinder to this Agreement, which
joinder shall be in form and substance reasonably acceptable to the Company, the Consenting
Lenders, and the Existing Term Loan Facility Agent.

               14.     Governing Law; Jurisdiction; WAIVER OF JURY TRIAL.

                 (a)     This Agreement shall be construed and enforced in accordance with, and
the rights of the Parties shall be governed by, the laws of the State of New York without giving
effect to the conflict of laws principles thereof. Each of the Parties irrevocably agrees that any
legal action, suit or proceeding (each, a “Proceeding”) arising out of or relating to this Agreement
brought by any Party or its successors or assigns shall be brought and determined in any federal or
state court in the City of New York (the “New York Courts”), and each of the Parties hereby
irrevocably submits to the exclusive jurisdiction of the New York Courts for itself and with respect
to its property, generally and unconditionally, with regard to any such Proceeding arising out of or
relating to this Agreement and the Restructuring. Each of the Parties agrees not to commence any
Proceeding relating hereto or thereto except in the New York Courts, other than Proceedings in
any court of competent jurisdiction to enforce any judgment, decree or award rendered by any
New York Court. Each of the Parties further agrees that notice as provided in Section 22 shall
constitute sufficient service of process and the Parties further waive any argument that such service
is insufficient. Each of the Parties hereby irrevocably and unconditionally waives and agrees not
to assert that a Proceeding in any New York Court is brought in an inconvenient forum, the venue
of such Proceeding is improper, or the Agreement, or the subject matter hereof, may not be
enforced in or by such courts. Notwithstanding the foregoing, during the pendency of the Chapter
11 Case, all Proceedings contemplated by this Section 14(a) shall be brought in the Bankruptcy
Court.


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          (b)  EACH PARTY HEREBY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY
JURY IN ANY PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT OF OR
RELATING TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED
HEREBY (WHETHER BASED ON CONTRACT, TORT OR ANY OTHER THEORY).

               15.     Specific Performance/Remedies. It is understood and agreed by the
Parties that money damages would not be a sufficient remedy for any breach of this Agreement by
any Party and each non-breaching Party shall be entitled to specific performance and injunctive or
other equitable relief (including attorneys’ fees and costs) as a remedy of any such breach, in
addition to any other remedy to which such non-breaching Party may be entitled, at law or in
equity, without the necessity of proving the inadequacy of money damages as a remedy including
an order of the Bankruptcy Court requiring any Party to comply promptly with any of its
obligations hereunder. Each Party hereby waives any requirement for the security or posting of
any bond in connection with such remedies.

                16.      Survival. Notwithstanding the termination of this Agreement pursuant to
Section 6, Sections 7, 11–12, 14–22, 24–25, 28–29, and 30 shall survive such termination and shall
continue in full force and effect in accordance with the terms hereof; provided, that any liability
of a Party for failure to comply with the terms of this Agreement shall survive such termination.

              17.    Headings. The headings of the sections, paragraphs and subsections of this
Agreement are inserted for convenience only and shall not affect the interpretation hereof or, for
any purpose, be deemed a part of this Agreement.

                18.    Successors and Assigns; Severability. This Agreement is intended to bind
and inure to the benefit of the Parties and their respective successors, permitted assigns, heirs,
executors, administrators and representatives (subject to Section 4(d)); provided that nothing
contained in this Section 18, shall be deemed to permit Transfers of the Loans or any Claims or
Interests other than in accordance with the express terms Section 4 of this Agreement. If any
provision of this Agreement, or the application of any such provision to any person or entity or
circumstance, shall be held invalid or unenforceable, in whole or in part, such invalidity or
unenforceability shall attach only to such provision or part thereof and the remaining part of such
provision hereof and this Agreement shall continue in full force and effect. Upon any such
determination of invalidity, the Parties shall negotiate in good faith to modify this Agreement so
as to effect the original intent of the Parties as closely as possible in a reasonably acceptable
manner in order that the transactions contemplated hereby are consummated as originally
contemplated to the greatest extent possible.

               19.     Relationship Among Parties. Unless expressly stated herein, this
Agreement shall be solely for the benefit of the Parties and no other person or entity shall be a
third-party beneficiary hereof. It is understood and agreed that no Consenting Lender owes any

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duty of trust or confidence of any kind or form to any other Party. In this regard, it is understood
and agreed that any Consenting Lender may trade in Claims or Interests to any other Consenting
Lender or any Affiliate of any Consenting Lender without the consent of any other Consenting
Lender, subject to, and in compliance with, applicable securities Laws and the terms of this
Agreement; provided, however, that no Party shall have any responsibility for any trading by any
other entity by virtue of this Agreement. No prior history, pattern or practice of sharing
confidences among or between the Parties shall in any way affect or negate this understanding and
agreement. The Parties have no agreement, arrangement, or understanding with respect to acting
together for the purpose of acquiring, holding, voting or disposing of any equity securities of the
Company and do not constitute a “group” within the meaning of Rule 13d-5 under the Securities
Exchange Act of 1934, as amended.

               20.     Prior Negotiations; Entire Agreement; Conflicts.

                (a)    This Agreement, including the exhibits and schedules hereto (including the
Definitive Documents), constitutes the entire agreement of the Parties, and supersedes all other
prior negotiations with respect to the express subject matter hereof and thereof, subject to anything
contained in the Existing Intercreditor Agreement and any other documents agreed to with the
Existing ABL Lenders in connection with the Restructuring.

                (b)    In the event of any conflict between the express provisions of this
Agreement and the express provisions of the Existing Intercreditor Agreement, the express
provisions of this Agreement shall govern and control as between the Existing Term Loan Facility
Agent and the other Existing Term Secured Parties, on the one hand, and the Term DIP Agent and
Term DIP Lenders, on the other hand; provided that the Existing Intercreditor Agreement shall
continue to apply in accordance with its terms at all times, and shall govern any matter not
expressly provided for in this Agreement (including with respect to any matter set forth in
Section 6).

              21.     Counterparts. This Agreement may be executed in several counterparts,
each of which shall be deemed to be an original, and all of which together shall be deemed to be
one and the same agreement. Execution copies of this Agreement delivered by PDF shall be
deemed to be an original for the purposes of this paragraph.

                22.    Notices. All notices hereunder shall be deemed given if in writing and
delivered, if contemporaneously sent by electronic mail, courier or by registered or certified mail
(return receipt requested), to the following addresses:




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      (a)    If to any of the GCS Parties, to:

      ORG GC Midco, LLC
      6330 Gulfton Street
      Houston, Texas 77081
      Attention: Mark Schordock, Chief Executive Officer; Michael Jones, Chief
      Financial Officer; and Brad Batig, Chief Compliance Officer and General
      Counsel
      Email: mark.schordock@gcserv.com, michael.jones@gcserv.com,
      and brad.batig@gcserv.com

      With a copy (which shall not constitute notice) to:

      Weil, Gotshal & Manges LLP
      767 Fifth Avenue
      New York, NY 10153
      Attention: Sunny Singh, Esq. and Katherine T. Lewis, Esq.
      Email: sunny.singh@weil.com and katherine.lewis@weil.com

      (b)     If to BSP, as a Consenting Lender, or a transferee thereof, to the addresses
      or email addresses set forth below such Consenting Lender’s signature hereto (or
      as directed by any transferee thereof), as the case may be, with copies to:

      Stroock & Stroock & Lavan LLP
      180 Maiden Lane
      New York, NY 10038-4982
      Attention: Jayme T. Goldstein, Esq., Daniel P. Ginsberg, Esq., and Joanne Lau,
      Esq.
      Email: jgoldstein@stroock.com, dginsberg@stroock.com, and jlau@stroock.com

      (c)     If to GS, as a Consenting Lender, or a transferee thereof, to the addresses
      or email addresses set forth below such Consenting Lender’s signature hereto (or
      as directed by any transferee thereof), as the case may be, with copies to:

      King & Spalding LLP
      1185 Avenue of the Americas, 34th Floor
      New York, NY 10036
      Attention: W. Austin Jowers, Esq. and Michael R. Handler, Esq.
      Email: ajowers@kslaw.com and mhandler@kslaw.com




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Any notice given by delivery, mail or courier shall be effective when received. Any notice given
by electronic mail shall be effective upon oral or electronic mail (as applicable) confirmation of
transmission.

                23.      Reservation of Rights; Settlement Discussions; No Admission. Nothing
contained herein shall limit (A) the ability of any Party to consult with other Parties or (B) the
rights of any Party under any applicable bankruptcy, insolvency, foreclosure, or similar
proceeding, including the right to appear as a party in interest in any matter to be adjudicated in
order to be heard concerning any matter arising in the Chapter 11 Case, in each case, so long as
such consultation or appearance is consistent with such Party’s obligations hereunder. Except as
expressly provided in this Agreement, nothing herein is intended to, or does, in any manner waive,
limit, impair, or restrict the ability of each of the Parties to protect and preserve its rights, remedies,
and interests, including its claims against any of the other Parties (or their respective Affiliates or
subsidiaries) or its full participation in any bankruptcy case filed by the GCS Parties. This
Agreement and the Definitive Documents are part of a proposed settlement of matters that could
otherwise be the subject of litigation among the Parties. Pursuant to Rule 408 of the Federal Rules
of Evidence, any applicable state rules of evidence and any other applicable Law, foreign or
domestic, this Agreement and all negotiations relating thereto shall not be admissible into evidence
in any Proceeding other than a Proceeding to enforce its terms. This Agreement shall in no event
be construed as or be deemed to be evidence of an admission or concession on the part of any Party
of any claim or fault or liability or damages whatsoever. Each of the Parties denies any and all
wrongdoing or liability of any kind and does not concede any infirmity in the claims or defenses
which it has asserted or could assert.

                24.     No Solicitation; Adequate Information. This Agreement is not and shall
not be a solicitation for consents of the Plan. The votes of the holders of Claims against Midco
will not be solicited until such holders who are entitled to vote have received the Plan, the
Disclosure Statement, and the related Solicitation Materials, including the ballots. In addition, this
Agreement does not constitute an offer to issue or sell securities to any person or entity, or the
solicitation of an offer to acquire or buy securities, in any jurisdiction where such offer or
solicitation would be unlawful. Although none of the Parties intends that this Agreement should
constitute, and they each believe it does not constitute, a solicitation or acceptance of a chapter 11
plan of reorganization or an offering of securities, each Consenting Lender acknowledges, agrees
and represents (severally and not jointly) to the other Parties that it (i) is a Qualified Institutional
Buyer (as defined in Rule 144A of the Securities Act of 1933 (the “Securities Act”)), an
“institutional accredited investor” (within the meaning of Rule 501(a) of the Securities Act) or a
non-“U.S. Person” (as defined in Regulation S of the Securities Act), (ii) understands that any
securities to be acquired by it pursuant to the Restructuring have not been registered under the
Securities Act and that such securities are, to the extent not acquired pursuant to section 1145 of
the Bankruptcy Code, being offered and sold pursuant to an exemption from registration contained
in the Securities Act, based in part upon such Consenting Lender’s representations contained in


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this Agreement and cannot be sold unless subsequently registered under the Securities Act or an
exemption from registration is available and (iii) has such knowledge and experience in financial
and business matters that such Consenting Lender is capable of evaluating the merits and risks of
the securities to be acquired by it pursuant to the Restructuring and understands and is able to bear
any economic risks with such investment.

                25.     Interpretation; Rules of Construction; Representation by Counsel.
When a reference is made in this Agreement to a Section, Exhibit or Schedule, such reference shall
be to a Section, Exhibit or Schedule, respectively, of or attached to this Agreement unless
otherwise indicated. Unless otherwise specified, any reference in this Agreement to an existing
agreement, document, schedule or exhibit shall, in each case, mean such agreement, document,
schedule or exhibit, as applicable, as amended, restated, amended and restated, supplemented or
otherwise modified from time to time in accordance with the terms thereof; provided that no such
amendment, amendment and restatement, supplement or other modification (as applicable) entered
into or purported to be effective at any time after the date hereof shall be deemed effective for
purposes hereof unless (and solely to the extent that) the Consenting Lenders have consented
thereto in writing or the same is otherwise effectuated in accordance with the express terms hereof;
provided, further that any capitalized terms in this Agreement which, for purposes of this
Agreement, are expressed to be defined with reference to the definition thereof contained in
another agreement, shall be defined with reference to such other agreement as in effect on the date
of this Agreement, without giving effect to any termination of such other agreement, or any
amendment or other modification to such capitalized terms in any such other agreement following
the date of this Agreement (except to the extent that the same is in accordance with the preceding
proviso). Unless the context of this Agreement otherwise requires, (a) words using the singular or
plural number also include the plural or singular number, respectively, (b) the terms “hereof,”
“herein,” “hereby” and derivative or similar words refer to this entire Agreement, (c) the words
“include,” “includes” and “including” when used herein shall be deemed in each case to be
followed by the words “without limitation,” whether stated or not, and (d) the word “or” shall not
be exclusive and shall be read to mean “and/or.” References to “shareholders,” “directors” and/or
“officers” shall also include “members” and/or “managers,” as applicable, as such terms are
defined under the applicable limited liability company Laws. The Parties agree that they have
been represented by legal counsel during the negotiation and execution of this Agreement and,
therefore, waive the application of any Law, regulation, holding or rule of construction providing
that ambiguities in an agreement or other document shall be construed against the party drafting
such agreement or document.

             26.    Independent Due Diligence and Decision Making. Each Consenting
Lender hereby confirms that its decision to execute this Agreement has been based upon its




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independent investigation of the operations, businesses, financial and other conditions, and
prospects of the GCS Parties.

               27.     Enforceability of Agreement. Each of the Parties to the extent enforceable
waives any right to assert that the exercise of termination rights under this Agreement is subject to
the automatic stay provisions of the Bankruptcy Code, and expressly stipulates and consents
hereunder to the prospective modification of the automatic stay provisions of the Bankruptcy Code
for purposes of exercising termination rights under this Agreement, to the extent the Bankruptcy
Court determines that such relief is required.

               28.     Email Consents. Where a written consent, acceptance, approval, or waiver
is required pursuant to or contemplated by this Agreement, including a written approval by the
Consenting Lenders, such written consent, acceptance, approval, or waiver shall be deemed to
have occurred if, by agreement between counsel (identified in Section 22) to the applicable Parties
submitting and receiving such consent, acceptance, approval, or waiver, it is conveyed in writing
(including electronic mail) between each such counsel without representations or warranties of any
kind on behalf of such counsel.

               29.     Transaction Expenses.

                 (a)    Whether or not the transactions contemplated by this Agreement are
consummated and, in each case, if applicable, subject to the terms of the applicable engagement
letter or fee reimbursement letter, the GCS Parties hereby agree, on a joint and several basis, to
pay in cash the Transaction Expenses as follows: (i) all accrued and unpaid reasonable and
documented Transaction Expenses incurred up to (and including) the Support Effective Date shall
be paid in full in cash on the Support Effective Date, provided that the GCS Parties have received
invoices with respect to such Transaction Expenses at least two (2) business days prior to the
Support Effective Date, (ii) prior to the Petition Date and after the Support Effective Date, all
accrued and unpaid reasonable and documented Transaction Expenses shall be paid in full in cash
by the GCS Parties on a regular and continuing basis promptly (but in any event within five (5)
business days of receipt of an invoice by the GCS Parties) and no later than the business day prior
to the Petition Date against receipt of reasonably detailed invoices, and (iii) all accrued and unpaid
reasonable and documented Transaction Expenses incurred up to (and including) the Effective
Date shall be paid in full in cash on or prior to the Effective Date against receipt of reasonably
detailed invoices, in each case without any requirement for Bankruptcy Court review or further
Bankruptcy Court order.

                (b)    The terms set forth in this Section 29 shall survive termination of this
Agreement and shall remain in full force and effect regardless of whether the transactions
contemplated by this Agreement are consummated. The GCS Parties hereby acknowledge and
agree that the Consenting Lenders have expended, and will continue to expend, considerable time,
effort and expense in connection with this Agreement and the negotiation of the Restructuring, and

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that this Agreement provides substantial value to, is beneficial to, and is necessary to preserve, the
GCS Parties, and that the Consenting Lenders have made a substantial contribution to the GCS
Parties and the Restructuring. If and to the extent not previously reimbursed or paid in connection
with the foregoing, subject to the approval of the Bankruptcy Court, the GCS Parties shall
reimburse or pay (as the case may be) all reasonable and documented Transaction Expenses
pursuant to section 1129(a)(4) of the Bankruptcy Code or otherwise. The GCS Parties hereby
acknowledge and agree that the Transaction Expenses are of the type that should be entitled to
treatment as, and the GCS Parties shall seek treatment of such Transaction Expenses as,
administrative expense claims pursuant to sections 503(b) and 507(a)(2) of the Bankruptcy Code.

                 30.     No Recourse. This Agreement may only be enforced against the named
Parties hereto (and then only to the extent of the specific obligations undertaken by such Parties in
this Agreement). All claims or causes of action (whether in contract, tort, equity or any other
theory) that may be based upon, arise out of or relate to this Agreement, or the negotiation,
execution or performance of this Agreement, may be made only against the Persons that are
expressly identified as Parties hereto (and then only to the extent of the specific obligations
undertaken by such Parties herein). No past, present or future direct or indirect director, manager,
officer, employee, incorporator, member, partner, stockholder, equity holder, trustee, Affiliate,
controlling person, agent, attorney or other representative of any Party hereto (including any
person negotiating or executing this Agreement on behalf of a Party hereto), nor any past, present
or future direct or indirect director, manager, officer, employee, incorporator, member, partner,
stockholder, equity holder, trustee, Affiliate, controlling person, agent, attorney or other
representative of any of the foregoing (other than any of the foregoing that is a Party hereto), shall
have any liability with respect to this Agreement or with respect to any Proceeding (whether in
contract, tort, equity or any other theory that seeks to “pierce the corporate veil” or impose liability
of an entity against its owners or Affiliates or otherwise) that may arise out of or relate to this
Agreement, or the negotiation, execution or performance of this Agreement.



                                      [Signature Page Follows]




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                IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed
and delivered by their respective duly authorized officers, solely in their respective capacity as
officers of the undersigned and not in any other capacity, as of the date first set forth above.




                   [SIGNATURE PAGES ON FILE WITH THE DEBTOR]
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                            Exhibit A

                              Plan
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                                                                                                         Date Filed: 10/16/2021




THIS CHAPTER 11 PLAN IS BEING SOLICITED FOR ACCEPTANCE OR REJECTION IN
ACCORDANCE WITH BANKRUPTCY CODE SECTION 1125 AND WITHIN THE MEANING OF
BANKRUPTCY CODE SECTION 1126. THIS CHAPTER 11 PLAN WILL BE SUBMITTED TO THE
BANKRUPTCY COURT FOR APPROVAL FOLLOWING SOLICITATION AND THE
COMMENCEMENT OF THE DEBTOR’S CHAPTER 11 CASE.



                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                      §
 In re:                                               §        Chapter 11
                                                      §
 ORG GC MIDCO, LLC                                    §        Case No. 21-
                                                      §
                  Debtor. 1                           §
                                                      §

              PREPACKAGED CHAPTER 11 PLAN OF ORG GC MIDCO, LLC



 WEIL, GOTSHAL & MANGES LLP                               WEIL, GOTSHAL & MANGES LLP
 Alfredo R. Pérez (15776275)                              Sunny Singh (pro hac vice pending)
 700 Louisiana Street, Suite 1700                         Katherine T. Lewis (pro hac vice pending)
 Houston, Texas 77002                                     767 Fifth Avenue
 Telephone: (713) 546-5000                                New York, New York 10153
 Facsimile: (713) 224-9511                                Telephone: (212) 310-8000
                                                          Facsimile: (212) 310-8007

 Proposed Attorneys for the Debtor
 and Debtor in Possession

 Dated: October 16, 2021
        Houston, Texas




 1
     The last four digits of the Debtor’s federal tax identification number are 1740. The Debtor’s mailing address is
     6330 Gulfton Street, Houston, Texas 77081.
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                ORG GC Midco, LLC (the “Debtor” and, collectively, with its direct and indirect
subsidiaries, the “Company” or the “GCS Parties”) proposes the following chapter 11 plan of
reorganization pursuant to section 1121(a) of the Bankruptcy Code. Capitalized terms used herein shall
have the meanings set forth in Article I.A.

                   ARTICLE I            DEFINITIONS AND INTERPRETATION.

        A.      Definitions.

        The following terms shall have the respective meanings specified below:

        1.1       Administrative Expense Claim means any right to payment constituting a cost or expense
of administration incurred during the Chapter 11 Case of a kind specified under section 503(b) of the
Bankruptcy Code and entitled to priority under sections 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy
Code, including, without limitation, (i) the actual and necessary costs and expenses incurred after the
Petition Date and through the Effective Date of preserving the Estate and operating the business of the
Debtor; (ii) the Fee Claims; and (iii) the Term DIP Claims.

        1.2      Affiliates means, with respect to any Person (except with respect to ORG GC Holdings,
LLC), any other Person that (either directly or indirectly) controls, is controlled by, or is under common
control with the specified Person and shall also include (i) any related fund of such Person and (ii) in the
case of a specified Person who is an individual, any family member or personal representative of such
Person. The term “control” (including, with its correlative meanings, “controlling,” “controlled by” and
“under common control with”) means the possession, directly or indirectly, of the power to direct or cause
the direction of management or policies of a Person (whether through ownership of securities, by contract
or otherwise).

        1.3      Allowed means, with reference to any Claim or Interest, a Claim or Interest (a) arising on
or before the Effective Date as to which (i) no objection to allowance or priority, and no request for
estimation or other challenge, including, without limitation, pursuant to section 502(d) of the Bankruptcy
Code or otherwise, has been interposed and not withdrawn within the applicable period fixed by the Plan
or applicable law, or (ii) any objection has been determined in favor of the holder of the Claim or Interest
by a Final Order; (b) that is compromised, settled, or otherwise resolved pursuant to the authority of the
Debtor or New Holdco; (c) as to which the liability of the Debtor or New Holdco, as applicable, and the
amount thereof are determined by a Final Order of a court of competent jurisdiction; or (d) expressly
allowed hereunder; provided, however, that notwithstanding the foregoing, (x) unless expressly waived by
the Plan, the Allowed amount of Claims or Interests shall be subject to and shall not exceed the limitations
or maximum amounts permitted by the Bankruptcy Code, including sections 502 or 503 of the Bankruptcy
Code, to the extent applicable, and (y) New Holdco (as successor to the Debtor) shall retain all claims and
defenses with respect to Allowed Claims that are Reinstated or otherwise Unimpaired pursuant to the Plan.

      1.4      Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. § 101, et seq., as
amended from time to time, as applicable to the Chapter 11 Case.
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       1.5     Bankruptcy Court means the United States Bankruptcy Court for the Southern District of
Texas having jurisdiction over the Chapter 11 Case.

        1.6     Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as promulgated by
the United States Supreme Court under section 2075 of title 28 of the United States Code and any Local
Bankruptcy Rules of the Bankruptcy Court, in each case, as amended from time to time and applicable to
the Chapter 11 Case.

        1.7      BSP means Benefit Street Partners LLC, together with its Affiliates and related and/or
managed funds, accounts, and/or entities directly or indirectly owned by such Affiliates, managed funds,
or accounts, in their respective capacities as Existing Term Lenders and the Existing Term Loan Facility
Agent.

       1.8       Business Day means any day other than a Saturday, a Sunday, or any other day on which
banking institutions in New York, New York are required or authorized to close by law or executive order.

          1.9    Cash means legal tender of the United States of America.

         1.10    Causes of Action means any action, claim, cross-claim, third-party claim, cause of action,
controversy, demand, right, lien, indemnity, guaranty, suit, obligation, liability, loss, debt, damage,
judgment, account, defense, remedies, offset, power, privilege, license and franchise of any kind or
character whatsoever, known, unknown, foreseen or unforeseen, existing or hereafter arising, contingent or
non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or
undisputed, secured or unsecured, assertable directly or derivatively, whether arising before, on, or after
the Petition Date, in contract or in tort, in law or in equity or pursuant to any other theory of law (including,
without limitation, under any state or federal securities laws). Causes of Action also includes: (a) any right
of setoff, counterclaim or recoupment and any claim for breach of contract or for breach of duties imposed
by law or in equity; (b) the right to object to Claims or Interests; (c) any claim pursuant to section 362 or
chapter 5 of the Bankruptcy Code; (d) any claim or defense including fraud, mistake, duress and usury and
any other defenses set forth in section 558 of the Bankruptcy Code; and (e) any state law fraudulent transfer
claim.

          1.11   Certificate means any instrument evidencing a Claim or an Interest.

       1.12     Chapter 11 Case means the case under chapter 11 of the Bankruptcy Code commenced by
the Debtor on the Petition Date in the Bankruptcy Court.

          1.13   Claim has the meaning set forth in section 101(5) of the Bankruptcy Code, as against the
Debtor.

        1.14    Class means any group of Claims or Interests classified as set forth in Article III of the
Plan pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.



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       1.15    Confirmation Date means the date on which the Clerk of the Bankruptcy Court enters the
Confirmation Order.

       1.16     Confirmation Hearing means the hearing to be held by the Bankruptcy Court to consider
confirmation of the Plan, as such hearing may be adjourned or continued from time to time.

        1.17    Confirmation Order means the order of the Bankruptcy Court approving the Disclosure
Statement and confirming the Plan pursuant to section 1129 of the Bankruptcy Code, which order shall be
in form and substance reasonably satisfactory to the Company and the Consenting Lenders.

      1.18      Consenting Lenders has the meaning ascribed to such term in the Restructuring Support
Agreement.

         1.19   Cure means the payment of Cash by the Debtor, or the distribution of other property (as
the parties may agree or the Bankruptcy Court may order), as necessary to (a) cure a monetary default by
the Debtor in accordance with the terms of an executory contract or unexpired lease of the Debtor and
(b) permit the Debtor to assume and assign such executory contract or unexpired lease pursuant to section
365 of the Bankruptcy Code.

       1.20     Cure Dispute means a pending objection relating to assumption of an executory contract
or unexpired lease pursuant to section 365 of the Bankruptcy Code.

        1.21    Debtor has the meaning set forth in the introductory paragraph of the Plan.

       1.22    Debtor in Possession means the Debtor in its capacity as a debtor in possession in the
Chapter 11 Case pursuant to sections 1101, 1107(a) and 1108 of the Bankruptcy Code.

        1.23    Definitive Documents has the meaning set forth in the Restructuring Support Agreement.

        1.24    DIP Budget means “Budget” as defined in the Term DIP Facility Agreement.

         1.25   DIP Order means the order of the Bankruptcy Court approving the terms of the Term DIP
Facility and the use of cash collateral, to the extent applicable, which shall be in form and substance
reasonably acceptable to the Consenting Lenders.

        1.26   Disallowed means, with respect to any Claim or Interest, that such Claim or Interest has
been determined by a Final Order or specified in a provision of the Plan not to be Allowed.

        1.27     Disbursing Agent means any Entity (including the Debtor or New Holdco if either acts in
such capacity) in its capacity as a disbursing agent under Article VI of the Plan.

         1.28    Disclosure Statement means the disclosure statement for the Plan that is prepared and
distributed in accordance with, among other things, sections 1125, 1126(b), and 1145 of the Bankruptcy
Code, Rule 3018 of the Bankruptcy Rules and other applicable law, and all exhibits, schedules,

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supplements, modifications and amendments thereto, all of which shall be consistent in all material respects
with the Restructuring Support Agreement and otherwise in form and substance reasonably acceptable to
the Debtors and the Consenting Lenders (as the same may be amended, modified or supplemented from
time to time in accordance with the terms hereof).

        1.29     Disputed means a Claim or Interest, that (a) is neither Allowed nor Disallowed under the
Plan or a Final Order, nor deemed Allowed under sections 502, 503, or 1111 of the Bankruptcy Code or
(b) with respect to which the Debtor or any party in interest has interposed a timely objection or request for
estimation, and such objection or request for estimation has not been withdrawn or determined by a Final
Order. If the Debtor disputes only a portion of a Claim, such Claim shall be deemed Allowed in any amount
the Debtor does not dispute, and Disputed as to the balance of such Claim.

         1.30     Effective Date means the date on which all conditions to the effectiveness of the Plan set
forth in Article IX hereof have been satisfied or waived in accordance with the terms of the Plan.

         1.31    Entity means an individual, corporation, partnership, limited partnership, limited liability
company, association, joint stock company, joint venture, estate, trust, unincorporated organization,
government unit (as defined in section 101(27) of the Bankruptcy Code) or any political subdivision thereof,
or other person (as defined in section 101(41) of the Bankruptcy Code) or other entity.

        1.32    Estate means the Debtor’s estate created under section 541 of the Bankruptcy Code.

        1.33    Exchange Act means the Securities Exchange Act of 1934, as amended.

        1.34     Exculpated Parties means, collectively: (a) the Debtor, (b) the Reorganized Debtor, (c) the
Non-Debtor GCS Parties, (d) the Consenting Lenders, (e) the Existing ABL Lenders, (f) the Existing
Agents, (g) the Term DIP Agent, (h) the Term DIP Lenders, (i) the Exit Agents and (j) with respect to each
of the foregoing Entities in clauses (a) through (i), all Persons and Entities who acted on their behalf in
connection with the matters as to which exculpation is provided herein.

        1.35  Existing ABL Claims means all Claims arising under, in connection with, or related to the
Existing ABL Facility Agreement, including any accrued and unpaid interest and fees.

        1.36  Existing ABL Facility means that asset-based lending facility provided pursuant to the
Existing ABL Facility Agreement.

        1.37     Existing ABL Facility Agreement means that certain Credit Agreement, dated
July 31, 2017, by and among GCS LP, as borrower, each of the guarantors party thereto, including the
Debtor, the Existing ABL Lenders, and the Existing ABL Facility Agent (as amended, restated, amended
and restated, supplemented, or otherwise modified from time to time in accordance with the terms thereof).

       1.38     Existing ABL Facility Agent means JPMorgan Chase Bank N.A. in its capacity as
administrative agent under the Existing ABL Facility Agreement.


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       1.39     Existing ABL Lenders means the Persons party to the Existing ABL Facility Agreement
as “Lenders” from time to time thereunder, and each of their respective successors and permitted assigns.

        1.40  Existing Agents means, collectively, the Existing Term Loan Facility Agent and the
Existing ABL Facility Agent.

        1.41     Existing Indemnity Agreements means, collectively, the indemnification agreements
entered into by the Non-Debtor GCS Parties, and guaranteed by the Debtor, with certain of the Sureties
with respect to the Existing Surety Bonds.

         1.42   Existing Intercreditor Agreement means that certain Intercreditor Agreement, dated as of
July 31, 2017, by and among the Existing ABL Facility Agent, the Existing Term Loan Facility Agent, and
acknowledged by the GCS Parties (as amended, restated, amended and restated, supplemented or otherwise
modified from time to time in accordance with the terms thereof).

         1.43    Existing Surety Bonds means the commercial surety bonds issued by the Sureties on behalf
of certain of the Non-Debtor GCS Parties, and guaranteed by the Debtor, in connection with certain
statutory, contractual, or other regulatory bonding requirements applicable to such Non-Debtor GCS Parties
in jurisdictions where the GCS Parties operate.

         1.44  Existing Term Lenders means the Persons party to the Existing Term Loan Credit
Agreement as “Lenders” from time to time thereunder, and each of their respective successors and permitted
assigns.

        1.45    Existing Term Loan Claims means all Claims arising under, in connection with, or related
to the Existing Term Loan Credit Agreement, including any accrued and unpaid interest, fees, and/or
deficiency Claims.

         1.46   Existing Term Loan Credit Agreement means that certain Financing Agreement, dated
July 31, 2017, by and among Midco and certain of its affiliates, as borrowers, each of the guarantors party
thereto, the Existing Term Loan Facility Agent, and the Existing Term Lenders (as may be amended,
restated, amended and restated, supplemented or otherwise modified from time to time in accordance with
the terms thereof).

        1.47   Existing Term Loan Facility means that certain term loan facility provided pursuant to the
Existing Term Loan Credit Agreement.

       1.48     Existing Term Loan Facility Agent means BSP Agency, LLC in its capacity as
administrative agent and collateral agent under that certain Existing Term Loan Credit Agreement.

      1.49     Exit ABL Facility means that asset-based lending facility provided pursuant to the Exit
ABL Facility Agreement.



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       1.50    Exit ABL Facility Agent means the administrative agent and collateral agent under the
Exit ABL Facility Agreement.

         1.51   Exit ABL Facility Agreement means (i) the Existing ABL Facility Agreement, as amended
on terms and conditions reasonably acceptable to the GCS Parties and the Consenting Lenders or (ii) a
credit agreement evidencing an asset-based lending facility on terms and conditions reasonably acceptable
to the GCS Parties and the Consenting Lenders.

         1.52   Exit ABL Facility Documents means, collectively, the Exit ABL Facility Agreement and
all other “Loan Documents” (as defined therein) required to be delivered to the Exit ABL Facility Agent.

         1.53  Exit ABL Facility Lenders means any Person that becomes a lender under the Exit ABL
Facility Agreement.

        1.54    Exit ABL Facility Obligations means all debts, liabilities, guarantees and other obligations
of the Reorganized Company arising under, in connection with, or related to the Exit ABL Facility.

        1.55  Exit Agents means, collectively, the Exit ABL Facility Agent, the New 1L Facility Agent,
and the New 2L Facility Agent,

         1.56    Exit Term Loan Facilities means, collectively, the New 1L Facility and the New 2L
Facility.

        1.57  Exit Term Loan Facility Agreements means, collectively, the New 1L Facility Agreement
and the New 2L Facility Agreement.

        1.58  Exit Term Loan Facility Documents means, collectively, the New 1L Facility Documents
and the New 2L Facility Documents.

        1.59    Fee Claim means a Claim for professional services rendered or costs incurred on or after
the Petition Date through the Effective Date by professional persons retained by the Debtor or official
committee (if any) by an order of the Bankruptcy Court pursuant to sections 327, 328, 329, 330, 331, or
503(b) of the Bankruptcy Code in the Chapter 11 Case.

         1.60    Final Order means an order or judgment of a court of competent jurisdiction that has been
entered on the docket maintained by the clerk of such court, which has not been reversed, vacated or stayed
and as to which (a) the time to appeal, petition for certiorari, or move for a new trial, reargument or
rehearing has expired and as to which no appeal, petition for certiorari, or other proceedings for a new trial,
reargument, or rehearing shall then be pending, or (b) if an appeal, writ of certiorari, new trial, reargument,
or rehearing thereof has been sought, such order or judgment shall have been affirmed by the highest court
to which such order was appealed, or certiorari shall have been denied, or a new trial, reargument, or
rehearing shall have been denied or resulted in no modification of such order, and the time to take any
further appeal, petition for certiorari or move for a new trial, reargument, or rehearing shall have expired;
provided, however, that no order or judgment shall fail to be a “Final Order” solely because of the possibility

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that a motion under Rules 59 or 60 of the Federal Rules of Civil Procedure or any analogous Bankruptcy
Rule (or any analogous rules applicable in another court of competent jurisdiction) or sections 502(j) or
1144 of the Bankruptcy Code has been or may be filed with respect to such order or judgment.

         1.61    General Unsecured Claim means any unsecured Claim against the Debtor as of the
Petition Date that is not an Existing Term Loan Claim, an Existing ABL Claim, an Other Secured Claim,
an Administrative Expense Claim, a Priority Tax Claim, a Priority Non-Tax Claim, a Fee Claim, a Term
DIP Claim, or an Intercompany Claim that is not entitled to priority under the Bankruptcy Code or any
Final Order of the Bankruptcy Court.

        1.62     GCS Parties means, collectively, the Debtor and each of (i) GP Buyer, (ii) LP Buyer,
(iii) GCS LP, (iv) GC Services International, LLC, and (v) GC Services (Barbados) SRL.

        1.63     GCS LP means GC Services Limited Partnership.

        1.64     GP Buyer means ORG GC GP Buyer, LLC.

       1.65       GS means Goldman Sachs Bank USA, together with its Affiliates and related and/or
managed funds, accounts and/or entities directly or indirectly owned by such Affiliates, managed funds or
accounts, in its capacity as an Existing Term Lender.

       1.66    Impaired means, with respect to a Claim, Interest, or Class of Claims or Interests,
“impaired” within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

        1.67     Initial New 1L Loans means the term loans to be issued under the Initial New 1L Facility.

       1.68     Initial New 1L Facility means the new term loan facility under the New 1L Facility
Agreement pursuant to which, as of the Effective Date, the Initial New 1L Loans will be borrowed in an
aggregate principal amount equal to $71 million (inclusive of the Term DIP Claims exchanged for Initial
New 1L Loans on a dollar-for-dollar basis on the Effective Date).

        1.69    Insured Claims means any Claim or portion of a Claim that is, or may be, insured under
any of the Debtor’s insurance policies.

        1.70     Intercompany Claim means any Claim against the Debtor held by a non-Debtor affiliate.

         1.71      Interest means any equity security (as defined in section 101(16) of the Bankruptcy Code)
in the Debtor, and including all common stock, preferred stock, limited partnership interests, general
partnership interests, limited liability company interests and any other equity, ownership, beneficial or
profits interests in the Debtor, whether or not transferable and whether fully vested or vesting in the future,
and any option, warrant, right, or any other security, agreement or interest that is exercisable, convertible
or exchangeable into or for any common stock, preferred stock, limited partnership interests, general
partnership interests, limited liability company interests, or any other equity, ownership, beneficial or
profits interests in or of the Debtor, contractual or otherwise, including, without limitation, equity or equity-

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based incentives, grants, or other instruments issued, granted or promised to be granted to current or former
employees, directors, officers, or contractors of the Debtor, to acquire any such interests in the Debtor that
existed immediately before the Effective Date.

        1.72    Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

        1.73     LLC Agreement means the limited liability company agreement for New Holdco to be
entered into on the Effective Date.

        1.74    LP Buyer means ORG GC LP Buyer, LLC.

        1.75   Management Incentive Plan means a post-Effective Date management incentive plan,
which may be formulated and approved by the New Board in its sole discretion; provided that the terms
must be acceptable to BSP and GS.

        1.76    Midco means ORG GC Midco, LLC, the Debtor in the Chapter 11 Case.

      1.77     Midco Equity Interests means any outstanding Interests in the Debtor that existed
immediately prior to the Effective Date.

         1.78  New 1L Facility means that certain first-lien senior secured term loan facility to be
provided to New Holdco Sub, GP Buyer, and LP Buyer on the Effective Date pursuant to the New 1L
Facility Agreement.

        1.79     New 1L Facility Agent means BSP Agency, LLC, in its capacity as administrative agent
and collateral agent under the New 1L Facility Agreement.

        1.80     New 1L Facility Agreement means that certain First Lien Financing Agreement, dated as
of the Effective Date, governing the New 1L Facility (as may be amended, restated, amended and restated,
supplemented, or modified from time to time, solely in accordance with the terms thereof) in form and
substance reasonably acceptable to BSP, GS, New Holdco Sub, and each of the Non-Debtor GCS Parties
party thereto.

        1.81   New 1L Facility Documents means, collectively, the New 1L Facility Agreement and all
other “Loan Documents” (as defined therein) required to be delivered to the New 1L Facility Agent.

         1.82    New 1L Facility Lender means any Person that becomes a lender under the New 1L
Facility from time to time in accordance with the New 1L Facility Agreement.

        1.83    New 1L Facility Obligations means all debts, liabilities, guarantees and other obligations
of the Reorganized Company arising under, in connection with, or related to the New 1L Facility.




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       1.84  New 2L Facility means that certain second lien secured term loan facility to be provided
to New Holdco Sub, GP Buyer and LP Buyer on the Effective Date pursuant to the New 2L Facility
Agreement.

        1.85     New 2L Facility Agent means BSP Agency, LLC in its capacity as administrative agent
and collateral agent under the New 2L Facility Agreement.

         1.86   New 2L Facility Agreement means that certain Second Lien Financing Agreement, dated
as of the Effective Date, governing the New 2L Facility (as may be amended, restated, amended and
restated, supplemented, or modified from time to time, solely in accordance with the terms thereof) in form
and substance reasonably acceptable to BSP, GS, New Holdco Sub and each of the Non-Debtor GCS Parties
party thereto.

        1.87   New 2L Facility Documents means, collectively, the New 2L Facility Agreement and all
other “Loan Documents” (as defined therein) required to be delivered to the New 2L Facility Agent.

         1.88    New 2L Facility Lender means any Person that becomes a lender under the New 2L
Facility from time to time in accordance with the New 2L Facility Agreement.

        1.89    New 2L Facility Obligations means all debts, liabilities, guarantees and other obligations
of the Reorganized Company arising under, in connection with, or related to the New 2L Facility.

        1.90    New 2L Loans means the term loans to be issued under the New 2L Facility.

        1.91    New Board means the board of managers of New Holdco as of the Effective Date.

        1.92    New Equity means, collectively, the New Holdco Common Equity, the New Holdco
Preferred Equity, and the New Midco Equity.

        1.93     New Holdco means a new entity formed on the Effective Date, which will hold 100% of
the equity interests in New Holdco Sub, and which shall be the successor to the Debtor.

        1.94   New Holdco Common Equity means the common equity interests of New Holdco that will
be issued by New Holdco on the Effective Date in connection with implementation of the Plan.

       1.95    New Holdco Equity means, collectively, the New Holdco Common Equity and the New
Holdco Preferred Equity.

       1.96     New Holdco Junior Preferred Equity means the junior preferred equity interests of New
Holdco that will be issued by New Holdco on the Effective Date in connection with implementation of the
Plan.

        1.97    New Holdco Preferred Equity means, collectively, the New Holdco Senior Preferred
Equity and the New Holdco Junior Preferred Equity.

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         1.98 New Holdco Senior Preferred Equity means the senior preferred equity interests of
New Holdco that will be issued by New Holdco on the Effective Date in connection with implementation
of the Plan.

        1.99     New Holdco Sub means a new entity to be wholly owned by New Holdco that is formed
on the Effective Date, which will own 100% of the equity interests in each of GP Buyer and LP Buyer.

        1.100 New 1L/2L Intercreditor Agreement means the Intercreditor Agreement, to be entered into
on the Effective Date, by and between the New 1L Facility Agent and the New 2L Facility Agent, the form
and substance of which shall be reasonably acceptable to the New 1L Facility Lenders, the New 2L Facility
Lenders, and New Holdco Sub.

        1.101 New 1L/2L/ABL Intercreditor Agreement means the Intercreditor Agreement, to be
entered into on the Effective Date, by and between the Exit ABL Facility Agent, the New 1L Facility Agent,
and the New 2L Facility Agent, the form and substance of which shall be reasonably acceptable to the Exit
ABL Facility Lenders, the New 1L Facility Lenders, the New 2L Facility Lenders, and New Holdco Sub.

      1.102 New Intercreditor Agreements means, collectively, the New 1L/2L Intercreditor
Agreement and the New 1L/2L/ABL Intercreditor Agreement.

        1.103 New Midco Equity means the common equity interests of the Reorganized Debtor that will
be issued by the Reorganized Debtor to GS on the Effective Date in connection with implementation of the
Plan.

        1.104 New Organizational Documents means the new organizational documents of each of the
Non-Debtor GCS Parties, New Holdco and New Holdco Sub after giving effect to the Restructuring and
the documents necessary to be executed and/or filed for the formation of New Holdco and New Holdco
Sub, including the LLC Agreement, each of which shall be in form and substance reasonably acceptable to
BSP, GS, and the Company.

        1.105   Non-Debtor GCS Parties means the GCS Parties excluding the Debtor.

          1.106 Non-Released Parties means (i) any indirect holder of Interests in the Debtor that is not
(x) a current employee of the GCS Parties or (y) a party to the Settlement and Release Agreement; and
(ii) the former Chief Executive Officer of the GCS Parties whose employment with the GCS Parties was
terminated by GCS LP effective as of November 29, 2020.

      1.107 Other Secured Claim means a Secured Claim, other than a Priority Tax Claim, an Existing
Term Loan Claim, an Existing ABL Claim, a Term DIP Claim, or an Administrative Expense Claim.

          1.108 Person means any individual, corporation, partnership, limited partnership, limited
liability company, association, indenture trustee, organization, joint stock company, joint venture, estate,
trust, unincorporated organization, Governmental Unit or any political subdivision thereof, or any other
Entity.

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        1.109    Petition Date means the date on which the Debtor commenced the Chapter 11 Case.

         1.110 Plan means this prepackaged chapter 11 plan, including all appendices, exhibits, schedules,
and supplements hereto (including, without limitation, any appendices, schedules, and supplements to the
Plan contained in the Plan Supplement), as the same may be amended, supplemented, or modified from
time to time in accordance with the provisions of the Bankruptcy Code, the terms hereof, and the terms of
the Restructuring Support Agreement.

         1.111 Plan Supplement means a supplemental appendix to the Plan containing, among other
things, draft forms of documents, schedules, and exhibits to the Plan to be filed with the Court, including,
but not limited to, the following, each of which must be in form and substance reasonably acceptable to the
GCS Parties and the Consenting Lenders: (a) the New Organizational Documents, including the LLC
Agreement; (b) the Exit Term Loan Facility Agreements; (c) the Exit ABL Facility Agreement or a term
sheet detailing the material terms thereof, (d) the identity of the managers to be appointed to the New Board;
(e) the Schedule of Rejected Contracts, if applicable; (f) the Restructuring Transaction Steps; and, (g) to
the extent known, information required to be disclosed in accordance with section 1129(a)(5) of the
Bankruptcy Code; provided that through the Effective Date, the Debtor shall have the right to amend the
Plan Supplement and any schedules, exhibits, or amendments thereto, in accordance with the terms of the
Plan and the Restructuring Support Agreement.

         1.112 Priority Non-Tax Claim means any Claim other than an Administrative Expense Claim or
a Priority Tax Claim, entitled to priority in payment as specified in section 507(a) of the Bankruptcy Code.

        1.113 Priority Tax Claim means any Secured Claim or unsecured Claim of a governmental unit
of the kind entitled to priority in payment as specified in sections 502(i) and 507(a)(8) of the Bankruptcy
Code.

         1.114 Pro Rata means the proportion that an Allowed Claim or Interest in a particular Class bears
to the aggregate amount of Allowed Claims or Interests in that Class, or the proportion that Allowed Claims
or Interests in a particular Class bear to the aggregate amount of Allowed Claims and Disputed Claims or
Allowed Interests and Disputed Interests in a particular Class and other Classes entitled to share in the same
recovery as such Class under the Plan.

        1.115    Reinstate, Reinstated, or Reinstatement means leaving a Claim Unimpaired under the
Plan.

         1.116 Released Parties means (a) the Debtor; (b) the Consenting Lenders; (c) the Existing
Agents; (d) the Existing ABL Lenders; (e) the Term DIP Lenders; (f) the Term DIP Agent; (g) with respect
to the foregoing (a) through (f), each of their respective current affiliates, subsidiaries, members, managers,
equity owners, managed entities, investment managers, employees, professionals, consultants, directors,
and officers (in each case, in their respective capacities as such); and (h) with respect to the foregoing
(b) through (f), each of their respective former affiliates, subsidiaries, members, managers, equity owners,
managed entities, investment managers, employees, professionals, consultants, directors, and officers (in

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each case, in their respective capacities as such); provided, however, that “Released Parties” shall not
include a Non-Released Party.

        1.117    Releases means the releases set forth in Section 10.6 hereof.

         1.118 Releasing Parties means (a) the Debtor; (b) the Consenting Lenders; (c) the Existing
Agents; (d) the Existing ABL Lenders; (e) the Term DIP Lenders; (f) the Term DIP Agent; (g) with respect
to the foregoing (a) through (f), each of their respective current affiliates, subsidiaries, members, managers,
equity owners, managed entities, investment managers, employees, professionals, consultants, directors,
and officers (in each case, in their respective capacities as such); and (h) the holders of Claims that are
Unimpaired and presumed to accept the Plan; provided that in each case, an Entity shall not be a Releasing
Party if it (x) elects to timely opt out of the third party releases contained in Section 10.6 of the Plan or
(y) is a Non-Released Party.

       1.119 Reorganized Company means the Company, as reorganized on the Effective Date in
accordance with the Plan.

        1.120 Reorganized Debtor means the Debtor as reorganized on the Effective Date in accordance
with the Plan.

        1.121 Restructuring means, collectively, the transactions necessary or, in the judgment of the
Consenting Lenders, reasonably desirable to effectuate the financial restructuring of the Debtor, the
principal terms of which are set forth in the Plan, the Restructuring Support Agreement, and the Plan
Supplement.

        1.122 Restructuring Support Agreement means that certain Restructuring Support Agreement,
dated as of October 16, 2021, by and among the GCS Parties and the Consenting Lenders (as may be
amended, restated, amended and restated, supplemented, or modified from time to time in accordance with
the terms thereof) annexed to the Plan as Exhibit A.

        1.123 Restructuring Transaction Steps means the summary of transaction steps to complete the
Restructuring contemplated by the Plan, which shall be in the Plan Supplement.

        1.124 Schedule of Rejected Contracts means, to the extent applicable, the schedule of executory
contracts and unexpired leases to be rejected by the Debtor pursuant to this Plan, if any, in the form filed
with the Bankruptcy Court as part of the Plan Supplement, as the same may be amended, modified, or
supplemented from time to time in accordance with the terms hereof and the Restructuring Support
Agreement.

        1.125 Secured Claim means a Claim (a) secured by a Lien on collateral to the extent of the value
of such collateral as (i) set forth in the Plan, (ii) agreed to by the holder of such Claim and the Debtor (with
the consent of the Consenting Lenders), or (iii) determined by a Final Order in accordance with section
506(a) of the Bankruptcy Code, or (b) secured by the amount of any right of setoff of the holder thereof in
accordance with section 553 of the Bankruptcy Code.
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        1.126   Security has the meaning set forth in in section 101(49) of the Bankruptcy Code.

         1.127 Settlement and Release Agreement means an agreement by and between the (i) Debtor;
(ii) the Non-Debtor GCS Parties; (iii) ORG GC Holdings, LLC; (iv) Owner Resource Group, LLC and
certain of its affiliates; (v) the Existing Term Loan Facility Agent; and (vi) the Consenting Lenders setting
forth a settlement among the parties thereto in form and substance reasonably acceptable to each of the
parties thereto.

         1.128 Sureties means, collectively, those certain commercial surety companies that have issued
commercial surety bonds on behalf of certain of the Non-Debtor GCS Parties in connection with certain
statutory, contractual, or other regulatory bonding requirements applicable to such GCS Parties in
jurisdictions where such GCS Parties operate.

        1.129   Tax Code means the Internal Revenue Code of 1986, as amended from time to time.

        1.130 Term DIP Agent means Goldman Sachs Specialty Lending Group, L.P., solely in its
capacity as administrative agent and collateral agent under the Term DIP Facility, or its successors,
permitted assigns, or any replacement agent appointed pursuant to the terms of the Term DIP Facility
Agreement.

      1.131 Term DIP Claims means all Claims arising under, in connection with, or related to the
Term DIP Facility.

       1.132 Term DIP Facility means that debtor-in-possession financing facility to be provided to the
Debtor pursuant to the Term DIP Facility Agreement and the DIP Orders.

        1.133 Term DIP Facility Agreement means that certain Superpriority Secured
Debtor-in-Possession Financing Agreement, to be dated after the Petition Date, by and among the Debtor,
as borrower, certain Non-Debtor GCS Parties, as guarantors, the Term DIP Lenders, and the Term DIP
Agent (as the same may be amended, restated, amended and restated, supplemented, or otherwise modified
from time to time in accordance with the terms thereof), on terms and conditions satisfactory to the Debtor,
the Non-Debtor GCS Parties thereto, the Term DIP Lenders, and the Consenting Lenders.

       1.134 Term DIP Lenders means the Persons party to the Term DIP Facility Agreement as
“Lender” from time to time thereunder.

        1.135   Transaction Expenses has the meaning set forth in the Restructuring Support Agreement.

       1.136 Unimpaired means, with respect to a Claim, Interest, or Class of Claims or Interests, not
“impaired” within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

        1.137   U.S. Trustee means the United States Trustee for Region 7.



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        1.138 Voting Deadline means the date by which all Persons or Entities entitled to vote on the
Plan must vote to accept or reject the Plan, which is November 1, 2021 at 4:00 p.m. (Prevailing Central
Time), or such other date set by the Bankruptcy Court.

        B.       Interpretation; Application of Definitions and Rules of Construction.

                  Unless otherwise specified, all section or exhibit references in the Plan are to the respective
section in, or exhibit to, the Plan, as the same may be amended, waived, or modified from time to time in
accordance with the terms hereof and the Restructuring Support Agreement. The words “herein,” “hereof,”
“hereto,” “hereunder,” and other words of similar import refer to the Plan as a whole and not to any
particular section, subsection, or clause contained therein. The headings in the Plan are for convenience of
reference only and are not intended to be a part of the Plan and shall not limit or otherwise affect the
provisions hereof. For purposes herein: (1) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the masculine,
feminine, or neuter gender shall include the masculine, feminine, and the neuter gender; (2) any reference
herein to a contract, lease, instrument, release, indenture, or other agreement or document being in a
particular form or on particular terms and conditions means that the referenced document shall be
substantially in that form or substantially on those terms and conditions; (3) unless otherwise specified, all
references herein to “Sections” are references to Sections hereof or hereto; (4) the rules of construction set
forth in section 102 of the Bankruptcy Code shall apply; (5) any term used in capitalized form herein that
is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the
meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be; (6) any
reference to an Entity as a holder of a Claim or Interest includes that Entity’s successors and assigns; (7)
all references to statutes, regulations, orders, rules of courts, and the like shall mean as amended from time
to time, and as applicable to the Chapter 11 Case, unless otherwise stated; (8) references to “shareholders,”
“directors” and/or “officers” shall also include “members” and/or “managers,” as applicable, as such terms
are defined under the applicable state limited liability company laws; (9) all references herein to consent,
acceptance, or approval may be conveyed by counsel for the respective Person or Entity that have such
consent, acceptance, or approval rights, including by electronic mail; (10) the words “include” and
“including,” and variations thereof, shall not be deemed to be terms of limitation, and shall be deemed to
be followed by the words “without limitation”; and (11) unless otherwise specified, any reference herein to
an existing document, schedule, or exhibit, shall mean such document, schedule, or exhibit, as it may have
been or may be amended, modified, or supplemented.

        C.       Reference to Monetary Figures.

                All references in the Plan to monetary figures shall refer to the legal tender of the United
States of America, unless otherwise expressly provided.

        D.       Controlling Document.

               In the event of an inconsistency between the Plan and the Plan Supplement, the terms of
the relevant document in the Plan Supplement shall control (unless stated otherwise in such Plan
Supplement document). The provisions of the Plan and of the Confirmation Order shall be construed in a
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manner consistent with each other so as to effect the purposes of each; provided that if there is determined
to be any inconsistency between any Plan provision and any provision of the Confirmation Order that cannot
be so reconciled, then, solely to the extent of such inconsistency, the provisions of the Confirmation Order
shall govern and any such provision of the Confirmation Order shall be deemed a modification of the Plan
and shall control and take precedence.

        E.       Consultation, Information, Notice and Consent Rights.

                 Notwithstanding anything herein to the contrary, any and all consultation, information,
notice, and consent rights of the parties to the Restructuring Support Agreement set forth in the
Restructuring Support Agreement (including the Consenting Lenders’ consent rights), with respect to the
form and substance of the Plan, all exhibits to the Plan, the Plan Supplement, and all other Definitive
Documents, including any amendments, restatements, supplements, or other modifications to such
agreements and documents, and any consents, waivers, or other deviations under or from any such
documents, shall be incorporated herein by this reference (including to the applicable definitions in
Article I.A of the Plan) and fully enforceable as if stated in full herein.

                 Failure to reference the rights referred to in the immediately preceding paragraph as such
rights relate to any document referenced in the Restructuring Support Agreement shall not impair such
rights and obligations.

             ARTICLE II        ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS.

        2.1.     Administrative Expense Claims.

                 (a)       Except as otherwise provided in this Section 2.1 of the Plan, requests for payment
of Administrative Expense Claims (other than a Fee Claim, Transaction Expenses, or a Term DIP Claim)
must be filed and served on the Debtor or New Holdco, as applicable, pursuant to the procedures specified
in the Confirmation Order and the notice of entry of the Confirmation Order no later than the first Business
Day that is thirty (30) calendar days after the Effective Date. Holders of Administrative Expense Claims
that are required to, but do not, timely file and serve a request for payment of such Administrative Expense
Claims shall be forever barred, estopped, and enjoined from asserting such Administrative Expense Claims
against the Debtor, the Reorganized Debtor, New Holdco or their respective property and such
Administrative Expense Claims shall be deemed discharged as of the Effective Date. Notwithstanding the
foregoing, no request for payment of an Administrative Expense Claim need be filed with respect to an
Administrative Expense Claim previously Allowed.

                  (b)     Except to the extent that a holder of an Allowed Administrative Expense Claim
agrees to less favorable treatment, or has been paid prior to the Effective Date, each holder of an Allowed
Administrative Expense Claim (other than a Fee Claim or a Term DIP Claim) shall receive, in full and final
satisfaction, settlement, release, and discharge of such Claim, Cash in an amount equal to such Allowed
Administrative Expense Claim on, or as soon thereafter as is reasonably practicable, the later of (a) the
Effective Date and (b) the first Business Day after the date that is thirty (30) calendar days after the date
such Administrative Expense Claim becomes an Allowed Administrative Expense Claim; provided,
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however, that Allowed Administrative Expense Claims representing liabilities incurred in the ordinary
course of business by the Debtor, as a debtor in possession, shall be paid in the ordinary course of business,
consistent with past practice and in accordance with the terms and subject to the conditions of any course
of dealing or agreements governing, instruments evidencing, or other documents relating to such
transactions and otherwise in accordance with the DIP Budget.

        2.2.     Fee Claims.

                 (a)     All Entities seeking an award by the Bankruptcy Court of Fee Claims shall file and
serve on counsel to New Holdco, the U.S. Trustee, counsel to the Consenting Lenders, and such other
entities who are designated by the Bankruptcy Rules, the Confirmation Order, or other order of the Court,
on or before the date that is forty-five (45) days after the Effective Date, their respective final applications
for allowance of compensation for services rendered and reimbursement of expenses incurred from the
Petition Date through the Effective Date. Objections to any Fee Claims must be filed and served on counsel
to New Holdco, counsel to the Consenting Lenders, and the Entity requesting payment no later than twenty-
one (21) calendar days after the filing of the final applications for compensation or reimbursement (unless
otherwise agreed by the party requesting compensation of a Fee Claim).

                 (b)      Allowed Fee Claims shall be paid in full, in Cash, in such amounts as are Allowed
by the Bankruptcy Court (i) upon the later of (A) the Effective Date and (B) the date upon which a Final
Order relating to any such Allowed Fee Claim is entered, in each case, as soon as reasonably practicable,
or (ii) upon such other terms as may be mutually agreed upon between the holder of such an Allowed Fee
Claim and the Debtor or New Holdco, as applicable.

                (c)      New Holdco is authorized to pay compensation for services rendered or
reimbursement of expenses incurred after the Effective Date in the ordinary course and without the need
for Bankruptcy Court approval. On or about the Effective Date, holders of Fee Claims shall provide a
reasonable estimate of such post-Effective Date Fee Claims to the Debtor or New Holdco and the Debtor
or New Holdco shall separately reserve for such estimated amounts for the benefit of the holders of the Fee
Claims. If a holder of a Fee Claim does not provide an estimate, the Debtor or New Holdco may estimate
the unpaid and unbilled fees and expenses of such holder of a Fee Claim.

        2.3.     Priority Tax Claims.

                 Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less favorable
treatment, each holder of an Allowed Priority Tax Claim shall receive, in full and final satisfaction,
settlement, release, and discharge of such Allowed Priority Tax Claim, at the sole option of the Debtor or
New Holdco (with the consent of the Consenting Lenders) (a) Cash in an amount equal to such Allowed
Priority Tax Claim on, or as soon thereafter as is reasonably practicable, the later of (i) the Effective Date,
to the extent such Claim is an Allowed Priority Tax Claim on the Effective Date, (ii) the first Business Day
after the date that is thirty (30) calendar days after the date such Priority Tax Claim becomes an Allowed
Priority Tax Claim, and (iii) the date such Allowed Priority Tax Claim is due and payable in the ordinary
course as such obligation becomes due, or (b) such other treatment consistent with the provisions of
section 1129(a)(9) of the Bankruptcy Code.
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        2.4.     Term DIP Claims

                  (a)     The amount outstanding under the Term DIP Facility shall be deemed Allowed in
the full amount due and owing under the Term DIP Facility Agreement, including, for the avoidance of
doubt, (i) the principal amount outstanding under the Term DIP Facility; (ii) all interest accrued and unpaid
thereon through and including the date of payment; and (iii) all accrued fees, expenses, and indemnification
obligations payable under the Term DIP Facility Agreement.

                  (b)      On the Effective Date, or as soon as reasonably practicable thereafter, the
outstanding Term DIP Claims shall be converted, on a dollar-for-dollar basis, into Initial New 1L Loans in
full and final satisfaction, settlement, release, and discharge of such Term DIP Claims. Upon satisfaction
of the Allowed Term DIP Claims, all Liens and security interests granted to secure the Term DIP Facility
shall be deemed cancelled, released and terminated and shall be of no further force and effect.

        2.5.     Transaction Expenses.

                  During the period commencing on the Petition Date through the Effective Date, the Debtor
will promptly pay, or cause a Non-Debtor GCS Party to promptly pay, in full in Cash any Transaction
Expenses in accordance with the terms of the Restructuring Support Agreement. Without limiting the
foregoing, to the extent that any Transaction Expenses remain unpaid as of the Business Day prior to the
Effective Date, on the Effective Date, the Debtor or New Holdco shall pay, or cause a Non-Debtor GCS
Party to pay, in full in Cash any outstanding Transaction Expenses that are invoiced without the requirement
for the filing of retention applications, fee applications, or any other applications in the Chapter 11 Case,
and without any requirement for further notice or Bankruptcy Court review or approval. For the avoidance
of doubt, Transaction Expenses invoiced after the Effective Date shall be paid promptly, but no later than
ten (10) business days, following receipt of an invoice.

               ARTICLE III          CLASSIFICATION OF CLAIMS AND INTERESTS.

        3.1.     Classification in General.

                 Except for the Claims addressed in Article II of the Plan, all Claims and Interests are
classified in the Classes set forth below in accordance with section 1122 of the Bankruptcy Code. In
accordance with section 1123(a)(1) of the Bankruptcy Code, the Debtor has not classified Administrative
Expense Claims, Priority Tax Claims and Term DIP Claims, as described in Article II.

                 A Claim or an Interest, or any portion thereof, is classified in a particular Class only to the
extent that any portion of such Claim or Interest qualifies within the description of that Class and is
classified in other Classes to the extent that any portion of the Claim or Interest qualifies within the
description of such other Classes. A Claim or Interest, or any portion thereof, is placed in a particular Class
for all purposes, including voting, confirmation, and distribution under the Plan and under sections 1122
and 1123(a)(1) of the Bankruptcy Code; provided that a Claim or Interest is placed in a particular Class for
the purpose of receiving distributions pursuant to the Plan only to the extent that such Claim or Interest is


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an Allowed Claim or Allowed Interest in that Class and such Allowed Claim or Allowed Interest has not
been satisfied, released, or otherwise settled prior to the Effective Date.

        3.2.      Summary of Classification.

                  The following table designates the Classes of Claims against and Interests in the Debtor
and specifies which of those Classes are (a) Impaired or Unimpaired by the Plan; (b) entitled to vote to
accept or reject the Plan in accordance with section 1126 of the Bankruptcy Code; and (c) deemed to accept
or reject the Plan. In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
Claims, including Fee Claims, Term DIP Claims, and Priority Tax Claims, have not been classified.

   Class                  Designation              Treatment                 Entitled to Vote
     1         Priority Non-Tax Claims             Unimpaired              No (Deemed to accept)
     2         Other Secured Claims                Unimpaired              No (Deemed to accept)
     3         Existing Term Loan Claims            Impaired                       Yes
     4         Existing ABL Claims                 Unimpaired              No (Deemed to accept)
     5         General Unsecured Claims            Unimpaired              No (Deemed to accept)
     6         Intercompany Claims                 Unimpaired              No (Deemed to accept)
     7         Midco Equity Interests               Impaired               No (Deemed to reject)


        3.3.      Special Provision Governing Unimpaired Claims.

                 Except as otherwise provided in the Plan, nothing under the Plan shall affect the rights of
the Debtor or New Holdco, as applicable, in respect of any Unimpaired Claims, including all rights in
respect of legal and equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claims.
Unless otherwise Allowed, Claims that are Unimpaired shall remain Disputed Claims under the Plan.

        3.4.      Elimination of Vacant Classes.

                Any Class of Claims against or Interests in the Debtor that, as of the commencement of the
Confirmation Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an amount
greater than zero for voting purposes shall be considered vacant, deemed eliminated from the Plan of the
Debtor for purposes of voting to accept or reject such Debtor’s Plan, and disregarded for purposes of
determining whether the Debtor’s Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect to
that Class.

                  ARTICLE IV         TREATMENT OF CLAIMS AND INTERESTS.

        4.1.      Priority Non-Tax Claims (Class 1).

                  (a)    Classification: Class 1 consists of Priority Non-Tax Claims.

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                   (b)    Treatment: Except to the extent that a holder of an Allowed Priority Non-Tax
Claim against the Debtor agrees to a less favorable treatment of such Claim, in full and final satisfaction,
settlement, release and discharge of such Allowed Priority Non-Tax Claim, at the sole option of the Debtor
or New Holdco, as applicable (with the consent of the Consenting Lenders) (i) each such holder shall
receive payment in Cash in an amount equal to such Allowed Priority Non-Tax Claim, payable on the later
of the Effective Date and the date that is ten (10) Business Days after the date on which such Priority Non-
Tax Claim becomes an Allowed Priority Non-Tax Claim, in each case, or as soon as reasonably practicable
thereafter, (ii) such holder’s Allowed Priority Non-Tax Claim shall be Reinstated, or (iii) such holder shall
receive such other treatment so as to render such holder’s Allowed Priority Non-Tax Claim Unimpaired
pursuant to section 1124 of the Bankruptcy Code.

                (c)      Voting: Class 1 is Unimpaired, and the holders of Priority Non-Tax Claims are
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
Therefore, holders of Priority Non-Tax Claims are not entitled to vote to accept or reject the Plan, and the
votes of such holders will not be solicited with respect to Priority Non-Tax Claims.

        4.2.    Other Secured Claims (Class 2).

                (a)      Classification: Class 2 consists of the Other Secured Claims. To the extent that
Other Secured Claims are secured by different collateral or different interests in the same collateral, such
Claims shall be treated as separate subclasses of Class 2 for purposes of voting to accept or reject the Plan
and receiving distributions under the Plan.

                   (b)     Treatment: Except to the extent that a holder of an Allowed Other Secured Claim
against the Debtor agrees to a less favorable treatment of such Claim, in full and final satisfaction,
settlement, release and discharge of such Allowed Other Secured Claim, at the option of the Debtor or New
Holdco, as applicable (with the consent of the Consenting Lenders) (i) each such holder shall receive
payment in Cash in an amount equal to the Allowed Amount of such Other Secured Claim, payable on the
later of the Effective Date and the date that is ten (10) Business Days after the date on which such Other
Secured Claim becomes an Allowed Other Secured Claim, in each case, or as soon as reasonably practicable
thereafter, (ii) the collateral securing its Allowed Other Secured Claim, (iii) such holder’s Allowed Other
Secured Claim shall be Reinstated, or (iv) such holder shall receive such other treatment so as to render
such holder’s Allowed Other Secured Claim Unimpaired pursuant to section 1124 of the Bankruptcy Code.

                (c)     Voting: Class 2 is Unimpaired, and the holders of Other Secured Claims are
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
Therefore, holders of Other Secured Claims are not entitled to vote to accept or reject the Plan, and the
votes of such holders will not be solicited with respect to such Other Secured Claims.

        4.3.    Existing Term Loan Claims (Class 3)

                (a)      Classification: Class 3 consists of the Existing Term Loan Claims.



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                  (b)      Treatment: On the Effective Date, or as soon as practicable thereafter, (x) each
holder of an Allowed Existing Term Loan Claim affiliated with BSP shall receive, in full and final
satisfaction, settlement, release, and discharge of such Existing Term Loan Claim, (i) its Pro Rata share of
Initial New 1L Loans, (ii) its Pro Rata share of New 2L Loans, (iii) its Pro Rata share of New Holdco
Junior Preferred Equity, and (iv) 100% of the New Holdco Common Equity; and (y) each holder of an
Allowed Existing Term Loan Claim affiliated with GS shall receive, in full and final satisfaction,
settlement, release, and discharge of such Existing Term Loan Claim, (i) its Pro Rata share of Initial New
1L Loans (less the amount of Term DIP Claims outstanding immediately prior to the Effective Date rolled
into Initial New 1L Loans), (ii) its Pro Rata share of New 2L Loans, (iii) 100% of the New Midco Equity,
and (iv) as a result of receiving 100% of the New Midco Equity, GS will acquire an indirect interest in (A)
100% of the New Holdco Senior Preferred Equity and (B) its Pro Rata share of New Holdco Junior
Preferred Equity, both of which shall be issued to the Reorganized Debtor; provided that prior to the
Effective Date, GS may elect to have its Pro Rata share of the Initial New 1L Loans (less the amount of
Term DIP Claims outstanding immediately prior to the Effective Date rolled into Initial New 1L Loans)
and/or its Pro Rata share of the New 2L Loans issued to the Reorganized Debtor.

                 (c)     Voting: Class 3 is Impaired. Holders of Existing Term Loan Claims are entitled
to vote on the Plan.

        4.4.    Existing ABL Facility Claims (Class 4)

                (a)      Classification: Class 4 consists of Existing ABL Facility Claims.

                 (b)     Treatment: On the Effective Date, or as soon as practicable thereafter, (i) all
outstanding amounts under the Existing ABL Facility shall be converted, on a dollar for dollar basis, into
amounts outstanding under the Exit ABL Facility and all of the Debtor’s obligations under the Existing
ABL Facility shall be assumed by New Holdco or (ii) holders of Existing ABL Facility Claims shall receive
such other treatment so as to render such holder’s Allowed Existing ABL Facility Claim Unimpaired
pursuant to section 1124 of the Bankruptcy Code.

                 (c)     Voting: Class 4 in Unimpaired, and the holders of Existing ABL Facility Claims
are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
Therefore, holders of Existing ABL Facility Claims are not entitled to vote to accept or reject the Plan, and
the votes of such holders will not be solicited with respect to such Existing ABL Facility Claims.

        4.5.    General Unsecured Claims (Class 5).

                (a)      Classification: Class 5 consists of General Unsecured Claims.

                (b)     Treatment: Except to the extent that a holder of an Allowed General Unsecured
Claim against the Debtor agrees to a less favorable treatment of such Claim or has been paid before the
Effective Date, at the sole option of the Debtor or New Holdco, as applicable (with the consent of the
Consenting Lenders), on and after the Effective Date, (i) New Holdco shall continue to pay or treat each
Allowed General Unsecured Claim in the ordinary course of business in accordance with the terms and
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conditions of the particular transaction giving rise to such Allowed General Unsecured Claim or (ii) such
holder shall receive such other treatment so as to render such holder’s Allowed General Unsecured Claim
Unimpaired pursuant to section 1124 of the Bankruptcy Code, in each case, subject to all defenses or
disputes the Debtor and/or New Holdco may assert as to the validity or amount of such Claims, including
as provided in Section 10.8 of the Plan.

                (c)     Voting: Class 5 is Unimpaired, and the holders of General Unsecured Claims are
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
Therefore, holders of General Unsecured Claims are not entitled to vote to accept or reject the Plan, and the
votes of such holders will not be solicited with respect to such General Unsecured Claims.

        4.6.     Intercompany Claims (Class 6).

                 (a)     Classification: Class 6 consists of Intercompany Claims.

                (b)     Treatment: On the Effective Date, or as soon as practicable thereafter, all
Intercompany Claims shall be adjusted, Reinstated, or discharged to the extent determined to be appropriate
by the Company with the consent of Consenting Lenders, but shall not be paid in Cash; provided however,
for the avoidance of doubt, any Intercompany Claims held by ORG GC Holdings, LLC or Owner Resource
Group, LLC and its affiliates shall be released on the Effective Date.

                (c)      Voting: Class 6 is Unimpaired, and the holders of Intercompany Claims are
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
Therefore, holders of Intercompany Claims are not entitled to vote to accept or reject the Plan, and the votes
of such holders will not be solicited with respect to such Intercompany Claims.

        4.7.     Midco Equity Interests (Class 7).

                 (a)     Classification: Class 7 consists of Midco Equity Interests.

                 (b)     Treatment: On the Effective Date the Midco Equity Interests shall be deemed
cancelled, released, extinguished and shall be of no further force and effect without further action by any
party or order of the Bankruptcy Court.

                 (c)      Voting: Class 7 is Impaired. In accordance with section 1126(g) of the Bankruptcy
Code, holders of Midco Equity Interests are conclusively presumed to reject this Plan and are not entitled
to vote to accept or reject this Plan, and the votes of such holders will not be solicited with respect to Midco
Equity Interests.

        4.8.     Subordinated Claims and Interests.

                 The allowance, classification, and treatment of all Allowed Claims and Allowed Interests
and the respective distributions and treatments under the Plan take into account and conform to the relative
priority and rights of the Claims and Interests in each Class in connection with any contractual, legal, and

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equitable subordination rights relating thereto, whether arising under general principles of equitable
subordination, section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the
Bankruptcy Code, the Debtor or New Holdco, as applicable, reserves the right to re-classify any Allowed
Claim or Allowed Interest in accordance with any contractual, legal, or equitable subordination relating
thereto.

                        ARTICLE V             MEANS FOR IMPLEMENTATION.

        5.1.     Compromise and Settlement of Claims, Interests, and Controversies.

                  Pursuant to section 363 and 1123(b)(2) of the Bankruptcy Code and Bankruptcy Rule 9019
and in consideration for the distributions and other benefits provided pursuant to the Plan, the provisions of
the Plan (including the Restructuring Support Agreement) shall constitute a good faith compromise of
Claims, Interests, and controversies relating to the contractual, legal, and subordination rights that a creditor
or an Interest holder may have with respect to any Allowed Claim or Interest or any distribution to be made
on account of such Allowed Claim or Interest. The entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Interests, and
controversies, as well as a finding by the Bankruptcy Court that such compromise or settlement is in the
best interests of the Debtor, its Estate, and holders of such Claims and Interests, and is fair, equitable, and
reasonable.

        5.2.     Continued Corporate Existence.

                 (a)    Except as otherwise provided in this Plan or any agreement, instrument, or other
document incorporated in the Plan or the Plan Supplement, the Debtor shall continue to exist after the
Effective Date as a limited liability company, with all the powers of a limited liability company, in
accordance with the applicable laws of the jurisdiction in which it is organized and pursuant to its
organizational documents and the New Organizational Documents, as applicable, and such documents are
deemed to be amended or amended and restated pursuant to the Plan and require no further action or
approval (other than any requisite filing required under applicable state, provincial, or federal law).

                (b)     On or after the Effective Date, the Reorganized Debtor, New Holdco, and New
Holdco Sub may take such action that may be necessary or appropriate as permitted by applicable law and
the New Organizational Documents, as the Reorganized Debtor, New Holdco, and New Holdco Sub, as
applicable, may determine is reasonable and appropriate to effect any transaction described in, approved
by, or necessary or appropriate to effectuate the Plan, including, without limitation, causing: (i) the legal
name of the Reorganized Debtor to be changed; or (ii) the closure of the Reorganized Debtor’s Chapter 11
Case on the Effective Date or any time thereafter.

        5.3.     Exit ABL Facility.

               (a)      On the Effective Date, in accordance with, and subject to, the terms and conditions
of the Exit ABL Facility Documents, New Holdco and New Holdco Sub will act as guarantors under the
Exit ABL Facility Agreement without the need for any further corporate action and without further action
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by the holders of Claims or Interests. On and after the Effective Date, the applicable Exit ABL Facility
Documents shall constitute legal, valid and bind obligations of New Holdco and New Holdco Sub and be
enforceable in accordance with their respective terms.

                  (b)      All Liens, mortgages, and security interests securing the obligations arising under
the Existing ABL Facility that were collateral securing the Existing ABL Claims as of the Petition Date are
unaltered by the Plan, and all such Liens, mortgages, and security interests are created and perfected with
respect to the Exit ABL Facility to the same extent, in the same manner, and on the same terms and priorities
as they were with respect to the Existing ABL Claims, except as the foregoing may be altered pursuant to
the Exit ABL Facility Documents and the New 1L/2L/ABL Intercreditor Agreement. On the Effective
Date, the Exit ABL Facility Documents shall be executed and delivered substantially on terms and
conditions which New Holdco, New Holdco Sub, the Non-Debtor GCS Parties thereto, and the Exit ABL
Facility Lenders (with the consent of the Consenting Lenders) may agree and such documents shall become
effective in accordance with their terms. All Liens and security interests granted and continuing pursuant
to the Exit ABL Facility Documents shall be (i) valid, binding, perfected (to the extent provided in the
security documents), and enforceable Liens and security interests in the personal and real property described
in and subject to such document, with the priorities established in respect thereof under the New
Intercreditor Agreement and/or applicable nonbankruptcy law and (ii) not subject to avoidance,
recharacterization, or subordination under any applicable law. New Holdco, New Holdco Sub, and the
Entities granted such Liens and security interests are authorized to make all filings and recordings, and to
obtain all governmental approvals and consents necessary to establish, attach and perfect such Liens and
security interests under any applicable law, and will thereafter cooperate to make all other filings and
recordings that otherwise would be necessary under applicable law to give notice of such Liens and security
interest to third parties.

                (c)     New Holdco and New Holdco Sub shall be authorized to execute, deliver, and enter
into and perform under the Exit ABL Facility Documents, including the payment of all fees, indemnities,
and expenses provided for therein, without the need for any further corporate or limited liability company
action and without further action by the holders of Claims or Interests.

        5.4.     Exit Term Loan Facilities.

                   (a)     On the Effective Date, in accordance with, and subject to, the terms and conditions
of the Exit Term Loan Facility Documents, the Exit Term Loan Facility Documents shall be executed and
delivered, and New Holdco and New Holdco Sub shall be authorized to execute, deliver and enter into the
Exit Term Loan Facility Documents, in each case, without (i) further notice to the Bankruptcy Court or
(ii) further act or action under applicable, law, regulation, order, or rule or the vote, consent, authorization,
or approval of any Entity (including, without limitation, the holders of Claims or Interests), except in each
case, to the extent set forth in the Exit Term Loan Facility Documents. The Exit Term Loan Facility
Agreements shall be executed and delivered in substantially the same form as the Exit Term Loan Facility
Agreements annexed to the Restructuring Support Agreement as Exhibit D and Exhibit E, with such
modifications to which New Holdco, New Holdco Sub, and the Consenting Lenders may agree.


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                 (b)      Confirmation of the Plan shall be deemed approval of the Exit Term Loan Facility
Documents, and all transactions contemplated thereby, and all actions to be taken, undertakings to be made,
and obligations to be incurred by New Holdco or New Holdco Sub in connection therewith, including the
payment of all fees, indemnities, and expenses provided for therein, authorization of New Holdco and New
Holdco Sub to enter into and execute the Exit Term Loan Facility Documents, and authorization to create
or perfect the Liens in connection therewith.

                  (c)     On the Effective Date, all Liens, mortgages and security interests granted pursuant
to the Exit Term Loan Facility Documents shall be (i) deemed to be granted, (ii) shall be valid, binding,
automatically perfected (to the extent provided in the security documents), and enforceable Liens and
mortgages on, and security interests in, the personal and real property described in and subject to the Exit
Term Loan Facility Documents, with the priorities established in respect thereof under the Exit Term Loan
Facility Documents, the New Intercreditor Agreement and/or applicable non-bankruptcy law, as applicable
and (ii) not subject to avoidance, recharacterization, or subordination for any purposes whatsoever and shall
not constitute preferential transfers or fraudulent conveyances under the Bankruptcy Code or under any
applicable law. New Holdco and New Holdco Sub and the Entities granted such Liens and security interests
are authorized to make all filings and recordings, and to obtain all governmental approvals and consents
necessary to establish, attach and perfect such Liens and security interests under any applicable law or that
would be applicable in the absence of the Plan and the Confirmation Order (it being understood that
perfection shall occur automatically by virtue of the entry of the Confirmation Order and any such filings,
recordings, approvals, and consents shall not be required), and will thereafter cooperate to make all other
filings and recordings that otherwise would be necessary under applicable law to give notice of such Liens
and security interest to third parties.

                (d)     New Holdco and New Holdco Sub shall be authorized to execute, deliver, and enter
into and perform under the Exit Term Loan Facility Documents, including the payment of all fees,
indemnities, and expenses provided for therein, without the need for any further corporate or limited
liability company action and without further action by the holders of Claims or Interests.

        5.5.    New Intercreditor Agreements.

                 (a)     On the Effective Date, the Exit ABL Facility Agent, the New 1L Facility Agent,
and the New 2L Facility Agent shall enter into the New 1L/2L/ABL Intercreditor Agreement. Each Exit
ABL Facility Lender, New 1L Facility Lender, and New 2L Facility Lender shall be deemed to have
directed the Exit ABL Facility Agent, the New 1L Facility Agent, and the New 2L Facility Agent, as
applicable, to execute the New 1L/2L/ABL Intercreditor Agreement and shall be bound by the terms of the
New 1L/2L/ABL Intercreditor Agreement from and after the Effective Date as if it were a signatory thereto.

                  (b)     On the Effective Date, the New 1L Facility Agent and the New 2L Facility Agent
shall enter into the New 1L/2L Intercreditor Agreement. Each New 1L Facility Lender and New 2L Facility
Lender shall be deemed to have directed the the New 1L Facility Agent and the New 2L Facility Agent, as
applicable, to execute the New 1L/2L Intercreditor Agreement and shall be bound by the terms of the New
1L/2L Intercreditor Agreement from and after the Effective Date as if it were a signatory thereto.

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        5.6.    New Organizational Documents.

                 On or immediately prior to the Effective Date, the New Organizational Documents shall
be automatically adopted by New Holdco and New Holdco Sub, as applicable. To the extent required under
the Plan or applicable non-bankruptcy law, New Holdco and New Holdco Sub, as applicable, will file the
applicable New Organizational Documents with the Delaware Secretary of State if and to the extent
required in accordance with the applicable laws of the state of Delaware. The New Organizational
Documents will (a) authorize the issuance of the New Holdco Equity and (b) include a provision pursuant
to and only to the extent required by section 1123(a)(6) of the Bankruptcy Code prohibiting the issuance of
non-voting equity Securities.

                 After the Effective Date, New Holdco and New Holdco Sub, as applicable, may amend and
restate its New Organizational Documents in accordance with the terms thereof, and New Holdco and New
Holdco Sub, as applicable, may file amended certificates of formation or such other applicable formation
documents, and other constituent documents as permitted by the laws of the state of Delaware and the New
Organizational Documents.

                 On the Effective Date, New Holdco and all of the holders of the New Holdco Equity shall
execute the LLC Agreement. The LLC Agreement shall be binding on New Holdco and all parties
receiving, and all holders of, New Holdco Equity.

        5.7.    Authorization and Issuance of the New Equity.

                 (a)      On the Effective Date, the Debtor, the Reorganized Debtor, New Holdco, and New
Holdco Sub, as applicable, are authorized to issue or cause to be issued and shall issue the New Equity, in
accordance with the terms of the Plan, the New Organizational Documents, and the Restructuring
Transaction Steps without the need for any further corporate, limited liability company, or shareholder
action, vote, consent, authorization or approval of any Person or without further notice to or order of the
Bankruptcy Court. All of the New Equity, issuable under the Plan, when so issued, shall be duly authorized,
validly issued, fully paid, and non-assessable. Any such issuance would be part of the exchange or other
transfer or transaction as contemplated and required hereunder.

                 (b)      Upon the Effective Date, (i) the New Equity shall not be registered under the
Securities Act, and shall not be listed for public trading on any securities exchange and (ii) neither the
Reorganized Debtor nor New Holdco shall be a reporting company under the Exchange Act. The
distribution of New Equity pursuant to the Plan may be made by means of book-entry registration on the
books of a transfer agent for shares of New Equity or by means of book-entry exchange through the facilities
of a transfer agent reasonably satisfactory to the Debtor and the Consenting Lenders in accordance with the
customary practices of such agent, as and to the extent practicable.

        5.8.    Section 1145 Exemption.

               (a)      The offer, issuance, sale and distribution of the New Equity under the Plan shall
be exempt, pursuant to section 1145 of the Bankruptcy Code, without further act or action by any Entity,
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from the registration and prospectus delivery requirements under (i) the Securities Act of 1933, as amended,
and all rules and regulations promulgated thereunder and (ii) any federal, state or local law requiring
registration and/or delivery of a prospectus for the offer, issuance, sale or distribution of Securities.

                 (b)       The New Equity will be freely tradable by the recipients thereof, subject to (i) the
provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in
section 2(a)(11) of the Securities Act of 1933; (ii) compliance with any rules and regulations of the
Securities and Exchange Commission, if any, applicable at the time of any future transfer of such securities
or instruments; (iii) the restrictions, if any, on the transferability of the New Equity contained in the New
Organizational Documents; and (iv) applicable regulatory approval.

        5.9.     Cancellation of Existing Securities and Agreements.

                  (a)     Except for the purpose of evidencing a right to a distribution under the Plan and
except as otherwise set forth in the Plan or the Confirmation Order, on the Effective Date, all agreements,
instruments, and other documents evidencing an Existing Term Loan Claim or Midco Equity Interest and
any rights of any holder in respect thereof shall be deemed cancelled, discharged, and of no force or effect
and the obligations of the Debtor thereunder shall be deemed fully satisfied, released, and discharged.
Notwithstanding such cancellation and discharge, the Existing Term Loan Credit Agreement shall continue
in effect, except as otherwise provided herein, solely to (i) the extent necessary to allow the holders of
Allowed Existing Term Loan Claims to seek allowance and receive distributions under the Plan, (ii) the
extent necessary to allow the Debtor, Reorganized Debtor, New Holdco, and New Holdco Sub, as
applicable, the Existing Term Loan Facility Agent, and the Disbursing Agent to make post-Effective Date
distributions or take such other action pursuant to the Plan on account of the Allowed Existing Term Loan
Claims and to otherwise exercise their rights and discharge their obligations relating to the interests of the
holders of such Claims, (iii) allow the holders of Allowed Existing Term Loan Claims to retain their
respective rights and obligations vis-à-vis other holders of Claims pursuant to any applicable loan
documents, (iv) allowing the Existing Term Loan Facility Agent to enforce its rights, claims, and interests
vis-à-vis any party other than the Debtor (including the maintenance, exercise and enforcement of any
charging lien or distribution waterfall), (v) preserve all rights, including rights of enforcement, of the
Existing Term Loan Facility Agent to indemnification, reimbursement, or contribution pursuant to and
subject to the terms of the Existing Term Loan Credit Agreement, (vi) appear and be heard in the Chapter
11 Case or in any proceeding in the Bankruptcy Court, including to enforce any obligation owed to the
Existing Term Loan Facility Agent or Existing Term Lenders and (vii) permit the Existing Term Loan
Facility Agent to perform any functions that are necessary to effectuate the foregoing; provided, however,
that nothing in this Section 5.9 shall affect the discharge of Claims pursuant to the Bankruptcy Code, the
Confirmation Order, or the Plan or result in any liability or expense to the Reorganized Debtor, New Holdco
or New Holdco Sub. Except as provided in the Plan or as may be necessary to effectuate the terms of the
Plan, on the Effective Date, the Existing Term Loan Facility Agent, and its agents, successors, and assigns,
shall be automatically and fully discharged of all of their duties and obligations associated with the Existing
Term Loan Credit Agreement. To the extent cancelled in accordance with this paragraph, the commitments
and obligations (if any) of the Existing Term Lenders to extend any further or future credit or financial
accommodations to the Debtor, any of its subsidiaries or any of its successors or assigns under the Existing
Term Loan Credit Agreement shall fully terminate and be of no further force or effect on the Effective Date.
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Notwithstanding the foregoing, any provision in any document, instrument, lease, or other agreement that
causes or effectuates, or purports to cause or effectuate, a default, termination, loss, waiver, or other
forfeiture of, or by, the Debtor or its interests, or any increase or acceleration of any of their obligations, in
any such case as a result of the cancellations, terminations, satisfaction, releases, or discharges provided for
herein shall be deemed null and void and shall be of no force and effect. For the avoidance of doubt, nothing
contained herein shall be deemed to cancel, terminate, release, or discharge the obligation of the Debtor or
any of its counterparties under any executory contract or unexpired lease to the extent such executory
contract or lease has been assumed by the Debtor pursuant to a Final Order of the Bankruptcy Court or
hereunder.

              (b)      On the Effective Date, any registration rights or similar agreements with respect to
the Midco Equity Interests will also be cancelled and any obligations of the Debtor thereunder will be
discharged.

        5.10.    Officers and Board of Managers

                 (a)     On the Effective Date, the terms of the current members of the board of managers
of the Debtor shall expire, and commencing on the Effective Date, each of the managers of New Holdco
shall be elected and serve pursuant to the terms of the New Organizational Documents pertaining to New
Holdco, including the LLC Agreement, and may be replaced or removed in accordance with such New
Organizational Documents.

                 (b)     The New Board shall consist of five board members to be appointed by the holders
of a majority of the New Holdco Common Equity; provided that at least two of the five board members
shall be independent; and provided further that (i) for so long as a holder of New Holdco Junior Preferred
Equity holds at least 32% of the New Holdco Junior Preferred Equity, the appointment of two independent
board members shall require the consent of such holder; and (ii) for so long as a holder of New Holdco
Junior Preferred Equity holds less than 32% of the New Holdco Junior Preferred Equity but not less than
16% of the New Holdco Junior Preferred Equity, the appointment of one independent board member shall
require the consent of such holder; provided further that, unless otherwise agreed by BSP and GS, on the
Effective Date, the New Board as of the Effective Date shall initially consist of three board members, one
of which shall be an independent director. The remaining two board seats shall be filled following the
Effective Date. Any direct and indirect subsidiaries of New Holdco shall continue to be member managed,
except GCS LP which shall continue to be managed by GP Buyer, its general partner.

                (c)      Except to the extent that a member of the board of managers of the Debtor is
appointed to serve as a manager of New Holdco on and after the Effective Date, the managers of the Debtor
prior to the Effective Date, in their capacities as such, shall have no continuing obligations to the
Reorganized Debtor or to New Holdco on or after the Effective Date and each manager will be deemed to
have resigned or shall otherwise cease to be a manager of the Debtor on the Effective Date.

                   (d)   The officers of the Debtor immediately before the Effective Date shall serve as the
initial officers of New Holdco on and after the Effective Date and in accordance with the Plan and applicable
non-bankruptcy law.
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                  (e)    In accordance with section 1129(a)(5) of the Bankruptcy Code, the identities and
affiliations of the members of the New Board and any Person proposed to serve as an officer of New Holdco
and New Holdco Sub shall be disclosed at or before the Confirmation Hearing, in each case to the extent
the identity of such proposed manager or officer is known at such time. To the extent any such manager or
officer of New Holdco is an insider, the Debtor will disclose the nature of any compensation to be paid to
such manager or officer. Each such manager and officer shall serve from and after the Effective Date
pursuant to the terms of the New Organizational Documents and other constituent documents of New
Holdco and New Holdco Sub.

        5.11.   Effectuating Documents; Further Transactions.

               (a)     After the Confirmation Date, but prior to the Effective Date, the Debtor, the
Reorganized Debtor, New Holdco and New Holdco Sub, as applicable, shall take such actions as may be
or become necessary or appropriate to effect the Restructuring Transaction Steps.

                   (b)     On or as soon as practicable after the Effective Date, the Reorganized Debtor, New
Holdco, or New Holdco Sub, as applicable, shall take such actions as may be or become necessary or
appropriate to effect any transaction described in, approved by, or contemplated by, or necessary to
effectuate, the Plan, including (i) the execution and delivery of appropriate agreements or other documents
of merger, consolidation, restructuring, financing, conversion, disposition, transfer, dissolution, or
liquidation containing terms that are consistent with the terms of the Plan and the Restructuring Support
Agreement and that satisfy the applicable requirements of applicable law and any other terms to which the
applicable Entities may determine, (ii) the execution and delivery of appropriate instruments of transfer,
assignment, assumption, or delegation of any asset, property, right, liability, debt, or obligation on terms
consistent with the terms of the Plan and the Restructuring Support Agreement and having other terms to
which the applicable parties agree, (iii) the execution, delivery and, if applicable, filing of appropriate
certificates or articles of incorporation, reincorporation, formation, merger, consolidation, conversion, or
dissolution and the New Organizational Documents pursuant to applicable state law, (iv) the issuance of
securities, all of which shall be authorized and approved in all respects in each case without further action
being required under applicable law, regulation, order, or rule, and (v) all other actions that the applicable
Entities determine to be necessary or appropriate, including making filings or recordings that may be
required by applicable law, subject, in each case, to the New Organizational Documents.

                 (c)     Each officer and member of the board of managers of the Debtor is (and each
officer and member of the New Board shall be) authorized and directed to issue, execute, deliver, file, or
record such contracts, securities, instruments, releases, indentures, and other agreements or documents and
take such actions as may be necessary or appropriate to effectuate, implement, and further evidence the
terms and conditions of the Plan and the securities issued pursuant to the Plan in the name of and on behalf
of the Reorganized Debtor, New Holdco, or New Holdco Sub, as applicable, all of which shall be authorized
and approved in all respects, in each case, without the need for any approvals, authorization, consents, or
any further action required under applicable law, regulation, order, or rule (including, without limitation,
any action by the stockholders or directors or managers of the Debtor, the Reorganized Debtor, New
Holdco, or New Holdco Sub) except for those expressly required pursuant to the Plan.

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                  (d)   All matters provided for herein involving the corporate structure of the Debtor or
Reorganized Debtor, New Holdco, New Holdco Sub, or any other Non-Debtor GCS Party, or any corporate,
limited liability company, or related action required by any of the foregoing in connection herewith shall
be deemed to have occurred and shall be in effect, without any requirement of further action by the
stockholders, members, or managers of such Entities, and with like effect as though such action had been
taken unanimously by the stockholders, members, directors, managers, or officers, as applicable, of such
Entities.

        5.12.     Cancellation of Liens.

                  (a)    Except as otherwise specifically provided herein, in the Confirmation Order or in
any contract, instrument, release, or other agreement or document created or entered into pursuant to the
Plan, upon the Effective Date, any Lien securing a Secured Claim shall be deemed fully released and
discharged, and all of the right, title, and interest of any Holder of such Liens shall revert to New Holdco
and its successors and assigns. Any holder of such Secured Claim (or any agent for such holder) shall be
authorized and directed, at the sole cost and expense of the Debtor or New Holdco, as applicable, to release
any Collateral or other property of the Debtor (including any cash collateral and possessory collateral) held
by such holder (and any agent for such holder), and to take such actions as may be reasonably requested by
the Debtor, the Reorganized Debtor or New Holdco to cancel, extinguish, and evidence the release of such
Liens (including the execution, delivery and filing or recording of such release), if they have been or will
be satisfied or discharged in full pursuant to the Plan.

                  (b)     Upon the payment or other satisfaction of an Allowed Other Secured Claim, the
holder of such Allowed Other Secured Claim shall deliver to New Holdco any Collateral or other property
of the Debtor held by such holder, and any termination statements, instruments of satisfactions, or releases
of all security interests with respect to its Allowed Other Secured Claim that may be required in order to
terminate any related financing statements, mortgages, mechanic’s liens, or lis pendens.

        5.13.     Management Incentive Plan.

                  Following the Effective Date, New Holdco may choose to implement the Management
Incentive Plan.

        5.14.     Nonconsensual Confirmation.

                The Debtor intends to undertake to have the Bankruptcy Court confirm the Plan under
section 1129(b) of the Bankruptcy Code as to any Classes that reject or are deemed to reject the Plan.

        5.15.     Closing of Chapter 11 Case.

              After the Estate has been fully administered, the Reorganized Debtor shall seek authority
from the Bankruptcy Court to close the Chapter 11 Case in accordance with the Bankruptcy Code and
Bankruptcy Rules.


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        5.16.   Notice of Effective Date.

               On the Effective Date, the Debtor shall file a notice of the occurrence of the Effective Date
with the Bankruptcy Court.

        5.17.   Sources for Plan Distributions.

                 The Debtor shall fund distributions under the Plan with (a) Cash on hand, (b) the proceeds
of the Term DIP Facility, (c) the Exit ABL Facility, (d) the Exit Term Loan Facilities; and (e) the New
Equity in accordance with the Plan and the Restructuring Support Agreement. Cash payments to be made
pursuant to the Plan will be made by the Disbursing Agent, which may be New Holdco. From and after the
Effective Date, subject to any applicable limitations set forth in any post-Effective Date agreement
(including, without limitation, the Exit ABL Facility, the Exit Term Loan Facilities and the LLC
Agreement), New Holdco shall have the right and authority without further order of the Bankruptcy Court
to raise additional capital and obtain additional financing as the New Board deems appropriate.

                                 ARTICLE VI           DISTRIBUTIONS.

        6.1.    Distributions Generally.

               The Disbursing Agent shall make all distributions under the Plan to the appropriate holders
of Allowed Claims in accordance with the terms of the Plan.

        6.2.    Distribution Record Date.

                 As of the close of business on the Effective Date, the various transfer registers for each of
the Classes of Claims or Interests as maintained by the Debtor or its respective agents, shall be deemed
closed, and there shall be no further changes in the record holders of any of the Claims or Interests. The
Disbursing Agent shall have no obligation to recognize any transfer of Claims or Interests occurring on or
after the Effective Date. In addition, with respect to payment of any Cure amounts or disputes over any
Cure amounts, neither the Debtor nor the Disbursing Agent shall have any obligation to recognize or deal
with any party other than the non-Debtor party to the applicable executory contract or unexpired lease as
of the Effective Date, even if such non-Debtor party has sold, assigned, or otherwise transferred its Claim
for a Cure amount.

        6.3.    Date of Distributions.

                 Except as otherwise provided in the Plan, in a Final Order, or as otherwise agreed to by the
Debtor or New Holdco, as the case may be, and the holder of the applicable Allowed Claim, any
distributions and deliveries to be made under the Plan shall be made on the Effective Date or as otherwise
determined in accordance with the Plan, including, without limitation, the treatment provisions of Article
IV of the Plan, or as soon as practicable thereafter; provided that the Disbursing Agent may implement
periodic distribution dates to the extent it determines appropriate.


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        6.4.    Disbursing Agent.

                 All distributions under the Plan shall be made by New Holdco (or such other Entity
designated by New Holdco), as Disbursing Agent, on or after the Effective Date or as otherwise provided
herein. A Disbursing Agent shall not be required to give any bond or surety or other security for the
performance of its duties, and all reasonable and documented fees and out-of-pocket expenses incurred by
such Disbursing Agents directly related to distributions hereunder shall be reimbursed by New
Holdco. New Holdco shall use all commercially reasonable efforts to provide the Disbursing Agent (if
other than New Holdco) with the amounts of Claims and the identities and addresses of holders of Claims,
in each case, as set forth in the Debtor’s or New Holdco’s books and records. New Holdco shall cooperate
in good faith with the applicable Disbursing Agent (if other than New Holdco) to comply with the reporting
and withholding requirements outlined in Section 6.19 of the Plan.

        6.5.    Rights and Powers of Disbursing Agent.

                 (a)      From and after the Effective Date, the Disbursing Agent, solely in its capacity as
Disbursing Agent, shall be exculpated by all Entities, including, without limitation, holders of Claims
against and Interests in the Debtor and other parties in interest, from any and all Claims, Causes of Action,
and other assertions of liability arising out of the discharge of the powers and duties conferred upon such
Disbursing Agent by the Plan or any order of the Bankruptcy Court entered pursuant to or in furtherance of
the Plan, or applicable law, except for actions or omissions to act arising out of the gross negligence or
willful misconduct, fraud, malpractice, criminal conduct, or ultra vires acts of such Disbursing Agent. No
holder of a Claim or Interest or other party in interest shall have or pursue any claim or Cause of Action
against the Disbursing Agent, solely in its capacity as Disbursing Agent, for making payments in
accordance with the Plan or for implementing provisions of the Plan, except for actions or omissions to act
arising out of the gross negligence or willful misconduct, fraud, malpractice, criminal conduct, or ultra
vires acts of such Disbursing Agent.

                 (b)    A Disbursing Agent shall be empowered to (i) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties hereunder, (ii) make all
distributions contemplated hereby, and (iii) exercise such other powers as may be vested in the Disbursing
Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Disbursing Agent to be
necessary and proper to implement the provisions hereof.

        6.6.    Expenses of Disbursing Agent.

               Except as otherwise ordered by the Bankruptcy Court, any reasonable and documented fees
and out-of-pocket expenses incurred by the Disbursing Agent acting in such capacity (including reasonable
documented attorneys’ fees and out-of-pocket expenses) on or after the Effective Date shall be paid in Cash
by the Reorganized Company in the ordinary course of business.




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        6.7.     No Postpetition Interest on Claims.

                  Except to the extent that payments to Allowed General Unsecured Claims are not timely
made pursuant to Section 4.3 of the Plan or as otherwise provided in the Plan, the Confirmation Order, or
another order of the Bankruptcy Court or required by the Bankruptcy Code, interest shall not accrue or be
paid on any Claims on or after the Petition Date, provided, however, if interest is payable pursuant to the
preceding sentence, interest shall accrue at the federal judgment rate pursuant to 28 U.S.C. § 1961 on a
non-compounded basis from the date the obligation underlying the Claim becomes due and is not timely
paid through the date of payment; provided, however, the Existing ABL Facility Claims shall accrue and
be paid interest in accordance with the terms set forth in the Existing ABL Facility Agreement.

        6.8.     Delivery of Distributions.

                  Subject to Bankruptcy Rule 9010, all distributions to any holder of an Allowed Claim shall
be made by the Disbursing Agent, who shall transmit such distribution to the applicable holders of Allowed
Claims at the address for each such holder on the Debtor’s records as of the date of any such distribution.
In the event that any distribution to any holder is returned as undeliverable, no further distributions shall be
made to such holder unless and until such Disbursing Agent is notified in writing of such holder’s then-
current address or other necessary information for delivery, at which time all currently-due, missed
distributions shall be made to such holder as soon as reasonably practicable thereafter without interest.
Nothing herein shall require the Disbursing Agent to attempt to locate holders of undeliverable distributions
and, if located, assist such holders in complying with Section 6.19 of the Plan.

        6.9.     Distributions after Effective Date.

               Distributions made after the Effective Date to holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims shall be deemed to have
been made on the Effective Date.

        6.10.    Unclaimed Property.

                  Undeliverable distributions or unclaimed distributions shall remain in the possession of
New Holdco until such time as a distribution becomes deliverable or holder accepts distribution, or such
distribution reverts to New Holdco, as applicable, in accordance with this provision, and shall not be
supplemented with any interest, dividends, or other accruals of any kind. Such distributions shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of one hundred and
eighty (180) days from the date of distribution. After such date all unclaimed property or interest in property
shall revert to New Holdco. Upon such revesting, the Claim of the holder or its successors with respect to
such property shall be cancelled, discharged, and forever barred notwithstanding any applicable federal or
state escheat, abandoned, or unclaimed property laws, or any provisions in any document governing the
distribution that is an unclaimed distribution, to the contrary.




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        6.11.    Time Bar to Cash Payments.

                 Checks issued by the Disbursing Agent in respect of Allowed Claims shall be null and void
if not negotiated within one hundred and eighty (180) days after the date of issuance thereof. Thereafter,
the amount represented by such voided check shall irrevocably revert to New Holdco, and any Claim in
respect of such voided check shall be discharged and forever barred, notwithstanding any federal or state
escheat laws to the contrary. Requests for re-issuance of any check shall be made to the Disbursing Agent
by the holder of the Allowed Claim to whom such check was originally issued.

        6.12.    Manner of Payment under Plan.

                 Except as otherwise specifically provided in the Plan, at the option of the Debtor or New
Holdco, as applicable, any Cash payment to be made hereunder may be made by a check or wire transfer
or as otherwise required or provided in applicable agreements or customary practices of the Debtor.

        6.13.    Satisfaction of Claims.

                Except as otherwise specifically provided in the Plan, any distributions and deliveries to
be made on account of Allowed Claims under the Plan shall be in complete and final satisfaction, settlement,
and discharge of and exchange for such Allowed Claims.

        6.14.    Fractional Stock.

                 If any distributions of New Equity pursuant to the Plan would result in the issuance of a
fractional share or unit of New Equity, then the number of shares or units of New Equity to be issued in
respect of such distribution will be calculated to one decimal place and rounded up or down to the closest
whole share or unit (with a half share or unit or greater rounded up and less than a half share or unit rounded
down). The total number of shares or units of New Equity to be distributed in connection with the Plan
shall be adjusted as necessary to account for the rounding provided for in this Section 6.14. No
consideration shall be provided in lieu of fractional shares or units that are rounded down. Neither New
Holdco nor the Disbursing Agent shall have any obligation to make a distribution that is less than one (1)
share or unit of New Equity.

        6.15.    Minimum Cash Distributions.

               The Disbursing Agent shall not be required to make any distribution of Cash less than One
Hundred Dollars ($100) to any holder of an Allowed Claim; provided, however, that if any distribution is
not made pursuant to this Section 6.15, such distribution shall be added to any subsequent distribution to
be made on behalf of the holder’s Allowed Claim.

        6.16.    Setoffs and Recoupments.

                The Debtor, the Reorganized Debtor and New Holdco, as applicable, or such entity’s
designee (including, without limitation, the Disbursing Agent) may, but shall not be required to, set off or

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recoup against any Claim, and any distribution to be made on account of such Claim, any and all claims,
rights, and Causes of Action of any nature whatsoever that the Debtor, the Reorganized Debtor or New
Holdco, as applicable, may have against the holder of such Claim pursuant to the Bankruptcy Code or
applicable nonbankruptcy law; provided, however, that neither the failure to do so nor the allowance of any
Claim hereunder shall constitute a waiver or release by the Debtor, the Reorganized Debtor, New Holdco
or their respective successors of any claims, rights, or Causes of Action that the Debtor, the Reorganized
Debtor, New Holdco or their respective successors or assigns may possess against the holder of such Claim.

        6.17.    Allocation of Distributions between Principal and Interest.

                 Except as otherwise required by law (as reasonably determined by New Holdco),
distributions with respect to an Allowed Claim shall be allocated first to the principal portion of such
Allowed Claim (as determined for United States federal income tax purposes) and, thereafter, to the
remaining portion of such Allowed Claim, if any.

        6.18.    No Distribution in Excess of Amount of Allowed Claim.

                Notwithstanding anything in the Plan to the contrary, no holder of an Allowed Claim shall
receive, on account of such Allowed Claim, distributions in excess of the Allowed amount of such Claim.

        6.19.    Surrender of Cancelled Instruments or Securities.

                On the Effective Date, each holder of a Certificate shall be deemed to have surrendered
such Certificate to the Disbursing Agent. Notwithstanding the immediately preceding sentence, this
Section 6.19 shall not apply to any Claims and Interests Reinstated pursuant to the terms of the Plan.

        6.20.    Accrual of Dividends and Other Rights.

                For purposes of determining the accrual of distributions or other rights after the Effective
Date, the New Equity shall be deemed distributed as of the Effective Date regardless of the date on which
the New Equity is actually distributed; provided, however, the Reorganized Debtor or New Holdco shall
not pay any such distributions or distribute such other rights, if any, until after distribution of the applicable
New Equity actually takes place.

        6.21.    Withholding and Reporting Requirements.

                 (a)     Withholding Rights. In connection with the Plan, any party issuing any instrument
or making any distribution described in the Plan shall comply with all applicable withholding and reporting
requirements imposed by any federal, state, or local taxing authority, and all distributions pursuant to the
Plan and all related agreements shall be subject to any such withholding or reporting requirements. In the
case of a non-Cash distribution that is subject to withholding, the distributing party may withhold an
appropriate portion of such distributed property and either (i) sell such withheld property to generate Cash
necessary to pay over the withholding tax (or reimburse the distributing party for any advance payment of
the withholding tax), or (ii) pay the withholding tax using its own funds and retain such withheld property.
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Any amounts withheld pursuant to the preceding sentence shall be deemed to have been distributed to and
received by the applicable recipient for all purposes of the Plan. Notwithstanding the foregoing, each holder
of an Allowed Claim or any other Entity that receives a distribution pursuant to the Plan shall have
responsibility for any taxes imposed by any governmental unit, including, without limitation, income,
withholding, and other taxes, on account of such distribution. Any party issuing any instrument or making
any distribution pursuant to the Plan has the right, but not the obligation, to not make a distribution until
such holder has made arrangements satisfactory to such issuing or disbursing party for payment of any such
tax obligations.

                  (b)     Forms. Any party entitled to receive any property as an issuance or distribution
under the Plan shall, upon request, deliver to the Disbursing Agent or such other Entity designated by New
Holdco (which Entity shall subsequently deliver to the Disbursing Agent any applicable IRS Form W-8 or
Form W-9 received) an appropriate Form W-9 or (if the payee is a foreign Entity) Form W-8. If such
request is made by New Holdco, the Disbursing Agent, or such other Entity designated by New Holdco or
the Disbursing Agent and the holder fails to comply before the date that is one hundred and eighty (180)
days after the request is made, the distributing party may withhold an appropriate portion of such distributed
property and either (i) sell such withheld property to generate Cash necessary to pay over the withholding
tax (or reimburse the distributing party for any advance payment of the withholding tax), or (ii) pay the
withholding tax using its own funds and retain such withheld property.

        6.22.    Hart-Scott-Rodino Antitrust Improvements Act.

                 Any New Equity to be distributed under the Plan to an Entity required to file a premerger
notification and report form under the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended,
to the extent applicable, shall not be distributed until the notification and waiting periods applicable under
such Act to such Entity have expired or been terminated.

                    ARTICLE VII           PROCEDURES FOR DISPUTED CLAIMS.

        7.1.     Disputed Claims.

                  Notwithstanding section 502(a) of the Bankruptcy Code, and in light of the Unimpaired
status of all Claims (other than Existing Term Loan Claims) under the Plan, holders of Claims need not file
proofs of Claim, and the Debtor or New Holdco, as applicable, and the holders of Claims shall determine,
adjudicate, and resolve any disputes over the validity and amounts of such Claims in the ordinary course of
business as if the Chapter 11 Case had not been commenced except that the Allowed amount of such Claims
shall be subject to the limitations or maximum amounts permitted by the Bankruptcy Code, including
sections 502 and 503 of the Bankruptcy Code, to the extent applicable. All proofs of Claim filed in the
Chapter 11 Case shall be considered objected to and Disputed without further action by the Debtor. Upon
the Effective Date, all proofs of Claim filed against the Debtor, regardless of the time of filing, and including
proofs of Claim filed after the Effective Date, shall be deemed withdrawn and expunged, other than as
provided below, without the need for any objection by the Debtor or New Holdco or any further notice to
or action, order, or approval of the Bankruptcy Court. Notwithstanding anything in this Plan to the contrary,
disputes regarding the amount of any Cure pursuant to section 365 of the Bankruptcy Code and Claims that
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the Debtor seeks to have determined by the Bankruptcy Court, shall in all cases be determined by the
Bankruptcy Court, unless agreed to by New Holdco, any other Non-Debtor GCS Party that is party thereto,
and the applicable executory contract or unexpired lease counterparty.

        7.2.     Claims Administration Responsibilities.

                  (a)    Except as otherwise specifically provided in the Plan, the Debtor or New Holdco,
as applicable, shall have sole authority: (1) to file, withdraw, or litigate to judgment, objections to Claims;
(2) to settle or compromise any Disputed Claim without any further notice to or action, order, or approval
by the Bankruptcy Court; and (3) to administer and adjust the claims register to reflect any such settlements
or compromises without any further notice to or action, order, or approval by the Bankruptcy Court. For
the avoidance of doubt, except as otherwise provided herein, from and after the Effective Date, the
Reorganized Debtor and New Holdco, as applicable, shall have and retain any and all rights and defenses
the Debtor had immediately prior to the Effective Date with respect to any Disputed Claim.

                 (b)     Notwithstanding the foregoing, the Debtor, the Reorganized Debtor, or New
Holdco, as applicable, shall be entitled to dispute and/or otherwise object to any Claim in accordance with
applicable nonbankruptcy law. If the Debtor, the Reorganized Debtor or New Holdco, as applicable,
disputes any Claim, such dispute shall be determined, resolved, or adjudicated, as the case may be, in the
manner as if the Chapter 11 Case had not been commenced. In any action or proceeding to determine the
existence, validity, or amount of any Claim, any and all claims or defenses that could have been asserted
by the Debtor or the Entity holding such Claim are preserved as if the Chapter 11 Case had not been
commenced.

                (c)      Any duplicate Claim or any Claim that has been paid, amended, or superseded may
be adjusted or expunged on the claims register by New Holdco without New Holdco having to file an
application, motion, complaint, objection, or any other legal proceeding seeking to object to such Claim
and without further notice to or action, order, or approval of the Bankruptcy Court.

        7.3.     Estimation of Claims.

                  The Debtor or New Holdco, as applicable, may (but are not required to) at any time request
that the Bankruptcy Court estimate any contingent, unliquidated, or Disputed Claim pursuant to section
502(c) of the Bankruptcy Code for any reason, regardless of whether the Debtor or any other party in interest
previously objected to such Claim or whether the Bankruptcy Court has ruled on any such objection, and
the Bankruptcy Court will retain jurisdiction to estimate any Claim at any time, including during litigation
concerning any objection to any Claim or during the pendency of any appeal relating to any such objection.
In the event that the Bankruptcy Court estimates any contingent, unliquidated, or Disputed Claim, the
amount so estimated shall constitute either the Allowed amount of such Claim or a maximum limitation on
such Claim, as determined by the Bankruptcy Court. If the estimated amount constitutes a maximum
limitation on the amount of such Claim, the Debtor or New Holdco may pursue supplementary proceedings
to object to the allowance of, or to any ultimate distribution on, such Claim.



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        7.4.    No Distributions Pending Allowance.

                  If an objection, motion to estimate, or other challenge to a Claim is filed, no payment or
distribution provided under the Plan shall be made on account of such Claim unless and until (and only to
the extent that) such Claim becomes an Allowed Claim.

        7.5.    Distributions after Allowance.

                  To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions
(if any) shall be made to the holder of such Allowed Claim in accordance with the provisions of the Plan,
including the treatment provisions provided in Article IV of the Plan. Interest shall not accrue or be paid
on any Disputed Claim with respect to the period from the Effective Date to the date a final distribution is
made on account of such Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim.

        7.6.    Claim Resolution Procedures Cumulative.

                All of the objection, estimation, and resolution procedures in the Plan are intended to be
cumulative and not exclusive of one another. Claims may be estimated and subsequently settled,
compromised, withdrawn, or resolved in accordance with the Plan without further notice or Bankruptcy
Court approval.

        7.7.    Claims Paid by Third Parties.

                 The Debtor or New Holdco, as applicable, shall reduce in full a Claim, and such Claim
shall be disallowed without a Claims objection having to be filed and without any further notice to or action,
order, or approval of the Bankruptcy Court, to the extent that the holder of such Claim receives payment in
full on account of such Claim from a party that is not the Debtor or New Holdco. Subject to the last sentence
of this paragraph, to the extent a holder of a Claim receives a distribution on account of such Claim and
receives payment from a party that is not the Debtor or New Holdco on account of such Claim, such holder
shall, within fourteen calendar days of receipt thereof, repay the distribution to New Holdco, to the extent
the holder’s total recovery on account of such Claim from the third party and under the Plan exceeds the
amount of such Claim as of the date of any such distribution under the Plan. The failure of such holder to
timely repay or return such distribution shall result in the holder owing New Holdco annualized interest at
the Federal Judgment Rate on such amount owed for each Business Day after the fourteen-day grace period
specified above until the amount is repaid.

        7.8.    Insured Claims.

                  If any portion of an Allowed Claim is an Insured Claim, no distributions under the Plan
shall be made on account of such Allowed Claim until the holder of such Allowed Claim has exhausted all
remedies with respect to any applicable insurance policies. To the extent that the Debtor’s insurers agree
to satisfy a Claim in whole or in part, then immediately upon such agreement, the portion of such Claim so
satisfied may be expunged without an objection to such Claim having to be filed and without any further
notice to or action, order or approval of the Court.
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           ARTICLE VIII         EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

        8.1.     General Treatment.

                (a)      As of and subject to the occurrence of the Effective Date, all executory contracts
and unexpired leases to which the Debtor is a party shall be deemed assumed and assigned to New Holdco
without the need for any further notice to or action, order, or approval of the Bankruptcy Court, as of the
Effective Date under section 365 of the Bankruptcy Code, unless, with the consent of the Consenting
Lenders, such contract or lease (i) was previously assumed or rejected by the Debtor pursuant to an order
of the Bankruptcy Court; (ii) previously expired or terminated pursuant to its own terms or by agreement
of the parties thereto; (iii) is the subject of a motion to reject filed by the Debtor on or before the
Confirmation Date; (iv) is identified in Sections 8.4 and 8.5 of the Plan; or (v) is identified for rejection on
the Schedule of Rejected Contracts included in the Plan Supplement, if applicable.

                 (b)     Subject to the occurrence of the Effective Date, entry of the Confirmation Order
by the Bankruptcy Court shall constitute approval of the assumptions and assignments or rejections
provided for in the Plan pursuant to sections 365(a) and 1123 of the Bankruptcy Code and a determination
by the Bankruptcy Court that New Holdco has provided adequate assurance of future performance under
such assumed executory contracts and unexpired leases. Any executory contract and unexpired lease
assumed and assigned pursuant to the Plan shall vest in and be fully enforceable by New Holdco, as
applicable, in accordance with its terms, except as modified by the provisions of the Plan, any order of the
Bankruptcy Court authorizing and providing for its assumption, or applicable law.

                 (c)      To the maximum extent permitted by law, to the extent any provision in any
executory contract or unexpired lease assumed pursuant to the Plan restricts or prevents, or purports to
restrict or prevent, or is breached or deemed breached by, the assumption of such executory contract or
unexpired lease (including any “change of control” provision), then such provision shall be deemed
modified such that the transactions contemplated by the Plan shall not entitle the non-Debtor party thereto
to terminate such executory contract or unexpired lease or to exercise any other default-related rights with
respect thereto and any consent or advance notice required under such executory contract or unexpired lease
shall be deemed satisfied by entry of the Confirmation Order.

                   (d)     The Debtor reserves the right, on or before 5:00 p.m. (prevailing Central Time) on
the date that is seven (7) days before the Confirmation Hearing, or such other time as may be agreed in
writing between the Debtor and the applicable counterparty, to amend the Schedule of Rejected Contracts
to add or remove any executory contract or unexpired lease; provided that if the Confirmation Hearing is
adjourned or continued, such amendment right shall be extended to 5:00 p.m. (prevailing Central Time) on
the date that is seven (7) days before the rescheduled or continued Confirmation Hearing, and this provision
shall apply in the case of any and all subsequent adjournments and continuances of the Confirmation
Hearing.




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        8.2.     Determination of Cure Disputes and Deemed Consent

               (a)    Any monetary amounts by which any executory contract or unexpired lease to be
assumed and assigned hereunder is in default shall be satisfied, under section 365(b)(1) of the Bankruptcy
Code, by New Holdco upon the assumption and assignment thereof in the ordinary course.

                 (b)      If the Debtor intends to assume and assign to New Holdco any executory contract
or lease in connection with the Plan, the Debtor shall serve a notice on the counterparty to such executory
contract or unexpired lease at least ten (10) days before the Confirmation Hearing (i) reflecting the Debtor’s
intention to potentially assume and assign the contract or lease to New Holdco in connection with the Plan
and (ii) where applicable, setting forth a proposed Cure amount (if any). Any objection by a counterparty
to an executory contract or unexpired lease to the proposed assumption and assignment, or related Cure
amount, must be filed, served, and actually received by the Debtor within ten (10) days of service of the
applicable notice, or such shorter period as agreed to by the parties or authorized by the Bankruptcy Court.
Any counterparty to an executory contract or unexpired lease that does not timely object to the notice of
the proposed assumption and assignment to New Holdco of such executory contract or unexpired lease
shall be deemed to have assented to assumption and assignment of the applicable executory contract or
unexpired lease notwithstanding any provision thereof that purports to (i) prohibit, restrict, or condition the
transfer or assignment of such contract or lease; (ii) terminate or modify, or permit the termination or
modification of, a contract or lease as a result of any direct or indirect transfer or assignment of the rights
of the Debtor under such contract or lease or a change, if any, in the ownership or control to the extent
contemplated by the Plan; (iii) increase, accelerate, or otherwise alter any obligations or liabilities of the
Debtor or New Holdco under such executory contract or unexpired lease; or (iv) create or impose a Lien
upon any property or asset of the Debtor or New Holdco, as applicable. Each such provision shall be
deemed to not apply to the assumption of such executory contract or unexpired lease pursuant to the Plan
and counterparties to assumed executory contracts or unexpired leases that fail to object to the proposed
assumption in accordance with the terms herein shall forever be barred and enjoined from objecting to the
proposed assumption or to the validity of such assumption (including with respect to any Cure amounts or
the provision of adequate assurance of future performance), or taking actions prohibited by the foregoing
or the Bankruptcy Code on account of transactions contemplated by the Plan.

                 (c)      If there is an assumption dispute pertaining to the assumption and assignment of
an executory contract or unexpired lease (other than a dispute pertaining to a Cure amount), such dispute
shall be heard by the Bankruptcy Court before such assumption and assignment becomes effective;
provided that, the Debtor or New Holdco, as applicable, may settle any assumption dispute without any
further notice to any party or any action, order, or approval of the Bankruptcy Court.

                 (d)      To the extent an assumption dispute relates solely to the Cure amount, the Debtor
may assume and assign the applicable executory contract or unexpired lease before the resolution of the
assumption dispute; provided that New Holdco, as assignee, shall be responsible to pay the determined
amount to be Allowed by the Bankruptcy Court or otherwise agreed to by such non-Debtor party. New
Holdco is authorized to settle any dispute regarding the Cure amount or the nature thereof without any
further notice to any party or any action, order, or approval of the Bankruptcy Court.

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                 (e)     The assumption and assignment of any executory contract or unexpired lease
pursuant to the Plan or otherwise shall result in the full release and satisfaction of any Claims against the
Debtor or New Holdco (as assignee) or defaults by the Debtor, whether monetary or nonmonetary, including
defaults of provisions restricting the change in control or ownership interest composition or other
bankruptcy-related defaults, arising under any assumed executory contract or unexpired lease at any time
before the date that the Debtor assumes and assigns such executory contract or unexpired lease to New
Holdco. Any proofs of Claim filed with respect to an executory contract or unexpired lease that has been
assumed and assigned shall be deemed Disallowed and expunged, without further notice to or action, order,
or approval of the Bankruptcy Court or any other Person, upon the assumption of such executory contract
or unexpired lease.

        8.3.     Rejection Claims.

                  Any party wishing to assert a Claim arising from the rejection of its executory contract or
unexpired lease shall provide written notice of such asserted Claim to New Holdco no later than the date
that is thirty (30) days after the Effective Date and file such notice on the Bankruptcy Court’s docket. Any
Claims arising from the rejection of an executory contract or unexpired lease that have not been asserted
and filed by such date will be automatically disallowed, forever barred from assertion, and shall not be
enforceable against the Debtor, New Holdco, the Estate, or their respective property without the need for
any objection by the Debtor or New Holdco or further notice to, or action, order, or approval of the
Bankruptcy Court or any other Entity, and any Claim arising out of the rejection of the executory contract
or unexpired lease shall be deemed fully satisfied, released, and discharged. All Allowed Claims arising
from the rejection of the Debtor’s executory contracts or unexpired leases shall be classified and treated in
Class 5 (General Unsecured Claims).

        8.4.     Survival of the Debtor’s Indemnification Obligations.

                 (a)      Any obligations of the Debtor pursuant to its corporate charters, bylaws, limited
liability company agreements, or other organizational documents to indemnify current officers, managers,
directors, agents, and/or employees with respect to all present and future actions, suits, and proceedings
against the Debtor or such directors, managers, officers, agents, and/or employees, based upon any act or
omission for or on behalf of the Debtor, shall not be discharged or impaired by confirmation of the Plan;
provided, however, that New Holdco shall not indemnify directors, managers, officers, agents and/or
employees of the Debtor for any Claims or Causes of Action arising out of or relating to any act or omission
that constitutes intentional fraud, gross negligence, or willful misconduct. All such obligations shall be
deemed and treated as executory contracts to be assumed and assigned by the Debtor under the Plan and
shall become obligations of New Holdco. Any claim based on the Debtor’s obligations herein shall not be
a Disputed Claim or subject to any objection in either case by reason of section 502(e)(1)(B) of the
Bankruptcy Code.

                 (b)      In addition, after the Effective Date, New Holdco shall not terminate or otherwise
reduce the coverage under any directors’ and officers’ insurance policies (including any “tail policy”) in
effect or purchased as of the Petition Date, and all members, managers, directors, and officers who served
in such capacity at any time before the Effective Date shall be entitled to the full benefits of any such policy
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for the full term of such policy regardless of whether such members, managers, directors, and/or officers
remain in such positions after the Effective Date, in each case, to the extent set forth in such policies;
provided however, notwithstanding the foregoing, the Debtor and New Holdco shall be under no obligation
to maintain or renew such directors’ and officers’ insurance policies as such policies relate to ORG GC
Holdings, LLC and its directors and officers.

        8.5.     Insurance Policies.

                 All insurance policies pursuant to which the Debtor has any obligations in effect as of the
date of the Confirmation Order shall be deemed and treated as executory contracts pursuant to the Plan and
shall be assumed and assigned to New Holdco and shall continue in full force and effect thereafter in
accordance with their respective terms. Nothing contained in the Plan shall constitute or be deemed a
waiver of any Cause of Action that the Debtor or any Entity may hold against any other Entity, including
insurers under any insurance policies, nor shall anything contained herein constitute or be deemed a waiver
by such insurers of any rights or defenses, including coverage defenses, held by such insurers. All insurance
policies shall vest in New Holdco.

        8.6.     Intellectual Property Licenses and Agreements.

                 All intellectual property contracts, licenses, royalties, or other similar agreements to which
the Debtor has any rights or obligations in effect as of the date of the Confirmation Order shall be deemed
and treated as executory contracts pursuant to the Plan and shall be assumed and assigned to New Holdco
and shall continue in full force and effect. Unless otherwise noted hereunder, all other intellectual property
contracts, licenses, royalties, or other similar agreements, to the extent applicable, shall vest in the New
Holdco and New Holdco may take all actions as may be necessary or appropriate to ensure such vesting as
contemplated herein.

        8.7.     Modifications, Amendments, Supplements, Restatements, or Other Agreements.

                 Unless otherwise provided herein or by separate order of the Bankruptcy Court, each
executory contract and unexpired lease that is assumed and assigned to New Holdco shall include any and
all modifications, amendments, supplements, restatements, or other agreements made directly or indirectly
by any agreement, instrument, or other document that in any manner affects such executory contract or
unexpired lease.

        8.8.     Reservation of Rights.

                 (a)     Neither the exclusion nor inclusion of any contract or lease by the Debtor on any
exhibit, schedule, or other annex to the Plan or in the Plan Supplement, nor anything contained in the Plan,
will constitute an admission by the Debtor that any such contract or lease is or is not in fact an executory
contract or unexpired lease or that the Debtor or New Holdco or their respective affiliates have any liability
thereunder.



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                 (b)     Except as otherwise provided in the Plan, nothing in the Plan will waive, excuse,
limit, diminish, or otherwise alter any of the defenses, Claims, Causes of Action, or other rights of the
Debtor or New Holdco under any executory or non-executory contract or any unexpired or expired lease.

                  (c)      Nothing in the Plan will increase, augment, or add to any of the duties, obligations,
responsibilities, or liabilities of the Debtor or New Holdco (to the extent any executory contracts or
unexpired lease is assumed and assigned) under any executory or non-executory contract or any unexpired
or expired lease. Rejection of any executory contract or unexpired lease pursuant to the Plan or otherwise
shall not constitute a termination of preexisting obligations owed to the Debtor or New Holdco (as successor
to the Debtor), as applicable, under such executory contracts or unexpired leases.

                 (d)       If there is a Cure Dispute or a dispute regarding whether a contract or lease is or
was executory or unexpired at the time of assumption or rejection under the Plan, the Debtor or New
Holdco, as applicable, shall have sixty (60) days following entry of a Final Order resolving such Cure
Dispute to alter its treatment of such contract or lease by filing a notice indicating such altered treatment.

        8.9.     Contracts and Leases Entered into after the Effective Date.

                 Contracts and leases entered into after the Petition Date by the Debtor, including any
executory contracts and unexpired leases assumed by the Debtor, will be performed by the Debtor or New
Holdco (to the extent any executory contract or unexpired lease is assumed and assigned) in the ordinary
course of its business. Accordingly, such contracts and leases (including any assumed executory contracts
and unexpired leases) will survive and remain unaffected by entry of the Confirmation Order.

     ARTICLE IX            CONDITIONS PRECEDENT TO CONFIRMATION OF PLAN AND
                                     EFFECTIVE DATE.

        9.1.     Conditions Precedent to Confirmation of Plan.

                 The following are conditions precedent to confirmation of the Plan:

                (a)      the Plan and the Plan Supplement and all of the schedules, documents, and exhibits
contained therein shall have been filed, and shall be in form and substance reasonably acceptable to the
Debtor and the Consenting Lenders;

                 (b)     the Bankruptcy Court shall have entered the DIP Order;

                 (c)       the Restructuring Support Agreement shall not have been terminated and shall be
in full force and effect; and

               (d)     the Bankruptcy Court shall have entered the Confirmation Order, and such
Confirmation Order shall not have been stayed or modified.



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        9.2.     Conditions Precedent to Effective Date.

                 The following are conditions precedent to the Effective Date of the Plan:

                (a)      the Definitive Documents shall (i) contain terms and conditions consistent in all
material respects with the Plan and the Restructuring Support Agreement and otherwise acceptable to the
Debtor and the Consenting Lenders and (ii) have been executed and delivered, and any conditions precedent
contained to effectiveness therein shall have been satisfied or waived in accordance therewith and the
foregoing documents shall be in full force and effect and binding upon the relevant parties;

                (b)    all actions, documents, and agreements, including the Definitive Documents,
necessary to implement and consummate the Plan shall have been effected or executed;

               (c)      the New Organizational Documents shall have been filed with the appropriate
governmental authority, as applicable;

                 (d)     the Bankruptcy Court shall have entered the Confirmation Order and such order
shall not have been stayed, modified, or vacated;

                 (e)     the Exit Term Loan Facilities, including all documentation related thereto, shall
have been duly executed and delivered by all of the Entities that are parties thereto and all conditions
precedent to the effectiveness thereof (other than any conditions relating to the occurrence of the Effective
Date) shall have been satisfied or duly waived in accordance with their respective terms and the closing
thereof shall have occurred;

                 (f)     the Exit ABL Facility, including all documentation related thereto, shall have been
duly executed and delivered by all of the Entities that are parties thereto and all conditions precedent to the
effectiveness thereof (other than any conditions relating to the occurrence of the Effective Date) shall have
been satisfied or duly waived in accordance with their respective terms and the closing thereof shall have
occurred;

                 (g)     the New Holdco Equity shall have been issued, and all actions, documents, and
agreements related thereto shall have been duly executed and delivered by all of the Entities that are parties
thereto and all conditions precedent to the effectiveness thereof (other than any conditions relating to the
occurrence of the Effective Date) shall have been satisfied or duly waived in accordance with their
respective terms;

                 (h)     the New Midco Equity shall have been issued, and all actions, documents, and
agreements related thereto shall have been duly executed and delivered by all of the Entities that are parties
thereto and all conditions precedent to the effectiveness thereof (other than any conditions relating to the
occurrence of the Effective Date) shall have been satisfied or duly waived in accordance with their
respective terms and the closing thereof shall have occurred;



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                 (i)     all governmental, regulatory, licensing, other and third-party approvals and
consents, including Bankruptcy Court approval, necessary in connection with the transactions contemplated
by the Plan, as determined by the Debtor in consultation with the Consenting Lenders, shall have been
obtained, not be subject to unfulfilled conditions, and be in full force and effect, and all applicable waiting
periods shall have expired or been terminated without any action being taken or threatened by any
competent authority that would restrain, prevent, or otherwise impose materially adverse conditions on such
transactions;

                 (j)      the Restructuring Support Agreement shall not have been terminated and shall be
in full force and effect;

               (k)     each of the requirements set forth in Section 9 of the Restructuring Support
Agreement shall each have been satisfied; and

                  (l)      all unpaid Transaction Expenses shall have been paid in Cash, to the extent
invoiced at least three (3) Business Days prior to the Effective Date and, if applicable, to the extent approved
by the Bankruptcy Court, pursuant to the applicable fee arrangements of such professionals.

        9.3.     Waiver of Conditions Precedent.

                 Except as otherwise provided herein, all actions required to be taken on the Effective Date
shall take place and shall be deemed to have occurred simultaneously and no such action shall be deemed
to have occurred prior to the taking of any other such action. Each of the conditions precedent in Section
9.1 and Section 9.2 of the Plan may be waived in writing by the Debtor, with the prior written consent of
the Consenting Lenders, without any notice to any other parties in interest and without any further notice
to or action, leave of or order or approval of the Bankruptcy Court. The stay of the Confirmation Order
pursuant to Bankruptcy Rule 3020(e) shall be deemed waived by and upon the entry of the Confirmation
Order, and the Confirmation Order shall take effect immediately upon its entry.

        9.4.     Effect of Failure of a Condition.

                 If the conditions listed in Section 9.2 of the Plan are not satisfied or waived in accordance
with Section 9.3 of the Plan on or before the first Business Day that is more than ninety (90) days after the
date on which the Confirmation Order is entered or by such later date as set forth by the Debtor (with the
consent of the Consenting Lenders) in a notice filed with the Bankruptcy Court prior to the expiration of
such period, the Plan shall be null and void in all respects and nothing contained in the Restructuring
Support Agreement, the Plan or the Disclosure Statement shall (a) constitute a waiver or release of any
Claims by or against or any Interests in the Debtor, (b) prejudice in any manner the rights of the Debtor,
any holder of a Claim or Interest or any other Entity, or (c) constitute an admission, acknowledgement,
offer, or undertaking by the Debtor, any of the Consenting Lenders or any other Entity.




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                    ARTICLE X            EFFECT OF CONFIRMATION OF PLAN.

        10.1.    Vesting of Assets.

                (a)     On the Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy
Code, all property of the Debtor’s Estate shall vest in New Holdco free and clear of all Claims, Liens,
encumbrances, charges, and other interests, except as provided pursuant to the Plan, the Confirmation
Order, the Exit ABL Facility Agreement, the Exit Term Loan Facility Documents, or the Restructuring
Transaction Steps.

                (b)     For the avoidance of doubt, on the Effective Date, the Debtor’s obligations under
each of the Existing Indemnity Agreements shall be assumed by the Debtor and assigned to New Holdco
and shall automatically become obligations of New Holdco. Upon request of any of the Sureties, New
Holdco shall execute a new indemnity agreement in a form substantially similar to the applicable Existing
Indemnity Agreement with such Surety or otherwise on terms acceptable to the applicable Surety and New
Holdco.

        10.2.    Binding Effect.

                  As of the Effective Date, the Plan shall bind all holders of Claims against and Interests in
the Debtor and their respective successors and assigns, notwithstanding whether any such holders were
(a) Impaired or Unimpaired under the Plan, (b) deemed to accept or reject the Plan, (c) failed to vote to
accept or reject the Plan, or (d) voted to reject the Plan.

        10.3.    Discharge of Claims and Termination of Interests.

                 Upon the Effective Date and in consideration of the distributions to be made hereunder,
except as otherwise expressly provided under the Plan or in any contract, instrument, or other agreement or
document created or entered into pursuant to the Plan, each holder (as well as any representatives, affiliates,
trustees, or agents on behalf of each holder) of an Existing Term Loan Claim or Interest shall be deemed to
have forever waived, released, and discharged the Debtor or any of its assets and properties, to the fullest
extent permitted by section 1141 of the Bankruptcy Code, of and from any and all Claims, Interests, Causes
of Action, rights, and liabilities that arose prior to the Effective Date, whether known or unknown. Upon
the Effective Date, all such Entities shall be forever precluded and enjoined, pursuant to section 524 of the
Bankruptcy Code, from prosecuting or asserting any such discharged Claim against or terminated Interest
in the Debtor against the Debtor (or New Holdco, as successor to the Debtor) or any of its assets or property,
whether or not such holder has filed a proof of Claim and whether or not the facts or legal bases therefor
were known or existed prior to the Effective Date. The Confirmation Order shall be a judicial determination
of the discharge of all Claims (other than Unimpaired Claims) and Interests subject to the occurrence of the
Effective Date. For the avoidance of doubt, Unimpaired Claims shall not be discharged under the Plan. On
the Effective Date, all Unimpaired Claims shall be assumed by and become obligations of New Holdco and
receive the treatment ascribed to such Claims set forth in this Plan.



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        10.4.   Term of Injunctions or Stays.

                  Unless otherwise provided herein or in a Final Order of the Bankruptcy Court, all
injunctions or stays arising under or entered during the Chapter 11 Case under section 105 or 362 of the
Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall remain in full force and
effect until the later of the Effective Date and the date indicated in the order providing for such injunction
or stay. All injunctions or stays contained in the Plan or the Confirmation Order shall remain in full force
and effect in accordance with their terms.

        10.5.   Injunction.

                (a)     Upon entry of the Confirmation Order, all holders of Claims and Interests
and other parties in interest, along with their respective present or former employees, agents, officers,
directors, principals, and affiliates, shall be enjoined from taking any actions to interfere with the
implementation or consummation of the Plan.

                 (b)     Except as expressly provided in the Plan, the Confirmation Order or a
separate order of the Bankruptcy Court, for obligations or distributions issued or required to be paid
pursuant to the Plan or the Confirmation Order, or as agreed to by the Debtor and a holder of a
Claim against or Interest in the Debtor, all Entities who have held, hold, or may hold Claims against
or Interests in the Debtor (whether or not such Entities vote in favor of, against or abstain from
voting on the Plan or are presumed to have accepted or deemed to have rejected the Plan) and other
parties in interest, along with their respective present or former employees, agents, officers, directors,
principals, and affiliates are permanently enjoined, on and after the Effective Date, solely with
respect to any Claims, Interests, and Causes of Action that will be or are extinguished, discharged,
or released pursuant to the Plan from (i) commencing, conducting, or continuing in any manner,
directly or indirectly, any suit, action, or other proceeding of any kind (including, without limitation,
any proceeding in a judicial, arbitral, administrative or other forum) against or affecting the
Released Parties or the property of any of the Released Parties, (ii) enforcing, levying, attaching
(including, without limitation, any prejudgment attachment), collecting, or otherwise recovering by
any manner or means, whether directly or indirectly, any judgment, award, decree, or order against
the Released Parties or the property of any of the Released Parties, (iii) creating, perfecting, or
otherwise enforcing in any manner, directly or indirectly, any Lien or encumbrance of any kind
against the Released Parties or the property of any of the Released Parties, (iv) asserting any right of
setoff, subrogation or recoupment of any kind, directly or indirectly, against any obligation due from
the Released Parties or against the property of any of the Released Parties, except as contemplated
or allowed by the Plan or unless such holder has filed a motion requesting the right to perform such
setoff, subrogation or recoupment on or before the Effective Date, and notwithstanding an indication
of a Claim or Interest or otherwise that such holder asserts, has, or intends to preserve any right of
setoff, subrogation or recoupment pursuant to applicable law or otherwise and (v) acting or
proceeding in any manner, in any place whatsoever, that does not conform to or comply with the
provisions of the Plan.


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               (c)      By accepting distributions pursuant to the Plan, each holder of an Allowed
Claim or Interest will be deemed to have affirmatively and specifically consented to be bound by the
Plan, including, without limitation, the injunctions set forth in this Section 10.5.

               (d)     The injunctions in this Section 10.5 shall extend to any successors of the
Debtor and its respective property and interests in property, including New Holdco and New Holdco
Sub.

        10.6.   Releases.

                (a)     Estate Releases

                 Subject to the occurrence of and effective as of the Effective Date, except for the right
to enforce the Plan or any right or obligation arising under the Definitive Documents that remains in
effect or becomes effective after the Effective Date, for good and valuable consideration, the Released
Parties shall be deemed conclusively, absolutely, unconditionally, irrevocably and forever released
and discharged by the Debtor, New Holdco (as the successor to the Debtor) and the Debtor’s Estate,
in each case on behalf of themselves and their respective successors, assigns and representatives, and
any all other Persons who may purport to assert any Cause of Action, directly or derivatively, by,
through, for, or because of the Debtor, New Holdco (as the successor to the Debtor) and the Debtor’s
Estate, from any and all Claims or Causes of Action, including any derivative claims, asserted or
assertable on behalf of the Debtor, whether known or unknown, foreseen or unforeseen, matured or
unmatured, existing or hereinafter arising, contingent or noncontingent, in law, equity or otherwise,
that the Debtor, New Holdco (as the successor to the Debtor) and the Debtor’s Estate would have
been legally entitled to assert in their own right (whether individually or collectively) or on behalf of
any other Person based on or relating to, or in any manner arising from, in whole or in part, the
Debtor (including the capital structure, management, ownership or operation thereof), the Chapter
11 Case, the filing of the Chapter 11 Case, the Restructuring, the Non-Debtor GCS Parties, the Term
DIP Facility, the Exit Term Loan Facilities, the purchase, sale or rescission of the purchase or sale of
any security of the Debtor or New Holdco (as the successor to the Debtor), the subject matter of, or
the transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the business
or contractual arrangements between the Debtor, the Non-Debtor GCS Parties, and any Released
Party, the restructuring of Claims and Interests before or during the Chapter 11 Case, the
negotiation, formulation, preparation, dissemination, filing or consummation of the Definitive
Documents or related agreements, instruments or other documents, the solicitation of votes with
respect to the Plan, the pursuit of confirmation and consummation of the Plan, the administration
and implementation of the Plan, any settlement or agreement in the Chapter 11 Case, the offer,
issuance and distribution of any securities issued or to be issued pursuant to the Plan, or the
distribution of property under the Plan, whether or not such distribution occurs following the
Effective Date, the negotiations regarding or concerning any of the foregoing, or any related act or
omission, transaction, agreement, event or other occurrence related or relating to the foregoing, in
all cases based upon any act or omission, transaction, agreement, event or other occurrence taking
place on or before the Effective Date; provided, that nothing herein shall be construed to release any
party or entity from willful misconduct or intentional fraud as determined by a Final Order; provided
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further that nothing in the Plan shall limit the liability of professionals to their clients pursuant to
applicable law.

                (b)     Releases by Holders of Claims

                 Subject to the occurrence of and effective as of the Effective Date, except (i) for the
right to enforce the Plan or any right or obligation arising under the Definitive Documents that
remains in effect or becomes effective after the Effective Date or (ii) as otherwise expressly provided
in the Plan or in the Confirmation Order, in exchange for good and valuable consideration, including
the obligations of the Debtor under the Plan and the contributions of the Released Parties to facilitate
and implement the Plan, to the fullest extent permissible under applicable law, as such law may be
extended or integrated after the Effective Date, the Released Parties (other than the Debtor) shall be
deemed conclusively, absolutely, unconditionally, irrevocably and forever released and discharged
by each Releasing Party, including holders of Unimpaired Claims that have not (i) checked the box
on the applicable notice (the “Opt-Out Form”) indicating they opt out of granting the Releases
provided in the Plan and (ii) returned such Opt-Out Form to the Voting Agent by the deadline
specified in the Opt-Out Form, in each case, on behalf of themselves and their respective successors,
assigns and representatives, and any all other Persons who may purport to assert any Cause of
Action, directly or derivatively, by, through, for, or because of the Releasing Parties, from any and
all Claims, interests or Causes of Action, including any derivative claims, asserted or assertable on
their behalf, whether known or unknown, foreseen or unforeseen, matured or unmatured, existing
or hereinafter arising, contingent or noncontingent, in law, equity or otherwise, that such Entity
would have been legally entitled to assert in their own right (whether individually or collectively) or
on behalf of any other Person based on or relating to, or in any manner arising from, in whole or in
part, the Debtor (including the capital structure, management, ownership or operation thereof), the
Chapter 11 Case, the filing of the Chapter 11 Case, the Restructuring, the Non-Debtor GCS Parties,
the Term DIP Facility, the Exit Term Loan Facilities, the purchase, sale or rescission of the purchase
or sale of any security of the Debtor or New Holdco (as the successor to the Debtor), the subject
matter of, or the transactions or events giving rise to, any Claim or Interest that is treated in the Plan,
the business or contractual arrangements between the Debtor, the Non-Debtor GCS Parties, and any
Released Party, the restructuring of Claims and Interests before or during the Chapter 11 Case, the
negotiation, formulation, preparation, dissemination, filing or consummation of the Definitive
Documents or related agreements, instruments or other documents, the solicitation of votes with
respect to the Plan, the pursuit of confirmation and consummation of the Plan, the administration
and implementation of the Plan, any settlement or agreement in the Chapter 11 Case, the offer,
issuance and distribution of any securities issued or to be issued pursuant to the Plan, or the
distribution of property under the Plan, whether or not such distribution occurs following the
Effective Date, the negotiations regarding or concerning any of the foregoing, or any related act or
omission, transaction, agreement, event or other occurrence related or relating to the foregoing, in
all cases based upon any act or omission, transaction, agreement, event or other occurrence taking
place on or before the Effective Date; provided, that nothing herein shall be construed to release any
party or entity from willful misconduct or intentional fraud as determined by a Final Order; provided
further that nothing in the Plan shall limit the liability of professionals to their clients pursuant to

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applicable law.

        10.7.     Exculpation.

                  Notwithstanding anything herein to the contrary, and to the maximum extent
permitted by applicable law, the Exculpated Parties shall neither have nor incur any liability to any
holder of a Claim or Interest or any other party in interest, or any of their respective predecessors,
successors and assigns, subsidiaries, affiliates, managed accounts or funds, current or former officers,
directors, principals, shareholders, members, partners, employees, agents, advisory board members,
financial advisors, attorneys, accountants, investment bankers, consultants, representatives,
management companies, fund advisors and other professionals, and such Entity’s respective heirs,
executors, estates, servants or nominees for any act or omission (both prior to and subsequent to the
Petition Date) in connection with, related to, or arising out of, in whole or in part, the Debtor, the
Debtor’s restructuring, the Chapter 11 Case, the purchase, sale or rescission of the purchase or sale
of any Security of the Debtor or New Holdco, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
arrangements between any Debtor and any Exculpated Party, the restructuring of Claims and
Interests before or during the Chapter 11 Case, the negotiation, formulation, preparation, filing,
dissemination, or consummation of the Plan (including the Plan Supplement), the Restructuring
Support Agreement, the Definitive Documents, or any related agreements, instruments, or other
documents, the solicitation of votes with respect to the Plan, any settlement or agreement in the
Chapter 11 Case, the offer, issuance, and distribution of any Securities issued or to be issued pursuant
to the Plan, whether or not such distribution occurs following the Effective Date, negotiations
regarding or concerning any of the foregoing, the administration and implementation of the Plan or
property to be distributed hereunder or upon any other related act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date, except for actions
determined by Final Order to constitute gross negligence, willful misconduct, or intentional fraud,
but in all respects such Exculpated Parties shall be entitled to reasonably rely upon the advice of
counsel with respect to their duties and responsibilities pursuant to or in connection with the Plan or
any other related document, instrument or agreement; provided that nothing in the Plan shall limit
the liability of professionals to their clients pursuant to applicable law.

        10.8.     Retention of Causes of Action/Reservation of Rights.

                 (a)      Except as otherwise provided herein, nothing contained in the Plan or the
Confirmation Order shall be deemed to be a waiver or relinquishment of any rights, Claims, Causes of
Action, rights of setoff or recoupment, or other legal or equitable defenses that the Debtor had immediately
prior to the Effective Date on behalf of the Estate or itself in accordance with any provision of the
Bankruptcy Code or any applicable nonbankruptcy law, including, without limitation, any affirmative
Causes of Action against parties with a relationship with the Debtor. In accordance with section 1123(b)
of the Bankruptcy Code, any Causes of Action that the Debtor may hold against any Entity shall vest in
New Holdco, except as otherwise expressly provided in the Plan.


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                  (b)      New Holdco, through its authorized agents or representatives, shall have, retain,
reserve, and be entitled to assert and enforce all such Claims, Causes of Action, rights of setoff or
recoupment, and other legal or equitable defenses as fully as if the Chapter 11 Case had not been
commenced, and all of the Debtor’s and New Holdco’s (as successor to the Debtor) legal and equitable
rights in respect of any Unimpaired Claim may be asserted after the Confirmation Date and Effective Date
to the same extent as if the Chapter 11 Case had not been commenced. New Holdco shall have the exclusive
right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
compromise, release, withdraw, or litigate to judgment any such Causes of Action and to decline to do any
of the foregoing without the consent or approval of any third party or further notice to or action, order, or
approval of the Bankruptcy Court. Notwithstanding the foregoing, the Debtor and New Holdco shall not
retain any Claims or Causes of Action released pursuant to Sections 10.5, 10.6, and 10.7 of the Plan against
the Released Parties or arising under chapter 5 of the Bankruptcy Code (except that such Claims or Causes
of Action may be asserted as a defense to a Claim in connection with the claims reconciliation and objection
procedures pursuant to section 502(d) of the Bankruptcy Code or otherwise).

                 (c)      New Holdco may pursue such retained Causes of Action, as appropriate, in
accordance with its best interests and the best interests of the Reorganized Company. No Entity
(other than the Released Parties) may rely on the absence of a specific reference in the Plan, the Plan
Supplement, or the Disclosure Statement to any Cause of Action against it as any indication that New
Holdco will not pursue any and all available Causes of Action of the Debtor (or New Holdco, as
successor to the Debtor) against it. New Holdco expressly reserves all rights to prosecute any and all
Causes of Action against any Entity, except as otherwise expressly provided in the Plan. Unless any
Causes of Action of the Debtor against an Entity are expressly waived, relinquished, exculpated, released,
compromised, or settled in the Plan or a Final Order, New Holdco expressly reserves all Causes of Action,
for later adjudication, and, therefore, no preclusion doctrine, including the doctrines of res judicata,
collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches,
shall apply to such Causes of Action upon, after, or as a consequence of the confirmation or consummation
of the Plan.

        10.9.    Solicitation of Plan.

                 As of and subject to the occurrence of the Confirmation Date: (a) the Debtor shall be
deemed to have solicited acceptances of the Plan in good faith and in compliance with the applicable
provisions of the Bankruptcy Code, including without limitation, sections 1125(a) and (e) of the Bankruptcy
Code, and any applicable non-bankruptcy law, rule, or regulation governing the adequacy of disclosure in
connection with such solicitation and (b) the Debtor, the Consenting Lenders, and each of their respective
directors, officers, employees, affiliates, agents, financial advisors, investment bankers, professionals,
accountants, and attorneys shall be deemed to have participated in good faith and in compliance with the
applicable provisions of the Bankruptcy Code in the offer and issuance of any securities under the Plan,
and therefore are not, and on account of such offer, issuance, and solicitation will not be, liable at any time
for any violation of any applicable law, rule, or regulation governing the solicitation of acceptances or
rejections of the Plan or the offer and issuance of any securities under the Plan.


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        10.10. Corporate and Limited Liability Company Action.

                  Upon the Effective Date, all actions contemplated by the Plan shall be deemed authorized
and approved in all respects, including (a) those set forth in 5.12(a) of the Plan; (b) the selection of the
managers and officers for New Holdco, New Holdco Sub, and each of the other GCS Parties, as applicable,
pursuant to the New Organizational Documents; (c) the issuance and distribution, or other transfer, of the
New Equity; (d) the entry into the Exit Term Loan Facilities and Exit ABL Facility and the corresponding
Exit Term Loan Facility Documents and Exit ABL Facility Documents, as applicable; (e) the adoption
and/or filing of or entry into the LLC Agreement and other New Organizational Documents; and (f) all
other acts or actions contemplated, or reasonably necessary or appropriate to promptly consummate the
transactions contemplated, by the Plan (whether to occur before, on, or after the Effective Date), in each
case, in accordance with and subject to the terms hereof. All matters provided for in the Plan involving the
corporate or limited liability company structure of the Debtor or the Reorganized Debtor, and any corporate
or limited liability company action required by the Debtor, the Reorganized Debtor, New Holdco or New
Holdco Sub in connection with the Plan, shall be deemed to have occurred and shall be in effect as of the
Effective Date, without any requirement of further action by holders of Claims, the security holders,
directors, managers, authorized persons, or officers of the Debtor, the Reorganized Debtor, New Holdco or
New Holdco Sub. On or (as applicable) before the Effective Date, the appropriate officers of the Debtor,
the Reorganized Debtor, New Holdco and New Holdco Sub, as applicable, shall be authorized and directed
to issue, execute, and deliver the agreements, documents, securities, and instruments, certificates of merger,
certificates of conversion, certificates of incorporation, or comparable documents, or franchise tax reports
contemplated by the Plan (or necessary or desirable to effect the transactions contemplated by the Plan) in
the name of and on behalf of the Reorganized Debtor, New Holdco, New Holdco Sub, and each of the other
GCS Parties, as applicable, including, but not limited to, (i) the New Organizational Documents, including
the LLC Agreement; (ii) the Exit ABL Facility Agreement; (iii) the Exit ABL Facility Documents; (iv) the
Exit Term Loan Facilities, (v) the Exit Term Loan Facility Documents; and (vi) any and all other
agreements, documents, securities, and instruments relating to the foregoing. The authorizations and
approvals contemplated by this Section 10.10 shall be effective notwithstanding any requirements under
non-bankruptcy law.

        10.11. Protections Against Discriminatory Treatment.

                 Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S.
Constitution, all Entities, including Governmental Units, shall not discriminate against New Holdco or
deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to,
condition such a grant to, or discriminate with respect to such a grant against, New Holdco or another Entity
with whom New Holdco has been associated, solely because the Debtor has been a debtor under chapter 11
of the Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Case (or during
the Chapter 11 Case but before the Debtor is granted or denied a discharge), or has not paid a debt that is
dischargeable in the Chapter 11 Case.




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        10.12. Reimbursement or Contribution.

                 If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity
pursuant to section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent
as of the time of allowance or disallowance, such Claim shall be forever disallowed and expunged
notwithstanding section 502(j) of the Bankruptcy Code, unless prior to entry of the Confirmation Order a
Final Order has been entered determining such Claim is no longer contingent.

                        ARTICLE XI           RETENTION OF JURISDICTION.

        11.1.   Retention of Jurisdiction.

                 Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, on and after the Effective Date, the Bankruptcy Court shall retain non-exclusive jurisdiction over all
matters arising in, arising under, and related to the Chapter 11 Case for, among other things, the following
purposes:

                (a)     to hear and determine motions and/or applications for the assumption or rejection
of executory contracts or unexpired leases, including Cure Disputes, and the allowance, classification,
priority, compromise, estimation, or payment of Claims resulting therefrom;

                 (b)     to determine any motion, adversary proceeding, application, contested matter, and
other litigated matter pending on or commenced after the Confirmation Date;

                  (c)     to ensure that distributions to holders of Allowed Claims are accomplished as
provided for in the Plan and Confirmation Order and to adjudicate any and all disputes arising from or
relating to distributions under the Plan;

               (d)     to consider the allowance, classification, priority, compromise, estimation, or
payment of any Claim or Interest, including the resolution of any request for payment of any Administrative
Expense Claim;

               (e)      to enter, implement, or enforce such orders as may be appropriate in the event the
Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;

              (f)       to adjudicate, decide or resolve any and all matters related to section 1141 of the
Bankruptcy Code;

               (g)      to issue injunctions, enter and implement other orders, and take such other actions
as may be necessary or appropriate to restrain interference by any Entity with the consummation,
implementation, or enforcement of the Plan, the Confirmation Order, or any other order of the Bankruptcy
Court;



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                 (h)      to hear and determine any application to modify the Plan in accordance with
section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any inconsistency in
the Plan, or any order of the Bankruptcy Court, including the Confirmation Order, in such a manner as may
be necessary to carry out the purposes and effects thereof;

                (i)     to hear and determine all Fee Claims;

                (j)     to hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the Plan, the Plan Supplement, or the Confirmation Order, or any
agreement, instrument, or other document governing or relating to any of the foregoing;

                (k)     to take any action and issue such orders as may be necessary to construe, interpret,
enforce, implement, execute, and consummate the Plan and all contracts, instruments, releases, indentures,
and other agreements or documents created or entered into in connection with the Plan, the Confirmation
Order or the Disclosure Statement, including the Restructuring Support Agreement;

                (l)      determine any other matters and for such other purposes that may arise in
connection with or relate to or be provided in the Plan, the Plan Supplement, the Disclosure Statement, the
Confirmation Order, or any contract, instrument, release, indenture, or other agreement or document created
in connection with the Plan or the Disclosure Statement, including the Restructuring Support Agreement

                (m)     to hear and determine matters concerning state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including any requests for expedited
determinations under section 505(b) of the Bankruptcy Code);

                 (n)     to hear and determine matters concerning exemptions from federal, state and local
registration and prospectus delivery requirements in accordance with section 1145 of the Bankruptcy Code;

                (o)     to hear, adjudicate, decide, or resolve any and all matters related to Article X of
the Plan, including, without limitation, the releases, discharge, exculpations, and injunctions issued
thereunder and enter such orders as may be necessary or appropriate to implement such releases, injunctions
and other provisions;

                (p)     to resolve disputes concerning Disputed Claims or the administration thereof;

               (q)    to hear and determine any other matters related hereto and not inconsistent with
the Bankruptcy Code and title 28 of the United States Code;

                (r)     to enter a final decree closing the Chapter 11 Case;

                (s)     to recover all assets of the Debtor and property of the Debtor’s Estate, wherever
located;



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                (t)      to hear and determine any rights, Claims, or Causes of Action held by or accruing
to the Debtor pursuant to the Bankruptcy Code or pursuant to any federal statute or legal theory;

                 (u)      to enforce all orders previously entered by the Bankruptcy Court; and

                  (v)      to hear and resolve any dispute over the application to any Claim of any limit on
the allowance of such Claim set forth in sections 502 or 503 of the Bankruptcy Code, other than defenses
or limits that are asserted under non-bankruptcy law pursuant to section 502(b)(1) of the Bankruptcy Code.

        11.2.    Courts of Competent Jurisdiction.

                 If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising out of the Plan, such abstention, refusal, or failure of
jurisdiction shall have no effect upon and shall not control, prohibit, or limit the exercise of jurisdiction by
any other court having competent jurisdiction with respect to such matter.

                        ARTICLE XII           MISCELLANEOUS PROVISIONS.

        12.1.    Payment of Sponsor Fees.

                Provided the Settlement and Release Agreement has been executed and has not been
terminated prior to the Effective Date, the Debtor shall pay, or shall cause a Non-Debtor GCS Party to pay,
reasonable and documented out-of-pocket professional fees and expenses of ORG GC Holdings,
LLC and/or Owner Resource Group, LLC and certain of its affiliates incurred through and including the
Effective Date in an amount not to exceed $100,000.

        12.2.    Payment of Statutory Fees.

                 On the Effective Date and thereafter as may be required, New Holdco shall pay all fees
incurred pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United States Code,
together with interest, if any, pursuant to section 3717 of title 31 of the United States Code until such time
as a final decree is entered closing the Debtor’s Chapter 11 Case, a Final Order converting such Debtor’s
case to a case under chapter 7 of the Bankruptcy Code is entered, or a Final Order dismissing the Debtor’s
case is entered.

        12.3.    Substantial Consummation of the Plan.

                On the Effective Date, the Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

        12.4.    Plan Supplement.

              The Plan Supplement shall be filed with the Clerk of the Bankruptcy Court. Upon its filing
with the Bankruptcy Court, the Plan Supplement may be inspected in the office of the Clerk of the
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Bankruptcy Court during normal court hours. Documents included in the Plan Supplement will be posted
at the website of the Debtor’s notice, claims, and solicitation agent.

        12.5.    Request for Expedited Determination of Taxes.

                  The Debtor shall have the right to request an expedited determination under section 505(b)
of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all taxable periods ending
after the Petition Date through the Effective Date.

        12.6.    Exemption from Certain Transfer Taxes.

                  To the fullest extent permitted by section 1146 of the Bankruptcy Code, (a) the issuance,
transfer or exchange of any securities, instruments or documents, (b) the creation, modification,
consolidation, termination, refinancing, and/or recording of any Lien, mortgage, deed of trust, or other
security interest or the securing of additional indebtedness by such or other means, (c) the making or
assignment of any lease or sublease or the making or delivery of any deed or other instrument of transfer
under, pursuant to, in furtherance of, or in connection with the Plan, including, without limitation, any
deeds, bills of sale, or assignments executed in connection with any of the transactions contemplated under
the Plan or the reinvesting, transfer, or sale of any real or personal property of the Debtor pursuant to, in
implementation of or as contemplated in the Plan (whether to the Reorganized Debtor, New Holdco or
otherwise), (d) the grant of collateral under the Exit ABL Facility Documents and the Exit Term Loan
Facility Documents, and (e) the issuance, renewal, modification, or securing of indebtedness by such
means, and the making, delivery or recording of any deed or other instrument of transfer under, in
furtherance of, or in connection with, the Plan, including, without limitation, the Confirmation Order, shall
not be subject to any document recording tax, stamp tax, conveyance fee, or other similar tax, mortgage
tax, real estate transfer tax, personal property transfer tax, mortgage recording tax, Uniform Commercial
Code filing or recording fee, regulatory filing or recording fee, sales tax, use tax, or other similar tax or
governmental assessment. Consistent with the foregoing, each recorder of deeds or similar official for any
county, city, or governmental unit in which any instrument hereunder is to be recorded shall, pursuant to
the Confirmation Order, be ordered and directed to accept such instrument without requiring the payment
of any filing fees, documentary stamp tax, deed stamps, stamp tax, transfer tax, intangible tax, or similar
tax.

        12.7.    Amendments.

                 (a)     Plan Modifications. Subject to the terms of the Restructuring Support Agreement,
(i) the Debtor reserves the right, in accordance with the Bankruptcy Code and the Bankruptcy Rules, to
amend or modify the Plan prior to the entry of the Confirmation Order, including amendments or
modifications to satisfy section 1129(b) of the Bankruptcy Code, and (ii) after entry of the Confirmation
Order, the Debtor may, upon order of the Court, amend, modify or supplement the Plan in the manner
provided for by section 1127 of the Bankruptcy Code, Bankruptcy Rule 3019 or as otherwise permitted by
law, in each case without additional disclosure pursuant to section 1125 of the Bankruptcy Code.



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                 (b)    Other Amendments. Subject to the Restructuring Support Agreement, before the
Effective Date, the Debtor may make appropriate technical adjustments and modifications to the Plan and
the documents contained in the Plan Supplement without further order or approval of the Bankruptcy Court.

                (c)      Approval of Amendments. Entry of the Confirmation Order shall mean that all
modifications or amendments to the Plan since the solicitation thereof are approved pursuant to section
1127(a) of the Bankruptcy Code and a finding that such modifications or amendments to the Plan do not
require additional disclosure or resolicitation under Bankruptcy Rule 3019.

        12.8.   Effectuating Documents and Further Transactions.

                   The Confirmation Order shall, and shall be deemed to, pursuant to sections 363 and 1123
of the Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to
effect any transaction described in, contemplated by, or necessary to effectuate the Plan. Each of the
officers of New Holdco, New Holdco Sub, and the Reorganized Debtor is authorized, in accordance with
his or her authority under the resolutions of the applicable board of directors or managers, to execute,
deliver, file, or record such contracts, instruments, releases, indentures, and other agreements or documents
and take such actions as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Plan.

        12.9.   Revocation or Withdrawal of Plan.

                  To the extent permitted by the Restructuring Support Agreement, the Debtor reserves the
right to revoke or withdraw the Plan prior to the Effective Date and to file subsequent plans of
reorganization. If the Plan has been revoked or withdrawn prior to the Effective Date, or if confirmation
or the occurrence of the Effective Date does not occur on the Effective Date, then: (a) the Plan shall be null
and void in all respects; (b) any settlement or compromise embodied in the Plan (including the fixing or
limiting to an amount any Claim or Interest or Class of Claims or Interests), assumption or rejection of
executory contracts or unexpired leases affected by the Plan, and any document or agreement executed
pursuant to the Plan shall be deemed null and void; and (c) nothing contained in the Plan shall (i) constitute
a waiver or release of any Claim by or against, or any Interest in, the Debtor or any other Entity;
(ii) prejudice in any manner the rights of the Debtor or any other Entity; or (iii) constitute an admission,
acknowledgement, offer or undertaking of any sort by the Debtor, any of the Consenting Lenders, or any
other Entity; provided, however, that all orders of the Bankruptcy Court and all documents executed
pursuant thereto, except the Confirmation Order, shall remain in full force and effect. This provision shall
have no impact on the rights of the Consenting Lenders or the Debtor, as set forth in the Restructuring
Support Agreement, in respect of any such revocation or withdrawal.

        12.10. Severability of Plan Provisions.

                If, before the entry of the Confirmation Order, any term or provision of the Plan is held by
the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the request of the
Debtor, shall have the power to alter and interpret such term or provision to make it valid or enforceable to
the maximum extent practicable, consistent with the original purpose of the term or provision held to be
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invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions
of the Plan will remain in full force and effect and will in no way be affected, impaired or invalidated by
such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial determination
and shall provide that each term and provision of the Plan, as it may have been altered or interpreted in
accordance with the foregoing, is (a) valid and enforceable pursuant to its terms, (b) integral to the Plan and
may not be deleted or modified without the consent of the Debtor or New Holdco (to the extent any
executory contracts or unexpired lease is assumed and assigned) (as the case may be) and the Consenting
Lenders, and (c) nonseverable and mutually dependent.

        12.11. Governing Law.

                  Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
extent an exhibit hereto or a schedule in the Plan Supplement or a Definitive Document provides otherwise,
the rights, duties, and obligations arising under the Plan shall be governed by, and construed and enforced
in accordance with, the laws of the State of New York, without giving effect to the principles of conflict of
laws thereof; provided that corporate or limited liability company governance matters relating to the Debtor,
the Reorganized Debtor, New Holdco and New Holdco Sub, as applicable, not incorporated in New York
shall be governed by the laws of the state of incorporation or formation of such entity, as applicable.

        12.12. Time.

                 In computing any period of time prescribed or allowed by the Plan, unless otherwise set
forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule 9006 shall apply.

        12.13. Dates of Actions to Implement the Plan.

                  In the event that any payment or act under the Plan is required to be made or performed on
a date that is not a Business Day, then the making of such payment or the performance of such act may be
completed on or as soon as reasonably practicable after the next succeeding Business Day, but shall be
deemed to have been completed as of the required date.

        12.14. Immediate Binding Effect.

                 Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the
occurrence of the Effective Date, the terms of the Plan and Plan Supplement shall be immediately effective
and enforceable and deemed binding upon and inure to the benefit of the Debtor, the holders of Claims and
Interests, the Released Parties, and each of their respective successors and assigns, including, without
limitation, the Reorganized Debtor, New Holdco and New Holdco Sub.

        12.15. Deemed Acts.

                 Subject to and conditioned on the occurrence of the Effective Date, whenever an act or
event is expressed under the Plan to have been deemed done or to have occurred, it shall be deemed to have
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been done or to have occurred without any further act by any party, by virtue of the Plan and the
Confirmation Order.

        12.16. Reservation of Rights.

                 Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
Bankruptcy Court shall enter the Confirmation Order, and the Confirmation Order shall have no force or
effect if the Effective Date does not occur. Neither the filing of the Plan, any statement or provision
contained in the Plan, nor the taking of any action by any Debtor with respect to the Plan, the Disclosure
Statement, or the Plan Supplement shall be or shall be deemed to be an admission or waiver of any rights
of the Debtor with respect to the holders of Claims or Interests prior to the Effective Date.

        12.17. Successor and Assigns.

                 The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
binding on, and shall inure to the benefit of any heir, executor, administrator, successor, or permitted assign,
if any, of each Entity. For the avoidance of doubt, New Holdco shall be the successor to the Debtor as of
the Effective Date.

        12.18. Entire Agreement.

                On the Effective Date, the Plan, the Plan Supplement, and the Confirmation Order shall
supersede all previous and contemporaneous negotiations, promises, covenants, agreements,
understandings, and representations on such subjects, all of which have become merged and integrated into
the Plan.

        12.19. Exhibits to Plan.

               All exhibits, schedules, supplements, and appendices to the Plan (including the Plan
Supplement) are incorporated into and are a part of the Plan as if set forth in full herein.

        12.20. Waiver or Estoppel.

                 Each Holder of a Claim or an Interest shall be deemed to have waived any right to assert
any argument, including the right to argue that its Claim or Interest should be Allowed in a certain amount,
in a certain priority, secured or not subordinated by virtue of an agreement made with the Debtor or its
counsel, or any other Entity, if such agreement was not disclosed in the Plan, the Disclosure Statement, or
papers filed with the Bankruptcy Court prior to entry of the Confirmation Order.

        12.21. Notices.

                All notices, requests, and demands to or upon the Debtor to be effective shall be in writing
(including by electronic or facsimile transmission) and, unless otherwise expressly provided herein, shall


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be deemed to have been duly given or made when actually delivered or, in the case of notice by facsimile
transmission, when received and telephonically confirmed, addressed as follows:

               (a)     if to the Debtor:

                       ORG GC Midco, LLC
                       6330 Gulfton Street
                       Houston, Texas 77081
                       Attn: Mark Schordock, Chief Executive Officer
                              Michael Jones, Chief Financial Officer
                              Brad Batig, Chief Compliance Officer and General Counsel
                       Email: mark.schordock@gcserv.com
                              michael.jones@gcserv.com
                              brad.batig@gcserv.com

                               -and-

                       Weil, Gotshal & Manges LLP
                       767 Fifth Avenue
                       New York, New York 10153
                       Attn: Sunny Singh, Esq.
                               Katherine T. Lewis, Esq.
                       Telephone: (212) 310-8000
                       Facsimile: (212) 310-8007
                       Email: sunny.singh@weil.com
                               katherine.lewis@weil.com

               (b)     if to the Consenting Lenders:

                       Stroock & Stroock & Lavan LLP
                       180 Maiden Lane
                       New York, New York 10038
                       Attn: Jayme T. Goldstein, Esq.
                               Daniel P. Ginsberg, Esq.
                               Joanne Lau, Esq.
                       Telephone: (212) 806-5400
                       Facsimile: (212) 806-6006
                       Email: jgoldstein@stroock.com
                               dginsberg@stroock.com
                               jlau@stroock.com


                               -and-

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                         King & Spalding
                         1185 Avenue of the Americas, 34th Floor
                         New York, New York 10036
                         Attn: W. Austin Jowers, Esq.
                                Michael R. Handler, Esq.
                         Telephone: (212) 556-2100
                         Facsimile: (212) 556-2222
                         Email: ajowers@kslaw.com
                                mhandler@kslaw.com



                 After the Effective Date, the Debtor has authority to send a notice to Entities providing
that, to continue to receive documents pursuant to Bankruptcy Rule 2002, they must file a renewed request
to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, New Holdco is
authorized to limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 solely to those
Entities who have filed such renewed requests.




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                             Exhibit B

                        Disclosure Statement
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                    §
In re:                                              §       Chapter 11
                                                    §
ORG GC MIDCO, LLC                                   §       Case No. 21-
                                                    §
                 Debtor. 1                          §
                                                    §

                       DISCLOSURE STATEMENT FOR
             PREPACKAGED CHAPTER 11 PLAN OF ORG GC MIDCO, LLC


    WEIL, GOTSHAL & MANGES LLP                           WEIL GOTSHAL, & MANGES LLP
    Alfredo R. Pérez (15776275)                          Sunny Singh (pro hac vice pending)
    700 Louisiana Street, Suite 1700                     Katherine T. Lewis (pro hac vice pending)
    Houston, Texas 77002                                 767 Fifth Avenue
    Telephone: (713) 546-5000                            New York, New York 10153
    Facsimile: (713) 224-9511                            Telephone: (212) 310-8000
                                                         Facsimile: (212) 310-8007
    Proposed Attorneys for Debtor
    and Debtor in Possession




       Dated:    October 16, 2021
                 Houston, Texas




1
 The last four digits of the Debtor’s federal tax identification number are 1740. The Debtor’s mailing address is
6330 Gulfton Street, Houston, Texas 77081.
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THIS SOLICITATION OF VOTES (THE “SOLICITATION”) IS BEING CONDUCTED
TO OBTAIN SUFFICIENT ACCEPTANCES OF THE PLAN (AS DEFINED HEREIN)
IN CONNECTION WITH THE FILING OF A VOLUNTARY CASE UNDER CHAPTER
11 OF TITLE 11 OF THE UNITED STATES CODE (THE “BANKRUPTCY CODE”) BY
ORG GC MIDCO, LLC. BECAUSE THE CHAPTER 11 CASE HAS NOT YET BEEN
COMMENCED, THIS DISCLOSURE STATEMENT (AS DEFINED HEREIN) HAS
NOT, AS OF THE DATE HEREOF, BEEN APPROVED BY THE BANKRUPTCY
COURT AS CONTAINING ADEQUATE INFORMATION WITHIN THE MEANING
OF SECTION 1125(a) OF THE BANKRUPTCY CODE.          FOLLOWING THE
COMMENCEMENT OF THE CHAPTER 11 CASE, THE DEBTOR (AS DEFINED
HEREIN) EXPECTS TO PROMPTLY SEEK (I) BANKRUPTCY COURT APPROVAL
OF (A) THIS DISCLOSURE STATEMENT AS CONTAINING ADEQUATE
INFORMATION, AND (B) THE SOLICITATION OF VOTES AS BEING IN
COMPLIANCE WITH SECTIONS 1125 AND 1126(b) OF THE BANKRUPTCY CODE,
AND (II) CONFIRMATION OF THE PLAN.

            DISCLOSURE STATEMENT, DATED OCTOBER 16, 2021

                             Solicitation of Votes on the
                           Prepackaged Chapter 11 Plan of

                               ORG GC MIDCO, LLC


      THE VOTING DEADLINE TO ACCEPT OR REJECT THE PLAN IS
      4:00 P.M., PREVAILING CENTRAL TIME, ON NOVEMBER 1, 2021,
      UNLESS EXTENDED BY THE COURT OR THE DEBTOR. THE
      RECORD DATE FOR DETERMINING WHICH HOLDERS OF
      CLAIMS OR INTERESTS MAY VOTE ON THE PLAN IS OCTOBER
      15, 2021 (THE “VOTING RECORD DATE”).


                     RECOMMENDATION BY THE DEBTOR

      The Board of Managers of ORG GC Midco, LLC have unanimously
      approved the transactions contemplated by the Solicitation and the Plan.
      Holders of the Existing Term Loan Claims (as defined herein), the only
      impaired Class entitled to vote on the Plan, have already unanimously
      agreed to vote in favor of the Plan.
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HOLDERS OF CLAIMS OR INTERESTS SHOULD NOT CONSTRUE THE
CONTENTS OF THIS DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL,
BUSINESS, FINANCIAL, OR TAX ADVICE AND SHOULD CONSULT WITH THEIR
OWN ADVISORS BEFORE VOTING ON THE PLAN.

THE ISSUANCE OF AND THE DISTRIBUTION UNDER THE PLAN OF (I) THE NEW
HOLDCO COMMON EQUITY, (II) THE NEW HOLDCO SENIOR PREFERRED
EQUITY, (III) NEW HOLDCO JUNIOR PREFERRED EQUITY, AND (IV) THE NEW
MIDCO EQUITY SHALL, IN EACH CASE, BE EXEMPT FROM REGISTRATION
UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT”)
AND ANY OTHER APPLICABLE SECURITIES LAWS PURSUANT TO SECTION
1145 OF THE BANKRUPTCY CODE. THE AVAILABILITY OF THE EXEMPTION
UNDER SECTION 1145 OF THE BANKRUPTCY CODE OR ANY OTHER
APPLICABLE SECURITIES LAWS SHALL NOT BE A CONDITION TO THE
OCCURRENCE OF THE EFFECTIVE DATE.

THE SOLICITATION OF VOTES ON THE PLAN WITH RESPECT TO THE
EXISTING TERM LOAN CLAIMS IS BEING MADE PURSUANT TO SECTION 4(A)(2)
AND/OR REGULATION D OF THE SECURITIES ACT AND ONLY FROM HOLDERS
OF SUCH CLAIMS WHO ARE ELIGIBLE EXISTING TERM LENDERS (I.E.,
ACCREDITED INVESTORS AS DEFINED IN RULE 501 OF THE SECURITIES ACT);
PROVIDED, HOWEVER, THAT ALL HOLDERS OF ALLOWED EXISTING TERM
LOAN CLAIMS WILL BE ENTITLED TO RECEIVE DISTRIBUTIONS UNDER THE
PLAN.

THE NEW HOLDCO COMMON EQUITY, NEW HOLDCO SENIOR PREFERRED
EQUITY, NEW HOLDCO JUNIOR PREFERRED EQUITY, AND NEW MIDCO
EQUITY TO BE ISSUED ON THE EFFECTIVE DATE HAVE NOT BEEN APPROVED
OR DISAPPROVED BY THE SECURITIES AND EXCHANGE COMMISSION (THE
“SEC”) OR BY ANY STATE SECURITIES COMMISSION OR SIMILAR PUBLIC,
GOVERNMENTAL, OR REGULATORY AUTHORITY, AND NEITHER THE SEC
NOR ANY SUCH AUTHORITY HAS PASSED UPON THE ACCURACY OR
ADEQUACY OF THE INFORMATION CONTAINED IN THIS DISCLOSURE
STATEMENT OR UPON THE MERITS OF THE PLAN. ANY REPRESENTATION TO
THE CONTRARY IS A CRIMINAL OFFENSE.

CERTAIN STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT,
INCLUDING STATEMENTS INCORPORATED BY REFERENCE, PROJECTED
FINANCIAL INFORMATION, AND OTHER FORWARD-LOOKING STATEMENTS,
ARE BASED ON ESTIMATES AND ASSUMPTIONS.        THERE CAN BE NO
ASSURANCE THAT SUCH STATEMENTS WILL BE REFLECTIVE OF ACTUAL
OUTCOMES. FORWARD-LOOKING STATEMENTS ARE PROVIDED IN THIS
DISCLOSURE STATEMENT PURSUANT TO THE SAFE HARBOR ESTABLISHED
UNDER THE PRIVATE SECURITIES LITIGATION REFORM ACT OF 1995 AND
SHOULD BE EVALUATED IN THE CONTEXT OF THE ESTIMATES,
ASSUMPTIONS, UNCERTAINTIES, AND RISKS DESCRIBED HEREIN.
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FURTHER, READERS ARE CAUTIONED THAT ANY FORWARD-LOOKING
STATEMENTS HEREIN ARE BASED ON ASSUMPTIONS THAT ARE BELIEVED TO
BE REASONABLE, BUT ARE SUBJECT TO A WIDE RANGE OF RISKS IDENTIFIED
IN THIS DISCLOSURE STATEMENT.      DUE TO THESE UNCERTAINTIES,
READERS CANNOT BE ASSURED THAT ANY FORWARD-LOOKING
STATEMENTS WILL PROVE TO BE CORRECT. THE DEBTOR IS UNDER NO
OBLIGATION TO (AND EXPRESSLY DISCLAIMS ANY OBLIGATION TO) UPDATE
OR ALTER ANY FORWARD-LOOKING STATEMENTS WHETHER AS A RESULT
OF NEW INFORMATION, FUTURE EVENTS, OR OTHERWISE, UNLESS
INSTRUCTED TO DO SO BY THE BANKRUPTCY COURT.

THE DEBTOR HAS NOT AUTHORIZED ANY PERSON TO GIVE ANY
INFORMATION OR ADVICE, OR TO MAKE ANY REPRESENTATION, IN
CONNECTION WITH THE PLAN OR THE DISCLOSURE STATEMENT.

ALL PARTIES ENTITLED TO VOTE ARE ADVISED AND ENCOURAGED TO READ
THE DISCLOSURE STATEMENT AND THE PLAN IN THEIR ENTIRETY BEFORE
VOTING TO ACCEPT OR REJECT THE PLAN. THE PLAN SUMMARIES AND
STATEMENTS MADE IN THIS DISCLOSURE STATEMENT ARE QUALIFIED IN
THEIR ENTIRETY BY REFERENCE TO THE PLAN AND THE EXHIBITS
ATTACHED TO THE PLAN AND THIS DISCLOSURE STATEMENT. THE TERMS
OF THE PLAN GOVERN IN THE EVENT OF ANY INCONSISTENCY WITH THE
SUMMARIES IN THIS DISCLOSURE STATEMENT.

HOLDERS OF ALLOWED GENERAL UNSECURED CLAIMS WILL NOT BE
IMPAIRED BY THE PLAN AND, AS A RESULT, THEIR RIGHT TO RECEIVE
PAYMENT IN FULL ON ACCOUNT OF VALID OBLIGATIONS IS NOT ALTERED
BY THE PLAN.

THE DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE WITH
SECTION 1125 OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3016(B)
AND NOT NECESSARILY IN ACCORDANCE WITH OTHER NON-BANKRUPTCY
LAW.

THE INFORMATION IN THIS DISCLOSURE STATEMENT IS BEING PROVIDED
SOLELY FOR PURPOSES OF VOTING TO ACCEPT OR REJECT THE PLAN AND IN
CONNECTION WITH CONFIRMATION OF THE PLAN. NOTHING IN THIS
DISCLOSURE STATEMENT MAY BE USED BY ANY PARTY FOR ANY OTHER
PURPOSE.

NO INDEPENDENT AUDITOR OR ACCOUNTANT HAS REVIEWED OR APPROVED
THE PROJECTIONS OR THE LIQUIDATION ANALYSIS HEREIN.

THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE
AS OF THE DATE HEREOF UNLESS OTHERWISE SPECIFIED. THE TERMS OF
THE PLAN GOVERN IN THE EVENT OF ANY INCONSISTENCY WITH THE
SUMMARIES IN THIS DISCLOSURE STATEMENT.
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ALL EXHIBITS TO THE DISCLOSURE STATEMENT ARE INCORPORATED INTO
AND ARE A PART OF THIS DISCLOSURE STATEMENT AS IF SET FORTH IN
FULL HEREIN.


  PLEASE BE ADVISED THAT SECTIONS 10.5, 10.6, AND 10.7 OF THE PLAN
  CONTAIN RELEASE, EXCULPATION, AND INJUNCTION PROVISIONS. YOU
  SHOULD REVIEW AND CONSIDER THE PLAN CAREFULLY BECAUSE
  YOUR RIGHTS MAY BE AFFECTED.
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                                                           I.
                                                INTRODUCTION

ORG GC Midco, LLC (the “Debtor” or “Midco” and, collectively, with its direct and indirect
subsidiaries, the “Company”) submits this Disclosure Statement (this “Disclosure Statement”)
in connection with the Solicitation of votes on the Prepackaged Chapter 11 Plan of ORG GC
Midco, LLC, dated October 16, 2021 (as amended, restated, amended and restated, modified, or
supplemented from time to time in accordance with the terms thereof and the Restructuring
Support Agreement, the “Plan”) 2, annexed hereto as Exhibit A. Capitalized terms used in this
Disclosure Statement, but not herein defined, have the meanings ascribed to such terms in the
Plan. The Debtor anticipates filing a voluntary petition for relief under chapter 11 of the
Bankruptcy Code (the “Chapter 11 Case”) in the United States Bankruptcy Court for the
Southern District of Texas (the “Bankruptcy Court”) on or about November 8, 2021 (the
“Petition Date”). The Debtor intends to seek confirmation of the Plan on an expedited basis
consistent with the timeline set forth herein. To the extent any inconsistencies exist between this
Disclosure Statement and the Plan, the Plan governs.

GC Services Limited Partnership (“GC Services”), a second-tier subsidiary of the Debtor, is one
of North America’s oldest and largest privately held providers of Accounts Receivable
Management (“ARM”) and Business Process Outsourcing (“BPO”) solutions, providing a full
scope of solution offerings, including 24x7x365 programs, multi-channel and multi-lingual
customer service programs (e.g. voice, email, chat, social media and more), from numerous
locations in the continental United States and the Philippines, to Fortune 500 companies, premier
global financial institutions, and large governmental entities.

GC Services’ intermediate holding company, Midco, has commenced this Chapter 11 Case to
implement a pre-negotiated, comprehensive consensual restructuring (the “Restructuring”) of
the Company’s funded indebtedness through a prepackaged plan of reorganization that will
substantially de-lever the Company by reducing its funded indebtedness from approximately
$210.3 3 million to approximately $130.5 4 million upon emergence.

Midco is the only anticipated debtor in the Chapter 11 Case. None of Midco’s subsidiaries
(collectively, the “Non-Debtor GCS Parties”), including the Company’s primary operating
entity, GC Services, contemplate filing for chapter 11 protection. After careful and extensive
evaluation, the Company, in consultation with, and with the support of the Consenting Lenders
(as defined herein), determined not to file the Non-Debtor GCS Parties for chapter 11 along with
the Debtor because they determined doing so may deplete the value of the Company to the
detriment of all parties in interest. Moreover, due to the fully consensual nature of the
Restructuring, a chapter 11 filing by the Non-Debtor GCS Parties is simply not necessary to



2
    Capitalized terms used but not otherwise defined herein shall have the same meaning ascribed to them in the Plan.
3
 Amount excludes accrued interest of approximately $33 million as of the anticipated Petition Date and is based on
notional size $25 million Existing ABL Facility.
4
  Amount includes notional size $30 million Exit ABL Facility, which may be increased to $40 million subject to
ongoing negotiations.


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effectuate the Restructuring. 5 Accordingly, business at the Non-Debtor GCS Parties will
continue as usual and GC Services anticipates no impact on its operations.

As set forth in greater detail in the Plan, the Restructuring provides that:

       i.   the Existing Term Loans of approximately $210.3 million will be cancelled and
            discharged in exchange for (a) takeback first lien term loans in an aggregate amount
            of approximately $71 million, (b) takeback second lien term loans in an aggregate
            amount of approximately $29 million, and (c) preferred and common equity of the
            Reorganized Company. More specifically:

                 a. each holder of an Allowed Existing Term Loan Claim affiliated with BSP will
                    receive (i) its pro rata share of Initial New 1L Loans, (ii) its pro rata share of
                    New 2L Loans, (iii) its pro rata share of New Holdco Junior Preferred Equity,
                    and (iv) 100% of the New Holdco Common Equity; and

                 b. each holder of an Allowed Existing Term Loan Claim affiliated with GS will
                    receive (i) its pro rata share of Initial New 1L Loans (less the amount of Term
                    DIP Claims outstanding immediately prior to the Effective Date rolled into
                    Initial New 1L Loans), (ii) its pro rata share of New 2L Loans, (iii) 100% of
                    the New Midco Equity, and (iv) as a result of receiving 100% of the New
                    Midco Equity, GS will acquire an indirect interest in (A) 100% of the New
                    Holdco Senior Preferred Equity and (B) its pro rata share of New Holdco
                    Junior Preferred Equity, both of which shall be issued to the Reorganized
                    Debtor; provided that prior to the Effective Date, GS may elect to have its pro
                    rata share of the Initial 1L Loans (less the amount of Term DIP Claims
                    outstanding immediately prior to the Effective Date rolled into Initial New 1L
                    Loans) and/or its pro rata share of the New 2L Loans issued to the
                    Reorganized Debtor.

      ii.   holders of Existing ABL Facility Claims are unimpaired and, on the Effective Date,
            will be either (a) paid in full or (b) converted on a dollar-for-dollar basis into the Exit
            ABL Facility;

     iii.   General Unsecured Claims are unimpaired and will receive payment of their claims in
            full in the ordinary course of business; and

     iv.    existing equity interests in the Debtor will be cancelled on the Effective Date.

One of the Company’s Existing Term Lenders, GS, has agreed to provide up to $6 million in
senior secured debtor-in-possession financing (the “Term DIP Facility”) to fund the costs of
implementing the Restructuring. The Company’s Existing ABL Lenders have agreed to allow
GC Services to continue to access the Existing ABL Facility during the pendency of the Chapter
11 Case.

5
  The Consenting Lenders will enter into contractual agreements with the Non-Debtor GCS Parties to implement the
Restructuring contemplated by the Plan.


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                                              II.
                               OVERVIEW OF COMPANY

       A.   Company’s Business

Midco is a non-operating intermediate holding company. Its primary source of revenue is derived
through its second-tier subsidiary and operating company, GC Services.

Founded by Jerold B. Katz, GC Services opened its doors for business in October 1957 as a
small, one-man business process outsourcing (“BPO”) agency with one client and one employee
(the founder) providing third party accounts receivable management services. It was during
these early formative years that GC Services pioneered the use of automated systems that
maximize the efficiency, productivity and cost-effectiveness of the accounts receivable
management process. Through a dedicated approach to providing quality service and excellent
results, GC Services moved into the forefront of the BPO industry.

As client needs changed, GC Services evolved and expanded in the 1980s to offer first party
accounts receivable collection services. Soon after, GC Services further expanded its service
offerings by creating a separate teleservices division that could meet a full range of customer
care needs, eventually becoming the nation’s oldest and one of the largest privately owned
business process outsourcing providers with approximately 6,000 employees and numerous call
centers located across the United States and in Manila, Philippines.

In late 2015, investment funds managed by the Austin-based private equity firm, Owner
Resource Group, LLC (“ORG” and collectively with its affiliates that own Interests, directly or
indirectly, in the Debtor, including Holdings (as defined below) the “Sponsor”), acquired a
controlling interest in the Company from the Katz family.

       B.   Company’s Organizational Structure

As depicted below, the Company is indirectly controlled by the Sponsor through ORG GC
Holdings, LLC (“Holdings”), which owns 100% of the equity interests of Midco. Midco, in
turn, directly or indirectly owns each of the other GCS Parties.




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      C.    Debtor’s Board of Managers and Officers

            Board of Managers                                    Officers
                                              Mark Schordock, Chief Executive Officer,
James Decker
                                              Chief Operating Officer, and President
John Haas                                     Michael Jones, Chief Financial Officer

Steven Panagos                                Brad Batig, General Counsel




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         D.    Capital Structure

As of the date of this Disclosure Statement, the Company’s capital structure consists of
approximately $210.3 million in funded debt, with respect to which the Debtor is obligated as a
borrower. The Debtor’s obligations are summarized below:

                                                                                    Principal Funded Debt
    Debt Instrument                                                                            ($ millions)
    Existing Term Loan Facility                                                    $               185.3

    Existing ABL Facility6                                                         $                        25

    Total Funded Debt                                                              $                     210.3

The following description is for informational purposes only and is qualified in its entirety by
reference to the documents setting forth the specific terms of such obligations and their
respective related agreements.

              1. Existing Term Loan Facility

The Debtor has outstanding senior secured debt obligations under that certain Financing
Agreement, dated July 31, 2017, by and among Midco and certain of its affiliates, as borrowers,
each of the guarantors party thereto, BSP Agency, LLC, as administrative agent and collateral
agent (the “Existing Term Loan Facility Agent”), and the lenders party thereto (the “Existing
Term Lenders”) (as amended, restated, amended and restated, supplemented or otherwise
modified from time to time, the “Existing Term Loan Credit Agreement” and the facility
provided thereunder, the “Existing Term Loan Facility”).

As of the date of this Disclosure Statement, the aggregate principal amount outstanding under the
Existing Term Loan Facility was approximately $185.3 million. Obligations under the Existing
Term Loan Facility are secured by a first priority lien on the Term Priority Collateral and a
second priority lien on the ABL Priority Collateral (each, as defined in the Existing Intercreditor
Agreement (defined below)).

              2. Existing ABL Facility

GC Services maintains a revolving line of credit under that certain Credit Agreement dated July
31, 2017, by and among the Debtor and certain of its affiliates, as borrowers, each of the
guarantors party thereto, JPMorgan Chase Bank N.A., as administrative agent (in such capacity,
the “Existing ABL Facility Agent”), and the lenders party thereto (the “Existing ABL
Lenders”) (as amended, restated, amended and restated, supplemented, or otherwise modified
from time to time, the “Existing ABL Facility Agreement” and the facility provided thereunder,
the “Existing ABL Facility”).

6
 Amount outstanding under Existing ABL Facility fluctuates monthly. Amount herein is based on a notional size
$25 million facility. As of the date of this Disclosure Statement, the principal amount outstanding under the Existing
ABL Facility is approximately $2 million (not including $5.5 million in drawn letters of credit).


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As of the date of this Disclosure Statement, the aggregate principal amount outstanding under the
Existing ABL Facility is approximately $2 million 7, which, as described in further detail in the
Plan, will be converted into outstanding principal amounts under the Exit ABL Facility or paid in
full in connection with refinancing the Existing ABL Facility with a new lender upon
consummation of the Restructuring. The Company’s obligations under the Existing ABL
Facility are secured by a first priority lien on the ABL Priority Collateral and a second priority
lien on the Term Priority Collateral.

                3. Existing Intercreditor Agreement

The relative contractual rights of the Existing Term Lenders, on the one hand, and the Existing
ABL Lenders, on the other hand, are governed by that certain Intercreditor Agreement, dated as
of July 31, 2017 (as amended, restated, supplemented, amended and restated or otherwise
modified from time to time, the “Existing Intercreditor Agreement”). The Existing
Intercreditor Agreement controls the rights and obligations of the Existing Term Lenders and the
Existing ABL Lenders with respect to, among other things, collateral priority, matters of debtor-
in-possession financing, the use of cash collateral, and adequate protection.

                                                          III.
          KEY EVENTS LEADING TO COMMENCEMENT OF CHAPTER 11 CASE

Although the business is operationally sound, the Company is significantly over-levered. For
Fiscal 2020, the Company reported approximately $15 million of adjusted EBITDA (on a
consolidated 52-week basis) versus approximately $218 million of total funded debt, including
accrued and unpaid interest—implying leverage of approximately 14.5x EBITDA. 8

In the fall of 2019, the Company began struggling to comply with certain of its financial
covenants under the Existing Term Loan Credit Agreement. In November 2019, the Company
retained Robert Wagstaff of Riveron Management Services LLC, f/k/a Conway MacKenzie
Management Services, LLC (“Riveron”) and appointed him as Chief Restructuring Officer
(“CRO”) to assist the Company in evaluating strategic options to right-size its balance sheet and
provide financial and operational leadership to the Company as it embarked on a potential
restructuring process.

In January 2020, the Company failed to make a regularly scheduled interest payment due under
the Existing Term Loan Credit Agreement, triggering an event of default with respect to the
Existing Term Loan Credit Agreement and a cross-default with respect to the Existing ABL
Facility Agreement.

On April 24, 2020, the Debtor, certain of the Non-Debtor GCS Parties, and Holdings, entered
into forbearance agreements with the Existing Term Loan Facility Agent, each of the Existing


7
    Amount excludes $5.5 million in drawn letters of credit.
8
  As of December 31, 2020, there was approximately $13.9 million drawn on the Existing ABL Facility and
approximately $204.6 million in par plus accrued interest outstanding on the Existing Term Loan Facility.
Calculation does not include $5.5 million in letters of credit outstanding as of December 31, 2020.


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Term Lenders, and the Existing ABL Facility Agent, which forbearance agreements expired on
July 14, 2020.

On September 16, 2020, the Existing Term Loan Facility Agent delivered to the Debtor, among
others, a Notice of Exercise of Rights and Remedies After Default, which, among other things,
notified the Debtor, among other parties, of the Existing Term Loan Facility Agent’s decision to
exercise rights under the Proxy and Power of Attorney (as defined in the Pledge and Security
Agreement). 9

On September 18, 2020, the Existing Term Loan Facility Agent executed and delivered a written
consent (the “September 18 Written Consent”), in the name of and on behalf of Holdings,
pursuant to the Proxy and Power of Attorney and the Existing Term Loan Facility Agent’s
exercise of rights thereunder, pursuant to which, in accordance with Section 3.9 of the former
Limited Liability Company Agreement of Midco (the “Former ORG GC Midco Operating
Agreement”), and Section 18-302(d) of the Delaware Limited Liability Company Act, each
person that was formerly serving as a manager of Midco was removed as a manager and the
current three (3) person Board of independent Managers was appointed. Pursuant to the
September 18 Written Consent, the Former ORG GC Midco Operating Agreement was also
amended and restated in its entirety and the Amended and Restated Limited Liability Company
Agreement of ORG GC Midco, LLC, effective as of September 18, 2020 (the “A&R ORG GC
Midco Operating Agreement”), was adopted.

In October 2020, the Company retained Weil, Gotshal & Manges LLP as counsel (“Weil”) to
assist the Company in negotiating and implementing a deleveraging transaction. With Weil and
Riveron’s assistance, the Company began to meaningfully engage with its Existing Term
Lenders, the Existing ABL Lenders, and the Sponsor regarding the terms of a potential
restructuring transaction.

On November 30, 2020, the Debtor and certain of the other Non-Debtor GCS Parties entered into
forbearance agreements with the Existing Term Lenders and the Existing ABL Facility Agent.
Since that time, the Company has been operating under a series of extensions to those
forbearance agreements as the Company assessed its strategic options and attempted to negotiate
a consensual resolution of its capital structure concerns.

The Company’s precarious financial position compared to its competitors, many of which have
already undergone their own balance sheet restructurings in the past 12-18 months, has begun to
negatively impact the Company’s ability to attract and retain customers, as well as prevent the
Company from making certain technology and/or system upgrades necessary to ensure the
Company is in compliance with requirements imposed by certain regulatory and licensing
authorities.
9
  Pursuant to that certain Pledge and Security Agreement (the “Pledge and Security Agreement”) entered into in
connection with the Existing Term Loan Credit Agreement, 100% of the equity in the Debtor and certain of the
other GCS Parties (each a “Pledged Company” and, collectively, the “Pledged Companies” and such equity, the
“Pledged Equity”) was pledged by the holders of such Pledged Equity (the “Pledgors”) in favor of the Existing
Term Loan Facility Agent, in its capacity as agent for the Existing Term Lenders, to secure the obligations under the
Existing Term Loan Credit Agreement.




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After several months of good faith, arm’s length negotiations with the Consenting Lenders, on
October 16, 2021, the Debtor, the Non-Debtor GCS Parties, and the Consenting Lenders entered
into the Restructuring Support Agreement, annexed to the Plan as Exhibit A.

The Company’s Existing ABL Lenders have agreed to allow GC Services to continue to access
the Existing ABL Facility through the consummation of the Restructuring through the Debtor’s
Chapter 11 Case, at which point the Existing ABL Facility will either be refinanced or converted
into the Exit ABL Facility.

The terms of the Restructuring are reflected in the Plan. Upon its full implementation, the Plan
will effectuate a significant de-leveraging of the Company’s capital structure by eliminating
approximately $110 million in principal amount of funded debt and reducing the Company’s
ongoing cash debt service requirements. The reduced debt burden and cash debt service
requirements, coupled with the exit financing anticipated under the Plan, will provide the
Company with sufficient liquidity, not only to continue funding the Company’s operations, but
to make the necessary capital expenditures and investments to ensure that GC Services remains
an industry leader in the Accounts Receivable Management and BPO sector.

                                               IV.
                 ANTICIPATED EVENTS DURING CHAPTER 11 CASE

Pursuant to the Restructuring Support Agreement, the Debtor agreed to file a voluntary petition
(the “Petition”) for relief under chapter 11 of the Bankruptcy Code on or before November 8,
2021 (the date the Chapter 11 Case is actually commenced, the “Petition Date”) and file the
Plan and this Disclosure Statement on the Petition Date. The filing of the Petition will
commence the Chapter 11 Case, at which time the Debtor will be afforded the benefits, and
become subject to the limitations, of the Bankruptcy Code.

       A.    Commencement of Chapter 11 Case and First-Day Motions

The Company and the Consenting Lenders have agreed to implement the Restructuring with as
little disruption to the business as possible. Accordingly, Midco is the only Debtor in this
Chapter 11 Case. As a holding company, Midco has no operations. Accordingly, the Debtor
does not anticipate needing extensive “first day” relief; however, the Debtor has filed the “first
day” pleadings described below to minimize the adverse effects of the commencement of this
Chapter 11 Case and ensure the Debtor’s swift exit from chapter 11 (the “First Day Motions”).
GC Services will continue to operate its business in the ordinary course during the pendency of
the Debtor’s Chapter 11 Case as it had prior to the Petition Date.
The following is a brief overview of the substantive relief the Debtor intends to seek on the
Petition Date.

            1. Cash Management System

In the ordinary course of business, the Company utilizes an integrated, centralized cash
management system to collect, transfer, and disburse funds generated by its operations (the
“Cash Management System”). The Debtor intends to request authority to continue
participating in the Company’s Cash Management System, including its sole prepetition bank
account and incurrence of Intercompany Claims.

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            2. DIP Financing

As a holding company, the Debtor does not generate its own revenue. Accordingly, the Debtor
requires financing to help fund the costs of implementing the Restructuring.

One of the Consenting Lenders, GS, has agreed to provide such incremental liquidity in the form
of a superpriority senior secured term loan facility in an aggregate principal amount up to $6
million to cover such costs. Incurrence of the Term DIP Facility is anticipated to be fully
consensual. Upon consummation of the Restructuring, the Term DIP Facility will be converted
on a dollar-for-dollar basis into Initial New 1L Loans.

            3. Net Operating Losses

The Debtor intends to request entry of interim and final orders authorizing the Debtor to
establish certain procedures to protect the potential value of the Debtor’s consolidated net
operating loss carryforwards (“NOLs”) for use in connection with the Debtor’s Chapter 11 Case.

       B.    Procedural Motions and Retention of Professionals

The Debtor intends to file several other motions that are common to chapter 11 proceedings of
similar size and complexity as the Chapter 11 Case, including applications to retain various
professionals to assist the Debtor in the Chapter 11 Case.

       C.    Solicitation Procedures

Contemporaneously with the filing of the Petition, the Debtor will seek an order of the
Bankruptcy Court scheduling the Confirmation Hearing to consider (i) the adequacy of the
Disclosure Statement and the Solicitation in connection therewith and (ii) confirmation of the
Plan. Notice of this hearing will be published and mailed to all known and potential holders of
Claims and Interests prior to the filing of the Chapter 11 Case.

       D.    Timetable for Chapter 11 Case

In accordance with the Restructuring Support Agreement and the Term DIP Facility Agreement,
the Debtor is seeking to implement the restructuring on an expedited basis. Accordingly, the
Consenting Lenders have established the following milestones:



                  Milestone                                       Deadline
 Commence Solicitation of Votes on the Plan October 20, 2021
 Commence Chapter 11 Case                      November 8, 2021
 Hearing to Consider Approval of the           21 days after the Petition Date
 Disclosure Statement and Confirmation of
 the Plan



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                    Milestone                                        Deadline
 Obtain Entry of Final DIP Order                  24 days after the Petition Date
 Obtain Entry of an Order Approving the           24 days after the Petition Date
 Disclosure Statement and Confirming the
 Plan
 Occurrence of Effective Date                     38 days after the Petition Date


                                                 V.
                                      SUMMARY OF PLAN

This section of the Disclosure Statement summarizes certain terms of the Plan, a copy of which
is annexed hereto as Exhibit A.

        A.    Treatment and Voting

The following table designates the Classes of Claims against and Interests in the Debtor and
specifies which of those Classes are (a) Impaired or Unimpaired by the Plan; (b) entitled to vote
to accept or reject the Plan in accordance with section 1126 of the Bankruptcy Code; and
(c) deemed to accept or reject the Plan. In accordance with section 1123(a)(1) of the Bankruptcy
Code, Administrative Expense Claims, including Fee Claims, Term DIP Claims, and Priority
Tax Claims have not been classified.

  Class                Designation              Treatment              Entitled to Vote
    1        Priority Non-Tax Claims            Unimpaired           No (Deemed to accept)
    2        Other Secured Claims               Unimpaired           No (Deemed to accept)
    3        Existing Term Loan Claims           Impaired                    Yes
    4        Existing ABL Claims                Unimpaired           No (Deemed to accept)
    5        General Unsecured Claims           Unimpaired           No (Deemed to accept)
    6        Intercompany Claims                Unimpaired           No (Deemed to accept)
    7        Midco Equity Interests              Impaired            No (Deemed to reject)

As set forth in greater detail in the Plan, filed contemporaneously herewith, the Restructuring
provides that:

      i.     each holder of an Allowed Existing Term Loan Claim affiliated with BSP will receive
             (a) its pro rata share of Initial New 1L Loans, (b) its pro rata share of New 2L Loans,
             (c) its pro rata share of New Holdco Junior Preferred Equity, and (d) 100% of the
             New Holdco Common Equity;

     ii.     each holder of an Allowed Existing Term Loan Claim affiliated with GS shall receive
             (a) its pro rata share of Initial New 1L Loans (less the amount of Term DIP Claims
             outstanding immediately prior to the Effective Date rolled into Initial New 1L Loans),
             (b) its pro rata share of New 2L Loans, (c) 100% of the New Midco Equity, and (d)


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            as a result of receiving 100% of the New Midco Equity, GS will acquire an indirect
            interest in (i) 100% of the New Holdco Senior Preferred Equity and (ii) its pro rata
            share of New Holdco Junior Preferred Equity, both of which shall be issued to the
            Reorganized Debtor; provided that prior to the Effective Date, GS may elect to have
            its pro rata share of the Initial 1L Loans (less the amount of Term DIP Claims
            outstanding immediately prior to the Effective Date rolled into Initial New 1L Loans)
            and/or its pro rata share of the New 2L Loans issued to the Reorganized Debtor;

    iii.    holders of Existing ABL Facility Claims are unimpaired and on the Effective Date or
            as soon as practicable thereafter, (i) all outstanding amounts under the Existing ABL
            Facility shall be converted, on a dollar for dollar basis, into amounts outstanding
            under the Exit ABL Facility and all of the Debtor’s obligations under the Existing
            ABL Facility shall be assumed by New Holdco or (ii) holders of Existing ABL
            Facility Claims shall receive such other treatment so as to render such holder’s
            Allowed Existing ABL Facility Claim Unimpaired pursuant to section 1124 of the
            Bankruptcy Code;

    iv.     holders of General Unsecured Claims are unimpaired and will receive payment of
            their Claims in full in the ordinary course of business; and

     v.     existing equity interests in the Debtor will be cancelled on the Effective Date.

Holders of Existing Term Loan Claims (Class 3) and Midco Equity Interests (Class 7) are the
only holders of Claims and Interests that are impaired by the Plan. Each of the holders of Claims
in Class 3 have already agreed, pursuant to the Restructuring Support Agreement, to support and
not object to the Plan or the treatment provided for their Class therein. All other holders of
Claims against the Debtor are unimpaired by the Plan.

       B.     Injunctions, Releases, and Exculpations

THE PLAN CONTAINS CERTAIN INJUNCTION, RELEASE, AND EXCULPATORY
PROVISIONS DETAILED BELOW. YOU ARE ADVISED TO READ THESE
PROVISIONS CAREFULLY, AS YOUR RIGHTS MAY BE AFFECTED.

IN PARTICULAR, THE PLAN PROVIDES FOR THIRD PARTY RELEASES. EACH
HOLDER OF AN UNIMPAIRED CLAIM WILL BE DEEMED TO HAVE GRANTED
THE THIRD PARTY RELEASES UNLESS SUCH HOLDER AFFIRMATIVELY OPTS
OUT OF SUCH RELEASE BY RETURNING THE OPT-OUT NOTICE TO THE
DEBTOR’S VOTING AGENT BY 4:00 PM PREVAILING CENTRAL TIME ON
NOVEMBER 16, 2021.

            1. Injunctions

Upon entry of the Confirmation Order, all holders of Claims and Interests and other parties in
interest, along with their respective present or former employees, agents, officers, directors,
principals, and affiliates, shall be enjoined from taking any actions to interfere with the
implementation or consummation of the Plan.


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Except as expressly provided in the Plan, the Confirmation Order or a separate order of the
Bankruptcy Court, for obligations or distributions issued or required to be paid pursuant to the
Plan or the Confirmation Order, or as agreed to by the Debtor and a holder of a Claim against or
Interest in the Debtor, all Entities who have held, hold, or may hold Claims against or Interests in
the Debtor (whether or not such Entities vote in favor of, against or abstain from voting on the
Plan or are presumed to have accepted or deemed to have rejected the Plan) and other parties in
interest, along with their respective present or former employees, agents, officers, directors,
principals, and affiliates are permanently enjoined, on and after the Effective Date, solely with
respect to any Claims, Interests, and Causes of Action that will be or are extinguished,
discharged, or released pursuant to the Plan from (i) commencing, conducting, or continuing in
any manner, directly or indirectly, any suit, action, or other proceeding of any kind (including,
without limitation, any proceeding in a judicial, arbitral, administrative or other forum) against or
affecting the Released Parties or the property of any of the Released Parties, (ii) enforcing,
levying, attaching (including, without limitation, any prejudgment attachment), collecting, or
otherwise recovering by any manner or means, whether directly or indirectly, any judgment,
award, decree, or order against the Released Parties or the property of any of the Released
Parties, (iii) creating, perfecting, or otherwise enforcing in any manner, directly or indirectly, any
Lien or encumbrance of any kind against the Released Parties or the property of any of the
Released Parties, (iv) asserting any right of setoff, subrogation or recoupment of any kind,
directly or indirectly, against any obligation due from the Released Parties or against the
property of any of the Released Parties, except as contemplated or allowed by the Plan or unless
such holder has filed a motion requesting the right to perform such setoff, subrogation or
recoupment on or before the Effective Date, and notwithstanding an indication of a Claim or
Interest or otherwise that such holder asserts, has, or intends to preserve any right of setoff,
subrogation or recoupment pursuant to applicable law or otherwise and (v) acting or proceeding
in any manner, in any place whatsoever, that does not conform to or comply with the provisions
of the Plan.

By accepting distributions pursuant to the Plan, each holder of an Allowed Claim or Interest will
be deemed to have affirmatively and specifically consented to be bound by the Plan, including,
without limitation, the injunctions set forth in Section 10.5 of the Plan.

The injunctions in Section 10.5 of the Plan shall extend to any successors of the Debtor and its
respective property and interests in property, including New Holdco and New Holdco Sub.

           2. Estate Releases

Subject to the occurrence of and effective as of the Effective Date, except for the right to enforce
the Plan or any right or obligation arising under the Definitive Documents that remains in effect
or becomes effective after the Effective Date, for good and valuable consideration, the Released
Parties shall be deemed conclusively, absolutely, unconditionally, irrevocably and forever
released and discharged by the Debtor, New Holdco (as the successor to the Debtor) and the
Debtor’s Estate, in each case on behalf of themselves and their respective successors, assigns and
representatives, and any all other Persons who may purport to assert any Cause of Action,
directly or derivatively, by, through, for, or because of the Debtor, New Holdco (as the successor
to the Debtor) and the Debtor’s Estate, from any and all Claims or Causes of Action, including
any derivative claims, asserted or assertable on behalf of the Debtor, whether known or

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unknown, foreseen or unforeseen, matured or unmatured, existing or hereinafter arising,
contingent or noncontingent, in law, equity or otherwise, that the Debtor, New Holdco (as the
successor to the Debtor) and the Debtor’s Estate would have been legally entitled to assert in
their own right (whether individually or collectively) or on behalf of any other Person based on
or relating to, or in any manner arising from, in whole or in part, the Debtor (including the
capital structure, management, ownership or operation thereof), the Chapter 11 Case, the filing
of the Chapter 11 Case, the Restructuring, the Non-Debtor GCS Parties, the Term DIP Facility,
the Exit Term Loan Facilities, the purchase, sale or rescission of the purchase or sale of any
security of the Debtor or New Holdco (as the successor to the Debtor), the subject matter of, or
the transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
business or contractual arrangements between the Debtor, the Non-Debtor GCS Parties, and any
Released Party, the restructuring of Claims and Interests before or during the Chapter 11 Case,
the negotiation, formulation, preparation, dissemination, filing or consummation of the
Definitive Documents or related agreements, instruments or other documents, the solicitation of
votes with respect to the Plan, the pursuit of confirmation and consummation of the Plan, the
administration and implementation of the Plan, any settlement or agreement in the Chapter 11
Case, the offer, issuance and distribution of any securities issued or to be issued pursuant to the
Plan, or the distribution of property under the Plan, whether or not such distribution occurs
following the Effective Date, the negotiations regarding or concerning any of the foregoing, or
any related act or omission, transaction, agreement, event or other occurrence related or relating
to the foregoing, in all cases based upon any act or omission, transaction, agreement, event or
other occurrence taking place on or before the Effective Date; provided, that nothing in the Plan
shall be construed to release any party or entity from willful misconduct or intentional fraud as
determined by a Final Order; provided further that nothing in the Plan shall limit the liability of
professionals to their clients pursuant to applicable law.

             3. Releases by Holders of Claims

Subject to the occurrence of and effective as of the Effective Date, except (i) for the right to
enforce the Plan or any right or obligation arising under the Definitive Documents that remains
in effect or becomes effective after the Effective Date or (ii) as otherwise expressly provided in
the Plan or in the Confirmation Order, in exchange for good and valuable consideration,
including the obligations of the Debtor under the Plan and the contributions of the Released
Parties 10 to facilitate and implement the Plan, to the fullest extent permissible under applicable
law, as such law may be extended or integrated after the Effective Date, the Released Parties
(other than the Debtor) shall be deemed conclusively, absolutely, unconditionally, irrevocably




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  “Released Parties” means (a) the Debtor; (b) the Consenting Lenders; (c) the Existing Agents; (d) the Existing
ABL Lenders; (e) the Term DIP Lenders; (f) the Term DIP Agent; (g) with respect to the foregoing (a) through (f),
each of their respective current affiliates, subsidiaries, members, managers, equity owners, managed entities,
investment managers, employees, professionals, consultants, directors, and officers (in each case, in their respective
capacities as such); and (h) with respect to the foregoing (b) through (f), each of their respective former affiliates,
subsidiaries, members, managers, equity owners, managed entities, investment managers, employees, professionals,
consultants, directors, and officers (in each case, in their respective capacities as such); provided, however, that
“Released Parties” shall not include a Non-Released Party.


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and forever released and discharged by each Releasing Party 11, including holders of Unimpaired
Claims that have not (i) checked the box on the applicable notice (the “Opt-Out Form”)
indicating they opt out of granting the Releases provided in the Plan and (ii) returned such
Opt-Out Form to the Voting Agent by the deadline specified in the Opt-Out Form, in each case,
on behalf of themselves and their respective successors, assigns and representatives, and any all
other Persons who may purport to assert any Cause of Action, directly or derivatively, by,
through, for, or because of the Releasing Parties, from any and all Claims, interests or Causes of
Action, including any derivative claims, asserted or assertable on their behalf, whether known or
unknown, foreseen or unforeseen, matured or unmatured, existing or hereinafter arising,
contingent or noncontingent, in law, equity or otherwise, that such Entity would have been
legally entitled to assert in their own right (whether individually or collectively) or on behalf of
any other Person based on or relating to, or in any manner arising from, in whole or in part, the
Debtor (including the capital structure, management, ownership or operation thereof), the
Chapter 11 Case, the filing of the Chapter 11 Case, the Restructuring, the Non-Debtor GCS
Parties, the Term DIP Facility, the Exit Term Loan Facilities, the purchase, sale or rescission of
the purchase or sale of any security of the Debtor or New Holdco (as the successor to the
Debtor), the subject matter of, or the transactions or events giving rise to, any Claim or Interest
that is treated in the Plan, the business or contractual arrangements between the Debtor, the Non-
Debtor GCS Parties and any Released Party, the restructuring of Claims and Interests before or
during the Chapter 11 Case, the negotiation, formulation, preparation, dissemination, filing or
consummation of the Definitive Documents or related agreements, instruments or other
documents, the solicitation of votes with respect to the Plan, the pursuit of confirmation and
consummation of the Plan, the administration and implementation of the Plan, any settlement or
agreement in the Chapter 11 Case, the offer, issuance and distribution of any securities issued or
to be issued pursuant to the Plan, or the distribution of property under the Plan, whether or not
such distribution occurs following the Effective Date, the negotiations regarding or concerning
any of the foregoing, or any related act or omission, transaction, agreement, event or other
occurrence related or relating to the foregoing, in all cases based upon any act or omission,
transaction, agreement, event or other occurrence taking place on or before the Effective Date;
provided, that nothing in Section 10.6(b) of the Plan shall be construed to release any party or
entity from willful misconduct or intentional fraud as determined by a Final Order; provided
further that nothing in the Plan shall limit the liability of professionals to their clients pursuant to
applicable law.




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  “Releasing Parties” means (a) the Debtor; (b) the Consenting Lenders; (c) the Existing Agents; (d) the Existing
ABL Lenders; (e) the Term DIP Lenders; (f) the Term DIP Agent; (g) with respect to the foregoing (a) through (f),
each of their respective current affiliates, subsidiaries, members, managers, equity owners, managed entities,
investment managers, employees, professionals, consultants, directors, and officers (in each case, in their respective
capacities as such); and (h) the holders of Claims that are Unimpaired and presumed to accept the Plan; provided
that in each case, an Entity shall not be a Releasing Party if it (x) elects to timely opt out of the third party releases
contained in Section 10.6 of the Plan or (y) is a Non-Released Party.


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             4. Exculpation

Notwithstanding anything in the Plan to the contrary, and to the maximum extent permitted by
applicable law, the Exculpated Parties 12 shall neither have nor incur any liability to any holder of
a Claim or Interest or any other party in interest, or any of their respective predecessors,
successors and assigns, subsidiaries, affiliates, managed accounts or funds, current or former
officers, directors, principals, shareholders, members, partners, employees, agents, advisory
board members, financial advisors, attorneys, accountants, investment bankers, consultants,
representatives, management companies, fund advisors and other professionals, and such
Entity’s respective heirs, executors, estates, servants or nominees for any act or omission (both
prior to and subsequent to the Petition Date) in connection with, related to, or arising out of, in
whole or in part, the Debtor, the Debtor’s restructuring, the Chapter 11 Case, the purchase, sale
or rescission of the purchase or sale of any Security of the Debtor or New Holdco, the subject
matter of, or the transactions or events giving rise to, any Claim or Interest that is treated in the
Plan, the business or contractual arrangements between any Debtor and any Exculpated Party,
the restructuring of Claims and Interests before or during the Chapter 11 Case, the negotiation,
formulation, preparation, filing, dissemination, or consummation of the Plan (including the Plan
Supplement), the Restructuring Support Agreement, the Definitive Documents, or any related
agreements, instruments, or other documents, the solicitation of votes with respect to the Plan,
any settlement or agreement in the Chapter 11 Case, the offer, issuance, and distribution of any
Securities issued or to be issued pursuant to the Plan, whether or not such distribution occurs
following the Effective Date, negotiations regarding or concerning any of the foregoing, the
administration and implementation of the Plan or property to be distributed hereunder or upon
any other related act or omission, transaction, agreement, event, or other occurrence taking place
on or before the Effective Date, except for actions determined by Final Order to constitute gross
negligence, willful misconduct, or intentional fraud, but in all respects such Exculpated Parties
shall be entitled to reasonably rely upon the advice of counsel with respect to their duties and
responsibilities pursuant to or in connection with the Plan or any other related document,
instrument or agreement; provided that nothing in the Plan shall limit the liability of
professionals to their clients pursuant to applicable law.




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   “Exculpated Parties” means, collectively: (a) the Debtor, (b) the Reorganized Debtor, (c) the Non-Debtor GCS
Parties, (d) the Consenting Lenders, (e) the Existing ABL Lenders, (f) the Existing Agents, (g) the Term DIP Agent,
(h) the Term DIP Lenders, (i) the Exit Agents and (j) with respect to each of the foregoing Entities in clauses (a)
through (i), all Persons and Entities who acted on their behalf in connection with the matters as to which exculpation
is provided in the Plan.




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                                                VI.
                    FINANCIAL INFORMATION AND PROJECTIONS

       A.    Consolidated Condensed Projected Financial Information

The Debtor believes that the Plan meets the feasibility requirement set forth in section
1129(a)(11) of the Bankruptcy Code (See Article XIV hereof), as confirmation is not likely to be
followed by liquidation or the need for further financial reorganization of the Debtor or any
successor under the Plan. In connection with the development of the Plan and for the purposes
of determining whether the Plan satisfies the feasibility standard, the Company analyzed its
ability to satisfy its financial obligations while maintaining sufficient liquidity and capital
resources. The Company prepared financial projections (the “Projections”) for the years 2021
through 2025, as set forth below.

The Debtor does not, as a matter of course, publish its business plans or strategies, projections or
anticipated financial position. Accordingly, the Debtor does not anticipate that it will, and
disclaims any obligation to, furnish updated business plans or Projections to holders of Claims,
Interests, or other parties in interest after the Confirmation Date. In connection with the planning
and development of the Plan, the Projections were prepared by the Company, with the assistance
of its professionals, to present the anticipated impact of the Plan. The Projections assume that
the Plan will be implemented in accordance with its stated terms. The Projections are based on
forecasts of key economic variables and may be significantly impacted by, among other factors,
changes in demand for the Company’s services, further competition within the Company’s
current markets, changes in interest rates and inflation, changes in terms with material customers,
suppliers, and/or a variety of other factors. Consequently, the estimates and assumptions
underlying the Projections are inherently uncertain and are subject to material business,
economic, and other uncertainties. Therefore, such Projections, estimates, and assumptions are
not necessarily indicative of current values or future performance, which may be significantly
less or more favorable than set forth herein. The Projections included herein were last updated
on August 10, 2021.

The Projections should be read in conjunction with the significant assumptions, qualifications,
and notes set forth below.

THE DEBTOR PREPARED THE PROJECTIONS WITH THE ASSISTANCE OF ITS
ADVISERS. THE DEBTOR DID NOT PREPARE SUCH PROJECTIONS TO COMPLY
WITH THE GUIDELINES FOR PROSPECTIVE FINANCIAL STATEMENTS PUBLISHED
BY THE AMERICAN INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS AND THE
RULES AND REGULATIONS OF THE SEC. EXCEPT FOR PURPOSES OF THIS
DISCLOSURE STATEMENT, THE DEBTOR DOES NOT PUBLISH PROJECTIONS OF ITS
ANTICIPATED FINANCIAL POSITION OR RESULTS OF OPERATIONS.

MOREOVER, THE PROJECTIONS CONTAIN CERTAIN STATEMENTS THAT ARE
“FORWARD-LOOKING STATEMENTS” WITHIN THE MEANING OF THE PRIVATE
SECURITIES LITIGATION REFORM ACT OF 1995. THESE STATEMENTS ARE
SUBJECT TO A NUMBER OF ASSUMPTIONS, RISKS, AND UNCERTAINTIES, MANY
OF WHICH ARE BEYOND THE CONTROL OF THE DEBTOR, INCLUDING THE


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IMPLEMENTATION OF THE PLAN, THE CONTINUING AVAILABILITY OF
SUFFICIENT BORROWING CAPACITY OR OTHER FINANCING TO FUND
OPERATIONS, ACHIEVING OPERATING EFFICIENCIES, EXISTING AND FUTURE
GOVERNMENTAL REGULATIONS AND ACTIONS OF GOVERNMENTAL BODIES,
INDUSTRY-SPECIFIC RISK FACTORS, AND OTHER MARKET AND COMPETITIVE
CONDITIONS. HOLDERS OF CLAIMS AND INTERESTS ARE CAUTIONED THAT THE
FORWARD-LOOKING STATEMENTS SPEAK AS OF THE DATE MADE AND ARE NOT
GUARANTEES OF FUTURE PERFORMANCE.            ACTUAL RESULTS OR
DEVELOPMENTS MAY DIFFER MATERIALLY FROM THE EXPECTATIONS
EXPRESSED OR IMPLIED IN THE FORWARD-LOOKING STATEMENTS, AND THE
DEBTOR UNDERTAKES NO OBLIGATION TO UPDATE ANY SUCH STATEMENTS.

THE PROJECTIONS, WHILE PRESENTED WITH NUMERICAL SPECIFICITY, ARE
NECESSARILY BASED ON A VARIETY OF ESTIMATES AND ASSUMPTIONS WHICH,
THOUGH CONSIDERED REASONABLE BY THE DEBTOR, MAY NOT BE REALIZED
AND ARE INHERENTLY SUBJECT TO SIGNIFICANT BUSINESS, ECONOMIC,
INDUSTRY, REGULATORY, LEGAL, MARKET, AND FINANCIAL UNCERTAINTIES
AND CONTINGENCIES, MANY OF WHICH ARE BEYOND THE COMPANY’S
CONTROL. THE DEBTOR CAUTIONS THAT NO REPRESENTATIONS CAN BE MADE
OR ARE MADE AS TO THE ACCURACY OF THE PROJECTIONS OR TO THE
REORGANIZED COMPANY’S ABILITY TO ACHIEVE THE PROJECTED RESULTS.
SOME ASSUMPTIONS INEVITABLY WILL BE INCORRECT. MOREOVER, EVENTS
AND CIRCUMSTANCES OCCURRING SUBSEQUENT TO THE DATE ON WHICH THE
DEBTOR PREPARED THESE PROJECTIONS MAY BE DIFFERENT FROM THOSE
ASSUMED, OR, ALTERNATIVELY, MAY HAVE BEEN UNANTICIPATED, AND THUS
THE OCCURRENCE OF THESE EVENTS MAY AFFECT FINANCIAL RESULTS IN A
MATERIALLY ADVERSE OR MATERIALLY BENEFICIAL MANNER. EXCEPT AS
OTHERWISE PROVIDED IN THE PLAN OR THIS DISCLOSURE STATEMENT, THE
DEBTOR, REORGANIZED DEBTOR, AND NEW HOLDCO AS APPLICABLE, DO NOT
INTEND AND UNDERTAKE NO OBLIGATION TO UPDATE OR OTHERWISE REVISE
THE PROJECTIONS TO REFLECT EVENTS OR CIRCUMSTANCES EXISTING OR
ARISING AFTER THE DATE HEREOF OR TO REFLECT THE OCCURRENCE OF
UNANTICIPATED EVENTS. THEREFORE, THE PROJECTIONS MAY NOT BE RELIED
UPON AS A GUARANTEE OR OTHER ASSURANCE OF THE ACTUAL RESULTS THAT
WILL OCCUR. IN DECIDING WHETHER TO VOTE TO ACCEPT OR REJECT THE
PLAN, HOLDERS OF CLAIMS AND INTERESTS MUST MAKE THEIR OWN
DETERMINATIONS AS TO THE REASONABLENESS OF SUCH ASSUMPTIONS AND
THE RELIABILITY OF THE PROJECTIONS AND SHOULD CONSULT WITH THEIR
OWN ADVISERS.

The Projections herein include:

   1. Pro forma projected consolidated income statement and Adjusted EBITDA of the
      Company, including non-Debtor affiliates, for fiscal years 2021 through 2025; and

   2. Pro forma projected consolidated cash flows of the Company, including non-Debtor
      affiliates, for fiscal years 2021 through 2025.

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The Projections should be read in conjunction with the assumptions, qualifications, and
explanations set forth in this Disclosure Statement, the Plan, and the Plan Supplement, in their
entirety, and the Debtor’s historical consolidated financial statements (including the notes and
schedules thereto).

            PRO FORMA PROJECTED INCOME STATEMENT AND ADJUSTED EBITDA 13

                                          Q42021           FY2022     FY2023       FY2024        FY2025
($ in 000's)
Revenues, Net                            $ 61,890      $ 252,436     $ 274,501    $ 302,510     $ 328,178
Operating Expenses:
  Salaries & Employee Benefits              49,072   198,720   212,804   231,385                 250,731
  Operating Expenses                        13,501    45,659    46,317    48,522                  50,860
  Depreciation & Amortization                1,245     4,812     4,812     4,812                   4,812
Total Operating Expenses                    63,818   249,190   263,933   284,719                 306,403
Operating Income                          $ (1,928) $ 3,246 $ 10,568 $ 17,791                   $ 21,774
  Interest Expense                           2,795    12,178    13,846    15,346                  16,810
  Other Expense (Income)                      (117)        0         0         0                      (0)
Pre-tax Income (Loss)                       (4,606)   (8,932)   (3,278)    2,446                   4,964
  Income Taxes (Benefit)                       195       600       600       600                     600
Net Income (Loss)                         $ (4,801) $ (9,532) $ (3,878) $ 1,846                 $ 4,364

Supplemental Information
Depreciation & Amortization              $    1,245    $     4,812   $   4,812    $    4,812    $    4,812
Adjustments                                   2,870          1,500       1,500         1,500         1,500

EBITDA                                   $     (683) $       8,058   $ 15,380     $ 22,603      $ 26,586
Adjusted EBITDA                          $    2,187 $        9,558   $ 16,880     $ 24,103      $ 28,086




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   Adjustments include addbacks of Board of Manager Fees, Non-Recurring Expenses, Certain Severance and other
gains/losses.


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                        PRO FORMA CONSOLIDATED CASH FLOW PROJECTIONS 14



     ($ in 000's)                          Q42021  FY2022  FY2023   FY2024   FY2025
     Adjusted EBITDA                      $ 2,187 $ 9,558 $ 16,880 $ 24,103 $ 28,086

     Cash Taxes                               (195)     (600)                (600)     (600)     (600)
     Capital Expenditures                   (1,484)   (6,360)              (8,560)   (8,560)   (8,560)
     Net Working Capital                     3,610    (4,298)              (2,304)   (5,185)   (4,606)
     Other                                  (2,705)   (1,500)              (1,500)   (1,500)   (1,500)
     Unlevered Free Cash Flow             $ 1,413 $ (3,200) $               3,916 $ 8,258 $ 12,820
     Cash Interest Expense                    (131)     (630)              (2,258)   (6,866)   (6,671)
     Leveraged Free Cash Flow             $ 1,282 $ (3,830) $               1,659 $ 1,393 $ 6,149
     Debt (Repay) / Draw                    (1,282)    3,830               (1,659)   (1,393)   (6,149)
     Change in Cash                       $    -    $    -    $               -    $    -    $    -

     Beginning Cash                       $    2,500 $         2,500 $      2,500 $   2,500 $   2,500
     Change in Cash                              -               -            -         -         -
     Ending Cash                          $    2,500 $         2,500 $      2,500 $   2,500 $   2,500

                                                        VII.
                                                  VALUATION

 THE INFORMATION CONTAINED HEREIN IS NOT A PREDICTION OR GUARANTEE
 OF THE ACTUAL MARKET VALUE THAT MAY BE REALIZED THROUGH THE SALE
 OF ANY SECURITIES TO BE ISSUED PURSUANT TO THE PLAN. THE
 INFORMATION IS PRESENTED SOLELY FOR THE PURPOSE OF PROVIDING
 ADEQUATE INFORMATION UNDER SECTION 1125 OF THE BANKRUPTCY CODE
 TO ENABLE THE HOLDERS OF CLAIMS ENTITLED TO VOTE TO ACCEPT OR
 REJECT THE PLAN TO MAKE AN INFORMED JUDGMENT ABOUT THE PLAN AND
 SHOULD NOT BE USED OR RELIED UPON FOR ANY OTHER PURPOSE, INCLUDING
 THE PURCHASE OR SALE OF CLAIMS AGAINST THE DEBTOR OR ANY OF ITS
 AFFILIATES.

 Solely for the purposes of the Plan and the Disclosure Statement, Riveron estimated a range of
 total enterprise value (“Enterprise Value”) for the Reorganized Company pro forma for the
 transactions contemplated by the Plan and the Restructuring Support Agreement
 (the “Valuation Analysis”). As discussed throughout the Disclosure Statement, the Debtor is
 an intermediate holding company and does not have any of its own operations. Its primary
 assets are its Interests in its direct and indirect operating subsidiaries, the Non-Debtor GCS
 Parties.


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     Q4 Beginning Cash balance based on preliminary estimate as of October 1, 2021.


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The Valuation Analysis is based on financial and other information provided by the Debtor’s
management team, as well as the Projections included herein in Article VII, and information
provided by other sources. The Valuation Analysis is as of September 30, 2021, with an
assumed Effective Date of November 26, 2021. The Valuation Analysis utilizes market data as
of September 13, 2021. The valuation estimates set forth herein represent valuation analyses of
the Reorganized Company generally based on the application of customary valuation
techniques to the extent deemed appropriate.

In preparing its valuation, Riveron considered a variety of factors and evaluated a variety of
financial analyses, including (a) a comparable companies analysis; (b) a discounted cash flow
analysis; and (c) a precedent transactions analysis. In performing the Valuation Analysis,
Riveron primarily relied upon a comparable companies analysis and a discounted cash flow
analysis. While Riveron considered a precedent transactions analysis, Riveron deemed it to be
of limited relevance because of a lack of recent transactions for companies that are comparable
in certain respects to the Reorganized Company. The preparation of a valuation analysis is a
complex analytical process involving subjective determinations about which methodologies of
financial analysis are most appropriate and relevant and the application of those methodologies
to particular facts and circumstances in a manner that is not readily susceptible to summary
description.

           i. Comparable Companies Analysis: The comparable company analysis estimates
              the value of a company based on a relative comparison with other publicly
              traded companies with similar operating and financial characteristics. Under
              this methodology, the enterprise value for each selected public company is
              determined by examining the trading prices for the equity securities of such
              company in the public markets and adding the aggregate amount of outstanding
              net debt for such company (at book value) and minority interest. Such
              enterprise values are commonly expressed as multiples of various measures of
              financial and operating statistics, most commonly EBITDA. The total
              enterprise value of the Reorganized Company was calculated by applying such
              multiples to the Reorganized Company’s relevant statistics. The selection of
              public comparable companies for this purpose was based on various parameters
              that were deemed relevant.

           ii. Discounted Cash Flow Analysis: The discounted cash flow (“DCF”) analysis is
               a forward-looking enterprise valuation methodology that estimates the value of
               a business by calculating the present value of expected future cash flows to be
               generated by the business, combined with the present value of the terminal value
               of the business at the end of the forecast period. Under this methodology,
               projected future cash flows are discounted by the business’s weighted average
               cost of capital (the “Discount Rate”). The Discount Rate reflects the estimated
               blended rate of return that would be required by debt and equity investors to
               invest in the business based on its capital structure. The terminal value is
               calculated by applying a forward EBITDA multiple from the comparable
               company analysis to the EBITDAin the final year of the Projections (i.e., 2025).

           iii. Precedent Transactions Analysis: The precedent transactions methodology

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                estimates the value of a company by identifying and examining public
                transactions. Under this methodology, transaction values are commonly
                expressed as multiples of various measures of financial and operating statistics.
                Riveron identified and examined public merger and acquisition transactions that
                involved companies whose business and operating characteristics are generally
                similar to that of the Reorganized Company. No selected company is either
                identical or directly comparable to Reorganized Company’s business. From a
                review of the transaction-derived valuation multiples for the selected
                transactions, Riveron then developed a range of valuation multiples to apply to
                the Projections to derive a range of implied enterprise values for the Reorganized
                Company’s operations.

Based on the aforementioned analyses, and other information described herein and solely for
purposes of the Plan, the estimated range of Enterprise Value of the Reorganized Company, as
of September 30, 2021, is approximately $104 million to approximately $120 million (with the
midpoint of such range being approximately $112 million).

For purposes of the Valuation Analysis, Riveron assumed that no material changes that would
affect estimated value occur between the date of this Disclosure Statement and the Effective
Date. Riveron’s Valuation Analysis does not constitute an opinion as to the fairness from a
financial point of view of the consideration to be received or paid under the Plan, of the terms and
provisions of the Plan, or with respect to any other matters.

THE VALUATION ANALYSIS REFLECTS WORK PERFORMED BY RIVERON ON THE
BASIS OF INFORMATION IN RESPECT OF THE BUSINESSES AND ASSETS OF THE
DEBTOR AVAILABLE TO RIVERON AS OF SEPTEMBER 13, 2021. IT SHOULD BE
UNDERSTOOD THAT, ALTHOUGH SUBSEQUENT DEVELOPMENTS MAY HAVE
AFFECTED OR MAY AFFECT RIVERON’S CONCLUSIONS, RIVERON DOES NOT
HAVE ANY OBLIGATION TO UPDATE, REVISE, OR REAFFIRM THE VALUATION
ANALYSIS AND DOES NOT INTEND TO DO SO.

THE VALUATION ANALYSIS WAS DEVELOPED SOLELY FOR PURPOSES OF THE
PLAN AND THE ANALYSIS OF POTENTIAL RELATIVE RECOVERIES TO
CREDITORS THEREUNDER. THE VALUATION ANALYSIS REFLECTS THE
APPLICATION OF VARIOUS VALUATION TECHNIQUES, DOES NOT PURPORT TO BE
AN OPINION AND DOES NOT PURPORT TO REFLECT OR CONSTITUTE AN
APPRAISAL, LIQUIDATION VALUE, OR ESTIMATE OF THE ACTUAL MARKET
VALUE THAT MAY BE REALIZED THROUGH THE SALE OF ANY SECURITIES
AND/OR FUNDED DEBT TO BE ISSUED OR ASSETS TO BE SOLD PURSUANT TO THE
PLAN, WHICH MAY BE SIGNIFICANTLY DIFFERENT THAN THE AMOUNTS SET
FORTH IN THE VALUATION ANALYSIS.

THE VALUE OF AN OPERATING BUSINESS IS SUBJECT TO NUMEROUS
UNCERTAINTIES AND CONTINGENCIES THAT ARE DIFFICULT TO PREDICT AND
WILL FLUCTUATE WITH CHANGES IN FACTORS AFFECTING THE FINANCIAL
CONDITION AND PROSPECTS OF SUCH A BUSINESS. AS A RESULT, THE
VALUATION ANALYSIS IS NOT NECESSARILY INDICATIVE OF ACTUAL

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OUTCOMES, WHICH MAY BE SIGNIFICANTLY MORE OR LESS FAVORABLE THAN
THOSE SET FORTH HEREIN. BECAUSE SUCH ESTIMATES ARE INHERENTLY
SUBJECT TO UNCERTAINTIES, NEITHER THE DEBTOR, RIVERON, NOR ANY
OTHER PERSON ASSUMES RESPONSIBILITYFOR THEIR ACCURACY. IN ADDITION,
THE POTENTIAL VALUATION OF NEWLY ISSUED FUNDED DEBT AND SECURITIES
IS SUBJECT TO ADDITIONAL UNCERTAINTIES AND CONTINGENCIES, ALL OF
WHICH ARE DIFFICULT TO PREDICT. ACTUAL MARKET PRICES OF SUCH FUNDED
DEBT AND SECURITIES AT ISSUANCE WILL DEPEND UPON, AMONG OTHER
THINGS, PREVAILING INTEREST RATES, SPLIT OF INTEREST PAID IN CASH OR IN
KIND, CONDITIONS IN THE FINANCIAL MARKETS, THE ANTICIPATED INITIAL
FUNDED DEBT AND SECURITIES HOLDINGS OF PREPETITION CREDITORS, SOME
OF WHICH MAY PREFER TO LIQUIDATE THEIR INVESTMENT IMMEDIATELY
RATHER THAN HOLD THEIR INVESTMENT ON A LONG-TERM BASIS, THE
POTENTIALLY DILUTIVE IMPACT OF CERTAIN EVENTS, INCLUDING THE
ISSUANCE OF EQUITY SECURITIES PURSUANT TO ANY MANAGEMENT
INCENTIVE PLAN, AND OTHER FACTORS THAT GENERALLY INFLUENCE THE
PRICES OF FUNDED DEBT AND SECURITIES.

The Projections were prepared in good faith and on a basis reflecting the best estimates and
judgments as to the future operating and financial performance of the Reorganized Company. If
the business performs at levels below or above those set forth in the Projections, such
performance may have a materially negative or positive impact, respectively, on the valuation of
the Reorganized Company and the Enterprise Value thereof.

In preparing the Valuation Analysis, Riveron: (a) reviewed certain historical financial
information of the Debtor and the Non-Debtor GCS Parties for recent years and interim periods;
(b) reviewed certain financial and operating data of the Debtor and the Non-Debtor GCS Parties,
including the Projections; (c) reviewed certain publicly available financial data for, and
considered the market value of, public companies that Riveron deemed generally relevant in
analyzing the value of the Reorganized Company; (d) reviewed certain publicly available data
for, and considered the market values implied therefrom, recent transactions in the business
process outsourcing and debt collection sectors involving companies comparable in certain
respects to the Reorganized Company; and (e) considered certain economic and industry
information that Riveron deemed generally relevant to the Reorganized Company. Riveron
assumed and relied on the accuracy and completeness of all financial and other information
furnished to it by management and other parties as well as publicly available information.

The Valuation Analysis does not constitute a recommendation to any holder of Allowed Claims,
or any other person as to how such person should vote or otherwise act with respect to the Plan.
Riveron has not been requested to, and does not express any view as to, the potential trading
value of New Holdco’s funded debt and securities on issuance or at any other time.

THE SUMMARY SET FORTH ABOVE DOES NOT PURPORT TO BE A COMPLETE
DESCRIPTION   OF   THE   VALUATION    ANALYSIS    PERFORMED    BY
RIVERON. THE PREPARATION OF A VALUATION ANALYSIS INVOLVES VARIOUS
DETERMINATIONS AS TO THE MOST APPROPRIATE AND RELEVANT METHODS


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OF FINANCIAL ANALYSIS AND THE APPLICATION OF THESE METHODS IN THE
PARTICULAR CIRCUMSTANCES AND, THEREFORE, SUCH AN ANALYSIS IS NOT
READILY SUITABLE TO SUMMARY DESCRIPTION. THE VALUATION ANALYSIS
PERFORMED BY RIVERON IS NOT NECESSARILY INDICATIVE OF ACTUAL
VALUES OR FUTURE RESULTS, WHICH MAY BE SIGNIFICANTLY MORE OR LESS
FAVORABLE THAN THOSE DESCRIBED HEREIN.

RIVERON HAS NOT AND WILL NOT BE RESPONSIBLE FOR, AND HAS NOT AND
WILL NOT PROVIDE ANY TAX, ACCOUNTING, ACTUARIAL, LEGAL, OR OTHER
SPECIALIST ADVICE TO THE DEBTOR OR ANY OTHER PARTY IN CONNECTION
WITH THE DEBTOR’S CHAPTER 11 CASE, THE PLAN OR OTHERWISE.

                                                VIII.
                        TRANSFER RESTRICTIONS AND
                CONSEQUENCES UNDER FEDERAL SECURITIES LAWS

The Solicitation is being made prior to the Petition Date pursuant to Section 4(a)(2) and/or
Regulation D of the Securities Act and only from holders of Existing Term Loan Claims who are
Accredited Investors (as defined in Rule 501 of the Securities Act).

The issuance of and the distribution under the Plan of (i) the New Holdco Common Equity,
(ii) the New Holdco Senior Preferred Equity, (iii) the New Holdco Junior Preferred Equity, and
(iv) the New Midco Equity, to holders of Allowed Existing Term Loan Claims, as applicable,
shall be exempt from registration under the Securities Act and any other applicable securities
laws pursuant to section 1145 of the Bankruptcy Code.

Section 1145 of the Bankruptcy Code generally exempts from registration under the Securities
Act the offer or sale under a chapter 11 plan of a security of the debtor, of an affiliate
participating in a joint plan with the debtor, or of a successor to the debtor under a plan, if such
securities are offered or sold in exchange for a claim against, or an interest in, the debtor or such
affiliate, or principally in such exchange and partly for cash. In reliance upon this exemption,
(i) the New Holdco Common Equity, (ii) the New Holdco Senior Preferred Equity, (iii) the New
Holdco Junior Preferred Equity, and (iv) the New Midco Equity issued to holders of Allowed
Existing Term Loan Claims, as applicable, will be exempt from the registration requirements of
the Securities Act, and state and local securities laws. These securities may be resold without
registration under the Securities Act or other federal or state securities laws pursuant to the
exemption provided by Section 4(a)(1) of the Securities Act, unless the holder is an
“underwriter” with respect to such securities, as that term is defined in section 1145(b) of the
Bankruptcy Code. In addition, such section 1145 exempt securities generally may be resold
without registration under state securities laws pursuant to various exemptions provided by the
respective laws of the several states.

Section 1145(b) of the Bankruptcy Code defines “underwriter” for purposes of the Securities Act
as one who, except with respect to ordinary trading transactions, (a) purchases a claim with a
view to distribution of any security to be received in exchange for the claim, (b) offers to sell
securities issued under a plan for the holders of such securities, (c) offers to buy securities issued
under a plan from persons receiving such securities, if the offer to buy is made with a view to

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distribution or (d) is an issuer, as used in Section 2(a)(11) of the Securities Act, with respect to
such securities, which includes control persons of the issuer.

Notwithstanding the foregoing, control person underwriters may be able to sell securities without
registration pursuant to the resale limitations of Rule 144 of the Securities Act which, in effect,
permit the resale of securities received by such underwriters pursuant to a chapter 11 plan,
subject to applicable volume limitations, notice and manner of sale requirements, and certain
other conditions. Parties who believe they may be statutory underwriters as defined in section
1145 of the Bankruptcy Code are advised to consult with their own legal advisers as to the
availability of the exemption provided by Rule 144.

In any case, recipients of the (i) New Holdco Common Equity, (ii) New Holdco Senior Preferred
Equity, (iii) New Holdco Junior Preferred Equity, or (iv) New Midco Equity issued under the
Plan are advised to consult with their own legal advisers as to the availability of any such
exemption from registration under state law in any given instance and as to any applicable
requirements or conditions to such availability.

To the extent certificated, certificates evidencing the (i) New Holdco Common Equity, (ii) New
Holdco Senior Preferred Equity, (iii) New Holdco Junior Preferred Equity, or (iv) New Midco
Equity held by holders of 10% or more of the outstanding (i) New Holdco Common Equity
(ii) New Holdco Senior Preferred Equity, (iii) New Holdco Junior Preferred Equity, or (iv) New
Midco Equity, or who are otherwise underwriters as defined in Section 1145(b) of the
Bankruptcy Code, will bear a legend substantially in the form below:

THE NEW HOLDCO COMMON EQUITY, NEW HOLDCO SENIOR PREFERRED EQUITY,
NEW HOLDCO JUNIOR PREFERRED EQUITY, AND THE NEW MIDCO EQUITY
REPRESENTED BY THIS CERTIFICATE HAVE NOT BEEN REGISTERED UNDER THE
SECURITIES ACT OF 1933, AS AMENDED, OR UNDER THE SECURITIES LAWS OF
ANY STATE OR OTHER JURISDICTION AND MAY NOT BE SOLD, OFFERED FOR
SALE OR OTHERWISE TRANSFERRED UNLESS REGISTERED OR QUALIFIED UNDER
SUCH ACT AND APPLICABLE STATE SECURITIES LAWS OR UNLESS THE ISSUER
RECEIVES AN OPINION OF COUNSEL REASONABLY SATISFACTORY TO IT THAT
SUCH REGISTRATION OR QUALIFICATION IS NOT REQUIRED.

                                                IX.
                     CERTAIN U.S. TAX CONSEQUENCES OF PLAN

The following discussion summarizes certain U.S. federal income tax consequences of the
implementation of the Plan to the Debtor. This summary is based on the Tax Code, existing and
proposed U.S. Treasury regulations thereunder (the “Treasury Regulations”), judicial decisions,
and published administrative rules and pronouncements of the Internal Revenue Service (the
“IRS”), and other applicable authorities, as in effect on the date hereof, all of which are subject
to change, possibly on a retroactive basis. Any such change could significantly affect the U.S.
federal income tax consequences described below.

The U.S. federal income tax consequences of the Plan are complex and subject to significant
uncertainties. The Debtor has not requested an opinion of counsel or a ruling from the IRS with


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respect to any of the tax aspects of the Plan. This summary does not address state, local, or
foreign income or other tax consequences of the Plan. Importantly, this summary does not
purport to address the U.S. federal income tax consequences of the Plan to any holder of Claims
or any holder of Midco Equity Interests. Finally, this discussion does not address U.S. federal
taxes other than income taxes, nor does it discuss the consequences of the Plan to any person that
acquires any of the New Equity or other securities or property issued or transferred in and
pursuant to the Plan or in the secondary market.

This discussion assumes that the New Equity Interests and, except as otherwise indicated below,
the various debt and other arrangements to which the Debtor is a party, will be respected for U.S.
federal income tax purposes in accordance with their form.

ACCORDINGLY, THE FOLLOWING SUMMARY IS FOR INFORMATIONAL
PURPOSES ONLY AND IS NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING
OR FOR ADVICE BASED UPON THE CIRCUMSTANCES PERTAINING TO A
PARTICULAR TAXPAYER. EACH HOLDER OF A CLAIM OR INTEREST IS
URGED TO CONSULT ITS OWN TAX ADVISORS FOR THE FEDERAL, STATE,
LOCAL AND FOREIGN INCOME AND OTHER TAX CONSEQUENCES
APPLICABLE TO IT UNDER THE PLAN.

       A.    Background

The Debtor is taxed as a corporation for federal income tax purposes. The Debtor directly and
indirectly owns limited liability company subsidiaries, most of which are disregarded for income
tax purposes. The Debtor has certain tax attributes which include, as of the anticipated Petition
Date, estimated NOLs in excess of $69 million, deferred interest under section 163(j) of
approximately $16 million, and certain other tax attributes. Additionally, the Debtor currently
has adjusted tax basis in its assets well in excess of the value of such assets, reflecting a “built-
in” loss.

As described in the Plan, the Debtor is the borrower under existing debt instruments, including
the Existing Term Loan Facility. In accordance with Article IV the Plan, and as discussed below,
the Debtor will undergo a restructuring in which all of the Debtor’s assets will be transferred to a
newly formed limited liability company (“New Holdco Sub”), in connection with which the
Debtor will receive all the equity in New Holdco Sub’s direct parent, New Holdco; both New
Holdco and New Holdco Sub will be, at the time of such asset transfer, disregarded for federal
income tax purposes. Immediately thereafter, pursuant to the Plan (1) the Debtor’s existing
equity (i.e., the Midco Equity Interests) will be cancelled, (2) the Allowed Existing Term Loan
Claims will be exchanged for a combination of newly issued equity of the Debtor, the New
Holdco Equity, and New Holdco Sub debt securities, and otherwise discharged, and (3) all other
Claims will remain unimpaired.

This restructuring and the U.S. federal income tax consequences thereof to the Debtor are
discussed below.




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       B.        Consequences to the Debtor

            1.      The Debtor’s transfer to BSP of New Holdco Equity is expected to result in
                    loss recognition by the Debtor.

Pursuant to the Plan, the consideration for the satisfaction, settlement, release, and discharge of
the Allowed Existing Term Loan Claim held by BSP (and its affiliates) will include a transfer by
the Debtor of approximately 66% of the New Holdco Junior Preferred Equity and 100% of the
New Holdco Common Equity, which is expected to represent approximately 66% of the value of
all New Holdco’s equity (excluding the New Holdco Senior Preferred Equity) at the Effective
Date. Because, at the time of such transfer, New Holdco will be disregarded for federal income
tax purposes, the transfer by the Debtor of these equity interests is expected to be treated as a
transfer by the Debtor of a proportionate undivided interest in the underlying assets owned by
New Holdco (and New Holdco Sub). Generally, a transfer by a debtor of property—like interests
in its assets—in satisfaction of debt is taxable for federal income tax purposes. Thus, given that
New Holdco and New Holdco Sub, immediately prior to the transfer described above, will be
disregarded entities for income tax purposes, it is expected that the transfer of the New Holdco
Equity in partial satisfaction of such Allowed Existing Term Loan Claims will be treated as a
taxable sale of the underlying assets of New Holdco and New Holdco Sub.

Because the transfer to BSP (and its affiliates) of the New Holdco Equity will be treated as a
taxable asset sale, the Debtor anticipates recognizing a loss under applicable tax principles in an
amount proportionate to the percentage of the underlying assets of New Holdco and New Holdco
Sub deemed transferred to BSP (and its affiliates). The amount of the loss described in the
foregoing sentence is expected to be significant; the precise amount of such loss cannot be
determined at this time, as such amount will be dependent in large part on the value of the
underlying assets of New Holdco and New Holdco Sub as of the Effective Date.

            2.      The Restructuring will result in income from the cancellation of debt
                    (“COD”), the amount of which will depend in significant part on the value
                    of the Reorganized Debtor. Because the COD will be realized in the context
                    of a chapter 11 plan, such COD will be excluded from income.

Pursuant to the Plan, on the Effective Date, except as otherwise expressly provided for by the
Plan, all notes, instruments and certificates evidencing debt of, or equity interests in the Debtor
shall be cancelled and obligations of the Debtor thereunder shall be discharged. It is expected
that such implementation of the Plan may result in the recognition of COD. Generally, if an
issuer discharges its debt in exchange for consideration having a value less than the adjusted
issue price of such debt, the issuer will recognize COD. Under the Plan, the Existing Term Loan
Facility (as noted above) will be satisfied in part and otherwise discharged, and all other Claims
(except as otherwise provided in the Plan) will remain unimpaired.

The amount of COD incurred is generally the amount by which the indebtedness discharged
exceeds the value of any consideration given in exchange therefor. In the case of the Debtor,
such amount of COD is projected to be significant; the amount of COD cannot be determined at
this time, as such amount will be dependent in large part on the value of the underlying assets of
New Holdco and New Holdco Sub as of the Effective Date.

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The COD recognized by the Debtor as a result of the Restructuring will be excluded from
income because the restructuring will be effected pursuant to a confirmed chapter 11 plan, and,
consequently, will qualify for exclusion under section 108 of the Tax Code.

           3.    To the extent COD is excluded, it will result in tax attribute reduction,
                 specifically a reduction in the amount of the Debtor’s NOLs.

Although COD is excluded from income as discussed above, section 108 of the Tax Code
requires a debtor in a chapter 11 bankruptcy case to reduce certain of its tax attributes—such as
NOL carryforwards and current year NOLs, capital loss carryforwards, certain tax credits, and
tax basis in assets—by the amount of any COD incurred pursuant to a confirmed chapter 11 plan
and excluded under section 108.

As noted above, while the amount of COD that the Debtor will recognize and exclude under
section 108 will depend in large part on the fair market value of the New Equity Interests (and
cannot at this point be determined), the Debtor expects to incur and exclude a significant amount
of COD as a result of the implementation of the Plan. Accordingly, the Debtor expects that its
NOLs available to be carried forward and utilized in taxable years following the taxable year of
the Restructuring (which would include NOLs generated as a result of the Restructuring) will be
significantly reduced. Even so, the Debtor projects that an amount of its NOLs will remain even
after such section 108 attribute reduction.

           4.    The Restructuring is expected to qualify under section 382(l)(5) of the Tax
                 Code.

Under the Tax Code, any NOLs and certain other tax attributes of a corporation may be subject
to an annual limitation if the corporation undergoes an “ownership change” within the meaning
of section 382 of the Tax Code. Such limitation would apply in addition to (and after application
of), and not in lieu of, the attribute reduction that may result from the COD arising in connection
with the Plan.

However, section 382(l)(5) of the Tax Code provides a special rule that the usual section 382
annual limitation does not apply if the “ownership change” resulted from the consummation of a
chapter 11 plan. In the case where a corporation qualifies for and does not elect out of section
382(l)(5) treatment, the Tax Code generally requires reduction of NOLs that correspond to
interest deductions claimed in respect of debt that is exchanged for debtor equity. It is currently
expected that the implementation of the Plan will qualify for the special rule in section 382(l)(5).

Following the Restructuring, the pre-Restructuring business of the Debtor will be operated in a
pass-through structure.

After emergence from its chapter 11 proceeding, the Debtor’s business and assets will be owned
and operated indirectly by New Holdco; all of New Holdco’s U.S. subsidiaries will be
disregarded limited liability companies. New Holdco is expected to be taxed for federal income
tax purposes as a partnership. As such, it will not itself be a taxpayer, but its income, gain, loss,
deductions and other tax results will “pass through” to its members, which, upon emergence
from chapter 11, will be Midco and BSP (and its affiliates).

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The foregoing summary has been provided for informational purposes only. All holders of
Claims and Interests are urged to consult their tax advisors concerning the federal, state, local,
and other tax consequences applicable under the Plan.

                                                 X.
                     CERTAIN RISK FACTORS TO BE CONSIDERED

Prior to voting to accept or reject the Plan, holders of Claims and Interests should read and
carefully consider the risk factors set forth below, in addition to the information set forth in this
Disclosure Statement together with any attachments, exhibits, or documents incorporated by
reference hereto. The factors below should not be regarded as the only risks associated with the
Plan or its implementation.

       A.    Certain Bankruptcy Law Considerations

            1. General

While the Debtor believes that the Chapter 11 Case will be of short duration and will not be
materially disruptive to GC Services’ business, the Debtor cannot be certain that this will be the
case. Although the Plan is designed to minimize the length of the Chapter 11 Case, it is
impossible to predict with certainty the amount of time that the Debtor may spend in bankruptcy
or to assure parties in interest that the Plan will be confirmed. Even if confirmed on a timely
basis, bankruptcy proceedings to confirm the Plan could have an adverse effect on GC Services’
business. Among other things, it is possible that bankruptcy proceedings by its affiliates could
adversely affect GC Services’ relationships with its key customers, vendors, suppliers, and
employees. The proceedings will also involve additional expense and may divert some of the
attention of the Debtor’s management away from business operations at GC Services.

            2. Risk of Non-Confirmation of Plan

Although the Debtor believes that the Plan will satisfy all requirements necessary for
confirmation by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will
reach the same conclusion or that modifications to the Plan will not be required for confirmation
or that such modifications would not necessitate re-solicitation of votes. Moreover, the Debtor
can make no assurances that it will receive the requisite acceptances to confirm the Plan, and
even if the Voting Class (as defined herein) voted in favor of the Plan, the Bankruptcy Court,
which may exercise substantial discretion as a court of equity, may choose not to confirm the
Plan. If the Plan is not confirmed, it is unclear what distributions holders of Claims or Interests
ultimately would receive with respect to their Claims or Interests in a subsequent plan of
reorganization.

            3. Risk of Non-Occurrence of Effective Date

Although the Debtor believes that the Effective Date will occur soon after the Confirmation
Date, there can be no assurance as to the timing of the Effective Date. If the conditions
precedent to the Effective Date set forth in the Plan have not occurred or have not been waived
as set forth in Article IX of the Plan, then the Confirmation Order may be vacated, in which

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event no distributions would be made under the Plan, the Debtor and all holders of Claims or
Interests would be restored to the status quo as of the day immediately preceding the
Confirmation Date, and the Debtor’s obligations with respect to Claims and Interests would
remain unchanged.

            4. Risk of Termination of Restructuring Support Agreement

The Restructuring Support Agreement contains certain provisions that give the parties the ability
to terminate the Restructuring Support Agreement if various conditions are satisfied or certain
milestones are not met. Termination of the Restructuring Support Agreement could result in a
protracted Chapter 11 Case. Moreover, termination of the Restructuring Support Agreement
may result in the Debtor’s subsidiary operating company, GC Services, or other affiliates
needing to seek chapter 11 protection. A chapter 11 filing by GC Services could significantly
and detrimentally impact GC Services’ relationships with vendors, suppliers, employees, and
major customers.

            5. Conversion to Chapter 7 Case

If no plan of reorganization can be confirmed, or if the Bankruptcy Court otherwise finds that it
would be in the best interest of holders of Claims and Interests, the Chapter 11 Case may be
converted to a case under chapter 7 of the Bankruptcy Code, pursuant to which a trustee would
be appointed or elected to liquidate the Debtor’s assets for distribution in accordance with the
priorities established by the Bankruptcy Code. See Article XIII hereof, as well as the
Liquidation Analysis attached hereto as Exhibit B, for a discussion of the effects that a chapter
7 liquidation would likely have on the recoveries of holders of Claims and Interests.

       B.    Additional Factors Affecting Value of New Holdco

            1. Claims Could Be More than Projected

There can be no assurance that the estimated Allowed amount of Claims in certain Classes will
not be significantly more than projected, which, in turn, could cause the value of distributions to
be reduced substantially. Inevitably, some assumptions will not materialize, and unanticipated
events and circumstances may affect the ultimate results. Therefore, the actual amount of
Allowed Claims may vary from the Projections and feasibility analysis, and the variation may be
material.

            2. Projections and Other Forward-Looking Statements Are Not Assured, and
               Actual Results May Vary

Certain of the information contained in this Disclosure Statement is, by nature, forward-looking,
and contains (i) estimates and assumptions which might ultimately prove to be incorrect and
(ii) projections which may be materially different from actual future experiences. There are
uncertainties associated with any projections and estimates, and they should not be considered
assurances or guarantees of the amount of funds or the amount of Claims in the various Classes
that might be allowed.



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       C.    Risks Relating to Company’s Business and Financial Condition

            1. The Reorganized Company May Not Be Able to Generate Sufficient
               Cash to Service All of Its Indebtedness

The Reorganized Company’s ability to make scheduled payments on, or refinance its debt
obligations, depends on the Reorganized Company’s financial condition and operating
performance, which are subject to prevailing economic, industry, and competitive conditions and
to certain financial, business, legislative, regulatory, and other factors beyond the Reorganized
Company’s control. The Reorganized Company may be unable to maintain a level of cash flow
from operating activities sufficient to permit the Reorganized Company to pay the principal,
premium, if any, and interest on its indebtedness, including, without limitation, potential
borrowings under the Exit ABL Facility upon emergence.

            2. The Company Will Be Subject to the Risks and Uncertainties Associated
               with the Chapter 11 Case

For the duration of the Chapter 11 Case, the Company’s ability to operate, develop, and execute
a business plan, and continue as a going concern, may be subject to the risks and uncertainties
associated with the Debtor’s status as a chapter 11 debtor. These risks include the following:
(a) ability of the Debtor to confirm and consummate the restructuring transactions specified in
the Plan; (b) ability to obtain Bankruptcy Court approval with respect to motions filed in the
Chapter 11 Case from time to time; (c) ability of GC Services to maintain relationships with
suppliers, vendors, service providers, customers, employees, and other third parties; (d) ability of
GC Services to maintain contracts that are critical to operations; (e) ability of third parties to seek
and obtain Bankruptcy Court approval to terminate or shorten the exclusivity period for the
Debtor to propose and confirm a chapter 11 plan, to appoint a chapter 11 trustee, or to convert
the Chapter 11 Case to a chapter 7 proceeding; and (f) the actions and decisions of the Debtor’s
creditors and other third parties who have interests in the Chapter 11 Case that may be
inconsistent with the Debtor’s plans.

These risks and uncertainties with the Debtor’s Chapter 11 Case could affect GC Services’
business and operations in various ways. For example, negative events associated with the
Chapter 11 Case could adversely affect GC Services’ relationships with suppliers, vendors,
service providers, customers, employees, and other third parties, which in turn could adversely
affect GC Services’ operations and financial condition, which effects would be felt by the
Debtor. Because of the risks and uncertainties associated with the Chapter 11 Case, the Debtor
cannot accurately predict or quantify the ultimate impact of events that occur during the Chapter
11 Case that may be inconsistent with the Debtor’s plans.

            3. The Debtor’s Operating in Bankruptcy for a Long Period of Time May
               Harm GC Services’ Business

The Debtor’s future results will be dependent upon the successful confirmation and
implementation of a plan of reorganization. A long period under Bankruptcy Court protection
could have a material adverse effect on GC Services’ business, financial condition, results of
operations, and liquidity. So long as the proceedings related to the Chapter 11 Case continue,

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senior management will be required to spend a significant amount of time and effort dealing with
the reorganization instead of focusing exclusively on the business operations at GC Services. A
prolonged period in chapter 11 also may make it more difficult to retain management and other
key personnel necessary to the success and growth of the business. In addition, the longer the
proceedings related to the Chapter 11 Case continue, the more likely it is that customers and
suppliers will lose confidence in the Company’s ability to reorganize successfully and will seek
to establish alternative commercial relationships.

Furthermore, the Debtor cannot predict the ultimate outcome for the liabilities that will be
subject to a plan of reorganization. Even after a plan of reorganization is approved and
implemented, the Reorganized Company’s operating results may be adversely affected by the
possible reluctance of prospective lenders and other counterparties to do business with a
company whose affiliate recently emerged from bankruptcy protection.

           4. Financial Results May Be Volatile and May Not Reflect Historical Trends

The Projections referenced in Section VI are based on assumptions that are an integral part of the
projections, including Confirmation and consummation of the Plan in accordance with its terms,
the anticipated future performance of the Company, industry performance, general business and
economic conditions, and other matters, many of which are beyond the control of the Company
and some or all of which may not materialize.

In addition, unanticipated events and circumstances occurring after the date hereof may affect the
actual financial results of the Company’s operations. These variations may be material and may
adversely affect the value of the Reorganized Company and the ability of New Holdco to make
payments with respect to its indebtedness. Because the actual results achieved may vary from
projected results, perhaps significantly, the Projections should not be relied upon as a guarantee
or other assurance of the actual results that will occur.

If the Debtor emerges from the Chapter 11 Case, the amounts reported in subsequent
consolidated financial statements may materially change relative to historical consolidated
financial statements, including as a result of revisions to the Debtor’s operating plans pursuant to
a plan of reorganization. The Debtor also may be required to adopt fresh start accounting, in
which case its assets and liabilities will be recorded at fair value as of the fresh start reporting
date, which may differ materially from the recorded values of assets and liabilities on the
Company’s consolidated balance sheets. The Company’s financial results after the application
of fresh start accounting also may be different from historical trends.

Lastly, the business plan was developed by the Company with the assistance of its advisors.
There can be no assurances that the business plan will not change, perhaps materially, as a result
of decisions that the board of managers may make after fully evaluating the strategic direction of
the Company and its business plan.

           5. The Company’s Business is Subject to Various Laws and Regulations That
               Can Adversely Affect the Cost, Manner, or Feasibility of Doing Business



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The Company’s operations are subject to various federal, state and local laws and regulations,
including occupational health and safety laws and certain regulatory and licensing requirements.
The Company may be required to make large expenditures to comply with such regulations.
Failure to comply with these laws and regulations may result in the suspension or termination of
operations and subject the Company to administrative, civil and criminal penalties, which could
have a material adverse effect on the business, financial condition, results of operations, and cash
flows of the Reorganized Company.

           6. The Reorganized Debtor May Be Adversely Affected by Potential Litigation,
               Including Litigation Arising Out of the Chapter 11 Case

It is possible that New Holdco, as the successor to the Debtor, may become party to litigation. In
general, litigation can be expensive and time consuming to bring or defend against. Such
litigation could result in settlements or damages that could significantly affect the Reorganized
Company’s financial results. It is also possible that certain parties will commence litigation with
respect to the treatment of their Claims under the Plan. It is not possible to predict the potential
litigation that New Holdco, New Holdco Sub, or any other Non-Debtor GCS Party, may become
party to, nor the final resolution of such litigation. The impact of any such litigation on the
Reorganized Company’s business and financial stability could be material.

           7. The Loss of Key Personnel Could Adversely Affect the Company’s
               Operations

As detailed herein, the Debtor is a holding company and does not have any operations, nor does
the Debtor employ any employees. However, the Debtor’s subsidiary operating company, GC
Services, is dependent on a relatively small group of key management personnel and a skilled
employee base. GC Services has experienced and may continue to experience increased levels
of employee attrition. Because competition for experienced personnel can be significant, GC
Services may be unable to find acceptable replacements with comparable skills and experience
and the loss of such key management personnel could adversely affect GC Services’ ability to
operate the business. A loss of key personnel or material erosion of employee morale could have
a material adverse effect on GC Services’ ability to meet expectations, thereby adversely
affecting GC Services’ business and the results of operations.

           8. Operations May be Impacted by the Continuing COVID-19 Pandemic

The continued spread of COVID-19 could have a significant impact on GC Services’ business,
including in the context of consumer demand for the GC Services’ services. On a macro level,
this pandemic could dampen global growth and ultimately lead to an economic recession. Such a
scenario would negatively impact the financial performance. In addition, government lockdowns
and employee infections could both negatively affect financial performance.

The volume and quality of consumer debt, student loan and unpaid government tax fee
delinquencies may decline as a result of COVID-19, which would significantly impact GC
Services’ Accounts Receivable Management segment. In particular, government restrictions on



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consumer and student loan debt collection activity may negatively impact the Company’s
operating environment and projected financial performance.

A COVID-19 or COVID-19 variant outbreak at a site may lead to a temporary site shut down,
and as a result, disruption to operations.

                9. Government Stimulus Measures May Impact Ability to Hire

If there are new government stimulus measures, either through direct transfers of payments or
further extensions or increases in enhanced unemployment benefits, this may lead to increased
impediments to hiring or higher attrition rates due to disincentives to work.

                10. DIP Facility

The Term DIP Facility is intended to provide liquidity to the Debtor during the pendency of the
Chapter 11 Case. There can be no assurance that the Bankruptcy Court will approve the Term
DIP Facility on the terms requested by the Debtor, which could endanger the funding of the
Chapter 11 Case and the ability of the Plan to go effective. Moreover, if the Chapter 11 Case
takes longer than expected to conclude, the Debtor may exhaust or lose access to its financing.
There is no assurance that they will be able to obtain additional financing from their existing
lenders or otherwise. In either such case, the liquidity necessary to administer the Chapter 11
Case may be materially impaired. Moreover, in the event the Debtor’s operating subsidiaries are
required to file their own chapter 11 cases, additional liquidity may be necessary to ensure the
orderly functioning of the Company’s business. There is no assurance the Company will be able
to obtain such liquidity.

                11. Post-Effective Date Indebtedness

Following the Effective Date, the Reorganized Company expects to have outstanding principal
indebtedness of approximately $130 million, which includes amounts expected to be outstanding
under the Exit Term Loan Facilities and a $30 million notional Exit ABL Facility. 15

The Reorganized Company’s ability to service its debt obligations will depend on, among other
things, the Debtor’s compliance with affirmative and negative covenants, and the Company’s
future operating performance, which depends partly on economic, financial, competitive, and
other factors beyond the Reorganized Company’s control. The Reorganized Company may not
be able to generate sufficient cash from operations to meet its debt service obligations as well as
fund necessary capital expenditures. In addition, if the Reorganized Company needs to refinance
its debt, obtain additional financing, or sell assets or equity, it may not be able to do so on
commercially reasonable terms, if at all.




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     The size and terms of the Exit ABL Facility remain subject to ongoing negotiations.


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       D.    Factors Relating to Securities to Be Issued Under Plan, Generally

            1. No Current Public Market for Securities

There is currently no market for the New Holdco Common Equity, New Holdco Senior Preferred
Equity, New Holdco Junior Preferred Equity, or New Midco Equity, and there can be no
assurance as to the development or liquidity of any market for any such securities. The
Reorganized Company is under no obligation to list any securities on any national securities
exchange. The New Holdco Common Equity, New Holdco Senior Preferred Equity, New
Holdco Junior Preferred Equity, and New Midco Equity will not be issued through the
Depository Trust Company. Therefore, there can be no assurance that any of the foregoing
securities will be tradable or liquid at any time after the Effective Date. If a trading market does
not develop or is not maintained, holders of the foregoing securities may experience difficulty in
reselling such securities or may be unable to sell them at all. Even if such a market were to exist,
such securities could trade at prices higher or lower than the estimated value set forth in this
Disclosure Statement depending upon many factors including, without limitation, prevailing
interest rates, markets for similar securities, industry conditions, and the performance of, and
investor expectations for, the Reorganized Company. In addition, holders of the New Holdco
Equity will be subject to certain restrictions in the LLC Agreement, which may include
restrictions on the ability of a holder to transfer its shares, as well as other limitations associated
with such securities. Accordingly, holders of these securities may bear certain risks associated
with holding securities for an indefinite period of time.

            2. Potential Dilution

The ownership percentage represented by the New Holdco Common Equity, New Holdco Senior
Preferred Equity, New Holdco Junior Preferred Equity, and New Midco Equity distributed on the
Effective Date under the Plan will be subject to dilution from the conversion of any options,
warrants, convertible securities, exercisable securities, or other securities that may be issued
post-emergence, including the potential for conversion of the New Holdco Preferred Equity.

In the future, similar to all companies, additional equity financings or other share issuances by
New Holdco could adversely affect the value of the issuable securities upon such conversion.
The amount and dilutive effect of any of the foregoing could be material.

       E.    Risks Related to Investment in Exit Term Loan Facilities

            1. Insufficient Cash Flow to Meet Debt Obligations

As discussed above, the Reorganized Company’s earnings and cash flow may vary significantly
from year to year. Additionally, the Reorganized Company’s future cash flow may be
insufficient to meet the Reorganized Company’s debt obligations and commitments. Any
insufficiency could negatively impact the Reorganized Company’s business. A range of
economic, competitive, business, and industry factors will affect the Reorganized Company’s
future financial performance and, as a result, its ability to generate cash flow from operations and
to pay its debt. Many of these factors are beyond the Reorganized Company’s control.



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If the Reorganized Company does not generate enough cash flow from operations to satisfy its
debt obligations, it may have to undertake alternative financing plans, such as:

   •   Refinancing or restructuring debt;

   •   Selling assets;

   •   Reducing or delaying capital investments; or

   •   Seeking to raise additional capital.

It cannot be assured, however, that undertaking alternative financing plans, if necessary, would
allow the Reorganized Company to meet its debt obligations. An inability to generate sufficient
cash flow to satisfy its debt obligations or to obtain alternative financing could materially and
adversely affect (i) the Reorganized Company’s ability to make payments on the Exit Term Loan
Facilities and (ii) its business, financial condition, results of operations, and prospects.
Moreover, to the extent that the Reorganized Company’s cash flow only minimally exceeds its
debt service obligations under the Exit Term Loan Facilities and Exit ABL Facility and other
post-Restructuring debt, the value of the equity of New Holdco may be diminished.

           2. Defects in Collateral Securing Exit Term Loan Facilities

The indebtedness under the Exit Term Loan Facilities will be secured on a first-priority basis by
security interests in the collateral. Such collateral securing the Exit Term Loan Facilities may be
subject to exceptions, permitted encumbrances, and liens. Further, neither the Debtor nor the
Non-Debtor GCS Parties have conducted appraisals of any of the assets constituting the
collateral to determine if the value of the collateral upon foreclosure or liquidation equals or
exceeds the amount of the Exit Term Loan Facilities or such other obligation secured by the
collateral. Accordingly, it cannot be assured that the remaining proceeds from a sale of the
collateral would be sufficient to repay holders of the debt under the Exit Term Loan Facilities all
amounts owed under them. The fair market value of the collateral is subject to fluctuations
based on factors that include, among others, the ability to sell collateral in an orderly manner,
general economic conditions, the availability of buyers, the Reorganized Company’s failure to
implement its business strategy, and similar factors. The amount received upon a sale of
collateral would be dependent on numerous factors, including, but not limited to, the actual fair
market value of the collateral at such time, and the timing and manner of the sale. By its nature,
portions of the collateral may be illiquid and may have no readily ascertainable market value. In
the event of a subsequent foreclosure, liquidation, bankruptcy, or similar proceeding, it cannot be
assured that the proceeds from any sale or liquidation of the collateral will be sufficient to pay
the Reorganized Company’s obligations under the Exit Term Loan Facilities, in full or at all.
There can also be no assurance that the collateral will be saleable, and, even if saleable, the
timing of its liquidation would be uncertain. Accordingly, there may not be sufficient collateral
to pay all or any of the amounts due on the Exit Term Loan Facilities.




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            3. Failure to Perfect Security Interests in Collateral

The failure to properly perfect liens on the collateral could adversely affect the collateral agent’s
ability to enforce its rights with respect to the collateral for the benefit of the holders of the Exit
Term Loan Facilities and the Exit ABL Facility. In addition, applicable law requires that certain
property and rights acquired after the grant of a general security interest or lien can only be
perfected at the time such property and rights are acquired and identified. There can be no
assurance that the collateral agent will monitor, or that New Holdco will inform the trustee or the
collateral agent of, the future acquisition of such property and rights that constitute collateral,
and that the necessary action will be taken to properly perfect the security interest in such after-
acquired collateral. Such failure may result in the loss of the practical benefits of the liens
thereon or of the priority of the liens securing the loans against third parties.

            4. Casualty Risk of Collateral

The Reorganized Company will be obligated by the Exit Term Loan Facilities and the Exit ABL
Facility to maintain adequate insurance or otherwise insure against hazards as is customarily
done by companies having assets of a similar nature in the same or similar localities. There are,
however, certain losses that may either be uninsurable or not economically insurable, in whole or
in part. As a result, it is possible that the insurance proceeds will not compensate the
Reorganized Company fully for its losses. If there is a total or partial loss of any of the pledged
collateral or significant disruption to business operations, any insurance proceeds received may
be insufficient to satisfy the secured obligations of the Reorganized Company, including the Exit
Term Loan Facilities.

       F.    Risks Related to an Investment in (i) New Holdco Common Equity, (ii) New
             Holdco Senior Preferred Equity, and (iii) New Holdco Junior Preferred Equity

            1. Significant Holders

Certain holders of Allowed Existing Term Loan Claims are expected to acquire a significant
ownership interest in the (i) New Holdco Common Equity, (ii) New Holdco Senior Preferred
Equity, and (iii) New Holdco Junior Preferred Equity (in each case with respect to GS, through
GS’ 100% ownership of the New Midco Equity) pursuant to the Plan. Such ownership
concentration will result in certain holders being in a position to influence the outcome of certain
actions requiring member approval, including the election of managers, without the approval of
other members. This concentration of ownership could also facilitate or hinder a negotiated
change of control of New Holdco and, consequently, have an impact upon the value of the
(i) New Holdco Common Equity, (ii) New Holdco Senior Preferred Equity, and the (iii) the New
Holdco Junior Preferred Equity.

In any subsequent liquidation, dissolution, or winding up of New Holdco, (i) the New Holdco
Common Equity, unless converted into unsecured debt in accordance with their terms, the
(ii) New Holdco Senior Preferred Equity, and the (iii) New Holdco Junior Preferred Equity
would rank below all debt claims against New Holdco. As a result, holders of the (i) New
Holdco Common Equity, (ii) New Holdco Senior Preferred Equity, and (iii) New Holdco Junior
Preferred Equity will not be entitled to receive any payment or other distribution of assets upon


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the liquidation, dissolution, or winding up of New Holdco until after all New Holdco’s
obligations to its debt holders have been satisfied.

            2. No Intention to Pay Dividends

Following the Effective Date, except for permitted tax distributions, New Holdco does not
anticipate paying any dividends on the (i) New Holdco Common Equity, (ii) New Holdco Senior
Preferred Equity, or (iii) New Holdco Junior Preferred Equity as it expects to retain any future
cash flows for debt reduction and to support its operations. As a result, the success of an
investment in (i) New Holdco Common Equity, (ii) New Holdco Senior Preferred Equity, or the
(iii) New Holdco Junior Preferred Equity could depend upon, among other things, the future
appreciation in the value of the Reorganized Company.

       G.    Additional Factors

            1. Debtor Could Withdraw Plan

Subject to the terms of, and without prejudice to, the rights of any party to the Restructuring
Support Agreement, the Plan may be revoked or withdrawn prior to the Confirmation Date by
the Debtor.

            2. Debtor Has No Duty to Update

The statements contained in this Disclosure Statement are made by the Debtor as of the date
hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement after that
date does not imply that there has been no change in the information set forth herein since that
date. The Debtor has no duty to update this Disclosure Statement unless otherwise ordered to do
so by the Bankruptcy Court.

            3. No Representations Outside Disclosure Statement Are Authorized

No representations concerning or related to the Debtor, the Chapter 11 Case, or the Plan are
authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this
Disclosure Statement. Any representations or inducements made to secure your acceptance or
rejection of the Plan that are other than those contained in, or included with, this Disclosure
Statement should not be relied upon in making the decision to accept or reject the Plan.

            4. No Legal or Tax Advice Is Provided by Disclosure Statement

The contents of this Disclosure Statement should not be construed as legal, business, or tax
advice. Each Claim or Interest holder should consult their own legal counsel and accountant as
to legal, tax, and other matters concerning their Claim or Interest.

This Disclosure Statement is not legal advice to you. This Disclosure Statement may not be
relied upon for any purpose other than to determine how to vote on the Plan or object to
confirmation of the Plan.




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            5. No Admission Made

Nothing contained herein or in the Plan will constitute an admission of, or will be deemed
evidence of, the tax or other legal effects of the Plan on the Debtor, or the Company more
generally, or holders of Claims or Interests.

            6. Certain Tax Consequences

For a discussion of certain tax considerations to the Company and certain holders of Claims in
connection with the implementation of the Plan, see Article IX hereof.

                                                XI.
                     VOTING PROCEDURES AND REQUIREMENTS

       A.    Parties Entitled to Vote

Under the Bankruptcy Code, only holders of claims or interests in “impaired” classes are entitled
to vote on a plan. Under section 1124 of the Bankruptcy Code, a class of claims or interests is
deemed to be “impaired” under a plan unless (i) the plan leaves unaltered the legal, equitable,
and contractual rights to which such claim or interest entitles the holder thereof or
(ii) notwithstanding any legal right to an accelerated payment of such claim or interest, the plan
cures all existing defaults (other than defaults resulting from the occurrence of events of
bankruptcy) and reinstates the maturity of such claim or interest as it existed before the default.

If, however, the holder of an impaired claim or interest will not receive or retain any distribution
under the plan on account of such claim or interest, the Bankruptcy Code deems such holder to
have rejected the plan, and, accordingly, holders of such claims and interests do not actually vote
on the plan. If a claim or interest is not impaired by the plan, the Bankruptcy Code deems the
holder of such claim or interest to have accepted the plan and, accordingly, holders of such
claims and interests are not entitled to vote on the Plan.

A vote may be disregarded if the Bankruptcy Court determines, pursuant to section 1126(e) of
the Bankruptcy Code, that it was not solicited or procured in good faith or in accordance with the
provisions of the Bankruptcy Code.

The Bankruptcy Code defines “acceptance” of a plan by a class of: (i) claims as acceptance by
creditors in that class that hold at least two-thirds (2/3) in dollar amount and more than one-half
(1/2) in number of the claims that cast ballots for acceptance or rejection of the plan; and
(ii) interests as acceptance by interest holders in that class that hold at least two-thirds (2/3) in
dollar amount of the interests that cast ballots for acceptance or rejection of the plan.

THE ONLY CLASS OF CLAIMS THAT IS IMPAIRED AND ENTITLED TO VOTE TO
ACCEPT OR REJECT THE PLAN IS CLASS 3—EXISTING TERM LOAN CLAIMS
(THE “VOTING CLASS” OR “VOTING CLAIMS”).

The solicitation of votes on the Plan with respect to the Existing Term Loan Claims prior to the
Petition Date is being made pursuant to Section 4(a)(2) and/or Regulation D of the Securities Act


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and only from holders of such Claims who are eligible Existing Term Lenders (i.e., Accredited
Investors as defined in Rule 501 of the Securities Act) (collectively, “Eligible Holders”).

       B.    Voting Deadline

Before voting to accept or reject the Plan, each Eligible Holder of an Allowed Existing Term
Loan Claim as of the Voting Record Date should carefully review the Plan attached hereto as
Exhibit A. All descriptions of the Plan set forth in this Disclosure Statement are subject to the
terms and conditions of the Plan.

Ballots will be provided for holders of Voting Claims as of the Voting Record Date (i.e., October
15, 2021) to vote to accept or reject the Plan (a “Ballot”). Because Classes 1, 2, 4, 5, and 6 are
unimpaired and deemed to accept, and Class 7 is impaired but deemed to reject, only Class 3 is
entitled to vote.

Each Ballot contains detailed voting instructions and sets forth in detail, among other things, the
deadlines, procedures, and instructions for voting to accept or reject the Plan, the Voting Record
Date for voting purposes, and the applicable standards for tabulating Ballots.

The Debtor has engaged Bankruptcy Management Solutions, Inc. (d/b/a Stretto) as its voting
agent (the “Voting Agent”) to assist in the transmission of voting materials and in the tabulation
of votes with respect to the Plan.

THE VOTING DEADLINE IS 4:00 P.M., PREVAILING CENTRAL TIME, ON
NOVEMBER 1, 2021, UNLESS EXTENDED BY THE DEBTOR (THE “VOTING
DEADLINE”).

CLASS 3: IN ORDER FOR YOUR VOTE TO BE COUNTED, YOUR VOTE MUST BE
RECEIVED BY THE VOTING AGENT THROUGH SUBMISSION ON THE E-VOTING
PLATFORM ON OR BEFORE THE VOTING DEADLINE.

FOR YOUR VOTE TO BE COUNTED, YOUR BALLOT MUST BE ACTUALLY RECEIVED
BY THE VOTING AGENT NO LATER THAN THE VOTING DEADLINE.

ANY BALLOT THAT IS EXECUTED AND RETURNED BUT WHICH DOES NOT
INDICATE EITHER AN ACCEPTANCE OR REJECTION OF THE PLAN OR INDICATES
BOTH AN ACCEPTANCE AND A REJECTION OF THE PLAN WILL NOT BE COUNTED.
THE DEBTOR, IN ITS SOLE DISCRETION, MAY REQUEST THAT THE VOTING AGENT
ATTEMPT TO CONTACT SUCH VOTERS TO CURE ANY SUCH DEFECTS IN THE
BALLOTS. THE FAILURE TO VOTE DOES NOT CONSTITUTE A VOTE TO ACCEPT OR
REJECT THE PLAN. AN OBJECTION TO THE CONFIRMATION OF THE PLAN, EVEN
IF TIMELY SERVED, DOES NOT CONSTITUTE A VOTE TO ACCEPT OR REJECT THE
PLAN.

       C.    Voting Procedures

The Debtor is providing copies of this Disclosure Statement (including all exhibits and
appendices) and related materials and a Ballot (collectively, a “Solicitation Package”) to record

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holders of the Existing Term Loan Claims. Any Eligible Holder of Existing Term Loan Claims
who has not received a Ballot should contact the Voting Agent. The Existing Term Loan
Facility Agent will not vote on behalf of its respective holders. Each Eligible Holder of the
Existing Term Loan Claims must submit its own Ballot.

Holders of Existing Term Loan Claims should provide all of the information requested by the
Ballot. Holders of Existing Term Loan Claims should complete and return all Ballots received to
the Voting Agent using the online ballot submission platform, which can be accessed at
https://cases.stretto.com/GCS.

           1. Miscellaneous

All Ballots must be signed by the holder of record of the Existing Term Loan Claims, as
applicable, or any person who has obtained a properly completed Ballot proxy from the record
holder of the Existing Term Loan Claims, as applicable, on such date. For purposes of voting to
accept or reject the Plan, the Eligible Holders of the Existing Term Loan Claims will be deemed
to be the “holders” of the claims represented by such Existing Term Loan Claims. If you return
more than one Ballot voting different Existing Term Loan Claims, the Ballots for a particular
class are not voted in the same manner, and you do not correct this before the Voting Deadline,
those Ballots will not be counted. An otherwise properly executed Ballot that attempts to
partially accept and partially reject the Plan will likewise not be counted. If you cast more than
one Ballot voting the same Claim(s) before the Voting Deadline, the last valid Ballot received on
or before the Voting Deadline will be deemed to reflect your intent, and thus, to supersede any
prior Ballot. If you cast Ballots received by the Voting Agent on the same day, but which are
voted inconsistently, such Ballots will not be counted.

The Ballots provided to Eligible Holders will reflect the principal amount of such Eligible
Holder’s Claim.

Except as provided below, unless the Ballot is timely submitted to the Voting Agent before the
Voting Deadline together with any other documents required by such Ballot, the Debtor may, in
its sole discretion, reject such Ballot as invalid, and therefore decline to utilize it in connection
with seeking confirmation of the Plan.

           2. Agreements Upon Furnishing Ballots

The delivery of an accepting Ballot pursuant to one of the procedures set forth above will
constitute the agreement of the creditor with respect to such Ballot to accept (i) all of the terms
of, and conditions to, this Solicitation; and (ii) the terms of the Plan including the injunction,
releases, and exculpations set forth in Sections 10.5, 10.6, and 10.7 therein. All parties in
interest retain their right to object to confirmation of the Plan pursuant to section 1128 of the
Bankruptcy Code, subject to any applicable terms of the Restructuring Support Agreement.

           3. Change of Vote

Subject in all respects to the commitments set forth in the Restructuring Support Agreement, any
party who has previously submitted to the Voting Agent prior to the Voting Deadline a properly
completed Ballot may revoke such Ballot and change its vote by submitting to the Voting Agent

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prior to the Voting Deadline a subsequent, properly completed Ballot for acceptance or rejection
of the Plan.

       D.    Waivers of Defects, Irregularities, etc.

Unless otherwise directed by the Bankruptcy Court, all questions as to the validity, form,
eligibility (including time of receipt), acceptance, and revocation or withdrawals of Ballots will
be determined by the Voting Agent and/or the Debtor, as applicable, in their sole discretion,
which determination will be final and binding. The Debtor reserves the right to reject any and all
Ballots submitted by any of its creditors not in proper form, the acceptance of which would, in
the opinion of the Debtor or its counsel, as applicable, be unlawful. The Debtor further reserves
its respective rights to waive any defects or irregularities or conditions of delivery as to any
particular Ballot by any of its creditors. The interpretation (including the Ballot and the
respective instructions thereto) by the Debtor, unless otherwise directed by the Bankruptcy
Court, will be final and binding on all parties. Unless waived, any defects or irregularities in
connection with deliveries of Ballots must be cured within such time as the Debtor (or the
Bankruptcy Court) determines. Neither the Debtor nor any other person will be under any duty
to provide notification of defects or irregularities with respect to deliveries of Ballots nor will
any of them incur any liabilities for failure to provide such notification. Unless otherwise
directed by the Bankruptcy Court, delivery of such Ballots will not be deemed to have been
made until such irregularities have been cured or waived. Ballots previously furnished (and as to
which any irregularities have not theretofore been cured or waived) will be invalidated.

       E.    Notice of Non-Voting Status

Holders in Classes 1, 2, 4, 5, and 6 are Unimpaired and deemed to accept the Plan. Holders of
Midco Equity Interests in Class 7 are impaired and deemed to reject the Plan. Accordingly, as
noted above, holders of Claims and Interests in Classes 1, 2, 4, 5, 6, and 7 will not receive a
Ballot. Holders of Claims and Interests in Classes 1, 2, 4, 5, 6, and 7 will receive a notice
informing them of their non-voting status (the “Notice of Non-Voting Status”).

       F.    Opt-Out Form

In addition to receiving a Notice of Non-Voting Status, holders of Unimpaired Claims will
receive an Opt-Out Form. To the extent a holder of an Unimpaired Claim wishes to elect to opt-
out of the releases contemplated by the Plan, such holder must return the Opt-Out Form, with the
box checked indicating such holder is electing to opt-out of the releases, to the Voting Agent
before 4:00 p.m. (Prevailing Central Time) on November 16, 2021.

                                               XII.
                                 CONFIRMATION OF PLAN

       A.    Confirmation Hearing

On the Petition Date, the Debtor intends to file a motion requesting, among other things, that the
Bankruptcy Court (i) approve this Disclosure Statement, (ii) schedule a hearing
(the “Confirmation Hearing”) to consider the adequacy of this Disclosure Statement and
confirmation of the Plan and (iii) approve of the solicitation procedures with respect to the Plan.

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The Debtor intends to request that the Bankruptcy Court schedule the Confirmation Hearing for
November 22, 2021 at 2:00 p.m. (Prevailing Central Time) or as soon as practicable thereafter as
the Bankruptcy Court’s schedule permits.

A notice of the Confirmation Hearing will be published and mailed to all known or potential
holders of Claims and Interests at least twenty-eight (28) days before the date by which
objections must be filed with the Bankruptcy Court.

       B.    Objections to Confirmation

Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to the
confirmation of a plan. Any objection to confirmation of the Plan must be in writing, must
conform to the Bankruptcy Rules and the Local Rules of Bankruptcy Practice and Procedure of
the United States Bankruptcy Court for the Southern District of Texas, must set forth the name of
the objector, the nature and amount of Claims or Interests held or asserted by the objector against
the Debtor’s estate or property, the basis for the objection and the specific grounds therefore, and
must be filed with the Bankruptcy Court, with a copy to the chambers of the United States
Bankruptcy Judge appointed to the Chapter 11 Case, together with proof of service thereof, and
served upon the following parties, including such other parties as the Bankruptcy Court may
order:




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        (a)   The Debtor at:

              ORG GC Midco, LLC
              6330 Gulfton Street
              Houston, Texas 77081
              Attn: Mark Schordock, Chief Executive Officer;
                     Michael Jones, Chief Financial Officer; and
                     Brad Batig, Chief Compliance Officer and General Counsel
              Email: mark.schordock@gcserv.com
                     michael.jones@gcserv.com
                     brad.batig@gcserv.com

        (b)   Office of the U.S. Trustee at:

              Office of the U.S. Trustee for the Southern District of Texas
              515 Rusk Street, Suite 3516
              Houston, Texas 77002
              Attn: [•]

        (c)   Counsel to the Debtor at:

              Weil, Gotshal & Manges LLP
              700 Louisiana Street, Suite 1700
              Houston, Texas 77002
              Attn: Alfredo R. Pérez, Esq.
              Email: alfredo.perez@weil.com

                     - and-

              Weil, Gotshal & Manges LLP
              767 Fifth Avenue
              New York, New York 10153
              Attn: Sunny Singh, Esq.
                     Katherine Lewis, Esq.
              Email: sunny.singh@weil.com
                     Katherine.lewis@weil.com

        (d)   Counsel to BSP at:

              Stroock & Stroock & Lavan LLP
              180 Maiden Lane
              New York, NY 10038-4982
              Attn: Jayme T. Goldstein, Esq.
                     Daniel P. Ginsberg, Esq.
                     Joanne Lau, Esq.
              Email: jgoldstein@stroock.com


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                              dginsberg@stroock.com
                              jlau@stroock.com

                (e)   Counsel to GS at:

                      King & Spalding LLP
                      1185 Avenue of Americas, 34th Floor
                      New York, NY 10036
                      Attn: W. Austin Jowers, Esq.
                             Michael R. Handler, Esq.
                      Email: ajowers@kslaw.com
                             mhandler@kslaw.com

UNLESS AN OBJECTION TO CONFIRMATION IS TIMELY SERVED AND FILED, IT
        MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

       C.    Requirements for Confirmation of Plan

            1. Requirements of Section 1129(a) of Bankruptcy Code

                 (a) General Requirements.
At the Confirmation Hearing, the Bankruptcy Court will determine whether the confirmation
requirements specified in section 1129(a) of the Bankruptcy Code have been satisfied including,
without limitation, whether:

                       (i)    the Plan complies with the applicable provisions of the Bankruptcy
                              Code;

                       (ii)   the Debtor has complied with the applicable provisions of the
                              Bankruptcy Code;

                       (iii) the Plan has been proposed in good faith and not by any means
                              forbidden by law;

                       (iv) any payment made or promised by the Debtor or by a person
                              issuing securities or acquiring property under the Plan, for services
                              or for costs and expenses in or in connection with the Chapter 11
                              Case, or in connection with the Plan and incident to the Chapter 11
                              Case, has been disclosed to the Bankruptcy Court, and any such
                              payment made before confirmation of the Plan is reasonable, or if
                              such payment is to be fixed after confirmation of the Plan, such
                              payment is subject to the approval of the Bankruptcy Court as
                              reasonable;

                       (v)    the Debtor has disclosed the identity and affiliations of any
                              individual proposed to serve, after confirmation of the Plan, as a
                              director or officer of New Holdco, and the appointment to, or


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                              continuance in, such office of such individual is consistent with the
                              interests of the holders of Claims and Interests and with public
                              policy, and the Debtor has disclosed the identity of any insider who
                              will be employed or retained by the Reorganized Company, and
                              the nature of any compensation for such insider;

                        (vi) with respect to each Class of Claims or Interests, each holder of an
                              impaired Claim or impaired Interest has either accepted the Plan or
                              will receive or retain under the Plan, on account of such holder’s
                              Claim or Interest, property of a value, as of the Effective Date of
                              the Plan, that is not less than the amount such holder would receive
                              or retain if the Debtor were liquidated on the Effective Date of the
                              Plan under chapter 7 of the Bankruptcy Code;

                        (vii) except to the extent the Plan meets the requirements of section
                              1129(b) of the Bankruptcy Code (as discussed further below), each
                              Class of Claims either accepted the Plan or is not impaired under
                              the Plan;

                        (viii) except to the extent that the holder of a particular Claim has agreed
                              to a different treatment of such Claim, the Plan provides that
                              administrative expenses and priority Claims, other than Priority
                              Tax Claims, will be paid in full on the Effective Date, and that
                              Priority Tax Claims will receive either payment in full on the
                              Effective Date or deferred cash payments over a period not
                              exceeding five years after the Petition Date, of a value, as of the
                              Effective Date of the Plan, equal to the Allowed amount of such
                              Claims;

                        (ix) at least one Class of impaired Claims has accepted the Plan,
                              determined without including any acceptance of the Plan by any
                              insider holding a Claim in such Class;

                        (x)   confirmation of the Plan is not likely to be followed by the
                              liquidation, or the need for further financial reorganization, of the
                              Debtor or any successor to the Debtor under the Plan; and

                        (xi) all fees payable under section 1930 of title 28 of the United States
                              Code, as determined by the Bankruptcy Court at the Confirmation
                              Hearing, have been paid or the Plan provides for the payment of all
                              such fees on the Effective Date of the Plan.

                 (b)   Best Interests Test

As noted above, with respect to each impaired class of claims and interests, confirmation of a
plan requires that each such holder either (i) accept the plan or (ii) receive or retain under the
plan property of a value, as of the effective date of the plan, that is not less than the value such


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holder would receive or retain if the debtors were liquidated under chapter 7 of the Bankruptcy
Code. This requirement is referred to as the “best interests test.”

This test requires a Bankruptcy Court to determine what the holders of allowed claims and
allowed interests in each impaired class would receive from a liquidation of the debtor’s assets
and properties in the context of a liquidation under chapter 7 of the Bankruptcy Code. To
determine if a plan is in the best interests of each impaired class, the value of the distributions
from the proceeds of the liquidation of the debtor’s assets and properties (after subtracting the
amounts attributable to the aforesaid claims) is then compared with the value offered to such
classes of claims and interests under the plan.

The Debtor believes that under the Plan all holders of impaired Claims and Interests will receive
property with a value not less than the value such holder would receive in a liquidation under
chapter 7 of the Bankruptcy Code. The Debtor’s belief is based primarily on (i) consideration of
the effects that a chapter 7 liquidation would have on the ultimate proceeds available for
distribution to holders of impaired Claims and Interests and (ii) the Liquidation Analysis
attached hereto as Exhibit B.

The Debtor believes that any liquidation analysis is speculative, as it is necessarily premised on
assumptions and estimates which are inherently subject to significant uncertainties and
contingencies, many of which would be beyond the control of the Debtor. The Liquidation
Analysis provided in Exhibit B is solely for the purpose of disclosing to holders of Claims and
Interests the effects of a hypothetical chapter 7 liquidation of the Debtor, subject to the
assumptions set forth therein. There can be no assurance as to values that would actually be
realized in a chapter 7 liquidation nor can there be any assurance that a bankruptcy court will
accept the Debtor’s conclusions or concur with such assumptions in making its determinations
under section 1129(a)(7) of the Bankruptcy Code.

                 (c)   Feasibility

Also as noted above, section 1129(a)(11) of the Bankruptcy Code requires that a debtor
demonstrate that confirmation of a plan is not likely to be followed by liquidation or the need for
further financial reorganization. For purposes of determining whether the Plan meets this
requirement, the Debtor has analyzed its ability to meet its obligations under the Plan. As part of
this analysis, the Debtor has prepared the Projections provided in Section VII hereof. Based
upon such Projections, the Debtor believes it will have sufficient resources to make all payments
required pursuant to the Plan and that confirmation of the Plan is not likely to be followed by
liquidation or the need for further reorganization. Moreover, Section X hereof sets forth certain
risk factors that could impact the feasibility of the Plan.

                 (d)   Equitable Distribution of Voting Power

On or before the Effective Date, pursuant to and only to the extent required by section 1123(a)(6)
of the Bankruptcy Code, the organizational documents for the Debtor will be amended as
necessary to satisfy the provisions of the Bankruptcy Code and will include, among other things,
pursuant to section 1123(a)(6) of the Bankruptcy Code, (i) a provision prohibiting the issuance of



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non-voting equity securities and (ii) a provision setting forth an appropriate distribution of voting
power among classes of equity securities possessing voting power.

           2. Additional Requirements for Non-Consensual Confirmation

In the event that any impaired Class of Claims or Interests does not accept or is deemed to reject
the Plan, the Bankruptcy Court may still confirm the Plan at the request of the Debtor if, as to
each impaired Class of Claims or Interests that has not accepted the Plan, the Plan “does not
discriminate unfairly” and is “fair and equitable” with respect to such Classes of Claims or
Interests, pursuant to section 1129(b) of the Bankruptcy Code. Both of these requirements are in
addition to other requirements established by case law interpreting the statutory requirements.

                 (a)   Unfair Discrimination Test

The “unfair discrimination” test applies to Classes of Claims or Interests that are of equal priority
and are receiving different treatment under the Plan. A chapter 11 plan does not discriminate
unfairly, within the meaning of the Bankruptcy Code, if the legal rights of a dissenting Class are
treated in a manner consistent with the treatment of other Classes whose legal rights are
substantially similar to those of the dissenting Class and if no Class of Claims or Interests
receives more than it legally is entitled to receive for its Claims or Interests. This test does not
require that the treatment be the same or equivalent, but that such treatment is “fair.”

The Debtor believes the Plan satisfies the “unfair discrimination” test. Claims of equal priority
are receiving comparable treatment and such treatment is fair under the circumstances.

                 (b)   Fair and Equitable Test

The “fair and equitable” test applies to classes of different priority and status (e.g., secured
versus unsecured) and includes the general requirement that no class of claims receive more than
100% of the allowed amount of the claims in such class. As to dissenting classes, the test sets
different standards depending on the type of claims in such class. The Debtor believes that the
Plan satisfies the “fair and equitable” test with respect to Midco Equity Interests, the only
impaired class that is deemed to reject the Plan.

With respect to a class of equity interests, the Bankruptcy Code requires that either (i) each
holder of an equity interest will receive or retain under the plan of reorganization property of a
value equal to the greater of (a) the fixed liquidation preference or redemption price, if any, of
such stock and (b) the value of the stock, or (ii) the holders of equity interests that are junior to
any dissenting class of equity interests will not receive any property under the plan of
reorganization.

Pursuant to the Plan, all Midco Equity Interests will be cancelled without further action by any
party or order of the Bankruptcy Court, released, extinguished and shall be of no further force
and effect. As detailed in the Liquidation Analysis, holders of Midco Equity Interests would not
receive any recovery in a liquidation scenario. There is no junior interest holder receiving
property under the Plan.



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Accordingly, the Plan meets the “fair and equitable” test with respect to the holders of Midco
Equity Interests.

The Debtor does not intend to proceed with non-consensual confirmation of the Plan in the event
Class 3 (Existing Term Loan Claims) votes to reject the Plan. As discussed above, pursuant to
the Restructuring Support Agreement, 100% of holders of Existing Term Loan Claims are
required, subject to the terms and conditions of the Restructuring Support Agreement, to vote in
favor of the Plan.

                                               XIII.
                        ALTERNATIVES TO CONFIRMATION AND
                             CONSUMMATION OF PLAN

The Debtor has evaluated several alternatives to the Plan. After studying these alternatives, the
Debtor has concluded that the Plan is the best alternative and will maximize recoveries to parties
in interest, assuming confirmation and consummation of the Plan. If the Plan is not confirmed
and consummated, the alternatives to the Plan are (i) the preparation and presentation of an
alternative plan of reorganization, (ii) a sale of some or all of the Debtor’s assets pursuant to
section 363 of the Bankruptcy Code, or (iii) a liquidation under chapter 7 of the Bankruptcy
Code.

       A.    Alternative Plan of Reorganization

If the Plan is not confirmed, the Debtor (or if the Debtor’s exclusive period in which to file a
plan of reorganization has expired, any other party in interest) could attempt to formulate a
different plan. Such a plan might involve either a reorganization and continuation of the
Debtor’s business or an orderly liquidation of its assets. The Debtor, however, submits that the
Plan, as described herein, enables its creditors to realize the most value under the circumstances.

       B.    Sale Under Section 363 of Bankruptcy Code

If the Plan is not confirmed, the Debtor could seek from the Bankruptcy Court, after notice and a
hearing, authorization to sell its assets under section 363 of the Bankruptcy Code. Holders of
Claims in Classes 2, 3, and 4 would be entitled to credit bid on any property to which their
security interest is attached, and to offset their Claims against the purchase price of the property.
In addition, the security interests in the Debtor’s assets held by holders of Claims in Classes 2, 3
and 4 would attach to the proceeds of any sale of the Debtor’s assets. After these Claims are
satisfied, the remaining funds could be used to pay holders of Claims in Classes 1, 5, 6, and 7.
Upon analysis and consideration of this alternative, the Debtor does not believe a sale of its
assets under section 363 of the Bankruptcy Code would yield a higher recovery for holders of
Claims than the Plan.

       C.    Liquidation Under Chapter 7 or Applicable Non-Bankruptcy Law

If no plan can be confirmed, the Chapter 11 Case may be converted to a case under chapter 7 of
the Bankruptcy Code in which a trustee would be elected or appointed to liquidate the assets of
the Debtor for distribution to its creditors in accordance with the priorities established by the
Bankruptcy Code. The effect a chapter 7 liquidation would have on the recovery of holders of

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Allowed Claims and Interests is set forth in the Liquidation Analysis attached hereto as
Exhibit B.

The Debtor believes that liquidation under chapter 7 would result in smaller distributions to
creditors than those provided for in the Plan because of, among other reasons, the delay resulting
from the conversion of the case and the additional administrative expenses associated with the
appointment of a trustee and the trustee’s retention of professionals who would be required to
become familiar with the many legal and factual issues in the Debtor’s Chapter 11 Case.




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                                                 XIV.
                         CONCLUSION AND RECOMMENDATION

The Debtor believes the Plan is in the best interests of all stakeholders and urge the holders of
Claims in Class 3 to vote in favor thereof.

Dated: October 16, 2021
       Houston, Texas



                                                ORG GC MIDCO, LLC


                                                By:
                                                      Name: Michael Jones
                                                      Title: Chief Financial Officer




   Signature Page for Disclosure Statement for Prepackaged Plan of Reorganization of ORG GC Midco, LLC
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                           EXHIBIT A

                              PLAN




                           [OMITTED]
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                                          EXHIBIT B

                                  LIQUIDATION ANALYSIS

NOTHING CONTAINED IN THE FOLLOWING LIQUIDATION ANALYSIS IS INTENDED
TO BE OR CONSTITUTES A CONCESSION, ADMISSION OR ALLOWANCE OF THE
DEBTOR (OR ANY OTHER PARTY). THE ESTIMATED AMOUNT OF ALLOWED
CLAIMS SET FORTH HEREIN SHOULD NOT BE RELIED UPON FOR ANY OTHER
PURPOSE, INCLUDING ANY DETERMINATION OF THE VALUE OF ANY
DISTRIBUTION TO BE MADE ON ACCOUNT OF ALLOWED CLAIMS OR ALLOWED
INTERESTS UNDER THE PLAN. THE ACTUAL AMOUNT OF ALLOWED CLAIMS IN
THE CHAPTER 11 CASE COULD DIFFER MATERIALLY FROM THE ESTIMATED
AMOUNTS SET FORTH IN THE LIQUIDATION ANALYSIS.

Under the “best interests” of creditors test, section 1129(a)(7) of the Bankruptcy Code requires
that the Bankruptcy Court find, as a condition to confirmation of the Plan, that each holder of a
Claim or Interest in each Impaired Class: (i) has accepted the Plan; or (ii) will receive or retain
under the Plan property of a value, as of the Effective Date, that is not less than the amount that
such holder would receive if the Debtor were liquidated under chapter 7 of the Bankruptcy Code.
To make these findings, the Bankruptcy Court must: (1) estimate the cash proceeds that a chapter
7 trustee would generate if the Chapter 11 Case were converted to a chapter 7 case on the
Effective Date and the assets of such Debtor’s estate were liquidated; (2) determine the
distribution that each non-accepting holder of a Claim or Interest would receive from the net
estimated liquidation proceeds under the priority scheme dictated in chapter 7; and (3) compare
each holder’s estimated recovery under liquidation to the distribution under the Plan that such
holder would receive if the Plan were confirmed and consummated. To demonstrate that the Plan
satisfies the best interests test, the Debtor has conducted a hypothetical liquidation analysis
(the “Liquidation Analysis”).

The Debtor believes that the assumptions and conclusions set forth herein are fair and represent
management’s best judgment regarding the results of a liquidation of the Debtor under chapter 7
of the Bankruptcy Code taking into account various factors including the negative impact on
values arising from a liquidation sale of the Debtor’s assets. This Liquidation Analysis was
prepared for the sole purpose of assisting the Bankruptcy Court and holders of Impaired Claims
or Interests in making this determination and should not be used for any other purpose. Pursuant
to the Plan and as set out in the Disclosure Statement, only ORG GC Midco, LLC – the
intermediate holding company for the enterprise – has commenced a Chapter 11 Case. The
Debtor has no operations and its primary assets are its Interests in its direct and indirect
subsidiaries, the Non-Debtor GCS Parties (such Interests, the “Subsidiary Equity Interests”).
Accordingly, in a chapter 7 liquidation scenario, the only distributable value available to holders
of Claims against or Interests in the Debtor would be the value, if any, of the Subsidiary Equity
Interests.

In the event the Chapter 11 Case were converted to a case under chapter 7 of the Bankruptcy
Code, the Debtor assumes that the Existing Term Lenders and the Existing ABL Lenders, will
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exercise remedies and foreclose upon the assets and property of the Non-Debtor GCS Parties,
substantially all of which assets and property are subject to prepetition liens in favor of the
Existing Term Lenders and the Existing ABL Lenders. The Debtor believes that following such
foreclosure on the Non-Debtor GCS Parties’ assets and property, there would be no value
available for distribution to holders of Subsidiary Equity Interests (i.e., the Debtor).
Accordingly, there would be no distributable value available to any holders of Claims against or
Interests in the Debtor.

Based on the foregoing, the Debtor believes that the value of any distributions to each Class of
Allowed Claims and Interests in a chapter 7 liquidation scenario would be equal to, or less than,
the value of distributions provided to each Class under the Plan, and, therefore, that the Plan
satisfies the “best interests” test.
THE DEBTOR BELIEVES THAT ANY ANALYSIS OF A HYPOTHETICAL LIQUIDATION
IS NECESSARILY SPECULATIVE. THERE ARE A NUMBER OF ESTIMATES AND
ASSUMPTIONS UNDERLYING THE LIQUIDATION ANALYSIS THAT ARE
INHERENTLY SUBJECT TO SIGNIFICANT UNCERTAINTIES AND CONTINGENCIES
BEYOND THE CONTROL OF THE DEBTOR OR A CHAPTER 7 TRUSTEE. NEITHER
THE LIQUIDATION ANALYSIS, NOR THE FINANCIAL INFORMATION ON WHICH IT
IS BASED, HAS BEEN EXAMINED OR REVIEWED BY INDEPENDENT ACCOUNTANTS
IN ACCORDANCE WITH STANDARDS PROMULGATED BY THE AMERICAN
INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS. NEITHER THE DEBTOR NOR ITS
ADVISORS MAKE ANY REPRESENTATION OR WARRANTY THAT THE ACTUAL
RESULTS OF A CHAPTER 7 LIQUIDATION OF THE DEBTOR WOULD OR WOULD
NOT APPROXIMATE THE ESTIMATES AND ASSUMPTIONS REPRESENTED IN THE
LIQUIDATION ANALYSIS




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                            Exhibit C

                      Form of LLC Agreement
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                                                           Draft 10/16/21




                            [NEWCO]

           LIMITED LIABILITY COMPANY AGREEMENT
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SCHEDULES AND EXHIBITS

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                     LIMITED LIABILITY COMPANY AGREEMENT
                                       OF
                                    [NEWCO]

        This LIMITED LIABILITY COMPANY AGREEMENT (as amended, restated, amended
and restated, supplemented or otherwise modified from time to time, together with all schedules,
exhibits and annexes hereto, this “Agreement”) of [NEWCO], LLC (the “Company”), is made as
of [], 2021, by and among (a) the Company and (b) the Persons listed on Schedule A attached
hereto and any other Person who may become a party hereto by executing a Joinder Agreement (a
“Joinder Agreement”) in the form of Exhibit A attached hereto (each, a “Member” and,
collectively, the “Members”).

        WHEREAS, the Company was formed as a limited liability company pursuant to and in
accordance with the Delaware Limited Liability Company Act, Title 6 of the Delaware Code,
Section 18-101, et seq. (as amended from time to time, the “Act”) by the filing of a Certificate of
Formation of the Company (as amended, supplemented, amended and restated or otherwise
modified from time to time, the “Certificate of Formation”) with the Secretary of State of the
State of Delaware pursuant to Section 18-201 of the Act on [], 2021; and

        WHEREAS, the Members desire to enter into this Agreement in order to provide for the
conduct of the business and affairs of the Company and the rights and obligations of the Members
with respect thereto.

        NOW, THEREFORE, in consideration of the premises and the mutual covenants and other
obligations set forth herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the parties hereby agree as follows:

                                    ARTICLE 1
                     DEFINITIONS AND RULES OF CONSTRUCTION

       1.1     Certain Definitions. As used herein:

       “Accredited Investor” means an “accredited investor” as such term is defined in Rule 501
under the Securities Act.

        “Adjusted Capital Account” means, with respect to any Member, the balance, if any, in
such Member’s Capital Account as of the end of the relevant Allocation Year, after giving effect
to the adjustments set forth herein and the following adjustments:

               (a)    credit to such Capital Account any amounts which such Member is
       obligated to restore pursuant to the terms of this Agreement or is deemed to be obligated
       to restore pursuant to Treasury Regulations Section 1.704-1(b)(2)(ii)(c) or pursuant to the
       penultimate sentence of each of Treasury Regulations Sections 1.704-2(g)(1) and 1.704-
       2(i)(5); and

               (b)    debit to such Capital Account the items described in paragraphs (4), (5) and
       (6) of Treasury Regulations Section 1.704-1(b)(2)(ii)(d).


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The foregoing definition of Adjusted Capital Account is intended to comply with the provisions
of Section 1.704-1(b)(2)(ii)(d) of the Treasury Regulations to the extent relevant thereto and shall
be interpreted consistently therewith.

        “Affiliate” means, with respect to any Person, any other Person that (either directly or
indirectly) controls, is controlled by, or is under common control with the specified Person and
shall also include (a) any Related Fund of such Person and (b) in the case of a specified Person
who is an individual, any Family Member or Personal Representative of such Person. The term
“control” (including, with its correlative meanings, “controlling,” “controlled by” and “under
common control with”) means the possession, directly or indirectly, of the power to direct or
cause the direction of management or policies of a Person (whether through ownership of
securities, by contract or otherwise).

        “Affiliate Transaction” means any transaction between (a) the Company or any of its
Subsidiaries, on the one hand, and (b)(i) any Member or Manager, (ii) any Affiliate of a Member
or Manager (other than (x) the Company or its Subsidiaries, (y) any Person that is an Affiliate of
any Member or Manager as a result of such Member or Manager, any Affiliate of such Member or
Manager, or any employee, officer, manager or director of such Member, Manager or Affiliate,
serving on the board of directors (or comparable governing body) of such Person and (z) any
portfolio companies of any Related Fund of any of the Members, (with respect to transactions
described in this clause (z)), on terms no less favorable to the Company or its Subsidiaries than
would be obtainable in a comparable arm’s length transaction with a Person that is not an Affiliate
thereof) or (iii) any general partner, managing member, manager, officer or director of any of the
Persons described in clause (b)(i) or clause (b)(ii) of this definition (an “Interested Investor”), on
the other hand.

       “Allocation Year” means the Fiscal Year or any portion of the Fiscal Year for which the
Company is required to allocate Profits, Losses, and other items of Company income, gain, loss,
or deduction pursuant to Article 12.

        “Applicable Tax Rate” means, for any calendar year, the sum of the highest marginal
federal, state and local tax rates (including employment, net investment income and related taxes)
applicable to income of the Company allocated to an individual or a corporation (whichever rate
is higher) resident in [New York, New York].

        “BSP Members” means, collectively, (a) [Benefit Street Partners, L.P.], so long as
[Benefit Street Partners, L.P.] owns or holds Units, and (b) any Affiliates of [Benefit Street
Partners, L.P.] that own or hold Units, so long as any such Affiliate remains an Affiliate of [Benefit
Street Partners, L.P.] Any consent, approval, decision (including any decision as to whether a
Person, action or thing is acceptable), determination, designation, identification, direction,
specification, request, removal, instruction or other action to be provided, granted, given, made,
performed, rendered or otherwise taken by the BSP Members pursuant to this Agreement at any
time shall be provided, granted, given, made, performed, rendered or otherwise taken by the BSP
Members that own or hold a majority of the Series B Preferred Units or Class A Common Units,
in each case as the context requires, owned or held by all of the BSP Members at such time. For
the avoidance of doubt, a Person that does not own or hold Units as of any time of determination
shall not constitute a BSP Member as of such time.

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       “Business Day” means any day other than a day which is a Saturday, Sunday or legal
holiday on which banks in the City of New York are authorized or obligated by law to close.

       “Capital Account” means the capital account maintained for each Member pursuant to
Section 11.6, as the same may be credited or debited in accordance with the terms hereof.

         “Capital Contribution” means, with respect to any Member, the amount of money and
the initial Gross Asset Value of any property (other than money) contributed, or deemed
contributed, by such Member to the Company (net of any liabilities secured by such property that
the Company is considered to assume or take subject to under Code Section 752), including any
initial capital contribution and additional capital contribution of such Member under Section 11.1.

        “Chairman” means, as of any time of determination, the Chairman of the Board as of such
time.

        “Code” means the Internal Revenue Code of 1986, as amended.

       “Company Minimum Gain” means “partnership minimum gain” as set forth in Treasury
Regulations Section 1.704-2(d).

        “Competitor” means any Person that is engaged in a business or any other activity that is
competitive with any business or other activity of the Company or any of its Subsidiaries, as
reasonably determined by the Board; provided, that, notwithstanding the foregoing, in no event
shall a private equity fund or other financial investor be deemed to be a Competitor if such private
equity fund or other financial investor establishes and maintains with reasonable diligence and in
good faith an Ethical Wall between such private equity fund or other financial investor, on the one
hand, and any Competitor of which such private equity fund or other financial investor is an
Affiliate or Related Fund, on the other hand.

        “Covered Person” means (a) each current and former Member, (b) each Affiliate of any
current or former Member, (c) each current and former Company Representative and each Affiliate
of any current or former Company Representative, (d) each Person serving or having served as a
Manager or a member of any committee of the Board, (e) each Person serving or having served as
an officer of the Company or any of its Subsidiaries, and (f) each Person who is or was a partner,
shareholder, member, officer, director, manager, fund adviser, investment adviser, investment
manager, controlling Person, employee, consultant, counsel, representative or agent of a current
or former Member, a current or former Company Representative, or any Affiliate of a current or
former Member or Company Representative (other than the Company or any of its Subsidiaries),
in each of the foregoing cases, in any such Person’s capacity as such.

        “Depreciation” means, for each Allocation Year, an amount equal to the depreciation,
amortization, or other cost recovery deduction allowable with respect to an asset for such
Allocation Year, except that if the Gross Asset Value of an asset differs from its adjusted basis for
federal income tax purposes at the beginning of such Allocation Year, (i) where such difference is
being eliminated by use of the “remedial method” pursuant to Treasury Regulation Section 1.704-
3(d), Depreciation shall be the amount of book basis recovered for such Allocation Year under the
rules prescribed by Treasury Regulation Section 1.704-3(d)(2) and (ii) where such difference is
being eliminated by use of any other method, Depreciation shall be an amount which bears the
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same ratio to such beginning Gross Asset Value as the federal income tax depreciation,
amortization, or other cost recovery deduction for such Allocation Year bears to such beginning
adjusted tax basis. If any asset shall have a zero adjusted basis for federal income tax purposes,
Depreciation shall be determined utilizing any reasonable method determined by the Board.

        “DIP Obligations” means the Obligations (as defined in the DIP Credit Agreement)
outstanding under that certain [Credit Agreement, dated [], 2021 (as amended, restated, amended
and restated, supplemented or otherwise modified from time to time, the “DIP Credit
Agreement”), by and among ORG GC Midco, LLC, as borrower, each of the guarantors party
thereto, Goldman Sachs Specialty Lending Group, L.P., as administrative agent and collateral
agent thereunder, and the lenders party thereto from time to time].

         “Distribution” means any distribution by the Company to any Member (in its capacity as
such), including distributions payable in cash, property or securities and including by means of
distribution, redemption, repurchase or liquidation, except that none of the following shall be a
Distribution: (a) any subdivision (by Unit split or otherwise) or any combination (by reverse Unit
split or otherwise) of all outstanding Units of any class, and (b) any repurchases by the Company
of Units from a Management Holder following termination of his or her employment with the
Company or any of its Subsidiaries or termination of his or her service as a Manager or any member
of any Subsidiary Governing Body.

        “Drag-Along Transaction” means a bona fide Sale Transaction (whether or not a Member
vote is required) to or with any Person or “group” (within the meaning of Section 13(d)(3) or
Section 14(d)(2) of the Exchange Act, or any successor provision) other than the Selling Members
or any Affiliates thereof (a “Third Party Purchaser”) that satisfies each of the applicable Drag-
Along Requirements set forth in Section 9.3(a).

           “Emergence” means [●].1

       “Entity” means any corporation, partnership, limited liability company, limited liability
partnership, joint stock company, joint venture, estate, association, trust, unincorporated
organization or association, business trust, tenancy in common or other legal entity.

        “Equity Interests” means, with respect to any Person, any capital stock (including
common stock and preferred stock), limited liability company interests, partnership interests or
other equity, ownership, beneficial or profits interests of such Person (however designated).

        “Ethical Wall” means reasonably effective procedures established and maintained by a
Person (the “First Party”) to ensure that employees or other agents (other than any third party
advisor that has a professional obligation of confidentiality with respect to the First Party (provided
that such First Party shall enforce such professional obligations against such third party advisor in
the event of any breach thereof)) of another Person (the “Second Party”), or any Affiliate or
Related Fund of the Second Party (other than the First Party), do not gain access to, or are not
furnished with, confidential information of, or competitively sensitive information relating to,
Holdings and its Subsidiaries that is in the possession of the First Party.


1
    NTD: Appropriate definition to be added.

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        “Excepted Transaction” means (a) any transaction or agreement entered into,
consummated or effected on the Effective Date (including the Management Consulting
Agreement) and (b) any transaction expressly permitted or required by this Agreement, including
(i) any Distributions pursuant to Article 13 or Article 15, and (ii) issuances of Additional
Securities in accordance with Section 9.6.

       “Exchange Act” means the Securities Exchange Act of 1934, as amended.

        “Fair Market Value” means, with respect to any property or asset, the amount at which a
willing buyer would pay to a willing seller for such property or asset in an arms’ length transaction,
where neither party is under any compulsion to buy or sell, and both such parties are ready, willing
and able to engage in such transaction and well informed about such property or asset. Subject to
Section 9.3, the Fair Market Value shall be determined by the Board in its reasonable discretion.

       “Family Member” means, with respect to any individual, (a) any Related Person of such
individual or (b) any trust, limited partnership, limited liability company or other Entity, the sole
owners or beneficiaries of which are such individual and/or one or more of such individual’s
Related Persons.

        “Fiscal Quarter” means each calendar quarter ending March 31, June 30, September 30
and December 31, or such other quarterly accounting period as may be established by the Board
or as required by the Code.

       “FMV Sale Process” means a commercially reasonable sale process run by an Independent
Financial Advisor.

       “GAAP” means generally accepted accounting principles in effect in the United States
from time to time consistently applied.

        “Goldman Members” means, collectively, (a) ORG GC Midco, so long as ORG GC
Midco owns or holds Units, and (b) any Affiliates of ORG GC Midco that own or hold Units,
including Special Situations Investing Group II, LLC, so long as any such Affiliate remains an
Affiliate of ORG GC Midco. Any consent, approval, decision (including any decision as to
whether a Person, action or thing is acceptable), determination, designation, identification,
direction, specification, request, removal, instruction or other action to be provided, granted, given,
made, performed, rendered or otherwise taken by the Goldman Members pursuant to this
Agreement at any time shall be provided, granted, given, made, performed, rendered or otherwise
taken by the Goldman Members that own or hold a majority of the Series A Preferred Units, Series
B Preferred Units or Class A Common Units, in each case as the context requires, owned or held
by all of the Goldman Members at such time. For the avoidance of doubt, a Person that does not
own or hold Units as of any time of determination shall not constitute a Goldman Member as of
such time.

        “Governmental Authority” means any nation or government, any state or other political
subdivision thereof, any entity, authority or body exercising executive, legislative, judicial,
regulatory or administrative functions of or pertaining to government, including any government
authority, agency, department, board, body, commission or instrumentality of the United States or


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any other nation, or any state or other political subdivision thereof, any court, tribunal or arbitrator
and any self-regulatory organization.

      “Gross Asset Value” means, with respect to any asset, the asset’s adjusted basis for federal
income tax purposes, except as follows:

             (a)     the initial Gross Asset Value of any asset contributed by a Member to the
        Company shall be the gross Fair Market Value of such asset;

                (b)     the Gross Asset Values of all Company assets shall be adjusted to equal
        their respective gross Fair Market Values as of the following times: (i) the acquisition of
        an interest (or additional interest) in the Company by any new or existing Member in
        exchange for more than a de minimis Capital Contribution to the Company or in exchange
        for the performance of more than a de minimis amount of services to or for the benefit of
        the Company; (ii) the distribution by the Company to a Member of more than a de minimis
        amount of Company assets as consideration for an interest in the Company; (iii) the
        liquidation of the Company within the meaning of Treasury Regulations Section 1.704-
        1(b)(2)(ii)(g)(1), (iv) the acquisition of an interest in the Company by any new or existing
        Member upon the exercise of a noncompensatory option in accordance with Treasury
        Regulations Section 1.704-1(b)(2)(iv)(s); or (v) any other event to the extent determined
        by the Board to be permitted and necessary or appropriate to properly reflect Gross Asset
        Values in accordance with the standards set forth in Treasury Regulations Section 1.704-
        1(b)(2)(iv)(q); provided, however, that adjustments pursuant to clauses (i), (ii) and (iv)
        above shall be made only if the Board reasonably determines that such adjustments are
        necessary or appropriate to reflect the relative economic interests of the Members in the
        Company;

                (c)    the Gross Asset Value of any Company asset distributed to a Member shall
        be the gross Fair Market Value of such asset on the date of distribution;

                (d)     the Gross Asset Values of Company assets shall be increased (or decreased)
        to reflect any adjustments to the adjusted basis of such assets pursuant to Code Section
        734(b) (including any such adjustments pursuant to Treasury Regulation Section 1.734-
        2(b)(1)), but only to the extent that such adjustments are taken into account in determining
        Capital Accounts pursuant to Treasury Regulations Section 1.704-1(b)(2)(iv)(m) and
        clause (f) of the definition of Profit and Loss or Section 12.2(g); provided, however, that
        Gross Asset Values shall not be adjusted pursuant to this paragraph (d) to the extent the
        adjustment pursuant to paragraph (b) hereof is made in connection with the transaction that
        would otherwise result in an adjustment pursuant to this paragraph (d); and

                (e)    if the Gross Asset Value of an asset has been determined or adjusted
        pursuant to paragraphs (a), (b), or (d), such Gross Asset Value shall thereafter be adjusted
        by the Depreciation taken into account with respect to such asset for purposes of computing
        Profits and Losses.

      “Independent Financial Advisor” means any financial advisor that is not an Affiliate of
any Member or the Company that is acceptable to the BSP Members and the Goldman Members.

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       “Independent Manager” means any Manager who is neither (a) an employee of the
Company or any of its Subsidiaries, nor (b) an employee of any of the Members or any Affiliate
of any Member.

            “Initial Drag-Along Date” means [•].2

     “Initial Member Group” means either (a) the Goldman Members, or (b) the BSP
Members, in each case as the context requires.

        “Insolvency Event” means (a) the commencement by the Company or any of its
Subsidiaries of any case, proceeding or other action (i) under any existing or future law of any
jurisdiction, domestic or foreign, relating to bankruptcy, insolvency, reorganization,
conservatorship or relief of debtors, seeking to have an order for relief entered with respect to it,
or seeking to adjudicate it a bankrupt or insolvent entity, or seeking reorganization, arrangement,
adjustment, winding-up, liquidation, dissolution, composition or other relief with respect to it or
its indebtedness or assets, or (ii) seeking appointment of a receiver, trustee, custodian, conservator
or other similar official for it or for all or any substantial part of its assets; (b) there being
commenced against the Company or any of its Subsidiaries any case, proceeding or other action
of a nature referred to in clause (a) above; (c) the Company or any of its Subsidiaries shall be
generally unable to, or shall admit in writing its general inability to, pay its debts or obligations
when due; (d) the Company or any of its Subsidiaries makes a general assignment for the benefit
of its creditors or any other marshalling of assets and liabilities of the Company or any of its
Subsidiaries; or (e) any liquidation, dissolution or winding up of the Company or any of its
Subsidiaries, whether voluntary or involuntary and whether or not involving insolvency or
bankruptcy.

        “Interest” means all or any part of a Member’s equity, ownership, profit or other right,
title and interest in the Company in such Member’s capacity as a Member, including all of such
Member’s rights in Profits, Losses and Distributions and all of such Member’s rights under this
Agreement.

            “Investment Company Act” means the Investment Company Act of 1940, as amended.

        “IPO” means the first underwritten public offering of the common equity securities of the
Company (or any successor or Subsidiary of the Company) following the Effective Date pursuant
to an effective registration statement under the Securities Act filed with the SEC.

         “Lien” means any lien, encumbrance, claim, right, demand, charge, mortgage, deed of
trust, option, pledge, security interest or similar interest, title defect, hypothecation, easement, right
of way, restrictive covenant, encroachment, right of first refusal, preemptive right, judgment,
conditional sale or other title retention agreement and all other impositions, imperfections, defects,
limitations or restrictions of any nature or kind whatsoever.




2
    NTD: This should be the date that is 18 months after the Effective Date.


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       “Liquidation Event” means the consummation, effectiveness or occurrence of any of the
following: (a) a Sale Transaction, (b) an IPO, or (c) an Insolvency Event.

       “Management Consulting Agreement” means that certain management consulting
agreement entered into as of the Effective Date (as amended, restated, amended and restated,
supplemented or otherwise modified from time to time) between the Company and [BSP Entity].

        “Management Holder” means (a) members of the Board or any of the Subsidiary
Governing Bodies and (b) employees of or consultants to the Company or any of its Subsidiaries,
in any such case who are selected by the Board (or any applicable committee thereof) to participate
in any Management Incentive Plan.

       “Management Incentive Plan” means any management incentive plan established by the
Board to provide incentives to Management Holders in the form of equity or equity-based awards
determined by the Board, as may be amended, supplemented, amended and restated or otherwise
modified from time to time.

       “Manager” means a manager serving on the Board at any given time.

       “Manager Consent Right” means the right of a Qualified Preferred Holder Group to
consent to the appointment of one (1) or more Independent Managers pursuant to Section 6.2(b).

       “Material Adverse Effect” means (a) any event, change, effect, occurrence, development,
circumstance, condition, result, state of fact or change of fact, or the worsening of any of the
foregoing (each, an “Event”) with respect to a significant portion of the industry or business
segment in which the Company operates or relies upon if such Event has or is reasonably likely to
have a material adverse effect on the Company and its Subsidiaries taken as a whole, (b) any
material adverse Event with respect to the United States or global financial, banking or capital
markets generally or (c) any epidemic, pandemic, disease, outbreak, public health crisis or act of
God or natural disaster or man-made disaster or combination of any of the foregoing, in each case,
that has or is reasonably likely to have a material adverse effect on the Company and its
Subsidiaries taken as a whole.

       “Material Contract” means any material agreement, contract or instrument pursuant to
which the Company, its properties or assets are bound or to which they may be subject that
involves, on an annual basis, payments to or by the Company in excess of $[].

        “Member Group” means either (a) the Goldman Members, (b) the BSP Members or (c) a
Preferred Holder Group, in each case as the context requires.

       “Member Nonrecourse Debt” means “partner nonrecourse debt” as set forth in Treasury
Regulations Section 1.704-2(b)(4).

       “Member Nonrecourse Debt Minimum Gain” means an amount, with respect to each
Member Nonrecourse Debt, equal to the Company Minimum Gain that would result if such
Member Nonrecourse Debt were treated as a Nonrecourse Liability, determined in accordance
with Treasury Regulations Sections 1.704-2(i)(2) and (3).


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       “Member Nonrecourse Deductions” means “partner nonrecourse deductions” as set forth
in Treasury Regulations Sections 1.704-2(i)(1) and (2).

        “Minimum Purchase Price” means an amount equal to the sum of (a) the aggregate
principal amount of outstanding Prepetition Term Loans as of the Petition Date, (b) the aggregate
principal amount of outstanding DIP Obligations immediately prior to the Effective Date, and
(c) the aggregate principal amount of new capital or other amounts advanced or funded by the
Goldman Members, the BSP Members and/or any of their respective Affiliates (or any of their
successors and assigns under the Prepetition Term Loans) to the Company or any of its
Subsidiaries after the Effective Date.

       “New Credit Documents” means the loan documents governing the New First Lien Term
Loans and the New Second Lien Term Loans.

       “New First Lien Term Loans” means [].

       “New Second Lien Term Loans” means [].

       “Nonrecourse Deductions” has the meaning set forth in Treasury Regulations Sections
1.704-2(b)(1) and 1.704-2(c).

        “Nonrecourse Liability” has the meaning set forth in Treasury Regulations Section 1.704-
2(b)(3).

       “ORG GC Midco” means ORG GC Midco, LLC, a Delaware limited liability company.

       “Permitted Liens” means Liens that are imposed (a) by this Agreement or (b) under
applicable securities laws.

       “Person” means an individual, an Entity, or a Governmental Authority.

       “Personal Representative” means the legal representative (including a guardian,
executor, administrator or conservator) of a deceased or incompetent Member that is an individual.

       “Petition Date” means [], 2021.

       “Plan of Reorganization” means [●].

        “Preferred Holder Group” means, collectively, (a) a holder of Series B Preferred Units
and (b) any Affiliates of such holder that own or hold Series B Preferred Units, so long as any such
Affiliate remains an Affiliate of such holder. Any consent, approval, decision (including any
decision as to whether a Person, action or thing is acceptable), determination, designation,
identification, direction, specification, request, removal, instruction or other action to be provided,
granted, given, made, performed, rendered or otherwise taken by the Preferred Holder Group
pursuant to this Agreement at any time shall be provided, granted, given, made, performed,
rendered or otherwise taken by the members of such Preferred Holder Group that own or hold a
majority of the Series B Preferred Units owned or held by all of the members of such Preferred
Holder Group at such time.

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        “Preferred Units” means, collectively, the Series A Preferred Units and the Series B
Preferred Units.

        “Prepetition Term Loans” means the term loans outstanding under that certain Financing
Agreement, dated July 31, 2017, by and among ORG GC Midco and certain of its affiliates, as
borrowers, each of the guarantors party thereto, BSP Agency, LLC, as administrative agent and
collateral agent thereunder, and the lenders party thereto from time to time, as amended, restated,
amended and restated, supplemented or otherwise modified from time to time.

        “Profits” and “Losses” means, for each Allocation Year, an amount equal to the
Company’s taxable income or loss for such Allocation Year, determined in accordance with Code
Section 703(a) (for this purpose, all items of income, gain, loss, or deduction required to be stated
separately pursuant to Code Section 703(a)(1) shall be included in taxable income or loss), with
the following adjustments (without duplication):

               (a)    any income of the Company that is exempt from federal income tax and not
       otherwise taken into account in computing Profits or Losses pursuant to this definition of
       “Profits” and “Losses” shall be added to such taxable income or loss;

               (b)    any expenditures of the Company described in Code Section 705(a)(2)(B)
       or treated as Code Section 705(a)(2)(B) expenditures pursuant to Treasury Regulations
       Section 1.704-1(b)(2)(iv)(i), and not otherwise taken into account in computing Profits or
       Losses pursuant to this definition of “Profits” and “Losses,” shall be subtracted from such
       taxable income or loss;

              (c)     in the event the Gross Asset Value of any Company asset is adjusted
       pursuant to paragraph (b) or paragraph (c) in the definition of “Gross Asset Value,” the
       amount of such adjustment shall be taken into account as gain or loss from the disposition
       of such Company asset for purposes of computing Profits or Losses;

              (d)    gain or loss resulting from any disposition of Company property with
       respect to which gain or loss is recognized for federal income tax purposes shall be
       computed by reference to the Gross Asset Value of the property disposed of,
       notwithstanding that the adjusted tax basis of such property differs from its Gross Asset
       Value;

               (e)   in lieu of the depreciation, amortization and other cost recovery deductions
       taken into account in computing such taxable income or loss, there shall be taken into
       account Depreciation for such Allocation Year, computed in accordance with the definition
       thereof;

               (f)      to the extent an adjustment to the adjusted tax basis of any Company asset
       pursuant to Code Section 734(b) is required pursuant to Treasury Regulations Section
       1.704-1(b)(2)(iv)(m)(4) to be taken into account in determining Capital Accounts as a
       result of a distribution other than in liquidation of a Member’s Units, the amount of such
       adjustment shall be treated as an item of gain (if the adjustment increases the basis of the
       asset) or loss (if the adjustment decreases the basis of the asset) from the disposition of the
       asset and shall be taken into account for purposes of computing Profits and Losses; and
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                (g)    notwithstanding any other provision of this definition of “Profits” and
        “Losses,” any items that are specially allocated under this Agreement shall not be taken
        into account in computing Profits or Losses.

        “Purchase Price” means the total consideration received on the closing date of the Sale
Transaction by the Company and the Members on account of their interests in the Company or
assets of the Company. In no event shall the Purchase Price include (i) any consideration received
by a Member that is not directly attributable to its Units or assets of the Company, including, but
not limited to, payments made by the counterparty to a Sale Transaction in respect of agreements
not to compete or other restrictive arrangements or (ii) any consideration payable to the Company
or the Members after the closing date of a Sale Transaction as consideration for the limited liability
company interests or assets of the Company that is either (A) placed in escrow or otherwise held
back to support indemnification obligations, purchase price adjustments, or other similar
obligations, (B) contingent consideration to be paid in the future (including, without limitation,
any installment payments, milestone payments and “earn-outs”), or (C) set aside in a separate
account for use by a representative of the Company or the Members to manage, address, monitor
or otherwise deal with post-closing matters relating to such Sale Transaction. The Purchase Price
shall be determined by the Board in its reasonable discretion and any determination of Purchase
Price by the Board shall be solely for purposes of determining whether the requirements of
Section 9.3 are satisfied and is not intended to be reflective of value for any other purpose.

        “Qualified Preferred Holder Group” means, as of any time of determination, any
Preferred Holder Group which holds at least the Threshold Amount of Series B Preferred Units.
For the avoidance of doubt, as of the Effective Date, each of (a) the BSP Members and (b) the
Goldman Members constitute a Qualified Preferred Holder Group.

        “Qualified Public Offering” means the first underwritten public offering pursuant to an
effective registration statement covering a sale of the Company’s (or any successor’s or any
Subsidiary of the Company’s) common equity to the public that results in (a) such common equity
being listed on a national securities exchange or quoted on the Nasdaq Stock Market, and (b) at
least one-third (1/3) of the issued and outstanding shares or units of such common equity
(calculated on a fully diluted basis, and for purposes of such calculation treating such common
equity that is issued in the public offering as issued and outstanding shares or units of such common
equity) being issued or sold to the public in connection with such public offering.

        “Redemption Date” means a Mandatory Redemption Date or an Optional Redemption
Date.

       “Regulations” or “Treasury Regulations” means the income tax regulations promulgated
under the Code as such regulations may be amended from time to time (including Temporary
Regulations).

         “Related Fund” means, with respect to any Person, any fund, account or investment
vehicle that is controlled, advised or managed by (a) such Person, (b) an Affiliate of such Person
or (c) the same investment manager, advisor or subadvisor that controls, advises or manages such
Person or an Affiliate of such investment manager, advisor or subadvisor.


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       “Related Person” means, with respect to any individual, any of such individual’s parents,
spouse, siblings, children and grandchildren.

        “Requisite Members” means, at any time of determination, Members that own or hold at
least 50% of the issued and outstanding Class A Common Units of the Company at such time.

        “Sale Transaction” means the sale, lease, transfer, issuance or other disposition, in one
transaction or a series of related transactions, of (a) all or substantially all of the consolidated assets
of the Company and its Subsidiaries (including by or through the issuance, sale, contribution,
transfer or other disposition (including by way of reorganization, merger, share or unit exchange,
consolidation or other business combination) of at least a majority of the aggregate voting power
of the Voting Securities of any direct and/or indirect Subsidiary or Subsidiaries of the Company if
substantially all of the consolidated assets of the Company and its Subsidiaries are held by such
Subsidiary or Subsidiaries) or (b) at least a majority of the then-issued and outstanding Class A
Common Units (whether directly or indirectly or by way of any merger, share or unit exchange,
recapitalization, sale or contribution of equity, tender offer, reclassification, consolidation or other
business combination transaction or purchase of beneficial ownership).

        “SEC” means the United States Securities and Exchange Commission.

        “Securities Act” means the Securities Act of 1933, as amended.

        “Selling Member” means, as of any time of determination, an Initial Member Group which
(a) holds at least the Threshold Amount of Series B Preferred Units as of such time, and
(b) delivers a Drag-Along Notice pursuant to Section 9.3.

      “Series A Preference Amount” means, with respect to each Series A Preferred Unit,
$100.00, subject to appropriate proportionate adjustment in the event of any distribution, split,
combination or other similar adjustment in the number of Series A Preferred Units.

        “Series A Preferred Return” means, with respect to each Series A Preferred Unit, an
amount accruing on such Series A Preferred Unit on a daily basis during each Fiscal Quarter at the
rate of 20.00% per annum (or, during a Specified Period, at the Series A Specified Rate) and
compounded quarterly on the sum of (a) the Unpaid Series A Preference Amount of such Series A
Preferred Unit and (b) the Unpaid Series A Preferred Return on such Series A Preferred Unit at
the commencement of such Fiscal Quarter. In calculating the Series A Preferred Return with
respect to any Series A Preferred Unit for purposes of Distributions, the Series A Preferred Return
shall include amounts accrued through the date of such Distribution. Series A Preferred Return
shall be calculated on the basis of a 365/366-day year based on the actual number of days elapsed.
For the avoidance of doubt, the Series A Preferred Return on a Series A Preferred Unit will accrue
from and including the Effective Date to and including the date on which the Series A Preference
Amount on such Series A Preferred Unit has been reduced to zero dollars ($0.00), whether or not
such Series A Preferred Return shall have been declared and whether or not there are profits,
surplus or other funds of the Company legally available for the payment of such Series A Preferred
Return.

     “Series A Redemption Price” means with respect to any Series A Preferred Unit as of any
Redemption Date, the sum of (a) an amount equal to the Unpaid Series A Preferred Return on such
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Series A Preferred Unit as of such Redemption Date and (b) an amount equal to the Unpaid Series
A Preference Amount of such Series A Preferred Unit as of such Redemption Date.

       “Series A Specified Rate” means, during any Specified Period, a rate equal to twenty-two
percent (22.0%) per annum.

      “Series B Preference Amount” means, with respect to each Series B Preferred Unit,
$100.00, subject to appropriate proportionate adjustment in the event of any distribution, split,
combination or other similar adjustment in the number of Series B Preferred Units.

        “Series B Preferred Return” means, with respect to each Series B Preferred Unit, an
amount accruing on such Series B Preferred Unit on a daily basis during each Fiscal Quarter at the
rate of 15.00% per annum (or, during a Specified Period, at the Series B Specified Rate) and
compounded quarterly on the sum of (a) the Unpaid Series B Preference Amount (ignoring, for
purposes of this definition, clause (y) of the definition of “Unpaid Series B Preference Amount”)
of such Series B Preferred Unit and (b) the Unpaid Series B Preferred Return on such Series B
Preferred Unit at the commencement of such Fiscal Quarter. In calculating the Series B Preferred
Return with respect to any Series B Preferred Unit for purposes of Distributions, the Series B
Preferred Return shall include amounts accrued through the date of such Distribution. Series B
Preferred Return shall be calculated on the basis of a 365/366-day year based on the actual number
of days elapsed. For the avoidance of doubt, the Series B Preferred Return on a Series B Preferred
Unit will accrue from and including the Effective Date to and including the date on which the
Unpaid Series B Preference Amount (ignoring, for purposes of this definition, clause (y) of the
definition of Unpaid Series B Preference Amount) on such Series B Preferred Unit has been
reduced to zero dollars ($0.00), whether or not such Series B Preferred Return shall have been
declared and whether or not there are profits, surplus or other funds of the Company legally
available for the payment of such Series B Preferred Return.

        “Series B Redemption Price” means with respect to any Series B Preferred Unit as of any
Redemption Date, the greater of (x) the sum of (a) an amount equal to the Unpaid Series B
Preferred Return on such Series B Preferred Unit as of such Redemption Date and (b) an amount
equal to the Unpaid Series B Preference Amount (ignoring, for purposes of this clause (x) of this
definition, clause (y) of the definition of “Unpaid Series B Preference Amount”) of such Series B
Preferred Unit as of such Redemption Date and (y) an amount equal to the Unpaid Series B
Preference Amount (ignoring, for purposes of this clause (y) of this definition, clause (x) of the
definition of “Unpaid Series B Preference Amount”) of such Series B Preferred Unit as of such
Redemption Date.

       “Series B Specified Rate” means, during any Specified Period, a rate equal to seventeen
percent (17.0%) per annum.

       “Specified Breach” means the breach of any Preferred Unit Consent Right that is either
not capable of cure or, if capable of cure, remains uncured for a period of thirty (30) days.

        “Specified Manager” means any Manager that is an employee of any Member or any
Affiliate of a Member (other than the Company or any of its Subsidiaries).


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       “Specified Material Breach” means the breach of any of the Preferred Unit Consent
Rights set forth in Sections 5.10(a)(i), (ii), (v), (vi), (vii), (viii), (ix), (xiii), or (xvi) that is either
not capable of cure or, if capable of cure, remains uncured for a period of thirty (30) days.

       “Specified Period” means, as the case may be, the period (a) beginning on the day of the
occurrence of a Specified Breach and (b) ending on the day on which such Specified Breach has
been cured in full.

            “Subsequent Drag-Along Date” means [].3

        “Subsidiary” means, as of any time of determination and with respect to any specified
Person, any limited liability company, partnership, limited partnership, joint venture, association,
or other Entity (a) more than a majority of the aggregate voting power of the Voting Securities of
which is, as of such time, directly or indirectly owned by such Person, or (b) in which such Person,
directly or indirectly, owns more than fifty percent (50.0%) of the equity economic interest thereof.

        “Subsidiary Governing Body” means the board of directors, the board of managers or
other governing body (including any committee of any such governing body) of each Subsidiary
of the Company.

      “Third Party” means, with respect to any Member, any Person who is not an Affiliate of
such Member.

        “Threshold Amount” means, at any time of measurement with respect to any Member
Group (or any assignee, purchaser or other transferee referred to in Section 5.10(b)) and the Series
A Preferred Units or the Series B Preferred Units, as applicable, fifty percent (50%) of the number
of Series A Preferred Units or the Series B Preferred Units, as applicable, held by the Goldman
Members as of the Effective Date, subject to appropriate proportionate adjustment in the event of
any distribution, split, combination or other similar adjustment in the number of Series A Preferred
Units or Series B Preferred Units, as applicable.

        “Transfer” means any direct or indirect sale, transfer, gift, hypothecation, pledge,
assignment, devise or other disposition of Units (including (x) a disposition under judicial order,
legal process, execution, attachment, foreclosure or enforcement of a Lien and (y) the granting of
any option or entering into any agreement for the future sale, transfer or other disposition of Units),
whether voluntary or involuntary, whether of record, constructively or beneficially, whether with
or without consideration, and whether by operation of law or otherwise, including by
recapitalization, merger, consolidation, division, liquidation, dissolution, dividend, distribution or
otherwise. Notwithstanding the foregoing, any transaction in which a Member lends or borrows
any Units to or from brokers, banks, or other financial institutions for the purpose of effecting
margin transactions, or pledges or otherwise encumbers Units in connection with such Member’s
financing arrangements, in any case in the ordinary course of business, shall not, in and of itself,
constitute a Transfer of Units for purposes of this Agreement; provided, however, that any
foreclosure (including the retention of Units in satisfaction of any obligations) on Units by any
such broker, bank or other financial institution shall be deemed a Transfer of Units for purposes

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    NTD: This should be the date that is 4 years after the Effective Date.


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of this Agreement. The terms “Transferee,” “Transferring,” “Transferor,” “Transferred,” and
other forms of the word “Transfer” shall have the correlative meanings.

        “Unpaid Series A Preference Amount” means, with respect to any Series A Preferred
Unit as of any time of determination, an amount equal to the excess, if any, of (a) the Series A
Preference Amount, over (b) the aggregate amount of Distributions made by the Company with
respect to such Series A Preferred Unit pursuant to Section 13.2(b) prior to such time.

        “Unpaid Series A Preferred Return” means, with respect to any Series A Preferred Unit
as of any time of determination, an amount equal to the excess, if any, of (a) the aggregate Series
A Preferred Return accrued on such Series A Preferred Unit through such time, over (b) the
aggregate amount of Distributions made by the Company with respect to such Series A Preferred
Unit pursuant to Section 13.2(a) prior to such time.

        “Unpaid Series B Preference Amount” means, with respect to any Series B Preferred
Unit as of any time of determination, an amount equal to the excess, if any, of the greater of (x)
(a) the Series B Preference Amount, over (b) the aggregate amount of Distributions made by the
Company with respect to such Series B Preferred Unit pursuant to Section 13.2(d) prior to such
time, and (y)(a) 175% of the Series B Preference Amount over (b) the aggregate amount of
Distributions made by the Company with respect to such Series B Preferred Unit pursuant to
Section 13.2(c) and Section 13.2(d) prior to such time.

        “Unpaid Series B Preferred Return” means, with respect to any Series B Preferred Unit
as of any time of determination, an amount equal to the excess, if any, of (a) the aggregate Series
B Preferred Return accrued on such Series B Preferred Unit through such time, over (b) the
aggregate amount of Distributions made by the Company with respect to such Series B Preferred
Unit pursuant to Section 13.2(c) prior to such time.

        “Voting Securities” means, with respect to any Person, the Equity Interests of such Person,
the holders of which are ordinarily, in the absence of contingencies, entitled to vote for the election
of managers or directors (or persons performing similar functions) of such Person.

        Additional Definitions. The following terms have the meanings set forth in the Sections
set forth below:

                      Defined Term                                        Location
        “Act”                                           Recitals
        “Additional Securities”                         9.6(a)
        “Agreement”                                     Preamble
        “Assistant Secretaries”                         7.9
        “Assistant Treasurers”                          7.9
        “BB Act”                                        10.5(a)
        “Board”                                         6.1(a)
        “BSP Board Observer”                            6.2(f)
        “Certificate of Formation”                      Recitals
        “Chief Executive Officer”                       7.4
        “Chief Financial Officer”                       7.5

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               Defined Term                                Location
 “Class A Common Units”                    5.1
 “Company”                                 Preamble
 “Company Income Amount”                   13.1(b)
 “Company Representative”                  10.5(a)
 “Confidential Information”                20.1
 “Confidentiality Period”                  20.1
 “control”                                 Definition of “Affiliate”
 “Conversion Units”                        9.1(a)(ii)
 “Corporate Conversion”                    21.2
 “Damages”                                 8.2(a)
 “DIP Credit Agreement”                    Definition of “DIP Obligations”
 “Dissolution Event”                       15.2
 “Drag-Along Notice”                       9.3(a)
 “Drag-Along Requirements”                 9.3(a)
 “Drag-Along Transaction Documents”        9.3(b)(iv)
 “Dragged Members”                         9.3(a)
 “e-mail”                                  19.5
 “Effective Date”                          2.1
 “Event”                                   Definition of “Material Adverse Effect”
 “FCPA”                                    19.15
 “Fiscal Year”                             10.1
 “flow-through entity”                     18.1(g)
 “Goldman Board Observer”                  6.2(f)
 “Goldman Entity”                          21.5
 “Goldman Underwriter Registration         21.5
 Statement”
 “GS”                                      19.14(a)
 “Identified Person”                       8.5(a)
 “Interested Investor”                     Definition of “Affiliate Transaction”
 “Investment Documents”                    9.3(b)(v)
 “Joinder Agreement”                       Preamble
 “Mandatory Redemption Date”               5.11(a)(ii)
 “Mandatory Redemption Right”              5.11(a)(i)
 “Member”                                  Preamble
 “Opportunity”                             8.5(a)
 “Pre-Emergence Tax Period”                10.9(a)
 “Preemptive Members”                      9.6
 “Preemptive Rights Notice”                9.6(a)
 “Preferred Unit Consent Rights”           5.10(a)
 “Principal Office”                        2.4
 “Pro Rata Portion”                        9.6(a)
 “Proceeding”                              8.2(a)
 “Redemption Prohibition”                  5.11(a)(iii)
 “Redemption Response Notice”              5.11(a)(iii)
 “Regulatory Allocations”                  12.3

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                      Defined Term                                     Location
        “Related Companies”                           8.5(c)
        “Reorganized Issuer”                          21.2
        “Representatives”                             20.2(a)(i)
        “ROFO Acceptance Notice”                      9.9(b)
        “ROFO Acceptance Period”                      9.9(b)
        “ROFO Notice Period”                          9.9(b)
        “ROFO Offer”                                  9.9(b)
        “ROFO Units”                                  9.9(b)
        “Secretary”                                   7.7
        “Section 13(r)”                               19.14(a)
        “Series A Note”                               5.8(a)
        “Series A Preferred Units”                    5.1
        “Series B Note”                               5.9(a)
        “Series B Preferred Units”                    5.1
        “Specified Insurance”                         8.7
        “Surviving Entity”                            9.3(b)(v)
        “Tax Distribution”                            13.1(a)
        “Taxing Authority”                            13.5
        “Tax Proceeding”                              10.9(a)
        “Third Party Purchaser”                       Definition of “Drag-Along Transaction”
        “Transfer Notice”                             9.1(c)
        “Treasurer”                                   7.8
        “Units”                                       5.1
        “Vice Presidents”                             7.6

      1.2     Rules of Construction. Unless otherwise expressly provided, for purposes of this
Agreement, the following rules of interpretation shall apply:

               (a)     All references in this Agreement to Articles, Sections, clauses, Schedules
       and Exhibits shall be deemed to refer to Articles, Sections, clauses, Schedules and Exhibits
       to, or contained in, this Agreement.

               (b)    All Exhibits and Schedules annexed hereto or referred to herein are hereby
       incorporated in and made a part of this Agreement as if set forth in full herein. Any
       capitalized terms used in any Schedule or Exhibit but not otherwise defined therein shall
       be defined as set forth in this Agreement.

             (c)     The words “include,” “includes” and “including,” when used herein shall
       be deemed in each case to be followed by the words “without limitation” (regardless of
       whether such words or similar words actually appear).

                (d)    When calculating the period of time before which, within which or
       following which any act is to be done or step taken pursuant to this Agreement, the date
       that is the reference date in calculating such period shall be excluded. If the last day of
       such period is not a Business Day, the period in question shall end on the next succeeding
       Business Day.

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               (e)     Any reference in this Agreement to “$” or “dollars” shall mean United
       States dollars.

              (f)    Any reference in this Agreement to gender shall include all genders, and
       words imparting the singular number only shall include the plural and vice versa.

              (g)     The words “herein,” “hereinafter,” “hereof” and “hereunder” refer to this
       Agreement as a whole and not merely to a subdivision in which such words appear unless
       the context otherwise requires.

                                            ARTICLE 2
                                            GENERAL

        2.1     Limited Liability Company Agreement. The Members agree that this Agreement
(a) constitutes the “limited liability company agreement” of the Company within the meaning of
Section 18-101(7) of the Act, (b) shall be effective as of the date hereof (the “Effective Date”)
and (c) shall govern the rights, duties and obligations of the Members, except as otherwise
expressly required by the Act.

       2.2    Name. The name of the Company shall be, and the business of the Company shall
be conducted under the name of, “[NEWCO, LLC]” or under such other name or names as the
Board may determine from time to time.

        2.3     Term. The term of the Company commenced on [•], 2021 and shall continue
perpetually until a certificate of cancellation with respect to the Certificate of Formation shall be
filed with the Secretary of State of the State of Delaware and become effective, and the Company
is dissolved in accordance with Article 15.

        2.4    Business Offices. The location of the principal place of business of the Company
shall be [6330 Gulfton Street, Houston, TX 77801] or such other place as the Board may from time
to time determine (the “Principal Office”). The Company may have one or more offices at such
place or places, either within or outside the State of Delaware, as the Board may from time to time
determine or as the business of the Company may require.

        2.5    Registered Office and Agent. The Company’s registered agent and registered
office in the State of Delaware is [Corporation Service Company], located at [251 Little Falls
Drive, in the City of Wilmington, County of New Castle, 19808]. At any time and from time to
time, the Board may change the Company’s registered agent and registered office in the State of
Delaware.

        2.6     Qualification in Other Jurisdictions. The Board shall cause the Company to be
qualified, formed or registered under assumed or fictitious name statutes or similar laws in any
jurisdiction in which the Company transacts business and in which such qualification, formation
or registration is required or as the Board determines to be desirable. Any officer or other
authorized person of the Company, each as duly authorized by the Board, shall execute, deliver
and file any certificates (and any amendments and/or restatements thereof) necessary for the
Company to qualify to do business in a jurisdiction in which the Company may wish to conduct
business.

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         2.7     No State-Law Partnership. The Members intend that the Company not be a
partnership (including a limited partnership) or joint venture, and that no Member be a partner or
joint venturer of any other Member by virtue of this Agreement (except for tax purposes as set
forth in the next sentence of this Section 2.7), and neither this Agreement nor any other document
entered into by the Company or any Member relating to the subject matter hereof shall be construed
to suggest otherwise. The Members intend that, to the extent an election described in the next
sentence is not made, the Company shall be treated as a partnership for United States federal and,
if applicable, state and local income tax purposes, and that each Member and the Company shall
file all tax returns and shall otherwise take all tax and financial reporting positions in a manner
consistent with such treatment, except as otherwise required by law. Without the prior written
consent of the Requisite Members, the Company shall not make an election to be treated as a
corporation for federal income tax purposes pursuant to Treasury Regulations Section 301.7701-3
(or any successor regulation or provision) or, to the extent applicable, state or local income tax
purposes.

                                       ARTICLE 3
                                 PURPOSE OF THE BUSINESS

        The purpose and character of the business of the Company shall be to undertake and carry
on any lawful business, purpose or activity for which limited liability companies may be formed
under the Act, and engaging in any and all activities necessary, advisable, convenient or incidental
thereto.

                                        ARTICLE 4
                                    MEMBERS; MEETINGS

        4.1    Members. The name of each Member, its address, contact information, Capital
Contributions, and class or series and number of Units held are listed on Schedule A attached
hereto. Notwithstanding the provisions of Article 16, Schedule A shall be amended from time to
time by the Company, without requiring the consent of any Member, to reflect the change in any
of the information contained therein (including the withdrawal of one or more Members, the
admission of one or more additional Members, additional Capital Contributions, forfeitures of
Units, Transfers and the issuance of additional Units) only to the extent that the actions resulting
in such changes were taken pursuant to, and in accordance with, the terms and conditions of this
Agreement, and that any consents of the Members to such actions required hereunder, if any, were
obtained. The Company will, upon written request of any Member, provide such Member with a
copy of such amended Schedule A. Any reference in this Agreement to Schedule A shall be
deemed to be a reference to Schedule A, as amended, supplemented or otherwise modified and in
effect from time to time.

       4.2     Substituted Members and Additional Members.

               (a)    In connection with a Transfer of Units that is permitted pursuant to, and is
       effected in compliance with, the applicable terms of this Agreement, the Transferee of the
       Units subject to such Transfer shall become a substitute Member, effective on the date of
       such Transfer (which effective date shall not be earlier than the date of compliance with or
       waiver of the conditions to such Transfer set forth herein), entitled to all of the rights,

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subject to Section 5.10 (to the extent applicable), and subject to all of the obligations and
restrictions, of the transferor Member to the extent of the Units so Transferred. Upon the
substitution of a transferee Member, Schedule A shall be amended by the Company to
reflect the substitution of such transferee Member. Any duly substituted Member shall be
considered a “Member” for all purposes of this Agreement and the Act. Notwithstanding
the requirement that substituted Members execute a Joinder Agreement pursuant to
Section 9.1(c), this Agreement shall bind all holders of Units, regardless of whether any
such holder executes this Agreement or a Joinder Agreement and by acceptance of Units
each holder agrees to be so bound.

        (b)     Subject to the provisions of this Agreement, the Board may, from time to
time in its sole discretion (and without the requirement of any consent or approval of any
Member), admit additional Persons as Members and issue to such Person’s Units on such
terms and conditions (including the Capital Contributions required, the series and class of
Units to be issued, the number of Units to be issued and, if applicable, the vesting schedule
of such Units and any forfeiture provisions applicable thereto) as the Board shall determine
in its sole discretion. The admission of an additional Member to the Company, and the
issuance to such Person by the Company of Units in connection with such admission as a
Member, shall be subject to the satisfaction of the following conditions: (i) such additional
Member shall have become a party to this Agreement by executing and delivering to the
Company a Joinder Agreement (duly completed) and such other written documentation as
the Board may require in connection with such admission and issuance, (ii) such issuance
of Units shall not require the Company to register any Units under the Exchange Act (as a
result of the number of holders of Units or otherwise), unless, at the time of such issuance,
the Company is already subject to the reporting obligations under Section 13 or Section
15(d) of the Exchange Act, (iii) the compliance with all applicable laws and regulations
(including securities laws) relating to such admission and issuance, (iv) such issuance of
Units shall not cause the Company to be treated as an association taxable as a corporation
or as a “publicly traded partnership” for federal income tax purposes and (v) such issuance
of Units shall not cause the Company to be required to register as an “investment company”
under the Investment Company Act. Upon the admission of a new Member, Schedule A
shall be amended by the Company to reflect the addition of such new Member. Any duly
admitted new Member shall be considered a “Member” for all purposes of this Agreement
and the Act. Notwithstanding the requirement that additional Members execute a Joinder
Agreement, this Agreement shall bind all holders of Units, regardless of whether any such
holder executes this Agreement or a Joinder Agreement, and by acceptance of Units each
holder agrees to be so bound.

4.3    Member Meetings.

        (a)    Meetings. Meetings of the Members may be called for any purpose at any
time by the Board or the Requisite Members (determined as of the time that such meeting
is called). Anything in this Agreement to the contrary notwithstanding, no regular, special
or other meetings of the Members are required to be held.

        (b)     Place of Meetings. Member meetings may be held (i) at any place within
or outside the State of Delaware designated by the Board or the Members calling any such

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meeting, and/or (ii) if the Board or the Members calling any such meeting so determine,
by means of remote communication in accordance with Section 4.3(k). In the absence of
any other designation by the Board or the Members calling any such meeting, Member
meetings shall be held at the Principal Office.

        (c)    Notice of Meetings. Not less than five (5) Business Days prior to any
Member meeting, notice of the place, if any, the purpose and the date and time of such
meeting shall be delivered by the Secretary to each Member entitled to vote at such meeting
in accordance with Section 19.5. Presence of a Member (in person, or by duly authorized
proxy) at a meeting shall constitute waiver of notice by such Member, except where a
Member (in person, or by duly authorized proxy) participates in the meeting for the express
purpose of objecting to the transaction of any business on the ground that the meeting is
not lawfully called or convened and does not at such meeting vote for or assent to action
taken at such meeting.

        (d)    Quorum. The holders of at least a majority of the aggregate voting power
of the then-issued and outstanding Units entitled to vote on a matter to be presented at a
Member meeting, either present in person or represented by proxy, shall constitute a
quorum with respect to action on such matter, and action may be taken with respect to any
matter presented at the meeting only if a quorum exists with respect to such matter.

        (e)     Voting. Every Member entitled to vote its Units on any matter to be
presented at a Member meeting shall be entitled, with respect to such matter, to one (1)
vote for each such Unit held of record by such Member on the record date designated for
such meeting. Whenever any action is to be taken with respect to any matter by vote of
the Members, such action shall be authorized by the affirmative vote of holders of at least
a majority of the aggregate voting power of the then-issued and outstanding Units entitled
to vote on such matter, unless the express provisions of this Agreement require a different
vote, in which case such express provisions shall govern and control.

        (f)     Adjournment. Notwithstanding any other provision of this Agreement, if a
quorum is not present at any Member meeting, such meeting may be adjourned by
announcement of the chairman of the meeting or by affirmative vote of the holders of a
majority of the voting power of the Units that are present in person or represented by proxy
at such meeting and are entitled to vote on one or more matters to be presented at such
meeting. Notice of an adjournment need not be given to the Members of the adjourned
meeting if the time and place thereof are announced at the meeting at which the
adjournment is taken. At the adjourned meeting, any business may be transacted which
might have been transacted at the original meeting. However, if the adjournment is for
more than thirty (30) days from the date of the original meeting, or if after the adjournment
a new record date is fixed for the adjourned meeting, a new notice of the adjourned meeting
shall be given in accordance with Section 4.3(c) to each Member of record entitled to vote
at such adjourned meeting.

        (g)   Record Date. Unless otherwise determined by the Board, the date on which
notice of a Member meeting is first sent shall be the record date for the determination of
Members entitled to notice of or to vote at such meeting (including any adjournment

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thereof). The record date for determining Members entitled to express consent to action in
writing without a meeting shall be the first date on which a signed written consent setting
forth the action taken or proposed to be taken is delivered to the Company.

        (h)     Proxies. Each Member may authorize another Person or Persons to act for
him, her or it by proxy by an instrument executed in writing and delivered to the Company
in accordance with Section 19.5 before or at the time of the meeting or execution of a
written consent, as the case may be. Should a proxy designate two or more Persons to act
as proxies, unless that instrument shall provide to the contrary, a majority of such Persons
present at any meeting at which their powers thereunder are to be exercised shall have and
may exercise all the powers of voting or giving consents thereby conferred, or if only one
such Person is present, then such powers may be exercised by that Person; or if an even
number of such Persons attend and a majority do not agree on any particular issue, the
Company shall not be required to recognize such proxy with respect to such issue if such
proxy does not specify how the Units that are the subject of such proxy are to be voted with
respect to such issue. The appointment of a proxy shall be effective for eleven (11) months
from the date of such appointment unless a different period is expressly specified in the
appointment form. A proxy may only be voted or acted upon by its holder in accordance
with written instructions of the Member granting such proxy. Except as otherwise limited
therein, proxies shall entitle the individuals authorized to vote at a meeting thereby to vote
at any adjournment of such meeting. A proxy purporting to be executed by or on behalf of
a Member shall be deemed valid unless challenged at or prior to its exercise and the burden
of proving invalidity shall rest on the challenger. Subject to the above, any proxy may be
revoked if an instrument revoking it or a proxy bearing a later date is delivered to the
Company in accordance with Section 19.5.

        (i)     Conduct of Member Meetings. The Chairman or, in the Chairman’s
absence, the Chief Executive Officer (or, in the Chief Executive Officer’s absence, any
Vice President) shall call meetings of the Members to order and act as chairman of such
meetings. In the absence of said officers, any Member entitled to vote at the meeting, or
any proxy of any such Member, may call the meeting to order and a chairman shall be
elected by the affirmative vote of holders of a majority of the voting power of the Units
present in person or represented by proxy and entitled to vote on any matter to be presented
at such meeting. The Secretary or any Assistant Secretary or any person appointed as
secretary of a meeting of the Members by the chairman at any meeting of the Members
may act as secretary of such meeting. The chairman of any Member meeting shall
determine the order of business and the procedure at such meeting, including such
regulation of the manner of voting and the conduct of discussion.

        (j)     Action by Written Consent. Notwithstanding anything contained in this
Agreement to the contrary, any action required or permitted by applicable law to be taken
at any Member meeting may be taken without a meeting, without prior notice and without
a vote, if a consent or consents in writing, setting forth the action so taken, shall be signed
by the Members that own or hold Units representing not less than the minimum voting
power that would be necessary to authorize or take such action at a meeting at which all
the Members entitled to vote thereon were present and voted and shall be delivered to the
Company in accordance with Section 19.5. An action by written consent of the Members

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       shall become effective as of the time the last written consent necessary to effect the
       contemplated action is received by the Company, unless all consents necessary to effect
       the contemplated action specify a later time, in which case the later time shall be the
       effective time of such action. Prompt notice (and in any event within ten (10) Business
       Days after receipt of the written consent by the Company) of the taking of Member action
       without a meeting by less than unanimous written consent shall be given by the Company
       to those Members who have not consented in writing and were entitled to vote on the
       matters that were the subject of such action.

               (k)    Meetings by Remote Communication. One or more, or all, Members may
       participate in any meeting of the Members through the use of any means of remote
       communication by which all persons participating can hear each other at the same time.
       Any Member participating in a meeting by any such means of remote communication is
       deemed to be present in person at such meeting, except as set forth in Section 4.3(c).

       4.4     Authority of the Members.

               (a)     Notwithstanding Section 18-402 of the Act, except as expressly authorized
       in writing by the Board or this Agreement (including Article 7 hereof), no Member, nor
       any officer, employee or agent of any Member, as such, shall have the authority or power
       to manage the Company or to act for the Company for any purpose, or to engage in any
       transaction, make any commitment, enter into any contract or incur any obligation or
       responsibility (whether as principal, surety or agent) on behalf of, or in the name of, the
       Company, or bind the Company, or hold itself out to any third party as acting for or on
       behalf of the Company, all such powers being vested in the Board. To the fullest extent
       permitted by applicable law, any attempted action in contravention of this Section 4.4 shall
       be null and void ab initio and not binding upon the Company. The Company shall not be
       responsible or liable for any indebtedness or obligation of any Member incurred or arising
       either before or, except as provided in Article 8, after the Effective Date.

               (b)      Except (i) for the Company Representative acting, subject to the terms
       hereof, in its capacity as such, (ii) pursuant to a duly authorized proxy in accordance with
       Section 4.3(h), and (iii) as set forth in Section 9.3, no Member shall have any authority to
       bind, to act for, to execute any document or instrument on behalf of or to assume any
       obligation or responsibility on behalf of, any other Member. No Member shall, by virtue
       of being a Member, be responsible or liable for any indebtedness or obligation of any other
       Member incurred or arising either before or after the Effective Date.

        4.5    Limitation on Liability. Except as otherwise provided by applicable law, the debts,
obligations and liabilities of the Company, whether arising under contract, tort or otherwise, shall
be solely the debts, obligations and liabilities of the Company, and no Covered Person shall be
obligated personally for any such debt, obligation or liability of the Company solely by reason of
being a Covered Person. The immediately preceding sentence shall constitute a compromise to
which all the Members have consented within the meaning of the Act. Notwithstanding anything
contained herein to the contrary, the failure of the Company to observe any formalities or
requirements relating to the exercise of its powers or management of its business and affairs under
this Agreement or the Act shall not be grounds for imposing personal liability on a Covered Person.

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                                          ARTICLE 5
                                     CAPITAL STRUCTURE

        5.1     Units. All of the issued and outstanding Interests shall be issued in unit increments
(each, a “Unit” and, collectively, the “Units”). The Units shall initially be divided into the
following: (a) Class A Voting Common Units (the “Class A Common Units”), (b) Series A
Preferred Units (the “Series A Preferred Units”) and (c) Series B Preferred Units (the “Series B
Preferred Units”). References herein to the Units shall apply to units or other interests of the
Company issued to Members in exchange for or in respect of the Units, including by unit split,
unit dividend, distribution, exercise of options or warrants or equivalent transactions, or otherwise,
whether by merger, consolidation or similar transaction (including shares or interests of a surviving
corporation or other entity or successor into which units or interests of the Company are
exchanged).

       5.2     Issuance of Units.

               (a)     On the Effective Date, the Company is authorized, empowered and directed
       to issue Units of the class or series, the amount, and to the applicable Members as set forth
       on Schedule A hereto. No other Units or Interests, or options, warrants or other securities
       that are convertible into, or exchangeable or exercisable for, Units or Interests shall be
       issued or outstanding on, or immediately after, the Effective Date.

               (b)     Subject to the provisions of this Agreement, the Board may from time to
       time cause the Company to issue and/or create and issue additional Units (of existing or
       new classes or series) or other equity or equity-based securities of the Company (including
       creating additional classes or series thereof having such powers, designations, preferences,
       rights and obligations as may be determined by the Board in its sole discretion, including
       powers, preferences, rights and obligations different from, senior or junior to or more or
       less favorable than existing classes or series of Units or other equity or equity-based
       securities of the Company). Such Units or other equity or equity-based securities may be
       issued for any amount and form of consideration as the Board may determine, including
       cash or other property, tangible or intangible, received or to be received by the Company
       or any of its Subsidiaries, or services rendered or to be rendered to the Company or any of
       its Subsidiaries. In connection with the foregoing, the Board shall have the power to make
       such amendments or modifications to this Agreement (including any amendment and
       restatement of this Agreement) in order to provide for such other additional Units or equity
       or equity-based securities, and such powers, designations, preferences, rights and
       obligations as the Board in its discretion deems necessary or appropriate to give effect to
       such authorization, creation and/or issuance (including amending this Agreement to
       incorporate the terms of such class or series of Units or other equity or equity-based
       securities of the Company, including economic and governance rights which may be
       different from, senior or junior to or more or less favorable than the other existing classes
       or series of Units or other equity or equity-based securities of the Company), all without
       further vote or action of the Members; provided, however, that if any such amendments or
       modifications would otherwise require any vote or consent pursuant to any of clauses (i)-
       (vii) of Section 16.1(a) (other than immaterial amendments or modifications), then such
       vote or consent shall be obtained as a condition to any such amendment or modification.

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        5.3      Certificated Units. If the Board so elects, the Units shall be certificated in such
form as the Board may from time to time determine. Such certificates shall be signed by any two
(2) authorized officers of the Company, and may, but need not, be sealed with the seal of the
Company; provided, however, that where any such certificate is signed or countersigned by a
transfer agent or registrar, the signatures of such officers of the Company may be in facsimile
form. In case any officer of the Company who shall have signed, or whose facsimile signature
shall have been placed on, any certificate evidencing Units shall cease for any reason to be such
officer before such certificate shall have been issued or delivered by the Company, such certificate
may nevertheless be issued and delivered by the Company as though the person who signed such
certificate, or whose facsimile signature shall have been placed thereon, had not ceased to be such
officer of the Company.

       5.4     Voting Rights.

               (a)     Except as otherwise provided by non-waivable provisions of applicable law
       or this Agreement and subject to Section 5.10, the holders of Class A Common Units (in
       their capacity as such) shall have the right to elect the Managers to serve on the Board and
       shall have full voting rights and powers to vote on all matters submitted to the Members
       for vote, consent or approval, and each holder of Class A Common Units shall be entitled
       to one (1) vote for each Class A Common Unit held of record by such holder on any matter
       submitted to the Members for approval.

               (b)     Except as otherwise provided by non-waivable provisions of applicable law
       or this Agreement, the holders of Series A Preferred Units (in their capacity as such) shall
       have no right to vote on any matter submitted to the Members for vote, consent or approval,
       and the Series A Preferred Units shall not be included in determining the number of Units
       voting or entitled to vote on matters for which the holders of Series A Preferred Units (in
       their capacity as such) shall have no right to vote (including for purposes of determining
       whether a quorum is present at any meeting of the Members or whether the requisite
       number of Member consents have been received for purposes of determining whether an
       action has been properly authorized by written consent of the Members with respect to such
       matters). With respect to any matter for which holders of Series A Preferred Units (in their
       capacity as such) are entitled to vote by non-waivable provisions of applicable law or this
       Agreement, the holders of Series A Preferred Units (in their capacity as such) shall vote as
       a separate class and not as a single class with holders of other Units entitled to vote on such
       matter.

               (c)     Except as otherwise provided by non-waivable provisions of applicable law
       or this Agreement, the holders of Series B Preferred Units (in their capacity as such) shall
       have no right to vote on any matter submitted to the Members for vote, consent or approval,
       and the Series B Preferred Units shall not be included in determining the number of Units
       voting or entitled to vote on matters for which the holders of Series B Preferred Units (in
       their capacity as such) shall have no right to vote (including for purposes of determining
       whether a quorum is present at any meeting of the Members or whether the requisite
       number of Member consents have been received for purposes of determining whether an
       action has been properly authorized by written consent of the Members with respect to such
       matters). With respect to any matter for which holders of Series B Preferred Units (in their

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       capacity as such) are entitled to vote by non-waivable provisions of applicable law or this
       Agreement, the holders of Series B Preferred Units (in their capacity as such) shall vote as
       a separate class and not as a single class with holders of other Units entitled to vote on such
       matter.

               (d)     Except as this Agreement expressly provides otherwise or as otherwise
       expressly provided by non-waivable provisions of applicable law, no holders of Units shall
       be entitled to any voting rights, and any action which would otherwise be subject to the
       vote or consent of Members under the Act may be taken by the Company by approval of
       the Board.

        5.5     Record. The Company shall keep and maintain a record of the name of each Person
holding Units, the class or series and number of Units held by each such Person, any Transfer
thereof and, in case any Unit is represented by a certificate and such certificate is cancelled, the
date of cancellation thereof. Unless otherwise determined by the Board, Schedule A shall serve
as such record. The Person in whose name Units are registered on Schedule A or such other record
as determined by the Board shall be deemed the owner thereof, and thus a holder of record of such
Units, for all purposes as regards the Company.

        5.6    No Appraisal Rights. The Members agree that no appraisal rights, dissenter’s rights
or other similar rights shall be available with respect to the Units, and waive all such rights in
connection with any amendment of this Agreement or the Certificate of Formation, any merger or
consolidation in which the Company is a constituent party, any conversion of the Company to
another business form, any division of the Company into two or more other Entities, any transfer
to or domestication in any jurisdiction by the Company, the sale of all or substantially all of the
Company’s assets or otherwise.

        5.7     Lost, Destroyed or Mutilated Certificates. Upon receipt of evidence reasonably
satisfactory to the Company (an affidavit of the registered holder in customary form will be
satisfactory) of the ownership and the loss, theft, destruction or mutilation of any certificate
evidencing Units, and in the case of any such loss, theft or destruction upon receipt of indemnity
reasonably satisfactory to the Company, or, in the case of any such mutilation upon surrender of
such certificate, the Company will (at its expense) execute and deliver in lieu of such certificate a
new certificate of like kind representing the number of Units represented by such lost, stolen,
destroyed or mutilated certificate and dated the date of such lost, stolen, destroyed or mutilated
certificate.

       5.8     Series A Preferred Units.

               (a)    Exchange. The Series A Preferred Units shall not be convertible into Class
       A Common Units (or any other Units); provided, however, that if the Series A Preferred
       Units have not been redeemed or repurchased within two (2) years after the Effective Date,
       any Member that holds or owns Series A Preferred Units shall be entitled to exchange its
       Series A Preferred Units for debt in the form of unsecured senior subordinated loans or
       notes to be issued by the Company at such time (“Series A Note”), which Series A Note
       shall (A) be in an original principal amount equal to the Series A Redemption Price
       (determined as if the date of such exchange is the Redemption Date), (B) have the same

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economic terms as the Series A Preferred Units (e.g., the interest rate will be the same rate
as the Series A Preferred Return and the maturity date shall be the date that is six years
from the Effective Date), (C) have the same consent, information rights and (to the extent
reasonably requested by an Initial Member Group) covenants as applicable to Series A
Preferred Units pursuant to this Agreement, (D) be subject to such other terms and issued
pursuant to documentation that is reasonably satisfactory to each Initial Member Group,
including terms and conditions that would permit the parties to treat such debt instrument
as equity for U.S. federal income tax purposes, and (E) rank senior to any Series B Note in
the same manner as the Series A Preferred Units are senior in right of payment to the Series
B Preferred Units as set forth in this Agreement (but applied to indebtedness rather than
equity).

        (b)     Liquidation. The Series A Preferred Units shall, with respect to rights upon
liquidation, dissolution or winding up of the affairs of the Company, rank senior and prior
to the Class A Common Units and the Series B Preferred Units.

5.9    Series B Preferred Units.

        (a)     Exchange. The Series B Preferred Units shall not be convertible into Class
A Common Units (or any other Units); provided, however, that if the Series B Preferred
Units have not been redeemed or repurchased within two (2) years after the Effective Date,
any Member that holds or owns Series B Preferred Units shall be entitled to exchange its
Series B Preferred Units for debt in the form of unsecured junior subordinated loans or
notes to be issued by the Company at such time (“Series B Note”), which Series B Note
shall (A) be in an original principal amount equal to the sum of the Unpaid Series B
Preference Amount (ignoring, for purposes of this Section 5.9(a)(A), clause (y) of the
definition of “Unpaid Series B Preference Amount”) and Unpaid Series B Preferred Return
with respect to such Series B Preferred Units, (B) be entitled to a liquidation preference (or
equivalent) that is determined in the same manner as the determination of the Series B
Redemption Price for such Series B Preferred Units (mutatis mutandis), (C) have the same
economic terms as the Series B Preferred Units (e.g., the interest rate will be the same rate
as the Series B Preferred Return and the maturity date shall be the date that is ten years
from the Effective Date), (D) have the same consent, information rights and (to the extent
reasonably requested by an Initial Member) covenants as applicable to Series B Preferred
Units pursuant to this Agreement, (E) be subject to such other terms and issued pursuant
to documentation that is reasonably satisfactory to each Initial Member Group, including
terms and conditions that would permit the parties to treat such debt instrument as equity
for U.S. federal income tax purposes, and (F) rank junior in right of payment to any Series
A Note on the same terms as the Series B Preferred Units are junior in right of payment to
the Series A Preferred Units as set forth in this Agreement. If, at any time while a Series
B Note is outstanding, any Series A Note is also outstanding, the holder(s) of the Series B
Note(s) shall execute and deliver a subordination agreement in form and substance
reasonably requested by the holder(s) of any Series A Note(s) and the holder(s) of any
Series A Note(s) shall be express third party beneficiaries of this sentence.




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        (b)     Liquidation. The Series B Preferred Units shall, with respect to rights upon
liquidation, dissolution or winding up of the affairs of the Company, rank senior and prior
to the Class A Common Units and junior to the Series A Preferred Units.

5.10   Preferred Unit Consent Rights.

        (a)    Qualified Preferred Holder Consent Rights. So long as any Series A
Preferred Units or Series B Preferred Units remain outstanding, neither the Officers, nor
the Company Representative nor the Board shall, directly or indirectly, take any of the
following actions on behalf of the Company, including causing the Company (or, to the
extent applicable, its Subsidiaries) to take or permit such actions without the prior written
consent of each holder of Series A Preferred Units or Series B Preferred Units (the
“Preferred Unit Consent Rights”):

               (i)    amend, modify, or waive any provisions of this Agreement which
       would have an adverse effect on the rights, preferences, privileges or other powers
       of the Series A Preferred Units or the Series B Preferred Units, as applicable;
       provided, that neither the increase of the number of any existing or new class or
       series of Units or other Equity Interests of the Company, nor the issuance by the
       Company of any such series or class of Units or other Equity Interests of the
       Company (in compliance with, and not in limitation of, the terms of this
       Section 5.10), shall, on its own, be deemed to adversely affect the Series A
       Preferred Units or the Series B Preferred Units, as applicable;

               (ii)    (A) create, authorize, issue or increase the authorized number of any
       Equity Interests of the Company, or any options, warrants or other securities that
       are convertible into, or exchangeable or exercisable for, any Equity Interests of the
       Company, that have rights, preferences (including with respect to Distributions and
       upon liquidation) or privileges which are senior to or on parity with any of the
       rights, preferences or privileges of the Series A Preferred Units or the Series B
       Preferred Units, as applicable, as set forth in this Agreement; (B) create, authorize
       or issue any Equity Interests of any Subsidiary other than issuances to the Company
       or its wholly-owned Subsidiaries (other than issuances to other Persons that are
       required by applicable law or regulation); or (C) Transfer any Equity Interests of
       any Subsidiary, other than Transfers to the Company or its wholly-owned
       Subsidiaries, Transfers that are required by applicable law or regulation, or
       Transfers in connection with a Liquidation Event (in compliance with, and not in
       limitation of, the terms of this Section 5.10);

              (iii)  change the size of the Board or the number of independent Managers
       on the Board or modify any consent rights with respect to the Board;

               (iv)    reclassify any Equity Interests of the Company;

              (v)     incur any indebtedness, pledge or grant Liens on any assets, or
       guarantee, assume, endorse, or otherwise become responsible for the obligations of
       any other Person, in any such case that is prohibited under the New Credit

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      Documents or, in the event all obligations under the New Credit Documents have
      been discharged, the New Credit Documents as in effect immediately prior to such
      discharge;

              (vi)   declare or pay any dividend or distribution on, or convert, redeem,
      purchase, or otherwise acquire, any Equity Interests of the Company which are
      (A) for so long as any Series A Preferred Units remain outstanding, junior to the
      Series A Preferred Units and Series B Preferred Units or (B) if there are no longer
      any Series A Preferred Units outstanding and for so long as any Series B Preferred
      Units remain outstanding, junior to the Series B Preferred Units;

             (vii) cause or permit a Liquidation Event, except (A) in the event of a
      Drag-Along Transaction which results in a Liquidation Event or (B) any Insolvency
      Event;

              (viii) enter into or effect any transaction or series of related transactions
      involving the acquisition (including by merger, consolidation, acquisition of stock,
      acquisition of assets or otherwise) by the Company or any of its Subsidiaries of any
      assets or Equity Interests of any Person that is prohibited under the New Credit
      Documents or, in the event all obligations under the New Credit Documents have
      been discharged, the New Credit Documents as in effect immediately prior to such
      discharge; provided that the amount of such transactions shall not exceed $20
      million in the aggregate;

              (ix)    initiate or consummate an initial public offering, qualified public
      offering, or any other public offering and sale of the Company’s or any Subsidiary’s
      Equity Interests or any other securities;

             (x)     approve the Company’s annual budget;

              (xi)  enter into or materially change any Material Contract that is
      prohibited under the New Credit Documents or, in the event all obligations under
      the New Credit Documents have been discharged, the New Credit Documents as in
      effect immediately prior to such discharge;

              (xii) settle any material lawsuit, action, dispute, or other proceeding that
      is prohibited under the New Credit Documents or, in the event all obligations under
      the New Credit Documents have been discharged, the New Credit Documents as in
      effect immediately prior to such discharge;

              (xiii) cause or permit the Company or its Subsidiaries to make any
      material changes to the Company’s principal line of business; provided that neither
      (x) restructuring or exiting the Company’s third-party business segment nor (y)
      changing the Company’s line of business to any business reasonably associated
      with the business process outsourcing industry shall constitute a material change to
      the Company’s principal line of business;



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                            (xiv) enter into, amend in any material respect, waive, or terminate any
                    Affiliate Transaction other than an Excepted Transaction or the expiration of any
                    such Affiliate Transaction in accordance with its terms;

                            (xv) (A) change the tax classification of the Company or any of its
                    Subsidiaries, (B) designate or change the Fiscal Year or taxable year of the
                    Company or any of its Subsidiaries, (C) require any holder of Series A Preferred
                    Units or Series B Preferred Units to file an amended tax return or information
                    statement for a prior taxable period pursuant to Section 6225(c)(2) of the Code (or
                    any similar provision of state or local law) or (D) participate in any reportable
                    transaction (within the meaning of Treasury Regulations Section 1.6011-4(b)); or

                         (xvi) the entry into any Material Contract that would include a
                    Redemption Prohibition;

provided, upon the Goldman Members holding less than the Threshold Amount of the Series B
Preferred Units, the Preferred Unit Consent Rights set forth in clauses (ii)(A) (solely with respect
to (x) increasing the authorized number of Class A Common Units, (y) creating new classes of
Units having preference over or on parity with the Series B Preferred Units and (z) issuing any
Units senior to or pari passu with the Series B Preferred Units), (v), (vii), (viii), (ix), (x), (xi), (xii)
or (xiii) of this Section 5.10(a) shall no longer be applicable; provided, further, that, if the Goldman
Members hold less than the Threshold Amount of the Series B Preferred Units, the Goldman
Members shall additionally have consent rights over the following:

                            (xvii) (A) refinance the New First Lien Term Loans or the New Second
                    Lien Term Loans to the extent the terms of any such refinancing are less favorable
                    to the Company than the New First Lien Term Loans or the New Second Lien Term
                    Loans, as applicable, or (B) incur any incremental debt resulting in [net leverage]4
                    exceeding 4.0:1.0 on a pro forma basis.

                   (b)    Assignment of Preferred Unit Consent Rights. Notwithstanding anything
           herein to the contrary, if the Goldman Members Transfer all (and not less than all) of the
           Series B Preferred Units held by them as of the Effective Date to a single assignee,
           purchaser or other transferee pursuant to the terms of this Agreement, the Preferred Unit
           Consent Rights set forth in clauses (v), (vii), (viii) and (ix) of Section 5.10(a) shall be
           applicable to such assignee, purchaser or other transferee for so long as such assignee,
           purchaser or transferee holds at least the Threshold Amount of Series B Preferred Units.

           5.11     Redemption of Preferred Units.

                    (a)     Mandatory Redemption.

                            (i)     (A) On the sixth (6th) anniversary of the Effective Date (with respect
                    to the Series A Preferred Units), (B) on the tenth (10th) anniversary of the Effective
                    Date (with respect to the Series B Preferred Units) or (C) in the event of a Specified

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    NTD: To the extent applicable, conform to defined term in New Credit Documents.


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      Material Breach or any Liquidation Event described in clauses (a)(i) or (b) (solely
      in connection with any case, proceeding or other action of a nature referred to in
      clause (a)(i) of the definition of “Insolvency Event”) of the definition of
      “Insolvency Event”, each holder of Series A Preferred Units or Series B Preferred
      Units, as applicable, shall have the right (a “Mandatory Redemption Right”) to
      require the Company to redeem all or any portion of the Series A Preferred Units
      or Series B Preferred Units, as applicable, owned or held by such holder of Series
      A Preferred Units or Series B Preferred Units, as applicable, for an amount in cash
      per Series A Preferred Unit or Series B Preferred Unit, as applicable, equal to the
      Series A Redemption Price for such Series A Preferred Unit or the Series B
      Redemption Price for such Series B Preferred Unit, as applicable. Notwithstanding
      anything in this Section 5.11 to the contrary, the Company may not redeem any of
      the Series B Preferred Units until such time as all Series A Preferred Units have
      been redeemed.

              (ii)    The redemption of the applicable Preferred Units pursuant to a
      Mandatory Redemption Right shall be consummated on a date (the “Mandatory
      Redemption Date”) selected by the Company, which shall be no less than seven
      (7) Business Days, and no more than ten (10) Business Days, after (x) the applicable
      anniversary of the Effective Date (in the event of a Mandatory Redemption Right
      pursuant to Section 5.11(a)(i)(A) or 5.11(a)(i)(B)) or (y) the date on which (I) the
      Goldman Members or the BSP Members notify the Company in writing of the
      occurrence of a Specified Material Breach or (II) any Liquidation Event described
      in clauses (a)(i) or (b) (solely in connection with any case, proceeding or other
      action of a nature referred to in clause (a)(i) of the definition of “Insolvency Event”)
      of the definition of “Insolvency Event” occurs (in either case, in the event of a
      Mandatory Redemption Right pursuant to Section 5.11(a)(i)(C)), and the Company
      shall deliver a written notice to all holders of the applicable Preferred Units advising
      them of such Mandatory Redemption Date; provided, that if the Company fails to
      select a Mandatory Redemption Date, then the Mandatory Redemption Date shall
      be deemed to be the thirteenth (13th) Business Day after such anniversary date,
      delivery of notice of Specified Material Breach or occurrence of any Liquidation
      Event described in clauses (a)(i) or (b) (solely in connection with any case,
      proceeding or other action of a nature referred to in clause (a)(i) of the definition of
      “Insolvency Event”) of the definition of “Insolvency Event”, as applicable. Subject
      to Section 13.2, on the Mandatory Redemption Date, the Company shall pay to each
      holder of the applicable Preferred Units the aggregate Series A Redemption Price
      or the aggregate Series B Redemption Price, as applicable, for the outstanding
      Series A Preferred Units or the outstanding Series B Preferred Units, as applicable.
      Payment of the Series A Redemption Price or the Series B Redemption Price, as
      applicable, for the outstanding Series A Preferred Units or the outstanding Series B
      Preferred Units, as applicable, shall be made by wire transfer of immediately
      available funds to the account of the applicable holder as provided by such holder
      to the Company in writing at any time prior to the Mandatory Redemption Date.

             (iii) If the Company is prohibited from redeeming all outstanding Series
      A Preferred Units or all outstanding Series B Preferred Units because (A) of the

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      existence of a contractual prohibition as in effect on the applicable Mandatory
      Redemption Date contained in any agreement or instrument governing or
      evidencing indebtedness or other bona fide third party financing arrangements of
      the Company or any of its Subsidiaries or (B) the Company does not have sufficient
      funds legally available therefor under applicable law (either, a “Redemption
      Prohibition”), then the Company shall give written notice (a “Redemption
      Response Notice”) to each holder of Series A Preferred Units and/or Series B
      Preferred Units, as applicable, of (x) a reasonably detailed description of the reason
      that the Company is unable to redeem all such Series A Preferred Units and/or
      Series B Preferred Units and (y) the aggregate amount of such Series A Preferred
      Units and/or Series B Preferred Units, if any, which the Company will be able to
      redeem on the Mandatory Redemption Date, which Redemption Response Notice
      shall be delivered to such holders by the Company as soon as possible after the
      Company becomes aware of the applicable Redemption Prohibition. If the
      Company is prohibited from redeeming all outstanding Series A Preferred Units or
      all outstanding Series B Preferred Units, as applicable, because of a Redemption
      Prohibition, then the Company shall use its reasonable best efforts to increase its
      legally available funds under applicable law to an amount sufficient to enable it to
      purchase legally all such Series A Preferred Units and Series B Preferred Units
      and/or to obtain relief from any contractual restriction in order to enable it to make
      the required payments, including, through effecting a financing transaction,
      obtaining the consent of a requisite number of holders of indebtedness or otherwise,
      in each case, as soon as practicable.

              (iv)    If the Company is prohibited from redeeming all outstanding Series
      A Preferred Units or all outstanding Series B Preferred Units, as applicable, because
      of a Redemption Prohibition, then, on the applicable Mandatory Redemption Date,
      subject to Section 13.2, the Company shall redeem the maximum possible number
      of Series A Preferred Units or Series B Preferred Units, as applicable, ratably
      among such holders based upon the aggregate Series A Redemption Price or Series
      B Redemption Price, as applicable, of such Preferred Units owned or held by each
      such holder, without violating the Redemption Prohibition. At any time thereafter
      when such Redemption Prohibition shall not prevent the Company from redeeming
      additional Series A Preferred Units or Series B Preferred Units, as applicable, the
      Company shall immediately redeem additional Series A Preferred Units or Series
      B Preferred Units, as applicable, after giving written notice to the holders of such
      Preferred Units, ratably in the same manner as set forth in the preceding sentence,
      to the maximum extent it is able to do so without violating the Redemption
      Prohibition. Anything in this Agreement to the contrary notwithstanding, if any of
      the Preferred Units that the Company is required to redeem is not redeemed by the
      Company on the applicable Mandatory Redemption Date, including as a result of a
      Redemption Prohibition, then (i) such Series A Preferred Units or Series B
      Preferred Units shall remain outstanding until so redeemed and (ii) without
      prejudice to any other rights that any such holder may have under this Agreement,
      at law or in equity, the Series A Preferred Return or Series B Preferred Return, as
      applicable, on any such Series A Preferred Unit or Series B Preferred Unit, as
      applicable, shall continue to accrue and accumulate and shall be added to the Series
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      A Redemption Price or Series B Redemption Price, as applicable, for such Series
      A Preferred Unit or Series B Preferred Unit, as applicable.

      (b)    Optional Redemption.

              (i)    Subject to Section 13.2, the Company shall have the right (an
      “Optional Redemption Right”) to redeem all or any portion of the outstanding
      Preferred Units for an amount in cash per Series A Preferred Unit or Series B
      Preferred Unit, as applicable, to be redeemed equal to the Series A Redemption
      Price or the Series B Redemption Price, as applicable for such Series A Preferred
      Unit or Series B Preferred Unit, as applicable.

               (ii)   The Company may exercise its Optional Redemption Right by
      delivering an irrevocable written notice to each of the holders of Series A Preferred
      Unit and Series B Preferred Unit, stating that the Company is exercising its
      Optional Redemption Right (an “Optional Redemption Notice”). The Optional
      Redemption Notice delivered by the Company to each holder of Series A Preferred
      Unit and Series B Preferred Unit, pursuant to this Section 5.11(b)(ii) shall specify
      (i) the number of, and series of, the Series A Preferred Unit or Series B Preferred
      Unit, as applicable, to be redeemed from such holders and the Series A Redemption
      Price or the Series B Redemption Price, as applicable, therefor, and (ii) the date on
      which such redemption shall occur (the “Optional Redemption Date”), which
      shall be no less than fifteen (15) Business Days and no more than thirty (30)
      Business Days after the date on which the Optional Redemption Notice is delivered
      to such holder.

              (iii)   Subject to Section 5.10(a)(vi) and the last sentence of Section
      5.11(a)(i), in the case of a redemption of a portion of the outstanding Series A
      Preferred Units, such redemption shall be made among the holders of Series A
      Preferred Units on a ratable basis based upon the aggregate Series A Redemption
      Price of all Series A Preferred Units owned or held by each holders of Series A
      Preferred Units. Subject to Section 13.2, in the case of a redemption of a portion
      of the outstanding Series B Preferred Units, such redemption shall be made among
      the holders of Series B Preferred Units on a ratable basis based upon the aggregate
      Series B Redemption Price of all Series B Preferred Units owned or held by each
      holders of Series B Preferred Units.

              (iv)   On the Optional Redemption Date, the Company shall pay to each
      holder of Series A Preferred Units or Series B Preferred Units, as applicable, the
      aggregate Series A Redemption Price or the Series B Redemption Price, as
      applicable, for the Series A Preferred Units or Series B Preferred Units, as
      applicable, owned or held by such holders that were called for redemption pursuant
      to the Company’s exercise of its Optional Redemption Right. Payment of the Series
      A Redemption Price or the Series B Redemption Price for each of the Series A
      Preferred Units or Series B Preferred Units, as applicable, so redeemed by the
      Company shall be made by wire transfer of immediately available funds to the


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       account of the applicable holder as provided by such holder to the Company in
       writing at any time prior to the Optional Redemption Date.

               (v)     Anything in this Agreement to the contrary notwithstanding, if any
       of the Series A Preferred Units or Series B Preferred Units, as applicable, that the
       Company calls for redemption pursuant to the exercise of its Optional Redemption
       Right is not redeemed by the Company on the applicable Optional Redemption
       Date, then (i) such Series A Preferred Units or Series B Preferred Units, as
       applicable, shall remain outstanding until so redeemed and (ii) without prejudice to
       any other rights that the applicable holder of Series A Preferred Units or Series B
       Preferred Units, as applicable, may have under this Agreement, at law or in equity,
       the Series A Preferred Return or Series B Preferred Return, as applicable, on any
       such Series A Preferred Units or Series B Preferred Units, as applicable, shall
       continue to accrue and accumulate and shall be added to the Series A Redemption
       Price or Series B Redemption Price, as applicable, for such Series A Preferred Units
       or Series B Preferred Units, as applicable.

        (c)     Any Series A Preferred Units and Series B Preferred Units redeemed,
purchased or otherwise acquired by the Company (including in any exchange referred to
in Sections 5.8(a) or 5.9(a)) in any manner whatsoever shall be retired and canceled
promptly after the acquisition thereof, shall no longer be deemed to be outstanding and
shall no longer be Transferable on the books of the Company. The holder(s) of such Series
A Preferred Units and Series B Preferred Units shall have no interest in or claim against
the Company with respect to such Series A Preferred Units and Series B Preferred Units.

                       ARTICLE 6
      MANAGEMENT; OPERATION OF THE COMPANY BUSINESS

6.1    Management of the Company.

        (a)      Subject to the terms and conditions of this Agreement, the business and
affairs of the Company shall be managed by the board of managers of the Company (the
“Board”), which shall direct, manage and control the business of the Company. Except
where the approval of the Members is expressly required by this Agreement or by non-
waivable provisions of applicable law, the Board shall have full and complete authority,
power and discretion to manage and control the business, affairs and properties of the
Company, to make all decisions regarding those matters and to perform any and all other
acts or activities customary or incident to the management of the Company’s business. The
enumeration of powers in this Agreement shall not limit the general or implied powers of
the Board or any additional powers provided by applicable law. Each Manager shall
possess and may enjoy and exercise all of the rights and powers of a “manager” as provided
in the Act, and each Manager shall be a “manager” as provided in the Act; provided,
however, that (i) no individual Manager shall have the authority to act for or bind the
Company without the requisite consent of the Board and (ii) each Manager will be subject
only to the rights, obligations, limitations and duties expressly set forth in this Agreement.
Except (x) for the Company Representative acting, subject to the terms hereof, in its
capacity as such (if the Company Representative is a Member), and (y) pursuant to a duly

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authorized delegation of authority by the Board, no Member shall have any right, power or
authority to act (as agent or otherwise) for, or to bind, the Company in any manner.

       (b)     Except as expressly provided for in this Agreement or expressly required
by non-waivable provisions of applicable law, the Members shall not have voting rights
with respect to the management of the Company and shall not be entitled to vote on or
consent to or approve or disapprove actions or decisions regarding the Company.

6.2    Board.

        (a)    The Board shall consist of up to five (5) Managers (at least two (2) of which
must be Independent Managers); provided that, as of the Effective Date, each Initial
Member Group agrees that the Managers shall be the Persons listed on Schedule C attached
hereto and nothing herein shall obligate any Member to appoint any additional Managers.
The Board may be increased or decreased as set forth in this Section 6.2 (and subject to
Section 5.10). Managers must be natural persons at least eighteen (18) years of age but
need not be Members, residents of the State of Delaware or citizens of the United States.

        (b)     Members of the Board shall be appointed by vote of Members of a plurality
of the votes of the Class A Common Units present in person or represented by proxy at a
meeting of Members held for purposes of filling such vacancies (or by the Requisite
Members acting by written consent); provided, that (i) for so long as a Preferred Holder
Group continues to own or hold thirty-two percent (32.0%) or more of the outstanding
Series B Preferred Units, such Preferred Holder Group shall have the right to consent to
two (2) Independent Managers appointed by the holders of the Class A Common Units,
and (ii) for so long as a Preferred Holder Group continues to own or hold at least the
Threshold Amount (but less than thirty-two percent (32.0%)) of the outstanding Series B
Preferred Units, such Preferred Holder Group shall have the right to consent to one (1)
Independent Manager appointed by the holders of the Class A Common Units.

        (c)    The Manager Consent Right of any Qualified Preferred Holder Group shall
not be transferable to any Person other than to any Person that is another member of such
Qualified Preferred Holder Group.

     (d)   The Chairman shall be appointed by the holders of a majority of the Class
A Common Units. The Chairman must be a Manager.

        (e)     None of the Members, and no officer, director, manager, stockholder,
partner, member, employee or agent of any Member, makes any representation or warranty
as to the fitness or competence of any appointee that serves as a member on the Board (or
any committee thereof) or any Subsidiary Governing Body by virtue of being a party to
this Agreement.

        (f)     For so long as the Goldman Members continue to own or hold at least the
Threshold Amount of all outstanding Series B Preferred Units, the Goldman Members shall
be entitled to appoint one Person (the “Goldman Board Observer”) to attend, as a non-
voting observer, each meeting of the Board, or any committee thereof, whether such
meeting is conducted in person or by telephone. For so long as the BSP Members continue
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to own or hold at least the Threshold Amount of all outstanding Series B Preferred Units,
the BSP Members shall be entitled to appoint one Person (the “BSP Board Observer”) to
attend, as a non-voting observer, each meeting of the Board, or any committee thereof,
whether such meeting is conducted in person or by telephone. The Goldman Board
Observer and the BSP Board Observer shall each be entitled to receive, with respect to
each meeting of the Board or any committee thereof: (i) written notice of each regular
meeting and special meeting delivered no later than the date on which the members of the
Board or the committee, as applicable, are notified of such meeting pursuant to Section 6.6,
and (ii) any and all information provided in connection with each such meeting to all
members of the Board or the applicable committee, in each case at the time and in the same
manner as provided to such other attendees. Additionally, the Goldman Board Observer
and the BSP Board Observer shall each receive copies of all other notices, minutes,
consents and other material items that the Company provides to the members of the Board
at the same time and in the same manner as provided to such members. Notwithstanding
the foregoing, the Goldman Board Observer and the BSP Board Observer shall not be
entitled to observe any portion of a meeting of the Board or any committee thereof (or
receive notice of such portion of such meeting) or to receive any materials or other
information that the Board or the applicable committee, as the case may be, reasonably
determines on advice of counsel (A) would jeopardize or impair the ability of the Company
or any of its Subsidiaries to take advantage of the attorney-client, work product or similar
privilege if such portion of such meeting of the Board or any committee thereof were
observed or if such portion of such materials or such other information was received by
such Goldman Board Observer or the BSP Board Observer, as applicable, (B) would
violate any bona fide contracts or other agreements to which the Company or any of its
Subsidiaries are a party or bound, or violate any applicable law to which the Company or
any of its Subsidiaries are subject, in either such case if such portion of such meeting of
the Board or any committee thereof were observed or if such portion of such materials or
such other information was received by such Goldman Board Observer or BSP Board
Observer, as applicable, or (C) such Goldman Board Observer or BSP Board Observer,
any of the Goldman Members, the BSP Members or of their respective Affiliates has/have
a conflict of interest with respect to the subject matter of such portion of the meeting of the
Board or any committee thereof or such materials or other information; provided that no
conflict of interest with respect to the Goldman Board Observer or the BSP Board Observer
shall be deemed to exist solely by virtue of the Goldman Members or the BSP Members or
any of their Affiliates being lenders to the Company or its Subsidiaries. The failure of the
Goldman Board Observer or the BSP Board Observer to attend any meeting of the Board
or any committee thereof (or to receive any portion of a notice of a meeting of the Board
or any committee thereof) or to receive any materials or other information shall not prevent
any such meeting of the Board or any committee thereof from proceeding or otherwise
affect the validity of such meeting of the Board or any committee thereof (or any written
consent in lieu of a meeting of the Board or any committee thereof) or any actions taken at
such meeting of the Board or any committee thereof (or any written consent in lieu of such
meeting of the Board or any committee thereof). The Goldman Board Observer and the
BSP Board Observer shall not be entitled to any fees or other compensation for acting as
an observer, but shall receive reimbursement from the Company for any and all reasonable
and documented out-of-pocket expenses incurred by the Goldman Board Observer or the

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       BSP Board Observer, as applicable, in connection with attending any and all meetings of
       the Board or any committee thereof to the extent that such expenses would be reimbursed
       by the Company to Managers in accordance with the Company’s reimbursement policies
       if such expenses were incurred by Managers. For so long as the Goldman Members
       continue to own or hold at least the Threshold Amount of all outstanding Series B Preferred
       Units, the Goldman Members shall be entitled to fill any vacancy caused by the resignation,
       death or removal of a prior Goldman Board Observer. The right of the Goldman Members
       to appoint the Goldman Board Observer, and to remove and replace the individual serving
       as the Goldman Board Observer with a new individual appointed by the Goldman
       Members, shall be subject to the execution and delivery by such Goldman Board Observer
       of a confidentiality agreement that is reasonably acceptable to the Board. For so long as
       the BSP Members continue to own or hold at least the Threshold Amount of all outstanding
       Series B Preferred Units, the BSP Members shall be entitled to fill any vacancy caused by
       the resignation, death or removal of a prior BSP Board Observer. The right of the BSP
       Members to appoint the BSP Board Observer, and to remove and replace the individual
       serving as the BSP Board Observer with a new individual appointed by the BSP Members,
       shall be subject to the execution and delivery by such BSP Board Observer of a
       confidentiality agreement that is reasonably acceptable to the Board.

       6.3    Regular Meetings. Regular meetings of the Board shall be held at such time or
times as may be determined by the Board and specified in the notice of such meetings.

      6.4      Special Meetings. Special meetings of the Board may be called by any two (2)
Managers.

        6.5     Place of Meetings. Any meeting of the Board may be held at such place or places
as shall from time to time be determined by the Board and as shall be designated in the notice of
the meeting. If no other place is designated in the notice of the meeting, such meeting shall be
held at the Principal Office.

         6.6     Notice of Meetings. Notwithstanding Section 19.5, notice of each meeting of the
Board, whether regular or special, shall be given to each Manager (unless such notice is waived
by such Manager as provided in Section 6.10) (a) if such notice is sent by overnight delivery, at
least two (2) Business Days prior to such meeting or, (b) if such notice is sent by electronic mail,
at least one (1) day prior to such meeting; provided, however, if a special meeting of the Board is
being called due to exigent circumstances, as reasonably determined by the Managers calling such
meeting, then notice of such meeting may be provided to each Manager (unless such notice is
waived by such Manager as provided in Section 6.10) by electronic mail at least twelve (12) hours
prior to such meeting. Any such notice shall be sent to each Manager at such Manager’s usual or
last known business or residence address or electronic mail address, as applicable. The notice shall
state the date, time and location (if such location is not the Principal Office) of the meeting, but
need not state the purposes of such meeting.

        6.7    Meetings by Remote Communication. One or more, or all, members of the Board
or any committee designated by the Board may participate in a meeting of the Board or such
committee through the use of any means of remote communication by which all persons
participating can hear each other at the same time. Any Manager or committee member

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participating in a meeting by any such means of remote communication is deemed to be present in
person at such meeting, except as set forth in Section 6.10.

        6.8     Quorum; Acts of Managers. A quorum for any meeting of the Board will require
the attendance of at least a majority of the Managers then in office. The vote of a majority of the
votes of the Managers present and entitled to vote at a meeting of the Board at which a quorum is
present shall be the act of the Board, unless the express provisions of this Agreement or applicable
non-waivable law require a different vote, in which case such express provisions shall govern and
control. In the case of a deadlocked Board, the Chairman shall have the tie-breaking vote. In the
absence of a quorum at any such meeting, a majority of the votes of the Managers present and
entitled to vote may adjourn the meeting from time to time without further notice, other than
announcement at the meeting, until a quorum shall be present. Each Manager shall have one (1)
vote on all matters submitted to the Board for the vote, consent or approval of the Board (other
than matters for which such Manager is not entitled to vote, as expressly set forth in this
Agreement). Decisions of the Board shall be decisions of the “manager” for all purposes of the
Act. For the avoidance of doubt, but not in limitation of the obligations set forth in Section 6.2(f),
the attendance of the Goldman Board Observer and/or the BSP Board Observer shall not be
required for a quorum or for any vote or action by the Board.

        6.9      Organization, Agenda and Procedures. The Chairman shall preside over the
meetings of the Board; provided, however, if the Chairman shall not be present at a meeting of the
Board or shall refuse to preside over a meeting of the Board, then the Managers that are present at
such meeting shall choose a chairman to preside over such meeting. The Secretary, any Assistant
Secretary, or any other person appointed as secretary of a meeting of the Board by the Chairman
shall act as secretary of each meeting of the Board. The agenda of and procedure for such meetings
shall be as determined by the Board.

        6.10 Waiver of Notice. A Manager may waive any notice of a meeting of the Board,
whether before or after the date or time stated in the notice as the date or time when any action
will occur or has occurred. Any such waiver shall be in writing, be signed by the Manager entitled
to the notice, and be delivered to the Company in accordance with Section 19.5, but such delivery
shall not be a condition of the effectiveness of the waiver. Attendance or participation by a
Manager at a meeting of the Board, (a) shall be deemed a waiver of objection to lack of required
notice or defective notice of the meeting, unless the Manager, at the beginning of the meeting or
promptly upon his or her later arrival, expressly objects to holding the meeting or transacting
business at the meeting because of lack of notice or defective notice, and does not thereafter vote
for or assent to action taken at the meeting, and (b) shall be deemed a waiver of objection to
consideration of a particular matter at the meeting, unless the Manager expressly objects to
considering the matter when it is presented and does not thereafter vote for or assent to action
taken at the meeting with respect to such matter.

       6.11 Managers’ Action By Written Consent. Any action required or permitted to be
taken at any meeting of the Board, or any committee thereof, may be taken without a meeting,
without prior notice and without a vote if a consent or consents in writing is/are signed by the
Managers or committee members (as applicable) holding not less than the total number of votes
that would be necessary to authorize such action at a meeting of the Board or such committee (as
applicable) at which all Managers or committee members (as applicable) were present and voted,

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and the writing or writings are filed with the minutes of proceedings of the Board or any such
committee. A written consent of the Board or any committee thereof, with respect to an action of
the Board or such committee, shall become effective when the written consent or consents to such
action has/have been signed (and not revoked) by the requisite Managers or committee members
(as the case may be) and delivered to the Company in accordance with Section 19.5, and any action
taken by written consent shall be effective as of the time such written consent is effective, unless
the Managers or committee members (as the case may be) that execute such written consent specify
a different effective time in such written consent. Prompt notice of the taking of action by the
Board or any committee thereof without a meeting by less than unanimous written consent shall
be given to those Managers or committee members who have not consented in writing.

        6.12 Removal. Any Manager may be removed, with or without cause, by the Requisite
Members at the time of such removal. Subject to Section 6.2(b), any vacancy on the Board created
by the resignation or removal of a Manager shall be filled by vote of Members of a plurality of the
votes of the Class A Common Units present in person or represented by proxy at a meeting of
Members held for purposes of filling such vacancy (or by the Requisite Members acting by written
consent).

        6.13 Resignation. Any Manager may resign at any time by giving written notice of such
Manager’s resignation to the Company in accordance with Section 19.5. Such resignation shall
take effect at the date of delivery of such notice or at any later time specified therein and, unless
otherwise specified therein, the acceptance of such resignation by the Company shall not be
necessary to make it effective.

        6.14 Vacancies. Except as set forth in Section 6.2(b) or Section 6.12, any vacancy on the
Board resulting from a Manager’s death, incapacity, resignation, retirement, disqualification,
removal from office, or other cause, shall be filled by vote of Members of a plurality of the votes
of the Class A Common Units present in person or represented by proxy at a meeting of Members
held for purposes of filling such vacancy (or by the Requisite Members acting by written consent).

        6.15 Committees. The Board, by resolution, may from time to time designate from
among the Managers one or more committees. The Board may (and if the Board does not, a
majority of the votes of the committee members may) designate a chairman of each such
committee from among its members. Each such committee, to the extent provided in such
resolution, shall have and may exercise all of the authority of the Board in the management of the
Company. Any or all members of any such committee may be removed, with or without cause,
by a duly adopted resolution of the Board. Rules governing the procedures for meetings of each
committee designated by the Board shall be as established by the Board from time to time (or, if
the Board does not establish such procedures, as established by a majority of the votes of the
committee members).

        6.16 Compensation of Managers. Each Independent Manager, if any, shall be paid
compensation from the Company, in such form (which may be in the form of cash fees and/or
other incentives granted under any management incentive plan) as approved by the Requisite
Members, for the performance of such Independent Manager’s duties as a Manager or a member
of any committee of the Board. Managers who are not Independent Managers shall not receive
compensation from the Company for the performance of such Manager’s duties as a Manager or a

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member of any committee of the Board. Each Manager and committee member who is not
employed by the Company or any of its Subsidiaries shall be reimbursed for the reasonable
expenses incurred by such Manager or committee member in connection with the performance of
such Manager’s or committee member’s duties as a Manager or a member of any committee of the
Board (including expenses incurred in attending meetings of the Board or any committee thereof).
Nothing herein contained shall be construed to preclude any Manager or committee member from
serving the Company or any of its Subsidiaries in any other capacity and receiving proper
compensation therefor.

         6.17 Subsidiary Governing Bodies. Each Subsidiary Governing Body of any wholly-
owned Subsidiary of the Company (other than any such Subsidiary which is either (a) a limited
liability company that is managed by its member(s), or (b) a limited partnership that is managed
by its general partner) shall be comprised of one or more executive employees of the Company or
any of its Subsidiaries, as determined by the Board in its sole discretion. The Company agrees to
take all necessary and desirable actions to ensure that any such Subsidiary Governing Body does
not adopt any resolutions, execute any consents, grant any approvals or take any other action, or
otherwise cause or permit any such Subsidiary to do anything, that would be inconsistent with, or
contrary to, any resolution, consent, approval or other action adopted, executed, granted or taken
by the Board, or that would be in subversion of the rights of the Members under this Agreement
or that would otherwise be a breach of this Agreement if the Company did the same.

                                       ARTICLE 7
                             OFFICERS; POWERS OF OFFICERS.

        7.1     Election and Tenure. The officers of the Company shall consist of the Chairman,
the Chief Executive Officer, the Chief Financial Officer, a Secretary and a Treasurer, each of
whom (other than the Chairman) shall be appointed by the Board. The persons initially holding
these positions are listed on Schedule B attached hereto. The Board may also designate and
appoint such other officers and assistant officers as the Board may deem necessary or advisable.
The Board may expressly delegate to any such officer the power to appoint or remove subordinate
officers, agents or employees. Any two or more offices may be held by the same person. Each
officer so appointed shall continue in office until a successor shall be appointed and shall qualify,
or until the officer’s earlier death, resignation or removal. Each officer shall be a natural person
who is eighteen (18) years of age or older.

        7.2     Resignation, Removal and Vacancies. Any officer may resign at any time by giving
written notice of resignation to the Company, to the attention of the Board or the Chief Executive
Officer. Such resignation shall take effect when the notice is delivered in accordance with
Section 19.5 unless the notice specifies a later date, and acceptance of the resignation shall not be
necessary to render such resignation effective unless such resignation so states. Any officer may
at any time be removed by the Board. If any office becomes vacant for any reason, the vacancy
may be filled by the Board. An officer appointed to fill a vacancy shall be appointed for the
unexpired term of such officer’s predecessor in office (if any) and shall continue in office until a
successor shall be elected or appointed and shall qualify, or until such officer’s earlier death,
resignation or removal. The appointment of an officer shall not itself create contract rights in favor
of the officer, and the removal of an officer shall not affect the officer’s contract rights, if any,


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with the Company, and the resignation of an officer does not affect the Company’s contract rights,
if any, with the officer.

       7.3      Chairman. The Chairman shall preside over the meetings of the Board and have
such powers and responsibilities as are incident thereto. However, the Chairman shall not have
responsibility for the day-to-day business operations of the Company. The Chairman shall be a
Manager.

         7.4    Chief Executive Officer. The chief executive officer of the Company (the “Chief
Executive Officer”) shall (a) preside over meetings of the Members, if any, (b) have general and
active management of the business of the Company, and preside over the day-to-day business
operations of the Company, (c) see that all orders and resolutions of the Board are carried into
effect, and (d) perform all duties as may from time to time be assigned to him or her by the Board.

        7.5     Chief Financial Officer. The chief financial officer of the Company (the “Chief
Financial Officer”) shall perform such duties and shall have such powers as may from time to
time be assigned to him or her by the Board or the Chief Executive Officer, and shall perform such
duties and have such powers and responsibilities as are incident to the office of Chief Financial
Officer. In addition, the Chief Financial Officer shall have, along with the Chief Executive Officer,
responsibility for the day-to-day business operations of the Company.

         7.6    Vice Presidents. The vice presidents of the Company (the “Vice Presidents”), if
any, shall perform such duties and possess such powers as from time to time may be assigned to
them by the Board or the Chief Executive Officer. In the absence of the Chief Executive Officer
or in the event of the inability or refusal of the Chief Executive Officer to act, the Vice President
(or in the event there be more than one Vice President, the Vice Presidents in the order designated
by the Board, or in the absence of any designation, then in the order of the election or appointment
of the Vice Presidents) shall perform the duties of the Chief Executive Officer and when so
performing shall have all the powers of and be subject to all the restrictions upon the Chief
Executive Officer.

        7.7    Secretary. The secretary of the Company (the “Secretary”) shall perform such
duties and shall have such powers as may from time to time be assigned to him or her by the Board
or the Chief Executive Officer. In addition, the Secretary shall perform such duties and have such
powers as are incident to the office of Secretary, including the duty and power to give notice of all
meetings of Members (if any), the Board and any committee of the Board, to prepare and maintain
minutes of the meetings of the Members (if any) or the Board (or any committee thereof), to
maintain other records and information of the Company, to authenticate records of the Company,
to be custodian of the Company seal and to affix and attest to the Company seal on documents.

        7.8    Treasurer. The treasurer of the Company (the “Treasurer”) shall perform such
duties and shall have such powers as may from time to time be assigned to him or her by the Board
or the Chief Executive Officer. In addition, the Treasurer shall perform such duties and have such
powers as are incident to the office of Treasurer, including the duty and power to keep and be
responsible for all funds and securities of the Company, to deposit funds of the Company in
depositories selected in accordance with this Agreement, to disburse such funds as ordered by the


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Board, making proper accounts thereof, and to render as required by the Board statements of all
such transactions and of the financial condition of the Company.

        7.9      Assistant Secretaries and Assistant Treasurers. The assistant secretaries and
assistant treasurers of the Company (the “Assistant Secretaries” and the “Assistant
Treasurers”), if any, shall perform such duties as shall be assigned to them by the Secretary or
the Treasurer, respectively, or by the Chief Executive Officer or the Board. In the absence,
inability or refusal to act of the Secretary or the Treasurer, the Assistant Secretaries or the Assistant
Treasurers, respectively, in the order designated by the Board, or in the absence of any designation,
then in the order of their election or appointment, shall perform the duties and exercise the powers
of the Secretary or Treasurer, as the case may be.

      7.10 Salaries. Officers of the Company shall be entitled to such salaries, emoluments,
compensation or reimbursement as shall be fixed or allowed from time to time by the Board or in
such manner as the Board shall provide.

        7.11 Borrowing. No loan shall be contracted on behalf of the Company, and no evidence
of indebtedness shall be issued, endorsed or accepted in its name, unless authorized by the Board
or a committee designated by the Board to so act. Such authority may be general or confined to
specific instances. When so authorized, an officer may (a) effect loans at any time for the
Company from any bank or other Entity and for such loans may execute and deliver promissory
notes or other evidences of indebtedness of the Company, and (b) mortgage, pledge or otherwise
encumber any real or personal property, or any interest therein, owned or held by the Company as
security for the payment of any loans or obligations (including any guarantees) of the Company,
and to that end may execute and deliver for the Company such instruments as may be necessary
or proper in connection with such transaction.

        7.12 Checks and Endorsements. All checks, drafts or other orders for the payment of
money, obligations, notes or other evidences of indebtedness, bills of lading, warehouse receipts,
trade acceptances and other such instruments shall be signed or endorsed for the Company by such
officers or agents of the Company as shall from time to time be determined by resolution of the
Board, which resolution may provide for the use of facsimile or electronic signatures.

       7.13 Deposits. All funds of the Company not otherwise employed shall be deposited
from time to time to the Company’s credit in such banks or other depositories as shall from time
to time be determined by resolution of the Board, which resolution may specify the officers or
agents of the Company who shall have the power, and the manner in which such power shall be
exercised, to make such deposits and to endorse, assign and deliver for collection and deposit
checks, drafts and other orders for the payment of money payable to the Company or its order.

         7.14 Proxies. Unless otherwise provided by resolution adopted by the Board, the Chief
Executive Officer, the Chief Financial Officer or any Vice President: (a) may from time to time
appoint one (1) or more agents of the Company, in the name and on behalf of the Company, (i) to
cast the votes which the Company may be entitled to cast as the holder of Equity Interests or other
securities in any other Entity whose Equity Interests or other securities may be held by the
Company, at meetings of the holders of the Equity Interests or other securities of such other Entity,
or (ii) to consent in writing to any action by such other Entity; (b) may instruct the person so

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appointed as to the manner of casting such votes or giving such consent; and (c) may execute or
cause to be executed in the name and on behalf of the Company and under its Company seal, or
otherwise, all such written proxies or other instruments as may be deemed necessary or proper in
connection with the foregoing clauses (a) and (b).

                                    ARTICLE 8
                         EXCULPATION AND INDEMNIFICATION

       8.1    Exculpation.

                (a)    Notwithstanding any other provisions of this Agreement (whether express
       or implied) or obligation or duty at law or in equity, to the fullest extent permitted by
       applicable law, no Covered Person shall be liable to any Member, the Company or any
       other Person (including any creditor or claimant of the Company or any of its Subsidiaries)
       for any losses, claims, expenses, damages or liabilities arising from any judgment, decision
       or action made, taken or performed, or omitted to be made, taken or performed, by a
       Covered Person in connection with the Company or any of its Subsidiaries, nor shall any
       Covered Person be liable to any Member, the Company or any other Person for any
       judgment, decision or action made, taken or performed, or omitted to be made, taken or
       performed, by any employee or other agent of the Company or any of its Subsidiaries,
       except to the extent that any such losses, expenses, claims, damages or liabilities, (i) in
       each case, are attributable to such Covered Person’s material breach of this Agreement,
       (ii) in the case of any Manager (but expressly excluding any Specified Manager), are
       attributable to such Manager’s breach of the duty of loyalty to the Company or the
       Members as a result of usurping or misappropriating a corporate (or analogous) or business
       opportunity for the Company or any of its Subsidiaries, and (iii) in the case of any officer
       of the Company (other than the Chairman) or any Manager that is also an employee of the
       Company or any of its Subsidiaries (but, for the avoidance of doubt, expressly excluding
       any Specified Manager and any Independent Manager), (A) are attributable to such
       officer’s or Manager’s acts or omissions not in good faith, (B) are attributable to such
       officer’s or Manager’s breach of the duty of loyalty to the Company or the Members,
       (C) arise from a transaction in which such officer or Manager derived an improper personal
       benefit or (D) are attributable to acts or omissions of such officer or Manager that constitute
       a knowing violation of law. No amendment to or repeal of this Section 8.1 shall apply to
       or have any effect on the liability or alleged liability of the Covered Persons for or with
       respect to their acts or omissions occurring prior to such amendment or repeal.

               (b)     In accordance with the Act and the laws of the State of Delaware, a member
       of a limited liability company may, under certain circumstances, be required to return
       amounts previously distributed to such member. It is the intent of the Members that no
       distribution to any Member pursuant to Section 5.11 or Articles 13 or 15 shall be deemed
       a return of money or other property paid or distributed in violation of the Act or other
       applicable law. The return of such money or distribution of any such property to a Member
       shall be deemed to be a compromise within the meaning of the Act, and the Member
       receiving any such money or property shall not be required to return to any Person any
       such money or property. However, if any court of competent jurisdiction holds that,
       notwithstanding the provisions of this Agreement, any Member is obligated to make such

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payment, such obligation shall be the obligation of such Member and not of any other
Member.

8.2    Indemnification.

        (a)      The Company shall, to the fullest extent permitted by applicable law (as
now or hereafter in effect), indemnify, defend and hold harmless each Covered Person from
and against any losses, claims, expenses, damages, judgments, fines and liabilities
(collectively, “Damages”) suffered or incurred by, imposed on, or to which such Covered
Person may become subject (i) in connection with any matter arising out of or in connection
with the Company’s or any of its Subsidiaries’ business or affairs, or (ii) by reason of the
fact that such Covered Person is serving or has served in one or more of the capacities set
forth in the definition of “Covered Person”; provided, that no right of indemnification
shall be available to a Covered Person under this Article 8 to the extent that it shall have
been determined by a final, non-appealable decision by a court of competent jurisdiction
that any such Damages are attributable to (x) such Covered Person’s material breach of
this Agreement, (y) in the case of any Manager (but expressly excluding any Specified
Manager), such Manager’s breach of the duty of loyalty to the Company or the Members
as a result of usurping or misappropriating a corporate (or analogous) or business
opportunity for the Company or any of its Subsidiaries and (z) in the case of any officer of
the Company (other than the Chairman) or any Manager that is also an employee of the
Company or any of its Subsidiaries (but, for the avoidance of doubt, expressly excluding
any Specified Manager and any Independent Manager), (A) such officer’s or Manager’s
acts or omissions not in good faith, (B) such officer’s or Manager’s breach of the duty of
loyalty to the Company or the Members, (C) a transaction in which such officer or Manager
derived an improper personal benefit or (D) are attributable to acts or omissions of such
officer or Manager that constitute a knowing violation of law. If a Covered Person is or
was made, or threatened to be made, a party to any threatened, pending or completed action,
proceeding or investigation (a “Proceeding”), whether civil, criminal, administrative or
investigative, including an action by or in the right of the Company to procure a judgment
in its favor, (1) in connection with any matter arising out of or in connection with the
Company’s or any of its Subsidiaries’ business or affairs, or (2) by reason of the fact that
such Covered Person is serving or has served in one or more of the capacities set forth in
the definition of “Covered Person”, the Company shall pay, within a reasonable period of
time following the Company’s receipt of reasonably detailed supporting documentation, to
such Covered Person for such Covered Person’s legal and other expenses (including legal
and other professional fees and disbursements, and the cost of any investigation and
preparation) incurred in connection therewith in advance of the final disposition of such
Proceeding; provided, that such Covered Person shall promptly repay to the Company the
amount of any such expenses paid to it if it shall be determined that such Covered Person
is not entitled to be indemnified by the Company in connection with such Proceeding as
provided in the proviso contained in the immediately preceding sentence. If for any reason
the foregoing indemnification is unavailable to a Covered Person, or is insufficient to hold
it harmless, then the Company shall contribute to the amount paid or payable by such
Covered Person as a result of the applicable Damages in such proportion as is appropriate
to reflect the relative benefits received by the Company on the one hand and the Covered
Person on the other hand or, if such allocation is not permitted by applicable law, to reflect

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       not only the relative benefits referred to above but also any other relevant equitable
       considerations. No amendment or repeal of any part of this Section 8.2 shall apply to or
       have any effect on any right to indemnification, reimbursement and advancement of
       expenses, and contribution provided hereunder with respect to any acts or omissions
       occurring prior to such amendment or repeal.

               (b)      The rights to indemnification, reimbursement and advancement of
       expenses, and contribution provided by, or granted pursuant to, this Section 8.2 shall not
       be deemed exclusive of any other rights to which a Covered Person seeking
       indemnification, reimbursement or advancement of expenses, or contribution may have or
       hereafter be entitled under any statute, this Agreement, any other agreement (including any
       policy of insurance purchased or provided by the Company under which any Covered
       Person is covered), any vote of the Members or Managers or otherwise, both as to action
       in his or her official capacity and as to action in another capacity while holding such office.

               (c)     The rights to indemnification, reimbursement and advancement of
       expenses, and contribution provided by, or granted pursuant to, this Section 8.2 shall inure
       to the benefit of the successors, heirs, executors and administrators of a Covered Person.

               (d)    The Company shall have the power to purchase and maintain insurance on
       behalf of any Covered Person to protect such Covered Person against any Damages,
       whether or not the Company would have the power to indemnify such Covered Person
       against any such Damages under the provisions of this Section 8.2 or under any provision
       of law.

       8.3      No Member Liability. Any indemnification, reimbursement and advancement of
expenses, or contribution provided under this Article 8 shall be satisfied solely out of assets of the
Company, as an expense of the Company. No Member shall be subject to personal liability by
reason of the indemnification, reimbursement and advancement of expenses, or contribution
provisions set forth in this Article 8.

       8.4      Settlements. The Company shall not be liable for any settlement by a Covered
Person of any Proceeding effected without its written consent, but if settled with such written
consent, or if there is a final judgment against such Covered Person in any such Proceeding, the
Company agrees to indemnify and hold harmless such Covered Person to the extent provided
above from and against any Damages by reason of such settlement or judgment.

       8.5     Business Opportunities; Fiduciary Duties.

               (a)     The Company and each Member acknowledge that each Member (other
       than a Member who is also an employee or officer of the Company or any of its Subsidiaries
       (other than the Chairman) or any Affiliate of any such employee or officer), each Specified
       Manager (whether the Specified Manager is serving as a member of the Board, a member
       of a committee of the Board or a member of any Subsidiary Governing Body), and each
       Affiliate, manager, director, principal, officer, employee and other representative of each
       such Member or Specified Manager (other than any such Person who is also an employee
       or officer of the Company or any of its Subsidiaries (other than the Chairman)) (the

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foregoing Persons being referred to, collectively, as “Identified Persons” and, each
individually, as an “Identified Person”) may now engage, may continue to engage, and/or
may, in the future, decide to engage, in the same or similar activities or lines of business
as those in which the Company or any of its Subsidiaries, directly or indirectly, now engage
or may engage and/or other business activities that overlap with, are complementary to, or
compete with those in which the Company or any of its Subsidiaries, directly or indirectly,
now engage or may engage (any such activity or line of business, an “Opportunity”). No
Identified Person shall have any duty to refrain, directly or indirectly, from (i) pursuing or
engaging in any Opportunity or (ii) otherwise competing with the Company or any of its
Subsidiaries. No Identified Person shall have any duty or obligation to refer or offer to the
Company or any of its Subsidiaries any Opportunity, and the Company hereby renounces,
on behalf of itself and each of its Subsidiaries, any interest or expectancy of the Company
or any of its Subsidiaries in, or in being offered, an opportunity to participate in any
Opportunity engaged in by any Identified Person which may be a corporate (or analogous)
or business opportunity for the Company or any of its Subsidiaries.

        (b)     In the event that any Identified Person acquires knowledge of an
Opportunity which may be a corporate (or analogous) or business opportunity for the
Company or any of its Subsidiaries, such Identified Person shall have no duty to
communicate, offer or otherwise make available such Opportunity to the Company or any
of its Subsidiaries and shall not be liable to the Company, any of its Subsidiaries or any of
the Members for breach of any purported fiduciary duty by reason of the fact that such
Identified Person pursues or acquires such Opportunity for itself, or offers or directs such
Opportunity to another Person (including any Affiliate of such Identified Person).

         (c)    The Company, on behalf of itself and each of its Subsidiaries, and each
Member (i) acknowledge that the Identified Persons may now own, may continue to own,
and from time to time may acquire and own, investments in one or more other Entities
(each such Entity, a “Related Company” and all such Entities, collectively, “Related
Companies”) that are direct competitors of, or that otherwise may have interests that do or
could conflict with those of, the Company, any of its Subsidiaries, any of the Members or
any of their respective Affiliates, and (ii) agree that (A) the enjoyment, exercise and
enforcement of the rights, interests, privileges, powers and benefits granted or available to
the Identified Persons under this Agreement shall not be in any manner reduced,
diminished, affected or impaired, and the obligations of the Identified Persons under this
Agreement (if any) shall not be in any manner augmented or increased, by reason of any
act, circumstance, occurrence or event arising from or in any respect relating to (x) the
ownership by an Identified Person of any interest in any Related Company, (y) the
affiliation of any Related Company with an Identified Person or (z) any action taken or
omitted by any Related Company or an Identified Person in respect of any Related
Company, (B) no Identified Person shall, by reason of such ownership, affiliation or action,
become subject to any fiduciary duty to the Company, any of its Subsidiaries, any of the
Members or any of their respective Affiliates, (C) none of the duties imposed on an
Identified Person, whether by contract or law, do or shall limit or impair the right of any
Identified Person lawfully to compete with the Company, any of its Subsidiaries, any of
the Members or any of their respective Affiliates as if the Identified Persons were not a
party to this Agreement and (D) the Identified Persons are not and shall not be obligated to

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disclose to the Company, any of its Subsidiaries, any of the Members or any of their
respective Affiliates any information related to their respective businesses or opportunities,
including acquisition opportunities, or to refrain from or in any respect to be restricted in
competing against the Company, any of its Subsidiaries, any of the Members or any of
their respective Affiliates in any such business or as to any such opportunities.

         (d)     To the fullest extent permitted by law, this Agreement is not intended to,
and does not, create or impose any fiduciary or other duty on any Identified Person.
Further, to the fullest extent permitted by law, the Company and each Member hereby
waives any and all fiduciary duties owed to the Company or such Member by any Identified
Person (including those fiduciary duties that, absent such waiver, may be implied by law),
and in doing so, the Company and each Member recognizes, acknowledges and agrees that
the duties and obligations of the Identified Persons to the Company, each other Member
and each other Person that is or becomes a party to or is otherwise bound by (or is or
becomes a beneficiary of) this Agreement are only as expressly set forth in this Agreement.
To the fullest extent permitted by law, no Identified Person shall owe any duty (including
any fiduciary duty) to the Company or to any Member or to any other Person that is or
becomes a party to or is otherwise bound by (or is or becomes a beneficiary of) this
Agreement other than a duty to act in accordance with the implied contractual covenant of
good faith and fair dealing to the extent required by Delaware law. The parties
acknowledge and agree that any Identified Person acting in accordance with this
Agreement shall (i) be deemed to be acting in compliance with such implied contractual
covenant, and (ii) not be liable to the Company, to any Member or to any other Person that
is a party to or is otherwise bound by (or is or becomes a beneficiary of) this Agreement
for its reliance on the provisions of this Agreement. The provisions of this Agreement, to
the extent that they restrict or eliminate the duties and liabilities of an Identified Person
otherwise existing at law or in equity in respect of the Company or any of the Members,
are agreed by all parties hereto to replace fully and completely such other duties and
liabilities.

         (e)    Each Manager (but expressly excluding any Specified Manager and any
Independent Manager), in its capacity as such, shall have the same fiduciary duties as those
of a member of a board of directors of a corporation organized under the laws of the State
of Delaware. Each employee and officer (other than the Chairman) of the Company, in its
capacity as such, shall have the same fiduciary duties as an employee or officer (as
applicable) of a corporation organized under the laws of the State of Delaware; provided,
that, in recognition of the fact that the Managers do not owe the same fiduciary duties as
the officers and employees, the parties acknowledge and agree that any action taken or
omitted to be taken by any officer or employee of the Company in accordance with his or
her good faith execution of a duly authorized direction of the Board shall not be deemed a
breach of such officer’s or employee’s duty of loyalty to the Company or the Members.
Each Independent Manager, in its capacity as such, shall have the same fiduciary duties as
those of a member of a board of directors of a corporation organized under the laws of the
State of Delaware to refrain from usurping or misappropriating any corporate (or
analogous) or business opportunity for the Company or any of its Subsidiaries, including
any Opportunity, but shall have no other fiduciary duties.


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               (f)    Nothing in this Section 8.5 shall be deemed to limit any Member’s
       obligations under Section 20.1.

        8.6     Subrogation. In the event that any Covered Person who is or was a Member, or
who is or was a partner, shareholder, member, officer, director, manager, fund adviser, investment
adviser, investment manager, controlling person, employee, consultant, counsel, representative or
agent of a Member, and (in any such case) is entitled to indemnification under Section 8.2 for
which such Covered Person is also entitled to indemnification from such Member or any of its
Affiliates (other than the Company or any of its Subsidiaries), the Company hereby agrees that its
duties to indemnify such Covered Person, whether pursuant to this Agreement or otherwise, shall
be primary to those of such Member or such Affiliate, and to the extent that such Member or such
Affiliate actually indemnifies any such Covered Person, such Member or such Affiliate shall be
subrogated to the rights of such Covered Person against the Company for indemnification
hereunder. The Company hereby acknowledges the subrogation rights of each Member and its
Affiliates under such circumstances and agrees to execute and deliver such further documents
and/or instruments as such Member or its Affiliates may reasonably request in order to evidence
any such subrogation rights, whether before or after such Member or its Affiliates make any such
indemnification payment. The Company shall pay any amounts due under this Section 8.6, in
cash, promptly, and in any event within fifteen (15) days, upon written demand therefor
(accompanied by reasonably detailed supporting documentation) from a Member. The Company
hereby waives any right against each of the Members and their respective Affiliates to
indemnification, subrogation, or contribution. Furthermore, the Company expressly agrees that
each Member and its Affiliates is an intended third party beneficiary as to the indemnification
provisions of this Agreement and shall be entitled to bring suit against the Company to enforce
said provisions.

        8.7     Insurance. The Company shall purchase and maintain, at the Company’s expense,
insurance (the “Specified Insurance”) on behalf of all Managers, directors and officers of the
Company and its Subsidiaries to protect any such Person against any expense, liability or loss
suffered or incurred by, imposed on, or to which such Person may become subject (a) in connection
with any matter arising out of or in connection with the Company’s or any of its Subsidiaries’
business or affairs, (b) by reason of the fact that such Person is serving or has served as an officer,
manager or director of the Company or any of its Subsidiaries or (c) by reason of the fact that such
Person is or was serving as a manager, officer, member, employee or agent or in any other capacity
at the request of the Company for any other Entity, in any such case based on acts, omissions,
facts, circumstances or matters occurring or arising on or after the Effective Date; provided,
however, that the Specified Insurance shall be subject to (i) exclusions and exceptions that are
customary for such insurance, and (ii) retentions and limitations as the Board determines to be
reasonable in light of the premiums to be paid for the Specified Insurance. Any Specified
Insurance shall be satisfactory to the Board. If there are any material changes to the terms of the
Specified Insurance (other than such changes specifically approved in advance by the Board),
including terms relating to scope, retention or amounts, then the Company shall notify the
Managers in writing of such changes promptly after the Company becomes aware thereof.

       8.8    Amendments. Notwithstanding anything herein to the contrary, no amendment,
repeal or modification of this Article 8 shall affect any rights or obligations with respect to any


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state of facts then or theretofore existing or any proceeding theretofore or thereafter brought or
threatened based in whole or in part upon any such state of facts.

                                            ARTICLE 9
                                            TRANSFERS

       9.1     Restrictions on Transfers.

              (a)     Prohibited Transfers. Without limiting any other provisions, restrictions or
       conditions of this Article 9, but subject to Section 9.9, unless otherwise waived by the
       Board in its sole discretion, no Units shall be Transferred by any Member (regardless of
       the manner in which the Transferor initially acquired such Units), if:

                       (i)     such Transfer would, if consummated, result in any violation of the
               Securities Act or any state securities laws or regulations, or any other applicable
               federal or state laws or order of any Governmental Authority having jurisdiction
               over the Company or any of its Subsidiaries;

                        (ii)   such Transfer would, if consummated (after taking into account the
               consummation of any other proposed Transfers for which a notice thereof has been
               previously delivered to the Board, but not yet consummated), result in the Company
               having, in the aggregate, 400 or more holders of record (as such concept is
               understood for purposes of Section 12(g) of the Exchange Act) of either (x) the
               class of Units proposed to be Transferred (assuming, for purposes of this clause (x),
               that all issued and outstanding securities of the Company that are exercisable or
               exchangeable for, or convertible into, directly or indirectly, the class of Units
               proposed to be Transferred were exercised, exchanged or converted at the time of
               such Transfer) or (y) any class of Units into which the Units proposed to be
               Transferred are convertible (such Units, “Conversion Units”) (assuming, for
               purposes of this clause (y), that all issued and outstanding securities of the
               Company that are exercisable or exchangeable for, or convertible into, directly or
               indirectly, Conversion Units were exercised, exchanged or converted at the time of
               such Transfer), unless at the time of such Transfer the Company is already subject
               to the reporting obligations under Section 13 or Section 15(d) of the Exchange Act;
               provided, that the number 400 as used in this Section 9.1(a)(ii) shall be increased
               by the number of such holders that acquire from the Company, after the Effective
               Date, Units of the class proposed to be Transferred, Conversion Units, or securities
               of the Company that are exercisable or exchangeable for, or convertible into, Units
               of the class proposed to be Transferred or Conversion Units, in any such case other
               than any such acquisition that was made by a holder who held any such Units,
               Conversion Units or securities prior to such acquisition (including in connection
               with a distribution to all holders of any such Units, Conversion Units or securities);

                      (iii)  such Transfer would, if consummated (after taking into account the
               consummation of any other proposed Transfers for which a notice of any thereof
               has been previously delivered to the Board, but not yet consummated), require the
               Company to register any class of Units or other equity securities of the Company

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       under the Exchange Act (as a result of the number of holders of such Units or equity
       securities or otherwise), unless, at the time of such Transfer, the Company is
       already subject to the reporting obligations under Section 13 or Section 15(d) of the
       Exchange Act;

              (iv)    such Transfer would, in the reasonable judgment of the Board, cause
       the Company to be treated as an association taxable as a corporation or as a
       “publicly traded partnership” for federal income tax purposes;

              (v)   such Transfer would, in the reasonable judgment of the Board, cause
       the Company to be required to register as an “investment company” under the
       Investment Company Act; or

               (vi)    such Transfer is to a Competitor or any of its Affiliates.

        (b)      Certificates; Legal Opinion. In addition to the restrictions set forth in
Section 9.1(a), no Units shall be Transferred by any Member unless (i) the certificates (if
any) representing such Units bear legends as provided in Section 9.1(e) (and, with respect
to uncertificated Units, notice of such legends is provided in accordance with applicable
law), for so long as such legends are applicable, and (ii) either (A) the Transferee is an
Affiliate of the Transferor or (B) prior to such Transfer (1) the Transferee and the
Transferor shall have delivered to the Company representation letters in such form as may
be approved from time to time by the Company and (2) the Transferor shall have delivered
to the Company a legal opinion, reasonably acceptable to the Company, stating that the
registration of the Units that are the subject of such proposed Transfer is not required under
the Securities Act or any applicable state securities or “blue sky” laws. Any of the
requirements set forth in clause (B) of the immediately preceding sentence may be waived
by the Company in its sole discretion.

        (c)    Notice of Transfer. Subject to Sections 9.3 and 9.9, and unless otherwise
provided by the Company, any Member proposing to effect a Transfer of Units must submit
to the Company, not less than five (5) Business Days prior to such Transfer, a written notice
(a “Transfer Notice”) of such Transfer. A Transfer Notice shall be delivered to the
Company, to the attention of (i) the Secretary or Chief Financial Officer, or any of their
designees, and (ii) the Chairman, in each case in accordance with Section 19.5. A Transfer
Notice shall include or be accompanied by (A) the name, address, e-mail address and
telephone number of the Transferor and the Transferee, (B) a certification from the
Transferee whether the Transferee is an Affiliate of the Transferor and whether the
Transferee is an Accredited Investor, (C) the number and class of Units proposed to be
Transferred to, and acquired by, the Transferee, (D) the date on which the Transfer is
proposed to take place, (E) the percentage of the Transferor’s total number of Units of the
same class to be Transferred, (F) a Joinder Agreement, duly completed and executed by
the Transferee to the extent such Transferee has not already signed a counterpart of this
Agreement or executed a Joinder Agreement and (G) a request that the Company register
the Transfer on the books of the Company and inform the Company’s transfer agent (if
any) of the Transfer. So long as the other provisions of this Section 9.1 are satisfied and
complied with, the Company shall, within five (5) Business Days after a Transfer Notice

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is delivered to the Company (but in no event earlier than the proposed date of Transfer
specified in the Transfer Notice), cause the Transfer to be registered on the books of the
Company and inform the Company’s transfer agent (if any) of such Transfer unless, (I)
prior to the expiration of such five (5) Business Day period, the Company requests
information demonstrating that the Transfer complies with this Section 9.1 (including
information demonstrating that the Transferee or any of its Affiliates is not a Competitor)
or (II) the Transferor by written notice to the Company withdraws the related Transfer
Notice prior to registration of the Transfer. If any such request for information is made,
the Transfer shall be registered on the books of the Company no later than five (5) Business
Days after the Company receives such information (but in no event earlier than the
proposed date of Transfer specified in the Transfer Notice), unless the Company
determines during any such 5-Business Day period that the Transfer is not permitted
pursuant to the terms of this Section 9.1, in which case the Company shall promptly inform
the Transferor of such determination. Upon the closing of each Transfer that is permitted
by this Agreement and the Transferee becoming a party to this Agreement, (x) such
Transferee shall be admitted as, and deemed to be, a Member for purposes of this
Agreement, (y) such Transferee shall be entitled to the rights (excluding Manager Consent
Rights and any other rights of a Member that are not assignable or otherwise transferable
pursuant to the terms of this Agreement), and subject to the obligations, of a Member with
respect to the Transferred Units and (z) Schedule A shall be amended by the Company
accordingly.

       (d)     Prohibited Transfers Void. Subject to Section 9.9, the Company shall not
record upon its books any Transfer of any Units except in accordance with the terms and
provisions of this Agreement. Any purported Transfer of Units in violation of such terms
and provisions shall be void ab initio and shall not be recognized by the Company.

       (e)     Legends.

              (i)      All certificates (if any) or statements related to book-entry accounts
       representing or otherwise evidencing any Units that were issued in connection with
       the Plan of Reorganization shall conspicuously bear, or shall be deemed to
       conspicuously bear (even if such certificate or statement does not actually bear such
       legend), the following legend (subject to Section 9.1(e)(iv) below):

“THE LIMITED LIABILITY COMPANY INTERESTS REPRESENTED OR
OTHERWISE EVIDENCED BY THIS [CERTIFICATE] [STATEMENT] WERE
ISSUED IN RELIANCE UPON AN EXEMPTION FROM THE REGISTRATION
REQUIREMENTS OF SECTION 5 OF THE SECURITIES ACT OF 1933, AS
AMENDED (THE “ACT”), PROVIDED BY SECTION 1145 OF THE
BANKRUPTCY CODE, 11 U.S.C. 1145.      THE LIMITED LIABILITY
COMPANY INTERESTS REPRESENTED OR OTHERWISE EVIDENCED BY
THIS [CERTIFICATE] [STATEMENT] HAVE NOT BEEN REGISTERED
UNDER THE ACT OR ANY STATE SECURITIES LAWS, AND TO THE
EXTENT THE HOLDER OF SUCH LIMITED LIABILITY COMPANY
INTERESTS IS AN “UNDERWRITER,” AS DEFINED IN SECTION 1145(B)(1)
OF THE BANKRUPTCY CODE, MAY NOT BE SOLD, PLEDGED OR

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OTHERWISE TRANSFERRED EXCEPT IN ACCORDANCE WITH THE
REGISTRATION REQUIREMENTS OF THE ACT OR AN EXEMPTION
THEREFROM AND, IN EACH CASE, IN COMPLIANCE WITH APPLICABLE
STATE SECURITIES LAWS.”

              (ii)   All certificates (if any) or statements related to book-entry accounts
      representing or otherwise evidencing any Units (other than Class A Common Units
      that were issued under the Plan of Reorganization) shall conspicuously bear, or
      shall be deemed to conspicuously bear (even if such certificate or statement does
      not actually bear such legend), the following legend (subject to Section 9.1(e)(iv)
      below):

“THE LIMITED LIABILITY COMPANY INTERESTS REPRESENTED OR
OTHERWISE EVIDENCED BY THIS [CERTIFICATE] [STATEMENT] HAVE
NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS
AMENDED (THE “ACT”), OR ANY STATE SECURITIES LAWS AND MAY
NOT BE SOLD, PLEDGED OR OTHERWISE TRANSFERRED EXCEPT IN
ACCORDANCE WITH THE REGISTRATION REQUIREMENTS OF THE ACT
OR AN EXEMPTION THEREFROM AND, IN EACH CASE, IN COMPLIANCE
WITH APPLICABLE STATE SECURITIES LAWS.”

              (iii)  All certificates (if any) or statements related to book-entry accounts
      representing or otherwise evidencing any Units shall conspicuously bear, or shall
      be deemed to conspicuously bear (even if such certificate or statement does not
      actually bear such legend), the following legend:

“THE LIMITED LIABILITY COMPANY INTERESTS REPRESENTED OR
OTHERWISE EVIDENCED BY THIS [CERTIFICATE] [STATEMENT] ARE
SUBJECT TO VARIOUS TERMS, PROVISIONS AND CONDITIONS,
INCLUDING CERTAIN RESTRICTIONS ON SALE, DISPOSITION OR
TRANSFER, AS SET FORTH IN THE LIMITED LIABILITY COMPANY
AGREEMENT OF [NEWCO, LLC] (THE “COMPANY”) DATED AS OF [],
2021 (AS AMENDED, RESTATED, AMENDED AND RESTATED,
SUPPLEMENTED OR OTHERWISE MODIFIED FROM TIME TO TIME, THE
“LLC AGREEMENT”) BY AND AMONG THE COMPANY AND THE
MEMBERS OF THE COMPANY. NO REGISTRATION OR TRANSFER OF
THE LIMITED LIABILITY COMPANY INTERESTS REPRESENTED OR
OTHERWISE EVIDENCED BY THIS [CERTIFICATE] [STATEMENT] WILL
BE MADE ON THE BOOKS OF THE COMPANY OR ITS TRANSFER AGENT
UNLESS AND UNTIL SUCH RESTRICTIONS SHALL HAVE BEEN
COMPLIED WITH. THE COMPANY OR ITS TRANSFER AGENT WILL
FURNISH, WITHOUT CHARGE, TO EACH HOLDER OF RECORD OF THE
LIMITED LIABILITY COMPANY INTERESTS REPRESENTED OR
OTHERWISE EVIDENCED BY THIS [CERTIFICATE] [STATEMENT] A
COPY OF THE LLC AGREEMENT, CONTAINING THE ABOVE-
REFERENCED TERMS, PROVISIONS AND CONDITIONS, INCLUDING
RESTRICTIONS ON SALE, DISPOSITION OR TRANSFER OF LIMITED

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       LIABILITY COMPANY INTERESTS, UPON WRITTEN REQUEST TO THE
       COMPANY AT ITS PRINCIPAL PLACE OF BUSINESS.”

                       (iv)    In the event that any Units shall be registered for Transfer under the
              Securities Act, the Company shall, upon the written request of the holder of such
              Units, issue to such holder a new certificate or statement of book-entry position, as
              applicable, representing or otherwise evidencing such Units without the legend
              required by Section 9.1(e)(i). In the event that any Units shall cease to be subject
              to the restrictions on Transfer set forth in this Section 9.1, the Company shall, upon
              the written request of the holder of such Units, issue to such holder a new certificate
              or statement of book-entry position, as applicable, representing or otherwise
              evidencing such Units without the legend required by Sections 9.1(e)(ii) and
              9.1(e)(iii).

                     (v)      In the case of uncertificated Units, the Company shall provide notice
              to the Members of the applicable legends required by Sections 9.1(e)(i), 9.1(e)(ii)
              and 9.1(e)(iii) above in accordance with applicable law.

                      (vi)    Each Member shall be deemed to have actual knowledge of the
              terms, provisions, restrictions and conditions set forth in this Agreement (including
              the restrictions on Transfer set forth in this Section 9.1) for all purposes of this
              Agreement and applicable law (including the Act and the Uniform Commercial
              Code as adopted and in effect in any applicable jurisdiction), whether or not any
              certificate or statement of book-entry position, as applicable, representing or
              otherwise evidencing any Units owned or held by such Member bears the
              applicable legends set forth in Sections 9.1(e)(i), 9.1(e)(ii) and 9.1(e)(iii) and
              whether or not any such Member received a separate notice of such terms,
              provisions, restrictions and conditions.

               (f)     Member Consent.       Anything in this Agreement to the contrary
       notwithstanding, except as provided in Section 9.3 or Section 9.9, no Series A Preferred
       Units or Series B Preferred Units may be Transferred by any Member to any Person (other
       than an Affiliate of such Member) without the prior written consent (not to be unreasonably
       withheld) of each Initial Member Group; provided, however, that such consent of an Initial
       Member Group shall only be required for so long as, at the time of such proposed Transfer,
       such Initial Member Group holds at least the Threshold Amount of the applicable series of
       Preferred Units.

               (g)     Certain Members. If any Member is an Entity that was formed for the
       primary purpose of acquiring indebtedness of, or securities in, the Company, or that has no
       substantial assets other than Units and indebtedness of, or securities in, the Company, then
       such Member agrees that no Equity Interests in such Member may be sold, transferred or
       otherwise disposed to any Person other than in accordance with the terms and provisions
       of this Section 9.1 as if such Equity Interests were Units.

       9.2    Transfer Agents and Registrars; Regulations. The Company, by resolution of the
Board, may from time to time appoint a transfer agent and a registrar, under such arrangements

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and upon such terms and conditions as the Board deems advisable. Until and unless the Board
appoints some other Person as its transfer agent (and upon the revocation of any such appointment,
thereafter until a new appointment is similarly made) the Secretary shall be the transfer agent of
the Company without the necessity of any formal action of the Board, and the Secretary, or any
Person designated by the Secretary, shall perform all of the duties of such transfer agent. The
Board may make such rules and regulations as it may deem expedient and as are not inconsistent
with this Agreement, concerning the issue, registration and Transfer of certificates for Units.

       9.3     Drag-Along Transactions.

               (a)     At any time after the Initial Drag-Along Date, if a Selling Member (or
       Selling Members) determines to effect, approve or otherwise take an action that would
       cause the occurrence of, or desire to consummate, a Drag-Along Transaction, the Company
       or such Selling Members (or a designated representative acting on behalf of such Selling
       Members) shall deliver written notice thereof (a “Drag-Along Notice”) to all other
       Members (each, a “Dragged Member” and, collectively, the “Dragged Members”),
       including any holders of Class A Common Units, Series A Preferred Units or Series B
       Preferred Units, in their capacities as such. Such written notice shall be delivered to the
       Dragged Members in accordance with Section 19.5 at least twenty (20) Business Days
       prior to the proposed closing date of the Drag-Along Transaction, and shall contain a
       description, in reasonable detail, of the material terms and conditions of the Drag-Along
       Transaction, including the identity of the Third Party Purchaser, the amount and form of
       consideration to be paid by the Third Party Purchaser, copies of any Drag-Along
       Transaction Documents or Investment Documents that the Dragged Members will be
       required to execute and deliver in connection with such Drag-Along Transaction (to the
       extent such documents exist at the time such Drag-Along Notice is delivered to the
       Dragged Members) and the proposed date (which may be an estimated date or range of
       dates) for the closing of the Drag-Along Transaction. Notwithstanding the foregoing, a
       Drag-Along Transaction shall satisfy one of the following requirements (collectively, the
       “Drag-Along Requirements”):

                       (i)     (A) the Selling Members hold at least the Threshold Amount of
               Series B Preferred Units at the time the Drag-Along Notice is delivered and at all
               times after the time the Drag-Along Notice is delivered through immediately prior
               to the closing of such Drag-Along Transaction (except in connection with the
               exercise by the Company of its Optional Redemption Right after the Drag-Along
               Notice is delivered), (B) the Drag-Along Transaction is to be consummated after
               the Initial Drag-Along Date (but before the Subsequent Drag-Along Date), and
               (C) the Purchase Price is equal to (or greater than) the greater of (1) the Fair Market
               Value of the Company, which Fair Market Value shall be obtained through a FMV
               Sale Process, and (2) the Minimum Purchase Price;

                      (ii)     (A) the Selling Members hold at least the Threshold Amount of
               Series B Preferred Units at the time the Drag-Along Notice is delivered and at all
               times after the time the Drag-Along Notice is delivered through immediately prior
               to the closing of such Drag-Along Transaction (except in connection with the
               exercise by the Company of its Optional Redemption Right after the Drag-Along

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       Notice is delivered), (B) the Drag-Along Notice is delivered after the Subsequent
       Drag-Along Date, (C) the Purchase Price is equal to (or greater than) the Fair
       Market Value of the Company, which Fair Market Value shall be obtained through
       a FMV Sale Process, and (D) no Material Adverse Effect shall have occurred and
       be continuing; or

               (iii)  (A) the Goldman Members hold less than the Threshold Amount of
       the Series B Preferred Units at the time the Drag-Along Notice is delivered, (B) the
       BSP Members hold at least fifty percent (50%) of the number of Class A Common
       Units held by the BSP Members as of the Effective Date (subject to appropriate
       proportionate adjustment in the event of any distribution, split, combination or
       other similar adjustment in the number of Class A Common Units) at the time the
       Drag-Along Notice is delivered and at all times after the time the Drag-Along
       Notice is delivered through immediately prior to the closing of such Drag-Along
       Transaction (except in connection with the exercise by the Company of its Optional
       Redemption Right after the Drag-Along Notice is delivered), and (C) the terms of
       such proposed Drag-Along Transaction were approved by the Board, and obtained
       through a FMV Sale Process.

For the purposes of this Section 9.3, “Fair Market Value” shall mean the fair market value
of the applicable property and/or assets included in a proposed Drag-Along Transaction as
determined by (x) the Board or (y) in the event that there is an FMV Sale Process, an
Independent Financial Advisor. Such Independent Financial Advisor’s determination of
such Fair Market Value shall be final, binding and conclusive on the Company and the
Members for the purposes of this Section 9.3. Any and all costs and fees of such
Independent Financial Advisor shall be paid pursuant to Section 9.3(e).

        (b)   If a Drag-Along Notice is delivered by the Company or by or on behalf of
the Selling Members to the Dragged Members, each of the Dragged Members shall:

               (i)     if such Drag-Along Transaction is structured as a Transfer of Units,
       be obligated to Transfer to the Third Party Purchaser (subject to the other terms of
       this Section 9.3(b)), at the closing of such Drag-Along Transaction, all Units held
       by such Dragged Member (or the applicable portion of such Dragged Member’s
       Units that are required to be Transferred in connection with such Drag-Along
       Transaction, as determined in accordance with Section 9.3(c)) on purchase terms
       and conditions that are substantially the same as those purchase terms and
       conditions applicable to the Units of the Selling Members of the same class
       (excluding any investment or reinvestment opportunity given to management of the
       Company or any of its Subsidiaries), free and clear of any Liens (other than
       Permitted Liens); provided, that each Dragged Member will receive, in respect of
       such Dragged Member’s Units that are Transferred in such Drag-Along
       Transaction, no less than the same portion of the aggregate net consideration paid
       in such Drag-Along Transaction that such Dragged Member would have received
       if such aggregate net consideration had been distributed by the Company pursuant
       to Section 13.2;


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              (ii)    if such Drag-Along Transaction is structured as a sale or transfer of
      assets (including by or through the sale, issuance or other disposition of the Equity
      Interests of, or reorganization, merger, unit or share exchange, consolidation or
      other business combination involving, any direct and/or indirect Subsidiary or
      Subsidiaries of the Company), approve any subsequent dissolution and liquidation
      of the Company or any of its Subsidiaries in connection therewith and execute
      and/or deliver any applicable documents, instruments or agreements related thereto;

              (iii)  (A) be required to vote (including by written consent) such Dragged
      Member’s Units (to the extent of any voting rights), whether by proxy, voting
      agreement or otherwise, in favor of such Drag-Along Transaction, and (B) not raise
      any objection against such Drag-Along Transaction (including objections relating
      to consideration being paid in connection therewith) or the process pursuant to
      which it was arranged, negotiated or consummated (other than any objection based
      on a claim of non-compliance with the terms of this Agreement);

              (iv)    execute and deliver any applicable purchase agreement, merger
      agreement, indemnity agreement, escrow agreement, letter of transmittal, release
      or other agreements or documents governing or relating to such Drag-Along
      Transaction that the Company, the Selling Members or the Third Party Purchaser
      may request and which are executed and delivered by the Selling Members (other
      than any agreements or documents that relate to any investment or reinvestment
      opportunity given to management of the Company or any of its Subsidiaries) (the
      “Drag-Along Transaction Documents”); provided, however, that (A) no Dragged
      Member shall be required to provide any (I) non-competition, non-solicitation or
      other restrictive covenant other than reasonable and customary confidentiality
      covenants, (II) representations or warranties other than customary representations
      and warranties, on a several and not joint basis, regarding organization, existence
      and good standing of such Dragged Member, the power and authority of such
      Dragged Member to enter into the Drag-Along Transaction, due authorization,
      execution and delivery by such Dragged Member of the Drag-Along Transaction
      Documents and the Investment Documents, enforceability against such Dragged
      Member of the Drag-Along Transaction Documents and the Investment
      Documents, good and marketable title (free and clear of all Liens) of the Units of
      such Dragged Member, the consents and notices required to be obtained or made
      by such Dragged Member in connection with such Drag-Along Transaction, no
      conflicts with organizational documents, contracts or law applicable to such
      Dragged Member, no legal proceedings against such Dragged Member, and no
      brokers’ fees owed by such Dragged Member in connection with such Drag-Along
      Transaction, and other matters reasonably requested by the Third Party Purchaser
      with respect to such Dragged Member and directly related to such Drag-Along
      Transaction (for the avoidance of doubt, no Dragged Member shall be required to
      provide any representations or warranties with respect to the Company or any of its
      Subsidiaries), or (III) indemnity relating to such Drag-Along Transaction that is in
      excess of the amount of net proceeds payable to such Dragged Member in
      connection with such Drag-Along Transaction (other than on account of such
      Dragged Member’s own fraud) and (B) no Dragged Member shall be required to

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      accept, in exchange for such Dragged Member’s Units, consideration payable in
      any form other than cash (unless such Dragged Member consents to such
      consideration);

               (v)    if the Members will receive any Equity Interests in the continuing,
      acquiring, resulting or surviving entity in the Drag-Along Transaction, or the parent
      thereof (the “Surviving Entity”), execute and deliver any applicable limited
      liability company agreement, stockholders agreement, partnership agreement,
      investor rights agreement, voting agreement or similar agreement which relates to
      the internal governance of the Surviving Entity and/or the rights or obligations of
      the owners of the Equity Interests in the Surviving Entity that the Company, the
      Selling Members or the Third Party Purchaser may request and which are executed
      and delivered by the Selling Members (the “Investment Documents”); provided,
      however, that if the Equity Interests to be received by the Dragged Members are
      not marketable securities, the Selling Members shall reasonably cooperate with
      each such Dragged Member with respect to the inclusion of proper provisions in
      the relevant Investment Documents to account for any bona fide regulatory
      requirements reasonably requested by each such Dragged Member;

               (vi)   use commercially reasonable efforts to obtain or make any consents
      or filings necessary to be obtained or made by such Dragged Member to effectuate
      such Drag-Along Transaction;

             (vii) without limiting the provisions of Section 5.6, waive and refrain
      from exercising any appraisal, dissenters or similar rights with respect to such Drag-
      Along Transaction;

              (viii) not (A) take any action that would reasonably be expected to impede
      or be prejudicial to such Drag-Along Transaction, (B) assert, at any time, any claim
      (other than a claim based on non-compliance with the terms of this Agreement)
      against the Company, any member of the Board (or any committee thereof), any
      member of any Subsidiary Governing Body or any other Member or any of its
      Affiliates (including any Selling Member and any of its Affiliates) in connection
      with such Drag-Along Transaction, or (C) except as required by a Governmental
      Authority or as otherwise permitted under and pursuant to Article 20, disclose to
      any Person any information related to such Drag-Along Transaction (including the
      identity of the Third Party Purchaser, the fact that discussions or negotiations are
      taking place concerning such Drag-Along Transaction, or any of the terms,
      conditions or other information with respect to such Drag-Along Transaction); and

              (ix)   subject to the limitations set forth in the proviso in
      Section 9.3(b)(iv), take all necessary or desirable actions reasonably requested by
      the Selling Members, the Third Party Purchaser and/or the Company in connection
      with the consummation of such Drag-Along Transaction, including voting such
      Dragged Member’s Units (to the extent of any voting rights), whether by proxy,
      voting agreement or otherwise, in favor of such Drag-Along Transaction and, if


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       applicable, in favor of a Corporate Conversion in connection with such Drag-Along
       Transaction.

        (c)     In the case of a Drag-Along Transaction pursuant to which the Selling
Members are collectively Transferring less than one hundred percent (100%) of all of the
Units owned or held by the Selling Members in the aggregate, then each Dragged Member
shall be required to Transfer a percentage of the applicable class of Units owned or held by
such Dragged Member equal to the quotient obtained by dividing (i) the total number of
the applicable class of Units owned or held by the Selling Members that are proposed to
be Transferred in such Drag-Along Transaction by (ii) the total number of the applicable
class of Units owned or held by the Selling Members in the aggregate.

        (d)    At the closing of any Drag-Along Transaction that is structured as a sale or
other Transfer of Units in which the Selling Members have exercised their rights under this
Section 9.3, each Dragged Member shall deliver at such closing, against payment of the
purchase price therefor in accordance with the terms of the Drag-Along Transaction
Documents, certificates or other documentation (or other evidence thereof reasonably
acceptable to the Third Party Purchaser) representing such Dragged Member’s Units to be
sold, duly endorsed for transfer or accompanied by duly endorsed instruments of transfer,
and such other documents as are deemed reasonably necessary by any one or more of the
Selling Members, the Third Party Purchaser and/or the Company for the proper transfer of
such Units on the books of the Company, free and clear of any Liens (other than Permitted
Liens).

        (e)    Each Selling Member and each Dragged Member will bear its pro rata share
(based upon the allocation among each such Member of the consideration payable in
respect of Units in the Drag-Along Transaction) of the costs and expenses of any Drag-
Along Transaction to the extent such costs and expenses are incurred for the benefit of all
Members or the Company and are not otherwise paid by the Company or the Third Party
Purchaser. Costs and expenses incurred by any Member on its own behalf will not be
considered costs and expenses of the Drag-Along Transaction and will be borne solely by
such Member.

         (f)    The Company shall, and shall use its commercially reasonable efforts to
cause its officers, employees, agents, contractors and others under its control to, cooperate
and assist in any proposed Drag-Along Transaction and not take any action which would
reasonably be expected to impede or be prejudicial to any such Drag-Along Transaction.
Pending the completion of any proposed Drag-Along Transaction, the Company shall use
commercially reasonable efforts to operate the Company and its Subsidiaries in the
ordinary course of business and to maintain all existing business relationships in good
standing (unless otherwise required by the Drag-Along Transaction Documents) and
otherwise comply with the terms of the Drag-Along Transaction Documents to which it is
a party.

        (g)     The Company shall cooperate with the Selling Members to enter into a
Drag-Along Transaction and to take any and all such further action in connection therewith
as the Selling Members may deem reasonably necessary or reasonably appropriate in order

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to consummate (or, if directed by the Selling Members, abandon) any such Drag-Along
Transaction. Neither the Company, any of its Subsidiaries nor any of the Selling Members
shall have any liability if any Drag-Along Transaction is not consummated for any reason
(including if the Selling Members elect to abandon such Drag-Along Transaction for any
reason or for no reason). Subject to the provisions of this Section 9.3, the Selling Members,
in exercising their rights under this Section 9.3, shall have complete discretion over the
terms and conditions of any Drag-Along Transaction effected hereby, including price,
payment terms, conditions to closing, timing of closing, representations, warranties,
affirmative covenants, negative covenants, indemnification, releases, holdbacks and
escrows; provided that the Selling Members shall consult with, and consider in good faith
reasonable comments and requests from, the other Members. At the request of the Selling
Members, the Board shall authorize and direct the Company and/or any now or hereafter
created Subsidiary of the Company to execute such agreements, documents, applications,
authorizations, registration statements and instruments as they may deem reasonably
necessary or reasonably appropriate in connection with any Drag-Along Transaction.

        (h) IN ORDER TO SECURE THE OBLIGATIONS OF EACH DRAGGED
MEMBER TO VOTE SUCH DRAGGED MEMBER’S UNITS IN FAVOR OF A DRAG-
ALONG TRANSACTION AND (WITHOUT LIMITING THE PROVISIONS OF
SECTION 5.6) TO WAIVE ANY APPRAISAL, DISSENTERS OR SIMILAR RIGHTS
THAT SUCH DRAGGED MEMBER HAS (OR MAY HAVE) WITH RESPECT TO
ANY DRAG-ALONG TRANSACTION, IN EACH CASE AS SET FORTH IN SECTION
9.3(b), EACH DRAGGED MEMBER HEREBY IRREVOCABLY APPOINTS THE
SELLING MEMBERS (AND EACH OF THEM) AS SUCH DRAGGED MEMBER’S
TRUE AND LAWFUL PROXY AND ATTORNEY, WITH FULL POWER OF
SUBSTITUTION, TO VOTE ALL UNITS OWNED OR HELD BY SUCH DRAGGED
MEMBER OR OVER WHICH SUCH DRAGGED MEMBER HAS VOTING CONTROL
TO EFFECTUATE SUCH VOTES AND WAIVERS FOR THE DURATION OF THE
EXISTENCE OF THE COMPANY. IN ADDITION, IN ORDER TO SECURE THE
OBLIGATIONS OF EACH DRAGGED MEMBER TO EXECUTE AND DELIVER THE
DRAG-ALONG TRANSACTION DOCUMENTS AND, IF APPLICABLE, THE
INVESTMENT DOCUMENTS, AND TO TAKE ACTIONS IN CONNECTION WITH
THE CONSUMMATION OF A DRAG-ALONG TRANSACTION, IN EACH CASE AS
SET FORTH IN SECTION 9.3(b), EACH DRAGGED MEMBER HEREBY
IRREVOCABLY GRANTS TO THE SELLING MEMBERS (AND EACH OF THEM) A
POWER-OF-ATTORNEY TO SIGN ANY AND ALL SUCH DRAG-ALONG
TRANSACTION DOCUMENTS (PROVIDED SUCH DOCUMENTS ARE IN
COMPLIANCE WITH THE TERMS OF SECTION 9.3(b)) AND, IF APPLICABLE,
INVESTMENT DOCUMENTS, AND TO TAKE ANY AND ALL SUCH ACTIONS, IN
THE NAME AND ON BEHALF OF SUCH DRAGGED MEMBER. THE PROXIES
AND POWERS OF ATTORNEY GRANTED BY EACH DRAGGED MEMBER
PURSUANT TO THIS SECTION 9.3(h) ARE COUPLED WITH AN INTEREST, ARE
IRREVOCABLE, AND SHALL NOT BE AFFECTED BY AND SHALL SURVIVE THE
DEATH, INCOMPETENCY, INCAPACITY, DISABILITY, BANKRUPTCY OR
INSOLVENCY OF ANY DRAGGED MEMBER WHO IS AN INDIVIDUAL AND THE
MERGER, CONSOLIDATION, LIQUIDATION, BANKRUPTCY, INSOLVENCY OR
DISSOLUTION OF ANY DRAGGED MEMBER THAT IS NOT AN INDIVIDUAL.
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       ANY SELLING MEMBER MAY EXERCISE THE PROXIES AND POWERS OF
       ATTORNEY GRANTED BY ANY DRAGGED MEMBER HEREUNDER AT ANY
       TIME SUCH DRAGGED MEMBER FAILS TO COMPLY WITH THE PROVISIONS
       OF THIS SECTION 9.3 WITHIN THREE (3) BUSINESS DAYS AFTER BEING GIVEN
       WRITTEN NOTICE THEREOF.

              (i)     A Transfer of Units in a Drag-Along Transaction by a Selling Member or a
       Dragged Member pursuant to this Section 9.3 shall not be subject to the requirements of
       Section 9.1 other than Section 9.1(a)(i).

               (j)     For the avoidance of doubt, (i) a Drag-Along Transaction shall be deemed
       to constitute a Liquidation Event but shall not constitute a Dissolution Event pursuant to
       Section 15.2, (ii) the proceeds of a Drag-Along Transaction shall be distributed in
       accordance with Section 13.2 (provided, that, to the extent applicable, the Company will
       be entitled to retain a portion of the proceeds of such Drag-Along Transaction reasonably
       necessary to satisfy debts and liabilities of the Company with respect to a subsequent
       Dissolution Event pursuant to Section 15.2, as described in Section 15.2(a)), and (iii) the
       obligations of the Company and the Dragged Members pursuant to this Section 9.3 shall
       apply irrespective of the amount of consideration (if any) to be paid to each Dragged
       Member pursuant to the Drag-Along Transaction (provided the proposed Drag-Along
       Transaction otherwise meets any applicable Drag-Along Requirements).

               (k)      The Selling Members who desire to pursue a potential Drag-Along
       Transaction shall be entitled to require that the Company retain an Independent Financial
       Advisor and run a FMV Sale Process by delivering a written notice (a “Sale Process
       Notice”) to the Company to such effect; provided that, the Goldman Members shall not be
       entitled to deliver a Sale Process Notice (i) prior to the Initial Drag-Along Date (except for
       instances in which the Company has failed to timely redeem any Units held by the Goldman
       Members as required or permitted under Section 5.11) or (ii) more than once in any twelve
       (12)-month period.

        9.4     Appointment of Purchaser Representative. If the Selling Members enter into any
negotiation or transaction for which Rule 506 of Regulation D (or any similar rule then in effect)
promulgated by the SEC may be available with respect to such negotiation or transaction
(including a merger, consolidation or other reorganization), each Dragged Member who is not an
Accredited Investor shall, at the request of the Company or the Selling Members appoint a
“purchaser representative” (as such term is defined in Rule 501 of Regulation D) reasonably
acceptable to the Company and the Selling Members in connection with such negotiation or
transaction.

       9.5     [Intentionally Deleted].

       9.6    Preemptive Rights. If the Goldman Members no longer hold the Threshold Amount
of Series B Preferred Units, each holder of Series B Preferred Units shall be treated as a
“Preemptive Member” and, collectively, the “Preemptive Members” and granted the
preemptive rights set forth in this Section 9.6.


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         (a)     The Company shall not, after the Effective Date, sell or issue to any Person
(including any then-current Member) any additional Units or other Equity Interests of the
Company, or any options, warrants or other securities that are convertible into, or
exchangeable or exercisable for, any Units or other Equity Interests of the Company, or
reclassify any Units or Equity Interests of the Company, in any such case that are senior to
or pari passu with the Series B Preferred Units (collectively, the “Additional Securities”),
unless the Company first submits written notice (a “Preemptive Rights Notice”) to each
Preemptive Member identifying the material terms of the Additional Securities (including
the price, number or amount and type of Additional Securities, and all other material terms
thereof) and offers to each such Preemptive Member (provided such Preemptive Member
demonstrates to the Company’s reasonable satisfaction that such Preemptive Member is an
Accredited Investor) the opportunity to purchase up to a portion of the Additional
Securities (a “Pro Rata Portion”) on such terms and conditions set forth in the Preemptive
Rights Notice. A Preemptive Member’s Pro Rata Portion shall be equal to the product of
(x) the total number or amount of Additional Securities subject to the sale or issuance and
(y) a fraction, (A) the numerator of which is the aggregate Series B Preference Amount of
the Series B Preferred Units then owned or held by such Preemptive Member, and (B) the
denominator of which is the aggregate Series B Preference Amount of all of the issued and
outstanding Series B Preferred Units.

        (b)     The Company’s offer to each Preemptive Member shall remain open for a
period of thirty (30) days after the Preemptive Rights Notice is delivered to such
Preemptive Member in accordance with Section 19.5. A Preemptive Member may accept
such offer by delivering written notice of such acceptance to the Company prior to the
expiration of such thirty (30) day period, which notice shall set forth the number or amount
of such Additional Securities to be purchased by such Preemptive Member (which, in any
event, shall not exceed the number or amount equal to such Preemptive Member’s Pro Rata
Portion). If not all Preemptive Members subscribe for their full Pro Rata Portion of
Additional Securities, then the Company shall notify in writing the fully-subscribing
Preemptive Members of such fact and shall offer such fully-subscribing Preemptive
Members the right to acquire such unsubscribed Additional Securities on the terms set forth
in the Preemptive Rights Notice. Each fully-subscribing Preemptive Member shall have
the right to elect to purchase up to its pro rata share of such unsubscribed Additional
Securities (in proportion to the Pro Rata Portions of all fully-subscribing Preemptive
Members), by delivering written notice to the Company within two (2) Business Days from
the date such offer from the Company is delivered to such Preemptive Member. To the
extent the procedure described in the preceding sentence does not result in the subscription
of all unsubscribed Additional Securities, such procedure shall be repeated until there are
no unsubscribed Additional Securities or until no Preemptive Member has elected to
purchase additional unsubscribed Additional Securities.

       (c)    In the event that any Additional Securities are not subscribed for by the
Preemptive Members in accordance with this Section 9.6, the Company or its applicable
Subsidiary will have sixty (60) days after the expiration of the last period in which
Preemptive Members are entitled to subscribe for Additional Securities to sell the
unsubscribed Additional Securities, at a price and upon other terms no more favorable to a
purchaser of Additional Securities, in the aggregate, than those specified in the Preemptive

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       Rights Notice delivered to the Preemptive Members pursuant to Section 9.6(a). Following
       the earlier to occur of (i) the date the Company sells all such unsubscribed Additional
       Securities and (ii) the date of the expiration of the sixty (60) day period referred to in the
       immediately preceding sentence, the Company will not issue or sell any Additional
       Securities without first offering such Additional Securities to each of the Preemptive
       Members in the manner provided in this Section 9.6 (it being understood, however, that
       prior to such earlier date the Company shall not be permitted to sell or issue any Additional
       Securities (other than such unsubscribed Additional Securities) without first offering such
       Additional Securities to each of the Preemptive Members in the manner provided in this
       Section 9.6).

       9.7     [Intentionally Deleted].

        9.8     Termination of Article 9. Notwithstanding anything to the contrary in this
Article 9, the provisions of this Article 9 (other than the legend requirements set forth in
Section 9.1(e) (to the extent still applicable)) shall automatically terminate and be of no further
force or effect upon the earlier of: (a) the consummation of a Qualified Public Offering and (b) the
consummation of a Sale Transaction; provided that for purposes of this Section 9.8, the term “Sale
Transaction” shall not include any consolidation, merger or other business combination of the
Company with or into an Affiliate of the Company for the purpose of changing the legal domicile
of the Company or any other transaction for the purpose of domesticating the Company in another
jurisdiction or changing the legal form of the Company; provided, however, that (A) any claims
or rights of a Selling Member or the Company against any Dragged Member arising under or
relating to Section 9.3 hereof and (B) any authorizations, obligations, covenants or liabilities of a
Dragged Member arising under or relating to Section 9.3 hereof shall, in either such case, survive
the termination of this Article 9.

       9.9     Certain GS Investor Transfers.

               (a)    Subject to Section 9.9(b), notwithstanding anything to the contrary in this
       Agreement, in the event that it becomes unlawful for the Goldman Members to continue to
       hold their Units, in whole or in part, or some or all of the Units held by them, or restrictions
       are imposed on the Goldman Members by any statute, regulation or governmental authority
       which, in the good faith judgment of the Goldman Members, make it unduly burdensome
       (based upon the written advice of outside counsel) to continue to hold the Units, the
       Goldman Members may sell or otherwise dispose of their Units without the consent of the
       Board, the Company or any other Member (provided, that the consent of the Board shall
       be required if the transferee is an operating company that is a direct Competitor of the
       Company) and without compliance with Section 9.1(c), and the Company agrees, at the
       request of the Goldman Members, to provide (and authorize the Goldman Members to
       provide) customary and reasonable financial and other information concerning the
       Company to any prospective purchaser of the Units owned by the Goldman Members.

              (b)      In the event the Goldman Members propose to Transfer their Units
       pursuant to Section 9.9(a) (the “ROFO Units”), the Goldman Members agree to first
       comply with the provisions of this Section 9.9(b). The Goldman Members shall give
       written notice to the Company and the BSP Members stating its bona fide intention to

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       Transfer the Units pursuant to Section 9.9(a) and specifying the number of ROFO Units.
       Upon receipt of such notice, the Company and the BSP Members shall have a period of
       thirty (30) days (the “ROFO Notice Period”) to submit an offer to the Goldman Members
       (a “ROFO Offer”) for all (but not less than all) of the ROFO Units, including the cash
       purchase price and material terms of such offer. The delivery of a ROFO Offer shall
       constitute an irrevocable offer (during the ROFO Acceptance Period) by the Company
       and/or the BSP Members to purchase the ROFO Units at the price and on the terms
       specified in the ROFO Offer. Upon the receipt of the ROFO Offer, the Goldman Members
       shall have a period of thirty (30) days (the “ROFO Acceptance Period”) to accept the
       ROFO Offer (a “ROFO Acceptance Notice”). If the Goldman Members timely deliver a
       ROFO Acceptance Notice, then each party shall take such actions and execute such
       documents as are customary for transactions of this type and may otherwise be reasonably
       requested by the other party in order to promptly give effect to the transactions
       contemplated hereby. If the Company and/or the BSP Members fail to deliver a ROFO
       Offer during the ROFO Notice Period or the Goldman Members do not deliver a ROFO
       Acceptance Notice by the end of the ROFO Acceptance Period, the Goldman Members
       may, during the 90-day period following the expiration of the ROFO Notice Period (and
       subject to extension for any regulatory filings or requirements), Transfer all (but not less
       than all) of the ROFO Units to a third party at a price not less than the price included in the
       ROFO Offer (if any). If the Goldman Members do not Transfer all of the ROFO Units, or
       if such Transfer is not consummated, within the period in the preceding sentence, the right
       of first offer provided in this Section 9.9(b) shall be deemed to be revived, and the ROFO
       Units shall not be offered to any Person unless first re-offered to the Company and the BSP
       Members in accordance with this Section 9.9(b).

                                    ARTICLE 10
                     FISCAL YEAR; BOOKS OF ACCOUNT; REPORTS

       10.1 Fiscal Year. The fiscal year of the Company (the “Fiscal Year”) shall be the year
ending on December 31, unless another fiscal year is established by the Board.

         10.2 Books and Records. The books and records of the Company may be kept at such
place or places as may be from time to time designated by the Board. The Company shall keep
correct and complete books and records of account, including the amount of its assets and
liabilities, minutes of its proceedings of its Members and the Board (and any committee of the
Board) and the names and places of residence of its officers.

        10.3 Tax Information. The Company shall, as a Company expense, as soon as
reasonably practicable after the end of each Fiscal Year, but no later than 120 days after the end
of each Fiscal Year, furnish the Members with all necessary tax reporting information required, or
reasonably requested, by the Members (including, without limitation, state and local
apportionment information) for the preparation of their respective federal, state and local income
tax returns, including each Member’s Schedule K-1 or analogous schedule. Estimates of the same
will be provided to each Member within 90 days after the end of each Fiscal Year. The Company
shall use reasonable efforts to cause all federal, state and local income and other tax returns to be
timely filed by the Company, and shall supervise the Company’s independent nationally or
regionally recognized accountant (which shall be designated and/or changed by the Board) in the

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preparation of the Company’s tax returns, which returns shall be signed by an authorized Member
or representative on behalf of the Company and co-signed by the Company’s accountant as
preparer.

         10.4 Tax Elections and Accounting. Except as otherwise provided in this Agreement,
all decisions as to accounting principles, whether for the Company’s books or for income tax
purposes (and such decisions may be different for each such purpose), all elections available to the
Company under applicable tax law and the treatment of all transactions on the Company’s tax
returns, shall be made by the Board, in consultation with the Company’s tax advisors. The Board
(i) shall, at the request of a holder of Series A Preferred Units or Series B Preferred Units, in the
manner provided in Treasury Regulations Section 1.754-1(b), cause the Company to elect pursuant
to Code Section 754 to adjust the basis of the assets of the Company in the manner provided in
Code Sections 734 and 743, (ii) may make comparable elections under comparable provisions of
state, local, or foreign tax law, and (iii) shall allocate Profits and Losses under Article 12.

       10.5    Company Representative.

                (a)    Unless otherwise agreed by the Board, and subject to the terms of this
       Agreement, an officer of the Company or a Manager designated by the Board shall have
       full power and authority to act for the Company and the Members as the “partnership
       representative” (the “Company Representative”) under Section 6223 of the Code (as
       modified by the Bipartisan Budget Act of 2015, as amended (and any comparable
       provisions of state or local tax law), the “BB Act”), with all the rights and responsibilities
       of that position described in Code Sections 6222-32 and to act in any similar capacity under
       applicable state or local law. The Company Representative shall keep the Members
       reasonably informed of the progress of any tax audits or examinations. The Company shall
       reimburse the Company Representative for all third party costs and expenses, and any other
       costs and expenses, incurred by it in the exercise of the rights and/or the performance of
       the responsibilities referred to in this Section 10.5. The Company Representative shall, to
       the extent permissible and with the consent of the Requisite Members, make the election
       contemplated by Code Section 6226 (as modified by the BB Act). Each Member shall
       provide to the Company Representative all information reasonably necessary to allow the
       Company Representative to make an election under Section 6226 of the Code (as modified
       by the BB Act) or to utilize the so-called “pull in” procedure to reduce the tax payable by
       the Company if the reviewed-year partners pay any additional tax that would be owed on
       their share of the imputed underpayment amount. Each Member agrees that, upon request
       of the Company Representative, such Member shall take such reasonable actions as may
       be necessary or desirable (as reasonably determined by the Company Representative) to
       allow the Company to comply with the provisions of Section 6226 of the Code so that any
       “partnership adjustments” are taken into account by the Members rather than the Company.

              (b)     In the event the Company incurs any liability for taxes, interest or penalties
       pursuant to the BB Act:

                        (i)   then any “imputed underpayment” (as determined in accordance
               with Section 6225 of the Code) or “partnership adjustment” that does not give
               rise to an “imputed underpayment” shall be apportioned among the Members for

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               the taxable year in which the adjustment is finalized in such manner as may be
               necessary (as determined by the Board) so that, to the maximum extent possible,
               the tax and economic consequences of the partnership adjustment and any
               associated interest and penalties are borne by the Members based upon their
               interests in the Company for the “reviewed year”;

                       (ii)   the Company Representative shall request the Members (including
               any former Member) to whom such liability relates, as determined by the Company
               Representative in its reasonable discretion, to pay, and each such Member hereby
               agrees to pay, such amount to the Company and such amount shall not be treated
               as a Capital Contribution for purposes of any provision herein that affects
               Distributions to the Members;

                       (iii)   without reduction in any Member’s (or former Member’s)
               obligation under the foregoing clause (ii), any amount paid by the Company that is
               attributable to a Member (or former Member), as determined by the Company
               Representative in its reasonable discretion, and that is not paid by such Member
               pursuant to clause (ii) shall be withheld from current or future Distributions
               otherwise distributable to the Member but treated for purposes of Article 13 as a
               Distribution made to such Member (or former Member); and

                       (iv)    the obligations of each Member (or former Member) under this
               Section 10.5 shall survive the Transfer by such Member of its Units and the
               dissolution of the Company.

        10.6 Required Records. To the fullest extent permitted under applicable law, each
Member hereby waives its rights under Section 18-305(a) of the Act to obtain the information
specified therein; provided, however, that to the extent that, notwithstanding such waiver, any such
Member is entitled to receive such information, the receipt thereof shall be subject to all of the
limitations set forth in Section 18-305 of the Act (including the right of the Managers to keep
certain information confidential from the Members pursuant to Section 18-305(c) of the Act), and
shall be limited to review of the Company’s general ledger and those financial statements derived
from it; provided, further, that the review of such information shall be at the sole cost and expense
of such Member, during regular business hours, upon reasonable advance notice, in a manner as
would not be unreasonably disruptive to the business or operations of the Company or any of its
Subsidiaries, and subject to such other standards as may be established by the Board from time to
time. Except as expressly required by non-waivable provisions of applicable law and except as
expressly set forth in Section 4.1, Section 10.3 and Section 17.1, the Members shall have no rights
to obtain, examine or inspect, or make copies or extracts of, any documents, materials or
information relating to the Company or any of its Subsidiaries or any of their respective businesses,
assets, operations, properties, financial and other conditions, prospects, or members, partners or
shareholders.

       10.7 Audits of Books and Accounts. The Company’s books and accounts shall be
audited at such times and by such auditors as shall be specified and designated by vote or written
consent of the Board.


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      10.8 Tax Matters. Notwithstanding anything to the contrary contained in this
Agreement, the following provisions shall apply with respect to all Tax matters relating to the
Company and its Subsidiaries:

               (a)    Tax Return Filing. No later than thirty (30) days prior to the filing of any
       income or other material Tax return (including, for the avoidance of any doubt, any
       amended income or other material Tax return), the holders of the Series A Preferred Units
       and the Series B Preferred Units shall receive a draft of any such Tax return for their review,
       and shall have ten (10) days after receipt of such Tax return to provide comments thereto.
       The Board and/or Company Representative shall act reasonably and in good faith to
       consider such comments and consult with the respective holder and Tax return preparer to
       address such comments fairly and appropriately.

               (b)     Tax Controversies. Upon receipt of a written notice of audit, examination
       or other tax proceeding from any taxing authority, the Company Representative shall
       promptly notify each holder of Series A Preferred Units and the Series B Preferred Units,
       and shall keep each such holder reasonably informed with respect to the amount, status and
       nature of each tax item or issue that is the subject of such audit, examination or other tax
       proceeding. Upon request, the Company Representative shall provide such holder with
       copies of any communications with the relevant taxing authorities and, to the extent
       permitted by applicable law, allow such holder to participate in meetings or conferences
       related thereto. Neither the Company Representative nor the Board (nor any person acting
       on their behalves) shall enter into any settlement or compromise that could reasonably be
       expected to have a material and disproportionate adverse impact on the Tax position of any
       holder of Series A Preferred Units or Series B Preferred Units without the consent of such
       holder, which consent shall not be unreasonably delayed, withheld or conditioned.

               (c)    Tax Return Preparers/Company Representative. Any decision to appoint or
       replace a tax return preparer or Company Representative shall be made by the Board in
       good faith and for the collective benefit of the Members; provided, the initial tax return
       preparer shall be approved by the holders of the Series A Preferred Units and Series B
       Preferred Units. Prior to making any such decision, the Board shall notify and consult with
       each holder of Series A Preferred Units or Series B Preferred Units, and provide each such
       holder with the opportunity to comment on such appointment or replacement.

               (d)     “Imputed Underpayments”. The Board and/or the Company Representative
       shall act reasonably and in good faith and consult with each holder of Series A Preferred
       Units and Series B Preferred Units with respect to the calculation and allocation among
       Members of the amount, if any, of any imputed underpayments under Section 10.5(b).

       10.9   ORG GC Midco Tax Matters.

               (a)     The Company shall cooperate with ORG GC Midco and any of its Affiliates
       fully, as and to the extent reasonably requested by either of them, in connection with the
       filing of tax returns and any audit, litigation, proposed adjustment or deficiency,
       assessment, claim, suit or other tax proceeding (“Tax Proceeding”) imposed on or with
       respect to the assets, operations or activities of ORG GC Midco for any taxable period (in

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       whole or in part) ending on or before the date of Emergence (the “Pre-Emergence Tax
       Period”). Such cooperation shall include using commercially reasonable efforts to (i)
       furnish or cause to be furnished to ORG GC Midco and any of its Affiliates, upon request,
       as promptly as practicable, such information and assistance as is reasonably necessary for
       (A) the filing of any such tax returns and (B) the preparation, prosecution or defense of any
       Tax Proceeding in respect any Pre-Emergence Tax Period, and (ii) preserve and keep, or
       cause to be preserved and kept, all original books and records related to ORG GC Midco
       in respect of Pre-Emergence Tax Periods until the seventh anniversary of the date hereof
       or such longer period as may be required by applicable law or necessitated by applicable
       statues of limitations.

              (b)     [The Company shall cooperate with ORG GC Midco in the preparation of
       any U.S. federal and applicable state tax return of ORG GC Midco for any Pre-Emergence
       Tax Period.]

                                           ARTICLE 11
                                            CAPITAL

       11.1 Capital Contributions. The Capital Contributions made and the value of other
consideration provided by the Members prior to or on the Effective Date are set forth on
Schedule A. The Company and each of the Members agree to file all tax returns consistent with
the values set forth on Schedule A. To the extent that any Member shall make any additional
Capital Contributions to the Company in accordance with the terms hereof, Schedule A shall be
amended by the Company to reflect such additional Capital Contributions.

        11.2 No Right to Return of Contribution. No Member shall have the right to the
withdrawal or to the return of such Member’s Capital Contributions, except upon the dissolution
and liquidation of the Company pursuant to, and subject to the terms and conditions of, Section 5.8,
5.9 or 5.11 or Article 15.

        11.3 Additional Capital Contributions. From and after the Effective Date, no Member
will be obligated to make any further Capital Contributions to the Company.

        11.4 Loans to the Company; No Interest on Capital. The Members may, but are not
obligated to, make loans or provide other extensions of credit to the Company from time to time
(including by the purchase of debt securities issued by the Company), as authorized by the Board.
Any such loans or extensions of credit shall not be treated as Capital Contributions to the Company
for any purpose under this Agreement nor entitle such Member to any increase in its share of the
Profits and Losses and Distributions, but the Company shall be obligated to such Member for the
amount of any such loans or extensions of credit pursuant to the terms thereof, as the same are
determined by the Board and such Member. Interest with respect to the outstanding amount of
any loans or other extensions of credit made or provided by a Member to the Company shall accrue
and be payable at such times and at such rates as is determined by the Board and such Member.
No interest shall be paid on any Capital Contribution to the Company or on any balance in any
Capital Account.



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        11.5 Creditor’s Interest in the Company. No creditor who makes a loan or otherwise
extends credit to the Company shall have or acquire at any time as a result of making the loan or
providing the extension of credit any direct or indirect interest in the profits, capital or property of
the Company, other than such interest as may be accorded to a secured creditor. Notwithstanding
the foregoing, and subject to other limitations expressly set forth in this Agreement, this provision
shall not prohibit in any manner whatsoever a secured creditor from participating in the profits of
operation or gross or net sales of the Company or in the gain on sale or refinancing of the Company,
all as may be provided in its loan or security agreements.

       11.6    Capital Accounts.

             (a)    The Company shall establish and maintain a separate Capital Account for
       each Member in accordance with the following provisions:

                      (i)    To each Member’s Capital Account there shall be credited such
               Member’s Capital Contributions and such Member’s allocable share of Profits, and
               any items in the nature of income or gain that are specially allocated to such
               Member under this Agreement.

                       (ii)   To each Member’s Capital Account there shall be debited the
               amount of cash and the Gross Asset Value of any Company property distributed to
               such Member pursuant to any provision of this Agreement (net of liabilities secured
               by such distributed property that such Member is considered to assume or take
               subject to under Code Section 752) and such Member’s allocable share of Losses,
               and any items in the nature of expenses or losses that are specially allocated to such
               Member under this Agreement.

                      (iii)   In the event any Unit is Transferred in accordance with the terms of
               this Agreement, the Transferee shall succeed to the Capital Account of the
               Transferor to the extent it relates to the Transferred Unit. In the case of a sale or
               exchange of a Unit at a time when an election under Code Section 754 is in effect,
               the Capital Account of the Transferee Member shall not be adjusted to reflect the
               adjustments to the adjusted tax bases of Company property required under Code
               Sections 754 and 743, except as otherwise permitted by Treasury Regulations
               Section 1.704-1(b)(2)(iv)(m).

                      (iv)     In determining the amount of any liability for purposes of
               paragraphs (i) and (ii) above, there shall be taken into account Code Section 752(c)
               and the Treasury Regulations promulgated thereunder, and any other applicable
               provisions of the Code and Regulations.

               (b)    This Section 11.6 and the other provisions of this Agreement relating to the
       maintenance of Capital Accounts are intended to comply with Treasury Regulations
       Sections 1.704-1(b) and 1.704-2, and shall be interpreted and applied in a manner
       consistent with such Regulations. The Board’s determination of Capital Accounts shall be
       binding upon all Members, except as otherwise required by law.


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       11.7 Return of Capital. No Member shall be liable for the return of the Capital
Contributions (or any portion thereof) of any other Member, it being expressly understood that any
such return shall be made solely from Company assets. No Member shall be required to pay to
the Company or to any other Member any deficit in its Capital Account upon dissolution of the
Company or otherwise, and no Member shall be entitled to withdraw any part of its Capital
Contributions or Capital Account, to receive interest on its Capital Contributions or Capital
Account or to receive any Distributions from the Company, except as expressly provided for in
this Agreement or under applicable law.

                                    ARTICLE 12
                          ALLOCATION OF PROFITS AND LOSSES

         12.1 Profits and Losses. Except as otherwise stated in this Article 12, Profits and Losses
for each Allocation Year shall be allocated among the Members in such a manner that, as of the
end of such Allocation Year, the sum of (a) the Capital Account of each Member, (b) such
Member’s share of Company Minimum Gain (as determined according to Treasury Regulations
Section 1.704-2(g)), and (c) such Member’s Member Nonrecourse Debt Minimum Gain shall be
equal to the respective net amounts, positive or negative, which would be distributed to them,
determined as if the Company were to (x) liquidate the assets of the Company for an amount equal
to their Gross Asset Value, (y) satisfy in cash all liabilities of the Company in accordance with
their terms (limited, in the case of non-recourse liabilities, to the Gross Asset Value of the property
securing such liabilities) and (y) distribute the proceeds of liquidation pursuant to Section 15.2
(solely for this purpose,[ ignoring clause (y) of the definition of “Unpaid Series B Preference
Amount” and] the proviso in Section 15.2(b) for any Allocation Year ending prior to the
occurrence of a Dissolution Event). Notwithstanding anything to the contrary contained in this
Agreement, except as otherwise required by applicable law, only “net” profits and items of “net”
income or “net” gain (and not “gross” profits, income or gain ) shall be allocated with respect to
the Series A Preferred Return or the Series B Preferred Return, and no portion of any payments
and accruals on the Series A Preferred Return or Series B Preferred Return shall be treated as
giving rise to a “guaranteed payment” under Section 707(c) of the Code or a capital shift.

       12.2    Special Allocations.

               (a)     Minimum Gain Chargeback. Notwithstanding any other provision of this
       Article 12, if there is a net decrease in Company Minimum Gain during any Allocation
       Year, the Members shall be specially allocated items of Company income and gain for such
       Allocation Year (and, if necessary, subsequent Allocation Years) in an amount equal to
       such Member’s share of the net decrease in Company Minimum Gain, determined in
       accordance with Treasury Regulations Section 1.704-2(g)(2). Allocations pursuant to the
       previous sentence shall be made in proportion to the respective amounts required to be
       allocated to each Member pursuant thereto. The items so allocated shall be determined in
       accordance with Treasury Regulations Section 1.704-2(f). This Section 12.2(a) is intended
       to comply with the minimum gain chargeback requirement in Section 1.704-2(f) of the
       Treasury Regulations and shall be interpreted consistently therewith.

              (b)    Member Nonrecourse Debt Minimum Gain Chargeback. Notwithstanding
       any other provision of this Article 12, except Section 12.2(a), if there is a net decrease in

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Member Nonrecourse Debt Minimum Gain attributable to a Member Nonrecourse Debt
during any Allocation Year, each Member who has a share of the Member Nonrecourse
Debt Minimum Gain attributable to such Member Nonrecourse Debt, determined in
accordance with Treasury Regulations Section 1.704-2(i)(5), shall be specially allocated
items of Company income and gain for such Allocation Year (and, if necessary, subsequent
Allocation Years) in an amount equal to such Member’s share of the net decrease in
Member Nonrecourse Debt Minimum Gain attributable to such Member Nonrecourse
Debt, determined in accordance with Treasury Regulations Section 1.704-2(i)(4).
Allocations pursuant to the previous sentence shall be made in proportion to the respective
amounts required to be allocated to each Member pursuant thereto. The items so allocated
shall be determined in accordance with Treasury Regulations Sections 1.704-2(i)(4) and
1.704-2(j)(2). This Section 12.2(b) is intended to comply with the minimum gain
chargeback requirement in Treasury Regulations Section 1.704-2(i)(4) and shall be
interpreted consistently therewith.

       (c)      Qualified Income Offset. In the event any Member unexpectedly receives
any adjustments, allocations, or distributions described in paragraphs (4), (5) and (6) of
Treasury Regulations Section 1.704-1(b)(2)(ii)(d), items of Company income and gain
shall be specially allocated to such Member in an amount and manner sufficient to
eliminate, to the extent required by such Regulations, the Adjusted Capital Account deficit
of such Member as quickly as possible, provided, that an allocation pursuant to this
Section 12.2(c) shall be made only if and to the extent that such Member would have an
Adjusted Capital Account deficit after all other allocations provided for in this Article 12
have been tentatively made as if this Section 12.2(c) were not in this Agreement.

         (d)    Gross Income Allocation. In the event any Member has a deficit Capital
Account at the end of any Allocation Year that is in excess of the sum of (i) the amount
such Member is obligated to restore pursuant to any provision of this Agreement and
(ii) the amount such Member is obligated to restore pursuant to the penultimate sentence
of each of Treasury Regulations Sections 1.704-2(g)(1) and 1.704-2(i)(5), each such
Member shall be specially allocated items of Company income and gain in the amount of
such excess as quickly as possible, provided, that an allocation pursuant to this
Section 12.2(d) shall be made only if and to the extent that such Member would have a
deficit Capital Account in excess of such sum after all other allocations provided for in this
Article 12 have been made as if Section 12.2(c) and this Section 12.2(d) were not in this
Agreement.

       (e)     Nonrecourse Deductions. Nonrecourse Deductions shall be allocated to
holders of Class A Common Units in proportion to the number of Class A Common Units
held by each such holder immediately prior to such allocation.

        (f)    Member Nonrecourse Deductions. Any Member Nonrecourse Deductions
for any Allocation Year shall be specially allocated to the Member who bears the economic
risk of loss with respect to the Member Nonrecourse Debt to which such Member
Nonrecourse Deductions are attributable in accordance with Treasury Regulations Section
1.704-2(i)(1).


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               (g)    Section 754 Adjustments. To the extent an adjustment to the adjusted tax
       basis of any Company asset pursuant to Code Section 734(b) (including any such
       adjustments pursuant to Treasury Regulation Section 1.734-2(b)(1)) is required, pursuant
       to Treasury Regulations Section 1.704-1(b)(2)(iv)(m), to be taken into account in
       determining Capital Accounts, the amount of such adjustment to the Capital Accounts shall
       be treated as an item of gain (if the adjustment increases the basis of the asset) or loss (if
       the adjustment decreases such basis) and such gain or loss shall be allocated to the
       Members in a manner consistent with the manner in which their Capital Accounts are
       required to be adjusted pursuant to such Section of the Regulations.

        12.3 Curative Allocations. The allocations contained in each of Section 12.2 and
Section 12.4 (the “Regulatory Allocations”) are intended to comply with certain requirements of
the Code and Regulations. The Members intend that, to the extent possible, all Regulatory
Allocations shall be offset either by other Regulatory Allocations or with special allocations of
other items of Company income, gain, loss or deduction pursuant to this Section 12.3. Therefore,
notwithstanding any other provisions of this Article 12 (other than the Regulatory Allocations),
the Board shall make such offsetting special allocations of Company income, gain, loss or
deduction in whatever manner it reasonably determines to be appropriate so that, after such
offsetting allocations are made, each Member’s Capital Account balance is, to the extent possible,
equal to the Capital Account balance such Member would have had if the Regulatory Allocations
were not part of this Agreement.

      12.4 Limitation on Allocation of Losses. In no event shall Losses be allocated to a
Member to the extent such allocation would result in such Member having an Adjusted Capital
Account deficit at the end of any Allocation Year. All such Losses shall be allocated to the other
Members in accordance with the positive balances in such Members’ Capital Accounts.

       12.5    Other Allocation Rules.

               (a)     Profits, Losses, and any other items of income, gain, loss, or deduction shall
       be allocated to the Members pursuant to this Article 12 as of the last day of each Fiscal
       Year, provided, that Profits, Losses, and such other items shall also be allocated at such
       times as the Gross Asset Values of Company assets are adjusted pursuant to paragraph (b)
       of the definition of “Gross Asset Value”.

              (b)     For purposes of determining the Profits, Losses, or any other items allocable
       to any period, Profits, Losses, and any such other items shall be determined on a daily,
       monthly or other basis, as reasonably determined by the Board, using any permissible
       method under Code Section 706 and the Regulations thereunder.

              (c)      Except as otherwise provided in this Agreement, all items of Company
       income, gain, loss, deduction, and any other allocations not otherwise provided for shall be
       divided among the Members for tax purposes in the same proportions as they share Profits
       or Losses, as the case may be, for the applicable Allocation Year.

              (d)    For purposes of Code Section 752 and the Regulations thereunder, “excess
       nonrecourse liabilities” of the Company within the meaning of Treasury Regulations

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Section 1.752-3(a)(3), shall be allocated among the holders of Class A Common Units in
proportion to the number of Class A Common Units held by each such holder immediately
prior to such allocation.

       (e)    To the extent permitted by Treasury Regulations Section 1.704-2(h)(3), the
Members shall treat any Distributions as not allocable to an increase in Company Minimum
Gain to the extent the Distribution does not cause or increase a deficit balance in the
Adjusted Capital Account of any Member.

        (f)     For purposes of determining the nature (as ordinary or capital and, if capital,
the applicable rate) of certain items of income and gain allocated among the Members for
federal income tax purposes pursuant to this Section 12.5, any items of income and gain
required to be recognized as ordinary income under Code Section 1245 or as “unrecaptured
section 1250 gain,” as defined in Code Section 1(h), shall be deemed to be allocated among
the Members in the same proportion that the Members were allocated and claimed the tax
depreciation deductions or basis deductions, directly or indirectly, giving rise to such
treatment under Code Sections 1(h) and 1245.

12.6   Tax Allocations: Code Section 704(c).

      (a)    Subject to Section 12.6(b), items of income, gain, loss and deduction of the
Company for federal income tax purposes shall be allocated among the Members in the
same manner that such items are allocated to the Members’ Capital Accounts.

         (b)     In accordance with Code Section 704(c) and the applicable Treasury
Regulations thereunder, income, gain, loss, deduction and tax depreciation with respect to
any property which has a Gross Asset Value different than its adjusted tax basis, will, solely
for federal income tax purposes, be allocated among the Members in accordance with Code
Section 704(c) and the Treasury Regulations thereunder to take into account such
difference, using the “traditional method” under Section 1.704-3 of the Treasury
Regulations. Allocations pursuant to this Section 12.6 are solely for purposes of federal,
state, and local taxes and shall not affect, or in any way be taken into account in computing,
any Member’s Capital Account or share of Profits, Losses, other items, or distributions
pursuant to any provision of this Agreement.

                                    ARTICLE 13
                                  DISTRIBUTIONS

13.1   Tax Distributions.

        (a)      Subject to (x) the terms of Section 5.2 and Section 13.3, (y) the Company
having available cash, as determined by the Board in its sole discretion, and (z) the then
existing agreements of the Company or any of its Subsidiaries relating to indebtedness or
debt securities of the Company or any of its Subsidiaries, the Company shall, with respect
to each Fiscal Quarter, distribute to each Member an amount of cash (a “Tax Distribution”)
equal to (i) the product of (A) the amount of the Company Income Amount with respect to
such Fiscal Quarter that is allocable to such Member pursuant to Section 12.6 and (B) the
Applicable Tax Rate less (ii) the amount distributed to such Member pursuant to
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       Section 13.2 in respect of such Fiscal Quarter. Unless and until the net taxable income of
       the Company exceeds the net taxable losses of the Company, Tax Distributions shall only
       be made by the Company to the extent that net taxable income cannot be offset with net
       operating losses under Section 172 of the Code.

               (b)     The “Company Income Amount” for a Fiscal Quarter shall be an amount
       equal to the taxable income of the Company (excluding taxable income incurred in
       connection with a Liquidation Event but, for the avoidance of doubt, taking into account
       Section 163(j) and any other limitations on the deductibility of interest)) for such Fiscal
       Quarter calculated at the partnership level which, for the avoidance of doubt, shall exclude
       any adjustments under Code Section 743 (net of taxable losses and tax credits from prior
       Fiscal Quarters not previously taken into account under this clause). Tax Distributions
       shall be made at least ten days in advance of the due date for a U.S. corporation’s quarterly
       estimated U.S. federal income tax payment (and the Company shall provide to each
       Member that is receiving a Tax Distribution, at substantially the same time that any such
       Tax Distribution is made, a reasonably detailed calculation of the Company Income
       Amount). Subsequent Tax Distributions shall be adjusted up or down to reflect any
       variation between the quarterly estimated Tax Distributions actually made and the Tax
       Distributions that would have been made based on subsequent tax information. In the event
       that the funds available for any Tax Distribution to be made hereunder are insufficient to
       pay the full amount of the Tax Distribution that would otherwise be required under Section
       13.1(a), the amount of funds that are then available shall be distributed at such time to the
       Members in proportion to the amounts that would otherwise have been distributed to such
       Members pursuant to Section 13.1(a). At any time thereafter when additional funds of the
       Company are legally available for distribution, such funds shall be promptly distributed to
       the Members in proportion to the amounts that would otherwise have been distributed to
       such Members pursuant to Section 13.1(a) (without any interest thereon) until the full
       amount of Tax Distributions that were not previously paid are so paid in full. If any
       Member Transfers any portion of its Units during a Fiscal Quarter, the Tax Distribution
       made with respect to the Transferor and the Transferee with respect to such Transferred
       Units shall be allocated between the Transferor and the Transferee in proportion to the
       taxable income allocated to each such Person during such Fiscal Quarter. Tax Distributions
       shall be treated as advances of amounts Members are entitled to receive pursuant to Section
       13.2, except that Tax Distributions that are made with respect to allocations of income with
       respect a Member’s Class A Common Units will not count in determining the Unpaid
       Series B Preferred Return and Unpaid Series B Preference Amount with respect to such
       Member’s Series B Preferred Units.

        13.2 Other Distributions. Other than Tax Distributions, subject to (x) the terms of
Sections 5.2 and 13.3, and (y) the then existing agreements of the Company or its Subsidiaries
relating to indebtedness or debt securities of the Company or any of its Subsidiaries, the Board
may (but shall not be obligated to) cause the Company to make Distributions to the Members, at
such times and in such amounts as the Board may determine in its sole discretion, as follows:

               (a)     first, to the Members that own or hold Series A Preferred Units (ratably
       among such Members based on the aggregate Unpaid Series A Preferred Return with
       respect to all outstanding Series A Preferred Units held by each such Member immediately

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       prior to such Distribution) until the aggregate Unpaid Series A Preferred Return with
       respect to each such Member’s Series A Preferred Units has been reduced to zero dollars
       ($0.00);

               (b)     second, to the Members that own or hold Series A Preferred Units (ratably
       among such Members based on the aggregate Unpaid Series A Preference Amount with
       respect to all outstanding Series A Preferred Units held by each such Member immediately
       prior to such Distribution) until the aggregate Unpaid Series A Preference Amount with
       respect to each such Member’s Series A Preferred Units has been reduced to zero dollars
       ($0.00);

               (c)     third, to the Members that own or hold Series B Preferred Units (ratably
       among such Members based on the aggregate Unpaid Series B Preferred Return with
       respect to all outstanding Series B Preferred Units held by each such Member immediately
       prior to such Distribution) until the aggregate Unpaid Series B Preferred Return with
       respect to each such Member’s Series B Preferred Units has been reduced to zero dollars
       ($0.00);

               (d)     fourth, to the Members that own or hold Series B Preferred Units (ratably
       among such Members based on the aggregate Unpaid Series B Preference Amount with
       respect to all outstanding Series B Preferred Units held by each such Member immediately
       prior to such Distribution) until the aggregate Unpaid Series B Preference Amount with
       respect to each such Member’s Series B Preferred Units has been reduced to zero dollars
       ($0.00); and

              (e)    fifth, to the Members that own or hold Class A Common Units (ratably
       among such Members based on their respective ownership of the total number of issued
       and outstanding Class A Common Units immediately prior to such Distribution).

       Unless a different record date is established by the Board, any Distribution pursuant to or
in accordance with this Section 13.2 shall be made to the Persons shown on the Company’s books
and records as holders of Units entitled to such Distribution as of the date of such Distribution.

       Distributions upon a Liquidation Event shall be made pursuant to this Section 13.2
(provided, that, the Company will be entitled to retain a portion of the proceeds of such Liquidation
Event reasonably necessary to satisfy debts and liabilities of the Company with respect to a
subsequent Dissolution Event pursuant to Section 15.2, as described in Section 15.2(a)).

        13.3 Limitations on Distributions. Notwithstanding any provision to the contrary in this
Article 13, no Distribution shall be made if such Distribution would violate the Act or any other
applicable law.

        13.4 No Other Distributions. Except as set forth in this Article 13 or upon the dissolution
and liquidation of the Company pursuant to, and subject to the terms and conditions of, Article 15,
no Member shall have the right to demand or receive any Distribution or other return on capital in
respect of its Units or Capital Contributions.



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        13.5 Withholding Tax. The Company will at all times be entitled to make payments
with respect to each Member in amounts required to discharge any obligation of the Company to
withhold or make payments to any federal, state, local or foreign taxing authority (a “Taxing
Authority”) with respect to any distribution or allocation to such Member or otherwise with
respect to such Member (including in connection with a distribution in kind or as a result of a
failure to provide materials necessary to prevent withholding under this Section 13.5) and to
withhold (or deduct) the same (together with interest as set forth below) from distributions or
allocations to such Member, including in connection with an audit of the Company. Any funds
withheld by reason of this Section 13.5 shall nonetheless be deemed distributed to the Member in
question for all purposes under this Agreement and, to the extent such withholding has not offset
a current distribution, shall reduce future distributions to which such Member is otherwise entitled
pursuant to this Agreement. If the Company makes any payment to a Taxing Authority in respect
of a Member hereunder that is not withheld from actual distributions to such Member (including
in connection with a distribution in kind or as a result of a failure to provide materials necessary
to prevent withholding under this Section 13.5), then such Member shall reimburse the Company
for the amount of such payment (together with interest as set forth below), on demand or as
otherwise provided hereunder. The amount of a Member’s reimbursement obligation under this
Section 13.5, to the extent not paid, shall be deducted from the distributions to such Member; and
any amounts so deducted shall constitute a repayment of such Member’s obligation hereunder to
the extent of such deduction. In addition, if a Member has not satisfied its reimbursement
obligation under this Section 13.5 by the time of any Transfer of any of such Member’s Units
(including any Transfer in connection with a Sale Transaction), then the Company is authorized
by the Members (including such Member) to take such steps and other actions to cause or require
an amount of proceeds that would otherwise be paid or distributed to such Member (or its
Affiliates) in connection with such Transfer to be paid to the Company to satisfy such
reimbursement obligation in full (or to satisfy such reimbursement obligation to the maximum
extent possible); and any amounts so paid to the Company shall constitute a repayment of such
Member’s obligation hereunder to the extent of such payment. The amount of a Member’s
reimbursement obligation under this Section 13.5 shall bear interest on such amount at a rate equal
to 7.0% per annum, compounded quarterly, commencing from the date the Company makes the
applicable payment to a Taxing Authority until such amount (together with such interest) is repaid
to the Company (or deducted from a distribution to such Member). Each Member’s reimbursement
obligation under this Section 13.5 shall remain a personal liability of such Member and shall
continue after such Member Transfers its Units or after a withdrawal by such Member from the
Company. Each Member agrees to furnish the Company with any representations, forms,
certificates or other information as shall be reasonably requested by the Company to assist the
Company in determining the extent of, or in fulfilling or complying with, any withholding,
reporting or compliance obligations the Company may have, including any representations, forms,
certificates and information required under Treasury Regulation Section 1.1445-2 or 1.1445-5 in
order for the Company to satisfy any withholding, reporting or compliance obligations under
Section 1445 of the Code with respect to such Member. The Company shall be entitled to withhold
distributions from any Member that fails to provide the representations, forms, certificates and
information referred to in the preceding sentence and to use such withheld distributions in order to
satisfy any withholding obligations with respect to such Member. Each Member agrees to
indemnify and hold harmless the Company, each officer, each Manager, the other Members, and
any other Person who is or is deemed to be the responsible withholding agent for federal, state,

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local or foreign income tax purposes, from and against any liability with respect to taxes, interest
and penalties which may be asserted by reason of the failure to deduct and withhold tax on amounts
distributable to such Member, other than to the extent any such person acted in bad faith or with
gross negligence. Any amount payable as indemnity hereunder by a Member will be paid promptly
to the Company, and the Company will be entitled to retain any distributions due to such Member
for all such amounts that have not been paid.

                                  ARTICLE 14
                        WITHDRAWALS; ACTION FOR PARTITION

        14.1 Waiver of Partition. No Member shall, either directly or indirectly, take any action
to require partition, file a bill for Company accounting or appraisement of the Company or of any
of its assets or properties or, subject to the terms of Section 9.3, cause the sale of any Company
property; and, notwithstanding any provisions of applicable law to the contrary, each Member (and
each of such Member’s legal representatives, successors, or assigns) hereby irrevocably waives
any and all rights it may have to maintain any action for partition or to compel any sale with respect
to such Member’s Units, or with respect to any assets or properties of the Company, except as
expressly provided in this Agreement.

        14.2 Covenant Not to Withdraw or Dissolve. Notwithstanding any provision of the Act,
but except as otherwise provided in this Agreement, each Member hereby covenants and agrees
that such Member has entered into this Agreement based on its mutual expectation that all
Members will continue as Members and carry out the duties and obligations undertaken by them
hereunder and that, except as otherwise expressly required or permitted hereby, each Member
hereby covenants and agrees not to (a) withdraw or attempt to withdraw from the Company (other
than (x) upon the permitted Transfer of all of its Units, so long as such withdrawal does not result
in a dissolution of the Company or (y) as permitted under Section 9.9), (b) exercise any power
under the Act to dissolve the Company, (c) petition for judicial dissolution of the Company, or
(d) demand a return of such Member’s contributions or profits (or a bond or other security for the
return of such contributions or profits). Anything herein to the contrary notwithstanding, no
Member shall be entitled to abandon or surrender such Member’s Units or other Interests.

                                       ARTICLE 15
                              DISSOLUTION AND LIQUIDATION

       15.1 Events Causing Dissolution. Subject to Section 5.10(a), the Company shall be
dissolved only upon the occurrence of any of the following events:

               (a)     Notwithstanding anything in Section 18-801(a)(3) of the Act to the
       contrary, the affirmative vote or written consent of the Requisite Members (provided, that,
       the written consent of the Goldman Members will be required with respect to a Dissolution
       Event whereby proceeds are allocated pursuant to Section 15.2, including the limitation
       provided in Section 15.2(b); provided, further, that, the foregoing shall not limit the ability
       of the Requisite Members to approve a dissolution of the Company following the
       distribution of proceeds in connection with a Liquidation Event);



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              (b)    The entry of a final decree of judicial dissolution of the Company under
       Section 18-802 of the Act; or

              (c)     At any time there are no Members of the Company, unless the Company is
       continued in accordance with the Act.

Except as otherwise set forth in this Section 15.1, the Company is intended to have perpetual
existence. To the fullest extent permitted by law, any death, retirement, resignation, expulsion,
bankruptcy or dissolution of a Member (or the occurrence of any other event that terminates the
continued membership of a Member in the Company) shall not, in and of itself, cause a dissolution
of the Company and the Company shall continue in existence subject to the terms and conditions
of this Agreement.

        15.2 Liquidation and Winding Up. If the Company is dissolved pursuant to Section 15.1
(a “Dissolution Event”), the Company shall be liquidated and the Managers (or other Person or
Persons designated by the Board or by a decree of court) shall wind up the affairs of the Company.
The Managers or other Persons winding up the affairs of the Company shall promptly proceed to
the liquidation of the Company and, in settling the accounts of the Company, the assets and the
property of the Company shall be distributed in the following order of priority:

                (a)     First, to the payment of (or establishing reserves to pay) all debts and
       liabilities of the Company (including any debts or liabilities owed to any Member) in the
       order of priority as provided by law; and

               (b)     The balance, if any, to the Members in accordance with Section 13.2;
       provided, that, notwithstanding the foregoing, the Goldman Members shall not be entitled
       to receive more than 24.99% of the assets and property pursuant to this Section 15.2(b)
       unless (and to the extent that) the distributions of assets and property in excess of 24.99%
       to the Goldman Members would not trigger a disclosure obligation under applicable law
       (as determined in good faith by the Goldman Members in consultation with their advisors).

Any non-cash asset will first be written up or down to its gross Fair Market Value, thus creating
Profit or Loss (if any), which shall be allocated in accordance with the provisions of Article 12.

         15.3 No Deficit Restoration Obligation. If any Member has a deficit balance in its
Capital Account (after giving effect to all Capital Contributions, distributions and allocations for
all fiscal periods including the fiscal period during which the liquidation occurs), such Member
shall have no obligation to make any contribution to the capital of the Company with respect to
such deficit, and such deficit shall not be considered a debt owed to the Company or to any other
Person for any purpose whatsoever.

                                          ARTICLE 16
                                         AMENDMENTS

       16.1    Amendments.

             (a)   Without limiting Section 5.10, any term, condition or provision of this
       Agreement may be amended, modified or waived (whether by merger or otherwise) from

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time to time if, and only if, such amendment, modification or waiver is in writing and
signed, (x) in the case of an amendment or modification, by the Company and the Requisite
Members at the time of such amendment or modification, or (y) in the case of a waiver, by
the party against whom the waiver is to be effective. Notwithstanding the foregoing
sentence, without limiting Section 5.10, no amendment or modification (whether by
merger or otherwise) of any term, condition or provision of this Agreement shall be made
(whether by merger or otherwise, except in connection with a Sale Transaction) relating
to:

              (i)     Sections 5.10 and 5.11 (including any of the defined terms used in
       any such Section, solely to the extent such defined terms are used therein), in any
       such case, without the affirmative vote or written consent of each of the holders of
       Series A Preferred Units and Series B Preferred Units;

               (ii)   Sections 9.1, 9.3, 9.6, 10.3, 10.4, 10.8, 11.6 and 16.1(b)(i) or
       Article 12 or Article 17 (including any of the defined terms used in any such
       Section or Article, solely to the extent such defined terms are used therein), in any
       such case, without the affirmative vote or written consent of holders, at any time of
       determination, that own or hold at least 70% of the issued and outstanding Series B
       Preferred Units at such time;

               (iii)  Section 5.8 (including any of the defined terms used in such Section,
       solely to the extent such defined terms are used therein), without the affirmative
       vote or written consent of each of the holders of Series A Preferred Units;

               (iv)   Section 5.9 (including any of the defined terms used in such Section,
       solely to the extent such defined terms are used therein), without the affirmative
       vote or written consent of each of the holders of Series B Preferred Units;

               (v)    Section 6.2(b) (including any of the defined terms used in such
       Section, solely to the extent such defined terms are used therein), without the
       affirmative vote or written consent of each Preferred Holder Group with a consent
       right over any Independent Manager;

               (vi)   the definition of “BSP Members” or Sections 6.2(f), 19.15, 19.16,
       19.17, 19.18, 19.19, 19.20 or 20.1 (including any of the defined terms used in such
       definition or any such Section, solely to the extent such defined terms are used
       therein), without the affirmative vote or written consent of the BSP Members;

              (vii) the definition of “Goldman Members” or Sections 6.2(f), 9.9, 10.8,
       19.15, 19.16, 19.17, 19.18, 19.19, 19.20, 19.21, 20.1 or 21.5 (including any of the
       defined terms used in such definition or any such Section, solely to the extent such
       defined terms are used therein), without the affirmative vote or written consent of
       the Goldman Members;

              (viii) for so long as the Goldman Members continue to own or hold at
       least the Threshold Amount of all outstanding Series B Preferred Units,
       Section 19.14 (including any of the defined terms used in such Section, solely to
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             the extent such defined terms are used therein), without the affirmative vote or
             written consent of the Goldman Members; and

                     (ix)    any of clauses (i)-(viii) of this Section 16.1(a) without the prior
             written consent of the Company and the specific Member or Members, and/or the
             Member or Members that own or hold the requisite percentage of the Units, as
             applicable, that would be required to amend the underlying provision or definition
             of this Agreement to which such amendment or modification relates; provided,
             however, that no amendment or modification of this Section 16.1(a)(ix) shall be
             made without the affirmative vote or written consent of all of the Members that
             own Class A Common Units, Series A Preferred Units and Series B Preferred Units.

              (b)     Anything in this Agreement to the contrary notwithstanding, but without
      limiting Section 5.10, (i) subject to clause (ii) of this Section 16.1(b), no amendment,
      modification or waiver of any provision of this Agreement (whether by merger or
      otherwise, except in connection with a Sale Transaction) that would materially and
      adversely affect the rights or materially increase the obligations of any Member that owns
      or holds Units of any particular series or class (in its capacity as a holder of Units of such
      series or class) set forth in this Agreement in a manner that is disproportionate in any
      material respect to the comparable rights and obligations of the Members that own or hold
      a majority of the issued and outstanding Units of such series or class (in their capacity as
      holders of Units of such series or class) (without regard to any effect resulting from (A) the
      individual circumstances of any such Member, or (B) the differences in the respective
      percentages of ownership of Units of the Members) shall be made without the affirmative
      vote or written consent of such affected Member; provided, however, that, for the
      avoidance of doubt, neither the authorization or creation of a new class or series of Units
      or other equity or equity-based securities of the Company, nor the issuance of any
      additional Units or any other equity or equity-based securities of the Company, in each
      case in accordance with Sections 5.10 and 9.6, shall be deemed to adversely affect the
      rights or obligations of any Member, and (ii) subject to Section 5.10, the Board is hereby
      authorized and empowered, without further vote or action of the Members, to amend or
      modify this Agreement as provided in Section 5.2(b) hereof, and each Member shall be
      deemed to have executed any such amendment to, or amendment and restatement of, this
      Agreement; provided, however, that if any such amendment or modification would
      otherwise require any vote or consent pursuant to any of clauses (i)-(ix) of Section 16.1(a)
      (other than immaterial amendments or modifications), then such vote or consent shall be
      obtained as a condition to any such amendment or modification.

                                       ARTICLE 17
                                  INFORMATION RIGHTS

      17.1 Information Rights. Subject to the obligations of the Members under Article 20,
the Company shall make available to each Member the following information:

              (a)    Within one hundred and twenty (120) days after the end of each Fiscal Year
      of the Company, copies of the audited consolidated financial statements of the Company
      and its Subsidiaries, including a consolidated balance sheet and consolidated statements of

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       operations, members’ equity and cash flows, for such Fiscal Year, together with the
       auditors’ report on such audited consolidated financial statements in accordance with
       GAAP;

               (b)    within forty-five (45) days after the end of each Fiscal Quarter in each of
       the Company’s first three (3) Fiscal Quarters in each Fiscal Year of the Company, copies
       of the unaudited consolidated financial statements of the Company and its Subsidiaries,
       including a consolidated balance sheet and consolidated statements of operations and cash
       flows, for such Fiscal Quarter, in accordance with GAAP, subject to the absence of
       footnotes and to year-end adjustments; and

              (c)    any information required to be provided under the New Credit Documents,
       concurrently with the delivery of any such information to the lenders thereunder;

provided that the Company shall make available solely to the Initial Member Groups any other
information reasonably requested by an Initial Member Group so long as such Initial Member
Group continues to own or hold at least the Threshold Amount of all outstanding Series B Preferred
Units; provided, that (i) the Company shall only be required to provide information that is in its
possession or control at the time of such request and that can be provided without waiving any
attorney-client or other privileges, violating or breaching any bona fide third party contracts or
other agreements to which the Company or any of its Subsidiaries are a party or bound, or violating
any applicable law to which the Company or any of its Subsidiaries are subject, (ii) the Company
shall not be required to provide any such information to any Member that has a conflict of interest
with respect to such information (provided that no conflict of interest with respect to the Goldman
Members shall be deemed to exist solely by virtue of the Goldman Members or any of their
Affiliates being lenders to the Company or its Subsidiaries) and (iii) the Company shall not be
required to purchase or acquire any new information or materials.

       17.2 Delivery of Information. At the option of the Board, the Company may make
available the information described in Section 17.1 on a password-protected website that is only
available to the Members. As a condition to gaining access to the information posted on such
website, a Member may be required to “click through” or take other affirmative action pursuant to
which such Member shall (a) confirm and ratify that it is a party to, and bound by all of the terms
and provisions of, this Agreement, (b) acknowledge its confidentiality obligations in respect of
such information and (c) certify its status as a Member hereunder.

        17.3 Termination of Information Rights. The requirements of this Article 17 shall cease
to apply at such time as the Company becomes obligated to file reports under Section 13 or Section
15(d) of the Exchange Act or as a voluntary filer pursuant to contractual obligations (so long as
the Company makes such filings).

        17.4 Consumer Compliance Reporting. The Company shall be subject to the same
consumer compliance reporting obligations as set forth in the loan documents governing the New
First Lien Term Loans and shall deliver to each Member any reports or other information required
to be provided thereunder concurrently with the delivery of any such information to the lenders
thereunder.


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                               ARTICLE 18
             REPRESENTATIONS AND WARRANTIES OF THE MEMBERS

       18.1 Representations and Warranties of the Members. Each Member (including each
Member, if any, admitted after the Effective Date) hereby represents, warrants and acknowledges
to the Company and to each other Member on the Effective Date (or the date on which such
Member executes and delivers a Joinder Agreement) as follows:

               (a)     Such Member (if such Member is an Entity) is duly organized or formed,
       validly existing and in good standing under the laws of the jurisdiction of its organization
       or formation and has all requisite power and authority to conduct its business as it is now
       being conducted and as proposed to be conducted.

               (b)    Such Member has the full power, authority and legal right to execute,
       deliver and perform this Agreement, and, if such Member is an Entity, the execution,
       delivery and performance by such Member of this Agreement have been duly authorized
       by all necessary action of such Member. This Agreement constitutes such Member’s legal,
       valid and binding obligation, enforceable against it in accordance with its terms (except as
       limited by applicable bankruptcy, insolvency, reorganization, moratorium, fraudulent
       conveyance and other laws relating to or affecting creditors’ rights generally and the effect
       and application of general principles of equity and the availability of equitable remedies).

               (c)    Such Member is not subject to, or obligated under, any provision of (i) its
       organizational documents (if such Member is an Entity), (ii) any agreement, contract,
       arrangement or understanding, (iii) any license, franchise or permit, or (iv) any law,
       regulation, order, judgment or decree, in any such case that would be breached or violated,
       or in respect of which a right of termination or acceleration or any Lien on any of such
       Member’s assets (including its Units) would be created, by such Member’s execution,
       delivery and/or performance of this Agreement or the consummation of the transactions
       contemplated hereby.

               (d)     No authorization, consent or approval of, waiver or exemption by, or filing
       or registration with, any Governmental Authority or any other Person is necessary on such
       Member’s part for the consummation of the transactions contemplated by this Agreement
       that has not previously been obtained by such Member.

              (e)    No Person has or will have, as a result of any act or omission by such
       Member, any right, interest or valid claim against the Company or any other Member for
       any commission, fee or other compensation as a finder or broker, or in any similar capacity,
       in connection with any of the transactions contemplated by this Agreement.

              (f)     Neither such Member nor any of its Affiliates (other than Related Funds) is,
       nor will the Company as a result of such Member holding an Interest be, an “investment
       company” as defined in, or subject to regulation under, the Investment Company Act.

              (g)     If such Member is a partnership, a limited liability company treated as a
       partnership for United States federal income tax purposes, a grantor trust (within the
       meaning of Sections 671-679 of the Code) or an S corporation (within the meaning of Code
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Section 1361) (each, a “flow-through entity”), then either: (i) no Person will own, directly
or indirectly through one or more flow-through entities, an interest in such Member such
that more than fifty percent (50%) of the value of such Person’s interest in such Member
is attributable to the Member’s investment in the Company; or (ii) if one or more Persons
will own, directly or indirectly through one or more flow-through entities, an interest in
such Member such that more than fifty percent (50%) of the value of any such Person’s
interest in such Member is attributable to such Member’s investment in the Company,
neither such Member nor any such Person has or had any intent or purpose to cause such
Person to invest in the Company indirectly through such Member in order to enable the
Company to qualify for the private placement safe harbor under Treasury Regulations
Section 1.7704-1(h).

        (h)     Except as expressly set forth in this Agreement (including in Article 17),
neither the Company, any Manager nor any other Member shall have any duty or
responsibility to provide such Member with any documents, materials or other information
concerning the business, operations, assets, properties, financial and other conditions, or
prospects of the Company or any of its Subsidiaries which may come into the possession
of the Company, any Manager, any other Member or any of their respective officers,
directors, employees, agents, other representatives or Affiliates.

        (i)     Except as expressly set forth in this Section 18.1, neither the Company, any
Manager, any other Member nor any of their respective officers, directors, employees,
agents, other representatives or Affiliates has made any representations or warranties to
such Member regarding the business, assets, operations, properties, financial and other
conditions, or prospects of the Company or any of its Subsidiaries, or otherwise, and no act
by the Company, any Manager or any other Member hereinafter taken, including any
review of the affairs of the Company or any of its Subsidiaries shall be deemed to constitute
any such representation or warranty by the Company or any other Member.

        (j)     The Units acquired by such Member have been, or are being, acquired by
such Member for its own account and not with a view to the sale or distribution of any part
thereof (or any fractional or beneficial interest therein), and such Member has no present
intention of selling, granting any participation in, or otherwise distributing any of the Units
(or any fractional or beneficial interest therein). Such Member does not have any contract,
agreement or understanding with any Person to sell, Transfer or grant a participation to
such Person with respect to any of the Units (or any fractional or beneficial interest therein).
Such Member was not formed for the specific purpose of acquiring the Units acquired by
such Member.

        (k)     (i) Such Member must bear the economic risk of such Member’s investment
in the Company indefinitely unless such Member’s Units are registered pursuant to the
Securities Act or an exemption from such registration is available, and unless the
disposition of such Units are registered or qualified under applicable state securities laws
or an exemption from such registration or qualification is available, and that the Company
has no obligation or intention of so registering or qualifying such Units, (ii) there is no
assurance that any exemption from the Securities Act will be available, or, if available, that
such exemption will allow such Member to dispose of or otherwise Transfer any or all of

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       such Member’s Units, in the amounts or at the times such Member might desire and (iii) the
       Company is not presently under any obligation to register the Units under Section 12 of
       the Exchange Act or to make publicly available the information specified in Rule 144 under
       the Securities Act and that it may never be required to do so.

               (l)     Such Member: (i) is an Accredited Investor, (ii) has such knowledge and
       experience in financial and business matters as to be capable of evaluating the merits and
       risks of its investment in the Units acquired by such Member, (iii) has received all of the
       information about the Company and its Subsidiaries that it has requested and considers
       necessary or appropriate for deciding whether to acquire the Units acquired by such
       Member, (iv) is acquiring Units based upon such Member’s own investigation, and the
       exercise by such Member of such Member’s rights and the performance of such Member’s
       obligations under this Agreement will be based upon such Member’s own investigation,
       analysis and expertise, (v) has the ability to bear the economic risks inherent in its
       investment of the Units acquired by such Member, (vi) is able, without materially
       impairing its financial condition, to hold the Units acquired by such Member for an
       indefinite period of time and to suffer a complete loss of its investment, and
       (vii) understands and has fully considered for purposes of its investment in the Units
       acquired by such Member the risks of this investment and understands that: (A) the Units
       represent an extremely speculative investment that involves a high degree of risk of loss,
       (B) it may not be possible for such Member to liquidate its investment in any of the Units
       because of substantial restrictions on the transferability of the Units, (C) no public market
       exists for the Units, and no representation has been made to such Member that any such
       public market will exist in the future, and (D) there have been no representations as to the
       possible future value, if any, of any of the Units.

                                          ARTICLE 19
                                        MISCELLANEOUS

       19.1 Entire Agreement. This Agreement (including the exhibits, schedules and other
documents referred to in this Agreement) contains the entire understanding among the Members
and the Company with respect to the subject matter of this Agreement and supersedes any prior
understandings, agreements or representations, written or oral, relating to the subject matter of this
Agreement.

       19.2 Counterparts. For the convenience of the parties hereto, this Agreement may be
executed and delivered in any number of counterparts, each such counterpart being deemed to be
an original instrument, and all such counterparts shall together constitute the same agreement.
Delivery of an executed counterpart of this Agreement by facsimile or portable document format
(PDF) will be effective as delivery of a manually executed counterpart of this Agreement.

        19.3 Severability. In the event that any provision hereof would be invalid or
unenforceable in any respect under applicable law, such provision shall be construed by modifying
or limiting it so as to be valid and enforceable to the maximum extent compatible with, and possible
under, applicable law. The provisions hereof are severable, and in the event any provision hereof
should be held invalid or unenforceable in any respect, it shall not invalidate, render unenforceable
or otherwise affect any other provision hereof.

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       19.4 Successors and Assigns. This Agreement shall inure to the benefit of and be
binding upon the parties hereto and their respective legal representatives, heirs, administrators,
executors, successors and permitted assigns.

          19.5 Notices.      All notices, requests, waivers, document deliveries and other
communications made pursuant to this Agreement shall be in writing and shall be deemed to have
been effectively given, sent, provided, delivered or received (a) when personally delivered to the
party to be notified, (b) when sent by electronic mail (“e-mail”) to the party to be notified, (c) three
(3) Business Days after deposit in the United States mail, postage prepaid, by certified or registered
mail with return receipt requested, addressed to the party to be notified, or (d) one (1) Business
Day after deposit with a national overnight delivery service, postage prepaid, addressed to the
party to be notified with next-Business Day delivery guaranteed, in each case as follows: (i) in the
case of any Member, to such Member at its address or e-mail address set forth on Schedule A and
(ii) in the case of the Company, to the Company at the Principal Office, Attention: [] (or to another
officer of the Company that is required to be provided with such notice, request, waiver, document
or other communication pursuant to the terms of this Agreement). A party may change its address
or e-mail address for purposes of notice hereunder by (x) in the case of the Company, giving notice
of such change to all of the Members in the manner provided in this Section 19.5 and (y) in the
case of any Member, giving notice of such change to the Company in the manner provided in this
Section 19.5.

        19.6 Headings. The headings of the various sections of this Agreement have been
inserted for convenience of reference only and shall not be deemed to be a part of this Agreement.

      19.7 GOVERNING LAW; CONSENT TO JURISDICTION AND SERVICE OF
PROCESS; WAIVER OF JURY TRIAL. THIS AGREEMENT SHALL BE GOVERNED BY
AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF
DELAWARE, WITHOUT REGARD TO ITS CONFLICTS OF LAW DOCTRINE. EACH OF
THE COMPANY AND EACH MEMBER HEREBY SUBMITS TO THE EXCLUSIVE
JURISDICTION OF THE DELAWARE COURT OF CHANCERY AND ANY STATE
APPELLATE COURT THEREFROM WITHIN THE STATE OF DELAWARE (UNLESS THE
DELAWARE COURT OF CHANCERY SHALL DECLINE TO ACCEPT JURISDICTION
OVER A PARTICULAR MATTER, IN WHICH CASE, OF ANY DELAWARE STATE OR
FEDERAL COURT WITHIN THE STATE OF DELAWARE), AND ANY JUDICIAL
PROCEEDING BROUGHT AGAINST THE COMPANY OR ANY MEMBER WITH RESPECT
TO ANY DISPUTE ARISING OUT OF THIS AGREEMENT OR ANY MATTER RELATED
HERETO SHALL BE BROUGHT ONLY IN SUCH COURTS. EACH OF THE COMPANY
AND EACH MEMBER HEREBY IRREVOCABLY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY LAW, ANY OBJECTION IT MAY HAVE OR HEREAFTER HAVE TO THE
LAYING OF THE VENUE OF ANY SUCH PROCEEDING BROUGHT IN SUCH A COURT
AND ANY CLAIM THAT ANY SUCH PROCEEDING BROUGHT IN SUCH A COURT HAS
BEEN BROUGHT IN AN INCONVENIENT FORUM. EACH OF THE COMPANY AND
EACH MEMBER HEREBY CONSENTS TO PROCESS BEING SERVED IN ANY SUCH
PROCEEDING BY THE MAILING OF A COPY THEREOF BY REGISTERED OR
CERTIFIED MAIL, POSTAGE PREPAID, TO THE ADDRESS SPECIFIED IN SECTION 19.5,
OR IN ANY OTHER MANNER PERMITTED BY LAW. EACH OF THE COMPANY AND
EACH MEMBER HEREBY KNOWINGLY, VOLUNTARILY, AND INTENTIONALLY

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WAIVES ANY RIGHTS IT MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY SUCH
PROCEEDING.

        19.8 No Third Party Beneficiaries. The terms and provisions of this Agreement are
intended solely for the benefit of each party hereto and its legal representatives, heirs,
administrators, executors, successors and permitted assigns, and it is not the intention of the parties
hereto to confer third-party beneficiary rights upon any other Person other than (x) the Covered
Persons (solely with respect to Sections 8.1 and 8.2), (y) the Identified Persons (solely with respect
to Section 8.5), and (z) to the extent not already a party hereto, each Affiliate of any of the
Members for purposes of Section 8.6.

        19.9 Deemed Execution; Effective Date. On the Effective Date, the counterparts of this
Agreement executed and delivered by each of the Members shall be deemed released and this
Agreement shall become effective without any further action on the part of, or notice to, any
Person. This Agreement shall apply to, and be binding upon, all holders of Units and Interests,
whether or not such holder has executed a counterpart of this Agreement or a Joinder Agreement,
and shall also apply to all Units and Interests no matter when acquired, and by acceptance of Units
or Interests each holder agrees to be so bound.

        19.10 Additional Actions and Documents. The parties agree to execute and deliver any
further instruments or perform any additional acts that are or may become reasonably necessary to
carry on the Company or to effectuate its purposes.

         19.11 Injunctive Relief. It is hereby agreed and acknowledged that it will be impossible
to measure in money the damages that would be suffered if the parties to this Agreement fail to
comply with any of the obligations imposed on them by this Agreement and that in the event of
any such failure, a non-breaching party hereto will be irreparably damaged and will not have an
adequate remedy at law. Any such non-breaching party shall, therefore, be entitled to injunctive
relief, specific performance or other equitable remedies to enforce such obligations, this being in
addition to any other remedy to which such Person is entitled at law or in equity. Each of the
parties hereto hereby waives any defense that a remedy at law is adequate and any requirement to
post bond or other security in connection with actions instituted for injunctive relief, specific
performance or other equitable remedies. Each of the parties hereto hereby agrees not to assert
that specific performance, injunctive relief and other equitable remedies are unenforceable, violate
public policy, invalid, contrary to law or inequitable for any reason. The right of specific
performance, injunctive relief and other equitable remedies is an integral part of the transactions
contemplated by this Agreement.

        19.12 Assignment. Except as otherwise expressly set forth in this Agreement, no rights,
interests or obligations of any Member herein may be assigned without the prior approval of the
Board and the Requisite Members, except assignments to Transferees of Units in connection with
Transfers of Units that strictly comply with Article 9; provided, however, that (a) no assignment
of this Agreement or any rights or obligations hereunder shall be made without the assignee, as a
condition to such assignment, assuming in writing its assignor’s obligations under this Agreement,
to the extent applicable to such assignment, (b) no assignment of the Manager Consent Right of
any Preferred Holder Group shall be made other than to any Person included within the definition
of such Preferred Holder Group, (c) no assignment of the right of the BSP Members to designate

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the Chairman in accordance with the terms of Section 6.2(d) shall be made other than to any Person
included within the definition of BSP Members, (d) no assignment of the right of any Preferred
Holder Group under this Agreement, in its capacity as a Preferred Holder Group, shall be made
other than to any Person included within the definition of any such Preferred Holder Group, (e) no
assignment of the right of any Initial Member Group under this Agreement, in its capacity as an
Initial Member Group, shall be made other than to any Person included within the definition of
any such Initial Member Group.

        19.13 Spousal Consent. If requested by the Board, each married Member, and each
Member who, subsequent to the date hereof, marries or remarries, will concurrently with his or
her execution hereof, or the consummation of such marriage, as applicable, deliver to the Board
the written consent of his or her spouse in a form that is acceptable to the Board in its sole
discretion; provided, however, that the failure of any such Member to do so will not affect the
validity or enforceability of this Agreement.

       19.14 Regulatory Disclosure.

               (a)    The Goldman Sachs Group, Inc. (“GS”) is required to disclose under
       Section 13(r) of the Exchange Act (“Section 13(r)”), whether any of its Affiliates has
       engaged during each calendar quarter in certain Iran-related activities, including those
       targeted under the Iran Sanctions of Act of 1996 and other Iran-related laws. The Company
       represents and warrants that neither the Company nor any of its controlled Affiliates nor
       any of their respective officers or directors has engaged in any activity that would be
       reportable by the Company if the Company was required to make a disclosure under
       Section 13(r).

               (b)     Neither the Company nor any of its controlled Affiliates nor any of their
       respective officers or directors will engage in any activity that would be reportable by the
       Company if the Company was required to make a disclosure under Section 13(r). To the
       extent that the Company or its controlled Affiliates, officers or directors are, or become,
       engaged in any activities that would be reportable by the Company if the Company was
       required to make a disclosure under Section 13(r), the Company shall, upon becoming
       aware of such information, timely disclose such information in writing to GS.

               (c)     The Company shall timely provide GS with any information concerning the
       Company or its controlled Affiliates, officers or directors reasonably requested by GS to
       allow GS or its Affiliates to comply with any disclosure requested or required under any
       law applicable to any of them or by any governmental authority, including, without
       limitation, any Section 13(r) compliance questionnaire and any other disclosure requested
       or required by the Commission, Federal Deposit Insurance Corporation, Federal Reserve
       Board, Office of the Comptroller of the Currency or Office of Foreign Assets Control.

       19.15 FCPA Matters. The Company shall not (and shall not knowingly permit any of its
Subsidiaries or controlled Affiliates or any of its or their respective directors, officers, managers,
employees, independent contractors, representatives or agents (and with respect to such
independent contractors, representatives or agents, solely to the extent such Persons are acting on
behalf of the Company) to) promise, authorize or make any payment to, or otherwise contribute

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any item of value to, directly or indirectly, any third party, including any Foreign Official (as such
term is defined in the U.S. Foreign Corrupt Practices Act of 1977, as amended (the “FCPA”)), in
each case, in violation of the FCPA, the U.K. Bribery Act, or any other applicable anti-bribery or
anti-corruption law. To the extent necessary, the Company shall (and shall cause each of its
Subsidiaries and controlled Affiliates to) cease all of its or their respective activities, as well as
remediate any actions taken by the Company, its Subsidiaries or controlled Affiliates, or any of
their respective directors, officers, managers, employees, independent contractors, representatives
or agents (and with respect to such independent contractors, representatives or agents, solely to the
extent such Persons are acting on behalf of the Company) in violation of the FCPA, the U.K.
Bribery Act, or any other applicable anti-bribery or anticorruption law. The Company further
represents that it shall (and shall cause each of its Subsidiaries and controlled Affiliates to)
maintain systems of internal controls (including, but not limited to, accounting systems, purchasing
systems and billing systems) that are reasonably necessary to ensure compliance with the FCPA,
the U.K. Bribery Act, or any other applicable anti-bribery or anti-corruption law. The Company
shall timely notify each Member if the Company becomes aware of the Company or any of its
officers, directors or employees being the subject of any allegation, voluntary disclosure,
investigation, prosecution or other enforcement action related to the FCPA or any other
anticorruption law. The Company shall (and shall use reasonable efforts to cause any direct or
indirect Subsidiaries, whether now in existence or formed in the future, to) comply in all material
respects with the FCPA, the U.K. Bribery Act, or any other applicable anti-bribery or anti-
corruption law. Notwithstanding anything to the contrary set forth herein, the sole remedy with
respect to any breach of this Section 19.15 shall be specific performance.

        19.16 Regulatory Matters. The Company shall keep each Member informed, on a
reasonably current basis, of any events, discussions, notices or changes of a material nature with
respect to any tax (other than ordinary course communications which would not reasonably be
expected to be material to the Company), criminal or regulatory investigation or action involving
the Company or any of its Subsidiaries, in each case which may reasonably be expected to affect
the Members, and shall reasonably cooperate with the Members and their Affiliates in an effort to
avoid or mitigate any cost or regulatory consequences to them that might arise from such
investigation or action (including by reviewing written submissions in advance, attending meetings
with authorities and coordinating and providing assistance in meeting with regulators). Prior to
any securities offering by the Company pursuant to Regulation D of the Securities Act, the
Company covenants and agrees to (a) give notice of such offering to the Members at least ten (10)
days before a private placement memorandum or similar offering document is first sent to
prospective investors and (b) cooperate with any reasonable requests of Members regarding
disclosure in the offering documents which may be required or appropriate as a result of the
Members’ ownership interest in the Company. Notwithstanding anything to the contrary set forth
herein, the sole remedy with respect to any breach of this Section 19.16 shall be specific
performance.

        19.17 Certain Limitations; Investment Banking Services. Notwithstanding any other
terms in this Agreement to the contrary, nothing contained in this Agreement shall in any way (a)
limit any of the BSP Members, the Goldman Members or any of their respective Affiliates from
engaging in any brokerage, investment advisory, financial advisory, anti-raid advisory,
principaling, merger advisory, financing, asset management, trading, market making, arbitrage,
investment activity and other similar activities conducted in the ordinary course of its business or

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(b) apply to common stock or any securities convertible or exercisable or exchangeable for
common stock acquired by any of the Goldman Members or any of their respective Affiliates
following the effective date of any initial public offering of the Company or its successor. The
Company and each Member understands and acknowledges that, notwithstanding any actions or
omissions by representatives of any of the BSP Members, the Goldman Members or any of their
respective Affiliates in whatever capacity, it is understood that none of the BSP Members, the
Goldman Members or any of their respective Affiliates is acting as a financial advisor, agent or
underwriter to the Company or any of its Affiliates or otherwise on behalf of the Company or any
of its Affiliates, unless retained to provide such services pursuant to a separate written agreement.

         19.18 Use of Logos. The Company grants the BSP Members and the Goldman Members
permission to use the Company’s name and logo in the BSP Members’, the Goldman Members’
or their respective Affiliates’ marketing materials. The BSP Members, the Goldman Members and
their respective Affiliates, as applicable, shall include a trademark attribution notice giving notice
of the Company’s ownership of its trademarks in the marketing materials in which the Company’s
name and logo appear.

        19.19 Non-Promotion. Each of the Company and each Member agrees that it will not,
without the prior written consent of the Goldman Members, (a) use in advertising, publicity, or
otherwise the name of any of the Goldman Members or any of their Affiliates, or any partner or
employee of any of the Goldman Members, or any trade name, trademark, trade device, service
mark, symbol or any abbreviation, contraction or simulation thereof owned by the Goldman
Members, except in connection with any enforcement of rights and remedies, or as required by
applicable law, or (b) represent, directly or indirectly, in writing that any product or any service
provided by the Company has been approved or endorsed by any of the Goldman Members. Each
of the Company and each Member agrees that it will not, without the prior written consent of the
BSP Members, (i) use in advertising, publicity, or otherwise the name of any of the BSP Members
or any of their Affiliates, or any partner or employee of any of the BSP Members, or any trade
name, trademark, trade device, service mark, symbol or any abbreviation, contraction or simulation
thereof owned by the BSP Members, except in connection with any enforcement of rights and
remedies, or as required by applicable law, or (ii) represent, directly or indirectly, in writing that
any product or any service provided by the Company has been approved or endorsed by any of the
BSP Members.

       19.20 Non-Impairment. Notwithstanding any other terms in this Agreement or the New
Credit Documents to the contrary, nothing contained in this Agreement or the New Credit
Documents shall affect, limit or impair the rights and remedies of the BSP Members, the Goldman
Members or any of their respective Affiliates (a) in its or their capacity as a lender or as agent for
lenders to the Company or any of its Subsidiaries pursuant to any agreement under which the
Company or any of its Subsidiaries has borrowed money, including, without limitation, the New
Credit Documents, or (b) in its or their capacity as a lender or as agent for lenders to any other
Person who has borrowed money. Without limiting the generality of the foregoing, any such
Person, in exercising its rights as a lender, including making its decision on whether to foreclose
on any collateral security, will have no duty to consider (i) its or any of its Affiliates’ status as a
Member, (ii) the interests of the Company or its Subsidiaries or (iii) any duty it may have to any
Member, except as may be required under the applicable loan documents or by commercial law
applicable to creditors generally. No consent, approval, vote or other action taken or required to

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be taken by the BSP Members or the Goldman Members, as applicable, in such capacity shall in
any way impact, affect or alter the rights and remedies of the BSP Members or the Goldman
Members or any of their respective Affiliates as a lender or agent for lenders.

        19.21 Reduction of Rights. The Goldman Members may, in their sole discretion, reduce
or limit any of rights afforded to them in this Agreement so long as such reduction or limitation
does not have, or is not reasonably expected to have, individually or in the aggregate, an adverse
effect on any of the other Members.

                                         ARTICLE 20
                                      CONFIDENTIALITY

        20.1 Confidentiality. Each Member hereby agrees that, during the period commencing
on the Effective Date (or, with respect to any Member that becomes a party hereto after the
Effective Date, the date any such Member executes and delivers a Joinder Agreement) and ending
on the first anniversary of the date on which such Member no longer beneficially owns or holds
any Units (such period, the “Confidentiality Period”), such Member will keep confidential and
will not disclose or divulge to any other Person (other than as permitted by Section 20.2) any (x)
confidential, business, financial or proprietary information regarding the Company or any of its
Subsidiaries, or any confidential, business, financial or proprietary information regarding the
business or affairs of any other Member in respect of the Company or any of its Subsidiaries (in
any such case, whether in written, oral or electronic form), that is obtained by, or on behalf of,
such Member from the Company or any of its Subsidiaries, from the Company’s or any such
Subsidiary’s legal or financial advisors or any other agents or advisors engaged by the Company
or any of its Subsidiaries, from any other Member, or through the ownership of Interests and (y)
notes, analyses, compilations, studies, interpretations or other documents prepared by such
Member or any of its Representatives which contain, reflect or are based upon the information
referred to in clause (x) above (collectively, “Confidential Information”). Confidential
Information shall not include information which (A) is known or becomes known to the public in
general (other than as a result of a breach of this Section 20.1 by a Member or any of its
Representatives), (B) is or becomes available to a Member on a non-confidential basis from a
source other than the Company, any other Member or any of their respective Affiliates or
Representatives (provided, that such Member is not aware that such source is under an obligation
to keep such Confidential Information confidential) prior to such information being provided to
such Member by (or obtained from) the Company or any of its Subsidiaries, any other Member or
any of their respective Affiliates or Representatives or (C) is independently developed or acquired
by such Member or its Representatives without reference to the Confidential Information.

       20.2    Permitted Disclosure of Confidential Information.

               (a)    Notwithstanding Section 20.1, Confidential Information may be disclosed
       as follows:

                      (i)     Confidential Information may be provided by a Member, on a
               confidential basis, to such Member’s Affiliates and its and their respective
               managers, officers, directors, employees, partners, investors, members,
               representatives, attorneys, agents, accountants, consultants, other professional

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      advisors and financing sources (collectively, “Representatives”), to the extent
      reasonably necessary in connection with such Member’s investment in the
      Company; provided, however, that such Member shall instruct its Representatives
      to comply with the applicable restrictions in this Article 20 as if such
      Representatives were a party hereto and bound by such restrictions, and such
      Member shall be responsible for any breach of this provision by any such
      Representative (provided that such Representative has not otherwise entered into a
      confidentiality agreement directly with the Company).

              (ii)     Confidential Information may be provided by a Member, on a
      confidential basis, to an actual or potential Transferee of all or a portion of the Units
      owned or held by such Member, to the extent reasonably necessary to consummate
      a sale or other Transfer of such Units permitted under this Agreement; provided,
      however, that (x) in the case that such actual or potential Transferee or any of its
      Affiliates is a Competitor, such disclosure shall be permitted only if such Transferee
      has been expressly authorized by the Board to receive Confidential Information,
      and (y) prior to such Member’s delivery of Confidential Information to an actual or
      potential Transferee of Units pursuant to this clause (ii), such actual or potential
      Transferee shall have executed and delivered to such Member and the Company a
      Transferee confidentiality agreement substantially in the form attached hereto as
      Exhibit B.

              (iii)   In the event that such Member or any of its Representatives
      determines, in good faith upon the advice of counsel (which may include internal
      counsel), that disclosure of Confidential Information is required under applicable
      law or regulation, or by regulatory authorities having jurisdiction over such
      Member or such Representative, such Member or such Representative will (x) use
      reasonable efforts to preserve the confidentiality of the Confidential Information
      sought to be disclosed; and (y) to the extent legally permitted and reasonably
      practicable, promptly provide the Company with written notice so that the
      Company may seek (at the Company’s expense) an appropriate protective order or
      other remedy and/or waive compliance with this Agreement and, if requested by
      the Company, reasonably assist the Company (at the Company’s expense) to seek
      such a protective order or other remedy. Provided that such notice (to the extent
      legally permitted and reasonably practicable) is furnished, if, in the absence of a
      protective order or other remedy, such Member or any applicable Representative
      is, in the opinion of its counsel (which may include internal counsel), legally
      compelled to disclose Confidential Information, such Member or such
      Representative may disclose pursuant to this Section 20.2(a)(iii) only that portion
      of such Confidential Information, and only to those parties, that such counsel has
      advised is compelled or required to be disclosed, without liability under this
      Agreement. In addition, any Member shall be entitled to share Confidential
      Information with Governmental Authorities in connection with routine regulatory
      audits and examinations that are conducted by such Governmental Authorities of
      such Member and no notice by such Member to the Company shall be required with
      respect to any such disclosure.


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                       (iv)   With the prior consent of the Company, any Member may provide
               Confidential Information of the Company (but not Confidential Information of any
               other Member in respect of the Company or any of its Subsidiaries) to any Person
               in connection with a potential Sale Transaction with such Person; provided that
               such Person has an obligation to the Company (which obligation shall be customary
               in such transaction processes) to keep such Confidential Information confidential.

                      (v)     Any Member that is an employee, consultant or other service
               provider of the Company or any of its Subsidiaries may disclose Confidential
               Information in the performance of such employment duties or services to the extent
               authorized by the Company’s policies in respect thereof.

               (b)    Termination. All the rights and obligations of a Member set forth in this
       Article 20 shall terminate automatically upon the expiration of the Confidentiality Period
       applicable to such Member; provided, however, that no such termination shall relieve any
       Member from any liability relating to any breach of this Article 20.

        20.3 United States Tax Confidentiality Waiver. Notwithstanding anything contained in
this Agreement or any Transferee confidentiality agreement, the Company, each Manager, each
officer of the Company, the Board and each committee thereof, and their respective advisors,
authorize each Member and each of its employees, representatives or other agents, from and after
the commencement of any discussions with any such party, to disclose to any and all Persons,
without limitation of any kind, the United States income and franchise tax treatment and United
States income and franchise tax structure of the Company and any transaction entered into by the
Company and all materials of any kind (including tax opinions or other tax analyses) relating to
such tax treatment or tax structure that are provided to such Member, insofar as such treatment
and/or structure relates to a United States income or franchise tax strategy provided to such
Member by the Company, by any Manager, by any officer of the Company, by the Board or any
committee thereof, or by any of their respective advisors, except for any information identifying
any Manager, any officer of the Company, or any other Member, or (except to the extent relevant
to such tax structure or tax treatment) any non-public commercial or financial information.

                                  ARTICLE 21
                  IPO; CORPORATE CONVERSION; SALE COVENANT

        21.1 IPO Approval. Subject to Section 5.10, the Board, with the consent of the Requisite
Members, may at any time approve an IPO. The parties hereto agree that any IPO relating to the
Company or any of its Subsidiaries may be effected at the Company level or at a Subsidiary of the
Company, and that in the event of a planned IPO, the Company shall convert all (or the appropriate
portion) of the Units then held by any Members into an economically equivalent number of shares
of the preferred stock and common stock of the Company or its applicable Subsidiary effecting
such IPO. If the Board approves an IPO of the Company or any of its Subsidiaries with the prior
written consent of the Requisite Members, each Member hereby consents to such IPO and shall
vote for (to the extent it has any voting right) and raise no objections against such IPO, and each
Member shall take all reasonable actions in connection with the consummation of such IPO as
requested by the Board.


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         21.2 Required Actions. In connection with an IPO, the Board may, in its sole discretion,
either (a) cause the Company to contribute all or substantially all of its assets to a corporation in a
transaction qualified under Section 351(a) of the Code, and thereupon liquidate and dissolve the
Company, (b) elect to have all Members contribute their Units to a corporation, in a transaction
qualifying under Section 351(a) of the Code, as long as the Fair Market Value of the shares of the
corporation received by all Members is equal to the Fair Market Value of the Units Transferred,
(c) cause the Company to distribute some or all of the shares of capital stock of one or more
Subsidiaries of the Company to the Members, (d) cause the Company to Transfer its assets,
liabilities and operations to a corporation in exchange for any combination of cash, debt or capital
stock in such corporation, (e) cause a corporation to be admitted as a Member of the Company,
with such corporation purchasing interests in the Company from the Company or Members (as
determined by the Board) with the proceeds of a public offering of the corporation’s stock; or
(f) otherwise cause the Company to convert into a corporation, by way of merger, consolidation
or otherwise. Each Member hereby consents to such actions and shall vote for (to the extent it has
any voting right) and raise no objections against such actions, and each Member shall, at the
request of the Board, take all actions reasonably necessary or desirable to effect such actions
(including whether by conversion to a subchapter C corporation, merger or consolidation into a
corporation, recapitalization or reorganization, sale of securities, or otherwise), giving effect to the
same economic (other than any tax effects resulting therefrom), voting and corporate governance
provisions contained herein (any such transaction contemplated by this Section 21.2, a
“Corporate Conversion”); provided, however, that the Company agrees to effect such Corporate
Conversion in a mutually tax efficient manner. In connection with such Corporate Conversion,
each Member hereby agrees to enter into a shareholders agreement (or equivalent) with the
corporate successor (the “Reorganized Issuer”) and each other Member which contains
restrictions on the Transfer of such capital stock and other provisions (including with respect to
the governance and control of such Reorganized Issuer) in form and substance (including with
respect to the termination thereof) similar to the provisions and restrictions set forth herein to the
extent reasonably requested by the Board.

        21.3 Registration Rights Agreement. In connection with (but prior to the consummation
of) a Qualified Public Offering, the Company or any Reorganized Issuer, as applicable, shall enter
into a registration rights agreement with the Members that own or hold Class A Common Units,
in form and substance reasonably satisfactory to the Requisite Members, with respect to the
registration of its securities following the consummation of a Qualified Public Offering.

         21.4 Sale Covenant.         Subject to the limitations set forth in the proviso in
Section 9.3(b)(iv), the Company shall run a FMV Sale Process with respect to all or substantially
all of the assets of the Company or the equity of the Company (including the Series A Preferred
Units, the Series B Preferred Units and the Class A Common Units) on terms and conditions
acceptable to each Initial Member Group if the Company has not (a) satisfied in full the New First
Lien Term Loans and the New Second Lien Term Loans prior to the date that is six (6) months
before the applicable maturity or (b) redeemed the Series A Preferred Units in full on or prior to
the sixth (6th) anniversary of the Effective Date or the Series B Preferred Units in full on or prior
to the tenth (10th) anniversary of the Effective Date.

        21.5 Deemed Underwriter. The Company agrees that, if the Goldman Members or any
of their respective Affiliates (each a “Goldman Entity”) could reasonably be deemed to be an

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“underwriter,” as defined in Section 2(a)(11) of the Securities Act, in connection with any
registration of the Company’s securities of any Goldman Entity pursuant to this Agreement, and
any amendment or supplement thereof (a “Goldman Underwriter Registration Statement”),
then the Company will reasonably cooperate with such Goldman Entity in allowing such Goldman
Entity to conduct customary “underwriter’s due diligence” with respect to the Company and satisfy
its obligations in respect thereof.

                                    [Signature pages follow]




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        IN WITNESS WHEREOF, the undersigned have executed this Agreement as of the
Effective Date.

                                       COMPANY:

                                       [NEWCO], LLC


                                       By:     ____________________________________
                                               Name:
                                               Title:


                                       MEMBERS:

                                       []


                                       By:     ____________________________________
                                               Name:
                                               Title:



                         [SIGNATURE PAGES TO COME]




                            Signature Page to LLC Agreement
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                                Schedule A

Member      Notice       Capital        Class A    Series A     Series B
         Information   Contributions    Common    Preferred    Preferred
                                         Units      Units        Units




                                 Schedule A
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                            Schedule B

                          Initial Officers




                            Schedule B
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                                 Schedule C

                                Initial Board

Jim Decker
Garry Herdler
David Zwick




                                 Schedule C
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                                            Exhibit A

                                   Form of Joinder Agreement

        This Joinder Agreement (this “Joinder Agreement”), dated as of [], is executed by the
undersigned pursuant to the terms of the Limited Liability Company Agreement of [NEWCO],
LLC (the “Company”), dated as of [], 2021 (as amended, supplemented, amended and restated
or otherwise modified from time to time, the “LLC Agreement”), by and among the Company
and the other parties from time to time party thereto. Capitalized terms used but not defined herein
have the meanings ascribed to such terms in the LLC Agreement.

       The undersigned hereby acknowledges and agrees as follows:

               (1)    Acknowledgements. The undersigned hereby acknowledges that (a) it has
received and reviewed a complete copy of the LLC Agreement, (b) by executing and delivering
this Joinder Agreement, it is agreeing to become a party to the LLC Agreement as a “Member”
thereunder and shall be fully bound by, and subject to, all of the covenants, terms, conditions and
provisions of the LLC Agreement as a “Member” party thereto, (c) it has had sufficient time to
consider the LLC Agreement and to consult with an attorney if it wished to do so, or to consult
with any other Person of its choosing, before signing this Joinder Agreement and (d) it has
willingly executed and delivered this Joinder Agreement with full understanding of the legal and
financial consequences of this Joinder Agreement and the LLC Agreement.

               (2)    Agreements. The undersigned hereby agrees that, upon execution and
delivery to the Company of this Joinder Agreement, the undersigned (i) shall become a party to
the LLC Agreement as a “Member” thereunder and shall be fully bound by, and subject to, all of
the covenants, terms, conditions and provisions of the LLC Agreement as a “Member” party
thereto, and (ii) makes the representations, warranties and acknowledgments set forth in
Section 18.1 of the LLC Agreement to the Company and to each other Member as of the date of
this Joinder Agreement.

               (3)   Governing Law. This Joinder Agreement shall be governed by and
construed in accordance with the laws of the State of Delaware, without regard to its conflicts of
law doctrine.

                (4)    Counterparts. This Joinder Agreement may be executed and delivered in
any number of counterparts, each such counterpart being deemed to be an original instrument, and
all such counterparts shall together constitute the same agreement. Delivery of an executed
counterpart of this Joinder Agreement by facsimile or portable document format (PDF) will be
effective as delivery of a manually executed counterpart of this Joinder Agreement.

              (5)     Headings. The headings of the various sections of this Joinder Agreement
have been inserted for convenience of reference only and shall not be deemed to be a part of this
Joinder Agreement.

              (6)    Schedule A to LLC Agreement. For purposes of Schedule A to the LLC
Agreement, the undersigned’s address and e-mail address are as follows:



                                            Exhibit A
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              Address:
              E-mail Address:


                                      [__________]


Date:                                 __________________________________________
                                      By:
                                      Title:




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                                             Exhibit B

             FORM OF TRANSFEREE CONFIDENTIALITY AGREEMENT

[NAME OF POTENTIAL TRANSFEREE]
[ADDRESS]

Attention:

Re:    Confidentiality Agreement

Ladies and Gentlemen:

        In connection with a possible transaction (the “Transaction”) involving the sale or transfer
of limited liability company interests of [NEWCO], LLC (the “Company”) owned, held or
controlled by [INSERT NAME OF TRANSFEROR] (the “Transferor”) to [INSERT NAME OF
POTENTIAL TRANSFEREE] (the “Potential Transferee”), the Transferor is prepared to make
available to the Potential Transferee certain Confidential Information (as defined below). As a
condition to such Confidential Information being furnished to the Potential Transferee, the
Potential Transferee hereby agrees that it will comply with the following terms of this letter
agreement (this “Confidentiality Agreement”):

         1.      Confidential Information. “Confidential Information” means any (x) confidential,
business, financial or proprietary information regarding the Company or any of its subsidiaries, or
any confidential, business, financial or proprietary information regarding the business or affairs of
any member of the Company in respect of the Company or any of its subsidiaries (in any such
case, whether in written, oral or electronic form), that has been obtained by the Transferee or any
of its Representatives from the Company or any of its subsidiaries, from the Transferor, or from
any of their respective Representatives and (y) notes, analyses, compilations, studies,
interpretations or other documents prepared by the Potential Transferee or any of its officers,
directors, employees, partners, investors, members, representatives, attorneys, accountants, other
professional advisors and financing sources (collectively, “Representatives”), which contain,
reflect or are based upon the information referred to in clause (x) above. Confidential Information
shall not include information which (A) is known or becomes known to the public in general (other
than as a result of a breach of the confidentiality obligations hereunder or otherwise by the
Transferor, the Potential Transferee or any of their respective Representatives), (B) is or becomes
available to the Potential Transferee on a non-confidential basis from a source other than the
Transferor or any of its Representatives (provided, that the Potential Transferee is not aware that
such source is under an obligation to keep such Confidential Information confidential) prior to
such information being provided to such Potential Transferee by or on behalf of (or obtained from)
the Company, any of its subsidiaries, the Transferor or any of their respective Representatives or
(C) is independently developed by the Potential Transferee or its Representatives without reference
to the Confidential Information.

               (a)    The Potential Transferee recognizes and acknowledges the competitive
value and confidential nature of the Confidential Information and the damage that could result to
the Company, the Transferor and any other member of the Company if any Confidential
Information is disclosed to a third party, and hereby agrees that it will keep strictly confidential


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and will not disclose, divulge or use for any purpose, other than to evaluate the Transaction, any
of the Confidential Information; provided, however, that any of the Confidential Information may
be disclosed, on a confidential basis, to any of the Potential Transferee’s Representatives that need
to know such information for the purpose of evaluating the Transaction. The Potential Transferee
shall cause its Representatives to comply, and the Potential Transferee shall be responsible for
ensuring that its Representatives comply, with the restrictions set forth in this Confidentiality
Agreement as if such Representatives were a party hereto and bound by such restrictions.

        2.       Disclosure of Confidential Information. In the event that the Potential Transferee
(a) determines, in good faith upon the advice of counsel, that disclosure of Confidential
Information is required under applicable law or regulation, or by regulatory authorities having
jurisdiction over the Potential Transferee, the Potential Transferee, to the extent legally permitted,
will promptly provide the Transferor and the Company with written notice so that they may seek
an appropriate protective order or other remedy and/or waive compliance with the provisions of
this Confidentiality Agreement. Provided that such foregoing notice (if legally permitted) is
furnished, if, in the absence of a protective order or other remedy, the Potential Transferee is, in
the opinion of its counsel, compelled to disclose Confidential Information or else be held liable for
contempt or suffer other censure or penalty, the Potential Transferee may disclose pursuant to this
paragraph only that portion of such Confidential Information, and only to those parties, that such
counsel has advised is compelled or required to be disclosed, without liability under this
Confidentiality Agreement.

        3.      Return and Destruction of Confidential Information. In the event that the Potential
Transferee decides not to proceed with the Transaction, the Potential Transferee will promptly
inform the Transferor of that decision. In that case, or at any time upon the request of the
Transferor for any reason, the Potential Transferee will, as directed by the Transferor, promptly
deliver to the Transferor or the Company all Confidential Information (and any copies thereof)
furnished to the Potential Transferee or any of its Representatives, by or on behalf of the Company
or any of its subsidiaries, the Transferor, or any of their respective Representatives. In the event
of such a decision or request, all other Confidential Information prepared by the Potential
Transferee or on the Potential Transferee’s behalf, shall be returned or destroyed. Upon the
Transferor’s request, the Potential Transferee shall provide the Transferor with prompt written
confirmation of the Potential Transferee’s compliance with this paragraph. Notwithstanding the
return or destruction of the Confidential Information, the Potential Transferee and its
Representatives shall continue to be bound by the obligations of confidentiality and other
obligations and agreements hereunder.

        4.     No Representations or Warranties. The Potential Transferee understands,
acknowledges and agrees that neither the Company or any of its subsidiaries, nor the Transferor
or any other member of the Company makes any representation or warranty, express or implied,
as to the accuracy or completeness of the Confidential Information furnished hereunder, and
neither the Company or any of its subsidiaries, nor the Transferor or any other member of the
Company shall have any liability to the Potential Transferee or to any of its Representatives
relating to or resulting from the use of the Confidential Information or any errors therein or
omissions therefrom. Only those representations or warranties which are made in a final definitive
agreement regarding any Transaction, when, as and if executed and delivered, and subject to such
limitations and restrictions as may be specified therein, will have any legal effect.


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        5.     Injunctive Relief. It is hereby agreed and acknowledged that it will be impossible
to measure in money the damages that would be suffered by the Company and the Transferor if
the Potential Transferee fails to comply with any of the obligations imposed on it by this
Confidentiality Agreement and that in the event of any such failure, the Transferor and the
Company will be irreparably damaged and will not have an adequate remedy at law. The
Transferor and the Company shall, therefore, be entitled to injunctive relief, specific performance
or other equitable remedies to enforce such obligations, this being in addition to any other remedy
to which either the Transferor or the Company is entitled at law or in equity. The Potential
Transferee hereby waives any defense that a remedy at law is adequate and any requirement to
post bond or other security in connection with actions instituted for injunctive relief, specific
performance or other equitable remedies. The Potential Transferee hereby agrees not to assert that
specific performance, injunctive relief and other equitable remedies are unenforceable, violate
public policy, invalid, contrary to law or inequitable for any reason. The right of specific
performance, injunctive relief and other equitable remedies is an integral part of the transactions
contemplated by this Confidentiality Agreement.

      6.   Governing Law. THIS CONFIDENTIALITY AGREEMENT AND ANY
CONFLICTS ARISING HEREUNDER OR RELATED HERETO SHALL BE GOVERNED BY,
AND CONSTRUED UNDER, THE LAWS OF THE STATE OF DELAWARE, ALL RIGHTS
AND REMEDIES BEING GOVERNED BY SAID LAWS, REGARDLESS OF THE LAWS
THAT MIGHT OTHERWISE GOVERN UNDER APPLICABLE PRINCIPLES OF
CONFLICTS OF LAWS. EACH OF THE TRANSFEROR AND THE POTENTIAL
TRANSFEREE HEREBY SUBMITS TO THE EXCLUSIVE JURISDICTION OF THE UNITED
STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK AND OF
ANY NEW YORK STATE COURT SITTING IN THE CITY OF NEW YORK, AND ANY
JUDICIAL PROCEEDING BROUGHT AGAINST THE TRANSFEROR OR THE POTENTIAL
TRANSFEREE WITH RESPECT TO ANY DISPUTE ARISING OUT OF THIS
CONFIDENTIALITY AGREEMENT OR ANY MATTER RELATED HERETO SHALL BE
BROUGHT ONLY IN SUCH COURTS. EACH OF THE TRANSFEROR AND THE
POTENTIAL TRANSFEREE HEREBY IRREVOCABLY WAIVES, TO THE FULLEST
EXTENT PERMITTED BY LAW, ANY OBJECTION IT MAY HAVE OR HEREAFTER
HAVE TO THE LAYING OF THE VENUE OF ANY SUCH PROCEEDING BROUGHT IN
SUCH A COURT AND ANY CLAIM THAT ANY SUCH PROCEEDING BROUGHT IN SUCH
A COURT HAS BEEN BROUGHT IN AN INCONVENIENT FORUM. EACH OF THE
TRANSFEROR AND THE POTENTIAL TRANSFEREE HEREBY CONSENTS TO PROCESS
BEING SERVED IN ANY SUCH PROCEEDING BY THE MAILING OF A COPY THEREOF
BY REGISTERED OR CERTIFIED MAIL, POSTAGE PREPAID, TO ITS ADDRESS
SPECIFIED BELOW, OR IN ANY OTHER MANNER PERMITTED BY LAW. EACH OF THE
TRANSFEROR AND THE POTENTIAL TRANSFEREE HEREBY KNOWINGLY,
VOLUNTARILY, AND INTENTIONALLY WAIVES ANY RIGHTS IT MAY HAVE TO A
TRIAL BY JURY IN RESPECT OF ANY SUCH ACTION OR PROCEEDING.

        7.     Term. This Confidentiality Agreement will terminate on the earlier of (a) two (2)
years from the date hereof and (b) the Potential Transferee executing a Joinder Agreement to the
Limited Liability Company Agreement of [NEWCO], LLC, dated as of [], 2021, among
[NEWCO], LLC and its members, as amended, supplemented, amended and restated or otherwise
modified from time to time; provided, however, that no such termination of this Confidentiality


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Agreement shall relieve the Potential Transferee from any liability relating to any breach of this
Confidentiality Agreement.

        8.      Notices. All notices, requests, waivers and other communications made pursuant
to this Confidentiality Agreement shall be in writing and shall be deemed to have been effectively
given, delivered, provided or received (a) when personally delivered to the party to be notified; (b)
when sent by electronic mail (“e-mail”) to the party to be notified; (c) three (3) business days after
deposit in the United States mail, postage prepaid, by certified or registered mail with return receipt
requested, addressed to the party to be notified; or (d) one (1) business day after deposit with a
national overnight delivery service, postage prepaid, addressed to the party to be notified with
next-business day delivery guaranteed, in each case as follows:

                               to the Transferor, at:

                               [         ]

                               to the Potential Transferee, at:

                               [        ]

       A party may change its address or e-mail address for purposes of notice hereunder by
giving notice of such change to the other party in the manner provided in this Section 8.

        9.      Miscellaneous. This Confidentiality Agreement contains the entire agreement
between the Transferor and the Potential Transferee regarding its subject matter and supersedes
all prior agreements, understandings, arrangements and discussions between the Transferor and
the Potential Transferee regarding such subject matter. It is understood and agreed that no failure
or delay by the Transferor or the Company in exercising any right, power or privilege hereunder
shall operate as a waiver thereof, nor shall any single or partial exercise thereof preclude any other
or further exercise thereof or the exercise of any other right, power or privilege hereunder. No
provision in this Confidentiality Agreement can be waived or amended except by written consent
of the Transferor, the Potential Transferee and the Company, which consent shall specifically refer
to the provision to be waived or amended and shall explicitly make such waiver or amendment.
This Confidentiality Agreement may be signed by electronic transmission and in one or more
counterparts, each of which shall be deemed an original but all of which shall be deemed to
constitute a single instrument. If any provision of this Confidentiality Agreement is found to
violate any statute, regulation, rule, order or decree of any Governmental Authority, such invalidity
shall not be deemed to affect any other provision hereof or the validity of the remainder of this
Confidentiality Agreement, and such invalid provision shall be deemed deleted herefrom to the
minimum extent necessary to cure such violation. The provisions of this Confidentiality
Agreement shall inure to the benefit of and be binding upon the parties hereto and their respective
legal representatives, heirs, administrators, executors, successors and permitted assigns. The
Potential Transferee may not assign this Confidentiality Agreement without the prior written
consent of the Transferor and the Company. The Potential Transferee agrees and acknowledges
that the Company shall be an express third party beneficiary hereof, having all rights to enforce
this Confidentiality Agreement.

                           [Remainder of Page Intentionally Left Blank]


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       IN WITNESS WHEREOF, the parties hereto have executed and delivered this
Confidentiality Agreement as of this __ day of ________, 20__.

                                        Very truly yours,


                                        TRANSFEROR

                                        [                   ]


                                        By: ______________________________________
                                             Name:
                                             Title:



CONFIRMED AND AGREED
as of the date written above:

POTENTIAL TRANSFEREE

[        ]

By:   _______________________________
      Name:
      Title:




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                             Exhibit D

                 Form of New 1L Facility Agreement
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                                                        SSL Draft 10/16/2021




                 FIRST LIEN FINANCING AGREEMENT

                         DATED AS OF [ ], 2021

                            BY AND AMONG

[NEW HOLDCO SUB], ORG GC GP BUYER, LLC, AND ORG GC LP BUYER, LLC,
                          as Borrowers,

                            [NEW HOLDCO],
                               as Parent

          PARENT AND EACH SUBSIDIARY OF PARENT LISTED
         AS A GUARANTOR ON THE SIGNATURE PAGES HERETO
               AND FROM TIME TO TIME PARTY HERETO,
                           as Guarantors,

          THE LENDERS FROM TIME TO TIME PARTY HERETO,
                           as Lenders,


                          BSP AGENCY, LLC,

                           as Collateral Agent,


                                   and


                          BSP AGENCY, LLC,
                         as Administrative Agent
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                         FIRST LIEN FINANCING AGREEMENT

         This First Lien Financing Agreement, dated as of [ ], 2021, is made by and among [New
Holdco], a [ ] (the “Parent”), as a guarantor, [New Holdco Sub], a Delaware limited liability
company (the “Holdco Borrower”), as a borrower, ORG GC GP Buyer, LLC, a Delaware limited
liability company (“GC GP Buyer”), as a borrower, and ORG GC LP Buyer, LLC, a Delaware
limited liability company (“GC LP Buyer”), as a borrower (GC LP Buyer, together with [Holdco
Borrower] and GC GP Buyer, collectively, the “Borrowers”, and each a “Borrower”), Holdco
Borrower, as the Administrative Borrower, each subsidiary of the Parent listed as a “Guarantor”
on the signature pages hereto, as a guarantor (together with the Parent and each other Person that
executes a joinder agreement and becomes a “Guarantor” hereunder or otherwise guaranties all or
any part of the Obligations (as hereinafter defined), each a “Guarantor” and collectively, the
“Guarantors”), the Lenders (as hereinafter defined) from time to time party hereto, BSP Agency,
LLC (in its individual capacity, “BSP Agency”), as collateral agent for the Lenders (in such
capacity, together with its successors and assigns in such capacity, the “Collateral Agent”), and
BSP Agency, LLC, as administrative agent for the Lenders (in such capacity, together with its
successors and assigns in such capacity, the “Administrative Agent” and together with the
Collateral Agent, each an “Agent” and collectively, the “Agent” or “Agents”).

                                          RECITALS

                 WHEREAS, the Loan Parties and the Lenders (and/or one of more of their
respective Affiliates) have agreed to consummate certain Restructuring Transactions, as further
set forth in the related Restructuring Documents;

               WHEREAS, in connection with implementing the Restructuring Transactions, the
Lenders have agreed to provide certain credit facilities to the Borrower hereunder, and shall be
deemed to have extended certain term loans to the Borrower on the Chapter 11 Plan Effective
Date, in each case, on the terms set forth herein, and subject to the applicable provisions of the
other Loan Documents and the Restructuring Documents;

                WHEREAS, the Agents have agreed to act as administrative and collateral agents
in respect of the credit facilities provided hereunder; and

             WHEREAS, the parties hereto are entering into this Agreement in furtherance of,
and to document their agreement with respect to, the foregoing.

              NOW, THEREFORE, in consideration of the premises and the covenants and
agreements contained herein, the parties hereto agree as follows:

                                          ARTICLE I

                             DEFINITIONS; CERTAIN TERMS

        Section 1.01 Definitions. As used in this Agreement, the following terms shall have the
respective meanings indicated below:
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        “ABL/Term Intercreditor Agreement” means the [ABL/Term Intercreditor Agreement],
dated as of the date hereof, by and among the Collateral Agent, the Second Lien Collateral Agent
and the ABL Agent and acknowledged by the Loan Parties, as amended, restated, amended and
restated, supplemented or otherwise modified from time to time in accordance with the terms
thereof.

       “ABL Agent” means [ ], in its capacities as the administrative agent and the collateral
agent under the ABL Credit Agreement, together with its successors and assigns in such capacities.

        “ABL Credit Agreement” means the Credit Agreement, dated as of [ ], among [GCS, as
the borrower, Parent, GC Midco, GC GP Buyer, GC LP Buyer and GC Services International,
LLC, as loan parties], the ABL Agent and the lenders from time to time party thereto, as amended,
restated, amended and restated, supplemented or otherwise modified from time to time in
accordance with this Agreement and the Intercreditor Agreement.

        “ABL Credit Facility” means (a) any credit facility established pursuant to, or governed
by, and any loans provided under, the ABL Credit Agreement, and (b) any domestic secured or
unsecured revolving, cash-flow or asset-backed credit facility, any letter of credit facility, any
receivables financing, and any other form of liquidity or working capital financing provided to, or
for the benefit of, the Borrowers.

       “ABL Indebtedness” means Indebtedness of the Loan Parties owing to the ABL Lenders
and other secured parties under the ABL Credit Facility.

        “ABL Lenders” means, collectively, the lenders party to the ABL Credit Agreement from
time to time.

        “ABL Loan Documents” means, collectively, the ABL Credit Agreement and the other
[Loan Documents] (as defined in the ABL Credit Agreement), in each case, as amended, restated,
amended and restated, supplemented or otherwise modified from time to time in accordance with
this Agreement and the Intercreditor Agreements.

       “ABL Loans” means any revolving loans made pursuant to the ABL Credit Agreement.

        “ABL Priority Collateral” means “ABL Priority Collateral” as defined in the ABL/Term
Intercreditor Agreement.

      “Account Debtor” means, with respect to any Person, each debtor, customer or obligor in
any way obligated on or in connection with any Account of such Person.

       “Action” has the meaning specified therefor in Section 12.12.

       “Additional Amount” has the meaning specified therefor in Section 2.09(a).

       “Administrative Agent” has the meaning specified therefor in the preamble hereto.

      “Administrative Agent’s Account” means an account at a bank designated by the
Administrative Agent from time to time as the account into which the Loan Parties shall make all
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payments to the Administrative Agent for the benefit of the Agents and the Lenders under this
Agreement and the other Loan Documents.

       “Administrative Borrower” has the meaning specified therefor in Section 4.05(a).

        “Affiliate” means, with respect to any Person, any other Person that, directly or indirectly
through one or more intermediaries, controls, is in control of, is controlled by, or is under common
control with, such Person (including such Person’s Controlled Investment Affiliates). For
purposes of this definition, “control” of a Person means the power, directly or indirectly, either to
(a) vote 10% or more of the Equity Interests having ordinary voting power for the election of
members of the Board of Directors of such Person or (b) direct or cause the direction of the
management and policies of such Person, whether by contract or otherwise. Notwithstanding
anything herein to the contrary, in no event shall any Agent or any Lender be considered an
“Affiliate” of any Loan Party.

       “Affiliated Lenders” means, as used with respect to any group of Lenders, any Lenders
within such group who are Affiliates or Related Funds of one another and, accordingly, are not
Unaffiliated Lenders.

       “Agent” has the meaning specified therefor in the preamble hereto.

       “Aggregate Payments” has the meaning specified therefor in Section 11.06.

         “Agreement” means this First Lien Financing Agreement, including all amendments,
restatements, amendments and restatements, modifications and supplements and any exhibits or
schedules to any of the foregoing, and shall refer to this Agreement as the same may be in effect
at the time such reference becomes operative.

       “Anti-Corruption Laws” has the meaning specified therefor in Section 6.01(aa)(i).

        “Anti-Money Laundering and Anti-Terrorism Laws” means any Requirement of Law
relating to terrorism, economic sanctions or money laundering, including, without limitation, (a)
the Money Laundering Control Act of 1986 (i.e., 18 U.S.C. §§ 1956 and 1957), (b) the Bank
Secrecy Act of 1970 (31 U.S.C. §§ 5311-5330 and 12 U.S.C. §§ 1818(s), 1820(b) and 1951-1959),
and the implementing regulations promulgated thereunder, (c) the USA PATRIOT Act and the
implementing regulations promulgated thereunder, (d) the laws, regulations and Executive Orders
administered by the United States Department of the Treasury’s Office of Foreign Assets Control
(“OFAC”), (e) any law prohibiting or directed against terrorist activities or the financing or support
of terrorist activities (e.g., 18 U.S.C. §§ 2339A and 2339B), and (f) any similar laws enacted in
the United States or any other jurisdictions in which the parties to this Agreement operate, as any
of the foregoing laws have been, or shall hereafter be, amended, renewed, extended, or replaced
and all other present and future legal requirements of any Governmental Authority governing,
addressing, relating to, or attempting to eliminate, terrorist acts and acts of war and any regulations
promulgated pursuant thereto.

       “Applicable ECF Percentage” means, for any Fiscal Year of the Parent, (a) 50%, if the
Total Senior Lien Leverage Ratio as of the last day of such Fiscal Year is greater than 4.50:1.00,

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(b) 25% if the Total Senior Lien Leverage Ratio as of the last day of such Fiscal Year is less than
or equal to 4.50:1.00 and (c) 0%, as of, and at all times after, the Suspension Date.

        “Applicable Margin” means, in the case of (a) Initial Term Loans and Delayed Draw Term
Loans, (i) 5.50% per annum, for Reference Rate Loans and (ii) 6.50% per annum, for LIBOR Rate
Loans, and (b) any Incremental Facility Loan, the per annum rate specified in the Incremental
Facility Amendment applicable thereto.

      “Applicable Premium” means, in the case of any Initial Term Loan and Delayed Draw
Term Loan, as of the date of the occurrence of an Applicable Premium Trigger Event:

               (a)     on or before the 12 month anniversary of the Effective Date, 103%;

               (b)     during the period of time from and after the 12 month anniversary of the
Effective Date up to and including the date that is the 24 month anniversary of the Effective Date,
102%; and

               (c)     thereafter, zero.

        “Applicable Premium Trigger Event” as to any Loan, means, and shall be deemed to occur
upon:

               (a)     any payment by any Loan Party of all, or of any part, of the outstanding
principal balance of any Initial Term Loan and Delayed Draw Term Loan for any reason
(including, but not limited to, any optional prepayment, and any mandatory prepayment (other
than any Excess Cash Flow mandatory prepayment required pursuant to Section 2.05(c)(i), or any
Extraordinary Receipts mandatory prepayment required pursuant to Section 2.05(c)(iv))), and any
voluntary permanent reduction or cancellation of all or any part of any undrawn Initial Term Loan
Commitments and Delayed Draw Term Loan Commitments effectuated at the option or request of
the Borrowers, in each case, whether before or after (i) the occurrence of an Event of Default, (ii)
the Final Maturity Date, or (iii) the commencement of any Insolvency Proceeding, and, in each
case, notwithstanding any acceleration (for any reason) of any of the Loans or Obligations;

                (b)     the acceleration of the Obligations for any reason, including, but not limited
to, acceleration in accordance with Section 9.01, including as a result of the commencement of an
Insolvency Proceeding;

               (c)     the satisfaction, release, payment, restructuring, reorganization,
replacement, reinstatement, defeasance or compromise of any of the Obligations in any Insolvency
Proceeding, foreclosure (whether by power of judicial proceeding or otherwise) or deed in lieu of
foreclosure or the making of a distribution of any kind in any Insolvency Proceeding to the
Collateral Agent, for the account of the Lenders in full or partial satisfaction of the Obligations; or

               (d)     the termination of this Agreement for any reason.

       “Assignment and Acceptance” means an assignment and acceptance entered into by an
assigning Lender and an assignee, and accepted by the Administrative Agent (and the Collateral

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Agent, if applicable), in accordance with Section 12.07 hereof and substantially in the form of
Exhibit B hereto or such other form acceptable to the Collateral Agent.

        “Authorized Officer” means, with respect to any Person, the chief executive officer, chief
operating officer, chief financial officer, chief administrative officer, treasurer or other financial
officer performing similar functions, president, vice president, general counsel or chief
compliance officer of such Person.

        “Available Tenor” means, as of any date of determination and with respect to the then-
current Benchmark, as applicable, (x) if the then-current Benchmark is a term rate, any tenor for
such Benchmark that is or may be used for determining the length of an Interest Period or (y)
otherwise, any payment period for interest calculated with reference to such Benchmark, as
applicable, pursuant to this Agreement as of such date.

       “Bankruptcy Code” means Title 11 of the United States Code, as amended from time to
time and any successor statute or any similar federal or state law for the relief of debtors.

       “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District
of Texas, in its capacity as the court having jurisdiction over the Chapter 11 Case.

       “Barbados Account” means any deposit account or other bank account maintained by GC
Services (Barbados) SRL that is located in Barbados.

        “Benchmark” means, initially, LIBOR Rate; provided, that if a replacement of the
Benchmark has occurred pursuant to this Section titled “Benchmark Replacement Setting”, then
“Benchmark” means the applicable Benchmark Replacement to the extent that such Benchmark
Replacement has replaced such prior benchmark rate. Any reference to “Benchmark” shall include,
as applicable, the published component used in the calculation thereof.

        “Benchmark Replacement” means, for any Available Tenor:

               (a)    For purposes of clause (a) of Section 2.12, the first alternative set forth
below that can be determined by the Administrative Agent:

                      (i)    the sum of: (i) Term SOFR and (ii) 0.11448% (11.448 basis points)
for an Available Tenor of one-month’s duration, 0.18456% (18.456 basis points) for an Available
Tenor of two-months’ duration, 0.26161% (26.161 basis points) for an Available Tenor of three-
months’ duration, and 0.42826% (42.826 basis points) for an Available Tenor of six-months’
duration1, or

                     (ii)     the sum of: (i) Daily Simple SOFR and (ii) the spread adjustment
selected or recommended by the Relevant Governmental Body for the replacement of the tenor of
LIBOR Rate with a SOFR-based rate having approximately the same length as the interest
payment period specified in clause (a) of this Section; and


1
 These values represent the ARRC/ISDA recommended spread adjustment values available here:
https://assets.bbhub.io/professional/sites/10/IBOR-Fallbacks-LIBOR-Cessation_Announcement_20210305.pdf.
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                (b)    For purposes of clause (b) of Section 2.12, the sum of (a) the alternate
benchmark rate and (b) an adjustment (which may be a positive or negative value or zero), in each
case, that has been selected by the Administrative Agent and the Administrative Borrower as the
replacement for such Available Tenor of such Benchmark giving due consideration to any evolving
or then prevailing market convention, including any applicable recommendations made by the
Relevant Governmental Body, for U.S. dollar-denominated syndicated credit facilities at such
time; provided, that, if the Benchmark Replacement as determined pursuant to clause (1) or (2)
above would be less than the Floor, the Benchmark Replacement will be deemed to be the Floor
for the purposes of this Agreement and the other Loan Documents.

        “Benchmark Replacement Conforming Changes” means, with respect to any Benchmark
Replacement, any technical, administrative or operational changes (including changes to the
definition of “Reference Rate,” the definition of “Business Day,” the definition of “Interest
Period,” timing and frequency of determining rates and making payments of interest, timing of
Borrowing requests or prepayment, conversion or continuation notices, the applicability and length
of lookback periods, the applicability of breakage provisions, and other technical, administrative
or operational matters) that the Administrative Agent decides, in consultation with the
Administrative Borrower, may be appropriate to reflect the adoption and implementation of such
Benchmark Replacement and to permit the administration thereof by the Administrative Agent in
a manner substantially consistent with market practice (or, if the Administrative Agent decides
that adoption of any portion of such market practice is not administratively feasible or if the
Administrative Agent determines that no market practice for the administration of such Benchmark
Replacement exists, in such other manner of administration as the Administrative Agent decides,
in consultation with the Administrative Borrower, is reasonably necessary in connection with the
administration of this Agreement and the other Loan Documents).

        “Benchmark Transition Event” means, with respect to any then-current Benchmark other
than LIBOR Rate, the occurrence of a public statement or publication of information by or on
behalf of the administrator of the then-current Benchmark, the regulatory supervisor for the
administrator of such Benchmark, the Board of Governors of the Federal Reserve System, the
Federal Reserve Bank of New York, an insolvency official with jurisdiction over the administrator
for such Benchmark, a resolution authority with jurisdiction over the administrator for such
Benchmark or a court or an entity with similar insolvency or resolution authority over the
administrator for such Benchmark, announcing or stating that (a) such administrator has ceased or
will cease on a specified date to provide all Available Tenors of such Benchmark, permanently or
indefinitely, provided that, at the time of such statement or publication, there is no successor
administrator that will continue to provide any Available Tenor of such Benchmark or (b) all
Available Tenors of such Benchmark are or will no longer be representative of the underlying
market and economic reality that such Benchmark is intended to measure and that
representativeness will not be restored.

       “Blocked Person” means any Person:

               (a)    that (i) is identified on the list of “Specially Designated Nationals and
Blocked Persons” published by OFAC; (ii) resides, is organized or chartered, or has a place of
business in a country or territory that is the subject of an OFAC Sanctions Program; or (iii) a

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United States Person is prohibited from dealing or engaging in a transaction with under any of the
Anti-Money Laundering and Anti-Terrorism Laws; and

               (b)     that is owned or controlled by, or that owns or controls, or that is acting for
or on behalf of, any Person described in clause (a) above.

        “Board” means the Board of Governors of the Federal Reserve System of the United States
(or any successor).

        “Board of Directors” means with respect to (a) any corporation, the board of directors of
the corporation or any committee thereof duly authorized to act on behalf of such board, (b) a
partnership, the board of directors of the general partner of the partnership, (c) a limited liability
company, manager or managers, the managing member or members or any controlling committee
or board of directors of such company or the sole member or the managing member thereof, and
(d) any other Person, the board or committee of such Person serving a similar function.

       “Borrower” has the meaning specified therefor in the preamble hereto.

        “Borrowing” means Loans of the same Class and Type which are made, issued, converted
or continued (as applicable) on the same Borrowing Date and, in the case of LIBOR Rate Loans,
as to which a single Interest Period is in effect.

        “Borrowing Date” means the date of any Borrowing hereunder (as set forth in the Notice
of Borrowing delivered in connection with such Borrowing). For the avoidance of doubt, the
Effective Date shall be the Borrowing Date for Initial Term Loans.

       “BSP/Goldman Buyout Right” has the meaning specified therefor in that certain Mutual
Buyout Right and ROFO Agreement, dated as of the Effective Date, entered into by and among
the BSP Lenders and the Goldman Lenders and acknowledged by the Agents.

      “BSP/Goldman Right of First Offer” has the meaning specified therefor in that certain
Mutual Buyout Right and ROFO Agreement, dated as of the Effective Date, entered into by and
among the BSP Lenders and the Goldman Lenders and acknowledged by the Agents.

       “BSP Agency” has the meaning specified therefor in the preamble hereto.

       “BSP Group” means, at any time, BSP Lenders who are not Defaulting Lenders, taken as
a whole.

         “BSP Lenders” means, as of any time, the BSP Persons that are Lenders at such time (each
of them individually, a “BSP Lender”); provided, that, upon any sale, assignment or other transfer
(whether in a single or multiple transactions) by the BSP Lenders of all Effective Date Committed
Debt held collectively by them since the Effective Date through and including the date of such
sale, assignment or transfer to a BSP Successor, the term BSP Lenders shall, as of such time, be
construed to instead refer to such BSP Successor.



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        “BSP Management Consulting Agreement” means that certain Management Consulting
Agreement, dated as of [___], 2021, by and among [the Parent], and [the BSP Persons party
thereto] as BSP Investors (as defined therein).

       “BSP Management Fee” means that certain [___] (as defined in the BSP Management
Consulting Agreement) owing and payable to BSP pursuant to the BSP Management Consulting
Agreement in an amount and in accordance with the other terms set forth in the BSP Management
Consulting Agreement.

         “BSP Persons” means the following Persons, collectively, (a) Benefit Street Partners LLC,
(b) the Persons listed as a ‘BSP Lender’ on Schedule1.01(A) hereto, (c) each of the Affiliates of
any of the foregoing, and their and such Affiliates’ respective Related Funds, investment advisors,
managing members, and partners (and, each such Person, individually, a “BSP Person”).

        “BSP Successor” means (a) any Person (together with its Affiliates and Related Funds)
that has become a Lender pursuant to an assignment, together with all other Affiliates and Related
Funds that has become a Lender pursuant to an assignment, of all Effective Date Committed Debt
held by the BSP Lenders subject to the terms of this Agreement, and (b) each subsequent assignee
of the foregoing, or of any prior assignee therefrom, as applicable (in each case, together with each
of their respective Affiliates and Related Funds).

       “Budget” means the financial projections of Parent and its Subsidiaries for the next
succeeding fiscal year, delivered pursuant to Section 7.01(a)(vii).

       “Business Day” means (a) for all purposes other than as described in clause (b) below, any
day other than a Saturday, Sunday or other day on which commercial banks in New York City are
authorized or required to close, and (b) with respect to any Borrowing, payment or continuation
of, or determination of interest rate on, LIBOR Rate Loans, any day that is a Business Day
described in clause (a) above and on which dealings in Dollars may be carried on in the interbank
eurodollar markets in New York City and London.

         “Capital Expenditures” means, with respect to any Person for any period, the result of the
sum of (a) the aggregate of all expenditures by such Person and its Subsidiaries during such period
that in accordance with GAAP are or should be included in “property, plant and equipment” or in
a similar fixed asset account on its balance sheet, whether such expenditures are paid in cash or
financed, including all Capitalized Lease Obligations and all capitalized software development
costs that are paid or due and payable during such period, plus, (b) to the extent not covered by
clause (a) above, the aggregate of all expenditures by such Person and its Subsidiaries during such
period to acquire by purchase or otherwise the business or fixed assets of, or the Equity Interests
of, any other Person. Notwithstanding the foregoing, for the avoidance of doubt, Capital
Expenditures shall not include expenditures made with the Net Cash Proceeds of any Extraordinary
Receipts solely to the extent such expenditures are used to purchase property that is the same as or
substantially similar to any property the loss of which gave rise to a Loan Party’s receipt of such
Extraordinary Receipts.



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      “Capitalized Lease” means, with respect to any Person, any lease of (or other arrangement
conveying the right to use) real or personal property by such Person as lessee that is required under
GAAP to be capitalized on the balance sheet of such Person.

       “Capitalized Lease Obligations” means, with respect to any Person, obligations of such
Person and its Subsidiaries under Capitalized Leases, and, for purposes hereof, the amount of any
such obligation shall be the capitalized amount thereof determined in accordance with GAAP.

         “Cash Equivalents” means (a) marketable direct obligations issued or unconditionally
guaranteed by the United States Government or issued by any agency thereof and backed by the
full faith and credit of the United States, in each case, maturing within six months from the date
of acquisition thereof; (b) commercial paper, maturing not more than 270 days after the date of
issue rated P-1 by Moody’s or A-1 by Standard & Poor’s; (c) certificates of deposit maturing not
more than 270 days after the date of issue, issued by commercial banking institutions and money
market or demand deposit accounts maintained at commercial banking institutions, each of which
is a member of the Federal Reserve System and has a combined capital and surplus and undivided
profits of not less than $500,000,000; (d) repurchase agreements having maturities of not more
than 90 days from the date of acquisition which are entered into with major money center banks
included in the commercial banking institutions described in clause (c) above and which are
secured by readily marketable direct obligations of the United States Government or any agency
thereof; (e) money market accounts maintained with mutual funds having assets in excess of
$2,500,000,000, which assets are primarily comprised of Cash Equivalents described in another
clause of this definition; and (f) marketable tax exempt securities rated A or higher by Moody’s or
A+ or higher by Standard & Poor’s, in each case, maturing within 270 days from the date of
acquisition thereof.

       “Cash Management Accounts” means the bank accounts of each Loan Party maintained at
one or more Cash Management Banks.

       “Cash Management Bank” has the meaning specified therefor in Section 8.01(a).

        “Change in Law” means the occurrence, after the date of this Agreement, of any of the
following: (a) the adoption or taking effect of any law, rule, regulation, judicial ruling, judgment
or treaty, (b) any change in any law, rule, regulation or treaty or in the administration,
interpretation, implementation or application thereof by any Governmental Authority or (c) the
making or issuance of any request, rule, guideline or directive (whether or not having the force of
law) by any Governmental Authority; provided that notwithstanding anything herein to the
contrary, (i) the Dodd-Frank Wall Street Reform and Consumer Protection Act and all requests,
rules, guidelines or directives thereunder or issued in connection therewith and (ii) all requests,
rules, guidelines or directives concerning capital adequacy promulgated by the Bank for
International Settlements, the Basel Committee on Banking Supervision (or any successor or
similar authority) or the United States or foreign regulatory authorities shall, in each case, be
deemed to be a “Change in Law”, regardless of the date enacted, adopted or issued.

       “Change of Control” means each occurrence of any of the following:


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              (a)    the Permitted Holders, taken as a whole, shall cease to beneficially and of
record own and control, directly or indirectly, at least 50.1 % on a fully diluted basis of the Parent
Common Equity (or the common equity of any successor to Parent);

                (b)     the Parent shall cease to have “beneficial ownership” (as defined in Rule
13d-3 under the Exchange Act) of 100% of the aggregate voting or economic power of the Equity
Interests of the Loan Parties (other than in connection with any transaction permitted pursuant to
Section 7.02(c)(i)), free and clear of all Liens (other than Permitted Specified Liens);

                (c)   a “Change of Control” (or any comparable term or provision) under or with
respect to any documentation evidencing Subordinated Indebtedness if any Material Indebtedness
is outstanding thereunder (but solely if the same shall cause the same to become, or to be declared,
due and payable (or subject to any mandatory purchase or offer to purchase the same) prior to the
scheduled maturity thereof; or

                (d)   a “Change in Control” under, and as defined in, the ABL Credit Agreement
or the Second Lien Financing Agreement if any Material Indebtedness is outstanding thereunder
(but solely if the same shall cause the same to become, or to be declared, due and payable (or
subject to any mandatory purchase or offer to purchase the same) prior to the scheduled maturity
thereof,

        provided, that, notwithstanding the above, a Change of Control shall not be deemed to
occur, and shall not be triggered, as a result of (i) any sale, merger, consolidation or other
transaction permitted for purposes of (x) the Loan Documents (including pursuant to a consent of
the Required Lenders in accordance herewith), or (y) the Parent Common Equity or the Parent
Preferred Equity (or under the corporate governance and other arrangements governing the same,
and including pursuant to a consent of the applicable holders of Parent Common Equity or Parent
Preferred Equity, as applicable), (ii) any (x) sale, merger or consolidation of any Loan Party to or
with, or (y) sale, assignment, conveyance, transfer or other disposition of all or substantially all of
any Loan Party’s assets to, an Affiliate incorporated or organized solely for the purpose of
reincorporating or reorganizing such Loan Party in another jurisdiction and/or for the sole purpose
of forming or collapsing a holding company structure, (iii) any change in the identity of any officer
or member of (or any other matter relating to the governance of) the board of the Parent or any of
its Subsidiaries, (iv) anything consented to at the applicable time by BSP Persons and/or other
Permitted Holders, and by Goldman Persons, in each case, who at such time hold Parent Common
Equity or Parent Preferred Equity, as applicable, (v) the Restructuring Transactions or any other
transactions relating thereto, or (vi) such other circumstances as shall be reasonably satisfactory to
BSP Persons and/or other Permitted Holders and Goldman Persons.

       “Chapter 11 Case” means the case under Chapter 11 of the Bankruptcy Code (Case No.
[__]) arising from the voluntary petition filed with the Bankruptcy Court by the Prepetition
Administrative Borrower, as a debtor and debtor-in-possession.

       “Chapter 11 Case Documents” means the Chapter 11 Plan, the Chapter 11 Plan
Confirmation Order, together with any and all other orders entered by the Bankruptcy Court in the
Chapter 11 Case, and any and all agreements relating thereto.

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       “Chapter 11 Plan” means [___].

       “Chapter 11 Plan Confirmation Order” means [an order of the Bankruptcy Court in the
Chapter 11 Case (in form and substance acceptable to the Required Lenders) confirming the
Chapter 11 Plan].

       “Chapter 11 Plan Effective Date” means [___].

       “CIP Regulations” has the meaning specified therefor in Section 10.10.

        “Class” when used in reference to (a) any Loan or Borrowing of Loans, refers to whether
such Loan, or the Loans comprising such Borrowing, are Initial Term Loans, Delayed Draw Term
Loans (or, if any Incremental Facility Loans are outstanding at the time of determination,
Incremental Facility Loans (and, if there is more than one issuance of Incremental Facility Loans,
Incremental Facility Loans having the same designation hereunder, after giving effect to any
amendment hereto entered into to effectuate the incurrence of such Incremental Facility Loans in
accordance herewith, as the case may be)), (b) any Commitment, refers to whether such
Commitment is an Initial Term Loan Commitment, Delayed Draw Facility Commitment or
Incremental Facility Commitment (and, in the case of an Incremental Facility Commitment, the
Class of Loans to which such commitment relates), and (c) any Lender, refers to whether such
Lender has a Loan or Commitment with respect to a particular Class of Loans or Commitments.
For the avoidance of doubt, and for purposes hereof, Incremental Facility Commitments and
Incremental Facility Loans that have different terms and conditions, shall be construed to be in
different Classes, and each tranche of Incremental Facility Loans having the same terms and
conditions shall be construed as belonging to the same Class and tranche of Loans.

        “Collateral” means all of the property and assets and all interests therein and proceeds
thereof now owned or hereafter acquired by any Person upon which a Lien is granted or purported
to be granted by such Person as security for all or any part of the Obligations.

       “Collateral Agent” has the meaning specified therefor in the preamble hereto.

       “Collateral Agent Advances” has the meaning specified therefor in Section 10.08(a).

        “Collections” means all cash, checks, notes, instruments, and other items of payment
(including insurance proceeds, proceeds of cash sales, rental proceeds, and tax refunds).

     “Commitment” means, as of any time, any Initial Term Loan Commitment, any Delayed
Draw Facility Commitment and any Incremental Facility Commitment (collectively, the
“Commitments”).

         “Competitor” means (a) each operating company in the same industry as the Loan Parties
that is a direct competitor of any Loan Party or any of its Subsidiaries, and that has been identified
as such by the Required Lenders or the Administrative Borrower with the consent of the Required
Lenders prior to the Effective Date, (b) each Person that is identifiable as an Affiliate or Related
Fund of any Person described in clause (a) on the basis of its name delivered in writing to the
Administrative Agent prior to the Effective Date and (c) any other operating company (or Affiliate

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or Related Fund of such operating company) in the same industry as the Loan Parties that is a
direct competitor of any Loan Party or any of its Subsidiaries that is disclosed in writing to the
Administrative Agent after the Effective Date and consented to by the Required Lenders, with
such addition to become effective after three Business Days from the Required Lenders’ consent
thereto. The Administrative Agent shall, if requested by any Lender, disclose to such Lender the
Persons (if any) that, at such time, constitute Competitors; provided, that, any Lender seeking to
sell, assign or otherwise transfer, or pledge or grant any security interest in, or enter into any
participation or other arrangements with respect to, any Obligations (or any interest therein, or
claim or right thereto), or otherwise consummate any transaction in compliance with Section
12.07, shall request such disclosure, and shall not seek to consummate any such arrangements to
the extent involving any Person that constitutes, or is reasonably believed to be, a Competitor at
such time, in each case, without the Administrative Borrower’s prior written consent.
Notwithstanding anything to the contrary in the foregoing, any supplement to the list of
Competitors pursuant to clause (c) shall not apply retroactively to disqualify any Person that
previously acquired an assignment or participation in any Loans or Commitments, but shall
prevent any such Person from acquiring further Loans or Commitments.

       “Compliance Certificate” has the meaning assigned to such term in Section 7.01(a)(iv).

       “Connection Income Taxes” means Other Connection Taxes that are imposed on or
measured by net income (however denominated) or that are franchise Taxes or branch profits
Taxes.

       “Consolidated EBITDA” means, with respect to any Person for any period:

               (a)    the Consolidated Net Income of such Person for such period,

               plus

               (b)     without duplication, the sum of the following amounts for such period to
the extent deducted in the calculation of Consolidated Net Income for such period:

                     (i)    any provision for United States federal income taxes or other taxes
measured by net income, gross margin or profits,

                      (ii)    Consolidated Net Interest Expense,

                    (iii)    any loss from extraordinary, unusual or non-recurring items
approved by the Administrative Agent in writing,

                      (iv)    any depreciation and amortization expense,

                        (v)    fees and expenses paid in cash or accrued pursuant to any agreement
referred to in, and to the extent such payment is permitted to be paid or accrued under, Section
7.02(h),



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                    (vi)    one-time, non-recurring, out-of-pocket fees and expenses incurred
to consummate the transactions contemplated by the Loan Documents, the Second Lien Loan
Documents and the ABL Loan Documents prior to or within 90 days following the Effective Date,

                       (vii)   [reserved],

                     (viii) any aggregate net loss on the Disposition of property (other than
accounts and Inventory) outside the ordinary course of business,

                       (ix)    any non-cash expense related to employee compensation,

                       (x)   any severance, recruiting expenses or signing bonuses for
employees up to $500,000 (or such greater amount as the Administrative Agent may agree (at the
direction of the Required Lenders)) in such Fiscal Year,

                      (xi)   any dividends relating to the Parent Preferred Equity, to the extent
permitted to be paid under Section 7.02(h),

                        (xii) the negative effects of non-cash adjustments from the adoption of
fresh start accounting in connection with the consummation of the Plan of Reorganization and the
Restructuring Transactions; provided that positive effects, if any, of non-cash adjustments from
the adoption of fresh start accounting in connection with the consummation of the Plan of
Reorganization and the Restructuring Transactions shall be deducted from Consolidated EBITDA,

                      (xiii) fees and expenses paid to members of the Board of Directors of the
Loan Parties in an aggregate amount not to exceed $30,000 in any fiscal quarter,

                       (xiv) (A) fees and expenses paid to the Agents, the Lenders, the ABL
Agent, the ABL Lenders and the lenders and other secured parties under the Second Lien Facility,
in each case, pursuant to the terms of the Loan Documents, the ABL Loan Documents or the
Second Lien Loan Documents, respectively and (B) fees and expenses paid to the agents and
lenders, pursuant to the terms of the Prepetition Term Financing Agreement (to the extent relating
to amounts incurred through to the Effective Date or within 60 days thereafter), and

                      (xv) any other non-cash expenditure, charge or loss for such period (other
than any non-cash expenditure, charge or loss relating to write-offs, write-downs or reserves, in
each case, with respect to accounts and Inventory),

               minus

                (c)    without duplication, the sum of the following amounts for such period to
the extent included in the calculation of such Consolidated Net Income for such period:

                     (i)    any credit for United States federal income taxes or other taxes
measured by net income, gross margin or profits,

                       (ii)    any gain from extraordinary, unusual or non-recurring items,

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                       (iii)    [Reserved], and

                       (iv)   any aggregate net gain (or plus any aggregate net loss) from the
Disposition of property (other than accounts and Inventory) outside the ordinary course of
business, any other non-cash gain, including any reversal of a charge referred to in clause (b)(xv)
above by reason of a decrease in the value of any Equity Interest; in each case, determined on a
consolidated basis in accordance with GAAP.

For purposes of the calculation of the covenants set forth in Section 7.03 of this Agreement, the
Consolidated EBTIDA of Parent and its Subsidiaries (w) for the quarter ending [ ] shall be $[ ],
(x) for the quarter ending [ ] shall be $[ ] and (y) for the quarter ending [ ] shall be $[ ].

        “Consolidated Net Income” means, with respect to any Person, for any period, the
consolidated net income (or loss) of such Person and its Subsidiaries for such period in accordance
with GAAP; provided, however, that the following shall be excluded: (a) the net income of any
other Person in which such Person or one of its Subsidiaries has a joint interest with a third-party,
except to the extent of the amount of dividends or distributions paid in cash to such Person or
Subsidiary, (b) the net income of any Subsidiary of such Person that is, on the last day of such
period, subject to any restriction or limitation (by contract, organizational documentation,
operation of law or otherwise) on the payment of dividends or the making of other distributions,
to the extent of such restriction or limitation, and (c) the net income of any other Person arising
prior to such other Person becoming a Subsidiary of such Person or merging or consolidating into
such Person or its Subsidiaries.

         “Consolidated Net Interest Expense” means, with respect to any Person for any period,
without duplication, (a) gross interest expense (including, without limitation, interest expense paid
to Affiliates of such Person), less (b) the sum of (i) interest income for such period and (ii) gains
for such period on Hedging Agreements (to the extent not included in interest income above and
to the extent not deducted in the calculation of gross interest expense), plus (c) the sum of (i) losses
for such period on Hedging Agreements (to the extent not included in gross interest expense) and
(ii) the upfront costs or fees for such period associated with Hedging Agreements (to the extent
not included in gross interest expense), in each case, determined on a consolidated basis and in
accordance with GAAP.

        “Contingent Indemnity Obligations” means any Obligation constituting a contingent,
unliquidated indemnification obligation of any Loan Party, in each case, to the extent (a) such
obligation has not accrued and is not yet due and payable and (b) no claim has been made or is
reasonably anticipated to be made with respect thereto.

        “Contingent Obligation” means, with respect to any Person, any obligation of such Person
guaranteeing or intending to guarantee any Indebtedness, leases, dividends or other obligations
(“primary obligations”) of any other Person (the “primary obligor”) in any manner, whether
directly or indirectly, including, without limitation, (a) the direct or indirect guaranty, endorsement
(other than for collection or deposit in the ordinary course of business), co-making, discounting
with recourse or sale with recourse by such Person of the obligation of a primary obligor, (b) the
obligation to make take-or-pay or similar payments, if required, regardless of nonperformance by
any other party or parties to an agreement, (c) any obligation of such Person, whether or not
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contingent, (i) to purchase any such primary obligation or any property constituting direct or
indirect security therefor, (ii) to advance or supply funds (A) for the purchase or payment of any
such primary obligation or (B) to maintain working capital or equity capital of the primary obligor
or otherwise to maintain the net worth or solvency of the primary obligor, (iii) to purchase property,
assets, securities or services primarily for the purpose of assuring the owner of any such primary
obligation of the ability of the primary obligor to make payment of such primary obligation or (iv)
otherwise to assure or hold harmless the holder of such primary obligation against loss in respect
thereof; provided, however, that the term “Contingent Obligation” shall not include any product
warranties extended in the ordinary course of business. The amount of any Contingent Obligation
shall be deemed to be an amount equal to the stated or determinable amount of the primary
obligation with respect to which such Contingent Obligation is made (or, if less, the maximum
amount of such primary obligation for which such Person may be liable pursuant to the terms of
the instrument evidencing such Contingent Obligation) or, if not stated or determinable, the
maximum reasonably anticipated liability with respect thereto (assuming such Person is required
to perform thereunder), as determined by such Person in good faith.

       “Contractual Obligation” means, as to any Person, any provision of any security issued by
such Person or of any agreement, instrument or other undertaking to which such Person is a party
or by which it or any of its property is bound.

         “Control Agreement” means, with respect to any deposit account, any securities account,
commodity account, securities entitlement or commodity contract located in the United States, an
agreement, in form and substance reasonably satisfactory to the Collateral Agent, among the ABL
Lender (so long as the ABL Loan Documents are still in effect), Collateral Agent, the financial
institution or other Person at which such account is maintained or with which such entitlement or
contract is carried and the Loan Party maintaining such account, effective to grant “control” (as
defined under the applicable UCC) over such account to the Collateral Agent.

        “Controlled Investment Affiliate” means, as to any Person, any other Person that (a) is an
Affiliate of such Person and (b) is organized by such Person primarily for the purpose of making
equity or debt investments in one or more companies.

         “Credit Facilities” means, collectively, the credit facilities provided hereunder pursuant to
(a) the Initial Term Loan Facility, (b) the Delayed Draw Facility, and (c) each Incremental Facility
in effect from time to time (each of the foregoing, individually, a “Credit Facility”).

       “Curable Default” has the meaning specified therefor in Section 9.02.

        “Cure Right” has the meaning specified therefor in Section 9.02.

        “Current Value” has the meaning specified therefor in Section 7.01(m).

       “Customer Trust Account” means any deposit account specifically required by a customer
of a Loan Party to be maintained by such Loan Party as a trust account for the benefit of such
customer, so long as such deposit account and all funds deposited therein are separately segregated
from such Loan Party’s general accounts and other cash.

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        “Daily Simple SOFR” means, for any day, SOFR, with the conventions for this rate (which
will include a lookback) being established by the Administrative Agent in accordance with the
conventions for this rate recommended by the Relevant Governmental Body for determining
“Daily Simple SOFR” for syndicated business loans; provided, that if the Administrative Agent
decides that any such convention is not administratively feasible for the Administrative Agent,
then the Administrative Agent may establish another convention in its reasonable discretion.

        “Debt Representative” means, in respect of any Indebtedness, any administrative agent,
collateral agent, trustee or other Person designated by the lenders or other holders of such
Indebtedness to act as their representative in connection with, among other things, any intercreditor
arrangements contemplated pursuant to the Intercreditor Agreements or otherwise applicable to
the Obligations, as the case may be; provided, that the Administrative Agent shall be notified of
the existence and identity of such Person.

       “Debtor Relief Law” means the Bankruptcy Code and any other liquidation,
conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement,
receivership, insolvency, reorganization, or similar debtor relief law of the United States or other
applicable jurisdiction from time to time in effect.

       “Declined Amount” has the meaning specified therefor in Section 2.12(c)(iv).

       “Default” means an event which, with the giving of notice or the lapse of time or both,
would constitute an Event of Default.

         “Defaulting Lender” means any Lender that (a) has failed to (i) fund all or any portion of
its Loans within 2 Business Days of the date such Loans were required to be funded hereunder
unless such Lender notifies the Administrative Agent and the Administrative Borrower in writing
within 2 Business Days of the date such Loans were required to be funded hereunder that such
failure is the result of such Lender’s good faith determination that one or more conditions
precedent to funding (each of which conditions precedent, together with any applicable default,
shall be specifically identified in such writing) has not been satisfied, or (ii) pay to the
Administrative Agent or any Lender any other amount required to be paid by it hereunder within
2 Business Days of the date when due, (b) has notified the Administrative Borrower or the
Administrative Agent in writing that it does not intend to comply with its funding obligations
hereunder, or has made a public statement to that effect (unless such writing or public statement
relates to such Lender’s obligation to fund a Loan hereunder and states that such position is based
on such Lender’s good faith determination that a condition precedent to funding (which condition
precedent, together with any applicable default, shall be specifically identified in such writing or
public statement) cannot be satisfied), (c) has failed, within 3 Business Days after written request
by the Administrative Agent or the Administrative Borrower, to confirm in writing to the
Administrative Agent and the Administrative Borrower that it will comply with its prospective
funding obligations hereunder (provided that such Lender shall cease to be a Defaulting Lender
pursuant to this clause (c) upon receipt of such written confirmation by the Administrative Agent
and the Administrative Borrower), or (d) has, or has a direct or indirect parent company that has,
(i) become the subject of a proceeding under any Debtor Relief Law, or (ii) had appointed for it a
receiver, custodian, conservator, trustee, administrator, assignee for the benefit of creditors or
similar Person charged with reorganization or liquidation of its business or assets, including the
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Federal Deposit Insurance Corporation or any other state or federal regulatory authority acting in
such a capacity. Notwithstanding anything to the contrary herein, a Lender shall not be a
Defaulting Lender solely by virtue of the ownership or acquisition of any Equity Interest in that
Lender or any direct or indirect parent company thereof by a Governmental Authority so long as
such ownership interest does not result in or provide such Lender with immunity from the
jurisdiction of courts within the United States or from the enforcement of judgments or writs of
attachment on its assets or permits such Lender (or such Governmental Authority) to reject,
repudiate, disavow or disaffirm any contracts or agreements made with such Lender. Any
determination by the Administrative Agent that a Lender is a Defaulting Lender under clauses (a)
through (d) above shall be conclusive and binding absent manifest error, and such Lender shall be
deemed to be a Defaulting Lender upon delivery of written notice of such determination to the
Administrative Borrower and each Lender.

        “Delayed Draw Facility” refers to the Delayed Draw Facility Commitments and Delayed
Draw Term Loans of the Lenders hereunder, together with all Obligations in respect thereof, which
shall be deemed to constitute a single credit facility provided to the Borrowers on the terms set
forth in this Agreement and the other Loan Documents.

        “Delayed Draw Facility Commitment” means the commitment and obligation (if any) of
any Lender to (if requested by the Administrative Borrower in accordance herewith) make Delayed
Draw Term Loans during the Delayed Draw Facility Period; provided, that the maximum
aggregate principal amount thereof shall not exceed, initially (the “Original Delayed Draw Facility
Commitment”), the aggregate principal amount set forth on Schedule 1.01(A) hereto opposite such
Lender’s name under the heading “Delayed Draw Facility Commitment” (or, in the case of any
Person that was not a Lender on the Effective Date, the aggregate principal amount (if any)
committed to by such Person upon becoming a Lender, as set forth in the Assignment and
Acceptance pursuant to which such Person became a Lender), in each case, as such Original
Delayed Draw Facility Commitment may be adjusted from time to time in accordance herewith to
reflect (on a dollar-for-dollar basis) the aggregate amount of all reductions, cancellations and
terminations, and all increases (if any), to such Lender’s Delayed Draw Facility Commitment
(including pursuant to Sections 2.01, 2.05 and/or Section 9.01, and/or resulting from assignments
of any Delayed Draw Facility Commitment by, or to, such Lender).

        “Delayed Draw Facility Commitment Fee” means, with respect to each Delayed Draw
Term Loan Lender (other than a Defaulting Lender), a quarterly ‘unused line’ fee in an amount
equal to the following (in each case, calculated as of the last Business Day of each fiscal quarter
that such fee is payable pursuant to Section 2.06 during the Delayed Draw Facility Commitment
Period) (a) the unused amount of such Lender’s Delayed Draw Facility Commitment (net of an
amount equal to the greater of (x) such Lender’s Pro Rata Share of the aggregate amount of
Delayed Draw Term Loans requested to be borrowed if such date or any other date in the following
calendar week constitutes a Borrowing Date and (y) the amount of Delayed Draw Term Loans
actually funded by such Lender on such Borrowing Date) multiplied by (b) 0.50% per annum.

        “Delayed Draw Facility Commitment Period” means the period commencing on the
Effective Date and ending on the Delayed Draw Facility Commitment Period End Date.


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        “Delayed Draw Facility Commitment Period End Date” means, as used with respect to any
Delayed Draw Term Loan Lender and/or its Delayed Draw Facility Commitments, the earlier of
(a) the third (3rd) anniversary of the Effective Date and (b) the earliest date that (i) the Final
Maturity Date occurs (whether pursuant to an acceleration under Section 9.01 hereof or otherwise)
or (ii) (but without duplication of the foregoing) such Lender’s Delayed Draw Facility
Commitment is (or is deemed to be) permanently reduced to zero ($0.00), or cancelled, terminated
or otherwise extinguished in full for any reason in accordance with the terms hereof (whether
automatically, voluntarily or otherwise, and including as described in the definition of Delayed
Draw Facility Commitment).

        “Delayed Draw Term Loan Lender” means on any date of determination, each Lender that
on such date has a Delayed Draw Facility Commitment and/or holds any Delayed Draw Term
Loans; provided, that (a) each Person whose name is set forth on Schedule 1.01(A) hereof under
the heading “Delayed Draw Term Loan Lender” shall be a Delayed Draw Term Loan Lender as
of the Effective Date and at all times until such Person ceases to be a Delayed Draw Term Loan
Lender pursuant to an Assignment and Acceptance or otherwise in accordance with the terms
hereof, and (b) each Person that is an Assignee from any Person described in foregoing clause (a)
(or from any prior Assignee thereof) shall be a Delayed Draw Term Loan Lender, in each case, as
of such time as the assignment to such Person of any Delayed Draw Facility Commitment and/or
Delayed Draw Term Loans from the then-existing Delayed Draw Term Loan Lender becomes
effective in accordance with the terms hereof and of the applicable Assignment and Acceptance.

       “Delayed Draw Term Loans” has the meaning assigned thereto in Section 2.01(e).

         “DIP Claims” means, with respect to any Initial Term Loan Lender that is a Goldman
Lender and a lender under the Term DIP Facility (as defined in the RSA), the amount of such
Initial Term Loan Lender’s DIP Obligations (as defined in the RSA) that are deemed exchanged
for, and discharged upon the issuance to such Initial Term Loan Lender of, Initial Term Loans on
the Effective Date pursuant to the Restructuring Transactions, in each case, as determined and
calculated in accordance with the RSA and the other applicable Restructuring Documents.

        “Disposition” means any transaction, or series of related transactions, pursuant to which
any Person or any of its Subsidiaries sells, assigns, transfers, leases, licenses (as licensor) or
otherwise disposes of any property or assets (whether now owned or hereafter acquired), including
any Equity Interest in any Subsidiary, to any other Person, in each case, whether or not the
consideration therefor consists of cash, securities or other assets owned by the acquiring Person.
For purposes of clarification, “Disposition” shall include (a) the sale or other disposition for value
of any contracts or (b) the early termination or modification of any contract resulting in the receipt
by any Loan Party of a cash payment or other consideration in exchange for such event (other than
payments in the ordinary course for accrued and unpaid amounts due through the date of
termination or modification).

        “Disqualified Equity Interests” means any Equity Interest that, by its terms (or by the terms
of any security or other Equity Interest into which it is convertible or for which it is exchangeable),
or upon the happening of any event or condition, (a) matures or is mandatorily redeemable,
pursuant to a sinking fund obligation or otherwise, (b) is redeemable at the option of the holder
thereof, in whole or in part, (c) provides for the scheduled payment of dividends or distributions
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in cash or assets, or (d) is convertible into or exchangeable for (i) Indebtedness or (ii) any other
Equity Interests that would constitute Disqualified Equity Interests, in each case of clauses (a)
through (d), prior to the date that is six months after the Final Maturity Date.

      “Dollar,” “Dollars” and the symbol “$” each means lawful money of the United States of
America.

        “Early Opt-in Effective Date” means, with respect to any Early Opt-in Election, the sixth
(6th) Business Day after the date notice of such Early Opt-in Election is provided to the Lenders,
so long as the Administrative Agent has not received, by 5:00 p.m. (New York City time) on the
fifth (5th) Business Day after the date notice of such Early Opt-in Election is provided to the
Lenders, written notice of objection to such Early Opt-in Election from Lenders comprising the
Required Lenders.

       “Early Opt-in Election” means the occurrence of:

                (a)     a notification by the Administrative Agent to (or the request by the
Administrative Borrower to the Administrative Agent to notify) each of the other parties hereto
that at least five (or such other amount as reasonably determined by the Agent) currently
outstanding U.S. dollar denominated syndicated credit facilities at such time contain (as a result of
amendment or as originally executed) a SOFR-based rate (including SOFR, a term SOFR or any
other rate based upon SOFR) as a benchmark rate (and such syndicated credit facilities are
identified in such notice and are publicly available for review), and

                (b)    the joint election by the Administrative Agent and the Administrative
Borrower to trigger a fallback from LIBOR Rate and the provision by the Administrative Agent
of written notice of such election to the Lenders.

       “Effective Date” has the meaning specified therefor in Section 5.01.

        “Effective Date Committed Debt” means, collectively, the Initial Term Loans, the Initial
Term Loan Commitments, the Delayed Draw Term Loans and the Delayed Draw Facility
Commitments. For the avoidance of doubt, (i) any reference to any Person’s Effective Date
Committed Debt (or any Effective Date Committed Debt held by any Person, as applicable) at any
time of determination shall be a reference to the sum of the aggregate (x) then-outstanding
principal of all such Loans and (y) then-remaining or unused amount of such Commitments, and
(ii) Effective Date Committed Debt holdings of all Persons who are Affiliated Lenders of each
other shall be aggregated where applicable or required by the context.

       “Eligible Assignee” means each and any one of the following Persons (except any such
Person that is a natural person, a Disqualified Lender or a Competitor): (a) a Permitted Holder, (b)
a Lender, and (c) an Affiliate or a Related Fund of a Lender (except any portfolio company) that
is primarily engaged in making, purchasing, holding or otherwise investing in commercial loans
and similar extensions of credit in the ordinary course of its business.

       “Eligible Lender” has the meaning specified therefor in Section 2.12(c).


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        “Eligible Lender Cap” means, in the case of any Person that is an Eligible Lender for
purposes of any Incremental Facility, the amount specified in an Incremental Facility Notice
delivered to such Eligible Lender pursuant to Section 2.12(c)(i) and determined by the Borrowers
to represent the maximum principal amount of Incremental Facility Loans that such Eligible
Lender would be entitled to subscribe for solely on the basis of its own Pro Rata Share of such
Incremental Facility (determined in accordance with clause (c) of the definition of Pro Rata Share),
which maximum amount shall be expressed both as (i) a percentage (%) of the aggregate principal
amount of Incremental Facility Loans comprising such Incremental Facility (which shall be the
same as the percentage representing such Eligible Lender’s Pro Rata Share) and (ii) a Dollar
principal amount of such Incremental Facility Loans (which shall be the product of (x) the total
principal amount of all such Incremental Facility Loans multiplied by (y) the percentage described
in clause (i)).

       “Eligible Lender Group” means, with respect to any Incremental Facility, each of the
following, individually, (a) in the case of any Eligible Lender thereunder that is a BSP Lender,
such Eligible Lender and each Affiliated Lender thereof that is also an Eligible Lender under such
Incremental Facility, and (b) in the case of any Eligible Lender thereunder that is a Goldman
Lender, such Eligible Lender and each Affiliated Lender thereof that is also an Eligible Lender
under such Incremental Facility.

        “Eligible Lender Group Cap” means, in the case of any Eligible Lender Group, the
maximum principal amount of Incremental Facility Loans constituting such Incremental Facility
that such group of Affiliated Lenders, taken as a whole, may elect to subscribe for pursuant to
Section 2.12(c), which maximum amount shall be equal to the sum of the Eligible Lender Caps of
all Eligible Lenders in such group of Affiliated Lenders.

       “Eligible Lender Subscription Amount” has the meaning specified therefor in Section
2.12(c)(ii).

        “Employee Plan” means an employee benefit plan (other than a Multiemployer Plan)
covered by Title IV of ERISA and sponsored or maintained (or that was sponsored or maintained
at any time during the 6 years preceding the date of any Borrowing hereunder) for employees of
any Loan Party or any of its ERISA Affiliates.

        “Environmental Actions” means any complaint, summons, citation, notice, directive,
order, claim, litigation, investigation, judicial or administrative proceeding, judgment, letter or
other communication from any Person or Governmental Authority involving violations of
Environmental Laws or Releases of Hazardous Materials (a) from any assets, properties or
businesses owned or operated by any Loan Party or any of its Subsidiaries or any predecessor in
interest; (b) from adjoining properties or businesses; or (c) onto any facilities which received
Hazardous Materials generated by any Loan Party or any of its Subsidiaries or any predecessor in
interest.

       “Environmental Laws” means the Comprehensive Environmental Response,
Compensation and Liability Act (42 U.S.C. § 9601, et seq.), the Hazardous Materials
Transportation Act (49 U.S.C. § 1801, et seq.), the Resource Conservation and Recovery Act (42
U.S.C. § 6901, et seq.), the Federal Clean Water Act (33 U.S.C. § 1251 et seq.), the Clean Air Act
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(42 U.S.C. § 7401 et seq.), the Toxic Substances Control Act (15 U.S.C. § 2601 et seq.) and the
Occupational Safety and Health Act (29 U.S.C. § 651 et seq.), as such laws may be amended or
otherwise modified from time to time, and any other Requirement of Law, permit, license or other
binding determination of any Governmental Authority imposing liability or establishing standards
of conduct for protection of the environment or other government restrictions relating to the
protection of the environment or the Release, deposit or migration of any Hazardous Materials into
the environment.

        “Environmental Liabilities and Costs” means all liabilities, monetary obligations,
Remedial Actions, losses, damages, punitive damages, consequential damages, treble damages,
costs and expenses (including all reasonable fees, disbursements and expenses of counsel, experts
and consultants and costs of investigations and feasibility studies), fines, penalties, sanctions and
interest incurred as a result of any claim or demand by any Governmental Authority or any third
party, and which relate to any environmental condition or a Release of Hazardous Materials from
or onto (a) any property presently or formerly owned by any Loan Party or any of its Subsidiaries
or (b) any facility which received Hazardous Materials generated by any Loan Party or any of its
Subsidiaries.

       “Environmental Lien” means any Lien in favor of any Governmental Authority for
Environmental Liabilities and Costs.

         “Equity Interests” means (a) all shares of capital stock (whether denominated as common
stock or preferred stock), equity interests, beneficial, partnership or membership interests, joint
venture interests, participations or other ownership or profit interests in or equivalents (regardless
of how designated) of or in a Person (other than an individual), whether voting or non-voting and
(b) all securities convertible into or exchangeable for any of the foregoing and all warrants, options
or other rights to purchase, subscribe for or otherwise acquire any of the foregoing, whether or not
presently convertible, exchangeable or exercisable.

       “Equity Issuance” means either (a) the sale or issuance by any Loan Party or any of its
Subsidiaries of any shares of its Equity Interests or (b) the receipt by the Parent of any cash capital
contributions, in each case, following the date hereof.

       “ERISA” means the Employee Retirement Income Security Act of 1974, as amended, and
any successor statute of similar import, and regulations thereunder, in each case, as in effect from
time to time. References to sections of ERISA shall be construed also to refer to any successor
sections.

        “ERISA Affiliate” means, with respect to any Person, any trade or business (whether or
not incorporated) which is a member of a group of which such Person is a member and which
would be deemed to be a “controlled group” within the meaning of Sections 414(b), (c), (m) and
(o) of the Internal Revenue Code.

       “Event of Default” has the meaning specified therefor in Section 9.01.

       “Excess Cash Flow” means, with respect to any Person for any period, without duplication,
(a) Consolidated EBITDA of such Person and its Subsidiaries for such period, less (b) the sum of,
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without duplication, (i) all cash principal payments (excluding any principal payments made in
accordance with Section 2.05(c)) on the Loans made during such period, and all cash principal
payments on Indebtedness (other than Indebtedness incurred under this Agreement and
Subordinated Indebtedness) of such Person or any of its Subsidiaries during such period to the
extent such other Indebtedness is permitted to be incurred, and such payments are permitted to be
made, under this Agreement, (ii) all Consolidated Net Interest Expense to the extent paid or
payable in cash during such period, (iii) the cash portion of Capital Expenditures made by such
Person and its Subsidiaries during such period to the extent permitted to be made under this
Agreement (excluding Capital Expenditures to the extent financed through the incurrence of
Indebtedness or through an Equity Issuance), (iv) all scheduled loan servicing fees and other
similar fees in respect of Indebtedness of such Person or any of its Subsidiaries paid in cash during
such period, to the extent such Indebtedness is permitted to be incurred, and such payments are
permitted to be made, under this Agreement, (v) Tax Distributions and income, profits or gross
margin taxes paid in cash by such Person and its Subsidiaries for such period, (vi) any dividends
paid in cash in connection with the Parent Preferred Equity to the extent permitted to be paid in
cash hereunder, and (vii) for any period, the excess, if any, of Working Capital at the end of such
period over Working Capital at the beginning of such period (or minus the excess, if any, of
Working Capital at the beginning of such period over Working Capital at the end of such period).

       “Exchange Act” means the Securities Exchange Act of 1934, as amended.

        “Excluded Account” means (a) any deposit account specifically and exclusively used for
payroll, payroll taxes and other employee wage and benefit payments to or for the benefit of any
Loan Party’s employees, (b) any Customer Trust Account, (c) any License Trust Account, (d) Petty
Cash Accounts, (e) any Barbados Account, (f) any Philippines Account, and (g) deposit accounts
of any Loan Party or any of its Subsidiaries located outside of the United States, so long as, solely
with respect to this clause (g), the aggregate amount of all cash and Cash Equivalents on deposit
in such deposit accounts does not exceed $500,000 for any one deposit account and $1,000,000 in
the aggregate for all such deposit accounts.

        “Excluded Taxes” means any of the following Taxes imposed on or with respect to a
Recipient or required to be withheld or deducted from a payment to a Recipient, (a) Taxes imposed
on or measured by net income, profits or gross margin (however denominated), franchise Taxes,
and branch profits Taxes, in each case, (i) imposed as a result of such Recipient being organized
under the laws of, or having its principal office or, in the case of any Lender, its applicable lending
office located in, the jurisdiction imposing such Tax (or any political subdivision thereof) or (ii)
that are Other Connection Taxes, (b) in the case of a Lender, U.S. federal withholding Taxes
imposed on amounts payable to or for the account of such Lender with respect to an applicable
interest in a Loan or Commitment pursuant to a law in effect on the date on which (i) such Lender
acquires such interest in the Loan or Commitment (other than pursuant to an assignment request
by the Borrower under Section 2.09(f)) or (ii) such Lender changes its lending office, except in
each case to the extent that, pursuant to Section 2.09, amounts with respect to such Taxes were
payable either to such Lender’s assignor immediately before such Lender became a party hereto
or to such Lender immediately before it changed its lending office, (c) Taxes attributable to such
Recipient’s failure to comply with Section 2.09(d) or 2.09(e), and (d) any U.S. federal withholding
Taxes imposed under FATCA.

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       “Executive Order No. 13224” means the Executive Order No. 13224 on Terrorist
Financing, effective September 24, 2001, as the same has been, or shall hereafter be, renewed,
extended, amended or replaced.

       “Existing Term Obligations” has the meaning set forth in the RSA.

        “Extraordinary Receipts” means any cash received by any Loan Party or any of its
Subsidiaries not in the ordinary course of business (and not consisting of proceeds described in
Section 2.05(c)(ii) or 2.05(c)2.05(c)(iii) hereof), including, without limitation, (a) foreign, United
States, state or local tax refunds, (b) pension plan reversions, (c) proceeds of insurance, (d)
judgments, proceeds of settlements or other consideration of any kind in connection with any cause
of action (other than to the extent such consideration is (i) immediately payable to a Person that is
not an Affiliate of the Parent or any of its Subsidiaries or (ii) received by the Parent or any of its
Subsidiaries as reimbursement for any costs or actual losses previously incurred or any payment
previously made by such Person), (e) condemnation awards (and payments in lieu thereof), (f)
indemnity payments (other than to the extent such indemnity payments are (i) immediately payable
to a Person that is not an Affiliate of the Parent or any of its Subsidiaries or (ii) received by the
Parent or any of its Subsidiaries as reimbursement for any costs or actual losses previously incurred
or any payment previously made by such Person) and (g) any purchase price adjustment received
in connection with any purchase agreement (other than to the extent such payments in connection
therewith are (i) immediately payable to a Person that is not an Affiliate of the Parent or any of its
Subsidiaries or (ii) received by the Parent or any of its Subsidiaries as reimbursement for any costs
or actual losses previously incurred or any payment previously made by such Person).

        “Facility” means the real property identified on Schedule 1.01(B) and any New Facility
hereafter acquired by any Loan Party or any of its Subsidiaries, including, without limitation, the
land on which each such facility is located, all buildings and other improvements thereon, and all
fixtures located thereat or used in connection therewith.

       “Fair Share” has the meaning specified therefor in Section 11.06.

       “Fair Share Contribution Amount” has the meaning specified therefor in Section 11.06.

       “FASB ASC” means the Accounting Standards Codification of the Financial Accounting
Standards Board.

        “FATCA” means Sections 1471 through 1474 of the Internal Revenue Code, as of the date
of this Agreement (or any amended or successor version that is substantively comparable and not
materially more onerous to comply with) and any current or future regulations or official
interpretations thereof and any agreements entered into pursuant to Section 1471(b)(1) of the
Internal Revenue Code and any fiscal or regulatory legislation, rules or practices adopted pursuant
to any intergovernmental agreement, treaty or convention among Governmental Authorities and
implementing such Sections of the Code.

       “FCPA” has the meaning specified therefor in Section 6.01(aa)(i).



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        “Federal Funds Rate” means, for any period, a fluctuating interest rate per annum equal to,
for each day during such period, the weighted average of the rates on overnight Federal funds
transactions with members of the Federal Reserve System arranged by Federal funds brokers, as
published on the next succeeding Business Day by the Federal Reserve Bank of New York, or, if
such rate is not so published for any day which is a Business Day, the average of the quotations
for such day on such transactions received by the Administrative Agent from three Federal funds
brokers of recognized standing selected by it.

      “Fee Letter” means the fee letter, dated as of the date hereof, among the Borrowers and the
Administrative Agent.

       “Final Maturity Date” means, in the case of:

                (a)    Initial Term Loans and the Delayed Draw Term Loans, the earlier of (i) the
Initial/Delayed Draw Term Loan Maturity Date and (ii) the earliest date on or as of which any
such Loan is declared (or otherwise becomes, or is deemed to become) due and payable pursuant
to the terms of this Agreement (including as provided in Section 9.01); and

               (b)    any Incremental Facility Loan, the earlier of (i) the Incremental Facility
Loan Maturity Date applicable thereto and (ii) the earliest date on or as of which any such
Incremental Facility Loan is declared (or otherwise becomes, or is deemed to become) due and
payable pursuant to the terms of this Agreement (including as provided in Section 9.01) or as
provided in accordance with the Incremental Facility Amendment applicable thereto.

        “Financial Statements” means (a) the audited consolidated balance sheet of GCS and its
Subsidiaries for the Fiscal Year ended December 31, 2020, and the related consolidated statement
of operations, members’ capital and cash flows for the Fiscal Year then ended, and (b) the
unaudited consolidated balance sheet of Prepetition Administrative Borrower and its Subsidiaries
for the 12 months ended [August 2021], and the related consolidated statement of operations and
cash flows for the 12 months then ended.

        “Fiscal Year” means the fiscal year of the Parent and its Subsidiaries ending on December
31 of each year.

       “Floor” means the benchmark rate floor, if any, provided in this Agreement initially (as of
the execution of this Agreement, the modification, amendment or renewal of this Agreement or
otherwise) with respect to LIBOR Rate.

        “Foreign Official” has the meaning specified therefor in Section 6.01(aa)(ii)(A).

       “Funding Losses” has the meaning specified therefor in Section 2.08.

        “GAAP” means generally accepted accounting principles in effect from time to time in the
United States, applied on a consistent basis, provided that for the purpose of Section 7.03 hereof
and the definitions used therein, “GAAP” shall mean generally accepted accounting principles in
effect on the date hereof and consistent with those used in the preparation of the Financial
Statements, provided, further, that if there occurs after the date of this Agreement any change in

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GAAP that affects in any respect the calculation of any covenant contained in Section 7.03 hereof,
the Administrative Agent and the Administrative Borrower shall negotiate in good faith
amendments to the provisions of this Agreement that relate to the calculation of such covenant
with the intent of having the respective positions of the Lenders and the Borrowers after such
change in GAAP conform as nearly as possible to their respective positions as of the date of this
Agreement and, until any such amendments have been agreed upon, the covenants in Section 7.03
hereof shall be calculated as if no such change in GAAP has occurred.

       “GC GP Buyer” has the meaning specified therefor in the preamble hereto.

       “GC LP Buyer” has the meaning specified therefor in the preamble hereto.

       “GCS” means GC Services Limited Partnership, a Delaware limited partnership.

       “Goldman Group” means, at any time, Goldman Lenders who are not Defaulting Lenders,
taken as a whole.

        “Goldman Lenders” means, as of any time, the Goldman Persons that are Lenders at such
time (each of them individually, a “Goldman Lender”); provided, that, upon any sale, assignment
or other transfer (whether in a single or multiple transactions) by the Goldman Lenders of all
Effective Date Committed Debt held collectively by them since the Effective Date through and
including the date of such sale, assignment or transfer to a Goldman Successor, the term Goldman
Lenders shall, as of such time, be construed to instead refer to such Goldman Successor.

        “Goldman Person” means the following Persons, collectively, (a) Goldman Sachs Bank
USA and Goldman Sachs BDC, Inc., (b) the Persons listed as a ‘Goldman Lender’ on Schedule
1.01(A) hereto, (c) each of the Affiliates of any of the foregoing, and their and such Affiliates’
respective Related Funds, investment advisors, managing members, and partners (and, each such
Person, individually, a “Goldman Person”).

         “Goldman Successor” means (a) any Person (together with its Affiliates and Related
Funds) that has become a Lender pursuant to an assignment, together with all other Affiliates and
Related Funds that has become a Lender pursuant to an assignment, of all Effective Date
Committed Debt of the Goldman Lenders subject to the terms of this Agreement, and (b) each
subsequent assignee of the foregoing, or of any prior assignee therefrom, as applicable (in each
case, together with each of their respective Affiliates and Related Funds).

         “Governing Documents” means, (a) with respect to any corporation, the certificate or
articles of incorporation and the bylaws (or equivalent or comparable constitutive documents with
respect to any non-U.S. jurisdiction); (b) with respect to any limited liability company, the
certificate or articles of formation or organization, and the operating agreement; (c) with respect
to any partnership, joint venture, trust or other form of business entity, the partnership, joint
venture, declaration or other applicable agreement or documentation evidencing or otherwise
relating to its formation or organization, governance and capitalization; and (d) with respect to any
of the entities described above, any other agreement, instrument, filing or notice with respect
thereto filed in connection with its formation or organization with the applicable Governmental
Authority in the jurisdiction of its formation or organization.
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        “Governmental Authority” means any nation or government, any foreign, Federal, state,
territory, provincial, city, town, municipality, county, local or other political subdivision thereof
or thereto and any department, commission, board, bureau, instrumentality, agency or other entity
exercising executive, legislative, judicial, taxing, regulatory or administrative powers or functions
of or pertaining to government (including any supra-national bodies such as the European Union
or the European Central Bank).

        “Guaranteed Obligations” has the meaning specified therefor in Section 11.01.

       “Guarantor” means (a) the Parent, (b) each Subsidiary of the Parent listed as a “Guarantor”
on the signature pages hereto, and (c) each other Person that guarantees, pursuant to Section
7.01(b) or otherwise, all or any part of the Obligations.

       “Guaranty” means (a) the guaranty of each Guarantor party hereto contained in Article XI
hereof and (b) each other guaranty, in form and substance satisfactory to the Collateral Agent,
made by any other Guarantor in favor of the Collateral Agent for the benefit of the Agents and the
Lenders guaranteeing all or part of the Obligations.

        “Hazardous Material” means (a) any element, compound or chemical that is defined, listed
or otherwise classified as a contaminant, pollutant, toxic pollutant, toxic or hazardous substance,
extremely hazardous substance or chemical, hazardous waste, special waste, or solid waste under
Environmental Laws or that is likely to cause immediately, or at some future time, harm to or have
an adverse effect on, the environment or risk to human health or safety, including, without
limitation, any pollutant, contaminant, waste, hazardous waste, toxic substance or dangerous good
which is defined or identified in any Environmental Law and which is present in the environment
in such quantity or state that it contravenes any Environmental Law; (b) petroleum and its refined
products; (c) polychlorinated biphenyls; (d) any substance exhibiting a hazardous waste
characteristic, including, without limitation, corrosivity, ignitability, toxicity or reactivity as well
as any radioactive or explosive materials; and (e) any raw materials, building components
(including, without limitation, asbestos-containing materials) and manufactured products
containing hazardous substances listed or classified as such under Environmental Laws.

        “Hedging Agreement” means any interest rate, foreign currency, commodity or equity
swap, collar, cap, floor or forward rate agreement, or other agreement or arrangement designed to
protect against fluctuations in interest rates or currency, commodity or equity values (including,
without limitation, any option with respect to any of the foregoing and any combination of the
foregoing agreements or arrangements), and any confirmation executed in connection with any
such agreement or arrangement.

        “Highest Lawful Rate” means, with respect to any Agent or any Lender, the maximum
non-usurious interest rate, if any, that at any time or from time to time may be contracted for,
taken, reserved, charged or received on the Obligations under laws applicable to such Agent or
such Lender which are currently in effect or, to the extent allowed by law, under such applicable
laws which may hereafter be in effect and which allow a higher maximum non- usurious interest
rate than applicable laws now allow.


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           “Holdco Borrower2” has the meaning specified therefor in the preamble hereto.

           “Holdout Lender” has the meaning specified therefor in Section 12.02(b).

        “Houston Facility” means the real property and improvements located at 6330 Gulfton
Street, Houston, Texas 77081.

           “IBA” has the meaning specified therefor in Section 2.13(a).

           “Incremental Facility” has the meaning specified therefor in Section 2.12.

           “Incremental Facility Amendment” has the meaning specified therefor in Section 2.12(d).

       “Incremental Facility Commitment” has the meaning specified therefor in Section 2.12(a),
as the same may be modified in an Incremental Facility Amendment for purposes of any
Incremental Facility incurred after the date hereof pursuant to Section 2.12.

       “Incremental Facility Commitment Election” has the meaning specified therefor in Section
2.12(c)(i)(B).

        “Incremental Facility Commitment Election Deadline” has the meaning specified therefor
in Section 2.12(c)(ii).

       “Incremental Facility Effective Date” has the meaning specified therefor in Section
2.12(c)(i).

           “Incremental Facility Lender” has the meaning specified therefor in Section 2.12(a).

           “Incremental Facility Loan” has the meaning specified therefor in Section 2.12(a).

       “Incremental Facility Loan Borrowing Date” has the meaning specified therefor in Section
2.12(c)(i)(a).

        “Incremental Facility Loan Maturity Date” means, with respect to any Incremental Facility
Loan, (a) the Initial/Delayed Draw Term Loan Maturity Date or (b) such other date as may be
designated in the Incremental Facility Amendment applicable to such Incremental Facility Loan
as the “Final Maturity Date” thereof, or as may be otherwise determined pursuant to the terms
thereof to be the stated or scheduled final maturity or expiry date of such Incremental Facility
Loan.

           “Incremental Facility Notice” has the meaning specified therefor in Section 2.12(c)(i).

       “Incremental Third Party Facility” has the meaning specified therefor in Section
2.12(d)(ii).



2
    To be the entity referred to as “New Holdco Sub”.
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         “Indebtedness” means, with respect to any Person, without duplication, (a) all indebtedness
of such Person for borrowed money; (b) all obligations of such Person for the deferred purchase
price of property or services (other than trade payables or other accounts payable incurred in the
ordinary course of such Person’s business and not outstanding for more than 90 days after the date
such payable was due and any earn-out, purchase price adjustment or similar obligation until such
obligation appears in the liabilities section of the balance sheet of such Person); (c) all obligations
of such Person evidenced by bonds (excluding performance bonds, bid bonds, appeal bonds and
surety bonds under which no claim has been made), debentures, notes or other similar instruments
or upon which interest payments are customarily made; (d) all reimbursement, payment or other
obligations and liabilities of such Person created or arising under any conditional sales or other
title retention agreement with respect to property used and/or acquired by such Person, even though
the rights and remedies of the lessor, seller and/or lender thereunder may be limited to repossession
or sale of such property; (e) all Capitalized Lease Obligations of such Person; (f) all obligations
and liabilities, contingent or otherwise, of such Person, in respect of letters of credit, acceptances
and similar facilities; (g) all obligations and liabilities, calculated on a basis satisfactory to the
Collateral Agent and in accordance with accepted practice, of such Person under Hedging
Agreements; (h) all monetary obligations under any receivables factoring, receivable sales or
similar transactions and all monetary obligations under any synthetic lease, tax
ownership/operating lease, off-balance sheet financing or similar financing; (i) all Contingent
Obligations; (j) all Disqualified Equity Interests; and (k) all obligations referred to in clauses (a)
through (j) of this definition of another Person secured by (or for which the holder of such
Indebtedness has an existing right, contingent or otherwise, to be secured by) a Lien upon property
owned by such Person, even though such Person has not assumed or become liable for the payment
of such Indebtedness. The Indebtedness of any Person shall include, without duplication, the
Indebtedness of any partnership of or joint venture in which such Person is a general partner or a
joint venturer.

           “Indemnified Matters” has the meaning specified therefor in Section 12.15(a).

        “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with
respect to any payment made by or on account of any obligation of any Loan Party under any Loan
Document and (b) to the extent not otherwise described in clause (a), Other Taxes.

           “Indemnitees” has the meaning specified therefor in Section 12.15(a).

           “Initial/Delayed Draw Term Loan Maturity Date” means [__]3, 2026.

        “Initial Term Loan Commitment” means, with respect to any Lender the commitment or
obligation (if any) of such Lender to make (or be deemed to make) an Initial Term Loan in the
aggregate principal amount set forth on Schedule 1.01(A) hereto opposite such Lender’s name
under the heading “Initial Term Loan Commitment”; provided, that, for the avoidance of doubt,
such Initial Term Loan Commitment shall be reduced to zero ($0) automatically and immediately
upon such Lender being deemed to make an Initial Term Loan pursuant to Section 2.01.



3
    NTD: To be the fifth (5th) anniversary of the Effective Date.
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       “Initial Term Loan Facility” refers to the Initial Term Loan Commitments and Initial Term
Loans of the Lenders hereunder, together with all Obligations in respect thereof, which shall be
deemed to constitute a single credit facility provided to the Borrowers on the terms set forth in this
Agreement and the other Loan Documents.

        “Initial Term Loan Lender” means (a) on the Effective Date, each Lender that has an Initial
Term Loan Commitment, as set forth on Schedule 1.01(A) hereof under the heading “Initial Term
Loan Lender”, and (b) as of any time after the Initial Term Loans are deemed to be made on the
Effective Date, each Person that, pursuant to the terms hereof, is Lender holding any Initial Term
Loan at such time (including pursuant to, and upon effectiveness of, an assignment in accordance
with Section 12.07 and the other terms hereof); provided, that, a Person shall cease to be an Initial
Term Loan Lender immediately upon such time as such Person shall cease to be an Initial Term
Loan Lender or a Lender (as applicable) in accordance with the terms hereof (including, without
limitation, upon an assignment by such Person of all Initial Term Loans held by it pursuant to an
effective Assignment and Acceptance, and otherwise in accordance with Section 12.07 and the
other terms hereof).

       “Initial Term Loans” has the meaning specified in Section 2.01(a).

        “Insolvency Proceeding” means any proceeding commenced by or against any Person
under any provision of any Debtor Relief Law.

       “Intellectual Property” has the meaning specified therefor in the Security Agreement.

       “Intellectual Property Contracts” means all agreements concerning Intellectual Property,
including without limitation license agreements, technology consulting agreements,
confidentiality agreements, co-existence agreements, consent agreements and non-assertion
agreements.

        “Intercompany Subordination Agreement” means the Intercompany Subordination
Agreement, dated as of the date hereof, made by the Parent and its Subsidiaries in favor of the
Collateral Agent for the benefit of the Agents and the Lenders, in form and substance reasonably
satisfactory to the Collateral Agent.

        “Intercreditor Agreements” means, collectively, (a) the ABL/Term Intercreditor
Agreement, (b) the Term Intercreditor Agreement, and (c) any intercreditor agreement or other
agreement among lenders entered into from time to time in connection with any Incremental
Facility by and among the Agents and any holder of such Indebtedness (or any Debt Representative
thereof).

        “Interest Period” means, with respect to each LIBOR Rate Loan, a period commencing on
the date of the making of such LIBOR Rate Loan (or the continuation of a LIBOR Rate Loan or
the conversion of a Reference Rate Loan to a LIBOR Rate Loan) and, at the Borrowers’ option,
ending 1, 3 or 6 months thereafter; provided, however, that (a) if any Interest Period would end on
a day that is not a Business Day, such Interest Period shall be extended (subject to clauses (c)-(e)
below) to the next succeeding Business Day, (b) interest shall accrue at the applicable rate based
upon the LIBOR Rate from and including the first day of each Interest Period to, but excluding,
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the day on which any Interest Period expires, (c) any Interest Period that would end on a day that
is not a Business Day shall be extended to the next succeeding Business Day unless such Business
Day falls in another fiscal month, in which case such Interest Period shall end on the next preceding
Business Day, (d) with respect to an Interest Period that begins on the last Business Day of a fiscal
month (or on a day for which there is no numerically corresponding day in the fiscal month at the
end of such Interest Period), the Interest Period shall end on the last Business Day of the fiscal
month at the end of such Interest Period, (e) the Borrowers may not elect an Interest Period for any
Loan which will end after the Final Maturity Date of such Loan, and (f) subject to clauses (a) and
(c) above and Sections 2.02, 2.04 and 2.07, the Interest Period applicable as of the Effective Date
to Initial Term Loans that are LIBOR Rate Loans may end on any day (not more than 3 months
after the Effective Date) designated by the Administrative Borrower to the Administrative Agent.

       “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended (or any
successor statute thereto) and the regulations thereunder.

        “Inventory” means, with respect to any Person, all goods and merchandise of such Person
leased or held for sale or lease by such Person, including, without limitation, all raw materials,
work-in-process and finished goods, and all packaging, supplies and materials of every nature used
or usable in connection with the shipping, storing, advertising or sale of such goods and
merchandise, whether now owned or hereafter acquired, and all such other property the sale or
other disposition of which would give rise to an Account or cash.

         “Investment” means, with respect to any Person, (a) any investment by such Person in any
other Person (including Affiliates) in the form of loans, guarantees, advances or other extensions
of credit (excluding Accounts arising in the ordinary course of business), capital contributions or
acquisitions of Indebtedness (including, any bonds, notes, debentures or other debt securities),
Equity Interests, or all or substantially all of the assets of such other Person (or of any division or
business line of such other Person), (b) the purchase or ownership of any futures contract or
liability for the purchase or sale of currency or other commodities at a future date in the nature of
a futures contract, or (c) any investment in any other items that are or would be classified as
investments on a balance sheet of such Person prepared in accordance with GAAP.

       “Joinder Agreement” means a Joinder Agreement, substantially in the form of Exhibit A,
duly executed by a Subsidiary of a Loan Party made a party hereto pursuant to Section 7.01(b).

       “Junior Lien Debt” means collectively, the principal of Second Lien Loans and any other
funded Indebtedness permitted hereunder and, in each case, secured by a Lien on Collateral
ranking junior to the Lien thereon that secures any Senior Lien Debt (but without regard to the
ranking or priority of any Lien securing any such Junior Lien Debt relative to that of any Lien
securing any other Junior Lien Debt). Unless expressly specified otherwise, references to any
Junior Lien Debt as of any time of determination shall be construed as references to aggregate
principal amount thereof outstanding as of such time.

        “Lease” means any lease of real property to which any Loan Party or any of its Subsidiaries
is a party as lessor or lessee.


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        “Lender” means (a) each Person whose name is set forth on Schedule 1.01(A) under the
heading “Initial Term Loan Lender” or “Delayed Draw Term Loan Lender” and that signed this
Agreement as a Lender and thereby became a party hereto on the Effective Date, and (b) each
Person that becomes a Lender hereunder at any time after the Effective Date in accordance with
the terms hereof (including pursuant to an assignment in accordance with Section 12.07 or an
Incremental Facility Amendment in accordance with Section 2.12), in each case, for so long as
such Person shall be (but only until such Person shall cease to be) a party to this Agreement as a
Lender pursuant to the terms hereof; provided, that, unless the context otherwise requires,
reference herein to “Lender” shall be deemed to be a reference to each Initial Term Loan Lender,
each Delayed Draw Term Loan Lender and each Incremental Facility Lender (if any is a party
hereto as of the time of determination).

       “Lender Funding Account” has the meaning specified therefor in Section 2.02(c).

         “LIBOR” means, with respect to any LIBOR Loan for any Interest Period, the London
interbank offered rate as administered by the ICE Benchmark Administration (or any other Person
that takes over the administration of such rate) for Dollars for a period equal in length to such
Interest Period as displayed on page LIBOR01 or LIBOR02 of the Reuters Screen that displays
such rate (or, in the event such rate does not appear on a Reuters page or screen, on any successor
or substitute page on such screen that displays such rate, or on the appropriate page of such other
information service that publishes such rate from time to time as selected by the Administrative
Agent in its reasonable discretion; in each case, the “Screen Rate”) at approximately 11:00 a.m.,
London time, two Business Days prior to the commencement of such Interest Period; provided,
that, if the Screen Rate shall not be available at such time for such Interest Period (an “Impacted
Interest Period”) with respect to Dollars, then the LIBOR Rate shall be the Interpolated Rate at
such time. “Interpolated Rate” means, at any time, the rate per annum determined in good faith by
the Administrative Agent (which determination shall be conclusive and binding absent manifest
error) to be equal to the rate that results from interpolating on a linear basis between: (a) the Screen
Rate for the longest period (for which that Screen Rate is available in Dollars) that is shorter than
the Impacted Interest Period and (b) the Screen Rate for the shortest period (for which that Screen
Rate is available for Dollars) that exceeds the Impacted Interest Period, in each case, at such time.

       “LIBOR Deadline” has the meaning specified therefor in Section 2.07(a).

       “LIBOR Notice” means a written notice substantially in the form of Exhibit D.

       “LIBOR Option” has the meaning specified therefor in Section 2.07(a).

         “LIBOR Rate” means, for each Interest Period for each LIBOR Rate Loan, the greater of
(a) the rate per annum determined by the Administrative Agent (rounded upwards if necessary, to
the next 1/100%) by dividing (i) LIBOR for such Interest Period by (ii) 100% minus the Reserve
Percentage and (b) 1.00%; provided, that, if the Administrative Agent is unable to determine
LIBOR based on a Screen Rate for a period equal in length to the Interest Period applicable to the
Initial Term Loans as of the Effective Date as provided in the definition of LIBOR, the LIBOR
Rate applicable to Initial Term Loans during such Interest Period shall be 1.00%.


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        “LIBOR Rate Loan” means each portion of a Loan that bears interest at a rate determined
by reference to the LIBOR Rate.

        “License Trust Account” means any deposit account of a Loan Party specifically required
by a State or other Governmental Authority to be maintained by such Loan Party as a trust account
for the benefit of such State or Governmental Authority, pursuant to licensing and permitting
requirements applicable to such Loan Party within such State’s or Governmental Authority’s
jurisdiction, so long as such deposit account and all funds deposited therein are separately
segregated from such Loan Party’s general accounts and other cash.

        “Lien” means any mortgage, deed of trust, pledge, lien (statutory or otherwise), security
interest, charge or other encumbrance or security or preferential arrangement of any nature,
including, without limitation, any conditional sale or title retention arrangement, any Capitalized
Lease and any assignment, deposit arrangement or financing lease intended as, or having the effect
of, security.

       “Liquidity” means a Dollar amount equal to (determined at any time as of the last Business
Day of the calendar week preceding the week in which the calculation of Liquidity is being made):

              (a)     the aggregate amount of unrestricted cash and Cash Equivalents maintained
by the Borrowers in an account located in the United States subject to a Control Agreement; plus

               (b)    the aggregate amount available to be borrowed by any Borrower or any of
its Subsidiaries under any ABL Facility in effect at such time (except to the extent that the
Administrative Borrower determines that the pricing or terms thereof are unfavorable).

         “Loan” means, generally, and unless the context requires otherwise, each loan or other
credit extension (if any) made at any time to any Borrower pursuant this Agreement by any Person
that is a Lender with an applicable Commitment at such time (all such loans and credit extensions,
collectively, the “Loans”). As of the Effective Date, each Initial Term Loan and each Delayed
Draw Term Loan is a Loan, and, upon such time (if any) that any Lender has an Incremental
Facility Commitment, each Incremental Facility Loan extended pursuant to such Commitment will
also be a Loan.

       “Loan Account” means an account maintained hereunder by the Administrative Agent on
its books of account at the Payment Office, and with respect to the Borrowers, in which the
Borrowers will be charged with all Loans made to, and all other Obligations incurred by, the
Borrowers.

        “Loan Document” means this Agreement, any Control Agreement, the Fee Letter, any
Guaranty, the Intercompany Subordination Agreement, the Intercreditor Agreements, any Joinder
Agreement, any Mortgage, any Security Agreement, any UCC Filing Authorization Letter, any
landlord waiver, any collateral access agreement, any Perfection Certificate, and any other
agreement, instrument, certificate, report and other document executed and delivered pursuant
hereto or thereto or otherwise evidencing or securing any Loan or any other Obligation.

       “Loan Party” means any Borrower and any Guarantor.

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         “Material Adverse Effect” means a material adverse effect on any of (a) the operations,
assets, liabilities, financial condition of the Loan Parties taken as a whole, (b) the ability of the
Loan Parties taken as a whole to perform any of their obligations under any Loan Document,
(c) the legality, validity or enforceability of this Agreement or any other Loan Document, (d) the
rights and remedies of any Agent or any Lender under any Loan Document, or (e) the validity,
perfection or priority of a Lien in favor of the Collateral Agent for the benefit of the Agents and
the Lenders on Collateral having individually or in the aggregate a fair market value in excess of
$1,000,000.

        “Material Contract” means, with respect to any Borrower, (a) the ABL Credit Agreement,
(b) the Second Lien Financing Agreement and (c) all other contracts or agreements as to which the
breach, nonperformance, cancellation or failure to renew by any party thereto could reasonably be
expected to have a Material Adverse Effect.

       “Material Indebtedness” means Indebtedness in an aggregate principal amount of
$2,000,000 or more.

       “Moody’s” means Moody’s Investors Service, Inc. and any successor thereto.

         “Mortgage” means a mortgage (including, without limitation, a leasehold mortgage), deed
of trust or deed to secure debt, in form and substance satisfactory to the Collateral Agent, made by
a Loan Party in favor of the Collateral Agent for the benefit of the Agents and the Lenders, securing
the Obligations and delivered to the Collateral Agent.

        “Multiemployer Plan” means a “multiemployer plan” as defined in Section 4001(a)(3) of
ERISA to which any Loan Party or any of its ERISA Affiliates has contributed, or has been
obligated to contribute, to or had any liability at any time during the preceding 6 years.

        “Net Cash Proceeds” means, with respect to, any issuance or incurrence of any
Indebtedness, any Disposition or the receipt of any Extraordinary Receipts by any Person or any
of its Subsidiaries, the aggregate amount of cash received (directly or indirectly) from time to time
(whether as initial consideration or through the payment or disposition of deferred consideration)
by or on behalf of such Person or such Subsidiary, in connection therewith after deducting
therefrom only (a) in the case of any Disposition or the receipt of any Extraordinary Receipts
consisting of insurance proceeds or condemnation awards, the amount of any Indebtedness secured
by any Permitted Lien on any asset (other than Indebtedness assumed by the purchaser of such
asset) which is required to be, and is, repaid in connection therewith (other than Indebtedness under
this Agreement), (b) reasonable expenses related thereto incurred by such Person or such
Subsidiary in connection therewith, (c) transfer taxes paid or payable to any taxing authorities by
such Person or such Subsidiary in connection therewith, and (d) net income taxes paid or payable
in connection therewith (after taking into account any tax credits or deductions and any tax sharing
arrangements), in each case, to the extent, but only to the extent, that the amounts so deducted are
(i) actually paid to a Person that, except in the case of reasonable out-of-pocket expenses, is not an
Affiliate of such Person or any of its Subsidiaries and (ii) properly attributable to such transaction
or to the asset that is the subject thereof.

       “New Facility” has the meaning specified therefor in Section 7.01(m).
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       “New Lending Office” has the meaning specified therefor in Section 2.09(e).

       “Non-Funded Debt” has the meaning specified therefor in Section 1.04(b)(ii).

       “Non-Funding Lender” has the meaning specified therefor in Section 2.12(c)(v).

       “Non-Funding Lender Participation Date” has the meaning specified therefor in Section
2.12(c)(v).

       “Non-U.S. Lender” has the meaning specified therefor in Section 2.09(e).

       “Notice of Borrowing” has the meaning specified therefor in Section 2.02(a).

        “Obligations” means all present and future indebtedness, obligations, and liabilities of each
Loan Party to the Agents and the Lenders arising under or in connection with this Agreement or
any other Loan Document, whether or not the right of payment in respect of such claim is reduced
to judgment, liquidated, unliquidated, fixed, contingent, matured, disputed, undisputed, legal,
equitable, secured, unsecured, and whether or not such claim is discharged, stayed or otherwise
affected by any proceeding referred to in Section 9.01. Without limiting the generality of the
foregoing, the Obligations of each Loan Party under the Loan Documents include (a) the obligation
(irrespective of whether a claim therefor is allowed in an Insolvency Proceeding) to pay principal,
interest, charges, expenses, fees, premiums (including the Applicable Premium), attorneys’ fees
and disbursements, indemnities and other amounts payable by such Person under the Loan
Documents, and (b) the obligation of such Person to reimburse any amount in respect of any of the
foregoing that any Agent or any Lender (in its sole discretion) may elect to pay or advance on
behalf of such Person.

       “OFAC Sanctions Programs” means (a) the Requirements of Law and Executive Orders
administered by OFAC, including, without limitation, Executive Order No. 13224, and (c) the list
of Specially Designated Nationals and Blocked Persons administered by OFAC, in each case, as
renewed, extended, amended, or replaced.

        “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as a result
of a present or former connection between such Recipient and the jurisdiction imposing such Tax
(other than connections arising from such Recipient having executed, delivered, become a party
to, performed its obligations under, received payments under, received or perfected a security
interest under, engaged in any other transaction pursuant to or enforced any Loan Document, or
sold or assigned an interest in any Loan or Loan Document).

        “Other Taxes” means all present or future stamp, court or documentary, intangible,
recording, filing or similar Taxes that arise from any payment made under, from the execution,
delivery, performance, enforcement or registration of, from the receipt or perfection of a security
interest under, or otherwise with respect to, any Loan Document.

       “Other Rate” means, with respect to any Loan, the Rate (except the LIBOR Rate or
Reference Rate) at which non-default interest is designated to accrue on such Loan pursuant to its
terms, as specified (a) in the case of any Incremental Facility Loan, in the Incremental Facility

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Amendment applicable thereto, and (b) in the case of any other Loan, in any agreement, document
or instrument that constitutes a valid and enforceable amendment or other modification with
respect to this Agreement in accordance with the terms hereof (including Section 12.02).

        “Other Rate Loan” means each portion of any Loan that is permitted hereunder to bear
interest at a rate determined by reference to any Other Rate.

        “paid in kind”, “payable in kind”, and “payment in kind” (as applicable) means, (a) as used
with respect to the payment of any interest, that such interest shall be paid in the form of PIK
Interest instead of in cash, and (b) as used with respect to the payment of any fees or other amount
hereunder, that such amount shall be paid in the form of additional Loan principal, capitalized on
the applicable payment date in a manner implemented by the Administrative Agent in accordance
with its customary practices or as contemplated pursuant to the definition of PIK Interest (with the
provisions thereof being construed for this purpose to apply to fees or such other amount instead
of to interest).

       “Parent” has the meaning specified therefor in the preamble hereto.

        “Parent Common Equity” means common equity interests issued by the Parent and
constituting New Common Equity (as defined in the RSA).

       “Parent Company Agreement” means the Limited Liability Company Agreement of Parent
dated as of [___], 2021, as amended or modified from time to time in accordance with such
agreement and this Agreement.

       “Parent Junior Preferred Equity” means Series B junior preferred equity interests issued by
the Parent as of the Effective Date to certain Goldman Persons and BSP Persons in accordance
with the Restructuring Transactions and constituting [New Junior Preferred Equity (as defined in
the RSA)].

       “Parent Preferred Equity” means, collectively, Parent Senior Preferred Equity and Parent
Junior Preferred Equity.

        “Parent Senior Preferred Equity” means Series A senior preferred equity interests issued
by the Parent as of the Effective Date to certain Goldman Persons in accordance with the
Restructuring Transactions and constituting [New Senior Preferred Equity (as defined in the
RSA).]

       “Participant Register” has the meaning specified therefor in Section 12.07(i).

       “Payment Office” means the office or offices of the Administrative Agent as may be
designated in writing from time to time by the Administrative Agent to the Collateral Agent and
the Administrative Borrower.

       “PBGC” means the Pension Benefit Guaranty Corporation or any successor thereto.

        “Perfection Certificate” means a certificate in form and substance reasonably satisfactory
to the Collateral Agent providing information with respect to the property of each Loan Party.
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        “Permitted Acquisition” means any acquisition (whether by means of a merger,
consolidation or otherwise) of all or substantially all of the Equity Interests of any Person, or all
or substantially all of the assets of (or any division or business line of) any Person by any
Subsidiary of the Parent, to the extent that each of the following conditions shall have been
satisfied:

               (a)   such acquisition is permitted pursuant to the Parent Company Agreement or
pursuant to any consent of the relevant holders of the equity interests therein in accordance with
the terms thereof;

              (b)   no Event of Default shall have occurred and be continuing or would result
from the consummation of the proposed acquisition;

              (c)      on a pro forma basis, the Total Secured Debt Leverage Ratio shall not
exceed 5.50:1.00;

                (d)    the assets being acquired (other than a de minimis amount of assets in
relation to the Loan Parties’ and their Subsidiaries’ total assets) shall constitute Collateral, or the
Person whose Equity Interests are being acquired shall become a Guarantor;

                 (e)     with respect to an acquisition in excess of $2,000,000, the Borrower shall
have delivered to the Administrative Agent and the Lenders, at least ten Business Days prior to
the date on which any such acquisition is to be consummated (or such shorter period as the
Administrative Agent may agree) (1) a summary description of such acquisition, (2) to the extent
prepared and available, a quality of earnings report from an accounting firm of recognized standing
or another third party firm reasonably acceptable to the Administrative Agent, (3) to the extent
prepared and available, a due diligence package, including all insurance policies (if applicable)
and to the extent provided to the Borrower by the target, historical financial statements including
audited financial statements of the target, for the two fiscal years most recently ended, consisting
of balance sheets and the related aggregated statements of income, stockholders’ equity and cash
flows for such fiscal year, any environmental reports (if applicable) prepared by, or on behalf of,
the target, (4) drafts of the acquisition documents, together with related disclosure schedules, and
following consummation of the acquisition executed copies of all such acquisition documents and
(c) all documentation and other information required under applicable “know your customer” and
anti-terrorism and anti-money laundering Laws requested in writing to the Borrower by the
Administrative Agent with respect to the target and its Subsidiaries; and

               (f)   the Purchase Price payable in respect of such acquisition, along with all
other Permitted Acquisitions, shall not exceed $10,000,000 in the aggregate.

        “Permitted Capital Expenditures” means the following Capital Expenditures by the
Borrowers and/or any of their Subsidiaries: (a) Capital Expenditures and other projects designated
in the business plan delivered by the Borrowers to the Agents as of the Effective Date, as modified
and supplemented pursuant to any supplement, amendment, restatement or replacement of such
business plan from time to time with the consent of the Administrative Agent (acting at the
direction of the Required Lenders), (b) Capital Expenditures and other projects consented to from
time to time by the Administrative Agent (acting at the direction of the Required Lenders), (c)
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Capital Expenditures and other projects approved by the board of the Parent upon recommendation
of an independent financial advisor or consultant (reasonably satisfactory to the Required Lenders)
and consented to by the Required Lenders, including to the extent necessary or desirable to
preserve valuation in the business, and (d) incidental Capital Expenditures and other Capital
Expenditures arising in the ordinary course of business (including telephone, computer and other
types of IT and communications equipment and other electronics used by officers and employees)
in an aggregate amount not to exceed $5 million in any twelve fiscal month period).

       “Permitted Cure Equity” means Qualified Equity Interests of the Parent.

       “Permitted Disposition” means:

               (a)     sale of Inventory in the ordinary course of business;

              (b)     licensing, on a non-exclusive basis, Intellectual Property rights in the
ordinary course of business;

               (c)     leasing or subleasing assets for fair market value in the ordinary course of
business;

               (d)     (i) the lapse of Registered Intellectual Property of the Parent or any of its
Subsidiaries to the extent not economically desirable in the conduct of their business or (ii) the
abandonment of Intellectual Property rights in the ordinary course of business so long as (in each
case under clauses (i) and (ii)), (A) with respect to copyrights, such copyrights are not material
revenue generating copyrights, and (B) such lapse is not materially adverse to the interests of the
Secured Parties;

               (e)     any involuntary loss, damage or destruction of property;

              (f)    any involuntary condemnation, seizure or taking, by exercise of the power
of eminent domain or otherwise, or confiscation or requisition of use of property;

                (g)     so long as no Event of Default has occurred and is continuing or would
result therefrom, transfers of assets from the Parent or any of its Subsidiaries to a Loan Party (other
than the Parent);

              (h)     Disposition for fair market value of obsolete or worn-out equipment in the
ordinary course of business; and

                (i)     Disposition of property or assets not otherwise permitted in clauses (a)
through (h) above for cash in an aggregate amount not less than the fair market value of such
property or assets; provided, that the Net Cash Proceeds of such Dispositions pursuant to this
clause (i) (including the proposed Disposition) (1) do not exceed $1,000,000 in the aggregate in
any Fiscal Year and (2) in all cases, are paid to the Administrative Agent for the benefit of the
Agents and the Lenders to the extent required pursuant to the terms of Section 2.05(c)(ii) or applied
as provided in Section 2.05(c)(vi).


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        “Permitted Holder” means any BSP Person, any group (within the meaning of Rules 13d-
3 and 13d-5 under the Exchange Act) of which any of the BSP Persons are members as of the
Effective Date, and any other Person that is an equity holder of Parent as of the Effective Date,
together with its Controlled Affiliates.

       “Permitted Indebtedness” means:

               (a)   any Indebtedness owing to any Agent or any Lender under this Agreement
and the other Loan Documents;

              (b)    any other Indebtedness listed on Schedule 7.02(b), and any Permitted
Refinancing Indebtedness in respect of such Indebtedness;

               (c)    Permitted Purchase Money Indebtedness, and any Permitted Refinancing
Indebtedness in respect of such Indebtedness;

               (d)     Permitted Intercompany Investments;

              (e)     Indebtedness incurred in the ordinary course of business under
performance, surety, statutory, and appeal bonds;

                (f)     any Indebtedness owed to any Person providing property, casualty, liability,
or other insurance to the Loan Parties, so long as the amount of such Indebtedness is not in excess
of the amount of the unpaid cost of, and shall be incurred only to defer the cost of, such insurance
for the period in which such Indebtedness is incurred and such Indebtedness is outstanding only
during such period;

              (g)     the incurrence by any Loan Party of Indebtedness under Hedging
Agreements that are incurred for the bona fide purpose of hedging the interest rate, commodity, or
foreign currency risks associated with such Loan Party’s operations and not for speculative
purposes;

                (h)     Indebtedness incurred in respect of credit cards, credit card processing
services, debit cards, stored value cards, purchase cards (including so-called “procurement cards”
or “P-cards”) or other similar cash management services, in each case, incurred in the ordinary
course of business;

           (i)   ABL Indebtedness in an aggregate principal amount not exceeding the
[“Maximum ABL Obligations”] as defined in the ABL/Term Intercreditor Agreement;

                 (j)    Indebtedness of the Parent in respect of Parent Preferred Equity; provided
that if the Parent Preferred Equity is converted into unsecured Indebtedness in accordance with the
Parent Company Agreement, such Indebtedness shall be subordinated in right of payment pursuant
to a subordination agreement on terms acceptable to the Required Lenders;

              (k)     Subordinated Indebtedness of the of the Loan Parties in an aggregate
principal amount not exceeding $5,000,000 at any time outstanding;

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                 (l)     other unsecured Indebtedness in an aggregate principal amount not
exceeding $1,000,000 at any time outstanding (including any such Indebtedness owing to any
Seller that is incurred in connection with the consummation of one or more Permitted Acquisitions
(including, without limitation, obligations under earn-out agreements and similar deferred
purchase arrangements));

               (m)    Second Lien Indebtedness in an aggregate principal amount outstanding at
any time not exceeding the amount of Second Lien Loans incurred on or about the Effective Date;

               (n)     [reserved];

               (o)   any Indebtedness of any of the Loan Parties or any of their Subsidiaries
constituting Non-Funded Debt; and

                (p)    all Non-Funded Debt arising in connection with each and any of the
following: (i) the Obligations or the Loan Documents, and/or (ii) any obligations under the ABL
Credit Facility, the Second Lien Credit Facility, any Parent Preferred Equity and/or any debt or
equity incurred in accordance with this Agreement and the Parent Company Agreement (including
pursuant to any consent thereunder by the requisite holders of the Parent Common Equity and
Parent Preferred Equity).

         “Permitted Intercompany Investments” means Investments made by (a) a Loan Party to or
in another Loan Party (other than the Parent), (b) a Subsidiary that is not a Loan Party to or in
another Subsidiary that is not a Loan Party, (c) a Subsidiary that is not a Loan Party to or in a Loan
Party (other than the Parent), so long as, in the case of a loan or advance, the parties thereto are
party to the Intercompany Subordination Agreement, and (d) a Loan Party to or in a Subsidiary
that is not a Loan Party so long as (i) the aggregate amount of all such Investments made by the
Loan Parties to or in Subsidiaries that are not Loan Parties does not exceed $2,500,000 at any time
outstanding, (ii) no Default or Event of Default has occurred and is continuing either before or
after giving effect to such Investment, and (iii) the Borrowers’ Liquidity is not less than $5,000,000
after giving effect to such Investment.

       “Permitted Investments” means:

               (a)     Investments in cash and Cash Equivalents;

                (b)    Investments in negotiable instruments deposited or to be deposited for
collection in the ordinary course of business;

              (c)     advances made in connection with purchases of goods or services in the
ordinary course of business;

                (d)     Investments received in settlement of amounts due to any Loan Party or any
of its Subsidiaries effected in the ordinary course of business or owing to any Loan Party or any
of its Subsidiaries as a result of Insolvency Proceedings involving an Account Debtor or upon the
foreclosure or enforcement of any Lien in favor of a Loan Party or its Subsidiaries;


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               (e)     Investments existing on the date hereof, as set forth on Schedule 7.02(e)
hereto, but not any increase in the amount thereof as set forth in such Schedule or any other
modification of the terms thereof;

               (f)     Permitted Intercompany Investments;

               (g)     loans or advances made to any officers or employees of Parent or its
Subsidiaries not to exceed $100,000 individually and $200,000 in the aggregate at any time
outstanding, so long as such loans are repaid by the applicable employee within one (1) year
following the date of the making of such loan or advance or such other date as may be consented
to by the Administrative Agent;

               (h)    so long as no Default or Event of Default has occurred and is continuing or
would result therefrom, any other Investments in an aggregate amount not to exceed $1,000,000
at any time outstanding; and

               (i)     Permitted Acquisitions.

       “Permitted Liens” means:

               (a)     Liens securing the Obligations;

               (b)     Liens for taxes, assessments and governmental charges the payment of
which is not required under Section 7.01(c)(ii);

               (c)     Liens imposed by law, such as carriers’, warehousemen’s, mechanics’,
materialmen’s and other similar Liens arising in the ordinary course of business and securing
obligations (other than Indebtedness for borrowed money) that are not overdue by more than 30
days or are being contested in good faith and by appropriate proceedings promptly initiated and
diligently conducted, and a reserve or other appropriate provision, if any, as shall be required by
GAAP shall have been made therefor;

               (d)    Liens described on Schedule 7.02(a), provided that any such Lien shall only
secure the Indebtedness that it secures on the Effective Date and any Permitted Refinancing
Indebtedness in respect thereof;

               (e)     purchase money Liens on equipment acquired or held by any Loan Party or
any of its Subsidiaries in the ordinary course of its business to secure Permitted Purchase Money
Indebtedness so long as such Lien only (i) attaches to such property and (ii) secures the
Indebtedness that was incurred to acquire such property or any Permitted Refinancing
Indebtedness in respect thereof;

                 (f)    deposits and pledges of cash securing (i) obligations incurred in respect of
workers’ compensation, unemployment insurance or other forms of governmental insurance or
benefits, (ii) the performance of bids, tenders, leases, contracts (other than for the payment of
money) and statutory obligations or (iii) obligations on surety or appeal bonds, but only to the
extent such deposits or pledges are made or otherwise arise in the ordinary course of business and
secure obligations not past due;
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                (g)    with respect to any Facility, easements, zoning restrictions and similar
encumbrances on real property and minor irregularities in the title thereto that do not (i) secure
obligations for the payment of money or (ii) materially impair the value of such property or its use
by any Loan Party or any of its Subsidiaries in the normal conduct of such Person’s business;

                 (h)   Liens of landlords and mortgagees of landlords (i) arising by statute or
under any lease or related Contractual Obligation entered into in the ordinary course of business,
(ii) on fixtures and movable tangible property located on the real property leased or subleased from
such landlord, or (iii) for amounts not yet due or that are being contested in good faith by
appropriate proceedings diligently conducted and for which adequate reserves or other appropriate
provisions are maintained on the books of such Person in accordance with GAAP;

               (i)     the title and interest of a lessor or sublessor in and to personal property
leased or subleased (other than through a Capitalized Lease), in each case extending only to such
personal property;

               (j)     non-exclusive licenses of Intellectual Property rights in the ordinary course
of business;

              (k)     judgment liens (other than for the payment of taxes, assessments or other
governmental charges) securing judgments and other proceedings not constituting an Event of
Default under Section 9.01(j);

               (l)     rights of set-off or bankers’ liens upon deposits of cash in favor of banks or
other depository institutions, solely to the extent incurred in connection with the maintenance of
such deposit accounts in the ordinary course of business;

              (m)     Liens granted in the ordinary course of business on the unearned portion of
insurance premiums securing the financing of insurance premiums to the extent the financing is
permitted under the definition of Permitted Indebtedness;

               (n)    Liens securing (i) ABL Indebtedness constituting Permitted Indebtedness,
so long as such Liens are subject to the ABL/Term Intercreditor Agreement, and (ii) Second Lien
Indebtedness constituting Permitted Indebtedness, so long as such Liens are subject to the
Intercreditor Agreements;

                (o)   Liens granted in the ordinary course of business to secure any Loan Party’s
contingent obligations in connection with any performance, surety, statutory or appeal bonds
(which Liens shall not include any Liens on or pledges of the Equity Interests of any Loan Party
or its Subsidiaries);

                (p)    other Liens which do not secure Indebtedness for borrowed money or letters
of credit and as to which the aggregate amount of the obligations secured thereby does not exceed
$1,000,000;

               (q)     [reserved]; and


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              (r)    Liens securing Non-Funded Debt pursuant to clause (p) of the definition of
“Permitted Indebtedness”.

        “Permitted Purchase Money Indebtedness” means, as of any date of determination,
Indebtedness (other than the Obligations, but including Capitalized Lease Obligations) incurred to
finance the acquisition of any fixed assets secured by a Lien permitted under clause (e) of the
definition of “Permitted Liens”; provided that (a) such Indebtedness is incurred within 270 days
after such acquisition, (b) such Indebtedness when incurred shall not exceed the purchase price of
the asset financed and (c) the aggregate principal amount of all such Indebtedness shall not exceed
$5,000,000 at any time outstanding.

       “Permitted Refinancing Indebtedness” means the extension of maturity, refinancing or
modification of the terms of Indebtedness so long as:

              (a)     after giving effect to such extension, refinancing or modification, the
amount of such Indebtedness is not greater than the amount of Indebtedness outstanding
immediately prior to such extension, refinancing or modification (other than by the amount of
premiums paid thereon and the fees and expenses incurred in connection therewith and by the
amount of unfunded commitments with respect thereto);

                 (b)    such extension, refinancing or modification has an average life to maturity
that is greater than that of the Indebtedness so extended, refinanced or modified;

                (c)    such extension, refinancing or modification is pursuant to terms that are not
less favorable to the Loan Parties and the Lenders than the terms of the Indebtedness (including,
without limitation, terms relating to the collateral (if any) and subordination (if any)) being
extended, refinanced or modified; and

              (d)    the Indebtedness that is extended, refinanced or modified is not recourse to
any Loan Party or any of its Subsidiaries that is liable on account of the obligations other than
those Persons which were obligated with respect to the Indebtedness that was refinanced, renewed,
or extended.

       “Permitted Restricted Payments” means any of the following Restricted Payments made
by:

                (a)    the Parent (and any Subsidiary of the Parent to the Parent to enable the
Parent) to (i) pay customary expenses as and when due and owing by the Parent or any holding
company thereof in the ordinary course of its business as a holding company (including salaries
and related reasonable and customary expenses incurred by employees of the Parent or such
holding company) in an aggregate amount not to exceed $[550,000] in any Fiscal Year and (ii)
make Tax Distributions to its direct or indirect equityholders;

               (b)     any Subsidiary of any Borrower to Borrower;

              (c)    the Parent (and any Subsidiary of Parent to pay such amounts to the Parent)
to make quarterly cash interest (or dividend) payments in respect of Parent Preferred Equity in

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accordance with the terms of the Parent Company Agreement (as in effect as of the Effective Date
unless Goldman Lenders (or an Affiliate or Related Fund thereof) own the applicable Parent
Preferred Equity as of such date), so long as, both before and after giving effect to any such
payment, no Default or Event of Default shall have occurred and be continuing;

             (d)    the Parent (and any Subsidiary of Parent to pay such amounts to the Parent)
to redeem or repurchase Parent Preferred Equity in accordance with the terms of the Parent
Company Agreement;

                (e)     the Parent to pay dividends in the form of common Equity Interests;

                 (f)    the Parent (and any Subsidiary of Parent to pay such amounts to the Parent)
to pay (i) fees and expenses due and payable to (a) any Person pursuant to the BSP Management
Consulting Agreement (including the BSP Management Fee) as in effect on the Effective Date
(and with respect of any modifications of payment terms or amounts after the Effective Date, as
otherwise consented to by the Required BSP Lenders and Required Goldman Lenders), in each
case, in such amounts and on such terms as set forth in, or as determined in accordance with, the
BSP Management Consulting Agreement, (b) [Jim Eckstaedt] pursuant to the [ ], as in effect on
the Effective Date, and (c) [Riveron] pursuant to the [ ], as in effect on the Effective Date and (ii)
fees and expenses payable to any Person pursuant to any other management, consultancy or similar
agreement or arrangement in effect at any time; provided, that the aggregate amount of Restricted
Payments permitted to be made in any fiscal quarter in reliance on this clause (ii) shall not exceed
$[55,000]; provided, however, that, notwithstanding the foregoing, if the aggregate amount of
Restricted Payments made in any fiscal quarter under this clause (ii) is less than $[55,000], the
difference shall be permitted to be carried forward and may, at the Parent’s election, be paid in any
subsequent fiscal quarter(s)) (in addition to any amounts permitted to be paid in such fiscal quarter
directly in reliance on this clause (ii)); provided, further, that no Restricted Payments shall be paid
in reliance on this clause (ii) in cash in any fiscal quarter unless, both before and after giving effect
to any such payment, no Event of Default shall have occurred and be continuing (provided, that,
to the extent that any such amount is not permitted to be paid in cash at any time as a result of the
foregoing, such amount shall accrue notwithstanding the occurrence and continuance of any Event
of Default, and all such accrued amounts shall be permitted to be paid in cash as of such time as
such Event of Default is no longer continuing, or as of such time that the Required Lenders shall
waive or consent to a forbearance with respect thereto, as the case may be);

                (g)      the Parent (and any Subsidiary of Parent to pay such amounts to the Parent)
to repurchase Parent Preferred Equity or Parent Common Equity from time to time, and on one or
more occasions, in each case, from present or former directors, officers, employees and other
related parties (or their respective spouses, ex-spouses or estates) of any Loan Party or Subsidiary
thereof upon the death, disability, retirement, severance or termination of service of such director,
officer or employee, so long as both before and after giving effect to any cash payment in respect
thereof, no Event of Default shall have occurred and be continuing; provided, that, the aggregate
amount of Restricted Payments permitted to be made in any Fiscal Year in reliance on this clause
(g) shall not exceed $2,000,000 in such Fiscal Year; provided, further, that amounts referred to
herein shall accrue during, and notwithstanding the occurrence and continuance of, any Event of
Default, and all such accrued amounts shall be permitted to be paid in cash as of such time as such

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Event of Default is no longer continuing, or as of such time that the Required Lenders shall waive
or consent to a forbearance with respect thereto, as the case may; and

               (h)    the Parent (and any Subsidiary of Parent to pay such amounts to the Parent)
to make any Restricted Payments authorized or permitted pursuant to or in accordance with the
Parent Company Agreement as in effect as of the Effective Date (unless Goldman Lenders (or an
Affiliate or Related Fund thereof) own the applicable Parent Preferred Equity as of such date)
(subject to compliance with the conditions thereunder (if any) relating to consent rights (if any) of
any BSP Person and/or any Goldman Person, if applicable).

Notwithstanding anything to the contrary herein, if any Parent Preferred Equity is converted to
Indebtedness in accordance with the Parent Company Agreement, then any reference to Parent
Preferred Equity in this definition shall include such Parent Preferred Equity as converted.

         “Permitted Specified Liens” means Permitted Liens described in clauses (a), (b), (c) and
(n) of the definition of Permitted Liens, and, solely in the case of Section 7.01(b)(i), including
clauses (g), (h) and (i) of the definition of Permitted Liens.

        “Person” means an individual, corporation, limited liability company, partnership,
association, joint-stock company, trust, unincorporated organization, joint venture or other
enterprise or entity or Governmental Authority.

        “Petty Cash Accounts” means Cash Management Accounts with deposits at any time in an
aggregate amount not in excess of $50,000 for any one account and $250,000 in the aggregate for
all such accounts.

       “Philippines Account” means any deposit account or other bank account maintained by GC
Services International LLC that is located in the Philippines.

        “PIK Interest” means, when used with respect to any interest accruing on any unpaid
principal of any Loan, which is due and payable pursuant hereto on a Regular Interest Payment
Date in the amount accrued and unpaid as of such time, that, subject to a valid PIK Interest Election
with respect thereto pursuant to Section 2.04(e), such interest in such amount shall not be required
to be paid on such Regular Interest Payment Date in the form of cash, but, shall instead be
permitted to be paid in the form of additional principal of such Loan, in an amount equal to the
amount of the applicable interest payment due at such time, which payment shall be deemed made
automatically (without any requirement for any Loan Party, Agent or any other Person to take any
action or cause anything to occur) at 12:01 a.m. (New York City time) on the applicable Regular
Interest Payment Date, it being agreed that such payment shall occur (and shall be deemed to
occur) pursuant to the amount of such interest payment being deemed automatically capitalized
and compounded onto, and treated as added to, the aggregate principal amount of such Loans
outstanding immediately prior to such Regular Interest Payment Date and payment of such PIK
Interest (and, accordingly, such payment shall also be deemed to be an automatic concurrent
incurrence by the Borrowers of the applicable additional principal amount of such Loans and
Obligations with respect thereto, but without any requirement to deliver any Notice of Borrowing
with respect to such additional Loans, or to comply with any condition precedent that otherwise
applies to the Borrowing of any Loans hereunder from the Lenders). For the avoidance of doubt,
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upon payment of any PIK Interest on any Loans, interest accruing on such Loans as of the time of
such payment shall be calculated on the basis of the aggregate principal amount of such Loans
outstanding as of such time, pro forma for the amount of principal resulting from such payment of
PIK Interest (and the resulting capitalization of the corresponding PIK Interest amount onto the
previously outstanding principal).

       “PIK Interest Election” has the meaning specified therefor in Section 2.04(e).

       “PIK Interest Election Notice” has the meaning specified therefor in Section 2.04(e).

       “PIK Interest Election Period” has the meaning specified therefor in Section 2.04(e).

       “PIK Interest Payment” has the meaning specified therefor in Section 2.04(e).

       “Plan” means any Employee Plan or Multiemployer Plan.

        [“Plan of Reorganization” has the meaning specified therefor in RSA.]

         “Post-Default Rate” means a rate of interest per annum equal to the rate of interest
otherwise in effect from time to time pursuant to the terms of this Agreement plus 2.00%, or, if a
rate of interest is not otherwise in effect, interest at the highest rate specified herein for any Loan
then outstanding prior to an Event of Default plus 2.00%.

        “Pre-Default Payment Waterfall” means, with respect to any payment towards or on
account of any Loan or other Obligation (including any optional or voluntary prepayment, any
mandatory prepayment and otherwise), whether made by any Loan Party or any Agent or other
Person on its behalf, and as relates to any Lender’s right to receive the same, as applicable, pursuant
to the terms set forth in Section 4.03(a) governing the right to make any such payment, and
prescribing the order in which any such payment is to be applied (including with respect to
application to the Loans based on their respective Classes, and application of such payments to
respective Lenders), and the other provisions thereof governing the parties rights and obligations
in connection with any such payments.

         “Prepetition Administrative Borrower” means ORG GC Midco LLC, a Delaware limited
liability company.

       “Prepetition Group” means [ ].

        “Prepetition Loan Parties” means, collectively, the Prepetition Parent, the Prepetition
Administrative Borrower, and certain of the Prepetition Administrative Borrower’s Subsidiaries
party thereto as borrowers and guarantors, as applicable.

      “Prepetition Parent” means ORG GC Holdings, LLC, a Delaware limited liability
company.

       “Prepetition Term Agent” means BSP Agency, as administrative agent and as collateral
agent under the Prepetition Term Financing Agreement.

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        “Prepetition Term Financing Agreement” means that certain Financing Agreement, dated
as of July 31, 2017 (as amended by that certain First Amendment to Financing Agreement, dated
as of September 29, 2017, that certain Second Amendment to Financing Agreement, dated as of
June 27, 2019, and as further amended, supplemented or otherwise modified through to, and as in
effect on, the Petition Date), by and among the Prepetition Loan Parties, the Prepetition Term
Lenders and the Prepetition Term Agent.

        “Prepetition Term Lenders” means the Lenders and/or their respective affiliates who are
party to the Prepetition Term Facility Credit Agreement as lenders thereunder.

       “Projections” means the financial projections of the Parent and its Subsidiaries delivered
pursuant to Section 6.01(g)(ii).

       “Pro Rata Share” means:

               (a)    with respect to each of the following (in each case, as of the applicable time
of determination thereof):

                       (i)    a Lender’s obligation to make its Initial Term Loan, and its right to
receive payments of interest, fees, and principal with respect thereto, the percentage obtained by
dividing (x) such Lender’s Initial Term Loan Commitment by (y) the Total Initial Term Loan
Commitment; provided, that, if the Total Initial Term Loan Commitment is zero ($0.00), such
percentage shall instead be obtained by dividing the aggregate then-outstanding unpaid principal
amount of such Lender’s Initial Term Loans by the aggregate then-outstanding unpaid principal
amount of all Initial Term Loans;

                       (ii)   a Lender’s obligation to make any Delayed Draw Term Loan(s), and
its right to receive payments of interest, fees, and principal with respect thereto, the percentage
obtained by dividing (x) the aggregate amount of such Lender’s Delayed Draw Facility
Commitment remaining plus such Lender’s outstanding Delayed Draw Term Loans by (y) the
Total Delayed Draw Facility Commitment remaining plus the aggregate outstanding amount of all
Delayed Draw Term Loans; provided, that, if the Total Delayed Draw Facility Commitment is
zero ($0.00), such percentage shall instead be obtained by dividing the aggregate then-outstanding
unpaid principal amount of such Lender’s Delayed Draw Term Loans by the aggregate then-
outstanding unpaid principal amount of all Delayed Draw Term Loans; and

                        (iii)   a Lender’s obligation to make any Incremental Facility Loan(s)
under any Incremental Facility for which it has an Incremental Facility Commitment pursuant to
Section 2.12, and its right to receive payments of interest, fees, and principal with respect thereto,
if and to the extent expressed to be payable to Lenders in such Incremental Facility in accordance
with their respective Pro Rata Shares (except as may be otherwise provided pursuant to the
Incremental Facility Amendment establishing such Incremental Facility, or separately agreed by
the applicable parties in accordance therewith), the percentage obtained by dividing (x) such
Lender’s Incremental Facility Commitment, by (y) the Total Incremental Facility Commitment for
such Incremental Facility; provided, that, if the Total Incremental Facility Commitment is zero
($0.00), such percentage shall instead be obtained by dividing the aggregate then-outstanding
unpaid principal amount of Incremental Facility Loans of such Incremental Facility held by such
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Lender by the aggregate then-outstanding unpaid principal amount of all such Incremental Facility
Loans;

                (b)     as to any Lender, and with respect to any matter other than matters set forth
in clauses (a) and (c) (but including for purposes of calculating such Lender’s indemnification
obligations arising under Section 10.05, or determining whether Required Lenders have consented
to, voted in favor of, or taken any other action expressed to any consent, vote or other action by
Required Lenders), the percentage obtained as of the applicable time of determination by dividing
(x) the sum of all unused Commitments of such Lender, and the aggregate then-outstanding unpaid
principal amount of all such Lender’s Loans, by (y) the sum of the unused Total Commitment then
in effect and the aggregate then-outstanding unpaid principal amount of all Loans; and

               (c)   as such term is used in connection with determining the amount or
percentage (if any) of any Eligible Lender’s rights with respect to any Incremental Facility
pursuant to Section 2.12(c), the percentage obtained by dividing (x) such Eligible Lender’s
Effective Date Committed Debt, by (y) the sum of the aggregate amounts of Effective Date
Committed Debt held by all Eligible Lenders;

provided, however, that (A) percentage calculations hereunder shall be carried out to the ninth (9th)
decimal place, and (B) the outstanding or unpaid principal amount of Loans at any time shall
include principal constituting all PIK Interest payments made thereon prior to such time, and shall
be determined in accordance with Section 1.04(c).

        “Purchase Price” means, with respect to any acquisition, an amount equal to the sum of (a)
the aggregate consideration, whether cash, property or securities (including, without limitation, the
fair market value of any Equity Interests of any Loan Party or any of its Subsidiaries issued in
connection with such acquisition), paid or delivered by a Loan Party or any of its Subsidiaries
(whether as initial consideration or through the payment or disposition of deferred consideration,
including, without limitation, in the form of seller financing, royalty payments, payments allocated
towards non-compete covenants, payments to principals for consulting services or other similar
payments) in connection with such Acquisition, plus (b) the aggregate amount of liabilities of the
acquired business (net of current assets of the acquired business) that would be reflected on a
balance sheet (if such were to be prepared) of the Parent and its Subsidiaries after giving effect to
such acquisition, plus (c) the aggregate amount of all transaction fees, costs and expenses incurred
by the Parent or any of its Subsidiaries in connection with such acquisition.

        “Qualified Cash” means, as of any date of determination, the aggregate amount of
unrestricted cash on-hand of the Loan Parties maintained in deposit accounts in the name of a Loan
Party in the United States as of such date, which deposit accounts are subject to Control
Agreements.

       “Qualified Equity Interests” means, with respect to any Person, all Equity Interests of such
Person that are not Disqualified Equity Interests.

       “Rate” refers to the ‘form’ or ‘mechanism’ of the interest rate applicable to any
Indebtedness or other obligation, as the case may be.

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       “Real Property Deliverables” means each of the following agreements, instruments and
other documents in respect of each Facility:

               (a)     a Mortgage duly executed by the applicable Loan Party;

              (b)      evidence of the recording of each Mortgage in such office or offices as may
be necessary or, in the opinion of the Collateral Agent, desirable to perfect the Lien purported to
be created thereby or to otherwise protect the rights of the Collateral Agent and the Lenders
thereunder;

               (c)     a Title Insurance Policy with respect to each Mortgage, dated as of the
Effective Date;

                (d)     a current ALTA survey and a surveyor’s certificate, in form and substance
satisfactory to the Collateral Agent, certified to the Collateral Agent and to the issuer of the Title
Insurance Policy with respect thereto by a professional surveyor licensed in the state in which such
Facility is located and satisfactory to the Collateral Agent;

              (e)     in the case of a leasehold interest, a copy of the lease between the landlord
and such Person with respect to such real property in which such Person has a leasehold interest;

               (f)      if available in the jurisdiction(s) in which any Facility is located, a copy of
each letter issued by the applicable Governmental Authority, evidencing each Facility’s
compliance with all applicable building codes, fire codes, other health and safety rules and
regulations, parking, density and height requirements and other building and zoning laws together
with a copy of all certificates of occupancy issued with respect to each Facility;

               (g)     [reserved];

               (h)    if required by the Collateral Agent, a satisfactory ASTM 1527-00 Phase I
Environmental Site Assessment (“Phase I ESA”) provided by the Borrowers to the Collateral
Agent (and, if requested by the Collateral Agent based upon the results of such Phase I ESA, an
ASTM 1527-00 Phase II Environmental Site Assessment) of each Facility, in form and substance
and by an independent firm satisfactory to the Collateral Agent; and

              (i)    such other agreements, instruments and other documents (including
guarantees and opinions of counsel) as the Collateral Agent may reasonably require.

       “Recipient” means any Agent and any Lender, as applicable.

        “Reference Rate” means, for any period, the greatest of (a) 2.00% per annum, (b) the
Federal Funds Rate plus 0.50% per annum, (c) the LIBOR Rate (which rate shall be calculated
based upon an Interest Period of 1 month and shall be determined on a daily basis) plus 1.00% per
annum, and (d) the rate last quoted by The Wall Street Journal as the “Prime Rate” in the United
States or, if The Wall Street Journal ceases to quote such rate, the highest per annum interest rate
published by the Federal Reserve Board in Federal Reserve Statistical Release H.15 (519)
(Selected Interest Rates) as the “bank prime loan” rate or, if such rate is no longer quoted therein,
any similar rate quoted therein (as determined by the Administrative Agent) or any similar release
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by the Federal Reserve Board (as determined by the Administrative Agent). Each change in the
Reference Rate shall be effective from and including the date such change is publicly announced
as being effective.

        “Reference Rate Loan” means each portion of a Loan that bears interest at a rate determined
by reference to the Reference Rate.

       “Reference Time” has the meaning specified therefor in Section 1.04(b)(i).

       “Register” has the meaning specified therefor in Section 12.07(f).

      “Registered Intellectual Property” means Intellectual Property that is issued, registered,
renewed or the subject of a pending application.

       “Registered Loans” has the meaning specified therefor in Section 12.07(f).

        “Regular Interest Payment Date” means (a) in the case of a Reference Rate Loan, the last
Business Day of each March, June, September and December to occur while such Reference Rate
Loan is outstanding (commencing with the closest such month to occur after such Loan is made
or continued as a Reference Rate Loan, or converted from a LIBOR Rate Loan into a Reference
Rate Loan, as the case may be), and (b) in the case of any LIBOR Rate Loan, the last day of each
Interest Period applicable to such Loan; provided, that, if any Interest Period for a LIBOR Rate
Loan exceeds three (3) months, the respective dates that fall every three (3) months after the
beginning of such Interest Period shall also be the Regular Interest Payment Dates for such LIBOR
Rate Loan (or, if any such date is not a Business Day, the next succeeding Business Day).

       “Regulation T”, “Regulation U” and “Regulation X” mean, respectively, Regulations T, U
and X of the Board or any successor, as the same may be amended or supplemented from time to
time.

       “Related Fund” means, with respect to any Person, any other Person (except a natural
person) that is (a) an Affiliate of such Person, or (b) any partnership, fund or account managed or
advised by such Person (or by an Affiliate of such Person).

        “Release” means any spilling, leaking, pumping, pouring, emitting, emptying, discharging,
injecting, escaping, leaching, seeping, migrating, dumping or disposing of any Hazardous Material
(including the abandonment or discarding of barrels, containers and other closed receptacles
containing any Hazardous Material) into the indoor or outdoor environment, including, without
limitation, the movement of Hazardous Materials through or in the ambient air, soil, surface or
ground water, or property.

       “Relevant Governmental Body” means the Board of Governors of the Federal Reserve
System or the Federal Reserve Bank of New York, or a committee officially endorsed or convened
by the Board of Governors of the Federal Reserve System or the Federal Reserve Bank of New
York, or any successor thereto.

        “Remedial Action” means all actions taken to (a) clean up, remove, remediate, contain,
treat, monitor, assess, evaluate or in any other way address Hazardous Materials in the indoor or
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outdoor environment; (b) prevent or minimize a Release or threatened Release of Hazardous
Materials so they do not migrate or endanger or threaten to endanger public health or welfare or
the indoor or outdoor environment; (c) perform pre-remedial studies and investigations and post-
remedial operation and maintenance activities; or (d) perform any other actions authorized by 42
U.S.C. § 9601.

       “Replacement Lender” has the meaning specified therefor in Section 12.02(b).

       “Report” has the meaning specified therefor in Section 10.13(a).

       “Reportable Event” means an event described in Section 4043 of ERISA (other than an
event not subject to the provision for 30-day notice to the PBGC under the regulations promulgated
under such Section or for which such provision is waived).

        “Required BSP/Goldman Lender Consent Expiry Date” refers to the date determined by
the Administrative Agent pursuant to clauses (b) and (c) of the definition of Required Lenders to
be the earliest or first date after the Effective Date as of which no Lender that is a party hereto at
such time constitutes either a Required BSP Lender or a Required Goldman Lender; provided,
that, for the avoidance of doubt, such date shall be deemed to be the same as the later of (i) the
Required BSP Lender Consent Expiry Date and (ii) the Required Goldman Lender Consent Expiry
Date.

         “Required Lenders” means, as of any time of determination, Lenders whose Pro Rata
Shares as of such time (calculated in accordance with clause (b) of the definition thereof) aggregate
at least 50.1%; provided, however, that:

               (a)    Solely to the extent the Suspension Date has not occurred, if the number of
Unaffiliated Lenders holding Effective Date Committed Debt is two (2) or more, then the
“Required Lenders” as of such time shall be required to include at least two (2) Lenders who are
Unaffiliated Lenders at such time;

                 (b)     during the period commencing on the Effective Date and ending on (and as
of) the first date (the “Required BSP Lender Consent Expiry Date”) that the aggregate amount of
Effective Date Committed Debt held by BSP Lenders who are not Defaulting Lenders represents
less than 34% of all Effective Date Committed Debt held at such time by Lenders who are not
Defaulting Lenders, “Required Lenders” shall be required to include, and consent of Required
Lenders shall not be deemed to have been obtained without the consent of, BSP Lenders who are
not Defaulting Lenders (such BSP Lenders, but only until the Required BSP Lender Consent
Expiry Date, collectively, the “Required BSP Lenders”, and, each individually, a “Required BSP
Lender”); and

                 (c)     during the period commencing on the Effective Date and ending on (and as
of) the first date (the “Required Goldman Lender Consent Expiry Date”) that the aggregate amount
of Effective Date Committed Debt held by Goldman Lenders who are not Defaulting Lenders
represents less than 34% of all Effective Date Committed Debt held at such time by Lenders who
are not Defaulting Lenders, “Required Lenders” shall be required to include, and consent of
Required Lenders shall not be deemed to have been obtained without the consent of, Goldman
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Lenders who are not Defaulting Lenders (such Goldman Lenders, but only until the Required
Goldman Lender Consent Expiry Date, collectively, the “Required Goldman Lenders”, and, each
individually, a “Required Goldman Lender”).

        “Requirements of Law” means, with respect to any Person, collectively, the common law
and all federal, state, provincial, local, foreign, multinational or international laws, statutes, codes,
treaties, standards, rules and regulations, guidelines, ordinances, orders, judgments, writs,
injunctions, decrees (including administrative or judicial precedents or authorities) and the
interpretation or administration thereof by, and other determinations, directives, requirements or
requests of, any Governmental Authority, in each case that are applicable to or binding upon such
Person or any of its property or to which such Person or any of its property is subject.

        “Resignation Effective Date” has the meaning specified therefor in Section 10.07.

         “Reserve Percentage” means, on any day, for any Lender, the maximum percentage
prescribed by the Board (or any successor Governmental Authority) for determining the reserve
requirements (including any basic, supplemental, marginal, or emergency reserves) that are in
effect on such date with respect to eurocurrency funding (currently referred to as “eurocurrency
liabilities”) of that Lender, but so long as such Lender is not required or directed under applicable
regulations to maintain such reserves, the Reserve Percentage shall be zero.

         “Restricted Payment” means (a) the declaration or payment of any dividend or other
distribution, direct or indirect, on account of any Equity Interests of any Loan Party or any of its
Subsidiaries, now or hereafter outstanding, (b) the making of any repurchase, redemption,
retirement, defeasance, sinking fund or similar payment, purchase or other acquisition for value,
direct or indirect, of any Equity Interests of any Loan Party, any Subsidiary thereof or any direct
or indirect parent of any Loan Party, now or hereafter outstanding, (c) the making of any payment
to retire, or to obtain the surrender of, any outstanding warrants, options or other rights for the
purchase or acquisition of shares of any class of Equity Interests of any Loan Party or any of its
Subsidiaries, now or hereafter outstanding, (d) the return of any Equity Interests to any
shareholders or other equity holders of any Loan Party or any of its Subsidiaries, or make any other
distribution of property, assets, shares of Equity Interests, warrants, rights, options, obligations or
securities thereto as such or (e) the payment of any management, consulting, monitoring or
advisory fees or any other fees or expenses (including the reimbursement thereof by any Loan
Party or any of its Subsidiaries) pursuant to any management, consulting, monitoring, advisory or
other services agreement to any of the shareholders or other equityholders of any Loan Party or
any of its Subsidiaries or other Affiliates, or to any other Subsidiaries or Affiliates of any Loan
Party, but not including payments to employees in the ordinary course of business in accordance
with the Loan Parties’ regular payroll or employment practices or otherwise pursuant to
employment agreements entered into with such employees.

       “Restructuring Documents” means, collectively, the RSA, the Plan of Reorganization, the
Chapter 11 Plan Confirmation Order, and any and all other agreements, orders, documents or
instruments relating to the Restructuring Transactions.



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        “Restructuring Transactions” means any and all restructuring, recapitalization and other
transactions relating to the Prepetition Group described in the Restructuring Documents, together
with any and all other transactions consummated in connection therewith.

       “RSA” means that certain Restructuring Support Agreement, dated as of [____], 2021
(together with all annexes, exhibits and other attachments thereto), by and among the Prepetition
Group, certain of the Prepetition Administrative Borrower’s Affiliates, the Prepetition Term
Agent, the Prepetition Term Lenders and certain other persons.

        “Sale and Leaseback Transaction” means, with respect to the Parent or any of its
Subsidiaries, any arrangement, directly or indirectly, with any Person whereby the Parent or any
of its Subsidiaries shall sell or transfer any property used or useful in its business, whether now
owned or hereafter acquired, and thereafter rent or lease such property or other property that it
intends to use for substantially the same purpose or purposes as the property being sold or
transferred.

       “SEC” means the Securities and Exchange Commission or any other similar or successor
agency of the Federal government administering the Securities Act.

       “Second Lien Agent” means BSP Agency, as the administrative agent and as the collateral
agent under the Second Lien Term Loan Agreement, together with its successors and assigns in
such capacities.

      “Second Lien Credit Facility” means the term loan credit facility provided pursuant to the
Second Lien Financing Agreement.

        “Second Lien Financing Agreement” means that certain Second Lien Financing
Agreement, dated as of the date hereof, by and among the Borrowers, as borrowers thereunder, the
Parent and the other Guarantors, as guarantors thereunder, the Second Lien Agent, and the Second
Lien Lenders, as amended, restated, amended and restated, supplemented or otherwise modified
from time to time in accordance with this Agreement and the Intercreditor Agreements.

       “Second Lien Indebtedness” means Indebtedness of the Loan Parties owing to the lenders
and other secured parties under the Second Lien Credit Facility.

       “Second Lien Lender” means, at any time, any Person that is a lender under the Second
Lien Financing Agreement as of such time.

       “Second Lien Loan Documents” means, collectively, the Second Lien Financing
Agreement and the other Loan Documents (as defined in the Second Lien Financing Agreement),
in each case, as amended, restated, amended and restated, supplemented or otherwise modified
from time to time in accordance with this Agreement and the Intercreditor Agreements.

       “Secured Party” means any Agent and any Lender.

         “Securities Act” means the Securities Act of 1933, as amended, or any similar Federal
statute, and the rules and regulations of the SEC thereunder, all as the same shall be in effect from
time to time.
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        “Securitization” has the meaning specified therefor in Section 12.07(l).

        “Security Agreement” means a Pledge and Security Agreement, in form and substance
satisfactory to the Collateral Agent, made by a Loan Party in favor of the Collateral Agent for the
benefit of the Secured Parties securing the Obligations.

       “Senior Lien Debt” means, collectively, the principal of (a) all Initial Term Loans, Delayed
Draw Term Loans and Incremental Facility Loans that are secured on a pari passu basis by a Lien
on Collateral and (b) outstanding ABL Loans. Unless expressly specified otherwise, references to
any Senior Lien Debt as of any time of determination shall be construed as references to aggregate
principal amount thereof outstanding as of such time.

        “SOFR” means a rate per annum equal to the secured overnight financing rate for such
Business Day published by the Federal Reserve Bank of New York (or a successor administrator
of the secured overnight financing rate) on the website of the Federal Reserve Bank of New York,
currently at http://www.newyorkfed.org (or any successor source for the secured overnight
financing rate identified as such by the administrator of the secured overnight financing rate from
time to time).

        “Solvent” means, with respect to any Person on a particular date, that on such date (a) the
fair value of the property of such Person is not less than the total amount of the liabilities of such
Person, (b) the present fair salable value of the assets of such Person is not less than the amount
that will be required to pay the probable liability of such Person on its existing debts as they
become absolute and matured, (c) such Person is able to realize upon its assets and pay its debts
and other liabilities, contingent obligations and other commitments as they mature in the normal
course of business, (d) such Person does not intend to, and does not believe that it will, incur debts
or liabilities beyond such Person’s ability to pay as such debts and liabilities mature, and (e) such
Person is not engaged in business or a transaction, and is not about to engage in business or a
transaction, for which such Person’s property would constitute unreasonably small capital.

       “Specified Event of Default” means any Event of Default pursuant to Section 9.01(a),
Section 9.01(f) or Section 9.01(g).

        “Specified Financial Covenant” has the meaning specified therefor in Section 9.02.

     “Standard & Poor’s” means Standard & Poor’s Ratings Services, a division of The
McGraw-Hill Companies, Inc. and any successor thereto.

         “Subsidiary” means, with respect to any Person at any date, any corporation, limited or
general partnership, limited liability company, trust, estate, association, joint venture or other
business entity (a) the accounts of which would be consolidated with those of such Person in such
Person’s consolidated financial statements if such financial statements were prepared in
accordance with GAAP or (b) of which more than 50% of (i) the outstanding Equity Interests
having (in the absence of contingencies) ordinary voting power to elect a majority of the Board of
Directors of such Person, (ii) in the case of a partnership or limited liability company, the interest
in the capital or profits of such partnership or limited liability company or (iii) in the case of a
trust, estate, association, joint venture or other entity, the beneficial interest in such trust, estate,
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association or other entity business is, at the time of determination, owned or controlled directly
or indirectly through one or more intermediaries, by such Person. References to a Subsidiary shall
mean a Subsidiary of the Parent unless the context expressly provides otherwise.

        “Subordinated Indebtedness” means unsecured Indebtedness of any Loan Party the terms
of which (including, without limitation, payment terms, interest rates, covenants, remedies,
defaults and other material terms) are satisfactory to the Collateral Agent and the Required Lenders
and which has been expressly subordinated in right of payment to all Indebtedness of such Loan
Party under the Loan Documents (a) by the execution and delivery of a subordination agreement,
in form and substance satisfactory to the Collateral Agent and Required Lenders, or (b) otherwise
on terms and conditions satisfactory to the Collateral Agent and Required Lenders.

        “Suspension Date” means, and shall be deemed to occur upon, the first date after the
Effective Date that the aggregate amount of Effective Date Committed Debt held by Goldman
Lenders who are not Defaulting Lenders represents less than 17% of all Effective Date Committed
Debt held at such time by Lenders who are not Defaulting Lenders.

        “Tax Distributions means, for any period that Parent is treated as a pass-through entity
under the Code, distributions made to the holders of Parent’s equity interests at such times and in
such amounts as are permitted under Section 13.1 of the Parent Company Agreement, as in effect
on the date hereof.

        “Taxes” means all present or future taxes, levies, imposts, duties, deductions, withholdings
(including backup withholding), assessments, fees or other charges imposed by any Governmental
Authority, including any interest, additions to tax or penalties applicable thereto.

       “Termination Date” means the first date on which all of the Obligations are paid in full in
cash and the Commitments of the Lenders are terminated.

        “Termination Event” means (a) a Reportable Event with respect to any Employee Plan, (b)
any event with respect to an Employee Plan that causes any Loan Party or any of its ERISA
Affiliates to incur material liability under Section 409, 502(i), 502(l), 515, 4062, 4063, 4064, 4069,
4201, 4204 or 4212 of ERISA or Section 4971 or 4975 of the Internal Revenue Code, (c) the filing
of a notice of intent to terminate an Employee Plan or the treatment of an Employee Plan
amendment as a termination under Section 4041 of ERISA, (d) the institution of proceedings by
the PBGC to terminate an Employee Plan, or (e) any other event or condition that could reasonably
be expected to constitute grounds under Section 4042 of ERISA for the termination of, or the
appointment of a trustee to administer, any Employee Plan.

       “Term Intercreditor Agreement” means the 1L/2L Term Intercreditor Agreement, dated as
of the date hereof, by and among the Collateral Agent and the Second Lien Agent, and
acknowledged by the Loan Parties, as amended, restated, amended and restated, supplemented or
otherwise modified from time to time in accordance with the terms thereof.

         “Term Loan” means, collectively, (i) the Initial Term Loan and (ii) the Delayed Draw Term
Loans.

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        “Term Loan Obligations” means any Obligations with respect to the Term Loan (including,
without limitation, the principal thereof, the interest thereon, and the fees and expenses specifically
related thereto).

        “Term Priority Collateral” means “Term Priority Collateral” as defined in the ABL/Term
Intercreditor Agreement.

        “Term SOFR” means, for the applicable corresponding tenor, the forward-looking term
rate based on SOFR that has been selected or recommended by the Relevant Governmental Body.

        “Title Insurance Policy” means a mortgagee’s loan policy, in form and substance
satisfactory to the Collateral Agent, together with all endorsements made from time to time thereto,
issued to the Collateral Agent by or on behalf of a title insurance company selected by or otherwise
satisfactory to the Collateral Agent, insuring the Lien created by a Mortgage in an amount and on
terms and with such endorsements satisfactory to the Collateral Agent, delivered to the Collateral
Agent.

        “Total Commitment” means, as of any time, the aggregate amount of all Commitments of
all Lenders in effect at such time. For the avoidance of doubt, (a) on the Effective Date, the Total
Commitment is the same as the Total Effective Date Commitment, and (b) whenever an
Incremental Facility exists hereunder, the Total Commitment will include the Total Incremental
Facility Commitment for such Incremental Facility.

        “Total Delayed Draw Facility Commitment” refers to the sum of the amounts of the
Delayed Draw Facility Commitments, taken as a whole, and means (a) as of the Effective Date,
and at all times until any Delayed Draw Term Loan is made, $5,000,000 or (b) upon and as of the
making of any Delayed Draw Term Loan(s), amount equal to the sum of Delayed Draw Facility
Commitments as of such time.

         “Total Effective Date Commitment” means an amount equal to sum of the amount of the
Total Initial Term Loan Commitment and the Total Delayed Draw Facility Commitment in effect
prior to the time that any Loan is made (calculated using the Dollar amounts referred to in clause
(a) of the definitions of such terms).

        “Total Incremental Facility Commitment” means, with respect to any Incremental Facility,
the sum of all Lenders’ Incremental Facility Commitments for such Incremental Facility. As of
the Effective Date, the Total Incremental Facility Commitment is zero ($0.00).

        “Total Initial Term Loan Commitment” refers to the sum of the Initial Term Loan
Commitments of all Lenders as of any time, taken as a whole, and means (a) $71,000,000 (until
the time that Initial Term Loans are deemed made on the Effective Date in accordance herewith)
or (b) $0.00 (as of, and at all times after, the Initial Term Loans are deemed to be made on the
Effective Date in accordance herewith).

       “Total Secured Debt Leverage Ratio” means, with respect to the Borrowers and their
Subsidiaries, the ratio of: (a) (i) the sum of the aggregate amount of the Borrowers’ and their
Subsidiaries’ Senior Lien Debt and Junior Lien Debt outstanding as of such time, minus (ii) the

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aggregate amount of unrestricted cash and Cash Equivalents maintained by the Loan Parties in an
account located in the United States subject to a Control Agreement not to exceed $5,000,000
(provided that proceeds of any borrowing on such date shall be excluded from unrestricted cash
and Cash Equivalents) to (b) Consolidated EBITDA for the most recently completed four fiscal
quarters of the Borrowers for which financial statements have been furnished pursuant to Section
7.01(a).

        “Total Senior Lien Leverage Ratio” means, with respect to the Borrowers and their
Subsidiaries (if used in connection with (x) the determination of the Applicable ECF Percentage,
for the 12 consecutive fiscal months ending on the applicable measurement date, and (y) any other
matter, as of the last Business Day of the full fiscal quarter ending immediately prior to the
applicable date of determination for which financial statements have been delivered) the ratio of
(a) (i) the aggregate amount of the Borrowers’ Senior Lien Debt of the Borrowers and their
Subsidiaries outstanding as of such time, minus (ii) the aggregate amount of unrestricted cash and
Cash Equivalents maintained by the Loan Parties in an account located in the United States subject
to a Control Agreement not to exceed $5,000,000 (provided that proceeds of any borrowing on
such date shall be excluded from unrestricted cash and Cash Equivalents) to (b) Consolidated
EBITDA for the most recently completed four fiscal quarters of the Borrowers for which financial
statements have been furnished pursuant to Section 7.01(a).

        “tranche” means, with respect to any Class of Loans, a principal amount of Loans within
such Class that are outstanding on identical terms, which principal amount constitutes a portion,
but not the entire principal amount, of Loans comprised in such Class (and each separate portion
representing Loans having other terms shall be a separate tranche); provided, that any Class of
Loans comprised entirely of Loans having identical terms shall be deemed to be a Class with only
one tranche of Loans; provided, further, that, whenever any provision of this Agreement or any
other Loan Document identifies or is expressed to apply to any Loan(s) only by reference to Class,
but without making any distinction between any Loans within such Class on the basis of their
respective terms, such provision shall be deemed to apply to all Loans within such Class on the
same basis, and each Loan in such Class shall be treated equally pursuant to such provision,
notwithstanding that any such Loans belong to different tranches for any other purpose or in any
other context.

       “Transferee” has the meaning specified therefor in Section 2.09(a).

         “Type”, when used in respect of any Loan or Borrowing, shall refer to the specific type of
fixed, floating/variable or other (if any is applicable in accordance with the terms hereof) reference
interest Rate applicable thereto, which shall be (a) the LIBOR Rate, (b) the Reference Rate, or (c)
any Other Rate. For the avoidance of doubt, all LIBOR Rate Loans comprising the same
Borrowing shall be deemed to be Loans of the same Type, and all Reference Rate Loans
comprising the same Borrowing shall be deemed to be Loans of the same Type (and such Type
shall be deemed to be different to the Type of the foregoing LIBOR Rate Loans), and (iii) the Type
of Other Rate Loans shall be designated in the definitive documents governing the applicable
Borrowing thereof.

       “UK Act” has the meaning specified therefor in Section 6.01(aa).

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       “Unaffiliated Lenders” means, as used with respect to a group of Lenders, Lenders in such
group who are not Affiliates, Controlled Investment Affiliates or Related Funds of one another.

       “Uniform Commercial Code” or “UCC” has the meaning specified therefor in
Section 1.04(c).

       “USA PATRIOT Act” means the Uniting and Strengthening America by Providing
Appropriate Tools Required to Intercept and Obstruct Terrorism (PATRIOT) Act of 2001 (Title
III of Pub. L. 107-56, Oct. 26, 2001)) as amended by the USA Patriot Improvement and
Reauthorization Act of 2005 (Pub. L. 109-177, March 9, 2006) and as the same may have been or
may be further renewed, extended, amended, or replaced.

       “U.S. Person” means any Person that is a “United States Person” as defined in Section
7701(a)(30) of the Code.

        “WARN” has the meaning specified therefor in Section 6.01(p).

        “Withholding Agent” means any Loan Party and the Administrative Agent.

        “Working Capital” means, at any date of determination thereof, (a) the sum, for any Person
and its Subsidiaries, of (i) the unpaid face amount of all Accounts of such Person and its
Subsidiaries as at such date of determination, plus (ii) the aggregate amount of prepaid expenses
and other current assets of such Person and its Subsidiaries as at such date of determination (other
than cash, Cash Equivalents and any Indebtedness owing to such Person or any of its Subsidiaries
by Affiliates of such Person), minus (b) the sum, for such Person and its Subsidiaries, of (i) the
unpaid amount of all accounts payable of such Person and its Subsidiaries as at such date of
determination, plus (ii) the aggregate amount of all accrued expenses of such Person and its
Subsidiaries as at such date of determination (other than the current portion of long-term debt and
all accrued interest and taxes).

         Section 1.02 Terms Generally. The definitions of terms herein shall apply equally to the
singular and plural forms of the terms defined. Whenever the context may require, any pronoun
shall include the corresponding masculine, feminine and neuter forms. The words “include”,
“includes” and “including” shall be deemed to be followed by the phrase “without limitation”.
The word “will” shall be construed to have the same meaning and effect as the word “shall”.
Unless the context requires otherwise, (a) any definition of or reference to any agreement,
instrument or other document herein shall be construed as referring to such agreement, instrument
or other document as from time to time amended, supplemented or otherwise modified (subject to
any restrictions on such amendments, supplements or modifications set forth herein), (b) any
reference herein to any Person shall be construed to include such Person’s successors and assigns,
(c) the words “herein”, “hereof” and “hereunder”, and words of similar import, shall be construed
to refer to this Agreement in its entirety and not to any particular provision hereof, (d) all references
herein to Articles, Sections, Exhibits and Schedules shall be construed to refer to Articles and
Sections of, and Exhibits and Schedules to, this Agreement and (e) the words “asset” and
“property” shall be construed to have the same meaning and effect and to refer to any right or
interest in or to assets and properties of any kind whatsoever, whether real, personal or mixed and
whether tangible or intangible.
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        Section 1.03 Certain Matters of Construction. References in this Agreement to
“determination” or “calculation” by any Agent include good faith and commercially reasonable
estimates by such Agent (in the case of quantitative determinations) and good faith and
commercially reasonable beliefs by such Agent (in the case of qualitative determinations). A
Default or Event of Default shall be deemed to exist at all times during the period commencing on
the date that such Default or Event of Default occurs to the date on which such Default or Event
of Default is waived in writing pursuant to this Agreement or, in the case of a Default, is cured
within any period of cure expressly provided for in this Agreement; and an Event of Default shall
“continue” or be “continuing” until such Event of Default has been waived in writing by the
Required Lenders (or such other Lenders as required herein). Any Lien referred to in this
Agreement or any other Loan Document as having been created in favor of any Agent, any
agreement entered into by any Agent pursuant to this Agreement or any other Loan Document,
any payment made by or to or funds received by any Agent pursuant to or as contemplated by this
Agreement or any other Loan Document, or any act taken or omitted to be taken by any Agent,
shall, unless otherwise expressly provided, be created, entered into, made or received, or taken or
omitted, for the benefit or account of the Agents and the Lenders. Wherever the phrase “to the
knowledge of any Loan Party” or words of similar import relating to the knowledge or the
awareness of any Loan Party are used in this Agreement or any other Loan Document, such phrase
shall mean and refer to the actual knowledge of a senior officer of any Loan Party. All covenants
hereunder shall be given independent effect so that if a particular action or condition is not
permitted by any of such covenants, the fact that it would be permitted by an exception to, or
otherwise within the limitations of, another covenant shall not avoid the occurrence of a default if
such action is taken or condition exists. In addition, all representations and warranties hereunder
shall be given independent effect so that if a particular representation or warranty proves to be
incorrect or is breached, the fact that another representation or warranty concerning the same or
similar subject matter is correct or is not breached will not affect the incorrectness of a breach of
a representation or warranty hereunder.

       Section 1.04 Accounting and Other Terms.

                (a)     All accounting terms not specifically or completely defined herein shall be
construed in conformity with, and all financial data (including financial ratios and other financial
calculations) required to be submitted to the Administrative Agent or the Lenders pursuant to this
Agreement shall be prepared in conformity with, GAAP (including the impact of “fresh start”
accounting under Accounting Standards Codification 852), applied in a manner materially
consistent with that used in preparing the Financial Statements, except as otherwise specifically
prescribed herein. For purposes of determining compliance with any incurrence or expenditure
tests set forth in this Agreement (including Section 7.01, Section 7.02 and Section 7.03), any
amounts so incurred or expended (to the extent incurred or expended in a currency other than
Dollars) shall be converted into Dollars on the basis of the exchange rates (as shown on the
Bloomberg currency page for such currency or, if the same does not provide such exchange rate,
by reference to such other publicly available service for displaying exchange rates as may be
reasonably selected by the Agents or, in the event no such service is selected, on such other basis
as is reasonably satisfactory to the Agents) as in effect on the date of such incurrence or
expenditure under any provision of any such Section that has an aggregate Dollar limitation
provided for therein (and to the extent the respective incurrence or expenditure test regulates the

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aggregate amount outstanding at any time and it is expressed in terms of Dollars, all outstanding
amounts originally incurred or spent in currencies other than Dollars shall be converted into
Dollars on the basis of the exchange rates (as shown on the Bloomberg currency page for such
currency or, if the same does not provide such exchange rate, by reference to such other publicly
available service for displaying exchange rates as may be reasonably selected by the Agents or, in
the event no such service is selected, on such other basis as is reasonably satisfactory to the Agents)
as in effect on the date of any new incurrence or expenditures made under any provision of any
such Section that regulates the Dollar amount outstanding at any time). Unless expressly specified
otherwise herein, each reference in this Agreement or in any other Loan Document to (x) any
“cash”, any “monies” or “money”, or any “funds” (or to any amount thereof) shall be construed as
a reference to Dollars (and such amount in Dollars), and such terms shall be deemed to be used
interchangeably but with the same meaning in each case, and (y) any “payment” or “funding” to
any Person (or any form or manner of any payment or funding, as the case may be) shall be
construed as requiring a transfer or other delivery to such Person of Dollars of the applicable
amount in cash, and (except in the case of PIK Interest, but solely to the limited extent expressly
provided herein), nothing payable by any Loan Party or any of its Subsidiaries hereunder or on
account of any Obligations shall be permitted to be paid “in kind”, or in any other form or currency
except in Dollars. Notwithstanding the foregoing, (i) with respect to the accounting for leases as
either operating leases or capital leases and the impact of such accounting in accordance with
FASB ASC 840 or 842 on the definitions and covenants herein, GAAP as in effect on the Effective
Date shall be applied and (ii) for purposes of determining compliance with any covenant (including
the computation of any financial covenant) contained herein, Indebtedness of the Parent and its
Subsidiaries shall be deemed to be carried at 100% of the outstanding principal amount thereof,
and the effects of FASB ASC 825 and FASB ASC 470-20 on financial liabilities shall be
disregarded.

               (b)    Subject to clause (ii) hereof, and unless expressly specified otherwise
elsewhere in this Agreement:

                        (i)    All references in the Loan Documents to (A) the “amount”,
“principal amount” or “face amount” of any Loan or other Obligation, or any other Indebtedness
referred to herein, shall be construed have the same meaning and effect, and shall be deemed to
refer to the “outstanding” amount thereof as of the applicable time and/or date of determination
(each, a “Reference Time”), and (B) the “outstanding” amount of any Indebtedness shall be (x) the
amount thereof as of the applicable time of determination that has not been previously paid by the
obligors thereof (which shall be the Loan Parties in the case of any Loan or other Obligation) to
the creditors or other beneficiaries thereof or Persons entitled to the same pursuant to the terms of
such Indebtedness (which shall be one or more Lenders, or other Secured Parties or Persons
determined in accordance with the Loan Documents) and remains owing (or shall become
payable), and (y) valued as the accreted value thereof (in the case of any Indebtedness issued with
original issue discount), or the principal amount or liquidation preference thereof (in the case of
any Indebtedness not issued with original issue discount); provided, that, without limiting clause
(ii) below, whenever calculating the amount of any specific payment of any Obligation that any
Loan Party is required to pay at any specified time, and whenever determining any Lender’s Pro
Rata Share, the “amount” of the relevant Loan and/or other Obligation shall be calculated pro
forma for all PIK Interest paid at any time prior to such Reference Time.

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                         (ii)    For purposes of calculating the amount of any Loans or other
Indebtedness (including any Indebtedness referred to in the definition of Permitted Indebtedness,
as applicable) as of any time for purposes of determining compliance with, and/or calculating the
amount of additional Indebtedness and/or Liens permitted to be incurred at such time pursuant to
any test governing incurrence of Indebtedness and/or Liens (including and any Incremental
Facility or Second Lien Debt, or any other incurrence test set forth in Section 2.12, Section 7.02
or any other provision of this Agreement, any Intercreditor Agreement or any other Loan
Document (as applicable)), including any test or provision that limits such incurrence by express
reference to a Dollar amount of Indebtedness (or any “outstanding” amount), or that indirectly
limits the Dollar amount of any Indebtedness or Liens that may be incurred by conditioning the
same on compliance with a specified level pursuant to a leverage ratio based test or any other ratio-
based test that is affected by the amount of any Indebtedness, or any costs associated therewith
(including any “fixed charge coverage ratio” or “interest coverage ratio” test), (A) the “amount”
or “outstanding amount” of any Indebtedness for purposes of a provision pursuant to which
Indebtedness is sought to be incurred or permitted shall include amounts actually outstanding
resulting from accrual or payment of any interest thereon (including PIK Interest hereunder and
any interest paid “in-kind” on any other Indebtedness), accrual of dividends, the accretion of
accreted value, the accretion or amortization of original issue discount, the payment of any fees or
other amounts “in-kind” thereunder in the form of additional principal of such Indebtedness, the
payment of dividends in the form of additional shares of any preferred stock or other equity
interests, or the reclassification of commitments or obligations not treated as Indebtedness due to
a change in GAAP (the foregoing, collectively, “Non-Funded Debt”), and (B) following such
initial incurrence, if any such Indebtedness accrues or arises under any Non-Funded Debt, the same
shall not be deemed to be an “incurrence” of such Indebtedness for purposes of Sections 2.12, 7.02
or any other provision that limits the amount of such Indebtedness that may be incurred, or be
permitted to exist or be outstanding at any time hereunder, and all Non-Funded Debt and Liens
thereon shall be deemed to be permitted hereunder pursuant to Section 7.02, and clause (p) of the
definition of Permitted Indebtedness (and, if secured, clause (r) of the definition of Permitted
Liens).

                (c)    All terms used in this Agreement which are defined in Article 8 or Article
9 of the Uniform Commercial Code as in effect from time to time in the State of New York (the
“Uniform Commercial Code” or the “UCC”) and which are not otherwise defined herein shall
have the same meanings herein as set forth therein, provided that terms used herein which are
defined in the Uniform Commercial Code as in effect in the State of New York on the date hereof
shall continue to have the same meaning notwithstanding any replacement or amendment of such
statute except as any Agent may otherwise determine

                (d)    The aggregate principal amount (if any) of any Loan that any Lender shall
be required to fund on any specified Borrowing Date (to the extent requested by the Borrowers in
accordance with the terms hereof) shall not exceed such Lender’s Commitment relating to such
Class of Loans, determined as of the requested Borrowing Date but after taking into account (and
net of) the aggregate principal amount of all Loans previously funded by such Lender under such
Commitment, and the corresponding reduction to the amount of such Commitment resulting
therefrom, and, accordingly, any reference herein or in any other Loan Document to any Lender’s
“unfunded”, “undrawn”, “unutilized” or “remaining” Commitment at or as of any time shall be

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construed in accordance with the foregoing, and such Lender shall not at any time be required to
fund any amount of Loans exceeding its then-unfunded Commitment therefor.

        Section 1.05 Time References. Unless otherwise indicated herein, all references to time
of day refer to Eastern Standard Time or Eastern daylight saving time, as in effect in New York
City on such day. For purposes of the computation of a period of time from a specified date to a
later specified date, (i) the word “from” any specified date, time or other reference point, as
applicable, means “from and including” such date, time or other reference point, as applicable (and
the words “as of” any specified date, time or other reference point, as applicable, shall be construed
have the same meaning and effect as the foregoing, and to require any determination to be made
in the same manner), and (ii) the words “to”, “through to”, and “until” any specified date, time or
other reference point, as applicable, each means “to but excluding” such date, time or other
reference point; provided, however, that with respect to a computation of fees or interest payable
to any Secured Party, such period shall in any event consist of at least one full day.

       Section 1.06 Classification of Loans and Borrowings.

              (a)     Loans may be classified and referred to by (i) Class (e.g., an “Initial Term
Loan”, a “Delayed Draw Term Loan”, and “Incremental Facility Loan”), (ii) Type (e.g., a “LIBOR
Rate Loan”, a “Reference Rate Loan”, an “Other Rate Loan”) or (iii) Class and Type (e.g., a
“LIBOR Rate Initial Term Loan”, a “LIBOR Rate Delayed Draw Term Loan”, a “LIBOR Rate
Incremental Facility Loan”, a “Reference Rate Loan Initial Term Loan”, a “Reference Rate
Delayed Draw Term Loan”, a “Reference Rate Incremental Facility Loan”, an “Other Rate
Incremental Facility Loan”).

              (b)    Borrowings also may be classified and referred to by (i) Class (e.g., an
“Initial Term Loan Borrowing”, a “Delayed Draw Term Loan Borrowing”, an “Incremental
Facility Loan Borrowing”), (ii) Type (e.g., a “LIBOR Rate Borrowing”, a “Reference Rate
Borrowing”, an “Other Rate Borrowing”) or (iii) Class and Type (e.g., a “LIBOR Rate Initial Term
Loan Borrowing”, a “LIBOR Rate Delayed Draw Term Loan Borrowing”, a “LIBOR Rate
Incremental Facility Loan Borrowing”, a “Reference Rate Initial Term Loan Borrowing”, a
“Reference Rate Delayed Draw Term Loan Borrowing”, a “Reference Rate Incremental Facility
Loan Borrowing”, an “Other Rate Incremental Facility Loan Borrowing”).

                                           ARTICLE II

                                           THE LOANS

       Section 2.01 Commitments.

               (a)    Initial Term Loan Commitments. Subject to the terms and conditions, and
relying upon the representations and warranties set forth herein, each Initial Term Loan Lender
hereby agrees that, automatically and immediately upon the Effective Date occurring, it shall
hereby be deemed to have made a term loan to the Borrowers pursuant to this Section 2.01(a) (an
“Initial Term Loan”) in an aggregate principal amount equal to such Initial Term Loan Lender’s
Initial Term Loan Commitment (such Initial Term Loan Lender’s Initial Term Loan, together with

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the Initial Term Loans of the other Initial Term Loan Lenders, collectively, the “Initial Term
Loans”).

                (b)     Immediately and automatically upon the deemed making by each Lender of
its Initial Term Loan on the Effective Date, (i) such Lender’s Initial Term Loan Commitment shall
permanently terminate, and shall be deemed extinguished, cancelled, and discharged in full, and
(ii) to the extent required or applicable in connection with the Restructuring Transactions, such
Lender’s Existing Term Obligations and/or DIP Claims, or portion thereof (as applicable and
determined in accordance with the Restructuring Documents) shall be (and shall be deemed to be)
satisfied and discharged (or shall be deemed exchanged for, and refinanced with the proceeds
deemed hereby to have been provided under, the Initial Term Loans, in each case, as determined
pursuant to the Restructuring Documents). The Total Initial Term Loan Commitment shall be
automatically reduced to zero and terminated when the Initial Term Loans are deemed made
hereunder.

               (c)     Initial Term Loans shall be deemed to have been made and incurred as
described herein automatically by operation of law and pursuant to the contract hereunder and
under the Restructuring Documents, and pursuant to the Chapter 11 Plan, and the Bankruptcy
Court orders in the Chapter 11 Cases, as applicable. Initial Term Loans shall be made on a
“cashless” basis, and no Initial Term Loan Lender shall be required to fund or transfer any cash in
connection therewith, or as a condition to the incurrence by the Borrowers of Indebtedness and
other Obligations in respect thereof.

               (d)     The Initial Term Loans, and the Initial Term Loan Lenders’ agreements and
commitments hereunder, shall be deemed to satisfy and discharge certain obligations of the
Lenders and/or their Affiliates under the Restructuring Documents, and shall constitute additional
consideration for certain benefits received by them in connection with the Restructuring
Transactions, as applicable.

               (e)    Delayed Draw Facility Commitments. Subject to the terms and conditions
hereof, and relying upon the representations and warranties set forth herein, each Delayed Draw
Term Loan Lender severally (and not jointly) agrees to, if requested by the Borrowers, make a
term loan to the Borrowers during the Delayed Draw Facility Commitment Period in an aggregate
principal amount not to exceed such Delayed Draw Term Loan Lender’s Delayed Draw Facility
Commitment (as in effect on the requested Borrowing Date, but calculated prior to the making by
such Delayed Draw Term Loan Lender of any Delayed Draw Term Loan thereon) (a “Delayed
Draw Term Loan” and, together with all term loans extended by the other Delayed Draw Term
Loan Lenders pursuant to this Section 2.01(e), collectively, the “Delayed Draw Term Loans”),
which Delayed Draw Term Loan shall be made by such Delayed Draw Term Loan Lender, at the
Borrowers’ request, in a single draw advanced on one Borrowing Date or in multiple draws, on
one or more Borrowing Dates requested by the Borrowers; provided, that each draw shall be in a
minimum amount equal to the lesser of (x) such Delayed Draw Term Loan Lender’s Delayed Draw
Facility Commitment and (y) $100,000, and in integral multiples of $10,000 (or such other
amounts as agreed to by the Administrative Agent).

             (f)    Immediately and automatically upon the making by such Delayed Draw
Term Loan Lender of any Delayed Draw Term Loan on any Borrowing Date, such Delayed Draw
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Term Loan Lender’s Delayed Draw Facility Commitment shall be permanently reduced, on a
dollar-for-dollar basis, by an amount equal to the aggregate principal amount of the Delayed Draw
Term Loan made by such Delayed Draw Term Loan Lender thereon. The Total Delayed Draw
Facility Commitment shall be permanently reduced automatically upon the making of Delayed
Draw Term Loans by the Delayed Draw Term Loan Lenders hereunder, on a dollar-for-dollar
basis, by an amount equal to the aggregate principal amount of all Delayed Draw Term Loans
made by the Delayed Draw Term Loan Lenders. For the avoidance of doubt, each Delayed Draw
Term Loan Lender’s agreement to make any Delayed Draw Term Loan, as described above, shall
automatically terminate and shall cease to be binding on, or enforceable against, such Delayed
Draw Term Loan Lender automatically upon the occurrence of the Delayed Draw Facility
Commitment Period End Date, and such Delayed Draw Term Loan Lender’s Delayed Draw
Facility Commitment shall also be (and shall be deemed to be) permanently reduced to zero
($0.00), and terminated, cancelled and extinguished in full, automatically and immediately as of
such time.

               (g)   Incremental Facility Commitments. Any commitment, agreement or
obligation of any Lender with an Incremental Facility Commitment to make any Incremental
Facility Loan under any Incremental Facility established after the Effective Date in
accordance with Section 2.12 and as otherwise permitted by this Agreement, shall be set
forth in, and governed by, and shall be subject to the terms and conditions of, the
Incremental Facility Amendment relating to such Incremental Facility, and the applicable
provisions of this Agreement. Accordingly, no Lender shall be (or shall be deemed to be)
required to make any Incremental Facility Loan except if, and solely to the extent, required
by, and made in accordance with, and subject to the terms and conditions of, and in
reliance on the Loan Parties’ agreements, representations, warranties and covenants set
forth in, such Incremental Facility Amendment.

              (h)     Re-borrowings.    Once repaid, prepaid or otherwise discharged in
accordance with the terms hereof, no Loan (or any portion thereof) may be reborrowed.

         Section 2.02 Making the Loans. (a) (i) The Administrative Borrower shall be deemed to
have requested (on behalf of the Borrowers, taken as a whole) Initial Term Loans from the Initial
Term Loan Lenders in an aggregate principal amount equal to the Total Initial Term Loan
Commitment automatically pursuant to the deemed making of such Loans pursuant to Section
2.01(a), and delivery of a Notice of Borrowing shall not constitute a condition precedent to the
effectiveness of the Borrowers’ request (or deemed request) for such Initial Term Loans, or be
required in connection with the making and Borrowing (or deemed making and Borrowing) of
Initial Term Loans pursuant to Section 2.01(a); provided, that the Administrative Borrower may,
at its sole option, elect to deliver a Notice of Borrowing for the Initial Term Loans notwithstanding
the absence of a requirement to do so pursuant to the foregoing, and, so long as such Notice of
Borrowing is delivered to the Administrative Agent not later than the Effective Date, the terms set
forth therein shall be deemed to govern the Initial Term Loans, notwithstanding any conflict
between the terms thereof and hereof (including Section 2.07) with respect to the election of
Reference Rate Loans or LIBOR Rate Loans (or the Interest Period election).

                        (ii)    The Administrative Borrower shall give the Administrative Agent
prior written notice (in substantially the form of Exhibit C hereto (a “Notice of Borrowing”), which
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may be delivered via e-mail or as otherwise permitted hereunder) of its request for a Borrowing of
any Loan available to be borrowed at any time hereunder (except the Initial Term Loans, which
shall be governed by Section 2.02(a)(i)) not later than 12:00 noon (New York City time) on the
date which is 3 Business Days prior to the proposed Borrowing Date for such Loan (or such shorter
period as the Administrative Agent is willing to accommodate from time to time); provided, that
the foregoing shall, in the case of any proposed Borrowing of Incremental Facility Loans at any
time (if any Incremental Facility shall exist at such time), be subject to the terms of the Incremental
Facility Amendment applicable thereto and any other provisions hereof relating thereto. Such
Notice of Borrowing shall be irrevocable and shall specify (i) the aggregate principal amount of
the proposed Loan; provided, that no Notice of Borrowing shall be valid or effective with respect
to any Borrowing unless the Total Commitment for the requested Class of Loans is equal to or
greater than the aggregate principal amount of such Loan, (ii) whether the Loan is requested to be
a Reference Rate Loan or a LIBOR Rate Loan and, in the case a LIBOR Rate Loans, the initial
Interest Period with respect thereto (and, if the LIBOR Option is so elected, the Administrative
Borrower shall also comply with the applicable provisions of Section 2.07), (iii) the proposed
Borrowing Date, which must be a Business Day, and (iv) the wire instructions for the account to
which funds in respect of the requested Loan should be transferred (or, if the Borrowers desire that
more than one Person shall receive any portion of such funds, wire instructions for each such
recipient’s account and the amount to be transferred thereto). The Administrative Agent and the
Lenders may act without liability upon the basis of any written, e-mail, telecopied or telephonic
notice (including any Notice of Borrowing and any LIBOR Notice delivered pursuant to Section
2.07) believed by the Administrative Agent in good faith to be from the Administrative Borrower
(or from any Authorized Officer thereof designated in writing purportedly from the Administrative
Borrower to the Administrative Agent). The Administrative Agent and each Lender shall be
entitled to rely conclusively on any Authorized Officer’s authority to request a Loan on behalf of
the Borrowers until the Administrative Agent receives written notice to the contrary. The
Administrative Agent and the Lenders shall have no duty to verify the authenticity of the signature
appearing on any Notice of Borrowing or any other notice delivered hereunder.

              (b)    Each Notice of Borrowing pursuant to this Section 2.02 shall be irrevocable
and the Borrowers shall be bound to make a Borrowing in accordance therewith.

               (c)     Each Loan shall be made as part of a single Borrowing consisting of Loans
of the same Class and Type. All Loans comprising the same Borrowing shall be made (or deemed
made, as the case may be) by the Lenders on the requested Borrowing Date proportionately to their
Pro Rata Shares of the Commitment for such Loans (or, in the case of any Incremental Facility
Loans, as otherwise specified in the Incremental Facility Amendment applicable thereto), and each
Lender shall make each Loan required to be made by it pursuant to this Agreement (except the
Initial Term Loans, which shall be deemed made automatically as provided in Section 2.01(a)) by
funding the Dollar amount thereof on the requested Borrowing Date to the account specified by
the Administrative Agent to such Lender for purposes hereof (such account, the “Lender Funding
Account”) (and such Lender shall, for all purposes, be deemed to have made such Loan as of the
time of such funding, notwithstanding that such funds shall not have been funded to any of the
Loan Parties at such time), it being understood that no Lender shall be responsible for any default
by any other Lender in that other Lender’s obligations to make a Loan requested hereunder, nor
shall the Commitment of any Lender be increased or decreased as a result of the default by any

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other Lender in that other Lender’s obligation to make a Loan requested hereunder, and each
Lender shall be obligated to make the Loans required to be made by it by the terms of this
Agreement regardless of the failure by any other Lender. Subject to receipt by the Administrative
Agent of Lender funds representing Loans requested to be made on such Borrowing Date, the
Administrative Agent shall make the proceeds of such Loans available to the Borrowers by causing
an amount, in immediately available funds, equal to the proceeds of such Loans received by the
Administrative Agent, to be credited to the Loan Account (or such other account specified in the
Notice of Borrowing for such purpose); provided, that, the Administrative Agent shall not be
required to make available to the Borrowers any funds on the same Business Day as funds are
received by the Administrative Agent into the Lender Funding Account if the Administrative
Agent determines that it is operationally unable to do so, and such funds shall in such event be
made available in accordance with the Administrative Agent’s customary practices.

       Section 2.03 Repayment of Loans; Evidence of Debt.

                (a)   The outstanding or otherwise unpaid principal amount of each Loan, and all
accrued and unpaid interest thereon, shall be due and payable, and shall be paid by the Borrowers,
on the Final Maturity Date thereof; provided, that, notwithstanding the foregoing or anything to
the contrary elsewhere:

                        (i)     no principal of any Delayed Draw Term Loans or any Initial Term
Loans, or any interest, fees or other Obligations arising thereunder or relating thereto, shall be paid
(or shall be deemed permitted to be paid) on the Final Maturity Date thereof, (x) unless and until
all Incremental Facility Loans (including the principal thereof, and all accrued and unpaid interest
and fees thereon, and all other Obligations relating thereto) have been paid in full in cash in
accordance with, and as otherwise required pursuant to, the terms thereof (including any terms set
forth in any Incremental Facility Amendment relating thereto) or (y) unless, but solely to the extent
that, payment thereof is expressly permitted pursuant to, and made in accordance with, the terms
of such Incremental Facility Loans, or any consent of the applicable the Incremental Facility
Lenders holding such Loans granted in accordance with such terms, as the case may be;

                       (ii)   no principal of any Initial Term Loans, or any interest, fees or other
Obligations arising thereunder or relating thereto, shall be paid (or shall be deemed permitted to
be paid) on the Final Maturity Date thereof, (A) except upon, and subject to, compliance in full
with the terms of Section 2.03(a)(i) and (B) subject to the foregoing, (x) unless and until all
Delayed Draw Term Loans (including the principal thereof, and all accrued and unpaid interest
and fees thereon, and all other Obligations relating thereto) have been paid in full in cash in
accordance with, and as otherwise required pursuant to, the terms thereof or (y) unless, but solely
to the extent that, payment thereof is expressly permitted pursuant to, and made in accordance
with, the terms of such Delayed Draw Term Loans, or any consent of the applicable the Lenders
holding such Loans granted in accordance with such terms, as the case may be; and

                      (iii)  all payments hereunder shall in any event be subject to the
applicable requirements of Section 4.03 and, with respect to any Incremental Facility Loan, the
applicable terms of any Incremental Facility Amendment relating thereto.


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               (b)    Each Lender shall maintain in accordance with its usual practice an account
or accounts evidencing the Indebtedness of the Borrowers to such Lender resulting from each Loan
made by such Lender, including the amounts of principal and interest payable and paid to such
Lender from time to time hereunder.

               (c)    The Administrative Agent shall maintain accounts in which it shall record
(i) the amount of each Loan made hereunder, (ii) the amount of any principal or interest due and
payable or to become due and payable from the Borrowers to each Lender hereunder and (iii) the
amount of any sum received by the Administrative Agent hereunder for the account of the Lenders
and each Lender’s share thereof.

              (d)     The entries made in the accounts maintained pursuant to Section 2.03(b)
shall be prima facie evidence of the existence and amounts of the obligations recorded therein
absent manifest error; provided that the failure of any Lender or the Administrative Agent to
maintain such accounts or any error therein shall not in any manner affect the obligation of the
Borrowers to repay the Loans in accordance with the terms of this Agreement.

                (e)     Any Lender may request that Loans made by it be evidenced by a
promissory note. In such event, the Borrowers shall execute and deliver to such Lender a
promissory note payable to such Lender (or, if requested by such Lender, to such Lender and its
registered assigns) in a form furnished by the Collateral Agent and reasonably acceptable to the
Administrative Borrower. Thereafter, the Loans evidenced by such promissory note and interest
thereon shall at all times (including after assignment pursuant to Section 12.07) be represented by
one or more promissory notes in such form payable to the payee named therein (or, if such
promissory note is a registered note, to such payee and its registered assigns).

       Section 2.04 Interest.

                (a)     Loans. Subject to Section 2.07 and the other terms of this Agreement (and,
in the case of any Incremental Facility Loan, the Incremental Facility Amendment applicable
thereto), at the option of the Administrative Borrower, any Loan or any portion thereof shall be
either a Reference Rate Loan or a LIBOR Rate Loan; provided, that, the Administrative Borrower
shall be permitted to elect that any Incremental Facility Loan (or portion thereof) shall instead be
an Other Rate Loan, so long as the same is permitted pursuant to the Incremental Facility
Amendment applicable thereto or otherwise consented to by the Lenders with Incremental Facility
Commitments therefor. Each portion of any Loan that is a Reference Rate Loan shall bear interest
on the principal amount thereof from time to time outstanding, from the date of such Loan until
repaid, at a rate per annum equal to the Reference Rate, plus the Applicable Margin, and each
portion of any Loan that is a LIBOR Rate Loan shall bear interest on the principal amount thereof
from time to time outstanding, from the date of such Loan until repaid, at a rate per annum equal
to the LIBOR Rate for the Interest Period in effect for such Loan (or such portion thereof), plus
the Applicable Margin. Each portion of any Incremental Facility Loan that is an Other Rate Loan
permitted hereunder shall bear interest on the principal amount thereof from time to time
outstanding, from the date of such Loan until repaid, at a rate per annum equal to the Other Rate
applicable thereto.


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               (b)      Default Interest. To the extent permitted by law and notwithstanding
anything to the contrary in this Section, (i) automatically upon the occurrence and during the
continuance of any Specified Event of Default, and (ii) the Required Lenders may, by notice to the
Administrative Agent and the Administrative Borrower, elect for all other Events of Default, in
each case the principal of, and all accrued and unpaid interest on, all Loans, fees, indemnities or
any other Obligations of the Loan Parties under this Agreement and the other Loan Documents,
shall bear interest, from the date such Event of Default occurred until the date such Event of
Default is cured or waived in writing in accordance herewith, at a rate per annum equal at all times
to the Post-Default Rate.

                 (c)     Interest Payments. Interest on each Loan (except interest accruing at the
Post-Default Rate) shall be payable in arrears on (i) each Regular Interest Payment Date, (ii) each
date of any prepayment or repayment of such Loan (including the date such Loan is required to be
repaid or prepaid in connection with any mandatory or optional prepayment) and (iii) the Final
Maturity Date of such Loan. Interest at the Post-Default Rate shall be payable on demand. Except
(i) in the case of any interest due on any Regular Interest Payment Date on any Loans with respect
to which a PIK Interest Election has been made in accordance with Section 2.04(e), and (ii) in the
case of any Incremental Facility Loans, to the extent specified otherwise pursuant to the
Incremental Facility Amendment applicable thereto, interest on the Loans (including interest
accruing at the Post-Default Rate) shall be payable at the times required hereunder in the form of
cash. Each Borrower hereby authorizes the Administrative Agent to, and the Administrative Agent
may, from time to time, charge the Loan Account pursuant to Section 4.01 with the amount of any
interest payment due hereunder.

                (d)   General. All interest shall be computed on the basis of a year of 360 days
for the actual number of days, including the first day but excluding the last day, elapsed.

               (e)     PIK Interest Election.

                       (i)      Subject to the terms and conditions hereof, the Administrative
Borrower may, at its option, elect, pursuant to a PIK Interest Election Notice delivered in
accordance herewith on one or more occasions during the period commencing on the Effective
Date and ending on (but excluding) the second anniversary thereof (the “PIK Interest Election
Period”), that any interest accruing on any Loan during the PIK Interest Election Period (or any
portion of such interest), as designated in the applicable PIK Interest Election Notice, shall, if and
to the extent due and payable on a Regular Interest Payment Date occurring during the PIK Interest
Election Period, be permitted to be paid on such Regular Interest Payment Date in the form of PIK
Interest notwithstanding that, in the absence hereof, this Agreement (including Section 2.04(c))
would otherwise require all such interest to be paid in cash (each election validly made in
accordance with this Section 2.04(e), a “PIK Interest Election”, and the amount of interest to be
payable as PIK Interest pursuant thereto, to the extent accruing on Loans of the same Class and
Type, and payable on the same Regular Interest Payment Date, each, a “PIK Interest Payment”).

                      (ii)    A PIK Interest Election shall be deemed effective and validly made
for purposes hereof with respect to any PIK Interest Payment if prior written notice thereof, signed
by an Authorized Officer of the Administrative Borrower (a “PIK Interest Election Notice”), is
delivered to the Administrative Agent; provided, that, each such PIK Interest Election Notice shall
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identify each PIK Interest Payment subject to a PIK Interest Election thereunder by specifying (A)
the Regular Interest Payment Date on which such PIK Interest Payment is due and payable, (B)
the amount of such PIK Interest Payment and (C) the Class, Type and then-outstanding aggregate
principal amount of the Loan in respect of which such PIK Interest Payment is being made, it being
understood and agreed that interest amounts representing interest accruals on Loans of different
Classes and/or Types, or amounts that are due and payable on different Regular Interest Payment
Dates, shall constitute separate PIK Interest Payments and shall be clearly identified as such in the
PIK Interest Election Notice (e.g. “PIK Interest Amount 1: $[TBD] payable on March 31, 2022
pursuant to Reference Rate Initial Term Loan”); provided, further, that (x) a PIK Interest Election
shall not be valid with respect to any interest payable on a Regular Interest Payment Date occurring
after the end of the PIK Interest Election Period, and (y) an interest payment shall not be permitted
to be made as PIK Interest unless a PIK Interest Election Notice with respect thereto has been
delivered to the Administrative Agent at least one (1) Business Day prior to such its scheduled
Regular Interest Payment Date (and, if such PIK Interest Election Notice is not delivered by such
time, Section 2.04(c) shall continue to apply to such interest without modification and,
accordingly, the Borrowers shall be required to pay such interest in cash on such Regular Interest
Payment Date). For the avoidance of doubt, this Section 2.04(e) shall not permit a PIK Interest
payment of any interest that is payable on the Final Maturity Date, or on the date of any repayment
or prepayment of any Loan (whether pursuant to a voluntary or mandatory prepayment,
acceleration or otherwise), or any other due date except a Regular Interest Payment Date during
the PIK Interest Election Period, and only the amount of accrued interest representing a regular
interest payment pursuant to Section 2.04(a) shall be permitted to be paid as PIK Interest.

       Section 2.05 Termination or Reduction of Total Commitments; Prepayment of Loans.

                (a)    Termination or Reduction of Total Commitments. The Total Initial Term
Loan Commitment shall permanently terminate in full (and shall be deemed permanently reduced
to zero ($.00), and cancelled and extinguished in its entirety) automatically upon, and concurrently
with, the deemed making of Initial Term Loans on the Effective Date pursuant to Section 2.01(a).
The Total Delayed Draw Facility Commitment (to the extent of any amount thereof that has not
been previously reduced, cancelled, terminated or extinguished pursuant to any other provisions
of this Agreement, including Section 2.01 and Section 2.05(b)) shall permanently terminate in full
(and shall be deemed permanently reduced to zero ($.00), and cancelled and extinguished in its
entirety) automatically upon, and concurrently with, the occurrence of the Delayed Draw Facility
Commitment Period End Date. Each Incremental Facility Commitment (if any) shall terminate at
the time and in the manner provided in, and otherwise in accordance with, and pursuant to, the
Incremental Facility Amendment applicable thereto.

               (b)     Optional Prepayment; Optional Termination of Commitments and/or
Agreement.

                       (i)   Optional Prepayment of Loans. The Borrowers may, at any time
and from time to time, upon at least two (2) Business Days’ prior written notice to the
Administrative Agent, prepay the principal of outstanding Loans, in whole or in part, and each
prepayment made pursuant to this clause (b)(i) shall be accompanied by the payment of (A)
accrued interest on the amount of the applicable Loan being prepaid, calculated through the date
of such payment and (B) the Applicable Premium, if any, payable in connection with such
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prepayment of such Loan; provided, that, notwithstanding the foregoing, no Loans shall be prepaid
(and no other payments shall be permitted to be made on account of any Loans) except to the extent
in accordance with the requirements of the Pre-Default Payment Waterfall, subject to the terms of
Section 4.03(b), as applicable.

                        (ii)     Optional Termination of Commitments and Optional Termination
of Agreement. (A) The Borrowers may, at any time and from time to time, permanently reduce in
part, and may, at any time, permanently reduce to zero ($0.00), and terminate, cancel and
extinguish in full, the Total Delayed Draw Facility Commitment, in each case, upon at least two
(2) Business Days’ prior written notice to the Administrative Agent, and each permanent reduction
pursuant to this clause (b)(ii) shall be accompanied by the payment of the Applicable Premium, if
any, payable in connection with such permanent reduction. Each reduction to the Total Delayed
Draw Facility Commitment hereunder shall be allocated to the Delayed Draw Facility
Commitment of each Lender in accordance with its Pro Rata Share of the Total Delayed Draw
Facility Commitment. (B) The Borrowers may, upon at least two (2) Business Days’ prior written
notice from the Administrative Borrower to the Administrative Agent, terminate this Agreement
by paying to the Administrative Agent, in cash, the Obligations in full, plus the Applicable
Premium, if any, payable in connection with such termination of this Agreement. If the
Administrative Borrower has sent a notice of termination of this Agreement pursuant to this
Section 2.05(b)(ii)(B), then, unless such notice is expressed to be conditional and revocable (as set
forth in the proviso below), the Borrowers shall be obligated to repay the Obligations in full, plus
the Applicable Premium, if any is payable in connection with such termination of this Agreement
on the date set forth as the date of termination of this Agreement in such notice; provided, that a
notice of termination of this Agreement delivered by the Administrative Borrower hereunder may
state that such notice (and the Borrowers’ election to terminate this Agreement proposed
thereunder) is conditioned upon the occurrence of any specified event (including the
consummation of any sale, merger, financing or other specified transaction, the effectiveness of
any other credit facilities, the incurrence of any other Indebtedness, issuance of any loans or
securities, and/or the receipt of proceeds from any of the foregoing, as the case may be), in which
case such notice (and the proposed termination of this Agreement to be effectuated thereunder)
may be revoked by the Administrative Borrower (by notice to the Administrative Agent on or prior
to the specified effective date) if such condition is not satisfied.

               (c)     Mandatory Prepayment. Subject to Section 4.03:

                        (i)    Unless the Suspension Date has occurred, on the date that audited
annual financial statements are required to be delivered to the Agents and the Lenders pursuant to
Section 7.01(a)(iii) (commencing with the date on which delivery to the Agents and the Lenders
of the financial statements for the Fiscal Year ended December 31, 2023 is required thereunder),
the Borrowers shall prepay the outstanding principal amount of the Loans in accordance with
Section 2.05(d) in an amount equal to (I) the Applicable ECF Percentage of Excess Cash Flow of
the Parent and its Subsidiaries for such Fiscal Year, minus (II) the amount of any prepayments of
the Loans made in cash during such period in accordance with Section 2.05(b).

                          (ii)   Promptly after (and no later than five (5) Business Days after) any
Disposition (excluding Dispositions which qualify as Permitted Dispositions under clauses (a), (b),
(c), (d), (e), (f), (g) or (h) of the definition of Permitted Disposition) by any Loan Party or its
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Subsidiaries, the Borrowers shall prepay the outstanding principal amount of the Loans in
accordance with Section 2.05(d) in an amount equal to 100% of the Net Cash Proceeds received
by such Person in connection with such Disposition to the extent that the aggregate amount of Net
Cash Proceeds received by all Loan Parties and their Subsidiaries (and not paid to the
Administrative Agent as a prepayment of the Loans) shall exceed for all such Dispositions
$500,000 in any Fiscal Year. Nothing contained in this Section 2.05(c)(ii) shall permit any Loan
Party or any of its Subsidiaries to make a Disposition of any property other than in accordance
with Section 7.01(c)(ii).

                       (iii)  Upon the issuance or incurrence by any Loan Party or any of its
Subsidiaries of any Indebtedness (other than Permitted Indebtedness), the Borrowers shall prepay
the outstanding amount of the Loans in accordance with Section 2.05(d) in an amount equal to
100% of the Net Cash Proceeds received by such Person in connection therewith. The provisions
of this Section 2.05(c)(iii) shall not be deemed to be implied consent to any such issuance,
incurrence or sale otherwise prohibited by the terms and conditions of this Agreement.

                     (iv)    Upon the receipt by any Loan Party or any of its Subsidiaries of any
Extraordinary Receipts, the Borrowers shall prepay the outstanding principal of the Loans in
accordance with Section 2.05(d) in an amount equal to 100% of the Net Cash Proceeds received
by such Person in connection therewith to the extent that the aggregate amount of Net Cash
Proceeds received by all Loan Parties and their Subsidiaries (and not paid to the Administrative
Agent as a prepayment of the Loans) shall exceed for all such Extraordinary Receipts $2,500,000
in any Fiscal Year.

                      (v)    Upon receipt by the Borrowers of the proceeds of any Permitted
Cure Equity in connection with the exercise of a Cure Right pursuant to Section 9.02, the
Borrowers shall prepay the outstanding principal of the Loans in accordance with Section 2.05(d)
in an amount equal to 100% of such proceeds.

                        (vi)   Notwithstanding the foregoing, with respect to Net Cash Proceeds
received by any Loan Party or any of its Subsidiaries in connection with a Disposition or the receipt
of Extraordinary Receipts consisting of insurance proceeds or condemnation awards that are
required to be used to prepay the Obligations pursuant to Section 2.05(c)(ii) or Section 2.05(c)(iv),
the Net Cash Proceeds from all such Dispositions and Extraordinary Receipts shall not be required
to be so used to prepay the Obligations to the extent that such Net Cash Proceeds are used to
replace, repair or restore properties or assets (other than current assets) used in such Person’s
business, provided that, (A) no Default or Event of Default has occurred and is continuing on the
date such Person receives such Net Cash Proceeds, (B) the Administrative Borrower delivers a
certificate to the Administrative Agent within 20 Business Days after such Disposition or loss,
destruction or taking, as the case may be, stating that such Net Cash Proceeds shall be used to
replace, repair or restore properties or assets used in such Person’s business within a period
specified in such certificate not to exceed 180 days after the date of receipt of such Net Cash
Proceeds (which certificate shall set forth estimates of the Net Cash Proceeds to be so expended),
(C) such Net Cash Proceeds are deposited in an account subject to a Control Agreement, and (D)
upon the earlier of (1) the expiration of the period specified in the relevant certificate furnished to
the Administrative Agent pursuant to clause (B) above or (2) the occurrence of an Event of Default,

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such Net Cash Proceeds, if not theretofore so used, shall be used to prepay the Obligations in
accordance with Section 2.05(c)(ii) or Section 2.05(c)(iv) as applicable.

                       (vii) All payments under this Section 2.05(c) shall be accompanied with
a written notice provided to the Administrative Agent by 12:00 p.m. (New York City time) at least
1 Business Day prior to the date of any such payment which shall include the sub-section of this
Section 2.05(c) pursuant to which such payment is made.

                      (viii) Notwithstanding anything in this Section 2.05 or elsewhere to the
contrary, any Lender, at the sole and absolute discretion of the Borrowers, may elect, by notice to
the Administrative Agent in writing by hand delivery, facsimile transmission or e-mail at least two
Business Days prior to the required prepayment date, to decline all (or a portion) of any mandatory
prepayment of its Loans, in which case the aggregate amount of the prepayment that would have
been applied to prepay such Loans but was so declined will be offered to prepay the Loans of the
other Lenders that have not declined such prepayment on a pro rata basis, and if any declined
amounts remains such amounts shall be offered to prepay the Loans in the next tier of the Pre-
Default Payment Waterfall, and if after all such tiers have been offered such prepayment any
remaining declined amounts may be retained by the Borrowers and, to the extent not otherwise
applied to prepay any other Loans, or any Second Lien Loans, or any other Indebtedness or
obligations of the Loan Parties and their Subsidiaries in accordance with the terms thereof (as
determined by the Borrowers in each case), may be used to finance any Restricted Payment or
Investment not otherwise permitted hereunder at such time, or, if such amount is retained by any
of the Borrowers or any of their Subsidiaries, the Borrowers shall get credit for such amount for
purposes of any Liquidity or leverage ratio calculation hereunder.

                         (ix)    Subject to compliance with any order of payment priority set forth
herein and applicable to any Loan on the basis of its Class or as otherwise provided herein, each
prepayment will be applied first to Loans of the applicable Class that are Reference Rate Loans,
to the full extent thereof, and before application to Loans of such Class that are LIBOR Rate Loans,
in each case, in such a manner as determined by the Borrower to minimize the amount of any
payments required to be made by the Borrower pursuant to Section 2.08.

               (d)     Application of Payments. With respect to:

                        (i)     any mandatory prepayment required by subsection (c)(ii) or (c)(iv)
above: (A) subject to clause (C) below, if the Net Cash Proceeds are from any Disposition of, or
insurance or any condemnation, taking or other casualty with respect to, any ABL Priority
Collateral, such Net Cash Proceeds shall be applied (1) first, to the ABL Loans, to the extent
required by the ABL Credit Agreement and the ABL/Term Intercreditor Agreement (as in effect
at such time), until paid in full and (2) second, to the principal amount of Loans hereunder in the
order prescribed in the Pre-Default Payment Waterfall; (B) subject to clause (C) below, if the Net
Cash Proceeds are from the Disposition of, or insurance or any condemnation, taking or other
casualty with respect to Term Priority Collateral, such Net Cash Proceeds shall be applied to the
principal amount of Loans hereunder (in the order prescribed in the Pre-Default Payment
Waterfall), until paid in full and (C) if the Net Cash Proceeds are from a Disposition of, or
insurance or any condemnation, taking or other casualty with respect to, the assets of any Person,
which includes both (1) ABL Priority Collateral and (2) Term Priority Collateral, such Net Cash
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Proceeds shall be applied, ratably, as between the ABL Priority Collateral and the Term Priority
Collateral (based on the book value of such assets constituting ABL Priority Collateral and the
Term Priority Collateral) and shall be applied in accordance with the preceding clauses (A) and
(B); and

                       (ii)   any mandatory prepayment required by subsection (c)(i), (c)(iii) or
(c)(v) above shall be applied to the Loans in the order prescribed in the Pre-Default Payment
Waterfall; provided, that, notwithstanding the foregoing, after the occurrence and during the
continuance of an Event of Default, the Administrative Agent may, and shall if directed by the
Collateral Agent or the Required Lenders, apply payments in respect of any Obligations, including
prepayments required under Section 2.05(c), in accordance with Section 4.03(b)

               (e)     Interest and Fees. Any prepayment made pursuant to this Section 2.05 shall
be accompanied by (i) accrued and unpaid interest on the principal amount being prepaid to the
date of prepayment, (ii) any Funding Losses payable pursuant to Section 2.08, (iii) the Applicable
Premium, if any, payable in connection with such prepayment of the Loans to the extent required
under Section 2.06 and (iv) if such prepayment would reduce the amount of the outstanding Loans
to zero, such prepayment shall be accompanied by the payment of all fees accrued to such date
pursuant to Section 2.06.

                (f)     Cumulative Prepayments. Except as otherwise expressly provided in this
Section 2.05, payments with respect to any subsection of this Section 2.05 are in addition to
payments made or required to be made under any other subsection of this Section 2.05; provided
that there shall be no duplication of mandatory prepayments due under more than one subsection
of this Section 2.05.

       Section 2.06 Fees.

               (a)     Applicable Premium.

                       (i)     Upon the occurrence of an Applicable Premium Trigger Event, any
amounts prepaid, repaid, accelerated or otherwise, or any Commitments voluntarily reduced or
cancelled, as applicable, shall be accompanied by payment to the Administrative Agent, for the
ratable account of each applicable Lender, of the Applicable Premium.

                        (ii)   Any Applicable Premium payable in accordance with this Section
2.06(a) shall be presumed to be equal to the liquidated damages sustained by the Lenders as the
result of the occurrence of the Applicable Premium Trigger Event and the Loan Parties agree that
it is reasonable under the circumstances currently existing. THE LOAN PARTIES EXPRESSLY
WAIVE THE PROVISIONS OF ANY PRESENT OR FUTURE STATUTE OR LAW THAT
PROHIBITS OR MAY PROHIBIT THE COLLECTION OF THE FOREGOING APPLICABLE
PREMIUM IN CONNECTION WITH ANY ACCELERATION.

                       (iii)   The Loan Parties expressly agree that: (A) the Applicable Premium
is reasonable and is the product of an arm’s length transaction between sophisticated business
people, ably represented by counsel; (B) the Applicable Premium shall be payable notwithstanding
the then prevailing market rates at the time payment is made; (C) there has been a course of conduct
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between the Lenders and the Loan Parties giving specific consideration in this transaction for such
agreement to pay the Applicable Premium; (D) the Loan Parties shall be estopped hereafter from
claiming differently than as agreed to in this paragraph; (E) their agreement to pay the Applicable
Premium is a material inducement to Lenders to provide the Commitments and make the Loans;
and (F) the Applicable Premium represents a good faith, reasonable estimate and calculation of the
lost profits or damages of the Agents and the Lenders and that it would be impractical and
extremely difficult to ascertain the actual amount of damages to the Agents and the Lenders or
profits lost by the Agents and the Lenders as a result of such Applicable Premium Trigger Event.

                      (iv)   Nothing contained in this Section 2.06(a) shall permit any
prepayment of the Loans or reduction of the Commitments not otherwise permitted by the terms
of this Agreement or any other Loan Document.

                 (b)       Audit and Collateral Monitoring Fees. The Borrowers acknowledge that
pursuant to Section 7.01(f), representatives of the Agents may visit any or all of the Loan Parties
and/or conduct inspections, audits, physical counts, valuations, appraisals, environmental site
assessments and/or examinations of any or all of the Loan Parties at any time and from time to
time during normal business hours and, so long as no Event of Default has occurred and is
continuing, upon prior notice to the Borrowers. The Borrowers agree to pay (i) all out-of-pocket
costs and reasonable expenses incurred in connection with all such visits, inspections, audits,
physical counts, valuations, appraisals, environmental site assessments and/or examinations and
(ii) the cost of all visits, inspections, audits, physical counts, valuations, appraisals, environmental
site assessments and/or examinations conducted by a third party on behalf of the Agents; provided,
that so long as no Event of Default shall have occurred and be continuing, the Borrowers shall not
be obligated to reimburse the Agents for more than one such visit, inspection, audit, physical count,
valuation, appraisal, environmental site assessment and/or examination during any fiscal year.

              (c)     Fee Letter. As and when due and payable under the terms of the Fee Letter,
the Borrowers shall pay the fees set forth in the Fee Letter.

               (d)     Delayed Draw Facility Commitment Fee. The Borrowers agree to pay to
the Administrative Agent, for the account of each Delayed Draw Term Loan Lender (other than a
Defaulting Lender), on the last Business Day of each fiscal quarter during the Delayed Draw
Facility Commitment Period (commencing on the last Business Day of the second full fiscal
quarter ending after the Effective Date) the Delayed Draw Facility Commitment Fee; provided,
that such Delayed Draw Facility Commitment Fee shall, at the Borrower’s option, accrue but shall
not be payable in cash at any time prior to the sixth full fiscal quarter ending after the Effective
Date (unless the Borrowers elect to make such payment).

       Section 2.07 LIBOR Option.

                (a)     The Borrowers may, at any time and from time to time, so long as no
Specified Event of Default has occurred and is continuing, elect to have interest on all or a portion
of the Loans be charged at a rate of interest based upon the LIBOR Rate (the “LIBOR Option”) by
notifying the Administrative Agent in writing prior to 11:00 a.m. (New York City time) at least 3
Business Days (or such later time as may be permitted by the Administrative Agent in its
discretion) prior to (i) the proposed Borrowing Date of any Loan (as provided in Section 2.02)
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other than any Initial Term Loan, (ii) in the case of the conversion of a Reference Rate Loan to a
LIBOR Rate Loan, the commencement of the proposed Interest Period, or (iii) in the case of the
continuation of a LIBOR Rate Loan as a LIBOR Rate Loan, the last day of the then current Interest
Period (the “LIBOR Deadline”); provided if the Administrative Borrower fails to deliver a
continuation notice thereafter by the LIBOR Deadline, the initial LIBOR Rate Loan shall be
continued as a LIBOR Rate Loan with a one (1) month Interest Period. Notwithstanding the
foregoing or anything else in this Agreement to the contrary, no LIBOR Option election, LIBOR
Notice or other action or notice shall constitute a condition precedent to the interest on Initial Term
Loans being charged at the LIBOR Rate as of the Effective Date, and the same shall hereby be
deemed to be automatically in effect unless the Administrative Borrower expressly designates any
Initial Term Loans as Reference Rate Loans as of the Effective Date pursuant to a written notice
delivered to the Administrative Agent prior to the Effective Date (and the LIBOR Rate applicable
to Initial Term Loans as of the Effective Date shall be the rate specified in clause (b) of the
definition of “LIBOR Rate”, and the initial Interest Period thereon shall end on the date that is one
(1) month after the Effective Date (or such other date as may be notified by the Administrative
Borrower to the Administrative Agent not later than the fifth (5th) Business Day after the Effective
Date). Notice of the Borrowers’ election of the LIBOR Option for a permitted portion of any Loan
and an Interest Period pursuant to this Section 2.07(a) shall be made by delivery to the
Administrative Agent of (A) a Notice of Borrowing in accordance with Section 2.02 (in the case
of the Borrowing of any Delayed Draw Term Loan or any other Loan, except the Initial Term
Loans on the Effective Date, and any Incremental Facility Loan subject to any other requirements
pursuant to the applicable Incremental Facility Amendment, as the case may be) or (B) a LIBOR
Notice prior to the LIBOR Deadline (in the case of any LIBOR Option election relating to any
Interest Period for any Loan except the first Interest Period). Promptly upon its receipt of each
such LIBOR Notice, the Administrative Agent shall provide a copy thereof to each of the Lenders,
or shall otherwise notify each of the Lenders of the applicable Interest Period and other details
thereof to the extent necessary to enable the Lenders to calculate the applicable interest thereon.
Each LIBOR Notice shall be irrevocable and binding on the Borrowers.

               (b)    Interest on LIBOR Rate Loans shall be payable in accordance with Section
2.04(c). On the last day of each applicable Interest Period, unless the Borrowers properly have
exercised the LIBOR Option with respect thereto, the interest rate applicable to such LIBOR Rate
Loans automatically shall convert to the rate of interest then applicable to Reference Rate Loans
of the same type hereunder. At any time that an Event of Default has occurred and is continuing,
the Borrowers no longer shall have the option to request that any portion of the Loans bear interest
at the LIBOR Rate and the Administrative Agent shall have the right to convert the interest rate
on all outstanding LIBOR Rate Loans to the rate of interest then applicable to Reference Rate
Loans of the same type hereunder on the last day of the then current Interest Period.

               (c)    Notwithstanding anything to the contrary contained in this Agreement, the
Borrowers (i) shall have not more than 10 LIBOR Rate Loans in effect at any given time, and (ii)
only may exercise the LIBOR Option for LIBOR Rate Loans of at least $500,000 and integral
multiples of $100,000 in excess thereof.

               (d)     The Borrowers may prepay LIBOR Rate Loans at any time; provided,
however, that in the event that LIBOR Rate Loans are prepaid on any date that is not the last day

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of the Interest Period applicable thereto, including as a result of any mandatory prepayment
pursuant to Section 2.05(c) or any application of payments or proceeds of Collateral in accordance
with Section 4.03 or Section 4.04 or for any other reason, including early termination of the term
of this Agreement or acceleration of all or any portion of the Obligations pursuant to the terms
hereof, the Borrowers shall indemnify, defend, and hold the Agents and the Lenders and their
participants harmless against any and all Funding Losses in accordance with Section 2.08.

               (e)     Anything to the contrary contained herein notwithstanding, neither any
Agent nor any Lender, nor any of their participants, is required actually to acquire eurodollar
deposits to fund or otherwise match fund any Obligation as to which interest accrues at the LIBOR
Rate. The provisions of this Article II shall apply as if each Lender or its participants had match
funded any Obligation as to which interest is accruing at the LIBOR Rate by acquiring eurodollar
deposits for each Interest Period in the amount of the LIBOR Rate Loans.

         Section 2.08 Funding Losses. In connection with each LIBOR Rate Loan, the Borrowers
shall indemnify, defend, and hold the Agents and the Lenders harmless against any loss, cost, or
expense incurred by any Agent or any Lender as a result of (a) the payment of any principal of any
LIBOR Rate Loan other than on the last day of an Interest Period applicable thereto (including as
a result of an Event of Default or any mandatory prepayment required pursuant to Section 2.05(c)),
(b) the conversion of any LIBOR Rate Loan other than on the last day of the Interest Period
applicable thereto (including as a result of an Event of Default), or (c) the failure to borrow,
convert, continue or prepay any LIBOR Rate Loan on the date specified in any Notice of
Borrowing or LIBOR Notice delivered pursuant hereto (such losses, costs, and expenses,
collectively, “Funding Losses”). Funding Losses shall, with respect to any Agent or any Lender,
be deemed to equal the amount reasonably determined by such Agent or such Lender in good faith
to be the excess, if any, of (i) the amount of interest that would have accrued on the principal
amount of such LIBOR Rate Loan had such event not occurred, at the LIBOR Rate that would
have been applicable thereto, for the period from the date of such event to the last day of the then
current Interest Period therefor (or, in the case of a failure to borrow, convert or continue, for the
period that would have been the Interest Period therefor), minus (ii) the amount of interest that
would accrue on such principal amount for such period at the interest rate which such Agent or
such Lender would be offered were it to be offered, at the commencement of such period, Dollar
deposits of a comparable amount and period in the London interbank market. A certificate of an
Agent or a Lender delivered to the Administrative Borrower setting forth any amount or amounts
that such Agent or such Lender is entitled to receive pursuant to this Section 2.08 shall be
conclusive absent manifest error.

        Section 2.09 Taxes. (a) Any and all payments by or on account of any Loan Party
hereunder or under any other Loan Document shall be made free and clear of and without
deduction or withholding for any and all Taxes, except as required by applicable law. If any Loan
Party (as determined in the good faith discretion of an applicable Withholding Agent) shall be
required to deduct or withhold any Taxes from or in respect of any sum payable hereunder to any
Secured Party (or any transferee or assignee thereof, including a participation holder (any such
entity, a “Transferee”)), (i) the applicable Withholding Agent shall make such deductions or
withholding and (ii) the applicable Withholding Agent shall timely pay the full amount deducted
or withheld to the relevant Governmental Authority in accordance with applicable law and (iii) if

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such Tax is an Indemnified Tax, then the sum payable by the applicable Loan Party shall be
increased by the amount (an “Additional Amount”) necessary such that after making all required
deductions (including deductions applicable to additions sums payable under this Section 2.09)
such Secured Party (or such Transferee) receives the amount equal to the sum it would have
received had no such deductions or withholding been made.

                 (b)    In addition, each Loan Party agrees to timely pay to the relevant
Governmental Authority in accordance with applicable law any Other Taxes. Each Loan Party
shall deliver to each Secured Party official receipts in respect of any Taxes or Other Taxes payable
hereunder promptly after payment of such Taxes or Other Taxes.

                (c)    The Loan Parties hereby jointly and severally indemnify and agree to hold
each Secured Party harmless from and against Indemnified Taxes paid by such Person, whether or
not such Indemnified Taxes were correctly or legally asserted. Such indemnification shall be paid
within 10 Business Days from the date on which any such Person makes written demand therefore
specifying in reasonable detail the nature and amount of such Indemnified Taxes. A certificate as
to the amount of such payment or liability delivered to the Loan Parties by a Secured Party, shall
be conclusive absent manifest error. As soon as practicable after any payment of Taxes by a Loan
Party to a Governmental Authority pursuant to this Section, the Loan Party shall deliver to the
Secured Parties the original or a certified copy of a receipt issued by such Governmental Authority
evidencing such payment, a copy of the return reporting such payment or other evidence of such
payment reasonably satisfactory to the Administrative Agent.

              (d)     Each Lender (or Transferee) that is a United States person under Section
7701(a)(30) of the Internal Revenue Code shall deliver to the Administrative Borrower or
Administrative Agent a United States Internal Revenue Service Form W-9 (or substitute or
successor form), properly completed and duly executed, certifying that such Lender is exempt
from United States backup withholding.

                (e)     Each Lender (or Transferee) that is not a U.S. Person (a “Non-U.S. Lender”)
agrees that it shall, no later than the Effective Date (or, in the case of a Lender which becomes a
party hereto pursuant to Section 12.07 hereof after the Effective Date, promptly after the date upon
which such Lender becomes a party hereto) deliver to the Agents (or, in the case of an assignee of
a Lender which (x) is an Eligible Assignee and (y) does not deliver an Assignment and Acceptance
to the Administrative Agent pursuant to the last sentence of Section 12.07(c)(ii) for recordation
pursuant to Section 12.07(e), to the assigning Lender only, and in the case of a participant, to the
Lender granting the participation only) one properly completed and duly executed copy of either
U.S. Internal Revenue Service Form W-8BEN, W-8BEN-E, W-8ECI or W-8IMY (accompanied
by the appropriate certification documents from each beneficial owner) or any subsequent versions
thereof or successors thereto, in each case claiming complete exemption from, or reduced rate of,
U.S. Federal withholding tax on payments of interest hereunder. In addition, in the case of a Non-
U.S. Lender claiming exemption from U.S. Federal withholding tax under Section 871(h) or 881(c)
of the Internal Revenue Code, such Non-U.S. Lender hereby represents, and shall provide
appropriate documentation providing, to the Agents and the Borrowers that such Non-U.S. Lender
is not a bank for purposes of Section 881(c) of the Internal Revenue Code, is not a 10-percent
shareholder (within the meaning of Section 871(h)(3)(B) of the Internal Revenue Code) of the
Parent and is not a controlled foreign corporation related to the Parent (within the meaning of
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Section 864(d)(4) of the Internal Revenue Code), and such Non-U.S. Lender agrees that it shall
promptly notify the Agents in the event any such representation is no longer accurate. Such forms
shall be delivered by each Non-U.S. Lender on or before the date it becomes a party to this
Agreement (or, in the case of a Transferee that is a participation holder, on or before the date such
participation holder becomes a Transferee hereunder) and on or before the date, if any, such Non-
U.S. Lender changes its applicable lending office by designating a different lending office (a “New
Lending Office”). In addition, such Lender (or Transferee) or Agent shall deliver such forms within
20 days after receipt of a written request therefor from the Administrative Borrower or any Agent,
the assigning Lender or the Lender granting a participation, as applicable. Notwithstanding any
other provision of this Section 2.09, a Non-U.S. Lender shall not be required to deliver any form
pursuant to this Section 2.09(e) that such Non-U.S. Lender is not legally able to deliver. In addition
to the foregoing, any Non-U.S. Lender shall, to the extent it is legally entitled to do so, deliver to
the Administrative Borrower and the Agents (in such number of copies as shall be requested by
the recipient) on or about the date on which such Non-U.S. Lender becomes a Lender under this
Agreement (and from time to time thereafter upon the reasonable request of the Administrative
Borrower or the Agents), executed copies of any other form prescribed by applicable law as a basis
for claiming exemption from or a reduction in U.S. federal withholding Tax, duly completed,
together with such supplementary documentation as may be prescribed by applicable law to permit
the Administrative Borrower or the Agents to determine the withholding or deduction required to
be made.

                (f)     Any Secured Party (or Transferee) claiming any indemnity payment or
additional payment amounts payable pursuant to this Section 2.09 or Section 2.10 shall (at the
request of the Administrative Borrower) use reasonable efforts (consistent with legal and
regulatory restrictions) to file any certificate or document reasonably requested in writing by the
Administrative Borrower or to change the jurisdiction of its applicable lending office if the making
of such a filing or change would avoid the need for or reduce the amount of any such indemnity
payment or Additional Amount that may thereafter accrue, would not require such Secured Party
(or Transferee) to disclose any information such Secured Party (or Transferee) in good faith deems
confidential and would not, in the sole determination of such Secured Party (or Transferee), be
otherwise disadvantageous to such Secured Party (or Transferee).

                (g)     If any Secured Party (or a Transferee) shall become aware that it is entitled
to claim a refund from a Governmental Authority in respect of Indemnified Taxes with respect to
which any Loan Party has made an indemnity payment or paid Additional Amount, pursuant to
this Section 2.09, it shall promptly notify the Administrative Borrower of the availability of such
refund claim and shall, within 10 days after receipt of a request by the Administrative Borrower,
make a claim to such Governmental Authority for such refund at the Loan Parties’ expense. If any
Secured Party (or a Transferee) receives a refund (including pursuant to a claim for refund made
pursuant to the preceding sentence) in respect of any Indemnified Taxes with respect to which any
Loan Party has made an Indemnity payment or paid Additional Amount pursuant to this Section
2.09, it shall within 30 days from the date of such receipt pay over such refund to the
Administrative Borrower, net of all out-of-pocket expenses of such Secured Party (or Transferee),
provided that each Loan Party, upon the request of Administrative Agent or such Secured Party
(or Transferee), agrees to repay the amount paid over to any Loan Party (plus any penalties, interest
or other charges imposed by the relevant Governmental Authority) to Administrative Agent or

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such Secured Party (or Transferee) in the event Administrative Agent or any Secured Party (or
Transferee) is required to repay such refund to such Governmental Authority. Notwithstanding
anything to the contrary in this paragraph (g), in no event will an indemnified party be required to
pay any amount to a Loan Party pursuant to this paragraph (g) the payment of which would place
the indemnified party in a less favorable net after-Tax position than the indemnified party would
have been in if the Tax subject to indemnification had not been deducted, withheld or otherwise
imposed and the indemnification payments or Additional Amount giving rise to such refund had
never been paid. This subsection shall not be construed to require Administrative Agent, any
Secured Party or Transferee to make available its tax returns (or any other information relating to
its Taxes that it deems confidential) to any Loan Party or any other Person.

                (h)    If a payment made to a Lender (or Transferee) or any Agent under any Loan
Document would be subject to U.S. Federal withholding tax imposed by FATCA if such Lender
(or Transferee) or Agent were to fail to comply with the applicable reporting requirements of
FATCA (including those contained in Section 1471(b) or 1472(b) of the Internal Revenue Code,
as applicable), such Lender (or Transferee) or Agent shall deliver to the Administrative Borrower
and the Agents at the time or times prescribed by law and at such time or times reasonably
requested by the Administrative Borrower or the Agents such documentation prescribed by
applicable law (including as prescribed by Section 1471(b)(3)(C)(i) of the Internal Revenue Code)
and such additional documentation reasonably requested by the Administrative Borrower or the
Agents as may be necessary for the Administrative Borrower and the Agents to comply with their
obligations under FATCA and to determine that such Lender (or Transferee) or Agent has
complied with its obligations under FATCA or to determine the amount to deduct and withhold
from such payment. Solely for purposes of this clause (h), “FATCA” shall include any
amendments made to FATCA after the date of this Agreement. Any forms, certifications or other
documentation under this clause (h) shall be delivered by each Lender (or Transferee) and each
Agent. Each Lender (and Transferee) agrees that if any form or certification it previously delivered
expires or becomes obsolete or inaccurate in any respect, it shall update such form or certification
or promptly notify the Administrative Borrower and the Agents in writing of its legal inability to
do so.

                 (i)     If circumstances arise which entitle a Lender (or Transferee) to receive any
payment under this Section 2.09 or Section 2.10, and, in each case, such Lender (or Transferee)
has declined or is unable to designate a different lending office in accordance with Section 2.9(f),
then that Lender (or Transferee) will (at the request and at the sole expense of the Borrower) take
all reasonable steps to mitigate the effect of those circumstances (including but not limited to by
transferring its rights and obligations under this Agreement to an Affiliate or changing its lending
or transferring its rights and obligations under this Agreement in full and not in part for cash at par
plus all accrued and unpaid interest and other amounts outstanding (if any) to another bank,
financial institution or other person nominated for such purpose by the Loan Parties).

              (j)    The obligations of the Loan Parties under this Section 2.09 shall survive the
termination of this Agreement and the payment of the Loans and all other amounts payable
hereunder.

        Section 2.10 Increased Costs and Reduced Return. (a) If any Change in Law shall (i)
subject such Secured Party, or any Person controlling such Secured Party to any tax, duty or other
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charge with respect to this Agreement or any Loan made by such Agent or such Lender, or change
the basis of taxation of payments to such Secured Party or any Person controlling such Secured
Party of any amounts payable hereunder (except for (A) Indemnified Taxes, (B) Taxes described
in clauses (b) through (d) of the definition of Excluded Taxes and (C) Connection Income Taxes),
(ii) impose, modify or deem applicable any reserve, special deposit or similar requirement against
any Loan or against assets of or held by, or deposits with or for the account of, or credit extended
by, such Secured Party or any Person controlling such Secured Party or (iii) impose on such
Secured Party or any Person controlling such Secured Party any other condition regarding this
Agreement or any Loan, and the result of any event referred to in clauses (i), (ii) or (iii) above shall
be to increase the cost to such Secured Party of making any Loan, or agreeing to make any Loan,
or to reduce any amount received or receivable by such Secured Party hereunder, then, upon
demand by such Secured Party, the Borrowers shall pay to such Secured Party such Additional
Amount as will compensate such Secured Party for such increased costs or reductions in amount.

                (b)     If any Change in Law either (i) affects or would affect the amount of capital
required or expected to be maintained by such Secured Party or any Person controlling such
Secured Party, and such Secured Party determines that the amount of such capital is increased as
a direct or indirect consequence of any Loans made or maintained, such Secured Party’s or such
other controlling Person’s other obligations hereunder, or (ii) has or would have the effect of
reducing the rate of return on such Secured Party’s or such other controlling Person’s capital to a
level below that which such Secured Party or such controlling Person could have achieved but for
such circumstances as a consequence of any Loans made or maintained or any agreement to make
Loans or such Secured Party’s or such other controlling Person’s other obligations hereunder (in
each case, taking into consideration, such Secured Party’s or such other controlling Person’s
policies with respect to capital adequacy), then, within 30 days after demand by such Secured
Party, the Borrowers shall pay to such Secured Party from time to time such Additional Amount
as will compensate such Secured Party for such cost of maintaining such increased capital or such
reduction in the rate of return on such Secured Party’s or such other controlling Person’s capital.

                (c)      All amounts payable under this Section 2.10 shall bear interest from the date
that is 10 days after the date of demand by any Secured Party until payment in full to such Secured
Party at the Reference Rate. A certificate of such Secured Party claiming compensation under this
Section 2.10, specifying in reasonable detail the event herein above described and the nature of
such event shall be submitted by such Secured Party to the Administrative Borrower, setting forth
the Additional Amount due and an explanation of the calculation thereof, and such Secured Party’s
reasons for invoking the provisions of this Section 2.10, and shall be final and conclusive absent
manifest error.

               (d)     Failure or delay on the part of any Lender to demand compensation pursuant
to the foregoing provisions of this Section 2.10 shall not constitute a waiver of such Lender’s right
to demand such compensation; provided that the Borrowers shall not be required to compensate a
Lender pursuant to the foregoing provisions of this Section 2.10 for any increased costs incurred
or reductions suffered more than three months prior to the date that such Lender notifies the
Administrative Borrower of the Change in Law giving rise to such increased costs or reductions
and of such Lender’s intention to claim compensation therefor (except that, if the Change in Law


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giving rise to such increased costs or reductions is retroactive, then the three- month period referred
to above shall be extended to include the period of retroactive effect thereof).

              (e)    The obligations of the Loan Parties under this Section 2.10 shall survive the
termination of this Agreement and the payment of the Loans and all other amounts payable
hereunder.

       Section 2.11 Changes in Law; Impracticability or Illegality.

                (a)    The LIBOR Rate may be adjusted by the Administrative Agent with respect
to any Lender on a prospective basis to take into account any additional or increased costs to such
Lender of maintaining or obtaining any eurodollar deposits or increased costs due to any Change
in Law occurring subsequent to the commencement of the then applicable Interest Period,
including changes in the reserve requirements imposed by the Board of Governors of the Federal
Reserve System (or any successor), excluding changes in Tax laws and the Reserve Percentage,
which additional or increased costs would increase the cost of funding loans bearing interest at the
LIBOR Rate. In any such event, the affected Lender shall give the Administrative Borrower and
the Administrative Agent notice of such a determination and adjustment and the Administrative
Agent promptly shall transmit the notice to each other Lender and, upon its receipt of the notice
from the affected Lender, the Administrative Borrower may, by notice to such affected Lender
(i) require such Lender to furnish to the Administrative Borrower a statement setting forth the basis
for adjusting such LIBOR Rate and the method for determining the amount of such adjustment, or
(ii) repay the Loans with respect to which such adjustment is made (together with any amounts
due under Section 2.09).

                 (b)    In the event that any change in market conditions or any law, regulation,
treaty, or directive, or any change therein or in the interpretation of application thereof, shall at
any time after the date hereof, in the reasonable opinion of any Lender, make it unlawful or
impractical for such Lender to fund or maintain LIBOR Rate Loans or to continue such funding
or maintaining, or to determine or charge interest rates at the LIBOR Rate, such Lender shall give
notice of such changed circumstances to the Administrative Borrower and the Administrative
Agent, and the Administrative Agent promptly shall transmit the notice to each other Lender and
(i) in the case of any LIBOR Rate Loans of such Lender that are outstanding, the date specified in
such Lender’s notice shall be deemed to be the last day of the Interest Period of such LIBOR Rate
Loans, and interest upon the LIBOR Rate Loans of such Lender thereafter shall accrue interest at
the rate then applicable to Reference Rate Loans of the same type hereunder, and (ii) the Borrowers
shall not be entitled to elect the LIBOR Option (including in any Borrowing, conversion or
continuation then being requested) until such Lender determines that it would no longer be
unlawful or impractical to do so.

              (c)    The obligations of the Loan Parties under this Section 2.11 shall survive the
termination of this Agreement and the payment of the Loans and all other amounts payable
hereunder.

       Section 2.12 Incremental Facilities and Incremental Facility Loans.


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                (a)    Incremental Facilities. Following the Delayed Draw Facility Commitment
Period End Date, the Borrowers shall, in reliance on this Section 2.12, be permitted to, at any time
and from time to time and on one or more occasions, at their option, increase the size and scope of
the Credit Facilities, and obtain additional loan commitments (“Incremental Facility
Commitments”), and incur additional loans (“Incremental Facility Loans”), on such terms and
from such Persons (“Incremental Facility Lenders”), subject to Section 2.12(c), as determined by
the Borrowers, and amend the Loan Documents in connection therewith, including by (A)
increasing the total amount of one or more then-existing Classes of Commitments, and incurring
an additional principal amount of any Loan comprised in such Class, whether under one or more
then-existing tranches and/or new tranches of Loans within such Class, and/or (B) establishing one
or more new Classes of Commitments and Loans, and incurring additional Loans under one or
more tranches thereunder. Each Class of Incremental Facility Commitments, and all Incremental
Facility Loans and other Obligations incurred thereunder, shall constitute a new Credit Facility
established pursuant to this Section 2.12 (each, an “Incremental Facility”).

               (b)     Incremental Facility Commitments and Lenders. Subject to Section 2.12(c),
the Borrowers shall be permitted to solicit and obtain Incremental Facility Commitments from
such Person(s) as shall be satisfactory to them and reasonably acceptable to the Administrative
Agent (to the extent that the Administrative Agent’s consent is required under Section 12.07), and
each such Person shall become an Incremental Facility Lender pursuant to such terms, conditions,
and mechanics as determined by the Borrowers, subject to Section 2.12(c).

                (c)    Initial Lender Participation Option. The parties to this Agreement hereby
acknowledge and agree that, (x) the Loan Parties’ agreements and obligations under this Section
2.12(c) shall not at any time be for the benefit of any Person, and shall not at any time be
enforceable by any Person, unless, in each case, as of such time, such Person is (i) a BSP Lender,
who is not a Defaulting Lender and holds, when combined with all other BSP Lenders that are not
Defaulting Lenders, an aggregate amount of Effective Date Committed Debt that represents at
least 17% of all Effective Date Committed Debt held at such time by Lenders who are not
Defaulting Lenders or (ii) a Goldman Lender, who is not a Defaulting Lender and holds, when
combined with all other Goldman Lenders that are not Defaulting Lenders, an aggregate amount
of Effective Date Committed Debt that represents at least 17% of all Effective Date Committed
Debt held at such time by Lenders who are not Defaulting Lenders, as the case may be (each such
Person, an “Eligible Lender”), and (y) notwithstanding the continued effectiveness at any time of
this Agreement, taken as a whole, or of any other provisions hereof, as the case may be, the Loan
Parties’ agreements and obligations under this Section 2.12(c) shall terminate and cease to be in
force and effect immediately and automatically upon the occurrence of the Suspension Date.
Subject to the foregoing, the Loan Parties hereby agree that:

                       (i)     Except to the extent separately consented to by Lenders who at the
applicable time constitute Eligible Lenders (or, in the case of any such Eligible Lender
individually, except to the extent that such Eligible Lender shall have waived any of its rights or
benefits hereunder, or any noncompliance by the Loan Parties with any obligations owing to such
Eligible Lender hereunder), the Borrowers shall not solicit Incremental Facility Commitments nor
incur any Incremental Facility Loan at any time prior to the Suspension Date unless, not less than
ten (10) Business Days prior to the effective date of such Incremental Facility (the “Incremental

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Facility Effective Date”), a notice (an “Incremental Facility Notice”) shall have been made
available by or on behalf of the Borrowers to each Person that is an Eligible Lender, which
Incremental Facility Notice shall:

                             (A)      notify such Eligible Lender of (I) the aggregate principal
amount of Incremental Facility Loans proposed to be incurred under such Incremental Facility,
(II) the proposed Incremental Facility Effective Date and initial Borrowing Date thereunder (the
“Incremental Facility Loan Borrowing Date”), (III) the Eligible Lender Cap and Eligible Lender
Group Cap applicable to such Eligible Lender and its Eligible Lender Group, and (IV) any other
terms determined by the Borrowers to be relevant to such Incremental Facility; and

                               (B)    invite such Eligible Lender to elect (an “Incremental Facility
Commitment Election”) to become an Incremental Facility Lender in such Incremental Facility,
and to subscribe for and provide Incremental Facility Commitments for Incremental Facility Loans
thereunder, and to commit to fund the same as and when required pursuant to the Loan Documents,
in each case, by delivering to the Administrative Agent an Incremental Facility Commitment
Election Notice (an “Incremental Facility Commitment Election Notice”) in compliance with the
requirements of this Section 2.12(c) and taking such other actions as may be required pursuant to
the terms thereof.

                       (ii)   A Person that is an Eligible Lender in connection with any
Incremental Facility shall be deemed to have properly exercised its rights under Section
2.12(c)(i)(B) and to have thereby made an effective Incremental Facility Commitment Election
upon (but subject to) delivery to the Administrative Agent and the Administrative Borrower (in
accordance with the instructions set forth in the applicable Incremental Facility Notice), not later
than 11 a.m. (New York City time) on the Business Day prior to the Incremental Facility Effective
Date applicable thereto (the “Incremental Facility Commitment Election Deadline”) of a written
notice, signed by an authorized officer of such Eligible Lender and substantially in the form
attached to the Incremental Facility Notice relating to such Incremental Facility, and otherwise
determined by the Administrative Agent to be sufficient to constitute, as of the date thereof, a fully
effective and legally valid, binding, enforceable and irrevocable commitment by such Eligible
Lender to provide the principal amount of such Incremental Facility Loans specified therein, which
amount shall be permitted to exceed the Eligible Lender Cap applicable to such Lender to the
extent that the excess amount shall become available as a result of any Declined Amount (the
“Eligible Lender Subscription Amount”).

                       (iii)  Any Eligible Lender within any Eligible Lender Group shall be
permitted to, at its option, make an Incremental Facility Commitment Election for Incremental
Facility Loans in an amount equal to its Eligible Lender Cap, or in such higher or lower amount
as may be agreed by it and one or more other Eligible Lenders in its Eligible Lender Group, and
such Eligible Lenders shall be permitted to, at their discretion, re-allocate and apportion the
amounts comprising their Eligible Lender Group Cap in such manner as agreed by them to
facilitate the same; provided, that, after giving effect to any such allocation and apportionment
within such Eligible Lender Group, the sum of the aggregate amounts of their Incremental Facility
Commitment subscriptions (the amount of which shall be designated as the Eligible Lender
Subscription Amount in the Incremental Facility Commitment Election Notices delivered by such

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Eligible Lender Group by the Incremental Facility Commitment Election Deadline), shall not
exceed the applicable Eligible Lender Group Cap.

                      (iv)    If any Eligible Lender Group does not make an effective
Incremental Facility Commitment Election by the Incremental Facility Commitment Election
Deadline for the full amount of its Eligible Lender Group Cap (the difference, the “Declined
Amount”), the Borrowers may elect to (x) decrease the aggregate principal amount proposed for
such Incremental Facility by an amount up to the Declined Amount and/or (y) offer an amount up
to the Declined Amount to any other Eligible Lender Group, or any other Person(s) if such Eligible
Lender Group shall decline to subscribe for all or any portion thereof (except to the extent that the
excess amount shall become available as a result of any Declined Amount).

                        (v)     If any Eligible Lender makes an effective Incremental Facility
Commitment Election by the Incremental Facility Commitment Election Deadline but,
notwithstanding its good faith and best efforts, fails to secure final credit committee and other
internal approvals necessary to enable it to fund the full amount of Incremental Facility Loans
required to be funded by it on the applicable Incremental Facility Loan Borrowing Date (such
Eligible Lender, a “Non-Funding Lender”), the Borrowers shall either (x) permit other Eligible
Lenders to fund, in addition to the Incremental Facility Loans required to be funded by them on
such Incremental Facility Loan Borrowing Date pursuant to their own Incremental Facility
Commitment Election, Incremental Facility Loans in an amount corresponding to the amount that
such Non-Funding Lender was required to fund on such Incremental Facility Loan Borrowing Date
or (y) permit such Non-Funding Lender to fund such Incremental Facility Loans at any time prior
to the 60th calendar day after the applicable Incremental Facility Notice shall have been received
by it (the “Non-Funding Lender Participation Date”); provided, that, if such Incremental Facility
Loans were funded by other Lenders pursuant to clause (x), such Non-Funding Lender shall be
permitted to acquire (and such Eligible Lender that funded such Non-Funding Lender’s
commitment shall be required to sell) such Incremental Facility Loans pursuant to an assignment
(which shall be at par, and subject to customary terms and conditions and documentation
reasonably satisfactory to the parties; provided that if any funding Lender does not execute an
assignment within ten (10) Business Days after receipt from such Non-Funding Lender, such Non-
Funding Lender shall be entitled (but not obligated) to execute such assignment on behalf of such
funding Lender, and any such assignment so executed shall be effective). Incremental Facility
Loans made or acquired by any Non-Funding Lender in accordance with the foregoing shall
benefit from ‘true-up’ rights with respect to any fees paid on account of such Incremental Facility
Loans as if such Non-Funding Lender had funded such Incremental Facility Loans on the
applicable Incremental Facility Loan Borrowing Date. Notwithstanding the foregoing, any Lender
that exercises its rights hereunder to participate in such Incremental Facility at a later date and
becomes a Non-Funding Lender as a result thereof, shall become a Defaulting Lender as of the
Non-Funding Lender Participation Date if it fails to fund or acquire such Loans by such time.

                      (vi)    If, notwithstanding the Borrowers’ compliance with their
obligations under this Section 2.12, the amount of Incremental Facility Commitments validly
provided by Eligible Lenders for any Incremental Facility is less than the aggregate principal
amount of Incremental Facility Loans requested by the Borrowers thereunder, or if any Eligible
Lender fails to fund the full amount of Incremental Facility Loans required to be funded by it

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pursuant to its Incremental Facility Commitment (after giving effect to Section 2.12(c)(v)) in the
case of any Non-Funding Lender), the Borrowers shall automatically cease to have any obligations
under this Section 2.12(c) or otherwise to any such Eligible Lender or with respect to such
Incremental Facility Commitments and Incremental Facility Loans, and shall be permitted to
solicit and obtain the same from any other Person and on any terms determined by the Borrower.

               (d)     Incremental Facility Terms and Documentation.

                         (i)    Incremental Facilities shall become effective, and Incremental
Facility Loans shall be incurred, pursuant to this Agreement, and such other Loan Documents as
determined to be applicable by the Agents, in each case, as supplemented, amended and/or
otherwise modified in connection therewith pursuant to one or more agreements and other
documents entered into by the Agents on behalf of itself and the Lenders in reliance on the
direction and authorization deemed hereby to have been provided to it by each Lender
automatically upon such Lender becoming a party hereto (each, an “Incremental Facility
Amendment”), and each Person providing Incremental Facility Commitments shall become an
Incremental Facility Lender and a Lender hereunder pursuant to the terms of the applicable
Incremental Facility Amendment and/or any other agreement (including any joinder to this
Agreement) in form and substance satisfactory to the Administrative Agent. In furtherance of the
foregoing, each Lender hereby agrees (and shall be deemed to agree, automatically upon and as a
result of becoming a Lender hereunder) that (i) notwithstanding any provision to the contrary in
Section 12.02 of this Agreement, Incremental Facility Amendments may, without its consent,
effect such amendments to this Agreement and the other Loan Documents as may be necessary or
desirable, in the reasonable opinion of the Administrative Agent and the Administrative Borrower,
to effect the provisions of, and implement the Incremental Facilities contemplated by, this Section
2.12 (including to effectuate changes to the amortization schedule and amounts of any Class of
existing Loans to allow for the Incremental Facility Loans to be treated as “fungible” with such
Class of existing Loans, to extend any call protection and to provide for such other terms to apply
to all such Loans in the manner required to give effect to the terms of the applicable Incremental
Facility), and (ii) each Agent shall hereby be deemed irrevocably authorized by it to enter into any
and all such Incremental Facility Amendments.

                       (ii)    Incremental Facilities shall have such pricing, economics,
covenants, incurrence conditions, credit support and other terms and conditions as agreed by the
Borrowers and the applicable Incremental Facility Lenders and set forth in the Incremental Facility
Amendment applicable thereto, and, subject to the foregoing, all Incremental Facility Loans, and
all other Indebtedness and obligations under the Incremental Facilities, shall constitute super-
senior priming Indebtedness of the Loan Parties and their Subsidiaries, and shall rank senior in
right of payment (but, for the avoidance of doubt, ratably in respect of security) to the Initial Term
Loans and Delayed Draw Term Loans, and shall at all times have first-priority with respect to Loan
prepayments, and any proceeds of Collateral; provided, subject to Section 2.12(c), Incremental
Facility Loans ranking senior in right of payment to Initial Term Loans and Delayed Draw Term
Loans shall not be incurred prior to the occurrence of the Suspension Date under any Incremental
Facility comprised of Incremental Facility Lenders that do not include one or more BSP Lenders
and Goldman Lenders constituting Eligible Lenders (each, an “Incremental Third Party Facility”)
without the consent of such Eligible Lenders, unless (i) the amount of Liquidity shall not exceed

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$2,500,000 as of the date of the Incremental Facility Notice relating to such Incremental Facility
(as confirmed in such Incremental Facility Notice), (ii) the non-default interest rate applicable to
such Incremental Facility Loans does not exceed the interest rate applicable to Parent Junior
Preferred Equity held by Goldman Persons at such time, (iii) there shall be no call-protection
applicable to such Incremental Facility, and (iv) the proceeds of such Incremental Facility Loans
shall only be used (A) to repay, redeem, refinance, replace or otherwise restructure any ABL
Indebtedness (or any portion thereof) upon an “Event of Default” thereunder that caused an
acceleration of the maturity of such ABL Indebtedness, but only to the extent that, notwithstanding
the use of commercially reasonable efforts, the Borrowers were unable to obtain from the capital
markets alternative refinancing Indebtedness provided by a bank deemed by the Borrowers to be
comparable to the bank providing the accelerated ABL Facility and on terms and pricing at least
as favorable to the Borrowers as that in effect under the accelerated ABL Facility at the time of
incurrence thereof, and to pay any fees, costs and expenses associated therewith, (B) to finance
working capital and operations, and (C) for Permitted Capital Expenditures; provided, that (x) the
aggregate amount of Permitted Capital Expenditures made after the Effective Date in any twelve-
month period ending prior to the second (2nd) anniversary of the Effective Date shall not exceed
$12,000,000, and (y) the aggregate amount of Permitted Capital Expenditures made at any time
and from time to time after the Effective Date but prior to the third (3rd) anniversary of the Effective
Date shall not exceed $30,000,000. In addition, such Incremental Third Party Facilities shall be
subject to the following:

                              (A)     (x) the final scheduled maturity date applicable to such
Incremental Third Party Facility shall not be earlier than the then final scheduled maturity date of
the Initial Term Loans and the Delayed Draw Term Loans with the latest Final Maturity Date then
in effect and (y) the weighted average life to maturity of such Incremental Facility shall not be
shorter than the remaining weighted average life to maturity of the Initial Term Loans and the
Delayed Draw Term Loans with the latest Final Maturity Date then in effect;

                               (B)     such Incremental Third Party Facility shall not be secured by
property other than the Collateral, nor shall such Incremental Facility be guaranteed by any Person
other than a Loan Party;

                               (C)    the aggregate principal amount of all Incremental Facility
Commitments and outstanding Incremental Facility Loans, solely with respect to Incremental
Third Party Facilities, shall not exceed an amount equal to the sum of (x) $15,000,000 and (y)
solely in the event that, on a pro forma basis, the Total Secured Debt Leverage Ratio does not
exceed 5.00:1.00, 100% of Consolidated EBITDA for the most recent four-quarter period for
which financial statements have been delivered to the Administrative Agent;

                                (D)     each of the representations and warranties of the Loan
Parties in this Agreement shall be true and correct in all material respects (except that such
materiality qualifier shall not be applicable to any representations or warranties that already are
qualified or modified as to materiality or “Material Adverse Effect” in the text thereof, which
representations and warranties shall be true and correct in all respects subject to such qualification)
on and as of the date of such Incremental Third Party Facility is incurred as though made on and
as of such date, except to the extent that any such representation or warranty expressly relates
solely to an earlier date (in which case such representation or warranty shall be true and correct on
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and as of such earlier date in all material respects (except that such materiality qualifier shall not
be applicable to any representations or warranties that already are qualified or modified as to
materiality or “Material Adverse Effect” in the text thereof, which representations and warranties
shall be true and correct in all respects subject to such qualification));

                              (E)    at the time of, and immediately after giving effect to, such
Borrowing of Incremental Facility Loans in respect of any Incremental Third Party Facility, no
Default or Event of Default shall have occurred and be continuing or would result therefrom; and

                               (F)     delivery of customary legal opinion, corporate
authorizations, and secretary certificates as the Administrative Agent may reasonably request.

        Section 2.13 Benchmark Replacement Rate. Notwithstanding anything to the contrary
herein or in any other Loan Document:

               (a)      Replacing LIBOR Rate. On March 5, 2021 the Financial Conduct Authority
(“FCA”), the regulatory supervisor of USD LIBOR’s administrator (“IBA”), announced in a public
statement the future cessation or loss of representativeness of overnight/Spot Next, 1-month, 2-
month, 3-month, 6-month and 12- month LIBOR Rate tenor settings. On the earlier of (i) the date
that all Available Tenors of LIBOR Rate have either permanently or indefinitely ceased to be
provided by IBA or have been announced by the FCA pursuant to public statement or publication
of information to be no longer representative and (ii) the Early Opt-in Effective Date, if the then
current Benchmark is LIBOR Rate, the Benchmark Replacement will replace such Benchmark for
all purposes hereunder and under any Loan Document in respect of any setting of such Benchmark
on such day and all subsequent settings without any amendment to, or further action or consent of
any other party to this Agreement or any other Loan Document. If the Benchmark Replacement is
Daily Simple SOFR, all interest payments will be payable on a monthly or quarterly basis, at the
Administrative Borrower’s election.

               (b)      Replacing Future Benchmarks. Upon the occurrence of a Benchmark
Transition Event, the Benchmark Replacement will replace the then-current Benchmark for all
purposes hereunder and under any Loan Document in respect of any Benchmark setting at or after
5:00 p.m. on the fifth (5th) Business Day after the date notice of such Benchmark Replacement is
provided to the Lenders without any amendment to, or further action or consent of any other party
to, this Agreement or any other Loan Document so long as the Administrative Agent has not
received, by such time, written notice of objection to such Benchmark Replacement from Lenders
comprising the Required Lenders. At any time that the administrator of the then-current
Benchmark has permanently or indefinitely ceased to provide such Benchmark or such Benchmark
has been announced by the regulatory supervisor for the administrator of such Benchmark pursuant
to public statement or publication of information to be no longer representative of the underlying
market and economic reality that such Benchmark is intended to measure and that
representativeness will not be restored, the Administrative Borrower may revoke any request for
a Borrowing of, conversion to or continuation of Loans to be made, converted or continued that
would bear interest by reference to such Benchmark until the Administrative Borrower’s receipt
of notice from the Administrative Agent that a Benchmark Replacement has replaced such
Benchmark, and, failing that, the Administrative Borrower will be deemed to have converted any
such request into a request for a Borrowing of or conversion to Reference Rate Loans. During the
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period referenced in the foregoing sentence, the component of Reference Rate based upon the
Benchmark will not be used in any determination of Reference Rate.

                (c)    Benchmark Replacement Conforming Changes. In connection with the
implementation and administration of a Benchmark Replacement, the Administrative Agent will
have the right to make Benchmark Replacement Conforming Changes from time to time and,
notwithstanding anything to the contrary herein or in any other Loan Document, any amendments
implementing such Benchmark Replacement Conforming Changes will become effective without
any further action or consent of any other party to this Agreement.

                (d)    Notices; Standards for Decisions and Determinations. The Administrative
Agent will promptly notify the Administrative Borrower and the Lenders of (i) the implementation
of any Benchmark Replacement and (ii) the effectiveness of any Benchmark Replacement
Conforming Changes. Any determination, decision or election that may be made by the
Administrative Agent or, if applicable, any Lender (or group of Lenders) pursuant to this Section,
including any determination with respect to a tenor, rate or adjustment or of the occurrence or non-
occurrence of an event, circumstance or date and any decision to take or refrain from taking any
action, will be conclusive and binding absent manifest error and may be made in its or their sole
discretion and without consent from any other party hereto, except, in each case, as expressly
required pursuant to this Section.

              (e)    Unavailability of Tenor of Benchmark. At any time (including in
connection with the implementation of a Benchmark Replacement), (i) if the then-current
Benchmark is a term rate (including Term SOFR or LIBOR Rate), then the Administrative Agent
may remove any tenor of such Benchmark that is unavailable or non-representative for Benchmark
(including Benchmark Replacement) settings and (ii) the Administrative Agent may reinstate any
such previously removed tenor for Benchmark (including Benchmark Replacement) settings.

                                          ARTICLE III

                               [INTENTIONALLY OMITTED]

                                          ARTICLE IV

               APPLICATION OF PAYMENTS; DEFAULTING LENDERS

       Section 4.01 Payments; Computations and Statements. (a) The Borrowers will make each
payment under this Agreement not later than 2:00 pm (New York City time) on the day when due,
in lawful money of the United States of America and in immediately available funds, to the
Administrative Agent’s Loan Account. All payments received by the Administrative Agent after
2:00 pm (New York City time) on any Business Day will be credited to the Loan Account on the
next succeeding Business Day. All payments shall be made by the Borrowers without set-off,
counterclaim, recoupment, deduction or other defense to the Agents and the Lenders. Except as
provided in Section 2.02 or Section 2.05, and except as otherwise provided pursuant to Section
4.02, Section 4.03 or in connection with any Incremental Facility Loan, after receipt, the
Administrative Agent will promptly thereafter cause to be distributed like funds relating to the
payment of principal ratably to the Lenders in accordance with their Pro Rata Shares and like funds
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relating to the payment of any other amount payable to any Lender to such Lender, in each case to
be applied in accordance with the terms of this Agreement. The Lenders and the Borrowers hereby
authorize the Administrative Agent to, and the Administrative Agent may, from time to time,
charge the Loan Account of the Borrowers with any amount due and payable by the Borrowers
under any Loan Document. Each of the Lenders and the Borrowers agrees that the Administrative
Agent shall have the right to make such charges whether or not any Default or Event of Default
shall have occurred and be continuing or whether any of the conditions precedent in Article V have
been satisfied. Any amount charged to the Loan Account of the Borrowers shall be deemed to be
Obligations. Whenever any payment to be made under any such Loan Document shall be stated
to be due on a day other than a Business Day, such payment shall be made on the next succeeding
Business Day and such extension of time shall in such case be included in the computation of
interest or fees, as the case may be, but not be deemed to be a Default or Event of Default. All
computations of interest and fees shall be made by the Administrative Agent on the basis of a year
of 360 days for the actual number of days. Each determination by the Administrative Agent of an
interest rate or fees hereunder shall be conclusive and binding for all purposes in the absence of
manifest error.

                (b)    The Administrative Agent shall provide the Administrative Borrower,
reasonably promptly after the end of each fiscal month (or on such specified dates as may be
mutually agreed by them), a summary statement (in the form from time to time used by the
Administrative Agent) of the opening and closing daily balances in the Loan Account of the
Borrowers during such month, the amounts and dates of all Loans made to the Borrowers during
such month, the amounts and dates of all payments on account of the Loans to the Borrowers
during such month and the Loans to which such payments were applied, the amount of interest
accrued on the Loans to the Borrowers during such month and the amount and nature of any
charges to the Loan Account made during such month on account of fees, commissions, expenses
and other Obligations. All entries on any such statement shall be presumed to be correct and, 30
days after the same is sent, shall be final and conclusive absent manifest error.

        Section 4.02 Sharing of Payments. Except as otherwise provided herein (as of the
Effective Date), or in Section 2.02 or any other provisions hereof (in each case as of the Effective
Date), if any Lender shall obtain any payment (whether voluntary, involuntary, through the
exercise of any right of set-off, or otherwise) on account of any Obligation in excess of its Pro
Rata Share of payments on account of such obligations obtained by all other Lenders entitled
thereto pursuant to the terms hereof (subject to Section 4.03), such Lender shall forthwith purchase
from the other Lenders such participations in such similar obligations held by them as shall be
necessary to cause such purchasing Lender to share the excess payment ratably with each of them;
provided, however, that (a) if all or any portion of such excess payment is thereafter recovered
from such purchasing Lender, such purchase from each Lender shall be rescinded and each Lender
shall repay to the purchasing Lender the purchase price to the extent of such recovery together
with an amount equal to such Lender’s ratable share (according to the proportion of (i) the amount
of such Lender’s required repayment to (ii) the total amount so recovered from the purchasing
Lender) of any interest or other amount paid by the purchasing Lender in respect of the total
amount so recovered and (b) the provisions of this Section shall not be construed to apply to (i)
any payment made by the Borrowers pursuant to and in accordance with the express terms of this
Agreement (including the application of funds arising from the existence of a Defaulting Lender,

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and any payments made solely in connection with one Class of Loans, or pursuant to a payment
waterfall or priority specifically applicable to Incremental Facility Loans), or (ii) any payment
obtained by a Lender as consideration for any assignment or other transfer of, or any sale of a
participation in, any of its Loans and/or Commitments. The Borrowers agree that any Lender so
purchasing a participation from another Lender pursuant to this Section may, to the fullest extent
permitted by law, exercise all of its rights (including the Lender’s right of set-off) with respect to
such participation as fully as if such Lender were the direct creditor of the Borrowers in the amount
of such participation.

        Section 4.03 Apportionment of Payments. Subject to Section 2.02 hereof and to any
written agreement among the Agents and/or the applicable Lenders:

                 (a)     Prior to the occurrence of an Event of Default, all payments of principal and
interest in respect of outstanding Loans (including optional and mandatory prepayments pursuant
to Section 2.05, all payments of fees (other than (i) the fees set forth in Section 2.06 hereof, (ii)
any fees or other consideration on account of any Lender consent or waiver, or any assignment,
transfer or sale of participation in any Loan, each of which shall be due to such Lender in
accordance with the terms thereof, and (iii) as provided by the applicable Incremental Facility
Amendment with respect to any fees or other consideration payable in connection with any
Incremental Facility Loans or otherwise to any Incremental Facility Lenders thereunder, as the
case may be), and all other payments in respect of any other Obligations, shall be allocated by the
Administrative Agent to such of the Lenders as are entitled thereto (in proportion to their respective
Pro Rata Shares, or otherwise as provided herein, or, in respect of payments not made on account
of Loans, as designated by the Person making payment when the payment is made); provided, that,
no optional or mandatory prepayments (or other payments in connection therewith, including any
accrued interest) shall be made by any Loan Party or any Person on its behalf (or applied by any
Agent), or accepted by any Lender, in each case, on account of (x) any Delayed Draw Term Loan
or any Initial Term Loan, (I) unless and until all Incremental Facility Loans (including the principal
thereof, and all accrued and unpaid interest and fees thereon, and all other Obligations relating
thereto) have been paid in full in cash in accordance with, and as otherwise required pursuant to,
the terms thereof (including any terms set forth in any Incremental Facility Amendment relating
thereto) or (II) unless, but solely to the extent that, payment thereof is expressly permitted pursuant
to, and made in accordance with, the terms of such Incremental Facility Loans, or any consent of
the applicable the Incremental Facility Lenders holding such Loans granted in accordance with
such terms, as the case may be (including any payment of any Delayed Draw Term Loan or any
Initial Term Loan made with any amounts declined by any Incremental Facility Lenders, if
permitted by such Lenders); or (y) any Initial Term Loan, except upon compliance in full with the
terms of clause (x) of this proviso, and, subject thereto, (I) unless and until all Delayed Draw Term
Loans (including the principal thereof, and all accrued and unpaid interest and fees thereon, and
all other Obligations relating thereto) have been paid in full in cash in accordance with, and as
otherwise required pursuant to, the terms thereof or (II) unless, but solely to the extent that,
payment thereof is expressly permitted pursuant to, and made in accordance with, the terms of
such Delayed Draw Term Loans, or any consent of the applicable the Lenders holding such Loans
granted in accordance with such terms, as the case may be. For the avoidance of doubt, the terms
of this proviso shall constitute part of the Pre-Default Waterfall.


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                 (b)      After the occurrence and during the continuance of an Event of Default, the
Administrative Agent may, and upon the direction of the Collateral Agent or the Required Lenders
shall, apply all payments in respect of any Obligations, including without limitation, all proceeds
of the Collateral, (i) first, ratably to pay the Obligations in respect of any fees, expense
reimbursements, indemnities and other amounts then due and payable to the Agents until paid in
full; (ii) second, to pay interest then due and payable in respect of the Collateral Agent Advances
until paid in full; (iii) third, to pay principal of the Collateral Agent Advances until paid in full;
(iv) fourth, ratably to pay the Obligations owing to the Incremental Facility Lenders in respect of
any fees (including any Applicable Premium), expense reimbursements, indemnities and other
amounts then due and payable to Incremental Facility Lenders until paid in full; (v) fifth, ratably
to pay interest then due and payable in respect of the Incremental Facility Loans until paid in full;
(vi) sixth, ratably to pay principal of the Incremental Facility Loans until paid in full; (vii) seventh,
to the ratable payment of all other Obligations then due and payable with respect to the Incremental
Facility Loans; (viii) eighth (but only subject to the prior payment in full of all Obligations in
respect of the Incremental Facility Loans and all other amounts described in foregoing clauses (i)
through (vii)), ratably to pay the Obligations owing to the Delayed Draw Term Loan Lenders in
respect of any fees (including any Applicable Premium), expense reimbursements, indemnities
and other amounts then due and payable to the Delayed Draw Term Loan Lenders until paid in
full; (ix) ninth, ratably to pay interest then due and payable in respect of the Delayed Draw Term
Loans until paid in full; (x) tenth, ratably to pay principal of the Delayed Draw Term Loans until
paid in full; (xi) eleventh, to the ratable payment of all other Obligations then due and payable
with respect to the Delayed Draw Term Loans; (xii) twelfth (but only subject to the prior payment
in full of all Obligations in respect of the Incremental Facility Loans, the Delayed Draw Term
Loans, and all other amounts described in foregoing clauses (i) through (xi)), ratably to pay the
Obligations owing to the Initial Term Loan Lenders in respect of any fees (including any
Applicable Premium), expense reimbursements, indemnities and other amounts then due and
payable to the Initial Term Loan Lenders until paid in full; (xiii) thirteenth, ratably to pay interest
then due and payable in respect of the Initial Term Loans until paid in full; (xiv) fourteenth, ratably
to pay principal of the Initial Term Loans until paid in full; (xv) fifteenth, to the ratable payment
of all other Obligations then due and payable with respect to the Initial Term Loans until paid in
full; and (xvi) sixteenth (but only subject to the prior payment in full of all Obligations in respect
of the Incremental Facility Loans, the Delayed Draw Term Loans, the Initial Term Loans and all
other amounts described in foregoing clauses (i) through (xv)), the remainder, if any, to the
Borrowers or as otherwise required by applicable laws.

               (c)    For purposes of Section 4.03(b), “paid in full” means payment in cash of all
amounts owing under the Loan Documents according to the terms thereof, including loan fees,
service fees, professional fees, interest (and specifically including interest accrued after the
commencement of any Insolvency Proceeding), default interest, interest on interest, and expense
reimbursements, whether or not same would be or is allowed or disallowed in whole or in part in
any Insolvency Proceeding.

                (d)     In the event of a direct conflict between the priority provisions of this
Section 4.03 and other provisions contained in any other Loan Document, it is the intention of the
parties hereto that both such priority provisions in such documents shall be read together and
construed, to the fullest extent possible, to be in concert with each other. In the event of any actual,

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irreconcilable conflict that cannot be resolved as aforesaid, the terms and provisions of this Section
4.03 shall control and govern, except that payments to any Incremental Facility or any Lender
thereunder shall be governed by the applicable Incremental Facility Amendment.

        Section 4.04 Defaulting Lenders. Notwithstanding anything to the contrary contained in
this Agreement, if any Lender becomes a Defaulting Lender, then, until such time as such Lender
is no longer a Defaulting Lender, to the extent permitted by applicable law:

                (a)     Such Defaulting Lender’s right to approve or disapprove any amendment,
waiver or consent with respect to this Agreement shall be restricted as set forth in Section 12.02.
The Administrative Agent shall not be obligated to transfer to such Defaulting Lender any
payments made by any Borrower to the Administrative Agent for such Defaulting Lender’s
benefit, and, in the absence of such transfer to such Defaulting Lender, the Administrative Agent
shall transfer any such payments to each other non-Defaulting Lender ratably in accordance with
their Pro Rata Shares (without giving effect to the Pro Rata Shares of such Defaulting Lender) (but
only to the extent that such Defaulting Lender’s Loans were funded by the other Lenders) or, if so
directed by the Administrative Borrower and if no Default or Event of Default has occurred and is
continuing (and to the extent such Defaulting Lender’s Loans were not funded by the other
Lenders), retain the same to be re-advanced to the Borrowers as if such Defaulting Lender had
made such Loans to the Borrowers. Subject to the foregoing, the Administrative Agent may hold
and, in its discretion, re-lend to the Borrowers for the account of such Defaulting Lender the
amount of all such payments received and retained by the Administrative Agent for the account of
such Defaulting Lender.

                (b)      Any such failure to fund by any Defaulting Lender shall constitute a
material breach by such Defaulting Lender of this Agreement and shall entitle the Borrowers to
replace the Defaulting Lender with one or more substitute Lenders, and the Defaulting Lender
shall have no right to refuse to be replaced hereunder. Such notice to replace the Defaulting Lender
shall specify an effective date for such replacement, which date shall not be later than 15 Business
Days after the date such notice is given. Prior to the effective date of such replacement, the
Defaulting Lender shall execute and deliver an Assignment and Acceptance, subject only to the
Defaulting Lender being repaid its share of the outstanding Obligations without any premium or
penalty of any kind whatsoever. If the Defaulting Lender shall refuse or fail to execute and deliver
any such Assignment and Acceptance prior to the effective date of such replacement, the
Defaulting Lender shall be deemed to have executed and delivered such Assignment and
Acceptance. The replacement of any Defaulting Lender shall be made in accordance with the
terms of Section 12.07.

               (c)    The operation of this Section 4.04 shall not be construed to increase or
otherwise affect the Commitments of any Lender, to relieve or excuse the performance by such
Defaulting Lender or any other Lender of its duties and obligations hereunder, or to relieve or
excuse the performance by any Borrower of its duties and obligations hereunder to the
Administrative Agent or to the Lenders other than such Defaulting Lender.

                (d)     This Section 4.04 shall remain effective with respect to such Lender until
either (i) the Obligations under this Agreement shall have been declared or shall have become
immediately due and payable or (ii) the non-Defaulting Lenders, the Agents, and the Borrowers
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shall have waived such Defaulting Lender’s default in writing, and the Defaulting Lender makes
its Pro Rata Share of the applicable defaulted Loans and pays to the Agents all amounts owing by
such Defaulting Lender in respect thereof; provided that no adjustments will be made

              (e)     retroactively with respect to fees accrued or payments made by or on behalf
of the Borrowers while such Lender was a Defaulting Lender; provided, further, that except to the
extent otherwise expressly agreed by the affected parties, no change hereunder from Defaulting
Lender to Lender will constitute a waiver or release of any claim of any party hereunder arising
from such Lender’s having been a Defaulting Lender.

       Section 4.05 Administrative Borrower; Joint and Several Liability of the Borrowers.

                (a)     Each Borrower hereby irrevocably appoints Holdco Borrower as the
borrowing agent and attorney-in-fact for, and representative of, such Borrower and the Borrowers
collectively (Holdco Borrower, in such capacities, the “Administrative Borrower”), which
appointment shall remain in full force and effect unless and until the Agents shall have received
prior written notice signed by all of the Borrowers that such appointment has been revoked and
that another Borrower has been appointed Administrative Borrower. Each Borrower hereby
irrevocably appoints and authorizes the Administrative Borrower (i) to provide to any Agent and
to any or all of the Lenders (as applicable), and to receive, for and on its behalf, from any Agent
and/or any of the Lenders, as the case may be, all notices with respect to any Loan or Obligations
obtained for the benefit of any Borrower, and all other notices, agreements and other instruments
and instructions under or with respect to this Agreement or any of the other Loan Documents, or
any transactions hereunder, or any Obligations (it being agreed that any obligation or requirement
providing for any Agent or Lender to deliver any notice, agreement, instrument or other document
or any instruction to the Borrowers (or any one of them) shall be construed as requiring delivery
thereof only to the Administrative Borrower, and shall be deemed satisfied accordingly) and (ii)
to take such action as the Administrative Borrower deems appropriate on its behalf to obtain Loans
and to exercise such other powers as are reasonably incidental thereto to carry out the purposes of
this Agreement. It is understood that the handling of the Loan Account and Collateral of the
Borrowers in a combined fashion, as more fully set forth herein, is done solely as an
accommodation to the Borrowers in order to utilize the collective borrowing powers of the
Borrowers in the most efficient and economical manner and at their request, and that neither the
Agents nor the Lenders shall incur liability to the Borrowers as a result hereof. Each Borrower
expects to derive benefit, directly or indirectly, from the handling of the Loan Account and the
Collateral in a combined fashion since the successful operation of each Borrower is dependent on
the continued successful performance of the integrated group.

                (b)     Each Borrower hereby accepts joint and several liability hereunder and
under the other Loan Documents in consideration of the financial accommodations to be provided
by the Agents and the Lenders under this Agreement and the other Loan Documents, for the mutual
benefit, directly and indirectly, of each of the Borrowers and in consideration of the undertakings
of the other Borrowers to accept joint and several liability for the Obligations. Each of the
Borrowers, jointly and severally, hereby irrevocably and unconditionally accepts, not merely as a
surety but also as a co-debtor, joint and several liability with the other Borrowers, with respect to
the payment and performance of all of the Obligations (including, without limitation, any
Obligations arising under this Section 4.05), it being the intention of the parties hereto that all of
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the Obligations shall be the joint and several obligations of each of the Borrowers without
preferences or distinction among them. If and to the extent that any of the Borrowers shall fail to
make any payment with respect to any of the Obligations as and when due or to perform any of
the Obligations in accordance with the terms thereof, then in each such event, the other Borrowers
will make such payment with respect to, or perform, such Obligation. Subject to the terms and
conditions hereof, the Obligations of each of the Borrowers under the provisions of this Section
4.05 constitute the absolute and unconditional, full recourse Obligations of each of the Borrowers,
enforceable against each such Person to the full extent of its properties and assets, irrespective of
the validity, regularity or enforceability of this Agreement, the other Loan Documents or any other
circumstances whatsoever.

                 (c)     The provisions of this Section 4.05 are made for the benefit of the Secured
Parties and their successors and permitted assigns, and may be enforced by them from time to
time against any or all of the Borrowers as often as occasion therefor may arise and without
requirement on the part of the Secured Parties or such successors or assigns first to marshal any of
its or their claims or to exercise any of its or their rights against any of the other Borrowers or to
exhaust any remedies available to it or them against any of the other Borrowers or to resort to any
other source or means of obtaining payment of any of the Obligations hereunder or to elect any
other remedy. The provisions of this Section 4.05 shall remain in effect until all of the Obligations
shall have been paid in full or otherwise fully satisfied.

                (d)    Each of the Borrowers hereby agrees that it will not enforce any of its rights
of contribution or subrogation against the other Borrowers with respect to any liability incurred by
it hereunder or under any of the other Loan Documents, any payments made by it to the Agents or
the Lenders with respect to any of the Obligations or any Collateral, until such time as all of the
Obligations have been paid in full in cash. Any claim which any Borrower may have against any
other Borrower with respect to any payments to the Agents or the Lenders hereunder or under any
other Loan Documents are hereby expressly made subordinate and junior in right of payment,
without limitation as to any increases in the Obligations arising hereunder or thereunder, to the
prior payment in full in cash of the Obligations.

                                           ARTICLE V

                    CONDITIONS TO EFFECTIVE DATE AND LOANS

        Section 5.01 Conditions Precedent to Effectiveness and Initial Term Loans. This
Agreement, and the obligation each Lender to make (or be deemed to make) the Initial Term Loans
pursuant to Section 2.01(a) shall become effective as of the Business Day (the “Effective Date”)
when each of the following conditions precedent shall have been satisfied in a manner satisfactory
to (or waived by) the Agents:

               (a)      Payment of Fees, Etc. The Borrowers shall have paid on or before the
Effective Date all fees, costs, expenses and taxes then payable pursuant to Section 2.06 and Section
12.04.

              (b)     Representations and Warranties; No Event of Default. The following
statements shall be true and correct: (i) the representations and warranties of the Loan Parties
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contained in Article VI and in each other Loan Document delivered on or prior to the Effective
Date are true and correct in all material respects (except that such materiality qualifier shall not be
applicable to any representations or warranties that already are qualified or modified as to
materiality or “Material Adverse Effect” in the text thereof, which representations and warranties
shall be true and correct in all respects subject to such qualification) on and as of the Effective
Date as though made on and as of such date, except to the extent that any such representation or
warranty expressly relates solely to an earlier date (in which case such representation or warranty
shall be true and correct on and as of such earlier date in all material respects (except that such
materiality qualifier shall not be applicable to any representations or warranties that already are
qualified or modified as to materiality or “Material Adverse Effect” in the text thereof, which
representations and warranties shall be true and correct in all respects subject to such
qualification)) and (ii) no Default or Event of Default shall have occurred and be continuing on
the Effective Date or would result from this Agreement or the other Loan Documents becoming
effective in accordance with its or their respective terms.

                (c)     Delivery of Documents. The Collateral Agent (or its counsel) shall have
received on or before the Effective Date the following, each in form and substance reasonably
satisfactory to the Collateral Agent and, unless indicated otherwise, dated the Effective Date and,
if applicable, duly executed by the Persons party thereto:

                         (i)     a Security Agreement, together with the original stock certificates
or certificated limited liability company interests (if any) representing all of the Equity Interests in
the Borrowers and their Subsidiaries who are Guarantors, and all of the Equity Interests owned by
the Borrowers and each Guarantor (including the Equity Interests in GC Services (Barbados) SRL)
and all promissory notes required to be pledged thereunder, accompanied by undated stock powers
executed in blank and other proper instruments of transfer;

                       (ii)    evidence of financing statements on Form UCC-1 in such office or
offices as may be necessary or, in the opinion of the Collateral Agent, desirable to perfect the
security interests purported to be created by each Security Agreement;

                     (iii)   the results of searches for any effective UCC financing statements,
tax Liens or judgment Liens filed against any Loan Party or its property, which results shall not
show any such Liens (other than Permitted Liens acceptable to the Collateral Agent);

                       (iv)     a Perfection Certificate;

                       (v)      the Fee Letter;

                       (vi)     the Intercompany Subordination Agreement;

                       (vii)    the ABL/Term Intercreditor Agreement;

                       (viii)   the Term Intercreditor Agreement;

                       (ix)  a certificate of an Authorized Officer of each Loan Party, certifying
(A) as to copies of the Governing Documents of such Loan Party, together with all amendments

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thereto (including, without limitation, a true and complete copy of the charter, certificate of
incorporation, certificate of formation, certificate of limited partnership or other publicly filed
organizational document of each Loan Party certified as of a recent date by an appropriate official
of the jurisdiction of organization of such Loan Party which shall set forth the same complete name
of such Loan Party as is set forth herein and the organizational number of such Loan Party, if an
organizational number is issued in such jurisdiction), (B) as to a copy of the resolutions or written
consents of such Loan Party authorizing (1) the Borrowings hereunder and the transactions
contemplated by the Loan Documents to which such Loan Party is or will be a party, and (2) the
execution, delivery and performance by such Loan Party of each Loan Document to which such
Loan Party is or will be a party and the execution and delivery of the other documents to be
delivered by such Person in connection herewith and therewith, (C) the names and true signatures
of the representatives of such Loan Party authorized to sign each Loan Document (in the case of a
Borrower, including, without limitation, the Notice of Borrowing, LIBOR Notices and all other
notices under this Agreement and the other Loan Documents) to which such Loan Party is or will
be a party and the other documents to be executed and delivered by such Loan Party in connection
herewith and therewith, together with evidence of the incumbency of such Authorized Officers
and (D) as to the matters set forth in Section 5.01(b);

                       (x)     a certificate of an Authorized Officer of the Administrative
Borrower (A) certifying that all tax returns required to be filed by the Loan Parties have been filed
(except for any tax return for which extensions have been timely filed by appropriate procedures)
and all taxes upon the Loan Parties or their properties, assets, and income (including real property
taxes and payroll taxes) then due and payable have been paid, (B) attaching a copy of the Financial
Statements and the Projections described in Section 6.01(g)(ii) hereof and certifying as to the
compliance with the representations and warranties set forth in Section 6.01(g)(i) and Section
6.01(bb)(ii) and (C) certifying that after giving effect to all Indebtedness to be incurred on the
Effective Date, and the payment of fees and expenses related to this Agreement and the ABL
Credit Agreement, Consolidated EBITDA of the Parent and its Subsidiaries for the consecutive 12
fiscal month period most recently ended at least thirty days prior to the Effective Date will be
greater than or equal to $[ ];

                      (xi)  a certificate of an Authorized Officer of each Loan Party, certifying
as to the solvency of such Loan Party (after giving effect to the Indebtedness incurred on the
Effective Date);

                       (xii)   [reserved];

                      (xiii) a certificate of the appropriate official(s) of the jurisdiction of
organization of each Loan Party certifying as of a recent date as to the subsistence in good standing
of, and the payment of taxes prior to delinquency by (as applicable), such Loan Party in such
jurisdiction;

                        (xiv) an opinion of Weil, Gotshal & Manges LLP, as primary counsel to
the Loan Parties, [and an opinion of [___], as local [__] counsel to the Loan Parties, in each case,]
as to such matters as the Collateral Agent may reasonably request;


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                       (xv) Acord insurance certificates evidencing the insurance coverage of
the Loan Parties required by Section 7.01;

                       (xvi) all Existing Term Obligations and DIP Claims shall have been fully
and finally discharged in accordance with the Restructuring Documents, and all Liens securing the
same shall have been fully and finally terminated, discharged and released in a manner satisfactory
to the Collateral Agent, and evidence thereof shall have been provided to the Collateral Agent, to
the extent requested by the Collateral Agent; and

                      (xvii) such other agreements, instruments, approvals, opinions and other
documents, each satisfactory to the Agents in form and substance, as any Agent may reasonably
request.

               (d)     [Reserved].

               (e)     Chapter 11 Case and Restructuring Transactions.

                        (i)    All conditions precedent to the confirmation and consummation of
the Chapter 11 Plan, as set forth in the Chapter 11 Plan and the RSA and other Restructuring
Documents (as applicable), shall have been satisfied or waived in accordance with the terms
thereof, (ii) the Borrower shall have delivered to the Administrative Agent a docketed copy of the
Chapter 11 Plan Confirmation Order, which shall be in form and substance acceptable to the
Administrative Agent, and shall have been entered, and shall be in full force and effect, and shall
not (A) have been stayed, reversed, vacated, amended, supplemented or otherwise modified in any
manner that could be reasonably expected to adversely affect the interests of the Agents or the
Required Lenders or (B) be the subject of an appeal, (iii) the Chapter 11 Plan shall have become
effective (and all conditions precedent to the effective date of the Chapter 11 Plan as set forth
therein shall have been satisfied or waived in accordance with the terms thereof), (iv) substantial
consummation (as defined in Section 1101 of the Bankruptcy Code) under the Chapter 11 Plan
shall have occurred and (v) no motion, action or proceeding by any creditor or other party-in-
interest to the Chapter 11 Cases which could reasonably be expected to adversely affect the
Chapter 11 Plan, the consummation of the Chapter 11 Plan, the business or operations of the Loan
Parties and their Subsidiaries or the transactions contemplated by this Agreement or the Chapter
11 Plan shall be pending.

                        (ii)    Any of the documents executed in connection with the
implementation of the Chapter 11 Plan, to the extent they contain provisions differing in any
material respect from, or not described in, the Chapter 11 Plan, that are adverse in any material
respect to the rights or interest of any or all of the Agents and the Lenders, in their capacities as
such, shall be in form and substance satisfactory to the Required Lenders.

               (f)     Approvals. All consents, authorizations and approvals of, and filings and
registrations with, and all other actions in respect of, any Governmental Authority or other Person
required in connection with the making of the Loans, the ABL Loan Documents, the Second Lien
Loan Documents, and the conduct of the Loan Parties’ business shall have been obtained and shall
be in full force and effect. There shall exist no claim, action, suit, investigation, litigation or
proceeding (including, without limitation, shareholder or derivative litigation), pending or
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threatened in any court or before any arbitrator or Governmental Authority which (i) relates to the
making of the Loans or (ii) could reasonably be expected to have a Material Adverse Effect.

               (g)     [Reserved.]

             (h)     ABL Credit Facility. The ABL Credit Agreement and the other ABL Loan
Documents shall be in full force and effect on the Effective Date, in each case, as required in
connection with the Restructuring Transactions, and in accordance with the Restructuring
Documents.

               (i)     Second Lien Credit Facility. The Second Lien Financing Agreement and
the other Second Lien Loan Documents shall be in full force and effect on the Effective Date, and
Second Lien Term Loans shall have been made (or deemed to have been made) thereunder on the
Effective Date, in each case, as required in connection with the Restructuring Transactions, and in
accordance with the Restructuring Documents.

        Section 5.02 Conditions Subsequent to Effectiveness. As an accommodation to the Loan
Parties, the Agents and the Lenders have agreed to execute this Agreement and to make the Loans
on the Effective Date notwithstanding the failure by the Loan Parties to satisfy the conditions set
forth below on or before the Effective Date. In consideration of such accommodation, the Loan
Parties agree that, in addition to all other terms, conditions and provisions set forth in this
Agreement and the other Loan Documents, including, without limitation, those conditions set forth
in Section 5.01, the Loan Parties shall satisfy each of the conditions subsequent set forth below on
or before the date applicable thereto (it being understood that (i) the failure by the Loan Parties to
perform or cause to be performed any such condition subsequent on or before the date applicable
thereto shall constitute an Event of Default and (ii) to the extent that the existence of any such
condition subsequent would otherwise cause any representation, warranty or covenant in this
Agreement or any other Loan Document to be breached, the Required Lenders hereby waive such
breach for the period from the Effective Date until the date on which such condition subsequent is
required to be fulfilled pursuant to this Section 5.02):

               (a)     Not later than the date that is 60 days after the Effective Date (or such later
date as the Collateral Agent may agree in its sole discretion), the Collateral Agent shall have
received evidence of the insurance coverage of the Loan Parties required by Section 7.01(h) (other
than Acord insurance certificates delivered pursuant to Section 5.01(d)), and the terms of each
Security Agreement and each Mortgage and such other insurance coverage with respect to the
business and operations of the Loan Parties as the Collateral Agent may reasonably request, in
each case, with such endorsements as to the named insureds or loss payees thereunder as the
Collateral Agent may reasonably request and providing that such policy may be terminated or
canceled (by the insurer or the insured thereunder) only upon 30 days’ (10 days’, in the case of
non-payment) prior written notice to the Collateral Agent and each such named insured or loss
payee, together with evidence of the payment of all premiums due in respect thereof.

               (b)      Not later than the date that is 90 days after the Effective Date (or such later
date as the Collateral Agent may agree in its sole discretion), with respect to the Houston Facility,
each of the Real Property Deliverables.

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        Section 5.03 Conditions to Each Borrowing. The agreement and obligation of each
Lender to make the Loan(s) requested to be made on any Borrowing Date hereunder is subject to
the satisfaction (or waiver by such Lender) of the following conditions precedent:

               (a)     Each of the representations and warranties of the Loan Parties in this
Agreement shall be true and correct in all material respects (except that such materiality qualifier
shall not be applicable to any representations or warranties that already are qualified or modified
as to materiality or “Material Adverse Effect” in the text thereof, which representations and
warranties shall be true and correct in all respects subject to such qualification) on and as of the
date of such Borrowing Date as though made on and as of such date, except to the extent that any
such representation or warranty expressly relates solely to an earlier date (in which case such
representation or warranty shall be true and correct on and as of such earlier date in all material
respects (except that such materiality qualifier shall not be applicable to any representations or
warranties that already are qualified or modified as to materiality or “Material Adverse Effect” in
the text thereof, which representations and warranties shall be true and correct in all respects
subject to such qualification)).

              (b)     At the time of, and immediately after giving effect to, such Borrowing, no
Default or Event of Default shall have occurred and be continuing or would result therefrom.

                (c)    The aggregate principal amount of Loans of any Class requested to be made
on such Borrowing Date shall not exceed the aggregate Commitment therefor of all Lenders
(calculated as the unused amount thereof in effect immediately prior to the making of such Loans,
and calculated, with respect to any Defaulting Lender, as if such Defaulting Lender had funded its
Pro Rata Share of all outstanding Borrowings of such Loans).

                (d)   If such Borrowing consists of any Delay Draw Term Loans, Liquidity shall
not be greater than $2,500,000 as of such date on which the Notice of Borrowing is delivered in
respect thereof.

                                           ARTICLE VI

                         REPRESENTATIONS AND WARRANTIES

       Section 6.01 Representations and Warranties. Each Loan Party hereby represents and
warrants to the Secured Parties as follows:

                (a)     Organization, Good Standing, Etc. Each Loan Party (i) is a corporation,
limited liability company or limited partnership duly organized, validly existing and in good
standing under the laws of the state or jurisdiction of its organization, (ii) has all requisite power
and authority to conduct its business as now conducted and as presently contemplated and, in the
case of the Borrowers, to make the Borrowings hereunder, and to execute and deliver each Loan
Document to which it is a party, and to consummate the transactions contemplated thereby, and
(iii) is duly qualified to do business and is in good standing in each jurisdiction in which the
character of the properties owned or leased by it or in which the transaction of its business makes
such qualification necessary, except (solely for the purposes of this subclause (iii)) where the

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failure to be so qualified and in good standing would reasonably be expected to have a Material
Adverse Effect.

                (b)     Authorization, Etc. The execution, delivery and performance by each Loan
Party of each Loan Document to which it is or will be a party, (i) have been duly authorized by all
necessary action, (ii) do not and will not contravene (A) any of its Governing Documents, (B) any
applicable material Requirement of Law, or (C) any Material Contract, (iii) do not and will not
result in or require the creation of any Lien (other than pursuant to any Loan Document) upon or
with respect to a material portion of the Collateral, and (iv) do not and will not result in any default,
noncompliance, suspension, revocation, impairment, forfeiture or nonrenewal of any permit,
license, authorization or approval applicable to its operations or any of its properties, except, in
each case, to the extent that the same would not reasonably be expected to have a Material Adverse
Effect.

                (c)     Governmental Approvals. No authorization or approval or other action by,
and no notice to or filing with, any Governmental Authority is required in connection with the due
execution, delivery and performance by any Loan Party of any Loan Document to which it is or
will be a party other than filings and recordings with respect to Collateral to be made, or otherwise
delivered to the Collateral Agent for filing or recordation, on the Effective Date.

               (d)    Enforceability of Loan Documents. This Agreement is, and each other Loan
Document to which any Loan Party is or will be a party, when delivered hereunder, will be, a legal,
valid and binding obligation of such Person, enforceable against such Person in accordance with
its terms, except as enforceability may be limited by applicable bankruptcy, insolvency,
reorganization, moratorium or other similar laws affecting the enforcement of creditors’ rights
generally and by general principles of equity.

                (e)     Capitalization. On the Effective Date, after giving effect to the transactions
contemplated hereby to occur on the Effective Date, the authorized Equity Interests of the Parent
and each of its Subsidiaries and the issued and outstanding Equity Interests of the Parent and each
of its Subsidiaries are as set forth on Schedule 6.01(e). All of the issued and outstanding shares of
Equity Interests of the Parent and each of its Subsidiaries have been validly issued and are fully
paid and nonassessable, and the holders thereof are not entitled to any preemptive, first refusal or
other similar rights, except as set forth in the Parent Company Agreement. All Equity Interests of
such Subsidiaries of the Parent are owned by the Parent free and clear of all Liens (other than
Permitted Specified Liens). Except as described on Schedule 6.01(e), there are no outstanding debt
or equity securities of the Parent or any of its Subsidiaries and no outstanding obligations of the
Parent or any of its Subsidiaries convertible into or exchangeable for, or warrants, options or other
rights for the purchase or acquisition from the Parent or any of its Subsidiaries, or other obligations
of the Parent or any of its Subsidiaries to issue, directly or indirectly, any shares of Equity Interests
of the Parent or any of its Subsidiaries.

               (f)      Litigation. There is no pending or, to the best knowledge of any Loan Party,
threatened action, suit or proceeding affecting any Loan Party or any of its properties before any
court or other Governmental Authority or any arbitrator that (i) if adversely determined, could
reasonably be expected to have a Material Adverse Effect or (ii) relates to this Agreement, any
other Loan Document, or any transaction contemplated hereby or thereby.
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               (g)     Financial Statements.

                        (i)     The Financial Statements, copies of which have been delivered to
each Agent and each Lender, have been prepared in accordance with GAAP applied on a consistent
basis during the period covered by the Financial Statements, subject, in the case of the interim
financial statements, to normal year-end audit adjustments and the absence of notes. The Financial
Statements fairly present in all material respects the consolidated financial condition of GCS and
its Subsidiaries at the dates therein indicated and the consolidated results of operations and cash
flows of GCS and its Subsidiaries for the periods therein specified, in each case in accordance with
GAAP, except that the interim financial statements do not contain footnotes and are subject to
normal year-end audit adjustments. Since the Effective Date, no event or development has
occurred, which could reasonably be expected to have a Material Adverse Effect.

                      (ii)    The Parent has heretofore furnished to each Agent and each Lender
the Projections, which consist of (A) projected monthly balance sheets, income statements and
statements of cash flows of the Prepetition Administrative Borrower and its Subsidiaries for the
period from [August 2021] through and including [December 2025], and (B) projected annual
balance sheets, income statements and statements of cash flows of the Prepetition Administrative
Borrower and its Subsidiaries for the Fiscal Years ending in [2021] through and including [2025].

                 (h)     Compliance with Law, Etc. No Loan Party or any of its Subsidiaries is in
violation of (i) any of its Governing Documents, (ii) any material Requirement of Law or (iii) any
material term of any Material Contract binding on or otherwise affecting it or a material portion of
its properties, and no default or event of default has occurred and is continuing thereunder, except,
in each case, to the extent such violation, default or event of default would not reasonably be likely
to have a Material Adverse Effect.

                (i)      ERISA. No Loan Party nor any of its ERISA Affiliates contributes to,
sponsors, maintains or has an obligation to contribute to or maintain or has or could reasonably be
expected to have any liability, whether actual or contingent (including as an ERISA Affiliate), in
respect of any Multiemployer Plan or Employee Plan, and no Loan Party nor any of its ERISA
Affiliates has at any time prior to the date hereof established, sponsored or maintained, been a
party to, or has had at any time prior to the date hereof contributed or been obligated to contribute
to or maintain, any Multiemployer Plan or Employee Plan. No Termination Event has occurred,
and, except as required by Section 4980B of the Internal Revenue Code, no Loan Party or any of
its ERISA Affiliates maintains an employee welfare benefit plan (as defined in Section 3(1) of
ERISA) which provides health or welfare benefits (through the purchase of insurance or otherwise)
for any retired or former employee of any Loan Party or any of its ERISA Affiliates or coverage
after a participant’s termination of employment. No Loan Party is an “employee benefit plan” (as
defined in Section 3(3) of ERISA) subject to Title I of ERISA or a “plan” (as defined in Section
4975(e)(1) of the Code) subject to Section 4975 of the Code, and none of the assets of any Loan
Party constitutes or will constitute “plan assets” of one or more such plans within the meaning of
Section 3(42) of ERISA. In addition, (a) no Loan Party is a “governmental plan” within the
meaning of Section 3(32) of ERISA and (b) transactions by or with any Loan Party or ERISA
Affiliate are not subject to any law regulating investments of, or fiduciary obligations with respect
to, governmental plans similar to the provisions of Section 406 of ERISA or Section 4975 of the

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Code currently in effect, which prohibits or otherwise restricts the transactions contemplated by
this Agreement or any of the other Loan Documents.

               (j)     Taxes, Etc. (i) All Federal and material provincial, state and local tax
returns and other reports required by applicable Requirements of Law to be filed by any Loan Party
have been filed, or extensions have been obtained, and (ii) all taxes, assessments and other
governmental charges imposed upon any Loan Party or any property of any Loan Party in an
aggregate amount for all such taxes, assessments and other governmental charges exceeding
$250,000 and which have become due and payable on or prior to the date hereof have been paid,
except to the extent contested in good faith by proper proceedings which stay the imposition of
any penalty, fine or Lien resulting from the non-payment thereof and with respect to which
adequate reserves have been set aside for the payment thereof on the Financial Statements in
accordance with GAAP.

               (k)     Regulations T, U and X. No Loan Party is or will be engaged in the business
of extending credit for the purpose of purchasing or carrying margin stock (within the meaning of
Regulation T, U or X), and no proceeds of any Loan will be used to purchase or carry any margin
stock or to extend credit to others for the purpose of purchasing or carrying any margin stock or
for any purpose that violates, or is inconsistent with, the provisions of Regulation T, U and X.

               (l)     Nature of Business.

                       (i)    No Loan Party is engaged in any business other than as set forth on
Schedule 6.01(l).

                         (ii)   The Parent does not have any material liabilities (other than
liabilities arising under the Loan Documents or the Parent Company Agreement), own any material
assets (other than the Equity Interests of its Subsidiaries) or engage in any operations or business
(other than the ownership of its Subsidiaries).

               (m)    Adverse Agreements, Etc. No Loan Party or any of its Subsidiaries is a party
to any Contractual Obligation or subject to any restriction or limitation in any Governing
Document or any judgment, order, regulation, ruling or other requirement of a court or other
Governmental Authority, which (either individually or in the aggregate) has, or in the future could
reasonably be expected (either individually or in the aggregate) to have, a Material Adverse Effect.

                (n)     Permits, Etc. Each Loan Party has, and is in compliance with, all permits,
licenses, authorizations, approvals, entitlements and accreditations required for such Person
lawfully to own, lease, manage or operate, or to acquire, each business and Facility currently
owned, leased, managed or operated, or to be acquired, by such Person, except to the extent the
failure to have or be in compliance therewith could not reasonably be expected to have a Material
Adverse Effect. No condition exists or event has occurred which, in itself or with the giving of
notice or lapse of time or both, would result in the suspension, revocation, impairment, forfeiture
or non-renewal of any such permit, license, authorization, approval, entitlement or accreditation
that would, individually or in the aggregate, reasonably be expected to have a Material Adverse
Effect, and there is no claim that any thereof is not in full force and effect where such claims, if

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determined adversely to any Loan Party, individually or in the aggregate, would reasonably be
expected to have a Material Adverse Effect.

                (o)     Properties. Each Loan Party has good and marketable title to, valid
leasehold interests in, or valid licenses to use, all property and assets material to its business, free
and clear of all Liens, except Permitted Liens. All such properties and assets are in good working
order and condition, ordinary wear and tear excepted.

               (p)     Employee and Labor Matters. There is (i) no material labor agreement,
union contract or collective bargaining agreement respecting the employees of any Loan Party to
which any Loan Party is a party or is bound, (ii) no unfair labor practice complaint pending or, to
the knowledge of any Loan Party, threatened against any Loan Party before any Governmental
Authority, and no grievance or arbitration proceeding pending or threatened against any Loan
Party, which, in each case, arises out of or under any collective bargaining agreement, (iii) no
strike, labor dispute, slowdown, stoppage or similar action or grievance pending or, to the
knowledge of any Loan Party, threatened against any Loan Party or (iv) to the knowledge of each
Loan Party, no union representation question existing with respect to the employees of any Loan
Party and no union organizing activity taking place with respect to any of the employees of any
Loan Party. As of the date hereof, no Loan Party has incurred any liability or obligation under the
Worker Adjustment and Retraining Notification Act (“WARN”) or similar state law, which
remains unpaid or unsatisfied.

                 (q)     Environmental Matters. Except as set forth on Schedule 6.01(q), (i) the
operations of each Loan Party are in compliance with all Environmental Laws, except to the extent
any noncompliance would not reasonably be expected to have a Material Adverse Effect; (ii) there
has been no Release at any of the properties owned or operated by any Loan Party or a predecessor
in interest, or at any disposal or treatment facility which received Hazardous Materials generated
by any Loan Party or any predecessor in interest which would reasonably be expected to have a
Material Adverse Effect; (iii) no Environmental Action has been asserted against any Loan Party
nor does any Loan Party have knowledge or notice of any threatened or pending Environmental
Action against any Loan Party which would reasonably be expected to have a Material Adverse
Effect; (iv) no Environmental Actions have been asserted against any facilities that may have
received Hazardous Materials generated by any Loan Party which would reasonably be expected
to have a Material Adverse Effect; (v) no property now owned or operated by a Loan Party has
been used as a treatment or disposal site for any Hazardous Material which would reasonably be
expected to have a Material Adverse Effect; (vi) no Loan Party has failed to report to the proper
Governmental Authority any Release which is required to be so reported by any Environmental
Laws which would reasonably be expected to have a Material Adverse Effect; (vii) each Loan
Party holds all licenses, permits and approvals required under any Environmental Laws in
connection with the operation of the business carried on by it, except for such licenses, permits
and approvals as to which a Loan Party’s failure to maintain or comply with would not reasonably
be expected to have a Material Adverse Effect; and (viii) no Loan Party has received any
notification pursuant to any Environmental Laws that (A) any work, repairs, construction or
Capital Expenditures are required to be made in respect as a condition of continued compliance
with any Environmental Laws, or any license, permit or approval issued pursuant thereto or (B)
any license, permit or approval referred to above is about to be reviewed, made, subject to

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limitations or conditions, revoked, withdrawn or terminated, in each case, except as would not
reasonably be expected to have a Material Adverse Effect.

                  (r)      Insurance. Each Loan Party maintains the insurance and required services
and financial assurance as required by law and as required by Section 7.01(h). Schedule 6.01(r)
sets forth a list of all insurance maintained by each Loan Party on the Effective Date.

               (s)    [Reserved.]

               (t)     Solvency. After giving effect to the transactions contemplated by this
Agreement and before and after giving effect to each Loan, each Loan Party is, and the Loan
Parties on a consolidated basis are, Solvent.

                (u)      Intellectual Property. Except as set forth on Schedule 6.01(u), each Loan
Party owns or licenses or otherwise has the right to use all Intellectual Property rights that are
necessary for the operation of its business, without infringement upon or conflict with the rights
of any other Person with respect thereto, except for such infringements and conflicts which,
individually or in the aggregate, could not reasonably be expected to have a Material Adverse
Effect. Set forth on Schedule 6.01(u) is a complete and accurate list as of the Effective Date of
(i) each item of Registered Intellectual Property owned by each Loan Party; (ii) each material work
of authorship owned by each Loan party and which is not Registered Intellectual Property; and
(iii) each material Intellectual Property Contract to which each Loan Party is bound. No trademark
or other advertising device, product, process, method, substance, part or other material now
employed, or now contemplated to be employed, by any Loan Party infringes upon or conflicts
with any rights owned by any other Person, and no claim or litigation regarding any of the
foregoing is pending or threatened, except for such infringements and conflicts which could not
reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect. To the
knowledge of each Loan Party, no patent, invention, device, application, principle or any statute,
law, rule, regulation, standard or code pertaining to Intellectual Property is pending or proposed,
which, individually or in the aggregate, could reasonably be expected to have a Material Adverse
Effect.

               (v)    Reserved.

                (w)    Investment Company Act. None of the Loan Parties is (i) an “investment
company” or an “affiliated person” or “promoter” of, or “principal underwriter” of or for, an
“investment company”, as such terms are defined in the Investment Company Act of 1940, as
amended, or (ii) subject to regulation under any Requirement of Law that limits in any respect its
ability to incur Indebtedness or which may otherwise render all or a portion of the Obligations
unenforceable.

               (x)    Reserved.

               (y)    Reserved.

               (z)    Anti-Money Laundering and Anti-Terrorism Laws.


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                       (i)      None of the Loan Parties, nor any Affiliate of any of the Loan
Parties, has violated or is in violation of any of the Anti-Money Laundering and Anti-Terrorism
Laws or has engaged in or conspired to engage in any transaction that evades or avoids, or has the
purpose of evading or avoiding, or attempts to violate, any of the Anti-Money Laundering and
Anti-Terrorism Laws.

                       (ii)     None of the Loan Parties, nor any Affiliate of any of the Loan
Parties, nor any officer, director or principal shareholder or owner of any of the Loan Parties, nor
any of the Loan Parties’ respective agents acting or benefiting in any capacity in connection with
the Loans or other transactions hereunder, is a Blocked Person.

                        (iii)  None of the Loan Parties, nor any of their agents acting in any
capacity in connection with the Loans or other transactions hereunder, (A) conducts any business
with or for the benefit of any Blocked Person or engages in making or receiving any contribution
of funds, goods or services to, from or for the benefit of any Blocked Person, or (B) deals in, or
otherwise engages in any transaction relating to, any property or interests in property blocked or
subject to blocking pursuant to any OFAC Sanctions Programs.

               (aa)    Anti-Bribery and Anti-Corruption Laws.

                       (i)    The Loan Parties are in compliance with the U.S. Foreign Corrupt
Practices Act of 1977, as amended (the “FCPA”), the UK Bribery Act (the “UK Act”) and the anti-
bribery and anti-corruption laws of those jurisdictions in which they do business (collectively, the
“Anti-Corruption Laws”).

                       (ii)    None of the Loan Parties has at any time:

                                (A)     offered, promised, paid, given, or authorized the payment or
giving of any money, gift or other thing of value, directly or indirectly, to or for the benefit of any
employee, official, representative, or other person acting on behalf of any foreign (i.e., non- U.S.)
Governmental Authority thereof, or of any public international organization, or any foreign
political party or official thereof, or candidate for foreign political office (collectively, “Foreign
Official”), for the purpose of: (1) influencing any act or decision of such Foreign Official in his,
her, or its official capacity; or (2) inducing such Foreign Official to do, or omit to do, an act in
violation of the lawful duty of such Foreign Official; or (3) securing any improper advantage, in
order to obtain or retain business for, or with, or to direct business to, any Person; or

                               (B)     acted or attempted to act in any manner which would subject
any of the Loan Parties to liability under any Anti-Corruption Law.

                        (iii)   There are, and have been, no allegations, investigations or inquiries
with regard to a potential violation of any Anti-Corruption Law by any of the Loan Parties or any
of their respective current or former directors, officers, employees, stockholders or agents, or other
persons acting or purporting to act on their behalf.




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                     (iv)   The Loan Parties have adopted, implemented and maintain anti-
bribery and anti-corruption policies and procedures that are reasonably designed to ensure
compliance with the Anti-Corruption Laws.

                    (bb)     Full Disclosure.

                         (i)     Each Loan Party has disclosed to the Agents all agreements,
instruments and corporate or other restrictions to which it is subject, and all other matters known
to it, that, individually or in the aggregate, could reasonably be expected to result in a Material
Adverse Effect. None of the reports, financial statements, certificates or other information
furnished by or on behalf of any Loan Party to the Agents (other than forward-looking information
and projections and information of a general economic nature and general information about
Borrowers’ industry) in connection with the negotiation of this Agreement or delivered hereunder
(as modified or supplemented by other information so furnished) contains any material
misstatement of fact or omits to state any material fact necessary to make the statements therein,
in the light of the circumstances under which it was made, not misleading.

                       (ii)     The Projections and the Budget have been prepared on a reasonable
basis and in good faith based on assumptions, estimates, methods and tests that are believed by the
Loan Parties to be reasonable at the time such Projections and the Budget were prepared and
information believed by the Loan Parties to have been accurate based upon the information
available to the Loan Parties at the time such Projections and Budget were furnished to the Lenders,
and no Loan Party is aware of any facts or information that would lead it to believe that such
Projections and Budget are incorrect or misleading in any material respect; it being understood
that (A) the Projections and the Budget are by their nature subject to significant uncertainties and
contingencies, many of which are beyond the Loan Parties’ control, (B) actual results may differ
materially from the Projections and the Budget and such variations may be material and (C) the
Projections and the Budget are not guarantees of performance.

                                                   ARTICLE VII

                                  COVENANTS OF THE LOAN PARTIES

        Section 7.01 Affirmative Covenants. So long as any principal of or interest on any Loan
or any other Obligation (whether or not due) shall remain unpaid (other than Contingent Indemnity
Obligations) or any Lender shall have any Commitment hereunder, each Loan Party will, unless
the Required Lenders shall otherwise consent in writing:

                    (a)      Reporting Requirements. Furnish to each Agent (for delivery to each
Lender):

                      (i)     as soon as available, and in any event within 45 days after the end
of each fiscal month of the Parent and its Subsidiaries, commencing with the fiscal month ending
[ ]4, internally prepared consolidated balance sheets, statements of operations and retained
earnings and statements of cash flows as at the end of such fiscal month, and for the period

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commencing at the end of the immediately preceding Fiscal Year and ending with the end of such
fiscal month, setting forth in each case in comparative form the figures for the corresponding date
or period set forth in (A) the financial statements for the immediately preceding Fiscal Year
(provided that for the first year following the Effective Date, such comparative figures shall be to
the consolidated financial statements for the immediately preceding Fiscal Year of the Prepetition
Administrative Borrower), and (B) the Budget, all in reasonable detail and certified by an
Authorized Officer of the Administrative Borrower as fairly presenting, in all material respects,
the financial position of the Parent and its Subsidiaries as at the end of such fiscal month and the
results of operations, retained earnings and cash flows of the Parent and its Subsidiaries for such
fiscal month and for such year-to-date period, in accordance with GAAP applied in a manner
consistent with that of the most recent audited financial statements furnished to the Agents and the
Lenders, subject to the absence of footnotes and normal year-end adjustments;

                         (ii)    as soon as available and in any event within 45 days after the end of
each fiscal quarter of the Parent and its Subsidiaries, commencing with the fiscal quarter ending [
]5, consolidated balance sheets, statements of operations and retained earnings and statements of
cash flows of the Parent and its Subsidiaries as at the end of such quarter, and for the period
commencing at the end of the immediately preceding Fiscal Year and ending with the end of such
quarter, setting forth in each case in comparative form the figures for the corresponding date or
period set forth in (1) the financial statements for the immediately preceding Fiscal Year (provided
that for the first year following the Effective Date, such comparative figures shall be to the
consolidated financial statements for the immediately preceding Fiscal Year of the Prepetition
Administrative Borrower) and (2) the Budget, all in reasonable detail and certified by an
Authorized Officer of the Administrative Borrower as fairly presenting, in all material respects,
the financial position of the Parent and its Subsidiaries as of the end of such quarter and the results
of operations and cash flows of the Parent and its Subsidiaries for such quarter and for such year-
to-date period, in accordance with GAAP applied in a manner consistent with that of the most
recent audited financial statements of the Parent and its Subsidiaries furnished to the Agents and
the Lenders, subject to the absence of footnotes and normal year-end adjustments;

                       (iii)  as soon as available, and in any event within 120 days (or 180 days
for the Fiscal Year ended December 31, 2021) after the end of each Fiscal Year of the Parent and
its Subsidiaries, commencing with the Fiscal Year ending December 31, 2022, consolidated
balance sheets, statements of operations and retained earnings and statements of cash flows of the
Parent and its Subsidiaries as at the end of such Fiscal Year, setting forth in each case in
comparative form the figures for the corresponding date or period set forth in (A) the financial
statements for the immediately preceding Fiscal Year (provided that for the first year following
the Effective Date, such comparative figures shall be to the consolidated financial statements for
the immediately preceding Fiscal Year of the Prepetition Administrative Borrower) and (B) the
Budget, all in reasonable detail and prepared in accordance with GAAP, and accompanied by a
report and an opinion with respect to such financial statements, prepared in accordance with
generally accepted auditing standards, of independent certified public accountants of recognized
standing selected by the Parent and reasonably satisfactory to the Agents (initially, Ham, Langston



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& Brezina, L.L.P.) (which opinion shall be without (1) a “going concern” or like qualification or
exception or (2) any qualification or exception as to the scope of such audit;

                       (iv)    simultaneously with the delivery of the financial statements of the
Parent and its Subsidiaries required by clauses (ii) and (iii) of this Section 7.01(a), a certificate of
an Authorized Officer of the Administrative Borrower (a “Compliance Certificate”):

                              (A)    stating that such Authorized Officer has no knowledge of,
the occurrence and continuance during such period of an Event of Default or Default or, if an Event
of Default or Default had occurred and continued or is continuing, describing the nature and period
of existence thereof and the action which the Parent and its Subsidiaries propose to take or have
taken with respect thereto;

                               (B)     (1) in the case of the delivery of the financial statements of
the Parent and its Subsidiaries required by clauses (i) and (iii) of this Section 7.01(a), including a
business segment financial report and a key performance indicator report for the applicable period,
in each case, in form and substance substantially similar to the form of the business segment
financial report and a key performance indicator report delivered by the Borrowers to the Agents
prior to the Effective Date; and (2) in the case of the delivery of the financial statements of the
Parent and its Subsidiaries required by clauses (ii) and (iii) of this Section 7.01(a), (i) attaching a
schedule showing the calculation of the financial covenant specified in Section 7.03, (ii) including
a discussion and analysis of the financial condition and results of operations of the Parent and its
Subsidiaries for the portion of the Fiscal Year then elapsed and discussing the reasons for any
significant variations from the Budget for such period and the figures for the corresponding period
in the previous Fiscal Year, in each case, in the form of such discussion and analysis delivered by
the Borrowers to the Agents prior to the Effective Date, and (iii) to the extent permitted by
applicable Requirements of Law and subject to confidentiality requirements of Governmental
Authorities and to the extent not subject to a legal privilege, including a summary of all documents
and information submitted to any Governmental Authority in connection with any investigation of
any Loan Party other than routine inquiries by such Governmental Authority during the applicable
period;

                               (C)      in the case of the delivery of the financial statements of the
Parent and its Subsidiaries required by clause (iii) of this Section 7.01(a), attaching (1) a summary
of all material insurance coverage maintained as of the date thereof by any Loan Party and all
material insurance coverage planned to be maintained by any Loan Party, together with such other
related documents and information as the Administrative Agent may reasonably require, (2) the
calculation of the Excess Cash Flow in accordance with the terms of Section 2.05(c)(i)(A) and (3)
confirmation that there have been no changes to the information contained in each of the Perfection
Certificates delivered on the Effective Date or the date of the most recently updated Perfection
Certificate delivered pursuant to this clause (iv) and/or attaching an updated Perfection Certificate
identifying any such changes to the information contained therein;

                       (v)     promptly after delivery or receipt thereof: (A) copies of all reports
(including borrowing base certificates and all accounts receivable agings) and default notices
delivered to or received from the ABL Lender under any ABL Loan Documents and (B) copies of
any amendments, waivers, consents or other modifications to any ABL Loan Documents;
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                       (vi)   [Reserved];

                        (vii) as soon as available and in any event not later than 30 days after the
start of each Fiscal Year commencing with the Fiscal Year ending [December 31, 2022], a
certificate of an Authorized Officer of the Administrative Borrower (A) attaching a Budget for the
Parent and its Subsidiaries, supplementing and superseding the Budget previously required to be
delivered pursuant to this Agreement, prepared on a monthly basis and otherwise in form and
substance satisfactory to the Agents, for the immediately succeeding Fiscal Year for the Parent
and its Subsidiaries and (B) certifying that the representations and warranties set forth in Section
6.01(bb)(ii) are true and correct with respect to the Budget;

                        (viii) as soon as possible, and in any event within 3 Business Days after
the any Loan Party has knowledge of the occurrence of an Event of Default or Default or the
occurrence of any event or development that could reasonably be expected to have a Material
Adverse Effect, the written statement of an Authorized Officer of the Administrative Borrower
setting forth the details of such Event of Default or Default or other event or development having
a Material Adverse Effect and the action which the affected Loan Party proposes to take with
respect thereto;

                       (ix)    promptly after the commencement thereof but in any event not later
than 5 days after service of process with respect thereto on, or the obtaining of knowledge thereof
by, any Loan Party, notice of each action, suit or proceeding before any court or other
Governmental Authority or other regulatory body or any arbitrator which, if adversely determined,
could reasonably be expected to have a Material Adverse Effect;

                       (x)    as soon as possible and in any event within 5 Business Days after
execution, receipt or delivery thereof, copies of any notice or report with respect to an event or
matter that is materially adverse to the Agents and the Lenders that any Loan Party executes or
receives in connection with any Material Contract;

                         (xi)    as soon as possible and in any event within 5 Business Days after
execution, receipt or delivery thereof, copies of any material notices that any Loan Party executes
or receives in connection with the sale or other Disposition of the Equity Interests of, or all or
substantially all of the assets of, any Loan Party;

                       (xii) promptly after (A) the sending or filing thereof, copies of all
statements, reports and other information any Loan Party sends to any holders of its Indebtedness
the outstanding principal amount of which equals or exceeds $5,000,000 or its securities or files
with the SEC or any national (domestic or foreign) securities exchange and (B) the receipt thereof,
a copy of any material notice received from any holder of its Indebtedness;

                      (xiii) promptly upon receipt thereof, copies of all financial reports
(including, without limitation, management letters), if any, submitted to any Loan Party by its
auditors in connection with any annual or interim audit of the books thereof;




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                      (xiv) promptly upon request, any certification or other evidence
reasonably requested from time to time by any Lender confirming the Borrowers’ compliance with
Section 7.02(s);

                       (xv) simultaneously with the delivery of the financial statements of the
Parent and its Subsidiaries required by clauses (i), (ii) and (iii) of this Section 7.01(a), if, as a result
of any change in accounting principles and policies from those used in the preparation of the
Financial Statements that is permitted by Section 7.02(q), the consolidated financial statements of
the Parent and its Subsidiaries delivered pursuant to clauses (i), (ii) and (iii) of this Section 7.01(a)
will differ from the consolidated financial statements that would have been delivered pursuant to
such subdivisions had no such change in accounting principles and policies been made, then,
together with the first delivery of such financial statements after such change, one or more
statements of reconciliation for all such prior financial statements in form and substance
satisfactory to the Agents; and

                      (xvi) promptly upon request, such other information concerning the
condition or operations, financial or otherwise, of any Loan Party as any Agent may from time to
time reasonably request.

                (b)     Additional Guarantors and Collateral Security. Cause:

                        (i)     each Subsidiary of any Loan Party not in existence on the Effective
Date, to execute and deliver to the Collateral Agent promptly and in any event within 5 Business
Days (or such longer period agreed to by the Collateral Agent in its sole discretion) after the
formation, acquisition or change in status thereof, (A) a Joinder Agreement, pursuant to which
such Subsidiary shall be made a party to this Agreement as a Guarantor, (B) a supplement to the
Security Agreement, together with (1) certificates evidencing all of the Equity Interests of any
Person owned by such Subsidiary required to be pledged under the terms of the Security
Agreement, (2) undated stock powers for such Equity Interests executed in blank, and (3) such
opinions of counsel as the Collateral Agent may reasonably request, (C) to the extent required
under the terms of this Agreement, one or more Mortgages creating on the real property of such
Subsidiary a perfected, first priority Lien (in terms of priority, subject only to Permitted Specified
Liens) on such real property and such other Real Property Deliverables as may be required by the
Collateral Agent with respect to each such real property, and (D) such other agreements,
instruments, approvals or other documents reasonably requested by the Collateral Agent in order
to create, perfect, establish the first priority of or otherwise protect any Lien purported to be
covered by any such Security Agreement or Mortgage or otherwise to effect the intent that such
Subsidiary shall become bound by all of the terms, covenants and agreements contained in the
Loan Documents and that all property and assets of such Subsidiary shall become Collateral for
the Obligations; and

                       (ii)    each owner of the Equity Interests of any such Subsidiary to execute
and deliver promptly and in any event within 5 Business Days (or such longer period agreed to by
the Collateral Agent in its sole discretion) after the formation or acquisition of such Subsidiary a
Pledge Amendment (as defined in the Security Agreement), together with (A) certificates
evidencing all of the Equity Interests of such Subsidiary required to be pledged under the terms of
the Security Agreement, (B) undated stock powers or other appropriate instruments of assignment
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for such Equity Interests executed in blank with signature guaranteed, (C) such opinions of counsel
as the Collateral Agent may reasonably request and (D) such other agreements, instruments,
approvals or other documents requested by the Collateral Agent.

               (c)     Compliance with Laws; Payment of Taxes.

                       (i)     Comply, and cause each of its Subsidiaries to comply, in all material
respects, with all applicable material Requirements of Law (including, without limitation, all
Environmental Laws), judgments and awards (including any settlement of any claim that, if
breached, could give rise to any of the foregoing), except where the failure to so comply could not
reasonably be expected to result, individually or in the aggregate, in liabilities in excess of
$3,000,000.

                      (ii)    Pay, and cause each of its Subsidiaries to pay, in full before
delinquency or before the expiration of any extension period, all taxes, assessments and other
governmental charges imposed upon any Loan Party or any of its Subsidiaries or any property of
any Loan Party or any of its Subsidiaries in an aggregate amount for all such taxes, assessments
and other governmental charges exceeding $500,000, except to the extent contested in good faith
by proper proceedings which stay the imposition of any penalty, fine or Lien resulting from the
non-payment thereof and with respect to which adequate reserves have been set aside for the
payment thereof to the extent required in accordance with GAAP.

                (d)     Preservation of Existence, Etc. Maintain and preserve, and cause each of its
Subsidiaries to maintain and preserve, its existence, rights and privileges, and become or remain,
and cause each of its Subsidiaries to become or remain, duly qualified and in good standing in each
jurisdiction in which the character of the properties owned or leased by it or in which the
transaction of its business makes such qualification necessary, except to the extent that the failure
to be so qualified could not reasonably be expected to have a Material Adverse Effect.

               (e)     Keeping of Records and Books of Account. (i) Keep, and cause each of its
Subsidiaries to keep, (a) adequate records and books of account, with complete entries made to
permit the preparation of financial statements in accordance with GAAP and (ii) all such records
and books at the Houston Facility.

               (f)     Inspection Rights. Permit, and cause each of its Subsidiaries to permit, the
agents and representatives of any Agent at any time and from time to time during normal business
hours and, in the absence of an Event of Default, upon reasonable prior notice, at the expense of
the Borrowers (subject to the limitations set forth in Section 2.06(b)), to examine and make copies
of and abstracts from its records and books of account, to visit and inspect its properties, to verify
materials, leases, notes, accounts receivable, deposit accounts and its other assets, to conduct
audits, physical counts, valuations, appraisals, Phase I Environmental Site Assessments (and, if
requested by the Collateral Agent based upon the results of any such Phase I Environmental Site
Assessment, a Phase II Environmental Site Assessment) or examinations and to discuss its affairs,
finances and accounts with any of its directors, officers, managerial employees, independent
accountants or any of its other representatives. In furtherance of the foregoing, the Parent hereby
authorizes its independent accountants, and the independent accountants of each of its
Subsidiaries, to discuss the affairs, finances and accounts of such Person (independently or
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together with representatives of such Person) with the agents and representatives of any Agent in
accordance with this Section 7.01(f).

                (g)    Maintenance of Properties, Etc. Maintain and preserve, and cause each of
its Subsidiaries to maintain and preserve, all of its properties which are necessary in the proper
conduct of its business in good working order and condition, ordinary wear and tear and casualty
excepted, and comply, and cause each of its Subsidiaries to comply, at all times with the provisions
of all leases to which it is a party as lessee or under which it occupies property, so as to prevent
any loss or forfeiture thereof or thereunder, except to the extent the failure to so maintain and
preserve or so comply could not reasonably be expected to have a Material Adverse Effect.

                 (h)    Maintenance of Insurance. Maintain, and cause each of its Subsidiaries to
maintain, insurance with responsible and reputable insurance companies or associations
(including, without limitation, comprehensive general liability, hazard, automobile, worker’s
compensation and business interruption insurance) with respect to its properties (including all real
properties leased or owned by it) and business, in such amounts and covering such risks as is
required by any Governmental Authority having jurisdiction with respect thereto or as is carried
generally in accordance with sound business practice by companies in similar businesses similarly
situated and in any event in amount, adequacy and scope reasonably satisfactory to the Collateral
Agent. All policies covering the Collateral are to be made payable to the Collateral Agent for the
benefit of the Agents and the Lenders, as their respective interests may appear, in case of loss,
under a standard non-contributory “lender” or “secured party” clause and are to contain such other
provisions as the Collateral Agent may reasonably require to fully protect the Lenders’ interest in
the Collateral and to any payments to be made under such policies. All certificates of insurance
are to be delivered to the Collateral Agent and the policies are to be premium prepaid, with the
loss payable and additional insured endorsement in favor of the Collateral Agent and such other
Persons as the Collateral Agent may designate from time to time, and shall provide for not less
than 30 days’ (10 days’ in the case of non-payment) prior written notice to the Collateral Agent of
the exercise of any right of cancellation. Each Loan Party and each Subsidiary shall be responsible
for timely compliance with the terms of all policies including but not limited to reporting
occurrences and claims and filing claims under any insurance policies, to receive, receipt and give
acquittance for any payments that may be payable thereunder, and to execute any and all
endorsements, receipts, releases, assignments, reassignments or other documents that may be
necessary to effect the collection, compromise or settlement of any claims under any such
insurance policies. If any Loan Party or any of its Subsidiaries fails to maintain such insurance,
the Collateral Agent may arrange for such insurance, but at the Borrowers’ expense and without
any responsibility on the Collateral Agent’s part for obtaining the insurance, the solvency of the
insurance companies, the adequacy of the coverage, or the collection of claims. Upon the
occurrence and during the continuance of an Event of Default, the Collateral Agent shall have the
sole right, in the name of the Lenders, the Borrowers, any Loan Party and its Subsidiaries, to file
claims under any insurance policies, to receive, receipt and give acquittance for any payments that
may be payable thereunder, and to execute any and all endorsements, receipts, releases,
assignments, reassignments or other documents that may be necessary to effect the collection,
compromise or settlement of any claims under any such insurance policies.



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                (i)     Obtaining of Permits, Etc. Obtain, maintain and preserve, and cause each of
its Subsidiaries to obtain, maintain and preserve, and take all necessary action to timely renew, all
permits, licenses, authorizations, approvals, entitlements and accreditations that are necessary or
useful in the proper conduct of its business, in each case, except to the extent the failure to obtain,
maintain, preserve or take such action could not reasonably be expected to have a Material Adverse
Effect.

                (j)      Environmental. (i) Keep any property either owned or operated by it or any
of its Subsidiaries free of any Environmental Liens; (ii) comply, and cause each of its Subsidiaries
to comply, with all Environmental Laws, to the extent any noncompliance would reasonably be
expected to have a Material Adverse Effect, and provide to the Collateral Agent any documentation
of such compliance which the Collateral Agent may reasonably request; (iii) provide the Agents
written notice within 5 days of any knowledge by the Borrowers of any Release of a Hazardous
Material in excess of any reportable quantity from or onto property at any time owned or operated
by it or any of its Subsidiaries and take any Remedial Actions required to abate said Release; and
(iv) provide the Agents with written notice within 10 days of the receipt of any of the following:
(A) notice that an Environmental Lien has been filed against any property of any Loan Party or
any of its Subsidiaries; (B) commencement of any Environmental Action or notice that an
Environmental Action will be filed against any Loan Party or any of its Subsidiaries; and (C) notice
of a violation, citation or other administrative order which could reasonably be expected to have a
Material Adverse Effect.

               (k)     Fiscal Year. Cause the Fiscal Year of the Parent and its Subsidiaries to end
on December 31 of each fiscal year unless the Agents consent to a change in such Fiscal Year (and
appropriate related changes to this Agreement).

               (l)     [Reserved].

                (m)    After Acquired Real Property. Promptly and in any event, upon the
acquisition by it or any of its Subsidiaries after the date hereof of any fee interest in any real
property (wherever located) (each such interest being a “New Facility”) with a Current Value (as
defined below) in excess of $1,000,000 (provided, however, that the aggregate fair market value
of all owned real property not subject to a Mortgage shall not exceed $2,000,000), immediately so
notify the Collateral Agent, setting forth with specificity a description of the interest acquired, the
location of the real property, any structures or improvements thereon and either an appraisal or
such Loan Party’s good-faith estimate of the current value of such real property (for purposes of
this Section, the “Current Value”). The Collateral Agent shall notify such Loan Party whether it
intends to require a Mortgage (and any other Real Property Deliverables) with respect to such New
Facility. Upon receipt of such notice requesting a Mortgage (and any other Real Property
Deliverables), the Person that has acquired such New Facility shall promptly furnish the same to
the Collateral Agent. The Borrowers shall pay all fees and expenses, including, without limitation,
reasonable attorneys’ fees and expenses, and all title insurance charges and premiums, in
connection with each Loan Party’s obligations under this Section 7.01(m).

               (n)    Anti-Bribery and Anti-Corruption Laws. Maintain, and cause each of its
Subsidiaries to maintain, anti-bribery and anti-corruption policies and procedures that are
reasonably designed to ensure compliance with the Anti-Corruption Laws.
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               (o)     [Reserved].

                  (p)     Further Assurances. Take such action and execute, acknowledge and
deliver, and cause each of its Subsidiaries to take such action and execute, acknowledge and
deliver, at its sole cost and expense, such agreements, instruments or other documents as any Agent
may reasonably require from time to time in order (i) to carry out more effectively the purposes of
this Agreement and the other Loan Documents, (ii) to subject to valid and perfected first priority
Liens (subject to the terms of the Intercreditor Agreements) any of the Collateral or any other
property of any Loan Party and its Subsidiaries, (iii) to establish and maintain the validity and
effectiveness of any of the Loan Documents and the validity, perfection and priority of the Liens
intended to be created thereby, and (iv) to better assure, convey, grant, assign, transfer and confirm
unto each Secured Party the rights now or hereafter intended to be granted to it under this
Agreement or any other Loan Document. In furtherance of the foregoing, to the maximum extent
permitted by applicable law, each Loan Party (A) authorizes each Agent to file such agreements,
instruments or other documents in any appropriate filing office, (B) authorizes each Agent to file
any financing statement required hereunder or under any other Loan Document, and any
continuation statement or amendment with respect thereto, in any appropriate filing office without
the signature of such Loan Party, and (C) ratifies the filing of any financing statement, and any
continuation statement or amendment with respect thereto, filed without the signature of such Loan
Party prior to the date hereof.

       Section 7.02 Negative Covenants. So long as any principal of, or interest on, any Loan or
any other Obligation (whether or not due) shall remain unpaid (other than Contingent Indemnity
Obligations), or any Lender shall have any Commitment hereunder, each Loan Party shall not,
except as specified otherwise, or unless the Required Lenders shall otherwise consent in writing:

               (a)      Liens, Etc. Create, incur, assume or suffer to exist, or permit any of its
Subsidiaries to create, incur, assume or suffer to exist, any Lien upon or with respect to any of its
properties, whether now owned or hereafter acquired other than Permitted Liens.

              (b)     Indebtedness. Create, incur, assume, guarantee or suffer to exist, or
otherwise become or remain liable with respect to, or permit any of its Subsidiaries to create, incur,
assume, guarantee or suffer to exist or otherwise become or remain liable with respect to, any
Indebtedness other than Permitted Indebtedness.

               (c)     Fundamental Changes; Dispositions.

                        (i)    Wind-up, liquidate or dissolve, or merge, consolidate or amalgamate
with any Person, or permit any of its Subsidiaries to do any of the foregoing; provided, however,
that any wholly-owned Subsidiary of any Loan Party (other than a Borrower) may be merged into
such Loan Party or another wholly-owned Subsidiary of such Loan Party, or may consolidate or
amalgamate with another wholly-owned Subsidiary of such Loan Party, so long as (A) no other
provision of this Agreement would be violated thereby, (B) such Loan Party gives the Agents at
least 10 Business Days’ (or such shorter period agreed to by the Administrative Agent in its sole
discretion) prior written notice of such merger, consolidation or amalgamation accompanied by
true, correct and complete copies of all material agreements, documents and instruments relating
to such merger, consolidation or amalgamation, including, but not limited to, the certificate or
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certificates of merger or amalgamation to be filed with each appropriate Secretary of State (with a
copy as filed promptly after such filing), (C) no Default or Event of Default shall have occurred
and be continuing either before or after giving effect to such transaction, (D) the Agents’ and
Lenders’ rights in any Collateral, including, without limitation, the existence, perfection and
priority of any Lien thereon, are not adversely affected by such merger, consolidation or
amalgamation and (E) the surviving Subsidiary, if any, if not already a Loan Party, is joined as a
Loan Party hereunder pursuant to a Joinder Agreement and is a party to a Security Agreement and
the Equity Interests of such Subsidiary is the subject of a Security Agreement, in each case, which
is in full force and effect on the date of and immediately after giving effect to such merger,
consolidation or amalgamation; and

                        (ii)    Make any Disposition, whether in one transaction or a series of
related transactions, of all or any part of its business, property or assets, whether now owned or
hereafter acquired, or permit any of its Subsidiaries to do any of the foregoing; provided, however,
that any Loan Party and its Subsidiaries may make Permitted Dispositions.

              (d)     Change in Nature of Business. Make, or permit any of its Subsidiaries to
make, any change in the nature of its business as described in Section 6.01(f).

               (e)   Loans, Advances, Investments, Etc. Make, or permit any of its Subsidiaries
to make, any Investment in any other Person except for Permitted Investments.

               (f)     Sale and Leaseback Transactions. Enter into, or permit any of its
Subsidiaries to enter into, any Sale and Leaseback Transaction, except any Sale and Leaseback
Transaction consented to by the Required Lenders.

               (g)     [Intentionally Omitted].

              (h)    Restricted Payments. Make or permit any of its Subsidiaries to make any
Restricted Payment other than Permitted Restricted Payments.

               (i)    Federal Reserve Regulations. Permit any Loan or the proceeds of any Loan
under this Agreement to be used for any purpose that would cause such Loan to be a margin loan
under the provisions of Regulation T, U or X of the Board.

                (j)     Transactions with Affiliates. Enter into, renew, extend or be a party to, or
permit any of its Subsidiaries to enter into, renew, extend or be a party to, any transaction or series
of related transactions (including, without limitation, the purchase, sale, lease, transfer or exchange
of property or assets of any kind or the rendering of services of any kind) with any Affiliate of
Parent or any of its Subsidiaries, except (i) transactions consummated in the ordinary course of
business for fair consideration and on terms no less favorable to it or its Subsidiaries than would
be obtainable in a comparable arm’s length transaction with a Person that is not an Affiliate thereof,
and if they involve one or more payments by the Parent or any of its Subsidiaries in excess of
$250,000 for any single transaction or series of related transactions, that are fully disclosed to the
Administrative Agent prior to the consummation thereof, (ii) transactions solely among two or
more Loan Parties, (iii) transactions permitted by Section 7.02(e) or Section 7.02(h), (iv) sales of
Qualified Equity Interests of the Parent to Affiliates of the Parent not otherwise prohibited by the
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Loan Documents and the granting of registration and other customary rights in connection
therewith, and (v) reasonable and customary outside director and officer compensation (including
bonuses (including sale bonuses), deferred compensation and stock option programs), benefits and
indemnification arrangements, in each case approved by the Board of Directors (or a committee
thereof) of such Loan Party or such Subsidiary.

                (k)     Limitations on Dividends and Other Payment Restrictions Affecting
Subsidiaries. Create or otherwise cause, incur, assume, suffer or permit to exist or become
effective any consensual encumbrance or restriction of any kind on the ability of any Subsidiary
of any Loan Party (i) to pay dividends or to make any other distribution on any shares of Equity
Interests of such Subsidiary owned by any Loan Party or any of its Subsidiaries, (ii) to pay or
prepay or to subordinate any Indebtedness owed to any Loan Party or any of its Subsidiaries, (iii) to
make loans or advances to any Loan Party or any of its Subsidiaries or (iv) to transfer any of its
property or assets to any Loan Party or any of its Subsidiaries, or permit any of its Subsidiaries to
do any of the foregoing; provided, however, that nothing in any of clauses (i) through (iv) of this
Section 7.02(k) shall prohibit or restrict compliance with: (A) this Agreement, the other Loan
Documents, the Second Lien Loan Documents, the ABL Loan Documents and the Parent
Company Agreement; (B) any agreement in effect on the date of this Agreement and described on
Schedule 7.02(k), or any extension, replacement or continuation of any such agreement; provided,
that, any such encumbrance or restriction contained in such extended, replaced or continued
agreement is no less favorable to the Agents and the Lenders than the encumbrance or restriction
under or pursuant to the agreement so extended, replaced or continued; (C) any applicable law,
rule or regulation (including, without limitation, applicable currency control laws and applicable
state corporate statutes restricting the payment of dividends in certain circumstances); (D) in the
case of clause (iv), (1) customary restrictions on the subletting, assignment or transfer of any
specified property or asset set forth in a lease, license, asset sale agreement or similar contract for
the conveyance of such property or asset and (2) instrument or other document evidencing a
Permitted Lien (or the Indebtedness secured thereby) from restricting on customary terms the
transfer of any property or assets subject thereto; (E) customary restrictions on dispositions of real
property interests in reciprocal easement agreements; (F) customary restrictions in agreements for
the sale of assets on the transfer or encumbrance of such assets during an interim period prior to
the closing of the sale of such assets; or (G) customary restrictions in contracts that prohibit the
assignment of such contract.

                 (l)    Limitations on Negative Pledges. Enter into, incur or permit to exist, or
permit any Subsidiary to enter into, incur or permit to exist, directly or indirectly, any agreement,
instrument, deed, lease or other arrangement that prohibits, restricts or imposes any condition upon
the ability of any Loan Party or any Subsidiary of any Loan Party to create, incur or permit to exist
any Lien upon any of its property or revenues, whether now owned or hereafter acquired, or that
requires the grant of any security for an obligation if security is granted for another obligation,
except the following: (i) this Agreement, the other Loan Documents, the ABL Loan Documents
and the Second Lien Loan Documents, (ii) restrictions or conditions imposed by any agreement
relating to secured Indebtedness permitted by Section 7.02(b) of this Agreement if such restrictions
or conditions apply only to the property or assets securing such Indebtedness, (iii) any customary
restrictions and conditions contained in agreements relating to the sale or other disposition of assets
or of a Subsidiary pending such sale or other disposition; provided that such restrictions and

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conditions apply only to the assets or Subsidiary to be sold or disposed of and such sale or
disposition is permitted hereunder, and (iv) customary provisions in leases restricting the
assignment or sublet thereof.

              (m)    Modifications and Payment of Indebtedness; Organizational Documents
and Certain Other Agreements; Etc.

                        (i)   (A) Amend, modify or otherwise change (or permit the amendment,
modification or other change in any manner of) any of the provisions of any of its or its
Subsidiaries’ Indebtedness for borrowed money (other than Second Lien Indebtedness and ABL
Indebtedness) or of any instrument or agreement (including, without limitation, any purchase
agreement, indenture, loan agreement or security agreement) relating to any such Indebtedness if
such amendment, modification or change would shorten the final maturity or average life to
maturity of, or require any payment to be made earlier than the date originally scheduled on, such
Indebtedness, would increase the interest rate applicable to such Indebtedness, would add any
covenant or event of default, would change the subordination provision, if any, of such
Indebtedness, or would otherwise be adverse to the Lenders or the issuer of such Indebtedness in
any respect, (B) amend, modify or otherwise change (or permit the amendment, modification or
other change in any manner of) any of the provisions of the ABL Indebtedness other than in
accordance with the terms of the ABL/Term Intercreditor Agreement or (C) amend, modify or
otherwise change (or permit the amendment, modification or other change in any manner of) any
of the provisions of the Second Lien Loan Documents other than in accordance with the terms of
the Term Intercreditor Agreement;

                          (ii)   except for the Obligations and the ABL Indebtedness (in accordance
with the terms thereof) and the payment of dividends in connection with the Parent Preferred
Equity and the redemption of Parent Preferred Equity, in each case in accordance with the Parent
Company Agreement and this Agreement (Section 7.02(h) hereof), (A) make any voluntary or
optional payment (including, without limitation, any payment of interest in cash that, at the option
of the issuer, may be paid in cash or in kind), prepayment, redemption, defeasance, sinking fund
payment or other acquisition for value of any of its or its Subsidiaries’ Indebtedness (including,
without limitation, by way of depositing money or securities with the trustee therefor before the
date required for the purpose of paying any portion of such Indebtedness when due), (B) refund,
refinance, replace or exchange any other Indebtedness for any such Indebtedness (other than with
respect to Permitted Refinancing Indebtedness), (C) make any payment, prepayment, redemption,
defeasance, sinking fund payment or repurchase of any Subordinated Indebtedness in violation of
the subordination provisions thereof or any subordination agreement with respect thereto, or (D)
make any payment, prepayment, redemption, defeasance, sinking fund payment or repurchase of
any Indebtedness as a result of any asset sale, change of control, issuance and sale of debt or equity
securities or similar event, or give any notice with respect to any of the foregoing; provided that
this clause (ii) shall not prohibit the payment of regularly scheduled payments of principal, interest,
or mandatory prepayments of Second Lien Indebtedness in accordance with the Second Lien
Financing Agreement; or

                      (iii)  amend, modify or otherwise change any of its Governing
Documents (including, without limitation, by the filing or modification of any certificate of
designation, or any agreement or arrangement entered into by it) with respect to any of its Equity
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Interests, or enter into any new agreement with respect to any of its Equity Interests, except any
such amendments, modifications or changes or any such new agreements or arrangements pursuant
to this clause (iii) that, either individually or in the aggregate, would not be adverse to the Agents
and the Lenders in any material respect.

               (n)      Investment Company Act of 1940. Engage in any business, enter into any
transaction, use any securities or take any other action or permit any of its Subsidiaries to do any
of the foregoing, that would cause it or any of its Subsidiaries to become subject to the registration
requirements of the Investment Company Act of 1940, as amended, by virtue of being an
“investment company” or a company “controlled” by an “investment company” not entitled to an
exemption within the meaning of such Act.

                (o)     ERISA. (i) Engage, or permit or suffer to exist any ERISA Affiliate to
engage, in any transaction described in Section 4069 or 4212(c) of ERISA; (ii) with respect to any
Employee Plan, engage, or permit any ERISA Affiliate to engage, in any prohibited transaction
described in Section 406 of ERISA or 4975 of the Internal Revenue Code for which a statutory or
class exemption is not available or a private exemption has not previously been obtained from the
U.S. Department of Labor; (iii) adopt or permit or suffer to exist any ERISA Affiliate to adopt a
Plan or any employee welfare benefit plan within the meaning of Section 3(1) of ERISA which
provides benefits to retirees after termination of employment other than as required by Section 601
of ERISA or applicable law; (iv) fail to make any contribution or payment to any Multiemployer
Plan which it or any ERISA Affiliate may be required to make under any agreement relating to
such Multiemployer Plan, or any law pertaining thereto; or (v) fail, or permit any ERISA Affiliate
to fail, to pay any required installment or any other payment required under Section 412 of the
Internal Revenue Code on or before the due date for such installment or other payment.

               (p)     Environmental. Permit the use, handling, generation, storage, treatment,
Release or disposal of Hazardous Materials at any property owned or leased by it or any of its
Subsidiaries, except in compliance in all material respects with Environmental Laws.

               (q)     Accounting Methods. Modify or change, or permit any of its Subsidiaries
to modify or change, its method of accounting or accounting principles from those utilized in the
preparation of the Financial Statements (other than as may be required to conform to GAAP).

               (r)     Anti-Money Laundering and Anti-Terrorism Laws.

                       (i)     None of the Loan Parties, nor any of their Affiliates or agents, shall:

                              (A)     conduct any business or engage in any transaction or dealing
with or for the benefit of any Blocked Person, including the making or receiving of any
contribution of funds, goods or services to, from or for the benefit of any Blocked Person;

                             (B)    deal in, or otherwise engage in any transaction relating to,
any property or interests in property blocked or subject to blocking pursuant to the OFAC
Sanctions Programs;



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                              (C)    use any of the proceeds of the transactions contemplated by
this Agreement to finance, promote or otherwise support in any manner any illegal activity,
including, without limitation, any violation of the Anti-Money Laundering and Anti-Terrorism
Laws or any specified unlawful activity as that term is defined in the Money Laundering Control
Act of 1986, 18 U.S.C. §§ 1956 and 1957; or

                               (D)     violate, attempt to violate, or engage in or conspire to engage
in any transaction that evades or avoids, or has the purpose of evading or avoiding, any of the Anti-
Money Laundering and Anti-Terrorism Laws.

                       (ii)     None of the Loan Parties, nor any Affiliate of any of the Loan
Parties, nor any officer, director or principal shareholder or owner of any of the Loan Parties, nor
any of the Loan Parties’ respective agents acting or benefiting in any capacity in connection with
the Loans or other transactions hereunder, shall be or shall become a Blocked Person.

                   (s)      Anti-Bribery and Anti-Corruption Laws. None of the Loan Parties shall:

                          (i)     offer, promise, pay, give, or authorize the payment or giving of any
money, gift or other thing of value, directly or indirectly, to or for the benefit of any Foreign
Official for the purpose of: (A) influencing any act or decision of such Foreign Official in his, her,
or its official capacity; or (B) inducing such Foreign Official to do, or omit to do, an act in violation
of the lawful duty of such Foreign Official; or (C) securing any improper advantage, in order to
obtain or retain business for, or with, or to direct business to, any Person; or

                        (ii)   act or attempt to act in any manner which would subject any of the
Loan Parties to liability under any Anti-Corruption Law.

       Section 7.03 Minimum EBITDA. The Loan Parties shall not permit Consolidated
EBITDA of the Parent and its Subsidiaries for the consecutive 12 fiscal month period, commencing
with the fiscal quarter ending on December 31, 2022, and each subsequent consecutive 12 fiscal
month period tested as of the last day of each fiscal quarter ending prior to the Suspension Date to
be less than $[___] without the consent (not to be unreasonably withheld or delayed) of the
Goldman Lenders (other than any Defaulting Lender).

                                               ARTICLE VIII

                           CASH MANAGEMENT ARRANGEMENTS AND
                                OTHER COLLATERAL MATTERS

        Section 8.01 Cash Management Arrangements. (a) On or prior to [___], 20226, the Loan
Parties shall (i) establish and maintain cash management services of a type and on terms reasonably
satisfactory to the Agents at one or more banks reasonably acceptable to the Agents (each a “Cash
Management Bank”) and (ii) except as otherwise provided under Section 8.01(b), deposit or cause
to be deposited promptly, and in any event no later than the next Business Day after the date of
receipt thereof, all proceeds in respect of any Collateral, all Collections (of a nature susceptible to

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    NTD: To be 60 days post- Effective Date.
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a deposit in a bank account) and all other amounts received by any Loan Party (including payments
made by Account Debtors directly to any Loan Party) into a Cash Management Account.

               (b)    On or prior to [___], 20227, the Loan Parties shall, with respect to each Cash
Management Account (other than Excluded Accounts), deliver to the Collateral Agent a Control
Agreement with respect to such Cash Management Account. After [___], 20228 (or such later date
as the Collateral Agent may agree in writing), the Loan Parties shall not maintain, and shall not
permit any of their Subsidiaries to maintain, cash, Cash Equivalents or other amounts in any
deposit account or securities account, unless the Collateral Agent shall have received a Control
Agreement in respect of each such Cash Management Account (other than Excluded Accounts).

                (c)    No Loan Party nor any of its Subsidiaries shall permit the maintenance of
cash and Cash Equivalents (a) in the Barbados Accounts in excess of $250,000 in the aggregate,
or (b) in the Philippines Accounts in excess of $500,000 in the aggregate, in the case of each of
the preceding clauses (a) and (b), for any period of 5 consecutive days; it being understood that
any amounts in excess of such threshold for such 5 day period shall be promptly repatriated to a
Deposit Account held in the United States by a Loan Party and subject to a Control Agreement.

               (d)    No Loan Party nor any of its Subsidiaries shall permit the maintenance of
cash (a) in any Customer Trust Account, other than (i) cash owned by the applicable underlying
customer (x) that was collected by such Loan Party from third parties in connection with its
performance of services for such customer and (y) for payment of fees and expenses incurred by
such Loan Party for the performance of such services, or (ii) funds advanced to such Customer
Trust Account by a Loan Party to comply with client remittance requirements, and (b) in any
License Trust Account, other than cash that such Loan Party is required to maintain in such account
by the applicable underlying State or Governmental Authority; it being understood that any
amounts in excess of such thresholds shall be promptly remitted to a Deposit Account subject to a
Control Agreement.

                (e)      So long as no Default or Event of Default has occurred and is continuing,
the Borrowers may amend Schedule 8.01 to add or replace a Cash Management Bank or Cash
Management Account; provided, however, that (i) such prospective Cash Management Bank shall
be reasonably satisfactory to the Collateral Agent and the Collateral Agent shall have consented
in writing in advance to the opening of such Cash Management Account with the prospective Cash
Management Bank, and (ii) prior to the time of the opening of such Cash Management Account,
each Loan Party and such prospective Cash Management Bank shall have executed and delivered
to the Collateral Agent a Control Agreement. Subject to the conditions set forth in any Control
Agreement with respect to any such Cash Management Account, each Loan Party shall close any
of its Cash Management Accounts (and establish replacement cash management accounts in
accordance with the foregoing sentence) promptly and in any event within 30 days of notice from
the Collateral Agent that the creditworthiness of any Cash Management Bank is no longer
acceptable in the Collateral Agent’s reasonable judgment, or that the operating performance, funds
transfer, or availability procedures or performance of such Cash Management Bank with respect
to Cash Management Accounts or the Collateral Agent’s liability under any Control Agreement

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with such Cash Management Bank is no longer acceptable in the Collateral Agent’s reasonable
judgment.

                                           ARTICLE IX

                                     EVENTS OF DEFAULT

        Section 9.01 Events of Default. Each of the following events shall constitute an event of
default (each, an “Event of Default”):

               (a)    any Borrower shall fail to pay (whether by scheduled maturity, required
prepayment, acceleration, demand or otherwise) (i) within three (3) Business Days following the
due date interest on any Loan, any Collateral Agent Advance, or any fee, indemnity or other
amount payable under this Agreement (other than any portion thereof constituting principal of the
Loans) or any other Loan Document or (ii) all or any portion of the principal of the Loans when
due;

               (b)      any representation or warranty made or deemed made by or on behalf of
any Loan Party or by any Authorized Officer of the foregoing under or in connection with any
Loan Document or under or in connection with any certificate or other writing delivered to any
Secured Party pursuant to any Loan Document shall have been incorrect in any material respect
(or in any respect if such representation or warranty is qualified or modified as to materiality or
“Material Adverse Effect” in the text thereof) when made or deemed made;

                (c)    any Loan Party shall fail to perform or comply with any covenant or
agreement contained in Section 5.02, Section 7.01(a), Section 7.01(c), Section 7.01(d), Section
7.01(e), Section 7.01(h), Section 7.01(k), Section 7.01(n), Section 7.01(o), Section 7.02 or Section
7.03 or Article VIII;

               (d)     any Loan Party shall fail to perform or comply with any other term,
covenant or agreement contained in any Loan Document to be performed or observed by it and,
except as set forth in subsections (a), (b) and (c) of this Section 9.01, such failure, if capable of
being remedied, shall remain unremedied for 30 days after the earlier of the date a senior officer
of any Loan Party has knowledge of such failure and the date written notice of such default shall
have been given by any Agent or the Required Lenders to any Loan Party;

                (e)      any Loan Party or any of its Subsidiaries shall (i) fail to pay when due
(whether by scheduled maturity, required prepayment, acceleration, demand or otherwise) any
principal, interest or other amount payable in respect of any Material Indebtedness (excluding (x)
Indebtedness evidenced by this Agreement and (y) any failure to pay any applicable dividend on
any Parent Preferred Equity in accordance with the Parent Company Agreement), and such failure
shall continue after the applicable grace period, if any, specified in the agreement or instrument
relating to such Indebtedness, or (ii) fail to observe or perform any other agreement or condition
under any agreement or instrument relating to any such Material Indebtedness and such failure or
event shall continue after the applicable grace period, if any, specified in such agreement or
instrument, if the effect of such failure or event is to accelerate, or to permit the acceleration of,
the maturity of such Indebtedness; or any such Indebtedness shall be declared to be due and
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payable, or required to be prepaid (other than by a regularly scheduled required prepayment),
redeemed, purchased or defeased or an offer to prepay, redeem, purchase or defease such
Indebtedness shall be required to be made, in each case, prior to the stated maturity thereof;

                (f)     any Loan Party or any of its Subsidiaries (i) shall institute any proceeding
or voluntary case seeking to adjudicate it a bankrupt or insolvent, or seeking dissolution,
liquidation, winding up, administration, receivership, reorganization, arrangement, adjustment,
protection, relief or composition of it or its debts under any law relating to bankruptcy, insolvency,
reorganization, receivership or relief of debtors, or seeking the entry of an order for relief or the
appointment of a receiver, trustee, custodian, administrator or other similar official for any such
Person or for any substantial part of its property, (ii) shall be generally not paying its debts as such
debts become due or shall admit in writing its inability to pay its debts generally, (iii) shall make
a general assignment for the benefit of creditors, or (iv) shall take any action to authorize or effect
any of the actions set forth above in this subsection (f);

                 (g)     any proceeding shall be instituted against any Loan Party or any of its
Subsidiaries seeking to adjudicate it a bankrupt or insolvent, or seeking dissolution, liquidation,
winding up, administration, receivership, reorganization, arrangement, adjustment, protection,
relief of debtors, or seeking the entry of an order for relief or the appointment of a receiver, trustee,
custodian, administrator or other similar official for any such Person or for any substantial part of
its property, and either such proceeding shall remain undismissed or unstayed for a period of 30
days or any of the actions sought in such proceeding (including, without limitation, the entry of an
order for relief against any such Person or the appointment of a receiver, trustee, custodian or other
similar official for it or for any substantial part of its property) shall occur;

                 (h)     any material provision of any Loan Document shall at any time for any
reason (other than pursuant to the express terms thereof) cease to be valid and binding on or
enforceable against any Loan Party intended to be a party thereto, or the validity or enforceability
thereof shall be contested by any party thereto, or a proceeding shall be commenced by any Loan
Party or any Governmental Authority having jurisdiction over any of them, seeking to establish
the invalidity or unenforceability thereof, or any Loan Party shall deny in writing that it has any
liability or obligation purported to be created under any Loan Document;

                (i)      any Security Agreement, any Mortgage or any other security document,
after delivery thereof pursuant hereto, shall for any reason (except to the extent such failure results
from the failure of the Collateral Agent to maintain possession of Collateral as to which the Liens
thereon are perfected by possession or otherwise as a result of any action or failure to act by the
Collateral Agent when provided with the information required by the Loan Documents) fail or
cease to create a valid and perfected and, except to the extent permitted by the terms hereof or
thereof, first priority Lien (subject to the terms of the Intercreditor Agreements) in favor of the
Collateral Agent for the benefit of the Agents and the Lenders on any Collateral purported to be
covered thereby;

                (j)   one or more judgments, orders or awards (or any settlement of any litigation
or other proceeding that, if breached, could result in a judgment, order or award) for the payment
of money exceeding $1,000,000 in the aggregate (except to the extent fully covered (other than to
the extent of customary deductibles) by insurance pursuant to which the insurer has been notified
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and has not denied coverage) shall be rendered against any Loan Party or any of its Subsidiaries
and remain unsatisfied and (i) enforcement proceedings shall have been commenced by any
creditor upon any such judgment, order, award or settlement or (ii) there shall be a period of 30
consecutive days after entry thereof during which (A) a stay of enforcement thereof is not be in
effect or (B) the same is not vacated, discharged, stayed or bonded pending appeal;

              (k)    one or more fines and/or penalties for the payment of money exceeding
$10,000,000 in the aggregate shall be levied against any Loan Party or any of its Subsidiaries by
the Consumer Fraud Protection Bureau or any other Governmental Authority;

               (l)     [reserved];

                (m)    any material damage to, or loss, theft or destruction of, any Collateral,
whether or not insured, or any strike, lockout, labor dispute, embargo, condemnation, act of God
or public enemy, or other casualty which causes, for more than 15 consecutive days, the cessation
or substantial curtailment of revenue producing activities at any facility of any Loan Party, if any
such event or circumstance would reasonably be expected to have a Material Adverse Effect;

                (n)   the loss, suspension or revocation of, or failure to renew, any license or
permit now held or hereafter acquired by any Loan Party, if such loss, suspension, revocation or
failure to renew would reasonably be expected to have a Material Adverse Effect;

               (o)     [reserved];

              (p)    (i) there shall occur and be continuing any “Event of Default” (or any
comparable term) under, and as defined in the documents evidencing or governing any
Subordinated Indebtedness, (ii) with respect to any Subordinated Indebtedness, any of the
Obligations for any reason shall cease to be “Senior Indebtedness” or “Designated Senior
Indebtedness” (or any comparable terms) under, and as defined in the documents evidencing or
governing any Subordinated Indebtedness, (iii) with respect to any Subordinated Indebtedness,
any Indebtedness other than the Obligations shall constitute “Designated Senior Indebtedness” (or
any comparable term) under, and as defined in, the documents evidencing or governing any
Subordinated Indebtedness, and (iv) the subordination provisions of the documents evidencing or
governing any Subordinated Indebtedness shall, in whole or in part, terminate, cease to be effective
or cease to be legally valid, binding and enforceable against any holder of the applicable
Subordinated Indebtedness;

               (q)     a Change of Control shall have occurred; or

               (r)     a Termination Event shall have occurred;

then, during the continuation of any such event, the Collateral Agent may, and shall, at the request
of the Required Lenders, by notice to the Administrative Borrower, (i) terminate or reduce all
Commitments, whereupon all Commitments shall immediately be so terminated or reduced, (ii)
declare all or any portion of the Loans then outstanding to be due and payable, whereupon all or
such portion of the aggregate principal of all Loans, all accrued and unpaid interest thereon, all
fees and all other amounts payable under this Agreement and the other Loan Documents shall

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become due and payable immediately, together with the payment of the Applicable Premium with
respect to the Loans so repaid, without presentment, demand, protest or further notice of any kind,
all of which are hereby expressly waived by each Loan Party and (iii) exercise any and all of its
other rights and remedies under applicable law, hereunder and under the other Loan Documents;
provided, however, that upon the occurrence of any Event of Default described in subsection (f)
or (g) of this Section 9.01 with respect to any Loan Party, without any notice to any Loan Party or
any other Person or any act by any Agent or any Lender, all Commitments shall automatically
terminate and all Loans then outstanding, together with all accrued and unpaid interest thereon, all
fees and all other amounts due under this Agreement and the other Loan Documents, including,
without limitation, the Applicable Premium, shall be accelerated and become due and payable
automatically and immediately, without presentment, demand, protest or notice of any kind, all of
which are expressly waived by each Loan Party.

        Section 9.02 Cure Right. In the event that the Borrowers fail to comply with the
requirements of any financial covenant set forth in Section 7.03 (such financial covenant, a
“Specified Financial Covenant” and such Event of Default, a “Curable Default”), from the last day
of the applicable fiscal quarter until the expiration of the 10th day after the date on which financial
statements are required to be delivered with respect to such fiscal quarter hereunder, the Parent
shall have the right to issue Permitted Cure Equity for cash or otherwise receive cash contributions
to the capital of the Parent and contribute such cash to the Borrower which such Permitted Cure
Equity may be included in the calculation of Consolidated EBITDA solely for the purposes of
determining compliance with the Specified Financial Covenant at the end of such fiscal quarter
and any subsequent calculation period that includes such fiscal quarter (such right, the “Cure
Right”); provided, that (a) such proceeds are actually received by the Borrowers no later than 10
days after the date on which financial statements are required to be delivered with respect to such
fiscal quarter hereunder, and (b) such proceeds do not exceed the aggregate amount necessary to
cure such Curable Default for such period. If, after giving effect to the foregoing pro forma
adjustment, the Borrowers are in compliance with the Specified Financial Covenant, the Borrowers
shall be deemed to have satisfied the requirements of such Section as of the relevant date of
determination with the same effect as though there had been no failure to comply on such date,
and the applicable Curable Default shall be deemed cured for purposes of this Agreement. From
and after the receipt by the Administrative Agent of a written notice from Parent or the
Administrative Borrower that the Parent or the Borrowers intend to exercise a Cure Right with
respect to a particular fiscal quarter of Parent and its Subsidiaries and until the expiration of the
10th day after the date on which the Compliance Certificate is required to be delivered pursuant to
Section 7.01(a)(iv) with respect to such fiscal quarter, neither the Administrative Agent nor the
Required Lenders shall exercise any right under Section 9.01 solely on the basis of an Event of
Default having occurred and being continuing in respect of a failure to comply with the
requirements of the financial covenant set forth in Section 7.03(a); provided, that, during such
period, an Event of Default in respect of such failure to comply shall continue to exist for all other
purposes of this Agreement and the other Loan Documents.




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                                           ARTICLE X

                                             AGENTS

        Section 10.01 Appointment. Each Lender (and each subsequent maker of any Loan by its
making thereof) hereby irrevocably appoints, authorizes and empowers the Administrative Agent
and the Collateral Agent to perform the duties of each such Agent as set forth in this Agreement
and the other Loan Documents, together with such actions and powers as are reasonably incidental
thereto, including: (i) to receive on behalf of each Lender any payment of principal of or interest
on the Loans outstanding hereunder and all other amounts accrued hereunder for the account of
the Lenders and paid to such Agent, and, subject to Section 2.02 of this Agreement, to distribute
promptly to each Lender its Pro Rata Share of all payments so received; (ii) to distribute to each
Lender copies of all material notices, written reports, certificates and agreements received by such
Agent, in its capacity as Agent, and not required to be delivered to each Lender pursuant to the
terms of this Agreement, provided that the Agents shall not have any liability to the Lenders for
any Agent’s inadvertent failure to distribute any such notices, written reports, certificates or
agreements to the Lenders; (iii) to maintain, in accordance with its customary business practices,
ledgers and records reflecting the status of the Obligations, the Loans, and related matters and to
maintain, in accordance with its customary business practices, ledgers and records reflecting the
status of the Collateral and related matters; (iv) to execute or file any and all financing or similar
statements or notices, amendments, renewals, supplements, documents, instruments, proofs of
claim, notices and other written agreements with respect to this Agreement or any other Loan
Document; (v) to make the Loans and Collateral Agent Advances, for such Agent or on behalf of
the applicable Lenders as provided in this Agreement or any other Loan Document; (vi) to perform,
exercise, and enforce any and all other rights and remedies of the Lenders with respect to the Loan
Parties, the Obligations, or otherwise related to any of same to the extent reasonably incidental to
the exercise by such Agent of the rights and remedies specifically authorized to be exercised by
such Agent by the terms of this Agreement or any other Loan Document; (vii) to incur and pay
such fees necessary or appropriate for the performance and fulfillment of its functions and powers
pursuant to this Agreement or any other Loan Document; (viii) subject to Section 10.03, to take
such action as such Agent deems appropriate on its behalf to administer the Loans and the Loan
Documents and to exercise such other powers delegated to such Agent by the terms hereof or the
other Loan Documents (including, without limitation, the power to give or to refuse to give notices,
waivers, consents, approvals and instructions and the power to make or to refuse to make
determinations and calculations); and (ix) to act with respect to all Collateral under the Loan
Documents, including for purposes of acquiring, holding and enforcing any and all Liens on
Collateral granted by any of the Loan Parties to secure any of the Obligations. As to any matters
not expressly provided for by this Agreement and the other Loan Documents (including, without
limitation, enforcement or collection of the Loans), the Agents shall not be required to exercise
any discretion or take any action, but shall be required to act or to refrain from acting (and shall
be fully protected in so acting or refraining from acting) upon the instructions of the Required
Lenders (or such other number or percentage of the Lenders as shall be expressly provided for
herein or in the other Loan Documents), and such instructions of the Required Lenders (or such
other number or percentage of the Lenders as shall be expressly provided for herein or in the other
Loan Documents) shall be binding upon all Lenders and all makers of Loans; provided, however,
the Agents shall not be required to take any action which, in the reasonable opinion of any Agent,
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exposes such Agent to liability or which is contrary to this Agreement or any other Loan Document
or applicable law.

        Section 10.02 Nature of Duties; Delegation. (a) The Agents shall have no duties or
responsibilities except those expressly set forth in this Agreement or in the other Loan Documents.
The duties of the Agents shall be mechanical and administrative in nature. The Agents shall not
have by reason of this Agreement or any other Loan Document a fiduciary relationship in respect
of any Lender. Nothing in this Agreement or any other Loan Document, express or implied, is
intended to or shall be construed to impose upon the Agents any obligations in respect of this
Agreement or any other Loan Document except as expressly set forth herein or therein. Each
Lender shall make its own independent investigation of the financial condition and affairs of the
Loan Parties in connection with the making and the continuance of the Loans hereunder and shall
make its own appraisal of the creditworthiness of the Loan Parties and the value of the Collateral,
and the Agents shall have no duty or responsibility, either initially or on a continuing basis, to
provide any Lender with any credit or other information with respect thereto, whether coming into
their possession before the initial Loan hereunder or at any time or times thereafter, provided that,
upon the reasonable request of a Lender, each Agent shall provide to such Lender any documents
or reports delivered to such Agent by the Loan Parties pursuant to the terms of this Agreement or
any other Loan Document. If any Agent seeks the consent or approval of the Required Lenders (or
such other number or percentage of the Lenders as shall be expressly provided for herein or in the
other Loan Documents) to the taking or refraining from taking any action hereunder, such Agent
shall send notice thereof to each Lender. Each Agent shall promptly notify each Lender any time
that the Required Lenders (or such other number or percentage of the Lenders as shall be expressly
provided for herein or in the other Loan Documents) have instructed such Agent to act or refrain
from acting pursuant hereto.

                (b)     Each Agent may, upon any term or condition it specifies, delegate or
exercise any of its rights, powers and remedies under, and delegate or perform any of its duties or
any other action with respect to, any Loan Document by or through any trustee, sub-agent, co-
agent, employee, attorney-in-fact and any other Person (including any Lender). Any such Person
shall benefit from this Article X to the extent provided by the applicable Agent.

        Section 10.03 Rights, Exculpation, Etc. The Agents and their directors, officers, agents or
employees shall not be liable for any action taken or omitted to be taken by them under or in
connection with this Agreement or the other Loan Documents, except for their own gross
negligence or willful misconduct as determined by a final non-appealable judgment of a court of
competent jurisdiction. Without limiting the generality of the foregoing, the Agents (i) may treat
the payee of any Loan as the owner thereof until the Collateral Agent receives written notice of
the assignment or transfer thereof, pursuant to Section 12.07 hereof, signed by such payee and in
form satisfactory to the Collateral Agent; (ii) may consult with legal counsel (including, without
limitation, counsel to any Agent or counsel to the Loan Parties), independent public accountants,
and other experts selected by any of them and shall not be liable for any action taken or omitted to
be taken in good faith by any of them in accordance with the advice of such counsel or experts;
(iii) make no warranty or representation to any Lender and shall not be responsible to any Lender
for any statements, certificates, warranties or representations made in or in connection with this
Agreement or the other Loan Documents; (iv) shall not have any duty to ascertain or to inquire as

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to the performance or observance of any of the terms, covenants or conditions of this Agreement
or the other Loan Documents on the part of any Person, the existence or possible existence of any
Default or Event of Default, or to inspect the Collateral or other property (including, without
limitation, the books and records) of any Person; (v) shall not be responsible to any Lender for the
due execution, legality, validity, enforceability, genuineness, sufficiency or value of this
Agreement or the other Loan Documents or any other instrument or document furnished pursuant
hereto or thereto; and (vi) shall not be deemed to have made any representation or warranty
regarding the existence, value or collectability of the Collateral, the existence, priority or
perfection of the Collateral Agent’s Lien thereon, or any certificate prepared by any Loan Party in
connection therewith, nor shall the Agents be responsible or liable to the Lenders for any failure
to monitor or maintain any portion of the Collateral. The Agents shall not be liable for any
apportionment or distribution of payments made in good faith pursuant to Section 4.03, and if any
such apportionment or distribution is subsequently determined to have been made in error, and the
sole recourse of any Lender to whom payment was due but not made shall be to recover from other
Lenders any payment in excess of the amount which they are determined to be entitled. The Agents
may at any time request instructions from the Lenders with respect to any actions or approvals
which by the terms of this Agreement or of any of the other Loan Documents the Agents are
permitted or required to take or to grant, and if such instructions are promptly requested, the Agents
shall be absolutely entitled to refrain from taking any action or to withhold any approval under any
of the Loan Documents until they shall have received such instructions from the Required Lenders.
Without limiting the foregoing, no Lender shall have any right of action whatsoever against any
Agent as a result of such Agent acting or refraining from acting under this Agreement or any of
the other Loan Documents in accordance with the instructions of the Required Lenders (or such
other number or percentage of the Lenders as shall be expressly provided for herein or in the other
Loan Documents). The provisions of this Section 10.03 shall survive the payment in full of the
Loans and the termination of this Agreement.

         Section 10.04 Reliance. Each Agent shall be entitled to rely upon any written notices,
statements, certificates, orders or other documents or any telephone message believed by it in good
faith to be genuine and correct and to have been signed, sent or made by the proper Person, and
with respect to all matters pertaining to this Agreement or any of the other Loan Documents and
its duties hereunder or thereunder, upon advice of counsel selected by it.

        Section 10.05 Indemnification. To the extent that any Agent is not reimbursed and
indemnified by any Loan Party, and whether or not such Agent has made demand on any Loan
Party for the same, the Lenders will, within five days of written demand by such Agent, reimburse
such Agent for and indemnify such Agent from and against any and all liabilities, obligations,
losses, damages, penalties, actions, judgments, suits, costs, expenses (including, without
limitation, client charges and expenses of counsel or any other advisor to such Agent, advances or
disbursements of any kind or nature whatsoever which may be imposed on, incurred by, or asserted
against such Agent in any way relating to or arising out of this Agreement, any of the other Loan
Documents or any action taken or omitted by such Agent under this Agreement or any of the other
Loan Documents, in proportion to each Lender’s Pro Rata Share, including, without limitation,
advances and disbursements made pursuant to Section 10.08; provided, however, that no Lender
shall be liable for any portion of such liabilities, obligations, losses, damages, penalties, actions,
judgments, suits, costs, expenses, advances or disbursements for which there has been a final non-

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appealable judicial determination that such liability resulted from such Agent’s gross negligence
or willful misconduct. The obligations of the Lenders under this Section 10.05 shall survive the
payment in full of the Loans and the termination of this Agreement. This Section 10.05 shall not
apply with respect to Taxes other than any Taxes that represent losses, claims, damages, etc. arising
from any non-Tax claim.

       Section 10.06 Agents Individually. With respect to its Pro Rata Share of the Total
Commitment hereunder and the Loans made by it, each Agent shall have and may exercise the
same rights and powers hereunder and is subject to the same obligations and liabilities as and to
the extent set forth herein for any other Lender or maker of a Loan. The terms “Lenders” or
“Required Lenders” or any similar terms shall, unless the context clearly otherwise indicates,
include each Agent in its individual capacity as a Lender or one of the Required Lenders. Each
Agent and its Affiliates may accept deposits from, lend money to, and generally engage in any
kind of banking, trust or other business with any Borrower as if it were not acting as an Agent
pursuant hereto without any duty to account to the other Lenders.

        Section 10.07 Successor Agent. (a) Any Agent may at any time give at least 30 days prior
written notice of its resignation to the Lenders and the Administrative Borrower. Upon receipt of
any such notice of resignation, the Required Lenders shall have the right to appoint a successor
Agent with the consent of the Borrower so long as no Event of Default has occurred and is
continuing. If no such successor Agent shall have been so appointed by the Required Lenders and
shall have accepted such appointment within 30 days after the retiring Agent gives notice of its
resignation (or such earlier day as shall be agreed by the Required Lenders) (the “Resignation
Effective Date”), then the retiring Agent may (but shall not be obligated to), on behalf of the
Lenders, appoint a successor Agent. Whether or not a successor Agent has been appointed, such
resignation shall become effective in accordance with such notice on the Resignation Effective
Date.

                (b)     With effect from the Resignation Effective Date, (i) the retiring Agent shall
be discharged from its duties and obligations hereunder and under the other Loan Documents
(except that in the case of any Collateral held by such Agent on behalf of the Lenders under any
of the Loan Documents, the retiring Agent shall continue to hold such collateral security until such
time as a successor Agent is appointed) and (ii) all payments, communications and determinations
provided to be made by, to or through such retiring Agent shall instead be made by or to each
Lender directly, until such time, if any, as a successor Agent shall have been appointed as provided
for above. Upon the acceptance of a successor’s Agent’s appointment as Agent hereunder, such
successor shall succeed to and become vested with all of the rights, powers, privileges and duties
of the retiring Agent, and the retiring Agent shall be discharged from all of its duties and
obligations hereunder or under the other Loan Documents. After the retiring Agent’s resignation
hereunder and under the other Loan Documents, the provisions of this Article, Section 12.04 and
Section 12.15 shall continue in effect for the benefit of such retiring Agent in respect of any actions
taken or omitted to be taken by it while the retiring Agent was acting as Agent.

       Section 10.08 Collateral Matters.

              (a)     The Collateral Agent may from time to time make such disbursements and
advances (“Collateral Agent Advances”) which the Collateral Agent, in its sole discretion, deems
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necessary or desirable to preserve, protect, prepare for sale or lease or dispose of the Collateral or
any portion thereof, to enhance the likelihood or maximize the amount of repayment by the
Borrowers of the Loans and other Obligations or to pay any other amount chargeable to the
Borrowers pursuant to the terms of this Agreement, including, without limitation, costs, fees and
expenses as described in Section 12.04; provided, however that the Collateral Agent shall not make
Collateral Agent Advances under this Section 10.08 of greater than $5.0 million in the aggregate
at any time outstanding without the prior written consent of the Required Lenders. The Collateral
Agent Advances shall be repayable on demand and be secured by the Collateral and shall bear
interest at a rate per annum equal to the rate then applicable to the Term Loan. The Collateral
Agent Advances shall constitute Obligations hereunder which may be charged to the Loan Account
in accordance with Section 4.01. The Collateral Agent shall notify each Lender and the
Administrative Borrower in writing of each such Collateral Agent Advance, which notice shall
include a description of the purpose of such Collateral Agent Advance. Without limitation to its
obligations pursuant to Section 10.05, each Lender agrees that it shall make available to the
Collateral Agent, upon the Collateral Agent’s demand, in Dollars in immediately available funds,
the amount equal to such Lender’s Pro Rata Share of each such Collateral Agent Advance. If such
funds are not made available to the Collateral Agent by such Lender, the Collateral Agent shall be
entitled to recover such funds on demand from such Lender, together with interest thereon for each
day from the date such payment was due until the date such amount is paid to the Collateral Agent,
at the Federal Funds Rate for three Business Days and thereafter at a rate per annum equal to the
Reference Rate plus the Applicable Margin.

               (b)     The Lenders hereby irrevocably authorize the Collateral Agent, at its option
and in its discretion, to release any Lien granted to or held by the Collateral Agent upon any
Collateral upon termination of the Total Commitment and payment and satisfaction of all Loans
and all other Obligations (other than Contingent Indemnification Obligations) in accordance with
the terms hereof; or constituting property being sold or disposed of in the ordinary course of any
Loan Party’s business or otherwise in compliance with the terms of this Agreement and the other
Loan Documents; or constituting property in which the Loan Parties owned no interest at the time
the Lien was granted or at any time thereafter; or if approved, authorized or ratified in writing by
the Lenders in accordance with Section 12.02. Upon request by the Collateral Agent at any time,
the Lenders will confirm in writing the Collateral Agent’s authority to release particular types or
items of Collateral pursuant to this Section 10.08(b).

                (c)     Without in any manner limiting the Collateral Agent’s authority to act
without any specific or further authorization or consent by the Lenders (as set forth in Section
10.08(b)), each Lender agrees to confirm in writing, upon request by the Collateral Agent, the
authority to release Collateral conferred upon the Collateral Agent under Section 10.08(b). Upon
receipt by the Collateral Agent of confirmation from the Lenders of its authority to release any
particular item or types of Collateral, and upon prior written request by any Loan Party, the
Collateral Agent shall (and is hereby irrevocably authorized by the Lenders to) execute such
documents as may be necessary to evidence the release of the Liens granted to the Collateral Agent
for the benefit of the Agents and the Lenders upon such Collateral; provided, however, that (i) the
Collateral Agent shall not be required to execute any such document on terms which, in the
Collateral Agent’s opinion, would expose the Collateral Agent to liability or create any obligations
or entail any consequence other than the release of such Liens without recourse or warranty, and

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(ii) such release shall not in any manner discharge, affect or impair the Obligations or any Lien
upon (or obligations of any Loan Party in respect of) all interests in the Collateral retained by any
Loan Party.

                (d)     Anything contained in any of the Loan Documents to the contrary
notwithstanding, the Loan Parties, each Agent and each Lender hereby agree that (i) no Lender
shall have any right individually to realize upon any of the Collateral under any Loan Document
or to enforce any Guaranty, it being understood and agreed that all powers, rights and remedies
under the Loan Documents may be exercised solely by the Collateral Agent for the benefit of the
Secured Parties in accordance with the terms thereof, (ii) in the event of a foreclosure by the
Collateral Agent on any of the Collateral pursuant to a public or private sale, the Administrative
Agent, the Collateral Agent or any Lender may be the purchaser of any or all of such Collateral at
any such sale and (iii) the Collateral Agent, as agent for and representative of the Agents and the
Lenders (but not any other Agent or any Lender or Lenders in its or their respective individual
capacities unless the Required Lenders shall otherwise agree in writing) shall be entitled (either
directly or through one or more acquisition vehicles) for the purpose of bidding and making
settlement or payment of the purchase price for all or any portion of the Collateral to be sold (A)
at any public or private sale, (B) at any sale conducted by the Collateral Agent under the provisions
of the Uniform Commercial Code (including pursuant to Sections 9-610 or 9-620 of the Uniform
Commercial Code), (C) at any sale or foreclosure conducted by the Collateral Agent (whether by
judicial action or otherwise) in accordance with applicable law or (D) any sale conducted pursuant
to the provisions of any Debtor Relief Law (including Section 363 of the Bankruptcy Code), to
use and apply all or any of the Obligations as a credit on account of the purchase price for any
Collateral payable by the Collateral Agent at such sale.

                (e)      The Collateral Agent shall have no obligation whatsoever to any Lender to
assure that the Collateral exists or is owned by the Loan Parties or is cared for, protected or insured
or has been encumbered or that the Lien granted to the Collateral Agent pursuant to this Agreement
or any other Loan Document has been properly or sufficiently or lawfully created, perfected,
protected or enforced or is entitled to any particular priority, or to exercise at all or in any particular
manner or under any duty of care, disclosure or fidelity, or to continue exercising, any of the rights,
authorities and powers granted or available to the Collateral Agent in this Section 10.08 or in any
other Loan Document, it being understood and agreed that in respect of the Collateral, or any act,
omission or event related thereto, the Collateral Agent may act in any manner it may deem
appropriate, in its sole discretion, given the Collateral Agent’s own interest in the Collateral as one
of the Lenders and that the Collateral Agent shall have no duty or liability whatsoever to any other
Lender, except as otherwise provided herein.

        Section 10.09 Agency for Perfection. Each Agent and each Lender hereby appoints each
other Agent and each other Lender as agent and bailee for the purpose of perfecting the security
interests in and liens upon the Collateral in assets which, in accordance with Article 9 of the
Uniform Commercial Code, can be perfected only by possession or control (or where the security
interest of a secured party with possession or control has priority over the security interest of
another secured party) and each Agent and each Lender hereby acknowledges that it holds
possession of or otherwise controls any such Collateral for the benefit of the Agents and the
Lenders as secured party. Should the Administrative Agent or any Lender obtain possession or

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control of any such Collateral, the Administrative Agent or such Lender shall notify the Collateral
Agent thereof, and, promptly upon the Collateral Agent’s request therefor shall deliver such
Collateral to the Collateral Agent or in accordance with the Collateral Agent’s instructions. In
addition, the Collateral Agent shall also have the power and authority hereunder to appoint such
other sub-agents as may be necessary or required under applicable state law or otherwise to
perform its duties and enforce its rights with respect to the Collateral and under the Loan
Documents. Each Loan Party by its execution and delivery of this Agreement hereby consents to
the foregoing.

         Section 10.10 No Reliance on any Agent’s Customer Identification Program. Each
Lender acknowledges and agrees that neither such Lender, nor any of its Affiliates, participants or
assignees, may rely on any Agent to carry out such Lender’s, Affiliate’s, participant’s or assignee’s
customer identification program, or other requirements imposed by the USA PATRIOT Act or the
regulations issued thereunder, including the regulations set forth in 31 C.F.R. §§ 1010.100(yy),
(iii), 1020.100, and 1020.220 (formerly 31 C.F.R. § 103.121), as hereafter amended or replaced
(“CIP Regulations”), or any other Anti-Terrorism Laws, including any programs involving any of
the following items relating to or in connection with any of the Loan Parties, their Affiliates or
their agents, the Loan Documents or the transactions hereunder or contemplated hereby: (1) any
identity verification procedures, (2) any recordkeeping, (3) comparisons with government lists, (4)
customer notices or (5) other procedures required under the CIP Regulations or other regulations
issued under the USA PATRIOT Act. Each Lender, Affiliate, participant or assignee subject to
Section 326 of the USA PATRIOT Act will perform the measures necessary to satisfy its own
responsibilities under the CIP Regulations.

       Section 10.11 No Third-Party Beneficiaries. The provisions of this Article are solely for
the benefit of the Secured Parties, and no Loan Party shall have rights as a third-party beneficiary
of any of such provisions.

         Section 10.12 No Fiduciary Relationship. It is understood and agreed that the use of the
term “agent” herein or in any other Loan Document (or any other similar term) with reference to
any Agent is not intended to connote any fiduciary or other implied (or express) obligations arising
under agency doctrine of any applicable law. Instead such term is used as a matter of market
custom, and is intended to create or reflect only an administrative relationship between contracting
parties.

      Section 10.13 Reports; Confidentiality; Disclaimers.         By becoming a party to this
Agreement, each Lender:

               (a)     is deemed to have requested that each Agent furnish such Lender, promptly
after it becomes available, a copy of each field audit or examination report with respect to the
Parent or any of its Subsidiaries (each, a “Report”) prepared by or at the request of such Agent,
and each Agent shall so furnish each Lender with each such Report,

               (b)    expressly agrees and acknowledges that the Agents (i) do not make any
representation or warranty as to the accuracy of any Reports, and (ii) shall not be liable for any
information contained in any Reports,

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               (c)     expressly agrees and acknowledges that the Reports are not comprehensive
audits or examinations, that any Agent or other party performing any audit or examination will
inspect only specific information regarding the Parent and its Subsidiaries and will rely
significantly upon the Parent’s and its Subsidiaries’ books and records, as well as on
representations of their personnel,

               (d)    agrees to keep all Reports and other material, non-public or proprietary
information regarding the Parent and its Subsidiaries and their operations, assets, and existing and
contemplated business plans in a confidential manner in accordance with Section 12.19, and

                (e)    without limiting the generality of any other indemnification provision
contained in this Agreement, agrees: (i) to hold any Agent and any other Lender preparing a Report
harmless from any action the indemnifying Lender may take or fail to take or any conclusion the
indemnifying Lender may reach or draw from any Report in connection with any loans or other
credit accommodations that the indemnifying Lender has made or may make to the Borrowers, or
the indemnifying Lender’s participation in, or the indemnifying Lender’s purchase of, a loan or
loans of the Borrowers, and (ii) to pay and protect, and indemnify, defend and hold any Agent and
any other Lender preparing a Report harmless from and against, the claims, actions, proceedings,
damages, costs, expenses, and other amounts (including, attorney’s fees and costs) incurred by any
such Agent and any such other Lender preparing a Report as the direct or indirect result of any
third parties who might obtain all or part of any Report through the indemnifying Lender.

       Section 10.14 Collateral Custodian. Upon the occurrence and during the continuance of
any Event of Default, the Collateral Agent or its designee may at any time and from time to time
employ and maintain on the premises of any Loan Party a custodian selected by the Collateral
Agent or its designee who shall have full authority to do all acts necessary to protect the Agents’
and the Lenders’ interests. Each Loan Party hereby agrees to, and to cause its Subsidiaries to,
cooperate with any such custodian and to do whatever the Collateral Agent or its designee may
reasonably request to preserve the Collateral. All costs and expenses incurred by the Collateral
Agent or its designee by reason of the employment of the custodian shall be the responsibility of
the Borrowers and charged to the Loan Account.

        Section 10.15 Intercreditor Agreements. Each Lender hereby grants to the Collateral
Agent all requisite authority to enter into or otherwise become bound by, and to perform its
obligations and exercise its rights and remedies under and in accordance with the terms of, the
Intercreditor Agreements, and to bind the Lenders thereto by the Collateral Agent’s entering into
or otherwise becoming bound thereby, and no further consent or approval on the part of any Lender
is or will be required in connection with the performance by the Collateral Agent of the
Intercreditor Agreements.

        Section 10.16 Collateral Agent May File Proofs of Claim. In case of the pendency of any
proceeding under any Debtor Relief Law or any other judicial proceeding relative to any Loan
Party, the Collateral Agent (irrespective of whether the principal of any Loan shall then be due and
payable as herein expressed or by declaration or otherwise and irrespective of whether any Agent
shall have made any demand on the Borrowers) shall be entitled and empowered (but not
obligated) by intervention in such proceeding or otherwise:

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                (a)    to file and prove a claim for the whole amount of the principal and interest
owing and unpaid in respect of the Loans and all other Obligations that are owing and unpaid and
to file such other documents as may be necessary or advisable in order to have the claims of the
Secured Parties (including any claim for the compensation, expenses, disbursements and advances
of the Secured Parties and their respective agents and counsel and all other amounts due the
Secured Parties hereunder and under the other Loan Documents) allowed in such judicial
proceeding; and

               (b)   to collect and receive any monies or other property payable or deliverable
on any such claims and to distribute the same;

and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in
any such judicial proceeding is hereby authorized by each Secured Party to make such payments
to the Collateral Agent and, in the event that the Collateral Agent shall consent to the making of
such payments directly to the Secured Parties, to pay to the Collateral Agent any amount due for
the reasonable compensation, expenses, disbursements and advances of the Collateral Agent and
its agents and counsel, and any other amounts due the Collateral Agent hereunder and under the
other Loan Documents.

                                          ARTICLE XI

                                           GUARANTY

        Section 11.01 Guaranty. Each Guarantor hereby jointly and severally and unconditionally
and irrevocably guarantees the punctual payment when due, whether at stated maturity, by
acceleration or otherwise, of all Obligations of the Borrowers now or hereafter existing under any
Loan Document, whether for principal, interest (including, without limitation, all interest that
accrues after the commencement of any Insolvency Proceeding of any Borrower, whether or not a
claim for post-filing interest is allowed in such Insolvency Proceeding), fees, commissions,
expense reimbursements, indemnifications or otherwise (such obligations, to the extent not paid
by the Borrowers, being the “Guaranteed Obligations”), and agrees to pay any and all expenses
(including reasonable and documented out-of-pocket counsel fees and expenses) incurred by the
Secured Parties in enforcing any rights under the guaranty set forth in this Article XI and required
to be paid hereunder. Without limiting the generality of the foregoing, each Guarantor’s liability
shall extend to all amounts that constitute part of the Guaranteed Obligations and would be owed
by the Borrowers to the Secured Parties under any Loan Document but for the fact that they are
unenforceable or not allowable due to the existence of an Insolvency Proceeding involving any
Borrower. In no event shall the obligation of any Guarantor hereunder exceed the maximum
amount such Guarantor could guarantee under any Debtor Relief Law.

        Section 11.02 Guaranty Absolute. Each Guarantor jointly and severally guarantees that
the Guaranteed Obligations will be paid strictly in accordance with the terms of the Loan
Documents, regardless of any law, regulation or order now or hereafter in effect in any jurisdiction
affecting any of such terms or the rights of the Secured Parties with respect thereto. Each Guarantor
agrees that this Article XI constitutes a guaranty of payment when due and not of collection and
waives any right to require that any resort be made by any Agent or any Lender to any Collateral.
The obligations of each Guarantor under this Article XI are independent of the Guaranteed
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Obligations, and a separate action or actions may be brought and prosecuted against each
Guarantor to enforce such obligations, irrespective of whether any action is brought against any
Loan Party or whether any Loan Party is joined in any such action or actions. The liability of each
Guarantor under this Article XI shall be irrevocable, absolute and unconditional irrespective of,
and each Guarantor hereby irrevocably waives any defenses it may now or hereafter have in any
way relating to, any or all of the following: (a) any lack of validity or enforceability of any Loan
Document or any agreement or instrument relating thereto; (b) any change in the time, manner or
place of payment of, or in any other term of, all or any of the Guaranteed Obligations, or any other
amendment or waiver of or any consent to departure from any Loan Document, including, without
limitation, any increase in the Guaranteed Obligations resulting from the extension of additional
credit to any Loan Party or otherwise; (c) any taking, exchange, release or non-perfection of any
Collateral, or any taking, release or amendment or waiver of or consent to departure from any other
guaranty, for all or any of the Guaranteed Obligations; (d) the existence of any claim, set-off,
defense or other right that any Guarantor may have at any time against any Person, including,
without limitation, any Secured Party; (e) any change, restructuring or termination of the corporate,
limited liability company or partnership structure or existence of any Loan Party; or (f) any other
circumstance (including, without limitation, any statute of limitations) or any existence of or
reliance on any representation by the Secured Parties that might otherwise constitute a defense
available to, or a discharge of, any Loan Party or any other guarantor or surety. This Article XI
shall continue to be effective or be reinstated, as the case may be, if at any time any payment of
any of the Guaranteed Obligations is rescinded or must otherwise be returned by Secured Parties
or any other Person upon the insolvency, bankruptcy or reorganization of any Borrower or
otherwise, all as though such payment had not been made.

        Section 11.03 Waiver. Each Guarantor hereby waives (a) promptness and diligence, (b)
notice of acceptance and any other notice with respect to any of the Guaranteed Obligations and
this Article XI and any requirement that the Secured Parties exhaust any right or take any action
against any Loan Party or any other Person or any Collateral, (c) any right to compel or direct any
Secured Party to seek payment or recovery of any amounts owed under this Article XI from any
one particular fund or source or to exhaust any right or take any action against any other Loan
Party, any other Person or any Collateral, (d) any requirement that any Secured Party protect,
secure, perfect or insure any security interest or Lien on any property subject thereto or exhaust
any right to take any action against any Loan Party, any other Person or any Collateral, and (e) any
other defense available to any Guarantor. Each Guarantor agrees that the Secured Parties shall
have no obligation to marshal any assets in favor of any Guarantor or against, or in payment of,
any or all of the Obligations. Each Guarantor acknowledges that it will receive direct and indirect
benefits from the financing arrangements contemplated herein and that the waiver set forth in this
Section 11.03 is knowingly made in contemplation of such benefits. Each Guarantor hereby waives
any right to revoke this Article XI, and acknowledges that this Article XI is continuing in nature
and applies to all Guaranteed Obligations, whether existing now or in the future.

       Section 11.04 Continuing Guaranty; Assignments. This Article XI is a continuing
guaranty and shall (a) remain in full force and effect until the later of the cash payment in full of
the Guaranteed Obligations (other than Contingent Indemnity Obligations) and all other amounts
payable under this Article XI and the Final Maturity Date, (b) be binding upon each Guarantor, its
successors and assigns and (c) inure to the benefit of and be enforceable by the Secured Parties

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and their successors, pledgees, transferees and assigns. Without limiting the generality of the
foregoing clause (c), any Lender may pledge, assign or otherwise transfer all or any portion of its
rights and obligations under this Agreement (including, without limitation, all or any portion of its
Commitments and its Loans owing to it) to any other Person, and such other Person shall thereupon
become vested with all the benefits in respect thereof granted such Lender herein or otherwise, in
each case as provided in Section 12.07.

         Section 11.05 Subrogation. No Guarantor will exercise any rights that it may now or
hereafter acquire against any Loan Party or any other guarantor that arise from the existence,
payment, performance or enforcement of such Guarantor’s obligations under this Article XI,
including, without limitation, any right of subrogation, reimbursement, exoneration, contribution
or indemnification and any right to participate in any claim or remedy of the Secured Parties
against any Loan Party or any other guarantor or any Collateral, whether or not such claim, remedy
or right arises in equity or under contract, statute or common law, including, without limitation,
the right to take or receive from any Loan Party or any other guarantor, directly or indirectly, in
cash or other property or by set-off or in any other manner, payment or security solely on account
of such claim, remedy or right, unless and until all of the Guaranteed Obligations (other than
Contingent Indemnity Obligations) and all other amounts payable under this Article XI shall have
been paid in full in cash and the Final Maturity Date shall have occurred. If any amount shall be
paid to any Guarantor in violation of the immediately preceding sentence at any time prior to the
later of the payment in full in cash of the Guaranteed Obligations (other than Contingent Indemnity
Obligations) and all other amounts payable under this Article XI and the Final Maturity Date, such
amount shall be held in trust for the benefit of the Secured Parties and shall forthwith be paid to
the Secured Parties to be credited and applied to the Guaranteed Obligations and all other amounts
payable under this Article XI, whether matured or unmatured, in accordance with the terms of this
Agreement, or to be held as Collateral for any Guaranteed Obligations or other amounts payable
under this Article XI thereafter arising. If (i) any Guarantor shall make payment to the Secured
Parties of all or any part of the Guaranteed Obligations, (ii) all of the Guaranteed Obligations and
all other amounts payable under this Article XI shall be paid in full in cash and (iii) the Final
Maturity Date shall have occurred, the Secured Parties will, at such Guarantor’s request and
expense, execute and deliver to such Guarantor appropriate documents, without recourse and
without representation or warranty, necessary to evidence the transfer by subrogation to such
Guarantor of an interest in the Guaranteed Obligations resulting from such payment by such
Guarantor.

        Section 11.06 Contribution. All Guarantors desire to allocate among themselves, in a fair
and equitable manner, their obligations arising under this Guaranty. Accordingly, in the event any
payment or distribution is made on any date by a Guarantor under this Guaranty such that its
Aggregate Payments exceeds its Fair Share as of such date, such Guarantor shall be entitled to a
contribution from each of the other Guarantors in an amount sufficient to cause each Guarantor’s
Aggregate Payments to equal its Fair Share as of such date. “Fair Share” means, with respect to
any Guarantor as of any date of determination, an amount equal to (a) the ratio of (i) the Fair Share
Contribution Amount with respect to such Guarantor, to (ii) the aggregate of the Fair Share
Contribution Amounts with respect to all Guarantors multiplied by (b) the aggregate amount paid
or distributed on or before such date by all Guarantors under this Guaranty in respect of the
obligations Guaranteed. “Fair Share Contribution Amount” means, with respect to any Guarantor

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as of any date of determination, the maximum aggregate amount of the obligations of such
Guarantor under this Guaranty that would not render its obligations hereunder subject to avoidance
as a fraudulent transfer or conveyance under Section 548 of Title 11 of the United States Code or
any comparable applicable provisions of state law; provided, solely for purposes of calculating the
“Fair Share Contribution Amount” with respect to any Guarantor for purposes of this Section
11.06, any assets or liabilities of such Guarantor arising by virtue of any rights to subrogation,
reimbursement or indemnification or any rights to or obligations of contribution hereunder shall
not be considered as assets or liabilities of such Guarantor. “Aggregate Payments” means, with
respect to any Guarantor as of any date of determination, an amount equal to (A) the aggregate
amount of all payments and distributions made on or before such date by such Guarantor in respect
of this Guaranty (including, without limitation, in respect of this Section 11.06), minus (B) the
aggregate amount of all payments received on or before such date by such Guarantor from the
other Guarantors as contributions under this Section 11.06. The amounts payable as contributions
hereunder shall be determined as of the date on which the related payment or distribution is made
by the applicable Guarantor. The allocation among Guarantors of their obligations as set forth in
this Section 11.06 shall not be construed in any way to limit the liability of any Guarantor
hereunder. Each Guarantor is a third party beneficiary to the contribution agreement set forth in
this Section 11.06.

                                          ARTICLE XII

                                         MISCELLANEOUS

       Section 12.01 Notices, Etc.

                (a)     Notices Generally. All notices and other communications provided for
hereunder shall be in writing and shall be delivered by hand, sent by registered or certified mail
(postage prepaid, return receipt requested), overnight courier, telecopier or other electronic
delivery. In the case of notices or other communications to any Loan Party, Administrative Agent
or the Collateral Agent, as the case may be, they shall be sent to the respective address set forth
below (or, as to each party, at such other address as shall be designated by such party in a written
notice to the other parties complying as to delivery with the terms of this Section 12.01):

                       [ ]

                       with copies to:

                       [ ]

                       and

                       [ ]
                       Attention: [ ]
                       Telephone: [ ]
                       Email: [ ]

                       if to the Agents, to it at the following address:

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                       BSP Agency, LLC
                       9 West 57th Street, Suite 4920
                       New York, NY 10019
                       Attention: [___]
                       Fax: [(212) 588-670]
                       Email: [____]

                       with a copy to:

                       Stroock & Stroock & Lavan LLP
                       180 Maiden Lane
                       New York, NY, 10038
                       Attention: Jayme T. Goldstein / Marija Pecar
                       Telephone: (212) 806-5805 / 212 806-6535
                       Email: jgoldstein@stroock.com / mpecar@stroock.com
                       Fax: [___]

All notices or other communications sent in accordance with this Section 12.01, shall be deemed
received on the earlier of the date of actual receipt or 3 Business Days after the deposit thereof in
the mail; provided, that (i) notices sent by overnight courier service shall be deemed to have been
given when received and (ii) notices by facsimile or other electronic delivery shall be deemed to
have been given when sent (except that, if not given during normal business hours for the recipient,
shall be deemed to have been given at the opening of business on the next Business Day for the
recipient), provided, further that notices to any Agent pursuant to Article II shall not be effective
until received by such Agent.

               (b)     Electronic Communications.

                         (i)    Each Agent and the Administrative Borrower may, in its discretion,
agree to accept notices and other communications to it hereunder by electronic communications
pursuant to procedures approved by it; provided that approval of such procedures may be limited
to particular notices or communications. Notices and other communications to the Lenders
hereunder may be delivered or furnished by electronic communication (including e-mail and
Internet or intranet websites) pursuant to procedures approved by the Agents, provided that the
foregoing shall not apply to notices to any Lender pursuant to Article II if such Lender has notified
the Agents that it is incapable of receiving notices under such Article by electronic communication.

                       (ii)     Unless the Administrative Agent otherwise prescribes, (A) notices
and other communications sent to an e-mail address shall be deemed received upon receipt and
(B) notices or communications posted to an Internet or intranet website shall be deemed received
upon the deemed receipt by the intended recipient, at its e-mail address as described in the
foregoing clause (A), of notification that such notice or communication is available and identifying
the website address therefor; provided that, for both clauses (A) and (B) above, if such notice,
email or other communication is not sent during the normal business hours of the recipient, such
notice or communication shall be deemed to have been sent at the opening of business on the next
business day for the recipient.

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        Section 12.02 Amendments, Etc. (a) No amendment to or other modification of, or
waiver of any provision of this Agreement or any other Loan Document (excluding the Fee Letter),
and no consent to any departure by any Loan Party therefrom, shall in any event be effective unless
the same shall be in writing and signed (x) in the case of an amendment, modification, consent or
waiver to cure any ambiguity, omission, defect or inconsistency, or granting a new Lien for the
benefit of the Agents and the Lenders, or extending an existing Lien over additional property, or
to secure or extend any benefits hereof to any Obligations under any Incremental Facility incurred
in accordance herewith, by the Agents and the Administrative Borrower, (y) in the case of any
other amendment, modification, waiver or consent, subject to the proviso set forth below, by the
Required Lenders (or by the Collateral Agent with the consent of the Required Lenders) and (z) in
the case of any other amendment, by the Required Lenders (or by the Collateral Agent with the
consent of the Required Lenders), subject to the proviso set forth below, and the Administrative
Borrower, and then such amendment, modification, waiver or consent shall be effective only in
the specific instance and for the specific purpose for which given; provided, however, that no
amendment, modification, waiver or consent shall: (i) increase the Commitment of any Lender,
reduce the principal of, or interest on, the Loans payable to any Lender, reduce the amount of any
fee or premium payable for the account of any Lender, or postpone or extend any scheduled date
fixed for any payment of principal of, or interest or fees or premiums on, the Loans payable to any
Lender, in each case, without the written consent of such Lender and the Administrative Borrower;
provided that an increase of any Lender’s Commitment (other than pursuant to an Incremental
Facility Commitment) shall require the consent of each such Lender; (ii) change the percentage of
the Commitments or of the aggregate unpaid principal amount of the Loans that is required for the
Lenders or any of them to take any action hereunder without the written consent of each Lender
and the Administrative Borrower (except to the extent that any such change is in accordance with
Section 2.12 and is intended to reflect the existence and incurrence of Incremental Facility Loans
permitted hereunder, and the inclusion thereof in the determination of the applicable matter); (iii)
amend or otherwise modify, or be effective with respect to, the definition of “Required Lenders”
or “Pro Rata Share” without the written consent of each Lender and the Administrative Borrower;
(iv) release all or a substantial portion of the Collateral (except as otherwise provided in this
Agreement and the other Loan Documents), subordinate any Lien granted in favor of the Collateral
Agent for the benefit of the Agents and the Lenders, or release any Borrower or any Guarantor
(except in connection with a Disposition of the Equity Interests thereof permitted by Section
7.02(c)(ii)), in each case, without the written consent of each Lender and the Administrative
Borrower; (v) amend, modify or waive Section 2.12(c), Section 4.02, Section 4.03, this Section
12.02 of this Agreement or any provision in any Loan Document providing for the pro rata sharing
of payments without the written consent of each affected Lender and the Administrative Borrower
(except in connection with any Incremental Facility permitted hereunder); and (vi) extend the date
of the PIK Interest Election Period or amend, modify or waive Section 12.07(o) without the
consent of each affected Lender.

       Notwithstanding the foregoing, (A) no amendment, waiver or consent shall, unless in
writing and signed by an Agent, affect the rights or duties of such Agent (but not in its capacity as
a Lender) under this Agreement or the other Loan Documents, (B) no amendment, waiver or
consent shall, unless in writing and signed by (i) the BSP Lenders, affect the rights or duties of the
BSP Lenders or any BSP Person, or Permitted Holders, under this Agreement or the other Loan
Documents, and (ii) the Goldman Lenders, affect the rights or duties of the Goldman Lenders or
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any Goldman Person under this Agreement or the other Loan Documents, (C) the consent of the
Borrowers shall not be required to change any order of priority set forth in Section 2.05(d) and
Section 4.03, and (D) only the consent of persons constituting Eligible Lenders at the applicable
time shall be required for any waiver with respect to, or any consent to any departure by the Loan
Parties from any of their obligations under, Section 2.12(c) (or any Default or Event of Default
resulting from any failure to comply therewith), and each Eligible Lender shall be permitted to
waive any of its individual rights pursuant thereto without the consent of any other Eligible Lender
or any other Person. Notwithstanding anything to the contrary herein, no Defaulting Lender shall
have any right to approve or disapprove any amendment, waiver or consent under the Loan
Documents, and any Loans and Commitments (if applicable) held by such Person for purposes
hereof shall be automatically deemed to be voted pro rata according to the Loans of all other
Lenders in the aggregate (other than such Defaulting Lender).

                (b)     If any action to be taken by the Lenders hereunder requires the consent,
authorization, or agreement of all of the Lenders or any Lender affected thereby, and a Lender
other than the Collateral Agent and the Administrative Agent and their respective Affiliates and
Related Funds (the “Holdout Lender”) fails to give its consent, authorization, or agreement, then
the Borrower, upon at least 5 Business Days prior irrevocable notice to the Holdout Lender, may
permanently replace the Holdout Lender with one or more substitute lenders (each, a
“Replacement Lender”), and the Holdout Lender shall have no right to refuse to be replaced
hereunder. Such notice to replace the Holdout Lender shall specify an effective date for such
replacement, which date shall not be later than 15 Business Days after the date such notice is given.
Prior to the effective date of such replacement, the Holdout Lender and each Replacement Lender
shall execute and deliver an Assignment and Acceptance, subject only to the Holdout Lender being
repaid its share of the outstanding Obligations including the Applicable Premium. If the Holdout
Lender shall refuse or fail to execute and deliver any such Assignment and Acceptance prior to the
effective date of such replacement, the Holdout Lender shall be deemed to have executed and
delivered such Assignment and Acceptance. The replacement of any Holdout Lender shall be
made in accordance with the terms of Section 12.07. Until such time as the Replacement Lenders
shall have acquired all of the Obligations, the Commitments, and the other rights and obligations
of the Holdout Lender hereunder and under the other Loan Documents, the Holdout Lender shall
remain obligated to make its Pro Rata Share of Loans.

                (c)      The Loan Parties and the Administrative Agent may, without the consent of
any Lender, enter into Incremental Facility Amendments in accordance with Section 2.12, and any
other amendment, modification or waiver of any Loan Document, or enter into any new agreement
or instrument, to (i) to add one or more Incremental Facilities to this Agreement, and to permit the
extensions of credit from time to time outstanding thereunder and the accrued interest and fees in
respect thereof to share ratably in the benefits of this Agreement and the other Loan Documents
with the Loans and the accrued interest and fees in respect thereof and (ii) to include appropriately
the Lenders and other Persons holding any Incremental Facilities in any determination of the
Required Lenders. All amendments, modifications and other actions taken in reliance on this
clause (c) shall be effective to supplement, amend and otherwise modify the terms of this
Agreement and the other applicable Loan Documents, in each case, without any further action or
consent of any other party to any Loan Document.


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        Section 12.03 No Waiver; Remedies, Etc. No failure on the part of any Agent or any
Lender to exercise, and no delay in exercising, any right hereunder or under any other Loan
Document shall operate as a waiver thereof; nor shall any single or partial exercise of any right
under any Loan Document preclude any other or further exercise thereof or the exercise of any
other right. The rights and remedies of the Agents and the Lenders provided herein and in the other
Loan Documents are cumulative and are in addition to, and not exclusive of, any rights or remedies
provided by law. The rights of the Agents and the Lenders under any Loan Document against any
party thereto are not conditional or contingent on any attempt by the Agents and the Lenders to
exercise any of their rights under any other Loan Document against such party or against any other
Person.

         Section 12.04 Expenses; Taxes; Attorneys’ Fees. The Borrowers will pay within 30 days
(except in connection with any amount due pursuant to Section 5.01(a)) of receipt of a written
invoice, all reasonable and documented out-of-pocket costs and expenses incurred by or on behalf
of each Agent (and, in the case of clauses (b) through (k) below, each Lender), regardless of
whether the transactions contemplated hereby are consummated, including, without limitation,
reasonable and documented out-of-pocket fees and expenses of counsel for each Agent (and, in
the case of clauses (b) through (k) below, the BSP Lenders and the Goldman Lenders), accounting,
due diligence, periodic field audits, physical counts, valuations, investigations, searches and
filings, monitoring of assets, appraisals of Collateral, the rating of the Loans, title searches and
reviewing environmental assessments, miscellaneous disbursements, examination, travel, lodging
and meals, arising from or relating to: (a) the negotiation, preparation, execution, delivery,
performance and administration of this Agreement and the other Loan Documents (including,
without limitation, the preparation of any additional Loan Documents pursuant to Section 7.01(b)
or the review of any of the agreements, instruments and documents referred to in Section 7.01(f)),
(b) any amendments, waivers or consents to this Agreement or the other Loan Documents whether
or not such documents become effective or are given, (c) the preservation and protection of the
Agents’ or any of the Lenders’ rights under this Agreement or the other Loan Documents, (d) the
protection, collection, lease, sale, taking possession of or liquidation of, any Collateral or other
security in connection with this Agreement or any other Loan Document, (e) any attempt to enforce
any Lien or security interest in any Collateral or other security in connection with this Agreement
or any other Loan Document, (f) any attempt to collect from any Loan Party, (g) all liabilities and
costs arising from or in connection with the past, present or future operations of any Loan Party
involving any damage to real or personal property or natural resources or harm or injury alleged
to have resulted from any Release of Hazardous Materials on, upon or into such property, (h) any
Environmental Liabilities and Costs incurred in connection with the investigation, removal,
cleanup and/or remediation of any Hazardous Materials present or arising out of the operations of
any Facility of any Loan Party, (i) any Environmental Liabilities and Costs incurred in connection
with any Environmental Lien or (k) the rating of the Loans by one or more rating agencies in
connection with any Lender’s Securitization; provided that, any legal fees and expenses in
accordance with this Section 12.04 shall be limited to the reasonable and documented out-of-
pocket fees and disbursements of (i) one outside counsel to each of (I) the Agents, (II) the BSP
Lenders taken as a whole and (III) the Goldman Lenders taken as a whole and (ii) if reasonably
necessary, one regulatory outside counsel and/or local counsel to each of (I) the Agents taken as a
whole, (II) the BSP Lenders taken as a whole and (III) the Goldman Lenders taken as a whole.
Without limitation of the foregoing or any other provision in the Loan Documents: (x) the
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Borrowers agree to pay all Other Taxes payable in connection with this Agreement or any other
Loan Document, and the Borrowers agree to save each Agent and each Lender harmless from and
against any and all present or future claims, liabilities or losses with respect to or resulting from
any omission to pay or delay in paying any such Other Taxes, (y) the Borrowers agree to pay all
broker fees incurred by any Borrower that may become due in connection with the transactions
contemplated by this Agreement and the other Loan Documents, and (z) if, upon the occurrence
and during the continuance of any Event of Default, the Borrowers fail to perform any covenant
or agreement contained herein or in any other Loan Document, any Agent may itself reasonably
perform or cause performance of such covenant or agreement, and the expenses of such Agent
incurred in connection therewith shall be reimbursed by the Borrowers within 5 Business Days of
demand by such Agent. The obligations of the Borrowers under this Section 12.04 shall survive
the repayment of the Obligations and discharge of any Liens granted under the Loan Documents.

        Section 12.05 Right of Set-off. Upon the occurrence and during the continuance of any
Event of Default, any Agent or any Lender may, and is hereby authorized to, at any time and from
time to time, without notice to any Loan Party (any such notice being expressly waived by the
Loan Parties) and to the fullest extent permitted by law, set off and apply any and all deposits
(general or special, time or demand, provisional or final) at any time held and other Indebtedness
at any time owing by such Agent or such Lender or any of their respective Affiliates to or for the
credit or the account of any Loan Party against any and all obligations of the Loan Parties either
now or hereafter existing under any Loan Document, irrespective of whether or not such Agent or
such Lender shall have made any demand hereunder or thereunder and although such obligations
may be contingent or unmatured; provided that in the event that any Defaulting Lender shall
exercise any such right of set-off, (a) all amounts so set off shall be paid over immediately to the
Administrative Agent for further application in accordance with the provisions of Section 4.04
and, pending such payment, shall be segregated by such Defaulting Lender from its other funds
and deemed held in trust for the benefit of the Agents and the Lenders, and (b) the Defaulting
Lender shall provide promptly to the Administrative Agent a statement describing in reasonable
detail the Obligations owing to such Defaulting Lender as to which it exercised such right of set-
off. Each Agent and each Lender agrees to notify such Loan Party promptly after any such set-off
and application made by such Agent or such Lender or any of their respective Affiliates provided
that the failure to give such notice shall not affect the validity of such set-off and application. The
rights of the Agents and the Lenders under this Section 12.05 are in addition to the other rights and
remedies (including other rights of set-off) which the Agents and the Lenders may have under this
Agreement or any other Loan Documents of law or otherwise.

        Section 12.06 Severability. Any provision of this Agreement which is prohibited or
unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
prohibition or unenforceability without invalidating the remaining portions hereof or affecting the
validity or enforceability of such provision in any other jurisdiction.

       Section 12.07 Assignments and Participations.

                (a)    This Agreement and the other Loan Documents shall be binding upon and
inure to the benefit of each Loan Party and each Agent and each Lender and their respective
successors and assigns; provided, however, that none of the Loan Parties may assign or transfer
any of its rights hereunder or under the other Loan Documents without the prior written consent
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of each Lender (and any such assignment without the Lenders’ prior written consent shall be null
and void), and the assignment of any Lender’s Commitment or Loan (or any portion thereof) shall
be subject to Section 12.07(b).

                (b)     Subject to the conditions set forth in clause (c) below, each Lender may
assign (including in connection with any open market or privately negotiated transaction) to one
or more other lenders or other Persons all or a portion of its rights and obligations under this
Agreement with respect to all or a portion of its Commitments and any Loan made by it with the
written consent of the Administrative Agent and the Administrative Borrower (such consent of the
Administrative Borrower not to be unreasonably withheld, delayed or conditioned); provided,
however, that (x) no written consent of the Administrative Agent or the Administrative Borrower
shall be required (1) in connection with any assignment by a Lender to any Eligible Assignee, or
(2) if such assignment is to a Person that is not a Competitor and is in connection with any merger,
consolidation, sale, transfer, or other disposition of all or any substantial portion of the business or
loan portfolio of such Lender, and (y) no written consent of the Administrative Borrower shall be
required if a Specified Event of Default has occurred and is continuing at such time.

               (c)     Assignments shall be subject to the following additional conditions:

                       (i)    Each such assignment shall be in an amount which is at least
$1,000,000 or a multiple of $500,000 in excess thereof (or the remainder of such Lender’s
Commitment) (except such minimum amount shall not apply to an assignment by a Lender to
(A) any Eligible Assignee or (B) a group of new Lenders, each of whom is an Affiliate or Related
Fund of each other to the extent the aggregate amount to be assigned to all such new Lenders is at
least $1,000,000 or a multiple of $500,000 in excess thereof);

                        (ii)    Except as provided in the parenthetical below, the parties to each
such assignment shall execute and deliver to the Administrative Agent (and, if applicable, to the
Collateral Agent and/or the Administrative Borrower, as the case may be), for its acceptance, an
Assignment and Acceptance, together with any promissory note subject to such assignment, and
such parties shall deliver to the Administrative Agent, for the benefit of the Administrative Agent,
a processing and recordation fee of $5,000 (except the payment of such fee shall not be required
in connection with an assignment by a Lender to any other Lender), and all documentation and
other information with respect to the assignee that is required by regulatory authorities under
applicable “know your customer” and anti-money laundering rules and regulations, including the
USA PATRIOT ACT; and

                        (iii)   Notwithstanding anything to the contrary in this Agreement, and
whether or not any Default or Event of Default is continuing, in no event shall any Loan(s) or
Commitment(s) (or any interest therein, or any claim or right with respect thereto, as applicable)
be assigned or otherwise transferred (including pursuant to any participation, pledge, security
interest or other indirect arrangement) to (x) any natural person, any Defaulting Lender or any
Competitor (or any of their respective Affiliates or Related Funds), or (y) any Person who, upon
becoming a Lender hereunder, would constitute any of the foregoing Persons, in each case, without
the Administrative Borrower’s prior written consent, and any assignment or other transfer in
contravention of the foregoing shall be null and void ab initio (and any Loan, Commitment,
interest, right or claim purported to be assigned or otherwise transferred pursuant thereto shall be
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deemed to be held by the Lender or other Person that was the purported assignor or other transferor
thereof).

                (d)     Upon such execution, delivery and acceptance, from and after the effective
date specified in each Assignment and Acceptance and recordation on the Register, which effective
date shall be at least 3 Business Days after the delivery thereof to the Administrative Agent (or
such shorter period as shall be agreed to by the Administrative Agent and the parties to such
assignment), (A) the assignee thereunder shall become a “Lender” hereunder and, in addition to
the rights and obligations hereunder held by it immediately prior to such effective date, have the
rights and obligations hereunder that have been assigned to it pursuant to such Assignment and
Acceptance and (B) the assigning Lender thereunder shall, to the extent that rights and obligations
hereunder have been assigned by it pursuant to such Assignment and Acceptance, relinquish its
rights and be released from its obligations under this Agreement (and, in the case of an Assignment
and Acceptance covering all or the remaining portion of an assigning Lender’s rights and
obligations under this Agreement, such Lender shall cease to be a party hereto).

                (e)     By executing and delivering an Assignment and Acceptance, the assigning
Lender and the assignee thereunder confirm to and agree with each other and the other parties
hereto as follows: (i) other than as provided in such Assignment and Acceptance, the assigning
Lender makes no representation or warranty and assumes no responsibility with respect to any
statements, warranties or representations made in or in connection with this Agreement or any
other Loan Document or the execution, legality, validity, enforceability, genuineness, sufficiency
or value of this Agreement or any other Loan Document furnished pursuant hereto; (ii) the
assigning Lender makes no representation or warranty, and assumes no responsibility with respect
to, the financial condition of any Loan Party or any of its Subsidiaries or the performance or
observance by any Loan Party of any of its obligations under this Agreement or any other Loan
Document furnished pursuant hereto; (iii) such assignee confirms that it has received a copy of
this Agreement and the other Loan Documents, together with such other documents and
information it has deemed appropriate to make its own credit analysis and decision to enter into
such Assignment and Acceptance; (iv) such assignee will, independently and without reliance
upon the assigning Lender, any Agent or any Lender and based on such documents and information
as it shall deem appropriate at the time, continue to make its own credit decisions in taking or not
taking action under this Agreement and the other Loan Documents; (v) such assignee appoints and
authorizes the Agents to take such action as agents on its behalf and to exercise such powers under
this Agreement and the other Loan Documents as are delegated to the Agents by the terms hereof
and thereof, together with such powers as are reasonably incidental hereto and thereto; (vi) such
assignee agrees that it will perform in accordance with their terms all of the obligations which by
the terms of this Agreement and the other Loan Documents are required to be performed by it as
a Lender and (vii) such assignment complies with the terms of this Agreement.

               (f)     The Administrative Agent shall, acting solely for this purpose as a non-
fiduciary agent of the Borrowers, maintain, or cause to be maintained, a copy of each Assignment
and Acceptance delivered to and accepted by it and a register (the “Register”) for the recordation
of the names and addresses of the Lenders and the Commitments of, and the principal amount of
the Loans (and stated interest thereon) (the “Registered Loans”) owing to each Lender from time
to time. The entries in the Register shall be conclusive and binding for all purposes, absent

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manifest error, and the Borrowers, the Agents and the Lenders may treat each Person whose name
is recorded in the Register as a Lender hereunder for all purposes of this Agreement. The Register
shall be available for inspection by the Administrative Borrower and any Lender (but, in the case
of any Lender, solely with respect to its own Loans and Commitments, unless consented to
otherwise by the Administrative Borrower) at any reasonable time and from time to time upon
reasonable prior written notice to the Administrative Agent.

                (g)    Upon receipt by the Administrative Agent of a completed Assignment and
Acceptance, and subject to any consent required from the Administrative Borrower,
Administrative Agent or the Collateral Agent pursuant to Section 12.07(a) (which consent of the
applicable Agent must be evidenced by such Agent’s execution of an acceptance to such
Assignment and Acceptance), the Administrative Agent shall accept such assignment, record the
information contained therein in the Register (as adjusted to reflect any principal payments on or
amounts capitalized and added to the principal balance of the Loans and/or Commitment
reductions made subsequent to the effective date of the applicable assignment, as confirmed in
writing by the corresponding assignor and assignee in conjunction with delivery of the assignment
to the Administrative Agent) and provide to the Collateral Agent a copy of the fully executed
Assignment and Acceptance.

                (h)     A Registered Loan (and the registered note, if any, evidencing the same)
may be assigned or sold in whole or in part only by registration of such assignment or sale on the
Register (and each registered note shall expressly so provide). Any assignment or sale of all or part
of such Registered Loan (and the registered note, if any, evidencing the same) may be effected
only by registration of such assignment or sale on the Register, together with the surrender of the
registered note, if any, evidencing the same duly endorsed by (or accompanied by a written
instrument of assignment or sale duly executed by) the holder of such registered note, whereupon,
at the request of the designated assignee(s) or transferee(s), one or more new registered notes in
the same aggregate principal amount shall be issued to the designated assignee(s) or transferee(s).
Prior to the registration of assignment or sale of any Registered Loan (and the registered note, if
any, evidencing the same), the Agents shall treat the Person in whose name such Registered Loan
(and the registered note, if any, evidencing the same) is registered on the Register as the owner
thereof for the purpose of receiving all payments thereon, notwithstanding notice to the contrary.

                (i)     In the event that any Lender sells participations in a Registered Loan, such
Lender shall, acting for this purpose as a non-fiduciary agent on behalf of the Borrowers, maintain,
or cause to be maintained, a register, on which it enters the name of all participants in the
Registered Loans held by it and the principal amount (and stated interest thereon) of the portion
of the Registered Loan that is the subject of the participation (the “Participant Register”). A
Registered Loan (and the registered note, if any, evidencing the same) may be participated in whole
or in part only by registration of such participation on the Participant Register (and each registered
note shall expressly so provide). Any participation of such Registered Loan (and the registered
note, if any, evidencing the same) may be effected only by the registration of such participation on
the Participant Register. The Participant Register shall be available for inspection by the Loan
Parties and the Agents at any reasonable time and from time to time upon reasonable prior notice;
provided, that no Lender shall have any obligation to disclose all or any portion of the Participant
Register (including the identity of any Loan Participant or any information relating to a Loan

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Participant’s interest in any commitments, loans, letters of credit or its other obligations under any
Credit Document) to any Person other than the Loan Parties and the Agents, except to the extent
that such disclosure is necessary to establish that such commitment, loan, letter of credit or other
obligation is in registered form under Section 5f.103-1(c) of the United States Treasury.

               (j)    Any Non-U.S. Lender who purchases or is assigned or participates in any
portion of such Registered Loan shall comply with Section 2.09(e) and Section 2.09(h).

                 (k)    Each Lender may, subject to Section 12.07(c)(iii), sell participations to one
or more banks or other entities in or to all or a portion of its rights and obligations under this
Agreement and the other Loan Documents (including, without limitation, all or a portion of its
Commitments and the Loans made by it); provided, that (i) such Lender’s obligations under this
Agreement (including without limitation, its Commitments hereunder) and the other Loan
Documents shall remain unchanged; (ii) such Lender shall remain solely responsible to the other
parties hereto for the performance of such obligations (including the making of any Loans), and
the Borrowers, the Agents and the other Lenders shall continue to deal solely and directly with
such Lender in connection with such Lender’s rights and obligations under this Agreement and the
other Loan Documents, and such Lender shall remain the Lender of record in the Register and be
deemed to be the legal owner and holder of the applicable Loans, Commitments and other
Obligations; and (iii) a participant shall not be entitled to require such Lender to take or omit to
take any action hereunder except (A) action directly effecting an extension of the maturity dates
or decrease in the principal amount of the Loans, (B) action directly effecting an extension of the
due dates or a decrease in the rate of interest payable on the Loans or the fees payable under this
Agreement, or (C) actions directly effecting a release of all or a substantial portion of the Collateral
or any Loan Party (except as set forth in Section 10.08 of this Agreement or any other Loan
Document). The Loan Parties agree that each participant shall be entitled to the benefits and be
subject to the requirements of Section 2.09 and Section 2.10 of this Agreement with respect to its
participation in any portion of the Commitments and the Loans as if it was a Lender, provided,
that such Participant shall not be entitled to receive any greater payment under Section 2.09 or
Section 2.10, with respect to any participation, than its participating Lender would have been
entitled to receive except as otherwise required by a Change in Law that occurs after the Participant
acquired the applicable participation or unless the Administrative Borrower has consented to such
participation.

                (l)     Any Lender may, subject to Section 12.07(c)(iii), at any time pledge or
assign a security interest in all or any portion of its rights under this Agreement to secure
obligations of such Lender, including any pledge or assignment to secure obligations to a Federal
Reserve Bank or loans made to such Lender pursuant to securitization or similar credit facility (a
“Securitization”); provided, that no such pledge or assignment shall release such Lender from any
of its obligations hereunder or substitute any such pledgee or assignee for such Lender as a party
hereto.

                (m)    For the avoidance of doubt, notwithstanding anything to the contrary set
forth in this Agreement or any other Loan Document, (x) Loans and Commitments may be sold,
assigned, transferred and/or participated on a pro rata basis or a non-pro rata basis, whether via
one or more auctions, open market purchases, privately negotiated transactions or otherwise
pursuant, each of which shall be on terms and conditions, and for such consideration and/or at such
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purchase price, in each case, as agreed to by the applicable seller or transferor, and the applicable
purchaser or transferee, and (y) any payment made on account of any sale, assignment, transfer or
participation pursuant to this Section 12.07, or any payment otherwise in respect of, pursuant to or
in connection with this Section 12.07, in each case, shall not be subject to Sections 4.01 or 4.02
hereof, or any other provision of this Agreement or any other Loan Document that requires a
payment to be made to Lenders in accordance with their Pro Rata Shares, or that otherwise
provides for ratable payments or distributions to the Lenders.

               (n)     [Reserved.]

               (o)     BSP/Goldman Right of First Offer; BSP/Goldman Buyout Right & Consent
Rights.

                       (i)     BSP Group and the Goldman Group shall each be permitted to
exercise the BSP/Goldman Right of First Offer and the BSP/Goldman Buyout Right at such times
as specified pursuant to the terms thereof.

                       (ii)    BSP Group (except if comprising any BSP Successor) shall be
required to consent to any assignment or other transfer of any Loan, Commitment or other
Obligations (or any portion thereof or interest therein) by any Goldman Lender to any Person
(other than an Affiliate or Related Fund of such Goldman Lender that is an Eligible Assignee) at
any time that the aggregate amount of Effective Date Committed Debt held by BSP Group
represents not less than 17.0% of all Effective Date Committed Debt held at such time by all
Lenders who are not Defaulting Lenders.

                       (iii)   Goldman Group (except if comprising any Goldman Successor)
shall be required to consent to any assignment or other transfer of any Loan, Commitment or other
Obligations (or any portion thereof or interest therein) by any BSP Lender to any Person (other
than an Affiliate or Related Fund of such BSP Lender that is an Eligible Assignee) at any time that
the aggregate amount of Effective Date Committed Debt held by Goldman Group represents not
less than 17.0% of all Effective Date Committed Debt held at such time by all Lenders who are
not Defaulting Lenders.

        Section 12.08 Counterparts. This Agreement may be executed in any number of
counterparts and by different parties hereto in separate counterparts, each of which shall be deemed
to be an original, but all of which taken together shall constitute one and the same agreement.
Delivery of an executed counterpart of this Agreement by telecopier or electronic mail shall be
equally as effective as delivery of an original executed counterpart of this Agreement. Any party
delivering an executed counterpart of this Agreement by telecopier or electronic mail also shall
deliver an original executed counterpart of this Agreement but the failure to deliver an original
executed counterpart shall not affect the validity, enforceability, and binding effect of this
Agreement. The foregoing shall apply to each other Loan Document mutatis mutandis.

    Section 12.09 GOVERNING LAW. THIS AGREEMENT AND THE OTHER LOAN
DOCUMENTS (UNLESS EXPRESSLY PROVIDED TO THE CONTRARY IN ANOTHER
LOAN DOCUMENT IN RESPECT OF SUCH OTHER LOAN DOCUMENT) SHALL BE
GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAW OF THE STATE
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OF NEW YORK APPLICABLE TO CONTRACTS MADE AND TO BE PERFORMED IN THE
STATE OF NEW YORK.

     Section 12.10 CONSENT TO JURISDICTION; SERVICE OF PROCESS AND VENUE.

           (a)   ANY LEGAL ACTION OR PROCEEDING WITH RESPECT TO THIS
AGREEMENT OR ANY OTHER LOAN DOCUMENT MAY BE BROUGHT IN THE COURTS
OF THE STATE OF NEW YORK IN THE COUNTY OF NEW YORK OR OF THE UNITED
STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK, AND, BY
EXECUTION AND DELIVERY OF THIS AGREEMENT, EACH LOAN PARTY HEREBY
IRREVOCABLY ACCEPTS IN RESPECT OF ITS PROPERTY, GENERALLY AND
UNCONDITIONALLY, THE JURISDICTION OF THE AFORESAID COURTS. EACH LOAN
PARTY HEREBY IRREVOCABLY CONSENTS TO THE SERVICE OF PROCESS OUT OF
ANY OF THE AFOREMENTIONED COURTS AND IN ANY SUCH ACTION OR
PROCEEDING BY ANY MEANS PERMITTED BY APPLICABLE LAW, INCLUDING,
WITHOUT LIMITATION, BY THE MAILING OF COPIES THEREOF BY REGISTERED OR
CERTIFIED MAIL, POSTAGE PREPAID, TO THE ADMINISTRATIVE BORROWER AT ITS
ADDRESS FOR NOTICES AS SET FORTH IN SECTION 12.01, SUCH SERVICE TO
BECOME EFFECTIVE 10 DAYS AFTER SUCH MAILING. THE LOAN PARTIES AGREE
THAT A FINAL JUDGMENT IN ANY SUCH ACTION OR PROCEEDING SHALL BE
CONCLUSIVE AND MAY BE ENFORCED IN OTHER JURISDICTIONS BY SUIT ON THE
JUDGMENT OR IN ANY OTHER MANNER PROVIDED BY LAW. NOTHING HEREIN
SHALL AFFECT THE RIGHT OF THE AGENTS AND THE LENDERS TO SERVICE OF
PROCESS IN ANY OTHER MANNER PERMITTED BY LAW OR TO COMMENCE LEGAL
PROCEEDINGS OR OTHERWISE PROCEED AGAINST ANY LOAN PARTY IN ANY
OTHER JURISDICTION. EACH LOAN PARTY HEREBY EXPRESSLY AND
IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY LAW, ANY
OBJECTION WHICH IT MAY NOW OR HEREAFTER HAVE TO THE JURISDICTION OR
LAYING OF VENUE OF ANY SUCH LITIGATION BROUGHT IN ANY SUCH COURT
REFERRED TO ABOVE AND ANY CLAIM THAT ANY SUCH LITIGATION HAS BEEN
BROUGHT IN AN INCONVENIENT FORUM. TO THE EXTENT THAT ANY LOAN PARTY
HAS OR HEREAFTER MAY ACQUIRE ANY IMMUNITY FROM JURISDICTION OF ANY
COURT OR FROM ANY LEGAL PROCESS (WHETHER THROUGH SERVICE OR NOTICE,
ATTACHMENT PRIOR TO JUDGMENT, ATTACHMENT IN AID OF EXECUTION OR
OTHERWISE) WITH RESPECT TO ITSELF OR ITS PROPERTY, EACH LOAN PARTY
HEREBY IRREVOCABLY WAIVES SUCH IMMUNITY IN RESPECT OF ITS
OBLIGATIONS UNDER THIS AGREEMENT AND THE OTHER LOAN DOCUMENTS.

      Section 12.11 WAIVER OF JURY TRIAL, ETC. EACH LOAN PARTY, EACH
AGENT AND EACH LENDER HEREBY WAIVES ANY RIGHT TO A TRIAL BY JURY IN
ANY ACTION, PROCEEDING OR COUNTERCLAIM CONCERNING ANY RIGHTS
UNDER THIS AGREEMENT OR THE OTHER LOAN DOCUMENTS, OR UNDER ANY
AMENDMENT, WAIVER, CONSENT, INSTRUMENT, DOCUMENT OR OTHER
AGREEMENT DELIVERED OR WHICH IN THE FUTURE MAY BE DELIVERED IN
CONNECTION THEREWITH, OR ARISING FROM ANY FINANCING RELATIONSHIP
EXISTING IN CONNECTION WITH THIS AGREEMENT, AND AGREES THAT ANY SUCH

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ACTION, PROCEEDINGS OR COUNTERCLAIM SHALL BE TRIED BEFORE A COURT
AND NOT BEFORE A JURY. EACH LOAN PARTY CERTIFIES THAT NO OFFICER,
REPRESENTATIVE, AGENT OR ATTORNEY OF ANY AGENT OR ANY LENDER HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT ANY AGENT OR ANY LENDER
WOULD NOT, IN THE EVENT OF ANY ACTION, PROCEEDING OR COUNTERCLAIM,
SEEK TO ENFORCE THE FOREGOING WAIVERS. EACH LOAN PARTY HEREBY
ACKNOWLEDGES THAT THIS PROVISION IS A MATERIAL INDUCEMENT FOR THE
AGENTS AND THE LENDERS ENTERING INTO THIS AGREEMENT.

       Section 12.12 [Reserved].

        Section 12.13 No Party Deemed Drafter. Each of the parties hereto agrees that no party
hereto shall be deemed to be the drafter of this Agreement.

         Section 12.14 Reinstatement; Certain Payments. If any claim is ever made upon any
Secured Party for repayment or recovery of any amount or amounts received by such Secured
Party in payment or on account of any of the Obligations, such Secured Party shall give prompt
notice of such claim to each other Agent and Lender and the Administrative Borrower, and if such
Secured Party repays all or part of such amount by reason of (i) any judgment, decree or order of
any court or administrative body having jurisdiction over such Secured Party or any of its property,
or (ii) any good faith settlement or compromise of any such claim effected by such Secured Party
with any such claimant, then and in such event each Loan Party agrees that (A) any such judgment,
decree, order, settlement or compromise shall be binding upon it notwithstanding the cancellation
of any Indebtedness hereunder or under the other Loan Documents or the termination of this
Agreement or the other Loan Documents, and (B) it shall be and remain liable to such Secured
Party hereunder for the amount so repaid or recovered to the same extent as if such amount had
never originally been received by such Secured Party.

       Section 12.15 Indemnification; Limitation of Liability for Certain Damages.

               (a)     In addition to each Loan Party’s other Obligations under this Agreement,
each Loan Party agrees to, jointly and severally, defend, protect, indemnify and hold harmless each
Secured Party and all of their respective Affiliates, officers, directors, employees, attorneys,
consultants and agents (collectively called the “Indemnitees”) from and against any and all losses,
damages, liabilities, obligations, penalties, fees, reasonable and documented out-of-pocket costs
and expenses (including, without limitation, reasonable and documented out-of-pocket attorneys’
fees, costs and expenses) incurred by such Indemnitees, whether prior to or from and after the
Effective Date, whether direct, indirect or consequential, as a result of or arising from or relating
to or in connection with any of the following: (i) the negotiation, preparation, execution or
performance or enforcement of this Agreement, any other Loan Document or of any other
document executed in connection with the transactions contemplated by this Agreement, (ii) any
Agent’s or any Lender’s furnishing of funds to the Borrowers under this Agreement or the other
Loan Documents, including, without limitation, the management of any such Loans or the
Borrowers’ use of the proceeds thereof, (iii) the Agents and the Lenders relying on any instructions
of the Administrative Borrower or the handling of the Loan Account and Collateral of the
Borrowers as herein provided, (iv) any matter relating to the financing transactions contemplated
by this Agreement or the other Loan Documents or by any document executed in connection with
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the transactions contemplated by this Agreement or the other Loan Documents, or (v) any claim,
litigation, investigation or proceeding relating to any of the foregoing, whether or not any
Indemnitee is a party thereto (collectively, the “Indemnified Matters”); provided, however, that
the Loan Parties shall not have any obligation to any Indemnitee under this subsection (a) for any
Indemnified Matter (x) caused by the gross negligence or willful misconduct of such Indemnitee,
as determined by a final non- appealable judgment of a court of competent jurisdiction or (y) result
from any dispute solely among Indemnitees (or their Related Parties) and not involving any action
or inaction by the Borrowers and their respective Affiliates (excluding as against the Agents in
their capacity as such).

                (b)     The indemnification for all of the foregoing losses, damages, fees, costs and
expenses of the Indemnitees set forth in this Section 12.15 are chargeable against the Loan
Account. To the extent that the undertaking to indemnify, pay and hold harmless set forth in this
Section 12.15 may be unenforceable because it is violative of any law or public policy, each Loan
Party shall, jointly and severally, contribute the maximum portion which it is permitted to pay and
satisfy under applicable law, to the payment and satisfaction of all Indemnified Matters incurred
by the Indemnitees.

                (c)     No party hereto shall assert, and each party hereto hereby waives, any claim
against the Indemnitees or any other party hereto, on any theory of liability, for special, indirect,
consequential or punitive damages (as opposed to direct or actual damages) (whether or not the
claim therefor is based on contract, tort or duty imposed by any applicable legal requirement)
arising out of, in connection with, as a result of, or in any way related to, this Agreement or any
other Loan Document or any agreement or instrument contemplated hereby or thereby or referred
to herein or therein, the transactions contemplated hereby or thereby, any Loan or the use of the
proceeds thereof or any act or omission or event occurring in connection therewith, and each party
hereto hereby waives, releases and agrees not to sue upon any such claim or seek any such
damages, whether or not accrued and whether or not known or suspected to exist in its favor.

              (d)    The indemnities and waivers set forth in this Section 12.15 shall survive the
repayment of the Obligations and discharge of any Liens granted under the Loan Documents.

        Section 12.16 Records. The unpaid principal of and interest on the Loans, the interest rate
or rates applicable to such unpaid principal and interest, the duration of such applicability, the
Commitments, and the accrued and unpaid fees payable pursuant to Section 2.06 hereof, including,
without limitation, the Fees set forth in the Fee Letter and the Applicable Premium, shall at all
times be ascertained from the records of the Agents, which shall be conclusive and binding absent
manifest error.

        Section 12.17 Binding Effect. This Agreement shall become effective when it shall have
been executed by each Loan Party, each Agent and each Lender and when the conditions precedent
set forth in Section 5.01 hereof have been satisfied or waived in writing by the Agents, and
thereafter shall be binding upon and inure to the benefit of each Loan Party, each Agent and each
Lender, and their respective successors and assigns, except that the Loan Parties shall not have the
right to assign their rights hereunder or any interest herein without the prior written consent of
each Agent and each Lender, and any assignment by any Lender shall be governed by Section
12.07 hereof.
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         Section 12.18 Highest Lawful Rate. It is the intention of the parties hereto that each Agent
and each Lender shall conform strictly to usury laws applicable to it. Accordingly, if the
transactions contemplated hereby or by any other Loan Document would be usurious as to any
Agent or any Lender under laws applicable to it (including the laws of the United States of America
and the State of New York or any other jurisdiction whose laws may be mandatorily applicable to
such Agent or such Lender notwithstanding the other provisions of this Agreement), then, in that
event, notwithstanding anything to the contrary in this Agreement or any other Loan Document or
any agreement entered into in connection with or as security for the Obligations, it is agreed as
follows: (i) the aggregate of all consideration which constitutes interest under law applicable to
any Agent or any Lender that is contracted for, taken, reserved, charged or received by such Agent
or such Lender under this Agreement or any other Loan Document or agreements or otherwise in
connection with the Obligations shall under no circumstances exceed the maximum amount
allowed by such applicable law, any excess shall be canceled automatically and if theretofore paid
shall be credited by such Agent or such Lender on the principal amount of the Obligations (or, to
the extent that the principal amount of the Obligations shall have been or would thereby be paid in
full, refunded by such Agent or such Lender, as applicable, to the Borrowers); and (ii) in the event
that the maturity of the Obligations is accelerated by reason of any Event of Default under this
Agreement or otherwise, or in the event of any required or permitted prepayment, then such
consideration that constitutes interest under law applicable to any Agent or any Lender may never
include more than the maximum amount allowed by such applicable law, and excess interest, if
any, provided for in this Agreement or otherwise shall, subject to the last sentence of this Section
12.18, be canceled automatically by such Agent or such Lender, as applicable, as of the date of
such acceleration or prepayment and, if theretofore paid, shall be credited by such Agent or such
Lender, as applicable, on the principal amount of the Obligations (or, to the extent that the principal
amount of the Obligations shall have been or would thereby be paid in full, refunded by such Agent
or such Lender to the Borrowers). All sums paid or agreed to be paid to any Agent or any Lender
for the use, forbearance or detention of sums due hereunder shall, to the extent permitted by law
applicable to such Agent or such Lender, be amortized, prorated, allocated and spread throughout
the full term of the Loans until payment in full so that the rate or amount of interest on account of
any Loans hereunder does not exceed the maximum amount allowed by such applicable law. If at
any time and from time to time (x) the amount of interest payable to any Agent or any Lender on
any date shall be computed at the Highest Lawful Rate applicable to such Agent or such Lender
pursuant to this Section 12.18, and (y) in respect of any subsequent interest computation period
the amount of interest otherwise payable to such Agent or such Lender would be less than the
amount of interest payable to such Agent or such Lender computed at the Highest Lawful Rate
applicable to such Agent or such Lender, then the amount of interest payable to such Agent or such
Lender in respect of such subsequent interest computation period shall continue to be computed at
the Highest Lawful Rate applicable to such Agent or such Lender until the total amount of interest
payable to such Agent or such Lender shall equal the total amount of interest which would have
been payable to such Agent or such Lender if the total amount of interest had been computed
without giving effect to this Section 12.18.

       For purposes of this Section 12.18, the term “applicable law” shall mean that law in effect
from time to time and applicable to the loan transaction between the Borrowers, on the one hand,
and the Agents and the Lenders, on the other, that lawfully permits the charging and collection of
the highest permissible, lawful non-usurious rate of interest on such loan transaction and this
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Agreement, including laws of the State of New York and, to the extent controlling, laws of the
United States of America.

       The right to accelerate the maturity of the Obligations does not include the right to
accelerate any interest that has not accrued as of the date of acceleration.

         Section 12.19 Confidentiality. Each Agent and each Lender agrees (on behalf of itself and
each of its affiliates, directors, officers, employees and representatives) to use reasonable
precautions to keep confidential, in accordance with its customary procedures for handling
confidential information of this nature and in accordance with safe and sound practices of
comparable commercial finance companies, any non-public or proprietary information supplied to
it by the Loan Parties pursuant to this Agreement or the other Loan Documents (and which at the
time is not, and does not thereafter become, publicly available through no breach hereunder by an
Agent or such Lender or available to such Person from another source not known to be subject to
a confidentiality obligation to such Person not to disclose such information), provided that nothing
herein shall limit the disclosure by any Agent or any Lender of any such information (i) to its
Affiliates (or prospective Affiliates, including limited partners) and to its and its Affiliates’ (or
such prospective Affiliates’) respective equityholders (including, without limitation, partners),
directors, officers, employees, agents, trustees, counsel, advisors and representatives (it being
understood that the Persons to whom such disclosure is made will be informed of the confidential
nature of such information and instructed to keep such information confidential in accordance with
this Section 12.19 and such Lender shall remain liable for any breach hereof by such Persons); (ii)
to any other party hereto; (iii) to any assignee or participant (or prospective assignee or participant)
or any party to a Securitization so long as such assignee or participant (or prospective assignee or
participant) or party to a Securitization first agrees, in writing, to be bound by confidentiality
provisions similar in substance to this Section 12.19; (iv) to the extent required by any Requirement
of Law or judicial process or as otherwise requested by any Governmental Authority (in which
case such Agent and/or such Lender shall notify the Administrative Borrower, in advance of any
such disclosure, to the extent permitted by such law, process and/or request); (v) to the National
Association of Insurance Commissioners or any similar organization, any examiner, auditor or
accountant or any nationally recognized rating agency or otherwise to the extent consisting of
general portfolio information that does not identify Loan Parties; (vi) in connection with any
litigation to which any Agent or any Lender is a party (in which case such Agent and/or such
Lender shall use commercially reasonable efforts to notify the Administrative Borrower, in
advance of any such disclosure, to the extent permitted by such law, process and/or request); (vii)
in connection with the exercise of any remedies hereunder or under any other Loan Document or
any action or proceeding relating to this Agreement or any other Loan Document or the
enforcement of rights hereunder or thereunder; or (viii) with the consent of the Administrative
Borrower.

        Section 12.20 Public Disclosure. Each Loan Party agrees that neither it nor any of its
Affiliates will now or in the future issue any press release or other public disclosure using the name
of an Agent, any Lender or any of their respective Affiliates or referring to this Agreement or any
other Loan Document without the prior written consent of such Agent or such Lender, except to
the extent that such Loan Party or such Affiliate is required to do so under applicable law (in which
event, such Loan Party or such Affiliate will consult with such Agent or such Lender before issuing

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such press release or other public disclosure). Each Loan Party hereby authorizes each Agent and
each Lender, after consultation with and prior written consent from the Borrowers, to advertise the
closing of the transactions contemplated by this Agreement, and to make appropriate
announcements of the financial arrangements entered into among the parties hereto, as such Agent
or such Lender shall deem appropriate, including, without limitation, on a home page or similar
place for dissemination of information on the Internet or worldwide web, or in announcements
commonly known as tombstones, in such trade publications, business journals, newspapers of
general circulation and to such selected parties as such Agent or such Lender shall deem
appropriate.

        Section 12.21 Integration. This Agreement, together with the other Loan Documents,
reflects the entire understanding of the parties with respect to the transactions contemplated hereby
and shall not be contradicted or qualified by any other agreement, oral or written, before the date
hereof.

        Section 12.22 USA PATRIOT Act. Each Lender or Agent that is subject to the
requirements of the USA PATRIOT Act hereby notifies the Borrowers that pursuant to the
requirements of the USA PATRIOT Act, it is required to obtain, verify and record information
that identifies the entities composing the Borrowers, which information includes the name and
address of each such entity and other information that will allow such Lender or Agent to identify
the entities composing the Borrowers in accordance with the USA PATRIOT Act. Each Loan Party
agrees to take such action and execute, acknowledge and deliver at its sole cost and expense, such
instruments and documents as any Lender or Agent may reasonably require from time to time in
order to enable such Lender or Agent to comply with the USA PATRIOT Act.


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        IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed
by their respective officers thereunto duly authorized, as of the date first above written.


                                           BORROWERS:

                                           [NEW HOLDCO SUB], as a Borrower and as the
                                           Administrative Borrower


                                           By:
                                                 Name: [ ]
                                                 Title: [ ]


                                           ORG GC GP BUYER, LLC, as a Borrower


                                           By:
                                                 Name: [ ]
                                                 Title: [ ]


                                           ORG GC LP BUYER, LLC, as a Borrower


                                           By:
                                                 Name: [ ]
                                                 Title: [ ]


                                           GUARANTORS:

                                           ORG GC GP BUYER, LLC


                                           By:
                                                 Name: [ ]
                                                 Title: [ ]




                                  SIGNATURE PAGE TO
                                      GC SERVICES
                           FIRST LIEN FINANCING AGREEMENT
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                              GUARANTORS:

                              [NEW HOLDCO], as Parent and as a Guarantor


                              By:
                                    Name: [ ]
                                    Title: [ ]


                              [ORG GC GP BUYER, LLC, as a Guarantor]


                              By:
                                    Name: [ ]
                                    Title: [ ]


                              [ORG GC LP BUYER, LLC, as a Guarantor]


                              By:
                                    Name: [ ]
                                    Title: [ ]




                        SIGNATURE PAGE TO
                            GC SERVICES
                 FIRST LIEN FINANCING AGREEMENT
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                              GC SERVICES LIMITED PARTNERSHIP, as a
                              Guarantor

                              By:   ORG GC GP Buyer, LLC,
                                    its general partner


                              By:
                                    Name: [ ]
                                    Title: [ ]


                              GC SERVICES INTERNATIONAL, LLC, as a
                              Guarantor


                              By:
                                    Name: [ ]
                                    Title: [ ]




                        SIGNATURE PAGE TO
                            GC SERVICES
                 FIRST LIEN FINANCING AGREEMENT
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                              ADMINISTRATIVE AGENT:

                              BSP AGENCY, LLC


                              By:
                                    Name:
                                    Title:


                              COLLATERAL AGENT:

                              BSP AGENCY, LLC


                              By:
                                    Name:
                                    Title:




                        SIGNATURE PAGE TO
                            GC SERVICES
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                              LENDERS:

                              [ ]




                        SIGNATURE PAGE TO
                            GC SERVICES
                 FIRST LIEN FINANCING AGREEMENT
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                             Exhibit E

                 Form of New 2L Facility Agreement
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                                                        SSL Draft 10/16/2021




                SECOND LIEN FINANCING AGREEMENT

                         DATED AS OF [ ], 2021

                            BY AND AMONG

[NEW HOLDCO SUB], ORG GC GP BUYER, LLC, AND ORG GC LP BUYER, LLC,
                          as Borrowers,

                            [NEW HOLDCO],
                               as Parent

          PARENT AND EACH SUBSIDIARY OF PARENT LISTED
         AS A GUARANTOR ON THE SIGNATURE PAGES HERETO
               AND FROM TIME TO TIME PARTY HERETO,
                           as Guarantors,

          THE LENDERS FROM TIME TO TIME PARTY HERETO,
                           as Lenders,


                          BSP AGENCY, LLC,

                           as Collateral Agent,


                                   and


                          BSP AGENCY, LLC,
                         as Administrative Agent
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                         SECOND LIEN FINANCING AGREEMENT

                This Second Lien Financing Agreement, dated as of [ ], 2021, is made by and
among [New Holdco], a [ ] (the “Parent”), as a guarantor, [New Holdco Sub], a Delaware limited
liability company (the “Holdco Borrower”), as a borrower, ORG GC GP Buyer, LLC, a Delaware
limited liability company (“GC GP Buyer”), as a borrower, and ORG GC LP Buyer, LLC, a
Delaware limited liability company (“GC LP Buyer”), as a borrower (GC LP Buyer, together with
[Holdco Borrower] and GC GP Buyer, collectively, the “Borrowers”, and each a “Borrower”),
Holdco Borrower, as the Administrative Borrower, each subsidiary of the Parent listed as a
“Guarantor” on the signature pages hereto, as a guarantor (together with the Parent and each other
Person that executes a joinder agreement and becomes a “Guarantor” hereunder or otherwise
guaranties all or any part of the Obligations (as hereinafter defined), each a “Guarantor” and
collectively, the “Guarantors”), the Lenders (as hereinafter defined) from time to time party hereto,
BSP Agency, LLC (in its individual capacity, “BSP Agency”), as collateral agent for the Lenders
(in such capacity, together with its successors and assigns in such capacity, the “Collateral Agent”),
and BSP Agency, LLC, as administrative agent for the Lenders (in such capacity, together with its
successors and assigns in such capacity, the “Administrative Agent” and together with the
Collateral Agent, each an “Agent” and collectively, the “Agent” or “Agents”).

                                            RECITALS

                 WHEREAS, the Loan Parties and the Lenders (and/or one of more of their
respective Affiliates) have agreed to consummate certain Restructuring Transactions, as further
set forth in the related Restructuring Documents;

               WHEREAS, in connection with implementing the Restructuring Transactions, the
Lenders have agreed to provide a credit facility to the Borrowers hereunder, and shall be deemed
to have extended certain term loans to the Borrowers on the Chapter 11 Plan Effective Date, in
each case, on the terms set forth herein, and subject to the applicable provisions of the other Loan
Documents and the Restructuring Documents;

                WHEREAS, the Agents have agreed to act as administrative and collateral agents
in respect of the credit facilities provided hereunder; and

             WHEREAS, the parties hereto are entering into this Agreement in furtherance of,
and to document their agreement with respect to, the foregoing.

              NOW, THEREFORE, in consideration of the premises and the covenants and
agreements contained herein, the parties hereto agree as follows:

                                            ARTICLE I

                              DEFINITIONS; CERTAIN TERMS
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               Section 1.01 Definitions. As used in this Agreement, the following terms shall
have the respective meanings indicated below:

               “ABL/Term Intercreditor Agreement” means the [ABL/Term Intercreditor
Agreement], dated as of the date hereof, by and among the Collateral Agent, the First Lien
Collateral Agent and the ABL Agent and acknowledged by the Loan Parties, as amended, restated,
amended and restated, supplemented or otherwise modified from time to time in accordance with
the terms thereof.

                “ABL Agent” means [ ], in its capacities as the administrative agent and the
collateral agent under the ABL Credit Agreement, together with its successors and assigns in such
capacities.

                “ABL Credit Agreement” means the Credit Agreement, dated as of [ ], among
[GCS, as the borrower, Parent, GC Midco, GC GP Buyer, GC LP Buyer and GC Services
International, LLC], as loan parties, the ABL Agent and the lenders from time to time party thereto,
as amended, restated, amended and restated, supplemented or otherwise modified from time to
time in accordance with this Agreement and the Intercreditor Agreement.

                “ABL Credit Facility” means (a) any credit facility established pursuant to, or
governed by, and any loans provided under, the ABL Credit Agreement, and (b) any domestic
secured or unsecured revolving, cash-flow or asset-backed credit facility, any letter of credit
facility, any receivables financing, and any other form of liquidity or working capital financing
provided to, or for the benefit of, the Borrowers.

              “ABL Indebtedness” means Indebtedness of the Loan Parties owing to the ABL
Lenders and other secured parties under the ABL Credit Facility.

               “ABL Lenders” means, collectively, the lenders party to the ABL Credit Agreement
from time to time.

              “ABL Loan Documents” means, collectively, the ABL Credit Agreement and the
other [Loan Documents] (as defined in the ABL Credit Agreement), in each case, as amended,
restated, amended and restated, supplemented or otherwise modified from time to time in
accordance with this Agreement and the Intercreditor Agreements.

               “ABL Loans” means any revolving loans made pursuant to the ABL Credit
Agreement.

            “ABL Priority Collateral” means “ABL Priority Collateral” as defined in the
ABL/Term Intercreditor Agreement.

               “Account Debtor” means, with respect to any Person, each debtor, customer or
obligor in any way obligated on or in connection with any Account of such Person.

               “Action” has the meaning specified therefor in Section 12.12.

               “Additional Amount” has the meaning specified therefor in Section 2.09(a).
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               “Administrative Agent” has the meaning specified therefor in the preamble hereto.

              “Administrative Agent’s Account” means an account at a bank designated by the
Administrative Agent from time to time as the account into which the Loan Parties shall make all
payments to the Administrative Agent for the benefit of the Agents and the Lenders under this
Agreement and the other Loan Documents.

               “Administrative Borrower” has the meaning specified therefor in Section 4.05(a).

                “Affiliate” means, with respect to any Person, any other Person that, directly or
indirectly through one or more intermediaries, controls, is in control of, is controlled by, or is under
common control with, such Person (including such Person’s Controlled Investment Affiliates).
For purposes of this definition, “control” of a Person means the power, directly or indirectly, either
to (a) vote 10% or more of the Equity Interests having ordinary voting power for the election of
members of the Board of Directors of such Person or (b) direct or cause the direction of the
management and policies of such Person, whether by contract or otherwise. Notwithstanding
anything herein to the contrary, in no event shall any Agent or any Lender be considered an
“Affiliate” of any Loan Party.

                “Affiliated Lenders” means, as used with respect to any group of Lenders, any
Lenders within such group who are Affiliates or Related Funds of one another and, accordingly,
are not Unaffiliated Lenders.

                “Agent” has the meaning specified therefor in the preamble hereto.

                 “Agreement” means this Second Lien Financing Agreement, including all
amendments, restatements, amendments and restatements, modifications and supplements and any
exhibits or schedules to any of the foregoing, and shall refer to this Agreement as the same may
be in effect at the time such reference becomes operative.

                “Anti-Corruption Laws” has the meaning specified therefor in Section 6.01(aa)(i).

                 “Anti-Money Laundering and Anti-Terrorism Laws” means any Requirement of
Law relating to terrorism, economic sanctions or money laundering, including, without limitation,
(a) the Money Laundering Control Act of 1986 (i.e., 18 U.S.C. §§ 1956 and 1957), (b) the Bank
Secrecy Act of 1970 (31 U.S.C. §§ 5311-5330 and 12 U.S.C. §§ 1818(s), 1820(b) and 1951-1959),
and the implementing regulations promulgated thereunder, (c) the USA PATRIOT Act and the
implementing regulations promulgated thereunder, (d) the laws, regulations and Executive Orders
administered by the United States Department of the Treasury’s Office of Foreign Assets Control
(“OFAC”), (e) any law prohibiting or directed against terrorist activities or the financing or support
of terrorist activities (e.g., 18 U.S.C. §§ 2339A and 2339B), and (f) any similar laws enacted in
the United States or any other jurisdictions in which the parties to this Agreement operate, as any
of the foregoing laws have been, or shall hereafter be, amended, renewed, extended, or replaced
and all other present and future legal requirements of any Governmental Authority governing,
addressing, relating to, or attempting to eliminate, terrorist acts and acts of war and any regulations
promulgated pursuant thereto.

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               “Applicable ECF Percentage” means, for any Fiscal Year of the Parent, (a) 50%, if
the Total Senior Lien Leverage Ratio as of the last day of such Fiscal Year is greater than 4.50:1.00,
(b) 25% if the Total Senior Lien Leverage Ratio as of the last day of such Fiscal Year is less than
or equal to 4.50:1.00 and (c) 0%, as of, and at all times after, the Suspension Date.

             “Applicable Premium” means as of the date of the occurrence of an Applicable
Premium Trigger Event:

               (a)     on or before the 12 month anniversary of the Effective Date, 103%;

               (b)     during the period of time from and after the 12 month anniversary of the
Effective Date up to and including the date that is the 24 month anniversary of the Effective Date,
102%; and

               (c)     thereafter, zero.

               “Applicable Premium Trigger Event” means, and shall be deemed to occur upon:

                (a)     any payment by any Loan Party of all, or of any part, of the outstanding
principal balance of any Loan for any reason (including, but not limited to, any optional
prepayment, and any mandatory prepayment (other than any Excess Cash Flow mandatory
prepayment required pursuant to Section 2.05(c)(i), or any Extraordinary Receipts mandatory
prepayment required pursuant to Section 2.05(c)(iv))), and any voluntary permanent reduction or
cancellation of all or any part of any undrawn Commitments effectuated at the option or request
of the Borrowers, in each case, whether before or after (i) the occurrence of an Event of Default,
(ii) the Final Maturity Date, or (iii) the commencement of any Insolvency Proceeding, and, in each
case, notwithstanding any acceleration (for any reason) of any of the Loans or Obligations;

                (b)     the acceleration of the Obligations for any reason, including, but not limited
to, acceleration in accordance with Section 9.01, including as a result of the commencement of an
Insolvency Proceeding;

               (c)     the satisfaction, release, payment, restructuring, reorganization,
replacement, reinstatement, defeasance or compromise of any of the Obligations in any Insolvency
Proceeding, foreclosure (whether by power of judicial proceeding or otherwise) or deed in lieu of
foreclosure or the making of a distribution of any kind in any Insolvency Proceeding to the
Collateral Agent, for the account of the Lenders in full or partial satisfaction of the Obligations; or

               (d)     the termination of this Agreement for any reason.

              “Assignment and Acceptance” means an assignment and acceptance entered into
by an assigning Lender and an assignee, and accepted by the Administrative Agent (and the
Collateral Agent, if applicable), in accordance with Section 12.07 hereof and substantially in the
form of Exhibit B hereto or such other form acceptable to the Collateral Agent.

               “Authorized Officer” means, with respect to any Person, the chief executive officer,
chief operating officer, chief financial officer, chief administrative officer, treasurer or other

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financial officer performing similar functions, president, vice president, general counsel or chief
compliance officer of such Person.

               “Bankruptcy Code” means Title 11 of the United States Code, as amended from
time to time and any successor statute or any similar federal or state law for the relief of debtors.

               “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
District of Texas, in its capacity as the court having jurisdiction over the Chapter 11 Case.

             “Barbados Account” means any deposit account or other bank account maintained
by GC Services (Barbados) SRL that is located in Barbados.

                “Blocked Person” means any Person:

               (a)    that (i) is identified on the list of “Specially Designated Nationals and
Blocked Persons” published by OFAC; (ii) resides, is organized or chartered, or has a place of
business in a country or territory that is the subject of an OFAC Sanctions Program; or (iii) a
United States Person is prohibited from dealing or engaging in a transaction with under any of the
Anti-Money Laundering and Anti-Terrorism Laws; and

               (b)     that is owned or controlled by, or that owns or controls, or that is acting for
or on behalf of, any Person described in clause (a) above.

               “Board” means the Board of Governors of the Federal Reserve System of the
United States (or any successor).

                “Board of Directors” means with respect to (a) any corporation, the board of
directors of the corporation or any committee thereof duly authorized to act on behalf of such
board, (b) a partnership, the board of directors of the general partner of the partnership, (c) a limited
liability company, manager or managers, the managing member or members or any controlling
committee or board of directors of such company or the sole member or the managing member
thereof, and (d) any other Person, the board or committee of such Person serving a similar function.

                “Borrower” has the meaning specified therefor in the preamble hereto.

               “Borrowing” means Loans which are made, issued, converted or continued (as
applicable) on the same Borrowing Date.

               “Borrowing Date” means the date of any Borrowing hereunder (as set forth in the
Notice of Borrowing delivered in connection with such Borrowing). For the avoidance of doubt,
the Effective Date shall be the Borrowing Date for the Term Loans.

             “BSP/Goldman Buyout Right” has the meaning specified therefor in that certain
Mutual Buyout Right and ROFO Agreement, dated as of the Effective Date, entered into by and
among the BSP Lenders and the Goldman Lenders and acknowledged by the Agents.



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              “BSP/Goldman Right of First Offer” has the meaning specified therefor in that
certain Mutual Buyout Right and ROFO Agreement, dated as of the Effective Date, entered into
by and among the BSP Lenders and the Goldman Lenders and acknowledged by the Agents.

               “BSP Agency” has the meaning specified therefor in the preamble hereto.

              “BSP Group” means, at any time, BSP Lenders who are not Defaulting Lenders,
taken as a whole.

                “BSP Lenders” means, as of any time, the BSP Persons that are Lenders at such
time (each of them individually, a “BSP Lender”); provided, that, upon any sale, assignment or
other transfer (whether in a single or multiple transactions) by the BSP Lenders of all Effective
Date Committed Debt held collectively by them since the Effective Date through and including
the date of such sale, assignment or transfer to a BSP Successor, the term BSP Lenders shall, as of
such time, be construed to instead refer to such BSP Successor.

                “BSP Management Consulting Agreement” means that certain Management
Consulting Agreement, dated as of [___], 2021, by and among [the Parent], and [the BSP Persons
party thereto] as BSP Investors (as defined therein).

             “BSP Management Fee” means that certain [___] (as defined in the BSP
Management Consulting Agreement) owing and payable to BSP pursuant to the BSP Management
Consulting Agreement in an amount and in accordance with the other terms set forth in the BSP
Management Consulting Agreement.

               “BSP Persons” means the following Persons, collectively, (a) Benefit Street
Partners LLC, (b) the Persons listed as a ‘BSP Lender’ on Schedule1.01(A) hereto, (c) each of the
Affiliates of any of the foregoing, and their and such Affiliates’ respective Related Funds,
investment advisors, managing members, and partners (and, each such Person, individually, a
“BSP Person”).

               “BSP Successor” means (a) any Person (together with its Affiliates and Related
Funds) that has become a Lender pursuant to an assignment, together with all other Affiliates and
Related Funds that has become a Lender pursuant to an assignment, of all Effective Date
Committed Debt held by the BSP Lenders subject to the terms of this Agreement, and (b) each
subsequent assignee of the foregoing, or of any prior assignee therefrom, as applicable (in each
case, together with each of their respective Affiliates and Related Funds).

               “Budget” means the financial projections of Parent and its Subsidiaries for the next
succeeding fiscal year, delivered pursuant to Section 7.01(a)(vii).

             “Business Day” means any day other than a Saturday, Sunday or other day on which
commercial banks in New York City are authorized or required to close.

                “Capital Expenditures” means, with respect to any Person for any period, the result
of the sum of (a) the aggregate of all expenditures by such Person and its Subsidiaries during such
period that in accordance with GAAP are or should be included in “property, plant and equipment”

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or in a similar fixed asset account on its balance sheet, whether such expenditures are paid in cash
or financed, including all Capitalized Lease Obligations and all capitalized software development
costs that are paid or due and payable during such period, plus, (b) to the extent not covered by
clause (a) above, the aggregate of all expenditures by such Person and its Subsidiaries during such
period to acquire by purchase or otherwise the business or fixed assets of, or the Equity Interests
of, any other Person. Notwithstanding the foregoing, for the avoidance of doubt, Capital
Expenditures shall not include expenditures made with the Net Cash Proceeds of any Extraordinary
Receipts solely to the extent such expenditures are used to purchase property that is the same as or
substantially similar to any property the loss of which gave rise to a Loan Party’s receipt of such
Extraordinary Receipts.

               “Capitalized Lease” means, with respect to any Person, any lease of (or other
arrangement conveying the right to use) real or personal property by such Person as lessee that is
required under GAAP to be capitalized on the balance sheet of such Person.

              “Capitalized Lease Obligations” means, with respect to any Person, obligations of
such Person and its Subsidiaries under Capitalized Leases, and, for purposes hereof, the amount
of any such obligation shall be the capitalized amount thereof determined in accordance with
GAAP.

                “Cash Equivalents” means (a) marketable direct obligations issued or
unconditionally guaranteed by the United States Government or issued by any agency thereof and
backed by the full faith and credit of the United States, in each case, maturing within six months
from the date of acquisition thereof; (b) commercial paper, maturing not more than 270 days after
the date of issue rated P-1 by Moody’s or A-1 by Standard & Poor’s; (c) certificates of deposit
maturing not more than 270 days after the date of issue, issued by commercial banking institutions
and money market or demand deposit accounts maintained at commercial banking institutions,
each of which is a member of the Federal Reserve System and has a combined capital and surplus
and undivided profits of not less than $500,000,000; (d) repurchase agreements having maturities
of not more than 90 days from the date of acquisition which are entered into with major money
center banks included in the commercial banking institutions described in clause (c) above and
which are secured by readily marketable direct obligations of the United States Government or
any agency thereof; (e) money market accounts maintained with mutual funds having assets in
excess of $2,500,000,000, which assets are primarily comprised of Cash Equivalents described in
another clause of this definition; and (f) marketable tax exempt securities rated A or higher by
Moody’s or A+ or higher by Standard & Poor’s, in each case, maturing within 270 days from the
date of acquisition thereof.

               “Cash Management Accounts” means the bank accounts of each Loan Party
maintained at one or more Cash Management Banks.

               “Cash Management Bank” has the meaning specified therefor in Section 8.01(a).

                “Change in Law” means the occurrence, after the date of this Agreement, of any of
the following: (a) the adoption or taking effect of any law, rule, regulation, judicial ruling,
judgment or treaty, (b) any change in any law, rule, regulation or treaty or in the administration,
interpretation, implementation or application thereof by any Governmental Authority or (c) the
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making or issuance of any request, rule, guideline or directive (whether or not having the force of
law) by any Governmental Authority; provided that notwithstanding anything herein to the
contrary, (i) the Dodd-Frank Wall Street Reform and Consumer Protection Act and all requests,
rules, guidelines or directives thereunder or issued in connection therewith and (ii) all requests,
rules, guidelines or directives concerning capital adequacy promulgated by the Bank for
International Settlements, the Basel Committee on Banking Supervision (or any successor or
similar authority) or the United States or foreign regulatory authorities shall, in each case, be
deemed to be a “Change in Law”, regardless of the date enacted, adopted or issued.

               “Change of Control” means each occurrence of any of the following:

              (a)    the Permitted Holders, taken as a whole, shall cease to beneficially and of
record own and control, directly or indirectly, at least 50.1 % on a fully diluted basis of the Parent
Common Equity (or the common equity of any successor to Parent);

                (b)     the Parent shall cease to have “beneficial ownership” (as defined in Rule
13d-3 under the Exchange Act) of 100% of the aggregate voting or economic power of the Equity
Interests of the Loan Parties (other than in connection with any transaction permitted pursuant to
Section 7.02(c)(i)), free and clear of all Liens (other than Permitted Specified Liens);

                (c)   a “Change of Control” (or any comparable term or provision) under or with
respect to any documentation evidencing Subordinated Indebtedness if any Material Indebtedness
is outstanding thereunder (but solely if the same shall cause the same to become, or to be declared,
due and payable (or subject to any mandatory purchase or offer to purchase the same) prior to the
scheduled maturity thereof; or

                (d)    a “Change in Control” under, and as defined in, the ABL Credit Agreement
or the First Lien Financing Agreement if any Material Indebtedness is outstanding thereunder (but
solely if the same shall cause the same to become, or to be declared, due and payable (or subject
to any mandatory purchase or offer to purchase the same) prior to the scheduled maturity thereof,

                provided, that, notwithstanding the above, a Change of Control shall not be deemed
to occur, and shall not be triggered, as a result of (i) any sale, merger, consolidation or other
transaction permitted for purposes of (x) the Loan Documents (including pursuant to a consent of
the Required Lenders in accordance herewith), or (y) the Parent Common Equity or the Parent
Preferred Equity (or under the corporate governance and other arrangements governing the same,
and including pursuant to a consent of the applicable holders of Parent Common Equity or Parent
Preferred Equity, as applicable), (ii) any (x) sale, merger or consolidation of any Loan Party to or
with, or (y) sale, assignment, conveyance, transfer or other disposition of all or substantially all of
any Loan Party’s assets to, an Affiliate incorporated or organized solely for the purpose of
reincorporating or reorganizing such Loan Party in another jurisdiction and/or for the sole purpose
of forming or collapsing a holding company structure, (iii) any change in the identity of any officer
or member of (or any other matter relating to the governance of) the board of the Parent or any of
its Subsidiaries, (iv) anything consented to at the applicable time by BSP Persons and/or other
Permitted Holders, and by Goldman Persons, in each case, who at such time hold Parent Common
Equity or Parent Preferred Equity, as applicable, (v) the Restructuring Transactions or any other

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transactions relating thereto, or (vi) such other circumstances as shall be reasonably satisfactory to
BSP Persons and/or other Permitted Holders and Goldman Persons.

               “Chapter 11 Case” means the case under Chapter 11 of the Bankruptcy Code (Case
No. [__]) arising from the voluntary petition filed with the Bankruptcy Court by the Prepetition
Administrative Borrower, as a debtor and debtor-in-possession.

              “Chapter 11 Case Documents” means the Chapter 11 Plan, the Chapter 11 Plan
Confirmation Order, together with any and all other orders entered by the Bankruptcy Court in the
Chapter 11 Case, and any and all agreements relating thereto.

               “Chapter 11 Plan” means [___].

              “Chapter 11 Plan Confirmation Order” means [an order of the Bankruptcy Court in
the Chapter 11 Case (in form and substance acceptable to the Required Lenders) confirming the
Chapter 11 Plan].

               “Chapter 11 Plan Effective Date” means [___].

                “Collateral” means all of the property and assets and all interests therein and
proceeds thereof now owned or hereafter acquired by any Person upon which a Lien is granted or
purported to be granted by such Person as security for all or any part of the Obligations.

               “Collateral Agent” has the meaning specified therefor in the preamble hereto.

               “Collateral Agent Advances” has the meaning specified therefor in Section
10.08(a).

              “Collections” means all cash, checks, notes, instruments, and other items of
payment (including insurance proceeds, proceeds of cash sales, rental proceeds, and tax refunds).

               “Commitment” means, as of any time, any Term Loan Commitment.

               “Compliance Certificate” has the meaning assigned to such term in Section
7.01(a)(iv).

                “Consolidated EBITDA” means, with respect to any Person for any period:

               (a)     the Consolidated Net Income of such Person for such period,

               plus

               (b)     without duplication, the sum of the following amounts for such period to
the extent deducted in the calculation of Consolidated Net Income for such period:

                     (i)    any provision for United States federal income taxes or other taxes
measured by net income, gross margin or profits,


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                      (ii)    Consolidated Net Interest Expense,

                    (iii)    any loss from extraordinary, unusual or non-recurring items
approved by the Administrative Agent in writing,

                      (iv)    any depreciation and amortization expense,

                        (v)    fees and expenses paid in cash or accrued pursuant to any agreement
referred to in, and to the extent such payment is permitted to be paid or accrued under, Section
7.02(h),

                    (vi)   one-time, non-recurring, out-of-pocket fees and expenses incurred
to consummate the transactions contemplated by the Loan Documents, the First Lien Loan
Documents and the ABL Loan Documents prior to or within 90 days following the Effective Date,

                      (vii)   [reserved],

                     (viii) any aggregate net loss on the Disposition of property (other than
accounts and Inventory) outside the ordinary course of business,

                      (ix)    any non-cash expense related to employee compensation,

                       (x)   any severance, recruiting expenses or signing bonuses for
employees up to $500,000 (or such greater amount as the Administrative Agent may agree (at the
direction of the Required Lenders)) in such Fiscal Year,

                      (xi)   any dividends relating to the Parent Preferred Equity, to the extent
permitted to be paid under Section 7.02(h),

                        (xii) the negative effects of non-cash adjustments from the adoption of
fresh start accounting in connection with the consummation of the Plan of Reorganization and the
Restructuring Transactions; provided that positive effects, if any, of non-cash adjustments from
the adoption of fresh start accounting in connection with the consummation of the Plan of
Reorganization and the Restructuring Transactions shall be deducted from Consolidated EBITDA,

                      (xiii) fees and expenses paid to members of the Board of Directors of the
Loan Parties in an aggregate amount not to exceed $30,000 in any fiscal quarter,

                      (xiv) (A) fees and expenses paid to the Agents, the Lenders, the ABL
Agent, the ABL Lenders and the lenders and other secured parties under the First Lien Facility, in
each case, pursuant to the terms of the Loan Documents, the ABL Loan Documents or the First
Lien Loan Documents, respectively and (B) fees and expenses paid to the agents and lenders,
pursuant to the terms of the Prepetition Term Financing Agreement (to the extent relating to
amounts incurred through to the Effective Date or within 60 days thereafter), and

                      (xv) any other non-cash expenditure, charge or loss for such period (other
than any non-cash expenditure, charge or loss relating to write-offs, write-downs or reserves, in
each case, with respect to accounts and Inventory),
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               minus

                (c)    without duplication, the sum of the following amounts for such period to
the extent included in the calculation of such Consolidated Net Income for such period:

                     (i)    any credit for United States federal income taxes or other taxes
measured by net income, gross margin or profits,

                       (ii)    any gain from extraordinary, unusual or non-recurring items,

                       (iii)   [Reserved], and

                      (iv)   any aggregate net gain (or plus any aggregate net loss) from the
Disposition of property (other than accounts and Inventory) outside the ordinary course of
business, any other non-cash gain, including any reversal of a charge referred to in clause (b)(xv)
above by reason of a decrease in the value of any Equity Interest;

in each case, determined on a consolidated basis in accordance with GAAP.

For purposes of the calculation of the covenants set forth in Section 7.03 of this Agreement, the
Consolidated EBTIDA of Parent and its Subsidiaries (w) for the quarter ending [ ] shall be $[ ],
(x) for the quarter ending [ ] shall be $[ ] and (y) for the quarter ending [ ] shall be $[ ].

                “Consolidated Net Income” means, with respect to any Person, for any period, the
consolidated net income (or loss) of such Person and its Subsidiaries for such period in accordance
with GAAP; provided, however, that the following shall be excluded: (a) the net income of any
other Person in which such Person or one of its Subsidiaries has a joint interest with a third-party,
except to the extent of the amount of dividends or distributions paid in cash to such Person or
Subsidiary, (b) the net income of any Subsidiary of such Person that is, on the last day of such
period, subject to any restriction or limitation (by contract, organizational documentation,
operation of law or otherwise) on the payment of dividends or the making of other distributions,
to the extent of such restriction or limitation, and (c) the net income of any other Person arising
prior to such other Person becoming a Subsidiary of such Person or merging or consolidating into
such Person or its Subsidiaries.

                 “Consolidated Net Interest Expense” means, with respect to any Person for any
period, without duplication, (a) gross interest expense (including, without limitation, interest
expense paid to Affiliates of such Person), less (b) the sum of (i) interest income for such period
and (ii) gains for such period on Hedging Agreements (to the extent not included in interest income
above and to the extent not deducted in the calculation of gross interest expense), plus (c) the sum
of (i) losses for such period on Hedging Agreements (to the extent not included in gross interest
expense) and (ii) the upfront costs or fees for such period associated with Hedging Agreements (to
the extent not included in gross interest expense), in each case, determined on a consolidated basis
and in accordance with GAAP.

               “Contingent Indemnity Obligations” means any Obligation constituting a
contingent, unliquidated indemnification obligation of any Loan Party, in each case, to the extent

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(a) such obligation has not accrued and is not yet due and payable and (b) no claim has been made
or is reasonably anticipated to be made with respect thereto.

                 “Contingent Obligation” means, with respect to any Person, any obligation of such
Person guaranteeing or intending to guarantee any Indebtedness, leases, dividends or other
obligations (“primary obligations”) of any other Person (the “primary obligor”) in any manner,
whether directly or indirectly, including, without limitation, (a) the direct or indirect guaranty,
endorsement (other than for collection or deposit in the ordinary course of business), co-making,
discounting with recourse or sale with recourse by such Person of the obligation of a primary
obligor, (b) the obligation to make take-or-pay or similar payments, if required, regardless of
nonperformance by any other party or parties to an agreement, (c) any obligation of such Person,
whether or not contingent, (i) to purchase any such primary obligation or any property constituting
direct or indirect security therefor, (ii) to advance or supply funds (A) for the purchase or payment
of any such primary obligation or (B) to maintain working capital or equity capital of the primary
obligor or otherwise to maintain the net worth or solvency of the primary obligor, (iii) to purchase
property, assets, securities or services primarily for the purpose of assuring the owner of any such
primary obligation of the ability of the primary obligor to make payment of such primary
obligation or (iv) otherwise to assure or hold harmless the holder of such primary obligation against
loss in respect thereof; provided, however, that the term “Contingent Obligation” shall not include
any product warranties extended in the ordinary course of business. The amount of any Contingent
Obligation shall be deemed to be an amount equal to the stated or determinable amount of the
primary obligation with respect to which such Contingent Obligation is made (or, if less, the
maximum amount of such primary obligation for which such Person may be liable pursuant to the
terms of the instrument evidencing such Contingent Obligation) or, if not stated or determinable,
the maximum reasonably anticipated liability with respect thereto (assuming such Person is
required to perform thereunder), as determined by such Person in good faith.

                “Contractual Obligation” means, as to any Person, any provision of any security
issued by such Person or of any agreement, instrument or other undertaking to which such Person
is a party or by which it or any of its property is bound.

                “Control Agreement” means, with respect to any deposit account, any securities
account, commodity account, securities entitlement or commodity contract located in the United
States, an agreement, in form and substance reasonably satisfactory to the Collateral Agent, among
the ABL Lender (so long as the ABL Loan Documents are still in effect), Collateral Agent, the
financial institution or other Person at which such account is maintained or with which such
entitlement or contract is carried and the Loan Party maintaining such account, effective to grant
“control” (as defined under the applicable UCC) over such account to the Collateral Agent.

                 “Controlled Investment Affiliate” means, as to any Person, any other Person that
(a) is an Affiliate of such Person and (b) is organized by such Person primarily for the purpose of
making equity or debt investments in one or more companies.

                 “Credit Facility” means the credit facility provided hereunder pursuant to the Term
Loan Facility.

                 “Curable Default” has the meaning specified therefor in Section 9.02.
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               “Cure Right” has the meaning specified therefor in Section 9.02.

               “Current Value” has the meaning specified therefor in Section 7.01(m).

               “Customer Trust Account” means any deposit account specifically required by a
customer of a Loan Party to be maintained by such Loan Party as a trust account for the benefit of
such customer, so long as such deposit account and all funds deposited therein are separately
segregated from such Loan Party’s general accounts and other cash.

                “Debt Representative” means, in respect of any Indebtedness, any administrative
agent, collateral agent, trustee or other Person designated by the lenders or other holders of such
Indebtedness to act as their representative in connection with, among other things, any intercreditor
arrangements contemplated pursuant to the Intercreditor Agreements or otherwise applicable to
the Obligations, as the case may be; provided, that the Administrative Agent shall be notified of
the existence and identity of such Person.

                “Debtor Relief Law” means the Bankruptcy Code and any other liquidation,
conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement,
receivership, insolvency, reorganization, or similar debtor relief law of the United States or other
applicable jurisdiction from time to time in effect.

              “Default” means an event which, with the giving of notice or the lapse of time or
both, would constitute an Event of Default.

                “Defaulting Lender” means any Lender that (a) has failed to (i) fund all or any
portion of its Loans within 2 Business Days of the date such Loans were required to be funded
hereunder unless such Lender notifies the Administrative Agent and the Administrative Borrower
in writing within 2 Business Days of the date such Loans were required to be funded hereunder
that such failure is the result of such Lender’s good faith determination that one or more conditions
precedent to funding (each of which conditions precedent, together with any applicable default,
shall be specifically identified in such writing) has not been satisfied, or (ii) pay to the
Administrative Agent or any Lender any other amount required to be paid by it hereunder within
2 Business Days of the date when due, (b) has notified the Administrative Borrower or the
Administrative Agent in writing that it does not intend to comply with its funding obligations
hereunder, or has made a public statement to that effect (unless such writing or public statement
relates to such Lender’s obligation to fund a Loan hereunder and states that such position is based
on such Lender’s good faith determination that a condition precedent to funding (which condition
precedent, together with any applicable default, shall be specifically identified in such writing or
public statement) cannot be satisfied), (c) has failed, within 3 Business Days after written request
by the Administrative Agent or the Administrative Borrower, to confirm in writing to the
Administrative Agent and the Administrative Borrower that it will comply with its prospective
funding obligations hereunder (provided that such Lender shall cease to be a Defaulting Lender
pursuant to this clause (c) upon receipt of such written confirmation by the Administrative Agent
and the Administrative Borrower), or (d) has, or has a direct or indirect parent company that has,
(i) become the subject of a proceeding under any Debtor Relief Law, or (ii) had appointed for it a
receiver, custodian, conservator, trustee, administrator, assignee for the benefit of creditors or
similar Person charged with reorganization or liquidation of its business or assets, including the
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Federal Deposit Insurance Corporation or any other state or federal regulatory authority acting in
such a capacity. Notwithstanding anything to the contrary herein, a Lender shall not be a
Defaulting Lender solely by virtue of the ownership or acquisition of any Equity Interest in that
Lender or any direct or indirect parent company thereof by a Governmental Authority so long as
such ownership interest does not result in or provide such Lender with immunity from the
jurisdiction of courts within the United States or from the enforcement of judgments or writs of
attachment on its assets or permits such Lender (or such Governmental Authority) to reject,
repudiate, disavow or disaffirm any contracts or agreements made with such Lender. Any
determination by the Administrative Agent that a Lender is a Defaulting Lender under clauses (a)
through (d) above shall be conclusive and binding absent manifest error, and such Lender shall be
deemed to be a Defaulting Lender upon delivery of written notice of such determination to the
Administrative Borrower and each Lender.

               “DIP Claims” means, with respect to any Term Loan Lender that is a Goldman
Lender and a lender under the Term DIP Facility (as defined in the RSA), the amount of such Term
Loan Lender’s DIP Obligations (as defined in the RSA) that are deemed exchanged for, and
discharged upon the issuance to such Term Loan Lender of, Term Loans on the Effective Date
pursuant to the Restructuring Transactions, in each case, as determined and calculated in
accordance with the RSA and the other applicable Restructuring Documents.

                “Disposition” means any transaction, or series of related transactions, pursuant to
which any Person or any of its Subsidiaries sells, assigns, transfers, leases, licenses (as licensor)
or otherwise disposes of any property or assets (whether now owned or hereafter acquired),
including any Equity Interest in any Subsidiary, to any other Person, in each case, whether or not
the consideration therefor consists of cash, securities or other assets owned by the acquiring
Person. For purposes of clarification, “Disposition” shall include (a) the sale or other disposition
for value of any contracts or (b) the early termination or modification of any contract resulting in
the receipt by any Loan Party of a cash payment or other consideration in exchange for such event
(other than payments in the ordinary course for accrued and unpaid amounts due through the date
of termination or modification).

                “Disqualified Equity Interests” means any Equity Interest that, by its terms (or by
the terms of any security or other Equity Interest into which it is convertible or for which it is
exchangeable), or upon the happening of any event or condition, (a) matures or is mandatorily
redeemable, pursuant to a sinking fund obligation or otherwise, (b) is redeemable at the option of
the holder thereof, in whole or in part, (c) provides for the scheduled payment of dividends or
distributions in cash or assets, or (d) is convertible into or exchangeable for (i) Indebtedness or
(ii) any other Equity Interests that would constitute Disqualified Equity Interests, in each case of
clauses (a) through (d), prior to the date that is six months after the Final Maturity Date.

               “Dollar,” “Dollars” and the symbol “$” each means lawful money of the United
States of America.

                “Effective Date” has the meaning specified therefor in Section 5.01.

            “Effective Date Committed Debt” means the Term Loans and the Term Loan
Commitments. For the avoidance of doubt, (i) any reference to any Person’s Effective Date
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Committed Debt (or any Effective Date Committed Debt held by any Person, as applicable) at any
time of determination shall be a reference to the sum of the aggregate (x) then-outstanding
principal of all such Loans and (y) then-remaining or unused amount of such Commitments, and
(ii) Effective Date Committed Debt holdings of all Persons who are Affiliated Lenders of each
other shall be aggregated where applicable or required by the context.

                “Eligible Assignee” means each and any one of the following Persons (except any
such Person that is a natural person, a Disqualified Lender or a Competitor): (a) a Permitted Holder,
(b) a Lender, and (c) an Affiliate or a Related Fund of a Lender (except any portfolio company)
that is primarily engaged in making, purchasing, holding or otherwise investing in commercial
loans and similar extensions of credit in the ordinary course of its business.

               “Employee Plan” means an employee benefit plan (other than a Multiemployer
Plan) covered by Title IV of ERISA and sponsored or maintained (or that was sponsored or
maintained at any time during the 6 years preceding the date of any Borrowing hereunder) for
employees of any Loan Party or any of its ERISA Affiliates.

                 “Environmental Actions” means any complaint, summons, citation, notice,
directive, order, claim, litigation, investigation, judicial or administrative proceeding, judgment,
letter or other communication from any Person or Governmental Authority involving violations of
Environmental Laws or Releases of Hazardous Materials (a) from any assets, properties or
businesses owned or operated by any Loan Party or any of its Subsidiaries or any predecessor in
interest; (b) from adjoining properties or businesses; or (c) onto any facilities which received
Hazardous Materials generated by any Loan Party or any of its Subsidiaries or any predecessor in
interest.

                “Environmental Laws” means the Comprehensive Environmental Response,
Compensation and Liability Act (42 U.S.C. § 9601, et seq.), the Hazardous Materials
Transportation Act (49 U.S.C. § 1801, et seq.), the Resource Conservation and Recovery Act (42
U.S.C. § 6901, et seq.), the Federal Clean Water Act (33 U.S.C. § 1251 et seq.), the Clean Air Act
(42 U.S.C. § 7401 et seq.), the Toxic Substances Control Act (15 U.S.C. § 2601 et seq.) and the
Occupational Safety and Health Act (29 U.S.C. § 651 et seq.), as such laws may be amended or
otherwise modified from time to time, and any other Requirement of Law, permit, license or other
binding determination of any Governmental Authority imposing liability or establishing standards
of conduct for protection of the environment or other government restrictions relating to the
protection of the environment or the Release, deposit or migration of any Hazardous Materials into
the environment.

                “Environmental Liabilities and Costs” means all liabilities, monetary obligations,
Remedial Actions, losses, damages, punitive damages, consequential damages, treble damages,
costs and expenses (including all reasonable fees, disbursements and expenses of counsel, experts
and consultants and costs of investigations and feasibility studies), fines, penalties, sanctions and
interest incurred as a result of any claim or demand by any Governmental Authority or any third
party, and which relate to any environmental condition or a Release of Hazardous Materials from
or onto (a) any property presently or formerly owned by any Loan Party or any of its Subsidiaries
or (b) any facility which received Hazardous Materials generated by any Loan Party or any of its
Subsidiaries.
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             “Environmental Lien” means any Lien in favor of any Governmental Authority for
Environmental Liabilities and Costs.

                “Equity Interests” means (a) all shares of capital stock (whether denominated as
common stock or preferred stock), equity interests, beneficial, partnership or membership interests,
joint venture interests, participations or other ownership or profit interests in or equivalents
(regardless of how designated) of or in a Person (other than an individual), whether voting or non-
voting and (b) all securities convertible into or exchangeable for any of the foregoing and all
warrants, options or other rights to purchase, subscribe for or otherwise acquire any of the
foregoing, whether or not presently convertible, exchangeable or exercisable.

                “Equity Issuance” means either (a) the sale or issuance by any Loan Party or any
of its Subsidiaries of any shares of its Equity Interests or (b) the receipt by the Parent of any cash
capital contributions, in each case, following the date hereof.

               “ERISA” means the Employee Retirement Income Security Act of 1974, as
amended, and any successor statute of similar import, and regulations thereunder, in each case, as
in effect from time to time. References to sections of ERISA shall be construed also to refer to
any successor sections.

                “ERISA Affiliate” means, with respect to any Person, any trade or business
(whether or not incorporated) which is a member of a group of which such Person is a member
and which would be deemed to be a “controlled group” within the meaning of Sections 414(b),
(c), (m) and (o) of the Internal Revenue Code.

               “Event of Default” has the meaning specified therefor in Section 9.01.

                 “Excess Cash Flow” means, with respect to any Person for any period, without
duplication, (a) Consolidated EBITDA of such Person and its Subsidiaries for such period, less
(b) the sum of, without duplication, (i) all cash principal payments (excluding any principal
payments made in accordance with Section 2.05(c)) on the Loans made during such period, and
all cash principal payments on Indebtedness (other than Indebtedness incurred under this
Agreement and Subordinated Indebtedness) of such Person or any of its Subsidiaries during such
period to the extent such other Indebtedness is permitted to be incurred, and such payments are
permitted to be made, under this Agreement, (ii) all Consolidated Net Interest Expense to the extent
paid or payable in cash during such period, (iii) the cash portion of Capital Expenditures made by
such Person and its Subsidiaries during such period to the extent permitted to be made under this
Agreement (excluding Capital Expenditures to the extent financed through the incurrence of
Indebtedness or through an Equity Issuance), (iv) all scheduled loan servicing fees and other
similar fees in respect of Indebtedness of such Person or any of its Subsidiaries paid in cash during
such period, to the extent such Indebtedness is permitted to be incurred, and such payments are
permitted to be made, under this Agreement, (v) Tax Distributions and income, profits or gross
margin taxes paid in cash by such Person and its Subsidiaries for such period, (vi) any dividends
paid in cash in connection with the Parent Preferred Equity to the extent permitted to be paid in
cash hereunder, and (vii) for any period, the excess, if any, of Working Capital at the end of such
period over Working Capital at the beginning of such period (or minus the excess, if any, of
Working Capital at the beginning of such period over Working Capital at the end of such period).
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               “Exchange Act” means the Securities Exchange Act of 1934, as amended.

                “Excluded Account” means (a) any deposit account specifically and exclusively
used for payroll, payroll taxes and other employee wage and benefit payments to or for the benefit
of any Loan Party’s employees, (b) any Customer Trust Account, (c) any License Trust Account,
(d) Petty Cash Accounts, (e) any Barbados Account, (f) any Philippines Account, and (g) deposit
accounts of any Loan Party or any of its Subsidiaries located outside of the United States, so long
as, solely with respect to this clause (g), the aggregate amount of all cash and Cash Equivalents on
deposit in such deposit accounts does not exceed $500,000 for any one deposit account and
$1,000,000 in the aggregate for all such deposit accounts.

                 “Excluded Taxes” means any of the following Taxes imposed on or with respect to
a Recipient or required to be withheld or deducted from a payment to a Recipient, (a) Taxes
imposed on or measured by net income, profits or gross margin (however denominated), franchise
Taxes, and branch profits Taxes, in each case, (i) imposed as a result of such Recipient being
organized under the laws of, or having its principal office or, in the case of any Lender, its
applicable lending office located in, the jurisdiction imposing such Tax (or any political
subdivision thereof) or (ii) that are Other Connection Taxes, (b) in the case of a Lender, U.S.
federal withholding Taxes imposed on amounts payable to or for the account of such Lender with
respect to an applicable interest in a Loan or Commitment pursuant to a law in effect on the date
on which (i) such Lender acquires such interest in the Loan or Commitment (other than pursuant
to an assignment request by the Borrower under Section 2.09(f)) or (ii) such Lender changes its
lending office, except in each case to the extent that, pursuant to Section 2.09, amounts with respect
to such Taxes were payable either to such Lender’s assignor immediately before such Lender
became a party hereto or to such Lender immediately before it changed its lending office, (c) Taxes
attributable to such Recipient’s failure to comply with Section 2.09(d) or 2.09(e), and (d) any U.S.
federal withholding Taxes imposed under FATCA.

               “Executive Order No. 13224” means the Executive Order No. 13224 on Terrorist
Financing, effective September 24, 2001, as the same has been, or shall hereafter be, renewed,
extended, amended or replaced.

               “Existing Term Obligations” has the meaning set forth in the RSA.

                 “Extraordinary Receipts” means any cash received by any Loan Party or any of its
Subsidiaries not in the ordinary course of business (and not consisting of proceeds described in
Section 2.05(c)(ii) or 2.05(c)(iii) hereof), including, without limitation, (a) foreign, United States,
state or local tax refunds, (b) pension plan reversions, (c) proceeds of insurance, (d) judgments,
proceeds of settlements or other consideration of any kind in connection with any cause of action
(other than to the extent such consideration is (i) immediately payable to a Person that is not an
Affiliate of the Parent or any of its Subsidiaries or (ii) received by the Parent or any of its
Subsidiaries as reimbursement for any costs or actual losses previously incurred or any payment
previously made by such Person), (e) condemnation awards (and payments in lieu thereof), (f)
indemnity payments (other than to the extent such indemnity payments are (i) immediately payable
to a Person that is not an Affiliate of the Parent or any of its Subsidiaries or (ii) received by the
Parent or any of its Subsidiaries as reimbursement for any costs or actual losses previously incurred
or any payment previously made by such Person) and (g) any purchase price adjustment received
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in connection with any purchase agreement (other than to the extent such payments in connection
therewith are (i) immediately payable to a Person that is not an Affiliate of the Parent or any of its
Subsidiaries or (ii) received by the Parent or any of its Subsidiaries as reimbursement for any costs
or actual losses previously incurred or any payment previously made by such Person).

                “Facility” means the real property identified on Schedule 1.01(B) and any New
Facility hereafter acquired by any Loan Party or any of its Subsidiaries, including, without
limitation, the land on which each such facility is located, all buildings and other improvements
thereon, and all fixtures located thereat or used in connection therewith.

                    “Fair Share” has the meaning specified therefor in Section 11.06.

                    “Fair Share Contribution Amount” has the meaning specified therefor in Section
11.06.

              “FASB ASC” means the Accounting Standards Codification of the Financial
Accounting Standards Board.

                “FATCA” means Sections 1471 through 1474 of the Internal Revenue Code, as of
the date of this Agreement (or any amended or successor version that is substantively comparable
and not materially more onerous to comply with) and any current or future regulations or official
interpretations thereof and any agreements entered into pursuant to Section 1471(b)(1) of the
Internal Revenue Code and any fiscal or regulatory legislation, rules or practices adopted pursuant
to any intergovernmental agreement, treaty or convention among Governmental Authorities and
implementing such Sections of the Code.

                    “FCPA” has the meaning specified therefor in Section 6.01(aa)(i).

              “Fee Letter” means the fee letter, dated as of the date hereof, among the Borrowers
and the Administrative Agent.

               “Final Maturity Date” means, the earlier of (i) [__]1, 2027 and (ii) the earliest date
on or as of which any such Loan is declared (or otherwise becomes, or is deemed to become) due
and payable pursuant to the terms of this Agreement (including as provided in Section 9.01).

               “Financial Statements” means (a) the audited consolidated balance sheet of GCS
and its Subsidiaries for the Fiscal Year ended December 31, 2020, and the related consolidated
statement of operations, members’ capital and cash flows for the Fiscal Year then ended, and
(b) the unaudited consolidated balance sheet of Prepetition Administrative Borrower and its
Subsidiaries for the 12 months ended [August 2021], and the related consolidated statement of
operations and cash flows for the 12 months then ended.

                “First Lien Agent” means BSP Agency, as the administrative agent and as the
collateral agent under the First Lien Financing Agreement, together with its successors and assigns
in such capacities.


1
    NTD: To be the sixth (6th) anniversary of the Effective Date.
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                “First Lien Credit Facility” means the term loan credit facilities provided pursuant
to the First Lien Financing Agreement.

                “First Lien Financing Agreement” means that certain First Lien Financing
Agreement, dated as of the date hereof, by and among the Borrowers, as borrowers thereunder, the
Parent and the other Guarantors, as guarantors thereunder, the First Lien Agent, and the First Lien
Lenders, as amended, restated, amended and restated, supplemented or otherwise modified from
time to time in accordance with this Agreement and the Intercreditor Agreements.

               “First Lien Indebtedness” means Indebtedness of the Loan Parties owing to the
lenders and other secured parties under the First Lien Credit Facility.

               “First Lien Lender” means, at any time, any Person that is a lender under the First
Lien Financing Agreement as of such time.

             “First Lien Loan Documents” means the Loan Documents (as defined in the First
Lien Financing Agreement) as amended, restated, amended and restated, supplemented or
otherwise modified from time to time in accordance with this Agreement and the Intercreditor
Agreements.

             “Fiscal Year” means the fiscal year of the Parent and its Subsidiaries ending on
December 31 of each year.

                “Foreign Official” has the meaning specified therefor in Section 6.01(aa)(ii)(A).

               “Funding Losses” has the meaning specified therefor in Section 2.08.

               “GAAP” means generally accepted accounting principles in effect from time to
time in the United States, applied on a consistent basis, provided that for the purpose of Section
7.03 hereof and the definitions used therein, “GAAP” shall mean generally accepted accounting
principles in effect on the date hereof and consistent with those used in the preparation of the
Financial Statements, provided, further, that if there occurs after the date of this Agreement any
change in GAAP that affects in any respect the calculation of any covenant contained in
Section 7.03 hereof, the Administrative Agent and the Administrative Borrower shall negotiate in
good faith amendments to the provisions of this Agreement that relate to the calculation of such
covenant with the intent of having the respective positions of the Lenders and the Borrowers after
such change in GAAP conform as nearly as possible to their respective positions as of the date of
this Agreement and, until any such amendments have been agreed upon, the covenants in Section
7.03 hereof shall be calculated as if no such change in GAAP has occurred.

               “GC GP Buyer” has the meaning specified therefor in the preamble hereto.

               “GC LP Buyer” has the meaning specified therefor in the preamble hereto.

                “GCS” means GC Services Limited Partnership, a Delaware limited partnership.

              “Goldman Group” means, at any time, Goldman Lenders who are not Defaulting
Lenders, taken as a whole.
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                “Goldman Lenders” means, as of any time, the Goldman Persons that are Lenders
at such time (each of them individually, a “Goldman Lender”); provided, that, upon any sale,
assignment or other transfer (whether in a single or multiple transactions) by the Goldman Lenders
of all Effective Date Committed Debt held collectively by them since the Effective Date through
and including the date of such sale, assignment or transfer to a Goldman Successor, the term
Goldman Lenders shall, as of such time, be construed to instead refer to such Goldman Successor.

                “Goldman Person” means the following Persons, collectively, (a) Goldman Sachs
Bank USA and Goldman Sachs BDC, Inc., (b) the Persons listed as a ‘Goldman Lender’ on
Schedule 1.01(A) hereto, (c) each of the Affiliates of any of the foregoing, and their and such
Affiliates’ respective Related Funds, investment advisors, managing members, and partners (and,
each such Person, individually, a “Goldman Person”).

               “Goldman Successor” means (a) any Person (together with its Affiliates and
Related Funds) that has become a Lender pursuant to an assignment, together with all other
Affiliates and Related Funds that has become a Lender pursuant to an assignment, of all Effective
Date Committed Debt of the Goldman Lenders subject to the terms of this Agreement, and (b)
each subsequent assignee of the foregoing, or of any prior assignee therefrom, as applicable (in
each case, together with each of their respective Affiliates and Related Funds).

                 “Governing Documents” means, (a) with respect to any corporation, the certificate
or articles of incorporation and the bylaws (or equivalent or comparable constitutive documents
with respect to any non-U.S. jurisdiction); (b) with respect to any limited liability company, the
certificate or articles of formation or organization, and the operating agreement; (c) with respect
to any partnership, joint venture, trust or other form of business entity, the partnership, joint
venture, declaration or other applicable agreement or documentation evidencing or otherwise
relating to its formation or organization, governance and capitalization; and (d) with respect to any
of the entities described above, any other agreement, instrument, filing or notice with respect
thereto filed in connection with its formation or organization with the applicable Governmental
Authority in the jurisdiction of its formation or organization.

                 “Governmental Authority” means any nation or government, any foreign, Federal,
state, territory, provincial, city, town, municipality, county, local or other political subdivision
thereof or thereto and any department, commission, board, bureau, instrumentality, agency or other
entity exercising executive, legislative, judicial, taxing, regulatory or administrative powers or
functions of or pertaining to government (including any supra-national bodies such as the
European Union or the European Central Bank).

               “Guaranteed Obligations” has the meaning specified therefor in Section 11.01.

               “Guarantor” means (a) the Parent, (b) each Subsidiary of the Parent listed as a
“Guarantor” on the signature pages hereto, and (c) each other Person that guarantees, pursuant to
Section 7.01(b) or otherwise, all or any part of the Obligations; provided, that any Guarantor shall
also be a guarantor of First Lien Indebtedness under the First Lien Credit Facility.

               “Guaranty” means (a) the guaranty of each Guarantor party hereto contained in
Article XI hereof and (b) each other guaranty, in form and substance satisfactory to the Collateral
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Agent, made by any other Guarantor in favor of the Collateral Agent for the benefit of the Agents
and the Lenders guaranteeing all or part of the Obligations.

               “Hazardous Material” means (a) any element, compound or chemical that is
defined, listed or otherwise classified as a contaminant, pollutant, toxic pollutant, toxic or
hazardous substance, extremely hazardous substance or chemical, hazardous waste, special waste,
or solid waste under Environmental Laws or that is likely to cause immediately, or at some future
time, harm to or have an adverse effect on, the environment or risk to human health or safety,
including, without limitation, any pollutant, contaminant, waste, hazardous waste, toxic substance
or dangerous good which is defined or identified in any Environmental Law and which is present
in the environment in such quantity or state that it contravenes any Environmental Law; (b)
petroleum and its refined products; (c) polychlorinated biphenyls; (d) any substance exhibiting a
hazardous waste characteristic, including, without limitation, corrosivity, ignitability, toxicity or
reactivity as well as any radioactive or explosive materials; and (e) any raw materials, building
components (including, without limitation, asbestos-containing materials) and manufactured
products containing hazardous substances listed or classified as such under Environmental Laws.

               “Hedging Agreement” means any interest rate, foreign currency, commodity or
equity swap, collar, cap, floor or forward rate agreement, or other agreement or arrangement
designed to protect against fluctuations in interest rates or currency, commodity or equity values
(including, without limitation, any option with respect to any of the foregoing and any combination
of the foregoing agreements or arrangements), and any confirmation executed in connection with
any such agreement or arrangement.

                “Highest Lawful Rate” means, with respect to any Agent or any Lender, the
maximum non-usurious interest rate, if any, that at any time or from time to time may be contracted
for, taken, reserved, charged or received on the Obligations under laws applicable to such Agent
or such Lender which are currently in effect or, to the extent allowed by law, under such applicable
laws which may hereafter be in effect and which allow a higher maximum non- usurious interest
rate than applicable laws now allow.

                    “Holdco Borrower”2 has the meaning specified therefor in the preamble hereto.

                    “Holdout Lender” has the meaning specified therefor in Section 12.02(b).

               “Houston Facility” means the real property and improvements located at 6330
Gulfton Street, Houston, Texas 77081.

                “Indebtedness” means, with respect to any Person, without duplication, (a) all
indebtedness of such Person for borrowed money; (b) all obligations of such Person for the
deferred purchase price of property or services (other than trade payables or other accounts payable
incurred in the ordinary course of such Person’s business and not outstanding for more than 90
days after the date such payable was due and any earn-out, purchase price adjustment or similar
obligation until such obligation appears in the liabilities section of the balance sheet of such
Person); (c) all obligations of such Person evidenced by bonds (excluding performance bonds, bid

2
    To be the entity referred to as “New Holdco Sub”.
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bonds, appeal bonds and surety bonds under which no claim has been made), debentures, notes or
other similar instruments or upon which interest payments are customarily made; (d) all
reimbursement, payment or other obligations and liabilities of such Person created or arising under
any conditional sales or other title retention agreement with respect to property used and/or
acquired by such Person, even though the rights and remedies of the lessor, seller and/or lender
thereunder may be limited to repossession or sale of such property; (e) all Capitalized Lease
Obligations of such Person; (f) all obligations and liabilities, contingent or otherwise, of such
Person, in respect of letters of credit, acceptances and similar facilities; (g) all obligations and
liabilities, calculated on a basis satisfactory to the Collateral Agent and in accordance with
accepted practice, of such Person under Hedging Agreements; (h) all monetary obligations under
any receivables factoring, receivable sales or similar transactions and all monetary obligations
under any synthetic lease, tax ownership/operating lease, off-balance sheet financing or similar
financing; (i) all Contingent Obligations; (j) all Disqualified Equity Interests; and (k) all
obligations referred to in clauses (a) through (j) of this definition of another Person secured by (or
for which the holder of such Indebtedness has an existing right, contingent or otherwise, to be
secured by) a Lien upon property owned by such Person, even though such Person has not assumed
or become liable for the payment of such Indebtedness. The Indebtedness of any Person shall
include, without duplication, the Indebtedness of any partnership of or joint venture in which such
Person is a general partner or a joint venturer.

               “Indemnified Matters” has the meaning specified therefor in Section 12.15(a).

                “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or
with respect to any payment made by or on account of any obligation of any Loan Party under any
Loan Document and (b) to the extent not otherwise described in clause (a), Other Taxes.

               “Indemnitees” has the meaning specified therefor in Section 12.15(a).

              “Insolvency Proceeding” means any proceeding commenced by or against any
Person under any provision of any Debtor Relief Law.

               “Intellectual Property” has the meaning specified therefor in the Security
Agreement.

               “Intellectual Property Contracts” means all agreements concerning Intellectual
Property, including without limitation license agreements, technology consulting agreements,
confidentiality agreements, co-existence agreements, consent agreements and non-assertion
agreements.

                “Intercompany Subordination Agreement” means the Intercompany Subordination
Agreement, dated as of the date hereof, made by the Parent and its Subsidiaries in favor of the
Collateral Agent for the benefit of the Agents and the Lenders, in form and substance reasonably
satisfactory to the Collateral Agent.

             “Intercreditor Agreements” means, collectively, (a) the ABL/Term Intercreditor
Agreement and (b) the Term Intercreditor Agreement.

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               “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended
(or any successor statute thereto) and the regulations thereunder.

               “Inventory” means, with respect to any Person, all goods and merchandise of such
Person leased or held for sale or lease by such Person, including, without limitation, all raw
materials, work-in-process and finished goods, and all packaging, supplies and materials of every
nature used or usable in connection with the shipping, storing, advertising or sale of such goods
and merchandise, whether now owned or hereafter acquired, and all such other property the sale
or other disposition of which would give rise to an Account or cash.

                “Investment” means, with respect to any Person, (a) any investment by such Person
in any other Person (including Affiliates) in the form of loans, guarantees, advances or other
extensions of credit (excluding Accounts arising in the ordinary course of business), capital
contributions or acquisitions of Indebtedness (including, any bonds, notes, debentures or other debt
securities), Equity Interests, or all or substantially all of the assets of such other Person (or of any
division or business line of such other Person), (b) the purchase or ownership of any futures
contract or liability for the purchase or sale of currency or other commodities at a future date in
the nature of a futures contract, or (c) any investment in any other items that are or would be
classified as investments on a balance sheet of such Person prepared in accordance with GAAP.

               “Joinder Agreement” means a Joinder Agreement, substantially in the form of
Exhibit A, duly executed by a Subsidiary of a Loan Party made a party hereto pursuant to Section
7.01(b).

                “Lease” means any lease of real property to which any Loan Party or any of its
Subsidiaries is a party as lessor or lessee.

               “Lender” means (a) each Person whose name is set forth on Schedule 1.01(A) under
the heading “Term Loan Lender” and that signed this Agreement as a Lender and thereby became
a party hereto on the Effective Date, and (b) each Person that becomes a Lender hereunder at any
time after the Effective Date in accordance with the terms hereof (including pursuant to an
assignment in accordance with Section 12.07), for so long as such Person shall be (but only until
such Person shall cease to be) a party to this Agreement as a Lender pursuant to the terms hereof.

                “Lender Funding Account” has the meaning specified therefor in Section 2.02(c).

                “License Trust Account” means any deposit account of a Loan Party specifically
required by a State or other Governmental Authority to be maintained by such Loan Party as a
trust account for the benefit of such State or Governmental Authority, pursuant to licensing and
permitting requirements applicable to such Loan Party within such State’s or Governmental
Authority’s jurisdiction, so long as such deposit account and all funds deposited therein are
separately segregated from such Loan Party’s general accounts and other cash.

               “Lien” means any mortgage, deed of trust, pledge, lien (statutory or otherwise),
security interest, charge or other encumbrance or security or preferential arrangement of any
nature, including, without limitation, any conditional sale or title retention arrangement, any

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Capitalized Lease and any assignment, deposit arrangement or financing lease intended as, or
having the effect of, security.

             “Liquidity” means a Dollar amount equal to (determined at any time as of the last
Business Day of the calendar week preceding the week in which the calculation of Liquidity is
being made):

              (a)     the aggregate amount of unrestricted cash and Cash Equivalents maintained
by the Borrowers in an account located in the United States subject to a Control Agreement; plus

               (b)    the aggregate amount available to be borrowed by any Borrower or any of
its Subsidiaries under any ABL Facility in effect at such time (except to the extent that the
Administrative Borrower determines that the pricing or terms thereof are unfavorable).

                “Loan” means, generally, and unless the context requires otherwise, each loan or
other credit extension (if any) made at any time to any Borrower pursuant this Agreement by any
Person that is a Lender with an applicable Commitment at such time (all such loans and credit
extensions, collectively, the “Loans”). As of the Effective Date, each Term Loan is a Loan.

               “Loan Account” means an account maintained hereunder by the Administrative
Agent on its books of account at the Payment Office, and with respect to the Borrowers, in which
the Borrowers will be charged with all Loans made to, and all other Obligations incurred by, the
Borrowers.

                “Loan Document” means this Agreement, any Control Agreement, the Fee Letter,
any Guaranty, the Intercompany Subordination Agreement, the Intercreditor Agreements, any
Joinder Agreement, any Mortgage, any Security Agreement, any UCC Filing Authorization Letter,
any landlord waiver, any collateral access agreement, any Perfection Certificate, and any other
agreement, instrument, certificate, report and other document executed and delivered pursuant
hereto or thereto or otherwise evidencing or securing any Loan or any other Obligation.

                “Loan Party” means any Borrower and any Guarantor.

                  “Material Adverse Effect” means a material adverse effect on any of (a) the
operations, assets, liabilities, financial condition of the Loan Parties taken as a whole, (b) the ability
of the Loan Parties taken as a whole to perform any of their obligations under any Loan Document,
(c) the legality, validity or enforceability of this Agreement or any other Loan Document, (d) the
rights and remedies of any Agent or any Lender under any Loan Document, or (e) the validity,
perfection or priority of a Lien in favor of the Collateral Agent for the benefit of the Agents and
the Lenders on Collateral having individually or in the aggregate a fair market value in excess of
$1,000,000.

               “Material Contract” means, with respect to any Borrower, (a) the ABL Credit
Agreement, (b) the First Lien Financing Agreement, and (c) all other contracts or agreements as
to which the breach, nonperformance, cancellation or failure to renew by any party thereto could
reasonably be expected to have a Material Adverse Effect.


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              “Material Indebtedness” means Indebtedness in an aggregate principal amount of
$2,000,000 or more.

               “Moody’s” means Moody’s Investors Service, Inc. and any successor thereto.

               “Mortgage” means a mortgage (including, without limitation, a leasehold
mortgage), deed of trust or deed to secure debt, in form and substance satisfactory to the Collateral
Agent, made by a Loan Party in favor of the Collateral Agent for the benefit of the Agents and the
Lenders, securing the Obligations and delivered to the Collateral Agent.

               “Multiemployer Plan” means a “multiemployer plan” as defined in Section
4001(a)(3) of ERISA to which any Loan Party or any of its ERISA Affiliates has contributed, or
has been obligated to contribute, to or had any liability at any time during the preceding 6 years.

                 “Net Cash Proceeds” means, with respect to, any issuance or incurrence of any
Indebtedness, any Disposition or the receipt of any Extraordinary Receipts by any Person or any
of its Subsidiaries, the aggregate amount of cash received (directly or indirectly) from time to time
(whether as initial consideration or through the payment or disposition of deferred consideration)
by or on behalf of such Person or such Subsidiary, in connection therewith after deducting
therefrom only (a) in the case of any Disposition or the receipt of any Extraordinary Receipts
consisting of insurance proceeds or condemnation awards, the amount of any Indebtedness secured
by any Permitted Lien on any asset (other than Indebtedness assumed by the purchaser of such
asset) which is required to be, and is, repaid in connection therewith (other than Indebtedness under
this Agreement), (b) reasonable expenses related thereto incurred by such Person or such
Subsidiary in connection therewith, (c) transfer taxes paid or payable to any taxing authorities by
such Person or such Subsidiary in connection therewith, and (d) net income taxes paid or payable
in connection therewith (after taking into account any tax credits or deductions and any tax sharing
arrangements), in each case, to the extent, but only to the extent, that the amounts so deducted are
(i) actually paid to a Person that, except in the case of reasonable out-of-pocket expenses, is not an
Affiliate of such Person or any of its Subsidiaries and (ii) properly attributable to such transaction
or to the asset that is the subject thereof.

                “New Facility” has the meaning specified therefor in Section 7.01(m).

               “New Lending Office” has the meaning specified therefor in Section 2.09(e).

               “Non-Funded Debt” has the meaning specified therefor in Section 1.04(b)(ii).

               “Non-U.S. Lender” has the meaning specified therefor in Section 2.09(e).

               “Notice of Borrowing” has the meaning specified therefor in Section 2.02(a).

               “Obligations” means all present and future indebtedness, obligations, and liabilities
of each Loan Party to the Agents and the Lenders arising under or in connection with this
Agreement or any other Loan Document, whether or not the right of payment in respect of such
claim is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, disputed,
undisputed, legal, equitable, secured, unsecured, and whether or not such claim is discharged,

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stayed or otherwise affected by any proceeding referred to in Section 9.01. Without limiting the
generality of the foregoing, the Obligations of each Loan Party under the Loan Documents include
(a) the obligation (irrespective of whether a claim therefor is allowed in an Insolvency Proceeding)
to pay principal, interest, charges, expenses, fees, premiums (including the Applicable Premium),
attorneys’ fees and disbursements, indemnities and other amounts payable by such Person under
the Loan Documents, and (b) the obligation of such Person to reimburse any amount in respect of
any of the foregoing that any Agent or any Lender (in its sole discretion) may elect to pay or
advance on behalf of such Person.

                 “OFAC Sanctions Programs” means (a) the Requirements of Law and Executive
Orders administered by OFAC, including, without limitation, Executive Order No. 13224, and
(c) the list of Specially Designated Nationals and Blocked Persons administered by OFAC, in each
case, as renewed, extended, amended, or replaced.

                “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as
a result of a present or former connection between such Recipient and the jurisdiction imposing
such Tax (other than connections arising from such Recipient having executed, delivered, become
a party to, performed its obligations under, received payments under, received or perfected a
security interest under, engaged in any other transaction pursuant to or enforced any Loan
Document, or sold or assigned an interest in any Loan or Loan Document).

                “Other Taxes” means all present or future stamp, court or documentary, intangible,
recording, filing or similar Taxes that arise from any payment made under, from the execution,
delivery, performance, enforcement or registration of, from the receipt or perfection of a security
interest under, or otherwise with respect to, any Loan Document.

                 “paid in kind”, “payable in kind”, and “payment in kind” (as applicable) means,
(a) as used with respect to the payment of any interest, that such interest shall be paid in the form
of PIK Interest instead of in cash, and (b) as used with respect to the payment of any fees or other
amount hereunder, that such amount shall be paid in the form of additional Loan principal,
capitalized on the applicable payment date in a manner implemented by the Administrative Agent
in accordance with its customary practices or as contemplated pursuant to the definition of PIK
Interest (with the provisions thereof being construed for this purpose to apply to fees or such other
amount instead of to interest).

                “Parent” has the meaning specified therefor in the preamble hereto.

               “Parent Common Equity” means common equity interests issued by the Parent and
constituting New Common Equity (as defined in the RSA).

              “Parent Company Agreement” means the Limited Liability Company
Agreement of Parent dated as of [___], 2021, as amended or modified from time to time in
accordance with such agreement and this Agreement.

              “Parent Preferred Equity” means, collectively, Parent Senior Preferred Equity
and Parent Junior Preferred Equity.

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                “Parent Junior Preferred Equity” means Series B junior preferred equity interests
issued by the Parent as of the Effective Date to certain Goldman Persons and BSP Persons in
accordance with the Restructuring Transactions and constituting [New Junior Preferred Equity
(as defined in the RSA)].

               “Parent Senior Preferred Equity” means Series A senior preferred equity interests
issued by the Parent as of the Effective Date to certain Goldman Persons in accordance with the
Restructuring Transactions and constituting [New Senior Preferred Equity (as defined in the
RSA)].

               “Participant Register” has the meaning specified therefor in Section 12.07(i).

               “Payment Office” means the office or offices of the Administrative Agent as may
be designated in writing from time to time by the Administrative Agent to the Collateral Agent
and the Administrative Borrower.

               “PBGC” means the Pension Benefit Guaranty Corporation or any successor thereto.

                “Perfection Certificate” means a certificate in form and substance reasonably
satisfactory to the Collateral Agent providing information with respect to the property of each
Loan Party.

               “Permitted Acquisition” means any acquisition (whether by means of a merger,
consolidation or otherwise) of all or substantially all of the Equity Interests of any Person, or all
or substantially all of the assets of (or any division or business line of) any Person by any
Subsidiary of the Parent, to the extent that each of the following conditions shall have been
satisfied:

                      (a)    such acquisition is permitted pursuant to the Parent Company
Agreement or pursuant to any consent of the relevant holders of the equity interests therein in
accordance with the terms thereof;

                      (b)   no Event of Default shall have occurred and be continuing or would
result from the consummation of the proposed acquisition;

                        (c)    on a pro forma basis, the Total Secured Debt Leverage Ratio shall
not exceed 5.50:1.00;

                       (d)     the assets being acquired (other than a de minimis amount of assets
in relation to the Loan Parties’ and their Subsidiaries’ total assets) shall constitute Collateral, or
the Person whose Equity Interests are being acquired shall become a Guarantor;

                       (e)     with respect to an acquisition in excess of $2,000,000, the
Borrower shall have delivered to the Administrative Agent and the Lenders, at least ten Business
Days prior to the date on which any such acquisition is to be consummated (or such shorter period
as the Administrative Agent may agree) (1) a summary description of such acquisition, (2) to the
extent prepared and available, a quality of earnings report from an accounting firm of recognized

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standing or another third party firm reasonably acceptable to the Administrative Agent, (3) to the
extent prepared and available, a due diligence package, including all insurance policies (if
applicable) and to the extent provided to the Borrower by the target, historical financial statements
including audited financial statements of the target, for the two fiscal years most recently ended,
consisting of balance sheets and the related aggregated statements of income, stockholders’ equity
and cash flows for such fiscal year, any environmental reports (if applicable) prepared by, or on
behalf of, the target, (4) drafts of the acquisition documents, together with related disclosure
schedules, and following consummation of the acquisition executed copies of all such acquisition
documents and (c) all documentation and other information required under applicable “know your
customer” and anti-terrorism and anti-money laundering Laws requested in writing to the
Borrower by the Administrative Agent with respect to the target and its Subsidiaries; and

                      (f)     the Purchase Price payable in respect of such acquisition, along with
all other Permitted Acquisitions, shall not exceed $10,000,000 in the aggregate.

                “Permitted Capital Expenditures” means the following Capital Expenditures by the
Borrowers and/or any of their Subsidiaries: (a) Capital Expenditures and other projects designated
in the business plan delivered by the Borrowers to the Agents as of the Effective Date, as modified
and supplemented pursuant to any supplement, amendment, restatement or replacement of such
business plan from time to time with the consent of the Administrative Agent (acting at the
direction of Required BSP Lenders and Required Goldman Lenders (or, if no such Lenders exist,
the Required Lenders)), (b) Capital Expenditures and other projects consented to from time to time
by the Administrative Agent (acting at the direction of Required BSP Lenders and Required
Goldman Lenders (or, if no such Lenders exist, the Required Lenders)), (c) Capital Expenditures
and other projects approved by the board of the Parent upon recommendation of an independent
financial advisor or consultant (reasonably satisfactory to the Required Lenders) and consented to
by the Required Lenders, including to the extent necessary or desirable to preserve valuation in
the business, and (d) incidental Capital Expenditures and other Capital Expenditures arising in the
ordinary course of business (including telephone, computer and other types of IT and
communications equipment and other electronics used by officers and employees) in an aggregate
amount not to exceed $5 million in any twelve fiscal month period).

               “Permitted Cure Equity” means Qualified Equity Interests of the Parent.

               “Permitted Disposition” means:

               (a)     sale of Inventory in the ordinary course of business;

              (b)     licensing, on a non-exclusive basis, Intellectual Property rights in the
ordinary course of business;

               (c)     leasing or subleasing assets for fair market value in the ordinary course of
business;

               (d)     (i) the lapse of Registered Intellectual Property of the Parent or any of its
Subsidiaries to the extent not economically desirable in the conduct of their business or (ii) the
abandonment of Intellectual Property rights in the ordinary course of business so long as (in each
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case under clauses (i) and (ii)), (A) with respect to copyrights, such copyrights are not material
revenue generating copyrights, and (B) such lapse is not materially adverse to the interests of the
Secured Parties;

               (e)     any involuntary loss, damage or destruction of property;

              (f)    any involuntary condemnation, seizure or taking, by exercise of the power
of eminent domain or otherwise, or confiscation or requisition of use of property;

                (g)     so long as no Event of Default has occurred and is continuing or would
result therefrom, transfers of assets from the Parent or any of its Subsidiaries to a Loan Party (other
than the Parent);

              (h)     Disposition for fair market value of obsolete or worn-out equipment in the
ordinary course of business; and

                (i)     Disposition of property or assets not otherwise permitted in clauses (a)
through (h) above for cash in an aggregate amount not less than the fair market value of such
property or assets; provided, that the Net Cash Proceeds of such Dispositions pursuant to this
clause (i) (including the proposed Disposition) (1) do not exceed $1,000,000 in the aggregate in
any Fiscal Year and (2) in all cases, are paid to the Administrative Agent for the benefit of the
Agents and the Lenders to the extent required pursuant to the terms of Section 2.05(c)(ii) or applied
as provided in Section 2.05(c)(vi).

                “Permitted Holder” means any BSP Person, any group (within the meaning of Rules
13d-3 and 13d-5 under the Exchange Act) of which any of the BSP Persons are members as of the
Effective Date and any other Person that is an equity holder of Parent as of the Effective Date,
together with its Controlled Affiliates.

               “Permitted Indebtedness” means:

               (a)   any Indebtedness owing to any Agent or any Lender under this Agreement
and the other Loan Documents;

              (b)    any other Indebtedness listed on Schedule 7.02(b), and any Permitted
Refinancing Indebtedness in respect of such Indebtedness;

               (c)    Permitted Purchase Money Indebtedness, and any Permitted Refinancing
Indebtedness in respect of such Indebtedness;

               (d)     Permitted Intercompany Investments;

              (e)     Indebtedness incurred in the ordinary course of business under
performance, surety, statutory, and appeal bonds;

               (f)      any Indebtedness owed to any Person providing property, casualty, liability,
or other insurance to the Loan Parties, so long as the amount of such Indebtedness is not in excess
of the amount of the unpaid cost of, and shall be incurred only to defer the cost of, such insurance
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for the period in which such Indebtedness is incurred and such Indebtedness is outstanding only
during such period;

              (g)     the incurrence by any Loan Party of Indebtedness under Hedging
Agreements that are incurred for the bona fide purpose of hedging the interest rate, commodity, or
foreign currency risks associated with such Loan Party’s operations and not for speculative
purposes;

                (h)     Indebtedness incurred in respect of credit cards, credit card processing
services, debit cards, stored value cards, purchase cards (including so-called “procurement cards”
or “P-cards”) or other similar cash management services, in each case, incurred in the ordinary
course of business;

           (i)   ABL Indebtedness in an aggregate principal amount not exceeding the
[“Maximum ABL Obligations”] as defined in the ABL/Term Intercreditor Agreement;

                 (j)    Indebtedness of the Parent in respect of Parent Preferred Equity; provided
that if the Parent Preferred Equity is converted into unsecured Indebtedness in accordance with the
Parent Company Agreement, such Indebtedness shall be subordinated in right of payment pursuant
to a subordination agreement on terms acceptable to the Required Lenders;

              (k)     Subordinated Indebtedness of the of the Loan Parties in an aggregate
principal amount not exceeding $5,000,000 at any time outstanding;

                 (l)     other unsecured Indebtedness in an aggregate principal amount not
exceeding $1,000,000 at any time outstanding (including any such Indebtedness owing to any
Seller that is incurred in connection with the consummation of one or more Permitted Acquisitions
(including, without limitation, obligations under earn-out agreements and similar deferred
purchase arrangements));

              (m)     First Lien Indebtedness in an aggregate principal amount outstanding at any
time not exceeding the amount permitted under the Term Intercreditor Agreement;

               (n)     [reserved];

               (o)   any Indebtedness of any of the Loan Parties or any of their Subsidiaries
constituting Non-Funded Debt; and

                (p)      all Non-Funded Debt arising in connection with each and any of the
following: (i) the Obligations or the Loan Documents, and/or (ii) any obligations under the ABL
Credit Facility, the First Lien Credit Facility, any Parent Preferred Equity and/or any debt or equity
incurred in accordance with this Agreement and the Parent Company Agreement (including
pursuant to any consent thereunder by the requisite holders of the Parent Common Equity and
Parent Preferred Equity).

                “Permitted Intercompany Investments” means Investments made by (a) a Loan
Party to or in another Loan Party (other than the Parent), (b) a Subsidiary that is not a Loan Party
to or in another Subsidiary that is not a Loan Party, (c) a Subsidiary that is not a Loan Party to or
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in a Loan Party (other than the Parent), so long as, in the case of a loan or advance, the parties
thereto are party to the Intercompany Subordination Agreement, and (d) a Loan Party to or in a
Subsidiary that is not a Loan Party so long as (i) the aggregate amount of all such Investments
made by the Loan Parties to or in Subsidiaries that are not Loan Parties does not exceed $2,500,000
at any time outstanding, (ii) no Default or Event of Default has occurred and is continuing either
before or after giving effect to such Investment, and (iii) the Borrowers’ Liquidity is not less than
$5,000,000 after giving effect to such Investment.

               “Permitted Investments” means:

               (a)     Investments in cash and Cash Equivalents;

                (b)    Investments in negotiable instruments deposited or to be deposited for
collection in the ordinary course of business;

              (c)     advances made in connection with purchases of goods or services in the
ordinary course of business;

                (d)     Investments received in settlement of amounts due to any Loan Party or any
of its Subsidiaries effected in the ordinary course of business or owing to any Loan Party or any
of its Subsidiaries as a result of Insolvency Proceedings involving an Account Debtor or upon the
foreclosure or enforcement of any Lien in favor of a Loan Party or its Subsidiaries;

               (e)     Investments existing on the date hereof, as set forth on Schedule 7.02(e)
hereto, but not any increase in the amount thereof as set forth in such Schedule or any other
modification of the terms thereof;

               (f)     Permitted Intercompany Investments;

               (g)     loans or advances made to any officers or employees of Parent or its
Subsidiaries not to exceed $100,000 individually and $200,000 in the aggregate at any time
outstanding, so long as such loans are repaid by the applicable employee within one (1) year
following the date of the making of such loan or advance or such other date as may be consented
to by the Administrative Agent;

               (h)    so long as no Default or Event of Default has occurred and is continuing or
would result therefrom, any other Investments in an aggregate amount not to exceed $1,000,000
at any time outstanding; and

               (i)     Permitted Acquisitions.

               “Permitted Liens” means:

               (a)     Liens securing the Obligations;

               (b)     Liens for taxes, assessments and governmental charges the payment of
which is not required under Section 7.01(c)(ii);

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               (c)     Liens imposed by law, such as carriers’, warehousemen’s, mechanics’,
materialmen’s and other similar Liens arising in the ordinary course of business and securing
obligations (other than Indebtedness for borrowed money) that are not overdue by more than 30
days or are being contested in good faith and by appropriate proceedings promptly initiated and
diligently conducted, and a reserve or other appropriate provision, if any, as shall be required by
GAAP shall have been made therefor;

               (d)    Liens described on Schedule 7.02(a), provided that any such Lien shall only
secure the Indebtedness that it secures on the Effective Date and any Permitted Refinancing
Indebtedness in respect thereof;

               (e)     purchase money Liens on equipment acquired or held by any Loan Party or
any of its Subsidiaries in the ordinary course of its business to secure Permitted Purchase Money
Indebtedness so long as such Lien only (i) attaches to such property and (ii) secures the
Indebtedness that was incurred to acquire such property or any Permitted Refinancing
Indebtedness in respect thereof;

                 (f)    deposits and pledges of cash securing (i) obligations incurred in respect of
workers’ compensation, unemployment insurance or other forms of governmental insurance or
benefits, (ii) the performance of bids, tenders, leases, contracts (other than for the payment of
money) and statutory obligations or (iii) obligations on surety or appeal bonds, but only to the
extent such deposits or pledges are made or otherwise arise in the ordinary course of business and
secure obligations not past due;

                (g)    with respect to any Facility, easements, zoning restrictions and similar
encumbrances on real property and minor irregularities in the title thereto that do not (i) secure
obligations for the payment of money or (ii) materially impair the value of such property or its use
by any Loan Party or any of its Subsidiaries in the normal conduct of such Person’s business;

                 (h)   Liens of landlords and mortgagees of landlords (i) arising by statute or
under any lease or related Contractual Obligation entered into in the ordinary course of business,
(ii) on fixtures and movable tangible property located on the real property leased or subleased from
such landlord, or (iii) for amounts not yet due or that are being contested in good faith by
appropriate proceedings diligently conducted and for which adequate reserves or other appropriate
provisions are maintained on the books of such Person in accordance with GAAP;

               (i)     the title and interest of a lessor or sublessor in and to personal property
leased or subleased (other than through a Capitalized Lease), in each case extending only to such
personal property;

               (j)     non-exclusive licenses of Intellectual Property rights in the ordinary course
of business;

              (k)     judgment liens (other than for the payment of taxes, assessments or other
governmental charges) securing judgments and other proceedings not constituting an Event of
Default under Section 9.01(j);

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               (l)     rights of set-off or bankers’ liens upon deposits of cash in favor of banks or
other depository institutions, solely to the extent incurred in connection with the maintenance of
such deposit accounts in the ordinary course of business;

              (m)     Liens granted in the ordinary course of business on the unearned portion of
insurance premiums securing the financing of insurance premiums to the extent the financing is
permitted under the definition of Permitted Indebtedness;

               (n)   Liens securing (i) ABL Indebtedness constituting Permitted Indebtedness,
so long as such Liens are subject to the ABL/Term Intercreditor Agreement, and (ii) First Lien
Indebtedness constituting Permitted Indebtedness, so long as such Liens are subject to the
Intercreditor Agreements;

                (o)   Liens granted in the ordinary course of business to secure any Loan Party’s
contingent obligations in connection with any performance, surety, statutory or appeal bonds
(which Liens shall not include any Liens on or pledges of the Equity Interests of any Loan Party
or its Subsidiaries);

                (p)    other Liens which do not secure Indebtedness for borrowed money or letters
of credit and as to which the aggregate amount of the obligations secured thereby does not exceed
$1,000,000;

               (q)     [reserved]; and

              (r)    Liens securing Non-Funded Debt pursuant to clause (p) of the definition of
“Permitted Indebtedness”.

                “Permitted Purchase Money Indebtedness” means, as of any date of determination,
Indebtedness (other than the Obligations, but including Capitalized Lease Obligations) incurred to
finance the acquisition of any fixed assets secured by a Lien permitted under clause (e) of the
definition of “Permitted Liens”; provided that (a) such Indebtedness is incurred within 270 days
after such acquisition, (b) such Indebtedness when incurred shall not exceed the purchase price of
the asset financed and (c) the aggregate principal amount of all such Indebtedness shall not exceed
$5,000,000 at any time outstanding.

               “Permitted Refinancing Indebtedness” means the extension of maturity,
refinancing or modification of the terms of Indebtedness so long as:

              (a)     after giving effect to such extension, refinancing or modification, the
amount of such Indebtedness is not greater than the amount of Indebtedness outstanding
immediately prior to such extension, refinancing or modification (other than by the amount of
premiums paid thereon and the fees and expenses incurred in connection therewith and by the
amount of unfunded commitments with respect thereto);

                 (b)    such extension, refinancing or modification has an average life to maturity
that is greater than that of the Indebtedness so extended, refinanced or modified;


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                (c)    such extension, refinancing or modification is pursuant to terms that are not
less favorable to the Loan Parties and the Lenders than the terms of the Indebtedness (including,
without limitation, terms relating to the collateral (if any) and subordination (if any)) being
extended, refinanced or modified; and

              (d)    the Indebtedness that is extended, refinanced or modified is not recourse to
any Loan Party or any of its Subsidiaries that is liable on account of the obligations other than
those Persons which were obligated with respect to the Indebtedness that was refinanced, renewed,
or extended.

       “Permitted Restricted Payments” means any of the following Restricted Payments made
by:

                (a)    the Parent (and any Subsidiary of the Parent to the Parent to enable the
Parent) to (i) pay customary expenses as and when due and owing by the Parent or any holding
company thereof in the ordinary course of its business as a holding company (including salaries
and related reasonable and customary expenses incurred by employees of the Parent or such
holding company) in an aggregate amount not to exceed $[550,000] in any Fiscal Year and (ii)
make Tax Distributions to its direct or indirect equityholders;

               (b)     any Subsidiary of any Borrower to Borrower;

              (c)     the Parent (and any Subsidiary of Parent to pay such amounts to the Parent)
to make quarterly cash interest (or dividend) payments in respect of Parent Preferred Equity in
accordance with the terms of the Parent Company Agreement (as in effect as of the Effective Date
unless Goldman Lenders (or an Affiliate or Related Fund thereof) own the applicable Parent
Preferred Equity as of such date), so long as, both before and after giving effect to any such
payment, no Default or Event of Default shall have occurred and be continuing;

             (d)    the Parent (and any Subsidiary of Parent to pay such amounts to the Parent)
to redeem or repurchase Parent Preferred Equity in accordance with the terms of the Parent
Company Agreement;

               (e)     the Parent to pay dividends in the form of common Equity Interests;

                (f)    the Parent (and any Subsidiary of Parent to pay such amounts to the Parent)
to pay (i) fees and expenses due and payable to (a) any Person pursuant to the BSP Management
Consulting Agreement (including the BSP Management Fee) as in effect on the Effective Date
(and with respect of any modifications of payment terms or amounts after the Effective Date, as
otherwise consented to by the Required BSP Lenders and Required Goldman Lenders), in each
case, in such amounts and on such terms as set forth in, or as determined in accordance with, the
BSP Management Consulting Agreement, (b) [Jim Eckstaedt] pursuant to the [ ], as in effect on
the Effective Date, and (c) [Riveron] pursuant to the [ ], as in effect on the Effective Date and (ii)
fees and expenses payable to any Person pursuant to any other management, consultancy or similar
agreement or arrangement in effect at any time; provided, that the aggregate amount of Restricted
Payments permitted to be made in any fiscal quarter in reliance on this clause (ii) shall not exceed
$[55,000]; provided, however, that, notwithstanding the foregoing, if the aggregate amount of
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Restricted Payments made in any fiscal quarter under this clause (ii) is less than $[55,000], the
difference shall be permitted to be carried forward and may, at the Parent’s election, be paid in any
subsequent fiscal quarter(s)) (in addition to any amounts permitted to be paid in such fiscal quarter
directly in reliance on this clause (ii)); provided, further, that no Restricted Payments shall be paid
in reliance on this clause (ii) in cash in any fiscal quarter unless, both before and after giving effect
to any such payment, no Event of Default shall have occurred and be continuing (provided, that,
to the extent that any such amount is not permitted to be paid in cash at any time as a result of the
foregoing, such amount shall accrue notwithstanding the occurrence and continuance of any Event
of Default, and all such accrued amounts shall be permitted to be paid in cash as of such time as
such Event of Default is no longer continuing, or as of such time that the Required Lenders shall
waive or consent to a forbearance with respect thereto, as the case may be);

                (g)      the Parent (and any Subsidiary of Parent to pay such amounts to the Parent)
to repurchase Parent Preferred Equity or Parent Common Equity from time to time, and on one or
more occasions, in each case, from present or former directors, officers, employees and other
related parties (or their respective spouses, ex-spouses or estates) of any Loan Party or Subsidiary
thereof upon the death, disability, retirement, severance or termination of service of such director,
officer or employee, so long as both before and after giving effect to any cash payment in respect
thereof, no Event of Default shall have occurred and be continuing; provided, that, the aggregate
amount of Restricted Payments permitted to be made in any Fiscal Year in reliance on this clause
(g) shall not exceed $2,000,000 in such Fiscal Year; provided, further, that amounts referred to
herein shall accrue during, and notwithstanding the occurrence and continuance of, any Event of
Default, and all such accrued amounts shall be permitted to be paid in cash as of such time as such
Event of Default is no longer continuing, or as of such time that the Required Lenders shall waive
or consent to a forbearance with respect thereto, as the case may; and

               (h)    the Parent (and any Subsidiary of Parent to pay such amounts to the Parent)
to make any Restricted Payments authorized or permitted pursuant to or in accordance with the
Parent Company Agreement as in effect as of the Effective Date (unless Goldman Lenders (or an
Affiliate or Related Fund thereof) own the applicable Parent Preferred Equity as of such date)
(subject to compliance with the conditions thereunder (if any) relating to consent rights (if any) of
any BSP Person and/or any Goldman Person, if applicable).

Notwithstanding anything to the contrary herein, if any Parent Preferred Equity is converted to
Indebtedness in accordance with the Parent Company Agreement, then any reference to Parent
Preferred Equity in this definition shall include such Parent Preferred Equity as converted.

               “Permitted Specified Liens” means Permitted Liens described in clauses (a), (b),
(c) and (n) of the definition of Permitted Liens, and, solely in the case of Section 7.01(b)(i),
including clauses (g), (h) and (i) of the definition of Permitted Liens.

                “Person” means an individual, corporation, limited liability company, partnership,
association, joint-stock company, trust, unincorporated organization, joint venture or other
enterprise or entity or Governmental Authority.



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               “Petty Cash Accounts” means Cash Management Accounts with deposits at any
time in an aggregate amount not in excess of $50,000 for any one account and $250,000 in the
aggregate for all such accounts.

              “Philippines Account” means any deposit account or other bank account
maintained by GC Services International LLC that is located in the Philippines.

                 “PIK Interest” means, when used with respect to any interest accruing on any
unpaid principal of any Loan, which is due and payable pursuant hereto on a Regular Interest
Payment Date in the amount accrued and unpaid as of such time, that such interest in such amount
shall not be required to be paid on such Regular Interest Payment Date in the form of cash, but,
shall instead be permitted to be paid in the form of additional principal of such Loan, in an amount
equal to the amount of the applicable interest payment due at such time, which payment shall be
deemed made automatically (without any requirement for any Loan Party, Agent or any other
Person to take any action or cause anything to occur) at 12:01 a.m. (New York City time) on the
applicable Regular Interest Payment Date, it being agreed that such payment shall occur (and shall
be deemed to occur) pursuant to the amount of such interest payment being deemed automatically
capitalized and compounded onto, and treated as added to, the aggregate principal amount of such
Loans outstanding immediately prior to such Regular Interest Payment Date and payment of such
PIK Interest (and, accordingly, such payment shall also be deemed to be an automatic concurrent
incurrence by the Borrowers of the applicable additional principal amount of such Loans and
Obligations with respect thereto, but without any requirement to deliver any Notice of Borrowing
with respect to such additional Loans, or to comply with any condition precedent that otherwise
applies to the Borrowing of any Loans hereunder from the Lenders). For the avoidance of doubt,
upon payment of any PIK Interest on any Loans, interest accruing on such Loans as of the time of
such payment shall be calculated on the basis of the aggregate principal amount of such Loans
outstanding as of such time, pro forma for the amount of principal resulting from such payment of
PIK Interest (and the resulting capitalization of the corresponding PIK Interest amount onto the
previously outstanding principal).

               “PIK Interest Payment” has the meaning specified therefor in Section 2.03.

               “PIK Interest Rate” means 18.0% per annum.

                “Plan” means any Employee Plan or Multiemployer Plan.

                [“Plan of Reorganization” has the meaning specified therefor in the RSA.]

                 “Post-Default Rate” means a rate of interest per annum equal to the rate of interest
otherwise in effect from time to time pursuant to the terms of this Agreement plus 2.00%, or, if a
rate of interest is not otherwise in effect, interest at the highest rate specified herein for any Loan
then outstanding prior to an Event of Default plus 2.00%.

                “Pre-Default Payment Waterfall” means, with respect to any payment towards or
on account of any Loan or other Obligation (including any optional or voluntary prepayment, any
mandatory prepayment and otherwise), whether made by any Loan Party or any Agent or other
Person on its behalf, and as relates to any Lender’s right to receive the same, as applicable, pursuant
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to the terms set forth in Section 4.03(a) governing the right to make any such payment, and
prescribing the order in which any such payment is to be applied (including with respect to
application of such payments to respective Lenders), and the other provisions thereof governing
the parties rights and obligations in connection with any such payments.

                 “Prepetition Administrative Borrower” means ORG GC Midco LLC, a Delaware
limited liability company.

               “Prepetition Group” means [ ].

                “Prepetition Loan Parties” means, collectively, the Prepetition Parent, the
Prepetition Administrative Borrower, and certain of the Prepetition Administrative Borrower’s
Subsidiaries party thereto as borrowers and guarantors, as applicable.

               “Prepetition Parent” means ORG GC Holdings, LLC, a Delaware limited liability
company.

                “Prepetition Term Agent” means BSP Agency, as administrative agent and as
collateral agent under the Prepetition Term Financing Agreement.

                 “Prepetition Term Financing Agreement” means that certain Financing Agreement,
dated as of July 31, 2017 (as amended by that certain First Amendment to Financing Agreement,
dated as of September 29, 2017, that certain Second Amendment to Financing Agreement, dated
as of June 27, 2019, and as further amended, supplemented or otherwise modified through to, and
as in effect on, the Petition Date), by and among the Prepetition Loan Parties, the Prepetition Term
Lenders and the Prepetition Term Agent.

               “Prepetition Term Lenders” means the Lenders and/or their respective affiliates
who are party to the Prepetition Term Facility Credit Agreement as lenders thereunder.

               “Projections” means the financial projections of the Parent and its Subsidiaries
delivered pursuant to Section 6.01(g)(ii).

                “Pro Rata Share” means a Lender’s obligation to make its Term Loan, and its right
to receive payments of interest, fees, and principal with respect thereto, the percentage obtained
by dividing (x) such Lender’s Term Loan Commitment by (y) the Total Term Loan Commitment;
provided, that, if the Total Term Loan Commitment is zero ($0.00), such percentage shall instead
be obtained by dividing the aggregate then-outstanding unpaid principal amount of such Lender’s
Term Loans by the aggregate then-outstanding unpaid principal amount of all Term Loans;
provided, however, that (A) percentage calculations hereunder shall be carried out to the ninth (9th)
decimal place, and (B) the outstanding or unpaid principal amount of Loans at any time shall
include principal constituting all PIK Interest payments made thereon prior to such time, and shall
be determined in accordance with Section 1.04(c).

                 “Purchase Price” means, with respect to any acquisition, an amount equal to the
sum of (a) the aggregate consideration, whether cash, property or securities (including, without
limitation, the fair market value of any Equity Interests of any Loan Party or any of its Subsidiaries

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issued in connection with such acquisition), paid or delivered by a Loan Party or any of its
Subsidiaries (whether as initial consideration or through the payment or disposition of deferred
consideration, including, without limitation, in the form of seller financing, royalty payments,
payments allocated towards non-compete covenants, payments to principals for consulting
services or other similar payments) in connection with such Acquisition, plus (b) the aggregate
amount of liabilities of the acquired business (net of current assets of the acquired business) that
would be reflected on a balance sheet (if such were to be prepared) of the Parent and its
Subsidiaries after giving effect to such acquisition, plus (c) the aggregate amount of all transaction
fees, costs and expenses incurred by the Parent or any of its Subsidiaries in connection with such
acquisition.

                “Qualified Cash” means, as of any date of determination, the aggregate amount of
unrestricted cash on-hand of the Loan Parties maintained in deposit accounts in the name of a Loan
Party in the United States as of such date, which deposit accounts are subject to Control
Agreements.

              “Qualified Equity Interests” means, with respect to any Person, all Equity Interests
of such Person that are not Disqualified Equity Interests.

              “Rate” refers to the ‘form’ or ‘mechanism’ of the interest rate applicable to any
Indebtedness or other obligation, as the case may be.

              “Real Property Deliverables” means each of the following agreements, instruments
and other documents in respect of each Facility:

               (a)     a Mortgage duly executed by the applicable Loan Party;

              (b)      evidence of the recording of each Mortgage in such office or offices as may
be necessary or, in the opinion of the Collateral Agent, desirable to perfect the Lien purported to
be created thereby or to otherwise protect the rights of the Collateral Agent and the Lenders
thereunder;

               (c)     a Title Insurance Policy with respect to each Mortgage, dated as of the
Effective Date;

                (d)     a current ALTA survey and a surveyor’s certificate, in form and substance
satisfactory to the Collateral Agent, certified to the Collateral Agent and to the issuer of the Title
Insurance Policy with respect thereto by a professional surveyor licensed in the state in which such
Facility is located and satisfactory to the Collateral Agent;

              (e)     in the case of a leasehold interest, a copy of the lease between the landlord
and such Person with respect to such real property in which such Person has a leasehold interest;

              (f)    if available in the jurisdiction(s) in which any Facility is located, a copy of
each letter issued by the applicable Governmental Authority, evidencing each Facility’s
compliance with all applicable building codes, fire codes, other health and safety rules and


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regulations, parking, density and height requirements and other building and zoning laws together
with a copy of all certificates of occupancy issued with respect to each Facility;

              (g)     [reserved];

               (h)    if required by the Collateral Agent, a satisfactory ASTM 1527-00 Phase I
Environmental Site Assessment (“Phase I ESA”) provided by the Borrowers to the Collateral
Agent (and, if requested by the Collateral Agent based upon the results of such Phase I ESA, an
ASTM 1527-00 Phase II Environmental Site Assessment) of each Facility, in form and substance
and by an independent firm satisfactory to the Collateral Agent; and

              (i)    such other agreements, instruments and other documents (including
guarantees and opinions of counsel) as the Collateral Agent may reasonably require.

              “Recipient” means any Agent and any Lender, as applicable.

               “Register” has the meaning specified therefor in Section 12.07(f).

                “Registered Intellectual Property” means Intellectual Property that is issued,
registered, renewed or the subject of a pending application.

              “Registered Loans” has the meaning specified therefor in Section 12.07(f).

             “Regular Interest Payment Date” means the last Business Day of each March, June,
September and December .

              “Regulation T”, “Regulation U” and “Regulation X” mean, respectively,
Regulations T, U and X of the Board or any successor, as the same may be amended or
supplemented from time to time.

               “Related Fund” means, with respect to any Person, any other Person (except a
natural person) that is (a) an Affiliate of such Person, or (b) any partnership, fund or account
managed or advised by such Person (or by an Affiliate of such Person).

                “Release” means any spilling, leaking, pumping, pouring, emitting, emptying,
discharging, injecting, escaping, leaching, seeping, migrating, dumping or disposing of any
Hazardous Material (including the abandonment or discarding of barrels, containers and other
closed receptacles containing any Hazardous Material) into the indoor or outdoor environment,
including, without limitation, the movement of Hazardous Materials through or in the ambient air,
soil, surface or ground water, or property.

              “Relevant Governmental Body” means the Board of Governors of the Federal
Reserve System or the Federal Reserve Bank of New York, or a committee officially endorsed or
convened by the Board of Governors of the Federal Reserve System or the Federal Reserve Bank
of New York, or any successor thereto.

                “Remedial Action” means all actions taken to (a) clean up, remove, remediate,
contain, treat, monitor, assess, evaluate or in any other way address Hazardous Materials in the
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indoor or outdoor environment; (b) prevent or minimize a Release or threatened Release of
Hazardous Materials so they do not migrate or endanger or threaten to endanger public health or
welfare or the indoor or outdoor environment; (c) perform pre-remedial studies and investigations
and post-remedial operation and maintenance activities; or (d) perform any other actions
authorized by 42 U.S.C. § 9601.

               “Replacement Lender” has the meaning specified therefor in Section 12.02(b).

               “Report” has the meaning specified therefor in Section 10.13(a).

              “Reportable Event” means an event described in Section 4043 of ERISA (other
than an event not subject to the provision for 30-day notice to the PBGC under the regulations
promulgated under such Section or for which such provision is waived).

                  “Required BSP/Goldman Lender Consent Expiry Date” refers to the date
determined by the Administrative Agent pursuant to clauses (b) and (c) of the definition of
Required Lenders to be the earliest or first date after the Effective Date as of which no Lender that
is a party hereto at such time constitutes either a Required BSP Lender or a Required Goldman
Lender; provided, that, for the avoidance of doubt, such date shall be deemed to be the same as the
later of (i) the Required BSP Lender Consent Expiry Date and (ii) the Required Goldman Lender
Consent Expiry Date.

               “Required Lenders” means, as of any time of determination, Lenders whose Pro
Rata Shares as of such time aggregate at least 50.1%; provided, however, that:

               (a) Solely to the extent the Suspension Date has not occurred, if the number of
Unaffiliated Lenders holding Effective Date Committed Debt is two (2) or more, then the
“Required Lenders” as of such time shall be required to include at least two (2) Lenders who are
Unaffiliated Lenders at such time;

                (b) during the period commencing on the Effective Date and ending on (and as of)
the first date (the “Required BSP Lender Consent Expiry Date”) that the aggregate amount of
Effective Date Committed Debt held by BSP Lenders who are not Defaulting Lenders represents
less than 34% of all Effective Date Committed Debt held at such time by Lenders who are not
Defaulting Lenders, “Required Lenders” shall be required to include, and consent of Required
Lenders shall not be deemed to have been obtained without the consent of, BSP Lenders who are
not Defaulting Lenders (such BSP Lenders, but only until the Required BSP Lender Consent
Expiry Date, collectively, the “Required BSP Lenders”, and, each individually, a “Required BSP
Lender”); and

                  (c) during the period commencing on the Effective Date and ending on (and as of)
the first date (the “Required Goldman Lender Consent Expiry Date”) that the aggregate amount of
Effective Date Committed Debt held by Goldman Lenders who are not Defaulting Lenders
represents less than 34% of all Effective Date Committed Debt held at such time by Lenders who
are not Defaulting Lenders, “Required Lenders” shall be required to include, and consent of
Required Lenders shall not be deemed to have been obtained without the consent of, Goldman
Lenders who are not Defaulting Lenders (such Goldman Lenders, but only until the Required
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Goldman Lender Consent Expiry Date, collectively, the “Required Goldman Lenders”, and, each
individually, a “Required Goldman Lender”).

                 “Requirements of Law” means, with respect to any Person, collectively, the
common law and all federal, state, provincial, local, foreign, multinational or international laws,
statutes, codes, treaties, standards, rules and regulations, guidelines, ordinances, orders,
judgments, writs, injunctions, decrees (including administrative or judicial precedents or
authorities) and the interpretation or administration thereof by, and other determinations,
directives, requirements or requests of, any Governmental Authority, in each case that are
applicable to or binding upon such Person or any of its property or to which such Person or any of
its property is subject.

               “Resignation Effective Date” has the meaning specified therefor in Section 10.07.

                  “Reserve Percentage” means, on any day, for any Lender, the maximum percentage
prescribed by the Board (or any successor Governmental Authority) for determining the reserve
requirements (including any basic, supplemental, marginal, or emergency reserves) that are in
effect on such date with respect to eurocurrency funding (currently referred to as “eurocurrency
liabilities”) of that Lender, but so long as such Lender is not required or directed under applicable
regulations to maintain such reserves, the Reserve Percentage shall be zero.

                 “Restricted Payment” means (a) the declaration or payment of any dividend or other
distribution, direct or indirect, on account of any Equity Interests of any Loan Party or any of its
Subsidiaries, now or hereafter outstanding, (b) the making of any repurchase, redemption,
retirement, defeasance, sinking fund or similar payment, purchase or other acquisition for value,
direct or indirect, of any Equity Interests of any Loan Party, any Subsidiary thereof or any direct
or indirect parent of any Loan Party, now or hereafter outstanding, (c) the making of any payment
to retire, or to obtain the surrender of, any outstanding warrants, options or other rights for the
purchase or acquisition of shares of any class of Equity Interests of any Loan Party or any of its
Subsidiaries, now or hereafter outstanding, (d) the return of any Equity Interests to any
shareholders or other equity holders of any Loan Party or any of its Subsidiaries, or make any other
distribution of property, assets, shares of Equity Interests, warrants, rights, options, obligations or
securities thereto as such or (e) the payment of any management, consulting, monitoring or
advisory fees or any other fees or expenses (including the reimbursement thereof by any Loan
Party or any of its Subsidiaries) pursuant to any management, consulting, monitoring, advisory or
other services agreement to any of the shareholders or other equityholders of any Loan Party or
any of its Subsidiaries or other Affiliates, or to any other Subsidiaries or Affiliates of any Loan
Party, but not including payments to employees in the ordinary course of business in accordance
with the Loan Parties’ regular payroll or employment practices or otherwise pursuant to
employment agreements entered into with such employees.

              “Restructuring Documents” means, collectively, the RSA, the Plan of
Reorganization, the Chapter 11 Plan Confirmation Order, and any and all other agreements, orders,
documents or instruments relating to the Restructuring Transactions.



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               “Restructuring Transactions” means any and all restructuring, recapitalization and
other transactions relating to the Prepetition Group described in the Restructuring Documents,
together with any and all other transactions consummated in connection therewith.

               “RSA” means that certain Restructuring Support Agreement, dated as of [____],
2021 (together with all annexes, exhibits and other attachments thereto), by and among the
Prepetition Group, certain of the Prepetition Administrative Borrower’s Affiliates, the Prepetition
Term Agent, the Prepetition Term Lenders and certain other persons.

               “Sale and Leaseback Transaction” means, with respect to the Parent or any of its
Subsidiaries, any arrangement, directly or indirectly, with any Person whereby the Parent or any
of its Subsidiaries shall sell or transfer any property used or useful in its business, whether now
owned or hereafter acquired, and thereafter rent or lease such property or other property that it
intends to use for substantially the same purpose or purposes as the property being sold or
transferred.

              “SEC” means the Securities and Exchange Commission or any other similar or
successor agency of the Federal government administering the Securities Act.

               “Secured Party” means any Agent and any Lender.

               “Securities Act” means the Securities Act of 1933, as amended, or any similar
Federal statute, and the rules and regulations of the SEC thereunder, all as the same shall be in
effect from time to time.

               “Securitization” has the meaning specified therefor in Section 12.07(l).

               “Security Agreement” means a Pledge and Security Agreement, in form and
substance satisfactory to the Collateral Agent, made by a Loan Party in favor of the Collateral
Agent for the benefit of the Secured Parties securing the Obligations.

               “Senior Lien Debt” means, collectively, the principal of (a) all First Lien
Indebtedness, (b) [all Loans that are secured on a senior basis by a Lien on Collateral] and (c)
outstanding ABL Loans. Unless expressly specified otherwise, references to any Senior Lien Debt
as of any time of determination shall be construed as references to aggregate principal amount
thereof outstanding as of such time.

                 “Solvent” means, with respect to any Person on a particular date, that on such date
(a) the fair value of the property of such Person is not less than the total amount of the liabilities
of such Person, (b) the present fair salable value of the assets of such Person is not less than the
amount that will be required to pay the probable liability of such Person on its existing debts as
they become absolute and matured, (c) such Person is able to realize upon its assets and pay its
debts and other liabilities, contingent obligations and other commitments as they mature in the
normal course of business, (d) such Person does not intend to, and does not believe that it will,
incur debts or liabilities beyond such Person’s ability to pay as such debts and liabilities mature,
and (e) such Person is not engaged in business or a transaction, and is not about to engage in


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business or a transaction, for which such Person’s property would constitute unreasonably small
capital.

               “Specified Event of Default” means any Event of Default pursuant to Section
9.01(a), Section 9.01(f) or Section 9.01(g).

                “Specified Financial Covenant” has the meaning specified therefor in Section 9.02.

            “Standard & Poor’s” means Standard & Poor’s Ratings Services, a division of The
McGraw-Hill Companies, Inc. and any successor thereto.

                 “Subsidiary” means, with respect to any Person at any date, any corporation, limited
or general partnership, limited liability company, trust, estate, association, joint venture or other
business entity (a) the accounts of which would be consolidated with those of such Person in such
Person’s consolidated financial statements if such financial statements were prepared in
accordance with GAAP or (b) of which more than 50% of (i) the outstanding Equity Interests
having (in the absence of contingencies) ordinary voting power to elect a majority of the Board of
Directors of such Person, (ii) in the case of a partnership or limited liability company, the interest
in the capital or profits of such partnership or limited liability company or (iii) in the case of a
trust, estate, association, joint venture or other entity, the beneficial interest in such trust, estate,
association or other entity business is, at the time of determination, owned or controlled directly
or indirectly through one or more intermediaries, by such Person. References to a Subsidiary shall
mean a Subsidiary of the Parent unless the context expressly provides otherwise.

               “Subordinated Indebtedness” means unsecured Indebtedness of any Loan Party the
terms of which (including, without limitation, payment terms, interest rates, covenants, remedies,
defaults and other material terms) are satisfactory to the Collateral Agent and the Required Lenders
and which has been expressly subordinated in right of payment to all Indebtedness of such Loan
Party under the Loan Documents (a) by the execution and delivery of a subordination agreement,
in form and substance satisfactory to the Collateral Agent and Required Lenders, or (b) otherwise
on terms and conditions satisfactory to the Collateral Agent and Required Lenders.

               “Suspension Date” means, and shall be deemed to occur upon, the first date after
the Effective Date that the aggregate amount of Effective Date Committed Debt held by Goldman
Lenders who are not Defaulting Lenders represents less than 17% of all Effective Date Committed
Debt held at such time by Lenders who are not Defaulting Lenders.

                “Tax Distributions” means, for any period that Parent is treated as a pass-through
entity under the Code, distributions made to the holders of Parent’s equity interests at such times
and in such amounts as are permitted under Section 13.1 of the Parent Company Agreement, as in
effect on the date hereof.

               “Taxes” means all present or future taxes, levies, imposts, duties, deductions,
withholdings (including backup withholding), assessments, fees or other charges imposed by any
Governmental Authority, including any interest, additions to tax or penalties applicable thereto.



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                 “Termination Date” means the first date on which all of the Obligations are paid
in full in cash and the Commitments of the Lenders are terminated.

                 “Termination Event” means (a) a Reportable Event with respect to any Employee
Plan, (b) any event with respect to an Employee Plan that causes any Loan Party or any of its
ERISA Affiliates to incur material liability under Section 409, 502(i), 502(l), 515, 4062, 4063,
4064, 4069, 4201, 4204 or 4212 of ERISA or Section 4971 or 4975 of the Internal Revenue Code,
(c) the filing of a notice of intent to terminate an Employee Plan or the treatment of an Employee
Plan amendment as a termination under Section 4041 of ERISA, (d) the institution of proceedings
by the PBGC to terminate an Employee Plan, or (e) any other event or condition that could
reasonably be expected to constitute grounds under Section 4042 of ERISA for the termination of,
or the appointment of a trustee to administer, any Employee Plan.

               “Term Intercreditor Agreement” means the 1L/2L Term Intercreditor Agreement,
dated as of the date hereof, by and among the Collateral Agent and the First Lien Agent, and
acknowledged by the Loan Parties, as amended, restated, amended and restated, supplemented or
otherwise modified from time to time in accordance with the terms thereof.

                “Term Loan Commitment” means, with respect to any Lender the commitment or
obligation (if any) of such Lender to make (or be deemed to make) an Term Loan in the aggregate
principal amount set forth on Schedule 1.01(A) hereto opposite such Lender’s name under the
heading “Term Loan Commitment”; provided, that, for the avoidance of doubt, such Term Loan
Commitment shall be reduced to zero ($0) automatically and immediately upon such Lender being
deemed to make an Term Loan pursuant to Section 2.01.

                “Term Loan Facility” refers to the Term Loan Commitments and Term Loans of
the Lenders hereunder, together with all Obligations in respect thereof, which shall be deemed to
constitute a single credit facility provided to the Borrowers on the terms set forth in this Agreement
and the other Loan Documents.

               “Term Loans” means, collectively, the term loans made (or be deemed to be made)
by the Term Loan Lenders to the Borrowers on the Effective Date pursuant to Section 2.01(a) (and,
each such term loan, a “Term Loan”).

               “Term Loan Lender” means (a) on the Effective Date, each Lender that has an Term
Loan Commitment, as set forth on Schedule 1.01(A) hereof under the heading “Term Loan
Lender”, and (b) as of any time after the Term Loans are made (or deemed made) on the Effective,
each Person that, pursuant to the terms hereof, is Lender holding any Term Loan at such time
(including pursuant to, and upon effectiveness of, an assignment in accordance with Section 12.07
and the other terms hereof); provided, that, a Person shall cease to be an Term Loan Lender
immediately upon such time as such Person shall cease to be an Term Loan Lender or a Lender
(as applicable) in accordance with the terms hereof (including, without limitation, upon an
assignment by such Person of all Term Loans held by it pursuant to an effective Assignment and
Acceptance, and otherwise in accordance with Section 12.07 and the other terms hereof).



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                 “Term Loan Obligations” means any Obligations with respect to the Term Loan
(including, without limitation, the principal thereof, the interest thereon, and the fees and expenses
specifically related thereto).

            “Term Priority Collateral” means “Term Priority Collateral” as defined in the
ABL/Term Intercreditor Agreement.

                 “Title Insurance Policy” means a mortgagee’s loan policy, in form and substance
satisfactory to the Collateral Agent, together with all endorsements made from time to time thereto,
issued to the Collateral Agent by or on behalf of a title insurance company selected by or otherwise
satisfactory to the Collateral Agent, insuring the Lien created by a Mortgage in an amount and on
terms and with such endorsements satisfactory to the Collateral Agent, delivered to the Collateral
Agent.

               “Total Commitment” means, as of any time, the aggregate amount of all
Commitments of all Lenders in effect at such time. For the avoidance of doubt, on the Effective
Date, the Total Commitment is the same as the Total Effective Date Commitment.

               “Total Effective Date Commitment” means an amount equal to sum of the amount
of the Total Term Loan Commitment in effect prior to the time that any Loan is made (calculated
using the Dollar amounts referred to in clause (a) of the definitions of such terms).

                “Total Term Loan Commitment” refers to the sum of the Term Loan Commitments
of all Lenders as of any time, taken as a whole, and means (a) $29,000,000 (until the time that
Term Loans are deemed made on the Effective Date in accordance herewith) or (b) $0.00 (as of,
and at all times after, the Term Loans are made (or deemed to be made) on the Effective Date in
accordance herewith).

                “Total Secured Debt Leverage Ratio” means, with respect to the Borrowers and
their Subsidiaries, the ratio of: (a) (i) the sum of the aggregate amount of the Borrowers’ and their
Subsidiaries’ Senior Lien Debt and the Obligations outstanding as of such time, minus (ii) the
aggregate amount of unrestricted cash and Cash Equivalents maintained by the Loan Parties in an
account located in the United States subject to a Control Agreement not to exceed $5,000,000
(provided that proceeds of any borrowing on such date shall be excluded from unrestricted cash
and Cash Equivalents) to (b) Consolidated EBITDA for the most recently completed four fiscal
quarters of the Borrowers for which financial statements have been furnished pursuant to Section
7.01(a).

                “Total Senior Lien Leverage Ratio” means, with respect to the Borrowers and their
Subsidiaries (if used in connection with (x) the determination of the Applicable ECF Percentage,
for the 12 consecutive fiscal months ending on the applicable measurement date, and (y) any other
matter, as of the last Business Day of the full fiscal quarter ending immediately prior to the
applicable date of determination for which financial statements have been delivered) the ratio of
(a) (i) the aggregate amount of the Borrowers’ Senior Lien Debt of the Borrowers and their
Subsidiaries outstanding as of such time, minus (ii) the aggregate amount of unrestricted cash and
Cash Equivalents maintained by the Loan Parties in an account located in the United States subject
to a Control Agreement not to exceed $5,000,000 (provided that proceeds of any borrowing on
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such date shall be excluded from unrestricted cash and Cash Equivalents) to (b) Consolidated
EBITDA for the most recently completed four fiscal quarters of the Borrowers for which financial
statements have been furnished pursuant to Section 7.01(a).

                “Transferee” has the meaning specified therefor in Section 2.09(a).

               “UK Act” has the meaning specified therefor in Section 6.01(aa).

              “Unaffiliated Lenders” means, as used with respect to a group of Lenders, Lenders
in such group who are not Affiliates, Controlled Investment Affiliates or Related Funds of one
another.

                “Uniform Commercial Code” or “UCC” has the meaning specified therefor in
Section 1.04(c).

               “USA PATRIOT Act” means the Uniting and Strengthening America by Providing
Appropriate Tools Required to Intercept and Obstruct Terrorism (PATRIOT) Act of 2001 (Title
III of Pub. L. 107-56, Oct. 26, 2001)) as amended by the USA Patriot Improvement and
Reauthorization Act of 2005 (Pub. L. 109-177, March 9, 2006) and as the same may have been or
may be further renewed, extended, amended, or replaced.

              “U.S. Person” means any Person that is a “United States Person” as defined in
Section 7701(a)(30) of the Code.

               “WARN” has the meaning specified therefor in Section 6.01(p).

               “Withholding Agent” means any Loan Party and the Administrative Agent.

                “Working Capital” means, at any date of determination thereof, (a) the sum, for any
Person and its Subsidiaries, of (i) the unpaid face amount of all Accounts of such Person and its
Subsidiaries as at such date of determination, plus (ii) the aggregate amount of prepaid expenses
and other current assets of such Person and its Subsidiaries as at such date of determination (other
than cash, Cash Equivalents and any Indebtedness owing to such Person or any of its Subsidiaries
by Affiliates of such Person), minus (b) the sum, for such Person and its Subsidiaries, of (i) the
unpaid amount of all accounts payable of such Person and its Subsidiaries as at such date of
determination, plus (ii) the aggregate amount of all accrued expenses of such Person and its
Subsidiaries as at such date of determination (other than the current portion of long-term debt and
all accrued interest and taxes).

                Section 1.02 Terms Generally. The definitions of terms herein shall apply
equally to the singular and plural forms of the terms defined. Whenever the context may require,
any pronoun shall include the corresponding masculine, feminine and neuter forms. The words
“include”, “includes” and “including” shall be deemed to be followed by the phrase “without
limitation”. The word “will” shall be construed to have the same meaning and effect as the word
“shall”. Unless the context requires otherwise, (a) any definition of or reference to any agreement,
instrument or other document herein shall be construed as referring to such agreement, instrument
or other document as from time to time amended, supplemented or otherwise modified (subject to

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any restrictions on such amendments, supplements or modifications set forth herein), (b) any
reference herein to any Person shall be construed to include such Person’s successors and assigns,
(c) the words “herein”, “hereof” and “hereunder”, and words of similar import, shall be construed
to refer to this Agreement in its entirety and not to any particular provision hereof, (d) all references
herein to Articles, Sections, Exhibits and Schedules shall be construed to refer to Articles and
Sections of, and Exhibits and Schedules to, this Agreement and (e) the words “asset” and
“property” shall be construed to have the same meaning and effect and to refer to any right or
interest in or to assets and properties of any kind whatsoever, whether real, personal or mixed and
whether tangible or intangible.

                Section 1.03 Certain Matters of Construction. References in this Agreement to
“determination” or “calculation” by any Agent include good faith and commercially reasonable
estimates by such Agent (in the case of quantitative determinations) and good faith and
commercially reasonable beliefs by such Agent (in the case of qualitative determinations). A
Default or Event of Default shall be deemed to exist at all times during the period commencing on
the date that such Default or Event of Default occurs to the date on which such Default or Event
of Default is waived in writing pursuant to this Agreement or, in the case of a Default, is cured
within any period of cure expressly provided for in this Agreement; and an Event of Default shall
“continue” or be “continuing” until such Event of Default has been waived in writing by the
Required Lenders (or such other Lenders as required herein). Any Lien referred to in this
Agreement or any other Loan Document as having been created in favor of any Agent, any
agreement entered into by any Agent pursuant to this Agreement or any other Loan Document,
any payment made by or to or funds received by any Agent pursuant to or as contemplated by this
Agreement or any other Loan Document, or any act taken or omitted to be taken by any Agent,
shall, unless otherwise expressly provided, be created, entered into, made or received, or taken or
omitted, for the benefit or account of the Agents and the Lenders. Wherever the phrase “to the
knowledge of any Loan Party” or words of similar import relating to the knowledge or the
awareness of any Loan Party are used in this Agreement or any other Loan Document, such phrase
shall mean and refer to the actual knowledge of a senior officer of any Loan Party. All covenants
hereunder shall be given independent effect so that if a particular action or condition is not
permitted by any of such covenants, the fact that it would be permitted by an exception to, or
otherwise within the limitations of, another covenant shall not avoid the occurrence of a default if
such action is taken or condition exists. In addition, all representations and warranties hereunder
shall be given independent effect so that if a particular representation or warranty proves to be
incorrect or is breached, the fact that another representation or warranty concerning the same or
similar subject matter is correct or is not breached will not affect the incorrectness of a breach of
a representation or warranty hereunder.

                Section 1.04    Accounting and Other Terms.

                (a)    All accounting terms not specifically or completely defined herein shall be
construed in conformity with, and all financial data (including financial ratios and other financial
calculations) required to be submitted to the Administrative Agent or the Lenders pursuant to this
Agreement shall be prepared in conformity with, GAAP (including the impact of “fresh start”
accounting under Accounting Standards Codification 852), applied in a manner materially
consistent with that used in preparing the Financial Statements, except as otherwise specifically

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prescribed herein. For purposes of determining compliance with any incurrence or expenditure
tests set forth in this Agreement (including Section 7.01, Section 7.02 and Section 7.03), any
amounts so incurred or expended (to the extent incurred or expended in a currency other than
Dollars) shall be converted into Dollars on the basis of the exchange rates (as shown on the
Bloomberg currency page for such currency or, if the same does not provide such exchange rate,
by reference to such other publicly available service for displaying exchange rates as may be
reasonably selected by the Agents or, in the event no such service is selected, on such other basis
as is reasonably satisfactory to the Agents) as in effect on the date of such incurrence or
expenditure under any provision of any such Section that has an aggregate Dollar limitation
provided for therein (and to the extent the respective incurrence or expenditure test regulates the
aggregate amount outstanding at any time and it is expressed in terms of Dollars, all outstanding
amounts originally incurred or spent in currencies other than Dollars shall be converted into
Dollars on the basis of the exchange rates (as shown on the Bloomberg currency page for such
currency or, if the same does not provide such exchange rate, by reference to such other publicly
available service for displaying exchange rates as may be reasonably selected by the Agents or, in
the event no such service is selected, on such other basis as is reasonably satisfactory to the Agents)
as in effect on the date of any new incurrence or expenditures made under any provision of any
such Section that regulates the Dollar amount outstanding at any time). Unless expressly specified
otherwise herein, each reference in this Agreement or in any other Loan Document to (x) any
“cash”, any “monies” or “money”, or any “funds” (or to any amount thereof) shall be construed as
a reference to Dollars (and such amount in Dollars), and such terms shall be deemed to be used
interchangeably but with the same meaning in each case, and (y) any “payment” or “funding” to
any Person (or any form or manner of any payment or funding, as the case may be) shall be
construed as requiring a transfer or other delivery to such Person of Dollars of the applicable
amount in cash, and (except in the case of PIK Interest, but solely to the limited extent expressly
provided herein), nothing payable by any Loan Party or any of its Subsidiaries hereunder or on
account of any Obligations shall be permitted to be paid “in kind”, or in any other form or currency
except in Dollars. Notwithstanding the foregoing, (i) with respect to the accounting for leases as
either operating leases or capital leases and the impact of such accounting in accordance with
FASB ASC 840 or 842 on the definitions and covenants herein, GAAP as in effect on the Effective
Date shall be applied and (ii) for purposes of determining compliance with any covenant (including
the computation of any financial covenant) contained herein, Indebtedness of the Parent and its
Subsidiaries shall be deemed to be carried at 100% of the outstanding principal amount thereof,
and the effects of FASB ASC 825 and FASB ASC 470-20 on financial liabilities shall be
disregarded.

               (b)    Subject to clause (ii) hereof, and unless expressly specified otherwise
elsewhere in this Agreement:

                       (i)     All references in the Loan Documents to (A) the “amount”,
“principal amount” or “face amount” of any Loan or other Obligation, or any other Indebtedness
referred to herein, shall be construed have the same meaning and effect, and shall be deemed to
refer to the “outstanding” amount thereof as of the applicable time and/or date of determination
(each, a “Reference Time”), and (B) the “outstanding” amount of any Indebtedness shall be (x) the
amount thereof as of the applicable time of determination that has not been previously paid by the
obligors thereof (which shall be the Loan Parties in the case of any Loan or other Obligation) to

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the creditors or other beneficiaries thereof or Persons entitled to the same pursuant to the terms of
such Indebtedness (which shall be one or more Lenders, or other Secured Parties or Persons
determined in accordance with the Loan Documents) and remains owing (or shall become
payable), and (y) valued as the accreted value thereof (in the case of any Indebtedness issued with
original issue discount), or the principal amount or liquidation preference thereof (in the case of
any Indebtedness not issued with original issue discount); provided, that, without limiting clause
(ii) below, whenever calculating the amount of any specific payment of any Obligation that any
Loan Party is required to pay at any specified time, and whenever determining any Lender’s Pro
Rata Share, the “amount” of the relevant Loan and/or other Obligation shall be calculated pro
forma for all PIK Interest paid at any time prior to such Reference Time.

                       (ii)    For purposes of calculating the amount of any Loans or other
Indebtedness (including any Indebtedness referred to in the definition of Permitted Indebtedness,
as applicable) as of any time for purposes of determining compliance with, and/or calculating the
amount of additional Indebtedness and/or Liens permitted to be incurred at such time pursuant to
any test governing incurrence of Indebtedness and/or Liens (including any First Lien Indebtedness,
or any other incurrence test set forth in Section 2.12, Section 7.02 or any other provision of this
Agreement, any Intercreditor Agreement or any other Loan Document (as applicable)), including
any test or provision that limits such incurrence by express reference to a Dollar amount of
Indebtedness (or any “outstanding” amount), or that indirectly limits the Dollar amount of any
Indebtedness or Liens that may be incurred by conditioning the same on compliance with a
specified level pursuant to a leverage ratio based test or any other ratio-based test that is affected
by the amount of any Indebtedness, or any costs associated therewith (including any “fixed charge
coverage ratio” or “interest coverage ratio” test), (A) the “amount” or “outstanding amount” of
any Indebtedness for purposes of a provision pursuant to which Indebtedness is sought to be
incurred or permitted shall include amounts actually outstanding resulting from accrual or payment
of any interest thereon (including PIK Interest hereunder and any interest paid “in-kind” on any
other Indebtedness), accrual of dividends, the accretion of accreted value, the accretion or
amortization of original issue discount, the payment of any fees or other amounts “in-kind”
thereunder in the form of additional principal of such Indebtedness, the payment of dividends in
the form of additional shares of any preferred stock or other equity interests, or the reclassification
of commitments or obligations not treated as Indebtedness due to a change in GAAP (the
foregoing, collectively, “Non-Funded Debt”), and (B) following such initial incurrence, if any such
Indebtedness accrues or arises under any Non-Funded Debt, the same shall not be deemed to be
an “incurrence” of such Indebtedness for purposes of Sections 2.12, 7.02 or any other provision
that limits the amount of such Indebtedness that may be incurred, or be permitted to exist or be
outstanding at any time hereunder, and all Non-Funded Debt and Liens thereon shall be deemed
to be permitted hereunder pursuant to Section 7.02, and clause (p) of the definition of Permitted
Indebtedness (and, if secured, clause (r) of the definition of Permitted Liens).

               (c)    All terms used in this Agreement which are defined in Article 8 or Article
9 of the Uniform Commercial Code as in effect from time to time in the State of New York (the
“Uniform Commercial Code” or the “UCC”) and which are not otherwise defined herein shall
have the same meanings herein as set forth therein, provided that terms used herein which are
defined in the Uniform Commercial Code as in effect in the State of New York on the date hereof


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shall continue to have the same meaning notwithstanding any replacement or amendment of such
statute except as any Agent may otherwise determine

                (d)    The aggregate principal amount (if any) of any Loan that any Lender shall
be required to fund on any specified Borrowing Date (to the extent requested by the Borrowers in
accordance with the terms hereof) shall not exceed such Lender’s Commitment, determined as of
the requested Borrowing Date but after taking into account (and net of) the aggregate principal
amount of all Loans previously funded by such Lender under such Commitment, and the
corresponding reduction to the amount of such Commitment resulting therefrom, and, accordingly,
any reference herein or in any other Loan Document to any Lender’s “unfunded”, “undrawn”,
“unutilized” or “remaining” Commitment at or as of any time shall be construed in accordance
with the foregoing, and such Lender shall not at any time be required to fund any amount of Loans
exceeding its then-unfunded Commitment therefor.

                Section 1.05 Time References. Unless otherwise indicated herein, all references
to time of day refer to Eastern Standard Time or Eastern daylight saving time, as in effect in New
York City on such day. For purposes of the computation of a period of time from a specified date
to a later specified date, (i) the word “from” any specified date, time or other reference point, as
applicable, means “from and including” such date, time or other reference point, as applicable (and
the words “as of” any specified date, time or other reference point, as applicable, shall be construed
have the same meaning and effect as the foregoing, and to require any determination to be made
in the same manner), and (ii) the words “to”, “through to”, and “until” any specified date, time or
other reference point, as applicable, each means “to but excluding” such date, time or other
reference point; provided, however, that with respect to a computation of fees or interest payable
to any Secured Party, such period shall in any event consist of at least one full day.

                                           ARTICLE II

                                           THE LOANS

               Section 2.01    Commitments.

                (a)    Term Loan Commitments. Subject to the terms and conditions, and relying
upon the representations and warranties set forth herein, each Term Loan Lender hereby agrees
that, automatically and immediately upon the Effective Date occurring, it shall hereby be deemed
to have made a term loan to the Borrowers pursuant to this Section 2.01(a) (a “Term Loan”) in an
aggregate principal amount equal to such Term Loan Lender’s Term Loan Commitment (such
Term Loan Lender’s Term Loan, together with the Term Loans of the other Term Loan Lenders,
collectively, the “Term Loans”).

               (b)      Immediately and automatically upon the deemed making by each Lender of
its Term Loan on the Effective Date, (i) such Lender’s Term Loan Commitment shall permanently
terminate, and shall be deemed extinguished, cancelled, and discharged in full, and (ii) to the extent
required or applicable in connection with the Restructuring Transactions, such Lender’s Existing
Term Obligations, or portion thereof (as applicable and determined in accordance with the
Restructuring Documents) shall be (and shall be deemed to be) satisfied and discharged (or shall
be deemed exchanged for, and refinanced with the proceeds deemed hereby to have been provided
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under, the Term Loans, in each case, as determined pursuant to the Restructuring Documents).
The Total Term Loan Commitment shall be automatically reduced to zero and terminated when
the Term Loans are deemed made hereunder.

               (c)    Term Loans shall be deemed to have been made and incurred as described
herein automatically by operation of law and pursuant to the contract hereunder and under the
Restructuring Documents, and pursuant to the Chapter 11 Plan, and the Bankruptcy Court orders
in the Chapter 11 Cases, as applicable. Term Loans shall be made on a “cashless” basis, and no
Term Loan Lender shall be required to fund or transfer any cash in connection therewith, or as a
condition to the incurrence by the Borrowers of Indebtedness and other Obligations in respect
thereof.

               (d)     The Term Loans, and the Term Loan Lenders’ agreements and
commitments hereunder, shall be deemed to satisfy and discharge certain obligations of the
Lenders and/or their Affiliates under the Restructuring Documents, and shall constitute additional
consideration for certain benefits received by them in connection with the Restructuring
Transactions, as applicable.

               (e)     [Reserved].

               (f)     [Reserved].

               (g)     [Reserved].

              (h)     Re-borrowings.    Once repaid, prepaid or otherwise discharged in
accordance with the terms hereof, no Loan (or any portion thereof) may be reborrowed.

               Section 2.02 Making the Loans. (a) (i) The Administrative Borrower shall be
deemed to have requested (on behalf of the Borrowers, taken as a whole) Term Loans from the
Term Loan Lenders in an aggregate principal amount equal to the Total Term Loan Commitment
automatically pursuant to the deemed making of such Loans pursuant to Section 2.01(a), and
delivery of a Notice of Borrowing shall not constitute a condition precedent to the effectiveness of
the Borrowers’ request (or deemed request) for such Term Loans, or be required in connection
with the making and Borrowing (or deemed making and Borrowing) of Term Loans pursuant to
Section 2.01(a); provided, that the Administrative Borrower may, at its sole option, elect to deliver
a Notice of Borrowing for the Term Loans notwithstanding the absence of a requirement to do so
pursuant to the foregoing, and, so long as such Notice of Borrowing is delivered to the
Administrative Agent not later than the Effective Date, the terms set forth therein shall be deemed
to govern the Term Loans, notwithstanding any conflict between the terms thereof and hereof.

                        (ii)    The Administrative Borrower shall give the Administrative Agent
prior written notice (in substantially the form of Exhibit C hereto (a “Notice of Borrowing”), which
may be delivered via e-mail or as otherwise permitted hereunder) of its request for a Borrowing of
any Loan available to be borrowed at any time hereunder (except the Term Loans, which shall be
governed by Section 2.02(a)(i)) not later than 12:00 noon (New York City time) on the date which
is 3 Business Days prior to the proposed Borrowing Date for such Loan (or such shorter period as
the Administrative Agent is willing to accommodate from time to time). Such Notice of Borrowing
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shall be irrevocable and shall specify (i) the aggregate principal amount of the proposed Loan;
provided, that no Notice of Borrowing shall be valid or effective with respect to any Borrowing
unless the Total Commitment for the requested Loans is equal to or greater than the aggregate
principal amount of such Loan, (ii) the proposed Borrowing Date, which must be a Business Day,
and (iii) the wire instructions for the account to which funds in respect of the requested Loan
should be transferred (or, if the Borrowers desire that more than one Person shall receive any
portion of such funds, wire instructions for each such recipient’s account and the amount to be
transferred thereto). The Administrative Agent and the Lenders may act without liability upon the
basis of any written, e-mail, telecopied or telephonic notice (including any Notice of Borrowing)
believed by the Administrative Agent in good faith to be from the Administrative Borrower (or
from any Authorized Officer thereof designated in writing purportedly from the Administrative
Borrower to the Administrative Agent). The Administrative Agent and each Lender shall be
entitled to rely conclusively on any Authorized Officer’s authority to request a Loan on behalf of
the Borrowers until the Administrative Agent receives written notice to the contrary. The
Administrative Agent and the Lenders shall have no duty to verify the authenticity of the signature
appearing on any Notice of Borrowing or any other notice delivered hereunder.

              (b)    Each Notice of Borrowing pursuant to this Section 2.02 shall be irrevocable
and the Borrowers shall be bound to make a Borrowing in accordance therewith.

               (c)     Each Loan shall be made as part of a single Borrowing consisting of Loans.
All Loans comprising the same Borrowing shall be made (or deemed made, as the case may be)
by the Lenders on the requested Borrowing Date proportionately to their Pro Rata Shares of the
Commitment for such Loans , and each Lender shall make each Loan required to be made by it
pursuant to this Agreement (except the Term Loans, which shall be deemed made automatically
as provided in Section 2.01(a)) by funding the Dollar amount thereof on the requested Borrowing
Date to the account specified by the Administrative Agent to such Lender for purposes hereof
(such account, the “Lender Funding Account”) (and such Lender shall, for all purposes, be deemed
to have made such Loan as of the time of such funding, notwithstanding that such funds shall not
have been funded to any of the Loan Parties at such time), it being understood that no Lender shall
be responsible for any default by any other Lender in that other Lender’s obligations to make a
Loan requested hereunder, nor shall the Commitment of any Lender be increased or decreased as
a result of the default by any other Lender in that other Lender’s obligation to make a Loan
requested hereunder, and each Lender shall be obligated to make the Loans required to be made
by it by the terms of this Agreement regardless of the failure by any other Lender. Subject to
receipt by the Administrative Agent of Lender funds representing Loans requested to be made on
such Borrowing Date, the Administrative Agent shall make the proceeds of such Loans available
to the Borrowers by causing an amount, in immediately available funds, equal to the proceeds of
such Loans received by the Administrative Agent, to be credited to the Loan Account (or such
other account specified in the Notice of Borrowing for such purpose); provided, that, the
Administrative Agent shall not be required to make available to the Borrowers any funds on the
same Business Day as funds are received by the Administrative Agent into the Lender Funding
Account if the Administrative Agent determines that it is operationally unable to do so, and such
funds shall in such event be made available in accordance with the Administrative Agent’s
customary practices.


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               Section 2.03   Repayment of Loans; Evidence of Debt.

               (a)    Subject to the Term Intercreditor Agreement, the outstanding or otherwise
unpaid principal amount of each Loan, and all accrued and unpaid interest thereon, shall be due
and payable, and shall be paid by the Borrowers, on the Final Maturity Date.

               (b)    Each Lender shall maintain in accordance with its usual practice an account
or accounts evidencing the Indebtedness of the Borrowers to such Lender resulting from each Loan
made by such Lender, including the amounts of principal and interest payable and paid to such
Lender from time to time hereunder.

               (c)    The Administrative Agent shall maintain accounts in which it shall record
(i) the amount of each Loan made hereunder, (ii) the amount of any principal or interest due and
payable or to become due and payable from the Borrowers to each Lender hereunder and (iii) the
amount of any sum received by the Administrative Agent hereunder for the account of the Lenders
and each Lender’s share thereof.

              (d)     The entries made in the accounts maintained pursuant to Section 2.03(b)
shall be prima facie evidence of the existence and amounts of the obligations recorded therein
absent manifest error; provided that the failure of any Lender or the Administrative Agent to
maintain such accounts or any error therein shall not in any manner affect the obligation of the
Borrowers to repay the Loans in accordance with the terms of this Agreement.

                (e)     Any Lender may request that Loans made by it be evidenced by a
promissory note. In such event, the Borrowers shall execute and deliver to such Lender a
promissory note payable to such Lender (or, if requested by such Lender, to such Lender and its
registered assigns) in a form furnished by the Collateral Agent and reasonably acceptable to the
Administrative Borrower. Thereafter, the Loans evidenced by such promissory note and interest
thereon shall at all times (including after assignment pursuant to Section 12.07) be represented by
one or more promissory notes in such form payable to the payee named therein (or, if such
promissory note is a registered note, to such payee and its registered assigns).

               Section 2.04   Interest.

               (a)    Loans. Each Loan shall bear interest on the principal amount thereof from
time to time outstanding, from the date of such Loan until repaid, at a rate per annum equal to the
PIK Interest Rate.

               (b)      Default Interest. To the extent permitted by law and notwithstanding
anything to the contrary in this Section, (i) automatically upon the occurrence and during the
continuance of any Specified Event of Default, and (ii) the Required Lenders may, by notice to the
Administrative Agent and the Administrative Borrower, elect for all other Events of Default, in
each case the principal of, and all accrued and unpaid interest on, all Loans, fees, indemnities or
any other Obligations of the Loan Parties under this Agreement and the other Loan Documents,
shall bear interest, from the date such Event of Default occurred until the date such Event of
Default is cured or waived in writing in accordance herewith, at a rate per annum equal at all times
to the Post-Default Rate.
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                (c)    Interest Payments. Interest on each Loan (except interest accruing at the
Post-Default Rate) shall be payable in arrears on (i) each Regular Interest Payment Date. (ii) each
date of any prepayment or repayment of such Loan (including the date such Loan is required to be
repaid or prepaid in connection with any mandatory or optional prepayment) and (iii) the Final
Maturity Date. Interest at the Post-Default Rate shall be payable on demand. Except in the case
of any interest due on any Regular Interest Payment Date on any Loans, which shall be paid in
kind, interest on the Loans (including interest accruing at the Post-Default Rate) shall be payable
at the times required hereunder in the form of cash. Each Borrower hereby authorizes the
Administrative Agent to, and the Administrative Agent may, from time to time, charge the Loan
Account pursuant to Section 4.01 with the amount of any interest payment due hereunder.

                (d)   General. All interest shall be computed on the basis of a year of 360 days
for the actual number of days, including the first day but excluding the last day, elapsed.

                (e)     PIK Interest. Subject to the terms and conditions hereof, any interest
accruing on any Loan (except interest accruing at the Post-Default Rate), shall, if and to the extent
due and payable on a Regular Interest Payment Date, be paid on such Regular Interest Payment
Date in the form of PIK Interest (the amount of interest to be payable as PIK Interest pursuant
hereto, to the extent accruing on Loans, and payable on the Regular Interest Payment Date, each,
a “PIK Interest Payment”). For the avoidance of doubt, this Section 2.04(e) shall not permit a PIK
Interest payment of any interest that is payable on the Final Maturity Date, or on the date of any
repayment or prepayment of any Loan (whether pursuant to a voluntary or mandatory prepayment,
acceleration or otherwise), or any other due date except a Regular Interest Payment Date, and only
the amount of accrued interest representing a regular interest payment pursuant to Section 2.04(a)
shall be permitted to be paid as PIK Interest.

               Section 2.05    Termination or Reduction of Total Commitments; Prepayment of
Loans.

               (a)    Termination or Reduction of Total Commitments. The Total Term Loan
Commitment shall permanently terminate in full (and shall be deemed permanently reduced to
zero ($.00), and cancelled and extinguished in its entirety) automatically upon, and concurrently
with, the deemed making of Term Loans on the Effective Date pursuant to Section 2.01(a).

               (b)     Optional Prepayment; Optional Termination of Commitments and/or
Agreement.

                        (i)    Optional Prepayment of Loans. Subject to the Term Intercreditor
Agreement, the Borrowers may, at any time and from time to time, upon at least two (2) Business
Days’ prior written notice to the Administrative Agent, prepay the principal of outstanding Loans,
in whole or in part, and each prepayment made pursuant to this clause (b)(i) shall be accompanied
by the payment of (A) accrued interest on the amount of the applicable Loan being prepaid,
calculated through the date of such payment and (B) the Applicable Premium, if any, payable in
connection with such prepayment of such Loan; provided, that, notwithstanding the foregoing, no
Loans shall be prepaid (and no other payments shall be permitted to be made on account of any
Loans) except to the extent in accordance with the requirements of the Pre-Default Payment
Waterfall, subject to the terms of Section 4.03(b), as applicable.
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                        (ii)   Optional Termination of Commitments and Optional Termination
of Agreement. The Borrowers may, upon at least two (2) Business Days’ prior written notice from
the Administrative Borrower to the Administrative Agent, terminate this Agreement by paying to
the Administrative Agent, in cash, the Obligations in full, plus the Applicable Premium, if any,
payable in connection with such termination of this Agreement. If the Administrative Borrower
has sent a notice of termination of this Agreement pursuant to this Section 2.05(b)(ii), then, unless
such notice is expressed to be conditional and revocable (as set forth in the proviso below), the
Borrowers shall be obligated to repay the Obligations in full, plus the Applicable Premium, if any
is payable in connection with such termination of this Agreement on the date set forth as the date
of termination of this Agreement in such notice; provided, that a notice of termination of this
Agreement delivered by the Administrative Borrower hereunder may state that such notice (and
the Borrowers’ election to terminate this Agreement proposed thereunder) is conditioned upon the
occurrence of any specified event (including the consummation of any sale, merger, financing or
other specified transaction, the effectiveness of any other credit facilities, the incurrence of any
other Indebtedness, issuance of any loans or securities, and/or the receipt of proceeds from any of
the foregoing, as the case may be), in which case such notice (and the proposed termination of this
Agreement to be effectuated thereunder) may be revoked by the Administrative Borrower (by
notice to the Administrative Agent on or prior to the specified effective date) if such condition is
not satisfied.

               (c)     Mandatory Prepayment. Subject to Section 4.03 and the Term Intercreditor
Agreement:

                        (i)    Unless the Suspension Date has occurred, on the date that audited
annual financial statements are required to be delivered to the Agents and the Lenders pursuant to
Section 7.01(a)(iii) (commencing with the date on which delivery to the Agents and the Lenders
of the financial statements for the Fiscal Year ended December 31, 2023 is required thereunder),
the Borrowers shall prepay the outstanding principal amount of the Loans in accordance with
Section 2.05(d) in an amount equal to (I) the Applicable ECF Percentage of Excess Cash Flow of
the Parent and its Subsidiaries for such Fiscal Year, minus (II) the amount of any prepayments of
the Loans made in cash during such period in accordance with Section 2.05(b).

                          (ii)   Promptly after (and no later than five (5) Business Days after) any
Disposition (excluding Dispositions which qualify as Permitted Dispositions under clauses (a), (b),
(c), (d), (e), (f), (g) or (h) of the definition of Permitted Disposition) by any Loan Party or its
Subsidiaries, the Borrowers shall prepay the outstanding principal amount of the Loans in
accordance with Section 2.05(d) in an amount equal to 100% of the Net Cash Proceeds received
by such Person in connection with such Disposition to the extent that the aggregate amount of Net
Cash Proceeds received by all Loan Parties and their Subsidiaries (and not paid to the
Administrative Agent as a prepayment of the Loans) shall exceed for all such Dispositions
$500,000 in any Fiscal Year. Nothing contained in this Section 2.05(c)(ii) shall permit any Loan
Party or any of its Subsidiaries to make a Disposition of any property other than in accordance
with Section 7.02(c)(ii).

                       (iii) Upon the issuance or incurrence by any Loan Party or any of its
Subsidiaries of any Indebtedness (other than Permitted Indebtedness), the Borrowers shall prepay
the outstanding amount of the Loans in accordance with Section 2.05(d) in an amount equal to
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100% of the Net Cash Proceeds received by such Person in connection therewith. The provisions
of this Section 2.05(c)(iii) shall not be deemed to be implied consent to any such issuance,
incurrence or sale otherwise prohibited by the terms and conditions of this Agreement.

                     (iv)    Upon the receipt by any Loan Party or any of its Subsidiaries of any
Extraordinary Receipts, the Borrowers shall prepay the outstanding principal of the Loans in
accordance with Section 2.05(d) in an amount equal to 100% of the Net Cash Proceeds received
by such Person in connection therewith to the extent that the aggregate amount of Net Cash
Proceeds received by all Loan Parties and their Subsidiaries (and not paid to the Administrative
Agent as a prepayment of the Loans) shall exceed for all such Extraordinary Receipts $2,500,000
in any Fiscal Year.

                      (v)    Upon receipt by the Borrowers of the proceeds of any Permitted
Cure Equity in connection with the exercise of a Cure Right pursuant to Section 9.02, the
Borrowers shall prepay the outstanding principal of the Loans in accordance with Section 2.05(d)
in an amount equal to 100% of such proceeds.

                        (vi)   Notwithstanding the foregoing, with respect to Net Cash Proceeds
received by any Loan Party or any of its Subsidiaries in connection with a Disposition or the receipt
of Extraordinary Receipts consisting of insurance proceeds or condemnation awards that are
required to be used to prepay the Obligations pursuant to Section 2.05(c)(ii) or Section 2.05(c)(iv),
the Net Cash Proceeds from all such Dispositions and Extraordinary Receipts shall not be required
to be so used to prepay the Obligations to the extent that such Net Cash Proceeds are used to
replace, repair or restore properties or assets (other than current assets) used in such Person’s
business, provided that, (A) no Default or Event of Default has occurred and is continuing on the
date such Person receives such Net Cash Proceeds, (B) the Administrative Borrower delivers a
certificate to the Administrative Agent within 20 Business Days after such Disposition or loss,
destruction or taking, as the case may be, stating that such Net Cash Proceeds shall be used to
replace, repair or restore properties or assets used in such Person’s business within a period
specified in such certificate not to exceed 180 days after the date of receipt of such Net Cash
Proceeds (which certificate shall set forth estimates of the Net Cash Proceeds to be so expended),
(C) such Net Cash Proceeds are deposited in an account subject to a Control Agreement, and (D)
upon the earlier of (1) the expiration of the period specified in the relevant certificate furnished to
the Administrative Agent pursuant to clause (B) above or (2) the occurrence of an Event of Default,
such Net Cash Proceeds, if not theretofore so used, shall be used to prepay the Obligations in
accordance with Section 2.05(c)(ii) or Section 2.05(c)(iv) as applicable.

                       (vii) All payments under this Section 2.05(c) shall be accompanied with
a written notice provided to the Administrative Agent by 12:00 p.m. (New York City time) at least
1 Business Day prior to the date of any such payment which shall include the sub-section of this
Section 2.05(c) pursuant to which such payment is made.

                      (viii) Notwithstanding anything in this Section 2.05 or elsewhere to the
contrary, any Lender, at the sole and absolute discretion of the Borrowers, may elect, by notice to
the Administrative Agent in writing by hand delivery, facsimile transmission or e-mail at least two
Business Days prior to the required prepayment date, to decline all (or a portion) of any mandatory
prepayment of its Loans, in which case the aggregate amount of the prepayment that would have
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been applied to prepay such Loans but was so declined will be offered to prepay the Loans of the
other Lenders that have not declined such prepayment on a pro rata basis, and if any declined
amounts remains such amounts may be retained by the Borrowers and, to the extent not otherwise
applied to prepay any other Loans, or any First Lien Loans, or any other Indebtedness or
obligations of the Loan Parties and their Subsidiaries in accordance with the terms thereof (as
determined by the Borrowers in each case), may be used to finance any Restricted Payment or
Investment not otherwise permitted hereunder at such time, or, if such amount is retained by any
of the Borrowers or any of their Subsidiaries, the Borrowers shall get credit for such amount for
purposes of any Liquidity or leverage ratio calculation hereunder.

                        (ix)    In the case of any Loan, the Borrowers shall, prior to the close of the
first “accrual period” (within the meaning of Section 163(i)(2) of the Code) ending after the fifth
anniversary of the Effective Date and prior to the close of each subsequent accrual period, prepay
a principal amount of any such Loan in an amount equal to the AHYDO Amount, without payment
of any premium or penalty. For purposes of this Section 2.05(c)(ix), “AHYDO Amount” means
the amount sufficient to ensure that any Loan will not be an “applicable high yield discount
obligation” within the meaning of Section 163(i)(1) of the Code. Each payment of the AHYDO
Amount will be applied in full only against such Loan and there shall be an obligation,
notwithstanding any other provision of this Agreement to the contrary, to prepay such Loans in
accordance with this provision. Each payment of the AHYDO Amount shall be treated for tax
purposes as a payment of original issue discount to the extent that the original issue discount has
accrued as of the date such payment is due. Notwithstanding anything herein to the contrary, it is
the intention of this Section 2.05(c)(ix) that no Loan pursuant to any Facility will be treated as an
“applicable high yield discount obligation” within the meaning of Section 163(i)(1) of the Code,
and the provisions of this Agreement shall be construed pursuant to this intent.

                       (x)     Notwithstanding anything in this Section 2.05(c) to the contrary,
until the First Lien Obligations are paid in full, no mandatory prepayment of outstanding Loans
that would otherwise be required to be made under this Section 2.05(c) shall be required to be
made unless otherwise permitted by the Term Intercreditor Agreement.

               (d)     Application of Payments. Subject to the Term Intercreditor Agreement, and
with respect to:

                        (i)     any mandatory prepayment required by subsection (c)(ii) or (c)(iv)
above: (A) subject to clause (C) below, if the Net Cash Proceeds are from any Disposition of, or
insurance or any condemnation, taking or other casualty with respect to, any ABL Priority
Collateral, such Net Cash Proceeds shall be applied (1) first, to the ABL Loans, to the extent
required by the ABL Credit Agreement and the ABL/Term Intercreditor Agreement (as in effect
at such time), until paid in full and (2) second, to the principal amount of Loans hereunder in the
order prescribed in the Pre-Default Payment Waterfall; (B) subject to clause (C) below, if the Net
Cash Proceeds are from the Disposition of, or insurance or any condemnation, taking or other
casualty with respect to Term Priority Collateral, such Net Cash Proceeds shall be applied to the
principal amount of Loans hereunder (in the order prescribed in the Pre-Default Payment
Waterfall), until paid in full and (C) if the Net Cash Proceeds are from a Disposition of, or
insurance or any condemnation, taking or other casualty with respect to, the assets of any Person,
which includes both (1) ABL Priority Collateral and (2) Term Priority Collateral, such Net Cash
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Proceeds shall be applied, ratably, as between the ABL Priority Collateral and the Term Priority
Collateral (based on the book value of such assets constituting ABL Priority Collateral and the
Term Priority Collateral) and shall be applied in accordance with the preceding clauses (A) and
(B); and

                       (ii)   any mandatory prepayment required by subsection (c)(i), (c)(iii) or
(c)(v) above shall be applied to the Loans in the order prescribed in the Pre-Default Payment
Waterfall; provided, that, notwithstanding the foregoing, after the occurrence and during the
continuance of an Event of Default, the Administrative Agent may, and shall if directed by the
Collateral Agent or the Required Lenders, apply payments in respect of any Obligations, including
prepayments required under Section 2.05(c), in accordance with Section 4.03(b).

              (e)     Interest and Fees. Any prepayment made pursuant to this Section 2.05 shall
be accompanied by (i) accrued and unpaid interest on the principal amount being prepaid to the
date of prepayment, (ii) [reserved], (iii) the Applicable Premium, if any, payable in connection
with such prepayment of the Loans to the extent required under Section 2.06 and (iv) if such
prepayment would reduce the amount of the outstanding Loans to zero, such prepayment shall be
accompanied by the payment of all fees accrued to such date pursuant to Section 2.06.

                (f)     Cumulative Prepayments. Except as otherwise expressly provided in this
Section 2.05, payments with respect to any subsection of this Section 2.05 are in addition to
payments made or required to be made under any other subsection of this Section 2.05; provided
that there shall be no duplication of mandatory prepayments due under more than one subsection
of this Section 2.05.

               Section 2.06   Fees.

               (a)     Applicable Premium.

                       (i)     Upon the occurrence of an Applicable Premium Trigger Event, any
amounts prepaid, repaid, accelerated or otherwise, or any Commitments voluntarily reduced or
cancelled, as applicable, shall be accompanied by payment to the Administrative Agent, for the
ratable account of each applicable Lender, of the Applicable Premium.

                        (ii)   Any Applicable Premium payable in accordance with this Section
2.06(a) shall be presumed to be equal to the liquidated damages sustained by the Lenders as the
result of the occurrence of the Applicable Premium Trigger Event and the Loan Parties agree that
it is reasonable under the circumstances currently existing. THE LOAN PARTIES EXPRESSLY
WAIVE THE PROVISIONS OF ANY PRESENT OR FUTURE STATUTE OR LAW THAT
PROHIBITS OR MAY PROHIBIT THE COLLECTION OF THE FOREGOING APPLICABLE
PREMIUM IN CONNECTION WITH ANY ACCELERATION.

                       (iii)   The Loan Parties expressly agree that: (A) the Applicable Premium
is reasonable and is the product of an arm’s length transaction between sophisticated business
people, ably represented by counsel; (B) the Applicable Premium shall be payable notwithstanding
the then prevailing market rates at the time payment is made; (C) there has been a course of conduct
between the Lenders and the Loan Parties giving specific consideration in this transaction for such
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agreement to pay the Applicable Premium; (D) the Loan Parties shall be estopped hereafter from
claiming differently than as agreed to in this paragraph; (E) their agreement to pay the Applicable
Premium is a material inducement to Lenders to provide the Commitments and make the Loans
and (F) the Applicable Premium represents a good faith, reasonable estimate and calculation of the
lost profits or damages of the Agents and the Lenders and that it would be impractical and
extremely difficult to ascertain the actual amount of damages to the Agents and the Lenders or
profits lost by the Agents and the Lenders as a result of such Applicable Premium Trigger Event.

                      (iv)   Nothing contained in this Section 2.06(a) shall permit any
prepayment of the Loans or reduction of the Commitments not otherwise permitted by the terms
of this Agreement or any other Loan Document.

                 (b)       Audit and Collateral Monitoring Fees. The Borrowers acknowledge that
pursuant to Section 7.01(f), representatives of the Agents may visit any or all of the Loan Parties
and/or conduct inspections, audits, physical counts, valuations, appraisals, environmental site
assessments and/or examinations of any or all of the Loan Parties at any time and from time to
time during normal business hours and, so long as no Event of Default has occurred and is
continuing, upon prior notice to the Borrowers. The Borrowers agree to pay (i) all out-of-pocket
costs and reasonable expenses incurred in connection with all such visits, inspections, audits,
physical counts, valuations, appraisals, environmental site assessments and/or examinations and
(ii) the cost of all visits, inspections, audits, physical counts, valuations, appraisals, environmental
site assessments and/or examinations conducted by a third party on behalf of the Agents; provided,
that so long as no Event of Default shall have occurred and be continuing, the Borrowers shall not
be obligated to reimburse the Agents for more than one such visit, inspection, audit, physical count,
valuation, appraisal, environmental site assessment and/or examination during any fiscal year.

              (c)     Fee Letter. As and when due and payable under the terms of the Fee Letter,
the Borrowers shall pay the fees set forth in the Fee Letter.

               Section 2.07 [Prepayment Offer. So long as the Required Goldman Lender
Consent Expiry Date has not occurred, if the outstanding amount of all Initial Term Loans (as
defined in the First Lien Financing Agreement) and Delayed Draw Term Loans (as defined in the
First Lien Financing Agreement) are each paid in full prior to their stated maturity date (including
by acceleration upon an event of default) (the “Prepayment Trigger Event”), the Borrower shall be
required to prepay the outstanding Obligations in full at par. Within three (3) Business Days of the
occurrence of a Prepayment Trigger Event, the Borrower shall provide notice (a “Prepayment
Offer Notice”) to the Administrative Agent (to be distributed to the Lenders) of the occurrence of
the Prepayment Trigger Event and the obligation to prepay all outstanding Obligations at par.
Within ten (10) Business Days of receipt of the Prepayment Offer Notice (the “Acceptance
Deadline”), each Lender may decline to receive its pro rata portion of the prepayment of the
Obligations by providing written notice to the Administrative Agent (and any Lender that does not
provide such notice to the Administrative Agent shall be deemed to have accepted such
prepayment). The Borrower shall make the prepayment to all Lenders that have not declined to
receive such prepayment within three (3) Business Days of the Acceptance Deadline. Any payment



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made pursuant to this Section 2.07 shall constitute a voluntary prepayment pursuant to Section
2.05(b)(i).]

               Section 2.08    [Reserved].

               Section 2.09 Taxes. (a) Any and all payments by or on account of any Loan
Party hereunder or under any other Loan Document shall be made free and clear of and without
deduction or withholding for any and all Taxes, except as required by applicable law. If any Loan
Party (as determined in the good faith discretion of an applicable Withholding Agent) shall be
required to deduct or withhold any Taxes from or in respect of any sum payable hereunder to any
Secured Party (or any transferee or assignee thereof, including a participation holder (any such
entity, a “Transferee”)), (i) the applicable Withholding Agent shall make such deductions or
withholding and (ii) the applicable Withholding Agent shall timely pay the full amount deducted
or withheld to the relevant Governmental Authority in accordance with applicable law and (iii) if
such Tax is an Indemnified Tax, then the sum payable by the applicable Loan Party shall be
increased by the amount (an “Additional Amount”) necessary such that after making all required
deductions (including deductions applicable to additions sums payable under this Section Error!
Reference source not found.) such Secured Party (or such Transferee) receives the amount equal
to the sum it would have received had no such deductions or withholding been made.

                 (b)    In addition, each Loan Party agrees to timely pay to the relevant
Governmental Authority in accordance with applicable law any Other Taxes. Each Loan Party
shall deliver to each Secured Party official receipts in respect of any Taxes or Other Taxes payable
hereunder promptly after payment of such Taxes or Other Taxes.

                (c)    The Loan Parties hereby jointly and severally indemnify and agree to hold
each Secured Party harmless from and against Indemnified Taxes paid by such Person, whether or
not such Indemnified Taxes were correctly or legally asserted. Such indemnification shall be paid
within 10 Business Days from the date on which any such Person makes written demand therefore
specifying in reasonable detail the nature and amount of such Indemnified Taxes. A certificate as
to the amount of such payment or liability delivered to the Loan Parties by a Secured Party, shall
be conclusive absent manifest error. As soon as practicable after any payment of Taxes by a Loan
Party to a Governmental Authority pursuant to this Section, the Loan Party shall deliver to the
Secured Parties the original or a certified copy of a receipt issued by such Governmental Authority
evidencing such payment, a copy of the return reporting such payment or other evidence of such
payment reasonably satisfactory to the Administrative Agent.

              (d)     Each Lender (or Transferee) that is a United States person under Section
7701(a)(30) of the Internal Revenue Code shall deliver to the Administrative Borrower or
Administrative Agent a United States Internal Revenue Service Form W-9 (or substitute or
successor form), properly completed and duly executed, certifying that such Lender is exempt
from United States backup withholding.

                (e)     Each Lender (or Transferee) that is not a U.S. Person (a “Non-U.S. Lender”)
agrees that it shall, no later than the Effective Date (or, in the case of a Lender which becomes a
party hereto pursuant to Section Error! Reference source not found. hereof after the Effective
Date, promptly after the date upon which such Lender becomes a party hereto) deliver to the
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Agents (or, in the case of an assignee of a Lender which (x) is an Eligible Assignee and (y) does
not deliver an Assignment and Acceptance to the Administrative Agent pursuant to the last
sentence of Section Error! Reference source not found. for recordation pursuant to Section
Error! Reference source not found., to the assigning Lender only, and in the case of a participant,
to the Lender granting the participation only) one properly completed and duly executed copy of
either U.S. Internal Revenue Service Form W-8BEN, W-8BEN-E, W-8ECI or W-8IMY
(accompanied by the appropriate certification documents from each beneficial owner) or any
subsequent versions thereof or successors thereto, in each case claiming complete exemption from,
or reduced rate of, U.S. Federal withholding tax on payments of interest hereunder. In addition, in
the case of a Non-U.S. Lender claiming exemption from U.S. Federal withholding tax under
Section 871(h) or 881(c) of the Internal Revenue Code, such Non-U.S. Lender hereby represents,
and shall provide appropriate documentation providing, to the Agents and the Borrowers that such
Non-U.S. Lender is not a bank for purposes of Section 881(c) of the Internal Revenue Code, is not
a 10-percent shareholder (within the meaning of Section 871(h)(3)(B) of the Internal Revenue
Code) of the Parent and is not a controlled foreign corporation related to the Parent (within the
meaning of Section 864(d)(4) of the Internal Revenue Code), and such Non-U.S. Lender agrees
that it shall promptly notify the Agents in the event any such representation is no longer accurate.
Such forms shall be delivered by each Non-U.S. Lender on or before the date it becomes a party
to this Agreement (or, in the case of a Transferee that is a participation holder, on or before the
date such participation holder becomes a Transferee hereunder) and on or before the date, if any,
such Non-U.S. Lender changes its applicable lending office by designating a different lending
office (a “New Lending Office”). In addition, such Lender (or Transferee) or Agent shall deliver
such forms within 20 days after receipt of a written request therefor from the Administrative
Borrower or any Agent, the assigning Lender or the Lender granting a participation, as applicable.
Notwithstanding any other provision of this Section Error! Reference source not found., a Non-
U.S. Lender shall not be required to deliver any form pursuant to this Section Error! Reference
source not found.(e) that such Non-U.S. Lender is not legally able to deliver. In addition to the
foregoing, any Non-U.S. Lender shall, to the extent it is legally entitled to do so, deliver to the
Administrative Borrower and the Agents (in such number of copies as shall be requested by the
recipient) on or about the date on which such Non-U.S. Lender becomes a Lender under this
Agreement (and from time to time thereafter upon the reasonable request of the Administrative
Borrower or the Agents), executed copies of any other form prescribed by applicable law as a basis
for claiming exemption from or a reduction in U.S. federal withholding Tax, duly completed,
together with such supplementary documentation as may be prescribed by applicable law to permit
the Administrative Borrower or the Agents to determine the withholding or deduction required to
be made.

                (f)   Any Secured Party (or Transferee) claiming any indemnity payment or
additional payment amounts payable pursuant to this Section Error! Reference source not found.
or Section Error! Reference source not found. shall (at the request of the Administrative
Borrower) use reasonable efforts (consistent with legal and regulatory restrictions) to file any
certificate or document reasonably requested in writing by the Administrative Borrower or to
change the jurisdiction of its applicable lending office if the making of such a filing or change
would avoid the need for or reduce the amount of any such indemnity payment or Additional
Amount that may thereafter accrue, would not require such Secured Party (or Transferee) to
disclose any information such Secured Party (or Transferee) in good faith deems confidential and
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would not, in the sole determination of such Secured Party (or Transferee), be otherwise
disadvantageous to such Secured Party (or Transferee).

               (g)      If any Secured Party (or a Transferee) shall become aware that it is entitled
to claim a refund from a Governmental Authority in respect of Indemnified Taxes with respect to
which any Loan Party has made an indemnity payment or paid Additional Amount, pursuant to
this Section Error! Reference source not found., it shall promptly notify the Administrative
Borrower of the availability of such refund claim and shall, within 10 days after receipt of a request
by the Administrative Borrower, make a claim to such Governmental Authority for such refund at
the Loan Parties’ expense. If any Secured Party (or a Transferee) receives a refund (including
pursuant to a claim for refund made pursuant to the preceding sentence) in respect of any
Indemnified Taxes with respect to which any Loan Party has made an Indemnity payment or paid
Additional Amount pursuant to this Section Error! Reference source not found., it shall within
30 days from the date of such receipt pay over such refund to the Administrative Borrower, net of
all out-of-pocket expenses of such Secured Party (or Transferee), provided that each Loan Party,
upon the request of Administrative Agent or such Secured Party (or Transferee), agrees to repay
the amount paid over to any Loan Party (plus any penalties, interest or other charges imposed by
the relevant Governmental Authority) to Administrative Agent or such Secured Party (or
Transferee) in the event Administrative Agent or any Secured Party (or Transferee) is required to
repay such refund to such Governmental Authority. Notwithstanding anything to the contrary in
this paragraph (g), in no event will an indemnified party be required to pay any amount to a Loan
Party pursuant to this paragraph (g) the payment of which would place the indemnified party in a
less favorable net after-Tax position than the indemnified party would have been in if the Tax
subject to indemnification had not been deducted, withheld or otherwise imposed and the
indemnification payments or Additional Amount giving rise to such refund had never been paid.
This subsection shall not be construed to require Administrative Agent, any Secured Party or
Transferee to make available its tax returns (or any other information relating to its Taxes that it
deems confidential) to any Loan Party or any other Person.

                (h)    If a payment made to a Lender (or Transferee) or any Agent under any Loan
Document would be subject to U.S. Federal withholding tax imposed by FATCA if such Lender
(or Transferee) or Agent were to fail to comply with the applicable reporting requirements of
FATCA (including those contained in Section 1471(b) or 1472(b) of the Internal Revenue Code,
as applicable), such Lender (or Transferee) or Agent shall deliver to the Administrative Borrower
and the Agents at the time or times prescribed by law and at such time or times reasonably
requested by the Administrative Borrower or the Agents such documentation prescribed by
applicable law (including as prescribed by Section 1471(b)(3)(C)(i) of the Internal Revenue Code)
and such additional documentation reasonably requested by the Administrative Borrower or the
Agents as may be necessary for the Administrative Borrower and the Agents to comply with their
obligations under FATCA and to determine that such Lender (or Transferee) or Agent has
complied with its obligations under FATCA or to determine the amount to deduct and withhold
from such payment. Solely for purposes of this clause (h), “FATCA” shall include any
amendments made to FATCA after the date of this Agreement. Any forms, certifications or other
documentation under this clause (h) shall be delivered by each Lender (or Transferee) and each
Agent. Each Lender (and Transferee) agrees that if any form or certification it previously delivered
expires or becomes obsolete or inaccurate in any respect, it shall update such form or certification

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or promptly notify the Administrative Borrower and the Agents in writing of its legal inability to
do so.

                 (i)     If circumstances arise which entitle a Lender (or Transferee) to receive any
payment under this Section 2.09 or Section 2.10, and, in each case, such Lender (or Transferee)
has declined or is unable to designate a different lending office in accordance with Section 2.9(f),
then that Lender (or Transferee) will (at the request and at the sole expense of the Borrower) take
all reasonable steps to mitigate the effect of those circumstances (including but not limited to by
transferring its rights and obligations under this Agreement to an Affiliate or changing its lending
or transferring its rights and obligations under this Agreement in full and not in part for cash at par
plus all accrued and unpaid interest and other amounts outstanding (if any) to another bank,
financial institution or other person nominated for such purpose by the Loan Parties).

               (j)    The obligations of the Loan Parties under this Section Error! Reference
source not found. shall survive the termination of this Agreement and the payment of the Loans
and all other amounts payable hereunder.

                 Section 2.10 Increased Costs and Reduced Return. (a) If any Change in Law
shall (i) subject such Secured Party, or any Person controlling such Secured Party to any tax, duty
or other charge with respect to this Agreement or any Loan made by such Agent or such Lender,
or change the basis of taxation of payments to such Secured Party or any Person controlling such
Secured Party of any amounts payable hereunder (except for taxes on the overall net income of
such Secured Party or any Person controlling such Secured Party), (ii) impose, modify or deem
applicable any reserve, special deposit or similar requirement against any Loan or against assets
of or held by, or deposits with or for the account of, or credit extended by, such Secured Party or
any Person controlling such Secured Party or (iii) impose on such Secured Party or any Person
controlling such Secured Party any other condition regarding this Agreement or any Loan, and the
result of any event referred to in clauses (i), (ii) or (iii) above shall be to increase the cost to such
Secured Party of making any Loan, or agreeing to make any Loan, or to reduce any amount
received or receivable by such Secured Party hereunder, then, upon demand by such Secured Party,
the Borrowers shall pay to such Secured Party such Additional Amounts as will compensate such
Secured Party for such increased costs or reductions in amount.

                (b)     If any Change in Law either (i) affects or would affect the amount of capital
required or expected to be maintained by such Secured Party or any Person controlling such
Secured Party, and such Secured Party determines that the amount of such capital is increased as
a direct or indirect consequence of any Loans made or maintained, such Secured Party’s or such
other controlling Person’s other obligations hereunder, or (ii) has or would have the effect of
reducing the rate of return on such Secured Party’s or such other controlling Person’s capital to a
level below that which such Secured Party or such controlling Person could have achieved but for
such circumstances as a consequence of any Loans made or maintained or any agreement to make
Loans or such Secured Party’s or such other controlling Person’s other obligations hereunder (in
each case, taking into consideration, such Secured Party’s or such other controlling Person’s
policies with respect to capital adequacy), then, within 30 days after demand by such Secured
Party, the Borrowers shall pay to such Secured Party from time to time such Additional Amounts
as will compensate such Secured Party for such cost of maintaining such increased capital or such
reduction in the rate of return on such Secured Party’s or such other controlling Person’s capital.
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                (c)      All amounts payable under this Section 2.10 shall bear interest from the date
that is 10 days after the date of demand by any Secured Party until payment in full to such Secured
Party at the Reference Rate. A certificate of such Secured Party claiming compensation under this
Section 2.10, specifying in reasonable detail the event herein above described and the nature of
such event shall be submitted by such Secured Party to the Administrative Borrower, setting forth
the Additional Amount due and an explanation of the calculation thereof, and such Secured Party’s
reasons for invoking the provisions of this Section 2.10, and shall be final and conclusive absent
manifest error.

                 (d)    Failure or delay on the part of any Lender to demand compensation pursuant
to the foregoing provisions of this Section 2.10 shall not constitute a waiver of such Lender’s right
to demand such compensation; provided that the Borrowers shall not be required to compensate a
Lender pursuant to the foregoing provisions of this Section 2.10 for any increased costs incurred
or reductions suffered more than three months prior to the date that such Lender notifies the
Administrative Borrower of the Change in Law giving rise to such increased costs or reductions
and of such Lender’s intention to claim compensation therefor (except that, if the Change in Law
giving rise to such increased costs or reductions is retroactive, then the three- month period referred
to above shall be extended to include the period of retroactive effect thereof).

              (e)    The obligations of the Loan Parties under this Section 2.10 shall survive the
termination of this Agreement and the payment of the Loans and all other amounts payable
hereunder.

                                           ARTICLE III

                                [INTENTIONALLY OMITTED]

                                           ARTICLE IV

               APPLICATION OF PAYMENTS; DEFAULTING LENDERS;

                Section 4.01 Payments; Computations and Statements. (a) The Borrowers will
make each payment under this Agreement not later than 2:00 pm (New York City time) on the day
when due, in lawful money of the United States of America and in immediately available funds,
to the Administrative Agent’s Loan Account. All payments received by the Administrative Agent
after 2:00 pm (New York City time) on any Business Day will be credited to the Loan Account on
the next succeeding Business Day. All payments shall be made by the Borrowers without set-off,
counterclaim, recoupment, deduction or other defense to the Agents and the Lenders. Except as
provided in Section 2.02 or Section 2.05, and except as otherwise provided pursuant to Section
4.02 or Section 4.03, after receipt, the Administrative Agent will promptly thereafter cause to be
distributed like funds relating to the payment of principal ratably to the Lenders in accordance with
their Pro Rata Shares and like funds relating to the payment of any other amount payable to any
Lender to such Lender, in each case to be applied in accordance with the terms of this Agreement.
The Lenders and the Borrowers hereby authorize the Administrative Agent to, and the
Administrative Agent may, from time to time, charge the Loan Account of the Borrowers with any
amount due and payable by the Borrowers under any Loan Document. Each of the Lenders and
the Borrowers agrees that the Administrative Agent shall have the right to make such charges
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whether or not any Default or Event of Default shall have occurred and be continuing or whether
any of the conditions precedent in Article V have been satisfied. Any amount charged to the Loan
Account of the Borrowers shall be deemed to be Obligations. Whenever any payment to be made
under any such Loan Document shall be stated to be due on a day other than a Business Day, such
payment shall be made on the next succeeding Business Day and such extension of time shall in
such case be included in the computation of interest or fees, as the case may be, but not be deemed
to be a Default or Event of Default. All computations of interest and fees shall be made by the
Administrative Agent on the basis of a year of 360 days for the actual number of days. Each
determination by the Administrative Agent of an interest rate or fees hereunder shall be conclusive
and binding for all purposes in the absence of manifest error.

                (b)    The Administrative Agent shall provide the Administrative Borrower,
reasonably promptly after the end of each fiscal month (or on such specified dates as may be
mutually agreed by them), a summary statement (in the form from time to time used by the
Administrative Agent) of the opening and closing daily balances in the Loan Account of the
Borrowers during such month, the amounts and dates of all Loans made to the Borrowers during
such month, the amounts and dates of all payments on account of the Loans to the Borrowers
during such month and the Loans to which such payments were applied, the amount of interest
accrued on the Loans to the Borrowers during such month and the amount and nature of any
charges to the Loan Account made during such month on account of fees, commissions, expenses
and other Obligations. All entries on any such statement shall be presumed to be correct and, 30
days after the same is sent, shall be final and conclusive absent manifest error.

                Section 4.02 Sharing of Payments. Except as otherwise provided herein (as of
the Effective Date), or in Section 2.02 or any other provisions hereof (in each case as of the
Effective Date), if any Lender shall obtain any payment (whether voluntary, involuntary, through
the exercise of any right of set-off, or otherwise) on account of any Obligation in excess of its Pro
Rata Share of payments on account of such obligations obtained by all other Lenders entitled
thereto pursuant to the terms hereof (subject to Section 4.03), such Lender shall forthwith purchase
from the other Lenders such participations in such similar obligations held by them as shall be
necessary to cause such purchasing Lender to share the excess payment ratably with each of them;
provided, however, that (a) if all or any portion of such excess payment is thereafter recovered
from such purchasing Lender, such purchase from each Lender shall be rescinded and each Lender
shall repay to the purchasing Lender the purchase price to the extent of such recovery together
with an amount equal to such Lender’s ratable share (according to the proportion of (i) the amount
of such Lender’s required repayment to (ii) the total amount so recovered from the purchasing
Lender) of any interest or other amount paid by the purchasing Lender in respect of the total
amount so recovered and (b) the provisions of this Section shall not be construed to apply to (i)
any payment made by the Borrowers pursuant to and in accordance with the express terms of this
Agreement (including the application of funds arising from the existence of a Defaulting Lender),
or (ii) any payment obtained by a Lender as consideration for any assignment or other transfer of,
or any sale of a participation in, any of its Loans and/or Commitments. The Borrowers agree that
any Lender so purchasing a participation from another Lender pursuant to this Section may, to the
fullest extent permitted by law, exercise all of its rights (including the Lender’s right of set-off)



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with respect to such participation as fully as if such Lender were the direct creditor of the
Borrowers in the amount of such participation.

               Section 4.03 Apportionment of Payments. Subject to Section 2.02 hereof and to
any written agreement among the Agents and/or the applicable Lenders:

                 (a)     Prior to the occurrence of an Event of Default, all payments of principal and
interest in respect of outstanding Loans (including optional and mandatory prepayments pursuant
to Section 2.05), all payments of fees (other than (i) the fees set forth in Section 2.06 hereof and
(ii) any fees or other consideration on account of any Lender consent or waiver, or any assignment,
transfer or sale of participation in any Loan, each of which shall be due to such Lender in
accordance with the terms thereof), and all other payments in respect of any other Obligations,
shall be, subject to the Term Intercreditor Agreement, allocated by the Administrative Agent to
such of the Lenders as are entitled thereto (in proportion to their respective Pro Rata Shares, or
otherwise as provided herein, or, in respect of payments not made on account of Loans, as
designated by the Person making payment when the payment is made).

                (b)    After the occurrence and during the continuance of an Event of Default, and
subject to the Term Intercreditor Agreement, the Administrative Agent may, and upon the direction
of the Collateral Agent or the Required Lenders shall, apply all payments in respect of any
Obligations, including without limitation, all proceeds of the Collateral, (i) first, ratably to pay the
Obligations in respect of any fees, expense reimbursements, indemnities and other amounts then
due and payable to the Agents until paid in full; (ii) second, to pay interest then due and payable
in respect of the Collateral Agent Advances until paid in full; (iii) third, to pay principal of the
Collateral Agent Advances until paid in full; (iv) fourth, ratably to pay interest then due and
payable in respect of the Term Loans until paid in full; (v) fifth, ratably to pay principal of the
Term Loans until paid in full; (vi) sixth, to the ratable payment of all other Obligations then due
and payable with respect to the Term Loans until paid in full; and (vii) seventh (but only subject
to the prior payment in full of all Obligations in respect of the Term Loans and all other amounts
described in foregoing clauses (i) through (vi)), the remainder, if any, to the Borrowers or as
otherwise required by applicable laws.

               (c)    For purposes of Section 4.03(b), “paid in full” means payment in cash of all
amounts owing under the Loan Documents according to the terms thereof, including loan fees,
service fees, professional fees, interest (and specifically including interest accrued after the
commencement of any Insolvency Proceeding), default interest, interest on interest, and expense
reimbursements, whether or not same would be or is allowed or disallowed in whole or in part in
any Insolvency Proceeding.

                (d)     In the event of a direct conflict between the priority provisions of this
Section 4.03 and other provisions contained in any other Loan Document, it is the intention of the
parties hereto that both such priority provisions in such documents shall be read together and
construed, to the fullest extent possible, to be in concert with each other. In the event of any actual,
irreconcilable conflict that cannot be resolved as aforesaid, the terms and provisions of this Section
4.03 shall control and govern.


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               Section 4.04 Defaulting Lenders. Notwithstanding anything to the contrary
contained in this Agreement, if any Lender becomes a Defaulting Lender, then, until such time as
such Lender is no longer a Defaulting Lender, to the extent permitted by applicable law:

                (a)     Such Defaulting Lender’s right to approve or disapprove any amendment,
waiver or consent with respect to this Agreement shall be restricted as set forth in Section 12.02.
The Administrative Agent shall not be obligated to transfer to such Defaulting Lender any
payments made by any Borrower to the Administrative Agent for such Defaulting Lender’s
benefit, and, in the absence of such transfer to such Defaulting Lender, the Administrative Agent
shall transfer any such payments to each other non-Defaulting Lender ratably in accordance with
their Pro Rata Shares (without giving effect to the Pro Rata Shares of such Defaulting Lender) (but
only to the extent that such Defaulting Lender’s Loans were funded by the other Lenders) or, if so
directed by the Administrative Borrower and if no Default or Event of Default has occurred and is
continuing (and to the extent such Defaulting Lender’s Loans were not funded by the other
Lenders), retain the same to be re-advanced to the Borrowers as if such Defaulting Lender had
made such Loans to the Borrowers. Subject to the foregoing, the Administrative Agent may hold
and, in its discretion, re-lend to the Borrowers for the account of such Defaulting Lender the
amount of all such payments received and retained by the Administrative Agent for the account of
such Defaulting Lender.

                (b)      Any such failure to fund by any Defaulting Lender shall constitute a
material breach by such Defaulting Lender of this Agreement and shall entitle the Borrowers to
replace the Defaulting Lender with one or more substitute Lenders, and the Defaulting Lender
shall have no right to refuse to be replaced hereunder. Such notice to replace the Defaulting Lender
shall specify an effective date for such replacement, which date shall not be later than 15 Business
Days after the date such notice is given. Prior to the effective date of such replacement, the
Defaulting Lender shall execute and deliver an Assignment and Acceptance, subject only to the
Defaulting Lender being repaid its share of the outstanding Obligations without any premium or
penalty of any kind whatsoever. If the Defaulting Lender shall refuse or fail to execute and deliver
any such Assignment and Acceptance prior to the effective date of such replacement, the
Defaulting Lender shall be deemed to have executed and delivered such Assignment and
Acceptance. The replacement of any Defaulting Lender shall be made in accordance with the
terms of Section 12.07.

               (c)    The operation of this Section 4.04 shall not be construed to increase or
otherwise affect the Commitments of any Lender, to relieve or excuse the performance by such
Defaulting Lender or any other Lender of its duties and obligations hereunder, or to relieve or
excuse the performance by any Borrower of its duties and obligations hereunder to the
Administrative Agent or to the Lenders other than such Defaulting Lender.

                (d)     This Section 4.04 shall remain effective with respect to such Lender until
either (i) the Obligations under this Agreement shall have been declared or shall have become
immediately due and payable or (ii) the non-Defaulting Lenders, the Agents, and the Borrowers
shall have waived such Defaulting Lender’s default in writing, and the Defaulting Lender makes
its Pro Rata Share of the applicable defaulted Loans and pays to the Agents all amounts owing by
such Defaulting Lender in respect thereof; provided that no adjustments will be made

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              (e)     retroactively with respect to fees accrued or payments made by or on behalf
of the Borrowers while such Lender was a Defaulting Lender; provided, further, that except to the
extent otherwise expressly agreed by the affected parties, no change hereunder from Defaulting
Lender to Lender will constitute a waiver or release of any claim of any party hereunder arising
from such Lender’s having been a Defaulting Lender.

               Section 4.05    Administrative Borrower; Joint and Several Liability of the
Borrowers.

                (a)     Each Borrower hereby irrevocably appoints Holdco Borrower as the
borrowing agent and attorney-in-fact for, and representative of, such Borrower and the Borrowers
collectively (Holdco Borrower, in such capacities, the “Administrative Borrower”), which
appointment shall remain in full force and effect unless and until the Agents shall have received
prior written notice signed by all of the Borrowers that such appointment has been revoked and
that another Borrower has been appointed Administrative Borrower. Each Borrower hereby
irrevocably appoints and authorizes the Administrative Borrower (i) to provide to any Agent and
to any or all of the Lenders (as applicable), and to receive, for and on its behalf, from any Agent
and/or any of the Lenders, as the case may be, all notices with respect to any Loan or Obligations
obtained for the benefit of any Borrower, and all other notices, agreements and other instruments
and instructions under or with respect to this Agreement or any of the other Loan Documents, or
any transactions hereunder, or any Obligations (it being agreed that any obligation or requirement
providing for any Agent or Lender to deliver any notice, agreement, instrument or other document
or any instruction to the Borrowers (or any one of them) shall be construed as requiring delivery
thereof only to the Administrative Borrower, and shall be deemed satisfied accordingly) and (ii)
to take such action as the Administrative Borrower deems appropriate on its behalf to obtain Loans
and to exercise such other powers as are reasonably incidental thereto to carry out the purposes of
this Agreement. It is understood that the handling of the Loan Account and Collateral of the
Borrowers in a combined fashion, as more fully set forth herein, is done solely as an
accommodation to the Borrowers in order to utilize the collective borrowing powers of the
Borrowers in the most efficient and economical manner and at their request, and that neither the
Agents nor the Lenders shall incur liability to the Borrowers as a result hereof. Each Borrower
expects to derive benefit, directly or indirectly, from the handling of the Loan Account and the
Collateral in a combined fashion since the successful operation of each Borrower is dependent on
the continued successful performance of the integrated group.

                (b)     Each Borrower hereby accepts joint and several liability hereunder and
under the other Loan Documents in consideration of the financial accommodations to be provided
by the Agents and the Lenders under this Agreement and the other Loan Documents, for the mutual
benefit, directly and indirectly, of each of the Borrowers and in consideration of the undertakings
of the other Borrowers to accept joint and several liability for the Obligations. Each of the
Borrowers, jointly and severally, hereby irrevocably and unconditionally accepts, not merely as a
surety but also as a co-debtor, joint and several liability with the other Borrowers, with respect to
the payment and performance of all of the Obligations (including, without limitation, any
Obligations arising under this Section 4.05), it being the intention of the parties hereto that all of
the Obligations shall be the joint and several obligations of each of the Borrowers without
preferences or distinction among them. If and to the extent that any of the Borrowers shall fail to

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make any payment with respect to any of the Obligations as and when due or to perform any of
the Obligations in accordance with the terms thereof, then in each such event, the other Borrowers
will make such payment with respect to, or perform, such Obligation. Subject to the terms and
conditions hereof, the Obligations of each of the Borrowers under the provisions of this Section
4.05 constitute the absolute and unconditional, full recourse Obligations of each of the Borrowers,
enforceable against each such Person to the full extent of its properties and assets, irrespective of
the validity, regularity or enforceability of this Agreement, the other Loan Documents or any other
circumstances whatsoever.

                (c)      The provisions of this Section 4.05 are made for the benefit of the Secured
Parties and their successors and permitted assigns, and may be enforced by them from time to time
against any or all of the Borrowers as often as occasion therefor may arise and without requirement
on the part of the Secured Parties or such successors or assigns first to marshal any of its or their
claims or to exercise any of its or their rights against any of the other Borrowers or to exhaust any
remedies available to it or them against any of the other Borrowers or to resort to any other source
or means of obtaining payment of any of the Obligations hereunder or to elect any other remedy.
The provisions of this Section 4.05 shall remain in effect until all of the Obligations shall have
been paid in full or otherwise fully satisfied.

                (d)    Each of the Borrowers hereby agrees that it will not enforce any of its rights
of contribution or subrogation against the other Borrowers with respect to any liability incurred by
it hereunder or under any of the other Loan Documents, any payments made by it to the Agents or
the Lenders with respect to any of the Obligations or any Collateral, until such time as all of the
Obligations have been paid in full in cash. Any claim which any Borrower may have against any
other Borrower with respect to any payments to the Agents or the Lenders hereunder or under any
other Loan Documents are hereby expressly made subordinate and junior in right of payment,
without limitation as to any increases in the Obligations arising hereunder or thereunder, to the
prior payment in full in cash of the Obligations.

                                            ARTICLE V

                    CONDITIONS TO EFFECTIVE DATE AND LOANS

               Section 5.01 Conditions Precedent to Effectiveness and Term Loans. This
Agreement, and the obligation each Lender to make (or be deemed to make) the Term Loans
pursuant to Section 2.01(a) shall become effective as of the Business Day (the “Effective Date”)
when each of the following conditions precedent shall have been satisfied in a manner satisfactory
to (or waived by) the Agents:

               (a)      Payment of Fees, Etc. The Borrowers shall have paid on or before the
Effective Date all fees, costs, expenses and taxes then payable pursuant to Section 2.06 and Section
12.04.

               (b)     Representations and Warranties; No Event of Default. The following
statements shall be true and correct: (i) the representations and warranties of the Loan Parties
contained in Article VI and in each other Loan Document delivered on or prior to the Effective
Date are true and correct in all material respects (except that such materiality qualifier shall not be
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applicable to any representations or warranties that already are qualified or modified as to
materiality or “Material Adverse Effect” in the text thereof, which representations and warranties
shall be true and correct in all respects subject to such qualification) on and as of the Effective
Date as though made on and as of such date, except to the extent that any such representation or
warranty expressly relates solely to an earlier date (in which case such representation or warranty
shall be true and correct on and as of such earlier date in all material respects (except that such
materiality qualifier shall not be applicable to any representations or warranties that already are
qualified or modified as to materiality or “Material Adverse Effect” in the text thereof, which
representations and warranties shall be true and correct in all respects subject to such
qualification)) and (ii) no Default or Event of Default shall have occurred and be continuing on
the Effective Date or would result from this Agreement or the other Loan Documents becoming
effective in accordance with its or their respective terms.

                (c)     Delivery of Documents. The Collateral Agent (or its counsel) shall have
received on or before the Effective Date the following, each in form and substance reasonably
satisfactory to the Collateral Agent and, unless indicated otherwise, dated the Effective Date and,
if applicable, duly executed by the Persons party thereto:

                         (i)     a Security Agreement, together with the original stock certificates
or certificated limited liability company interests (if any) representing all of the Equity Interests in
the Borrowers and their Subsidiaries who are Guarantors, and all of the Equity Interests owned by
the Borrowers and each Guarantor (including the Equity Interests in GC Services (Barbados) SRL)
and all promissory notes required to be pledged thereunder, accompanied by undated stock powers
executed in blank and other proper instruments of transfer;

                       (ii)    evidence of financing statements on Form UCC-1 in such office or
offices as may be necessary or, in the opinion of the Collateral Agent, desirable to perfect the
security interests purported to be created by each Security Agreement;

                     (iii)   the results of searches for any effective UCC financing statements,
tax Liens or judgment Liens filed against any Loan Party or its property, which results shall not
show any such Liens (other than Permitted Liens acceptable to the Collateral Agent);

                       (iv)     a Perfection Certificate;

                       (v)      the Fee Letter;

                       (vi)     the Intercompany Subordination Agreement;

                       (vii)    the ABL/Term Intercreditor Agreement;

                       (viii)   the Term Intercreditor Agreement;

                       (ix)    a certificate of an Authorized Officer of each Loan Party, certifying
(A) as to copies of the Governing Documents of such Loan Party, together with all amendments
thereto (including, without limitation, a true and complete copy of the charter, certificate of
incorporation, certificate of formation, certificate of limited partnership or other publicly filed

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organizational document of each Loan Party certified as of a recent date by an appropriate official
of the jurisdiction of organization of such Loan Party which shall set forth the same complete name
of such Loan Party as is set forth herein and the organizational number of such Loan Party, if an
organizational number is issued in such jurisdiction), (B) as to a copy of the resolutions or written
consents of such Loan Party authorizing (1) the Borrowings hereunder and the transactions
contemplated by the Loan Documents to which such Loan Party is or will be a party, and (2) the
execution, delivery and performance by such Loan Party of each Loan Document to which such
Loan Party is or will be a party and the execution and delivery of the other documents to be
delivered by such Person in connection herewith and therewith, (C) the names and true signatures
of the representatives of such Loan Party authorized to sign each Loan Document (in the case of a
Borrower, including, without limitation, the Notice of Borrowing and all other notices under this
Agreement and the other Loan Documents) to which such Loan Party is or will be a party and the
other documents to be executed and delivered by such Loan Party in connection herewith and
therewith, together with evidence of the incumbency of such Authorized Officers and (D) as to the
matters set forth in Section 5.01(b);

                       (x)     a certificate of an Authorized Officer of the Administrative
Borrower (A) certifying that all tax returns required to be filed by the Loan Parties have been filed
(except for any tax return for which extensions have been timely filed by appropriate procedures)
and all taxes upon the Loan Parties or their properties, assets, and income (including real property
taxes and payroll taxes) then due and payable have been paid, (B) attaching a copy of the Financial
Statements and the Projections described in Section 6.01(g)(ii) hereof and certifying as to the
compliance with the representations and warranties set forth in Section 6.01(g)(i) and Section
6.01(bb)(ii) and (C) certifying that after giving effect to all Indebtedness to be incurred on the
Effective Date, and the payment of fees and expenses related to this Agreement and the ABL
Credit Agreement and Consolidated EBITDA of the Parent and its Subsidiaries for the consecutive
12 fiscal month period most recently ended at least thirty days prior to the Effective Date will be
greater than or equal to $[ ];

                      (xi)  a certificate of an Authorized Officer of each Loan Party, certifying
as to the solvency of such Loan Party (after giving effect to the Indebtedness incurred on the
Effective Date);

                       (xii)   [reserved];

                      (xiii) a certificate of the appropriate official(s) of the jurisdiction of
organization of each Loan Party certifying as of a recent date as to the subsistence in good standing
of, and the payment of taxes prior to delinquency by (as applicable), such Loan Party in such
jurisdiction;

                        (xiv) an opinion of Weil, Gotshal & Manges LLP, as primary counsel to
the Loan Parties, [and an opinion of [___], as local [__] counsel to the Loan Parties, in each case,]
as to such matters as the Collateral Agent may reasonably request;

                       (xv) Acord insurance certificates evidencing the insurance coverage of
the Loan Parties required by Section 7.01;

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                       (xvi) all Existing Term Obligations and DIP Claims shall have been fully
and finally discharged in accordance with the Restructuring Documents, and all Liens securing the
same shall have been fully and finally terminated, discharged and released in a manner satisfactory
to the Collateral Agent, and evidence thereof shall have been provided to the Collateral Agent, to
the extent requested by the Collateral Agent; and

                      (xvii) such other agreements, instruments, approvals, opinions and other
documents, each satisfactory to the Agents in form and substance, as any Agent may reasonably
request.

               (d)     [Reserved.]

               (e)     Chapter 11 Case and Restructuring Transactions.

                        (i)    All conditions precedent to the confirmation and consummation of
the Chapter 11 Plan, as set forth in the Chapter 11 Plan and the RSA and other Restructuring
Documents (as applicable), shall have been satisfied or waived in accordance with the terms
thereof, (ii) the Borrower shall have delivered to the Administrative Agent a docketed copy of the
Chapter 11 Plan Confirmation Order, which shall be in form and substance acceptable to the
Administrative Agent, and shall have been entered, and shall be in full force and effect, and shall
not (A) have been stayed, reversed, vacated, amended, supplemented or otherwise modified in any
manner that could be reasonably expected to adversely affect the interests of the Agents or the
Required Lenders or (B) be the subject of an appeal, (iii) the Chapter 11 Plan shall have become
effective (and all conditions precedent to the effective date of the Chapter 11 Plan as set forth
therein shall have been satisfied or waived in accordance with the terms thereof), (iv) substantial
consummation (as defined in Section 1101 of the Bankruptcy Code) under the Chapter 11 Plan
shall have occurred and (v) no motion, action or proceeding by any creditor or other party-in-
interest to the Chapter 11 Cases which could reasonably be expected to adversely affect the
Chapter 11 Plan, the consummation of the Chapter 11 Plan, the business or operations of the Loan
Parties and their Subsidiaries or the transactions contemplated by this Agreement or the Chapter
11 Plan shall be pending.

                        (ii)    Any of the documents executed in connection with the
implementation of the Chapter 11 Plan, to the extent they contain provisions differing in any
material respect from, or not described in, the Chapter 11 Plan, that are adverse in any material
respect to the rights or interest of any or all of the Agents and the Lenders, in their capacities as
such, shall be in form and substance satisfactory to the Required Lenders.

               (f)     Approvals. All consents, authorizations and approvals of, and filings and
registrations with, and all other actions in respect of, any Governmental Authority or other Person
required in connection with the making of the Loans, the ABL Loan Documents, the First Lien
Loan Documents, and the conduct of the Loan Parties’ business shall have been obtained and shall
be in full force and effect. There shall exist no claim, action, suit, investigation, litigation or
proceeding (including, without limitation, shareholder or derivative litigation), pending or
threatened in any court or before any arbitrator or Governmental Authority which (i) relates to the
making of the Loans or (ii) could reasonably be expected to have a Material Adverse Effect.

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               (g)     [Reserved.]

             (h)     ABL Credit Facility. The ABL Credit Agreement and the other ABL Loan
Documents shall be in full force and effect on the Effective Date, in each case, as required in
connection with the Restructuring Transactions, and in accordance with the Restructuring
Documents.

               (i)    First Lien Credit Facility. The First Lien Financing Agreement and the
other First Lien Loan Documents shall be in full force and effect on the Effective Date, and First
Lien Term Loans shall have been made (or deemed to have been made) thereunder on the Effective
Date, in each case, as required in connection with the Restructuring Transactions, and in
accordance with the Restructuring Documents.

                 Section 5.02 Conditions Subsequent to Effectiveness. As an accommodation to
the Loan Parties, the Agents and the Lenders have agreed to execute this Agreement and to make
the Loans on the Effective Date notwithstanding the failure by the Loan Parties to satisfy the
conditions set forth below on or before the Effective Date. In consideration of such
accommodation, the Loan Parties agree that, in addition to all other terms, conditions and
provisions set forth in this Agreement and the other Loan Documents, including, without
limitation, those conditions set forth in Section 5.01, the Loan Parties shall satisfy each of the
conditions subsequent set forth below on or before the date applicable thereto (it being understood
that (i) the failure by the Loan Parties to perform or cause to be performed any such condition
subsequent on or before the date applicable thereto shall constitute an Event of Default and (ii) to
the extent that the existence of any such condition subsequent would otherwise cause any
representation, warranty or covenant in this Agreement or any other Loan Document to be
breached, the Required Lenders hereby waive such breach for the period from the Effective Date
until the date on which such condition subsequent is required to be fulfilled pursuant to this Section
5.02):

               (a)     Not later than the date that is 60 days after the Effective Date (or such later
date as the Collateral Agent may agree in its sole discretion), the Collateral Agent shall have
received evidence of the insurance coverage of the Loan Parties required by Section 7.01(h) (other
than Acord insurance certificates delivered pursuant to Section 5.01(c)), and the terms of each
Security Agreement and each Mortgage and such other insurance coverage with respect to the
business and operations of the Loan Parties as the Collateral Agent may reasonably request, in
each case, with such endorsements as to the named insureds or loss payees thereunder as the
Collateral Agent may reasonably request and providing that such policy may be terminated or
canceled (by the insurer or the insured thereunder) only upon 30 days’ (10 days’, in the case of
non-payment) prior written notice to the Collateral Agent and each such named insured or loss
payee, together with evidence of the payment of all premiums due in respect thereof.

               (b)      Not later than the date that is 90 days after the Effective Date (or such later
date as the Collateral Agent may agree in its sole discretion), with respect to the Houston Facility,
each of the Real Property Deliverables.



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                 Section 5.03 Conditions to Each Borrowing. The agreement and obligation of
each Lender to make the Loan(s) requested to be made on any Borrowing Date hereunder is subject
to the satisfaction (or waiver by such Lender) of the following conditions precedent:

               (a)     Each of the representations and warranties of the Loan Parties in this
Agreement shall be true and correct in all material respects (except that such materiality qualifier
shall not be applicable to any representations or warranties that already are qualified or modified
as to materiality or “Material Adverse Effect” in the text thereof, which representations and
warranties shall be true and correct in all respects subject to such qualification) on and as of the
date of such Borrowing Date as though made on and as of such date, except to the extent that any
such representation or warranty expressly relates solely to an earlier date (in which case such
representation or warranty shall be true and correct on and as of such earlier date in all material
respects (except that such materiality qualifier shall not be applicable to any representations or
warranties that already are qualified or modified as to materiality or “Material Adverse Effect” in
the text thereof, which representations and warranties shall be true and correct in all respects
subject to such qualification)).

              (b)     At the time of, and immediately after giving effect to, such Borrowing, no
Default or Event of Default shall have occurred and be continuing or would result therefrom.

                (c)    The aggregate principal amount of Loans requested to be made on such
Borrowing Date shall not exceed the aggregate Commitment therefor of all Lenders (calculated as
the unused amount thereof in effect immediately prior to the making of such Loans, and calculated,
with respect to any Defaulting Lender, as if such Defaulting Lender had funded its Pro Rata Share
of all outstanding Borrowings of such Loans).

                                           ARTICLE VI

                         REPRESENTATIONS AND WARRANTIES

               Section 6.01 Representations and Warranties. Each Loan Party hereby represents
and warrants to the Secured Parties as follows:

                (a)     Organization, Good Standing, Etc. Each Loan Party (i) is a corporation,
limited liability company or limited partnership duly organized, validly existing and in good
standing under the laws of the state or jurisdiction of its organization, (ii) has all requisite power
and authority to conduct its business as now conducted and as presently contemplated and, in the
case of the Borrowers, to make the Borrowings hereunder, and to execute and deliver each Loan
Document to which it is a party, and to consummate the transactions contemplated thereby, and
(iii) is duly qualified to do business and is in good standing in each jurisdiction in which the
character of the properties owned or leased by it or in which the transaction of its business makes
such qualification necessary, except (solely for the purposes of this subclause (iii)) where the
failure to be so qualified and in good standing would reasonably be expected to have a Material
Adverse Effect.

               (b)   Authorization, Etc. The execution, delivery and performance by each Loan
Party of each Loan Document to which it is or will be a party, (i) have been duly authorized by all
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necessary action, (ii) do not and will not contravene (A) any of its Governing Documents, (B) any
applicable material Requirement of Law or (C) any Material Contract, (iii) do not and will not
result in or require the creation of any Lien (other than pursuant to any Loan Document) upon or
with respect to a material portion of the Collateral, and (iv) do not and will not result in any default,
noncompliance, suspension, revocation, impairment, forfeiture or nonrenewal of any permit,
license, authorization or approval applicable to its operations or any of its properties, except, in
each case, to the extent that the same would not reasonably be expected to have a Material Adverse
Effect.

                (c)     Governmental Approvals. No authorization or approval or other action by,
and no notice to or filing with, any Governmental Authority is required in connection with the due
execution, delivery and performance by any Loan Party of any Loan Document to which it is or
will be a party other than filings and recordings with respect to Collateral to be made, or otherwise
delivered to the Collateral Agent for filing or recordation, on the Effective Date.

               (d)    Enforceability of Loan Documents. This Agreement is, and each other Loan
Document to which any Loan Party is or will be a party, when delivered hereunder, will be, a legal,
valid and binding obligation of such Person, enforceable against such Person in accordance with
its terms, except as enforceability may be limited by applicable bankruptcy, insolvency,
reorganization, moratorium or other similar laws affecting the enforcement of creditors’ rights
generally and by general principles of equity.

                (e)     Capitalization. On the Effective Date, after giving effect to the transactions
contemplated hereby to occur on the Effective Date, the authorized Equity Interests of the Parent
and each of its Subsidiaries and the issued and outstanding Equity Interests of the Parent and each
of its Subsidiaries are as set forth on Schedule 6.01(e). All of the issued and outstanding shares of
Equity Interests of the Parent and each of its Subsidiaries have been validly issued and are fully
paid and nonassessable, and the holders thereof are not entitled to any preemptive, first refusal or
other similar rights, except as set forth in the Parent Company Agreement. All Equity Interests of
such Subsidiaries of the Parent are owned by the Parent free and clear of all Liens (other than
Permitted Specified Liens). Except as described on Schedule 6.01(e), there are no outstanding debt
or equity securities of the Parent or any of its Subsidiaries and no outstanding obligations of the
Parent or any of its Subsidiaries convertible into or exchangeable for, or warrants, options or other
rights for the purchase or acquisition from the Parent or any of its Subsidiaries, or other obligations
of the Parent or any of its Subsidiaries to issue, directly or indirectly, any shares of Equity Interests
of the Parent or any of its Subsidiaries.

               (f)      Litigation. There is no pending or, to the best knowledge of any Loan Party,
threatened action, suit or proceeding affecting any Loan Party or any of its properties before any
court or other Governmental Authority or any arbitrator that (i) if adversely determined, could
reasonably be expected to have a Material Adverse Effect or (ii) relates to this Agreement, any
other Loan Document, or any transaction contemplated hereby or thereby.

                (g)     Financial Statements.

                     (i)     The Financial Statements, copies of which have been delivered to
each Agent and each Lender, have been prepared in accordance with GAAP applied on a consistent
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basis during the period covered by the Financial Statements, subject, in the case of the interim
financial statements, to normal year-end audit adjustments and the absence of notes. The Financial
Statements fairly present in all material respects the consolidated financial condition of GCS and
its Subsidiaries at the dates therein indicated and the consolidated results of operations and cash
flows of GCS and its Subsidiaries for the periods therein specified, in each case in accordance with
GAAP, except that the interim financial statements do not contain footnotes and are subject to
normal year-end audit adjustments. Since the Effective Date, no event or development has
occurred, which could reasonably be expected to have a Material Adverse Effect.

                      (ii)    The Parent has heretofore furnished to each Agent and each Lender
the Projections, which consist of (A) projected monthly balance sheets, income statements and
statements of cash flows of the Prepetition Administrative Borrower and its Subsidiaries for the
period from [August 2021] through and including [December 2025], and (B) projected annual
balance sheets, income statements and statements of cash flows of the Prepetition Administrative
Borrower and its Subsidiaries for the Fiscal Years ending in [2021] through and including [2025].

                 (h)     Compliance with Law, Etc. No Loan Party or any of its Subsidiaries is in
violation of (i) any of its Governing Documents, (ii) any material Requirement of Law or (iii) any
material term of any Material Contract binding on or otherwise affecting it or a material portion of
its properties, and no default or event of default has occurred and is continuing thereunder, except,
in each case, to the extent such violation, default or event of default would not reasonably be likely
to have a Material Adverse Effect.

                (i)      ERISA. No Loan Party nor any of its ERISA Affiliates contributes to,
sponsors, maintains or has an obligation to contribute to or maintain or has or could reasonably be
expected to have any liability, whether actual or contingent (including as an ERISA Affiliate), in
respect of any Multiemployer Plan or Employee Plan, and no Loan Party nor any of its ERISA
Affiliates has at any time prior to the date hereof established, sponsored or maintained, been a
party to, or has had at any time prior to the date hereof contributed or been obligated to contribute
to or maintain, any Multiemployer Plan or Employee Plan. No Termination Event has occurred,
and, except as required by Section 4980B of the Internal Revenue Code, no Loan Party or any of
its ERISA Affiliates maintains an employee welfare benefit plan (as defined in Section 3(1) of
ERISA) which provides health or welfare benefits (through the purchase of insurance or otherwise)
for any retired or former employee of any Loan Party or any of its ERISA Affiliates or coverage
after a participant’s termination of employment. No Loan Party is an “employee benefit plan” (as
defined in Section 3(3) of ERISA) subject to Title I of ERISA or a “plan” (as defined in Section
4975(e)(1) of the Code) subject to Section 4975 of the Code, and none of the assets of any Loan
Party constitutes or will constitute “plan assets” of one or more such plans within the meaning of
Section 3(42) of ERISA. In addition, (a) no Loan Party is a “governmental plan” within the
meaning of Section 3(32) of ERISA and (b) transactions by or with any Loan Party or ERISA
Affiliate are not subject to any law regulating investments of, or fiduciary obligations with respect
to, governmental plans similar to the provisions of Section 406 of ERISA or Section 4975 of the
Code currently in effect, which prohibits or otherwise restricts the transactions contemplated by
this Agreement or any of the other Loan Documents.

               (j)     Taxes, Etc. (i) All Federal and material provincial, state and local tax
returns and other reports required by applicable Requirements of Law to be filed by any Loan Party
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have been filed, or extensions have been obtained, and (ii) all taxes, assessments and other
governmental charges imposed upon any Loan Party or any property of any Loan Party in an
aggregate amount for all such taxes, assessments and other governmental charges exceeding
$250,000 and which have become due and payable on or prior to the date hereof have been paid,
except to the extent contested in good faith by proper proceedings which stay the imposition of
any penalty, fine or Lien resulting from the non-payment thereof and with respect to which
adequate reserves have been set aside for the payment thereof on the Financial Statements in
accordance with GAAP.

               (k)     Regulations T, U and X. No Loan Party is or will be engaged in the business
of extending credit for the purpose of purchasing or carrying margin stock (within the meaning of
Regulation T, U or X), and no proceeds of any Loan will be used to purchase or carry any margin
stock or to extend credit to others for the purpose of purchasing or carrying any margin stock or
for any purpose that violates, or is inconsistent with, the provisions of Regulation T, U and X.

                (l)     Nature of Business.

                        (i)     No Loan Party is engaged in any business other than as set forth on
Schedule 6.01(l).

                         (ii)   The Parent does not have any material liabilities (other than
liabilities arising under the Loan Documents or the Parent Company Agreement), own any material
assets (other than the Equity Interests of its Subsidiaries) or engage in any operations or business
(other than the ownership of its Subsidiaries).

               (m)    Adverse Agreements, Etc. No Loan Party or any of its Subsidiaries is a party
to any Contractual Obligation or subject to any restriction or limitation in any Governing
Document or any judgment, order, regulation, ruling or other requirement of a court or other
Governmental Authority, which (either individually or in the aggregate) has, or in the future could
reasonably be expected (either individually or in the aggregate) to have, a Material Adverse Effect.

                (n)     Permits, Etc. Each Loan Party has, and is in compliance with, all permits,
licenses, authorizations, approvals, entitlements and accreditations required for such Person
lawfully to own, lease, manage or operate, or to acquire, each business and Facility currently
owned, leased, managed or operated, or to be acquired, by such Person, except to the extent the
failure to have or be in compliance therewith could not reasonably be expected to have a Material
Adverse Effect. No condition exists or event has occurred which, in itself or with the giving of
notice or lapse of time or both, would result in the suspension, revocation, impairment, forfeiture
or non-renewal of any such permit, license, authorization, approval, entitlement or accreditation
that would, individually or in the aggregate, reasonably be expected to have a Material Adverse
Effect, and there is no claim that any thereof is not in full force and effect where such claims, if
determined adversely to any Loan Party, individually or in the aggregate, would reasonably be
expected to have a Material Adverse Effect.

               (o)      Properties. Each Loan Party has good and marketable title to, valid
leasehold interests in, or valid licenses to use, all property and assets material to its business, free

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and clear of all Liens, except Permitted Liens. All such properties and assets are in good working
order and condition, ordinary wear and tear excepted.

               (p)     Employee and Labor Matters. There is (i) no material labor agreement,
union contract or collective bargaining agreement respecting the employees of any Loan Party to
which any Loan Party is a party or is bound, (ii) no unfair labor practice complaint pending or, to
the knowledge of any Loan Party, threatened against any Loan Party before any Governmental
Authority, and no grievance or arbitration proceeding pending or threatened against any Loan
Party, which, in each case, arises out of or under any collective bargaining agreement, (iii) no
strike, labor dispute, slowdown, stoppage or similar action or grievance pending or, to the
knowledge of any Loan Party, threatened against any Loan Party or (iv) to the knowledge of each
Loan Party, no union representation question existing with respect to the employees of any Loan
Party and no union organizing activity taking place with respect to any of the employees of any
Loan Party. As of the date hereof, no Loan Party has incurred any liability or obligation under the
Worker Adjustment and Retraining Notification Act (“WARN”) or similar state law, which
remains unpaid or unsatisfied.

                 (q)     Environmental Matters. Except as set forth on Schedule 6.01(q), (i) the
operations of each Loan Party are in compliance with all Environmental Laws, except to the extent
any noncompliance would not reasonably be expected to have a Material Adverse Effect; (ii) there
has been no Release at any of the properties owned or operated by any Loan Party or a predecessor
in interest, or at any disposal or treatment facility which received Hazardous Materials generated
by any Loan Party or any predecessor in interest which would reasonably be expected to have a
Material Adverse Effect; (iii) no Environmental Action has been asserted against any Loan Party
nor does any Loan Party have knowledge or notice of any threatened or pending Environmental
Action against any Loan Party which would reasonably be expected to have a Material Adverse
Effect; (iv) no Environmental Actions have been asserted against any facilities that may have
received Hazardous Materials generated by any Loan Party which would reasonably be expected
to have a Material Adverse Effect; (v) no property now owned or operated by a Loan Party has
been used as a treatment or disposal site for any Hazardous Material which would reasonably be
expected to have a Material Adverse Effect; (vi) no Loan Party has failed to report to the proper
Governmental Authority any Release which is required to be so reported by any Environmental
Laws which would reasonably be expected to have a Material Adverse Effect; (vii) each Loan
Party holds all licenses, permits and approvals required under any Environmental Laws in
connection with the operation of the business carried on by it, except for such licenses, permits
and approvals as to which a Loan Party’s failure to maintain or comply with would not reasonably
be expected to have a Material Adverse Effect; and (viii) no Loan Party has received any
notification pursuant to any Environmental Laws that (A) any work, repairs, construction or
Capital Expenditures are required to be made in respect as a condition of continued compliance
with any Environmental Laws, or any license, permit or approval issued pursuant thereto or (B)
any license, permit or approval referred to above is about to be reviewed, made, subject to
limitations or conditions, revoked, withdrawn or terminated, in each case, except as would not
reasonably be expected to have a Material Adverse Effect.




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                  (r)      Insurance. Each Loan Party maintains the insurance and required services
and financial assurance as required by law and as required by Section 7.01(h). Schedule 6.01(r)
sets forth a list of all insurance maintained by each Loan Party on the Effective Date.

               (s)    [Reserved.]

               (t)     Solvency. After giving effect to the transactions contemplated by this
Agreement and before and after giving effect to each Loan, each Loan Party is, and the Loan
Parties on a consolidated basis are, Solvent.

                (u)      Intellectual Property. Except as set forth on Schedule 6.01(u), each Loan
Party owns or licenses or otherwise has the right to use all Intellectual Property rights that are
necessary for the operation of its business, without infringement upon or conflict with the rights
of any other Person with respect thereto, except for such infringements and conflicts which,
individually or in the aggregate, could not reasonably be expected to have a Material Adverse
Effect. Set forth on Schedule 6.01(u) is a complete and accurate list as of the Effective Date of
(i) each item of Registered Intellectual Property owned by each Loan Party; (ii) each material work
of authorship owned by each Loan party and which is not Registered Intellectual Property; and
(iii) each material Intellectual Property Contract to which each Loan Party is bound. No trademark
or other advertising device, product, process, method, substance, part or other material now
employed, or now contemplated to be employed, by any Loan Party infringes upon or conflicts
with any rights owned by any other Person, and no claim or litigation regarding any of the
foregoing is pending or threatened, except for such infringements and conflicts which could not
reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect. To the
knowledge of each Loan Party, no patent, invention, device, application, principle or any statute,
law, rule, regulation, standard or code pertaining to Intellectual Property is pending or proposed,
which, individually or in the aggregate, could reasonably be expected to have a Material Adverse
Effect.

               (v)    Reserved.

                (w)    Investment Company Act. None of the Loan Parties is (i) an “investment
company” or an “affiliated person” or “promoter” of, or “principal underwriter” of or for, an
“investment company”, as such terms are defined in the Investment Company Act of 1940, as
amended, or (ii) subject to regulation under any Requirement of Law that limits in any respect its
ability to incur Indebtedness or which may otherwise render all or a portion of the Obligations
unenforceable.

               (x)    Reserved.

               (y)    Reserved.

               (z)    Anti-Money Laundering and Anti-Terrorism Laws.

                       (i)      None of the Loan Parties, nor any Affiliate of any of the Loan
Parties, has violated or is in violation of any of the Anti-Money Laundering and Anti-Terrorism
Laws or has engaged in or conspired to engage in any transaction that evades or avoids, or has the

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purpose of evading or avoiding, or attempts to violate, any of the Anti-Money Laundering and
Anti-Terrorism Laws.

                       (ii)     None of the Loan Parties, nor any Affiliate of any of the Loan
Parties, nor any officer, director or principal shareholder or owner of any of the Loan Parties, nor
any of the Loan Parties’ respective agents acting or benefiting in any capacity in connection with
the Loans or other transactions hereunder, is a Blocked Person.

                        (iii)  None of the Loan Parties, nor any of their agents acting in any
capacity in connection with the Loans or other transactions hereunder, (A) conducts any business
with or for the benefit of any Blocked Person or engages in making or receiving any contribution
of funds, goods or services to, from or for the benefit of any Blocked Person, or (B) deals in, or
otherwise engages in any transaction relating to, any property or interests in property blocked or
subject to blocking pursuant to any OFAC Sanctions Programs.

               (aa)    Anti-Bribery and Anti-Corruption Laws.

                       (i)    The Loan Parties are in compliance with the U.S. Foreign Corrupt
Practices Act of 1977, as amended (the “FCPA”), the UK Bribery Act (the “UK Act”) and the anti-
bribery and anti-corruption laws of those jurisdictions in which they do business (collectively, the
“Anti-Corruption Laws”).

                       (ii)    None of the Loan Parties has at any time:

                                        offered, promised, paid, given, or authorized the payment or
giving of any money, gift or other thing of value, directly or indirectly, to or for the benefit of any
employee, official, representative, or other person acting on behalf of any foreign (i.e., non- U.S.)
Governmental Authority thereof, or of any public international organization, or any foreign
political party or official thereof, or candidate for foreign political office (collectively, “Foreign
Official”), for the purpose of: (1) influencing any act or decision of such Foreign Official in his,
her, or its official capacity; or (2) inducing such Foreign Official to do, or omit to do, an act in
violation of the lawful duty of such Foreign Official; or (3) securing any improper advantage, in
order to obtain or retain business for, or with, or to direct business to, any Person; or

                                       acted or attempted to act in any manner which would subject
any of the Loan Parties to liability under any Anti-Corruption Law.

                        (iii)   There are, and have been, no allegations, investigations or inquiries
with regard to a potential violation of any Anti-Corruption Law by any of the Loan Parties or any
of their respective current or former directors, officers, employees, stockholders or agents, or other
persons acting or purporting to act on their behalf.

                     (iv)   The Loan Parties have adopted, implemented and maintain anti-
bribery and anti-corruption policies and procedures that are reasonably designed to ensure
compliance with the Anti-Corruption Laws.

               (bb)    Full Disclosure.

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                         (i)     Each Loan Party has disclosed to the Agents all agreements,
instruments and corporate or other restrictions to which it is subject, and all other matters known
to it, that, individually or in the aggregate, could reasonably be expected to result in a Material
Adverse Effect. None of the reports, financial statements, certificates or other information
furnished by or on behalf of any Loan Party to the Agents (other than forward-looking information
and projections and information of a general economic nature and general information about
Borrowers’ industry) in connection with the negotiation of this Agreement or delivered hereunder
(as modified or supplemented by other information so furnished) contains any material
misstatement of fact or omits to state any material fact necessary to make the statements therein,
in the light of the circumstances under which it was made, not misleading.

                       (ii)     The Projections and the Budget have been prepared on a reasonable
basis and in good faith based on assumptions, estimates, methods and tests that are believed by the
Loan Parties to be reasonable at the time such Projections and the Budget were prepared and
information believed by the Loan Parties to have been accurate based upon the information
available to the Loan Parties at the time such Projections and Budget were furnished to the Lenders,
and no Loan Party is aware of any facts or information that would lead it to believe that such
Projections and Budget are incorrect or misleading in any material respect; it being understood
that (A) the Projections and the Budget are by their nature subject to significant uncertainties and
contingencies, many of which are beyond the Loan Parties’ control, (B) actual results may differ
materially from the Projections and the Budget and such variations may be material and (C) the
Projections and the Budget are not guarantees of performance.

                                                   ARTICLE VII

                                  COVENANTS OF THE LOAN PARTIES

                Section 7.01 Affirmative Covenants. So long as any principal of or interest on
any Loan or any other Obligation (whether or not due) shall remain unpaid (other than Contingent
Indemnity Obligations) or any Lender shall have any Commitment hereunder, each Loan Party
will, unless the Required Lenders shall otherwise consent in writing:

                    (a)      Reporting Requirements. Furnish to each Agent (for delivery to each
Lender):

                        (i)     as soon as available, and in any event within 45 days after the end
of each fiscal month of the Parent and its Subsidiaries, commencing with the fiscal month ending
[__]3, internally prepared consolidated balance sheets, statements of operations and retained
earnings and statements of cash flows as at the end of such fiscal month, and for the period
commencing at the end of the immediately preceding Fiscal Year and ending with the end of such
fiscal month, setting forth in each case in comparative form the figures for the corresponding date
or period set forth in (A) the financial statements for the immediately preceding Fiscal Year
(provided that for the first year following the Effective Date, such comparative figures shall be to
the consolidated financial statements for the immediately preceding Fiscal Year of the Prepetition
Administrative Borrower), and (B) the Budget, all in reasonable detail and certified by an

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    NTD: To be first fiscal month after Effective Date.
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Authorized Officer of the Administrative Borrower as fairly presenting, in all material respects,
the financial position of the Parent and its Subsidiaries as at the end of such fiscal month and the
results of operations, retained earnings and cash flows of the Parent and its Subsidiaries for such
fiscal month and for such year-to-date period, in accordance with GAAP applied in a manner
consistent with that of the most recent audited financial statements furnished to the Agents and the
Lenders, subject to the absence of footnotes and normal year-end adjustments;

                         (ii)    as soon as available and in any event within 45 days after the end of
each fiscal quarter of the Parent and its Subsidiaries, commencing with the fiscal quarter ending
[__]4, consolidated balance sheets, statements of operations and retained earnings and statements
of cash flows of the Parent and its Subsidiaries as at the end of such quarter, and for the period
commencing at the end of the immediately preceding Fiscal Year and ending with the end of such
quarter, setting forth in each case in comparative form the figures for the corresponding date or
period set forth in (1) the financial statements for the immediately preceding Fiscal Year (provided
that for the first year following the Effective Date, such comparative figures shall be to the
consolidated financial statements for the immediately preceding Fiscal Year of the Prepetition
Administrative Borrower) and (2) the Budget, all in reasonable detail and certified by an
Authorized Officer of the Administrative Borrower as fairly presenting, in all material respects,
the financial position of the Parent and its Subsidiaries as of the end of such quarter and the results
of operations and cash flows of the Parent and its Subsidiaries for such quarter and for such year-
to-date period, in accordance with GAAP applied in a manner consistent with that of the most
recent audited financial statements of the Parent and its Subsidiaries furnished to the Agents and
the Lenders, subject to the absence of footnotes and normal year-end adjustments;

                       (iii)   as soon as available, and in any event within 120 days (or 180 days
for the Fiscal Year ended December 31, 2021) after the end of each Fiscal Year of the Parent and
its Subsidiaries, commencing with the Fiscal Year ending December 31, 2022, consolidated
balance sheets, statements of operations and retained earnings and statements of cash flows of the
Parent and its Subsidiaries as at the end of such Fiscal Year, setting forth in each case in
comparative form the figures for the corresponding date or period set forth in (A) the financial
statements for the immediately preceding Fiscal Year (provided that for the first year following
the Effective Date, such comparative figures shall be to the consolidated financial statements for
the immediately preceding Fiscal Year of the Prepetition Administrative Borrower), and (B) the
Budget, all in reasonable detail and prepared in accordance with GAAP, and accompanied by a
report and an opinion with respect to such financial statements, prepared in accordance with
generally accepted auditing standards, of independent certified public accountants of recognized
standing selected by the Parent and reasonably satisfactory to the Agents (initially, Ham, Langston
& Brezina, L.L.P.) (which opinion shall be without (1) a “going concern” or like qualification or
exception or (2) any qualification or exception as to the scope of such audit;

                       (iv)    simultaneously with the delivery of the financial statements of the
Parent and its Subsidiaries required by clauses (ii) and (iii) of this Section 7.01(a), a certificate of
an Authorized Officer of the Administrative Borrower (a “Compliance Certificate”):



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    NTD: To be first fiscal quarter after Effective Date.
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                                     stating that such Authorized Officer has no knowledge of,
the occurrence and continuance during such period of an Event of Default or Default or, if an Event
of Default or Default had occurred and continued or is continuing, describing the nature and period
of existence thereof and the action which the Parent and its Subsidiaries propose to take or have
taken with respect thereto;

                                       (1) in the case of the delivery of the financial statements of
the Parent and its Subsidiaries required by clauses (i) and (iii) of this Section 7.01(a), including a
business segment financial report and a key performance indicator report for the applicable period,
in each case, in form and substance substantially similar to the form of the business segment
financial report and a key performance indicator report delivered by the Borrowers to the Agents
prior to the Effective Date; and (2) in the case of the delivery of the financial statements of the
Parent and its Subsidiaries required by clauses (ii) and (iii) of this Section 7.01(a), (i) attaching a
schedule showing the calculation of the financial covenant specified in Section 7.03, (ii) including
a discussion and analysis of the financial condition and results of operations of the Parent and its
Subsidiaries for the portion of the Fiscal Year then elapsed and discussing the reasons for any
significant variations from the Budget for such period and the figures for the corresponding period
in the previous Fiscal Year, in each case, in the form of such discussion and analysis delivered by
the Borrowers to the Agents prior to the Effective Date, and (iii) to the extent permitted by
applicable Requirements of Law and subject to confidentiality requirements of Governmental
Authorities and to the extent not subject to a legal privilege, including a summary of all documents
and information submitted to any Governmental Authority in connection with any investigation of
any Loan Party other than routine inquiries by such Governmental Authority during the applicable
period;

                                        in the case of the delivery of the financial statements of the
Parent and its Subsidiaries required by clause (iii) of this Section 7.01(a), attaching (1) a summary
of all material insurance coverage maintained as of the date thereof by any Loan Party and all
material insurance coverage planned to be maintained by any Loan Party, together with such other
related documents and information as the Administrative Agent may reasonably require, (2) the
calculation of the Excess Cash Flow in accordance with the terms of Section 2.05(c)(i)(A) and (3)
confirmation that there have been no changes to the information contained in each of the Perfection
Certificates delivered on the Effective Date or the date of the most recently updated Perfection
Certificate delivered pursuant to this clause (iv) and/or attaching an updated Perfection Certificate
identifying any such changes to the information contained therein;

                       (v)     promptly after delivery or receipt thereof: (A) copies of all reports
(including borrowing base certificates and all accounts receivable agings) and default notices
delivered to or received from the ABL Lender under any ABL Loan Documents and (B) copies of
any amendments, waivers, consents or other modifications to any ABL Loan Documents;

                       (vi)    [Reserved];

                       (vii) as soon as available and in any event not later than 30 days after the
start of each Fiscal Year commencing with the Fiscal Year ending [December 31, 2022], a
certificate of an Authorized Officer of the Administrative Borrower (A) attaching a Budget for the
Parent and its Subsidiaries, supplementing and superseding the Budget previously required to be
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delivered pursuant to this Agreement, prepared on a monthly basis and otherwise in form and
substance satisfactory to the Agents, for the immediately succeeding Fiscal Year for the Parent
and its Subsidiaries and (B) certifying that the representations and warranties set forth in Section
6.01(bb)(ii) are true and correct with respect to the Budget;

                        (viii) as soon as possible, and in any event within 3 Business Days after
the any Loan Party has knowledge of the occurrence of an Event of Default or Default or the
occurrence of any event or development that could reasonably be expected to have a Material
Adverse Effect, the written statement of an Authorized Officer of the Administrative Borrower
setting forth the details of such Event of Default or Default or other event or development having
a Material Adverse Effect and the action which the affected Loan Party proposes to take with
respect thereto;

                       (ix)    promptly after the commencement thereof but in any event not later
than 5 days after service of process with respect thereto on, or the obtaining of knowledge thereof
by, any Loan Party, notice of each action, suit or proceeding before any court or other
Governmental Authority or other regulatory body or any arbitrator which, if adversely determined,
could reasonably be expected to have a Material Adverse Effect;

                       (x)    as soon as possible and in any event within 5 Business Days after
execution, receipt or delivery thereof, copies of any notice or report with respect to an event or
matter that is materially adverse to the Agents and the Lenders that any Loan Party executes or
receives in connection with any Material Contract;

                         (xi)    as soon as possible and in any event within 5 Business Days after
execution, receipt or delivery thereof, copies of any material notices that any Loan Party executes
or receives in connection with the sale or other Disposition of the Equity Interests of, or all or
substantially all of the assets of, any Loan Party;

                       (xii) promptly after (A) the sending or filing thereof, copies of all
statements, reports and other information any Loan Party sends to any holders of its Indebtedness
the outstanding principal amount of which equals or exceeds $5,000,000 or its securities or files
with the SEC or any national (domestic or foreign) securities exchange and (B) the receipt thereof,
a copy of any material notice received from any holder of its Indebtedness;

                      (xiii) promptly upon receipt thereof, copies of all financial reports
(including, without limitation, management letters), if any, submitted to any Loan Party by its
auditors in connection with any annual or interim audit of the books thereof;

                      (xiv) promptly upon request, any certification or other evidence
reasonably requested from time to time by any Lender confirming the Borrowers’ compliance with
Section 7.02(s);

                       (xv) simultaneously with the delivery of the financial statements of the
Parent and its Subsidiaries required by clauses (i), (ii) and (iii) of this Section 7.01(a), if, as a result
of any change in accounting principles and policies from those used in the preparation of the
Financial Statements that is permitted by Section 7.02(q), the consolidated financial statements of
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the Parent and its Subsidiaries delivered pursuant to clauses (i), (ii) and (iii) of this Section 7.01(a)
will differ from the consolidated financial statements that would have been delivered pursuant to
such subdivisions had no such change in accounting principles and policies been made, then,
together with the first delivery of such financial statements after such change, one or more
statements of reconciliation for all such prior financial statements in form and substance
satisfactory to the Agents; and

                      (xvi) promptly upon request, such other information concerning the
condition or operations, financial or otherwise, of any Loan Party as any Agent may from time to
time reasonably request.

                (b)     Additional Guarantors and Collateral Security. Cause:

                        (i)     each Subsidiary of any Loan Party not in existence on the Effective
Date, to execute and deliver to the Collateral Agent promptly and in any event within 5 Business
Days (or such longer period agreed to by the Collateral Agent in its sole discretion) after the
formation, acquisition or change in status thereof, (A) a Joinder Agreement, pursuant to which
such Subsidiary shall be made a party to this Agreement as a Guarantor, (B) a supplement to the
Security Agreement, together with (1) certificates evidencing all of the Equity Interests of any
Person owned by such Subsidiary required to be pledged under the terms of the Security
Agreement, (2) undated stock powers for such Equity Interests executed in blank, and (3) such
opinions of counsel as the Collateral Agent may reasonably request, (C) to the extent required
under the terms of this Agreement, one or more Mortgages creating on the real property of such
Subsidiary a perfected, first priority Lien (in terms of priority, subject only to Permitted Specified
Liens) on such real property and such other Real Property Deliverables as may be required by the
Collateral Agent with respect to each such real property, and (D) such other agreements,
instruments, approvals or other documents reasonably requested by the Collateral Agent in order
to create, perfect, establish the first priority of or otherwise protect any Lien purported to be
covered by any such Security Agreement or Mortgage or otherwise to effect the intent that such
Subsidiary shall become bound by all of the terms, covenants and agreements contained in the
Loan Documents and that all property and assets of such Subsidiary shall become Collateral for
the Obligations; and

                       (ii)    each owner of the Equity Interests of any such Subsidiary to execute
and deliver promptly and in any event within 5 Business Days (or such longer period agreed to by
the Collateral Agent in its sole discretion) after the formation or acquisition of such Subsidiary a
Pledge Amendment (as defined in the Security Agreement), together with (A) certificates
evidencing all of the Equity Interests of such Subsidiary required to be pledged under the terms of
the Security Agreement, (B) undated stock powers or other appropriate instruments of assignment
for such Equity Interests executed in blank with signature guaranteed, (C) such opinions of counsel
as the Collateral Agent may reasonably request and (D) such other agreements, instruments,
approvals or other documents requested by the Collateral Agent.

                (c)     Compliance with Laws; Payment of Taxes.

                      (i)     Comply, and cause each of its Subsidiaries to comply, in all material
respects, with all applicable material Requirements of Law (including, without limitation, all
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Environmental Laws), judgments and awards (including any settlement of any claim that, if
breached, could give rise to any of the foregoing), except where the failure to so comply could not
reasonably be expected to result, individually or in the aggregate, in liabilities in excess of
$3,000,000.

                      (ii)    Pay, and cause each of its Subsidiaries to pay, in full before
delinquency or before the expiration of any extension period, all taxes, assessments and other
governmental charges imposed upon any Loan Party or any of its Subsidiaries or any property of
any Loan Party or any of its Subsidiaries in an aggregate amount for all such taxes, assessments
and other governmental charges exceeding $500,000, except to the extent contested in good faith
by proper proceedings which stay the imposition of any penalty, fine or Lien resulting from the
non-payment thereof and with respect to which adequate reserves have been set aside for the
payment thereof to the extent required in accordance with GAAP.

                (d)     Preservation of Existence, Etc. Maintain and preserve, and cause each of its
Subsidiaries to maintain and preserve, its existence, rights and privileges, and become or remain,
and cause each of its Subsidiaries to become or remain, duly qualified and in good standing in each
jurisdiction in which the character of the properties owned or leased by it or in which the
transaction of its business makes such qualification necessary, except to the extent that the failure
to be so qualified could not reasonably be expected to have a Material Adverse Effect.

               (e)     Keeping of Records and Books of Account. (i) Keep, and cause each of its
Subsidiaries to keep, (a) adequate records and books of account, with complete entries made to
permit the preparation of financial statements in accordance with GAAP and (ii) all such records
and books at the Houston Facility.

               (f)     Inspection Rights. Permit, and cause each of its Subsidiaries to permit, the
agents and representatives of any Agent at any time and from time to time during normal business
hours and, in the absence of an Event of Default, upon reasonable prior notice, at the expense of
the Borrowers (subject to the limitations set forth in Section 2.06(b)), to examine and make copies
of and abstracts from its records and books of account, to visit and inspect its properties, to verify
materials, leases, notes, accounts receivable, deposit accounts and its other assets, to conduct
audits, physical counts, valuations, appraisals, Phase I Environmental Site Assessments (and, if
requested by the Collateral Agent based upon the results of any such Phase I Environmental Site
Assessment, a Phase II Environmental Site Assessment) or examinations and to discuss its affairs,
finances and accounts with any of its directors, officers, managerial employees, independent
accountants or any of its other representatives. In furtherance of the foregoing, the Parent hereby
authorizes its independent accountants, and the independent accountants of each of its
Subsidiaries, to discuss the affairs, finances and accounts of such Person (independently or
together with representatives of such Person) with the agents and representatives of any Agent in
accordance with this Section 7.01(f).

                (g)    Maintenance of Properties, Etc. Maintain and preserve, and cause each of
its Subsidiaries to maintain and preserve, all of its properties which are necessary in the proper
conduct of its business in good working order and condition, ordinary wear and tear and casualty
excepted, and comply, and cause each of its Subsidiaries to comply, at all times with the provisions
of all leases to which it is a party as lessee or under which it occupies property, so as to prevent
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any loss or forfeiture thereof or thereunder, except to the extent the failure to so maintain and
preserve or so comply could not reasonably be expected to have a Material Adverse Effect.

                 (h)    Maintenance of Insurance. Maintain, and cause each of its Subsidiaries to
maintain, insurance with responsible and reputable insurance companies or associations
(including, without limitation, comprehensive general liability, hazard, automobile, worker’s
compensation and business interruption insurance) with respect to its properties (including all real
properties leased or owned by it) and business, in such amounts and covering such risks as is
required by any Governmental Authority having jurisdiction with respect thereto or as is carried
generally in accordance with sound business practice by companies in similar businesses similarly
situated and in any event in amount, adequacy and scope reasonably satisfactory to the Collateral
Agent. All policies covering the Collateral are to be made payable to the Collateral Agent for the
benefit of the Agents and the Lenders, as their respective interests may appear, in case of loss,
under a standard non-contributory “lender” or “secured party” clause and are to contain such other
provisions as the Collateral Agent may reasonably require to fully protect the Lenders’ interest in
the Collateral and to any payments to be made under such policies. All certificates of insurance
are to be delivered to the Collateral Agent and the policies are to be premium prepaid, with the
loss payable and additional insured endorsement in favor of the Collateral Agent and such other
Persons as the Collateral Agent may designate from time to time, and shall provide for not less
than 30 days’ (10 days’ in the case of non-payment) prior written notice to the Collateral Agent of
the exercise of any right of cancellation. Each Loan Party and each Subsidiary shall be responsible
for timely compliance with the terms of all policies including but not limited to reporting
occurrences and claims and filing claims under any insurance policies, to receive, receipt and give
acquittance for any payments that may be payable thereunder, and to execute any and all
endorsements, receipts, releases, assignments, reassignments or other documents that may be
necessary to effect the collection, compromise or settlement of any claims under any such
insurance policies. If any Loan Party or any of its Subsidiaries fails to maintain such insurance,
the Collateral Agent may arrange for such insurance, but at the Borrowers’ expense and without
any responsibility on the Collateral Agent’s part for obtaining the insurance, the solvency of the
insurance companies, the adequacy of the coverage, or the collection of claims. Upon the
occurrence and during the continuance of an Event of Default, the Collateral Agent shall have the
sole right, in the name of the Lenders, the Borrowers, any Loan Party and its Subsidiaries, to file
claims under any insurance policies, to receive, receipt and give acquittance for any payments that
may be payable thereunder, and to execute any and all endorsements, receipts, releases,
assignments, reassignments or other documents that may be necessary to effect the collection,
compromise or settlement of any claims under any such insurance policies.

                (i)     Obtaining of Permits, Etc. Obtain, maintain and preserve, and cause each of
its Subsidiaries to obtain, maintain and preserve, and take all necessary action to timely renew, all
permits, licenses, authorizations, approvals, entitlements and accreditations that are necessary or
useful in the proper conduct of its business, in each case, except to the extent the failure to obtain,
maintain, preserve or take such action could not reasonably be expected to have a Material Adverse
Effect.

                (j)     Environmental. (i) Keep any property either owned or operated by it or any
of its Subsidiaries free of any Environmental Liens; (ii) comply, and cause each of its Subsidiaries

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to comply, with all Environmental Laws, to the extent any noncompliance would reasonably be
expected to have a Material Adverse Effect, and provide to the Collateral Agent any documentation
of such compliance which the Collateral Agent may reasonably request; (iii) provide the Agents
written notice within 5 days of any knowledge by the Borrowers of any Release of a Hazardous
Material in excess of any reportable quantity from or onto property at any time owned or operated
by it or any of its Subsidiaries and take any Remedial Actions required to abate said Release; and
(iv) provide the Agents with written notice within 10 days of the receipt of any of the following:
(A) notice that an Environmental Lien has been filed against any property of any Loan Party or
any of its Subsidiaries; (B) commencement of any Environmental Action or notice that an
Environmental Action will be filed against any Loan Party or any of its Subsidiaries; and (C) notice
of a violation, citation or other administrative order which could reasonably be expected to have a
Material Adverse Effect.

               (k)     Fiscal Year. Cause the Fiscal Year of the Parent and its Subsidiaries to end
on December 31 of each fiscal year unless the Agents consent to a change in such Fiscal Year (and
appropriate related changes to this Agreement).

               (l)     [Reserved].

                (m)    After Acquired Real Property. Promptly and in any event, upon the
acquisition by it or any of its Subsidiaries after the date hereof of any fee interest in any real
property (wherever located) (each such interest being a “New Facility”) with a Current Value (as
defined below) in excess of $1,000,000 (provided, however, that the aggregate fair market value
of all owned real property not subject to a Mortgage shall not exceed $2,000,000), immediately so
notify the Collateral Agent, setting forth with specificity a description of the interest acquired, the
location of the real property, any structures or improvements thereon and either an appraisal or
such Loan Party’s good-faith estimate of the current value of such real property (for purposes of
this Section, the “Current Value”). The Collateral Agent shall notify such Loan Party whether it
intends to require a Mortgage (and any other Real Property Deliverables) with respect to such New
Facility. Upon receipt of such notice requesting a Mortgage (and any other Real Property
Deliverables), the Person that has acquired such New Facility shall promptly furnish the same to
the Collateral Agent. The Borrowers shall pay all fees and expenses, including, without limitation,
reasonable attorneys’ fees and expenses, and all title insurance charges and premiums, in
connection with each Loan Party’s obligations under this Section 7.01(m).

               (n)    Anti-Bribery and Anti-Corruption Laws. Maintain, and cause each of its
Subsidiaries to maintain, anti-bribery and anti-corruption policies and procedures that are
reasonably designed to ensure compliance with the Anti-Corruption Laws.

               (o)     [Reserved].

                  (p)     Further Assurances. Take such action and execute, acknowledge and
deliver, and cause each of its Subsidiaries to take such action and execute, acknowledge and
deliver, at its sole cost and expense, such agreements, instruments or other documents as any Agent
may reasonably require from time to time in order (i) to carry out more effectively the purposes of
this Agreement and the other Loan Documents, (ii) to subject to valid and perfected first priority
Liens (subject to the terms of the Intercreditor Agreements) any of the Collateral or any other
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property of any Loan Party and its Subsidiaries, (iii) to establish and maintain the validity and
effectiveness of any of the Loan Documents and the validity, perfection and priority of the Liens
intended to be created thereby, and (iv) to better assure, convey, grant, assign, transfer and confirm
unto each Secured Party the rights now or hereafter intended to be granted to it under this
Agreement or any other Loan Document. In furtherance of the foregoing, to the maximum extent
permitted by applicable law, each Loan Party (A) authorizes each Agent to file such agreements,
instruments or other documents in any appropriate filing office, (B) authorizes each Agent to file
any financing statement required hereunder or under any other Loan Document, and any
continuation statement or amendment with respect thereto, in any appropriate filing office without
the signature of such Loan Party, and (C) ratifies the filing of any financing statement, and any
continuation statement or amendment with respect thereto, filed without the signature of such Loan
Party prior to the date hereof.

                Section 7.02 Negative Covenants. So long as any principal of, or interest on, any
Loan or any other Obligation (whether or not due) shall remain unpaid (other than Contingent
Indemnity Obligations), or any Lender shall have any Commitment hereunder, each Loan Party
shall not, except as specified otherwise, or unless the Required Lenders shall otherwise consent in
writing:

               (a)      Liens, Etc. Create, incur, assume or suffer to exist, or permit any of its
Subsidiaries to create, incur, assume or suffer to exist, any Lien upon or with respect to any of its
properties, whether now owned or hereafter acquired other than Permitted Liens.

              (b)     Indebtedness. Create, incur, assume, guarantee or suffer to exist, or
otherwise become or remain liable with respect to, or permit any of its Subsidiaries to create, incur,
assume, guarantee or suffer to exist or otherwise become or remain liable with respect to, any
Indebtedness other than Permitted Indebtedness.

               (c)     Fundamental Changes; Dispositions.

                        (i)    Wind-up, liquidate or dissolve, or merge, consolidate or amalgamate
with any Person, or permit any of its Subsidiaries to do any of the foregoing; provided, however,
that any wholly-owned Subsidiary of any Loan Party (other than a Borrower) may be merged into
such Loan Party or another wholly-owned Subsidiary of such Loan Party, or may consolidate or
amalgamate with another wholly-owned Subsidiary of such Loan Party, so long as (A) no other
provision of this Agreement would be violated thereby, (B) such Loan Party gives the Agents at
least 10 Business Days’ (or such shorter period agreed to by the Administrative Agent in its sole
discretion) prior written notice of such merger, consolidation or amalgamation accompanied by
true, correct and complete copies of all material agreements, documents and instruments relating
to such merger, consolidation or amalgamation, including, but not limited to, the certificate or
certificates of merger or amalgamation to be filed with each appropriate Secretary of State (with a
copy as filed promptly after such filing), (C) no Default or Event of Default shall have occurred
and be continuing either before or after giving effect to such transaction, (D) the Agents’ and
Lenders’ rights in any Collateral, including, without limitation, the existence, perfection and
priority of any Lien thereon, are not adversely affected by such merger, consolidation or
amalgamation and (E) the surviving Subsidiary, if any, if not already a Loan Party, is joined as a
Loan Party hereunder pursuant to a Joinder Agreement and is a party to a Security Agreement and
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the Equity Interests of such Subsidiary is the subject of a Security Agreement, in each case, which
is in full force and effect on the date of and immediately after giving effect to such merger,
consolidation or amalgamation; and

                        (ii)    Make any Disposition, whether in one transaction or a series of
related transactions, of all or any part of its business, property or assets, whether now owned or
hereafter acquired, or permit any of its Subsidiaries to do any of the foregoing; provided, however,
that any Loan Party and its Subsidiaries may make Permitted Dispositions.

              (d)     Change in Nature of Business. Make, or permit any of its Subsidiaries to
make, any change in the nature of its business as described in Section 6.01(l).

               (e)   Loans, Advances, Investments, Etc. Make, or permit any of its Subsidiaries
to make, any Investment in any other Person except for Permitted Investments.

               (f)     Sale and Leaseback Transactions. Enter into, or permit any of its
Subsidiaries to enter into, any Sale and Leaseback Transaction, except any Sale and Leaseback
Transaction consented to by the Required Lenders.

               (g)     [Intentionally Omitted].

              (h)    Restricted Payments. Make or permit any of its Subsidiaries to make any
Restricted Payment other than Permitted Restricted Payments.

               (i)    Federal Reserve Regulations. Permit any Loan or the proceeds of any Loan
under this Agreement to be used for any purpose that would cause such Loan to be a margin loan
under the provisions of Regulation T, U or X of the Board.

                (j)     Transactions with Affiliates. Enter into, renew, extend or be a party to, or
permit any of its Subsidiaries to enter into, renew, extend or be a party to, any transaction or series
of related transactions (including, without limitation, the purchase, sale, lease, transfer or exchange
of property or assets of any kind or the rendering of services of any kind) with any Affiliate of
Parent or any of its Subsidiaries, except (i) transactions consummated in the ordinary course of
business for fair consideration and on terms no less favorable to it or its Subsidiaries than would
be obtainable in a comparable arm’s length transaction with a Person that is not an Affiliate thereof,
and if they involve one or more payments by the Parent or any of its Subsidiaries in excess of
$250,000 for any single transaction or series of related transactions, that are fully disclosed to the
Administrative Agent prior to the consummation thereof, (ii) transactions solely among two or
more Loan Parties, (iii) transactions permitted by Section 7.02(e) or Section 7.02(h), (iv) sales of
Qualified Equity Interests of the Parent to Affiliates of the Parent not otherwise prohibited by the
Loan Documents and the granting of registration and other customary rights in connection
therewith, and (v) reasonable and customary outside director and officer compensation (including
bonuses (including sale bonuses), deferred compensation and stock option programs), benefits and
indemnification arrangements, in each case approved by the Board of Directors (or a committee
thereof) of such Loan Party or such Subsidiary.



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                 (k)    Limitations on Dividends and Other Payment Restrictions Affecting
Subsidiaries. Create or otherwise cause, incur, assume, suffer or permit to exist or become
effective any consensual encumbrance or restriction of any kind on the ability of any Subsidiary
of any Loan Party (i) to pay dividends or to make any other distribution on any shares of Equity
Interests of such Subsidiary owned by any Loan Party or any of its Subsidiaries, (ii) to pay or
prepay or to subordinate any Indebtedness owed to any Loan Party or any of its Subsidiaries, (iii) to
make loans or advances to any Loan Party or any of its Subsidiaries or (iv) to transfer any of its
property or assets to any Loan Party or any of its Subsidiaries, or permit any of its Subsidiaries to
do any of the foregoing; provided, however, that nothing in any of clauses (i) through (iv) of this
Section 7.02(k) shall prohibit or restrict compliance with: (A) this Agreement, the other Loan
Documents, the First Lien Loan Documents, the ABL Loan Documents and the Parent Company
Agreement; (B) any agreement in effect on the date of this Agreement and described on Schedule
7.02(k), or any extension, replacement or continuation of any such agreement; provided, that, any
such encumbrance or restriction contained in such extended, replaced or continued agreement is
no less favorable to the Agents and the Lenders than the encumbrance or restriction under or
pursuant to the agreement so extended, replaced or continued; (C) any applicable law, rule or
regulation (including, without limitation, applicable currency control laws and applicable state
corporate statutes restricting the payment of dividends in certain circumstances); (D) in the case
of clause (iv), (1) customary restrictions on the subletting, assignment or transfer of any specified
property or asset set forth in a lease, license, asset sale agreement or similar contract for the
conveyance of such property or asset and (2) instrument or other document evidencing a Permitted
Lien (or the Indebtedness secured thereby) from restricting on customary terms the transfer of any
property or assets subject thereto; (E) customary restrictions on dispositions of real property
interests in reciprocal easement agreements; (F) customary restrictions in agreements for the sale
of assets on the transfer or encumbrance of such assets during an interim period prior to the closing
of the sale of such assets; or (G) customary restrictions in contracts that prohibit the assignment of
such contract.

                 (l)    Limitations on Negative Pledges. Enter into, incur or permit to exist, or
permit any Subsidiary to enter into, incur or permit to exist, directly or indirectly, any agreement,
instrument, deed, lease or other arrangement that prohibits, restricts or imposes any condition upon
the ability of any Loan Party or any Subsidiary of any Loan Party to create, incur or permit to exist
any Lien upon any of its property or revenues, whether now owned or hereafter acquired, or that
requires the grant of any security for an obligation if security is granted for another obligation,
except the following: (i) this Agreement, the other Loan Documents, the ABL Loan Documents
and the First Lien Loan Documents, (ii) restrictions or conditions imposed by any agreement
relating to secured Indebtedness permitted by Section 7.02(b) of this Agreement if such restrictions
or conditions apply only to the property or assets securing such Indebtedness, (iii) any customary
restrictions and conditions contained in agreements relating to the sale or other disposition of assets
or of a Subsidiary pending such sale or other disposition; provided that such restrictions and
conditions apply only to the assets or Subsidiary to be sold or disposed of and such sale or
disposition is permitted hereunder, and (iv) customary provisions in leases restricting the
assignment or sublet thereof.

              (m)    Modifications and Payment of Indebtedness; Organizational Documents
and Certain Other Agreements; Etc.

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                        (i)   (A) Amend, modify or otherwise change (or permit the amendment,
modification or other change in any manner of) any of the provisions of any of its or its
Subsidiaries’ Indebtedness for borrowed money (other than the First Lien Loan Documents or
ABL Indebtedness) or of any instrument or agreement (including, without limitation, any purchase
agreement, indenture, loan agreement or security agreement) relating to any such Indebtedness if
such amendment, modification or change would shorten the final maturity or average life to
maturity of, or require any payment to be made earlier than the date originally scheduled on, such
Indebtedness, would increase the interest rate applicable to such Indebtedness, would add any
covenant or event of default, would change the subordination provision, if any, of such
Indebtedness, or would otherwise be adverse to the Lenders or the issuer of such Indebtedness in
any respect, (B) amend, modify or otherwise change (or permit the amendment, modification or
other change in any manner of) any of the provisions of the ABL Indebtedness other than in
accordance with the terms of the ABL/Term Intercreditor Agreement or (C) amend, modify or
otherwise change (or permit the amendment, modification or other change in any manner of) any
of the provisions of the Second Lien Loan Documents other than in accordance with the terms of
the Term Intercreditor Agreement;

                        (ii)    except for the First Lien Indebtedness and the ABL Indebtedness (in
accordance with the terms thereof) and the payment of dividends in connection with the Parent
Preferred Equity and the redemption of Parent Preferred Equity, in each case in accordance with
the Parent Company Agreement and this Agreement (including Section 7.02(h) hereof), (A) make
any voluntary or optional payment (including, without limitation, any payment of interest in cash
that, at the option of the issuer, may be paid in cash or in kind), prepayment, redemption,
defeasance, sinking fund payment or other acquisition for value of any of its or its Subsidiaries’
Indebtedness (including, without limitation, by way of depositing money or securities with the
trustee therefor before the date required for the purpose of paying any portion of such Indebtedness
when due), (B) refund, refinance, replace or exchange any other Indebtedness for any such
Indebtedness (other than with respect to Permitted Refinancing Indebtedness), (C) make any
payment, prepayment, redemption, defeasance, sinking fund payment or repurchase of any
Subordinated Indebtedness in violation of the subordination provisions thereof or any
subordination agreement with respect thereto, or (D) make any payment, prepayment, redemption,
defeasance, sinking fund payment or repurchase of any Indebtedness as a result of any asset sale,
change of control, issuance and sale of debt or equity securities or similar event, or give any notice
with respect to any of the foregoing; provided that this clause (ii) shall not prohibit (a) payments
in kind permitted hereunder and (b) other payments of principal, interest, or mandatory
prepayments of the Obligations hereunder in accordance with this Agreement and the Term
Intercreditor Agreement; or

                          (iii)    amend, modify or otherwise change any of its Governing
Documents (including, without limitation, by the filing or modification of any certificate of
designation, or any agreement or arrangement entered into by it) with respect to any of its Equity
Interests, or enter into any new agreement with respect to any of its Equity Interests, except any
such amendments, modifications or changes or any such new agreements or arrangements pursuant
to this clause (iii) that, either individually or in the aggregate, would not be adverse to the Agents
and the Lenders in any material respect.


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               (n)      Investment Company Act of 1940. Engage in any business, enter into any
transaction, use any securities or take any other action or permit any of its Subsidiaries to do any
of the foregoing, that would cause it or any of its Subsidiaries to become subject to the registration
requirements of the Investment Company Act of 1940, as amended, by virtue of being an
“investment company” or a company “controlled” by an “investment company” not entitled to an
exemption within the meaning of such Act.

                (o)     ERISA. (i) Engage, or permit or suffer to exist any ERISA Affiliate to
engage, in any transaction described in Section 4069 or 4212(c) of ERISA; (ii) with respect to any
Employee Plan, engage, or permit any ERISA Affiliate to engage, in any prohibited transaction
described in Section 406 of ERISA or 4975 of the Internal Revenue Code for which a statutory or
class exemption is not available or a private exemption has not previously been obtained from the
U.S. Department of Labor; (iii) adopt or permit or suffer to exist any ERISA Affiliate to adopt a
Plan or any employee welfare benefit plan within the meaning of Section 3(1) of ERISA which
provides benefits to retirees after termination of employment other than as required by Section 601
of ERISA or applicable law; (iv) fail to make any contribution or payment to any Multiemployer
Plan which it or any ERISA Affiliate may be required to make under any agreement relating to
such Multiemployer Plan, or any law pertaining thereto; or (v) fail, or permit any ERISA Affiliate
to fail, to pay any required installment or any other payment required under Section 412 of the
Internal Revenue Code on or before the due date for such installment or other payment.

               (p)     Environmental. Permit the use, handling, generation, storage, treatment,
Release or disposal of Hazardous Materials at any property owned or leased by it or any of its
Subsidiaries, except in compliance in all material respects with Environmental Laws.

               (q)     Accounting Methods. Modify or change, or permit any of its Subsidiaries
to modify or change, its method of accounting or accounting principles from those utilized in the
preparation of the Financial Statements (other than as may be required to conform to GAAP).

               (r)     Anti-Money Laundering and Anti-Terrorism Laws.

                       (i)     None of the Loan Parties, nor any of their Affiliates or agents, shall:

                                      conduct any business or engage in any transaction or dealing
with or for the benefit of any Blocked Person, including the making or receiving of any
contribution of funds, goods or services to, from or for the benefit of any Blocked Person;

                                    deal in, or otherwise engage in any transaction relating to,
any property or interests in property blocked or subject to blocking pursuant to the OFAC
Sanctions Programs;

                                     use any of the proceeds of the transactions contemplated by
this Agreement to finance, promote or otherwise support in any manner any illegal activity,
including, without limitation, any violation of the Anti-Money Laundering and Anti-Terrorism
Laws or any specified unlawful activity as that term is defined in the Money Laundering Control
Act of 1986, 18 U.S.C. §§ 1956 and 1957; or

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                                       violate, attempt to violate, or engage in or conspire to engage
in any transaction that evades or avoids, or has the purpose of evading or avoiding, any of the Anti-
Money Laundering and Anti-Terrorism Laws.

                       (ii)     None of the Loan Parties, nor any Affiliate of any of the Loan
Parties, nor any officer, director or principal shareholder or owner of any of the Loan Parties, nor
any of the Loan Parties’ respective agents acting or benefiting in any capacity in connection with
the Loans or other transactions hereunder, shall be or shall become a Blocked Person.

                   (s)      Anti-Bribery and Anti-Corruption Laws. None of the Loan Parties shall:

                          (i)     offer, promise, pay, give, or authorize the payment or giving of any
money, gift or other thing of value, directly or indirectly, to or for the benefit of any Foreign
Official for the purpose of: (A) influencing any act or decision of such Foreign Official in his, her,
or its official capacity; or (B) inducing such Foreign Official to do, or omit to do, an act in violation
of the lawful duty of such Foreign Official; or (C) securing any improper advantage, in order to
obtain or retain business for, or with, or to direct business to, any Person; or

                        (ii)   act or attempt to act in any manner which would subject any of the
Loan Parties to liability under any Anti-Corruption Law.

                Section 7.03 Minimum EBITDA. The Loan Parties shall not permit Consolidated
EBITDA of the Parent and its Subsidiaries for the consecutive 12 fiscal month period, commencing
with the fiscal quarter ending on December 31, 2022, and each subsequent consecutive 12 fiscal
month period tested as of the last day of each fiscal quarter ending prior to the Suspension Date to
be less than $[___] without the consent (not to be unreasonably withheld or delayed) of the
Goldman Lenders (other than any Defaulting Lender).
                                                ARTICLE VIII


                   Cash Management Arrangements and Other Collateral Matters

                 Section 8.01 Cash Management Arrangements. (a) On or prior to [___], 20225,
the Loan Parties shall (i) establish and maintain cash management services of a type and on terms
reasonably satisfactory to the Agents at one or more banks reasonably acceptable to the Agents
(each a “Cash Management Bank”) and (ii) except as otherwise provided under Section 8.01(b),
deposit or cause to be deposited promptly, and in any event no later than the next Business Day
after the date of receipt thereof, all proceeds in respect of any Collateral, all Collections (of a nature
susceptible to a deposit in a bank account) and all other amounts received by any Loan Party
(including payments made by Account Debtors directly to any Loan Party) into a Cash
Management Account.

            (b)   On or prior to [___], 20226, the Loan Parties shall, with respect to each Cash
Management Account (other than Excluded Accounts), deliver to the Collateral Agent a Control


5
    NTD: To be 60 days post- Effective Date.
6
    NTD: To be 60 days post- Effective Date.
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Agreement with respect to such Cash Management Account. After [___], 20227 (or such later date
as the Collateral Agent may agree in writing), the Loan Parties shall not maintain, and shall not
permit any of their Subsidiaries to maintain, cash, Cash Equivalents or other amounts in any
deposit account or securities account, unless the Collateral Agent shall have received a Control
Agreement in respect of each such Cash Management Account (other than Excluded Accounts).

                (c)    No Loan Party nor any of its Subsidiaries shall permit the maintenance of
cash and Cash Equivalents (a) in the Barbados Accounts in excess of $250,000 in the aggregate,
or (b) in the Philippines Accounts in excess of $500,000 in the aggregate, in the case of each of
the preceding clauses (a) and (b), for any period of 5 consecutive days; it being understood that
any amounts in excess of such threshold for such 5 day period shall be promptly repatriated to a
Deposit Account held in the United States by a Loan Party and subject to a Control Agreement.

               (d)    No Loan Party nor any of its Subsidiaries shall permit the maintenance of
cash (a) in any Customer Trust Account, other than (i) cash owned by the applicable underlying
customer (x) that was collected by such Loan Party from third parties in connection with its
performance of services for such customer and (y) for payment of fees and expenses incurred by
such Loan Party for the performance of such services, or (ii) funds advanced to such Customer
Trust Account by a Loan Party to comply with client remittance requirements, and (b) in any
License Trust Account, other than cash that such Loan Party is required to maintain in such account
by the applicable underlying State or Governmental Authority; it being understood that any
amounts in excess of such thresholds shall be promptly remitted to a Deposit Account subject to a
Control Agreement.

                (e)      So long as no Default or Event of Default has occurred and is continuing,
the Borrowers may amend Schedule 8.01 to add or replace a Cash Management Bank or Cash
Management Account; provided, however, that (i) such prospective Cash Management Bank shall
be reasonably satisfactory to the Collateral Agent and the Collateral Agent shall have consented
in writing in advance to the opening of such Cash Management Account with the prospective Cash
Management Bank, and (ii) prior to the time of the opening of such Cash Management Account,
each Loan Party and such prospective Cash Management Bank shall have executed and delivered
to the Collateral Agent a Control Agreement. Subject to the conditions set forth in any Control
Agreement with respect to any such Cash Management Account, each Loan Party shall close any
of its Cash Management Accounts (and establish replacement cash management accounts in
accordance with the foregoing sentence) promptly and in any event within 30 days of notice from
the Collateral Agent that the creditworthiness of any Cash Management Bank is no longer
acceptable in the Collateral Agent’s reasonable judgment, or that the operating performance, funds
transfer, or availability procedures or performance of such Cash Management Bank with respect
to Cash Management Accounts or the Collateral Agent’s liability under any Control Agreement
with such Cash Management Bank is no longer acceptable in the Collateral Agent’s reasonable
judgment.




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    NTD: To be 60 days post- Effective Date.
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                                           ARTICLE IX

                                     EVENTS OF DEFAULT

               Section 9.01 Events of Default. Each of the following events shall constitute an
event of default (each, an “Event of Default”):

               (a)    any Borrower shall fail to pay (whether by scheduled maturity, required
prepayment, acceleration, demand or otherwise) (i) within three (3) Business Days following the
due date interest on any Loan, any Collateral Agent Advance, or any fee, indemnity or other
amount payable under this Agreement (other than any portion thereof constituting principal of the
Loans) or any other Loan Document or (ii) all or any portion of the principal of the Loans when
due;

               (b)      any representation or warranty made or deemed made by or on behalf of
any Loan Party or by any Authorized Officer of the foregoing under or in connection with any
Loan Document or under or in connection with any certificate or other writing delivered to any
Secured Party pursuant to any Loan Document shall have been incorrect in any material respect
(or in any respect if such representation or warranty is qualified or modified as to materiality or
“Material Adverse Effect” in the text thereof) when made or deemed made;

                (c)    any Loan Party shall fail to perform or comply with any covenant or
agreement contained in Section 5.02, Section 7.01(a), Section 7.01(c), Section 7.01(d), Section
7.01(f), Section 7.01(h), Section 7.01(k), Section 7.01(n), Section 7.01(o), Section 7.02 or Section
7.03 or Article VIII;

               (d)     any Loan Party shall fail to perform or comply with any other term,
covenant or agreement contained in any Loan Document to be performed or observed by it and,
except as set forth in subsections (a), (b) and (c) of this Section 9.01, such failure, if capable of
being remedied, shall remain unremedied for 30 days after the earlier of the date a senior officer
of any Loan Party has knowledge of such failure and the date written notice of such default shall
have been given by any Agent or the Required Lenders to any Loan Party;

                (e)      any Loan Party or any of its Subsidiaries shall (i) fail to pay when due
(whether by scheduled maturity, required prepayment, acceleration, demand or otherwise) any
principal, interest or other amount payable in respect of any Material Indebtedness (excluding (x)
Indebtedness evidenced by this Agreement and (y) any failure to pay any applicable dividend on
any Parent Preferred Equity in accordance with the Parent Company Agreement), and such failure
shall continue after the applicable grace period, if any, specified in the agreement or instrument
relating to such Indebtedness, or (ii) fail to observe or perform any other agreement or condition
under any agreement or instrument relating to any such Material Indebtedness and such failure or
event shall continue after the applicable grace period, if any, specified in such agreement or
instrument, if the effect of such failure or event is to accelerate, or to permit the acceleration of,
the maturity of such Indebtedness; or any such Indebtedness shall be declared to be due and
payable, or required to be prepaid (other than by a regularly scheduled required prepayment),
redeemed, purchased or defeased or an offer to prepay, redeem, purchase or defease such
Indebtedness shall be required to be made, in each case, prior to the stated maturity thereof;
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                (f)     any Loan Party or any of its Subsidiaries (i) shall institute any proceeding
or voluntary case seeking to adjudicate it a bankrupt or insolvent, or seeking dissolution,
liquidation, winding up, administration, receivership, reorganization, arrangement, adjustment,
protection, relief or composition of it or its debts under any law relating to bankruptcy, insolvency,
reorganization, receivership or relief of debtors, or seeking the entry of an order for relief or the
appointment of a receiver, trustee, custodian, administrator or other similar official for any such
Person or for any substantial part of its property, (ii) shall be generally not paying its debts as such
debts become due or shall admit in writing its inability to pay its debts generally, (iii) shall make
a general assignment for the benefit of creditors, or (iv) shall take any action to authorize or effect
any of the actions set forth above in this subsection (f);

                 (g)     any proceeding shall be instituted against any Loan Party or any of its
Subsidiaries seeking to adjudicate it a bankrupt or insolvent, or seeking dissolution, liquidation,
winding up, administration, receivership, reorganization, arrangement, adjustment, protection,
relief of debtors, or seeking the entry of an order for relief or the appointment of a receiver, trustee,
custodian, administrator or other similar official for any such Person or for any substantial part of
its property, and either such proceeding shall remain undismissed or unstayed for a period of 30
days or any of the actions sought in such proceeding (including, without limitation, the entry of an
order for relief against any such Person or the appointment of a receiver, trustee, custodian or other
similar official for it or for any substantial part of its property) shall occur;

                 (h)     any material provision of any Loan Document shall at any time for any
reason (other than pursuant to the express terms thereof) cease to be valid and binding on or
enforceable against any Loan Party intended to be a party thereto, or the validity or enforceability
thereof shall be contested by any party thereto, or a proceeding shall be commenced by any Loan
Party or any Governmental Authority having jurisdiction over any of them, seeking to establish
the invalidity or unenforceability thereof, or any Loan Party shall deny in writing that it has any
liability or obligation purported to be created under any Loan Document;

                (i)      any Security Agreement, any Mortgage or any other security document,
after delivery thereof pursuant hereto, shall for any reason (except to the extent such failure results
from the failure of the Collateral Agent to maintain possession of Collateral as to which the Liens
thereon are perfected by possession or otherwise as a result of any action or failure to act by the
Collateral Agent when provided with the information required by the Loan Documents) fail or
cease to create a valid and perfected and, except to the extent permitted by the terms hereof or
thereof, first priority Lien (subject to the terms of the Intercreditor Agreements) in favor of the
Collateral Agent for the benefit of the Agents and the Lenders on any Collateral purported to be
covered thereby;

                (j)   one or more judgments, orders or awards (or any settlement of any litigation
or other proceeding that, if breached, could result in a judgment, order or award) for the payment
of money exceeding $1,000,000 in the aggregate (except to the extent fully covered (other than to
the extent of customary deductibles) by insurance pursuant to which the insurer has been notified
and has not denied coverage) shall be rendered against any Loan Party or any of its Subsidiaries
and remain unsatisfied and (i) enforcement proceedings shall have been commenced by any
creditor upon any such judgment, order, award or settlement or (ii) there shall be a period of 30

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consecutive days after entry thereof during which (A) a stay of enforcement thereof is not be in
effect or (B) the same is not vacated, discharged, stayed or bonded pending appeal;

              (k)    one or more fines and/or penalties for the payment of money exceeding
$10,000,000 in the aggregate shall be levied against any Loan Party or any of its Subsidiaries by
the Consumer Fraud Protection Bureau or any other Governmental Authority;

               (l)     [reserved];

                (m)    any material damage to, or loss, theft or destruction of, any Collateral,
whether or not insured, or any strike, lockout, labor dispute, embargo, condemnation, act of God
or public enemy, or other casualty which causes, for more than 15 consecutive days, the cessation
or substantial curtailment of revenue producing activities at any facility of any Loan Party, if any
such event or circumstance would reasonably be expected to have a Material Adverse Effect;

                (n)   the loss, suspension or revocation of, or failure to renew, any license or
permit now held or hereafter acquired by any Loan Party, if such loss, suspension, revocation or
failure to renew would reasonably be expected to have a Material Adverse Effect;

               (o)     [reserved];

              (p)    (i) there shall occur and be continuing any “Event of Default” (or any
comparable term) under, and as defined in the documents evidencing or governing any
Subordinated Indebtedness, (ii) with respect to any Subordinated Indebtedness, any of the
Obligations for any reason shall cease to be “Senior Indebtedness” or “Designated Senior
Indebtedness” (or any comparable terms) under, and as defined in the documents evidencing or
governing any Subordinated Indebtedness, (iii) with respect to any Subordinated Indebtedness,
any Indebtedness other than the Obligations shall constitute “Designated Senior Indebtedness” (or
any comparable term) under, and as defined in, the documents evidencing or governing any
Subordinated Indebtedness, and (iv) the subordination provisions of the documents evidencing or
governing any Subordinated Indebtedness shall, in whole or in part, terminate, cease to be effective
or cease to be legally valid, binding and enforceable against any holder of the applicable
Subordinated Indebtedness;

               (q)     a Change of Control shall have occurred; or

               (r)     a Termination Event shall have occurred;

then, during the continuation of any such event, the Collateral Agent may, and shall, at the request
of the Required Lenders, by notice to the Administrative Borrower, (i) terminate or reduce all
Commitments, whereupon all Commitments shall immediately be so terminated or reduced, (ii)
declare all or any portion of the Loans then outstanding to be due and payable, whereupon all or
such portion of the aggregate principal of all Loans, all accrued and unpaid interest thereon, all
fees and all other amounts payable under this Agreement and the other Loan Documents shall
become due and payable immediately, together with the payment of the Applicable Premium with
respect to the Loans so repaid, without presentment, demand, protest or further notice of any kind,
all of which are hereby expressly waived by each Loan Party and (iii) exercise any and all of its

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other rights and remedies under applicable law, hereunder and under the other Loan Documents;
provided, however, that upon the occurrence of any Event of Default described in subsection (f)
or (g) of this Section 9.01 with respect to any Loan Party, without any notice to any Loan Party or
any other Person or any act by any Agent or any Lender, all Commitments shall automatically
terminate and all Loans then outstanding, together with all accrued and unpaid interest thereon, all
fees and all other amounts due under this Agreement and the other Loan Documents, including,
without limitation, the Applicable Premium, shall be accelerated and become due and payable
automatically and immediately, without presentment, demand, protest or notice of any kind, all of
which are expressly waived by each Loan Party.

                Section 9.02 Cure Right. In the event that the Borrowers fail to comply with the
requirements of any financial covenant set forth in Section 7.03 (such financial covenant, a
“Specified Financial Covenant” and such Event of Default, a “Curable Default”), from the last day
of the applicable fiscal quarter until the expiration of the 10th day after the date on which financial
statements are required to be delivered with respect to such fiscal quarter hereunder, the Parent
shall have the right to issue Permitted Cure Equity for cash or otherwise receive cash contributions
to the capital of the Parent and contribute such cash to the Borrower which such Permitted Cure
Equity may be included in the calculation of Consolidated EBITDA solely for the purposes of
determining compliance with the Specified Financial Covenant at the end of such fiscal quarter
and any subsequent calculation period that includes such fiscal quarter (such right, the “Cure
Right”); provided, that (a) such proceeds are actually received by the Borrowers no later than 10
days after the date on which financial statements are required to be delivered with respect to such
fiscal quarter hereunder, and (b) such proceeds do not exceed the aggregate amount necessary to
cure such Curable Default for such period. If, after giving effect to the foregoing pro forma
adjustment, the Borrowers are in compliance with the Specified Financial Covenant, the Borrowers
shall be deemed to have satisfied the requirements of such Section as of the relevant date of
determination with the same effect as though there had been no failure to comply on such date,
and the applicable Curable Default shall be deemed cured for purposes of this Agreement. From
and after the receipt by the Administrative Agent of a written notice from Parent or the
Administrative Borrower that the Parent or the Borrowers intend to exercise a Cure Right with
respect to a particular fiscal quarter of Parent and its Subsidiaries and until the expiration of the
10th day after the date on which the Compliance Certificate is required to be delivered pursuant to
Section 7.01(a)(iv) with respect to such fiscal quarter, neither the Administrative Agent nor the
Required Lenders shall exercise any right under Section 9.01 solely on the basis of an Event of
Default having occurred and being continuing in respect of a failure to comply with the
requirements of the financial covenant set forth in Section 7.03(a); provided, that, during such
period, an Event of Default in respect of such failure to comply shall continue to exist for all other
purposes of this Agreement and the other Loan Documents.

                                            ARTICLE X

                                              AGENTS

              Section 10.01 Appointment. Each Lender (and each subsequent maker of any
Loan by its making thereof) hereby irrevocably appoints, authorizes and empowers the
Administrative Agent and the Collateral Agent to perform the duties of each such Agent as set

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forth in this Agreement and the other Loan Documents, together with such actions and powers as
are reasonably incidental thereto, including: (i) to receive on behalf of each Lender any payment
of principal of or interest on the Loans outstanding hereunder and all other amounts accrued
hereunder for the account of the Lenders and paid to such Agent, and, subject to Section 2.02 of
this Agreement, to distribute promptly to each Lender its Pro Rata Share of all payments so
received; (ii) to distribute to each Lender copies of all material notices, written reports, certificates
and agreements received by such Agent, in its capacity as Agent, and not required to be delivered
to each Lender pursuant to the terms of this Agreement, provided that the Agents shall not have
any liability to the Lenders for any Agent’s inadvertent failure to distribute any such notices,
written reports, certificates or agreements to the Lenders; (iii) to maintain, in accordance with its
customary business practices, ledgers and records reflecting the status of the Obligations, the
Loans, and related matters and to maintain, in accordance with its customary business practices,
ledgers and records reflecting the status of the Collateral and related matters; (iv) to execute or file
any and all financing or similar statements or notices, amendments, renewals, supplements,
documents, instruments, proofs of claim, notices and other written agreements with respect to this
Agreement or any other Loan Document; (v) to make the Loans and Collateral Agent Advances,
for such Agent or on behalf of the applicable Lenders as provided in this Agreement or any other
Loan Document; (vi) to perform, exercise, and enforce any and all other rights and remedies of the
Lenders with respect to the Loan Parties, the Obligations, or otherwise related to any of same to
the extent reasonably incidental to the exercise by such Agent of the rights and remedies
specifically authorized to be exercised by such Agent by the terms of this Agreement or any other
Loan Document; (vii) to incur and pay such fees necessary or appropriate for the performance and
fulfillment of its functions and powers pursuant to this Agreement or any other Loan Document;
(viii) subject to Section 10.03, to take such action as such Agent deems appropriate on its behalf
to administer the Loans and the Loan Documents and to exercise such other powers delegated to
such Agent by the terms hereof or the other Loan Documents (including, without limitation, the
power to give or to refuse to give notices, waivers, consents, approvals and instructions and the
power to make or to refuse to make determinations and calculations); and (ix) to act with respect
to all Collateral under the Loan Documents, including for purposes of acquiring, holding and
enforcing any and all Liens on Collateral granted by any of the Loan Parties to secure any of the
Obligations. As to any matters not expressly provided for by this Agreement and the other Loan
Documents (including, without limitation, enforcement or collection of the Loans), the Agents
shall not be required to exercise any discretion or take any action, but shall be required to act or to
refrain from acting (and shall be fully protected in so acting or refraining from acting) upon the
instructions of the Required Lenders (or such other number or percentage of the Lenders as shall
be expressly provided for herein or in the other Loan Documents), and such instructions of the
Required Lenders (or such other number or percentage of the Lenders as shall be expressly
provided for herein or in the other Loan Documents) shall be binding upon all Lenders and all
makers of Loans; provided, however, the Agents shall not be required to take any action which, in
the reasonable opinion of any Agent, exposes such Agent to liability or which is contrary to this
Agreement or any other Loan Document or applicable law.

               Section 10.02 Nature of Duties; Delegation. (a) The Agents shall have no duties
or responsibilities except those expressly set forth in this Agreement or in the other Loan
Documents. The duties of the Agents shall be mechanical and administrative in nature. The Agents
shall not have by reason of this Agreement or any other Loan Document a fiduciary relationship
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in respect of any Lender. Nothing in this Agreement or any other Loan Document, express or
implied, is intended to or shall be construed to impose upon the Agents any obligations in respect
of this Agreement or any other Loan Document except as expressly set forth herein or therein.
Each Lender shall make its own independent investigation of the financial condition and affairs of
the Loan Parties in connection with the making and the continuance of the Loans hereunder and
shall make its own appraisal of the creditworthiness of the Loan Parties and the value of the
Collateral, and the Agents shall have no duty or responsibility, either initially or on a continuing
basis, to provide any Lender with any credit or other information with respect thereto, whether
coming into their possession before the initial Loan hereunder or at any time or times thereafter,
provided that, upon the reasonable request of a Lender, each Agent shall provide to such Lender
any documents or reports delivered to such Agent by the Loan Parties pursuant to the terms of this
Agreement or any other Loan Document. If any Agent seeks the consent or approval of the
Required Lenders (or such other number or percentage of the Lenders as shall be expressly
provided for herein or in the other Loan Documents) to the taking or refraining from taking any
action hereunder, such Agent shall send notice thereof to each Lender. Each Agent shall promptly
notify each Lender any time that the Required Lenders (or such other number or percentage of the
Lenders as shall be expressly provided for herein or in the other Loan Documents) have instructed
such Agent to act or refrain from acting pursuant hereto.

                (b)     Each Agent may, upon any term or condition it specifies, delegate or
exercise any of its rights, powers and remedies under, and delegate or perform any of its duties or
any other action with respect to, any Loan Document by or through any trustee, sub-agent, co-
agent, employee, attorney-in-fact and any other Person (including any Lender). Any such Person
shall benefit from this Article X to the extent provided by the applicable Agent.

                Section 10.03 Rights, Exculpation, Etc. The Agents and their directors, officers,
agents or employees shall not be liable for any action taken or omitted to be taken by them under
or in connection with this Agreement or the other Loan Documents, except for their own gross
negligence or willful misconduct as determined by a final non-appealable judgment of a court of
competent jurisdiction. Without limiting the generality of the foregoing, the Agents (i) may treat
the payee of any Loan as the owner thereof until the Collateral Agent receives written notice of
the assignment or transfer thereof, pursuant to Section 12.07 hereof, signed by such payee and in
form satisfactory to the Collateral Agent; (ii) may consult with legal counsel (including, without
limitation, counsel to any Agent or counsel to the Loan Parties), independent public accountants,
and other experts selected by any of them and shall not be liable for any action taken or omitted to
be taken in good faith by any of them in accordance with the advice of such counsel or experts;
(iii) make no warranty or representation to any Lender and shall not be responsible to any Lender
for any statements, certificates, warranties or representations made in or in connection with this
Agreement or the other Loan Documents; (iv) shall not have any duty to ascertain or to inquire as
to the performance or observance of any of the terms, covenants or conditions of this Agreement
or the other Loan Documents on the part of any Person, the existence or possible existence of any
Default or Event of Default, or to inspect the Collateral or other property (including, without
limitation, the books and records) of any Person; (v) shall not be responsible to any Lender for the
due execution, legality, validity, enforceability, genuineness, sufficiency or value of this
Agreement or the other Loan Documents or any other instrument or document furnished pursuant
hereto or thereto; and (vi) shall not be deemed to have made any representation or warranty

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regarding the existence, value or collectability of the Collateral, the existence, priority or
perfection of the Collateral Agent’s Lien thereon, or any certificate prepared by any Loan Party in
connection therewith, nor shall the Agents be responsible or liable to the Lenders for any failure
to monitor or maintain any portion of the Collateral. The Agents shall not be liable for any
apportionment or distribution of payments made in good faith pursuant to Section 4.03, and if any
such apportionment or distribution is subsequently determined to have been made in error, and the
sole recourse of any Lender to whom payment was due but not made shall be to recover from other
Lenders any payment in excess of the amount which they are determined to be entitled. The Agents
may at any time request instructions from the Lenders with respect to any actions or approvals
which by the terms of this Agreement or of any of the other Loan Documents the Agents are
permitted or required to take or to grant, and if such instructions are promptly requested, the Agents
shall be absolutely entitled to refrain from taking any action or to withhold any approval under any
of the Loan Documents until they shall have received such instructions from the Required Lenders.
Without limiting the foregoing, no Lender shall have any right of action whatsoever against any
Agent as a result of such Agent acting or refraining from acting under this Agreement or any of
the other Loan Documents in accordance with the instructions of the Required Lenders (or such
other number or percentage of the Lenders as shall be expressly provided for herein or in the other
Loan Documents). The provisions of this Section 10.03 shall survive the payment in full of the
Loans and the termination of this Agreement.

                Section 10.04 Reliance. Each Agent shall be entitled to rely upon any written
notices, statements, certificates, orders or other documents or any telephone message believed by
it in good faith to be genuine and correct and to have been signed, sent or made by the proper
Person, and with respect to all matters pertaining to this Agreement or any of the other Loan
Documents and its duties hereunder or thereunder, upon advice of counsel selected by it.

                Section 10.05 Indemnification. To the extent that any Agent is not reimbursed and
indemnified by any Loan Party, and whether or not such Agent has made demand on any Loan
Party for the same, the Lenders will, within five days of written demand by such Agent, reimburse
such Agent for and indemnify such Agent from and against any and all liabilities, obligations,
losses, damages, penalties, actions, judgments, suits, costs, expenses (including, without
limitation, client charges and expenses of counsel or any other advisor to such Agent, advances or
disbursements of any kind or nature whatsoever which may be imposed on, incurred by, or asserted
against such Agent in any way relating to or arising out of this Agreement, any of the other Loan
Documents or any action taken or omitted by such Agent under this Agreement or any of the other
Loan Documents, in proportion to each Lender’s Pro Rata Share, including, without limitation,
advances and disbursements made pursuant to Section 10.08; provided, however, that no Lender
shall be liable for any portion of such liabilities, obligations, losses, damages, penalties, actions,
judgments, suits, costs, expenses, advances or disbursements for which there has been a final non-
appealable judicial determination that such liability resulted from such Agent’s gross negligence
or willful misconduct. The obligations of the Lenders under this Section 10.05 shall survive the
payment in full of the Loans and the termination of this Agreement. This Section 10.05 shall not




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apply with respect to Taxes other than any Taxes that represent losses, claims, damages, etc. arising
from any non-Tax claim.

               Section 10.06 Agents Individually. With respect to its Pro Rata Share of the Total
Commitment hereunder and the Loans made by it, each Agent shall have and may exercise the
same rights and powers hereunder and is subject to the same obligations and liabilities as and to
the extent set forth herein for any other Lender or maker of a Loan. The terms “Lenders” or
“Required Lenders” or any similar terms shall, unless the context clearly otherwise indicates,
include each Agent in its individual capacity as a Lender or one of the Required Lenders. Each
Agent and its Affiliates may accept deposits from, lend money to, and generally engage in any
kind of banking, trust or other business with any Borrower as if it were not acting as an Agent
pursuant hereto without any duty to account to the other Lenders.

                Section 10.07 Successor Agent. (a) Any Agent may at any time give at least 30
days prior written notice of its resignation to the Lenders and the Administrative Borrower. Upon
receipt of any such notice of resignation, the Required Lenders shall have the right to appoint a
successor Agent with the consent of the Borrower so long as no Event of Default has occurred and
is continuing . If no such successor Agent shall have been so appointed by the Required Lenders
and shall have accepted such appointment within 30 days after the retiring Agent gives notice of
its resignation (or such earlier day as shall be agreed by the Required Lenders) (the “Resignation
Effective Date”), then the retiring Agent may (but shall not be obligated to), on behalf of the
Lenders, appoint a successor Agent. Whether or not a successor Agent has been appointed, such
resignation shall become effective in accordance with such notice on the Resignation Effective
Date.

                (b)     With effect from the Resignation Effective Date, (i) the retiring Agent shall
be discharged from its duties and obligations hereunder and under the other Loan Documents
(except that in the case of any Collateral held by such Agent on behalf of the Lenders under any
of the Loan Documents, the retiring Agent shall continue to hold such collateral security until such
time as a successor Agent is appointed) and (ii) all payments, communications and determinations
provided to be made by, to or through such retiring Agent shall instead be made by or to each
Lender directly, until such time, if any, as a successor Agent shall have been appointed as provided
for above. Upon the acceptance of a successor’s Agent’s appointment as Agent hereunder, such
successor shall succeed to and become vested with all of the rights, powers, privileges and duties
of the retiring Agent, and the retiring Agent shall be discharged from all of its duties and
obligations hereunder or under the other Loan Documents. After the retiring Agent’s resignation
hereunder and under the other Loan Documents, the provisions of this Article, Section 12.04 and
Section 12.15 shall continue in effect for the benefit of such retiring Agent in respect of any actions
taken or omitted to be taken by it while the retiring Agent was acting as Agent.

               Section 10.08 Collateral Matters.

               (a)     The Collateral Agent may from time to time make such disbursements and
advances (“Collateral Agent Advances”) which the Collateral Agent, in its sole discretion, deems
necessary or desirable to preserve, protect, prepare for sale or lease or dispose of the Collateral or
any portion thereof, to enhance the likelihood or maximize the amount of repayment by the
Borrowers of the Loans and other Obligations or to pay any other amount chargeable to the
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Borrowers pursuant to the terms of this Agreement, including, without limitation, costs, fees and
expenses as described in Section 12.04; provided, however that the Collateral Agent shall not make
Collateral Agent Advances under this Section 10.08 of greater than $5.0 million in the aggregate
at any time outstanding without the prior written consent of the Required Lenders. The Collateral
Agent Advances shall be repayable on demand and be secured by the Collateral and shall bear
interest at a rate per annum equal to the rate then applicable to the Term Loan. The Collateral
Agent Advances shall constitute Obligations hereunder which may be charged to the Loan Account
in accordance with Section 4.01. The Collateral Agent shall notify each Lender and the
Administrative Borrower in writing of each such Collateral Agent Advance, which notice shall
include a description of the purpose of such Collateral Agent Advance. Without limitation to its
obligations pursuant to Section 10.05, each Lender agrees that it shall make available to the
Collateral Agent, upon the Collateral Agent’s demand, in Dollars in immediately available funds,
the amount equal to such Lender’s Pro Rata Share of each such Collateral Agent Advance. If such
funds are not made available to the Collateral Agent by such Lender, the Collateral Agent shall be
entitled to recover such funds on demand from such Lender, together with interest thereon for each
day from the date such payment was due until the date such amount is paid to the Collateral Agent,
at the Federal Funds Rate for three Business Days and thereafter at a rate per annum equal to the
Reference Rate plus the Applicable Margin.

               (b)     The Lenders hereby irrevocably authorize the Collateral Agent, at its option
and in its discretion, to release any Lien granted to or held by the Collateral Agent upon any
Collateral upon termination of the Total Commitment and payment and satisfaction of all Loans
and all other Obligations (other than Contingent Indemnification Obligations) in accordance with
the terms hereof; or constituting property being sold or disposed of in the ordinary course of any
Loan Party’s business or otherwise in compliance with the terms of this Agreement and the other
Loan Documents; or constituting property in which the Loan Parties owned no interest at the time
the Lien was granted or at any time thereafter; or if approved, authorized or ratified in writing by
the Lenders in accordance with Section 12.02. Upon request by the Collateral Agent at any time,
the Lenders will confirm in writing the Collateral Agent’s authority to release particular types or
items of Collateral pursuant to this Section 10.08(b).

                (c)     Without in any manner limiting the Collateral Agent’s authority to act
without any specific or further authorization or consent by the Lenders (as set forth in Section
10.08(b)), each Lender agrees to confirm in writing, upon request by the Collateral Agent, the
authority to release Collateral conferred upon the Collateral Agent under Section 10.08(b). Upon
receipt by the Collateral Agent of confirmation from the Lenders of its authority to release any
particular item or types of Collateral, and upon prior written request by any Loan Party, the
Collateral Agent shall (and is hereby irrevocably authorized by the Lenders to) execute such
documents as may be necessary to evidence the release of the Liens granted to the Collateral Agent
for the benefit of the Agents and the Lenders upon such Collateral; provided, however, that (i) the
Collateral Agent shall not be required to execute any such document on terms which, in the
Collateral Agent’s opinion, would expose the Collateral Agent to liability or create any obligations
or entail any consequence other than the release of such Liens without recourse or warranty, and
(ii) such release shall not in any manner discharge, affect or impair the Obligations or any Lien
upon (or obligations of any Loan Party in respect of) all interests in the Collateral retained by any
Loan Party.

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                (d)     Anything contained in any of the Loan Documents to the contrary
notwithstanding, the Loan Parties, each Agent and each Lender hereby agree that (i) no Lender
shall have any right individually to realize upon any of the Collateral under any Loan Document
or to enforce any Guaranty, it being understood and agreed that all powers, rights and remedies
under the Loan Documents may be exercised solely by the Collateral Agent for the benefit of the
Secured Parties in accordance with the terms thereof, (ii) in the event of a foreclosure by the
Collateral Agent on any of the Collateral pursuant to a public or private sale, the Administrative
Agent, the Collateral Agent or any Lender may be the purchaser of any or all of such Collateral at
any such sale and (iii) the Collateral Agent, as agent for and representative of the Agents and the
Lenders (but not any other Agent or any Lender or Lenders in its or their respective individual
capacities unless the Required Lenders shall otherwise agree in writing) shall be entitled (either
directly or through one or more acquisition vehicles) for the purpose of bidding and making
settlement or payment of the purchase price for all or any portion of the Collateral to be sold (A)
at any public or private sale, (B) at any sale conducted by the Collateral Agent under the provisions
of the Uniform Commercial Code (including pursuant to Sections 9-610 or 9-620 of the Uniform
Commercial Code), (C) at any sale or foreclosure conducted by the Collateral Agent (whether by
judicial action or otherwise) in accordance with applicable law or (D) any sale conducted pursuant
to the provisions of any Debtor Relief Law (including Section 363 of the Bankruptcy Code), to
use and apply all or any of the Obligations as a credit on account of the purchase price for any
Collateral payable by the Collateral Agent at such sale.

                (e)      The Collateral Agent shall have no obligation whatsoever to any Lender to
assure that the Collateral exists or is owned by the Loan Parties or is cared for, protected or insured
or has been encumbered or that the Lien granted to the Collateral Agent pursuant to this Agreement
or any other Loan Document has been properly or sufficiently or lawfully created, perfected,
protected or enforced or is entitled to any particular priority, or to exercise at all or in any particular
manner or under any duty of care, disclosure or fidelity, or to continue exercising, any of the rights,
authorities and powers granted or available to the Collateral Agent in this Section 10.08 or in any
other Loan Document, it being understood and agreed that in respect of the Collateral, or any act,
omission or event related thereto, the Collateral Agent may act in any manner it may deem
appropriate, in its sole discretion, given the Collateral Agent’s own interest in the Collateral as one
of the Lenders and that the Collateral Agent shall have no duty or liability whatsoever to any other
Lender, except as otherwise provided herein.

                Section 10.09 Agency for Perfection. Each Agent and each Lender hereby
appoints each other Agent and each other Lender as agent and bailee for the purpose of perfecting
the security interests in and liens upon the Collateral in assets which, in accordance with Article 9
of the Uniform Commercial Code, can be perfected only by possession or control (or where the
security interest of a secured party with possession or control has priority over the security interest
of another secured party) and each Agent and each Lender hereby acknowledges that it holds
possession of or otherwise controls any such Collateral for the benefit of the Agents and the
Lenders as secured party. Should the Administrative Agent or any Lender obtain possession or
control of any such Collateral, the Administrative Agent or such Lender shall notify the Collateral
Agent thereof, and, promptly upon the Collateral Agent’s request therefor shall deliver such
Collateral to the Collateral Agent or in accordance with the Collateral Agent’s instructions. In
addition, the Collateral Agent shall also have the power and authority hereunder to appoint such

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other sub-agents as may be necessary or required under applicable state law or otherwise to
perform its duties and enforce its rights with respect to the Collateral and under the Loan
Documents. Each Loan Party by its execution and delivery of this Agreement hereby consents to
the foregoing.

                Section 10.10 No Reliance on any Agent’s Customer Identification Program. Each
Lender acknowledges and agrees that neither such Lender, nor any of its Affiliates, participants or
assignees, may rely on any Agent to carry out such Lender’s, Affiliate’s, participant’s or assignee’s
customer identification program, or other requirements imposed by the USA PATRIOT Act or the
regulations issued thereunder, including the regulations set forth in 31 C.F.R. §§ 1010.100(yy),
(iii), 1020.100, and 1020.220 (formerly 31 C.F.R. § 103.121), as hereafter amended or replaced
(“CIP Regulations”), or any other Anti-Terrorism Laws, including any programs involving any of
the following items relating to or in connection with any of the Loan Parties, their Affiliates or
their agents, the Loan Documents or the transactions hereunder or contemplated hereby: (1) any
identity verification procedures, (2) any recordkeeping, (3) comparisons with government lists, (4)
customer notices or (5) other procedures required under the CIP Regulations or other regulations
issued under the USA PATRIOT Act. Each Lender, Affiliate, participant or assignee subject to
Section 326 of the USA PATRIOT Act will perform the measures necessary to satisfy its own
responsibilities under the CIP Regulations.

                Section 10.11 No Third-Party Beneficiaries. The provisions of this Article are
solely for the benefit of the Secured Parties, and no Loan Party shall have rights as a third-party
beneficiary of any of such provisions.

               Section 10.12 No Fiduciary Relationship. It is understood and agreed that the use
of the term “agent” herein or in any other Loan Document (or any other similar term) with
reference to any Agent is not intended to connote any fiduciary or other implied (or express)
obligations arising under agency doctrine of any applicable law. Instead such term is used as a
matter of market custom, and is intended to create or reflect only an administrative relationship
between contracting parties.

             Section 10.13 Reports; Confidentiality; Disclaimers. By becoming a party to this
Agreement, each Lender:

               (a)     is deemed to have requested that each Agent furnish such Lender, promptly
after it becomes available, a copy of each field audit or examination report with respect to the
Parent or any of its Subsidiaries (each, a “Report”) prepared by or at the request of such Agent,
and each Agent shall so furnish each Lender with each such Report,

               (b)    expressly agrees and acknowledges that the Agents (i) do not make any
representation or warranty as to the accuracy of any Reports, and (ii) shall not be liable for any
information contained in any Reports,

              (c)    expressly agrees and acknowledges that the Reports are not comprehensive
audits or examinations, that any Agent or other party performing any audit or examination will
inspect only specific information regarding the Parent and its Subsidiaries and will rely

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significantly upon the Parent’s and its Subsidiaries’ books and records, as well as on
representations of their personnel,

               (d)    agrees to keep all Reports and other material, non-public or proprietary
information regarding the Parent and its Subsidiaries and their operations, assets, and existing and
contemplated business plans in a confidential manner in accordance with Section 12.19, and

                (e)    without limiting the generality of any other indemnification provision
contained in this Agreement, agrees: (i) to hold any Agent and any other Lender preparing a Report
harmless from any action the indemnifying Lender may take or fail to take or any conclusion the
indemnifying Lender may reach or draw from any Report in connection with any loans or other
credit accommodations that the indemnifying Lender has made or may make to the Borrowers, or
the indemnifying Lender’s participation in, or the indemnifying Lender’s purchase of, a loan or
loans of the Borrowers, and (ii) to pay and protect, and indemnify, defend and hold any Agent and
any other Lender preparing a Report harmless from and against, the claims, actions, proceedings,
damages, costs, expenses, and other amounts (including, attorney’s fees and costs) incurred by any
such Agent and any such other Lender preparing a Report as the direct or indirect result of any
third parties who might obtain all or part of any Report through the indemnifying Lender.

               Section 10.14 Collateral Custodian. Upon the occurrence and during the
continuance of any Event of Default, the Collateral Agent or its designee may at any time and from
time to time employ and maintain on the premises of any Loan Party a custodian selected by the
Collateral Agent or its designee who shall have full authority to do all acts necessary to protect the
Agents’ and the Lenders’ interests. Each Loan Party hereby agrees to, and to cause its Subsidiaries
to, cooperate with any such custodian and to do whatever the Collateral Agent or its designee may
reasonably request to preserve the Collateral. All costs and expenses incurred by the Collateral
Agent or its designee by reason of the employment of the custodian shall be the responsibility of
the Borrowers and charged to the Loan Account.

                Section 10.15 Intercreditor Agreements. Each Lender hereby grants to the
Collateral Agent all requisite authority to enter into or otherwise become bound by, and to perform
its obligations and exercise its rights and remedies under and in accordance with the terms of, the
Intercreditor Agreements, and to bind the Lenders thereto by the Collateral Agent’s entering into
or otherwise becoming bound thereby, and no further consent or approval on the part of any Lender
is or will be required in connection with the performance by the Collateral Agent of the
Intercreditor Agreements.

               Section 10.16 Collateral Agent May File Proofs of Claim. In case of the pendency
of any proceeding under any Debtor Relief Law or any other judicial proceeding relative to any
Loan Party, the Collateral Agent (irrespective of whether the principal of any Loan shall then be
due and payable as herein expressed or by declaration or otherwise and irrespective of whether
any Agent shall have made any demand on the Borrowers) shall be entitled and empowered (but
not obligated) by intervention in such proceeding or otherwise:

                (a)    to file and prove a claim for the whole amount of the principal and interest
owing and unpaid in respect of the Loans and all other Obligations that are owing and unpaid and
to file such other documents as may be necessary or advisable in order to have the claims of the
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Secured Parties (including any claim for the compensation, expenses, disbursements and advances
of the Secured Parties and their respective agents and counsel and all other amounts due the
Secured Parties hereunder and under the other Loan Documents) allowed in such judicial
proceeding; and

               (b)   to collect and receive any monies or other property payable or deliverable
on any such claims and to distribute the same;

and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in
any such judicial proceeding is hereby authorized by each Secured Party to make such payments
to the Collateral Agent and, in the event that the Collateral Agent shall consent to the making of
such payments directly to the Secured Parties, to pay to the Collateral Agent any amount due for
the reasonable compensation, expenses, disbursements and advances of the Collateral Agent and
its agents and counsel, and any other amounts due the Collateral Agent hereunder and under the
other Loan Documents.

                                          ARTICLE XI

                                           GUARANTY

                 Section 11.01 Guaranty. Each Guarantor hereby jointly and severally and
unconditionally and irrevocably guarantees the punctual payment when due, whether at stated
maturity, by acceleration or otherwise, of all Obligations of the Borrowers now or hereafter
existing under any Loan Document, whether for principal, interest (including, without limitation,
all interest that accrues after the commencement of any Insolvency Proceeding of any Borrower,
whether or not a claim for post-filing interest is allowed in such Insolvency Proceeding), fees,
commissions, expense reimbursements, indemnifications or otherwise (such obligations, to the
extent not paid by the Borrowers, being the “Guaranteed Obligations”), and agrees to pay any and
all expenses (including reasonable and documented out-of-pocket counsel fees and expenses)
incurred by the Secured Parties in enforcing any rights under the guaranty set forth in this Article
XI and required to be paid hereunder. Without limiting the generality of the foregoing, each
Guarantor’s liability shall extend to all amounts that constitute part of the Guaranteed Obligations
and would be owed by the Borrowers to the Secured Parties under any Loan Document but for the
fact that they are unenforceable or not allowable due to the existence of an Insolvency Proceeding
involving any Borrower. In no event shall the obligation of any Guarantor hereunder exceed the
maximum amount such Guarantor could guarantee under any Debtor Relief Law.

                Section 11.02 Guaranty Absolute.        Each Guarantor jointly and severally
guarantees that the Guaranteed Obligations will be paid strictly in accordance with the terms of
the Loan Documents, regardless of any law, regulation or order now or hereafter in effect in any
jurisdiction affecting any of such terms or the rights of the Secured Parties with respect thereto.
Each Guarantor agrees that this Article XI constitutes a guaranty of payment when due and not of
collection and waives any right to require that any resort be made by any Agent or any Lender to
any Collateral. The obligations of each Guarantor under this Article XI are independent of the
Guaranteed Obligations, and a separate action or actions may be brought and prosecuted against
each Guarantor to enforce such obligations, irrespective of whether any action is brought against
any Loan Party or whether any Loan Party is joined in any such action or actions. The liability of
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each Guarantor under this Article XI shall be irrevocable, absolute and unconditional irrespective
of, and each Guarantor hereby irrevocably waives any defenses it may now or hereafter have in
any way relating to, any or all of the following: (a) any lack of validity or enforceability of any
Loan Document or any agreement or instrument relating thereto; (b) any change in the time,
manner or place of payment of, or in any other term of, all or any of the Guaranteed Obligations,
or any other amendment or waiver of or any consent to departure from any Loan Document,
including, without limitation, any increase in the Guaranteed Obligations resulting from the
extension of additional credit to any Loan Party or otherwise; (c) any taking, exchange, release or
non-perfection of any Collateral, or any taking, release or amendment or waiver of or consent to
departure from any other guaranty, for all or any of the Guaranteed Obligations; (d) the existence
of any claim, set-off, defense or other right that any Guarantor may have at any time against any
Person, including, without limitation, any Secured Party; (e) any change, restructuring or
termination of the corporate, limited liability company or partnership structure or existence of any
Loan Party; or (f) any other circumstance (including, without limitation, any statute of limitations)
or any existence of or reliance on any representation by the Secured Parties that might otherwise
constitute a defense available to, or a discharge of, any Loan Party or any other guarantor or surety.
This Article XI shall continue to be effective or be reinstated, as the case may be, if at any time
any payment of any of the Guaranteed Obligations is rescinded or must otherwise be returned by
Secured Parties or any other Person upon the insolvency, bankruptcy or reorganization of any
Borrower or otherwise, all as though such payment had not been made.

                Section 11.03 Waiver. Each Guarantor hereby waives (a) promptness and
diligence, (b) notice of acceptance and any other notice with respect to any of the Guaranteed
Obligations and this Article XI and any requirement that the Secured Parties exhaust any right or
take any action against any Loan Party or any other Person or any Collateral, (c) any right to
compel or direct any Secured Party to seek payment or recovery of any amounts owed under this
Article XI from any one particular fund or source or to exhaust any right or take any action against
any other Loan Party, any other Person or any Collateral, (d) any requirement that any Secured
Party protect, secure, perfect or insure any security interest or Lien on any property subject thereto
or exhaust any right to take any action against any Loan Party, any other Person or any Collateral,
and (e) any other defense available to any Guarantor. Each Guarantor agrees that the Secured
Parties shall have no obligation to marshal any assets in favor of any Guarantor or against, or in
payment of, any or all of the Obligations. Each Guarantor acknowledges that it will receive direct
and indirect benefits from the financing arrangements contemplated herein and that the waiver set
forth in this Section 11.03 is knowingly made in contemplation of such benefits. Each Guarantor
hereby waives any right to revoke this Article XI, and acknowledges that this Article XI is
continuing in nature and applies to all Guaranteed Obligations, whether existing now or in the
future.

               Section 11.04 Continuing Guaranty; Assignments. This Article XI is a continuing
guaranty and shall (a) remain in full force and effect until the later of the cash payment in full of
the Guaranteed Obligations (other than Contingent Indemnity Obligations) and all other amounts
payable under this Article XI and the Final Maturity Date, (b) be binding upon each Guarantor, its
successors and assigns and (c) inure to the benefit of and be enforceable by the Secured Parties
and their successors, pledgees, transferees and assigns. Without limiting the generality of the
foregoing clause (c), any Lender may pledge, assign or otherwise transfer all or any portion of its

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rights and obligations under this Agreement (including, without limitation, all or any portion of its
Commitments and its Loans owing to it) to any other Person, and such other Person shall thereupon
become vested with all the benefits in respect thereof granted such Lender herein or otherwise, in
each case as provided in Section 12.07.

                 Section 11.05 Subrogation. No Guarantor will exercise any rights that it may now
or hereafter acquire against any Loan Party or any other guarantor that arise from the existence,
payment, performance or enforcement of such Guarantor’s obligations under this Article XI,
including, without limitation, any right of subrogation, reimbursement, exoneration, contribution
or indemnification and any right to participate in any claim or remedy of the Secured Parties
against any Loan Party or any other guarantor or any Collateral, whether or not such claim, remedy
or right arises in equity or under contract, statute or common law, including, without limitation,
the right to take or receive from any Loan Party or any other guarantor, directly or indirectly, in
cash or other property or by set-off or in any other manner, payment or security solely on account
of such claim, remedy or right, unless and until all of the Guaranteed Obligations (other than
Contingent Indemnity Obligations) and all other amounts payable under this Article XI shall have
been paid in full in cash and the Final Maturity Date shall have occurred. If any amount shall be
paid to any Guarantor in violation of the immediately preceding sentence at any time prior to the
later of the payment in full in cash of the Guaranteed Obligations (other than Contingent Indemnity
Obligations) and all other amounts payable under this Article XI and the Final Maturity Date, such
amount shall be held in trust for the benefit of the Secured Parties and shall forthwith be paid to
the Secured Parties to be credited and applied to the Guaranteed Obligations and all other amounts
payable under this Article XI, whether matured or unmatured, in accordance with the terms of this
Agreement, or to be held as Collateral for any Guaranteed Obligations or other amounts payable
under this Article XI thereafter arising. If (i) any Guarantor shall make payment to the Secured
Parties of all or any part of the Guaranteed Obligations, (ii) all of the Guaranteed Obligations and
all other amounts payable under this Article XI shall be paid in full in cash and (iii) the Final
Maturity Date shall have occurred, the Secured Parties will, at such Guarantor’s request and
expense, execute and deliver to such Guarantor appropriate documents, without recourse and
without representation or warranty, necessary to evidence the transfer by subrogation to such
Guarantor of an interest in the Guaranteed Obligations resulting from such payment by such
Guarantor.

                Section 11.06 Contribution. All Guarantors desire to allocate among themselves,
in a fair and equitable manner, their obligations arising under this Guaranty. Accordingly, in the
event any payment or distribution is made on any date by a Guarantor under this Guaranty such
that its Aggregate Payments exceeds its Fair Share as of such date, such Guarantor shall be entitled
to a contribution from each of the other Guarantors in an amount sufficient to cause each
Guarantor’s Aggregate Payments to equal its Fair Share as of such date. “Fair Share” means, with
respect to any Guarantor as of any date of determination, an amount equal to (a) the ratio of (i) the
Fair Share Contribution Amount with respect to such Guarantor, to (ii) the aggregate of the Fair
Share Contribution Amounts with respect to all Guarantors multiplied by (b) the aggregate amount
paid or distributed on or before such date by all Guarantors under this Guaranty in respect of the
obligations Guaranteed. “Fair Share Contribution Amount” means, with respect to any Guarantor
as of any date of determination, the maximum aggregate amount of the obligations of such
Guarantor under this Guaranty that would not render its obligations hereunder subject to avoidance

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as a fraudulent transfer or conveyance under Section 548 of Title 11 of the United States Code or
any comparable applicable provisions of state law; provided, solely for purposes of calculating the
“Fair Share Contribution Amount” with respect to any Guarantor for purposes of this Section
11.06, any assets or liabilities of such Guarantor arising by virtue of any rights to subrogation,
reimbursement or indemnification or any rights to or obligations of contribution hereunder shall
not be considered as assets or liabilities of such Guarantor. “Aggregate Payments” means, with
respect to any Guarantor as of any date of determination, an amount equal to (A) the aggregate
amount of all payments and distributions made on or before such date by such Guarantor in respect
of this Guaranty (including, without limitation, in respect of this Section 11.06), minus (B) the
aggregate amount of all payments received on or before such date by such Guarantor from the
other Guarantors as contributions under this Section 11.06. The amounts payable as contributions
hereunder shall be determined as of the date on which the related payment or distribution is made
by the applicable Guarantor. The allocation among Guarantors of their obligations as set forth in
this Section 11.06 shall not be construed in any way to limit the liability of any Guarantor
hereunder. Each Guarantor is a third party beneficiary to the contribution agreement set forth in
this Section 11.06.

                                          ARTICLE XII

                                         MISCELLANEOUS

               Section 12.01 Notices, Etc.

                (a)     Notices Generally. All notices and other communications provided for
hereunder shall be in writing and shall be delivered by hand, sent by registered or certified mail
(postage prepaid, return receipt requested), overnight courier, telecopier or other electronic
delivery. In the case of notices or other communications to any Loan Party, Administrative Agent
or the Collateral Agent, as the case may be, they shall be sent to the respective address set forth
below (or, as to each party, at such other address as shall be designated by such party in a written
notice to the other parties complying as to delivery with the terms of this Section 12.01):

                       [ ]

                       with copies to:

                       [ ]

                       and

                       [ ]
                       Attention: [ ]
                       Telephone: [ ]
                       Email: [ ]

                       if to the Agents, to it at the following address:



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                       BSP Agency, LLC
                       9 West 57th Street, Suite 4920
                       New York, NY 10019
                       Attention: [ ]
                       Fax: [ ]
                       Email: [    ]

                       with a copy to:

                       Stroock & Stroock & Lavan LLP
                       180 Maiden Lane
                       New York, NY, 10038
                       Attention: Jayme T. Goldstein / Marija Pecar
                       Telephone: (212) 806-5805 / 212 806-6535
                       Email: jgoldstein@stroock.com / mpecar@stroock.com

All notices or other communications sent in accordance with this Section 12.01, shall be deemed
received on the earlier of the date of actual receipt or 3 Business Days after the deposit thereof in
the mail; provided, that (i) notices sent by overnight courier service shall be deemed to have been
given when received and (ii) notices by facsimile or other electronic delivery shall be deemed to
have been given when sent (except that, if not given during normal business hours for the recipient,
shall be deemed to have been given at the opening of business on the next Business Day for the
recipient), provided, further that notices to any Agent pursuant to Article II shall not be effective
until received by such Agent.

               (b)     Electronic Communications.

                         (i)    Each Agent and the Administrative Borrower may, in its discretion,
agree to accept notices and other communications to it hereunder by electronic communications
pursuant to procedures approved by it; provided that approval of such procedures may be limited
to particular notices or communications. Notices and other communications to the Lenders
hereunder may be delivered or furnished by electronic communication (including e-mail and
Internet or intranet websites) pursuant to procedures approved by the Agents, provided that the
foregoing shall not apply to notices to any Lender pursuant to Article II if such Lender has notified
the Agents that it is incapable of receiving notices under such Article by electronic communication.

                       (ii)     Unless the Administrative Agent otherwise prescribes, (A) notices
and other communications sent to an e-mail address shall be deemed received upon receipt and
(B) notices or communications posted to an Internet or intranet website shall be deemed received
upon the deemed receipt by the intended recipient, at its e-mail address as described in the
foregoing clause (A), of notification that such notice or communication is available and identifying
the website address therefor; provided that, for both clauses (A) and (B) above, if such notice,
email or other communication is not sent during the normal business hours of the recipient, such
notice or communication shall be deemed to have been sent at the opening of business on the next
business day for the recipient.


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                Section 12.02 Amendments, Etc. (a) No amendment to or other modification of,
or waiver of any provision of this Agreement or any other Loan Document (excluding the Fee
Letter), and no consent to any departure by any Loan Party therefrom, shall in any event be
effective unless the same shall be in writing and signed (x) in the case of an amendment,
modification, consent or waiver to cure any ambiguity, omission, defect or inconsistency, or
granting a new Lien for the benefit of the Agents and the Lenders, or extending an existing Lien
over additional property, by the Agents and the Administrative Borrower, (y) in the case of any
other amendment, modification, waiver or consent, subject to the proviso set forth below, by the
Required Lenders (or by the Collateral Agent with the consent of the Required Lenders) and (z) in
the case of any other amendment, by the Required Lenders (or by the Collateral Agent with the
consent of the Required Lenders), subject to the proviso set forth below, and the Administrative
Borrower, and then such amendment, modification, waiver or consent shall be effective only in
the specific instance and for the specific purpose for which given; provided, however, that no
amendment, modification, waiver or consent shall: (i) increase the Commitment of any Lender,
reduce the principal of, or interest on, the Loans payable to any Lender, reduce the amount of any
fee or premium payable for the account of any Lender, or postpone or extend any scheduled date
fixed for any payment of principal of, or interest or fees or premiums on, the Loans payable to any
Lender, in each case, without the written consent of such Lender and the Administrative Borrower;
provided that an increase of any Lender’s Commitment shall require the consent of each Lender;
(ii) change the percentage of the Commitments or of the aggregate unpaid principal amount of the
Loans that is required for the Lenders or any of them to take any action hereunder without the
written consent of each Lender and the Administrative Borrower; (iii) amend or otherwise modify,
or be effective with respect to, the definition of “Required Lenders” or “Pro Rata Share” without
the written consent of each Lender and the Administrative Borrower; (iv) release all or a substantial
portion of the Collateral (except as otherwise provided in this Agreement and the other Loan
Documents), subordinate any Lien granted in favor of the Collateral Agent for the benefit of the
Agents and the Lenders, or release any Borrower or any Guarantor (except in connection with a
Disposition of the Equity Interests thereof permitted by Section 7.02(c)(ii)), in each case, without
the written consent of each Lender and the Administrative Borrower; (v) amend, modify or waive
Section 2.07, 2.12(c), Section 4.02, Section 4.03, this Section 12.02 of this Agreement or any
provision in any Loan Document providing for the pro rata sharing of payments without the written
consent of each affected Lender and the Administrative Borrower; and (vi) amend, modify or
waive Section 12.07(o) without the consent of each affected Lender.

                Notwithstanding the foregoing, (A) no amendment, waiver or consent shall, unless
in writing and signed by an Agent, affect the rights or duties of such Agent (but not in its capacity
as a Lender) under this Agreement or the other Loan Documents, (B) no amendment, waiver or
consent shall, unless in writing and signed by (i) the BSP Lenders, affect the rights or duties of the
BSP Lenders or any BSP Person, or Permitted Holders, under this Agreement or the other Loan
Documents, and (ii) the Goldman Lenders, affect the rights or duties of the Goldman Lenders or
any Goldman Person under this Agreement or the other Loan Documents, (C) the consent of the
Borrowers shall not be required to change any order of priority set forth in Section 2.05(d) and
Section 4.03, and (D) only the consent of persons constituting Eligible Lenders at the applicable
time shall be required for any waiver with respect to, or any consent to any departure by the Loan
Parties from any of their obligations under, Section 2.12(c) (or any Default or Event of Default
resulting from any failure to comply therewith), and each Eligible Lender shall be permitted to
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waive any of its individual rights pursuant thereto without the consent of any other Eligible Lender
or any other Person. Notwithstanding anything to the contrary herein, no Defaulting Lender shall
have any right to approve or disapprove any amendment, waiver or consent under the Loan
Documents, and any Loans and Commitments (if applicable) held by such Person for purposes
hereof shall be automatically deemed to be voted pro rata according to the Loans of all other
Lenders in the aggregate (other than such Defaulting Lender).

                (b)     If any action to be taken by the Lenders hereunder requires the consent,
authorization, or agreement of all of the Lenders or any Lender affected thereby, and a Lender
other than the Collateral Agent and the Administrative Agent and their respective Affiliates and
Related Funds (the “Holdout Lender”) fails to give its consent, authorization, or agreement, then
the Borrower, upon at least 5 Business Days prior irrevocable notice to the Holdout Lender, may
permanently replace the Holdout Lender with one or more substitute lenders (each, a
“Replacement Lender”), and the Holdout Lender shall have no right to refuse to be replaced
hereunder. Such notice to replace the Holdout Lender shall specify an effective date for such
replacement, which date shall not be later than 15 Business Days after the date such notice is given.
Prior to the effective date of such replacement, the Holdout Lender and each Replacement Lender
shall execute and deliver an Assignment and Acceptance, subject only to the Holdout Lender being
repaid its share of the outstanding Obligations including the Applicable Premium. If the Holdout
Lender shall refuse or fail to execute and deliver any such Assignment and Acceptance prior to the
effective date of such replacement, the Holdout Lender shall be deemed to have executed and
delivered such Assignment and Acceptance. The replacement of any Holdout Lender shall be
made in accordance with the terms of Section 12.07. Until such time as the Replacement Lenders
shall have acquired all of the Obligations, the Commitments, and the other rights and obligations
of the Holdout Lender hereunder and under the other Loan Documents, the Holdout Lender shall
remain obligated to make its Pro Rata Share of Loans.

               (c)     [Reserved].

                Section 12.03 No Waiver; Remedies, Etc. No failure on the part of any Agent or
any Lender to exercise, and no delay in exercising, any right hereunder or under any other Loan
Document shall operate as a waiver thereof; nor shall any single or partial exercise of any right
under any Loan Document preclude any other or further exercise thereof or the exercise of any
other right. The rights and remedies of the Agents and the Lenders provided herein and in the other
Loan Documents are cumulative and are in addition to, and not exclusive of, any rights or remedies
provided by law. The rights of the Agents and the Lenders under any Loan Document against any
party thereto are not conditional or contingent on any attempt by the Agents and the Lenders to
exercise any of their rights under any other Loan Document against such party or against any other
Person.

                Section 12.04 Expenses; Taxes; Attorneys’ Fees. The Borrowers will pay within
30 days (except in connection with any amount due pursuant to Section 5.01(a)) of receipt of a
written invoice, all reasonable and documented out-of-pocket costs and expenses incurred by or
on behalf of each Agent (and, in the case of clauses (b) through (k) below, each Lender), regardless
of whether the transactions contemplated hereby are consummated, including, without limitation,
reasonable and documented out-of-pocket fees and expenses of counsel for each Agent (and, in
the case of clauses (b) through (k) below, the BSP Lenders and the Goldman Lenders), accounting,
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due diligence, periodic field audits, physical counts, valuations, investigations, searches and
filings, monitoring of assets, appraisals of Collateral, the rating of the Loans, title searches and
reviewing environmental assessments, miscellaneous disbursements, examination, travel, lodging
and meals, arising from or relating to: (a) the negotiation, preparation, execution, delivery,
performance and administration of this Agreement and the other Loan Documents (including,
without limitation, the preparation of any additional Loan Documents pursuant to Section Error!
Reference source not found. or the review of any of the agreements, instruments and documents
referred to in Section Error! Reference source not found.), (b) any amendments, waivers or
consents to this Agreement or the other Loan Documents whether or not such documents become
effective or are given, (c) the preservation and protection of the Agents’ or any of the Lenders’
rights under this Agreement or the other Loan Documents, (d) the protection, collection, lease,
sale, taking possession of or liquidation of, any Collateral or other security in connection with this
Agreement or any other Loan Document, (e) any attempt to enforce any Lien or security interest
in any Collateral or other security in connection with this Agreement or any other Loan Document,
(f) any attempt to collect from any Loan Party, (g) all liabilities and costs arising from or in
connection with the past, present or future operations of any Loan Party involving any damage to
real or personal property or natural resources or harm or injury alleged to have resulted from any
Release of Hazardous Materials on, upon or into such property, (h) any Environmental Liabilities
and Costs incurred in connection with the investigation, removal, cleanup and/or remediation of
any Hazardous Materials present or arising out of the operations of any Facility of any Loan Party,
(i) any Environmental Liabilities and Costs incurred in connection with any Environmental Lien
or (k) the rating of the Loans by one or more rating agencies in connection with any Lender’s
Securitization; provided that, any legal fees and expenses in accordance with this Section 12.04
shall be limited to the reasonable and documented out-of-pocket fees and disbursements of (i) one
outside counsel to each of (I) the Agents, (II) the BSP Lenders taken as a whole and (III) the
Goldman Lenders taken as a whole and (ii) if reasonably necessary, one regulatory outside counsel
and/or local counsel to each of (I) the Agents taken as a whole, (II) the BSP Lenders taken as a
whole and (III) the Goldman Lenders taken as a whole. Without limitation of the foregoing or any
other provision in the Loan Documents: (x) the Borrowers agree to pay all Other Taxes payable in
connection with this Agreement or any other Loan Document, and the Borrowers agree to save
each Agent and each Lender harmless from and against any and all present or future claims,
liabilities or losses with respect to or resulting from any omission to pay or delay in paying any
such Other Taxes, (y) the Borrowers agree to pay all broker fees incurred by any Borrower that
may become due in connection with the transactions contemplated by this Agreement and the other
Loan Documents, and (z) if, upon the occurrence and during the continuance of any Event of
Default, the Borrowers fail to perform any covenant or agreement contained herein or in any other
Loan Document, any Agent may itself reasonably perform or cause performance of such covenant
or agreement, and the expenses of such Agent incurred in connection therewith shall be reimbursed
by the Borrowers within 5 Business Days of demand by such Agent. The obligations of the
Borrowers under this Section Error! Reference source not found. shall survive the repayment of
the Obligations and discharge of any Liens granted under the Loan Documents.

              Section 12.05 Right of Set-off. Upon the occurrence and during the continuance
of any Event of Default, any Agent or any Lender may, and is hereby authorized to, at any time
and from time to time, without notice to any Loan Party (any such notice being expressly waived
by the Loan Parties) and to the fullest extent permitted by law, set off and apply any and all deposits
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(general or special, time or demand, provisional or final) at any time held and other Indebtedness
at any time owing by such Agent or such Lender or any of their respective Affiliates to or for the
credit or the account of any Loan Party against any and all obligations of the Loan Parties either
now or hereafter existing under any Loan Document, irrespective of whether or not such Agent or
such Lender shall have made any demand hereunder or thereunder and although such obligations
may be contingent or unmatured; provided that in the event that any Defaulting Lender shall
exercise any such right of set-off, (a) all amounts so set off shall be paid over immediately to the
Administrative Agent for further application in accordance with the provisions of Section 4.04
and, pending such payment, shall be segregated by such Defaulting Lender from its other funds
and deemed held in trust for the benefit of the Agents and the Lenders, and (b) the Defaulting
Lender shall provide promptly to the Administrative Agent a statement describing in reasonable
detail the Obligations owing to such Defaulting Lender as to which it exercised such right of set-
off. Each Agent and each Lender agrees to notify such Loan Party promptly after any such set-off
and application made by such Agent or such Lender or any of their respective Affiliates provided
that the failure to give such notice shall not affect the validity of such set-off and application. The
rights of the Agents and the Lenders under this Section 12.05 are in addition to the other rights and
remedies (including other rights of set-off) which the Agents and the Lenders may have under this
Agreement or any other Loan Documents of law or otherwise.

                Section 12.06 Severability. Any provision of this Agreement which is prohibited
or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of
such prohibition or unenforceability without invalidating the remaining portions hereof or
affecting the validity or enforceability of such provision in any other jurisdiction.

               Section 12.07 Assignments and Participations.

                (a)      This Agreement and the other Loan Documents shall be binding upon and
inure to the benefit of each Loan Party and each Agent and each Lender and their respective
successors and assigns; provided, however, that none of the Loan Parties may assign or transfer
any of its rights hereunder or under the other Loan Documents without the prior written consent
of each Lender (and any such assignment without the Lenders’ prior written consent shall be null
and void), and the assignment of any Lender’s Commitment or Loan (or any portion thereof) made
by it shall be subject to Section 12.07(b).

                (b)     Subject to the conditions set forth in clause (c) below, each Lender may
assign (including in connection with any open market or privately negotiated transaction) to one
or more other lenders or other Persons all or a portion of its rights and obligations under this
Agreement with respect to all or a portion of its Commitments and any Loan made by it with the
written consent of the Administrative Agent and the Administrative Borrower (such consent of the
Administrative Borrower not to be unreasonably withheld, delayed or conditioned); provided,
however, that (x) no written consent of the Administrative Agent or the Administrative Borrower
shall be required (1) in connection with any assignment by a Lender to any Eligible Assignee, or
(2) if such assignment is to a Person that is not a Competitor and is in connection with any merger,
consolidation, sale, transfer, or other disposition of all or any substantial portion of the business or
loan portfolio of such Lender, and (y) no written consent of the Administrative Borrower shall be
required if a Specified Event of Default has occurred and is continuing at such time.

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               (c)     Assignments shall be subject to the following additional conditions:

                       (i)    Each such assignment shall be in an amount which is at least
$1,000,000 or a multiple of $500,000 in excess thereof (or the remainder of such Lender’s
Commitment) (except such minimum amount shall not apply to an assignment by a Lender to
(A) any Eligible Assignee or (B) a group of new Lenders, each of whom is an Affiliate or Related
Fund of each other to the extent the aggregate amount to be assigned to all such new Lenders is at
least $1,000,000 or a multiple of $500,000 in excess thereof);

                        (ii)    Except as provided in the parenthetical below, the parties to each
such assignment shall execute and deliver to the Administrative Agent (and, if applicable, to the
Collateral Agent and/or the Administrative Borrower, as the case may be), for its acceptance, an
Assignment and Acceptance, together with any promissory note subject to such assignment, and
such parties shall deliver to the Administrative Agent, for the benefit of the Administrative Agent,
a processing and recordation fee of $5,000 (except the payment of such fee shall not be required
in connection with an assignment by a Lender to any other Lender), and all documentation and
other information with respect to the assignee that is required by regulatory authorities under
applicable “know your customer” and anti-money laundering rules and regulations, including the
USA PATRIOT ACT; and

                        (iii)   Notwithstanding anything to the contrary in this Agreement, and
whether or not any Default or Event of Default is continuing, in no event shall any Loan(s) or
Commitment(s) (or any interest therein, or any claim or right with respect thereto, as applicable)
be assigned or otherwise transferred (including pursuant to any participation, pledge, security
interest or other indirect arrangement) to (x) any natural person, any Defaulting Lender or any
Competitor (or any of their respective Affiliates or Related Funds), or (y) any Person who, upon
becoming a Lender hereunder, would constitute any of the foregoing Persons, in each case, without
the Administrative Borrower’s prior written consent, and any assignment or other transfer in
contravention of the foregoing shall be null and void ab initio (and any Loan, Commitment,
interest, right or claim purported to be assigned or otherwise transferred pursuant thereto shall be
deemed to be held by the Lender or other Person that was the purported assignor or other transferor
thereof).

                (d)     Upon such execution, delivery and acceptance, from and after the effective
date specified in each Assignment and Acceptance and recordation on the Register, which effective
date shall be at least 3 Business Days after the delivery thereof to the Administrative Agent (or
such shorter period as shall be agreed to by the Administrative Agent and the parties to such
assignment), (A) the assignee thereunder shall become a “Lender” hereunder and, in addition to
the rights and obligations hereunder held by it immediately prior to such effective date, have the
rights and obligations hereunder that have been assigned to it pursuant to such Assignment and
Acceptance and (B) the assigning Lender thereunder shall, to the extent that rights and obligations
hereunder have been assigned by it pursuant to such Assignment and Acceptance, relinquish its
rights and be released from its obligations under this Agreement (and, in the case of an Assignment
and Acceptance covering all or the remaining portion of an assigning Lender’s rights and
obligations under this Agreement, such Lender shall cease to be a party hereto).


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                (e)     By executing and delivering an Assignment and Acceptance, the assigning
Lender and the assignee thereunder confirm to and agree with each other and the other parties
hereto as follows: (i) other than as provided in such Assignment and Acceptance, the assigning
Lender makes no representation or warranty and assumes no responsibility with respect to any
statements, warranties or representations made in or in connection with this Agreement or any
other Loan Document or the execution, legality, validity, enforceability, genuineness, sufficiency
or value of this Agreement or any other Loan Document furnished pursuant hereto; (ii) the
assigning Lender makes no representation or warranty, and assumes no responsibility with respect
to, the financial condition of any Loan Party or any of its Subsidiaries or the performance or
observance by any Loan Party of any of its obligations under this Agreement or any other Loan
Document furnished pursuant hereto; (iii) such assignee confirms that it has received a copy of
this Agreement and the other Loan Documents, together with such other documents and
information it has deemed appropriate to make its own credit analysis and decision to enter into
such Assignment and Acceptance; (iv) such assignee will, independently and without reliance
upon the assigning Lender, any Agent or any Lender and based on such documents and information
as it shall deem appropriate at the time, continue to make its own credit decisions in taking or not
taking action under this Agreement and the other Loan Documents; (v) such assignee appoints and
authorizes the Agents to take such action as agents on its behalf and to exercise such powers under
this Agreement and the other Loan Documents as are delegated to the Agents by the terms hereof
and thereof, together with such powers as are reasonably incidental hereto and thereto; (vi) such
assignee agrees that it will perform in accordance with their terms all of the obligations which by
the terms of this Agreement and the other Loan Documents are required to be performed by it as
a Lender and (vii) such assignment complies with the terms of this Agreement.

                (f)      The Administrative Agent shall, acting solely for this purpose as a non-
fiduciary agent of the Borrowers, maintain, or cause to be maintained, a copy of each Assignment
and Acceptance delivered to and accepted by it and a register (the “Register”) for the recordation
of the names and addresses of the Lenders and the Commitments of, and the principal amount of
the Loans (and stated interest thereon) (the “Registered Loans”) owing to each Lender from time
to time. The entries in the Register shall be conclusive and binding for all purposes, absent manifest
error, and the Borrowers, the Agents and the Lenders may treat each Person whose name is
recorded in the Register as a Lender hereunder for all purposes of this Agreement. The Register
shall be available for inspection by the Administrative Borrower and any Lender (but, in the case
of any Lender, solely with respect to its own Loans and Commitments, unless consented to
otherwise by the Administrative Borrower) at any reasonable time and from time to time upon
reasonable prior written notice to the Administrative Agent.

                (g)    Upon receipt by the Administrative Agent of a completed Assignment and
Acceptance, and subject to any consent required from the Administrative Borrower,
Administrative Agent or the Collateral Agent pursuant to Section 12.07(b) (which consent of the
applicable Agent must be evidenced by such Agent’s execution of an acceptance to such
Assignment and Acceptance), the Administrative Agent shall accept such assignment, record the
information contained therein in the Register (as adjusted to reflect any principal payments on or
amounts capitalized and added to the principal balance of the Loans and/or Commitment
reductions made subsequent to the effective date of the applicable assignment, as confirmed in
writing by the corresponding assignor and assignee in conjunction with delivery of the assignment

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to the Administrative Agent) and provide to the Collateral Agent a copy of the fully executed
Assignment and Acceptance.

                (h)     A Registered Loan (and the registered note, if any, evidencing the same)
may be assigned or sold in whole or in part only by registration of such assignment or sale on the
Register (and each registered note shall expressly so provide). Any assignment or sale of all or part
of such Registered Loan (and the registered note, if any, evidencing the same) may be effected
only by registration of such assignment or sale on the Register, together with the surrender of the
registered note, if any, evidencing the same duly endorsed by (or accompanied by a written
instrument of assignment or sale duly executed by) the holder of such registered note, whereupon,
at the request of the designated assignee(s) or transferee(s), one or more new registered notes in
the same aggregate principal amount shall be issued to the designated assignee(s) or transferee(s).
Prior to the registration of assignment or sale of any Registered Loan (and the registered note, if
any, evidencing the same), the Agents shall treat the Person in whose name such Registered Loan
(and the registered note, if any, evidencing the same) is registered on the Register as the owner
thereof for the purpose of receiving all payments thereon, notwithstanding notice to the contrary.

                (i)      In the event that any Lender sells participations in a Registered Loan, such
Lender shall, acting for this purpose as a non-fiduciary agent on behalf of the Borrowers, maintain,
or cause to be maintained, a register, on which it enters the name of all participants in the
Registered Loans held by it and the principal amount (and stated interest thereon) of the portion
of the Registered Loan that is the subject of the participation (the “Participant Register”). A
Registered Loan (and the registered note, if any, evidencing the same) may be participated in whole
or in part only by registration of such participation on the Participant Register (and each registered
note shall expressly so provide). Any participation of such Registered Loan (and the registered
note, if any, evidencing the same) may be effected only by the registration of such participation on
the Participant Register. The Participant Register shall be available for inspection by the Loan
Parties and the Agents at any reasonable time and from time to time upon reasonable prior notice;
provided, that no Lender shall have any obligation to disclose all or any portion of the Participant
Register (including the identity of any Loan Participant or any information relating to a Loan
Participant’s interest in any commitments, loans, letters of credit or its other obligations under any
Credit Document) to any Person other than the Loan Parties and the Agents, except to the extent
that such disclosure is necessary to establish that such commitment, loan, letter of credit or other
obligation is in registered form under Section 5f.103-1(c) of the United States Treasury.

               (j)    Any Non-U.S. Lender who purchases or is assigned or participates in any
portion of such Registered Loan shall comply with Section 2.09(e) and Section 2.09(h).

                (k)     Each Lender may sell participations to one or more banks or other entities
in or to all or a portion of its rights and obligations under this Agreement and the other Loan
Documents (including, without limitation, all or a portion of its Commitments and the Loans made
by it); provided, that (i) such Lender’s obligations under this Agreement (including without
limitation, its Commitments hereunder) and the other Loan Documents shall remain unchanged;
(ii) such Lender shall remain solely responsible to the other parties hereto for the performance of
such obligations (including the making of any Loans), and the Borrowers, the Agents and the other
Lenders shall continue to deal solely and directly with such Lender in connection with such
Lender’s rights and obligations under this Agreement and the other Loan Documents, and such
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Lender shall remain the Lender of record in the Register and be deemed to be the legal owner and
holder of the applicable Loans, Commitments and other Obligations;; and (iii) a participant shall
not be entitled to require such Lender to take or omit to take any action hereunder except (A) action
directly effecting an extension of the maturity dates or decrease in the principal amount of the
Loans, (B) action directly effecting an extension of the due dates or a decrease in the rate of interest
payable on the Loans or the fees payable under this Agreement, or (C) actions directly effecting a
release of all or a substantial portion of the Collateral or any Loan Party (except as set forth in
Section 10.08 of this Agreement or any other Loan Document). The Loan Parties agree that each
participant shall be entitled to the benefits and be subject to the requirements of Section 2.09 and
Section 2.10 of this Agreement with respect to its participation in any portion of the Commitments
and the Loans as if it was a Lender, provided, that such Participant shall not be entitled to receive
any greater payment under Section 2.09 or Section 2.10, with respect to any participation, than its
participating Lender would have been entitled to receive except as otherwise required by a Change
in Law that occurs after the Participant acquired the applicable participation or unless the
Administrative Borrower has consented to such participation.

                (l)    Any Lender may at any time pledge or assign a security interest in all or any
portion of its rights under this Agreement to secure obligations of such Lender, including any
pledge or assignment to secure obligations to a Federal Reserve Bank or loans made to such Lender
pursuant to securitization or similar credit facility (a “Securitization”); provided that no such
pledge or assignment shall release such Lender from any of its obligations hereunder or substitute
any such pledgee or assignee for such Lender as a party hereto.

                (m)    For the avoidance of doubt, notwithstanding anything to the contrary set
forth in this Agreement or any other Loan Document, (x) Loans and Commitments may be sold,
assigned, transferred and/or participated on a pro rata basis or a non-pro rata basis, whether via
one or more auctions, open market purchases, privately negotiated transactions or otherwise
pursuant, each of which shall be on terms and conditions, and for such consideration and/or at such
purchase price, in each case, as agreed to by the applicable seller or transferor, and the applicable
purchaser or transferee, and (y) any payment made on account of any sale, assignment, transfer or
participation pursuant to this Section 12.07, or any payment otherwise in respect of, pursuant to or
in connection with this Section 12.07, in each case, shall not be subject to Sections 4.01 or 4.02
hereof, or any other provision of this Agreement or any other Loan Document that requires a
payment to be made to Lenders in accordance with their Pro Rata Shares, or that otherwise
provides for ratable payments or distributions to the Lenders.

               (n)     [Reserved.]

               (o)     BSP/Goldman Right of First Offer; BSP/Goldman Buyout Right & Consent
Rights.

                       (i)     BSP Group and the Goldman Group shall each be permitted to
exercise the BSP/Goldman Right of First Offer and the BSP/Goldman Buyout Right at such times
as specified pursuant to the terms thereof.

                     (ii)   BSP Group (except if comprising any BSP Successor) shall be
required to consent to any assignment or other transfer of any Loan, Commitment or other
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Obligations (or any portion thereof or interest therein) by any Goldman Lender to any Person
(other than an Affiliate or Related Fund of such Goldman Lender that is an Eligible Assignee) at
any time that the aggregate amount of Effective Date Committed Debt held by BSP Group
represents not less than 17.0% of all Effective Date Committed Debt held at such time by all
Lenders who are not Defaulting Lenders.

                       (iii)   Goldman Group (except if comprising any Goldman Successor)
shall be required to consent to any assignment or other transfer of any Loan, Commitment or other
Obligations (or any portion thereof or interest therein) by any BSP Lender to any Person (other
than an Affiliate or Related Fund of such BSP Lender that is an Eligible Assignee) at any time that
the aggregate amount of Effective Date Committed Debt held by Goldman Group represents not
less than 17.0% of all Effective Date Committed Debt held at such time by all Lenders who are
not Defaulting Lenders.

               Section 12.08 Counterparts. This Agreement may be executed in any number of
counterparts and by different parties hereto in separate counterparts, each of which shall be deemed
to be an original, but all of which taken together shall constitute one and the same agreement.
Delivery of an executed counterpart of this Agreement by telecopier or electronic mail shall be
equally as effective as delivery of an original executed counterpart of this Agreement. Any party
delivering an executed counterpart of this Agreement by telecopier or electronic mail also shall
deliver an original executed counterpart of this Agreement but the failure to deliver an original
executed counterpart shall not affect the validity, enforceability, and binding effect of this
Agreement. The foregoing shall apply to each other Loan Document mutatis mutandis.

          Section 12.09 GOVERNING LAW. THIS AGREEMENT AND THE OTHER
LOAN DOCUMENTS (UNLESS EXPRESSLY PROVIDED TO THE CONTRARY IN
ANOTHER LOAN DOCUMENT IN RESPECT OF SUCH OTHER LOAN DOCUMENT)
SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAW OF
THE STATE OF NEW YORK APPLICABLE TO CONTRACTS MADE AND TO BE
PERFORMED IN THE STATE OF NEW YORK.

               Section 12.10 CONSENT TO JURISDICTION; SERVICE OF PROCESS AND
VENUE.

           (a)   ANY LEGAL ACTION OR PROCEEDING WITH RESPECT TO THIS
AGREEMENT OR ANY OTHER LOAN DOCUMENT MAY BE BROUGHT IN THE COURTS
OF THE STATE OF NEW YORK IN THE COUNTY OF NEW YORK OR OF THE UNITED
STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK, AND, BY
EXECUTION AND DELIVERY OF THIS AGREEMENT, EACH LOAN PARTY HEREBY
IRREVOCABLY ACCEPTS IN RESPECT OF ITS PROPERTY, GENERALLY AND
UNCONDITIONALLY, THE JURISDICTION OF THE AFORESAID COURTS. EACH LOAN
PARTY HEREBY IRREVOCABLY CONSENTS TO THE SERVICE OF PROCESS OUT OF
ANY OF THE AFOREMENTIONED COURTS AND IN ANY SUCH ACTION OR
PROCEEDING BY ANY MEANS PERMITTED BY APPLICABLE LAW, INCLUDING,
WITHOUT LIMITATION, BY THE MAILING OF COPIES THEREOF BY REGISTERED OR
CERTIFIED MAIL, POSTAGE PREPAID, TO THE ADMINISTRATIVE BORROWER AT ITS
ADDRESS FOR NOTICES AS SET FORTH IN SECTION 12.01, SUCH SERVICE TO
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BECOME EFFECTIVE 10 DAYS AFTER SUCH MAILING. THE LOAN PARTIES AGREE
THAT A FINAL JUDGMENT IN ANY SUCH ACTION OR PROCEEDING SHALL BE
CONCLUSIVE AND MAY BE ENFORCED IN OTHER JURISDICTIONS BY SUIT ON THE
JUDGMENT OR IN ANY OTHER MANNER PROVIDED BY LAW. NOTHING HEREIN
SHALL AFFECT THE RIGHT OF THE AGENTS AND THE LENDERS TO SERVICE OF
PROCESS IN ANY OTHER MANNER PERMITTED BY LAW OR TO COMMENCE LEGAL
PROCEEDINGS OR OTHERWISE PROCEED AGAINST ANY LOAN PARTY IN ANY
OTHER JURISDICTION. EACH LOAN PARTY HEREBY EXPRESSLY AND
IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY LAW, ANY
OBJECTION WHICH IT MAY NOW OR HEREAFTER HAVE TO THE JURISDICTION OR
LAYING OF VENUE OF ANY SUCH LITIGATION BROUGHT IN ANY SUCH COURT
REFERRED TO ABOVE AND ANY CLAIM THAT ANY SUCH LITIGATION HAS BEEN
BROUGHT IN AN INCONVENIENT FORUM. TO THE EXTENT THAT ANY LOAN PARTY
HAS OR HEREAFTER MAY ACQUIRE ANY IMMUNITY FROM JURISDICTION OF ANY
COURT OR FROM ANY LEGAL PROCESS (WHETHER THROUGH SERVICE OR NOTICE,
ATTACHMENT PRIOR TO JUDGMENT, ATTACHMENT IN AID OF EXECUTION OR
OTHERWISE) WITH RESPECT TO ITSELF OR ITS PROPERTY, EACH LOAN PARTY
HEREBY IRREVOCABLY WAIVES SUCH IMMUNITY IN RESPECT OF ITS
OBLIGATIONS UNDER THIS AGREEMENT AND THE OTHER LOAN DOCUMENTS.

            Section 12.11 WAIVER OF JURY TRIAL, ETC. EACH LOAN PARTY, EACH
AGENT AND EACH LENDER HEREBY WAIVES ANY RIGHT TO A TRIAL BY JURY IN
ANY ACTION, PROCEEDING OR COUNTERCLAIM CONCERNING ANY RIGHTS
UNDER THIS AGREEMENT OR THE OTHER LOAN DOCUMENTS, OR UNDER ANY
AMENDMENT, WAIVER, CONSENT, INSTRUMENT, DOCUMENT OR OTHER
AGREEMENT DELIVERED OR WHICH IN THE FUTURE MAY BE DELIVERED IN
CONNECTION THEREWITH, OR ARISING FROM ANY FINANCING RELATIONSHIP
EXISTING IN CONNECTION WITH THIS AGREEMENT, AND AGREES THAT ANY SUCH
ACTION, PROCEEDINGS OR COUNTERCLAIM SHALL BE TRIED BEFORE A COURT
AND NOT BEFORE A JURY. EACH LOAN PARTY CERTIFIES THAT NO OFFICER,
REPRESENTATIVE, AGENT OR ATTORNEY OF ANY AGENT OR ANY LENDER HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT ANY AGENT OR ANY LENDER
WOULD NOT, IN THE EVENT OF ANY ACTION, PROCEEDING OR COUNTERCLAIM,
SEEK TO ENFORCE THE FOREGOING WAIVERS. EACH LOAN PARTY HEREBY
ACKNOWLEDGES THAT THIS PROVISION IS A MATERIAL INDUCEMENT FOR THE
AGENTS AND THE LENDERS ENTERING INTO THIS AGREEMENT.

              Section 12.12 [Reserved].

               Section 12.13 No Party Deemed Drafter. Each of the parties hereto agrees that no
party hereto shall be deemed to be the drafter of this Agreement.

               Section 12.14 Reinstatement; Certain Payments. If any claim is ever made upon
any Secured Party for repayment or recovery of any amount or amounts received by such Secured
Party in payment or on account of any of the Obligations, such Secured Party shall give prompt
notice of such claim to each other Agent and Lender and the Administrative Borrower, and if such
Secured Party repays all or part of such amount by reason of (i) any judgment, decree or order of
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any court or administrative body having jurisdiction over such Secured Party or any of its property,
or (ii) any good faith settlement or compromise of any such claim effected by such Secured Party
with any such claimant, then and in such event each Loan Party agrees that (A) any such judgment,
decree, order, settlement or compromise shall be binding upon it notwithstanding the cancellation
of any Indebtedness hereunder or under the other Loan Documents or the termination of this
Agreement or the other Loan Documents, and (B) it shall be and remain liable to such Secured
Party hereunder for the amount so repaid or recovered to the same extent as if such amount had
never originally been received by such Secured Party.

               Section 12.15 Indemnification; Limitation of Liability for Certain Damages.

                (a)     In addition to each Loan Party’s other Obligations under this Agreement,
each Loan Party agrees to, jointly and severally, defend, protect, indemnify and hold harmless each
Secured Party and all of their respective Affiliates, officers, directors, employees, attorneys,
consultants and agents (collectively called the “Indemnitees”) from and against any and all losses,
damages, liabilities, obligations, penalties, fees, reasonable and documented out-of-pocket costs
and expenses (including, without limitation, reasonable and documented out-of-pocket attorneys’
fees, costs and expenses) incurred by such Indemnitees, whether prior to or from and after the
Effective Date, whether direct, indirect or consequential, as a result of or arising from or relating
to or in connection with any of the following: (i) the negotiation, preparation, execution or
performance or enforcement of this Agreement, any other Loan Document or of any other
document executed in connection with the transactions contemplated by this Agreement, (ii) any
Agent’s or any Lender’s furnishing of funds to the Borrowers under this Agreement or the other
Loan Documents, including, without limitation, the management of any such Loans or the
Borrowers’ use of the proceeds thereof, (iii) the Agents and the Lenders relying on any instructions
of the Administrative Borrower or the handling of the Loan Account and Collateral of the
Borrowers as herein provided, (iv) any matter relating to the financing transactions contemplated
by this Agreement or the other Loan Documents or by any document executed in connection with
the transactions contemplated by this Agreement or the other Loan Documents, or (v) any claim,
litigation, investigation or proceeding relating to any of the foregoing, whether or not any
Indemnitee is a party thereto (collectively, the “Indemnified Matters”); provided, however, that
the Loan Parties shall not have any obligation to any Indemnitee under this subsection (a) for any
Indemnified Matter (x) caused by the gross negligence or willful misconduct of such Indemnitee,
as determined by a final non-appealable judgment of a court of competent jurisdiction or (y) result
from any dispute solely among Indemnitees (or their Related Parties) and not involving any action
or inaction by the Borrowers and their respective Affiliates (excluding as against the Agents in
their capacity as such).

                (b)     The indemnification for all of the foregoing losses, damages, fees, costs and
expenses of the Indemnitees set forth in this Section 12.15 are chargeable against the Loan
Account. To the extent that the undertaking to indemnify, pay and hold harmless set forth in this
Section 12.15 may be unenforceable because it is violative of any law or public policy, each Loan
Party shall, jointly and severally, contribute the maximum portion which it is permitted to pay and
satisfy under applicable law, to the payment and satisfaction of all Indemnified Matters incurred
by the Indemnitees.


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                (c)     No party hereto shall assert, and each party hereto hereby waives, any claim
against the Indemnitees or any other party hereto, on any theory of liability, for special, indirect,
consequential or punitive damages (as opposed to direct or actual damages) (whether or not the
claim therefor is based on contract, tort or duty imposed by any applicable legal requirement)
arising out of, in connection with, as a result of, or in any way related to, this Agreement or any
other Loan Document or any agreement or instrument contemplated hereby or thereby or referred
to herein or therein, the transactions contemplated hereby or thereby, any Loan or the use of the
proceeds thereof or any act or omission or event occurring in connection therewith, and each party
hereto hereby waives, releases and agrees not to sue upon any such claim or seek any such
damages, whether or not accrued and whether or not known or suspected to exist in its favor.

              (d)    The indemnities and waivers set forth in this Section 12.15 shall survive the
repayment of the Obligations and discharge of any Liens granted under the Loan Documents.

                 Section 12.16 Records. The unpaid principal of and interest on the Loans, the
interest rate or rates applicable to such unpaid principal and interest, the duration of such
applicability, the Commitments, and the accrued and unpaid fees payable pursuant to Section 2.06
hereof, including, without limitation, the Fees set forth in the Fee Letter and the Applicable
Premium, shall at all times be ascertained from the records of the Agents, which shall be conclusive
and binding absent manifest error.

               Section 12.17 Binding Effect. This Agreement shall become effective when it
shall have been executed by each Loan Party, each Agent and each Lender and when the conditions
precedent set forth in Section 5.01 hereof have been satisfied or waived in writing by the Agents,
and thereafter shall be binding upon and inure to the benefit of each Loan Party, each Agent and
each Lender, and their respective successors and assigns, except that the Loan Parties shall not
have the right to assign their rights hereunder or any interest herein without the prior written
consent of each Agent and each Lender, and any assignment by any Lender shall be governed by
Section 12.07 hereof.

                 Section 12.18 Highest Lawful Rate. It is the intention of the parties hereto that
each Agent and each Lender shall conform strictly to usury laws applicable to it. Accordingly, if
the transactions contemplated hereby or by any other Loan Document would be usurious as to any
Agent or any Lender under laws applicable to it (including the laws of the United States of America
and the State of New York or any other jurisdiction whose laws may be mandatorily applicable to
such Agent or such Lender notwithstanding the other provisions of this Agreement), then, in that
event, notwithstanding anything to the contrary in this Agreement or any other Loan Document or
any agreement entered into in connection with or as security for the Obligations, it is agreed as
follows: (i) the aggregate of all consideration which constitutes interest under law applicable to
any Agent or any Lender that is contracted for, taken, reserved, charged or received by such Agent
or such Lender under this Agreement or any other Loan Document or agreements or otherwise in
connection with the Obligations shall under no circumstances exceed the maximum amount
allowed by such applicable law, any excess shall be canceled automatically and if theretofore paid
shall be credited by such Agent or such Lender on the principal amount of the Obligations (or, to
the extent that the principal amount of the Obligations shall have been or would thereby be paid in
full, refunded by such Agent or such Lender, as applicable, to the Borrowers); and (ii) in the event
that the maturity of the Obligations is accelerated by reason of any Event of Default under this
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Agreement or otherwise, or in the event of any required or permitted prepayment, then such
consideration that constitutes interest under law applicable to any Agent or any Lender may never
include more than the maximum amount allowed by such applicable law, and excess interest, if
any, provided for in this Agreement or otherwise shall, subject to the last sentence of this Section
12.18, be canceled automatically by such Agent or such Lender, as applicable, as of the date of
such acceleration or prepayment and, if theretofore paid, shall be credited by such Agent or such
Lender, as applicable, on the principal amount of the Obligations (or, to the extent that the principal
amount of the Obligations shall have been or would thereby be paid in full, refunded by such Agent
or such Lender to the Borrowers). All sums paid or agreed to be paid to any Agent or any Lender
for the use, forbearance or detention of sums due hereunder shall, to the extent permitted by law
applicable to such Agent or such Lender, be amortized, prorated, allocated and spread throughout
the full term of the Loans until payment in full so that the rate or amount of interest on account of
any Loans hereunder does not exceed the maximum amount allowed by such applicable law. If at
any time and from time to time (x) the amount of interest payable to any Agent or any Lender on
any date shall be computed at the Highest Lawful Rate applicable to such Agent or such Lender
pursuant to this Section 12.18 and (y) in respect of any subsequent interest computation period the
amount of interest otherwise payable to such Agent or such Lender would be less than the amount
of interest payable to such Agent or such Lender computed at the Highest Lawful Rate applicable
to such Agent or such Lender, then the amount of interest payable to such Agent or such Lender
in respect of such subsequent interest computation period shall continue to be computed at the
Highest Lawful Rate applicable to such Agent or such Lender until the total amount of interest
payable to such Agent or such Lender shall equal the total amount of interest which would have
been payable to such Agent or such Lender if the total amount of interest had been computed
without giving effect to this Section 12.18.

                For purposes of this Section 12.18, the term “applicable law” shall mean that law
in effect from time to time and applicable to the loan transaction between the Borrowers, on the
one hand, and the Agents and the Lenders, on the other, that lawfully permits the charging and
collection of the highest permissible, lawful non-usurious rate of interest on such loan transaction
and this Agreement, including laws of the State of New York and, to the extent controlling, laws
of the United States of America.

               The right to accelerate the maturity of the Obligations does not include the right to
accelerate any interest that has not accrued as of the date of acceleration.

                Section 12.19 Confidentiality. Each Agent and each Lender agrees (on behalf of
itself and each of its affiliates, directors, officers, employees and representatives) to use reasonable
precautions to keep confidential, in accordance with its customary procedures for handling
confidential information of this nature and in accordance with safe and sound practices of
comparable commercial finance companies, any non-public or proprietary information supplied to
it by the Loan Parties pursuant to this Agreement or the other Loan Documents (and which at the
time is not, and does not thereafter become, publicly available through no breach hereunder by an
Agent or such Lender or available to such Person from another source not known to be subject to
a confidentiality obligation to such Person not to disclose such information), provided that nothing
herein shall limit the disclosure by any Agent or any Lender of any such information (i) to its
Affiliates (or prospective Affiliates, including limited partners) and to its and its Affiliates’ (or

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such prospective Affiliates’) respective equityholders (including, without limitation, partners),
directors, officers, employees, agents, trustees, counsel, advisors and representatives (it being
understood that the Persons to whom such disclosure is made will be informed of the confidential
nature of such information and instructed to keep such information confidential in accordance with
this Section 12.19 and such Lender shall remain liable for any breach hereof by such Persons); (ii)
to any other party hereto; (iii) to any assignee or participant (or prospective assignee or participant)
or any party to a Securitization so long as such assignee or participant (or prospective assignee or
participant) or party to a Securitization first agrees, in writing, to be bound by confidentiality
provisions similar in substance to this Section 12.19; (iv) to the extent required by any Requirement
of Law or judicial process or as otherwise requested by any Governmental Authority (in which
case such Agent and/or such Lender shall notify the Administrative Borrower, in advance of any
such disclosure, to the extent permitted by such law, process and/or request); (v) to the National
Association of Insurance Commissioners or any similar organization, any examiner, auditor or
accountant or any nationally recognized rating agency or otherwise to the extent consisting of
general portfolio information that does not identify Loan Parties; (vi) in connection with any
litigation to which any Agent or any Lender is a party (in which case such Agent and/or such
Lender shall use commercially reasonable efforts to notify the Administrative Borrower, in
advance of any such disclosure, to the extent permitted by such law, process and/or request); (vii)
in connection with the exercise of any remedies hereunder or under any other Loan Document or
any action or proceeding relating to this Agreement or any other Loan Document or the
enforcement of rights hereunder or thereunder; or (viii) with the consent of the Administrative
Borrower.

                Section 12.20 Public Disclosure. Each Loan Party agrees that neither it nor any of
its Affiliates will now or in the future issue any press release or other public disclosure using the
name of an Agent, any Lender or any of their respective Affiliates or referring to this Agreement
or any other Loan Document without the prior written consent of such Agent or such Lender,
except to the extent that such Loan Party or such Affiliate is required to do so under applicable
law (in which event, such Loan Party or such Affiliate will consult with such Agent or such Lender
before issuing such press release or other public disclosure). Each Loan Party hereby authorizes
each Agent and each Lender, after consultation with and prior written consent from the Borrowers,
to advertise the closing of the transactions contemplated by this Agreement, and to make
appropriate announcements of the financial arrangements entered into among the parties hereto,
as such Agent or such Lender shall deem appropriate, including, without limitation, on a home
page or similar place for dissemination of information on the Internet or worldwide web, or in
announcements commonly known as tombstones, in such trade publications, business journals,
newspapers of general circulation and to such selected parties as such Agent or such Lender shall
deem appropriate.

               Section 12.21 Integration. This Agreement, together with the other Loan
Documents, reflects the entire understanding of the parties with respect to the transactions
contemplated hereby and shall not be contradicted or qualified by any other agreement, oral or
written, before the date hereof.

              Section 12.22 USA PATRIOT Act. Each Lender or Agent that is subject to the
requirements of the USA PATRIOT Act hereby notifies the Borrowers that pursuant to the

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requirements of the USA PATRIOT Act, it is required to obtain, verify and record information
that identifies the entities composing the Borrowers, which information includes the name and
address of each such entity and other information that will allow such Lender or Agent to identify
the entities composing the Borrowers in accordance with the USA PATRIOT Act. Each Loan Party
agrees to take such action and execute, acknowledge and deliver at its sole cost and expense, such
instruments and documents as any Lender or Agent may reasonably require from time to time in
order to enable such Lender or Agent to comply with the USA PATRIOT Act.

                Section 12.23 Intercreditor Agreement. In the event of any conflict between the
terms of this Agreement and the Term Intercreditor Agreement, the parties hereto hereby agree
that the terms of the Term Intercreditor Agreement shall prevail.


             [REMAINDER OF THIS PAGE INTENTIONALLY LEFT BLANK]




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              IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
executed by their respective officers thereunto duly authorized, as of the date first above written.


                                               BORROWERS:

                                               [NEW HOLDCO SUB], as a Borrower and as the
                                               Administrative Borrower


                                               By:
                                                     Name: [ ]
                                                     Title: [ ]



                                               ORG GC GP BUYER, LLC, as a Borrower


                                               By:
                                                     Name: [ ]
                                                     Title: [ ]



                                               ORG GC LP BUYER, LLC, as a Borrower


                                               By:
                                                     Name: [ ]




                                  GC SERVICES
                        SECOND LIEN FINANCING AGREEMENT
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                                    Title:   [ ]

                              GUARANTORS:

                              ORG GC GP BUYER, LLC


                              By:
                                    Name: [ ]
                                    Title: [ ]




                              GUARANTORS:

                              [NEW HOLDCO], as Parent and as a Guarantor


                              By:
                                    Name: [ ]
                                    Title: [ ]


                              [ORG GC GP BUYER, LLC, as a Guarantor]


                              By:
                                    Name: [ ]
                                    Title: [ ]


                              [ORG GC LP BUYER, LLC, as a Guarantor]


                              By:
                                    Name: [ ]
                                    Title: [ ]


                              GC SERVICES LIMITED PARTNERSHIP, as a
                              Guarantor




                       GC SERVICES
             SECOND LIEN FINANCING AGREEMENT
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                              By:   ORG GC GP Buyer, LLC,
                                    its general partner


                              By:
                                    Name: [ ]
                                    Title: [ ]


                              GC SERVICES INTERNATIONAL, LLC, as a
                              Guarantor


                              By:
                                    Name: [ ]
                                    Title: [ ]




                       GC SERVICES
             SECOND LIEN FINANCING AGREEMENT
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                              ADMINISTRATIVE AGENT:

                              BSP AGENCY, LLC


                              By:
                                    Name: Bryan Martoken
                                    Title: CFO


                              COLLATERAL AGENT:

                              BSP AGENCY, LLC


                              By:
                                    Name: Bryan Martoken
                                    Title: CFO




                       GC SERVICES
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                              LENDERS:

                              [ ]




                       GC SERVICES
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                             Exhibit F

                Form of Term DIP Facility Agreement
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                                                         K&S COMMENTS
                                                                10/11/21




SUPERPRIORITY SECURED DEBTOR-IN-POSSESSION FINANCING AGREEMENT

                        DATED AS OF [__], 2021

                           BY AND AMONG

                        ORG GC MIDCO, LLC,
                            as Borrower,


               EACH SUBSIDIARY OF BORROWER LISTED
         AS A GUARANTOR ON THE SIGNATURE PAGES HERETO
               AND FROM TIME TO TIME PARTY HERETO,
                           as Guarantors,


          THE LENDERS FROM TIME TO TIME PARTY HERETO,
                           as Lenders,


          GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P.,
                     as Collateral Agent, and


          GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P.,
                     as Administrative Agent
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                   conversion thereof into any exit financing of the Debtor pursuant to the terms of the
                   Bankruptcy Plan and in accordance with the RSA), each of the Borrower and the
                   Guarantors agrees that (a) the Obligations hereunder shall not be discharged by the
                   entry of an order confirming a plan of reorganization or liquidation in any Chapter
                   11 Case (and each of the Borrower and the Guarantors, pursuant to Section
                   1141(d)(4) of the Bankruptcy Code, hereby waives any such discharge) and (b) the
                   Superpriority DIP Claims and the Liens granted to the Collateral Agent pursuant to
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                   recoupment, claim or demand of any kind or nature whatsoever that can be asserted
                   to reduce or eliminate all of any part of the Borrower’s, the Guarantors’ or any
                   Subsidiaries’ liability to repay any Agent or any Lender as provided in this
                   Agreement or to seek affirmative relief or damages of any kind or nature from any
                   Agent or any Lender. Upon entry of the Order, the Borrower and the Guarantors,
                   each in their own right (and in respect of the Borrower, on behalf of its bankruptcy
                   estate), and on behalf of all their successors, assigns, Subsidiaries and any
                   Affiliates and any Person acting for and on behalf of, or claiming through them,
                   hereby fully, finally and forever release and discharge each Agent and the Lenders
                   and all of the Agents’ and the Lenders’ respective officers, directors, servants,
                   agents, attorneys, assigns, heirs, parents, subsidiaries, and each Person acting for or

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                              on behalf of any of them of and from any and all actions, causes of action,
                              demands, suits, claims, liabilities, Liens, lawsuits, adverse consequences, amounts
                              paid in settlement, costs, damages, debts, deficiencies, diminution in value,
                              disbursements, expenses, losses and other obligations of any kind or nature
                              whatsoever, in each case, existing at the time of entry of the Order, whether in law,
                              equity or otherwise (including, without limitation, those arising under Sections 541
                              through 550 of the Bankruptcy Code and interest or other carrying costs, penalties,
                              legal, accounting and other Professional Costs, and incidental, consequential and
                              punitive damages payable to third parties), directly or indirectly arising out of,
                              connected with or relating to this Agreement, the Order and the transactions
                              (including, for avoidance of doubt, the Transactions) contemplated hereby, and all
                              other agreements, certificates, instruments and other documents and statements
                              (whether written or oral) related to any of the foregoing. Notwithstanding anything
                              herein to the contrary, the Borrower and Guarantors shall not have any obligation
                              to indemnify or hold harmless any Agent or any Lender hereunder with respect to
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                hereto acknowledges that any liability of any Lender that is an Affected Financial
                Institution arising under any Loan Document, to the extent such liability is
                unsecured, may be subject to the Write-Down and Conversion Powers of the
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                and other rights and privileges created hereby or pursuant hereto or to any other
                Loan Document shall be binding upon the Debtor, the estate of the Debtor, and any
                trustee, other estate representative or any successor in interest of the Debtor in the
                Chapter 11 Case or any subsequent case commenced under Chapter 7 of the
                Bankruptcy Code, and shall not be subject to Section 365 of the Bankruptcy Code.
                This Agreement and the other Loan Documents shall be binding upon, and inure to
                the benefit of, the successors of each Agent and the Lenders and their respective
                assigns, transferees and endorsees. The Liens created by this Agreement and the
                other Loan Documents shall be and remain valid and perfected in the event of the
                substantive consolidation or conversion of the Chapter 11 Case or any other
                bankruptcy case of the Debtor to a case under Chapter 7 of the Bankruptcy Code or
                in the event of dismissal of the Chapter 11 Case or the release of any Collateral
                from the jurisdiction of the Bankruptcy Court for any reason, without the necessity
                that the Collateral Agent file financing statements or otherwise perfect its Liens
                under applicable law. No Loan Party may assign, transfer, hypothecate or
                otherwise convey its rights, benefits, obligations or duties hereunder or under any
                of the other Loan Documents without the prior express written consent of the
                Administrative Agent and the Lenders. Any such purported assignment, transfer,
                hypothecation or other conveyance by any Loan Party without the prior express
                written consent of the Administrative Agent and the Lenders shall be void. The
                terms and provisions of this Agreement are for the purpose of defining the relative
                rights and obligations of each Loan Party, the Administrative Agent and the
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       SUPERPRIORITY SECURED DEBTOR-IN-POSSESSION FINANCING AGREEMENT

                  This Superpriority Secured Debtor-in-Possession Financing Agreement, dated as of [__],
2021, is made by and among ORG GC Midco, LLC, a Delaware limited liability company (“GC Midco”),
as borrower (the “Borrower”), ORG GC GP Buyer, LLC, a Delaware limited liability company (“GC GP
Buyer”), ORG GC LP Buyer, LLC, a Delaware limited liability company (“GC LP Buyer”), GC Services
Limited Partnership, a Delaware limited partnership (“GCLP”), GC Services International LLC, a Delaware
limited liability company (“GCSI”, together with GC GP Buyer, GC LP Buyer, GCLP and each other
Person that executes a joinder agreement and becomes a “Guarantor” hereunder or otherwise guaranties all
or any part of the Obligations (as hereinafter defined), each a “Guarantor” and collectively, the
“Guarantors”), the lenders from time to time party hereto (each a “Lender” and collectively, the “Lenders”),
Goldman Sachs Specialty Lending Group, L.P., as collateral agent for the Lenders (in such capacity,
together with its successors and assigns in such capacity, the “Collateral Agent”), and Goldman Sachs
Specialty Lending Group, L.P., as administrative agent for the Lenders (in such capacity, together with its
successors and assigns in such capacity, the “Administrative Agent” and together with the Collateral Agent,
each an “Agent” and collectively, the “Agents”).

                                               RECITALS1

                 WHEREAS, capitalized terms used in these recitals shall have the respective meanings set
forth for such terms in Article I;

                 WHEREAS, on [__], 2021 (the “Petition Date”), the Borrower (in such capacity, the
“Debtor”) commenced a chapter 11 case, assigned Case No. [___] (the “Chapter 11 Case”), by filing a
voluntary petition for reorganization under the Bankruptcy Code, with the United States Bankruptcy Court
for the Southern District of Texas (together with any other court having jurisdiction over the Chapter 11
Case or any proceeding therein from time to time, the “Bankruptcy Court”). The Debtor continues to operate
its businesses and manage its properties as a debtor and debtor in possession pursuant to sections 1107(a)
and 1108 of the Bankruptcy Code;

                  WHEREAS, prior to the Petition Date, certain of the Lenders and/or certain of their
affiliates or controlled funds provided financing to the Borrower and the Guarantors pursuant to that certain
Financing Agreement, dated as of July 31, 2017, among the Borrower and the other borrowers party thereto,
ORG GC Holdings, LLC, a Delaware limited liability company (“Parent”), the guarantors party thereto
from time to time, the lenders party thereto from time to time, and BSP Agency, LLC, as the administrative
agent and collateral agent thereunder (as amended by that certain First Amendment to Financing
Agreement, dated as of September 29, 2017, that certain Second Amendment to Financing Agreement,
dated as of June 27, 2019, and as may be further amended, restated, amended and restated, supplemented
or otherwise modified through the Petition Date, the “Prepetition Term Financing Agreement”);

                WHEREAS, the Borrower has requested that the Lenders provide a senior secured,
superpriority debtor-in-possession term loan facility to the Borrower in the maximum aggregate principal
amount of $[6,000,000] (the “DIP Facility”) to be used during the Chapter 11 Case as further set forth
herein. The Loans will be made for purposes set forth in Section 7.01(m);

                WHEREAS, the Borrower has requested that the Prepetition ABL Lenders continue to
make available Prepetition ABL Loans and the other financial accommodations under the Prepetition ABL
Loan Documents;


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    NTD: To be updated as applicable.

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                WHEREAS, all of the Guarantors will guaranty all of the Obligations under the Loan
Documents;

                WHEREAS, in order to secure the Obligations of the Borrower and the Guarantors under
the Loan Documents, the Borrower and the Guarantors will grant to the Collateral Agent, for the benefit of
Collateral Agent and all other Secured Parties, a security interest in and Lien upon substantially all of the
now existing and hereafter acquired personal and real property of the Borrower and the Guarantors pursuant
to the Order;

                WHEREAS, the relative priority of the Liens and security interests granted to secure the
Obligations in relation to the Liens and security interests securing the Prepetition Term Obligations, the
Prepetition ABL Obligations and certain other obligations will be set forth in the Order, the Intercreditor
Agreement and the RSA, as applicable;

                WHEREAS, the Borrower will provide to the prepetition lenders and other prepetition
secured parties under the Prepetition Term Financing Agreement and the other Prepetition Term Loan
Documents, adequate protection in accordance with the Order; and

               WHEREAS, the Lenders are severally, and not jointly, willing to extend such credit to the
Borrower on the terms and subject to the terms and conditions set forth herein and the Order.

               NOW, THEREFORE, in consideration of the premises, provisions, covenants and mutual
agreements contained herein and other good and valuable consideration, the sufficiency and receipt of
which are hereby acknowledged, the Lenders are willing to extend such credit to the Borrower on the terms
and express conditions set forth herein, and accordingly the parties hereto agree as follows:

                                              ARTICLE I

                                  DEFINITIONS; CERTAIN TERMS

               Section 1.01     Definitions. As used in this Agreement, the following terms shall have the
respective meanings indicated below:

                “ABL Priority Collateral” means “ABL Priority Collateral” as defined in the Intercreditor
Agreement.

               “Account Debtor” means, with respect to any Person, each debtor, customer or obligor in
any way obligated on or in connection with any Account of such Person.

                “Additional Amount” has the meaning specified therefor in Section 2.09(a).

                “Administrative Agent” has the meaning specified therefor in the preamble hereto.

                “Administrative Agent’s Account” means an account at a bank designated by the
Administrative Agent from time to time as the account into which the Loan Parties shall make all payments
to the Administrative Agent for the benefit of the Agents and the Lenders under this Agreement and the
other Loan Documents.

                 “Affected Financial Institution” means (a) any EEA Financial Institution or (b) any UK
Financial Institution.

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                “Affiliate” means, with respect to any Person, any other Person that directly or indirectly
through one or more intermediaries, controls, is controlled by, or is under common control with, such
Person. For purposes of this definition, “control” of a Person means the power, directly or indirectly, either
to (a) vote 10% or more of the Equity Interests having ordinary voting power for the election of members
of the Board of Directors of such Person or (b) direct or cause the direction of the management and policies
of such Person whether by contract or otherwise. Notwithstanding anything herein to the contrary, in no
event shall any Agent or any Lender be considered an “Affiliate” of any Loan Party.

                “Agents” has the meaning specified therefor in the preamble hereto.

               “Agreement” means this Superpriority Secured Debtor-in-Possession Financing
Agreement, including all amendments, restatements, amendments and restatements, modifications and
supplements and any exhibits or schedules to any of the foregoing, and shall refer to this Agreement as the
same may be in effect at the time such reference becomes operative.

                “Anti-Corruption Laws” has the meaning specified therefor in Section 6.01(aa)(i).

                   “Anti-Money Laundering and Anti-Terrorism Laws” means any Requirement of Law
relating to terrorism, economic sanctions or money laundering, including, without limitation, (a) the Money
Laundering Control Act of 1986 (i.e., 18 U.S.C. §§ 1956 and 1957), (b) the Bank Secrecy Act of 1970 (31
U.S.C. §§ 5311-5330 and 12 U.S.C. §§ 1818(s), 1820(b) and 1951-1959), and the implementing regulations
promulgated thereunder, (c) the USA PATRIOT Act and the implementing regulations promulgated
thereunder, (d) the laws, regulations and Executive Orders administered by the United States Department
of the Treasury’s Office of Foreign Assets Control (“OFAC”), (e) any law prohibiting or directed against
terrorist activities or the financing or support of terrorist activities (e.g., 18 U.S.C. §§ 2339A and 2339B),
and (f) any similar laws enacted in the United States or any other jurisdictions in which the parties to this
Agreement operate, as any of the foregoing laws have been, or shall hereafter be, amended, renewed,
extended, or replaced and all other present and future legal requirements of any Governmental Authority
governing, addressing, relating to, or attempting to eliminate, terrorist acts and acts of war and any
regulations promulgated pursuant thereto.

                “Applicable Margin” means, for any day with respect to the Loans, 6.00% per annum.

                 “Assignment and Acceptance” means an assignment and acceptance entered into by an
assigning Lender and an assignee, and accepted by the Administrative Agent (and the Collateral Agent, if
applicable), in accordance with Section 12.07 hereof and substantially in the form of Exhibit B hereto or
such other form acceptable to the Collateral Agent.

                “Authorized Officer” means, with respect to any Person, the chief executive officer, chief
operating officer, chief financial officer, chief administrative officer, treasurer or other financial officer
performing similar functions, president, vice president, general counsel or chief compliance officer of such
Person.

                “Automatic Stay” means the automatic stay imposed under Section 362 of the Bankruptcy
Code.

                “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the
applicable Resolution Authority in respect of any liability of an Affected Financial Institution.

                 “Bail-In Legislation” means, (a) with respect to any EEA Member Country implementing
Article 55 of Directive 2014/59/EU of the European Parliament and of the Council of the European Union,
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the implementing law, rule, regulation or requirement for such EEA Member Country from time to time
which is described in the EU Bail-In Legislation Schedule and (b) with respect to the United Kingdom, Part
I of the United Kingdom Banking Act 2009 (as amended from time to time) and any other law, regulation
or rule applicable in the United Kingdom relating to the resolution of unsound or failing banks, investment
firms or other financial institutions or their affiliates (other than through liquidation, administration or other
insolvency proceedings).

                “Bankruptcy Code” means Title 11 of the United States Code, as amended from time to
time and any successor statute or any similar federal or state law for the relief of debtors.

                 “Bankruptcy Court” has the meaning specified therefor in the recitals hereto.

                 “Bankruptcy Plan” means a plan of reorganization filed by the Debtor in form and
substance consistent with the RSA and otherwise reasonably acceptable to the Required Lenders and, solely
with respect to terms and provisions affecting the rights, protections, duties or obligations of the Agents or
the Prepetition Term Agents, reasonably acceptable to the Agents or the Prepetition Term Agents.

                 “Bankruptcy Plan Effective Date” has the meaning specified therefor in Section 7.01(q).

               “Barbados Account” means any deposit account or other bank account maintained by GC
Services (Barbados) SRL that is located in Barbados.

                “Beneficial Ownership Certification” means a certification regarding beneficial ownership
as required by the Beneficial Ownership Regulation in form and substance reasonably acceptable to the
Administrative Agent.

                 “Beneficial Ownership Regulation” means 31 C.F.R. § 1010.230.

                 “Blocked Person” means any Person:

                   (a)     that (i) is identified on the list of “Specially Designated Nationals and Blocked
Persons” published by OFAC; (ii) resides, is organized or chartered, or has a place of business in a country
or territory that is the subject of an OFAC Sanctions Program; or (iii) a United States Person is prohibited
from dealing or engaging in a transaction with under any of the Anti-Money Laundering and Anti-Terrorism
Laws; and

                (b)     that is owned or controlled by, or that owns or controls, or that is acting for or on
behalf of, any Person described in clause (a) above.

                “Board” means the Board of Governors of the Federal Reserve System of the United States
(or any successor).

                 “Board of Directors” means with respect to (a) any corporation, the board of directors of
the corporation or any committee thereof duly authorized to act on behalf of such board, (b) a partnership,
the board of directors of the general partner of the partnership, (c) a limited liability company, manager or
managers, the managing member or members or any controlling committee or board of directors of such
company or the sole member or the managing member thereof, and (d) any other Person, the board or
committee of such Person serving a similar function.

                 “Borrower” has the meaning specified therefor in the preamble hereto.


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               “Business Day” means for all purposes, any day other than a Saturday, Sunday or other
day on which commercial banks in New York City are authorized or required by law to close.

                 “Capital Expenditures” means, with respect to any Person for any period, the result of the
sum of (a) the aggregate of all expenditures by such Person and its Subsidiaries during such period that in
accordance with GAAP are or should be included in “property, plant and equipment” or in a similar fixed
asset account on its balance sheet, whether such expenditures are paid in cash or financed, including all
Capitalized Lease Obligations and all capitalized software development costs that are paid or due and
payable during such period, plus, (b) to the extent not covered by clause (a) above, the aggregate of all
expenditures by such Person and its Subsidiaries during such period to acquire by purchase or otherwise
the business or fixed assets of, or the Equity Interests of, any other Person.

                 “Capitalized Lease” means, with respect to any Person, any lease of (or other arrangement
conveying the right to use) real or personal property by such Person as lessee that is required under GAAP
to be capitalized on the balance sheet of such Person.

                 “Capitalized Lease Obligations” means, with respect to any Person, obligations of such
Person and its Subsidiaries under Capitalized Leases, and, for purposes hereof, the amount of any such
obligation shall be the capitalized amount thereof determined in accordance with GAAP.

                 “Carve-Out” has the meaning specified therefor in the then applicable Order.

                 [“Carve-Out Reserves” has the meaning specified therefor in the then applicable Order.]

                  “Cash Equivalents” means (a) marketable direct obligations issued or unconditionally
guaranteed by the United States Government or issued by any agency thereof and backed by the full faith
and credit of the United States, in each case, maturing within six months from the date of acquisition thereof;
(b) commercial paper, maturing not more than 270 days after the date of issue rated P-1 by Moody’s or A-
1 by Standard & Poor’s; (c) certificates of deposit maturing not more than 270 days after the date of issue,
issued by commercial banking institutions and money market or demand deposit accounts maintained at
commercial banking institutions, each of which is a member of the Federal Reserve System and has a
combined capital and surplus and undivided profits of not less than $500,000,000; (d) repurchase
agreements having maturities of not more than 90 days from the date of acquisition which are entered into
with major money center banks included in the commercial banking institutions described in clause (c)
above and which are secured by readily marketable direct obligations of the United States Government or
any agency thereof; (e) money market accounts maintained with mutual funds having assets in excess of
$2,500,000,000, which assets are primarily comprised of Cash Equivalents described in another clause of
this definition; and (f) marketable tax exempt securities rated A or higher by Moody’s or A+ or higher by
Standard & Poor’s, in each case, maturing within 270 days from the date of acquisition thereof.

                  “Change in Law” means the occurrence, after the date of this Agreement, of any of the
following: (a) the adoption or taking effect of any law, rule, regulation, judicial ruling, judgment or treaty,
(b) any change in any law, rule, regulation or treaty or in the administration, interpretation, implementation
or application thereof by any Governmental Authority or (c) the making or issuance of any request, rule,
guideline or directive (whether or not having the force of law) by any Governmental Authority; provided
that notwithstanding anything herein to the contrary, (i) the Dodd-Frank Wall Street Reform and Consumer
Protection Act and all requests, rules, guidelines or directives thereunder or issued in connection therewith
and (ii) all requests, rules, guidelines or directives concerning capital adequacy promulgated by the Bank
for International Settlements, the Basel Committee on Banking Supervision (or any successor or similar
authority) or the United States or foreign regulatory authorities shall, in each case, be deemed to be a
“Change in Law”, regardless of the date enacted, adopted or issued.
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                 “Change of Control” means each occurrence of any of the following:

                  (a)     the Permitted Holders cease to beneficially and of record own and control, directly
or indirectly, the Equity Interests of the Borrower held by the Permitted Holders on the Petition Date; or

                (b)     the Parent shall cease to have beneficial ownership (as defined in Rule 13d-3 under
the Exchange Act) of 100% of the aggregate voting and economic power of the Equity Interests of each
other Loan Party and each of its Subsidiaries, free and clear of all Liens (other than the Liens granted to the
Prepetition ABL Agent to secure the Prepetition ABL Obligations and the Liens granted to the Prepetition
Collateral Agent to secure the Prepetition Term Obligations);

provided, that in each case of the foregoing, the commencing of the Chapter 11 Case shall not constitute a
Change of Control.

                 “Chapter 11 Case” has the meaning specified therefor in the recitals hereto.

                 “Closing Date” shall have the meaning assigned to such term in Section 5.01.

                “Collateral” means all of the property and assets and all interests therein and proceeds
thereof now owned or hereafter acquired by any Person upon which a Lien is granted or purported to be
granted by such Person as security for all or any part of the Obligations.

                 “Collateral Agent” has the meaning specified therefor in the preamble hereto.

                “Collections” means all cash, checks, notes, instruments, and other items of payment
(including insurance proceeds, proceeds of cash sales, rental proceeds, and tax refunds).

                “Committee” shall mean the official committee of unsecured creditors, if any, appointed
in the Chapter 11 Case.

                “Company Advisors” means (a) Conway MacKenzie, in its role as financial advisor to the
Debtor and the other Loan Parties, (b) Weil, Gotshal & Manges LLP, in its role as legal advisor to the
Debtor and the other Loan Parties, (c) Bankruptcy Management Solutions, Inc. d/b/a Stretto, in its role as
claims, noticing and solicitation agent for the Debtor and the other Loan Parties, and (d) with the consent
of the Required Lenders, any other professionals retained by the Loan Parties in connection with the Chapter
11 Case.

                 “Compliance Certificate” has the meaning assigned to such term in Section 7.01(a)(iv).

                “Confirmation Order” means an order entered by the Bankruptcy Court, in form and
substance reasonably satisfactory to the Administrative Agent at the direction of the Required Lenders and,
solely with respect to terms and provisions affecting the rights, protections, duties or obligations of the
Agents or the Prepetition Term Agents, as applicable, the Agents and the Prepetition Term Agents,
confirming the Bankruptcy Plan.

                “Contingent Indemnity Obligations” means any Obligation constituting a contingent,
unliquidated indemnification obligation of any Loan Party, in each case, to the extent (a) such obligation
has not accrued and is not yet due and payable and (b) no claim has been made or is reasonably anticipated
to be made with respect thereto.



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                  “Contingent Obligation” means, with respect to any Person, any obligation of such Person
guaranteeing or intending to guarantee any Indebtedness, leases, dividends or other obligations (“primary
obligations”) of any other Person (the “primary obligor”) in any manner, whether directly or indirectly,
including, without limitation, (a) the direct or indirect guaranty, endorsement (other than for collection or
deposit in the ordinary course of business), co-making, discounting with recourse or sale with recourse by
such Person of the obligation of a primary obligor, (b) the obligation to make take-or-pay or similar
payments, if required, regardless of nonperformance by any other party or parties to an agreement, (c) any
obligation of such Person, whether or not contingent, (i) to purchase any such primary obligation or any
property constituting direct or indirect security therefor, (ii) to advance or supply funds (A) for the purchase
or payment of any such primary obligation or (B) to maintain working capital or equity capital of the
primary obligor or otherwise to maintain the net worth or solvency of the primary obligor, (iii) to purchase
property, assets, securities or services primarily for the purpose of assuring the owner of any such primary
obligation of the ability of the primary obligor to make payment of such primary obligation or (iv) otherwise
to assure or hold harmless the holder of such primary obligation against loss in respect thereof; provided,
however, that the term “Contingent Obligation” shall not include any product warranties extended in the
ordinary course of business. The amount of any Contingent Obligation shall be deemed to be an amount
equal to the stated or determinable amount of the primary obligation with respect to which such Contingent
Obligation is made (or, if less, the maximum amount of such primary obligation for which such Person may
be liable pursuant to the terms of the instrument evidencing such Contingent Obligation) or, if not stated or
determinable, the maximum reasonably anticipated liability with respect thereto (assuming such Person is
required to perform thereunder), as determined by such Person in good faith.

                 “Contractual Obligation” means, as to any Person, any provision of any security issued by
such Person or of any agreement, instrument or other undertaking to which such Person is a party or by
which it or any of its property is bound.

                “Control Agreement” means, with respect to any deposit account, any securities account,
commodity account, securities entitlement or commodity contract located in the United States, an
agreement, in form and substance reasonably satisfactory to the Collateral Agent (it being agreed that the
Control Agreements in effect as of the Petition Date are reasonably satisfactory to the Collateral Agent),
among the Prepetition ABL Agent (so long as the Prepetition ABL Loan Documents are still in effect), the
Collateral Agent (except with respect to Control Agreements in effect as of the Petition Date so long as the
RSA has not been terminated), the Prepetition Collateral Agent, the financial institution or other Person at
which such account is maintained or with which such entitlement or contract is carried and the Loan Party
maintaining such account, effective to grant “control” (as defined under the applicable UCC) over such
account to the Collateral Agent.

                  “Controlled Investment Affiliate” means, as to any Person, any other Person that directly
or indirectly, is in control of, is controlled by, or is under common control with, such Person and (b) is
organized by such Person primarily for the purpose of making equity or debt investments in one or more
companies. For purposes of this definition, “control” of a Person means the power, directly or indirectly,
to direct or cause the direction of the management and policies of such Person whether by contract or
otherwise.

                 “Customer Trust Account” means any deposit account specifically required by a customer
of a Loan Party to be maintained by such Loan Party as a trust account for the benefit of such customer, so
long as such deposit account and all funds deposited therein are separately segregated from such Loan
Party’s general accounts and other cash.

                 “Debtor” has the meaning specified therefor in the recitals hereto.

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                 “Debtor Relief Law” means the Bankruptcy Code and any other liquidation,
conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement,
receivership, insolvency, reorganization, or similar debtor relief law of the United States or other applicable
jurisdiction from time to time in effect.

                “Default” means an event which, with the giving of notice or the lapse of time or both,
would constitute an Event of Default.

                 “DIP Facility” has the meaning specified therefor in the recitals hereto.
                “DIP Loan Commitment” means on the Closing Date, with respect to each Lender holding
a DIP Loan Commitment, the commitment of such Lender to make a Loan, which commitment is in the
amount set forth opposite such Lender’s name on Schedule 1.01(A) under the caption “DIP Loan
Commitment”, as amended to reflect assignments by or to such Lender pursuant to an Assignment and
Acceptance. The aggregate amount of the DIP Loan Commitments on the Closing Date shall be the lesser
of (a) the DIP Loan Commitment set forth on Schedule 1.01(A) and (b) such amount as approved by the
Bankruptcy Court for funding on the Closing Date pursuant to the Order.
                 “DIP Proceeds” shall mean the proceeds received by the Borrower from the Loans.
                  “DIP Termination Date” shall mean the date that all Obligations will be due and payable
in full in cash (except, in the case of clause (v) below, as otherwise expressly provided herein), which such
date shall be the earliest of (i) the Final Maturity Date, (ii) the consummation of any sale of all or
substantially all of the assets of the Debtor pursuant to section 363 of the Bankruptcy Code, (iii) if the Order
has not been entered, the date that is thirty-two (32) calendar days after the Petition Date, (iv) the
acceleration of the Loans and the termination of the DIP Loan Commitments during the continuance of an
Event of Default, (v) the Bankruptcy Plan Effective Date, (vi) the date the Bankruptcy Court converts the
Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code, and (vii) the date the Bankruptcy Court
dismisses the Chapter 11 Case.
                  “Disposition” means any transaction, or series of related transactions, pursuant to which
any Person or any of its Subsidiaries sells, assigns, transfers, leases, licenses (as licensor) or otherwise
disposes of any property or assets (whether now owned or hereafter acquired), including any Equity Interest
in any Subsidiary, to any other Person, in each case, whether or not the consideration therefor consists of
cash, securities or other assets owned by the acquiring Person. For purposes of clarification, “Disposition”
shall include (a) the sale or other disposition for value of any contracts or (b) the early termination or
modification of any contract resulting in the receipt by any Loan Party of a cash payment or other
consideration in exchange for such event (other than payments in the ordinary course for accrued and unpaid
amounts due through the date of termination or modification).

                 “Disqualified Equity Interests” means any Equity Interest that, by its terms (or by the terms
of any security or other Equity Interest into which it is convertible or for which it is exchangeable), or upon
the happening of any event or condition, (a) matures or is mandatorily redeemable, pursuant to a sinking
fund obligation or otherwise, (b) is redeemable at the option of the holder thereof, in whole or in part, (c)
provides for the scheduled payment of dividends or distributions in cash or assets, or (d) is convertible into
or exchangeable for (i) Indebtedness or (ii) any other Equity Interests that would constitute Disqualified
Equity Interests, in each case of clauses (a) through (d), prior to the date that is six months after the Final
Maturity Date.

                 “Dollar,” “Dollars” and the symbol “$” each means lawful money of the United States of
America.

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                  “EEA Financial Institution” means (a) any credit institution or investment firm established
in any EEA Member Country which is subject to the supervision of an EEA Resolution Authority, (b) any
entity established in an EEA Member Country which is a parent of an institution described in clause (a) of
this definition, or (c) any financial institution established in an EEA Member Country which is a subsidiary
of an institution described in clauses (a) or (b) of this definition and is subject to consolidated supervision
with its parent.

                “EEA Member Country” means any of the member states of the European Union, Iceland,
Liechtenstein, and Norway.

                 “EEA Resolution Authority” means any public administrative authority or any person
entrusted with public administrative authority of any EEA Member Country (including any delegee) having
responsibility for the resolution of any EEA Financial Institution.

                “Employee Plan” means an employee benefit plan (other than a Multiemployer Plan)
covered by Title IV of ERISA and maintained (or that was maintained at any time during the 6 calendar
years preceding the date of any borrowing hereunder) for employees of any Loan Party or any of its ERISA
Affiliates.

                 “Environmental Actions” means any complaint, summons, citation, notice, directive,
order, claim, litigation, investigation, judicial or administrative proceeding, judgment, letter or other
communication from any Person or Governmental Authority involving violations of Environmental Laws
or Releases of Hazardous Materials (a) from any assets, properties or businesses owned or operated by any
Loan Party or any of its Subsidiaries or any predecessor in interest; (b) from adjoining properties or
businesses; or (c) onto any facilities which received Hazardous Materials generated by any Loan Party or
any of its Subsidiaries or any predecessor in interest.

                “Environmental Laws” means the Comprehensive Environmental Response,
Compensation and Liability Act (42 U.S.C. § 9601, et seq.), the Hazardous Materials Transportation Act
(49 U.S.C. § 1801, et seq.), the Resource Conservation and Recovery Act (42 U.S.C. § 6901, et seq.), the
Federal Clean Water Act (33 U.S.C. § 1251 et seq.), the Clean Air Act (42 U.S.C. § 7401 et seq.), the Toxic
Substances Control Act (15 U.S.C. § 2601 et seq.) and the Occupational Safety and Health Act (29 U.S.C.
§ 651 et seq.), as such laws may be amended or otherwise modified from time to time, and any other
Requirement of Law, permit, license or other binding determination of any Governmental Authority
imposing liability or establishing standards of conduct for protection of the environment or other
government restrictions relating to the protection of the environment or the Release, deposit or migration
of any Hazardous Materials into the environment.

                 “Environmental Liabilities and Costs” means all liabilities, monetary obligations,
Remedial Actions, losses, damages, punitive damages, consequential damages, treble damages, costs and
expenses (including all reasonable fees, disbursements and expenses of counsel, experts and consultants
and costs of investigations and feasibility studies), fines, penalties, sanctions and interest incurred as a result
of any claim or demand by any Governmental Authority or any third party, and which relate to any
environmental condition or a Release of Hazardous Materials from or onto (a) any property presently or
formerly owned by any Loan Party or any of its Subsidiaries or (b) any facility which received Hazardous
Materials generated by any Loan Party or any of its Subsidiaries.

               “Environmental Lien” means any Lien in favor of any Governmental Authority for
Environmental Liabilities and Costs.


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                  “Equity Interests” means (a) all shares of capital stock (whether denominated as common
stock or preferred stock), equity interests, beneficial, partnership or membership interests, joint venture
interests, participations or other ownership or profit interests in or equivalents (regardless of how
designated) of or in a Person (other than an individual), whether voting or non-voting and (b) all securities
convertible into or exchangeable for any of the foregoing and all warrants, options or other rights to
purchase, subscribe for or otherwise acquire any of the foregoing, whether or not presently convertible,
exchangeable or exercisable.

                “ERISA” means the Employee Retirement Income Security Act of 1974, as amended, and
any successor statute of similar import, and regulations thereunder, in each case, as in effect from time to
time. References to sections of ERISA shall be construed also to refer to any successor sections.

                “ERISA Affiliate” means, with respect to any Person, any trade or business (whether or
not incorporated) which is a member of a group of which such Person is a member and which would be
deemed to be a “controlled group” within the meaning of Sections 414(b), (c), (m) and (o) of the Internal
Revenue Code.

                “Erroneous Payment” has the meaning specified therefor in Section 10.18(a).

                “Erroneous Payment Deficiency Assignment” has the meaning specified therefor in
Section 10.18(d).

                “Erroneous Payment Impacted Class” has the meaning specified therefor in
Section 10.18(d).

                “Erroneous Payment Return Deficiency” has the meaning specified therefor in
Section 10.18(d).

                “Erroneous Payment Subrogation Rights” has the meaning specified therefor in
Section 10.18(d).

               “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published
by the Loan Market Association (or any successor person), as in effect from time to time.

                “Event of Default” has the meaning specified therefor in Section 9.01.

                “Exchange Act” means the Securities Exchange Act of 1934, as amended.

                 “Excluded Taxes” means any of the following Taxes imposed on or with respect to a
Recipient or required to be withheld or deducted from a payment to a Recipient, (a) Taxes imposed on or
measured by net income, profits or gross margin (however denominated), franchise Taxes, and branch
profits Taxes, in each case, (i) imposed as a result of such Recipient being organized under the laws of, or
having its principal office or, in the case of any Lender, its applicable lending office located in, the
jurisdiction imposing such Tax (or any political subdivision thereof) or (ii) that are Other Connection Taxes,
(b) in the case of a Lender, U.S. federal withholding Taxes imposed on amounts payable to or for the
account of such Lender with respect to an applicable interest in a Loan or DIP Loan Commitment pursuant
to a law in effect on the date on which (i) such Lender acquires such interest in the Loan or DIP Loan
Commitment or (ii) such Lender changes its lending office, except in each case to the extent that, pursuant
to Section 2.09, amounts with respect to such Taxes were payable either to such Lender’s assignor
immediately before such Lender became a party hereto or to such Lender immediately before it changed its


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lending office, (c) Taxes attributable to such Recipient’s failure to comply with Section 2.09(d) or 2.09(e),
and (d) any U.S. federal withholding Taxes imposed under FATCA.

                “Executive Order No. 13224” means the Executive Order No. 13224 on Terrorist
Financing, effective September 24, 2001, as the same has been, or shall hereafter be, renewed, extended,
amended or replaced.

                  “Extraordinary Receipts” means any cash received by any Loan Party or any of its
Subsidiaries not in the ordinary course of business, including, without limitation, (a) foreign, United States,
state or local tax refunds, (b) pension plan reversions, (c) proceeds of insurance, (d) judgments, proceeds
of settlements or other consideration of any kind in connection with any cause of action (other than to the
extent such consideration is (i) immediately payable to a Person that is not an Affiliate of the Borrower or
any of its Subsidiaries or (ii) received by the Borrower or any of its Subsidiaries as reimbursement for any
costs or actual losses previously incurred or any payment previously made by such Person), (e)
condemnation awards (and payments in lieu thereof), (f) indemnity payments (other than to the extent such
indemnity payments are (i) immediately payable to a Person that is not an Affiliate of the Borrower or any
of its Subsidiaries or (ii) received by the Borrower or any of its Subsidiaries as reimbursement for any costs
or actual losses previously incurred or any payment previously made by such Person) and (g) any purchase
price adjustment received in connection with any purchase agreement (other than to the extent such
payments in connection therewith are (i) immediately payable to a Person that is not an Affiliate of the
Borrower or any of its Subsidiaries or (ii) received by the Borrower or any of its Subsidiaries as
reimbursement for any costs or actual losses previously incurred or any payment previously made by such
Person).

                  “Facility” means the real property identified on Schedule 1.01(B), including, without
limitation, the land on which each such facility is located, all buildings and other improvements thereon,
and all fixtures located thereat or used in connection therewith.

               “FASB ASC” means the Accounting Standards Codification of the Financial Accounting
Standards Board.

                 “FATCA” means Sections 1471 through 1474 of the Internal Revenue Code, as of the date
of this Agreement (or any amended or successor version that is substantively comparable and not materially
more onerous to comply with) and any current or future regulations or official interpretations thereof, any
agreements entered into pursuant to Section 1471(b)(1) of the Internal Revenue Code and any fiscal or
regulatory legislation, rules or practices adopted pursuant to any intergovernmental agreement, treaty or
convention among Governmental Authorities entered into in connection with the implementation of the
foregoing.

                 “FCPA” has the meaning specified therefor in Section 6.01(aa)(i).

                 “Final Maturity Date” means the date that is 120 days following the Petition Date.
              “Fiscal Year” means the fiscal year of the Borrower and its Subsidiaries ending on
December 31 of each year.

                 “Foreign Official” has the meaning specified therefor in Section 6.01(aa)(ii)(A).

                “GAAP” means generally accepted accounting principles in effect from time to time in the
United States, applied on a consistent basis.


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                 “GC GP Buyer” has the meaning specified therefor in the preamble hereto.

                 “GC LP Buyer” has the meaning specified therefor in the preamble hereto.

                 “GC Midco” has the meaning specified therefor in the preamble hereto.

                 “GCLP” has the meaning specified therefor in the preamble hereto.

                 “GCS” means GC Services Limited Partnership, a Delaware limited partnership.

                 “GCSI” has the meaning specified therefor in the preamble hereto.

                 “Governing Documents” means, (a) with respect to any corporation, the certificate or
articles of incorporation and the bylaws (or equivalent or comparable constitutive documents with respect
to any non-U.S. jurisdiction); (b) with respect to any limited liability company, the certificate or articles of
formation or organization, and the operating agreement; (c) with respect to any partnership, joint venture,
trust or other form of business entity, the partnership, joint venture, declaration or other applicable
agreement or documentation evidencing or otherwise relating to its formation or organization, governance
and capitalization; and (d) with respect to any of the entities described above, any other agreement,
instrument, filing or notice with respect thereto filed in connection with its formation or organization with
the applicable Governmental Authority in the jurisdiction of its formation or organization.

                 “Governmental Authority” means any nation or government, any foreign, Federal, state,
territory, provincial, city, town, municipality, county, local or other political subdivision thereof or thereto
and any department, commission, board, bureau, instrumentality, agency or other entity exercising
executive, legislative, judicial, taxing, regulatory or administrative powers or functions of or pertaining to
government (including any supra-national bodies such as the European Union or the European Central
Bank).

                 “Guaranteed Obligations” has the meaning specified therefor in Section 11.01.

                  “Guarantor” means (a) each Subsidiary of the Borrower listed as a “Guarantor” on the
signature pages hereto, and (b) each other Person that guarantees, pursuant to Section 7.01(b) or otherwise,
all or any part of the Obligations.

                  “Guaranty” means (a) the guaranty of each Guarantor party hereto contained in Article XI
hereof and (b) each other guaranty, in form and substance satisfactory to the Collateral Agent, made by any
other Guarantor in favor of the Collateral Agent for the benefit of the Agents and the Lenders guaranteeing
all or part of the Obligations.

                  “Hazardous Material” means (a) any element, compound or chemical that is defined, listed
or otherwise classified as a contaminant, pollutant, toxic pollutant, toxic or hazardous substance, extremely
hazardous substance or chemical, hazardous waste, special waste, or solid waste under Environmental Laws
or that is likely to cause immediately, or at some future time, harm to or have an adverse effect on, the
environment or risk to human health or safety, including, without limitation, any pollutant, contaminant,
waste, hazardous waste, toxic substance or dangerous good which is defined or identified in any
Environmental Law and which is present in the environment in such quantity or state that it contravenes
any Environmental Law; (b) petroleum and its refined products; (c) polychlorinated biphenyls; (d) any
substance exhibiting a hazardous waste characteristic, including, without limitation, corrosivity,
ignitability, toxicity or reactivity as well as any radioactive or explosive materials; and (e) any raw
materials, building components (including, without limitation, asbestos-containing materials) and
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manufactured products containing hazardous substances listed or classified as such under Environmental
Laws.

                 “Hedging Agreement” means any interest rate, foreign currency, commodity or equity
swap, collar, cap, floor or forward rate agreement, or other agreement or arrangement designed to protect
against fluctuations in interest rates or currency, commodity or equity values (including, without limitation,
any option with respect to any of the foregoing and any combination of the foregoing agreements or
arrangements), and any confirmation executed in connection with any such agreement or arrangement.

                 “Highest Lawful Rate” means, with respect to any Agent or any Lender, the maximum
non-usurious interest rate, if any, that at any time or from time to time may be contracted for, taken,
reserved, charged or received on the Obligations under laws applicable to such Agent or such Lender which
are currently in effect or, to the extent allowed by law, under such applicable laws which may hereafter be
in effect and which allow a higher maximum non- usurious interest rate than applicable laws now allow.

                “Houston Facility” means the real property and improvements located at 6330 Gulfton
Street, Houston, Texas 77081.

                 “Indebtedness” means, with respect to any Person, without duplication, (a) all indebtedness
of such Person for borrowed money; (b) all obligations of such Person for the deferred purchase price of
property or services (other than trade payables or other accounts payable incurred in the ordinary course of
such Person’s business and not outstanding for more than 90 days after the date such payable was due and
any earn-out, purchase price adjustment or similar obligation until such obligation appears in the liabilities
section of the balance sheet of such Person); (c) all obligations of such Person evidenced by bonds
(excluding performance bonds, bid bonds, appeal bonds and surety bonds under which no claim has been
made), debentures, notes or other similar instruments or upon which interest payments are customarily
made; (d) all reimbursement, payment or other obligations and liabilities of such Person created or arising
under any conditional sales or other title retention agreement with respect to property used and/or acquired
by such Person, even though the rights and remedies of the lessor, seller and/or lender thereunder may be
limited to repossession or sale of such property; (e) all Capitalized Lease Obligations of such Person; (f) all
obligations and liabilities, contingent or otherwise, of such Person, in respect of letters of credit, acceptances
and similar facilities; (g) all obligations and liabilities, calculated on a basis satisfactory to the Collateral
Agent and in accordance with accepted practice, of such Person under Hedging Agreements; (h) all
monetary obligations under any receivables factoring, receivable sales or similar transactions and all
monetary obligations under any synthetic lease, tax ownership/operating lease, off-balance sheet financing
or similar financing; (i) all Contingent Obligations; (j) all Disqualified Equity Interests; and (k) all
obligations referred to in clauses (a) through (j) of this definition of another Person secured by (or for which
the holder of such Indebtedness has an existing right, contingent or otherwise, to be secured by) a Lien upon
property owned by such Person, even though such Person has not assumed or become liable for the payment
of such Indebtedness. The Indebtedness of any Person shall include, without duplication, the Indebtedness
of any partnership of or joint venture in which such Person is a general partner or a joint venturer.

                 “Indemnified Matters” has the meaning specified therefor in Section 12.15(a).

                “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with
respect to any payment made by or on account of any obligation of any Loan Party under any Loan
Document and (b) to the extent not otherwise described in clause (a), Other Taxes.

                 “Indemnitees” has the meaning specified therefor in Section 12.15(a).


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                “Insolvency Proceeding” means any proceeding commenced by or against any Person
under any provision of any Debtor Relief Law.

                   “Intellectual Property” has the meaning specified therefor in the Security Agreement.

               “Intellectual Property Contracts” means all agreements concerning Intellectual Property,
including without limitation license agreements, technology consulting agreements, confidentiality
agreements, co-existence agreements, consent agreements and non-assertion agreements.

                 “Intercreditor Agreement” means the Intercreditor Agreement, dated as of July 31, 2017,
by and among the Prepetition Collateral Agent and the Prepetition ABL Lender and following the execution
of the Intercreditor Agreement Amendment No. 1, the Collateral Agent, and acknowledged by the Loan
Parties, [as amended pursuant to that First Amendment to Intercreditor Agreement, dated as of the date
hereof, in form and substance reasonably satisfactory to the Required Lenders (the “Intercreditor
Agreement Amendment No. 1”) and]2 as amended or modified from time to time in accordance with the
terms thereof.

                 “Intercreditor Agreement Amendment No. 1” has the meaning ascribed to such term in the
definition of “Intercreditor Agreement.”

                   “Interest Payment Date” means the first Business Day of each calendar month.

                 “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended (or any
successor statute thereto) and the regulations thereunder.

                “Inventory” means, with respect to any Person, all goods and merchandise of such Person
leased or held for sale or lease by such Person, including, without limitation, all raw materials, work-in-
process and finished goods, and all packaging, supplies and materials of every nature used or usable in
connection with the shipping, storing, advertising or sale of such goods and merchandise, whether now
owned or hereafter acquired, and all such other property the sale or other disposition of which would give
rise to an Account or cash.

                  “Investment” means, with respect to any Person, (a) any investment by such Person in any
other Person (including Affiliates) in the form of loans, guarantees, advances or other extensions of credit
(excluding Accounts arising in the ordinary course of business), capital contributions or acquisitions of
Indebtedness (including, any bonds, notes, debentures or other debt securities), Equity Interests, or all or
substantially all of the assets of such other Person (or of any division or business line of such other Person),
(b) the purchase or ownership of any futures contract or liability for the purchase or sale of currency or
other commodities at a future date in the nature of a futures contract, or (c) any investment in any other
items that are or would be classified as investments on a balance sheet of such Person prepared in
accordance with GAAP.

               “Joinder Agreement” means a Joinder Agreement, substantially in the form of Exhibit A,
duly executed by a Subsidiary of a Loan Party made a party hereto pursuant to Section 7.01(b).

                   “K&S” has the meaning assigned to such term in Section 5.01(e).

               “Known Events” means (a) the commencement and continuation of the Chapter 11 Case
and (b) any “Events of Default” as defined under, and occurring under, each of the Prepetition ABL Loan

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    NTD: To be updated as necessary.
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Documents and the Prepetition Term Loan Documents as disclosed in writing to the Administrative Agent
and the Lenders prior to the Petition Date.

                  “Lease” means any lease of real property to which any Loan Party or any of its Subsidiaries
is a party as lessor or lessee.

                   “Lender” has the meaning specified therefor in the preamble hereto.

                   “Lender Advisors” shall have the meaning assigned to such term in Section 5.01(d).

                 “License Trust Account” means any deposit account of a Loan Party specifically required
by a State or other Governmental Authority to be maintained by such Loan Party as a trust account for the
benefit of such State or Governmental Authority, pursuant to licensing and permitting requirements
applicable to such Loan Party within such State’s or Governmental Authority’s jurisdiction, so long as such
deposit account and all funds deposited therein are separately segregated from such Loan Party’s general
accounts and other cash.

                 “Lien” means any mortgage, deed of trust, pledge, lien (statutory or otherwise), security
interest, charge or other encumbrance or security or preferential arrangement of any nature, including,
without limitation, any conditional sale or title retention arrangement, any Capitalized Lease and any
assignment, deposit arrangement or financing lease intended as, or having the effect of, security.

                “Loans” means the term loans to be made on the Closing Date in an aggregate amount not
to exceed the DIP Loan Commitments.
               “Loan Documents” means this Agreement, the Order, the Intercreditor Agreement, any
Guaranty, any Joinder Agreement, any Security Agreement, any Perfection Certificate and any other
document executed and delivered pursuant hereto or thereto.

                   “Loan Party” means any Borrower and any Guarantor.

                “Material Adverse Effect” means other than with respect to any Known Events (or any
event, circumstance or condition reasonably expected to result from a Known Event), any event,
circumstance or condition that materially adversely affects (a) the operations, assets, liabilities or financial
condition of the Loan Parties taken as a whole, (b) the legality, validity or enforceability of any Loan
Documents or the Order, (c) the ability of the Loan Parties taken as a whole to perform any of their
obligations under any Loan Document, (d) the rights and remedies of any Agent or any Lender under any
Loan Document, or (e) the validity, perfection or priority of the Liens granted pursuant to the Order and the
other Loan Documents.

                 “Material Contract” means, with respect to any Person, (a) the ABL Credit Agreement, and
(b) all other contracts or agreements as to which the breach, nonperformance, cancellation or failure to
renew by any party thereto could reasonably be expected to have a Material Adverse Effect.3

                   “Milestone” has the meaning assigned to such term in Section 7.01(q).

                   “Moody’s” means Moody’s Investors Service, Inc. and any successor thereto.

                  “Mortgage” means a mortgage (including, without limitation, a leasehold mortgage), deed
of trust or deed to secure debt, in form and substance reasonably satisfactory to the Collateral Agent, made
3
    NTD: Company to confirm there are no Material Contracts as of closing.
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by a Loan Party in favor of the Collateral Agent for the benefit of the Agents and the Lenders, securing the
Obligations and delivered to the Collateral Agent.

                  “Multiemployer Plan” means a “multiemployer plan” as defined in Section 4001(a)(3) of
ERISA to which any Loan Party or any of its ERISA Affiliates has contributed, or has been obligated to
contribute, to at any time during the preceding 6 years.

                 “Net Cash Proceeds” means, with respect to, any issuance or incurrence of any
Indebtedness, any Disposition or the receipt of any Extraordinary Receipts by any Person or any of its
Subsidiaries, the aggregate amount of cash received (directly or indirectly) from time to time (whether as
initial consideration or through the payment or disposition of deferred consideration) by or on behalf of
such Person or such Subsidiary, in connection therewith after deducting therefrom only (a) in the case of
any Disposition or the receipt of any Extraordinary Receipts consisting of insurance proceeds or
condemnation awards, the amount of any Indebtedness secured by any Permitted Lien on a senior basis to
the Liens securing the Obligations on any asset (other than Indebtedness assumed by the purchaser of such
asset) which is required to be, and is, repaid in connection therewith (other than Indebtedness under this
Agreement), (b) reasonable expenses related thereto incurred by such Person or such Subsidiary in
connection therewith, (c) transfer taxes paid or payable to any taxing authorities by such Person or such
Subsidiary in connection therewith, and (d) net income taxes paid or payable in connection therewith (after
taking into account any tax credits or deductions and any tax sharing arrangements), in each case, to the
extent, but only to the extent, that the amounts so deducted are (i) actually paid to a Person that, except in
the case of reasonable out-of-pocket expenses, is not an Affiliate of such Person or any of its Subsidiaries
and (ii) properly attributable to such transaction or to the asset that is the subject thereof.

                “New Lending Office” has the meaning specified therefor in Section 2.09(e).

                “Non-U.S. Lender” has the meaning specified therefor in Section 2.09(e)

                “Notice of Borrowing” has the meaning specified therefor in Section 2.02(a).

                 “Obligations” means all present and future indebtedness, obligations, and liabilities of each
Loan Party to the Agents and the Lenders arising under or in connection with this Agreement or any other
Loan Document, whether or not the right of payment in respect of such claim is reduced to judgment,
liquidated, unliquidated, fixed, contingent, matured, disputed, undisputed, legal, equitable, secured,
unsecured, and whether or not such claim is discharged, stayed or otherwise affected by any proceeding
referred to in Section 9.01. Without limiting the generality of the foregoing, the Obligations of each Loan
Party under the Loan Documents include (a) the obligation (irrespective of whether a claim therefor is
allowed in an Insolvency Proceeding) to pay principal, interest, charges, expenses, fees, premiums,
attorneys’ fees and disbursements, indemnities and other amounts payable by such Person under the Loan
Documents, and (b) the obligation of such Person to reimburse any amount in respect of any of the foregoing
that any Agent or any Lender (in its sole discretion) may elect to pay or advance on behalf of such Person.

               “OFAC Sanctions Programs” means (a) the Requirements of Law and Executive Orders
administered by OFAC, including, without limitation, Executive Order No. 13224, and (b) the list of
Specially Designated Nationals and Blocked Persons administered by OFAC, in each case, as renewed,
extended, amended, or replaced.

                 “Order” means an order entered by the Bankruptcy Court in the Chapter 11 Case (as the
same may be amended, supplemented, or modified form time to time after entry thereof in a manner
satisfactory to the Required Lenders in their sole discretion) substantially in the form of Exhibit D
authorizing and approving, among other things, the DIP Facility and the Transactions, which order is in
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form and substance satisfactory to the Administrative Agent (with respect to matters relevant to or affecting
the Administrative Agent and the Collateral Agent) and the Required Lenders in their sole discretion.
                 “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as a result
of a present or former connection between such Recipient and the jurisdiction imposing such Tax (other
than connections arising from such Recipient having executed, delivered, become a party to, performed its
obligations under, received payments under, received or perfected a security interest under, engaged in any
other transaction pursuant to or enforced any Loan Document, or sold or assigned an interest in any Loan
or Loan Document).

                 “Other Taxes” means all present or future stamp, court or documentary, intangible,
recording, filing or similar Taxes that arise from any payment made under, from the execution, delivery,
performance, enforcement or registration of, from the receipt or perfection of a security interest under, or
otherwise with respect to, any Loan Document.

                 [“ORG Management Agreement” means that certain Amended and Restated Consulting
Agreement dated as of July 31, 2017 by and between GCLP and Owner Resource Group, LLC, as further
amended or modified from time to time in accordance with such agreement and, solely to the extent
applicable, this Agreement.]

                “Parent” has the meaning specified therefor in the recitals hereto.

               “Parent Company Agreement” means the Amended and Restated Limited Liability
Company Agreement of Parent dated as of December 31, 2015, as amended or modified from time to time
in accordance with such agreement and this Prepetition Term Financing Agreement.

                “Participant Register” has the meaning specified therefor in Section 12.07(i).

               “Payment Office” means the office or offices of the Administrative Agent as may be
designated in writing from time to time by the Administrative Agent to the Collateral Agent and the
Borrower.

                “Payment Recipient” has the meaning specified therefor in Section 10.18(a).

                “PBGC” means the Pension Benefit Guaranty Corporation or any successor thereto.

                “Perfection Certificate” means a certificate in form and substance satisfactory to the
Collateral Agent providing information with respect to the property of each Loan Party.

                “Permitted Disposition” means:

                (a)      sale of Inventory in the ordinary course of business;

                (b)     licensing, on a non-exclusive basis, Intellectual Property rights in the ordinary
course of business and consistent with past practice;

                (c)      leasing or subleasing assets for fair market value in the ordinary course of business;

                (d)      [reserved];

                (e)      any involuntary loss, damage or destruction of property;

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              (f)      any involuntary condemnation, seizure or taking, by exercise of the power of
eminent domain or otherwise, or confiscation or requisition of use of property;

                (g)      so long as no Event of Default has occurred and is continuing or would result
therefrom, transfers of assets from any Loan Party (other than the Borrower) or any of their Subsidiaries to
a Loan Party (other than the Borrower) in the ordinary course of business; and

                (h)     Disposition for fair market value of obsolete or worn-out equipment in the ordinary
course of business.

               “Permitted Holder” means Owner Resource Group, LLC, a Delaware limited liability
company, or any of its Controlled Investment Affiliates.

                “Permitted Indebtedness” means:

               (a)    any Indebtedness owing to any Agent or any Lender under this Agreement and the
other Loan Documents;

              (b)    Indebtedness outstanding on the Petition Date (including Permitted Purchase
Money Indebtedness);

                (c)     [reserved];

                (d)     Permitted Intercompany Investments;

               (e)       Indebtedness of the Loan Parties incurred in the ordinary course of business under
performance, surety, statutory, and appeal bonds;

                (f)     any Indebtedness owed to any Person providing property, casualty, liability, or
other insurance to the Loan Parties, so long as the amount of such Indebtedness is not in excess of the
amount of the unpaid cost of, and shall be incurred only to defer the cost of, such insurance for the period
in which such Indebtedness is incurred and such Indebtedness is outstanding only during such period;

                (g)     [reserved];

                 (h)     Indebtedness incurred in respect of credit cards, credit card processing services,
debit cards, stored value cards, purchase cards (including so-called “procurement cards” or “P-cards”) or
other similar cash management services, in each case, incurred in the ordinary course of business; and

            (i)    Prepetition ABL Indebtedness in an aggregate principal amount not exceeding the
“Maximum ABL Obligations” as defined in the Intercreditor Agreement.

               “Permitted Intercompany Investments” means Investments made by a Loan Party to or in
another Loan Party in the ordinary course of business.

                “Permitted Investments” means:

                (a)     Investments in cash and Cash Equivalents;

                 (b)     Investments in negotiable instruments deposited or to be deposited for collection
in the ordinary course of business;

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                (c)     advances made in connection with purchases of goods or services in the ordinary
course of business and consistent with past practices;

                  (d)     Investments received in settlement of amounts due to any Loan Party or any of its
Subsidiaries effected in the ordinary course of business or owing to any Loan Party or any of its Subsidiaries
as a result of Insolvency Proceedings involving an Account Debtor or upon the foreclosure or enforcement
of any Lien in favor of a Loan Party or its Subsidiaries;

                 (e)     Investments existing on the Closing Date, as set forth on Schedule 7.02(e) hereto,
but not any increase in the amount thereof as set forth in such Schedule or any other modification of the
terms thereof; and

                 (f)     Permitted Intercompany Investments.

                 “Permitted Liens” means:

                 (a)     Liens created under the Loan Documents or the Order;

                (b)     Liens for taxes, assessments and governmental charges the payment of which is
not required under Section 7.01(c)(ii);

                 (c)     Liens imposed by law, such as carriers’, warehousemen’s, mechanics’,
materialmen’s and other similar Liens arising in the ordinary course of business and securing obligations
(other than Indebtedness for borrowed money) that are (i) incident to the construction, operation,
maintenance, repair, restoration or improvement of any property or asset and (ii) (A) not overdue by more
than 30 days or (B) are being contested in good faith and by appropriate proceedings promptly initiated and
diligently conducted, and a reserve or other appropriate provision, if any, as shall be required by GAAP
shall have been made therefor;

                (d)       Liens described on Schedule 7.02(a), provided that any such Lien shall only secure
the Indebtedness that it secures as of the Closing Date;

                  (e)     purchase money Liens on equipment acquired or held by any Loan Party or any of
its Subsidiaries in the ordinary course of its business to secure Permitted Purchase Money Indebtedness so
long as such Lien only secures the Indebtedness existing on the Petition Date and that was incurred to
acquire such property;

                  (f)      deposits and pledges of cash securing (i) obligations incurred in respect of
workers’ compensation, unemployment insurance or other forms of governmental insurance or benefits, (ii)
the performance of bids, tenders, leases, contracts (other than for the payment of money) and statutory
obligations or (iii) obligations on surety or appeal bonds, but only to the extent such deposits or pledges are
made or otherwise arise in the ordinary course of business and secure obligations not past due;

                 (g)      with respect to any Facility, easements, zoning restrictions and similar
encumbrances on real property and minor irregularities in the title thereto that do not (i) secure obligations
for the payment of money or (ii) materially impair the value of such property or its use by any Loan Party
or any of its Subsidiaries in the normal conduct of such Person’s business;

                 (h)     Liens of landlords and mortgagees of landlords (i) arising by statute or under any
lease or related Contractual Obligation entered into in the ordinary course of business, (ii) on fixtures and
movable tangible property located on the real property leased or subleased from such landlord, or (iii) for
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amounts not yet due or that are being contested in good faith by appropriate proceedings diligently
conducted and for which adequate reserves or other appropriate provisions are maintained on the books of
such Person in accordance with GAAP;

                (i)      the title and interest of a lessor or sublessor in and to personal property leased or
subleased (other than through a Capitalized Lease), in each case extending only to such personal property;

                (j)     non-exclusive licenses of Intellectual Property rights in the ordinary course of
business and consistent with past practices;

                (k)    judgment liens (other than for the payment of taxes, assessments or other
governmental charges) securing judgments and other proceedings not constituting an Event of Default
under Section 9.01(j);

                 (l)      rights of set-off or bankers’ liens upon deposits of cash in favor of banks or other
depository institutions, solely to the extent incurred in connection with the maintenance of such deposit
accounts in the ordinary course of business;

                 (m)     Liens granted in the ordinary course of business on the unearned portion of
insurance premiums securing the financing of insurance premiums to the extent the financing is permitted
under the definition of Permitted Indebtedness;

                (n)      (i) Liens of the Prepetition ABL Agent to secure Indebtedness under the
Prepetition ABL Loan Documents and (ii) Liens of the Prepetition Term Agent to secure Indebtedness
under the Prepetition Term Loan Documents, in each case to the extent such Liens are subject to the terms
and conditions of the Intercreditor Agreement;

                 (o)     Liens granted in the ordinary course of business to secure any Loan Party’s
contingent obligations in connection with any performance, surety, statutory or appeal bonds (which Liens
shall not include any Liens on or pledges of the Equity Interests of any Loan Party or its Subsidiaries); and

                 (p)     Permitted Priority Liens.

                 “Permitted Priority Lien” shall mean any of those existing Liens that under applicable law,
are senior to, and have not been subordinated to, the Liens granted in favor of the Collateral Agent under
the Loan Documents, but only to the extent that such Liens are valid, perfected, enforceable and non-
avoidable Liens as of the Petition Date; provided that the Carve-Out shall be deemed to be a Permitted
Priority Lien for all purposes hereunder.

                 “Permitted Purchase Money Indebtedness” means Indebtedness incurred prior to the
Petition Date that is outstanding as of the Petition Date to finance the acquisition of any fixed assets secured
by a Lien permitted under clause (e) of the definition of “Permitted Liens”; provided that (a) such
Indebtedness was incurred within 90 days after such acquisition, and (b) such Indebtedness does not exceed
the purchase price of the asset financed.

                 “Permitted Restricted Payments” means any of the following Restricted Payments made
by:

               (a)    Subject to the Bankruptcy Plan, the Borrower (and any Loan Party to pay such
amounts to the Borrower) to make Tax Distributions to its direct or indirect equityholders of the Parent;
and
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                   (b)     any Subsidiary of the Borrower to Borrower.

                 “Person” means an individual, corporation, limited liability company, partnership,
association, joint-stock company, trust, unincorporated organization, joint venture or other enterprise or
entity or Governmental Authority.

                   “Petition Date” has the meaning specified therefor in the preamble hereto.

                   “Plan” means any Employee Plan or Multiemployer Plan.

                  “Post-Default Rate” means a rate of interest per annum equal to the rate of interest
otherwise in effect from time to time pursuant to the terms of this Agreement plus 2.00%, or, if a rate of
interest is not otherwise in effect, interest at the highest rate specified herein for any Loan then outstanding
prior to an Event of Default plus 2.00%.

                   “Prepayment Event” means:

                  (a)     any (i) Disposition of Collateral (other than ABL Priority Collateral) that is not
permitted by Section 7.02(c) and (ii) Disposition of ABL Priority Collateral or assets not constituting
Collateral that is not permitted by Section 7.02(c), in each case so long as provided for in the Order and/or
the Intercreditor Agreement and to the extent not otherwise required to be applied to the Prepetition ABL
Obligations (excluding ordinary course sales of ABL Priority Collateral);

                 (b)     any casualty or other insured damage to, or any taking under power of eminent
domain or by condemnation or similar proceeding of, any Collateral (other than ABL Priority Collateral
(other than as provided for in the Order and/or the Intercreditor Agreement)) of Borrower or any Subsidiary;

               (c)    the incurrence by Borrower or any Subsidiary of Indebtedness or the receipt of Net
Cash Proceeds from the issuance of Equity Interests, in each case other than as permitted under Section
7.02(b); or

                   (d)     the receipt of any Extraordinary Receipts.

                “Prepetition ABL Agent” means JPMorgan Chase Bank, N.A., together with its capacity
as administrative agent under the Prepetition ABL Loan Documents, or any successor administrative agent
under the Prepetition ABL Loan Documents.

                “Prepetition ABL Credit Agreement” means the Credit Agreement, dated as July 31, 2017,
among GCS, as the borrower, Parent, GC Midco, GC GP Buyer, GC LP Buyer and GC Services
International, LLC, as loan parties, the Prepetition ABL Agent and the lenders from time to time party
thereto, [as amended pursuant to that [Ninth] Amendment to Credit Agreement, dated as of the date hereof
in form and substance reasonably satisfactory to the Required Lenders (the “Prepetition ABL Credit
Agreement Amendment”,]4 and as amended or modified from time to time in accordance with this
Agreement and the Intercreditor Agreement.

                  “Prepetition ABL Credit Agreement Amendment” has the meaning ascribed to such term
in the definition of “Prepetition ABL Credit Agreement.”




4
    NTD: To be updated as necessary.
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               “Prepetition ABL Indebtedness” means Indebtedness of the Loan Parties owing to the
Prepetition ABL Lenders in respect of the Prepetition ABL Obligations.

              “Prepetition ABL Lenders” means, collectively, the lenders party to the Prepetition ABL
Credit Agreement from time to time.

               “Prepetition ABL Letters of Credit” means any letter of credit issued pursuant to the
Prepetition ABL Credit Agreement.

               “Prepetition ABL Loan Documents” means the “Loan Documents” as defined in the
Prepetition ABL Credit Agreement.

                “Prepetition ABL Loans” means the “Loans” as defined in the Prepetition ABL Credit
Agreement

              “Prepetition ABL Obligations” means the [“Obligations”] as defined in the Prepetition
ABL Credit Agreement.

               “Prepetition Collateral Agent” means the “Collateral Agent” as defined in the Prepetition
Term Financing Agreement.

                 “Prepetition Payment” means a payment (by way of adequate protection or otherwise) of
principal or interest or otherwise on account of any prepetition Indebtedness, trade payables or other pre-
petition claims against any Debtor.

               “Prepetition Term Agents” means the “Agents” as defined in the Prepetition Term
Financing Agreement.

               “Prepetition Term Collateral” means the “Collateral” as defined in the Prepetition Term
Financing Agreement.

               “Prepetition Term Financing Agreement” has the meaning specified therefor in the
preamble hereto.

                “Prepetition Term Indebtedness” means Indebtedness of the Loan Parties owing to the
Prepetition Term Lenders in respect of the Prepetition Term Obligations.

               “Prepetition Term Lenders” shall means the “Lenders” as defined in the Prepetition Term
Financing Agreement.

                “Prepetition Term Liens” the meaning assigned to such term in Section 7.01(m).

                “Prepetition Term Loan Documents” means the “Loan Documents” as defined in the
Prepetition Term Financing Agreement as of the Closing Date.

               “Prepetition Term Obligations” means the “Obligations” as defined in the Prepetition Term
Financing Agreement as of the Closing Date.

                “Prepetition Term Secured Parties” shall have the meaning assigned to such term in Section
2.15(b).


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                 “Professional Costs” shall mean any payment or the obligation to make payment on
account of reasonable and documented out-of-pocket fees and expenses incurred by professional advisors
to the Loan Parties, the Lenders, the Agents, the Prepetition Term Lenders, the Prepetition ABL Agent, or
any other party’s professional advisors, the fees and expenses of which are obligated to be paid by the Loan
Parties (including, but not limited to, the fees and expenses of professional advisors to any committee
appointed in the Chapter 11 Case), the Lenders or the Agents in connection with the Chapter 11 Case and/or
the Loan Documents including for the avoidance of doubt, the reasonable and documented fees and
expenses of (i) the Company Advisors; (ii) Stroock & Stroock & Lavan LLP, counsel to certain Prepetition
Term Lenders affiliated with Benefit Street Partners, LLC and the Prepetition Term Agents; (iii) V&E,
corporate counsel to certain Prepetition Term Lenders affiliated with the Lenders, (iv) David Zwick,
consultant to the Prepetition Term Agents; (v) Garry Herdler, consultant to the Prepetition Term Agents;
(vi) K&S, counsel to the Agent and the Lenders; (vii) Mayer Brown LLP, regulatory counsel to the
Prepetition Term Lenders; and (viii) Winstead PC, counsel to the Prepetition ABL Agent.

                 “Pro Rata Share” means, with respect to:

                  (a)     a Lender’s obligation to make the Loans and the right to receive payments of
interest, fees, and principal with respect thereto, the percentage obtained by dividing (i) the sum of the
aggregate outstanding principal amount of the Loans of such Lender at such time and its unused DIP Loan
Commitments at such time, by (ii) the sum of the aggregate outstanding principal amount of the Loans of
all Lenders at such time and the aggregate unused DIP Loan Commitments of all Lenders at such time; and

                  (b)     all other matters (including, without limitation, the indemnification obligations
arising under Section 10.05), the percentage obtained by dividing (i) the sum of the aggregate outstanding
principal amount of the Loans of such Lender at such time and its unused DIP Loan Commitments at such
time, by (ii) the sum of the aggregate unpaid principal amount of the Loan.

               “Real Property Deliverables” means each of the following agreements, instruments and
other documents in respect of each Facility:

                 (a)     a Mortgage duly executed by the applicable Loan Party,

                 (b)     evidence of the recording of each Mortgage in such office or offices as may be
necessary or, in the opinion of the Collateral Agent, desirable to perfect the Lien purported to be created
thereby or to otherwise protect the rights of the Collateral Agent and the Lenders thereunder;

                 (c)     a Title Insurance Policy with respect to each Mortgage, dated as of a recent date;

                  (d)     a current ALTA survey and a surveyor’s certificate, in form and substance
satisfactory to the Collateral Agent, certified to the Collateral Agent and to the issuer of the Title Insurance
Policy with respect thereto by a professional surveyor licensed in the state in which such Facility is located
and satisfactory to the Collateral Agent;

               (e)      in the case of a leasehold interest, a copy of the lease between the landlord and
such Person with respect to such real property in which such Person has a leasehold interest;

                 (f)     if available in the jurisdiction(s) in which any Facility is located, a copy of each
letter issued by the applicable Governmental Authority, evidencing each Facility’s compliance with all
applicable building codes, fire codes, other health and safety rules and regulations, parking, density and
height requirements and other building and zoning laws together with a copy of all certificates of occupancy
issued with respect to each Facility;
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                  (g)     if required by the Collateral Agent, a satisfactory ASTM 1527-00 Phase I
Environmental Site Assessment (“Phase I ESA”) provided by the Borrower to the Collateral Agent (and, if
requested by the Collateral Agent based upon the results of such Phase I ESA, an ASTM 1527-00 Phase II
Environmental Site Assessment) of each Facility, in form and substance and by an independent firm
satisfactory to the Collateral Agent; and

                (h)      such other agreements, instruments and other documents (including guarantees and
opinions of counsel) as the Collateral Agent may reasonably require.

                 “Recipient” means any Agent and any Lender, as applicable.

                 “Register” has the meaning specified therefor in Section 12.07(f).

                “Registered Intellectual Property” means Intellectual Property that is issued, registered,
renewed or the subject of a pending application.

                 “Registered Loans” has the meaning specified therefor in Section 12.07(f).

               “Regulation T”, “Regulation U” and “Regulation X” mean, respectively, Regulations T, U
and X of the Board or any successor, as the same may be amended or supplemented from time to time.

               “Related Fund” means, with respect to any Person, an Affiliate of such Person, or a fund
or account managed by such Person or an Affiliate of such Person.

                 “Release” means any spilling, leaking, pumping, pouring, emitting, emptying, discharging,
injecting, escaping, leaching, seeping, migrating, dumping or disposing of any Hazardous Material
(including the abandonment or discarding of barrels, containers and other closed receptacles containing any
Hazardous Material) into the indoor or outdoor environment, including, without limitation, the movement
of Hazardous Materials through or in the ambient air, soil, surface or ground water, or property.

                 “Released Parties” has the meaning specified therefor in Section 7.01(m).

                 “Remedial Action” means all actions taken to (a) clean up, remove, remediate, contain,
treat, monitor, assess, evaluate or in any other way address Hazardous Materials in the indoor or outdoor
environment; (b) prevent or minimize a Release or threatened Release of Hazardous Materials so they do
not migrate or endanger or threaten to endanger public health or welfare or the indoor or outdoor
environment; (c) perform pre-remedial studies and investigations and post-remedial operation and
maintenance activities; or (d) perform any other actions authorized by 42 U.S.C. § 9601.

                 “Remedies Notice Period” has the meaning specified therefor in Section 9.02(a).

                “Reportable Event” means an event described in Section 4043 of ERISA (other than an
event not subject to the provision for 30-day notice to the PBGC under the regulations promulgated under
such Section).

                 “Required Lenders” means Lenders whose Pro Rata Shares (calculated in accordance with
clause (b) of the definition thereof) aggregate at least 50.1%.

                  “Requirements of Law” means, with respect to any Person, collectively, the common law
and all federal, state, provincial, local, foreign, multinational or international laws, statutes, codes, treaties,
standards, rules and regulations, guidelines, ordinances, orders, judgments, writs, injunctions, decrees

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(including administrative or judicial precedents or authorities) and the interpretation or administration
thereof by, and other determinations, directives, requirements or requests of, any Governmental Authority,
in each case that are applicable to or binding upon such Person or any of its property or to which such
Person or any of its property is subject.

                 “Resolution Authority” means an EEA Resolution Authority or, with respect to any UK
Financial Institution, a UK Resolution Authority.

                 “Restricted Payment” means (a) the declaration or payment of any dividend or other
distribution, direct or indirect, on account of any Equity Interests of any Loan Party or any of its
Subsidiaries, now or hereafter outstanding, (b) the making of any repurchase, redemption, retirement,
defeasance, sinking fund or similar payment, purchase or other acquisition for value, direct or indirect, of
any Equity Interests of any Loan Party or any direct or indirect parent of any Loan Party, now or hereafter
outstanding, (c) the making of any payment to retire, or to obtain the surrender of, any outstanding warrants,
options or other rights for the purchase or acquisition of shares of any class of Equity Interests of any Loan
Party, now or hereafter outstanding, (d) the return of any Equity Interests to any shareholders or other equity
holders of any Loan Party or any of its Subsidiaries, or make any other distribution of property, assets,
shares of Equity Interests, warrants, rights, options, obligations or securities thereto as such or (e) the
payment of any management, consulting, monitoring or advisory fees or any other fees or expenses
(including the reimbursement thereof by any Loan Party or any of its Subsidiaries) pursuant to any
management, consulting, monitoring, advisory or other services agreement to any of the shareholders or
other equityholders of any Loan Party or any of its Subsidiaries or other Affiliates, or to any other
Subsidiaries or Affiliates of any Loan Party, but not including payments to employees in the ordinary course
of business in accordance with the Loan Parties’ regular payroll or employment practices or otherwise
pursuant to employment agreements entered into with such employees (other than any officers or directors).

                 “Restructuring Expenses” means the Professional Costs and U.S. Trustee costs and
expenses, filing fees, and other expenses related to the Chapter 11 Case, collectively.

                 “RSA” shall have the meaning assigned to such term in Section 5.01(i).

                “Sale and Leaseback Transaction” means, with respect to the Borrower or any of its
Subsidiaries, any arrangement, directly or indirectly, with any Person whereby the Borrower or any of its
Subsidiaries shall sell or transfer any property used or useful in its business, whether now owned or hereafter
acquired, and thereafter rent or lease such property or other property that it intends to use for substantially
the same purpose or purposes as the property being sold or transferred.

                “SEC” means the Securities and Exchange Commission or any other similar or successor
agency of the Federal government administering the Securities Act.

                 “Secured Party” means any Agent and any Lender.

                  “Securities Act” means the Securities Act of 1933, as amended, or any similar Federal
statute, and the rules and regulations of the SEC thereunder, all as the same shall be in effect from time to
time.

                 “Securitization” has the meaning specified therefor in Section 12.07(l).

                  “Security Agreement” means a Pledge and Security Agreement, in form and substance
satisfactory to the Collateral Agent, made by a Loan Party in favor of the Collateral Agent for the benefit
of the Secured Parties securing the Obligations.
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              “Standard & Poor’s” means Standard & Poor’s Ratings Services, a division of The
McGraw-Hill Companies, Inc. and any successor thereto.

                  “Subsidiary” means, with respect to any Person at any date, any corporation, limited or
general partnership, limited liability company, trust, estate, association, joint venture or other business
entity (a) the accounts of which would be consolidated with those of such Person in such Person’s
consolidated financial statements if such financial statements were prepared in accordance with GAAP or
(b) of which more than 50% of (i) the outstanding Equity Interests having (in the absence of contingencies)
ordinary voting power to elect a majority of the Board of Directors of such Person, (ii) in the case of a
partnership or limited liability company, the interest in the capital or profits of such partnership or limited
liability company or (iii) in the case of a trust, estate, association, joint venture or other entity, the beneficial
interest in such trust, estate, association or other entity business is, at the time of determination, owned or
controlled directly or indirectly through one or more intermediaries, by such Person. References to a
Subsidiary shall mean a Subsidiary of the Borrower unless the context expressly provides otherwise.

                 “Superpriority DIP Claim” means all Obligations of the Borrower shall be entitled to the
benefits of section 364(c)(1) of the Bankruptcy Code, having superpriority over any and all unsecured
claims and all administrative expenses, including administrative expenses of the kind that are specified in
sections 105, 326, 328, 330, 331, 365, 503(a), 503(b), 506(c), 507(a), 507(b), 546(c), 726, 1114 or any other
provisions of the Bankruptcy Code, subject only to the Carve-Out to the extent set forth in the Order.

                “Taxes” means all present or future taxes, levies, imposts, duties, deductions, withholdings
(including backup withholding), assessments, fees or other charges imposed by any Governmental
Authority, including any interest, additions to tax or penalties applicable thereto.

                  “Tax Distributions” means, for any period that Parent is treated as a pass-through entity
under the Code, distributions made to the holders of Parent’s equity interests not to exceed the amount
necessary to provide such holders (or their direct or indirect owners) with funds to pay, at the highest
applicable marginal tax rate for any holder (or such holder’s direct or indirect owners), any federal, state or
local income taxes for the current period (including estimated taxes) as a result of the items of income, gain,
loss and deduction of Parent allocated to such holders (net of all taxable losses allocated to such holders
and not previously taken into account pursuant to this sentence, assuming the deductibility of state and local
income taxes for federal income tax purposes, and taking into account any additional deductions available
to a holder (or such holder’s direct or indirect owners) as a result of any basis adjustment to the assets of
Parent or its Subsidiaries, including pursuant to Sections 734 or 743 of the Code) (the “Applicable Tax”);
provided that if the amount distributed to a holder during the applicable taxable year exceeds such holder’s
(or such holder’s direct or indirect owner’s) Applicable Tax for such taxable year (which, for the avoidance
of doubt, shall be calculated at the highest applicable marginal tax rate for any holder), then such excess
shall be credited against and reduce the next Tax Distribution permitted to be made with respect to such
holder for subsequent taxable years.

                 “Termination Event” means (a) a Reportable Event with respect to any Employee Plan, (b)
any event with respect to an Employee Plan that causes any Loan Party or any of its ERISA Affiliates to
incur material liability under Section 409, 502(i), 502(l), 515, 4062, 4063, 4064, 4069, 4201, 4204 or 4212
of ERISA or Section 4971 or 4975 of the Internal Revenue Code, (c) the filing of a notice of intent to
terminate an Employee Plan or the treatment of an Employee Plan amendment as a termination under
Section 4041 of ERISA, (d) the institution of proceedings by the PBGC to terminate an Employee Plan, or
(e) any other event or condition that could reasonably be expected to constitute grounds under Section 4042
of ERISA for the termination of, or the appointment of a trustee to administer, any Employee Plan.


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                   “Term Priority Collateral” means “Term Priority Collateral” as defined in the Intercreditor
Agreement.

                   “Termination Notice” shall have the meaning assigned to such term in Section 9.02(a).

                  “Title Insurance Policy” means a mortgagee’s loan policy, in form and substance
reasonably satisfactory to the Collateral Agent, together with all endorsements made from time to time
thereto, issued to the Collateral Agent by or on behalf of a title insurance company selected by or otherwise
reasonably satisfactory to the Collateral Agent, insuring the Lien created by a Mortgage in an amount and
on terms and with such endorsements satisfactory to the Collateral Agent, delivered to the Collateral Agent.

                 “Transactions” means, collectively (a) the execution, delivery and performance by the
Loan Parties of the Loan Documents to which they are a party, the borrowings hereunder and the use of the
proceeds thereof, and the grant of the Liens by the Loan Parties on the Collateral pursuant to this Agreement,
the Order and the other Loan Documents, (b) the commencement and filing of the Chapter 11 Case and (c)
the payment of all fees, costs and expenses incurred in connection with the foregoing.

                   “Transferee” has the meaning specified therefor in Section 2.09(a).

                   “UK Act” has the meaning specified therefor in Section 6.01(aa).

                  “UK Financial Institution” means any BRRD Undertaking (as such term is defined under
the PRA Rulebook (as amended form time to time) promulgated by the United Kingdom Prudential
Regulation Authority) or any person subject to IFPRU 11.6 of the FCA Handbook (as amended from time
to time) promulgated by the United Kingdom Financial Conduct Authority, which includes certain credit
institutions and investment firms, and certain affiliates of such credit institutions or investment firms.

                “UK Resolution Authority” means the Bank of England or any other public administrative
authority having responsibility for the resolution of any UK Financial Institution.

                   “Uniform Commercial Code” or “UCC” has the meaning specified therefor in
Section 1.04(b).

                “USA PATRIOT Act” means the Uniting and Strengthening America by Providing
Appropriate Tools Required to Intercept and Obstruct Terrorism (PATRIOT) Act of 2001 (Title III of Pub.
L. 107-56, Oct. 26, 2001)) as amended by the USA Patriot Improvement and Reauthorization Act of 2005
(Pub. L. 109-177, March 9, 2006) and as the same may have been or may be further renewed, extended,
amended, or replaced.

                “U.S. Person” means any Person that is a “United States Person” as defined in
Section 7701(a)(30) of the Code.

                   “V&E” means Vinson & Elkins LLP.

                   “WARN” has the meaning specified therefor in Section 6.01(p).

                   “Withholding Agent” means any Loan Party and the Administrative Agent.

                “Write-Down and Conversion Powers” means, (a) with respect to any EEA Resolution
Authority, the write-down and conversion powers of such EEA Resolution Authority from time to time
under the Bail-In Legislation for the applicable EEA Member Country, which write-down and conversion

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powers are described in the EU Bail-In Legislation Schedule, and (b) with respect to the United Kingdom,
any powers of the applicable Resolution Authority under the Bail-In Legislation to cancel, reduce, modify
or change the form of a liability of any UK Financial Institution or any contract or instrument under which
that liability arises, to convert all or part of that liability into shares, securities or obligations of that person
or any other person, to provide that any such contract or instrument is to have effect as if a right had been
exercised under it or to suspend any obligation in respect of that liability or any of the powers under that
Bail-In Legislation that are related to or ancillary to any of those powers.

                  Section 1.02    Terms Generally. The definitions of terms herein shall apply equally to
the singular and plural forms of the terms defined. Whenever the context may require, any pronoun shall
include the corresponding masculine, feminine and neuter forms. The words “include”, “includes” and
“including” shall be deemed to be followed by the phrase “without limitation”. The word “will” shall be
construed to have the same meaning and effect as the word “shall”. Unless the context requires otherwise,
(a) any definition of or reference to any agreement, instrument or other document herein shall be construed
as referring to such agreement, instrument or other document as from time to time amended, supplemented
or otherwise modified (subject to any restrictions on such amendments, supplements or modifications set
forth herein), (b) any reference herein to any Person shall be construed to include such Person’s successors
and assigns, (c) the words “herein”, “hereof” and “hereunder”, and words of similar import, shall be
construed to refer to this Agreement in its entirety and not to any particular provision hereof, (d) all
references herein to Articles, Sections, Exhibits and Schedules shall be construed to refer to Articles and
Sections of, and Exhibits and Schedules to, this Agreement and (e) the words “asset” and “property” shall
be construed to have the same meaning and effect and to refer to any right or interest in or to assets and
properties of any kind whatsoever, whether real, personal or mixed and whether tangible or intangible.

                   Section 1.03     Certain Matters of Construction. References in this Agreement to
“determination” by any Agent include good faith and commercially reasonable estimates by such Agent (in
the case of quantitative determinations) and good faith and commercially reasonable beliefs by such Agent
(in the case of qualitative determinations). A Default or Event of Default shall be deemed to exist at all
times during the period commencing on the date that such Default or Event of Default occurs to the date on
which such Default or Event of Default is waived in writing pursuant to this Agreement or, in the case of a
Default, is cured within any period of cure expressly provided for in this Agreement; and an Event of
Default shall “continue” or be “continuing” until such Event of Default has been waived in writing by the
Required Lenders. Any Lien referred to in this Agreement or any other Loan Document as having been
created in favor of any Agent, any agreement entered into by any Agent pursuant to this Agreement or any
other Loan Document, any payment made by or to or funds received by any Agent pursuant to or as
contemplated by this Agreement or any other Loan Document, or any act taken or omitted to be taken by
any Agent, shall, unless otherwise expressly provided, be created, entered into, made or received, or taken
or omitted, for the benefit or account of the Agents and the Lenders. Wherever the phrase “to the knowledge
of any Loan Party” or words of similar import relating to the knowledge or the awareness of any Loan Party
are used in this Agreement or any other Loan Document, such phrase shall mean and refer to the actual
knowledge of a senior officer of any Loan Party. All covenants hereunder shall be given independent effect
so that if a particular action or condition is not permitted by any of such covenants, the fact that it would be
permitted by an exception to, or otherwise within the limitations of, another covenant shall not avoid the
occurrence of a default if such action is taken or condition exists. In addition, all representations and
warranties hereunder shall be given independent effect so that if a particular representation or warranty
proves to be incorrect or is breached, the fact that another representation or warranty concerning the same
or similar subject matter is correct or is not breached will not affect the incorrectness of a breach of a
representation or warranty hereunder.

                 Section 1.04       Accounting and Other Terms.

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                  (a)     Unless otherwise expressly provided herein, each accounting term used herein
shall have the meaning given it under GAAP. For purposes of determining compliance with any incurrence
or expenditure tests set forth in Section 7.01 and Section 7.02, any amounts so incurred or expended (to the
extent incurred or expended in a currency other than Dollars) shall be converted into Dollars on the basis
of the exchange rates (as shown on the Bloomberg currency page for such currency or, if the same does not
provide such exchange rate, by reference to such other publicly available service for displaying exchange
rates as may be reasonably selected by the Agents or, in the event no such service is selected, on such other
basis as is reasonably satisfactory to the Agents) as in effect on the date of such incurrence or expenditure
under any provision of any such Section that has an aggregate Dollar limitation provided for therein (and
to the extent the respective incurrence or expenditure test regulates the aggregate amount outstanding at
any time and it is expressed in terms of Dollars, all outstanding amounts originally incurred or spent in
currencies other than Dollars shall be converted into Dollars on the basis of the exchange rates (as shown
on the Bloomberg currency page for such currency or, if the same does not provide such exchange rate, by
reference to such other publicly available service for displaying exchange rates as may be reasonably
selected by the Agents or, in the event no such service is selected, on such other basis as is reasonably
satisfactory to the Agents) as in effect on the date of any new incurrence or expenditures made under any
provision of any such Section that regulates the Dollar amount outstanding at any time). Notwithstanding
the foregoing, (i) with respect to the accounting for leases as either operating leases or capital leases and
the impact of such accounting in accordance with FASB ASC 840 or 842 on the definitions and covenants
herein, GAAP as in effect on the Closing Date shall be applied5 and (ii) for purposes of determining
compliance with any covenant (including the computation of any financial covenant) contained herein,
Indebtedness of the Borrower and its Subsidiaries shall be deemed to be carried at 100% of the outstanding
principal amount thereof, and the effects of FASB ASC 825 and FASB ASC 470-20 on financial liabilities
shall be disregarded.

                 (b)      All terms used in this Agreement which are defined in Article 8 or Article 9 of the
Uniform Commercial Code as in effect from time to time in the State of New York (the “Uniform
Commercial Code” or the “UCC”) and which are not otherwise defined herein shall have the same meanings
herein as set forth therein, provided that terms used herein which are defined in the Uniform Commercial
Code as in effect in the State of New York on the date hereof shall continue to have the same meaning
notwithstanding any replacement or amendment of such statute except as any Agent may otherwise
determine.

                 Section 1.05     Time References. Unless otherwise indicated herein, all references to time
of day refer to Eastern Standard Time or Eastern daylight saving time, as in effect in New York City on
such day. For purposes of the computation of a period of time from a specified date to a later specified
date, the word “from” means “from and including” and the words “to” and “until” each means “to but
excluding”; provided, however, that with respect to a computation of fees or interest payable to any Secured
Party, such period shall in any event consist of at least one full day.

                  Section 1.06. Divisions.          Any reference herein to a merger, consolidation,
amalgamation, liquidation, winding up, dissolution, assignment, sale, disposition or transfer, or similar
term, shall be deemed to apply to a division of or by a limited liability company, limited partnership or
trust, or an allocation of assets to a series of limited liability company, limited partnership or trust (or the
unwinding of such a division or allocation), as if it were a merger, consolidation, amalgamation,
assignment, sale, disposition or transfer, or similar term, as applicable, to, of or with a separate Person. Any
division of a limited liability company, limited partnership or trust shall constitute a separate Person



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    NTD: For exit facility, GCS to opt into new lease accounting early 2022. Discuss carving out the effects.
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hereunder (and each division of any limited liability company, limited partnership or trust that is a
Subsidiary, joint venture or any other like term shall also constitute such a Person or entity).

                                             ARTICLE II

                                              THE LOANS

                Section 2.01     DIP Loan Commitments; Disbursement of Loans.

                 (a)      Subject to the terms and conditions of this Agreement and in reliance upon the
representations and warranties of the Loan Parties contained herein, on the Closing Date, each Lender,
subject to, and in accordance with, this Agreement, agrees to severally, and not jointly or jointly and
severally, make a Loan to and for the account of the Borrower as provided herein, in the amount of such
Lender’s DIP Loan Commitment (subject to any limitations contained within the Order). The Loans shall
be made in one draw on the Closing Date, and the DIP Loan Commitments shall be immediately terminated
after the funding of the Loans. Once repaid, no part of the Loans may be reborrowed.

                  (b)    The DIP Proceeds shall be deposited into an account of the Borrower and invested
at all times by the Borrower in cash and Cash Equivalents. Any such DIP Proceeds may only be used by
the Borrower in accordance with the terms hereof and the Bankruptcy Plan.

                 Section 2.02     Making the Loans. (a) The Borrower shall give the Administrative Agent
prior written notice (in substantially the form of Exhibit C hereto (a “Notice of Borrowing”) not later than
12:00 noon (New York City time) on the date which is 3 Business Days prior to the date of the proposed
Loan (or such shorter time as agreed by the Administrative Agent). Such Notice of Borrowing shall be
irrevocable and shall specify (i) the aggregate principal amount of the proposed Loan, (ii) the proposed
borrowing date, which must be a Business Day, and (iii) the wire instructions for the Borrower’s account
to which funds are to be disbursed. The Administrative Agent and each Lender shall be entitled to rely
conclusively on any Authorized Officer’s authority to request a Loan on behalf of the Borrower until the
Administrative Agent receives written notice to the contrary. The Administrative Agent and the Lenders
shall have no duty to verify the authenticity of the signature appearing on any Notice of Borrowing.

               (b)      Each Notice of Borrowing pursuant to this Section 2.02 shall be irrevocable and
the Borrower shall be bound to make a borrowing in accordance therewith.

                 (c)     All Loans under this Agreement shall be made by the Lenders simultaneously and
proportionately to their Pro Rata Shares of the DIP Loan Commitment, as applicable, it being understood
that no Lender shall be responsible for any default by any other Lender in that other Lender’s obligations
to make a Loan requested hereunder, nor shall the DIP Loan Commitment of any Lender be increased or
decreased as a result of the default by any other Lender in that other Lender’s obligation to make a Loan
requested hereunder, and each Lender shall be obligated to make the Loans required to be made by it by
the terms of this Agreement regardless of the failure by any other Lender.

                Section 2.03     Repayment of Loans; Evidence of Debt.

                  (a)    The Borrower hereby unconditionally promise to pay to the Administrative Agent
for the ratable account of each Lender the then unpaid principal amount of, and unpaid accrued interest on,
each Loan of such Lender made to the Borrower, along with all other Obligations owing under any Loan
Document, on the DIP Termination Date in cash without further application to or order of the Bankruptcy
Court. Notwithstanding the foregoing sentence, in lieu of any applicable portion of the cash payments

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otherwise owed to the Lenders with respect to the Loans, the Lenders may receive non-cash consideration
in the form of senior secured debt as contemplated by the RSA and Bankruptcy Plan on the Bankruptcy
Plan Effective Date if the Bankruptcy Plan is confirmed pursuant to the Confirmation Order.

                (b)     Each Lender shall maintain in accordance with its usual practice an account or
accounts evidencing the Indebtedness of the Borrower to such Lender resulting from each Loan made by
such Lender, including the amounts of principal and interest payable and paid to such Lender from time to
time hereunder.

                (c)    The Administrative Agent shall maintain accounts in which it shall record (i) the
amount of each Loan made hereunder, (ii) the amount of any principal or interest due and payable or to
become due and payable from the Borrower to each Lender hereunder and (iii) the amount of any sum
received by the Administrative Agent hereunder for the account of the Lenders and each Lender’s share
thereof.

                 (d)      The entries made in the accounts maintained pursuant to paragraphs (b) or (c) of
this Section shall be prima facie evidence of the existence and amounts of the obligations recorded therein
absent manifest error; provided that (i) the failure of any Lender or the Administrative Agent to maintain
such accounts or any error therein shall not in any manner affect the obligation of the Borrower to repay
the Loans in accordance with the terms of this Agreement and (ii) in the event of any conflict between the
entries made in the accounts maintained pursuant to paragraph (b) of this Section and the accounts
maintained pursuant to paragraph (c) of this Section, the accounts maintained pursuant to paragraph (c) of
this Section shall govern and control.

                 (e)    Any Lender may request that Loans made by it be evidenced by a promissory note.
In such event, the Borrower shall execute and deliver to such Lender a promissory note payable to the order
of such Lender (or, if requested by such Lender, to such Lender and its registered assigns) in a form
furnished by the Collateral Agent and reasonably acceptable to the Borrower. Thereafter, the Loans
evidenced by such promissory note and interest thereon shall at all times (including after assignment
pursuant to Section 12.07) be represented by one or more promissory notes in such form payable to the
order of the payee named therein (or, if such promissory note is a registered note, to such payee and its
registered assigns).

                Section 2.04     Interest.

                (a)      Loans. The Loans shall bear interest at the Applicable Margin.

                 (b)      Default Interest. To the extent permitted by law and notwithstanding anything to
the contrary in this Section, upon the occurrence and during the continuance of an Event of Default, the
principal of, and all accrued and unpaid interest on, all Loans, fees, indemnities or any other Obligations of
the Loan Parties under this Agreement and the other Loan Documents, shall bear interest, from the date
such Event of Default occurred until the date such Event of Default is cured or waived in writing in
accordance herewith, at a rate per annum equal at all times to the Post-Default Rate.

                 (c)      Interest Payment. Accrued interest on each Loan shall be payable in cash in arrears
on each Interest Payment Date for such Loan, provided that (i) interest accrued pursuant to paragraph (b)
of this Section shall be payable promptly upon written demand by the Administrative Agent, and (ii) in the
event of any repayment or prepayment of any Loan, accrued interest on the principal amount repaid or
prepaid shall be payable on the date of such repayment or prepayment.


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               (d)      General. All interest shall be computed on the basis of a year of 360 days for the
actual number of days, including the first day but excluding the last day, elapsed.

                Section 2.05     Termination of DIP Loan Commitment; Prepayment of Loans.

                (a)     Termination of DIP Loan Commitments. The DIP Loan Commitments shall
terminate in accordance with Section 2.01 hereof.

                (b)     Optional Prepayment.

                        (i)      The Borrower shall have the right at any time and from time to time,
        without premium or penalty, to prepay the Loans in whole or in part, as selected and designated by
        the Borrower, subject to the requirements of this Section.

                (c)     Mandatory Prepayments.

                         (i)     Unless the Required Lenders otherwise agree, in the event and on each
        occasion that any Net Cash Proceeds are received by or on behalf of the Borrower or any Subsidiary
        in respect of any Prepayment Event, the Borrower shall, within five (5) Business Days after such
        Net Cash Proceeds are received, prepay in strict accordance with Section 2.05(d) the outstanding
        Loans in an aggregate amount equal to 100% of the amount of such Net Cash Proceeds; provided,
        that, with the consent of the Administrative Agent (in its sole discretion), the Borrower may use
        such Net Cash Proceeds in lieu of any prepayment requirements under this Agreement to reinvest
        in the business of the Borrower and the other Loan Parties.

                           (ii)    The Borrower shall notify the Administrative Agent in writing of any
        prepayment hereunder not later than 10:00 a.m., New York City time, two (2) Business Days before
        the date of the proposed prepayment. Each such notice shall be irrevocable and shall specify the
        prepayment date, the principal amount of each Loan or portion thereof to be prepaid and, in the
        case of a mandatory prepayment, a reasonably detailed calculation of the amount of such
        prepayment; provided, however, that any notice of prepayment may be expressly made contingent
        on the occurrence of a refinancing or the consummation of a sale, transfer, lease or other disposition
        of assets and if so designated may be revoked or the termination date deferred if the refinancing or
        sale, transfer, lease or other disposition of assets does not occur. Promptly following receipt of any
        such notice, the Administrative Agent shall advise the Lenders of the contents thereof. Each
        prepayment of the Loans shall be applied ratably. Prepayments shall be accompanied by accrued
        interest to the extent required by Section 2.04(e).

               (d)     Application of Payments. With respect to any voluntary prepayments pursuant to
Section 2.05(b) and any mandatory prepayments of the Loans pursuant to Section 2.05(c), such
prepayments shall be applied on a pro rata basis to the then outstanding Loans.

                (e)     Interest and Fees. Any prepayment made pursuant to this Section 2.05 shall be
accompanied by (i) accrued and unpaid interest on the principal amount being prepaid to the date of
prepayment, (ii) [reserved], (iii) [reserved] and (iv) if such prepayment would reduce the amount of the
outstanding Loans to zero, such prepayment shall be accompanied by the payment of all fees accrued to
such date pursuant to Section 2.06.

                (f)    Cumulative Prepayments. Except as otherwise expressly provided in this
Section 2.05, payments with respect to any subsection of this Section 2.05 are in addition to payments made

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or required to be made under any other subsection of this Section 2.05; provided that there shall be no
duplication of mandatory prepayments due under more than one subsection of this Section 2.05.

                 Section 2.06     Fees.

                (a)      The Borrower agrees to pay to each Lender in accordance with their Pro Rata
Shares a closing fee (the “Closing Fee”) in the amount of one percent (1.00%) of the aggregate principal
amount of the DIP Loan Commitments held by such Lender on the Closing Date, payable on the Closing
Date; provided, that such Closing Fee can be taken in the form of an equivalent amount of original issue
discount of the aggregate principal amount of Loans made on the Closing Date at the discretion of the
applicable Lender.

                (b)     All fees shall be paid on the dates due, in cash (unless elected to be taken as original
issue discount as set forth in Section 2.06(a)) and in Dollars, immediately available funds to the
Administrative Agent for the ratable account of the applicable Lenders. Once paid, none of the fees shall
be refundable under any circumstances.

                 Section 2.07     [Reserved].

                 Section 2.08     [Reserved].

                 Section 2.09     Taxes. (a) Any and all payments by or on account of any Loan Party
hereunder or under any other Loan Document shall be made free and clear of and without deduction for
any and all Taxes, except as required by applicable law. If any Loan Party shall be required to deduct any
Taxes from or in respect of any sum payable hereunder to any Secured Party (or any transferee or assignee
thereof, including a participation holder (any such entity, a “Transferee”)), (i) the applicable Withholding
Agent shall make such deductions and (ii) the applicable Withholding Agent shall pay the full amount
deducted to the relevant Governmental Authority in accordance with applicable law and (iii) if such Tax is
an Indemnified Tax, then the sum payable by the applicable Loan Party shall be increased by the amount
(an “Additional Amount”) necessary such that after making all required deductions (including deductions
applicable to additions sums payable under this Section 2.09) such Secured Party (or such Transferee
receives the amount equal to the sum it would have received had no such deductions been made.

                  (b)     In addition, each Loan Party agrees to pay to the relevant Governmental Authority
in accordance with applicable law any Other Taxes. Each Loan Party shall deliver to each Secured Party
official receipts in respect of any Taxes or Other Taxes payable hereunder promptly after payment of such
Taxes or Other Taxes.

                (c)      The Loan Parties hereby jointly and severally indemnify and agree to hold each
Secured Party harmless from and against Indemnified Taxes paid by such Person, whether or not such
Indemnified Taxes were correctly or legally asserted. Such indemnification shall be paid within ten (10)
Business Days from the date on which any such Person makes written demand therefore specifying in
reasonable detail the nature and amount of such Indemnified Taxes.

                 (d)      Each Lender (or Transferee) that is a United States person under
Section 7701(a)(30) of the IRC shall deliver to the Borrower or Administrative Agent a United States
Internal Revenue Service Form W-9 (or substitute or successor form), properly completed and duly
executed, certifying that such Lender is exempt from United States backup withholding.

                    (e)      Each Lender (or Transferee) that is not a U.S. Person (a “Non-U.S. Lender”) agrees
that it shall, no later than the Closing Date (or, in the case of a Lender which becomes a party hereto pursuant
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to Section 12.07 hereof after the Closing Date, promptly after the date upon which such Lender becomes a
party hereto) deliver to the Agents (or, in the case of an assignee of a Lender which (x) is an Affiliate of
such Lender or a Related Fund of such Lender and (y) does not deliver an Assignment and Acceptance to
the Administrative Agent pursuant to the last sentence of Section 12.07(c)(ii) for recordation pursuant to
Section 12.07(e), to the assigning Lender only, and in the case of a participant, to the Lender granting the
participation only) one properly completed and duly executed copy of either U.S. Internal Revenue Service
Form W-8BEN, W-8BEN-E, W-8ECI or W-8IMY or any subsequent versions thereof or successors thereto,
in each case claiming complete exemption from, or reduced rate of, U.S. Federal withholding tax on
payments of interest hereunder. In addition, in the case of a Non-U.S. Lender claiming exemption from
U.S. Federal withholding tax under Section 871(h) or 881(c) of the Internal Revenue Code, such Non-U.S.
Lender hereby represents to the Agents and the Borrower that such Non-U.S. Lender is not a bank for
purposes of Section 881(c) of the Internal Revenue Code, is not a 10-percent shareholder (within the
meaning of Section 871(h)(3)(B) of the Internal Revenue Code) of the Parent and is not a controlled foreign
corporation related to the Parent (within the meaning of Section 864(d)(4) of the Internal Revenue Code),
and such Non-U.S. Lender agrees that it shall promptly notify the Agents in the event any such
representation is no longer accurate. Such forms shall be delivered by each Non-U.S. Lender on or before
the date it becomes a party to this Agreement (or, in the case of a Transferee that is a participation holder,
on or before the date such participation holder becomes a Transferee hereunder) and on or before the date,
if any, such Non-U.S. Lender changes its applicable lending office by designating a different lending office
(a “New Lending Office”). In addition, such Lender (or Transferee) or Agent shall deliver such forms
within 20 days after receipt of a written request therefor from the Borrower or any Agent, the assigning
Lender or the Lender granting a participation, as applicable. Notwithstanding any other provision of this
Section 2.09, a Non-U.S. Lender shall not be required to deliver any form pursuant to this Section 2.09(e)
that such Non-U.S. Lender is not legally able to deliver.

                 (f)     Any Secured Party (or Transferee) claiming any indemnity payment or additional
payment amounts payable pursuant to this Section 2.09 shall use reasonable efforts (consistent with legal
and regulatory restrictions) to file any certificate or document reasonably requested in writing by the
Borrower or to change the jurisdiction of its applicable lending office if the making of such a filing or
change would avoid the need for or reduce the amount of any such indemnity payment or additional amount
that may thereafter accrue, would not require such Secured Party (or Transferee) to disclose any information
such Secured Party (or Transferee) in good faith deems confidential and would not, in the sole determination
of such Secured Party (or Transferee), be otherwise disadvantageous to such Secured Party (or Transferee).

                  (g)     If any Secured Party (or a Transferee) shall become aware that it is entitled to claim
a refund from a Governmental Authority in respect of Indemnified Taxes with respect to which any Loan
Party has made an indemnity payment or paid additional amounts, pursuant to this Section 2.09, it shall
promptly notify the Borrower of the availability of such refund claim and shall, within ten (10) days after
receipt of a request by the Borrower, make a claim to such Governmental Authority for such refund at the
Loan Parties’ expense. If any Secured Party (or a Transferee) receives a refund (including pursuant to a
claim for refund made pursuant to the preceding sentence) in respect of any Indemnified Taxes with respect
to which any Loan Party has made an Indemnity payment or paid additional amounts pursuant to this
Section 2.09, it shall within 30 days from the date of such receipt pay over such refund to the Borrower, net
of all out-of-pocket expenses of such Secured Party (or Transferee), provided that each Loan Party, upon
the request of Administrative Agent or such Secured Party (or Transferee), agrees to repay the amount paid
over to any Loan Party (plus any penalties, interest or other charges imposed by the relevant Governmental
Authority) to Administrative Agent or such Secured Party (or Transferee) in the event Administrative Agent
or any Secured Party (or Transferee) is required to repay such refund to such Governmental Authority.
Notwithstanding anything to the contrary in this paragraph (g), in no event will an indemnified party be
required to pay any amount to a Loan Party pursuant to this paragraph (g) the payment of which would
place the indemnified party in a less favorable net after-Tax position than the indemnified party would have
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been in if the Tax subject to indemnification had not been deducted, withheld or otherwise imposed and the
indemnification payments or additional amounts giving rise to such refund had never been paid. This
subsection shall not be construed to require Administrative Agent, any Secured Party or Transferee to make
available its tax returns (or any other information relating to its Taxes that it deems confidential) to any
Loan Party or any other Person.

                 (h)     If a payment made to a Lender (or Transferee) or any Agent under any Loan
Document would be subject to U.S. Federal withholding tax imposed by FATCA if such Lender (or
Transferee) or Agent were to fail to comply with the applicable reporting requirements of FATCA
(including those contained in Section 1471(b) or 1472(b) of the Internal Revenue Code, as applicable), such
Lender (or Transferee) or Agent shall deliver to the Borrower and the Agents at the time or times prescribed
by law and at such time or times reasonably requested by the Borrower or the Agents such documentation
prescribed by applicable law (including as prescribed by Section 1471(b)(3)(C)(i) of the Internal Revenue
Code) and such additional documentation reasonably requested by the Borrower or the Agents as may be
necessary for the Borrower and the Agents to comply with their obligations under FATCA and to determine
that such Lender (or Transferee) or Agent has complied with its obligations under FATCA or to determine
the amount to deduct and withhold from such payment. Solely for purposes of this clause (h), “FATCA”
shall include any amendments made to FATCA after the date of this Agreement. Any forms, certifications
or other documentation under this clause (h) shall be delivered by each Lender (or Transferee) and each
Agent.

                 (i)    The obligations of the Loan Parties under this Section 2.09 shall survive the
termination of this Agreement and the payment of the Loans and all other amounts payable hereunder.

                 Section 2.10     Increased Costs and Reduced Return. (a) If any Change in Law shall
(i) subject such Secured Party, or any Person controlling such Secured Party to any tax, duty or other charge
with respect to this Agreement or any Loan made by such Agent or such Lender, or change the basis of
taxation of payments to such Secured Party or any Person controlling such Secured Party of any amounts
payable hereunder (except for taxes on the overall net income of such Secured Party or any Person
controlling such Secured Party), (ii) impose, modify or deem applicable any reserve, special deposit or
similar requirement against any Loan or against assets of or held by, or deposits with or for the account of,
or credit extended by, such Secured Party or any Person controlling such Secured Party or (iii) impose on
such Secured Party or any Person controlling such Secured Party any other condition regarding this
Agreement or any Loan, and the result of any event referred to in clauses (i), (ii) or (iii) above shall be to
increase the cost to such Secured Party of making any Loan, or agreeing to make any Loan, or to reduce
any amount received or receivable by such Secured Party hereunder, then, upon demand by such Secured
Party, the Borrower shall pay to such Secured Party such additional amounts as will compensate such
Secured Party for such increased costs or reductions in amount.

                 (b)     If any Change in Law either (i) affects or would affect the amount of capital
required or expected to be maintained by such Secured Party or any Person controlling such Secured Party,
and such Secured Party determines that the amount of such capital is increased as a direct or indirect
consequence of any Loans made or maintained, such Secured Party’s or such other controlling Person’s
other obligations hereunder, or (ii) has or would have the effect of reducing the rate of return on such
Secured Party’s or such other controlling Person’s capital to a level below that which such Secured Party
or such controlling Person could have achieved but for such circumstances as a consequence of any Loans
made or maintained or any agreement to make Loans or such Secured Party’s or such other controlling
Person’s other obligations hereunder (in each case, taking into consideration, such Secured Party’s or such
other controlling Person’s policies with respect to capital adequacy), then, within 30 days after demand by
such Secured Party, the Borrower shall pay to such Secured Party from time to time such additional amounts

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as will compensate such Secured Party for such cost of maintaining such increased capital or such reduction
in the rate of return on such Secured Party’s or such other controlling Person’s capital.

                  (c)     All amounts payable under this Section 2.10 shall bear interest from the date that
is 10 days after the date of demand by any Secured Party until payment in full to such Secured Party at a
rate equal to the Applicable Margin. A certificate of such Secured Party claiming compensation under this
Section 2.10, specifying in reasonable detail the event herein above described and the nature of such event
shall be submitted by such Secured Party to the Borrower, setting forth the additional amount due and an
explanation of the calculation thereof, and such Secured Party’s reasons for invoking the provisions of this
Section 2.10, and shall be final and conclusive absent manifest error.

                 (d)     Failure or delay on the part of any Lender to demand compensation pursuant to the
foregoing provisions of this Section 2.10 shall not constitute a waiver of such Lender’s right to demand
such compensation; provided that the Borrower shall not be required to compensate a Lender pursuant to
the foregoing provisions of this Section 2.10 for any increased costs incurred or reductions suffered more
than three months prior to the date that such Lender notifies the Borrower of the Change in Law giving rise
to such increased costs or reductions and of such Lender’s intention to claim compensation therefor (except
that, if the Change in Law giving rise to such increased costs or reductions is retroactive, then the three-
month period referred to above shall be extended to include the period of retroactive effect thereof).

                 (e)    The obligations of the Loan Parties under this Section 2.10 shall survive the
termination of this Agreement and the payment of the Loans and all other amounts payable hereunder.

                Section 2.11     [Reserved].

                Section 2.12     Super Priority Nature of Obligations and Lenders’ Liens.

                  (a)      The priority of the Secured Parties’ Liens on the Collateral owned by the Borrower
shall be set forth in the Order.

                  (b)      All Obligations (i) of the Borrower shall constitute Superpriority DIP Claims and
(ii) shall be senior to the Prepetition Term Obligations and any adequate protection claims provided to the
Prepetition Term Secured Parties under any Order.

                  (c)      Upon entry of the applicable Order, the Liens granted to the Collateral Agent for
the benefit of the Lenders on the Collateral shall be valid and automatically perfected on the basis with the
priority set forth herein and in the Order.

                  (d)      Except as set forth herein or in the Order and subject to the Carve-Out and with
respect to Debtor Professional Fees, the Debtor shall not seek approval of any other claim having a priority
superior or pari passu to that granted to the Collateral Agent and Lenders by the Order while any Obligations
remain outstanding.

                Section 2.13     No Discharge; Survival of Claims. Except as otherwise contemplated by
the RSA, until indefeasible payment in full (other than contingent obligations not yet due and payable) in
cash of the Loans and all other Obligations (which includes a conversion thereof into any exit financing of
the Debtor pursuant to the terms of the Bankruptcy Plan and in accordance with the RSA), each of the
Borrower and the Guarantors agrees that (a) the Obligations hereunder shall not be discharged by the entry
of an order confirming a plan of reorganization or liquidation in any Chapter 11 Case (and each of the
Borrower and the Guarantors, pursuant to Section 1141(d)(4) of the Bankruptcy Code, hereby waives any
such discharge) and (b) the Superpriority DIP Claims and the Liens granted to the Collateral Agent pursuant
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to the Order and the Loan Documents and described in this Section 2.13 shall not be affected in any manner
by the entry of an order confirming a plan of reorganization or liquidation in the Chapter 11 Case.

                  Section 2.14     Release. [The Borrower and the Guarantors hereby acknowledges
effective upon entry of the Order, and subject to the terms thereof, that the Borrower, the Guarantors and
any of their Subsidiaries have no defense, counterclaim, offset, recoupment, claim or demand of any kind
or nature whatsoever that can be asserted to reduce or eliminate all of any part of the Borrower’s, the
Guarantors’ or any Subsidiaries’ liability to repay any Agent or any Lender as provided in this Agreement
or to seek affirmative relief or damages of any kind or nature from any Agent or any Lender. Upon entry
of the Order, the Borrower and the Guarantors, each in their own right (and in respect of the Borrower, on
behalf of its bankruptcy estate), and on behalf of all their successors, assigns, Subsidiaries and any Affiliates
and any Person acting for and on behalf of, or claiming through them, hereby fully, finally and forever
release and discharge each Agent and the Lenders and all of the Agents’ and the Lenders’ respective
officers, directors, servants, agents, attorneys, assigns, heirs, parents, subsidiaries, and each Person acting
for or on behalf of any of them of and from any and all actions, causes of action, demands, suits, claims,
liabilities, Liens, lawsuits, adverse consequences, amounts paid in settlement, costs, damages, debts,
deficiencies, diminution in value, disbursements, expenses, losses and other obligations of any kind or
nature whatsoever, in each case, existing at the time of entry of the Order, whether in law, equity or
otherwise (including, without limitation, those arising under Sections 541 through 550 of the Bankruptcy
Code and interest or other carrying costs, penalties, legal, accounting and other Professional Costs, and
incidental, consequential and punitive damages payable to third parties), directly or indirectly arising out
of, connected with or relating to this Agreement, the Order and the transactions (including, for avoidance
of doubt, the Transactions) contemplated hereby, and all other agreements, certificates, instruments and
other documents and statements (whether written or oral) related to any of the foregoing. Notwithstanding
anything herein to the contrary, the Borrower and Guarantors shall not have any obligation to indemnify or
hold harmless any Agent or any Lender hereunder with respect to liabilities to the extent they result from
the actual fraud (other than in the case of the Agents), gross negligence or willful misconduct of such Agent
or Lender, as applicable, as finally determined by a court of competent jurisdiction.]6

                   Section 2.15      Waiver of Certain Rights.

                 (a)     On and after the Closing Date, and on behalf of themselves (and in respect of the
Borrower, its bankruptcy estate), and for so long as any Obligations shall be outstanding, the Borrower and
the other Loan Parties hereby irrevocably waive any right, pursuant to sections 364(c) or 364(d) of the
Bankruptcy Code or otherwise, to grant any Lien of equal or greater priority than the Liens securing the
Obligations, or to approve a claim of equal or greater priority than the Obligations.

                 (b)     The Order shall provide that in no event shall the Agents, the Lenders, the
Prepetition Term Agents or the Prepetition Term Lenders under the Prepetition Term Financing Agreement
(the “Prepetition Term Secured Parties”) be subject to the equitable doctrine of “marshalling” or any similar
doctrine with respect to the Collateral or the Prepetition Term Collateral, as applicable, and all proceeds
shall be received and applied pursuant to the Order and the Loan Documents notwithstanding any other
agreement or provision to the contrary.

                  (c)    Subject to the Carve-Out, and only upon entry of the Order, the Debtor (on behalf
of itself and its bankruptcy estate) shall irrevocably waive, and shall be prohibited from asserting in the
Chapter 11 Case or any successor cases, (i) any surcharge claim under sections 105(a) or 506(c) of the
Bankruptcy Code for any costs and expenses incurred in connection with the preservation, protection or
enhancement of, or realization by the Agents, the Lenders, or the Prepetition Term Secured Parties upon

6
    NTD: To be discussed in connection with Plan discussions.
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the Collateral or the Prepetition Term Collateral, and (ii) the Agents, the Lenders, and the Prepetition Term
Secured Parties shall each be entitled to all of the rights and benefits of section 552(b) of the Bankruptcy
Code, and the “equities of the case” exception under section 552(b) of the Bankruptcy Code shall not apply
to the Agents, the Lenders, and the Prepetition Term Secured Parties with respect to proceeds, product,
offspring or profits of any of the Prepetition Term Collateral or Collateral.

                                              ARTICLE III

                                    [INTENTIONALLY OMITTED]

                                              ARTICLE IV

                                    APPLICATION OF PAYMENT

                  Section 4.01     Payments; Computations and Statements. (a) The Borrower will make
each payment under this Agreement not later than 2:00 pm (New York City time) on the day when due, in
lawful money of the United States of America and in immediately available funds, to the Administrative
Agent’s Account. All payments shall be made by the Borrower without set-off, counterclaim, recoupment,
deduction or other defense to the Agents and the Lenders. Except as provided in Section 2.02, after receipt,
the Administrative Agent will promptly thereafter cause to be distributed like funds relating to the payment
of principal ratably to the Lenders in accordance with their Pro Rata Shares and like funds relating to the
payment of any other amount payable to any Lender to such Lender, in each case to be applied in accordance
with the terms of this Agreement. Whenever any payment to be made under any such Loan Document shall
be stated to be due on a day other than a Business Day, such payment shall be made on the next succeeding
Business Day and such extension of time shall in such case be included in the computation of interest or
fees, as the case may be, but not be deemed to be a Default or Event of Default. All computations of interest
and fees shall be made by the Administrative Agent on the basis of a year of 360 days for the actual number
of days. Each determination by the Administrative Agent of an interest rate or fees hereunder shall be
conclusive and binding for all purposes in the absence of manifest error.

                  Section 4.02    Sharing of Payments. Except as provided in Section 2.02 hereof, if any
Lender shall obtain any payment (whether voluntary, involuntary, through the exercise of any right of set-
off, or otherwise) on account of any Obligation in excess of its ratable share of payments on account of
similar obligations obtained by all the Lenders, such Lender shall forthwith purchase from the other Lenders
such participations in such similar obligations held by them as shall be necessary to cause such purchasing
Lender to share the excess payment ratably with each of them; provided, however, that (a) if all or any
portion of such excess payment is thereafter recovered from such purchasing Lender, such purchase from
each Lender shall be rescinded and each Lender shall repay to the purchasing Lender the purchase price to
the extent of such recovery together with an amount equal to such Lender’s ratable share (according to the
proportion of (i) the amount of such Lender’s required repayment to (ii) the total amount so recovered from
the purchasing Lender) of any interest or other amount paid by the purchasing Lender in respect of the total
amount so recovered and (b) the provisions of this Section shall not be construed to apply to (i) any payment
made by the Borrower pursuant to and in accordance with the express terms of this Agreement, or (ii) any
payment obtained by a Lender as consideration for the assignment of or sale of a participation in any of its
Loans, other than to any Loan Party or any Subsidiary thereof (as to which the provisions of this
Section shall apply). The Borrower agrees that any Lender so purchasing a participation from another
Lender pursuant to this Section may, to the fullest extent permitted by law, exercise all of its rights
(including the Lender’s right of set-off) with respect to such participation as fully as if such Lender were
the direct creditor of the Borrower in the amount of such participation.

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               Section 4.03   Apportionment of Payments. Subject to Section 2.02 hereof and to any
written agreement among the Agents and/or the Lenders:

                (a)      All payments of principal and interest in respect of outstanding Loans, all
payments of fees (other than the fees set forth in Section 2.06 hereof to the extent set forth in any written
agreement among the Agents and the Lenders) and all other payments in respect of any other Obligations,
shall be allocated by the Administrative Agent among such of the Lenders as are entitled thereto, in
proportion to their respective Pro Rata Shares or otherwise as provided herein or, in respect of payments
not made on account of Loans, as designated by the Person making payment when the payment is made.

                  (b)     After the occurrence and during the continuance of an Event of Default, the
Administrative Agent may, and upon the direction of the Collateral Agent or the Required Lenders shall,
apply all payments in respect of any Obligations, including without limitation, all proceeds of the Collateral,
(i) first, to payment of that portion of the Obligations constituting fees, indemnities, expenses and other
amounts (other than principal and interest) payable to each Agent in its capacity as such; (ii) second, to
payment of that portion of the Obligations constituting fees, indemnities and other amounts (other than
principal and interest) payable to the Lenders, ratably among them in proportion to the amounts described
in this clause Second payable to them; (iii) third, to payment of that portion of the Obligations constituting
accrued and unpaid interest (including, but not limited to, post-petition interest), ratably among the Lenders
in proportion to the respective amounts described in this clause Third payable to them; (iv) fourth, to
payment of that portion of the Obligations constituting unpaid principal, ratably among the Lenders in
proportion to the respective amounts described in this clause Fourth held by them; (v) fifth, to the payment
of all other Obligations of the Loan Parties that are due and payable to the Administrative Agent and the
other Secured Parties on such date, ratably based upon the respective aggregate amounts of all such
Obligations owing to the Administrative Agent and the other Secured Parties on such date; and (vi) sixth,
the balance, if any, after all of the Obligations have been paid in full, to the Borrower or as otherwise
required by law.

                (c)      For purposes of Section 4.03(b), “paid in full” means payment in cash of all
amounts owing under the Loan Documents according to the terms thereof, including loan fees, service fees,
professional fees, interest (and specifically including interest accrued after the commencement of any
Insolvency Proceeding), default interest, interest on interest, and expense reimbursements, whether or not
same would be or is allowed or disallowed in whole or in part in any Insolvency Proceeding.

                 (d)     In the event of a direct conflict between the priority provisions of this Section 4.03
and other provisions contained in any other Loan Document, it is the intention of the parties hereto that
both such priority provisions in such documents shall be read together and construed, to the fullest extent
possible, to be in concert with each other. In the event of any actual, irreconcilable conflict that cannot be
resolved as aforesaid, the terms and provisions of this Section 4.03 shall control and govern.

                                              ARTICLE V

                                        CONDITIONS TO LOANS

                  Section 5.01    Conditions Precedent to Effectiveness. This Agreement shall become
effective as of the Business Day (the “Closing Date”) when each of the following conditions precedent shall
have been satisfied in a manner satisfactory to the Agents and the Required Lenders:

                  (a)     Payment of Fees, Etc. The Borrower shall have paid on or before the Closing Date
all fees, costs, expenses and taxes then due and payable pursuant to Section 2.06 and Section 12.04.

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                  (b)      Representations and Warranties; No Event of Default. The following statements
shall be true and correct: (i) the representations and warranties contained in Article VI and in each other
Loan Document, certificate or other writing delivered to any Secured Party pursuant hereto or thereto on or
prior to the Closing Date are true and correct in all material respects (except that such materiality qualifier
shall not be applicable to any representations or warranties that already are qualified or modified as to
materiality or “Material Adverse Effect” in the text thereof, which representations and warranties shall be
true and correct in all respects subject to such qualification) on and as of the Closing Date as though made
on and as of such date, except to the extent that any such representation or warranty expressly relates solely
to an earlier date (in which case such representation or warranty shall be true and correct on and as of such
earlier date in all material respects (except that such materiality qualifier shall not be applicable to any
representations or warranties that already are qualified or modified as to materiality or “Material Adverse
Effect” in the text thereof, which representations and warranties shall be true and correct in all respects
subject to such qualification)) and (ii) no Default or Event of Default shall have occurred and be continuing
on the Closing Date or would result from this Agreement or the other Loan Documents becoming effective
in accordance with its or their respective terms.

                (c)     Delivery of Documents.7 The Administrative Agent (or its counsel) shall have
received on or before the Closing Date the following, each in form and substance satisfactory to the
Administrative Agent and, unless indicated otherwise, dated the Closing Date and, if applicable, duly
executed by the Persons party thereto:

                        (i)     from the Borrower and the Guarantors, a counterpart of this Agreement
        signed on behalf of such party;

                         (ii)    from the Loan Parties, executed counterparts of the Security Agreement to
        be entered into on the Closing Date;

                         (iii)    evidence of financing statements on Form UCC-1 in such office or offices
        as may be necessary or, in the opinion of the Collateral Agent, desirable to perfect the security
        interests purported to be created by each Security Agreement;

                          (iv)     a Perfection Certificate;

                          (v)      the Notice of Borrowing relating to the Loan in accordance with Section
        2.02(a);

                          (vi)     [the Prepetition ABL Credit Agreement Amendment];8

                          (vii)    [the Intercreditor Agreement Amendment No. 1];9

                         (viii) a certificate of an Authorized Officer of each Loan Party, certifying (A) as
        to copies of the Governing Documents of such Loan Party, together with all amendments thereto
        (including, without limitation, a true and complete copy of the charter, certificate of incorporation,
        certificate of formation, certificate of limited partnership or other publicly filed organizational
        document of each Loan Party certified as of a recent date not more than 30 days prior to the Closing
        Date by an appropriate official of the jurisdiction of organization of such Loan Party which shall
        set forth the same complete name of such Loan Party as is set forth herein and the organizational

7
  NTD: Requirement of copyright security agreement and flow of funds TBD.
8
  NTD: Confirm no bankruptcy order is contemplated with the ABL amendment.
9
  NTD: Subordination of the Prepetition Term Obligations and related Liens shall be set forth in RSA.
                                                        40
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           number of such Loan Party, if an organizational number is issued in such jurisdiction), (B) as to a
           copy of the resolutions or written consents of such Loan Party authorizing (1) the borrowings
           hereunder and the transactions contemplated by the Loan Documents to which such Loan Party is
           or will be a party, and (2) the execution, delivery and performance by such Loan Party of each Loan
           Document to which such Loan Party is or will be a party and the execution and delivery of the other
           documents to be delivered by such Person in connection herewith and therewith, (C) the names and
           true signatures of the representatives of such Loan Party authorized to sign each Loan Document
           (in the case of a Borrower, including, without limitation, the Notice of Borrowing and all other
           notices under this Agreement and the other Loan Documents) to which such Loan Party is or will
           be a party and the other documents to be executed and delivered by such Loan Party in connection
           herewith and therewith, together with evidence of the incumbency of such Authorized Officers and
           (D) as to the matters set forth in Sections 5.01(b);

                          (ix)      a certificate of the appropriate official(s) of the jurisdiction of organization
           of each Loan Party certifying as of a recent date as to the good standing of such Loan Party in such
           jurisdiction;

                           (x)     the results of searches for any effective UCC financing statements, tax
           Liens or judgment Liens filed against any Loan Party or its property, which results shall not show
           any such Liens (other than Permitted Liens acceptable to the Collateral Agent);

                          (xi)     [a customary opinion of counsel to the Loan Parties in form and substance
           reasonably acceptable to the Administrative Agent]10; and

                             (xii)  such other agreements, instruments, approvals and other documents, each
           satisfactory to the Agents in form and substance, as any Agent may reasonably request.

                (d)      All reasonable and documented (in summary form) out-of-pocket fees, costs,
disbursements and expenses, accrued and unpaid as of the Closing Date, of (i) the Administrative Agent
and the Lenders (limited, in the case of counsel, to all reasonable and documented out-of-pocket fees, costs,
disbursements and expenses of King & Spalding LLP (“K&S”), Haynes and Boone LLP (“H&B”), as local
counsel, Mayer Brown LLP (“MB”), as regulatory counsel, and any successor counsels), and (ii) any other
professional advisors retained by the Administrative Agent at the direction of the Required Lenders in their
reasonable discretion, including, but not limited to, Ernst & Young Global Limited, as tax advisor (“E&Y”;
together with K&S, H&B, MB, V&E and any other professional advisor engaged by the Administrative
Agent and/or the Lenders from time to time, the “Lender Advisors”), shall have been paid in full in cash
(which payment may be made from DIP Proceeds), in each case to the extent invoices for any such accrued
and unpaid amounts are provided to the Debtor no later than three (3) Business Day prior to the Closing
Date.

                (e)       [The Administrative Agent shall have received at least five (5) Business Days prior
to the Closing Date, all documentation and other information required by the Administrative Agent and the
Lenders under applicable “know your customer” and anti-money laundering rules and regulations,
including, without limitation, the PATRIOT Act. For all such documentation and information, the
Administrative Agent shall make a request reasonably prior to the deadline to deliver such documentation
or information.




10
     NTD: Subject to ongoing discussion based on timing of DIP facility.
                                                          41
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                  (f)      At least five days prior to the Closing Date, any Loan Party that qualifies as a “legal
entity customer” under the Beneficial Ownership Regulation shall deliver a Beneficial Ownership
Certification in relation to such Loan Party.]11

                 (g)     Subject to entry of the Order, the Collateral Agent, for the benefit of the Lenders,
shall have a valid and perfected Lien on and security interest in the Collateral of the Debtor and the other
Loan Parties on the basis and with the priority set forth herein.

                  (h)      The Bankruptcy Court shall have entered the Order within thirty-two (32) calendar
days after the Petition Date, which Order shall include, without limitation, copies of the DIP Facility as
exhibits thereto, entered on notice to such parties as may be satisfactory to the Required Lenders, (i)
authorizing and approving the DIP Facility and the transactions contemplated thereby, including, without
limitation, the granting of the superpriority status, security interests and priming liens, and the payment of
all fees, referred to herein and therein; (ii) authorizing the lifting or modification of the Automatic Stay to
permit the Borrower to perform its obligations, and the Lenders to exercise their rights and remedies, with
respect to the DIP Facility; (iii) authorizing the use of cash collateral and providing for adequate protection
in favor of the Prepetition Term Lenders, as and to the extent provided herein and therein; and (iv) reflecting
such other terms and conditions that are mutually satisfactory to the Required Lenders and the Debtor, in
their respective discretion in each case, which Order shall be in full force and effect, shall not have been
reversed, vacated or stayed and shall not have been amended, supplemented or otherwise modified without
the prior written consent of the Administrative Agent at the direction of the Required Lenders, which
consent shall not be unreasonably withheld, delayed or conditioned.

                 (i)    The Loan Parties shall have entered into the restructuring support agreement,
which shall be in form and substance acceptable to the Required Lenders (the “RSA”) with the requisite
Prepetition Term Lenders in accordance with its terms and the RSA shall otherwise become effective as to
such parties, and the RSA shall continue to be in full force and effect according to its terms.

                (j)      On the Closing Date, the Prepetition ABL Loan Documents shall remain in full
force and effect [and the entities identified as “Borrowers” thereunder are entitled to continue to borrow
thereunder.]

                (k)    The Administrative Agent shall have received a Notice of Borrowing relating to
the Loan in accordance with Section 2.02.

                  (l)     The Bankruptcy Court shall have entered an order, in form and substance
satisfactory to the Required Lenders, confirming the Bankruptcy Plan, and such order shall be in full force
and effect, shall not have been reversed, vacated or stayed and shall not have been amended, supplemented
or otherwise modified without the prior written consent of the Required Lenders.

                                                    ARTICLE VI

                                  REPRESENTATIONS AND WARRANTIES

                 Section 6.01    Representations and Warranties. Each Loan Party hereby represents and
warrants to the Secured Parties as follows:

                (a)     Organization, Good Standing, Etc. Each Loan Party (i) is a corporation, limited
liability company or limited partnership duly organized, validly existing and in good standing under the
11
     NTD: Confirm satisfied based on existing credit facility.
                                                            42
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laws of the state or jurisdiction of its organization, (ii) subject to the entry by the Bankruptcy Court of the
applicable Order in respect of the Borrower, has all requisite power and authority to conduct its business as
now conducted and as presently contemplated and, in the case of the Borrower, to make the borrowings
hereunder, and to execute and deliver each Loan Document to which it is a party, and to consummate the
transactions contemplated thereby, and (iii) is duly qualified to do business and is in good standing in each
jurisdiction in which the character of the properties owned or leased by it or in which the transaction of its
business makes such qualification necessary, except (solely for the purposes of this subclause (iii)) where
the failure to be so qualified and in good standing would reasonably be expected to have a Material Adverse
Effect.

                  (b)     Authorization, Etc. Subject to the entry by the Bankruptcy Court of the applicable
Order in respect of the Borrower and other than the Known Events, the execution, delivery and performance
by each Loan Party of each Loan Document to which it is or will be a party, (i) have been duly authorized
by all necessary action, (ii) do not and will not contravene (A) any of its Governing Documents, (B) any
applicable material Requirement of Law or (C) any material Contractual Obligation binding on or otherwise
affecting it or any of its properties, (iii) do not and will not result in or require the creation of any Lien
(other than pursuant to any Loan Document or any restrictions arising on account of the Borrower’s status
as a “debtor” under the Bankruptcy Code) upon or with respect to any of its properties, and (iv) do not and
will not result in any default, noncompliance, suspension, revocation, impairment, forfeiture or nonrenewal
of any permit, license, authorization or approval applicable to its operations or any of its properties.

                  (c)     Governmental Approvals. No authorization or approval or other action by, and no
notice to or filing with, any Governmental Authority is required in connection with the due execution,
delivery and performance by any Loan Party of any Loan Document to which it is or will be a party other
than (i) filings and recordings with respect to Collateral to be made, or otherwise delivered to the Collateral
Agent for filing or recordation, to perfect the Liens or (ii) the Order.

                 (d)     Enforceability of Loan Documents. Subject to the entry by the Bankruptcy Court
of the applicable Order in respect of the Borrower, this Agreement is, and each other Loan Document to
which any Loan Party is or will be a party, when delivered hereunder, will be, a legal, valid and binding
obligation of such Person, enforceable against such Person in accordance with its terms, except as
enforceability may be limited by applicable bankruptcy, insolvency, reorganization, moratorium or other
similar laws affecting the enforcement of creditors’ rights generally and by general principles of equity.

                  (e)     Capitalization. On the Closing Date, after giving effect to the transactions
contemplated hereby to occur on the Closing Date, the authorized Equity Interests of the Borrower and each
of its Subsidiaries and the issued and outstanding Equity Interests of the Borrower and each of its
Subsidiaries are as set forth on Schedule 6.01(e). All of the issued and outstanding shares of Equity Interests
of the Borrower and each of its Subsidiaries have been validly issued and are fully paid and nonassessable,
and the holders thereof are not entitled to any preemptive, first refusal or other similar rights. All Equity
Interests of such Subsidiaries of the Borrower are owned by the Borrower free and clear of all Liens (other
than Permitted Liens). Except as described on Schedule 6.01(e), there are no outstanding debt or equity
securities of the Borrower or any of its Subsidiaries and no outstanding obligations of the Borrower or any
of its Subsidiaries convertible into or exchangeable for, or warrants, options or other rights for the purchase
or acquisition from the Borrower or any of its Subsidiaries, or other obligations of the Borrower or any of
its Subsidiaries to issue, directly or indirectly, any shares of Equity Interests of the Borrower or any of its
Subsidiaries.

                (f)    Litigation. Other than the Known Events, there is no pending or, to the best
knowledge of any Loan Party, threatened action, suit or proceeding affecting any Loan Party or any of its
properties before any court or other Governmental Authority or any arbitrator that (i) if adversely
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determined, could reasonably be expected to have a Material Adverse Effect or (ii) relates to this
Agreement, any other Loan Document, or any transaction contemplated hereby or thereby.

                (g)      Financial Condition.

                          (i)     The financial statements for (x) the Fiscal Year ending December 31, 2020
        and (y) for the fiscal quarter ending March 31, 2021, copies of which have been delivered to each
        Agent and each Lender, have been prepared in accordance with GAAP applied on a consistent basis
        during the period covered by such financial statements, subject, in the case of the interim financial
        statements, to normal year-end audit adjustments and the absence of notes, and fairly present in all
        material respects the consolidated financial condition of Borrower and its Subsidiaries at the dates
        therein indicated and the consolidated results of operations and cash flows of Borrower and its
        Subsidiaries for the periods therein specified, in each case in accordance with GAAP, except that
        the interim financial statements do not contain footnotes and are subject to normal year-end audit
        adjustments.

                       (ii)     Since the Petition Date (other than the Known Events), no event, change,
        development or condition has occurred that has had or could reasonably be expected to have a
        Material Adverse Effect.

                         (iii)   On the Closing Date, to the knowledge of the Borrower, the information
        included in the Beneficial Ownership Certification is true and correct in all respects.

                (h)     Compliance with Law, Etc. Subject to the entry of the Order in respect of the
Borrower, as applicable, no Loan Party or any of its Subsidiaries is in violation of (i) any of its Governing
Documents, (ii) any material Requirement of Law or (iii) any material term of any Material Contract
binding on or otherwise affecting it or any of its properties, and no default or event of default has occurred
and is continuing thereunder, except, in each case, to the extent such violation, default or event of default
would not reasonably be likely to have a Material Adverse Effect.

                 (i)     ERISA. No Loan Party nor any of its ERISA Affiliates contributes to, sponsors,
maintains or has an obligation to contribute to or maintain any Multiemployer Plan or Employee Plan and
has not at any time prior to the date hereof established, sponsored or maintained, been a party to and has
not at any time prior to the date hereof contributed or been obligated to contribute to or maintain any
Multiemployer Plan or Employee Plan. No Termination Event has occurred, except as required by
Section 4980B of the Internal Revenue Code, no Loan Party or any of its ERISA Affiliates maintains an
employee welfare benefit plan (as defined in Section 3(1) of ERISA) which provides health or welfare
benefits (through the purchase of insurance or otherwise) for any retired or former employee of any Loan
Party or any of its ERISA Affiliates or coverage after a participant’s termination of employment.

                 (j)      Taxes, Etc. (i) All Federal and material provincial, state and local tax returns and
other reports required by applicable Requirements of Law to be filed by any Loan Party have been filed, or
extensions have been obtained, and (ii) all taxes, assessments and other governmental charges imposed
upon any Loan Party or any property of any Loan Party in an aggregate amount for all such taxes,
assessments and other governmental charges exceeding $250,000 and which have become due and payable
on or prior to the date hereof have been paid, except to the extent excused by the Bankruptcy Court or as a
result of the Chapter 11 Case contested in good faith by proper proceedings which stay the imposition of
any penalty, fine or Lien resulting from the non-payment thereof and with respect to which adequate
reserves have been set aside for the payment thereof on the Financial Statements in accordance with GAAP.


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                  (k)     Regulations T, U and X. No Loan Party is or will be engaged in the business of
extending credit for the purpose of purchasing or carrying margin stock (within the meaning of Regulation
T, U or X), and no proceeds of any Loan will be used to purchase or carry any margin stock or to extend
credit to others for the purpose of purchasing or carrying any margin stock or for any purpose that violates,
or is inconsistent with, the provisions of Regulation T, U and X.

                 (l)      Nature of Business.

                        (i)        No Loan Party is engaged in any business other than as set forth on
        Schedule 6.01(l).

                        (ii)    The Borrower does not have any material liabilities (other than liabilities
        arising under the Loan Documents, the Prepetition ABL Loan Documents, the Prepetition Term
        Loan Documents or the Parent Company Agreement), own any material assets (other than the
        Equity Interests of its Subsidiaries) or engage in any operations or business (other than the
        ownership of its Subsidiaries).

                        (iii)   GC Midco does not have any material liabilities (other than liabilities
        arising under the Loan Documents, the Prepetition ABL Loan Documents, the Prepetition Term
        Loan Documents and other Contingent Indemnity Obligations made in the ordinary course of
        business), own any material assets (other than the Equity Interests of its Subsidiaries) or engage in
        any operations or business (other than the ownership of its Subsidiaries).

                 (m)     Adverse Agreements, Etc. No Loan Party or any of its Subsidiaries is a party to
any Contractual Obligation or subject to any restriction or limitation in any Governing Document or any
judgment, order, regulation, ruling or other requirement of a court or other Governmental Authority, which
(either individually or in the aggregate) has, or in the future could reasonably be expected (either
individually or in the aggregate) to have, a Material Adverse Effect.

                 (n)      Permits, Etc. Other than as a result of the Chapter 11 Case and subject to any
necessary orders or authorization of the Bankruptcy Court, each Loan Party has, and is in compliance with,
all permits, licenses, authorizations, approvals, entitlements and accreditations required for such Person
lawfully to own, lease, manage or operate, or to acquire, each business and Facility currently owned, leased,
managed or operated, or to be acquired, by such Person, except to the extent the failure to have or be in
compliance therewith could not reasonably be expected to have a Material Adverse Effect. Other than as a
result of the Chapter 11 Case and subject to any necessary orders or authorization of the Bankruptcy Court,
no condition exists or event has occurred which, in itself or with the giving of notice or lapse of time or
both, would result in the suspension, revocation, impairment, forfeiture or non-renewal of any such permit,
license, authorization, approval, entitlement or accreditation that would, individually or in the aggregate,
reasonably be expected to have a Material Adverse Effect, and there is no claim that any thereof is not in
full force and effect where such claims, if determined adversely to any Loan Party, individually or in the
aggregate, would reasonably be expected to have a Material Adverse Effect.

                 (o)      Properties. Other than as a result of the Chapter 11 Case and subject to any
necessary orders or authorization of the Bankruptcy Court, each Loan Party has good and marketable title
to, valid leasehold interests in, or valid licenses to use, all property and assets material to its business, free
and clear of all Liens, except Permitted Liens. All such properties and assets are in good working order
and condition, ordinary wear and tear excepted.

               (p)   Employee and Labor Matters. There is (i) no unfair labor practice complaint
pending or, to the knowledge of any Loan Party, threatened against any Loan Party before any
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Governmental Authority, and no grievance or arbitration proceeding pending or threatened against any
Loan Party, which, in each case, arises out of or under any collective bargaining agreement, (ii) no strike,
labor dispute, slowdown, stoppage or similar action or grievance pending or, to the knowledge of any Loan
Party, threatened against any Loan Party or (iii) to the knowledge of each Loan Party, no union
representation question existing with respect to the employees of any Loan Party and no union organizing
activity taking place with respect to any of the employees of any Loan Party. As of the date hereof, no
Loan Party or any of its ERISA Affiliates has incurred any liability or obligation under the Worker
Adjustment and Retraining Notification Act (“WARN”) or similar state law, which remains unpaid or
unsatisfied.

                  (q)     Environmental Matters. Except for those items as set forth on Schedule 6.01(q),
(i) the operations of each Loan Party are in compliance with all Environmental Laws, except to the extent
any noncompliance would not reasonably be expected to have a Material Adverse Effect; (ii) there has been
no Release at any of the properties owned or operated by any Loan Party or a predecessor in interest, or at
any disposal or treatment facility which received Hazardous Materials generated by any Loan Party or any
predecessor in interest which would reasonably be expected to have a Material Adverse Effect; (iii) no
Environmental Action has been asserted against any Loan Party nor does any Loan Party have knowledge
or notice of any threatened or pending Environmental Action against any Loan Party which would
reasonably be expected to have a Material Adverse Effect; (iv) no Environmental Actions have been
asserted against any facilities that may have received Hazardous Materials generated by any Loan Party
which would reasonably be expected to have a Material Adverse Effect; (v) no property now owned or
operated by a Loan Party has been used as a treatment or disposal site for any Hazardous Material which
would reasonably be expected to have a Material Adverse Effect; (vi) no Loan Party has failed to report to
the proper Governmental Authority any Release which is required to be so reported by any Environmental
Laws which would reasonably be expected to have a Material Adverse Effect; (vii) each Loan Party holds
all licenses, permits and approvals required under any Environmental Laws in connection with the operation
of the business carried on by it, except for such licenses, permits and approvals as to which a Loan Party’s
failure to maintain or comply with would not reasonably be expected to have a Material Adverse Effect;
and (viii) no Loan Party has received any notification pursuant to any Environmental Laws that (A) any
work, repairs, construction or Capital Expenditures are required to be made in respect as a condition of
continued compliance with any Environmental Laws, or any license, permit or approval issued pursuant
thereto or (B) any license, permit or approval referred to above is about to be reviewed, made, subject to
limitations or conditions, revoked, withdrawn or terminated, in each case, except as would not reasonably
be expected to have a Material Adverse Effect.

                 (r)     Insurance. Each Loan Party maintains the insurance and required services and
financial assurance as required by law and as required by Section 7.01(h). Schedule 6.01(r) sets forth a list
of all insurance maintained by each Loan Party on the Closing Date.

               (s)       Use of Proceeds. The proceeds of the Loans shall be used in accordance with
Section 7.01(m).

                 (t)     Chapter 11 Case. The Chapter 11 Case was commenced on the Petition Date in
accordance with applicable law and the Bankruptcy Court has determined that proper or sufficient notice
has been or will be given of the motion seeking approval of the Loan Documents, the Order, and the hearing
for the entry of the Order, to the extent notice is required to be given under the Bankruptcy Code or
applicable law.

                (u)     Intellectual Property. Except as set forth on Schedule 6.01(u), other than as a result
of the Chapter 11 Case and subject to any necessary orders or authorization of the Bankruptcy Court, each
Loan Party owns or licenses or otherwise has the right to use all Intellectual Property rights that are
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necessary for the operation of its business, without infringement upon or conflict with the rights of any
other Person with respect thereto, except for such infringements and conflicts which, individually or in the
aggregate, could not reasonably be expected to have a Material Adverse Effect. Set forth on
Schedule 6.01(u) is a complete and accurate list as of the Closing Date of each item of Registered
Intellectual Property owned by each Loan Party; (ii) each material work of authorship owned by each Loan
party and which is not Registered Intellectual Property, and (iii) each material Intellectual Property Contract
to which each Loan Party is bound. No trademark or other advertising device, product, process, method,
substance, part or other material now employed, or now contemplated to be employed, by any Loan Party
infringes upon or conflicts with any rights owned by any other Person, and no claim or litigation regarding
any of the foregoing is pending or threatened, except for such infringements and conflicts which could not
reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect. To the
knowledge of each Loan Party, no patent, invention, device, application, principle or any statute, law, rule,
regulation, standard or code pertaining to Intellectual Property is pending or proposed, which, individually
or in the aggregate, could reasonably be expected to have a Material Adverse Effect.

                 (v)      Material Contracts. Set forth on Schedule 6.01(v) is a complete and accurate list
as of the Closing Date of all Material Contracts of each Loan Party, showing the parties and subject matter
thereof and amendments and modifications thereto. Each such Material Contract (i) is in full force and
effect and is binding upon and enforceable against each Loan Party that is a party thereto and, to the best
knowledge of such Loan Party, all other parties thereto in accordance with its terms, (ii) has not been
otherwise amended or modified, and (iii) except as set forth on Schedule 6.01(v), other than as a result of
the Chapter 11 Case and subject to any necessary orders or authorization of the Bankruptcy Court, is not in
default due to the action of any Loan Party or, to the knowledge of any Loan Party, any other party thereto,
to the extent that the non-Loan Party counterparty thereto has the right to terminate its obligations under
such Material Contract (other than a right to terminate for convenience) as a result of such default.

                (w)     Investment Company Act. None of the Loan Parties is (i) an “investment
company” or an “affiliated person” or “promoter” of, or “principal underwriter” of or for, an “investment
company”, as such terms are defined in the Investment Company Act of 1940, as amended, or (ii) subject
to regulation under any Requirement of Law that limits in any respect its ability to incur Indebtedness or
which may otherwise render all or a portion of the Obligations unenforceable.

                 (x)     Security Interest. This Agreement, the Order and the other Loan Documents,
subject to entry of the Order in respect of the Borrower, are effective to create in favor of the Collateral
Agent, subject to the Carve-Out for the benefit of the Secured Parties legal, valid and enforceable Collateral
and continuing first-priority Liens on, and security interests in, the Collateral pledged hereunder or
thereunder, in each case, with respect to priority, subject to no Liens other than Permitted Priority Liens
with the relative priorities granted pursuant to the terms of the Order and the other Loan Documents.
Pursuant to the terms of the Order, no filing or other action will be necessary to perfect or protect such
Liens and security interests in respect of the Borrower’s Obligations. Pursuant to and to the extent provided
in the Order, the Indebtedness of the Debtor under this Agreement will constitute part of the Superpriority
DIP Claim.

                 (y)     [Reserved].

                 (z)     Anti-Money Laundering and Anti-Terrorism Laws.

                          (i)     None of the Loan Parties, nor any Affiliate of any of the Loan Parties, has
        violated or is in violation of any of the Anti-Money Laundering and Anti-Terrorism Laws or has
        engaged in or conspired to engage in any transaction that evades or avoids, or has the purpose of

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        evading or avoiding, or attempts to violate, any of the Anti-Money Laundering and Anti-Terrorism
        Laws.

                         (ii)     None of the Loan Parties, nor any Affiliate of any of the Loan Parties, nor
        any officer, director or principal shareholder or owner of any of the Loan Parties, nor any of the
        Loan Parties’ respective agents acting or benefiting in any capacity in connection with the Loans
        or other transactions hereunder, is a Blocked Person.

                         (iii)   None of the Loan Parties, nor any of their agents acting in any capacity in
        connection with the Loans or other transactions hereunder, (A) conducts any business with or for
        the benefit of any Blocked Person or engages in making or receiving any contribution of funds,
        goods or services to, from or for the benefit of any Blocked Person, or (B) deals in, or otherwise
        engages in any transaction relating to, any property or interests in property blocked or subject to
        blocking pursuant to any OFAC Sanctions Programs.

                 (aa)    Anti-Bribery and Anti-Corruption Laws.

                         (i)     The Loan Parties are in compliance with the U.S. Foreign Corrupt
        Practices Act of 1977, as amended (the “FCPA”), the UK Bribery Act (the “UK Act”) and the anti-
        bribery and anti-corruption laws of those jurisdictions in which they do business (collectively, the
        “Anti-Corruption Laws”).

                         (ii)     None of the Loan Parties has at any time:

                                   (A)      offered, promised, paid, given, or authorized the payment or
                 giving of any money, gift or other thing of value, directly or indirectly, to or for the benefit
                 of any employee, official, representative, or other person acting on behalf of any foreign
                 (i.e., non- U.S.) Governmental Authority thereof, or of any public international
                 organization, or any foreign political party or official thereof, or candidate for foreign
                 political office (collectively, “Foreign Official”), for the purpose of: (1) influencing any
                 act or decision of such Foreign Official in his, her, or its official capacity; or (2) inducing
                 such Foreign Official to do, or omit to do, an act in violation of the lawful duty of such
                 Foreign Official, or (3) securing any improper advantage, in order to obtain or retain
                 business for, or with, or to direct business to, any Person; or

                                 (B)       acted or attempted to act in any manner which would subject any
                 of the Loan Parties to liability under any Anti-Corruption Law.

                         (iii)   There are, and have been, no allegations, investigations or inquiries with
        regard to a potential violation of any Anti-Corruption Law by any of the Loan Parties or any of
        their respective current or former directors, officers, employees, stockholders or agents, or other
        persons acting or purporting to act on their behalf.

                         (iv)    The Loan Parties have adopted, implemented and maintain anti- bribery
        and anti-corruption policies and procedures that are reasonably designed to ensure compliance with
        the Anti-Corruption Laws.

                  (bb)     Full Disclosure. Each Loan Party has disclosed to the Agents all agreements,
instruments and corporate or other restrictions to which it is subject, and all other matters known to it, that,
individually or in the aggregate, could reasonably be expected to result in a Material Adverse Effect. None
of the reports, financial statements, certificates or other information furnished by or on behalf of any Loan
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Party to the Agents (other than forward-looking information and projections and information of a general
economic nature and general information about Borrower’s industry) in connection with the negotiation of
this Agreement or delivered hereunder (as modified or supplemented by other information so furnished)
contains any material misstatement of fact or omits to state any material fact necessary to make the
statements therein, in the light of the circumstances under which it was made, not misleading.

                 (cc)    Order. As of the date of the Closing Date, the Debtor is in compliance in all
material respects with the terms and conditions of the Order. The Order is in full force and effect, shall not
have been reversed, vacated or stayed and shall not have been amended, supplemented or otherwise
modified without the prior written consent of the Administrative Agent acting at the direction of the
Required Lenders, and solely with respect to terms and provisions affecting the rights, protections, duties
or obligations of the Agents, the Administrative Agent in its sole and absolute discretion, in each case,
except for any such modification, stay, vacation, reversal, rescindment or amendment that is reversed within
three (3) Business Days.

               (dd)   No Default. No Loan Party nor any of their Subsidiaries are in default under any
of the Loan Documents and no Event of Default exist and is continuing.

                                              ARTICLE VII

                          ARTICLE VII COVENANTS OF THE LOAN PARTIES

                Section 7.01    Affirmative Covenants. So long as any principal of or interest on any Loan
or any other Obligation (whether or not due) shall remain unpaid (other than Contingent Indemnity
Obligations) or any Lender shall have any DIP Loan Commitment hereunder, each Loan Party will, unless
the Required Lenders shall otherwise consent in writing:

                    (a)      Reporting Requirements. Furnish to each Agent:12

                            (i)      as soon as available, and in any event within 45 days after the end of each
           fiscal month of the Borrower and its Subsidiaries, commencing with the fiscal month ending [●],
           internally prepared consolidated and consolidating balance sheets, statements of operations and
           retained earnings and statements of cash flows as at the end of such fiscal month, and for the period
           commencing at the end of the immediately preceding Fiscal Year and ending with the end of such
           fiscal month, setting forth in each case in comparative form the figures for the corresponding date
           or period set forth in the financial statements for the immediately preceding Fiscal Year, all in
           reasonable detail and certified by an Authorized Officer of the Borrower as fairly presenting, in all
           material respects, the financial position of the Borrower and its Subsidiaries as at the end of such
           fiscal month and the results of operations, retained earnings and cash flows of the Borrower and its
           Subsidiaries for such fiscal month and for such year-to-date period, in accordance with GAAP
           applied in a manner consistent with that of the most recent audited financial statements furnished
           to the Agents and the Lenders, subject to the absence of footnotes and normal year-end adjustments;

                             (ii)    as soon as available and in any event within 45 days after the end of each
           fiscal quarter of the Borrower and its Subsidiaries, commencing with the fiscal quarter ending [●],
           consolidated and consolidating balance sheets, statements of operations and retained earnings and
           statements of cash flows of the Borrower and its Subsidiaries as at the end of such quarter, and for
           the period commencing at the end of the immediately preceding Fiscal Year and ending with the


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     NTD: To be updated based on timing of filing and closing.
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end of such quarter, setting forth in each case in comparative form the figures for the corresponding
date or period set forth in the financial statements for the immediately preceding Fiscal Year, all in
reasonable detail and certified by an Authorized Officer of the Borrower as fairly presenting, in all
material respects, the financial position of the Borrower and its Subsidiaries as of the end of such
quarter and the results of operations and cash flows of the Borrower and its Subsidiaries for such
quarter and for such year-to-date period, in accordance with GAAP applied in a manner consistent
with that of the most recent audited financial statements of the Parent and its Subsidiaries furnished
to the Agents and the Lenders, subject to the absence of footnotes and normal year-end adjustments;

                (iii)   simultaneously with the delivery of the financial statements of the
Borrower and its Subsidiaries required by clauses (i) and (ii) of this Section 7.01(a), a certificate of
an Authorized Officer of the Borrower (a “Compliance Certificate”):

                        (A)      stating that such Authorized Officer has no knowledge of, the
        occurrence and continuance during such period of an Event of Default or Default or, if an
        Event of Default or Default had occurred and continued or is continuing, describing the
        nature and period of existence thereof and the action which the Borrower and its
        Subsidiaries propose to take or have taken with respect thereto; and

                         (B)      in the case of the delivery of the financial statements of the
        Borrower and its Subsidiaries required by clauses (i) and (ii) of this Section 7.01(a),
        including a business segment financial report and a key performance indicator report for
        the applicable period, in each case, in form and substance substantially similar to the form
        of the business segment financial report and a key performance indicator report delivered
        by the Borrower to the Agents prior to the Closing Date;

                (iv)   promptly (v) after delivery or receipt thereof: (A) copies of all reports
(including borrowing base certificates and all accounts receivable agings) and default notices
delivered to or received from the Prepetition ABL Agent under any Prepetition ABL Loan
Documents and (B) copies of any amendments, waivers, consents or other modifications to any
Prepetition ABL Loan Documents.

                 (v)      [Reserved];

                 (vi)     [Reserved];

                (vii)     as soon as possible, and in any event within 3 Business Days after the any
Loan Party has knowledge of the occurrence of an Event of Default or Default or the occurrence of
any event or development that could reasonably be expected to have a Material Adverse Effect, the
written statement of an Authorized Officer of the Borrower setting forth the details of such Event
of Default or Default or other event or development having a Material Adverse Effect and the action
which the affected Loan Party proposes to take with respect thereto;

                 (viii) promptly after the commencement thereof but in any event not later than
5 days after service of process with respect thereto on, or the obtaining of knowledge thereof by,
any Loan Party, notice of each action, suit or proceeding before any court or other Governmental
Authority or other regulatory body or any arbitrator which, if adversely determined, could
reasonably be expected to have a Material Adverse Effect, or any litigation, investigation or
proceeding with respect to the DIP Facility;


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                (ix)     as soon as possible and in any event within 5 Business Days after
execution, receipt or delivery thereof, copies of any notice or report with respect to an event or
matter that is materially adverse to the Agents and the Lenders that any Loan Party executes or
receives in connection with any Material Contract;

                  (x)      as soon as possible and in any event within 5 Business Days after
execution, receipt or delivery thereof, copies of any material notices that any Loan Party executes
or receives in connection with the sale or other Disposition of the Equity Interests of, or all or
substantially all of the assets of, any Loan Party;

                (xi)    promptly after (A) the sending or filing thereof, copies of all statements,
reports and other information any Loan Party sends to any holders of its Indebtedness the
outstanding principal amount of which equals or exceeds $5,000,000 or its securities or files with
the SEC or any national (domestic or foreign) securities exchange and (B) the receipt thereof, a
copy of any material notice received from any holder of its Indebtedness;

                (xii)  promptly upon receipt thereof, copies of all financial reports (including,
without limitation, management letters), if any, submitted to any Loan Party by its auditors in
connection with any annual or interim audit of the books thereof;

                 (xiii) promptly upon request, any certification or other evidence reasonably
requested from time to time by any Lender confirming the Borrower’s compliance with
Section 7.02(s);

                  (xiv) simultaneously with the delivery of the financial statements of the
Borrower and its Subsidiaries required by clauses (i) and (ii) of this Section 7.01(a), if, as a result
of any change in accounting principles and policies from those used in the preparation of the
Financial Statements that is permitted by Section 7.02(q), the consolidated financial statements of
the Borrower and its Subsidiaries delivered pursuant to clauses (i) and (ii) of this Section 7.01(a)
will differ from the consolidated financial statements that would have been delivered pursuant to
such subdivisions had no such change in accounting principles and policies been made, then,
together with the first delivery of such financial statements after such change, one or more
statements of reconciliation for all such prior financial statements in form and substance
satisfactory to the Agents; and

                 (xv)    promptly upon request, such other information concerning the condition
or operations, financial or otherwise, of any Loan Party as any Agent may from time to time
reasonably request.

        (b)      Additional Guarantors and Collateral Security. Cause:

                 (i)      each Subsidiary of any Loan Party not in existence on the Closing Date,
to execute and deliver to the Collateral Agent promptly and in any event within 5 Business Days
(or such longer period agreed to by the Agent in its sole discretion) after the formation, acquisition
or change in status thereof, (A) a Joinder Agreement, pursuant to which such Subsidiary shall be
made a party to this Agreement as a Guarantor, (B) a supplement to the Security Agreement,
together with, to the extent requested by the Collateral Agent, (1) certificates evidencing all of the
Equity Interests of any Person owned by such Subsidiary required to be pledged under the terms of
the Security Agreement and (2) undated stock powers for such Equity Interests executed in blank,
(C) to the extent requested by the Collateral Agent, one or more Mortgages creating on the real
property of such Subsidiary a perfected, first priority Lien (in terms of priority, subject only to
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        Permitted Priority Liens) on such real property and such other Real Property Deliverables as may
        be required by the Collateral Agent with respect to each such real property, (D) to the extent
        requested by the Collateral Agent, insurance certificates evidencing the insurance coverage of the
        Loan Parties required by Section 7.01(h) and endorsements naming the Collateral Agent as an
        additional insured or loss payee, and (E) such other agreements, instruments, approvals or other
        documents reasonably requested by the Collateral Agent in order to create, perfect, establish the
        first priority of or otherwise protect any Lien purported to be covered by any such Security
        Agreement or Mortgage or otherwise to effect the intent that such Subsidiary shall become bound
        by all of the terms, covenants and agreements contained in the Loan Documents and that all
        property and assets of such Subsidiary shall become Collateral for the Obligations; and

                          (ii)   to the extent requested by the Collateral Agent, each owner of the Equity
        Interests of any such Subsidiary to execute and deliver promptly and in any event within 5 Business
        Days (or such longer period agreed to by the Agent in its sole discretion) after the formation or
        acquisition of such Subsidiary a Pledge Amendment (as defined in the Security Agreement),
        together with (A) certificates evidencing all of the Equity Interests of such Subsidiary required to
        be pledged under the terms of the Security Agreement, (B) undated stock powers or other
        appropriate instruments of assignment for such Equity Interests executed in blank with signature
        guaranteed, and (C) such other agreements, instruments, approvals or other documents requested
        by the Collateral Agent.

                (c)      Compliance with Laws; Payment of Taxes.

                         (i)     Subject to any necessary Bankruptcy Court approval, comply, and cause
        each of its Subsidiaries to comply, in all material respects, with all applicable material
        Requirements of Law (including, without limitation, all Environmental Laws), judgments and
        awards (including any settlement of any claim that, if breached, could give rise to any of the
        foregoing), except where the failure to so comply could not reasonably be expected to result,
        individually or in the aggregate, in liabilities in excess of $100,000 or excused by, or otherwise
        prohibited by, the provision of the Bankruptcy Code or as a result of the Chapter 11 cases.

                          (ii)    Subject to any approval by the Bankruptcy Court, pay, and cause each of
        its Subsidiaries to pay, in full before delinquency or before the expiration of any extension period,
        all taxes, assessments and other governmental charges imposed upon any Loan Party or any of its
        Subsidiaries or any property of any Loan Party or any of its Subsidiaries in an aggregate amount
        for all such taxes, assessments and other governmental charges exceeding $500,000, except to the
        extent contested in good faith by proper proceedings which stay the imposition of any penalty, fine
        or Lien resulting from the non-payment thereof and with respect to which adequate reserves have
        been set aside for the payment thereof to the extent required in accordance with GAAP or excused
        by, or otherwise prohibited by, the provision of the Bankruptcy Code or as a result of the Chapter
        11 cases.

                 (d)     Preservation of Existence, Etc. Maintain and preserve, and cause each of its
Subsidiaries to maintain and preserve, its existence, rights and privileges, and become or remain, and cause
each of its Subsidiaries to become or remain, duly qualified and in good standing in each jurisdiction in
which the character of the properties owned or leased by it or in which the transaction of its business makes
such qualification necessary, except to the extent that the failure to be so qualified could not reasonably be
expected to have a Material Adverse Effect.

                 (e)     Keeping of Records and Books of Account. Keep, and cause each of its
Subsidiaries to keep, (a) adequate records and books of account, with complete entries made to permit the
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preparation of financial statements in accordance with GAAP and (b) all such records and books at the
Houston Facility.

                 (f)     Inspection Rights. Permit, and cause each of its Subsidiaries to permit, the agents
and representatives of any Agent at any time and from time to time during normal business hours and, in
the absence of an Event of Default, upon reasonable prior notice, at the expense of the Borrower, to examine
and make copies of and abstracts from its records and books of account, to visit and inspect its properties,
to verify materials, leases, notes, accounts receivable, deposit accounts and its other assets, to conduct
audits, physical counts, valuations, appraisals, Phase I Environmental Site Assessments (and, if requested
by the Collateral Agent based upon the results of any such Phase I Environmental Site Assessment, a Phase
II Environmental Site Assessment) or examinations and to discuss its affairs, finances and accounts with
any of its directors, officers, managerial employees, independent accountants or any of its other
representatives. In furtherance of the foregoing, the Borrower hereby authorizes its independent
accountants, and the independent accountants of each of its Subsidiaries, to discuss the affairs, finances and
accounts of such Person (independently or together with representatives of such Person) with the agents
and representatives of any Agent in accordance with this Section 7.01(f).

                  (g)     Maintenance of Properties, Etc. Subject to any necessary order or authorization
from the Bankruptcy Court, maintain and preserve, and cause each of its Subsidiaries to maintain and
preserve, all of its properties which are necessary in the proper conduct of its business in good working
order and condition, ordinary wear and tear and casualty excepted, and, comply, and cause each of its
Subsidiaries to comply, at all times with the provisions of all leases to which it is a party as lessee or under
which it occupies property, so as to prevent any loss or forfeiture thereof or thereunder, except to the extent
the failure to so maintain and preserve or so comply could not reasonably be expected to have a Material
Adverse Effect or for the rejection of any contract in connection with the pendency of the Chapter 11 case
that is permitted pursuant to the Bankruptcy Plan.

                 (h)     Maintenance of Insurance. Maintain, and cause each of its Subsidiaries to
maintain, insurance with responsible and reputable insurance companies or associations (including, without
limitation, comprehensive general liability, hazard, worker’s compensation and business interruption
insurance) with respect to its properties (including all real properties leased or owned by it) and business,
in such amounts and covering such risks as is required by any Governmental Authority having jurisdiction
with respect thereto or as is carried generally in accordance with sound business practice by companies in
similar businesses similarly situated and in any event in amount, adequacy and scope reasonably
satisfactory to the Collateral Agent (at the direction of the Required Lenders). All policies covering the
Collateral are to be made payable to the Collateral Agent for the benefit of the Agents and the Lenders, as
its interests may appear, in case of loss, under a standard non-contributory “lender” or “secured party”
clause and are to contain such other provisions as the Collateral Agent may reasonably require to fully
protect the Lenders’ interest in the Collateral and to any payments to be made under such policies. If
requested by the Collateral Agent pursuant to Section 7.01(b)(i)(D), all certificates of insurance delivered
to the Collateral Agent and the policies are to be premium prepaid, with the loss payable and additional
insured endorsement in favor of the Collateral Agent and such other Persons as the Collateral Agent may
designate from time to time, and shall provide for not less than 30 days’ (10 days’ in the case of non-
payment) prior written notice to the Collateral Agent of the exercise of any right of cancellation. If any
Loan Party or any of its Subsidiaries fails to maintain such insurance, the Collateral Agent (at the direction
of the Required Lenders) may arrange for such insurance, but at the Borrower’s expense and without any
responsibility on the Collateral Agent’s part for obtaining the insurance, the solvency of the insurance
companies, the adequacy of the coverage, or the collection of claims. Upon the occurrence and during the
continuance of an Event of Default, the Collateral Agent shall have the sole right, in the name of the
Lenders, any Loan Party and its Subsidiaries, to file claims under any insurance policies, to receive, receipt
and give acquittance for any payments that may be payable thereunder, and to execute any and all
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endorsements, receipts, releases, assignments, reassignments or other documents that may be necessary to
effect the collection, compromise or settlement of any claims under any such insurance policies.

                 (i)      Obtaining of Permits, Etc. Obtain, maintain and preserve, and cause each of its
Subsidiaries to obtain, maintain and preserve, and take all necessary action to timely renew, all permits,
licenses, authorizations, approvals, entitlements and accreditations that are necessary or useful in the proper
conduct of its business, in each case, except to the extent the failure to obtain, maintain, preserve or take
such action could not reasonably be expected to have a Material Adverse Effect or other than as a result of
the Chapter 11 case and subject to any necessary orders of authorization of the Bankruptcy Court.

                 (j)      Environmental. Other than as a result of the Chapter 11 case and subject to any
necessary orders of authorization of the Bankruptcy Court (i) keep any property either owned or operated
by it or any of its Subsidiaries free of any Environmental Liens; (ii) comply, and cause each of its
Subsidiaries to comply, with all Environmental Laws, to the extent any noncompliance would reasonably
be expected to have a Material Adverse Effect, and provide to the Collateral Agent any documentation of
such compliance which the Collateral Agent may reasonably request; (iii) provide the Agents written notice
within 5 days of any knowledge by the Borrower of any Release of a Hazardous Material in excess of any
reportable quantity from or onto property at any time owned or operated by it or any of its Subsidiaries and
take any Remedial Actions required to abate said Release; and (iv) provide the Agents with written notice
within 10 days of the receipt of any of the following: (A) notice that an Environmental Lien has been filed
against any property of any Loan Party or any of its Subsidiaries; (B) commencement of any Environmental
Action or notice that an Environmental Action will be filed against any Loan Party or any of its Subsidiaries;
and (C) notice of a violation, citation or other administrative order which could reasonably be expected to
have a Material Adverse Effect.

                 (k)    Fiscal Year. Cause the Fiscal Year of the Borrower and its Subsidiaries to end on
December 31 of each calendar year unless the Agents consent to a change in such Fiscal Year (and
appropriate related changes to this Agreement).

                 (l)      [Intentionally Omitted].

                  (m)     Use of Proceeds. The proceeds of the Loans shall be used to pay (or reimbursement
the payment) (i) interest, fees, costs and expenses under the Loan Documents and (ii) certain Professional
Costs, U.S. Trustee fees and expenses, and such other expenses related to and/or necessary to be paid in
connection with, or during, the Chapter 11 Case as determined by the Borrower in consultation with the
Required Lenders, in each case subject to the terms and conditions of this Agreement, the Order and the
Bankruptcy Plan. [Without in any way limiting the foregoing, no Collateral, DIP Proceeds, or any portion
of the Carve-Out may be used directly or indirectly by any of the Debtor, the Committee, if any, or any
trustee or other estate representative appointed in the Chapter 11 Case (or any successor case) or any other
person or entity (or to pay any professional fees, disbursements, costs or expenses incurred in connection
therewith): (a) to seek authorization to obtain liens or security interests that are senior to or pari passu with
the Liens securing the Obligations or the Liens in existence on the Petition Date securing the Prepetition
Term Obligations (the “Prepetition Term Liens”); or (b) to investigate (including by way of examinations
or discovery proceedings), prepare, assert, join, commence, support or prosecute any action for any claim,
counter-claim, action, proceeding, application, motion, objection, defense, or other contested matter
seeking any order, judgment, determination or similar relief against, or adverse to the interests of, in any
capacity, any of the Agents, the Lenders, or the Prepetition Term Secured Parties, and each of their
respective officers, directors, controlling persons, employees, agents, attorneys, affiliates, assigns, or
successors of each of the foregoing (all in their capacities as such) (collectively, the “Released Parties”),
with respect to any transaction, occurrence, omission, action or other matter (including formal discovery
proceedings in anticipation thereof), including, without limitation, (i) any claims or causes of action arising
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under chapter 5 of the Bankruptcy Code; (ii) any so-called “lender liability” claims and causes of action;
(iii) any action with respect to the validity, enforceability, priority and extent of, or asserting any defense,
counterclaim, or offset to, the Obligations, the Superpriority DIP Claims, the Liens securing the
Obligations, the Loan Documents, the Prepetition Term Liens, the Prepetition Term Loan Documents, or
the Prepetition Term Obligations; (iv) any action seeking to invalidate, modify, set aside, avoid or
subordinate, in whole or in part, the Obligations or the Prepetition Term Obligations; (v) any action seeking
to modify any of the rights, remedies, priorities, privileges, protections and benefits granted to either (A)
the Agents or the Lenders hereunder or under any of the Loan Documents, or (B) the Prepetition Term
Agents or the Prepetition Term Lenders under any of the Prepetition Term Loan Documents (in each case,
including, without limitation, claims, proceedings or actions that might prevent, hinder or any of the Agents’
or the Lenders’ assertions, enforcements, realizations or remedies on or against the Collateral in accordance
with the applicable Loan Documents and the Order); or (vi) objecting to, contesting, or interfering with, in
any way, the Agents’ and the Lenders’ enforcement or realization upon any of the Collateral once an Event
of Default has occurred; provided, however, that no more than $[50,000]13 in the aggregate of the Collateral,
DIP Proceeds, or the Carve-Out, may be used by the Committee, if any, to investigate claims and/or liens.]14

                (n)    Anti-Bribery and Anti-Corruption Laws. Maintain, and cause each of its
Subsidiaries to maintain, anti-bribery and anti-corruption policies and procedures that are reasonably
designed to ensure compliance with the Anti-Corruption Laws.

                 (o)     Board Materials. The Loan Parties shall deliver, or cause to be delivered, to the
Administrative Agent (or its counsel), concurrently with the delivery thereof to the members of the Board
of Directors of each Loan Party, copies of all formal written communications delivered to such board as a
whole to report performance and other metrics or in connection with, or in preparation or anticipation of, a
meeting of the Board of Directors of such Loan Party, minutes and other similar materials distributed to
such members and presentations made to the Board of Directors (including all such materials distributed
and presentations made with respect to any committee or subcommittee of such Board of Directors (or
comparable management body)); provided, however, that to the extent any such materials are attorney-
client privileged or relate to strategic discussions regarding any Loan Party, such materials may be
excluded.

                    (p)     Further Assurances.

                             (i)     Take such action and execute, acknowledge and deliver, and cause each
           of its Subsidiaries to take such action and execute, acknowledge and deliver, at its sole cost and
           expense, such agreements, instruments or other documents as any Agent (at the direction of the
           Required Lenders) may reasonably require from time to time in order (i) to carry out more
           effectively the purposes of this Agreement and the other Loan Documents, (ii) to subject to valid
           and perfected first priority Liens (subject to the terms of the Intercreditor Agreement and any
           Permitted Priority Liens) any of the Collateral or any other property of any Loan Party and its
           Subsidiaries, (iii) to establish and maintain the validity and effectiveness of any of the Loan
           Documents and the validity, perfection and priority of the Liens intended to be created thereby, and
           (iv) to better assure, convey, grant, assign, transfer and confirm unto each Secured Party the rights
           now or hereafter intended to be granted to it under this Agreement or any other Loan Document.
           In furtherance of the foregoing, to the maximum extent permitted by applicable law, each Loan
           Party (A) authorizes each Agent to file such agreements, instruments or other documents in any
           appropriate filing office, (B) authorizes each Agent to file any financing statement required
           hereunder or under any other Loan Document, and any continuation statement or amendment with

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     NTD: Investigation budget TBD.
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     NTD: Subject to discussion of the Order.
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        respect thereto, in any appropriate filing office without the signature of such Loan Party, and (C)
        ratifies the filing of any financing statement, and any continuation statement or amendment with
        respect thereto, filed without the signature of such Loan Party prior to the date hereof.

                         (ii)    By its signature hereto, each Loan Party hereby authorizes the Collateral
        Agent to, in connection with, and to the extent contemplated by, this Agreement, and subject to the
        Order, file against such Loan Party, one or more financing, continuation or amendment statements
        pursuant to the UCC in form and substance satisfactory to the Required Lenders (which statements
        may have a description of Collateral which is broader than that set forth herein, including without
        limitation a description of Collateral as “all assets’ and/or “all personal property” of such Loan
        Party).

                (q)     Milestone. The Borrower and the Guarantors covenant and agree that, the effective
date (the “Bankruptcy Plan Effective Date”) of the Bankruptcy Plan shall occur no later than [forty-six (46)]
calendar days following the Petition Date (the “Milestone”).

                 (r)       Bankruptcy Covenants. Notwithstanding anything in the Loan Documents to the
contrary, the Debtor shall comply with all material covenants, terms and conditions and otherwise perform
all obligations set forth in the Order in all material respects.

                (s)      Chapter 11 Case.

                         (i)      The Debtor shall deliver or cause to be delivered for review and comment,
        as soon as commercially reasonable and in any event at least three (3) Business Days (or as soon
        thereafter as is reasonably practicable under the circumstance) prior to filing, upon request, all
        material pleadings, motions and other documents (provided that any of the foregoing relating to the
        DIP Facility shall be deemed material) to be filed on behalf of the Debtor with the Bankruptcy
        Court to K&S and shall consult in good faith with such counsel regarding the form and substance
        of any such proposed filing. If not otherwise provided by the Bankruptcy Court’s electronic
        docketing system, the Borrower shall provide copies to the Administrative Agent (for distribution
        to the Lenders) of all pleadings, motions, applications, judicial information, financial information
        and other documents filed by or on behalf of the Debtor with the Bankruptcy Court, distributed by
        or on behalf of the Debtor to any Committee, filed with respect to the Chapter 11 Case or filed with
        respect to any Loan Document. In connection with the Chapter 11 Case, the Debtor shall give the
        proper notice for (x) the motions seeking approval of the Loan Documents and the Order and (y)
        the hearings for the approval of the Order.

                         (ii)     Starting in the first week following the Closing Date, and thereafter every
        week until the payment in full in cash of the Obligations (other than contingent obligations not yet
        due and payable), the Loan Parties and the Company Advisors will participate in a conference call
        with the Agents and the Lenders and their representatives, consultants, and agents, at such mutually
        convenient dates and times to be proposed by the Agents upon reasonable advance notice, and will
        use commercially reasonable efforts to cause available senior members of management and any
        investment bankers and other advisors of the Borrower and its Subsidiaries, as applicable or as
        requested by the Agents or such Lenders, to participate in such calls for the purpose of discussing
        the status of the financial, collateral, and operational condition, businesses, liabilities, assets, and
        prospects of the Borrower and its Subsidiaries and any sale, refinance or other strategic transaction
        efforts; provided, that any materials may be redacted to the extent information contained therein
        would adversely affect any attorney-client privilege or accountant-client privilege.


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                           (iii)    Each Loan Party shall deliver or cause to be delivered to the
        Administrative Agent and the Lenders, as soon as commercially reasonable upon receipt of same,
        copies of any term sheets, proposals, presentations or other material documents, from any Person,
        related to (i) the restructuring of the Debtor or any other Loan Party or their Subsidiaries, or (ii) the
        sale of any material asset of one or all of the Loan Parties or their Subsidiaries (for the avoidance
        of doubt, excluding ordinary course asset sales).

                         (iv)    Except to the extent permitted (or required) hereunder or under the Order,
        the Borrower shall not, without the express prior written consent of the Required Lenders or
        pursuant to an order of the Bankruptcy Court after notice and a hearing, use the DIP Proceeds or
        cash Collateral to make any Prepetition Payment.

                       (v)      All Professional Costs at any time paid by the Borrower shall be paid in
        accordance with the limitation and procedures set forth in the Loan Documents.

                (t)      Retention of Consultants; Communications with Accountants and other Financial
Advisors.

                       (i)     There shall be no material modifications to the compensation (excluding
        any decreases in compensation but including any other modification in compensation) for the
        engagement of the Company Advisors or the appointment and/or replacement of any Company
        Advisor without the consent of the Required Lenders.

                           (ii)    The Borrower shall provide the Agents, the Lenders, and their respective
        representatives reasonable access to their independent certified public accountants, appraisers,
        financial advisors, investment bankers and consultants (including the Company Advisors) through
        regular meetings or conference calls at times and locations to be mutually agreed, which have been
        engaged from time to time by the Loan Parties, and authorizes and agrees to instruct those
        accountants, appraisers, financial advisors, investment bankers and consultants to communicate to
        the Agents, the Lenders and their respective representatives’ information relating to each Loan
        Party with respect to the business, results of operations, prospects and financial condition of such
        Loan Party. The Borrower acknowledge and agree that the Loan Parties and their representatives
        will reasonably cooperate with the Company Advisors and any Lender Advisor. Each Loan Party
        acknowledges that the Agents and Lenders have engaged the Lender Advisors for the sole benefit
        thereof, as applicable, as the Agents or the Lenders each may determine to be necessary or
        appropriate, in their respective reasonable discretion. Each Loan Party covenants and agrees that
        (i) such Loan Party shall provide its reasonable cooperation with any Lender Advisor (including,
        without limitation, providing reasonable access to such Loan Party’s business, books and records
        and senior management at times and locations to be mutually agreed); (ii) all costs and expenses of
        any such Lender Advisor shall be expenses (subject to limitations regarding legal expenses
        provided in Section 12.04) required to be paid by the Loan Parties under Section 12.04 hereof; and
        (iii) all reports, determinations and other written and verbal information provided by any Lender
        Advisor shall be confidential and no Loan Party shall be entitled to have access to same.

                (u)      Mortgages. Within thirty (30) days of written request by the Administrative Agent,
the Loan Parties shall deliver executed Real Property Deliverables in respect of the Facility.

                Section 7.02    Negative Covenants. So long as any principal of or interest on any Loan
or any other Obligation (whether or not due) shall remain unpaid (other than Contingent Indemnity
Obligations) or any Lender shall have any DIP Loan Commitment hereunder, each Loan Party shall not,
unless the Required Lenders shall otherwise consent in writing:
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                  (a)    Liens, Etc. Create, incur, assume or suffer to exist, or permit any of its Subsidiaries
to create, incur, assume or suffer to exist, any Lien upon or with respect to any of its properties, whether
now owned or hereafter acquired; other than, as to all of the above, Permitted Liens.

                (b)     Indebtedness. Create, incur, assume, guarantee or suffer to exist, or otherwise
become or remain liable with respect to, or permit any of its Subsidiaries to create, incur, assume, guarantee
or suffer to exist or otherwise become or remain liable with respect to, any Indebtedness other than
Permitted Indebtedness.

                 (c)     Fundamental Changes; Dispositions.

                        (i)      Wind-up, liquidate or dissolve, or merge, consolidate or amalgamate with
        any Person, or permit any of its Subsidiaries to do (or agree to do) any of the foregoing except to
        the extent agreed to by the Required Lenders.

                         (ii)     Make any Disposition, whether in one transaction or a series of related
        transactions, of all or any part of its business, property or assets, whether now owned or hereafter
        acquired (or agree to do any of the foregoing), or permit any of its Subsidiaries to do any of the
        foregoing; provided, however, that any Loan Party and its Subsidiaries may make Permitted
        Dispositions.

                 (d)     Change in Nature of Business.

                         (i)      Make, or permit any of its Subsidiaries to make, any change in the nature
        of its business as described in Section 6.01(l).

                        (ii)    Permit the Borrower to have any material liabilities (other than liabilities
        arising under the Loan Documents, the Prepetition ABL Loan Documents, the Prepetition Term
        Loan Documents or the Parent Company Agreement), own any material assets (other than the
        Equity Interests of its Subsidiaries) or engage in any operations or business (other than the
        ownership of its Subsidiaries).

                        (iii)  Create, form or acquire, or permit any of its Subsidiaries to create, form or
        acquire, any new Subsidiary on and after the Petition Date.

                         (iv)     Acquire, or permit any of its Subsidiaries to acquire, any new real property
        on and after the Petition Date.

                 (e)      Loans, Advances, Investments, Etc. Make or commit or agree to make, or permit
any of its Subsidiaries to make or commit or agree to make, any Investment in any other Person except for
Permitted Investments.

                 (f)     Sale and Leaseback Transactions. Enter into, or permit any of its Subsidiaries to
enter into, any Sale and Leaseback Transaction.

                 (g)     [Intentionally Omitted].

               (h)     Restricted Payments. Make or permit any of its Subsidiaries to make any
Restricted Payment other than Permitted Restricted Payments.



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                (i)     Federal Reserve Regulations. Permit any Loan or the proceeds of any Loan under
this Agreement to be used for any purpose that would cause such Loan to be a margin loan under the
provisions of Regulation T, U or X of the Board.

                 (j)     Transactions with Affiliates. Enter into, renew, extend or be a party to, or permit
any of its Subsidiaries to enter into, renew, extend or be a party to, any transaction or series of related
transactions (including, without limitation, the purchase, sale, lease, transfer or exchange of property or
assets of any kind or the rendering of services of any kind) with any Affiliate of Borrower or any of its
Subsidiaries, except the following transactions: (i) transactions consummated in the ordinary course of
business in a manner and to an extent consistent with past practice and necessary or desirable for the prudent
operation of its business, for fair consideration and on terms no less favorable to it or its Subsidiaries than
would be obtainable in a comparable arm’s length transaction with a Person that is not an Affiliate thereof,
and if they involve one or more payments by the Borrower or any of its Subsidiaries in excess of $100,000
for any single transaction or series of related transactions, that are fully disclosed to the Administrative
Agent prior to the consummation thereof,15 (ii) transactions solely among two or more Loan Parties not
involving the Borrower and (iii) transactions permitted by Section 7.02(e) or Section 7.02(h).

                  (k)      Limitations on Dividends and Other Payment Restrictions Affecting Subsidiaries.
Create or otherwise cause, incur, assume, suffer or permit to exist or become effective any consensual
encumbrance or restriction of any kind on the ability of any Subsidiary of any Loan Party (i) to pay
dividends or to make any other distribution on any shares of Equity Interests of such Subsidiary owned by
any Loan Party or any of its Subsidiaries, (ii) to pay or prepay or to subordinate any Indebtedness owed to
any Loan Party or any of its Subsidiaries, to make loans or advances to any Loan Party or any of its
Subsidiaries or (iii) to transfer any of its property or assets to any Loan Party or any of its Subsidiaries, or
permit any of its Subsidiaries to do any of the foregoing; provided, however, that nothing in any of clauses
(i) through (iii) of this Section 7.02(k) shall prohibit or restrict compliance with: (A) this Agreement, the
other Loan Documents, the Prepetition ABL Loan Documents and the Prepetition Term Loan Documents;
(B) any agreement in effect on the date of this Agreement and described on Schedule 7.02(k), or any
extension, replacement or continuation of any such agreement; provided, that, any such encumbrance or
restriction contained in such extended, replaced or continued agreement is no less favorable to the Agents
and the Lenders than the encumbrance or restriction under or pursuant to the agreement so extended,
replaced or continued; (C) any applicable law, rule or regulation (including, without limitation, applicable
currency control laws and applicable state corporate statutes restricting the payment of dividends in certain
circumstances); (D) in the case of clause (iv), (1) customary restrictions on the subletting, assignment or
transfer of any specified property or asset set forth in a lease, license, asset sale agreement or similar contract
for the conveyance of such property or asset and (2) instrument or other document evidencing a Permitted
Lien (or the Indebtedness secured thereby) from restricting on customary terms the transfer of any property
or assets subject thereto; (E) customary restrictions on dispositions of real property interests in reciprocal
easement agreements; (F) customary restrictions in agreements for the sale of assets on the transfer or
encumbrance of such assets during an interim period prior to the closing of the sale of such assets; or (G)
customary restrictions in contracts that prohibit the assignment of such contract.

                 (l)      Limitations on Negative Pledges. Enter into, incur or permit to exist, or permit
any Subsidiary to enter into, incur or permit to exist, directly or indirectly, any agreement, instrument, deed,
lease or other arrangement that prohibits, restricts or imposes any condition upon the ability of any Loan
Party or any Subsidiary of any Loan Party to create, incur or permit to exist any Lien upon any of its
property or revenues, whether now owned or hereafter acquired, or that requires the grant of any security
for an obligation if security is granted for another obligation, except the following: (i) this Agreement, the
other Loan Documents, the Prepetition ABL Loan Documents and the Prepetition Term Loan Documents,

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     NTD: Discuss payments to GCSIL.
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(ii) restrictions or conditions imposed by any agreement relating to secured Indebtedness permitted by
Section 7.02(b) of this Agreement if such restrictions or conditions apply only to the property or assets
securing such Indebtedness, (iii) any customary restrictions and conditions contained in agreements relating
to the sale or other disposition of assets or of a Subsidiary pending such sale or other disposition; provided
that such restrictions and conditions apply only to the assets or Subsidiary to be sold or disposed of and
such sale or disposition is permitted hereunder, and (iv) customary provisions in leases restricting the
assignment or sublet thereof.

               (m)    Modifications and Payment of Indebtedness; Organizational Documents and
Certain Other Agreements; Etc.

                          (i)      (A)    Amend, modify or otherwise change (or permit the amendment,
        modification or other change in any manner of by any Subsidiary) any of the provisions of any of
        its or its Subsidiaries’ Indebtedness (other than Prepetition ABL Indebtedness and the Prepetition
        Term Indebtedness) or of any instrument or agreement (including, without limitation, any purchase
        agreement, indenture, loan agreement or security agreement) relating to any such Indebtedness or
        (B) amend, modify or otherwise change (or permit the amendment, modification or other change
        in any manner of by any Subsidiary) any of the provisions of the Prepetition ABL Indebtedness
        other than in accordance with the terms of the Intercreditor Agreement;

                          (ii)    except for the Obligations, (A) make, or permit any Subsidiary to make,
        any voluntary or optional payment (including, without limitation, any payment of interest in cash
        that, at the option of the issuer, may be paid in cash or in kind), prepayment, redemption,
        defeasance, sinking fund payment or other acquisition for value of any of its or its Subsidiaries’
        Indebtedness (including, without limitation, by way of depositing money or securities with the
        trustee therefor before the date required for the purpose of paying any portion of such Indebtedness
        when due), (B) refund, refinance, replace or exchange, or permit any Subsidiary to refund,
        refinance, replace or exchange, any other Indebtedness for any such Indebtedness, (C) [reserved],
        or (D) make, or permit any Subsidiary to make, any payment, prepayment, redemption, defeasance,
        sinking fund payment or repurchase of any Indebtedness as a result of any asset sale, change of
        control, issuance and sale of debt or equity securities or similar event, or give any notice with
        respect to any of the foregoing; provided that the foregoing shall not prohibit paying the Prepetition
        ABL Obligations in accordance with the Order and the Prepetition ABL Credit Agreement
        Amendment; or

                         (iii)   amend, modify or otherwise change, or permit any Subsidiary to amend,
        modify or otherwise change, any of its Governing Documents (including, without limitation, by the
        filing or modification of any certificate of designation, or any agreement or arrangement entered
        into by it); or

                        (iv)    [agree, or permit any Subsidiary to agree, to any amendment, modification
        or other change to or waiver of any of its rights under the ORG Management Agreement.]

                 (n)    Investment Company Act of 1940. Engage in any business, enter into any
transaction, use any securities or take any other action or permit any of its Subsidiaries to do any of the
foregoing, that would cause it or any of its Subsidiaries to become subject to the registration requirements
of the Investment Company Act of 1940, as amended, by virtue of being an “investment company” or a
company “controlled” by an “investment company” not entitled to an exemption within the meaning of
such Act.


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                 (o)      ERISA. (i) Engage, or permit any ERISA Affiliate to engage, in any transaction
described in Section 4069 of ERISA; (ii) with respect to any Employee Plan, engage, or permit any ERISA
Affiliate to engage, in any prohibited transaction described in Section 406 of ERISA or 4975 of the Internal
Revenue Code for which a statutory or class exemption is not available or a private exemption has not
previously been obtained from the U.S. Department of Labor; (iii) adopt or permit any ERISA Affiliate to
adopt a Plan or any employee welfare benefit plan within the meaning of Section 3(1) of ERISA which
provides benefits to retirees after termination of employment other than as required by Section 601 of
ERISA or applicable law; fail to make any contribution or payment to any Multiemployer Plan which it or
any ERISA Affiliate may be required to make under any agreement relating to such Multiemployer Plan,
or any law pertaining thereto; or (v) fail, or permit any ERISA Affiliate to fail, to pay any required
installment or any other payment required under Section 412 of the Internal Revenue Code on or before the
due date for such installment or other payment.

                  (p)     Environmental. Permit, or permit any Subsidiary to permit, the use, handling,
generation, storage, treatment, Release or disposal of Hazardous Materials at any property owned or leased
by it or any of its Subsidiaries, except in compliance in all material respects with Environmental Laws.

                 (q)    Accounting Methods. Modify or change, or permit any of its Subsidiaries to
modify or change, its method of accounting or accounting principles from those utilized in the preparation
of the Financial Statements (other than as may be required to conform to GAAP).

                (r)      Anti-Money Laundering and Anti-Terrorism Laws.

                         (i)      (A)    conduct any business or engage in any transaction or dealing with
        or for the benefit of any Blocked Person, including the making or receiving of any contribution of
        funds, goods or services to, from or for the benefit of any Blocked Person;

                                (B)      deal in, or otherwise engage in any transaction relating to, any
                property or interests in property blocked or subject to blocking pursuant to the OFAC
                Sanctions Programs;

                                (C)     use any of the proceeds of the transactions contemplated by this
                Agreement to finance, promote or otherwise support in any manner any illegal activity,
                including, without limitation, any violation of the Anti-Money Laundering and Anti-
                Terrorism Laws or any specified unlawful activity as that term is defined in the Money
                Laundering Control Act of 1986, 18 U.S.C. §§ 1956 and 1957; or

                                 (D)     violate, attempt to violate, or engage in or conspire to engage in
                any transaction that evades or avoids, or has the purpose of evading or avoiding, any of the
                Anti-Money Laundering and Anti-Terrorism Laws.

                         (ii)    nor any Affiliate of any of the Loan Parties, nor any officer, director or
        principal shareholder or owner of any of the Loan Parties, nor any of the Loan Parties’ respective
        agents acting or benefiting in any capacity in connection with the Loans or other transactions
        hereunder, shall be or shall become a Blocked Person.

                (s)      Anti-Bribery and Anti-Corruption Laws.

                         (i)     Offer, promise, pay, give, or authorize the payment or giving of any
        money, gift or other thing of value, directly or indirectly, to or for the benefit of any Foreign Official
        for the purpose of: (A) influencing any act or decision of such Foreign Official in his, her, or its
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           official capacity; or (B) inducing such Foreign Official to do, or omit to do, an act in violation of
           the lawful duty of such Foreign Official, or (C) securing any improper advantage, in order to obtain
           or retain business for, or with, or to direct business to, any Person; or

                              (ii)    Act or attempt to act in any manner which would subject any of the Loan
           Parties to liability under any Anti-Corruption Law.

                (t)     Chapter 11 Claims. Except for the Carve-Out and Permitted Priority Liens and as
provided in the Order, directly or indirectly, incur, create, assume, suffer to exist or permit any
administrative expense claim or Lien that is pari passu with or senior to the claims or Liens granted under
the Loan Documents, as the case may be, of the Agents and the Lenders against the Debtor hereunder or
under the Order, or apply to the Bankruptcy Court for authority to do so.16

                  (u)      Revision of Order; Applications to Bankruptcy Court; Superpriority Claims.
Directly or indirectly, or permit any Subsidiary to directly or indirectly, (a) seek, support, consent to or
suffer to exist any modification, stay, vacation or amendment of any Order or any other order of the
Bankruptcy Court except for (i) any such modification, stay, vacation or amendment that is stayed or
reversed within three (3) Business Days, (ii) modifications and amendments that do not affect the interests
of the Lenders and (iii) any modifications and amendments agreed to in writing by the Required Lenders,
in their sole discretion, (b) apply to the Bankruptcy Court for authority to take any action prohibited by this
Article 7 (except to the extent such application and the taking of such action is conditioned upon receiving
the written consent of the Administrative Agent (or Collateral Agent, as applicable) and the Required
Lenders, in their sole discretion) or (c) seek authorization for, or permit the existence of, any claims other
than that of the Secured Parties entitled to superpriority status under section 364(c)(1) of the Bankruptcy
Code that is senior or pari passu with the Secured Parties’ claim under section 364(c)(1) of the Bankruptcy
Code, except for the Carve-Out.

                                                ARTICLE VIII

                                   CASH MANAGEMENT ARRANGEMENTS
                                    AND OTHER COLLATERAL MATTERS

                    Section 8.01     Cash Management Arrangements.

                 (a)     The Loan Parties shall maintain, and cause each Subsidiary to maintain, a cash
management system as in effect on the Petition Date and as required by the Order and as authorized by the
Bankruptcy Court pursuant to orders approving the first day motions filed by the Loan Parties. Subject to
Section 8.01(b), the Loan Parties shall deposit or cause to be deposited promptly, and in any event no later
than the next Business Day after the date of receipt thereof, all proceeds in respect of any Collateral, all
Collections (of a nature susceptible to a deposit in a bank account) and all other amounts received by any
Loan Party (including payments made by Account Debtors) directly to any Loan Party into an account
subject to a Control Agreement.

                (b)     The Borrower shall cause all DIP Proceeds to be maintained in an account of the
Borrower until used in accordance with the terms hereof, the Order and the Bankruptcy Plan.

               (c)      No Loan Party nor any of its Subsidiaries shall permit the maintenance of cash and
Cash Equivalents (a) in the Barbados Accounts in excess of $250,000 in the aggregate, or (b) in the
Philippines Accounts in excess of $500,000 in the aggregate, in the case of each of the preceding clauses
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     NTD: Subject to discussion of the Order.
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(a) and (b), for any period of 5 consecutive days; it being understood that any amounts in excess of such
threshold for such 5 day period shall be promptly repatriated to a deposit account held in the United States
by a Loan Party and subject to a Control Agreement.

                 (d)       No Loan Party nor any of its Subsidiaries shall permit the maintenance of cash (a)
in any Customer Trust Account, other than (i) cash owned by the applicable underlying customer (x) that
was collected by such Loan Party from third parties in connection with its performance of services for such
customer and (y) for payment of fees and expenses incurred by such Loan Party for the performance of
such services, or (ii) funds advanced to such Customer Trust Account by a Loan Party to comply with client
remittance requirements, and (b) in any License Trust Account, other than cash that such Loan Party is
required to maintain in such account by the applicable underlying State or Governmental Authority; it being
understood that any amounts in excess of such thresholds shall be promptly remitted to a deposit account
subject to a Control Agreement.

               (e)    No Loan Party may open or otherwise create any deposit account, security account,
or commodity account that was not in existence as of the Petition Date without the consent of the
Administrative Agent.

                                               ARTICLE IX

                                         EVENTS OF DEFAULT

                 Section 9.01    Events of Default. Each of the following events shall constitute an event
of default (each, an “Event of Default”):

                 (a)      any Borrower shall fail to pay (whether by scheduled maturity, required
prepayment, acceleration, demand or otherwise) (i) within three (3) Business Days following the due date
interest on any Loan, or any fee, indemnity or other amount payable under this Agreement (other than any
portion thereof constituting principal of the Loans) or any other Loan Document or (ii) all or any portion
of the principal of the Loans when due;

                 (b)      any representation or warranty made or deemed made by or on behalf of any Loan
Party or by any Authorized Officer of the foregoing under or in connection with any Loan Document or
under or in connection with any certificate or other writing delivered to any Secured Party pursuant to any
Loan Document shall have been incorrect in any material respect (or in any respect if such representation
or warranty is qualified or modified as to materiality or “Material Adverse Effect” in the text thereof) when
made or deemed made;

                 (c)     (i) any Loan Party shall fail to perform or comply with any covenant or agreement
contained in Section 7.01(a), Section 7.01(c), Section 7.01(d), Section 7.01(f), Section 7.01(h),
Section 7.01(k), Section 7.01(m), Section 7.01(n), Section 7.01(o), Section 7.01(q), Section 7.01(r),
Section 7.01(s), Section 7.01(t), Section 7.02, or Section 8.01(b), or (ii) any Loan Party shall fail to perform
or comply with any covenant or agreement contained in any Security Agreement to which it is a party
subject to any grace period therein;

                 (d)     any Loan Party shall fail to perform or comply with any other term, covenant or
agreement contained in any Loan Document to be performed or observed by it and, except as set forth in
subsections (a), (b) and (c) of this Section 9.01, such failure, if capable of being remedied, shall remain
unremedied for fifteen (15) days after the earlier of the date a senior officer of any Loan Party has


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knowledge of such failure and the date written notice of such default shall have been given by any Agent
or the Required Lenders to the Borrower;

                  (e)     (i) the Borrower shall (x) fail to pay when due (whether by scheduled maturity,
required prepayment, acceleration, demand or otherwise) any principal, interest or other amount payable in
respect of post-petition Indebtedness (including, for the avoidance of doubt, Indebtedness under the
Prepetition ABL Loan Documents) in an aggregate principal amount of $500,000 or more (excluding
Indebtedness evidenced by this Agreement), and such failure shall continue after the applicable grace
period, if any, specified in the agreement or instrument relating to such Indebtedness, or (y) fail to observe
or perform any other agreement or condition under any agreement or instrument relating to any such post-
petition Indebtedness in an aggregate principal amount of $500,000 or more and such failure or event shall
continue after the applicable grace period, if any, specified in such agreement or instrument or (ii) any Loan
Party (other than the Borrower) or any of its Subsidiaries shall (x) fail to pay when due (whether by
scheduled maturity, required prepayment, acceleration, demand or otherwise) any principal, interest or
other amount payable in respect of Indebtedness in an aggregate principal amount of $500,000 or more
(excluding Indebtedness evidenced by this Agreement and the Prepetition Term Loan Documents), and
such failure shall continue after the applicable grace period, if any, specified in the agreement or instrument
relating to such Indebtedness, or (ii) fail to observe or perform any other agreement or condition under any
agreement or instrument relating to any such Indebtedness in an aggregate principal amount of $500,000
or more and such failure or event shall continue after the applicable grace period, if any, specified in such
agreement or instrument, in each case if the effect of such failure or event is to accelerate, or to permit the
acceleration of, the maturity of such Indebtedness; or any such Indebtedness shall be declared to be due and
payable, or required to be prepaid (other than by a regularly scheduled required prepayment), redeemed,
purchased or defeased or an offer to prepay, redeem, purchase or defease such Indebtedness shall be
required to be made, in each case, prior to the stated maturity thereof; provided that this clause (e) shall not
apply to any Indebtedness outstanding hereunder or any Indebtedness of any Loan Party that was incurred
prior to the Petition Date (or, if later, the date on which such Person became a Loan Party) unless the
enforcement of remedies against the applicable Loan Party (or its property) with respect to such
Indebtedness is not stayed by Section 362 of the Bankruptcy Code.

                  (f)     Other than with respect to the Chapter 11 Case, any Loan Party or any of its
Subsidiaries (i) shall institute any proceeding or voluntary case seeking to adjudicate it a bankrupt or
insolvent, or seeking dissolution, liquidation, winding up, administration, receivership, reorganization,
arrangement, adjustment, protection, relief or composition of it or its debts under any law relating to
bankruptcy, insolvency, reorganization, receivership or relief of debtors, or seeking the entry of an order
for relief or the appointment of a receiver, trustee, custodian, administrator or other similar official for any
such Person or for any substantial part of its property, (ii) shall be generally not paying its debts as such
debts become due or shall admit in writing its inability to pay its debts generally, (iii) shall make a general
assignment for the benefit of creditors, or (iv) shall take any action to authorize or effect any of the actions
set forth above in this subsection (f);

                  (g)     Other than with respect to the Chapter 11 Case, any proceeding shall be instituted
against any Loan Party or any of its Subsidiaries seeking to adjudicate it a bankrupt or insolvent, or seeking
dissolution, liquidation, winding up, administration, receivership, reorganization, arrangement, adjustment,
protection, relief of debtors, or seeking the entry of an order for relief or the appointment of a receiver,
trustee, custodian, administrator or other similar official for any such Person or for any substantial part of
its property, and either such proceeding shall remain undismissed or unstayed for a period of thirty (30)
days or any of the actions sought in such proceeding (including, without limitation, the entry of an order
for relief against any such Person or the appointment of a receiver, trustee, custodian or other similar official
for it or for any substantial part of its property) shall occur;

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                  (h)      any of the Loan Documents shall at any time for any reason (other than pursuant
to the express terms thereof) cease to be valid and binding on or enforceable against any Loan Party intended
to be a party thereto, or the validity or enforceability thereof shall be contested by any party thereto, or a
proceeding shall be commenced by any Loan Party or any Governmental Authority having jurisdiction over
any of them, seeking to establish the invalidity or unenforceability thereof, or any Loan Party shall deny in
writing that it has any liability or obligation purported to be created under any Loan Document;

                 (i)     any Security Agreement or any other security document, after delivery thereof
pursuant hereto, shall for any reason (except to the extent such failure results from the failure of the
Collateral Agent to maintain possession of Collateral as to which the Liens thereon are perfected by
possession or otherwise as a result of any action or failure to act by the Collateral Agent when provided
with the information required by the Loan Documents) fail or cease to create a valid and perfected and,
except to the extent permitted by the terms hereof or thereof, first priority Lien (subject to the terms of the
Intercreditor Agreement and Permitted Priority Liens) in favor of the Collateral Agent for the benefit of the
Agents and the Lenders on any Collateral purported to be covered thereby;

                 (j)     [reserved];

                (k)      one or more fines and/or penalties for the payment of money exceeding $500,000
in the aggregate shall be levied against any Loan Party or any of its Subsidiaries by the Consumer Fraud
Protection Bureau or any other Governmental Authority;

                (l)      one or more judgments, orders or awards (or any settlement of any litigation or
other proceeding that, if breached, could result in a judgment, order or award) for the payment of money
exceeding $500,000 in the aggregate (except to the extent fully covered (other than to the extent of
customary deductibles) by insurance pursuant to which the insurer has been notified and has not denied
coverage) shall be rendered against any Loan Party or any of its Subsidiaries and remain unsatisfied and (i)
enforcement proceedings shall have been commenced by any creditor upon any such judgment, order,
award or settlement or (ii) there shall be a period of thirty (30) consecutive days after entry thereof during
which (A) a stay of enforcement thereof is not be in effect or (B) the same is not vacated, discharged, stayed
or bonded pending appeal;

                 (m)     any material damage to, or loss, theft or destruction of, any Collateral, whether or
not insured, or any strike, lockout, labor dispute, embargo, condemnation, act of God or public enemy, or
other casualty which causes, for more than fifteen (15) consecutive days, the cessation or substantial
curtailment of revenue producing activities at any facility of any Loan Party, if any such event or
circumstance would reasonably be expected to have a Material Adverse Effect;

                 (n)     the loss, suspension or revocation of, or failure to renew, any license or permit now
held or hereafter acquired by any Loan Party, if such loss, suspension, revocation or failure to renew would
reasonably be expected to have a Material Adverse Effect;

                 (o)     [reserved];

                 (p)     [reserved];

                 (q)     [reserved];

                 (r)     a Change of Control shall have occurred; or

                 (s)     a Termination Event shall have occurred;
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        (t)     the occurrence of any of the following in the Chapter 11 Case:

                (i)     (x) termination of the RSA or (y) any material breach of, or default by, any
party to the RSA other than any Lender that is also party thereto;

               (ii)     filing of a plan of reorganization under Chapter 11 of the Bankruptcy Code
by the Debtor (other than the Bankruptcy Plan) that has not been consented to by the Required
Lenders;

                (iii)   filing of a plan of reorganization by the Debtor (other than the Bankruptcy
Plan) that does not propose to indefeasibly repay the Obligations in full in cash, unless otherwise
consented to by the Administrative Agent and the Required Lenders;

               (iv)    the Debtor or any Loan Party or any of their Subsidiaries shall file a
pleading seeking to vacate or modify any of the Order over the objection of the Administrative
Agent or the Administrative Agent at the direction of the Required Lenders;

               (v)    entry of an order without the prior written consent of the Required Lenders
amending, supplementing or otherwise modifying the Order;

                 (vi)    reversal, vacatur or stay of the effectiveness of the Order except to the
extent stayed or reversed within three (3) Business;

                (vii)   a failure by the Debtor to comply with any material provision of the Order
(except where such failure would not materially and adversely affect the Lenders or the Agents);

                (viii) dismissal of the Chapter 11 Case of the Debtor to a case under Chapter 7
of the Bankruptcy Code;

                 (ix)     appointment of a Chapter 11 trustee or examiner with enlarged powers
relating to the operation of the business of the Borrower;

                 (x)     any sale of all or substantially all assets of the Debtor pursuant to section
363 of the Bankruptcy Code, unless (i) the proceeds of such sale are applied to indefeasibly satisfy
the Obligations in full in cash or (ii) such sale is supported by the Administrative Agent at the
direction of the Required Lenders;

                 (xi)     failure to meet the Milestone, unless extended or waived pursuant by the
prior written consent of the Administrative Agent at the direction of the Required Lenders;

                 (xii)   granting of relief from the Automatic Stay in the Chapter 11 Case to permit
foreclosure or enforcement on assets of the Borrower or any other Loan Party, in each case, with a
fair market value in excess of $500,000;

                 (xiii) the Debtor filing of (or supporting another party in the filing of) a motion
seeking entry of, or the entry of an order by the Bankruptcy Court, granting any superpriority claim
or lien (except as contemplated herein) which is senior to or pari passu with the Lenders’ claims
under the DIP Facility;

                (xiv) the Debtor filing of (or supporting another party in the filing of) a motion
seeking entry of an order approving any key employee incentive plan, employee retention plan, or

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        comparable plan, except as provided in the Bankruptcy Plan (if any), without the prior written
        consent of the Required Lenders;

                          (xv)    the Debtor or any other Loan Party or any Subsidiary thereof shall seek,
        or shall support any other person’s motion seeking (in any such case, verbally in any court of
        competent jurisdiction or by way of any motion or pleading with the Bankruptcy Court, or any
        other writing to another party in interest by Debtor) to challenge the extent, validity, perfection,
        priority, or enforceability of any of the Lien or obligations of the parties under the Prepetition Term
        Loan Documents;

                         (xvi) payment of or granting adequate protection with respect to prepetition
        debt, other than as expressly provided herein or in the Order or consented to by the Administrative
        Agent at the direction of the Required Lenders;

                      (xvii) expiration or termination of the period provided by section 1121 of the
        Bankruptcy Code for the exclusive right to file a plan, with respect to the Debtor;

                        (xviii) cessation of the Liens securing the Obligations or the Superpriority DIP
        Claims to be valid, perfected and enforceable in all respects;

                         (xix)   [reserved];

                       (xx)    any uninsured judgments are entered with respect to any post-petition non-
        ordinary course claims against any the Debtor or any of its respective affiliates in a combined
        aggregate amount in excess of $500,000 unless stayed;

                        (xxi) other than in the ordinary course and consistent with past practice, any
        Loan Party asserting any right of subrogation or contribution against any other Loan Party until all
        borrowings under the DIP Facility are paid in full in cash (or converted to non-cash consideration
        in the form of senior secured debt as contemplated by the RSA and Bankruptcy Plan on the
        Bankruptcy Plan Effective Date if the Bankruptcy Plan is confirmed pursuant to the Confirmation
        Order) and the commitments are terminated;

                          (xxii) an order shall be entered in the Chapter 11 Case, without the prior written
        consent of the Administrative Agent and the Required Lenders (i) to permit any administrative
        expense or any claim (now existing or hereafter arising of any kind or nature whatsoever) to have
        administrative priority equal or superior to the Superpriority DIP Claim (other than the Carve-Out)
        or (ii) granting or permitted grant of a Lien that is equal in priority or senior to the Liens securing
        the Obligations (other than the Carve-Out pursuant to the Order);

                          (xxiii) other than the Confirmation Order confirming the Bankruptcy Plan in
        accordance with the RSA, an order shall be entered by the Bankruptcy Court confirming a plan of
        reorganization or liquidation in the Chapter 11 Case which does unimpair or not indefeasibly pay
        in full in cash the Obligations upon the effective date of such plan; and

                      (xxiv) the payment of any prepetition claim other than (i) as consented to by the
        Required Lenders, (ii) permitted under the terms of this Agreement or (iii) as authorized by the
        Bankruptcy Court pursuant to the “first day” or “second day” orders or the Order;

then, during the continuation of any such event, the Collateral Agent may, and shall at the request of the
Required Lenders, by notice to the Borrower, its counsel, the United States Trustee and counsel for any
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statutory committee, terminate the DIP Facility, declare the Obligations in respect thereof to be immediately
due and payable and, subject to Section 9.02, exercise all rights and remedies under the Loan Documents
and the Order.

                Section 9.02     Remedies upon an Event of Default.

                 (a)      If any Event of Default occurs and is continuing, then, subject to the terms of the
Order, the automatic stay provisions of section 362 of the Bankruptcy Code shall be vacated and modified
to the extent necessary to permit the Administrative Agent and/or Collateral Agent, as applicable, and the
Lenders to exercise all rights and remedies provided for in the Loan Documents and: (i) upon the occurrence
and during the continuance of any Event of Default under the Loan Documents, to (A) cease making any
Loans under the DIP Facility to the Loan Parties and (B) declare all Obligations to be immediately due and
payable; and (ii) unless the Bankruptcy Court orders otherwise during such period, upon the occurrence of
an Event of Default and the giving by the Administrative Agent at the direction of the Required Lenders of
five (5) Business Days prior written notice (the “Termination Notice”; and such notice period, the
“Remedies Notice Period” provided that such period may be extended by written agreement by the Debtor
and the Administrative Agent (acting at the direction of the Required Lenders), in their respective
discretion), delivered to counsel to the Debtor, with copies to the United States Trustee and counsel to the
Committee (if any), in each case subject in all respects to the Carve-Out and the proviso below, including
without limitation the Debtor’s rights to fund the Carve-Out Reserves, to (A) immediately terminate the
Debtor’s use of any cash collateral, (B) freeze monies or balances in the Debtor’s account; (C) set-off any
and all amounts in accounts maintained by the Debtor with the Administrative Agent or the Lenders against
the Obligations, or otherwise enforce any and all rights against the Collateral in the possession of any of
the applicable Lenders, including, without limitation, disposition of the Collateral solely for application
towards the Obligations; and (D) take any other actions or exercise any other rights or remedies permitted
under the Order, the Loan Documents or applicable law to effect the repayment of the Obligations;
provided, however, that during the Remedies Notice Period, the Debtor shall be permitted to continue to
use proceeds of the DIP Facility and cash collateral to fund the Carve-Out Reserves; provided, further, that
the only basis on which the Debtor, the Committee or any other party-in-interest shall have the right to
contest a Termination Notice shall be with respect to the validity of the Event of Default giving rise to such
Termination Notice (i.e., whether or not such Event of Default has occurred or not, or whether or not it has
been cured within the cure periods expressly set forth in the applicable Loan Documents). Subject to the
preceding sentence, upon the occurrence and during the continuation of any Event of Default, the Debtor
shall not be permitted to withdrawal any DIP Proceeds from its accounts other than in accordance with the
Order. Upon and after the delivery of the Termination Notice, the Debtor and the Administrative Agent at
the direction of the Required Lenders consent to a hearing on an expedited basis to consider whether the
Automatic Stay may be lifted so that the Agents and the Lenders may exercise all of their respective rights
and remedies in respect of the Collateral in accordance with the Order and the Loan Documents, or to
consider any other appropriate relief (including the Debtor’s use of cash collateral on a nonconsensual
basis). For the avoidance of doubt, notwithstanding any of the foregoing, upon the occurrence of and during
the continuation of any Event of Default, the Agents and Lenders may exercise any and all rights and
remedies provided under the Loan Documents against any non-Debtor Loan Party and/or Collateral not
constituting property of the Debtor’s bankruptcy estate.

               (b)     Except as expressly provided above in this Section 7.02, to the maximum extent
permitted by applicable law, presentment, demand, protest and all other notices of any kind are hereby
expressly waived.




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                                               ARTICLE X

                                                  AGENTS

                   Section 10.01 Appointment. Each Lender (and each subsequent maker of any Loan by
its making thereof) hereby irrevocably appoints, authorizes and empowers the Administrative Agent and
the Collateral Agent to perform the duties of each such Agent as set forth in this Agreement and the other
Loan Documents, together with such actions and powers as are reasonably incidental thereto, including: (i)
to receive on behalf of each Lender any payment of principal of or interest on the Loans outstanding
hereunder and all other amounts accrued hereunder for the account of the Lenders and paid to such Agent,
and, subject to Section 2.02 of this Agreement, to distribute promptly to each Lender its Pro Rata Share of
all payments so received; (ii) to distribute to each Lender copies of all material notices, written reports,
certificates and agreements received by such Agent, in its capacity as Agent, and not required to be
delivered to each Lender pursuant to the terms of this Agreement, provided that the Agents shall not have
any liability to the Lenders for any Agent’s inadvertent failure to distribute any such notices, written reports,
certificates or agreements to the Lenders; (iii) to maintain, in accordance with its customary business
practices, ledgers and records reflecting the status of the Obligations, the Loans, and related matters and to
maintain, in accordance with its customary business practices, ledgers and records reflecting the status of
the Collateral and related matters; to execute or file any and all financing or similar statements or notices,
amendments, renewals, supplements, documents, instruments, proofs of claim, notices and other written
agreements with respect to this Agreement, any other Loan Document or the Order; (v) to make the Loans,
for such Agent or on behalf of the applicable Lenders as provided in this Agreement, any other Loan
Document or the Order; (vi) to perform, exercise, and enforce any and all other rights and remedies of the
Lenders with respect to the Loan Parties, the Obligations, or otherwise related to any of same to the extent
reasonably incidental to the exercise by such Agent of the rights and remedies specifically authorized to be
exercised by such Agent by the terms of this Agreement, any other Loan Document or the Order; (vii) to
incur and pay such fees necessary or appropriate for the performance and fulfillment of its functions and
powers pursuant to this Agreement, any other Loan Document or the Order; (viii) subject to Section 10.03,
to take such action as such Agent deems appropriate on its behalf to administer the Loans and the Loan
Documents and to exercise such other powers delegated to such Agent by the terms hereof, the other Loan
Documents or the Order (including, without limitation, the power to give or to refuse to give notices,
waivers, consents, approvals and instructions and the power to make or to refuse to make determinations
and calculations); and (ix) to act with respect to all Collateral under the Loan Documents or the Order,
including for purposes of acquiring, holding and enforcing any and all Liens on Collateral granted by any
of the Loan Parties to secure any of the Obligations. As to any matters not expressly provided for by this
Agreement, the other Loan Documents or the Order (including, without limitation, enforcement or
collection of the Loans), the Agents shall not be required to exercise any discretion or take any action, but
shall be required to act or to refrain from acting (and shall be fully protected in so acting or refraining from
acting) upon the instructions of the Required Lenders (or such other number or percentage of the Lenders
as shall be expressly provided for herein, in the other Loan Documents or in the Order), and such
instructions of the Required Lenders (or such other number or percentage of the Lenders as shall be
expressly provided for herein, in the other Loan Documents or in the Order, as applicable) shall be binding
upon all Lenders and all makers of Loans; provided, however, the Agents shall not be required to take any
action which, in the reasonable opinion of any Agent, exposes such Agent to liability or which is contrary
to this Agreement or any other Loan Document or applicable law.

                 Section 10.02 Nature of Duties; Delegation. (a) The Agents shall have no duties or
responsibilities except those expressly set forth in this Agreement, in the other Loan Documents or in the
Order. The duties of the Agents shall be mechanical and administrative in nature. The Agents shall not
have by reason of this Agreement, any other Loan Document or the Order a fiduciary relationship in respect
of any Lender. Nothing in this Agreement, any other Loan Document or the Order, express or implied, is
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intended to or shall be construed to impose upon the Agents any obligations in respect of this Agreement
or any other Loan Document except as expressly set forth herein or therein. Each Lender shall make its
own independent investigation of the financial condition and affairs of the Loan Parties in connection with
the making and the continuance of the Loans hereunder and shall make its own appraisal of the
creditworthiness of the Loan Parties and the value of the Collateral, and the Agents shall have no duty or
responsibility, either initially or on a continuing basis, to provide any Lender with any credit or other
information with respect thereto, whether coming into their possession before the initial Loan hereunder or
at any time or times thereafter, provided that, upon the reasonable request of a Lender, each Agent shall
provide to such Lender any documents or reports delivered to such Agent by the Loan Parties pursuant to
the terms of this Agreement, any other Loan Document or the Order. If any Agent seeks the consent or
approval of the Required Lenders (or such other number or percentage of the Lenders as shall be expressly
provided for herein or in the other Loan Documents) to the taking or refraining from taking any action
hereunder, such Agent shall send notice thereof to each Lender. Each Agent shall promptly notify each
Lender any time that the Required Lenders (or such other number or percentage of the Lenders as shall be
expressly provided for herein, in the other Loan Documents or in the Order) have instructed such Agent to
act or refrain from acting pursuant hereto.

                  (b)     Each Agent may, upon any term or condition it specifies, delegate or exercise any
of its rights, powers and remedies under, and delegate or perform any of its duties or any other action with
respect to, any Loan Document by or through any trustee, sub-agent, co- agent, employee, attorney-in-fact
and any other Person (including any Lender). Any such Person shall benefit from this Article X to the
extent provided by the applicable Agent.

                  Section 10.03 Rights, Exculpation, Etc. The Agents and their directors, officers, agents
or employees shall not be liable for any action taken or omitted to be taken by them under or in connection
with this Agreement or the other Loan Documents, except for their own gross negligence or willful
misconduct as determined by a final non-appealable judgment of a court of competent jurisdiction. Without
limiting the generality of the foregoing, the Agents may treat the payee of any Loan as the owner thereof
until the Collateral Agent receives written notice of the assignment or transfer thereof, pursuant to
Section 12.07 hereof, signed by such payee and in form satisfactory to the Collateral Agent; (ii) may consult
with legal counsel (including, without limitation, counsel to any Agent or counsel to the Loan Parties),
independent public accountants, and other experts selected by any of them and shall not be liable for any
action taken or omitted to be taken in good faith by any of them in accordance with the advice of such
counsel or experts; (iii) make no warranty or representation to any Lender and shall not be responsible to
any Lender for any statements, certificates, warranties or representations made in or in connection with this
Agreement or the other Loan Documents; (iv) shall not have any duty to ascertain or to inquire as to the
performance or observance of any of the terms, covenants or conditions of this Agreement or the other Loan
Documents on the part of any Person, the existence or possible existence of any Default or Event of Default,
or to inspect the Collateral or other property (including, without limitation, the books and records) of any
Person; (v) shall not be responsible to any Lender for the due execution, legality, validity, enforceability,
genuineness, sufficiency or value of this Agreement or the other Loan Documents or any other instrument
or document furnished pursuant hereto or thereto; and (vi) shall not be deemed to have made any
representation or warranty regarding the existence, value or collectibility of the Collateral, the existence,
priority or perfection of the Collateral Agent’s Lien thereon, or any certificate prepared by any Loan Party
in connection therewith, nor shall the Agents be responsible or liable to the Lenders for any failure to
monitor or maintain any portion of the Collateral. The Agents shall not be liable for any apportionment or
distribution of payments made in good faith pursuant to Section 4.03, and if any such apportionment or
distribution is subsequently determined to have been made in error, and the sole recourse of any Lender to
whom payment was due but not made shall be to recover from other Lenders any payment in excess of the
amount which they are determined to be entitled. The Agents may at any time request instructions from
the Lenders with respect to any actions or approvals which by the terms of this Agreement or of any of the
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other Loan Documents the Agents are permitted or required to take or to grant, and if such instructions are
promptly requested, the Agents shall be absolutely entitled to refrain from taking any action or to withhold
any approval under any of the Loan Documents until they shall have received such instructions from the
Required Lenders. Without limiting the foregoing, no Lender shall have any right of action whatsoever
against any Agent as a result of such Agent acting or refraining from acting under this Agreement or any
of the other Loan Documents in accordance with the instructions of the Required Lenders (or such other
number or percentage of the Lenders as shall be expressly provided for herein or in the other Loan
Documents). The provisions of this Section 10.03 shall survive the payment in full of the Loans and the
termination of this Agreement.

                 Section 10.04 Reliance. Each Agent shall be entitled to rely upon any written notices,
statements, certificates, orders or other documents or any telephone message believed by it in good faith to
be genuine and correct and to have been signed, sent or made by the proper Person, and with respect to all
matters pertaining to this Agreement or any of the other Loan Documents and its duties hereunder or
thereunder, upon advice of counsel selected by it.

                 Section 10.05 Indemnification. To the extent that any Agent is not reimbursed and
indemnified by any Loan Party, and whether or not such Agent has made demand on any Loan Party for
the same, the Lenders will, within five (5) days of written demand by such Agent, reimburse such Agent
for and indemnify such Agent from and against any and all liabilities, obligations, losses, damages,
penalties, actions, judgments, suits, costs, expenses (including, without limitation, client charges and
expenses of counsel or any other advisor to such Agent, advances or disbursements of any kind or nature
whatsoever which may be imposed on, incurred by, or asserted against such Agent in any way relating to
or arising out of this Agreement, any of the other Loan Documents or any action taken or omitted by such
Agent under this Agreement or any of the other Loan Documents, in proportion to each Lender’s Pro Rata
Share, including, without limitation, advances and disbursements made pursuant to Section 10.08;
provided, however, that no Lender shall be liable for any portion of such liabilities, obligations, losses,
damages, penalties, actions, judgments, suits, costs, expenses, advances or disbursements for which there
has been a final non-appealable judicial determination that such liability resulted from such Agent’s gross
negligence or willful misconduct. The obligations of the Lenders under this Section 10.05 shall survive the
payment in full of the Loans and the termination of this Agreement.

                 Section 10.06 Agents Individually. With respect to its Pro Rata Share of the DIP Loan
Commitment hereunder and the Loans made by it, each Agent shall have and may exercise the same rights
and powers hereunder and is subject to the same obligations and liabilities as and to the extent set forth
herein for any other Lender or maker of a Loan. The terms “Lenders” or “Required Lenders” or any similar
terms shall, unless the context clearly otherwise indicates, include each Agent in its individual capacity as
a Lender or one of the Required Lenders. Each Agent and its Affiliates may accept deposits from, lend
money to, and generally engage in any kind of banking, trust or other business with any Borrower as if it
were not acting as an Agent pursuant hereto without any duty to account to the other Lenders.

                 Section 10.07 Successor Agent. (a) Any Agent may at any time give at least thirty (30)
days prior written notice of its resignation to the Lenders and the Borrower. Upon receipt of any such
notice of resignation, the Required Lenders shall have the right to appoint a successor Agent in consultation
with the Borrower. If no such successor Agent shall have been so appointed by the Required Lenders and
shall have accepted such appointment within thirty (30) days after the retiring Agent gives notice of its
resignation (or such earlier day as shall be agreed by the Required Lenders) (the “Resignation Effective
Date”), then the retiring Agent may (but shall not be obligated to), on behalf of the Lenders, appoint a
successor Agent. Whether or not a successor Agent has been appointed, such resignation shall become
effective in accordance with such notice on the Resignation Effective Date.

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                (b)       With effect from the Resignation Effective Date, (i) the retiring Agent shall be
discharged from its duties and obligations hereunder and under the other Loan Documents (except that in
the case of any Collateral held by such Agent on behalf of the Lenders under any of the Loan Documents,
the retiring Agent shall continue to hold such collateral security until such time as a successor Agent is
appointed) and (ii) all payments, communications and determinations provided to be made by, to or through
such retiring Agent shall instead be made by or to each Lender directly, until such time, if any, as a successor
Agent shall have been appointed as provided for above. Upon the acceptance of a successor’s Agent’s
appointment as Agent hereunder, such successor shall succeed to and become vested with all of the rights,
powers, privileges and duties of the retiring Agent, and the retiring Agent shall be discharged from all of
its duties and obligations hereunder or under the other Loan Documents. After the retiring Agent’s
resignation hereunder and under the other Loan Documents, the provisions of this Article, Section 12.04
and Section 12.15 shall continue in effect for the benefit of such retiring Agent in respect of any actions
taken or omitted to be taken by it while the retiring Agent was acting as Agent.

                 Section 10.08    Collateral Matters.

                 (a)      [Reserved].

                   (b)      The Lenders hereby irrevocably authorize the Collateral Agent, at its option and in
its discretion, to release any Lien granted to or held by such Agent upon any Collateral upon (i) indefeasible
payment in full in cash of the Obligations (which includes a conversion thereof into any exit financing of
the Debtor pursuant to the terms of the Bankruptcy Plan and in accordance with the RSA); (ii) constituting
property being sold or disposed of in the ordinary course of any Loan Party’s business or otherwise in
compliance with the terms of this Agreement, the other Loan Documents and the Order; (iii) constituting
property in which the Loan Parties owned no interest at the time the Lien was granted or at any time
thereafter; or (iv) if approved, authorized or ratified in writing by the Lenders in accordance with
Section 12.02. Upon request by the Collateral Agent at any time, the Lenders will confirm in writing the
Collateral Agent’s authority to release particular types or items of Collateral pursuant to this
Section 10.08(b).

                 (c)     Without in any manner limiting the Collateral Agent’s authority to act without any
specific or further authorization or consent by the Lenders (as set forth in Section 10.08(b)), each Lender
agrees to confirm in writing, upon request by the Collateral Agent the authority to release Collateral
conferred upon the Collateral Agent under Section 10.08(b). Upon receipt by the Collateral Agent of
confirmation from the Lenders of its authority to release any particular item or types of Collateral, the
Collateral Agent shall (and is hereby irrevocably authorized by the Lenders to) execute such documents as
may be necessary to evidence the release of the Liens granted to the Collateral Agent for the benefit of the
Agents and the Lenders upon such Collateral; provided, however, that (i) the Collateral Agent shall not be
required to execute any such document on terms which, in the Collateral Agent’s opinion, would expose
the Collateral Agent liability or create any obligations or entail any consequence other than the release of
such Liens without recourse or warranty, and (ii) such release shall not in any manner discharge, affect or
impair the Obligations or any Lien upon (or obligations of any Loan Party in respect of) all interests in the
Collateral retained by any Loan Party.

                   (d)      Anything contained in any of the Loan Documents to the contrary notwithstanding,
the Loan Parties, each Agent and each Lender hereby agree that (i) no Lender shall have any right
individually to realize upon any of the Collateral under any Loan Document or to enforce any Guaranty, it
being understood and agreed that all powers, rights and remedies under the Loan Documents may be
exercised solely by the Collateral Agent for the benefit of the Secured Parties in accordance with the terms
thereof, (ii) in the event of a foreclosure by the Collateral Agent on any of the Collateral pursuant to a public
or private sale, the Administrative Agent, the Collateral Agent or any Lender may be the purchaser of any
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or all of such Collateral at any such sale and (iii) the Collateral Agent, as agent for and representative of
the Agents and the Lenders (but not any other Agent or any Lender or Lenders in its or their respective
individual capacities unless the Required Lenders shall otherwise agree in writing) shall be entitled (either
directly or through one or more acquisition vehicles) for the purpose of bidding and making settlement or
payment of the purchase price for all or any portion of the Collateral to be sold (A) at any public or private
sale, (B) at any sale conducted by the Collateral Agent under the provisions of the Uniform Commercial
Code (including pursuant to Sections 9-610 or 9-620 of the Uniform Commercial Code), (C) at any sale or
foreclosure conducted by the Collateral Agent (whether by judicial action or otherwise) in accordance with
applicable law or (D) any sale conducted pursuant to the provisions of any Debtor Relief Law (including
Section 363 of the Bankruptcy Code), to use and apply all or any of the Obligations as a credit on account
of the purchase price for any Collateral payable by the Collateral Agent at such sale.

                  (e)       The Collateral Agent shall have no obligation whatsoever to any Lender to assure
that the Collateral exists or is owned by the Loan Parties or is cared for, protected or insured or has been
encumbered or that the Lien granted to the Collateral Agent pursuant to this Agreement or any other Loan
Document has been properly or sufficiently or lawfully created, perfected, protected or enforced or is
entitled to any particular priority, or to exercise at all or in any particular manner or under any duty of care,
disclosure or fidelity, or to continue exercising, any of the rights, authorities and powers granted or available
to the Collateral Agent in this Section 10.08 or in any other Loan Document, it being understood and agreed
that in respect of the Collateral, or any act, omission or event related thereto, the Collateral Agent may act
in any manner it may deem appropriate, in its sole discretion, given the Collateral Agent’s own interest in
the Collateral as one of the Lenders and that the Collateral Agent shall have no duty or liability whatsoever
to any other Lender, except as otherwise provided herein.

                  Section 10.09 Agency for Perfection. Each Agent and each Lender hereby appoints each
other Agent and each other Lender as agent and bailee for the purpose of perfecting the security interests
in and liens upon the Collateral in assets which, in accordance with Article 9 of the Uniform Commercial
Code, can be perfected only by possession or control (or where the security interest of a secured party with
possession or control has priority over the security interest of another secured party) and each Agent and
each Lender hereby acknowledges that it holds possession of or otherwise controls any such Collateral for
the benefit of the Agents and the Lenders as secured party. Should the Administrative Agent or any Lender
obtain possession or control of any such Collateral, the Administrative Agent or such Lender shall notify
the Collateral Agent thereof, and, promptly upon the Collateral Agent’s request therefor shall deliver such
Collateral to the Collateral Agent or in accordance with the Collateral Agent’s instructions. In addition, the
Collateral Agent shall also have the power and authority hereunder to appoint such other sub-agents as may
be necessary or required under applicable state law or otherwise to perform its duties and enforce its rights
with respect to the Collateral and under the Loan Documents. Each Loan Party by its execution and delivery
of this Agreement hereby consents to the foregoing.

                 Section 10.10 No Reliance on any Agent’s Customer Identification Program. Each
Lender acknowledges and agrees that neither such Lender, nor any of its Affiliates, participants or
assignees, may rely on any Agent to carry out such Lender’s, Affiliate’s, participant’s or assignee’s
customer identification program, or other requirements imposed by the USA PATRIOT Act or the
regulations issued thereunder, including the regulations set forth in 31 C.F.R. §§ 1010.100(yy), (iii),
1020.100, and 1020.220 (formerly 31 C.F.R. § 103.121), as hereafter amended or replaced (“CIP
Regulations”), or any other Anti-Terrorism Laws, including any programs involving any of the following
items relating to or in connection with any of the Loan Parties, their Affiliates or their agents, the Loan
Documents or the transactions hereunder or contemplated hereby: (1) any identity verification procedures,
(2) any recordkeeping, (3) comparisons with government lists, (4) customer notices or (5) other procedures
required under the CIP Regulations or other regulations issued under the USA PATRIOT Act. Each Lender,

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Affiliate, participant or assignee subject to Section 326 of the USA PATRIOT Act will perform the
measures necessary to satisfy its own responsibilities under the CIP Regulations.

                 Section 10.11 No Third Party Beneficiaries. The provisions of this Article are solely for
the benefit of the Secured Parties, and no Loan Party shall have rights as a third-party beneficiary of any of
such provisions.

                  Section 10.12 No Fiduciary Relationship. It is understood and agreed that the use of the
term “agent” herein or in any other Loan Document (or any other similar term) with reference to any Agent
is not intended to connote any fiduciary or other implied (or express) obligations arising under agency
doctrine of any applicable law. Instead such term is used as a matter of market custom, and is intended to
create or reflect only an administrative relationship between contracting parties.

               Section 10.13     Reports; Confidentiality; Disclaimers.      By becoming a party to this
Agreement, each Lender:

                 (a)      is deemed to have requested that each Agent furnish such Lender, promptly after
it becomes available, a copy of each field audit or examination report with respect to the Borrower or any
of its Subsidiaries (each, a “Report”) prepared by or at the request of such Agent, and each Agent shall so
furnish each Lender with each such Report,

                (b)     expressly agrees and acknowledges that the Agents (i) do not make any
representation or warranty as to the accuracy of any Reports, and (ii) shall not be liable for any information
contained in any Reports,

                (c)     expressly agrees and acknowledges that the Reports are not comprehensive audits
or examinations, that any Agent or other party performing any audit or examination will inspect only
specific information regarding the Borrower and its Subsidiaries and will rely significantly upon the
Borrower’s and its Subsidiaries’ books and records, as well as on representations of their personnel,

               (d)     agrees to keep all Reports and other material, non-public or proprietary
information regarding the Borrower and its Subsidiaries and their operations, assets, and existing and
contemplated business plans in a confidential manner in accordance with Section 12.19, and

                 (e)     without limiting the generality of any other indemnification provision contained in
this Agreement, agrees: (i) to hold any Agent and any other Lender preparing a Report harmless from any
action the indemnifying Lender may take or fail to take or any conclusion the indemnifying Lender may
reach or draw from any Report in connection with any loans or other credit accommodations that the
indemnifying Lender has made or may make to the Borrower, or the indemnifying Lender’s participation
in, or the indemnifying Lender’s purchase of, a loan or loans of the Borrower, and (ii) to pay and protect,
and indemnify, defend and hold any Agent and any other Lender preparing a Report harmless from and
against, the claims, actions, proceedings, damages, costs, expenses, and other amounts (including,
attorney’s fees and costs) incurred by any such Agent and any such other Lender preparing a Report as the
direct or indirect result of any third parties who might obtain all or part of any Report through the
indemnifying Lender.

                Section 10.14 Collateral Custodian. Upon the occurrence and during the continuance of
any Default or Event of Default, the Collateral Agent or its designee may at any time and from time to time
employ and maintain on the premises of any Loan Party a custodian selected by the Collateral Agent or its
designee who shall have full authority to do all acts necessary to protect the Agents’ and the Lenders’
interests. Each Loan Party hereby agrees to, and to cause its Subsidiaries to, cooperate with any such
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custodian and to do whatever the Collateral Agent or its designee may reasonably request to preserve the
Collateral.

                  Section 10.15 Intercreditor Agreement. Each Lender hereby grants to the Collateral
Agent all requisite authority to enter into or otherwise become bound by, and to perform its obligations and
exercise its rights and remedies under and in accordance with the terms of, the Intercreditor Agreement and
to bind the Lenders thereto by the Collateral Agent’s entering into or otherwise becoming bound thereby,
and no further consent or approval on the part of any Lender is or will be required in connection with the
performance by the Collateral Agent of the Intercreditor Agreement.

                 Section 10.16 Collateral Agent May File Proofs of Claim. In case of the pendency of
any proceeding under any Debtor Relief Law or any other judicial proceeding relative to any Loan Party,
the Collateral Agent and/or the Administrative Agent (irrespective of whether the principal of any Loan
shall then be due and payable as herein expressed or by declaration or otherwise and irrespective of whether
any Agent shall have made any demand on the Borrower) shall be entitled and empowered (but not
obligated) by intervention in such proceeding or otherwise:

                (a)      to file and prove a claim for the whole amount of the principal and interest owing
and unpaid in respect of the Loans and all other Obligations that are owing and unpaid and to file such other
documents as may be necessary or advisable in order to have the claims of the Secured Parties (including
any claim for the compensation, expenses, disbursements and advances of the Secured Parties and their
respective agents and counsel and all other amounts due the Secured Parties hereunder and under the other
Loan Documents) allowed in such judicial proceeding; and

                (b)      to collect and receive any monies or other property payable or deliverable on any
such claims and to distribute the same;

and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in any such
judicial proceeding is hereby authorized by each Secured Party to make such payments to the Collateral
Agent and the Administrative Agent and, in the event that the Collateral Agent or Administrative Agent
shall consent to the making of such payments directly to the Secured Parties, to pay to the Collateral Agent
or the Administrative Agent, as applicable, any amount due for the reasonable compensation, expenses,
disbursements and advances of the Collateral Agent or the Administrative Agent, and their respective agents
and counsel, and any other amounts due the Collateral Agent or the Administrative Agent hereunder and
under the other Loan Documents.

                 Section 10.17    Chapter 11 Case; Bankruptcy.

                (a)      Nothing contained herein shall be deemed to (x) require any Agent to file or prove
any claim in the Chapter 11 Case, or (y) authorize any Agent to authorize or consent to or accept or adopt
on behalf of any Lender any plan of reorganization, arrangement, adjustment or composition affecting the
Obligations or the rights of any Lender or to authorize the Administrative Agent to vote in respect of the
claim of any Lender in any such proceeding.

                  (b)     The Lenders hereby irrevocably authorize the Agents, based upon the instruction
of the Required Lenders, to (a) consent to, credit bid or purchase (either directly or indirectly through one
or more entities) all or any portion of the Collateral at any sale thereof conducted under the provisions of
the Bankruptcy Code, including Section 363 of the Bankruptcy Code and any similar laws in any other
jurisdictions in which a Loan Party is subject, (b) credit bid or purchase (either directly or indirectly through
one or more entities) all or any portion of the Collateral at any sale or other disposition thereof conducted
under the provisions of the Uniform Commercial Code, including pursuant to Sections 9-610 or 9-620 of
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the Uniform Commercial Code, or (c) credit bid or purchase (either directly or indirectly through one or
more entities) all or any portion of the Collateral at any other sale or foreclosure conducted or consented to
by the Collateral Agent (at the direction of the Required Lenders) in accordance with applicable law in any
judicial action or proceeding or by the exercise of any legal or equitable remedy. In connection with any
such credit bid or purchase, (i) the Obligations owed to the Lenders shall be entitled to be, and shall be,
credit bid on a ratable basis (with Obligations with respect to contingent or unliquidated claims being
estimated for such purpose if the fixing or liquidation thereof would not impair or unduly delay the ability
of the Agents to credit bid or purchase at such sale or other disposition of the Collateral and, if such
contingent or unliquidated claims cannot be estimated without impairing or unduly delaying the ability of
the Agents to credit bid at such sale or other disposition, then such claims shall be disregarded, not credit
bid, and not entitled to any interest in the Collateral that is the subject of such credit bid or purchase) and
the Lenders whose Obligations are credit bid shall be entitled to receive interests (ratably based upon the
proportion of their Obligations credit bid in relation to the aggregate amount of Obligations so credit bid)
in the Collateral that is the subject of such credit bid or purchase (or in the Equity Interests of the any
entities that are used to consummate such credit bid or purchase), and (ii) the Agents, based upon the
instruction of the Required Lenders, may accept non-cash consideration, including debt and equity
securities issued by any entities used to consummate such credit bid or purchase and in connection therewith
the Agents may reduce the Obligations owed to the Lenders (ratably based upon the proportion of their
Obligations credit bid in relation to the aggregate amount of Obligations so credit bid) based upon the value
of such non-cash consideration. Except as provided above, the Agents will not execute and deliver a release
of any Lien on any Collateral without the prior written authorization of (y) if the release is of all or
substantially all of the Collateral, all of the Lenders, or (z) otherwise, the Required Lenders. Upon request
by the Agents or the Borrower at any time, the Lenders will confirm in writing the Agents’ authority to
release any such Liens on particular types or items of Collateral pursuant to this Article X; provided, that
(1) anything to the contrary contained in any of the Loan Documents notwithstanding, the Agents shall not
be required to execute any document or take any action necessary to evidence such release on terms that,
in the Agents’ reasonable opinion, could expose either Agent to liability or create any obligation or entail
any consequence other than the release of such Lien without recourse, representation, or warranty, and (2)
such release shall not in any manner discharge, affect, or impair the Obligations or any Liens (other than
those expressly released) upon (or obligations of the Borrower in respect of) any and all interests retained
by the Borrower, including, the proceeds of any sale, all of which shall continue to constitute part of the
Collateral.

                 Section 10.18    Erroneous Payments.

                  (a)     If the Administrative Agent notifies a Lender, Secured Party, or any Person who
has received funds on behalf of a Lender or Secured Party (any such Lender, Secured Party or other
recipient, a “Payment Recipient”) that the Administrative Agent has determined in its sole discretion
(whether or not after receipt of any notice under immediately succeeding clause (b)) that any funds received
by such Payment Recipient from any Agent or any of their Affiliates were erroneously transmitted to, or
otherwise erroneously or mistakenly received by, such Payment Recipient (whether or not known to such
Lender, Secured Party or other Payment Recipient on its behalf) (any such funds, whether received as a
payment, prepayment or repayment of principal, interest, fees, distribution or otherwise, individually and
collectively, an “Erroneous Payment”) and demands the return of such Erroneous Payment (or a portion
thereof) (provided, that without limiting any other rights or remedies (whether at law or in equity), the
Administrative Agent may not make any such demand under this sentence with respect to an Erroneous
Payment unless such demand is made within ten (10) Business Days of the date of receipt of such Erroneous
Payment by the applicable Payment Recipient), such Erroneous Payment shall at all times remain the
property of the Administrative Agent and shall be segregated by the Payment Recipient and held in trust
for the benefit of the Administrative Agent, and such Lender or Secured Party shall (or, with respect to any
Payment Recipient who received such funds on its behalf, shall cause such Payment Recipient to) promptly,
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but in no event later than two (2) Business Days thereafter, return to the Administrative Agent the amount
of any such Erroneous Payment (or portion thereof) as to which such a demand was made, in same day
funds (in the currency so received). A notice of the Administrative Agent to any Payment Recipient under
this clause (a) shall be conclusive, absent manifest error.

                   (b)      Without limiting immediately preceding clause (a), each Lender and Secured Party
hereby further agrees that if it (or any Payment Recipient who on its behalf) receives a payment, prepayment
or repayment (whether received as a payment, prepayment or repayment of principal, interest, fees,
distribution or otherwise) from any Agent (or any of their Affiliates) (x) that is in a different amount than,
or on a different date from, that specified in a notice of payment, prepayment or repayment sent by such
Agent (or any of its Affiliates) with respect to such payment, prepayment or repayment, (y) that was not
preceded or accompanied by a notice of payment, prepayment or repayment sent by such Agent (or any of
its Affiliates), or (z) that such Lender or Secured Party, or other such recipient, otherwise becomes aware
was transmitted, or received, in error or by mistake (in whole or in part) in each case:

                         (i)     (A) in the case of immediately preceding clauses (x) or (y), an error shall
        be presumed to have been made (absent written confirmation from the Administrative Agent to the
        contrary) or (B) an error has been made (in the case of immediately preceding clause (z)), in each
        case, with respect to such payment, prepayment or repayment; and

                         (ii)    such Lender or Secured Party shall (and shall cause any other recipient
        that receives funds on its respective behalf to) promptly (and, in all events, within one Business
        Day of its knowledge of such error) notify the Administrative Agent of its receipt of such payment,
        prepayment or repayment, the details thereof (in reasonable detail) and that it is so notifying the
        Administrative Agent pursuant to this Section 10.18(b).

                 (c)      Each Lender or Secured Party hereby authorizes the Administrative Agent to set
off, net and apply any and all amounts at any time owing to such Lender or Secured Party under any Loan
Document, or otherwise payable or distributable by the Administrative Agent to such Lender or Secured
Party from any source, against any amount due to the Administrative Agent under immediately preceding
clause (a) or under the indemnification provisions of this Agreement.

                  (d)     In the event that an Erroneous Payment (or portion thereof) is not recovered by the
Administrative Agent for any reason, after demand therefor by the Administrative Agent in accordance
with immediately preceding clause (a), from any Lender that has received such Erroneous Payment (or
portion thereof) (and/or from any Payment Recipient who received such Erroneous Payment (or portion
thereof) on its respective behalf) (such unrecovered amount, an “Erroneous Payment Return Deficiency”),
upon the Administrative Agent’s notice to such Lender at any time, (i) such Lender shall be deemed to have
assigned its Loans (but not its DIP Loan Commitments) of the relevant class with respect to which such
Erroneous Payment was made (the “Erroneous Payment Impacted Class”) in an amount equal to the
Erroneous Payment Return Deficiency (or such lesser amount as the Administrative Agent may specify)
(such assignment of the Loans (but not DIP Loan Commitments) of the Erroneous Payment Impacted Class,
the “Erroneous Payment Deficiency Assignment”) at par plus any accrued and unpaid interest (with the
assignment fee to be waived by the Administrative Agent in such instance), and is hereby (together with
the Borrower) deemed to execute and deliver an Assignment and Acceptance with respect to such Erroneous
Payment Deficiency Assignment, and such Lender shall deliver any notes evidencing such Loans to the
Borrower or the Administrative Agent, (ii) the Administrative Agent as the assignee Lender shall be deemed
to acquire the Erroneous Payment Deficiency Assignment, (iii) upon such deemed acquisition, the
Administrative Agent as the assignee Lender shall become a Lender hereunder with respect to such
Erroneous Payment Deficiency Assignment and the assigning Lender shall cease to be a Lender hereunder
with respect to such Erroneous Payment Deficiency Assignment, excluding, for the avoidance of doubt, its
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obligations under the indemnification provisions of this Agreement and its applicable DIP Loan
Commitments which shall survive as to such assigning Lender, and (iv) the Administrative Agent may
reflect in the Register its ownership interest in the Loans subject to the Erroneous Payment Deficiency
Assignment. The Administrative Agent may, in its discretion, sell any Loans acquired pursuant to an
Erroneous Payment Deficiency Assignment and upon receipt of the proceeds of such sale, the Erroneous
Payment Return Deficiency owing by the applicable Lender shall be reduced by the net proceeds of the sale
of such Loan (or portion thereof), and the Administrative Agent shall retain all other rights, remedies and
claims against such Lender (and/or against any recipient that receives funds on its respective behalf). For
the avoidance of doubt, no Erroneous Payment Deficiency Assignment will reduce the DIP Loan
Commitments of any Lender and such DIP Loan Commitments shall remain available in accordance with
the terms of this Agreement. In addition, each party hereto agrees that, except to the extent that the
Administrative Agent has sold a Loan (or portion thereof) acquired pursuant to an Erroneous Payment
Deficiency Assignment, and irrespective of whether the Administrative Agent may be equitably subrogated,
the Administrative Agent shall be contractually subrogated to all the rights and interests of the applicable
Lender under the Loan Documents with respect to each Erroneous Payment Return Deficiency (the
“Erroneous Payment Subrogation Rights”).

                  (e)      The parties hereto agree that (1) an Erroneous Payment shall not pay, prepay,
repay, discharge or otherwise satisfy any Obligations owed by the Borrower or any other Loan Party and
(2) to the extent an Erroneous Payment was in any way or at any time credited as a payment or satisfaction
of any of the Obligations, the Obligations or part thereof that were so credited, and all rights of the
applicable Lender, other Secured Party or Administrative Agent, as the case may be, shall be reinstated and
continue in full force and effect as if such payment or satisfaction had never been received, except, in each
case, to the extent such Erroneous Payment is, and solely with respect to the amount of such Erroneous
Payment that is, comprised of funds received by the Administrative Agent from the Borrower or any other
Loan Party for the purpose of making such Erroneous Payment. Further, each party hereto agrees that, in
the event a Secured Party is the recipient of an Erroneous Payment and such Secured Party fails to return
such Erroneous Payment in accordance with Section 10.18(a), then the Administrative Agent shall be
entitled to (x) collect from the Borrower or any other Loan Party any Obligations owed by the Borrower or
any other Loan Party to such Secured Party up to and including the amount of the Erroneous Payment, plus
any other amounts owed by such Secured Party under the indemnification provisions of this Agreement,
and (y) exercise its rights and remedies under Section 10.18(c) until the Administrative Agent has received
all amounts owed by the Secured Party to the Administrative Agent pursuant to Section 10.18(a).

                (f)     To the extent permitted by applicable law, no Payment Recipient shall assert any
right or claim to an Erroneous Payment, and hereby waives, and is deemed to waive, any claim,
counterclaim, defense or right of set-off or recoupment with respect to any demand, claim or counterclaim
by the Administrative Agent for the return of any Erroneous Payment received, including without limitation
waiver of any defense based on “discharge for value” or any similar doctrine.

                  (g)    Each party’s obligations, agreements and waivers under this Section 10.18 shall
survive the resignation or replacement of the Administrative Agent, any transfer of rights or obligations by,
or the replacement of, a Lender, the termination of the DIP Loan Commitments and/or the repayment,
satisfaction or discharge of all Obligations (or any portion thereof) under any Loan Document.




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                                              ARTICLE XI

                                               GUARANTY

                 Section 11.01 Guaranty.       Each Guarantor hereby jointly and severally and
unconditionally and irrevocably guarantees the punctual payment when due, whether at stated maturity, by
acceleration or otherwise, of all Obligations of the Borrower now or hereafter existing under any Loan
Document, whether for principal, interest (including, without limitation, all interest that accrues after the
commencement of any Insolvency Proceeding of any Borrower, whether or not a claim for post-filing
interest is allowed in such Insolvency Proceeding), fees, commissions, expense reimbursements,
indemnifications or otherwise (such obligations, to the extent not paid by the Borrower, being
the “Guaranteed Obligations”), and agrees to pay any and all expenses (including reasonable counsel fees
and expenses) incurred by the Secured Parties in enforcing any rights under the guaranty set forth in this
Article XI. Without limiting the generality of the foregoing, each Guarantor’s liability shall extend to all
amounts that constitute part of the Guaranteed Obligations and would be owed by the Borrower to the
Secured Parties under any Loan Document but for the fact that they are unenforceable or not allowable due
to the existence of an Insolvency Proceeding involving any Borrower. In no event shall the obligation of
any Guarantor hereunder exceed the maximum amount such Guarantor could guarantee under any Debtor
Relief Law.

                  Section 11.02 Guaranty Absolute. Each Guarantor jointly and severally guarantees that
the Guaranteed Obligations will be paid strictly in accordance with the terms of the Loan Documents,
regardless of any law, regulation or order now or hereafter in effect in any jurisdiction affecting any of such
terms or the rights of the Secured Parties with respect thereto. Each Guarantor agrees that this Article XI
constitutes a guaranty of payment when due and not of collection and waives any right to require that any
resort be made by any Agent or any Lender to any Collateral. The obligations of each Guarantor under this
Article XI are independent of the Guaranteed Obligations, and a separate action or actions may be brought
and prosecuted against each Guarantor to enforce such obligations, irrespective of whether any action is
brought against any Loan Party or whether any Loan Party is joined in any such action or actions. The
liability of each Guarantor under this Article XI shall be irrevocable, absolute and unconditional
irrespective of, and each Guarantor hereby irrevocably waives any defenses it may now or hereafter have
in any way relating to, any or all of the following: (a) any lack of validity or enforceability of any Loan
Document, the Order or any agreement or instrument relating thereto; (b) any change in the time, manner
or place of payment of, or in any other term of, all or any of the Guaranteed Obligations, or any other
amendment or waiver of or any consent to departure from any Loan Document, including, without
limitation, any increase in the Guaranteed Obligations resulting from the extension of additional credit to
any Loan Party or otherwise; (c) any taking, exchange, release or non-perfection of any Collateral, or any
taking, release or amendment or waiver of or consent to departure from any other guaranty, for all or any
of the Guaranteed Obligations; (d) the existence of any claim, set-off, defense or other right that any
Guarantor may have at any time against any Person, including, without limitation, any Secured Party; (e)
any change, restructuring or termination of the corporate, limited liability company or partnership structure
or existence of any Loan Party; or (f) any other circumstance (including, without limitation, any statute of
limitations) or any existence of or reliance on any representation by the Secured Parties that might otherwise
constitute a defense available to, or a discharge of, any Loan Party or any other guarantor or surety. This
Article XI shall continue to be effective or be reinstated, as the case may be, if at any time any payment of
any of the Guaranteed Obligations is rescinded or must otherwise be returned by Secured Parties or any
other Person upon the insolvency, bankruptcy or reorganization of any Borrower or otherwise, all as though
such payment had not been made.

                Section 11.03 Waiver. Each Guarantor hereby waives (a) promptness and diligence, (b)
notice of acceptance and any other notice with respect to any of the Guaranteed Obligations and this
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Article XI and any requirement that the Secured Parties exhaust any right or take any action against any
Loan Party or any other Person or any Collateral, (c) any right to compel or direct any Secured Party to
seek payment or recovery of any amounts owed under this Article XI from any one particular fund or source
or to exhaust any right or take any action against any other Loan Party, any other Person or any Collateral,
(d) any requirement that any Secured Party protect, secure, perfect or insure any security interest or Lien
on any property subject thereto or exhaust any right to take any action against any Loan Party, any other
Person or any Collateral, and (e) any other defense available to any Guarantor. Each Guarantor agrees that
the Secured Parties shall have no obligation to marshal any assets in favor of any Guarantor or against, or
in payment of, any or all of the Obligations. Each Guarantor acknowledges that it will receive direct and
indirect benefits from the financing arrangements contemplated herein and that the waiver set forth in this
Section 11.03 is knowingly made in contemplation of such benefits. Each Guarantor hereby waives any
right to revoke this Article XI, and acknowledges that this Article XI is continuing in nature and applies to
all Guaranteed Obligations, whether existing now or in the future.

                 Section 11.04 Continuing Guaranty; Assignments. This Article XI is a continuing
guaranty and shall (a) remain in full force and effect until the cash payment in full of the Guaranteed
Obligations (other than Contingent Indemnity Obligations) and all other amounts payable under this
Article XI, (b) be binding upon each Guarantor, its successors and assigns and (c) inure to the benefit of
and be enforceable by the Secured Parties and their successors, pledgees, transferees and assigns. Without
limiting the generality of the foregoing clause (c), any Lender may pledge, assign or otherwise transfer all
or any portion of its rights and obligations under this Agreement (including, without limitation, all or any
portion of its DIP Loan Commitments and its Loans owing to it) to any other Person, and such other Person
shall thereupon become vested with all the benefits in respect thereof granted such Lender herein or
otherwise, in each case as provided in Section 12.07.

                  Section 11.05 Subrogation. No Guarantor will exercise any rights that it may now or
hereafter acquire against any Loan Party or any other guarantor that arise from the existence, payment,
performance or enforcement of such Guarantor’s obligations under this Article XI, including, without
limitation, any right of subrogation, reimbursement, exoneration, contribution or indemnification and any
right to participate in any claim or remedy of the Secured Parties against any Loan Party or any other
guarantor or any Collateral, whether or not such claim, remedy or right arises in equity or under contract,
statute or common law, including, without limitation, the right to take or receive from any Loan Party or
any other guarantor, directly or indirectly, in cash or other property or by set-off or in any other manner,
payment or security solely on account of such claim, remedy or right, unless and until all of the Guaranteed
Obligations (other than Contingent Indemnity Obligations) and all other amounts payable under this
Article XI shall have been paid in full in cash and the DIP Termination Date shall have occurred. If any
amount shall be paid to any Guarantor in violation of the immediately preceding sentence at any time prior
to the later of the payment in full in cash of the Guaranteed Obligations (other than Contingent Indemnity
Obligations) and all other amounts payable under this Article XI and the DIP Termination Date, such
amount shall be held in trust for the benefit of the Secured Parties and shall forthwith be paid to the Secured
Parties to be credited and applied to the Guaranteed Obligations and all other amounts payable under this
Article XI, whether matured or unmatured, in accordance with the terms of this Agreement, or to be held
as Collateral for any Guaranteed Obligations or other amounts payable under this Article XI thereafter
arising. If (i) any Guarantor shall make payment to the Secured Parties of all or any part of the Guaranteed
Obligations, (ii) all of the Guaranteed Obligations and all other amounts payable under this Article XI shall
be paid in full in cash and (iii) the DIP Termination Date shall have occurred, the Secured Parties will, at
such Guarantor’s request and expense, execute and deliver to such Guarantor appropriate documents,
without recourse and without representation or warranty, necessary to evidence the transfer by subrogation
to such Guarantor of an interest in the Guaranteed Obligations resulting from such payment by such
Guarantor.

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                   Section 11.06 Contribution. All Guarantors desire to allocate among themselves, in a
fair and equitable manner, their obligations arising under this Guaranty. Accordingly, in the event any
payment or distribution is made on any date by a Guarantor under this Guaranty such that its Aggregate
Payments exceeds its Fair Share as of such date, such Guarantor shall be entitled to a contribution from
each of the other Guarantors in an amount sufficient to cause each Guarantor’s Aggregate Payments to
equal its Fair Share as of such date. “Fair Share” means, with respect to any Guarantor as of any date of
determination, an amount equal to (a) the ratio of (i) the Fair Share Contribution Amount with respect to
such Guarantor, to (ii) the aggregate of the Fair Share Contribution Amounts with respect to all Guarantors
multiplied by (b) the aggregate amount paid or distributed on or before such date by all Guarantors under
this Guaranty in respect of the obligations Guaranteed. “Fair Share Contribution Amount” means, with
respect to any Guarantor as of any date of determination, the maximum aggregate amount of the obligations
of such Guarantor under this Guaranty that would not render its obligations hereunder subject to avoidance
as a fraudulent transfer or conveyance under Section 548 of Title 11 of the United States Code or any
comparable applicable provisions of state law; provided, solely for purposes of calculating the “Fair Share
Contribution Amount” with respect to any Guarantor for purposes of this Section 11.06, any assets or
liabilities of such Guarantor arising by virtue of any rights to subrogation, reimbursement or
indemnification or any rights to or obligations of contribution hereunder shall not be considered as assets
or liabilities of such Guarantor. “Aggregate Payments” means, with respect to any Guarantor as of any date
of determination, an amount equal to (A) the aggregate amount of all payments and distributions made on
or before such date by such Guarantor in respect of this Guaranty (including, without limitation, in respect
of this Section 11.06), minus (B) the aggregate amount of all payments received on or before such date by
such Guarantor from the other Guarantors as contributions under this Section 11.06. The amounts payable
as contributions hereunder shall be determined as of the date on which the related payment or distribution
is made by the applicable Guarantor. The allocation among Guarantors of their obligations as set forth in
this Section 11.06 shall not be construed in any way to limit the liability of any Guarantor hereunder. Each
Guarantor is a third party beneficiary to the contribution agreement set forth in this Section 11.06.

                                           ARTICLE XII
                                            MISCELLANEOUS

                 Section 12.01    Notices, Etc.

                 (a)       Notices Generally. All notices and other communications provided for hereunder
shall be in writing and shall be delivered by hand, sent by registered or certified mail (postage prepaid,
return receipt requested), overnight courier, telecopier or other electronic delivery. In the case of notices
or other communications to any Loan Party, Administrative Agent or the Collateral Agent, as the case may
be, they shall be sent to the respective address set forth below (or, as to each party, at such other address as
shall be designated by such party in a written notice to the other parties complying as to delivery with the
terms of this Section 12.01):

                         GC Services Limited Partnership
                         6330 Gulfton Street
                         Houston, Texas 77081
                         Attention: Chief Financial Officer
                         Telephone: 713-776-6874
                         Email: michael.jones@gcserv.com

                         and

                         Weil, Gotshal & Manges LLP
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                         200 Crescent Court, Suite 300
                         Dallas, TX 75201-6950
                         Attention: Vynessa M. Nemunaitis, Sunny Singh
                         Telephone: 214-746-7851
                         Fax: (214) 746-7777
                         Email: vynessa.nemunaitis@weil.com; sunny.singh@weil.com

                         if to the Agents, to it at the following address:

                         Goldman Sachs Specialty Lending Group, L.P.
                         2001 Ross Avenue, Suite 2800
                         Dallas, TX 75201
                         Attention: GCS Account Manager
                         Phone: 770-663-6182
                         Email:            Alex.harris@gs.com,       lee.king@gs.com,
                         Hannah.olmstead@gs.com, gs-slg-notices@gs.com

                         with a copy to:

                         King & Spalding LLP
                         1180 Peachtree Street, NE
                         Suite 1600
                         Atlanta, GA 30309-3521
                         Attention: Carolyn Z. Alford, W. Austin Jowers
                         Telephone: (404) 572-2776
                         Facsimile: (404) 572 5100
                         Email: calford@kslaw.com; ajowers@kslaw.com

All notices or other communications sent in accordance with this Section 12.01, shall be deemed received
on the earlier of the date of actual receipt or three (3) Business Days after the deposit thereof in the mail;
provided, that (i) notices sent by overnight courier service shall be deemed to have been given when
received and (ii) notices by facsimile or other electronic delivery shall be deemed to have been given when
sent (except that, if not given during normal business hours for the recipient, shall be deemed to have been
given at the opening of business on the next Business Day for the recipient), provided, further that notices
to any Agent pursuant to Article II shall not be effective until received by such Agent.

                (b)      Electronic Communications.

                        (i)     Each Agent and the Borrower may, in its discretion, agree to accept notices
        and other communications to it hereunder by electronic communications pursuant to procedures
        approved by it; provided that approval of such procedures may be limited to particular notices or
        communications. Notices and other communications to the Lenders hereunder may be delivered
        or furnished by electronic communication (including e-mail and Internet or intranet websites)
        pursuant to procedures approved by the Agents, provided that the foregoing shall not apply to
        notices to any Lender pursuant to Article II if such Lender has notified the Agents that it is
        incapable of receiving notices under such Article by electronic communication.

                       (ii)    Unless the Administrative Agent otherwise prescribes, (A) notices and
        other communications sent to an e-mail address shall be deemed received upon receipt and (B)
        notices or communications posted to an Internet or intranet website shall be deemed received upon
        the deemed receipt by the intended recipient, at its e-mail address as described in the foregoing
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        clause (A), of notification that such notice or communication is available and identifying the
        website address therefor; provided that, for both clauses (A) and (B) above, if such notice, email or
        other communication is not sent during the normal business hours of the recipient, such notice or
        communication shall be deemed to have been sent at the opening of business on the next business
        day for the recipient.

                  Section 12.02 Amendments, Etc. (a) No amendment or waiver of any provision of this
Agreement or any other Loan Document, and no consent to any departure by any Loan Party therefrom,
shall in any event be effective unless the same shall be in writing and signed (x) in the case of an
amendment, consent or waiver to cure any ambiguity, omission, defect or inconsistency or granting a new
Lien for the benefit of the Agents and the Lenders or extending an existing Lien over additional property,
by the Agents (at the direction of the Required Lenders) and the Borrower, (y) in the case of any other
waiver or consent, by the Required Lenders (or by the Collateral Agent and/or the Administrative Agent,
as applicable, with the consent of the Required Lenders) and (z) in the case of any other amendment, by the
Required Lenders (or by the Collateral Agent and/or the Administrative Agent, as applicable, with the
consent of the Required Lenders) and the Borrower, and then such waiver or consent shall be effective only
in the specific instance and for the specific purpose for which given; provided, however, that no amendment,
waiver or consent shall: (i) increase the DIP Loan Commitment of any Lender, reduce the principal of, or
interest on, the Loans payable to any Lender, reduce the amount of any fee or premium payable for the
account of any Lender, or postpone or extend any scheduled date fixed for any payment of principal of, or
interest or fees or premiums on, the Loans payable to any Lender, in each case, without the written consent
of such Lender; (ii) change the percentage of the DIP Loan Commitments or of the aggregate unpaid
principal amount of the Loans that is required for the Lenders or any of them to take any action hereunder
without the written consent of each Lender; (iii) amend the definition of “Required Lenders” or “Pro Rata
Share” without the written consent of each Lender; (iv) release all or a substantial portion of the Collateral
(except as otherwise provided in this Agreement and the other Loan Documents), subordinate any Lien
granted in favor of the Collateral Agent and/or the Administrative Agent, as applicable, for the benefit of
the Agents and the Lenders, or release any Borrower or any Guarantor (except as permitted by this
Agreement), in each case, without the written consent of each Lender; or (v) amend, modify or waive
Section 4.02, Section 4.03 or this Section 12.02 of this Agreement without the written consent of each
Lender;

                 (b)    Notwithstanding the foregoing, (A) no amendment, waiver or consent shall, unless
in writing and signed by an Agent, affect the rights or duties of such Agent (but not in its capacity as a
Lender) under this Agreement or the other Loan Documents, and (B) the consent of the Borrower shall not
be required to change any order of priority set forth in Section 2.05(d) and Section 4.03.

                (c)       [Reserved].

                 Section 12.03 No Waiver; Remedies, Etc. No failure on the part of any Agent or any
Lender to exercise, and no delay in exercising, any right hereunder or under any other Loan Document shall
operate as a waiver thereof; nor shall any single or partial exercise of any right under any Loan Document
preclude any other or further exercise thereof or the exercise of any other right. The rights and remedies
of the Agents and the Lenders provided herein and in the other Loan Documents are cumulative and are in
addition to, and not exclusive of, any rights or remedies provided by law. The rights of the Agents and the
Lenders under any Loan Document against any party thereto are not conditional or contingent on any
attempt by the Agents and the Lenders to exercise any of their rights under any other Loan Document
against such party or against any other Person.

               Section 12.04 Expenses; Taxes; Attorneys’ Fees. The Borrower will pay on demand, all
costs and expenses incurred by or on behalf of each Agent and each Lender, including, without limitation,
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reasonable fees, reasonable and documented out-of-pocket costs, client charges and expenses of the Lender
Advisors, accounting, due diligence, periodic field audits, physical counts, valuations, investigations,
searches and filings, monitoring of assets, appraisals of Collateral, the rating of the Loans, title searches
and reviewing environmental assessments, miscellaneous disbursements, examination, travel, lodging and
meals, arising from or relating to: (a) the negotiation, preparation, execution, delivery, performance and
administration of this Agreement and the other Loan Documents, (b) any amendments, waivers or consents
to this Agreement or the other Loan Documents whether or not such documents become effective or are
given, (c) the preservation and protection of the Agents’ or any of the Lenders’ rights under this Agreement
or the other Loan Documents, (d) the defense of any claim or action asserted or brought against any Agent
or any Lender by any Person that arises from or relates to this Agreement, any other Loan Document, the
Agents’ or the Lenders’ claims against any Loan Party, or any and all matters in connection therewith, (e)
the commencement or defense of, or intervention in, any court proceeding arising from or related to this
Agreement or any other Loan Document, (f) the filing of any petition, complaint, answer, motion or other
pleading by any Agent or any Lender, or the taking of any action in respect of the Collateral or other
security, in connection with this Agreement or any other Loan Document, (g) the protection, collection,
lease, sale, taking possession of or liquidation of, any Collateral or other security in connection with this
Agreement or any other Loan Document, (h) any attempt to enforce any Lien or security interest in any
Collateral or other security in connection with this Agreement or any other Loan Document, (i) any attempt
to collect from any Loan Party, (j) all liabilities and costs arising from or in connection with the past, present
or future operations of any Loan Party involving any damage to real or personal property or natural
resources or harm or injury alleged to have resulted from any Release of Hazardous Materials on, upon or
into such property, (k) any Environmental Liabilities and Costs incurred in connection with the
investigation, removal, cleanup and/or remediation of any Hazardous Materials present or arising out of the
operations of any Facility of any Loan Party, (l) any Environmental Liabilities and Costs incurred in
connection with any Environmental Lien, (m) the rating of the Loans by one or more rating agencies in
connection with any Lender’s Securitization, or (n) the receipt by any Agent or any Lender of any advice
from professionals with respect to any of the foregoing. Without limitation of the foregoing or any other
provision of any Loan Document: (x) the Borrower agrees to pay all Other Taxes payable in connection
with this Agreement or any other Loan Document, and the Borrower agrees to save each Agent and each
Lender harmless from and against any and all present or future claims, liabilities or losses with respect to
or resulting from any omission to pay or delay in paying any such Other Taxes, (y) the Borrower agrees to
pay all broker fees incurred by any Borrower that may become due in connection with the transactions
contemplated by this Agreement and the other Loan Documents, and (z) if, upon the occurrence and during
the continuance of any Event of Default, the Borrower fails to perform any covenant or agreement contained
herein or in any other Loan Document, any Agent may itself reasonably perform or cause performance of
such covenant or agreement, and the expenses of such Agent incurred in connection therewith shall be
reimbursed by the Borrowers within five (5) Business Days of demand by such Agent. The obligations of
the Borrower under this Section 12.04 shall survive the repayment of the Obligations and discharge of any
Liens granted under the Loan Documents.

                 Section 12.05 Right of Set-off. Subject to the Order, upon the occurrence and during the
continuance of any Event of Default, any Agent or any Lender may, and is hereby authorized to, at any
time and from time to time, without notice to any Loan Party (any such notice being expressly waived by
the Loan Parties) and to the fullest extent permitted by law, set off and apply any and all deposits (general
or special, time or demand, provisional or final) at any time held and other Indebtedness at any time owing
by such Agent or such Lender or any of their respective Affiliates to or for the credit or the account of any
Loan Party against any and all obligations of the Loan Parties either now or hereafter existing under any
Loan Document, irrespective of whether or not such Agent or such Lender shall have made any demand
hereunder or thereunder and although such obligations may be contingent or unmatured. The rights of the
Agents and the Lenders under this Section 12.05 are in addition to the other rights and remedies (including

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other rights of set-off) which the Agents and the Lenders may have under this Agreement or any other Loan
Documents of law or otherwise

                 Section 12.06 Severability. Any provision of this Agreement which is prohibited or
unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
prohibition or unenforceability without invalidating the remaining portions hereof or affecting the validity
or enforceability of such provision in any other jurisdiction.

                 Section 12.07    Assignments and Participations.

                 (a)     This Agreement and the other Loan Documents shall be binding upon and inure to
the benefit of each Loan Party and each Agent and each Lender and their respective successors and assigns;
provided, however, that none of the Loan Parties may assign or transfer any of its rights hereunder or under
the other Loan Documents without the prior written consent of each Lender and any such assignment
without the Lenders’ prior written consent shall be null and void, and the assignment of any Lender’s DIP
Loan Commitment and any Loan made by it shall be subject to Section 12.07(b).

                  (b)      Subject to the conditions set forth in clause (c) below, each Lender may assign to
one or more other lenders or other entities all or a portion of its rights and obligations under this Agreement
with respect to all or a portion of its DIP Loan Commitment and any Loan made by it with the written
consent of the Agents and the Borrower (such consent of the Borrower not to be unreasonably withheld,
delayed or conditioned); provided, however, that (x) no written consent of Agents or the Borrower shall be
required (1) in connection with any assignment by a Lender to a Lender, an Affiliate of such Lender or a
Related Fund of such Lender or (2) if such assignment is in connection with any merger, consolidation,
sale, transfer, or other disposition of all or any substantial portion of the business or loan portfolio of such
Lender and (y) no written consent of Borrower shall be required if an Event of Default has occurred and is
continuing.

                 (c)     Assignments shall be subject to the following additional conditions:

                         (i)      Each such assignment shall be in an amount which is at least $1,000,000
        or a multiple of $500,000 in excess thereof (or the remainder of such Lender’s DIP Loan
        Commitment) (except such minimum amount shall not apply to an assignment by a Lender to a
        Lender, an Affiliate of such Lender or a Related Fund of such Lender or (B) a group of new Lenders,
        each of whom is an Affiliate or Related Fund of each other to the extent the aggregate amount to
        be assigned to all such new Lenders is at least $1,000,000 or a multiple of $500,000 in excess
        thereof);

                          (ii)    Except as provided in the parenthetical below, the parties to each such
        assignment shall execute and deliver to the Administrative Agent (and the Collateral Agent, if
        applicable), for its acceptance, an Assignment and Acceptance, together with any promissory note
        subject to such assignment and such parties shall deliver to the Administrative Agent, for the benefit
        of the Administrative Agent, a processing and recordation fee of $3,500 (except the payment of
        such fee shall not be required in connection with an assignment by a Lender to a Lender, an Affiliate
        of such Lender or a Related Fund of such Lender) and all documentation and other information
        with respect to the assignee that is required by regulatory authorities under applicable “know your
        customer” and anti-money laundering rules and regulations, including the USA PATRIOT ACT;
        and

                        (iii)    No such assignment shall be made to any Loan Party, any Permitted
        Holder or any of their respective Affiliates.
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                  (d)     Upon such execution, delivery and acceptance, from and after the effective date
specified in each Assignment and Acceptance and recordation on the Register, which effective date shall
be at least three (3) Business Days after the delivery thereof to the Administrative Agent (or such shorter
period as shall be agreed to by the Administrative Agent and the parties to such assignment), (A) the
assignee thereunder shall become a “Lender” hereunder and, in addition to the rights and obligations
hereunder held by it immediately prior to such effective date, have the rights and obligations hereunder that
have been assigned to it pursuant to such Assignment and Acceptance and (B) the assigning Lender
thereunder shall, to the extent that rights and obligations hereunder have been assigned by it pursuant to
such Assignment and Acceptance, relinquish its rights and be released from its obligations under this
Agreement (and, in the case of an Assignment and Acceptance covering all or the remaining portion of an
assigning Lender’s rights and obligations under this Agreement, such Lender shall cease to be a party
hereto).

                  (e)     By executing and delivering an Assignment and Acceptance, the assigning Lender
and the assignee thereunder confirm to and agree with each other and the other parties hereto as follows:
(i) other than as provided in such Assignment and Acceptance, the assigning Lender makes no
representation or warranty and assumes no responsibility with respect to any statements, warranties or
representations made in or in connection with this Agreement or any other Loan Document or the execution,
legality, validity, enforceability, genuineness, sufficiency or value of this Agreement or any other Loan
Document furnished pursuant hereto; (ii) the assigning Lender makes no representation or warranty and
assumes no responsibility with respect to the financial condition of any Loan Party or any of its Subsidiaries
or the performance or observance by any Loan Party of any of its obligations under this Agreement or any
other Loan Document furnished pursuant hereto; (iii) such assignee confirms that it has received a copy of
this Agreement and the other Loan Documents, together with such other documents and information it has
deemed appropriate to make its own credit analysis and decision to enter into such Assignment and
Acceptance; (iv) such assignee will, independently and without reliance upon the assigning Lender, any
Agent or any Lender and based on such documents and information as it shall deem appropriate at the time,
continue to make its own credit decisions in taking or not taking action under this Agreement and the other
Loan Documents; (v) such assignee appoints and authorizes the Agents to take such action as agents on its
behalf and to exercise such powers under this Agreement and the other Loan Documents as are delegated
to the Agents by the terms hereof and thereof, together with such powers as are reasonably incidental hereto
and thereto; and (vi) such assignee agrees that it will perform in accordance with their terms all of the
obligations which by the terms of this Agreement and the other Loan Documents are required to be
performed by it as a Lender.

                 (f)     The Administrative Agent shall, acting solely for this purpose as a non- fiduciary
agent of the Borrower, maintain, or cause to be maintained, a copy of each Assignment and Acceptance
delivered to and accepted by it and a register (the “Register”) for the recordation of the names and addresses
of the Lenders and the DIP Loan Commitments of, and the principal amount of the Loans (and stated interest
thereon) (the “Registered Loans”) owing to each Lender from time to time. The entries in the Register shall
be conclusive and binding for all purposes, absent manifest error, and the Borrower, the Agents and the
Lenders may treat each Person whose name is recorded in the Register as a Lender hereunder for all
purposes of this Agreement. The Register shall be available for inspection by the Borrower and any Lender
at any reasonable time and from time to time upon reasonable prior notice.

                (g)     Upon receipt by the Administrative Agent of a completed Assignment and
Acceptance, and subject to any consent required from the Administrative Agent or the Collateral Agent
pursuant to Section 12.07(b) (which consent of the applicable Agent must be evidenced by such Agent’s
execution of an acceptance to such Assignment and Acceptance), the Administrative Agent shall accept
such assignment, record the information contained therein in the Register (as adjusted to reflect any
principal payments on or amounts capitalized and added to the principal balance of the Loans and/or DIP
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Loan Commitment reductions made subsequent to the effective date of the applicable assignment, as
confirmed in writing by the corresponding assignor and assignee in conjunction with delivery of the
assignment to the Administrative Agent) and provide to the Collateral Agent a copy of the fully executed
Assignment and Acceptance.

                 (h)     A Registered Loan (and the registered note, if any, evidencing the same) may be
assigned or sold in whole or in part only by registration of such assignment or sale on the Register (and
each registered note shall expressly so provide). Any assignment or sale of all or part of such Registered
Loan (and the registered note, if any, evidencing the same) may be effected only by registration of such
assignment or sale on the Register, together with the surrender of the registered note, if any, evidencing the
same duly endorsed by (or accompanied by a written instrument of assignment or sale duly executed by)
the holder of such registered note, whereupon, at the request of the designated assignee(s) or transferee(s),
one or more new registered notes in the same aggregate principal amount shall be issued to the designated
assignee(s) or transferee(s). Prior to the registration of assignment or sale of any Registered Loan (and the
registered note, if any, evidencing the same), the Agents shall treat the Person in whose name such
Registered Loan (and the registered note, if any, evidencing the same) is registered on the Register as the
owner thereof for the purpose of receiving all payments thereon, notwithstanding notice to the contrary.

                  (i)     In the event that any Lender sells participations in a Registered Loan, such Lender
shall, acting for this purpose as a non-fiduciary agent on behalf of the Borrower, maintain, or cause to be
maintained, a register, on which it enters the name of all participants in the Registered Loans held by it and
the principal amount (and stated interest thereon) of the portion of the Registered Loan that is the subject
of the participation (the “Participant Register”). A Registered Loan (and the registered note, if any,
evidencing the same) may be participated in whole or in part only by registration of such participation on
the Participant Register (and each registered note shall expressly so provide). Any participation of such
Registered Loan (and the registered note, if any, evidencing the same) may be effected only by the
registration of such participation on the Participant Register. The Participant Register shall be available for
inspection by the Borrower and any Lender at any reasonable time and from time to time upon reasonable
prior notice.

                (j)    Any Non-U.S. Lender who purchases or is assigned or participates in any portion
of such Registered Loan shall comply with Section 2.09(d).

                  (k)       Each Lender may sell participations to one or more banks or other entities in or to
all or a portion of its rights and obligations under this Agreement and the other Loan Documents (including,
without limitation, all or a portion of its DIP Loan Commitments and the Loans made by it); provided, that
(i) such Lender’s obligations under this Agreement (including without limitation, its DIP Loan
Commitments hereunder) and the other Loan Documents shall remain unchanged; such Lender shall remain
solely responsible to the other parties hereto for the performance of such obligations, and the Borrower,
the Agents and the other Lenders shall continue to deal solely and directly with such Lender in connection
with such Lender’s rights and obligations under this Agreement and the other Loan Documents; and (iii) a
participant shall not be entitled to require such Lender to take or omit to take any action hereunder except
(A) action directly effecting an extension of the maturity dates or decrease in the principal amount of the
Loans, action directly effecting an extension of the due dates or a decrease in the rate of interest payable on
the Loans or the fees payable under this Agreement, or (C) actions directly effecting a release of all or a
substantial portion of the Collateral or any Loan Party (except as set forth in Section 10.08 of this
Agreement or any other Loan Document). The Loan Parties agree that each participant shall be entitled to
the benefits of Section 2.09 and Section 2.10 of this Agreement with respect to its participation in any
portion of the DIP Loan Commitments and the Loans as if it was a Lender, provided that such Participant
shall not be entitled to receive any greater payment under Section 2.09 or Section 2.10, with respect to any

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participation, than its participating Lender would have been entitled to receive except as otherwise required
by a change in law after participation or unless Borrower has consented to such participation.

                  (l)      Any Lender may at any time pledge or assign a security interest in all or any portion
of its rights under this Agreement to secure obligations of such Lender, including any pledge or assignment
to secure obligations to a Federal Reserve Bank or loans made to such Lender pursuant to securitization or
similar credit facility (a “Securitization”); provided that no such pledge or assignment shall release such
Lender from any of its obligations hereunder or substitute any such pledgee or assignee for such Lender as
a party hereto. The Loan Parties shall cooperate with such Lender and its Affiliates to effect the
Securitization including, without limitation, by providing such information as may be reasonably requested
by such Lender in connection with the rating of its Loans or the Securitization.

                 Section 12.08 Counterparts. This Agreement may be executed in any number of
counterparts and by different parties hereto in separate counterparts, each of which shall be deemed to be
an original, but all of which taken together shall constitute one and the same agreement. Delivery of an
executed counterpart of this Agreement by telecopier or electronic mail shall be equally as effective as
delivery of an original executed counterpart of this Agreement. Any party delivering an executed
counterpart of this Agreement by telecopier or electronic mail also shall deliver an original executed
counterpart of this Agreement but the failure to deliver an original executed counterpart shall not affect the
validity, enforceability, and binding effect of this Agreement. The foregoing shall apply to each other Loan
Document mutatis mutandis.

            Section 12.09 GOVERNING LAW. THIS AGREEMENT AND THE OTHER LOAN
DOCUMENTS (UNLESS EXPRESSLY PROVIDED TO THE CONTRARY IN ANOTHER LOAN
DOCUMENT IN RESPECT OF SUCH OTHER LOAN DOCUMENT) SHALL BE GOVERNED BY,
AND CONSTRUED IN ACCORDANCE WITH, THE LAW OF THE STATE OF NEW YORK
APPLICABLE TO CONTRACTS MADE AND TO BE PERFORMED IN THE STATE OF NEW YORK
AND, TO THE EXTENT APPLICABLE, THE BANKRUPTCY CODE.

                 Section 12.10    CONSENT TO JURISDICTION; SERVICE OF PROCESS AND
VENUE.

            (a)   ANY LEGAL ACTION OR PROCEEDING WITH RESPECT TO THIS
AGREEMENT OR ANY OTHER LOAN DOCUMENT MAY BE BROUGHT IN BANKRUPTCY
COURT, AND IF THE BANKRUPTCY COURT DOES NOT HAVE, OR ABSTAINS FROM
EXERCISING JURISDICTION, THE COURTS OF THE STATE OF NEW YORK IN THE COUNTY
OF NEW YORK OR OF THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT
OF NEW YORK, AND, BY EXECUTION AND DELIVERY OF THIS AGREEMENT, EACH LOAN
PARTY HEREBY IRREVOCABLY ACCEPTS IN RESPECT OF ITS PROPERTY, GENERALLY AND
UNCONDITIONALLY, THE JURISDICTION OF THE AFORESAID COURTS EXCEPT TO THE
EXTENT THAT THE PROVISIONS OF THE BANKRUPTCY CODE ARE APPLICABLE AND
SPECIFICALLY CONFLICT WITH THE FOREGOING.        EACH LOAN PARTY HEREBY
IRREVOCABLY CONSENTS TO THE SERVICE OF PROCESS OUT OF ANY OF THE
AFOREMENTIONED COURTS AND IN ANY SUCH ACTION OR PROCEEDING BY ANY MEANS
PERMITTED BY APPLICABLE LAW, INCLUDING, WITHOUT LIMITATION, BY THE MAILING
OF COPIES THEREOF BY REGISTERED OR CERTIFIED MAIL, POSTAGE PREPAID, TO THE
BORROWER AT ITS ADDRESS FOR NOTICES AS SET FORTH IN SECTION 12.01, SUCH
SERVICE TO BECOME EFFECTIVE TEN (10) DAYS AFTER SUCH MAILING. THE LOAN
PARTIES AGREE THAT A FINAL JUDGMENT IN ANY SUCH ACTION OR PROCEEDING SHALL
BE CONCLUSIVE AND MAY BE ENFORCED IN OTHER JURISDICTIONS BY SUIT ON THE
JUDGMENT OR IN ANY OTHER MANNER PROVIDED BY LAW. NOTHING HEREIN SHALL
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AFFECT THE RIGHT OF THE AGENTS AND THE LENDERS TO SERVICE OF PROCESS IN ANY
OTHER MANNER PERMITTED BY LAW OR TO COMMENCE LEGAL PROCEEDINGS OR
OTHERWISE PROCEED AGAINST ANY LOAN PARTY IN ANY OTHER JURISDICTION. EACH
LOAN PARTY HEREBY EXPRESSLY AND IRREVOCABLY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY LAW, ANY OBJECTION WHICH IT MAY NOW OR HEREAFTER HAVE TO THE
JURISDICTION OR LAYING OF VENUE OF ANY SUCH LITIGATION BROUGHT IN ANY SUCH
COURT REFERRED TO ABOVE AND ANY CLAIM THAT ANY SUCH LITIGATION HAS BEEN
BROUGHT IN AN INCONVENIENT FORUM. TO THE EXTENT THAT ANY LOAN PARTY HAS
OR HEREAFTER MAY ACQUIRE ANY IMMUNITY FROM JURISDICTION OF ANY COURT OR
FROM ANY LEGAL PROCESS (WHETHER THROUGH SERVICE OR NOTICE, ATTACHMENT
PRIOR TO JUDGMENT, ATTACHMENT IN AID OF EXECUTION OR OTHERWISE) WITH
RESPECT TO ITSELF OR ITS PROPERTY, EACH LOAN PARTY HEREBY IRREVOCABLY
WAIVES SUCH IMMUNITY IN RESPECT OF ITS OBLIGATIONS UNDER THIS AGREEMENT
AND THE OTHER LOAN DOCUMENTS.

NOTWITHSTANDING ANY OTHER PROVISION OF THIS SECTION 12.10, THE BANKRUPTCY
COURT SHALL HAVE EXCLUSIVE JURISDICTION OVER ANY ACTION OR DISPUTE
INVOLVING, RELATING TO OR ARISING OUT OF THIS AGREEMENT OR THE OTHER LOAN
DOCUMENTS IN RESPECT OF THE DEBTOR AND COLLATERAL CONSTITUTING PROPERTY
OF THE DEBTOR’S BANKRUPTCY ESTATE.

            Section 12.11 WAIVER OF JURY TRIAL, ETC. EACH LOAN PARTY, EACH
AGENT AND EACH LENDER HEREBY WAIVES ANY RIGHT TO A TRIAL BY JURY IN ANY
ACTION, PROCEEDING OR COUNTERCLAIM CONCERNING ANY RIGHTS UNDER THIS
AGREEMENT OR THE OTHER LOAN DOCUMENTS, OR UNDER ANY AMENDMENT, WAIVER,
CONSENT, INSTRUMENT, DOCUMENT OR OTHER AGREEMENT DELIVERED OR WHICH IN
THE FUTURE MAY BE DELIVERED IN CONNECTION THEREWITH, OR ARISING FROM ANY
FINANCING RELATIONSHIP EXISTING IN CONNECTION WITH THIS AGREEMENT, AND
AGREES THAT ANY SUCH ACTION, PROCEEDINGS OR COUNTERCLAIM SHALL BE TRIED
BEFORE A COURT AND NOT BEFORE A JURY. EACH LOAN PARTY CERTIFIES THAT NO
OFFICER, REPRESENTATIVE, AGENT OR ATTORNEY OF ANY AGENT OR ANY LENDER HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT ANY AGENT OR ANY LENDER WOULD
NOT, IN THE EVENT OF ANY ACTION, PROCEEDING OR COUNTERCLAIM, SEEK TO
ENFORCE THE FOREGOING WAIVERS. EACH LOAN PARTY HEREBY ACKNOWLEDGES
THAT THIS PROVISION IS A MATERIAL INDUCEMENT FOR THE AGENTS AND THE LENDERS
ENTERING INTO THIS AGREEMENT.

                Section 12.12    [Reserved].

                 Section 12.13 No Party Deemed Drafter. Each of the parties hereto agrees that no party
hereto shall be deemed to be the drafter of this Agreement.

                 Section 12.14 Reinstatement; Certain Payments. If any claim is ever made upon any
Secured Party for repayment or recovery of any amount or amounts received by such Secured Party in
payment or on account of any of the Obligations, such Secured Party shall give prompt notice of such claim
to each other Agent and Lender and the Borrower, and if such Secured Party repays all or part of such
amount by reason of (i) any judgment, decree or order of any court or administrative body having
jurisdiction over such Secured Party or any of its property, or (ii) any good faith settlement or compromise
of any such claim effected by such Secured Party with any such claimant, then and in such event each Loan
Party agrees that any such judgment, decree, order, settlement or compromise shall be binding upon it
notwithstanding the cancellation of any Indebtedness hereunder or under the other Loan Documents or the
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termination of this Agreement or the other Loan Documents, and (B) it shall be and remain liable to such
Secured Party hereunder for the amount so repaid or recovered to the same extent as if such amount had
never originally been received by such Secured Party.

                 Section 12.15    Indemnification; Limitation of Liability for Certain Damages.

                  (a)      In addition to each Loan Party’s other Obligations under this Agreement, each
Loan Party agrees to, jointly and severally, defend, protect, indemnify and hold harmless each Secured
Party and all of their respective Affiliates, officers, directors, employees, attorneys, consultants and agents
(collectively called the “Indemnitees”) from and against any and all losses, damages, liabilities, obligations,
penalties, fees, reasonable and documented out-of-pocket costs and expenses (including, without limitation,
reasonable and documented out-of-pocket attorneys’ fees, costs and expenses) incurred by such
Indemnitees, whether prior to or from and after the Closing Date, whether direct, indirect or consequential,
as a result of or arising from or relating to or in connection with any of the following: (i) the negotiation,
preparation, execution or performance or enforcement of this Agreement, any other Loan Document or of
any other document executed in connection with the transactions contemplated by this Agreement, (ii) any
Agent’s or any Lender’s furnishing of funds to the Borrower under this Agreement or the other Loan
Documents, including, without limitation, the management of any such Loans or the Borrower’s use of the
proceeds thereof, (iii) any matter relating to the financing transactions contemplated by this Agreement or
the other Loan Documents or by any document executed in connection with the transactions contemplated
by this Agreement or the other Loan Documents, or (iv) any claim, litigation, investigation or proceeding
relating to any of the foregoing, whether or not any Indemnitee is a party thereto (collectively, the
“Indemnified Matters”); provided, however, that the Loan Parties shall not have any obligation to any
Indemnitee under this subsection (a) for any Indemnified Matter caused by the gross negligence or willful
misconduct of such Indemnitee, as determined by a final non- appealable judgment of a court of competent
jurisdiction.

                  (b)     To the extent that the undertaking to indemnify, pay and hold harmless set forth in
this Section 12.15 may be unenforceable because it is violative of any law or public policy, each Loan Party
shall, jointly and severally, contribute the maximum portion which it is permitted to pay and satisfy under
applicable law, to the payment and satisfaction of all Indemnified Matters incurred by the Indemnitees.

                 (c)     No Loan Party shall assert, and each Loan Party hereby waives, any claim against
the Indemnitees, on any theory of liability, for special, indirect, consequential or punitive damages (as
opposed to direct or actual damages) (whether or not the claim therefor is based on contract, tort or duty
imposed by any applicable legal requirement) arising out of, in connection with, as a result of, or in any
way related to, this Agreement or any other Loan Document or any agreement or instrument contemplated
hereby or thereby or referred to herein or therein, the transactions contemplated hereby or thereby, any
Loan or the use of the proceeds thereof or any act or omission or event occurring in connection therewith,
and each Loan Party hereby waives, releases and agrees not to sue upon any such claim or seek any such
damages, whether or not accrued and whether or not known or suspected to exist in its favor.

               (d)     The indemnities and waivers set forth in this Section 12.15 shall survive the
repayment of the Obligations and discharge of any Liens granted under the Loan Documents.

                 Section 12.16 Records. The unpaid principal of and interest on the Loans, the interest
rate or rates applicable to such unpaid principal and interest, the duration of such applicability, the DIP
Loan Commitments, and the accrued and unpaid fees payable pursuant to Section 2.06 hereof, shall at all
times be ascertained from the records of the Agents, which shall be conclusive and binding absent manifest
error.

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                 Section 12.17 Binding Effect. This Agreement shall become effective when it shall have
been executed by each Loan Party, each Agent and each Lender and when the conditions precedent set forth
in Section 5.01 hereof have been satisfied or waived in writing by the Agents, and thereafter shall be binding
upon and inure to the benefit of each Loan Party, each Agent and each Lender, and their respective
successors and assigns, except that the Loan Parties shall not have the right to assign their rights hereunder
or any interest herein without the prior written consent of each Agent and each Lender, and any assignment
by any Lender shall be governed by Section 12.07 hereof.

                 Section 12.18 Highest Lawful Rate. It is the intention of the parties hereto that each
Agent and each Lender shall conform strictly to usury laws applicable to it. Accordingly, if the transactions
contemplated hereby or by any other Loan Document would be usurious as to any Agent or any Lender
under laws applicable to it (including the laws of the United States of America and the State of New York
or any other jurisdiction whose laws may be mandatorily applicable to such Agent or such Lender
notwithstanding the other provisions of this Agreement), then, in that event, notwithstanding anything to
the contrary in this Agreement or any other Loan Document or any agreement entered into in connection
with or as security for the Obligations, it is agreed as follows: (i) the aggregate of all consideration which
constitutes interest under law applicable to any Agent or any Lender that is contracted for, taken, reserved,
charged or received by such Agent or such Lender under this Agreement or any other Loan Document or
agreements or otherwise in connection with the Obligations shall under no circumstances exceed the
maximum amount allowed by such applicable law, any excess shall be canceled automatically and if
theretofore paid shall be credited by such Agent or such Lender on the principal amount of the Obligations
(or, to the extent that the principal amount of the Obligations shall have been or would thereby be paid in
full, refunded by such Agent or such Lender, as applicable, to the Borrower); and (ii) in the event that the
maturity of the Obligations is accelerated by reason of any Event of Default under this Agreement or
otherwise, or in the event of any required or permitted prepayment, then such consideration that constitutes
interest under law applicable to any Agent or any Lender may never include more than the maximum
amount allowed by such applicable law, and excess interest, if any, provided for in this Agreement or
otherwise shall, subject to the last sentence of this Section 12.18, be canceled automatically by such Agent
or such Lender, as applicable, as of the date of such acceleration or prepayment and, if theretofore paid,
shall be credited by such Agent or such Lender, as applicable, on the principal amount of the Obligations
(or, to the extent that the principal amount of the Obligations shall have been or would thereby be paid in
full, refunded by such Agent or such Lender to the Borrower). All sums paid or agreed to be paid to any
Agent or any Lender for the use, forbearance or detention of sums due hereunder shall, to the extent
permitted by law applicable to such Agent or such Lender, be amortized, prorated, allocated and spread
throughout the full term of the Loans until payment in full so that the rate or amount of interest on account
of any Loans hereunder does not exceed the maximum amount allowed by such applicable law. If at any
time and from time to time (x) the amount of interest payable to any Agent or any Lender on any date shall
be computed at the Highest Lawful Rate applicable to such Agent or such Lender pursuant to this
Section 12.18 and (y) in respect of any subsequent interest computation period the amount of interest
otherwise payable to such Agent or such Lender would be less than the amount of interest payable to such
Agent or such Lender computed at the Highest Lawful Rate applicable to such Agent or such Lender, then
the amount of interest payable to such Agent or such Lender in respect of such subsequent interest
computation period shall continue to be computed at the Highest Lawful Rate applicable to such Agent or
such Lender until the total amount of interest payable to such Agent or such Lender shall equal the total
amount of interest which would have been payable to such Agent or such Lender if the total amount of
interest had been computed without giving effect to this Section 12.18. For purposes of this Section 12.18,
the term “applicable law” shall mean that law in effect from time to time and applicable to the loan
transaction between the Borrower, on the one hand, and the Agents and the Lenders, on the other, that
lawfully permits the charging and collection of the highest permissible, lawful non-usurious rate of interest
on such loan transaction and this Agreement, including laws of the State of New York and, to the extent
controlling, laws of the United States of America.
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                 The right to accelerate the maturity of the Obligations does not include the right to
accelerate any interest that has not accrued as of the date of acceleration.

                   Section 12.19 Confidentiality. Each Agent and each Lender agrees (on behalf of itself
and each of its affiliates, directors, officers, employees and representatives) to use reasonable precautions
to keep confidential, in accordance with its customary procedures for handling confidential information of
this nature and in accordance with safe and sound practices of comparable commercial finance companies,
any non-public or proprietary information supplied to it by the Loan Parties pursuant to this Agreement or
the other Loan Documents (and which at the time is not, and does not thereafter become, publicly available
through no breach hereunder by an Agent or such Lender or available to such Person from another source
not known to be subject to a confidentiality obligation to such Person not to disclose such information),
provided that nothing herein shall limit the disclosure by any Agent or any Lender of any such information
(i) to its Affiliates (or prospective Affiliates, including limited partners) and to its and its Affiliates’ (or
such prospective Affiliates’) respective equityholders (including, without limitation, partners), directors,
officers, employees, agents, trustees, counsel, advisors and representatives (it being understood that the
Persons to whom such disclosure is made will be informed of the confidential nature of such information
and instructed to keep such information confidential in accordance with this Section 12.19 and such Lender
shall remain liable for any breach hereof by such Persons); (ii) to any other party hereto; (iii) to any assignee
or participant (or prospective assignee or participant) or any party to a Securitization so long as such
assignee or participant (or prospective assignee or participant) or party to a Securitization first agrees, in
writing, to be bound by confidentiality provisions similar in substance to this Section 12.19; (iv) to the
extent required by any Requirement of Law or judicial process or as otherwise requested by any
Governmental Authority (in which case such Agent and/or such Lender shall notify the Borrower, in
advance of any such disclosure, to the extent permitted by such law, process and/or request); (v) to the
National Association of Insurance Commissioners or any similar organization, any examiner, auditor or
accountant or any nationally recognized rating agency or otherwise to the extent consisting of general
portfolio information that does not identify Loan Parties; (vi) in connection with any litigation to which any
Agent or any Lender is a party (in which case such Agent and/or such Lender shall use commercially
reasonable efforts to notify the Borrower, in advance of any such disclosure, to the extent permitted by such
law, process and/or request); (vii) in connection with the exercise of any remedies hereunder or under any
other Loan Document or any action or proceeding relating to this Agreement or any other Loan Document
or the enforcement of rights hereunder or thereunder; or (viii) with the consent of the Borrower.

                  Section 12.20 Public Disclosure. Other than in connection with the Chapter 11 case,
each Loan Party agrees that neither it nor any of its Affiliates will now or in the future issue any press
release or other public disclosure using the name of an Agent, any Lender or any of their respective
Affiliates or referring to this Agreement or any other Loan Document without the prior written consent of
such Agent or such Lender, except to the extent that such Loan Party or such Affiliate is required to do so
under applicable law (in which event, such Loan Party or such Affiliate will consult with such Agent or
such Lender before issuing such press release or other public disclosure). Each Loan Party hereby
authorizes each Agent and each Lender, after consultation with and prior written consent from the
Borrower, to advertise the closing of the transactions contemplated by this Agreement, and to make
appropriate announcements of the financial arrangements entered into among the parties hereto, as such
Agent or such Lender shall deem appropriate, including, without limitation, on a home page or similar place
for dissemination of information on the Internet or worldwide web, or in announcements commonly known
as tombstones, in such trade publications, business journals, newspapers of general circulation and to such
selected parties as such Agent or such Lender shall deem appropriate.

                  Section 12.21 Integration. This Agreement, together with the other Loan Documents,
reflects the entire understanding of the parties with respect to the transactions contemplated hereby and
shall not be contradicted or qualified by any other agreement, oral or written, before the date hereof. To
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the extent there are any inconsistencies between the terms of this Agreement or any Loan Document and
the Order, the provisions of the Order shall govern.

                 Section 12.22 Acknowledgement and Consent to Bail-In of Affected Financial
Institutions. Notwithstanding anything to the contrary in any Loan Document or in any other agreement,
arrangement or understanding among any such parties, each party hereto acknowledges that any liability of
any Lender that is an Affected Financial Institution arising under any Loan Document, to the extent such
liability is unsecured, may be subject to the Write-Down and Conversion Powers of the applicable
Resolution Authority and agrees and consents to, and acknowledges and agrees to be bound by:

                 (a)     the application of any Write-Down and Conversion Powers by the applicable
Resolution Authority to any such liabilities arising hereunder which may be payable to it by any Lender
that is an Affected Financial Institution; and

                (b)      the effects of any Bail-In Action on any such liability, including, if applicable:

                         (i)      a reduction in full or in part or cancellation of any such liability;

                         (ii)   a conversion of all, or a portion of, such liability into shares or other
        instruments of ownership in such Affected Financial Institution, its parent entity, or a bridge
        institution that may be issued to it or otherwise conferred on it, and that such shares or other
        instruments of ownership will be accepted by it in lieu of any rights with respect to any such liability
        under this Agreement or any other Loan Document; or

                       (iii)  the variation of the terms of such liability in connection with the exercise
        of the Write-Down and Conversion Powers of the applicable Resolution Authority.

                  Section 12.23 Bankruptcy Matters. This Agreement, the other Loan Documents, and all
Liens and other rights and privileges created hereby or pursuant hereto or to any other Loan Document shall
be binding upon the Debtor, the estate of the Debtor, and any trustee, other estate representative or any
successor in interest of the Debtor in the Chapter 11 Case or any subsequent case commenced under Chapter
7 of the Bankruptcy Code, and shall not be subject to Section 365 of the Bankruptcy Code. This Agreement
and the other Loan Documents shall be binding upon, and inure to the benefit of, the successors of each
Agent and the Lenders and their respective assigns, transferees and endorsees. The Liens created by this
Agreement and the other Loan Documents shall be and remain valid and perfected in the event of the
substantive consolidation or conversion of the Chapter 11 Case or any other bankruptcy case of the Debtor
to a case under Chapter 7 of the Bankruptcy Code or in the event of dismissal of the Chapter 11 Case or the
release of any Collateral from the jurisdiction of the Bankruptcy Court for any reason, without the necessity
that the Collateral Agent file financing statements or otherwise perfect its Liens under applicable law. No
Loan Party may assign, transfer, hypothecate or otherwise convey its rights, benefits, obligations or duties
hereunder or under any of the other Loan Documents without the prior express written consent of the
Administrative Agent and the Lenders. Any such purported assignment, transfer, hypothecation or other
conveyance by any Loan Party without the prior express written consent of the Administrative Agent and
the Lenders shall be void. The terms and provisions of this Agreement are for the purpose of defining the
relative rights and obligations of each Loan Party, the Administrative Agent and the Lenders with respect
to the transactions contemplated hereby and no Person shall be a third party beneficiary of any of the terms
and provisions of this Agreement or any of the other Loan Documents.

                Section 12.24 USA PATRIOT Act. Each Lender or Agent that is subject to the
requirements of the USA PATRIOT Act hereby notifies the Borrower that pursuant to the requirements of
the USA PATRIOT Act, it is required to obtain, verify and record information that identifies the Borrower,
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which information includes the name and address of each such entity and other information that will allow
such Lender or Agent to identify the entities composing the Borrower in accordance with the USA
PATRIOT Act. Each Loan Party agrees to take such action and execute, acknowledge and deliver at its
sole cost and expense, such instruments and documents as any Lender or Agent may reasonably require
from time to time in order to enable such Lender or Agent to comply with the USA PATRIOT Act.

                 [REMAINDER OF THIS PAGE INTENTIONALLY LEFT BLANK]




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                 IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed
by their respective officers thereunto duly authorized, as of the date first above written.

                                     BORROWER:

                                     ORG GC MIDCO, LLC


                                     By:
                                     Name:
                                     Title:


                                     GUARANTORS:

                                     ORG GC GP BUYER, LLC
                                     ORG GC LP BUYER, LLC


                                     By:
                                           Name:
                                           Title:


                                     ORG SERVICES LIMITED PARTNERSHIP


                                     By:      ORG GC GP Buyer, LLC,
                                              its General Partner


                                     By:
                                           Name:
                                           Title:


                                     ORG SERVICES INTERNATIONAL, LLC


                                     By:
                                           Name:
                                           Title:




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                        ADMINISTRATIVE AGENT:

                        [GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P.]


                        By:
                              Name:         []
                              Title:        []


                        COLLATERAL AGENT:

                        [GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P.]


                        By:
                              Name:         []
                              Title:        []




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                        LENDERS:




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[____]
By: [____]
By: [____]


By:
Name: [____]
Title: [____]


[____]
By: [____]
By: [____]


By:
Name: [____]
Title: [____]


[____]
By: [____]
By: [____]


By:
Name: [____]
Title: [____]




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                                  SCHEDULE 1.01(A)

                            Lenders and Lenders’ Commitments17

                                      Lenders                         DIP Loan Commitment
            []                                                                  $[]
            []                                                                  $[]
            []                                                                  $[]
            []                                                                  $[]
            []                                                                  $[]
            []                                                                  $[]
            []                                                                  $[]
            []                                                                  $[]
            []                                                                  $[]
            []                                                                  $[]
            []                                                                  $[]
            []                                                                  $[]
            Total:                                                               $[]




17
     NTD: To be updated.

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                                            Exhibit G

                            FORM OF JOINDER AGREEMENT

       This Joinder Agreement to the Restructuring Support Agreement, dated as of [______] [●],
2021 (as amended, supplemented or otherwise modified from time to time, the “Agreement”), by
and among the GCS Parties and the Consenting Lenders (each, as defined in the Agreement) is
executed and delivered by ________________________________ (the “Joining Party”) as of
______________, 2021. Each capitalized term used herein but not otherwise defined shall have
the meaning set forth in the Agreement.

       1. Agreement to be Bound. The Joining Party hereby agrees to be bound by all of the
terms of the Agreement, a copy of which is attached to this Joinder Agreement as Annex I (as the
same has been or may be hereafter amended, restated or otherwise modified from time to time in
accordance with the provisions hereof). The Joining Party shall hereafter be deemed to be
a “Consenting Lender” and a “Party” for all purposes under the Agreement and with respect to
any and all Claims and Interests held by such Joining Party.

        2. Representations and Warranties. With respect to the aggregate principal amount of
Loans under the Existing Term Loan Credit Agreement, as applicable, set forth below its name on
the signature page hereto, the Joining Party hereby makes the representations and warranties of the
Consenting Lenders set forth in Section 10 of the Agreement to each other Party to the Agreement.

       3. Governing Law. This Joinder Agreement shall be governed by and construed in
accordance with the internal laws of the State of New York, without regard to any conflict of laws
provisions which would require the application of the law of any other jurisdiction.

                                    [Signature Page Follows]
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        IN WITNESS WHEREOF, the Joining Party has caused this Joinder to be executed as of
the date first written above.


[CONSENTING LENDER]

 By:
 Name:
 Title:


Principal Amount of Loans: $_______________

Notice Address:




Fax:
Attention:
Email:




                         [Restructuring Support Agreement Signature Page]
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                          Schedule A to RSA

                          Specified Defaults
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                                       Specified Defaults

1. Events of Default under Section 9.01(a) of the Existing Term Loan Credit Agreement as a
   result of the Borrowers’ failure to pay interest, as required by Section 2.04(c) of the Existing
   Term Loan Credit Agreement.

2. Events of Default under Section 9.01(a) of the Existing Term Loan Credit Agreement as a
   result of the Borrowers’ failure to pay principal payments, as required by Section 2.03(a) of
   the Existing Term Loan Credit Agreement.

3. Events of Default under Section 9.01(a) of the Existing Term Loan Credit Agreement as a
   result of the Borrowers’ failure to repay the Loans with the proceeds of any DIP Loans, as
   required by Section 2.05(c) of the Existing Term Loan Credit Agreement.

4. Events of Default under Section 9.01(a) of the Existing Term Loan Credit Agreement as a
   result of the Borrowers’ failure to pay certain administrative agent fees, as required by
   Section 2.06(c) of the Existing Term Loan Credit Agreement.

5. Events of Default under Section 9.01(c) of the Existing Term Loan Credit Agreement as a
   result of the Borrowers’ failure to deliver audited financial statements of Parent pursuant
   with Section 7.01(a)(iii) of the Existing Term Loan Credit Agreement for the fiscal year
   ending December 31, 2020.

6. Events of Default under Section 9.01(c) of the Existing Term Loan Credit Agreement as a
   result of the Borrowers’ delivery of audited financial statements pursuant with Section
   7.01(a)(iii) of the Existing Term Loan Credit Agreement for the fiscal years ending
   December 31, 2019 and December 31, 2020 with a going concern or like qualification or
   exception.

7. Events of Default under Sections 9.01(c) and 9.01(d) of the Existing Term Loan Credit
   Agreement as a result of the Borrowers’ failure to comply with any affirmative covenant set
   forth in Article VII as a result of the Chapter 11 Cases or excused by, or otherwise prohibited
   by, the provisions of the Bankruptcy Code.

8. Events of Default under Sections 9.01(c) and 9.01(d) of the Existing Term Loan Credit
   Agreement as a result of the incurrence of the DIP Loans.

9. Events of Default under Section 9.01(c) of the Existing Term Loan Credit Agreement as a
   result of the Borrowers’ failure to comply with the maximum Leverage Ratio for the twelve
   month periods ending September 30, 2019 and each fiscal quarter ending thereafter set forth
   in Section 7.03(a) of the Existing Term Loan Credit Agreement.

10. Events of Default under Section 9.01(c) of the Existing Term Loan Credit Agreement as a
    result of the Borrowers’ failure to comply with the minimum Fixed Charge Coverage Ratio
    for the twelve month periods ending December 31, 2019 and each fiscal quarter ending
    thereafter set forth in Section 7.03(b) of the Existing Term Loan Credit Agreement.




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11. Events of Default under Sections 9.01(f), 9.01(g), 9.01(h) or 9.01(i) of the Existing Term
    Loan Credit Agreement as a result of or in connection with the Chapter 11 Case, the
    effectiveness of this Agreement or the incurrence of the DIP Loans.

12. Events of Default under Section 9.01(e) of the Existing Term Loan Credit Agreement as a
    result of the occurrence and continuation of a Default or an Event of Default as defined in the
    Existing ABL Facility Agreement.

13. Events of Default under Section 9.01(c) of the Existing Term Loan Credit Agreement as a
    result of the Borrowers’ failure to comply with Section 7.01(a)(viii) of the Existing Term
    Loan Credit Agreement as it relates to any of the foregoing Specified Defaults or the Chapter
    11 Case.

14. Events of Default under Section 9.01(b) of the Existing Term Loan Credit Agreement as it
    relates to any of the foregoing Specified Defaults.




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                             Exhibit B

                 (Settlement and Release Agreement)




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                       SETTLEMENT AND RELEASE AGREEMENT

       This SETTLEMENT AND RELEASE AGREEMENT (including all exhibits, annexes,
and schedules attached hereto, this “Agreement”) is made and entered into as of November 8,
2021, by and among the following parties:

       i.      ORG GC Midco, LLC (“Midco”), ORG GC GP Buyer, LLC, ORG GC LP Buyer,
               LLC, GC Services International, LLC, GC Services Limited Partnership
               (“GCS LP”), and GC Services (Barbados) SRL (the foregoing, collectively,
               the “Company” or the “GCS Parties”);

       ii.     ORG GC Holdings, LLC (“Holdings”);

       iii.    Owner Resource Group, LLC (“ORG”), ORG Opportunity Fund II, LP, ORG Side
               Car Fund II, LP, ORG GC Coinvestment, LP, and ORG GC Coinvestment II, LP
               (the foregoing, collectively, the “ORG Parties” and, together with Holdings,
               the “Sponsors”);

       iv.     DLS Enterprises Holdings, LLC, DLS Enterprises, Inc., and GC Financial Corp
               (the foregoing, collectively, the “Katz Parties”); and

       v.      the Existing Term Loan Facility Agent (as defined herein) and each of the
               undersigned lenders (the “Existing Term Loan Lenders” and, collectively with
               the Existing Term Loan Facility Agent, the “Existing Term Loan Parties”) that,
               as of the date hereof, beneficially own (or otherwise have voting discretion with
               respect to) 100% of the obligations outstanding under that certain Financing
               Agreement, dated July 31, 2017, by and among certain of the GCS Parties,
               variously, as a borrower and/or as a guarantor thereunder (the “Borrowers” and
               “Guarantors,” as applicable), BSP Agency, LLC, as administrative agent and
               collateral agent (the “Existing Term Loan Facility Agent”), and the lenders party
               thereto (as amended, restated, amended and restated, supplemented or otherwise
               modified from time to time in accordance with the terms thereof, the “Existing
               Term Loan Credit Agreement”).

        Each of the GCS Parties, the Sponsors, the Katz Parties, and the Existing Term Loan Parties
shall be referred to herein as a “Party” and, collectively, as the “Parties”. Capitalized terms used
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but not otherwise defined herein shall have the meanings attributed to them in the Plan (as defined
herein).

                                           RECITALS

       WHEREAS, the ORG Parties are collectively the majority owners of the Series B and
Series C units of Holdings;

       WHEREAS, the Katz Parties collectively own 100% of the Series A-2, 0% of the Series
B and 12% of the Series C Units of Holdings;

       WHEREAS, Holdings owns 100% of the membership interests in Midco;

        WHEREAS, Midco directly or indirectly owns 100% of the interests in the GCS Parties
other than Midco;

       WHEREAS, in connection with the Existing Term Loan Credit Agreement, the Existing
Term Loan Facility Agent, Holdings, the Borrowers and the Guarantors entered into that certain
Pledge and Security Agreement dated July 31, 2017 (the “Pledge and Security Agreement”),
pursuant to which 100% of the equity interests in the Borrowers and each Guarantor (each a
“Pledged Company” and, collectively, the “Pledged Companies” and such equity interests, the
“Pledged Equity”) was pledged by the holders of such Pledged Equity party to the Pledge and
Security Agreement (the “Pledgors”) in favor of the Existing Term Loan Facility Agent, in its
capacity as collateral agent for the Existing Term Loan Lenders, to secure the obligations of the
Borrowers under the Existing Term Loan Credit Agreement;

        WHEREAS, pursuant to Section 6.3 of the Pledge and Security Agreement, the Pledgors
(including Holdings) irrevocably constituted and appointed the Existing Term Loan Facility Agent
as their proxy and attorney in fact with respect to the Pledged Equity of such Pledgor (including
with respect to the equity interests in Midco), including, after the occurrence and during the
continuation of an Event of Default (as defined in the Existing Term Loan Credit Agreement), the
right to vote the Pledged Equity and the right to exercise certain other rights, powers, privileges
and remedies to which a Pledgor would be entitled as set forth in the Pledge and Security
Agreement (the “Proxy and Power of Attorney”);

        WHEREAS, at any time after the occurrence and during the continuance of an Event of
Default, (i) pursuant to Section 9.01 of the Existing Term Loan Credit Agreement, the Existing
Term Loan Facility Agent may, and shall at the request of the Required Lenders (as defined in the
Existing Term Loan Credit Agreement), by notice to the Administrative Borrower (as defined in
the Existing Term Loan Credit Agreement), exercise any and all of its rights and remedies under
applicable law, the Existing Term Loan Credit Agreement and any other Loan Document (as
defined in the Existing Term Loan Credit Agreement) (including the Pledge and Security
Agreement), and (ii) pursuant to Section 4.6(d)(ii) and Section 5.2(a)(v) of the Pledge and Security
Agreement, the Existing Term Loan Facility Agent, with one (1) Business Days’ prior written
notice to the Pledgors, is permitted to exercise all voting rights or other rights relating to the
Pledged Collateral (as defined in the Pledge and Security Agreement), including, without
limitation, exchange, subscription or any other rights, privileges, or options pertaining to any


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Equity Interest or Investment Property (each as defined in the Pledge and Security Agreement)
constituting such Pledged Collateral as if it were the absolute owner thereof;

       WHEREAS, on September 16, 2020, the Existing Term Loan Facility Agent delivered to
Midco, as the Administrative Borrower (as defined in the Existing Term Loan Credit Agreement),
and each of the other Borrowers, Holdings, and each of the Pledged Companies, that certain Notice
of Exercise of Rights and Remedies After Default, which, among other things, notified Midco of
the Existing Term Loan Facility Agent’s decision to exercise rights under the Proxy and Power of
Attorney (the “Exercise of Remedies”);

        WHEREAS, on September 18, 2020, the Existing Term Loan Facility Agent executed and
delivered an Action by Written Consent of the Sole Member of ORG GC Midco, LLC (the
“September 18 Written Consent”), in the name of and on behalf of Holdings, pursuant to the
Proxy and Power of Attorney and the Existing Term Loan Facility Agent’s exercise of rights
thereunder;

        WHEREAS, pursuant to (x) the September 18 Written Consent, (y) Section 3.9 of the
Limited Liability Company Agreement of ORG GC Midco, LLC dated December 2, 2015
(the “Former ORG GC Midco Operating Agreement”), and (z) Section 18-302(d) of the
Delaware Limited Liability Company Act, the Existing Term Loan Facility Agent, on behalf of
Holdings, among other things, (i) removed each person that was formerly serving as a manager of
Midco and appointed new managers to serve as the managers of Midco; and (ii) amended and
restated in its entirety the Former ORG GC Midco Operating Agreement and adopted the Amended
and Restated Limited Liability Company Agreement of ORG GC Midco, LLC, effective as of
September 18, 2020 (the “A&R ORG GC Midco Operating Agreement”);

       WHEREAS, ORG and GCS LP are party to that certain Amended and Restated Consulting
Agreement, dated as of July 31, 2017 (as may be amended, restated, amended and restated,
supplemented, or modified from time to time in accordance with the terms thereof, the
“Consulting Agreement”);

         WHEREAS, the GCS Parties and the Existing Term Loan Parties have negotiated in good
faith at arm’s length and agreed to enter into certain transactions in furtherance of a restructuring
of the Company’s capital structure and financial obligations (the “Restructuring”), which is
anticipated to be implemented pursuant to the terms of (i) a restructuring support agreement by
and among the GCS Parties and the Existing Term Loan Parties (the “RSA”) and (ii) a prepackaged
plan of reorganization (as amended, restated, amended and restated, supplemented, or otherwise
modified from time to time in accordance with the terms thereof, the “Plan”), the substantially
final form of which is annexed hereto as Exhibit A, and which will be implemented by Midco
commencing a voluntary case (the “Chapter 11 Case”) under chapter 11 of title 11 of the United




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States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern
District of Texas (the “Bankruptcy Court”); and

       WHEREAS, the Sponsors and the Katz Parties have agreed, subject to the terms and
conditions herein, to, among other things, support and not object to the Restructuring;

      NOW, THEREFORE, in consideration of the covenants and agreements contained in this
Agreement, and for other valuable consideration, the receipt and sufficiency of which are
acknowledged, each Party, intending to be legally bound by this Agreement, agrees as follows:

                                          AGREEMENT

Section 1.     Interpretation. In this Agreement, unless the context otherwise requires:

       (a)     words importing the singular also include the plural;

        (b)    the words “hereof,” “herein” and “hereunder” and words of similar import when
used in this Agreement shall refer to this Agreement as a whole and not to any particular provision
of this Agreement;

        (c)    the words “include,” “includes,” and “including” shall be deemed to be followed
by the phrase “without limitation;” the word “or” is not exclusive; and

        (d)     unless otherwise specified, any reference herein to an existing document, schedule,
or exhibit shall mean such document, schedule, or exhibit, as it may have been or may be amended,
restated, supplemented, or otherwise modified from time to time in accordance with the terms
thereof and this Agreement.

Section 2.    Effectiveness. This Agreement shall become effective and binding upon each of
the GCS Parties, the Sponsors, the Katz Parties, and the Existing Term Loan Parties on the first
date upon which this Agreement has been executed and delivered by each of the Parties (such date,
the “Agreement Effective Date”).

Section 3.   Commitments of the Sponsors and the Katz Parties. From and after the
Agreement Effective Date, each of the Sponsors and the Katz Parties shall, severally and not
jointly:

        (a)     support and take all actions reasonably requested in writing by the GCS Parties to
support and facilitate the implementation and consummation of the Plan and the Restructuring in
a timely manner so long as such request does not result in the incurrence of out-of-pocket fees
and/or expenses to the Sponsors or the Katz Parties without their express written consent and does
not result in the assumption of any liability by the Sponsors or the Katz Parties;

        (b)      not, directly or indirectly, object to, oppose, interfere with, impede, or otherwise
attempt to frustrate the Restructuring, the RSA, the Plan, or the Chapter 11 Case or take any other
action that is inconsistent with the Restructuring, the RSA, the Plan, and the Chapter 11 Case;

       (c)     not prepare or commence any action, suit or other proceeding that challenges (i) the

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amount, validity, allowance, character, enforceability or priority of any Claims against or Interests
in the GCS Parties owned or held by any of the Existing Term Loan Parties or any of their
respective affiliates or related funds, (ii) the validity, enforceability or perfection of any lien or
other encumbrance securing any Claims against or Interests in the GCS Parties owned or held by
any of the Existing Term Loan Parties or any of their respective affiliates or related funds, or
(iii) support any third party in connection with any of the acts described in this clause (e); provided
however that nothing in this paragraph shall prohibit Sponsors or Katz Parties from testifying
truthfully in any court or administrative proceeding or responding to discovery in connection with
any court proceeding or the Chapter 11 Case to the extent such testimony or discovery is
promulgated by a non-Party to this Agreement.

        (d)     not, directly or indirectly, pledge, encumber, assign, sell, transfer, loan, grant,
hypothecate, participate, donate or otherwise encumber or dispose of, including by the declaration
of a worthless stock deduction for any tax year of the applicable Sponsor or Katz Party ending
prior to the earlier to occur of (i) date on which the Plan becomes effective in accordance with its
terms (such date, the “Plan Effective Date”) and (ii) the nine (9)-month anniversary of the
Agreement Effective Date (such earlier date, the “Tax Election Covenant Expiration Date”),
offer, or contract to pledge, encumber, assign, sell, transfer, loan, grant, hypothecate, participate,
donate or otherwise encumber or dispose of, in whole or in part, any portion of its right, title, or
interests in any of its shares, stock, or other Claims against or Interests in any of the GCS Parties
(the “Sponsor/Katz Claims and Interests”), or direct or permit any such act directly, indirectly
or otherwise (including through derivatives, options, swaps, pledges, forward sales or other
transactions, or granting any proxies, depositing into any voting trust, or entering into a voting
agreement) and shall not purchase or otherwise acquire any Claims against or Interests in any of
the GCS Parties; and

        (e)    negotiate in good faith and use commercially reasonable efforts to execute any
amendments to the GCS Parties’ corporate organizational documents, including the A&R ORG
GC Midco Operating Agreement (collectively, the “Organizational Documents”), the current
forms of which are annexed hereto as Exhibits B, C, D, E, F, and G, to facilitate implementation
of the Restructuring through the Chapter 11 Case.

Section 4.    Commitments of the GCS Parties. From and after the Agreement Effective Date,
the GCS Parties shall:

        (a)    not seek to reject or modify this Agreement in the Chapter 11 Case and shall assume
the obligations herein; and

        (b)     not amend, modify, supplement or otherwise alter the Plan or RSA in a manner that
is inconsistent with this Agreement without the prior written consent of each of the Sponsors and
the Katz Parties.

Section 5.     Termination of the Consulting Agreement. Upon the Plan Effective Date, and
without further action of any Party, the Consulting Agreement shall be deemed terminated and any
amounts due thereunder at any time shall be deemed forever waived and released by ORG in
consideration of the full and complete release of any claims against the Sponsors in accordance
with the terms of this Agreement.

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Section 6.      Payment of Sponsor Professional Fees. On the Plan Effective Date, or as soon
as practicable thereafter, the GCS Parties shall pay or reimburse to the Sponsors the reasonable
and documented out-of-pocket professional fees and expenses of the Sponsors incurred through
and including the Plan Effective Date (the “Sponsor Fees”); provided that the Sponsor Fees shall
not exceed $100,000. The foregoing obligation shall be incorporated into the Plan.

Section 7.     Mutual Representations, Warranties, and Covenants. Each of the Parties
severally, and not jointly, represents, warrants, and covenants to each other Party, as of the date
such Party executes and delivers this Agreement, that on the Agreement Effective Date:

        (a)    it is duly organized, validly existing and in good standing under the laws of the state
of its organization, has (or will have, at the relevant time) all necessary power and authority to
execute and deliver this Agreement and to consummate all of the transactions and/or obligations
contemplated hereby, has duly and validly authorized the execution and delivery of this Agreement
and the consummation of all of the transactions and/or obligations contemplated hereby and has
duly and validly executed and delivered this Agreement;

        (b)     this Agreement is a legal, valid, and binding obligation of such Party, enforceable
against it in accordance with its terms, except as enforcement may be limited by applicable laws
relating to or limiting creditors’ rights generally or by equitable principles relating to
enforceability;

        (c)    except as expressly provided in this Agreement, no consent or approval is required
by any other person or entity in order for it to execute, deliver and perform its respective
obligations under this Agreement except for consents or approvals that have been obtained as of
the Agreement Effective Date;

        (d)    in the case of the Sponsors and the Katz Parties, it is the beneficial or record owner
of the Sponsor/Katz Claims and Interests, it has the full power and authority to act on behalf of,
vote and consent to matters concerning the Sponsor/Katz Claims and Interests, and it has not
transferred any of its rights or interests with respect to the foregoing to any Person that is not party
to this Agreement;

        (e)    with respect to a Sponsor and a Katz Party, it has not made a declaration of a
worthless stock deduction with respect to its Interests in any of the GCS Parties for any tax year
of the applicable Sponsor or Katz Party, as applicable, ending prior to the Agreement Effective
Date or knowingly taken any steps that are likely to have impaired any of the GCS Parties’ tax
attributes;

         (f)     neither the execution and delivery by it of this Agreement nor the consummation
by it of any of the transactions contemplated hereby, conflicts with, results in a breach or violation
of, constitutes a default under, or results in the termination, cancellation, modification, suspension,
revocation or acceleration (whether after the filing of notice or the lapse of time or both) of any
rights or obligations of it under, or results in the creation of any security interest, lien, charge,
pledge or other encumbrance upon any assets or properties of it pursuant to the terms of: (i) any
law, statute, rule, code, ordinance, regulation, restriction or guideline of any governmental or
regulatory authority to which it is subject or bound, or any judgment, order, writ, decree, permit,


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authorization or license of any governmental or regulatory authority to which it is subject or bound,
(ii) any contract, agreement, commitment, instrument, document or arrangement (written or oral)
to which it is a party or by which it or any of its assets, businesses or properties is subject or bound
or (iii) any of the organizational documents of it; and

       (g)    it shall instruct the Related Parties (as defined herein) over which it has control to
abide by the Releases set forth in Section 8.

Section 8.      Releases. Subject to the occurrence of, and immediately upon the Plan Effective
Date, and without further action of any Party, except for the right to enforce this Agreement or any
right or obligation arising under this Agreement that remains in effect or becomes effective after
the Plan Effective Date, for good and valuable consideration, the Parties shall grant the following
mutual releases (collectively, the “Releases”) to the persons or entities indicated below (each
a “Released Party”):

         8.01. Releases by GCS Parties. Subject to the occurrence of, and immediately upon the
Plan Effective Date, and without further action of any Party, except for the right to enforce this
Agreement or any right or obligation arising under this Agreement that remains in effect or
becomes effective after the Plan Effective Date , for good and valuable consideration, each of the
Sponsors and the Katz Parties and each of their respective current (a) affiliates, (b) subsidiaries,
(c) partners, (d) members, (e) managers, (f) managed entities, (g) investment managers,
(h) employees, (i) professionals, (j) consultants, (k) directors and (l) officers (the foregoing
(a) through (l) in each case together with their respective successors and assigns and in their
respective capacities as such, the “Related Parties”) shall be deemed conclusively, absolutely,
unconditionally, irrevocably and forever released and discharged by each GCS Party, in each case
on behalf of themselves and their respective successors, assigns and representatives, and any and
all other Persons who may purport to assert any Cause of Action, directly or derivatively, by,
through, or because of any of the GCS Parties, from any and all Claims or Causes of Action,
including any derivative claims, asserted or assertable on behalf of any of the GCS Parties, whether
known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereinafter arising,
contingent or noncontingent, in law, equity or otherwise, that any of the GCS Parties would have
been legally entitled to assert in their own right (whether individually or collectively) or on behalf
of any other Person based on or relating to, or in any manner arising from, in whole or in part, any
of the GCS Parties (including the capital structure, management, ownership or operation thereof,
including the management and operation of the GCS Parties prior to or following the Exercise of
Remedies), the Consulting Agreement, the Organizational Documents, any of the Loan Documents
(as defined in the Existing Term Loan Agreement), the Exercise of Remedies, the Chapter 11 Case,
the filing of the Chapter 11 Case, the Restructuring, the subject matter of, or the transactions or
events giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
arrangements by and among any GCS Party, any of the Existing Term Loan Parties, the Sponsors,
and/or the Katz Parties, the restructuring of Claims and Interests before or during the Chapter 11
Case, the negotiation, formulation, preparation, dissemination, filing or consummation of this
Agreement or the Plan, the pursuit of confirmation and consummation of the Plan, the negotiations
regarding or concerning any of the foregoing or any related act or omission, transaction,
agreement, event or other occurrence related or relating to the foregoing, in all cases based upon
any act or omission, transaction, agreement, event or other occurrence taking place from the
beginning of time to and including the Plan Effective Date.

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         8.02. Releases by Existing Term Loan Parties. Subject to the occurrence of, and
immediately upon the Plan Effective Date, and without further action of any Party, except for the
right to enforce this Agreement or any right or obligation arising under this Agreement that remains
in effect or becomes effective after the Plan Effective Date, for good and valuable consideration,
each of the Sponsors and the Katz Parties and each of their respective Related Parties shall be
deemed conclusively, absolutely, unconditionally, irrevocably and forever released and discharged
by each of the Existing Term Loan Parties, in each case on behalf of themselves and their
respective successors, assigns and representatives, and any and all other Persons who may purport
to assert any Cause of Action, directly or derivatively, by, through, or because of any of the
Existing Term Loan Parties, from any and all Claims or Causes of Action, including any derivative
claims, asserted or assertable on behalf of any of the Existing Term Loan Parties, whether known
or unknown, foreseen or unforeseen, matured or unmatured, existing or hereinafter arising,
contingent or noncontingent, in law, equity or otherwise, that any of the Existing Term Loan
Parties would have been legally entitled to assert in their own right (whether individually or
collectively) or on behalf of any other Person based on or relating to, or in any manner arising
from, in whole or in part, any of the GCS Parties (including the capital structure, management,
ownership or operation thereof, including the management and operation of the GCS Parties prior
to or following the Exercise of Remedies), the Consulting Agreement, the Organizational
Documents, any of the Loan Documents (as defined in the Existing Term Loan Agreement), the
Exercise of Remedies, the Chapter 11 Case, the filing of the Chapter 11 Case, the Restructuring,
the subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
treated in the Plan, the business or contractual arrangements by and among any GCS Party, any of
the Existing Term Loan Parties, the Sponsors, and/or the Katz Parties, the restructuring of Claims
and Interests before or during the Chapter 11 Case, the negotiation, formulation, preparation,
dissemination, filing or consummation of this Agreement or the Plan, the pursuit of confirmation
and consummation of the Plan, the negotiations regarding or concerning any of the foregoing or
any related act or omission, transaction, agreement, event or other occurrence related or relating
to the foregoing, in all cases based upon any act or omission, transaction, agreement, event or other
occurrence taking place from the beginning of time to and including the Plan Effective Date.

        8.03. Releases by Sponsors. Subject to the occurrence of, and immediately upon the
Plan Effective Date, and without further action of any Party, except for the right to enforce this
Agreement or any right or obligation arising under this Agreement that remains in effect or
becomes effective after the Plan Effective Date, for good and valuable consideration, each of the
GCS Parties, each of the Existing Term Loan Parties, and each of their respective Related Parties
shall be deemed conclusively, absolutely, unconditionally, irrevocably and forever released and
discharged by each Sponsor, in each case on behalf of themselves and their respective successors,
assigns and representatives, and any and all other Persons who may purport to assert any Cause of
Action, directly or derivatively, by, through, or because of any of the Sponsors, from any and all
Claims or Causes of Action, including any derivative claims, asserted or assertable on behalf of
any of the Sponsors, whether known or unknown, foreseen or unforeseen, matured or unmatured,
existing or hereinafter arising, contingent or noncontingent, in law, equity or otherwise, that any
of the Sponsors would have been legally entitled to assert in their own right (whether individually
or collectively) or on behalf of any other Person based on or relating to, or in any manner arising
from, in whole or in part, any of the GCS Parties (including the capital structure, management,
ownership or operation thereof, including the management and operation of the GCS Parties prior
to or following the Exercise of Remedies), the Consulting Agreement, the Organizational

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Documents, any of the Loan Documents (as defined in the Existing Term Loan Agreement), the
Exercise of Remedies, the Chapter 11 Case, the filing of the Chapter 11 Case, the Restructuring,
the subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
treated in the Plan, the business or contractual arrangements between by and among, any GCS
Party, any of the Existing Term Loan Parties, the Sponsors, and/or the Katz Parties, the
restructuring of Claims and Interests before or during the Chapter 11 Case, the negotiation,
formulation, preparation, dissemination, filing or consummation of this Agreement or the Plan, the
pursuit of confirmation and consummation of the Plan, the negotiations regarding or concerning
any of the foregoing or any related act or omission, transaction, agreement, event or other
occurrence related or relating to the foregoing, in all cases based upon any act or omission,
transaction, agreement, event or other occurrence taking place from the beginning of time to and
including the Plan Effective Date.

        8.04. Releases by Katz Parties. Subject to the occurrence of, and immediately upon the
Plan Effective Date, and without further action of any Party, except for the right to enforce this
Agreement or any right or obligation arising under this Agreement that remains in effect or
becomes effective after the Plan Effective Date , for good and valuable consideration, each of the
GCS Parties and the Existing Term Loan Parties and each of their respective Related Parties shall
be deemed conclusively, absolutely, unconditionally, irrevocably and forever released and
discharged by each Katz Party, in each case on behalf of themselves and their respective
successors, assigns and representatives, and any and all other Persons who may purport to assert
any Cause of Action, directly or derivatively, by, through, or because of any of the GCS Parties,
from any and all Claims or Causes of Action, including any derivative claims, asserted or
assertable on behalf of any of the GCS Parties, whether known or unknown, foreseen or
unforeseen, matured or unmatured, existing or hereinafter arising, contingent or noncontingent, in
law, equity or otherwise, that any of the GCS Parties would have been legally entitled to assert in
their own right (whether individually or collectively) or on behalf of any other Person based on or
relating to, or in any manner arising from, in whole or in part, any of the GCS Parties (including
the capital structure, management, ownership or operation thereof, including the management and
operation of the GCS Parties prior to or following the Exercise of Remedies), the Consulting
Agreement, the Organizational Documents, any of the Loan Documents (as defined in the Existing
Term Loan Agreement), the Exercise of Remedies, the Chapter 11 Case, the filing of the Chapter
11 Case, the Restructuring, the subject matter of, or the transactions or events giving rise to, any
Claim or Interest that is treated in the Plan, the business or contractual arrangements by and among
any GCS Party, any of the Existing Term Loan Parties, the Sponsors, and/or the Katz Parties, the
restructuring of Claims and Interests before or during the Chapter 11 Case, the negotiation,
formulation, preparation, dissemination, filing or consummation of this Agreement or the Plan, the
pursuit of confirmation and consummation of the Plan, the negotiations regarding or concerning
any of the foregoing or any related act or omission, transaction, agreement, event or other
occurrence related or relating to the foregoing, in all cases based upon any act or omission,
transaction, agreement, event or other occurrence taking place from the beginning of time to and
including the Plan Effective Date.

       8.05.   Exceptions to Releases.

      (a)    Notwithstanding anything in this Agreement to the contrary, nothing in this
Agreement shall be construed to constitute a release or discharge of, Claims or Causes of Action

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against any Released Party arising from conduct of any Released Party determined by a court of
competent jurisdiction, or admitted in a formal writing, a formal pleading, or in a plea agreement,
to have been caused by, or the result of, intentional fraud, knowing willful misconduct or a criminal
act by such Released Party.

        (b)     Notwithstanding anything to the contrary in this Agreement, the Released Parties
shall not include Frank Taylor in his capacity as the Company’s former Chief Executive Officer
whose employment with the Company was terminated effective as of November 29, 2020.

        (c)    In the event a Related Party brings a Claim or Cause of Action that has been
released pursuant to Section 8.01, Section 8.02, Section 8.03, or Section 8.04 of this Agreement
against any Released Party, such Related Party shall automatically be deemed not to be a Released
Party.

Section 9.     Termination

       (a)     This Agreement and the obligations of the Parties hereunder may be terminated by
mutual written agreement of all of the Parties hereto.

       (b)     At any time prior to the Plan Effective Date, any Party may terminate this
Agreement as to itself only in the event of a material breach by any other Party of any
representation, warranty, covenant, commitment, or other provision of this Agreement that is not
cured within five (5) business days of receipt of notice thereof.

       (c)     Upon termination of this Agreement in accordance with this Section 9, except as
otherwise explicitly provided for herein, all obligations of the Parties under this Agreement shall
terminate and shall be of no further force and effect; provided that any claim for breach of this
Agreement prior to the termination of this Agreement shall survive termination and all rights and
remedies with respect to such claim shall be neither waived nor prejudiced in any way by
termination of this Agreement.

Section 10.    Amendments and Waivers.

       (a)    This Agreement may be amended only upon written consent of each of the Parties.
Any waiver of any condition, term or provision of this Agreement must be in writing signed by
each of the Parties entitled to waive such condition, term or provision. In determining whether
any consent or approval has been given or obtained by the applicable Parties, any then existing
Party that is in material breach of its covenants, obligations or representations under this
Agreement shall be excluded from such determination.

      (b)     Any proposed modification, amendment, waiver, or supplement that does not
comply with this Section 10 shall be ineffective and void ab initio.

       (c)     The waiver by any Party of a breach of any provision of this Agreement shall not
operate or be construed as a further or continuing waiver of such breach or as a waiver of any other
or subsequent breach. No failure on the part of any Party to exercise, and no delay in exercising,
any right, power, or remedy under this Agreement shall operate as a waiver of any such right,
power, or remedy or any provision of this Agreement, nor shall any single or partial exercise of

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such right, power, or remedy by such Party preclude any other or further exercise of such right,
power, or remedy or the exercise of any other right, power, or remedy. All remedies under this
Agreement are cumulative and are not exclusive of any other remedies provided by law.

Section 11. Notices. All notices, requests, and demands to or upon the Parties shall be in
writing (including by email transmission) and, unless otherwise provided herein, shall be deemed
to have been duly given or made only when actually delivered, addressed as follows:

              (a)     If to a GCS Party:

              ORG GC Midco, LLC
              6330 Gulfton Street
              Houston, Texas 77081
              Attention: Mark Schordock, Chief Executive Officer, Michael Jones, Chief
              Financial Officer, and Brad Batig, Chief Compliance Officer and General Counsel
              Email: mark.schordock@gcserv.com, michael.jones@gcserv.com, and
              brad.batig@gcserv.com

              With a copy (which shall not constitute notice) to:

              Weil, Gotshal & Manges LLP
              767 Fifth Avenue
              New York, NY 10153
              Attention: Sunny Singh, Esq. and Katherine T. Lewis, Esq.
              Email: sunny.singh@weil.com and katherine.lewis@weil.com

              (b)     If to Holdings:

              c/o Owner Resource Group, LLC
              221 West Sixth Street, Suite 2000
              Austin, Texas 78701
              Attention: Brad Esson and Tapan Modi
               Email: besson@orgroup.com and tmodi@orgroup.com


              (c)     If to the ORG Parties:

              c/o Owner Resource Group, LLC
              221 West Sixth Street, Suite 2000
              Austin, Texas 78701
              Attention: Brad Esson and Tapan Modi
               Email: besson@orgroup.com and tmodi@orgroup.com

              With a copy (which shall not constitute notice) to:

              Waller Lansden Dortch & Davis, LLP
              100 Congress Ave., Suite 1800
              Austin, TX 78701

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               Attention: Eric Taube, Esq.
               Email: eric.taube@wallerlaw.com

               and

               Queen Saenz + Schutz PLLC
               327 Congress Ave., Suite 220
               Austin, Texas 78701
               Attention: Thomas I. Queen, Jr. and Andrea Schutz
               Email: tqueen@qsps-law.com and aschutz@qsps-law.com

               (d)    If to the Katz Parties:

               Wilmer Cutler Pickering Hale and Dorr LLP
               60 State Street
               Boston, MA 02109
               Attention: George W. Shuster Jr.
               Email: george.shuster@wilmerhale.com

               (e)    If to BSP:

               Stroock & Stroock & Lavan LLP
               180 Maiden Lane
               New York, NY 10038-4982
               Attention: Jayme T. Goldstein, Esq., Daniel P. Ginsberg, Esq., and Joanne Lau,
               Esq.
               Email: jgoldstein@stroock.com, dginsberg@stroock.com, and jlau@stroock.com

               (f)    If to GS:

               King & Spalding LLP
               1185 Avenue of the Americas, 34th Floor
               New York, NY 10036
               Attention: W. Austin Jowers, Esq. and Michael R. Handler, Esq.
               Email: ajowers@kslaw.com and mhandler@kslaw.com

Section 12. Entire Agreement. This Agreement sets forth the entire agreement among the
Parties with respect to the subject matter hereof and supersedes all other prior agreements and
understandings, both written and oral, among the Parties with respect to the subject matter hereof.

Section 13. No Admission of Liability. Each Party enters into this Agreement without
admitting any liability or conceding any allegations. This Agreement and its provisions shall not
be offered or received in evidence in any action or proceeding as an admission or concession of
liability or wrongdoing of any nature on the part of any Party except that it may be offered and
received in evidence solely to enforce this Agreement.

Section 14.    Settlement Discussions. This Agreement and the transactions contemplated herein

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are part of a settlement among the Parties. Nothing herein shall be deemed an admission of any
kind. Each Party acknowledges that it has had a reasonable opportunity to consult with counsel of
its own choosing regarding this Agreement, whether or not it has elected to do so. The Parties
have negotiated and executed this Agreement knowingly and voluntarily, without duress or
coercion, and with full knowledge of its significance, effects, and consequences. Each Party has
had the opportunity to consider and comment on all provisions of this Agreement and to obtain
whatever professional assistance it has considered necessary.

Section 15. Successors and Assigns. All of the terms and provisions of this Agreement shall
be binding upon and inure to the benefit of the Parties and their respective successors and assigns.
The rights and obligations of any party under this Agreement may not be assigned, delegated, or
transferred to any other person or entity. The Parties acknowledge and agree that, for purposes of
this Agreement, New Holdco shall be a successor of Midco.

Section 16. Third-Party Beneficiaries. This Agreement shall be solely for the benefit of the
Parties hereto and no other person shall be a third-party beneficiary hereof; provided however the
Related Parties shall be entitled to the benefit of the Releases set forth in Section 8 hereof and shall
be entitled, to the fullest extent permitted by law, to enforce this Agreement to the extent necessary
to enforce the Releases herein.

Section 17. Counterparts. This Agreement may be executed (including electronically) in
counterparts, each of which shall be deemed an original, but all of which together shall be deemed
to be one and the same agreement. A signed copy of this Agreement delivered by facsimile, e-
mail or other means of electronic transmission shall be deemed to have the same legal effect as
delivery of an original signed copy of this Agreement.

Section 18. Mutual Drafting. This Agreement is the product of negotiations among the
Parties, and the enforcement or interpretation of this Agreement is to be interpreted in a neutral
manner and in accordance with section 102 of the Bankruptcy Code; and any presumption with
regard to interpretation for or against any Party by reason of that Party (or its counsel) having
drafted or caused to be drafted this Agreement or any portion of this Agreement, shall not be
effective in regard to the interpretation of this Agreement.

Section 19. Choice of Law and Venue; WAIVER OF JURY TRIAL. This Agreement shall
be construed and enforced in accordance with, and the rights of the Parties shall be governed by,
the laws of the State of New York without giving effect to the conflict of laws principles thereof.
Each of the Parties irrevocably agrees that any legal action, suit or proceeding (each,
a “Proceeding”) arising out of or relating to this Agreement brought by any Party or its successors
or assigns shall be brought and determined in any federal or state court in the City of New York
(the “New York Courts”), and each of the Parties hereby irrevocably submits to the exclusive
jurisdiction of the New York Courts for itself and with respect to its property, generally and
unconditionally, with regard to any such Proceeding arising out of or relating to this Agreement
and the Restructuring. Each of the Parties agrees not to commence any Proceeding relating hereto
or thereto except in the New York Courts, other than Proceedings in any court of competent
jurisdiction to enforce any judgment, decree or award rendered by any New York Court. Each of
the Parties further agrees that notice as provided in Section 11 hereof shall constitute sufficient
service of process and the Parties further waive any argument that such service is insufficient.

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Each of the Parties hereby irrevocably and unconditionally waives and agrees not to assert that a
Proceeding in any New York Court is brought in an inconvenient forum, the venue of such
Proceeding is improper, or the Agreement, or the subject matter hereof, may not be enforced in or
by such courts. Notwithstanding the foregoing, during the pendency of the Chapter 11 Case, all
Proceedings related to this Agreement shall be brought in the Bankruptcy Court. EACH PARTY
HEREBY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW,
ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY PROCEEDING DIRECTLY
OR INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE
TRANSACTIONS CONTEMPLATED HEREBY (WHETHER BASED ON CONTRACT,
TORT OR ANY OTHER THEORY).

Section 20. Remedies. The Parties understand and agree that irreparable damage may occur in
the event that any provision of this Agreement were not performed in accordance with its terms
and further agree that, although monetary damages may be available for the breach of such
covenants and undertakings, monetary damages alone may not be an adequate remedy therefor.
Accordingly, each Party hereto agrees, on behalf of itself and its Affiliates, that in the event of any
breach or threatened breach of this Agreement by another Party, each Party shall be entitled to
seek an injunction or injunctions and specific performance (which shall include the right to seek
to unwind the making of a declaration of a worthless stock deduction by any Sponsor for any tax
year that is prior to the Tax Election Covenant Expiration Date), as a remedy of any such breach
or to prevent or restrain breaches or threatened breaches of this Agreement, and to specifically
enforce the terms and provisions of this Agreement to prevent breaches or threatened breaches of,
or to enforce compliance with, the terms and provisions of this Agreement. Any Party seeking an
injunction or injunctions to prevent breaches of this Agreement or to enforce specifically the terms
and provisions of this Agreement shall not be required to provide, furnish or post any bond or other
security in connection with or as a condition to obtaining any such order or injunction, and each
Party hereby irrevocably waives any right it may have to require the provision, furnishing or
posting of any such bond or other security or to object to such relief based on a lack of bond or
other security. In the event that any action, claim, suit or proceeding should be brought in equity
to enforce the provisions of this Agreement, no party shall allege, and each party hereto hereby
waives the defense, that there is an adequate remedy at law.

Section 21. Further Assurances. Subject to the other terms of this Agreement, the Parties
agree to execute and deliver such other instruments and perform such acts, in addition to the
matters herein specified, as may be reasonably appropriate or necessary, or as may be required by
order of the Bankruptcy Court, from time to time, to effectuate this Agreement.

Section 22. Severability and Construction. If any provision of this Agreement shall be held
by a court of competent jurisdiction to be illegal, invalid, or unenforceable, the remaining
provisions shall remain in full force and effect if essential terms and conditions of this Agreement
for each Party remain valid, binding, and enforceable.

Section 23. Headings. Headings in this Agreement are for the convenience of the Parties and
are not to be construed as limiting the scope of or used in construing the Agreement.




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                     [Signature Pages to Follow]




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        IN WITNESS WHEREOF, the Parties have executed this Agreement on the day and year
first above written.



                 SIGNATURE PAGES ON FILE WITH THE DEBTOR
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                            Exhibit A

                               Plan

                             [Omitted]
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                            Exhibit B

                 ORG GC MIDCO, LLC A&R LLCA


                            [Omitted]
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                            Exhibit C

               ORG GC GP BUYER, LLC A&R LLCA

                             [Omitted]
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                            Exhibit D

               ORG GC LP BUYER, LLC A&R LLCA

                             [Omitted]
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                             Exhibit E

GC SERVICES LIMITED PARTNERSHIP A&R PARTNERSHIP AGREEMENT


                              [Omitted]
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                             Exhibit F

         GC SERVICES INTERNATIONAL, LLC A&R LLCA

                             [Omitted]
